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                                  Case No. ___________

                       UNITED STATES COURT OF APPEALS
                            FOR THE NINTH CIRCUIT

                           In re: COUNTY OF LOS ANGELES
                                      Petitioner,
                                             v.
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                           (Western Division - Los Angeles)
                                     Respondent.

                      LA ALLIANCE FOR HUMAN RIGHTS, et al.
                              Real Parties in Interest.

                          On Petition for a Writ of Mandamus in
                           Case No. 2:20-cv-02291 (C.D.Cal.)


                PETITION FOR WRIT OF MANDAMUS TO THE
            UNITED STATES DISTRICT COURT, CENTRAL DISTRICT
                 OF CALIFORNIA AND REQUEST FOR STAY
                   OF PROCEEDINGS IN DISTRICT COURT


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                      INTRODUCTION AND RELIEF SOUGHT

           The County of Los Angeles reached a comprehensive settlement agreement

with Plaintiffs in this litigation, committing up to $850.5 million in new resources

to dramatically expand housing, medical and social services to people experiencing

homelessness. Plaintiffs and the County stipulated to dismiss the case with

prejudice and asked the district court, in its discretion, to maintain ancillary

jurisdiction to enforce the settlement agreement in the event of a breach. During

three hearings on the parties’ joint request for dismissal, no party, intervenor, or

third party objected to the dismissal.

           The district court nevertheless refused to dismiss the action because the

court did not believe the County was doing enough to address homelessness based

on its own independent research, did not trust the County would follow through on

its contractual commitments, and wanted additional powers of monitoring and

enforcement to hold the County “accountable.” Refusing to stay the litigation or

permit interlocutory appeal, the district court then took the position that its

discretion to decline ancillary jurisdiction operated to void the parties’ underlying

settlement agreement.

           To say the least, these rulings and the court’s conduct are unprecedented.

They are also clearly erroneous and exceed the bounds of the district court’s

Article III authority. Mandamus relief is not just warranted, it is required in these


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highly unusual circumstances. As “one of the most potent weapons in the judicial

arsenal,” the traditional use of a writ of mandamus has been to “confine an inferior

court to a lawful exercise of its prescribed jurisdiction or to compel it to exercise

its authority when it is its duty to do so.” Will v. United States, 389 U.S. 90, 95

(1967). The touchstones of mandamus review are “‘usurpation of power, clear

abuse of discretion and the presence of an issue of first impression.”’ Stein v.

KPMG, LLP, 486 F.3d 753, 759 (2d Cir. 2007). All are present here.

           By refusing to approve dismissal, the district court has left the parties the

option of bowing to its pressure tactics or proceeding with litigation—at public

taxpayer expense—that has already been fully resolved between them, thwarting

the possibility of an appealable order. Left in this untenable position, the County’s

only recourse is a petition for writ of mandamus.

           The governing criteria for mandamus relief articulated in Bauman v. U.S.

District Court, 557 F.2d 650 (9th Cir. 1977), are easily satisfied here. The district

court has committed multiple clear errors of law in refusing to dismiss an action

that the parties have fully settled between them. Immediate review is needed to

prevent the court’s unlawful exercise of its jurisdiction. The district court denied

the County’s motion for interlocutory review, and no other means are available to

obtain appellate review.




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           The County respectfully asks this Court to issue a writ directing the district

court to dismiss this action with prejudice, as the parties have already stipulated

and agreed. The County also requests that the Court exercise its authority under

the All Writs Act to stay proceedings in the district court until the merits of this

petition for mandamus are resolved.

           The County does not take these steps lightly, but the district court’s

disregard for the federal rules and the limits of its Article III authority leaves no

other choice. The drastic and extraordinary remedy of mandamus is called for

here.

                           STATEMENT OF JURISDICTION

           This Court has authority to issue a writ of mandamus pursuant to 28 U.S.C.

§ 1651 and Rule 21 of the Federal Rules of Appellate Procedure.

                             STATEMENT OF THE ISSUES

           Whether the district court committed clear legal error and exceeded its

judicial authority by (1) refusing to dismiss this action, pursuant to the parties’

voluntary stipulation for dismissal with prejudice under Federal Rule of Civil

Procedure 41(a)(2); (2) concluding that its refusal of ancillary jurisdiction to

enforce the settlement agreement operated to void the parties’ fully-executed

settlement agreement; and (3) forcing the parties to litigate a case they have fully

resolved between them.


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                         STATEMENT OF RELEVANT FACTS

           In March 2020, an organizational plaintiff and eight individuals sued the

City and County for harms stemming from the proliferation of encampments in the

Skid Row area. (4ER/632-724.) Shortly thereafter, the district court granted a

motion to intervene by three nonprofit organizations that advocate for and

represent the interests of the unhoused (“Intervenors”). (4ER/625-631.)

           If this case sounds familiar, that is because it is. In LA Alliance for Human

Rights v. County of Los Angeles, 14 F.4th 947, 957-58, 961 (9th Cir. 2021), this

Court reversed a preliminary injunction, holding the district court abused its

discretion and exceeded its Article III powers when it required, inter alia, that the

City put $1 billion in escrow with the court and demanded that the City and County

provide shelter to everyone in Skid Row within 180 days. This Court held the

Plaintiffs lacked standing to bring all but one of their claims1 and that the district

court abused its discretion by relying on its own independent research and extra-

record evidence, granting “relief based on claims that Plaintiffs did not allege,

supported by novel legal theories that Plaintiffs did not argue.” Id. at 957.

           More than three years into the litigation, these pleading defects—which

deprive the district court of subject matter jurisdiction over this action—have never




1
    The claim, for violation of the ADA, was withdrawn in the SAC. (2ER/209-289.)

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been resolved. Instead, the district court delayed ruling on the County’s motion to

dismiss, repeatedly stayed the litigation, pushed the parties to settle, and engaged

in extensive ex parte communications with the County’s Board of Supervisors to

help broker the settlement. (4ER/595-609; 3ER/530; 2ER/205-206; 2ER/172-173;

2ER/160-161; 5ER/844-846.)

A.         The Settlement Agreements

           In May 2022, Plaintiffs reached a settlement agreement with the City of

Los Angeles. (3ER/340-369.) The County raised concerns with the court, and

Intervenors objected to the agreement. (3ER/324-339; 3ER/295-323; 5ER/888

[Intervenors: (agreement was inadequate to “address the homelessness crisis” and

City was not “committing to do more than is already in the pipeline”)].) The

district court nonetheless agreed to dismiss the City, because while “not a solution

for homelessness,” the agreement was a “concrete step” in the right direction.

(2ER/292.) The court appointed a Special Master to oversee and enforce the

agreement. (2ER/293.)

           Six months later, Plaintiffs and the County executed a binding settlement

agreement. The agreement, originally valued at $236 million, provides much-

needed additional resources to increase beds, services, outreach, and interim

housing for people experiencing homelessness and builds on the County’s massive

efforts outside the lawsuit. (2ER/187-204; 2ER/26-44.) In April 2023, the parties


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executed an addendum to that agreement, increasing new mental health and

substance use disorder beds from 300 to 1,000 for the unhoused, among other

resources, more than tripling the value of the settlement to up to $850.5 million.

(2ER/26-44; 2ER/124-159.)

           Through this litigation alone, the County has committed over $1.1 billion in

new resources to address the needs of the unhoused, in addition to the hundreds of

millions of dollars committed annually from Measure H funds and other sources.2

(4ER/616-617; 2ER/187-204; 2ER/124-159; 5ER/789.) While there is much more

to do, the County’s efforts both inside and outside this litigation have had

demonstrable success, including the placement of more than 90,000 people in

permanent housing and nearly 124,000 in interim housing. (2ER/26-44.)

           The agreement and addendum set forth specific commitments and deadlines

for the County to meet its obligations and require the County to make quarterly

progress reports. (4ER/616-618; 2ER/148-149.) The agreement also includes a

judicial enforcement mechanism, but it is different than the one set forth in the

City’s settlement agreement. (2ER/199.) The County’s agreement contemplates




2
 In addition to the settlement agreement, the County entered a Memorandum of
Understanding with the City earlier in the litigation, committing to pay
$293 million to give housing and shelter to vulnerable people experiencing
homelessness by freeways and who are 65 or older. (2ER/36-37.)

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that if the parties cannot resolve an alleged breach within the cure period, the

complaining party “may file a notice of breach and request judicial enforcement,”

with the district court retaining “jurisdiction, at its discretion” for purposes of

enforcement until the end of fiscal year 2026/2027. (Id.) The City settlement

agreement, by contrast, calls for more judicial involvement, providing “the Court

shall have continuing jurisdiction to oversee and enforce this Settlement

Agreement,” and permits the appointment of a Special Master. (3ER/380.)

           The County and Plaintiffs signed the settlement agreement. The agreement

contains a severance clause, providing that “[s]hould any part of this Agreement be

declared invalid, void or unenforceable, all remaining parts shall remain in full

force and effect.” (2ER/140.)

B.         The Parties Stipulate To Dismiss The Action With Prejudice

           Plaintiffs and the County notified the Court that they had reached a

settlement agreement that would result in the parties jointly seeking a dismissal

with prejudice under Rule 41(a)(2). The parties proceeded under Rule 41(a)(2)

instead of Rule 41(a)(1)(ii)—which does not require a court order—because one

plaintiff, Gary Whitter, an unhoused individual, cannot be located.3 A few weeks




3
  Plaintiffs’ counsel filed a motion to withdraw from representing Mr. Whitter in
July 2022, and the City and County filed an unopposed joint motion for an Order
to Show Cause re dismissal of his claims in October 2022. The district court ruled
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later, the parties filed a stipulation for voluntary dismissal of the action in its

entirety with prejudice. (2ER/187-204.) The joint stipulation requests that the

district court retain jurisdiction to enforce the agreement and asserts “there is no

need to impose any conditions to the order granting dismissal.” (2ER/190.)

           The Court invited “any party and the public to submit comments or

objections” to the County settlement agreement and set a hearing for November 14,

2022. (2ER/205-206.) Intervenors filed a statement of non-opposition. (2ER/174-

176.) No other comments or objections were filed. The court held three hearings

regarding the agreement and the parties’ stipulated dismissal before denying it

outright.

           At the first hearing, the court refused “to endorse” the agreement based on

its belief “that we can do much better,” though it acknowledged its “unorthodox”

approach is “rightfully subject to debate and criticism.” (5ER/873.) The court

then put the agreement “on hold” for several months, pending the installation of

newly elected officials, including the Mayor of the City of Los Angeles.

(5ER/879-880.)




on Plaintiffs’ motion, but let the dismissal request languish, despite the County
urging the court to decide the motion. (5ER/870-871; 5ER/743.)

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           At the second hearing, the court requested the presence of City and County

elected officials. (2ER/171.) The Mayor of Los Angeles and two members of the

County’s Board of Supervisors attended. The court criticized the County

agreement’s reporting provision as inadequate and demanded different terms that

would provide greater “judicial supervision.” (5ER/836-838 [“What’s my

sanctioning power? . . . Where is my guarantee in this?”].) According to the court,

the settlement agreement without the same “monitoring and accountability” as the

City’s settlement agreement was “dead on arrival. That’s my bottom line.”

(5ER/849-850 [“if I have to be the bad judge and turn this down, I’m going to turn

this down, I minimally have to have the same provisions as the City or don’t bring

this agreement to me. And that is I want monitoring, and I want accountability,

and I want it to the Court”].)

           The court also demanded the inclusion of more new subacute beds in a

revised agreement, based on a Department of Mental Health report the court

introduced into the record based on its own independent research. (5ER/824-825;

5ER/844; 2ER/169 [“(T)he County’s offer falls short. . . . How can 300 beds

accommodate the need for . . . those suffering from severe mental illness?”].)

After taking the elected officials and counsel for Plaintiffs into his chambers (but

refusing to allow counsel for the County to join), the parties agreed to negotiate

further, which resulted in an addendum to the settlement agreement, providing


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1,000 new mental health and substance use disorder beds, among other terms.

(2ER/124-159.) On April 18, 2023, Plaintiffs and the County resubmitted their

Stipulation for Voluntary Dismissal, along with the fully-executed addendum.

(Id.)

           The district court held a third hearing on April 20, 2023, again demanding

the presence of elected officials. (2ER/171.) Two members of the County’s Board

of Supervisors attended. Again, no party or Intervenor advocated for the court to

disapprove the parties’ stipulation. Plaintiffs presented the settlement agreement as

fully agreed and urged dismissal. (5ER/763-764 [“(W)e continue to push for [this

settlement], saying not only is this a good agreement for what it is, but it needed to

have been done eight months ago. It needed to have been done six months ago.

And here we are in April, watching these projects flounder”]; 5ER/783; 5ER/785

[Plaintiffs are “satisfied” with the “Judicial Enforcement Provision” . . . the court

has an “extended period of enforcing this agreement with full transparency”]; see

also 5ER/870 [“we believe this is a very good deal”].)

           Plaintiffs admitted their lawsuit was never about “solving homelessness,”

and Intervenors and the County agreed that it was impossible to fully achieve this

objective through litigation. (5ER/757-759 [Intervenors: “You cannot solve

homelessness through litigation,” but “the County’s commitment matches the City

of Los Angeles’s commitment” and is a “reasonable response under the


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circumstances to the need”]; 5ER/787 [County: “Homelessness is not going to be

solved in any courtroom . . . It is an issue that requires coordination from our

elected officials, our community leaders, and our subject matter experts”].)

           The district court again conditioned dismissal on changing the terms of the

settlement agreement. The court said the Board of Supervisors should be

signatories even though it made no such requirement in the City agreement and

their signatures are not required for the agreement to be binding.4 (5ER/766;

5ER/782 [“Step up and put your names on the documents and be responsible”];

3ER/398.) It decreed the addition of 1,000 mental health and substance use

disorder beds was insufficient to solve the needs of the unhoused. (5ER/772-773;

5ER/795.) The court even went so far as to make specific suggestions about how

the County should allocate its budget and introduced extra-record evidence,

including pictures of unhoused individuals, to suggest the County was

misallocating funds. (5ER/778 [“This guy is just walking down the street,

shivering with hypothermia. That’s gangrene,” then commenting on the director of

Los Angeles Homeless Services Authority’s salary as “twice as much as a federal

court judge,” concluding “don’t throw the lack of money at me from the County’s




4
    See L.A., Cal., County Charter art. I, § 2, art. VI, § 21.

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perspective”]; 5ER/779 [“I think the county has, with a $43.5 billion budget, a lot

more potentially that you could contribute”].)

           Most emphatically, the district court demanded additional powers for itself,

calling the settlement agreement “dead on arrival” because it did not provide for

the same “judicial oversight” as the City’s agreement with Plaintiffs. (5ER/767-

769 [“You give me absolutely no oversight, and you give me no enforcement. . . .

I’m giving you the credibility of the federal court . . . .”]; 5ER/772 [“(Y)ou are

asking the Court to put my approval on this.”]; 5ER/776 [“I have to have

accountability” “[b]ecause while I may trust you implicitly, Chairwoman . . .

I don’t know who your successor is. And I don’t trust that [political] process.”];

5ER/781 [“(J)ust restate the exact provisions in the City agreement . . . .”];

5ER/784 [“I’m not bargaining with the parties on this. I said I need the same

provisions [as the City agreement]”]; 5ER/786 [“You get me that same paragraph

that the City had, oversight and enforcement, let’s talk. But until then, I said it

before, and I’m not bargaining with you, I meant it”].)

           Ultimately, the district court acknowledged the parties should be able to

“settle without me,” but characterized the dismissal as a request for “approval” of

the settlement agreement that it was unwilling to provide. (5ER/772; 5ER/797

[“the parties can reach this agreement even without the Court’s approval. You can

get me out of the case. You can have me not watching you anymore.”].) The court


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acknowledged the agreement is a “private settlement,” not a class action settlement

or consent decree. (5ER/772; 2ER/162-170.)

           On April 20, 2023, the court issued a minute order denying the Plaintiffs’

and County’s stipulation to voluntarily dismiss this action with prejudice for the

“reasons stated on the record.” (1ER/6-7.)

C.         The District Court Refuses The County’s Request For Interlocutory
           Review And Sets A November 6, 2023 Trial Date

           The County moved the district court to certify its April 20 Order for

interlocutory appeal pursuant to 28 U.S.C. § 1292(b) and requested a stay of

litigation pending appeal. (2ER/ 79-123.) Plaintiffs never withdrew their

stipulation for dismissal or took the position it was the product of fraud or mistake.

They nonetheless opposed the stay request on the grounds that language in a fully-

executed settlement agreement, making the agreement “effective and operative” on

the date of dismissal “subject to the court’s continuing enforcement,” was an

unsatisfied condition precedent. (2ER/75.)

           The district court denied the motion to certify and stay application in its

May 2, 2023 minute order. (1ER/2-5.) The court characterized its April 20 order

as denying dismissal because of “the practical weight of the accelerating homeless

crisis” and the court’s concern “about the accountability in the proposed

settlement.” (1ER/4.)



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           The May 2 order goes on to state that the court’s refusal to enter the parties’

stipulated dismissal did “not materially affect the outcome of the case, as the

parties can still stipulate to dismissal” on different terms, and there was no “abuse

of discretion or clear error” because it was not obligated to retain ancillary

jurisdiction over the settlement agreement. (Id.) According to the district court,

the parties’ settlement agreement was nullified by the court’s decision not to

consent to continuing enforcement. (1ER/5 [“there was no binding stipulation to

dismiss after the Court declined to retain jurisdiction”].)

           The County filed its motion to dismiss the SAC on May 3, 2023, which

Intervenors joined.5 (2ER/45-74, 2ER/21-25.) On May 9, 2023, the district court

set trial for November 6, 2023, and issued a scheduling order requiring the

completion of all discovery in five months. (2ER/8-19; 2ER/20; 5ER/742-743.)

The court elected to decide all discovery motions itself, despite Judge Carter’s

prior representation that he would recuse himself “if [the Parties] get to litigation,”

given his extensive participation in prior ex parte communications. (5ER/742;

5ER/965.) Setting deadlines on a highly accelerated schedule, the court reiterated




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  The County’s motion to dismiss the FAC was fully briefed in January 2022 and
remained pending for six months. (3ER/ 530; 3ER/531-557; 4ER/ 558-594.) After
the City settled, the district court granted Plaintiffs’ request to file an amended
complaint, without ever having ruled on the County’s motion to dismiss.
(2ER/290.)

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its concern with the “unaccountability” of the County settlement agreement

because Judge Pregerson is “in the middle” of ruling on a contempt motion in

different litigation against the County involving “mental health” at the “Los

Angeles Jail.” (5ER/737.) The court also expressed its view that the County could

do “much better” to resolve the “crisis on our hands,” but “what that ‘much’ is, I’m

not certain yet.” (5ER/738.)

                                 STANDARD OF REVIEW

           This Court considers a petition for writ of mandamus by applying the

five guidelines identified in Bauman, 557 F.2d at 654-55:

           (1)    whether the petitioner has no other means, such as direct appeal, to

                  obtain the desired relief;

           (2)    whether the petitioner will be damaged or prejudiced in any way not

                  correctable on appeal;

           (3)    whether the district court’s order is clearly erroneous as a matter of

                  law;

           (4)    whether the district court’s order is an oft repeated error or manifests a

                  persistent disregard of the federal rules; and

           (5)    whether the district court’s order raises new and important problems

                  or issues of first impression.




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Perry v. Schwarzenegger, 591 F.3d 1147, 1156 (9th Cir. 2010) (citing Bauman,

557 F.2d at 654-55).6

           The Bauman factors are not exhaustive and “should not be mechanically

applied.” In re United States, 791 F.3d 945, 955 (9th Cir. 2015); Hernandez v.

Tanninen, 604 F.3d 1095, 1099 (9th Cir. 2010) (“[R]arely if ever will a case arise

where all the guidelines point in the same direction . . . .”). The key factor is

whether this Court is “firmly convinced” that the district court erred in issuing the

challenged order. Christensen v. U.S. Dist. Ct. for Cent. Dist. of Cal., 844 F.2d

694, 697 (9th Cir. 1988); see also Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100,

111 (2009) (writs of mandamus can “serve as useful ‘safety valve[s]’ for promptly

correcting serious errors” (alteration in original)).

           This Court may also grant mandamus as an exercise of its supervisory

authority, to ensure the judicial system operates in an orderly, efficient manner.

See In re Cement Antitrust Litig. (MDL No. 296), 688 F.2d 1297, 1307 (9th Cir.

1982); United States v. Sanchez-Gomez, 138 S. Ct. 1532, 1540 (2018). In




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 The three factors the Supreme Court has established for mandamus relief—(1) no
other adequate means of relief; (2) the right to relief is clear and undisputable; and
(3) issuing the writ is appropriate under the circumstances—overlap substantially
with the Bauman factors and are also satisfied for the reasons discussed. See
Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 380-81 (2004); Karnoski v. Trump,
926 F.3d 1180, 1203 (9th Cir. 2019) (Cheney factors are “consistent with” Bauman
guidelines).

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supervisory mandamus cases, the Bauman factors are less stringently applied.

Vizcaino v. U.S. Dist. Ct. for W. Dist. of Wash., 173 F.3d 713, 719 (9th Cir. 1999).

A showing of clear error is not a “prerequisite to the granting of mandamus relief”;

the petition only needs to demonstrate “an actual injury not correctable on appeal.”

In re Cement Antitrust Litig., 688 F.2d at 1303, 1307.

           The County meets the standard for mandamus relief under both standards.

                        REASONS FOR GRANTING THE WRIT

I.         The District Court’s Order Is Clear Error

           The district court’s denial of the parties’ stipulated dismissal of this action

with prejudice, based on a binding settlement agreement, is unprecedented. It is

also clearly erroneous. The district court had no authority under Rule 41(a)(2) to

condition dismissal upon the addition of settlement terms that the court wanted.

The court’s discretion to accept ancillary jurisdiction to enforce the settlement

agreement—or not—likewise does not empower the court to impose unwanted

terms on the parties.

           But there is something even more fundamental at play. Under Article III

and separation of powers, it does not matter that the district court thought the

parties should have struck a different or “better” deal. An Article III court’s role is

to resolve the cases and controversies before it, not to dictate settlement terms,




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hold politicians accountable, or resolve an issue, such as the homelessness crisis in

Los Angeles.

           The district court’s pointed disregard for essential separation-of-powers

limitations on the role of federal courts calls for this Court to exercise its

supervisory mandamus powers and direct the district court to dismiss this litigation

with prejudice.

           A.     The District Court Clearly Erred By Construing Rule 41(a)(2) As
                  Empowering It To Condition Dismissal On New Settlement Terms

           Rule 41(a)(2) gives courts limited discretion to enter a stipulated dismissal

“on terms that the court considers proper.” Fed. R. Civ. P. 41(a)(2). But that

discretion is not unbounded, and it does not extend jurisdiction over a settlement

agreement. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 378 (1994);

accord Brass Smith, LLC v. RPI Indus., Inc., 827 F. Supp. 2d 377, 381 n.1 (D.N.J.

2011).

           The court’s discretion is limited to evaluating “whether the defendant will

suffer some plain legal prejudice as a result of the dismissal.” Hamilton v.

Firestone Tire & Rubber Co., Inc., 679 F.2d 143, 145 (9th Cir. 1982) (emphasis

added); Waller v. Fin. Corp. of Am., 828 F.2d 579, 583 (9th Cir. 1987) (“[A]

district court should grant a motion for voluntary dismissal unless a defendant can

show that it will suffer some plain legal prejudice . . . .”). Such prejudice is

categorically absent when a defendant agrees and stipulates to dismissal.

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           On rare occasions, courts also impose terms to protect the interests of

intervenors or other parties. Cf. ITV Direct, Inc. v. Health Sols., LLC, 445 F.3d 66,

69-71 (1st Cir. 2006) (affirming withdrawal of approval of dismissal where

intervenors—who obtained a preliminary injunction against cross-plaintiff—had

not consented to judgment); Ratkovich By & Through Ratkovich v. Smith Kline,

951 F.2d 155, 158 (7th Cir. 1991) (a “district court may impose such terms and

conditions as it believes necessary to protect the other parties from prejudice”).

Neither is a concern here.

           The only other defendant, the City of Los Angeles, has already settled. The

City also needs County settlement funds and commitments to make good on its

own obligations, which motivated Plaintiffs’ decision to settle. (5ER/762

[Plaintiffs: “We entered into this agreement because, frankly, the City told us that’s

what the City needs”]; 2ER/194-196; 5ER/868 [“the City has no objections”].)

Intervenors, who directly represent the interests of the unhoused, have likewise

urged the district court to enter the stipulated dismissal. (5ER/757-758.)

           Terms and conditions are never imposed under Rule 41(a)(2) because the

court wants the parties to strike a different deal to settle their dispute. That is

antithetical to the court’s role as a neutral arbiter of parties’ disputes. A district

court abuses its discretion when it permits “the information gleaned through its

involvement with the settlement talks to exert undue influence over its disposition”


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of a Rule 41 motion. Colon-Cabrera v. Esso Standard Oil Co. (P.R.), Inc., 723

F.3d 82, 89 (1st Cir. 2013).

           Just as the law “does not countenance attempts by courts to coerce

settlements,” In re Ashcroft, 888 F.2d 546, 547 (8th Cir. 1989), a district court

oversteps its role when it attempts to dictate the terms of a private settlement

agreement. See Colon-Cabrera, 723 F.3d at 89 (“[u]sing Rule 41” to penalize

appellant for adhering “to his negotiating position” “intruded too heavily into a

decisionmaking process that should have been left to the parties”); United States v.

U.S. Dist. Ct. for N. Mariana Islands, 694 F.3d 1051, 1061-62 (9th Cir. 2012)

(district court’s improper settlement pressure justified mandamus relief); Gardiner

v. A.H. Robins Co., Inc., 747 F.2d 1180, 1183, 1187 (8th Cir. 1984) (granting writ

where district court improperly attached “material condition” to judgments of

dismissal by notating a private settlement agreement “So Ordered” that it had “no

authority to approve or disapprove”); In re Wolf, 842 F.2d 464, 466 (D.C. Cir.

1988) (granting writ where district court altered stipulated dismissal without

prejudice and dismissed with prejudice).

           The County has been unable to locate a single case refusing a stipulated

dismissal with prejudice under Rule 41(a)(2) where the parties and intervenors

have all urged dismissal based on a binding private settlement agreement. And

that makes sense because it should never happen. 9 Arthur R. Miller, Federal


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Practice and Procedure, § 2367 (4th ed. Apr. 2023 Update) (“If the plaintiff

moves for a voluntary dismissal by court order under Rule 41(a)(2), specifically

requesting that it be with prejudice, it has been held that the district court must

grant that request.”) (collecting cases).

           In the case that comes the closest to the upside-down world the County finds

itself in, the Sixth Circuit granted mandamus relief, directing the district court to

dismiss an action that plaintiff had moved to dismiss with prejudice under

Rule 41(a)(2). Smoot v. Fox, 340 F.2d 301, 302-03 (6th Cir. 1964). Because

voluntary dismissal with prejudice operates as “a complete adjudication of the

issues presented by the pleadings” and is “a bar to a further action between the

parties,” the Sixth Circuit held the district court had no power to force plaintiff to

continue the litigation. Id. at 303 (granting petition because district court abused

its discretion in denying plaintiff’s motion for dismissal: “Such a trial with an

unwilling plaintiff, even if it could be enforced, would be an expensive luxury. . . .

Our district judges have no time to conduct useless trials.”).

           The “classic example of the proper issuance” of a writ of mandamus is

where, as here, the district court’s conduct is “utterly unauthorized by the

controlling statute.” Will v. Calvert Fire Ins. Co., 437 U.S. 655, 662 n.5 (1978);

United States v. Higdon, 638 F.3d 233, 246-48 (3d Cir. 2011) (granting mandamus

where district court “refused to abide by controlling precedent”; “neither this court,


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nor any other court, can tolerate a situation where a judge decides to follow his/her

own custom and concepts of justice rather than the precedent of the applicable

appellate court or the United States Supreme Court. Ours is a nation of laws, not

judges.”), abrogated on other grounds by United States v. Adams, 36 F.4th 137 (3d

Cir. 2022).

           The district court should not have had any say in the parties’ decision to

dismiss this action. That the parties are proceeding under Rule 41(a)(2) at all is a

procedural anomaly. In the normal course, when all parties stipulate to dismissal,

they proceed under Rule 41(a)(1)(ii), and dismissal is automatic. McCall-Bey v.

Franzen, 777 F.2d 1178, 1184 (7th Cir. 1985). Rule 41(a)(2) generally only

“comes into play when the parties are unable to agree on the terms of dismissal but

the plaintiff wants to dismiss without prejudice, and then the court may want to

attach to the dismissal conditions to protect the defendant.” Id. The parties

proceeded under Rule 41(a)(2) because one of the unhoused plaintiffs cannot be

located, and the court has not ruled on an unopposed motion to dismiss him.

(2ER/177-186.)

           This delay alone is grounds for mandamus relief. The district court is

effectively reserving power for itself—that it should not have—by failing to rule

on the motion to dismiss Mr. Whitter. In re Apple Inc., 52 F.4th 1360, 1361 (Fed.

Cir. 2022) (granting mandamus where district court refused to act on longstanding


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motion to transfer, and failure to act would force defendants to “partake in years of

litigation prior to a determination” of that motion); In re Sharon Steel Corp., 918

F.2d 434, 437 (3d Cir. 1990) (granting writ where district court’s “inaction” was

“an unexplained abdication of judicial power”); Calvert Fire Ins. Co., 437 U.S. at

661-62 (“[t]here can be no doubt that, where a district court persistently and

without reason refuses to adjudicate a case properly before it,” writ relief is

warranted).

           B.     The District Court Clearly Erred By Determining Its Discretion
                  To Decline Ancillary Jurisdiction To Enforce The Settlement
                  Agreement Gave It The Power To Compel Further Litigation

           The district court’s May 2, 2023 minute order concedes that Plaintiffs and

the County can “stipulate to dismissal.” (1ER/4.) It is an odd concession, given

that the parties have stipulated to dismiss and the district court has refused their

request three times. But it brings us to the root of the district court’s second clear

error, i.e., that there was “no binding stipulation to dismiss” unless the court agreed

to accept ancillary jurisdiction to enforce the settlement agreement and that the

court’s discretion in this regard empowered it to dictate the terms of the

agreement’s enforcement provision. The district court has no such power.

           Ancillary jurisdiction does not give district courts “freewheeling jurisdiction

to modify settlements.” Keepseagle v. Perdue, 856 F.3d 1039, 1050 (D.C. Cir.

2017). To the contrary, jurisdiction is “drawn exceedingly narrowly” and “only for


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specifically delineated, and narrow, circumstances” set forth in the settlement

agreement. Id.; see also K.C. ex rel. Erica C. v. Torlakson, 762 F.3d 963, 969-70

(9th Cir. 2014) (ancillary jurisdiction to enforce settlement agreement is limited to

enforcing “the terms of the parties’ settlement”). A court’s use of ancillary

jurisdiction to act outside the scope of its jurisdiction, as the district court did here,

is grounds for mandamus relief. Stein, 486 F.3d at 760-64 (granting mandamus to

preclude district court from exercising ancillary jurisdiction to decide whether

accounting firm implicitly promised to pay appellees’ criminal defense fees).

           To be clear, the County is not asserting the district court was obligated to

accept ancillary jurisdiction to enforce the settlement agreement. Because a

court’s decision to do so—or not—is always discretionary, the parties’

“agreement” to confer such powers expressed no more than the hope that the

district court would agree to take on this role. Collins v. Thompson, 8 F.3d 657,

659 (9th Cir. 1993) (“Parties cannot confer jurisdiction by stipulation or consent”).

That reality is also reflected in the terms of the County settlement agreement.

(2ER/199 [“The District Court retains jurisdiction, at its discretion, for purposes of

enforcing this Agreement . . .”]).

           Thus, “a term mandating a court’s continuing jurisdiction over a matter is

not properly considered a term of a settlement,” let alone a material term or

condition precedent. Martin v. Moorhead Metro. Area Transit, 971 F. Supp. 414,


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415 (D. Minn. 1997). “Rather, such provision is more akin to a demand that the

court, a pure third party to the agreement, become bound by it. Just as the parties

lack the power to confer jurisdiction on a court by agreement or mutual consent,

the parties cannot, by agreement, compel the Court’s continuing jurisdiction.” Id.

(striking jurisdictional provision did not undermine validity of consent decree).

           While the district court was free to decline the parties’ request to retain

ancillary jurisdiction, that decision did not give the district court the power to

throw out the parties’ settlement agreement or refuse their stipulated dismissal.

See Child Evangelism Fellowship of Minn. v. Minneapolis Special Sch. Dist. No. 1,

2013 WL 951405, at *3 (D. Minn. Mar. 12, 2013) (after court declined to retain

ancillary jurisdiction, parties’ stipulation of dismissal with prejudice is “now

simply a private settlement”); Brass Smith, 827 F. Supp. 2d at 383-84 (declining to

retain indefinite ancillary jurisdiction over settlement agreement, but

acknowledging it could not “unilaterally change” the terms of the parties’

agreement).

           And that is particularly true where, as here, the Plaintiffs’ and County’s

settlement agreement has a severability clause. To the extent the continuing

jurisdiction language in the effective date section of the agreement became

“unenforceable” due to the court’s decision not to accept such jurisdiction, the




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parties agreed that “all remaining parts” of the agreement “shall remain in full

force and effect and shall in no way be invalidated or affected.” (2ER/140.)

           That does not mean the parties have no recourse for breach, only that their

remedy is in state court, in accordance with ordinary contract principles. Kay v.

Bd. of Educ. v. City of Chicago, 547 F.3d 736, 737 (7th Cir. 2008) (“normal

remedy for a failure to abide by a settlement of federal litigation is a suit on the

settlement contract” in state court under state law).

           After repeatedly urging dismissal and presenting the settlement agreement as

a binding agreement to the court, Plaintiffs appear to have changed course,

attempting to leverage the district court’s abuse of discretion to negotiate a

different deal for themselves. It does not matter. Plaintiffs did not—because they

could not—impose any duty on the County to secure ancillary jurisdiction as a

condition of settlement. Rather, Plaintiffs signed a binding settlement agreement

and urged the district court to dismiss their action based on that agreement,

knowing all the while that the court had no obligation to retain ancillary

jurisdiction. They are bound to that agreement and their stipulation to dismiss.

           C.     The District Court Clearly Erred By Conditioning Dismissal On
                  Its Oversight Over The Executive Branch And Forcing The
                  Parties To Trial In The Absence Of A Case Or Controversy

           Mandamus is also warranted to confine the district court to the lawful

exercise of its Article III authority. Cheney, 542 U.S. at 381 (granting mandamus


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“to restrain a lower court when its actions would threaten the separation of

powers”). There is no longer a Case or Controversy between the parties in this

fully settled litigation. The district court cannot force the County to continue

litigating because the court wants to hold elected officials “accountable” for the

homelessness crisis. That is not a federal court’s role. When a Rule 41(a)(2)

dismissal with prejudice is stipulated by all parties, without objection by

intervenors, the district court’s role should have the same limits that are operable

under Rule 41(a)(1), namely, “[t]he dismissal terminates the case all by itself.

There is nothing left to adjudicate.” Szabo Food Serv., Inc. v. Canteen Corp., 823

F.2d 1073, 1078 (7th Cir. 1987).

           Article III does not permit district courts to pursue “broad-scale

investigation” into government functions “because “this approach would have the

federal courts as virtually continuing monitors of the wisdom and soundness of

Executive action.” Laird v. Tatum, 408 U.S. 1, 14-15 (1972). This is core to the

separation of powers doctrine.

           Courts likewise “do not possess a roving commission to publicly opine on

every legal question,” nor do they “exercise general legal oversight of the

Legislative and Executive Branches, or of private entities.” TransUnion LLC v.

Ramirez, 141 S. Ct. 2190, 2203, 2205 (2021) (“Article III grants federal courts the

power to redress harms that defendants cause plaintiffs, not a freewheeling power


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to hold defendants accountable for legal infractions.”); United States v. Sineneng-

Smith, 140 S. Ct. 1575, 1579 (2020) (“our system ‘is designed around the premise

that [parties represented by competent counsel] know what is best for them, and

are responsible for advancing the facts and argument entitling them to relief’”;

courts “do not, or should not, sally forth each day looking for wrongs to right”

(alteration in original)).

           This Court has granted mandamus relief, even where there is a suggestion of

interference with the executive branch. See, e.g., United States, 791 F.3d at 958

(granting mandamus where court’s actions created “the impression that the courts

are intruding upon the traditional prerogatives of the political branches” and

“risked giving the impression” that the court “was motivated by his disagreement

with the enforcement priorities of specific federal agencies”).

           There is far more than a suggestion of interference here. The district court

has vastly overstepped. The court has tried to dictate the County’s budget

allocations. (5ER/776-779 [“don’t throw the lack of money at me from the

County’s perspective”].) It has instructed that the County’s elected officials should

be signatories to the settlement agreement, even though it did not make this

demand of the City. (5ER/782 [“Step up and put your names on the documents

and be responsible”].) Over and over again, it has relied on extra-record evidence




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to justify its rulings. (ER776-778 ; 5ER/737-739; 5ER/824-827); LA Alliance, 14

F.4th at 952, 955, 957, 960.

           And the court has come right out and stated—repeatedly—that it will not

dismiss this litigation without its preferred judicial monitoring and enforcement

powers because the court does not “trust” the County or politicians in general.

(5ER/776 [“I have to have accountability” “[b]ecause while I may trust you

implicitly, Chairwoman . . . I don’t know who your successor is. And I don’t trust

that [political] process.”]; 5ER/838 [“Why am I going to buy into a settlement

agreement upon personal relationships? Where are my milestones and goals?

Where is my guarantee in this, Matt?”]; 5ER/949 [regarding City settlement

agreement: “I’ve heard more promises broken than you can possibly imagine.

And, so, therefore, I don’t care what a politician says . . . I won’t sign this or even

consider it unless there’s a monitor”].)

           This is not a federal court’s prerogative. “The law of Article III standing,

which is built on separation-of-powers principles,” is intended to “prevent the

judicial process from being used to usurp the powers of the political branches.”

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013). When a court refuses to

adhere to these boundaries, mandamus relief is appropriate. Cheney, 542 U.S. at

382 (“mandamus standards are broad enough” to “prevent a lower court from

interfering with a coequal branch’s ability to discharge its constitutional


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responsibilities”); Ex parte Republic of Peru, 318 U.S. 578, 587 (1943) (when

State Department elected to “settle claims” by “diplomatic negotiations,” “the

delay and inconvenience of a prolonged litigation [should] be avoided by prompt

termination of the proceedings in the district court”).

           The County, of course, has every intention of living up to its obligations

under the settlement agreement. But the parties are not obligated to obtain the

court’s approval for their private settlement agreement, and they are not asking for

it. The district court had a ministerial act to perform: Enter a stipulated dismissal

with prejudice upon the parties’ request that fully resolves litigation between them.

Because the district court clearly erred by failing to do so, mandamus relief is

warranted.

II.        The District Court’s Order Demonstrates A Manifest Disregard For
           Article III And The Boundaries Of Its Discretionary Authority

           Even if it were not so plain that the district court committed clear errors in

denying the parties’ stipulated dismissal, it would be appropriate for this Court to

exercise its supervisory mandamus authority over the district court “to ensure that

the judicial system operates in an orderly and efficient manner.” In re Cement

Antitrust Litig., 688 F.2d at 1307. The district court’s rulings in this case show a

clear and continuing disregard for the limits of its own authority. See In re Canter,

299 F.3d 1150, 1154-55 (9th Cir. 2002) (granting mandamus where court

manifested “a persistent disregard of the federal rules” and “perpetuated its

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excursion outside the confines of its lawful jurisdiction”); In re Am. Med. Sys.,

Inc., 75 F.3d 1069, 1089 (6th Cir. 1996) (granting writ to “avoid repeated errors . .

. in applying the Federal Rules of Civil Procedure” where abuse of discretion was

“so clear” and the district judge had “a history of such conduct”).

           As demonstrated in Section I.C., ante, the district court has disregarded the

most basic limits on its powers, which is to “resolve not questions and issues but

‘Cases’ or ‘Controversies.’” Ariz. Christian Sch. Tuition Org. v. Winn, 563 U.S.

125, 132 (2011). It should go without saying that there is no case or controversy

where a parties’ settlement agreement has resolved their dispute. Gator.com

Corp. v. L.L. Bean, Inc., 398 F.3d 1125, 1132 (9th Cir. 2005).

           The district court’s refusal to dismiss this action is just the tip of the iceberg.

This Court has already been called upon to rein in the district court, admonishing

the court that its order to place $1 billion in City funds in escrow and requiring the

City and County to house everyone in Skid Row within 180 days, based on “extra-

record evidence” and “legal theories that Plaintiffs did not plead or argue,”

exceeded its authority. LA Alliance, 14 F.4th at 955, 960. And as mentioned, the

district court would have no authority to refuse the parties’ stipulated dismissal if it

had ruled on an unopposed joint motion to dismiss Plaintiff Gary Whitter, left

undecided for months on end.




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           A court’s “first order of business” should be to satisfy itself of jurisdiction,

but the district court has never done that either. Ralls Corp. v. Comm. on Foreign

Inv. in U.S., 758 F.3d 296, 307 (D.C. Cir. 2014). The district court’s jurisdiction is

seriously in doubt, given the problems with standing raised by this Court in

LA Alliance, 14 F.4th at 957, 958-59, which Plaintiffs have never remedied. After

LA Alliance was decided, the County moved to dismiss Plaintiffs’ claims on

several grounds, including that the district court had no subject matter jurisdiction.

(4ER/558-594.) But the court never decided the motion, taking it under

submission for more than six months, and then gave Plaintiffs leave to file a

second amended complaint. (2ER/290.)

           The district court’s usurpation of power, by forcing the parties to litigate a

fully-settled action, failing to rule on the pleadings, and refusing to dismiss an

absentee plaintiff, should be corrected by issuance of a writ of mandamus.

III.       Defendants Have No Other Means Of Obtaining Immediate Review
           And Will Be Prejudiced In A Way Not Correctable On Appeal

           The County has no adequate means, other than by a writ of mandamus, to

obtain immediate review of the April 20 Order. The County cannot appeal the

denial of a Rule 41(a)(2) stipulated dismissal. Paturzo v. Home Life Ins. Co., 503

F.2d 333, 336 (4th Cir. 1974) (denial of Rule 41(a)(2) motion was “interlocutory

and unappealable”). The district court denied the County’s motion to certify the



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April 20 Order for interlocutory appeal a few days after it was filed, without

allowing full briefing or a hearing. Mandamus relief is the County’s only recourse.

           Case law supports that mandamus is appropriate when a district court’s

refusal to dismiss a lawsuit has left the parties “the option of fashioning a new

[settlement agreement] less desirable or proceeding with litigation against their

will.” See In re Smith, 926 F.2d 1027, 1030 (11th Cir. 1991). As in Smith, the

district court here has “thwarted the possibility of an appealable final order.” Id.

The County is left with the option of bowing to the district court’s pressure tactics

or proceeding to litigate fully settled claims. Mandamus relief is intended for just

these situations. See In re Benvin, 791 F.3d 1096, 1103 (9th Cir. 2015) (granting

mandamus where district court inserted itself into plea discussions and left

defendant to choose between entering a guilty plea on one count or proceeding “to

trial on all fifty counts”); Canter, 299 F.3d at 1154 (issuing writ of mandamus

where district court “needlessly” disrupted bankruptcy court’s processing of case

and left petitioners “in limbo”); Sharon Steel Corp., 918 F.2d at 437 (granting writ

where district court conditioned grant of motion for reconsideration on “mutual

consent” and effectively “insulated itself from appellate review”).

           The district court’s acting outside the bounds of its Article III authority

cannot be fully remedied on appeal. In re U.S. Dep’t of Educ., 25 F.4th 692, 705

(9th Cir. 2022) (no other means of relief beyond mandamus where “[s]erious


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repercussions for the relationship between different branches of government could

result”); Cheney, 542 U.S. at 381 (granting writ relief “to restrain a lower court

when its actions would threaten the separation of powers”).

IV.        The Order Raises New And Important Issues Of First Impression

           To call the district court’s ruling unprecedented is an understatement. No

court has ever denied the stipulated dismissal of an entire action with prejudice

because the court does not “trust” the parties to abide by the terms of their private

settlement agreement and wants to involve itself in monitoring their conduct. No

court has ever held that its discretion to refuse ancillary jurisdiction to enforce a

settlement agreement results in voiding the underlying agreement.

           The district court’s abuse of its authority, to claim powers for itself that

exceed its role as an Article III judge, is egregious. In re Pruett, 133 F.3d 275, 281

(4th Cir. 1997) (mandamus warranted where petition presented “issue of first

impression that involves the power of the district court”).

           The stakes are high. The district court views itself as a catalyst for social

and political change. See, e.g. (5ER/772-775 [“my decision today is based upon

not whether you’ve made some progress, but is that enough”]; 5ER/934, 938 [“this

suit started primarily with Skid Row . . . it’s now morphed into the entire City and

the entire County . . . ‘Quit dabbling in bits and pieces.’ . . . I want to spend the




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time on the whole amount because it’s no solution in this piecemeal wacamole

[sic] approach”].)

           But even setting aside for a moment that that is not a federal court’s role, the

district court’s refusal to allow the parties to proceed with a settlement agreement

that will provide up to an estimated $850.5 million in new resources to people

experiencing homelessness is indefensible. The court is diverting substantial

resources, at public taxpayer expense, to litigation that can be better spent on the

problems of homelessness. The court’s April 20, 2023 Order is an impediment to

this essential work and threatens real harm.

           This litigation has already gone on for three years. The County should not

be forced to litigate fully resolved claims for years longer because the district court

wants to monitor and thinks the parties can do “much better,” though the court

admittedly does not know “[w]hat that ‘much’ is.” (5ER/738); In re Va. Elec. &

Power Co., 539 F.2d 357, 365 (4th Cir. 1976) (granting mandamus to prevent

“extravagantly wasteful and useless duplication of the time and effort of the federal

courts”). The “safety valve[]” of mandamus review is eminently appropriate in

these circumstances. Mohawk Indus., 558 U.S. at 111.

V.         A Stay Of Proceedings Is Warranted

           The County also asks this Court to exercise its authority under the All Writs

Act to stay district court proceedings while it considers this mandamus petition.


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See 9th Cir. Gen. Order 6.8.a (motions panel “may also issue a stay or injunction

pending further consideration of the application”).

           Whether to issue a stay is “an exercise of judicial discretion” to be “guided

by sound legal principles,” Nken v. Holder, 556 U.S. 418, 433-34 (2009), based on

the following factors: (1) the applicant’s likely success on the merits;

(2) irreparable injury to the applicant absent a stay; (3) substantial injury to the

other parties; and (4) the public interest. Hilton v. Braunskill, 481 U.S. 770, 776-

77 (1987); In re United States, 884 F.3d 830, 834 (9th Cir. 2018) (granting stay,

pending consideration of writ of mandamus).

           The arguments set out above show that the County has a strong likelihood of

success in obtaining mandamus. A stay of proceedings does not harm Plaintiffs,

given that they have already stipulated to the dismissal of this action with

prejudice. Nor will there be any harm to Intervenors, who have urged the district

court to dismiss the action. Finally, the public interest strongly favors a stay,

because it allows the County to focus its resources on serving the public, including

by addressing homelessness, rather than diverting them to litigation.

                                      CONCLUSION

           The Court should grant a stay of proceedings in the district court while it

considers this petition. The petition should be granted and the district court

directed to vacate its April 20, 2023 Order and dismiss the case with prejudice.


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                                            Respectfully Submitted,

DATED: May 11, 2023                         MILLER BARONDESS, LLP



                                            By:      /s/ Mira Hashmall
                                                  MIRA HASHMALL
                                                  Attorneys for Petitioner
                                                  COUNTY OF LOS ANGELES




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                          STATEMENT OF RELATED CASES

           Intervenors’ pending appeal in LA Alliance for Human Rights v. Los Angeles

Catholic Worker, et al. v. City of Los Angeles, et al., No. 22-55687, is related.



DATED: May 11, 2023                         MILLER BARONDESS, LLP



                                            By:      /s/ Mira Hashmall
                                                  MIRA HASHMALL
                                                  Attorneys for Petitioner
                                                  COUNTY OF LOS ANGELES




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                 CERTIFICATE REGARDING COMPLIANCE WITH

                                        FRAP 21(d)

           This PETITION FOR WRIT OF MANDAMUS TO THE UNITED

STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA AND

REQUEST FOR STAY OF PROCEEDINGS IN DISTRICT COURT contains

8,362 words, exclusive of the material specified in FRAP 32(f).



DATED: May 11, 2023                         MILLER BARONDESS, LLP



                                            By:      /s/ Mira Hashmall
                                                  MIRA HASHMALL
                                                  Attorneys for Petitioner
                                                  COUNTY OF LOS ANGELES




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    No. ___________

                 UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT

                     In re: COUNTY OF LOS ANGELES
                                Petitioner,
                                       v.
                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                     (Western Division - Los Angeles)
                               Respondent.

                LA ALLIANCE FOR HUMAN RIGHTS, et al.
                        Real Parties in Interest.

                    On Petition for a Writ of Mandamus in
                     Case No. 2:20-cv-02291 (C.D.Cal.)


                         EXCERPTS OF RECORD
                              INDEX VOLUME


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2.         4/20/23 Order re Status Conference                534       1         6
3.         5/9/23   Scheduling Order and Order re            563       2         8
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                    Amended Complaint
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                    Dismiss Second Amended Complaint
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12.        4/18/23 Joint Submission of Addendum to           533       2         124
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                    Plaintiffs and City of Los Angeles
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                    Los Angeles Only [Fed.R.Civ.P.
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                    Defendant City of Los Angeles Only
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                    Dismiss First Amended Complaint




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 EX.        DATE                DOCUMENT                      DKT.     VOL PAGE
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40.        11/14/22 Transcript of Proceedings of Final       505       5         862
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    No. ___________

                 UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT

                     In re: COUNTY OF LOS ANGELES
                                Petitioner,
                                       v.
                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                     (Western Division - Los Angeles)
                               Respondent.

                LA ALLIANCE FOR HUMAN RIGHTS, et al.
                        Real Parties in Interest.

                    On Petition for a Writ of Mandamus in
                     Case No. 2:20-cv-02291 (C.D.Cal.)


                         EXCERPTS OF RECORD
                                 VOLUME 1


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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

   Case No. LA CV 20-02291-DOC-KES                                        Date: May 2, 2023

   Title: LA ALLIANCE FOR HUMAN RIGHTS ET AL. v. CITY OF LOS ANGELES ET
          AL.


   PRESENT:

                       THE HONORABLE DAVID O. CARTER, JUDGE

                  Karlen Dubon                                    Not Present
                 Courtroom Clerk                                 Court Reporter

         ATTORNEYS PRESENT FOR                          ATTORNEYS PRESENT FOR
               PLAINTIFF:                                    DEFENDANT:
              None Present                                    None Present


          PROCEEDINGS (IN CHAMBERS): ORDER DENYING MOTION TO
                                     CERTIFY AND APPLICATION TO
                                     STAY [544], [545]

           Before the Court are Defendant County of Los Angeles’s (the “County”) Motion to
   Certify for Interlocutory Appeal (“Mot.”) (Dkt. 544) and Ex Parte Application to Expedite
   Briefing and Stay Case (“App.”) (Dkt. 545). The County seeks to expedite briefing and
   stay proceedings pending appeal of the Court’s April 20, 2023 Minute Order (“April 20
   Order”) denying the parties’ joint stipulation to dismiss this action with prejudice pursuant
   to the terms of a settlement agreement. For the reasons described below, the Court
   DENIES the County’s Motion and Application.

   I.     Background

          The facts of this case have been discussed in-depth in the Court’s previous orders.
   On April 20, 2023, the Court held a status conference regarding the parties’ renewed
   stipulation to dismiss the case with prejudice, pursuant to a proposed settlement agreement.
   (Dkt. 536).


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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

    Case No. LA CV 20-02291-DOC-KES                                             Date: May 2, 2023
                                                                                           Page 2

           The Court declined to retain jurisdiction to enforce the terms after finding no
   accountability, and accordingly, denied the stipulation. A week later, the County moved to
   certify the Court’s April 20 order for interlocutory appeal under 28 U.S.C. § 1292(b).
   (“Mot.”) (Dkt. 544). Plaintiffs filed an Opposition on April 29, 2023. (“Opp’n.”) (Dkt.
   549).

   II.    Legal Standard

           Under 28 U.S.C. § 1292(b), a district court may certify an issue for interlocutory
   appeal if three elements are met: (1) there is a controlling question of law; (2) there are
   substantial grounds for differences of opinion; and (3) an immediate appeal may materially
   advance the ultimate termination of the litigation. In re Cement Antitrust Litig., 673 F.2d
   1020, 1026 (9th Cir. 1982). Interlocutory appeals should be granted “only in extraordinary
   cases,” and not “merely to provide review of difficult rulings in hard cases.” U.S. Rubber
   Co. v. Wright, 359 F.2d 784, 785 (9th Cir. 1966). Gibson Brands Inc. v. John Hornby
   Skewes & Co., No. CV 14-00609 (SSX), 2016 WL 7542437, at *1 (C.D. Cal. Dec. 29,
   2016). A district court must certify an otherwise non-appealable question of law if its order
   “involves a controlling question of law as to which there is substantial ground for
   difference of opinion” and “an immediate appeal from the order may materially advance
   the ultimate termination of the litigation.” 28 U.S.C. § 1292(b). The primary purpose of the
   interlocutory appeal statute is to “avoid protracted and expensive litigation”; appeal is
   granted only in “extraordinary circumstances.” In re Cement Antitrust Litig., 673 F.2d at
   1026. The district judge may or may not certify a question depending on whether the
   statutory requirements are met. Green v. Occidental Petroleum Corp., 541 F.2d 1335, 1338
   (9th Cir.1976).

           A question of law is “controlling” if “resolution of the issue on appeal could
   materially affect the outcome of litigation in the district court.” In re Cement Antitrust
   Litig., 673 F.2d at 1026. “Courts traditionally will find that a substantial ground for
   difference of opinion exists where the circuits are in dispute on the question and the court
   of appeals of the circuit has not spoken on the point . . . or if novel and difficult questions
   of first impression are presented.” Falco v. Nissan N. Am. Inc., 108 F. Supp. 3d 889, 892
   (C.D. Cal. 2015). But “just because a court is the first to rule on a particular question or
   just because counsel contends that one precedent rather than another is controlling does not
   mean there is such a substantial difference of opinion as will support an interlocutory
   appeal.” Id. (citing Couch v. Telescope Inc., 611 F.3d 629, 633 (9th Cir. 2010) (citation and
   internal quotation marks omitted)).


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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

                                             CIVIL MINUTES – GENERAL

       Case No. LA CV 20-02291-DOC-KES                                                              Date: May 2, 2023
                                                                                                               Page 3

   III.      Discussion

           The County seeks to certify the Court’s April 20 order for appeal because it presents
   “three controlling questions of law that merit review”: (1) “the scope of a district court’s
   discretion to disapprove a stipulated dismissal with prejudice pursuant to Rule 41(a)(2)
   following the parties’ execution of a binding private settlement agreement disposing of all
   claims between them”; (2) “whether a district court may condition approval of a Rule
   41(a)(2) dismissal on the addition of new settlement terms that are neither agreed to by the
   parties, nor requested by any party or intervenor”; and (3) “whether there remains a
   justiciable case or controversy between the parties, considering they have settled all claims
   between them.” Mot. at 2.

          The Court does not find that any these questions present any “controlling issue of
   law.” The County misconstrues the basis of this Court’s April 20 Order denying the joint
   stipulation to dismiss. The County contends “the Court criticized the settlement agreement
   and demanded that the parties change its terms.” Mot. at 17.

           The Court’s ruling considered the practical weight of the accelerating homeless
   crisis. The Court raised its concerns about the accountability in the proposed settlement,
   particularly the minimal oversight and narrowly drawn dispute resolution. (“Transcript
   4/20/23”) (Dkt. 540) at 24–25; 47. The Court and the parties discussed the inadequacy of
   the proposed terms and how they failed to meet the needs of the County. 1

          These considerations do not render the Court’s decision an abuse of discretion or
   clear error. The Court denied the stipulation after declining to continue jurisdiction over the
   proposed settlement agreement. This decision does not materially affect the outcome of the
   case, as the parties can still stipulate to dismissal.

           Plaintiffs correctly note, moreover, that the County “expressly agreed that the
   settlement agreement would not become binding unless the Court (i) dismissed the case
   and (ii) agreed to ‘continuing enforcement.’” Opp’n. at 1. It is within the Court’s
   discretion to decline to exercise jurisdiction over terms that provided no accountability.
   Plaintiffs go on to state that the proposed settlement “was never a private deal. It called for
   the Court’s retention of jurisdiction to enforce the settlement, which the Court was under
   no obligation to give.” Opp’n. at 2–3. “[A] court is under no obligation to retain
   1
     At the hearing, several parties agreed that the proposed settlement was inadequate. For example, President of the City
   Council of Los Angeles Paul Krekorian stated in court: “If the question is: Will this be sufficient to meet the moment?
   I think the answer has to be no.” Dkt. 540 at 9. Mr. Krekorian explained that the settlement terms for additional mental
   health beds would amount to fewer than one bed a day, “which likely won’t even keep up with the increase in
   demand.” Id. at 9–10.
                                                                                                                              ER 4
             Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 56 of 1079

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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

                                            CIVIL MINUTES – GENERAL

       Case No. LA CV 20-02291-DOC-KES                                                           Date: May 2, 2023
                                                                                                            Page 4

   jurisdiction over a settlement agreement, but may do so if it chooses.” Brass Smith, LLC v.
   RPI Indus., Inc., 827 F. Supp. 2d 377, 381 (2011).

           The Court properly exercised its discretion to decline to retain jurisdiction over
   enforcing terms the Court deemed inadequate with no accountability. As Plaintiffs contend,
   “[w]ithout the Court’s consent to ‘continuing enforcement,’ there is no deal and no grounds
   for a stay or appeal,” because a live case or controversy exists. See Opp’n at 1.

   IV.       Disposition

           The Court again emphasizes that should the parties come to a private agreement,
   without the involvement of the Court, the parties may then move to voluntarily dismiss this
   action. 2 Here, there was no binding stipulation to dismiss after the Court declined to retain
   jurisdiction.

          The Court finds no “controlling question of law” to justify interlocutory appeal
   under 28 U.S.C. § 1292(B). Accordingly, the Court DENIES the County’s Motion and
   Application. (Dkts. 544, 545).

             The Clerk shall serve this minute order on the parties.


       MINUTES FORM 11                                                                  Initials of Deputy Clerk: kd
       CIVIL-GEN




   2
     The parties’ proposed order (Dkt. 485-2) granting the stipulation to dismiss provides that the Court “retains
   jurisdiction until end of fiscal year 2026/2027 (June 30, 2027) for the purpose of enforcing the Agreement, in
   accordance with Section P of the parties’ settlement agreement.” See Dkt. 485-2. As the Court previously noted,
   however, the Court’s approval is unnecessary: “This requires no judicial approval. In other words, I understand that
   you can settle without me. You can withdraw the complaint. But you are asking the Court to put my approval on this.
   And by implication, then, it can go to the taxpayers as approval with the Court's blessings, in a sense.” Reporter’s
   Transcript of Proceedings, 4/20/2023 (Dkt. 540) at 373.
                                                                                                                          ER 5
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 57 of 1079


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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No: LA CV 20-02291-DOC-(KESx)                                  Date: April 20, 2023

   Title: LA ALLIANCE FOR HUMAN RIGHTS, et al. v. CITY OF LOS ANGELES, et al.



  PRESENT: THE HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

            Karlen Dubon                                       Court Smart
           Courtroom Clerk                                    Court Reporter

        ATTORNEYS PRESENT FOR                            ATTORNEYS PRESENT FOR
               PLAINTIFF:                                        DEFENDANT:
            Elizabeth Mitchell                      Scott Marcus, L.A. City Attorney’s Office
            Matthew Umhofer                           Jennifer Mira Hashmall, L.A. County
                                                        Ana Wai-Kwan Lai, L.A. County
                                                           Carol A. Sobel, Intervenor
                                                         Shayla Renee Myers, Intervenor

   PROCEEDINGS:                 STATUS CONFERENCE (Los Angeles First Street)

         Also Present, Daniel Conway for LA Alliance, Kayla Coats, Mr. Krekonian, Lindsey
         Honvath, Janice Hahn, and Ivan Sulie.

         The case is called. The Court hears the parties’ terms of stipulated proposed agreement.

         For reasons as stated on the record, the Court DENIES the parties’ proposed stipulation.

         The Court lifts the stay and reinstates proceedings in this case.

         Answer to Second Amended Complaint (Dkt. 454) is due May 3, 2023.

         Scheduling Conference is set for May 9, 2023 at L.A. First Street Courthouse.


                                                                               1        :      10
                                                                        Initials of Deputy Clerk: kdu


                                                                                                        ER 6
    Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 58 of 1079




    No. ___________

                 UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT

                     In re: COUNTY OF LOS ANGELES
                                Petitioner,
                                       v.
                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                     (Western Division - Los Angeles)
                               Respondent.

                LA ALLIANCE FOR HUMAN RIGHTS, et al.
                        Real Parties in Interest.

                    On Petition for a Writ of Mandamus in
                     Case No. 2:20-cv-02291 (C.D.Cal.)


                         EXCERPTS OF RECORD
                                 VOLUME 2


OFFICE OF COUNTY COUNSEL                MILLER BARONDESS, LLP
Dawyn R. Harrison (SBN 173855)          Louis R. Miller (SBN 54141)
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Katherine M. Bowser (SBN 230626)        mhashmall@millerbarondess.com
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    614851.1
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 59 of 1079

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  1                             #:18339

 2
 3
 4
 5
 6                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 7                            SOUTHERN DIVISION
 8
 9    LA ALLIANCE FOR HUMAN RIGHTS , et al. Case
                                                No.: 2:20−cv−02291−DOC−KES
 10                  Plaintiff(s),
                                                SCHEDULING ORDER & ORDER
 11          vs.                                RE: PRETRIAL AND TRIAL
      CITY OF LOS ANGELES, et al.               PROCEDURES
 12
 13                                             Fact Discovery Cut-Off:
 14                 Defendant(s).               September 8, 2023
 15                                             Motion Cut-Off:
 16                                             October 10, 2023 at 08:30 AM
 17                                             Final Pretrial Conference:
 18                                             October 24, 2023 at 09:00 AM
 19                                             Trial:
 20                                             November 6, 2023 at 09:00 AM
 21
 22
 23
 24
 25          This Scheduling Order governs the course of all pretrial and trial proceedings

 26    in this case. For further guidance, consult the Federal Rules of Civil Procedure
 27    and the Local Rules.
 28    \\\

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                                                                                              ER 8
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 60 of 1079

Case 2:20-cv-02291-DOC-KES Document 563 Filed 05/09/23 Page 2 of 12 Page ID
  1                             #:18340
           I.     Court Appearances
 2         Parties shall be represented at all court appearances by lead counsel, the
 3    counsel expected to be in charge of conducting trial on behalf of the parties. The
 4    parties (or counsel) must appear in person for hearings and conferences before

 5    the Court. The Court does not permit telephonic appearances.
 6         Under no circumstances should counsel, or a party if the party is appearing
 7    pro se, fail to appear at a court appearance unless their appearance has been waived
 8    by prior order of the Court. Even if the parties have reached a settlement, counsel
 9    for all parties, or the party if appearing pro se, must appear at court appearances
 10   until a stipulation of dismissal signed by all parties has been lodged with the Court.
 11        II.    Settlement
 12        If the parties have agreed to appear before a neutral selected from the Court’s

 13   Mediation Panel (ADR Procedure No. 2) or to participate in private mediation
 14   (ADR Procedure No. 3), the parties shall notify the Court of the name and contact
 15   information of the mediator within twenty-one (21) days of this Order if they have
 16   not already done so in their Rule 26(f) report.
 17        If settlement is reached at any time in this litigation, the parties shall

 18   immediately notify the Court by telephone, email, or by filing a notice of settlement.

 19   Local Rule 40-2. The Court’s Courtroom Deputy Clerk can be reached at (714) 338-

 20   4543. The Court’s email address is DOC_Chambers@cacd.uscourts.gov.
 21        III.    Joinder of Parties and Amendment of Pleadings
 22        All motions to join other parties (including Doe or Roe defendants) or to
 23   amend the pleadings shall be filed and served within sixty (60) days of the date
 24   of this Order and noticed for hearing within ninety (90) days of this Order.

 25        IV.    Discovery Cut-Off

 26        The Court has established a cut-off date for discovery in this action. All
 27   discovery is to be completed on, or prior to, the cut-off date. Plan now to complete
 28   discovery on the schedule set; a continuance is unlikely. Accordingly, the

                                               −2−
                                                                                               ER 9
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 61 of 1079

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  1                             #:18341
      following discovery schedule shall apply in this Court:
 2          (1)   Depositions: All depositions shall be scheduled to commence at least
 3                five (5) working days prior to the discovery cut-off date. A deposition
 4                which commences five (5) days prior to the discovery cut-off date

 5                may continue beyond the cut-off date, as necessary.
 6          (2)   Written Discovery: All interrogatories, requests for production of
 7                documents, and requests for admissions shall be served at least forty-
 8                five (45) days before the discovery cut-off date. The Court will not
 9                approve stipulations between counsel that permit responses to be
 10               served after the cut-off date except in unusual circumstances and upon
 11               a showing of good cause.
 12         (3)   Discovery Motions: Any motion regarding the inadequacy of responses

 13               to discovery must be filed and served no later than five (5) days after
 14               the discovery cut-off date. Routine discovery motions will be referred
 15               to the magistrate judge assigned to the case. Whenever possible, the
 16               Court expects counsel to resolve discovery disputes among themselves
 17               in a courteous, reasonable, and professional manner. Repeated resort to

 18               the Court for guidance in discovery is unnecessary and may result in

 19               the Court appointing a Special Master at the joint expense of the parties

 20               to resolve discovery disputes. The Court expects that counsel will
 21               strictly adhere to the Civility and Professional Guidelines adopted by
 22               the United States District Court for the Central District of California.
 23         (4)   Disclosure of Expert Testimony: The above discovery cut-off date
 24               includes expert discovery, unless otherwise ordered by the Court, and the

 25               Court orders the sequence of disclosures as provided by Fed. R. Civ.

 26               Proc. 26(a)(2)(D), unless the parties otherwise stipulate in writing
 27               and obtain the Court’s approval.
 28   \\\

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                                                                                              ER 10
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 62 of 1079

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  1                             #:18342
            V.     Protective Orders and Under Seal Filings
 2          All protective orders are to be noticed before the magistrate judge assigned
 3     to your case, unless otherwise ordered by Court.
 4          Stipulated Protective orders or confidentiality orders generally do not control

 5     under seal filings. Applications for under seal filings must state with specificity the
 6     basis for protection and should not rely exclusively on the existence of a protective
 7     order. See Judge Carter’s Initial Standing Order for more information.
 8          VI.     Motions Generally
 9          Counsel should note the timing and service requirements of Local Rules 6
 10    and 7 and its subparts including:
 11         (1)    Rule 6-1: Notice of motion and the moving papers must be filed
 12                and served twenty-eight (28) days before the noticed hearing date,

 13                unless the notice is served by mail, in which case service is required
 14                thirty-one (31) days prior to the noticed hearing date;
 15         (2)    Rule 7-9: Opposing papers shall be filed twenty-one (21) calendar
 16                days before the hearing date; and
 17         (3)    Rule 7-10: Reply papers, if any, shall be filed fourteen (14) calendar

 18                days before the hearing date.

 19         (4)    Rule 7-11: If the hearing date is continued, the deadlines for filing

 20                opposing and reply papers are automatically extended unless the
 21                Court orders otherwise.
 22         Counsel must comply with the timing requirements of the Local Rules so that
 23    chambers can properly prepare for motion matters.
 24         VII.    Motions for Summary Judgment

 25         The motion cut-off date is the day that the Court will hear motions for

 26    summary judgment. Thus, motions must be filed several weeks in advance of this
 27    date as required by Local Rule 6.
 28         In general, the Court will hear only one motion for summary judgment per

                                                −4−
                                                                                                 ER 11
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  1                             #:18343
      party. Cross motions for summary judgment will all be heard on the same day,
 2    after the close of discovery. In other words, the Court will not entertain piecemeal
 3    motions for partial summary judgment before the factual record is complete.
 4         All motions (except motions in limine dealing with admissibility of

 5    evidence) must be disposed of before the Final Pretrial Conference.
 6                A.    Moving Party’s Statement of Uncontroverted Facts and
 7                      Conclusions of Law
 8         The uncontroverted facts shall be set forth in a two column format. The left
 9    hand column shall set forth the allegedly undisputed fact. The right hand column
 10   shall set forth the evidence that supports the factual statement. The fact statements
 11   shall be set forth in sequentially numbered rows. Each cell should contain a
 12   narrowly focused statement of fact, and address a single subject in as concise a

 13   manner as possible.
 14                                     SUF Example
 15     SUF #/ Undisputed Fact                         Evidence
 16     #1 (Moving party’s first undisputed fact)      (citations to supporting evidence)

 17     #2 (Moving party’s second undisputed fact) (citations to supporting evidence)

 18               B.   Opposing Party’s Statement of Genuine Disputes of
 19                     Material Fact

 20        The first part of the opposing party’s Statement of Genuine Disputes shall
 21   track the moving party’s Statement of Uncontroverted Facts. It shall be set forth

 22   in a two column format. The left hand column shall restate the allegedly undisputed

 23   fact and supporting evidence, and the right hand column shall state either that the
 24   fact is undisputed or disputed. The opposing party may dispute all or only a portion

 25   of the allegedly undisputed fact, but if disputing only a portion, the opposing party

 26   must specify clearly what portion is being disputed.

 27        To demonstrate that a fact is disputed, the opposing party shall briefly state

 28   why it disputes the moving party’s allegedly undisputed fact, cite to the relevant

                                             −5−
                                                                                              ER 12
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 64 of 1079

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  1                             #:18344
       exhibit or other evidence controverting the allegedly undisputed fact, and describe
 2     what it is in that exhibit or evidence that controverts the allegedly undisputed fact.
 3          If the opposing party objects to the evidence supporting an allegedly undis-
 4     puted fact, the party shall state in the right hand column the presence of that

 5     objection, by simply stating “Evidentiary Objection.” The specific grounds of
 6     each objection should be included in a separate table.
 7          No legal argument shall be set forth in this document.
 8          The opposing party may also specify additional material facts that bear on
 9     or relate to the issues raised by the moving party, which shall follow the same
 10    two column format described above for the moving party’s Statement of
 11    Uncontroverted Facts. These additional facts shall continue in sequentially
 12    numbered paragraphs (i.e., if the moving party’s last allegedly undisputed fact

 13    was set forth as ¶ 30, then the first new allegedly undisputed fact specified by
 14    the opposing party shall be set forth as ¶ 31).
 15         The moving party, in its reply, shall respond to the additional allegedly
 16    undisputed facts in the same manner and format that the opposing party is
 17    required to adhere to in responding to the moving party’s Statement of

 18    Uncontroverted Facts, as described above.
                                        SGD Example
 19
        SUF # / Moving Party’s Undisputed                Reply
 20
        Fact/Evidence
 21     #1 (Moving party’s first undisputed fact)        State whether the moving party’s
                                                         fact is disputed or undisputed.
 22
        (moving party’s citations to supporting          (citations to supporting evidence)
 23     evidence)
                                                   (note if there is an evidentiary
 24                                                objection)
 25     #2 (Moving party’s second undisputed fact) State whether the moving party’s
                                                   fact is disputed or undisputed.
 26
        (moving party’s citations to supporting          (citations to supporting evidence)
 27     evidence)
                                                         (note if there is an evidentiary
 28                                                      objection)

                                               −6−
                                                                                                ER 13
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 65 of 1079

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  1                             #:18345
                  C.   Supporting Evidence
 2         Evidence in support of or in opposition to a motion shall be presented to the
 3    Court in a way that makes it easy for the Court to find cited evidence. For instance,
 4    the parties should make generous use of tabs and indices for hard copies of

 5    exhibits. The parties should highlight the testimony or portions of exhibits on
 6    which they are relying.
 7         If a deposition is cited extensively, the parties should lodge a copy of the
 8    deposition transcript with the Court.
 9                D.   Objections to Evidence
 10        If a party disputes a fact based in whole or in part on an evidentiary objection,
 11   the party should file a separate document entitled “Objections to Evidence Offered
 12   in Support of [Party’s] [Motion/Opposition].” The Objections to Evidence should be

 13   filed in conjunction with the opposition or reply brief of the party. The document
 14   should be organized to track the row numbers of the other party’s separate statement
 15   in sequence. It should identify the specific item of evidence to which objection is
 16   made, the ground of the objection, and a very brief argument with citation to
 17   authority as to why the objection is well taken.

 18                             Evidentiary Objections Example 1
 19    Moving Parties Undisputed Fact/Evidence           Evidentiary Objection
 20    #1 (Moving party’s first undisputed fact)         Objection to the supporting

 21                                                      deposition transcript of Jane Smith
                                                         at 60:1-10 on the ground that the
 22
                                                         statement constitutes inadmissible
 23
                                                         hearsay and no exception is
 24     Jane Smith Dep. 60:1−10; Lee Decl. Ex. E applicable. To the extent that the
 25     (Disclosure Agreement § 2)                       statement is offered to prove her

 26                                                      state of mind, it is irrelevant since

                                                         her state of mind is not in issue.
 27
                                                         Fed. R. Evid. 801, 802.
 28

                                              −7−
                                                                                                 ER 14
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 66 of 1079

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  1                             #:18346
           Alternately, if the evidentiary objection(s) is/are particularly lengthy (over
 2    100 words), the party may lodge its objections in a standard memo-format.
 3    However, this memorandum must specifically cite the SUF number.
 4                              Evidentiary Objections Example 2

 5               Statement of Uncontroverted Facts #3: Objection to the supporting
 6               deposition transcript of Jane Smith at 60:1-10 on the ground that the
 7               statement constitutes inadmissible hearsay and no exception is applicable.
 8
 9               [Lengthy legal argument]
 10
 11              To the extent that the statement is offered to prove her state of mind, it is
 12              irrelevant since her state of mind is not in issue. Fed. R. Evid. 801, 802.

 13               E.    Filing Statements of Fact
 14        In addition to filing statements of fact, the Parties should email the Statement
 15   of Uncontroverted Facts and Statement of Genuine Disputes in Word or
 16   Excel format to DOC_Chambers@cacd.uscourts.gov.
 17        VIII. Final Pretrial Conference

 18        A Final Pretrial Conference (“FPTC”) has been scheduled in this case

 19   pursuant to Federal Rule of Civil Procedure 16 and the Local Rules. Unless

 20   excused for good cause, each party appearing in this action shall be represented
 21   at the FPTC and all pretrial meetings of counsel by lead counsel.
 22        A continuance of the Final Pretrial Conference at counsel’s request or
 23   stipulation is highly unlikely. Counsel should plan to do the necessary pretrial
 24   work on a schedule which will ensure its completion with time to spare before the

 25   Final Pretrial Conference. Failure to complete discovery work is not grounds for

 26   a continuance. The Court has a crowded docket and to displace another case
 27   already set for trial in favor of a case in which counsel have not been diligent in
 28   preparing their case would not be just.

                                                −8−
                                                                                                 ER 15
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  1                             #:18347
                  A.    Memoranda of Contentions of Fact and Law and Final
 2                      Pretrial Conference Order
 3          Compliance with the requirements of Local Rule 16 is required by the Court.
 4    Carefully prepared Memoranda of Contentions of Fact and Law (which may also

 5    serve as the trial brief) and a proposed Final Pretrial Conference Order (“FPTCO”)
 6    shall be submitted in accordance with the provisions of Local Rules 16-4 through
 7    16-7. The Memoranda of Contentions of Fact and Law are due twenty-one (21)
 8    days before the FPTC and the proposed FPTCO is to be lodged eleven (11) days
 9    before the FPTC. The form of the proposed Final Pretrial Conference Order shall
 10   be in conformity with the format set forth in Appendix A to Local Rules. Adherence
 11   to the time requirements is necessary to provide the Court and its staff time to
 12   prepare the matter.

 13         In drafting the FPTCO, the Court expects that counsel will attempt to agree on
 14   and set forth as many uncontested facts as possible. The Court will normally
 15   read the uncontested facts to the jury at the start of the trial. A carefully drafted
 16   and comprehensively stated stipulation of facts will reduce the length of trial and
 17   increase jury understanding of the case.

 18         At the FPTC, counsel should be prepared to discuss means of streamlining

 19   the trial, including, but not limited to: bifurcation, presentation of non-critical

 20   testimony by deposition excerpts, stipulations as to the content of testimony,
 21   presentation of testimony on direct examination by declaration subject to cross-
 22   examination, and qualification of experts by admitted resumes. In rare cases in
 23   which the Court waives the FPTC, counsel must follow Local Rules 16-11.
 24               B.    Motions in Limine

 25         All motions in limine must be filed eleven (11) days prior to the FPTC.

 26   Oppositions to motions in limine must be filed no later than seven (7) days prior
 27   to the FPTC. Motions in limine will typically be heard at the FPTC.
 28   \\\

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                                                                                              ER 16
       Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 68 of 1079

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  1                             #:18348
              IX.    Trial
  2           Parties should note that the Court may advance the trial date by up to two
  3     weeks.
  4                  A.      Statement of the Case (Jury Trials)

  5           At least seven (7) days prior to trial, the parties shall prepare a joint statement
  6     of the case which will be read by the Court to the prospective panel of jurors
  7     prior to the commencement of voir dire. The statement should typically be a
  8     few sentences in length.
  9                  B.      Voir Dire (Jury Trials)
  10          At least seven (7) days prior to trial, each party shall file and serve on
  11    opposing parties any special questions requested to be put to prospective jurors
  12    on voir dire.

  13                 C.      Proposed Jury Instructions (Jury Trials)
  14          Proposed jury instructions must be filed seven (7) days prior to trial, in
  15    accordance with Local Rule 51. Parties should cite relevant authorities for each
  16    instruction, e.g., CACI, Ninth Cir. Model Jury Instructions. The parties should
  17    exchange proposed jury instructions and agree as much as possible on the

  18    necessary instructions before filing them with the Court. Both parties should

  19    submit their proposed jury instructions (preferably in Word format) to the Court

  20    at DOC_Chambers@cacd.uscourts.gov. In addition, parties should bring copies
  21    of their proposed jury instruction, printed on single-sided paper, with them on
  22    the first day of trial.
  23                 D.      Findings of Fact and Conclusions of Law (Bench Trials)
  24          The parties shall serve and lodge proposed findings of fact and conclusions

  25    of law at least seven (7) days prior to trial and in accordance with Local Rule 52.

  26    The parties should submit their proposed findings of fact and conclusions of law
  27    (preferably in Word format) to the Court at DOC_Chambers@cacd.uscourts.gov.
  28    \\\

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                                                                                                    ER 17
       Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 69 of 1079

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  1                             #:18349
                       E.   Proposed Verdict Form
  2          At least seven (7) days prior to trial, the parties shall file their proposed verdict
  3    forms. The Court typically does not use special verdict forms. The parties should
  4    exchange proposed verdict forms and agree as much as possible to the form

  5    before filing. The parties should submit the proposed verdict form (in Word format)
  6    to the Court at DOC_Chambers@cacd.uscourts.gov.
  7                    F.   Exhibits
  8          A joint exhibit list must be filed at least twenty-one (21) days prior to the Final
  9    Pretrial Conference in accordance with Local Rule 16-6.1. Parties should also
  10   submit their joint exhibit list (in Word format) to the Court at
  11   DOC_Chambers@cacd.uscourts.gov.
  12         Exhibits are to be delivered to the Courtroom Deputy Clerk not later than

  13   8:30 a.m. on the first day of trial. All exhibits will be placed in loose leaf binders
  14   which are tabbed down the right side with exhibit numbers. The spine of the binder
  15   is to be marked with the case name and number and the numbers of the exhibits
  16   contained therein.
  17         Two binders will be prepared: (1) an original for the Clerk, which will be

  18   tagged with the appropriate exhibit tags in the upper right-hand corner of the first

  19   page of each exhibit, and (2) one copy for the Court. Each binder will contain an

  20   index of the exhibits included.
  21         The exhibits are to be numbered in accordance with Local Rule 26-3. Counsel
  22   may obtain exhibit tags (yellow for plaintiff and blue for defendant) at the Clerk’s
  23   Office, Intake Window. Special arrangements for voluminous or oversized exhibits
  24   should be made with the Courtroom Deputy Clerk by Wednesday of the week

  25   before trial.

  26   \\\
  27   \\\
  28   \\\

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                                                                                                     ER 18
       Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 70 of 1079

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  1                             #:18350
              After the conclusion of trial, parties must take their exhibits with them after
  2
         signing a release. If the parties do not take their exhibits, the Court will dispose
  3      of exhibits after fourteen (14) days.
  4
  5
  6         IT IS SO ORDERED.
  7
  8    Dated: May 9, 2023
                                             David O. Carter
  9                                          United States District Judge
  10
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  26                                                            Revised: March 21, 2017
  27
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                                                                                                ER 19
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 71 of 1079


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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No: LA CV 20-02291-DOC-(KESx)                               Date: May 9, 2023

   Title: LA ALLIANCE FOR HUMAN RIGHTS, et al. v. CITY OF LOS ANGELES, et al.



  PRESENT: THE HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

             Karlen Dubon                                     Deborah Parker
            Courtroom Clerk                                  Court Reporter

        ATTORNEYS PRESENT FOR                             ATTORNEYS PRESENT FOR
               PLAINTIFF:                                         DEFENDANT:
            Elizabeth Mitchell                       Jennifer Mira Hashmall, L.A. County Ana
            Matthew Umhofer                               Shayla Renee Myers, Intervenor
               Kara Arnold



   PROCEEDINGS:                 SCHEDULING CONFERENCE (Los Angeles First Street)


         The case is called. The Court and counsel confer.

         Briefing and trial schedule is set as follows:

                Pretrial Motions: October 10, 2023 at 9:00 AM

                Final Pretrial Conference: October 24, 2023 at 9:00 AM

                Jury Trial: November 6, 2023 at 9:00 AM

         All to be held at the Los Angeles First Street Federal Courthouse.


                                                                                      :      20
                                                                      Initials of Deputy Clerk: kdu

                                                                                                      ER 20
     Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 72 of 1079

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11 Attorneys for Intervenors
12 Additional Counsel listed on next page
13                        UNITED STATES DISTRICT COURT
14          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
15
   LA ALLIANCE FOR HUMAN                    CASE NO.: 20-CV-02291-DOC-KES
16 RIGHTS, et. al.
               Plaintiff(s),                Assigned to Hon. David O Carter
17
         v.                                 INTERVENORS’ JOINDER IN COUNTY
18                                          OF LOS ANGELES’S MOTION TO
   City of Los Angeles, et. al              DISMISS PLAINTIFFS’ SECOND
19             Defendant(s).                AMENDED COMPLAINT
20                                          Date:      June 5, 2023
                                            Time:      8:30 a.m.
21                                          Courtroom: 10A
22
23
24
25
26
27
28




                                                                                     ER 21
     Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 73 of 1079

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 9 Attorneys for Orange Catholic Worker
10
11
12
13
14
15
16
17
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26
27
28                                 - ii -
       DOCUMENT INTERVENORS’ JOINDER IN COUNTY OF LOS ANGELES’S
        MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT


                                                                                 ER 22
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 74 of 1079

 Case 2:20-cv-02291-DOC-KES Document 556 Filed 05/03/23 Page 3 of 5 Page ID #:18317



 1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE, that Intervenors Los Angeles Community Action
 3 Network, Los Angeles Catholic Worker, and Orange County Catholic Worker (together,
 4 “Intervenors,”) join in Defendant County of Los Angeles’s Motion to Dismiss Plaintiffs’
 5 Second Amended and Supplemental Complaint, pursuant to Rules 12(b)(1) and 12(b)(6)
 6 of the Federal Rules of Civil Procedure, Dkt. 552, as to the following sections:
     •     Section II
 7
     •     Section III
 8
     •     Section IV, Subsection A(2)
 9
     •     Section IV, Subsection B(3)
10
     •     Section IV, Subsection C(2)
11
           This motion is set for hearing on June 5, 2023 at 8:30 a.m. before the Honorable
12
     David O. Carter in the United States District Court, Central District of California,
13
     Western Division, located at 411 West Fourth Street, Courtroom 9D, Santa Ana,
14 California 92701-4516.
15       Intervenors join LA County’s arguments in the above-referenced sections, which
16 contend that 1) Plaintiffs lack standing to bring the claims for the reasons identified by
17 the Ninth Circuit Court of Appeals; 2) Plaintiffs have not stated a takings claim; and 3)
18 Plaintiffs have not stated a claim for nuisance.
19         In addition, Intervenors note that, with regards to Plaintiffs’ second cause of action
20 for public and private nuisance, Plaintiffs cannot bring nuisance claims against the
21 County for failing to enforce laws that criminalize homelessness or seize unhoused
22 people’s belongings. First, Plaintiffs allege that the County is liable for injuries Plaintiffs
23 allege they suffer because of the existence of homeless encampments, but nuisance
24 claims against the City of Los Angeles based on the same theory of liability now alleged
     against the County have already been rejected in the Central District of California. See
25
     Schonbrun v. Snap, Inc., (2:21-cv-07189-PSG (MRW), 2022 WL 2903118 at *9 (March
26
     15, 2022) granting City of Los Angeles’s motion to dismiss nuisance claims brought by
27
     property owner related to a fire that allegedly started at a homeless encampment on
28
                                      -1-
         INTERVENORS’ JOINDER IN COUNTY OF LOS ANGELES’S MOTION TO
               DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT

                                                                                                     ER 23
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 75 of 1079

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 1 proximate cause grounds). In addition, governmental immunities prevent the County
 2 from being compelled by litigation or the threat of litigation to make specific policy
 3 decisions that fall within its discretion, including significantly, which laws to enforce and
 4 which municipal services to provide. See Gov’t Code § 820.2. See also Caldwell v.
 5 Montoya,10 Cal.4th 972, 976 (1995) (holding that “the discretionary act immunity
 6 extends to basic governmental policy decisions entrusted to broad official judgment”)
     (internal citations omitted).
 7
           Importantly, “the immunity principle is rooted in the separation of powers doctrine,
 8
     that the judicial branch should not interfere in the discretionary decisions of the
 9
     Legislature or the executive branch.” Fuller v. Department of Transportation (2001) 89
10
     Cal.App.4th 1109, 1117; see Friends of H Street v. City of Sacramento (1993) 20
11
     Cal.App.4th 152, 165 (1993) (“under the separation of powers doctrine, courts lack
12
     power to interfere with legislative action at either the state or local level”). This applies
13
     to “those ‘basic policy decisions [which have] ... been [expressly] committed to
14 coordinate branches of government,’ and as to which judicial interference would thus be
15 ‘unseemly.’” Caldwell, 10 Cal.4th at 976.
16         Federal courts can, and routinely have, prevented the City of Los Angeles and
17 other jurisdictions from violating the constitutional rights of unhoused individuals by
18 enforcing laws against them, see e.g., Jones v. City of Los Angeles, 444 F.3d 1118 (2006),
19 vacated by Jones v. City of Los Angeles, 505 F.3d 1006 (9th Cir. 2007); Desertrain v. City
20 of Los Angeles, 754 F.3d 1147 (2014); or seizing and destroying their belongings under
21 the guise of providing city services, Lavan v. City of Los Angeles, 693 F.3d 1022, 1024
22 (9th Cir. 2012) (upholding a preliminary injunction preventing the City of Los Angeles
23 from seizing and destroying unhoused people’s belongings), Garcia v. City of Los
24 Angeles, 11 F.4th 1113, 1124 (9th Cir. 2021) (same). However, preventing constitutional
     violations is fundamentally distinct under both California nuisance law and for purposes
25
     of Article III standing, from compelling a governmental entity to enforce a law or provide
26
     specific municipal services or finding the entity liable when it chooses not to. See
27
28                                    -2-
         INTERVENORS’ JOINDER IN COUNTY OF LOS ANGELES’S MOTION TO
               DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT


                                                                                                     ER 24
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 1 Diamond v. Charles, 476 U.S. 54, 64 (1986) (“a private citizen lacks a judicially
 2 cognizable interest in the prosecution or nonprosecution of another”).
 3        For these reasons and the reasons outlined in Sections II, III, and IV, Subsections
 4 A(2), B(3), and C(2) and (4) of the County of Los Angeles’s Motion to Dismiss,
 5 Intervenors respectfully moves this court to dismiss Plaintiffs’ Second Amended
 6 Complaint for failure to state a claim upon which relief can be granted pursuant Rules
   12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure.
 7
 8
     Dated: May 3, 2023                           Respectfully submitted,
 9                                                Legal Aid Foundation of Los Angeles
10
                                                  /s/ Shayla Myers
11                                                Attorney for Intervenors
12
                                                  Schonbrun Seplow Harris Hoffman &
13                                                Zeldes LLP
14
                                                  /s/ Catherine Sweetser
15                                                Attorneys for Intervenors
16
17                                                Law Office of Carol A. Sobel
18
                                                  /s/ Carol A. Sobel
19                                                Attorneys for Intervenors
20
                                                  Elder Law and Disability Rights Center
21
22                                                /s/ Brooke Weitzman
                                                  Attorneys for Intervenors
23
24
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28                                   -3-
        INTERVENORS’ JOINDER IN COUNTY OF LOS ANGELES’S MOTION TO
              DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT


                                                                                                ER 25
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                                #:16298



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17
                         UNITED STATES DISTRICT COURT
18
         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
19
   LA ALLIANCE FOR HUMAN                 CASE NO. 2:20-cv-02291 DOC-KES
20 RIGHTS, et al.,
21                                       REQUEST FOR JUDICIAL
                Plaintiffs,              NOTICE IN SUPPORT OF
22                                       MOTION TO DISMISS SECOND
         v.                              AMENDED COMPLAINT
23
24 CITY OF LOS ANGELES, et al.,          Date: June 5, 2023
                                         Time: 8:30 a.m.
25              Defendants.              Place: Courtroom 10A
26
                                              Assigned to the Hon. David O. Carter
27                                            and Magistrate Judge Karen E. Scott
28
     578576.4
                         REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
        DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS SECOND AMENDED COMPLAINT

                                                                                      ER 26
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 78 of 1079

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                                #:16299



  1               Defendant County of Los Angeles (“County”) hereby submits this Request
  2 for Judicial Notice pursuant to Rule 201 of the Federal Rules of Evidence in support
  3 of its Motion to Dismiss:
  4 I.            LEGAL STANDARDS
  5               “The court may judicially notice a fact that is not subject to reasonable
  6 dispute because it: (1) is generally known within the trial court’s territorial
  7 jurisdiction; or (2) can be accurately and readily determined from sources whose
  8 accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). A court “may
  9 take judicial notice at any stage of the proceeding,” and “must take judicial notice if
10 a party requests it and the court is supplied with the necessary information.” Id. at
11 201(c)(2), (d).
12                In ruling on a motion to dismiss under Rule 12(b)(6), a court may consider
13 “documents incorporated into the complaint by reference, and matters of which a
14 court may take judicial notice.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551
15 U.S. 308, 322 (2007). A “court may take judicial notice of matters of public record
16 without converting a motion to dismiss into a motion for summary judgment, as
17 long as the facts noticed are not subject to reasonable dispute.” Skilstaf, Inc. v. CVS
18 Caremark Corp., 669 F.3d 1005, 1016 n.9 (9th Cir. 2012) (citation omitted).
19 Similarly, “documents whose contents are alleged in a complaint and whose
20 authenticity no party questions, but which are not physically attached to the
21 pleading, may be considered in ruling on a Rule 12(b)(6) motion to dismiss,” and
22 “[s]uch consideration does ‘not convert the motion to dismiss into a motion for
23 summary judgment.’” Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir. 1994) (citation
24 omitted).
25                In addition, when a plaintiff moves to dismiss for lack of subject matter
26 jurisdiction under Rule 12(b)(1), “a court may look beyond the complaint to matters
27 of [which judicial notice is taken] without having to convert the motion into one for
28
       578576.4
                                                      2
                           REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
          DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS SECOND AMENDED COMPLAINT

                                                                                               ER 27
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 79 of 1079

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                                #:16300



  1 summary judgment. It also need not presume the truthfulness of the plaintiffs’
  2 allegations.” White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000) (citation omitted).
  3         Courts may take judicial notice of “matters of public record.” MGIC Indem.
  4 Corp. v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986). These “matters of public
  5 record” include government records and reports. Barron v. Reich, 13 F.3d 1370,
  6 1377 (9th Cir. 1994) (holding that the district court properly took judicial notice of a
  7 field operations handbook for a regional division of the Department of Labor
  8 because the handbook “clearly constitute[d]” judicially noticeable facts); United
  9 States v. Ritchie, 342 F.3d 903, 909 (9th Cir. 2003) (observing “[c]ourts may take
10 judicial notice of some public records, including the ‘records and reports of
11 administrative bodies’” (citation omitted)).
12          This includes records of municipal governments. Price v. County of
13 Los Angeles, No. 2:20-cv-04911-SB-KS, 2020 WL 7861975, at *2 (C.D. Cal. Dec.
14 1, 2020) (taking judicial notice of 15 documents submitted by the County of
15 Los Angeles, including the “orders and proclamations made by the Los Angeles
16 County Board of Supervisors and the Governor of the State of California,” the
17 Twitter posts from county officials, and records of official motions and votes of the
18 Los Angeles County Board of Supervisors); Best Supplement Guide, LLC v.
19 Newsom, No. 2:20-cv-00965-JAM-CKD, 2020 WL 2615022, at *2 (E.D. Cal. May
20 22, 2020) (taking judicial notice of “various documents issued by the federal
21 government, the State of California, San Joaquin County, and the City of Lodi”);
22 Bd. of Trs. of Leland Stanford Junior Univ. v. County of Santa Clara, No. 18-cv-
23 07650-BLF, 2019 WL 5087593, at *4 (N.D. Cal. Oct. 10, 2019) (taking judicial
24 notice of various documents, including official acts of the Board of Supervisors, a
25 transcript of a Board of Supervisors’ public hearing, county ordinances, staff reports
26 made public prior to Board of Supervisors’ meeting, and other such public records);
27 Jenkel v. City & County of San Francisco, No. C 06-2593 MHP, 2006 WL 2053502,
28 at *1 n.3 (N.D. Cal. July 21, 2006) (taking judicial notice of documents found on the
   578576.4
                                              3
                          REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
         DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS SECOND AMENDED COMPLAINT

                                                                                               ER 28
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 80 of 1079

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                                #:16301



  1 website for the San Francisco Board of Supervisors, including resolutions and
  2 agendas for meetings).
  3              The documents set forth below are publicly available at Los Angeles County
  4 websites, and their accuracy cannot reasonably be questioned. The documents are
  5 relevant to, and offered in support of, the County’s Motion to Dismiss Plaintiffs’
  6 Second Amended Complaint (“SAC”) to show that and how the County is, in fact,
  7 exercising its discretion to address people experiencing homelessness (“PEH”).
  8 II.          DOCUMENTS SUBJECT TO JUDICIAL NOTICE
  9              Pursuant to the above authority, the County respectfully requests that the
10 Court take judicial notice of the documents submitted with and attached as Exhibits
11 to the Declaration of Mira Hashmall, discussed below:
12               A.    County Homelessness Services
13               The County funds programs for housing and social services to individuals and
14 families who are experiencing homelessness, formerly homeless or at-risk of
15 homelessness in Los Angeles County through 10 different County departments—
16 Children and Family Services, Health Services, Mental Health, Public Health,
17 Public Social Services, Sheriff’s Department, Probation, Public Defender and the
18 Department of Economic Opportunity and the Aging and Disabilities Department—
19 and the Los Angeles Homeless Services Authority (“LAHSA”), a joint powers
20 authority of the County and the City of Los Angeles (“City”). (Declaration of Mira
21 Hashmall (“Hashmall Decl.”) Ex. 1.) These programs target myriad factors that
22 contribute to homelessness and provide a variety of services, including:
23                    Rapid re-housing for families in the child welfare system where
24                     homelessness is the sole barrier to reunification;
25                    Approximately 60 Multidisciplinary Teams (“MDTs”) comprised of a
26                     health professional, mental health specialist, substance abuse counselor,
27                     case manager, and someone with lived experience with homelessness
28                     that provide outreach and engagement 7 days a week to connect
      578576.4
                                                   4
                          REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
         DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS SECOND AMENDED COMPLAINT

                                                                                                   ER 29
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 81 of 1079

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                                #:16302



  1               unsheltered people to housing, supportive services, and sources of
  2               income;
  3              Cash rental subsidies and move-in assistance;
  4              Homelessness diversion and re-entry and substance use disorder
  5               treatment for unsheltered persons incarcerated in, and exiting, County
  6               jails;
  7              Comprehensive job preparation and placement for probationers and
  8               formerly incarcerated individuals;
  9              Criminal-record clearing for persons experiencing homelessness;
10               Housing-related assistance, including short-term financial assistance,
11                legal services, eviction prevention, and landlord mediation for
12                individuals who are homeless or at imminent risk of homelessness; and
13               Field-based Homeless Outreach & Mobile Engagement (“HOME”)
14                teams that provide outreach and engagement services to PEH who have
15                a serious mental illness with the goal of linking them to ongoing mental
16                health services and permanent housing to disrupt the cycle of chronic
17                homelessness in the County.
18          The County requests that the Court take judicial notice of the County’s list of
19 “Programs Serving People Experiencing Homelessness.” (Hashmall Decl. Ex. 1
20 [ECF Dkt. No. 189].) E.g., Nichols v. Brown, 859 F. Supp. 2d 1118, 1124 n.2 (C.D.
21 Cal. 2012) (taking judicial notice of court opinions and dockets). The County
22 further requests that the Court take judicial notice of the County Department of
23 Mental Health’s Report to the Los Angeles County Board of Supervisors (“Board”),
24 titled “Disrupting the Cycle of Chronic Homelessness-DMH Homeless Outreach
25 and Mobile Engagement (HOME) Team Pilot (Item 12, Agenda of June 23, 2020).”
26 (Hashmall Decl. Ex. 2.)
27          On July 27, 2021, the Board created a Blue Ribbon Commission on
28 Homelessness to research and analyze various homelessness governance reports,
   578576.4
                                           5
                          REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
         DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS SECOND AMENDED COMPLAINT

                                                                                              ER 30
     Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 82 of 1079

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                                #:16303



  1 studying models from across the nation and providing feedback to the Board
  2 regarding the most relevant and effective models, with the intention of
  3 implementing reform to help solve the homelessness crisis in Los Angeles County.
  4 (Hashmall Decl. Ex. 3 [July 27, 2021 Statement of Proceedings of the Board].) On
  5 September 15, 2021, the Board also approved the creation of a taskforce chaired by
  6 the Executive Director of Racial Equity and comprised of dozens of County
  7 departments and partners, called the Los Angeles County Office of Prevention
  8 Services. (Hashmall Decl. Ex. 4 [September 15, 2021 Statement of Proceedings of
  9 the Board].) This taskforce coordinated and effectuated a comprehensive
10 community-based prevention services system—informed by an equity-centered
11 framework—to improve the lives of the most vulnerable County residents, including
12 PEH. The County requests that the Court take judicial notice of the July 27, 2021
13 and September 15, 2021 Statements of Proceedings. (Hashmall Decl. Exs. 3, 4.)
14              The County is thus aware of the intersectionality of homelessness and other
15 axis of marginalization and is actively working towards providing targeted aid for
16 PEH who are also otherwise marginalized. For example, on August 10, 2021, the
17 Board adopted a proposal to issue nearly $38 million in bonds to finance the
18 construction and development of 120 apartments for homeless veterans. (Hashmall
19 Decl. Ex. 5 [August 10, 2021 Statement of Proceedings of the Board].) On
20 September 28, 2021, the Board approved the deployment of mobile public health
21 teams to provide testing and treatment of sexually transmitted infections among
22 PEH and, in particular, PEH who are LGBT or pregnant. (Hashmall Decl. Ex. 6
23 [September 28, 2021 Statement of Proceedings of the Board].) On October 19,
24 2021, the Board approved a measure to improve outreach and services for
25 undocumented individuals and immigrants experiencing homelessness. (Hashmall
26 Decl. Ex. 7 [October 19, 2021 Statement of Proceedings of the Board ].) The
27 County requests that the Court take judicial notice of the Board’s August 10, 2021,
28
     578576.4
                                                   6
                         REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
        DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS SECOND AMENDED COMPLAINT

                                                                                              ER 31
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 83 of 1079

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                                #:16304



  1 September 28, 2021, and October 19, 2021 Statements of Proceedings. (Hashmall
  2 Decl. Exs. 5, 6, 7.)
  3               B.    Housing for Health
  4               In November 2012, the County Department of Health Services (“DHS”)
  5 established the Housing for Health (“HFH”) division to expand access to supportive
  6 housing for DHS patients who are homeless and who have complex medical and
  7 behavioral health conditions or are high utilizers of DHS services. (Hashmall Decl.
  8 Ex. 8 [July 19, 2021 Letter from DHS to Board Transmitting HFH Quarterly
  9 Report].) The County requests that the Court take judicial notice of DHS’s July 19,
10 2021 Letter to the Board outlining this Quarterly Report. (Id.)
11                HFH utilizes a full range of community-based housing options, including
12 non-profit-owned supportive housing, affordable housing, and private market
13 housing. (Hashmall Decl., Ex. 8.) Tenants receive federal rental subsidies such as
14 Section 8 Project Based or Tenant Based Vouchers or a local rental subsidy through
15 the Flexible Housing Subsidy Pool (“FHSP”). (Id.) All individuals who are housed
16 through HFH programs are assigned to a homeless services provider to receive
17 Intensive Case Management Services (“ICMS”). (Id.) These services include
18 outreach and engagement; case management with on-going monitoring and follow-
19 up; linkage to health, mental health, and substance use disorder services; assistance
20 with benefits establishment; assistance with life skills, job skills, and educational
21 and volunteer opportunities; and crisis intervention. (Id.) ICMS providers provide
22 “whatever it takes” wraparound services to assist clients in regaining stability and
23 improved health. (Id.)
24                Between November 2012 and March 2021, DHS has housed 18,444 clients in
25 permanent supportive housing, with 4,415 placed in existing permanent supportive
26 housing and 14,029 placed in new permanent supportive housing. (Id.) As of
27 March 31, 2021, 13,450 clients were actively housed in permanent supportive
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  1 housing through HFH, 638 of whom were housed during the first three months of
  2 2021 alone. (Id.)
  3         C.     Measure H And The Homeless Initiative
  4         On August 17, 2015, the Board launched the Homeless Initiative to combat
  5 the homeless crisis in Los Angeles. The Homeless Initiative was created following
  6 18 policy summits on nine topics with 25 County departments, 30 cities and other
  7 public agencies, and over 100 community partners and stakeholders. In
  8 February 2016, the Homeless Initiative finalized 47 recommended Strategies (the
  9 “2016 HI Report”) and submitted it to the Board for approval. Structured to
10 produce measurable outcomes, the strategies seek to (a) prevent homelessness,
11 (b) expand subsidized housing, (c) increase income among those who are homeless
12 or are at risk of becoming homeless, (d) enhance homeless case management and
13 supportive services, (e) create a coordinated homelessness service system, and
14 (f) expand affordable and homeless housing. On February 9, 2016, the Board
15 approved the Homeless Initiative’s recommendations and nearly $1 billion in
16 funding and instructed the County’s Chief Executive Office (“CEO”) to report to the
17 Board on a quarterly basis. The County requests that the Court take judicial notice
18 of the 2016 HI Report and the CEO’s first quarterly report. (Hashmall Decl. Exs. 9,
19 10.)
20          In March 2017, voters approved Measure H, which authorized a 1/4 cent
21 increase to the County’s sales tax to provide an ongoing revenue stream to address
22 the homeless crisis. As it appeared on the ballot, Measure H also required
23 “independent annual audits and citizens’ oversight.” (Hashmall Decl. Ex. 11 [Mar.
24 7, 2017 Ballot].) The County requests that the Court take judicial notice of the
25 March 7, 2017 Countywide Measure known as “Measure H” appearing on the
26 ballot. (Id.)
27          The Homeless Initiative and lead County departments and agencies
28 responsible for implementing each Strategy collaborated and offered
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  1 recommendations to the Board as to how to allocate the new funds generated by
  2 Measure H, which the Board approved. (Hashmall Decl. Ex. 12 [Sep. 29, 2017
  3 CEO Report] at 1.) The County requests that the Court take judicial notice of the
  4 report submitted by the CEO to the Board on September 29, 2017. (Id.)
  5         Since its enactment, Measure H has successfully generated hundreds of
  6 millions of dollars annually, and has been credited for “accelerat[ing]” the critical
  7 work of the Homeless Initiative to “improve the lives of individuals and families
  8 experiencing homelessness.” (Hashmall Decl. Ex. 13 [Homeless Initiative Quarterly
  9 Report No. 18] at 3.) All 47 HI Strategies have been fully or partially implemented.
10 (Id. at 4.) The County requests that the Court take judicial notice of the Homeless
11 Initiative Quarterly Report No. 18, submitted to the Board by the CEO on
12 December 3, 2020. (Id.)
13          On February 22, 2021, the CEO submitted the Countywide Homeless
14 Initiative’s Year Four performance evaluation prepared by Dr. Halil Toros
15 (Statistical Analytics Consultant, USC Price Center for Social Innovation),
16 Dr. Dennis Culhane (Professor, University of Pennsylvania, Social Policy &
17 Practice), and Dr. Stephen Metraux (Assistant Professor, University of Delaware,
18 Biden School of Public Policy & Administration) of Public Sector Analytics
19 (“PSA”). PSA reported that permanent supportive housing placements were driving
20 reductions in homelessness. (Hashmall Decl. Ex. 14 [PSA’s February 22, 2021
21 Countywide Homeless Initiative’s Year Four Performance Evaluation] at 10.)
22 Among other things, PSA considered “the apparent paradox of why LA’s homeless
23 population, as per the annual point-in-time count, has grown by 13% in each of the
24 past two years despite the expansion in LA’s homeless services and the growth in
25 funded exits from homelessness” and included a “Key Finding[]” that “the growing
26 census is primarily a result of increases in the persistently homeless.” (Id. at 11.)
27 PSA also found that the “planned growth” of permanent supporting housing held
28 “promise” for “addressing persistent homelessness,” which the report posited
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  1 “would have the greatest potential impact on the level of homelessness in LA.” (Id.)
  2 PSA also reported that the number of interim housing placements has steadily risen
  3 each year—totally nearly 30,000 in 2019-2020—and stated that “[i]deally, the
  4 temporary orientation of these facilities means short stays and placements into
  5 longer-term housing arrangements.” (Id. at 29.) The County requests that the Court
  6 take judicial notice of the February 22, 2021 CEO report to the Board transmitting
  7 the Countywide Homeless Initiative’s Year Four performance evaluation. (Id.)
  8         The Homeless Initiative recently reported additional progress to the Board.
  9 As of December 2022, the County’s homeless services system has placed more than
 10 90,000 people in permanent housing and nearly 124,000 in interim housing. (See
 11 Hashmall Decl. Ex. 48 [Homeless Initiative Quarterly Report No. 26] at 5.) Of
 12 those, over 34,000 have been permanently housed because of Measure H strategies,
 13 and more than 65,000 entered interim housing funded in whole or in part from
 14 Measure H. (Id.) In the last fiscal year alone, the County’s system provided
 15 permanent housing to 8,689 people and interim housing to 15,475 people. (Id.)
 16 These included 1,916 permanent housing placements and 7,511 interim housing
 17 placements through Measure H-funded programs. (Id.) The County requests that
 18 the Court take judicial notice of the Homeless Initiative Quarterly Report No. 26,
 19 submitted to the Board by the CEO on April 20, 2023. (Id.)
 20         The County is currently evaluating how to use new funding opportunities
 21 (such as Homeless, Housing, Assistance and Prevention, the American Rescue Plan,
 22 and the Governor’s California Comeback Plan) to create up to 1,000 new subsidies
 23 to increase turnover of interim housing beds by quickly matching high acuity clients
 24 to permanent housing and supporting the exit of clients from interim housing.
 25 (Hashmall Decl. Ex. 5 at 13.) The County is likewise analyzing finance models to
 26 develop and operate affordable housing for college students experiencing
 27 homelessness, including engaging with local colleges and universities to identify
 28 opportunities to partner in the development of housing. (Id. at 29.)
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  1          Besides investing in programs to prevent and combat homelessness,
  2 Homeless Initiative found that the County is continuing to chip away at the
  3 affordable housing shortage, one of the primary drivers of homelessness. (Ex. 15 at
  4 23.) Housing Initiative also reported a funding recommendations total of
  5 $532.6 million for Fiscal Year 2022-23, including $466.75 million raised through
  6 Measure H. (Hashmall Decl. Ex. 16 [July 13, 2021 News Release announcing the
  7 Homeless Initiative Budget for Fiscal Year 2021-2022].) On November 16, 2021,
  8 the Board approved additional millions of dollars in supplemental funds to be used
  9 for Homeless Initiative strategies and an anti-discrimination housing program
 10 administered through the U.S. Department of Housing and Urban Development
 11 (“HUD”). (Hashmall Decl. Ex. 17 [November 16, 2021 Statement of Proceedings
 12 of the Board].) The County requests that the Court take judicial notice of the
 13 May 17, 2022 Press Release announcing the Homeless Initiative Budget for Fiscal
 14 Year 2022-2023 and the Board’s November 16, 2021 Statement of Proceedings.
 15 (Hashmall Decl. Exs. 16, 17.)
 16          D.    The Freeway Plan
 17          On June 16, 2020, the County and the City entered into a binding term sheet
 18 whereby the County agreed pay the City $53 million dollars during the first year,
 19 and up to $60 million per year for the following four years, to finance the its
 20 agreement to provide 6,700 beds for PEH. (Hashmall Decl. Ex. 18 [ECF Dkt. No.
 21 136 (the “Freeway Plan”)].) These 6,700 beds are intended to house and shelter
 22 PEH who live within 500 feet of a freeway overpass, and then to give priority
 23 housing and shelter to PEH who are 65 or older or who are otherwise vulnerable.
 24 (Id.) The County made an initial payment to the City of $17.66 million on
 25 September 1, 2020. (Hashmall Decl. Ex. 19 [ECF Dkt. No. 177].) On October 9,
 26 2020, the County and the City confirmed the Freeway Plan in a Memorandum of
 27 Understanding (“MOU”), filed with this Court. (Hashmall Decl. Ex. 20 [ECF Dkt.
 28 No. 185].) The County requests that the Court take judicial notice of the Freeway
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  1 Plan (ECF Dkt. No. 136), the County’s September 16, 2020 Notice of Payment
  2 (ECF Dkt. No. 177), and the MOU (ECF Dkt. No. 185). (Hashmall Decl. Exs. 18,
  3 19, 20.) E.g., Nichols, 859 F. Supp. 2d at 1124 n.2 (taking judicial notice of court
  4 opinions and dockets).
  5         To date, the County has contributed $173 million to support the City’s PEH
  6 population, and it provides a package of mainstream services to PEH residing in
  7 facilities established by the City pursuant to the MOU, including on-site outreach
  8 and engagement, benefits assistance, as well as mental health and substance abuse
  9 services. (Hashmall Decl. Exs. 21 [ECF Dkt. No. 203], 22 [ECF Dkt. No. 254], 23
 10 [ECF Dkt. No. 341], 24 [ECF Dkt. No. 463].) The County requests that the Court
 11 take judicial notice of the County’s January 7, 2021 Notice of Payment (ECF Dkt.
 12 No. 203), the County’s March 29, 2021 Notice of Payment (ECF Dkt. No. 254), the
 13 County’s July 13, 2021 Notice of Payment and Report Regarding Mainstream
 14 Services (ECF Dkt. No. 341), and the County’s August 5, 2022 Annual Status
 15 Report re Payment (ECF Dkt. No. 463). (Hashmall Decl. Exs. 21, 22, 23, 24; see
 16 also the County’s Quarterly Reports pursuant to the MOU at ECF Dkt. Nos. 364,
 17 392, 417, 463, 464, 489, and 524).) E.g., Nichols, 859 F. Supp. 2d at 1124 n.2
 18 (taking judicial notice of court opinions and dockets).
 19         E.    The County’s Additional Appropriations For Homeless Services
 20         In addition to its significant contributions pursuant to the MOU, the County is
 21 continuing its work to address homelessness and support PEH in other ways. On
 22 August 31, 2021, the Board approved $450,000 in funding towards a tiny-home
 23 interim housing project in Torrance. The County requests that the Court take
 24 judicial notice of the August 31, 2021 Statement of Proceedings of the Board.
 25 (Hashmall Decl. Ex. 25 [August 31, 2021 Statement of Proceedings of the Board].)
 26         In September 2021, LAHSA received a $15 million grant from HUD to
 27 address youth homelessness. (Hashmall Decl. Ex. 26 [September 27, 2021 Press
 28 Release from LAHSA].) In October 2021, the County entered into an agreement
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  1 with the State of California to receive $3.7 million in Emergency Solutions Grant
  2 funds for programs that assist PEH. (Hashmall Decl. Ex. 27 [October 5, 2021
  3 Statement of Proceedings of the Board].) The County requests that the Court take
  4 judicial notice of the September 27, 2021 press release and the October 5, 2021
  5 Statement of Proceedings. (Hashmall Decl. Exs 26, 27.)
  6         On November 2, 2021, the Board authorized an additional $10 million in
  7 funding for cities and local Councils of Governments who need help paying for
  8 supportive services at interim housing sites. (Hashmall Decl. Ex. 28 [November 2,
  9 2021 Statement of Proceedings of the Board].) Supervisors Hilda Solis and
 10 Kathryn Barger, the co-authors of the motion recommending the fund, highlighted a
 11 number of new municipal projects that would benefit from the County’s provision of
 12 financial aid, including “tiny homes” projects in Baldwin Park and Montebello, and
 13 two motels El Monte set to house PEH. (Hashmall Decl. Ex. 29 [November 2, 2021
 14 Motion by Supervisors Solis and Barger].) The County requests that the Court take
 15 judicial notice of the November 2, 2021 Statement of Proceedings and Motion by
 16 Supervisors Hilda L. Solis and Kathryn Barger, and the August 31, 2021 Statement
 17 of Proceedings. (Hashmall Decl. Exs. 28, 29.)
 18         F.    The County’s COVID-19 Response
 19         On March 4, 2020, the State of California declared a state of emergency
 20 related to COVID-19. On May 12, 2020, Supervisors Ridley-Thomas and Hahn
 21 submitted a motion to the Board requesting that the Board direct the Executive
 22 Director of LAHSA, in collaboration with the CEO and other County departments,
 23 as well as the City, philanthropy and other key partners, to develop a Homelessness
 24 COVID-19 Recovery Plan (the “May 12, 2020 Motion”). The motion explained that
 25 the Homelessness COVID-19 Recovery Plan should include “post-pandemic
 26 housing plans for homeless older adults,” and requested that the Board direct the
 27 CEO to identify existing resources, including The CARES Act (H.R. 748)
 28 Coronavirus Relief Fund, to support the plan. The motion further requested that the
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  1 Board direct the CEO’s Legislative Affairs and Intergovernmental Relations Branch
  2 in Washington, D.C. and Sacramento to continue to advocate for federal and state
  3 resources to expand housing for the homeless. The County requests that the Court
  4 take judicial notice of the May 12, 2020 Motion. (Hashmall Decl. Ex. 30.)
  5         The Board granted the motion. (Hashmall Decl. Ex. 31 [July 2, 2020 CEO
  6 Report] at 1.) The Board directed the CEO to identify existing resources, including
  7 The CARES Act (H.R. 748) Coronavirus Relief Fund, to support the plan and to
  8 report back within 45 days. (Id.) LAHSA created a COVID-19 Recovery Plan,
  9 which focuses on five key goals: (1) no returns from COVID-19 response to the
 10 street; (2) rapidly house 15,000 of the most vulnerable people; (3) reduce inflow into
 11 homelessness; (4) prepare systems for future crises; and (5) ensure racial equity
 12 throughout. (Id.) LAHSA projected that it would cost $806,595,604 over the next
 13 three fiscal years to implement the plan in its entirety. (Id. at 2.) Of that total,
 14 $609,178,112 represents new costs that must be identified from existing or new
 15 funding sources. (Id.) On July 2, 2020, the CEO submitted the LAHSA COVID-19
 16 Recovery Plan to the Board. (Id.) The County requests that the Court take judicial
 17 notice of the July 2, 2020 submission by the CEO to the Board and the attached
 18 LAHSA COVID-19 Recovery Plan. (Id.)
 19                1.    Project Roomkey/Homekey
 20         In response to COVID-19, the Governor created Project Roomkey to combat
 21 the spread of the virus and address the needs of the most vulnerable individuals in
 22 the community. Project Roomkey is a statewide motel/hotel program that seeks to
 23 provide asymptomatic people experiencing homelessness with temporary housing.
 24 The County, in partnership with the City of Los Angeles and the Los Angeles
 25 Homeless Services Authority, facilitated the implementation of Project Roomkey in
 26 Los Angeles by finalizing agreements with hotels/motels, working with service
 27 providers to staff the hotels/motels, and deploying disaster relief workers to staff the
 28 sites. (Hashmall Decl. Ex. 32 [May 15, 2020 CEO Report].) On September 15,
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  1 2021, the Board approved $34 million in funding for Project Roomkey in fiscal year
  2 2021-22. (Hashmall Decl. Ex. 4 [September 15, 2021 Statement of Proceedings of
  3 the Board].) In addition, with Project Homekey, the County purchased 10 hotels
  4 and motels to shelter about 900 people during the pandemic. Every Homekey unit
  5 will ultimately become permanent supportive housing. (Hashmall Decl. Ex. 15 at
  6 6.) The County requests that the Court take judicial notice of the May 15, 2020
  7 report by the CEO to the Board titled “Piloting a Comprehensive Crisis Response to
  8 Ensure Post-COVID-19 Housing for Homeless Older Adults in Los Angeles County
  9 (Item No. 8, Agenda of April 14, 2020).” (Id. Ex. 32.)
 10              The County, in partnership with the City of Los Angeles and LAHSA,
 11 facilitated the implementation of Project Roomkey in Los Angeles by finalizing
 12 agreements with hotels/motels, working with service providers to staff the
 13 hotels/motels, and deploying disaster relief workers to staff the sites. (Hashmall
 14 Decl. Ex. 32.) As of September 2021, over 8,700 people experiencing homelessness
 15 had been placed in hotels/motels pursuant to Project Roomkey. (Id. Ex. 15 at 3.)
 16                    2.    COVID-19 Treatment and Vaccinations
 17              During the pandemic, County departments, partner agencies, and community-
 18 based homeless services providers not only continued implementing Homeless
 19 Initiative strategies but also facilitated COVID-19 testing and vaccinations.
 20 (Hashmall Decl. Ex. 15 at 3.) The County has provided COVID-19 testing for
 21 19,171 people in 2,933 encampments countywide between April 1, 2020 and
 22 June 30, 2021. (Id. at 9.) The County has also directly administered
 23 18,125 vaccinations to 12,077 distinct people experiencing homelessness, 5,675 of
 24 whom are now fully vaccinated. (Id.) Cumulatively, about 50,000 total vaccine
 25 doses have been administered by various agencies to people experiencing
 26 homelessness throughout the County since the start of the pandemic. (Id.)
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  1               G.    Mental Health Services Act
  2               On November 3, 2020, the County submitted a Status Report explaining how
  3 the County allocates and spends MHSA funds. (Hashmall Decl. Ex. 33 [ECF Dkt.
  4 No. 197].) The Report explained that MHSA funds are allocated pursuant to a
  5 three-year expenditure plan that is approved by the California Department of Health
  6 Services and the California MHSA Oversight and Accountability Commission. (Id.
  7 at 4.) The County requests that the Court take judicial notice of its November 3,
  8 2020 Status Report. E.g., Nichols, 859 F. Supp. 2d at 1124 n.2 (taking judicial
  9 notice of court opinions and dockets).
 10               On May 30, 2017, the Board adopted the MHSA three-year expenditure plan
 11 for fiscal years 2017-18, 2018-19 and 2019-20. Per this plan, MHSA funds are
 12 allocated for a variety of programs and services to meet the mental health needs of
 13 county residents. The County requests that the Court take judicial notice of the
 14 MHSA three-year expenditure plan adopted by the Board on May 30, 2017.
 15 (Hashmall Decl. Ex. 34 [May 2, 2017 report to the Board].)
 16               As a result of the COVID-19 pandemic, the Los Angeles County Department
 17 of Mental Health (“DMH”) received an extension to continue with its three-year
 18 expenditure plan for fiscal year 2020-21. Per DMH, this “will allow for adequate
 19 time to ensure the stakeholder process is fully engaged in preparation of a new
 20 Three-Year Plan that reflects 1) a thorough understanding of community needs
 21 which are in transition as a result of the ongoing COVID-19 pandemic and civil
 22 unrest, and 2) meaningful budget forecasts.” The County requests that the Court
 23 take judicial notice of the following statements set forth on DMH’s official website,
 24 at URL link: dmh.lacounty.gov/about/mhsa/announcements. (Hashmall Decl.
 25 Ex. 35 [Excerpts from the Los Angeles County Department of Mental Health’s
 26 website].)
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  1         H.    Recent County Efforts
  2         On March 30, 2022, after hundreds of hours of research and hundreds of
  3 interviews with stakeholders, the Blue Ribbon Commission published its
  4 Governance Report and delivered it to the Board of Supervisors. (Id. Ex. 36.) The
  5 Governance Report highlighted several “key concerns” for addressing the
  6 homelessness crisis, including, among others, the need to act with urgency and
  7 develop flexible solutions; the need to improve communication and focus on
  8 diversity, equity, and inclusion; and the need to increase support for small service
  9 providers in order to build capacity. (Id.) The Governance Report delineated seven
 10 recommendations to the Board, which the Board voted to adopt. (Id. Ex. 37 [May 3,
 11 2022 Vote to Implement the Blue-Ribbon Commission’s Recommendations].) The
 12 County requests that the Court take judicial notice of the Blue Ribbon
 13 Commission’s Governance Report and the County’s Adoption of the
 14 Recommendations.
 15         In January 2023, the Board declared a local emergency on homelessness and
 16 has fast-tracked solutions—reflecting the County’s commitment to immediately
 17 improving its ability to quickly and effectively address the complex, multi-faceted
 18 issues surrounding homelessness. These solutions include organizational changes,
 19 the addition of up to 20 new staff dedicated solely to addressing the emergency with
 20 many more hired to serve PEH across the County’s departments, and strategies that
 21 prioritize the most urgent needs of PEH. The County requests that the Court take
 22 judicial notice of (1) the Board’s January 10, 2023 declaration of a local state of
 23 emergency (Ex. 39), (2) the County CEO’s January 23, 2023 Report (Ex. 40), (3)
 24 the CEO’s January 31, 2023 Report (Ex. 41), and (4) the Board’s February 7, 2023
 25 revised declaration of a local state of emergency (Ex. 42).
 26         In February 2023, the Board adopted the County CEO’s recommended budget
 27 for fiscal year 2022-23, which identified the County’s top priority as its fight against
 28 homelessness, with extensive investments in mental health services, supportive
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  1 services, and a wide range of housing programs. (Id. Ex. 43 at 1.) The budget
  2 includes $524.5 million to fund Homeless Initiative strategies focused on
  3 prevention, outreach, interim housing, permanent housing, and supporting services
  4 to serve people at risk of or experiencing homelessness. (Id. at 1-2.) The County
  5 requests that the Court take judicial notice of the Board’s Approval of the CEO’s
  6 Fiscal Year 2023-24 Homeless Initiative Funding Recommendations. (Id.)
  7         On February 7, 2023, the Board adopted three strategic missions—
  8 Encampment Resolution, Housing, and Mental Health and Substance Use Disorder
  9 Services in response to the Declaration of Local Emergency for Homelessness.
 10 (Hashmall Decl., Ex. 42.) The missions will help County departments focus their
 11 efforts and prioritize the homeless population in their service delivery, including
 12 streamlining contracts and procurements, purchases of goods, hiring, and housing.
 13 The County requests that the Court take judicial notice of the Board’s February 7,
 14 2023 revised declaration of a local state of emergency. (Id.)
 15         Following the success of the State’s Homekey Program Rounds 1 and 2, on
 16 May 2, 2023, the Board authorized the County and its selected co-applicants to
 17 apply for the State’s Homekey Round 3 funds for the acquisition, development,
 18 and/or rehabilitation of 13 properties for permanent supportive housing, youth
 19 permanent supportive housing, and youth interim housing. (Hashmall Decl., Ex. 48)
 20 The County requests that the Court take judicial notice of the Board’s May 2, 2023
 21 Motion to Authorize Joint Application(s) to and Participation in the Homekey
 22 Round 3 Program. (Id. Ex. 48.)
 23 III.    CONCLUSION
 24         The above documents are relevant to, and offered in support of, the Motion to
 25 Dismiss to show that the County is exercising its discretion to address homelessness.
 26 They are public records available at Los Angeles County websites and their
 27 accuracy cannot reasonably be questioned. Thus, the County requests that the Court
 28 grant this request and take judicial notice of the documents.
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  1 DATED: May 3, 2023                  MILLER BARONDESS, LLP
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  3
                                        By:       /s/ Mira Hashmall
  4
                                              MIRA HASHMALL
  5                                           Attorneys for Defendant
  6                                           COUNTY OF LOS ANGELES

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 15
 16                            UNITED STATES DISTRICT COURT
 17              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 18
 19 LA ALLIANCE FOR HUMAN                        CASE NO. 2:20-cv-02291 DOC (KES)
 20 RIGHTS, et al.,
                                                 DEFENDANT COUNTY OF
 21                   Plaintiffs,                LOS ANGELES’ MEMORANDUM
                                                 OF POINTS AND AUTHORITIES
 22              v.                              IN SUPPORT OF MOTION TO
                                                 DISMISS SECOND AMENDED
 23 CITY OF LOS ANGELES, et al.,                 COMPLAINT
 24
              Defendants.                        Date: June 5, 2023
 25                                              Time: 8:30 a.m.
                                                 Place: Courtroom 10A
 26
                                                 Assigned to the Hon. David O. Carter
 27                                              and Magistrate Judge Karen E. Scott
 28
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  1 I.           INTRODUCTION
  2              This motion to dismiss should be uncontroversial, and its resolution simple.
  3 Because Plaintiffs and the County of Los Angeles have reached a comprehensive
  4 settlement agreement—completely resolving all the claims in the Second Amended
  5 Complaint (“SAC”)—and asked the Court to dismiss this case with prejudice, there
  6 is no longer a “case or controversy” to resolve. In refusing to dismiss the case as the
  7 parties have urged because it disagrees with the parties’ terms, the Court exceeds its
  8 Article III powers. The Court is forcing the parties to endure unwanted litigation
  9 and issuing advisory opinions on a hypothetical, nonexistent dispute—unlawfully
 10 intruding into areas squarely committed to other branches of government.
 11              Even if this Court could move past the lack of any justiciable claim, the SAC
 12 fails at every turn. Plaintiffs lack standing to bring any of their claims. And the
 13 claims in the SAC rest on the erroneous premise that the County has somehow
 14 violated the Constitution and other law by not allocating its limited fiscal resources
 15 to house and support all People Experiencing Homelessness (“PEH”) with mental
 16 illness or substance use disorders. The County has no constitutional or statutory
 17 obligation to provide universal mental health services. At bottom, Plaintiffs’ lawsuit
 18 unlawfully seeks to commandeer the County’s discretionary spending.
 19              These are problems that cannot be fixed by amendment. Plaintiffs have
 20 already repeatedly amended their pleadings, but the critical defects cannot be cured.
 21              Despite the fatal defects that have plagued Plaintiffs’ claims from the outset,
 22 the County has demonstrated its commitment to addressing homelessness, including
 23 by settling this action and dedicating up to an estimated $850.5 million in new
 24 resources to dramatically expand the number of beds, interim and permanent
 25 housing, and medical and social services in Los Angeles. This is in addition to the
 26 $293 million in new funding that the County provided earlier in the lawsuit for PEH
 27 near freeways and for unhoused seniors.
 28              The Court should dismiss the SAC with prejudice.
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   1 II.     FACTS
   2         In June 2022, following the City of Los Angeles’s settlement and dismissal
   3 from the case, this Court granted Plaintiffs leave to file a Second Amended
   4 Complaint. The SAC alleges seven claims against the County: (1) Violation of
   5 Mandatory Duty; (2) Nuisance; (3) Inverse Condemnation; (4) Waste of Public
   6 Funds and Resources; (5) Violation of “Statutorily-Created Liberty Interest”;
   7 (6) Violation of Due Process Clause (State-Created Danger Doctrine); and
   8 (7) Uncompensated Taking. Compared with the prior complaint, the SAC removes
   9 Plaintiffs’ allegations regarding racism and scales back complaints about sidewalk
  10 encampments. The SAC also entirely omits the disability discrimination and
  11 negligence claims.
  12         Instead, the SAC focuses on the County’s alleged failure to provide
  13 purportedly “statutorily required” mental health services. Plaintiffs allege that state
  14 law mandates that the County provide comprehensive mental health and substance
  15 use disorder treatment and services to all PEH. (SAC ¶ 150.) In addition to Welfare
  16 and Institutions Code (“WIC”) section 17000, the SAC references the Bronzan-
  17 McCorquodale Act (WIC §§ 5600 et seq.) and other provisions regarding the
  18 administration of federal funding and Medi-Cal (WIC §§ 13000, 14000 et seq.).
  19         The SAC is silent as to what the County’s obligations are or what specific
  20 duties the County purportedly breached. That is because these statutes do not
  21 require the County to house or treat all mentally ill persons. Instead, Plaintiffs
  22 allege (1) the County is “wasting” Measure H funds by spending a majority of it on
  23 permanent and interim housing and not mental health services (SAC ¶ 59); (2) only
  24 0.1 percent of the County’s general budget is dedicated to the Department of Public
  25 Health (id.); and (3) there are only 22.7 mental health beds per 100,000 residents,
  26 rather than 50 beds, which Plaintiffs allege is the minimum (id. ¶ 64).
  27         None of the individual Plaintiffs claim to reside or to have been injured in
  28 unincorporated areas of the County. Seven of the individual Plaintiffs are not
     613203.4                               10
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   1 indigent. Rather, they are real estate developers and property owners in Skid Row.
   2 No Plaintiff alleges they needed and were denied services by the County.
   3         Plaintiffs demand that the County make different policy choices about how it
   4 allocates resources on the homelessness crisis. Plaintiffs repeatedly allege “[t]he
   5 actions and inactions of the County of Los Angeles were known or should have been
   6 known to the policy makers”; and according to the SAC, the County should have
   7 made different policy choices. (See, e.g., ¶¶ 155, 161, 167.)
   8         The SAC directly contradicts indisputable evidence, as detailed in the
   9 County’s Request for Judicial notice filed concurrently with this Motion,
  10 demonstrating the County’s commitment to addressing homelessness:
  11         (1) The County’s homeless services system has placed more than
  12 90,000 people in permanent housing and 124,000 people in interim housing since
  13 the implementation of Measure H-funded strategies in July 2017, including
  14 18,444 individuals with complex medical and behavioral health conditions.
  15 (Declaration of Mira Hashmall (“Hashmall Decl.”) Ex. 46, p. 5.)
  16         (2) The County is providing 1,000 new mental health and substance use
  17 disorder beds for the unhoused and 450 new subsidies for enriched residential care
  18 at board and care facilities to help individuals at risk of homelessness. (Id. Ex. 44.)
  19         (3) The County has allocated $182.1 million for interim housing and
  20 $270.2 million for permanent housing for this fiscal year, on top of $25.5 million for
  21 local jurisdictions, more than doubling last year’s amount.
  22         (4) The County engaged subject matter experts with its Blue Ribbon
  23 Commission on Homelessness to analyze and provide feedback on the most relevant
  24 effective models to address homelessness, which resulted in a comprehensive
  25 Governance Report highlighting key concerns and identifying the most urgent
  26 needs. (Hashmall Decl. Exs. 36-37.)
  27         (5) The County funds programs for housing and social services to individuals
  28 experiencing homelessness, formerly homeless, or at-risk of homelessness through
     613203.4                              11
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   1 10 different County departments. These programs target myriad factors that
   2 contribute to homelessness and provide a variety of services, including
   3 Multidisciplinary Teams (MDTs) and Homeless Outreach & Mobile Engagement
   4 (HOME) teams. (Id. Ex. 1.)
   5              (6) The County committed $293 million to finance the City and County’s
   6 Freeway Plan, providing 6,700 beds and other resources for PEH living near
   7 freeways and those who are 65 years and older and other vulnerable populations.
   8 (Id. Exs. 21-24.)
   9              (7) The County has provided transparency on its allocation of resources and
  10 its use of Mental Health Services Act (MHSA) funds. (Id. Exs. 33-34).
  11              (8) The County declared a local emergency on homelessness in January 2023,
  12 accelerating streamlined creation of housing and expanded services, including health
  13 and substance use disorder services to PEH. (Id. Exs. 39-41).
  14              And perhaps most relevant here is (9): Through its October 2022 settlement
  15 agreement with Plaintiffs and the April 2023 addendum, the County pledged an
  16 additional estimated $850.5 million in new resources to dramatically expand
  17 housing, medical, and social services to PEH. (Id. Exs. 38, 44.)
  18              The SAC also fails to resolve pervasive standing issues that the County raised
  19 in its appeal of the Court’s preliminary injunction order. LA All. for Human Rights
  20 v. County of Los Angeles, 14 F.4th 947, 958-59 (9th Cir. 2021). Indeed, the Ninth
  21 Circuit concluded in relevant part that (1) Plaintiffs had not suffered any “relevant
  22 injury-in-fact” for purposes of the state-created danger claim; (2) there was no
  23 allegation of a “special relationship” between the County and unhoused residents of
  24 Skid Row “sufficient to create an affirmative duty” to act; and (3) Plaintiffs had no
  25 standing to bring a section 17000 claim because there were no allegations “that an
  26 individual Plaintiff was deprived of medically necessary care or general assistance.”
  27 The SAC does not—and cannot—solve any of these problems.
  28              There is another fundamental problem that affects nearly all of Plaintiffs’
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   1 claims. None of the individual Plaintiffs claims to reside or to have been injured in
   2 unincorporated areas of the County, which the County’s authority is limited to. City
   3 of Dublin v. County of Alameda, 14 Cal. App. 4th 264, 274-75 (1993). Plaintiffs
   4 have added the County to their condemnation and takings claims, but the SAC
   5 simply substitutes the County in name alone and fails to demonstrate why this claim
   6 now applies to the County. (SAC ¶¶ 163-65.)
   7 III.     LEGAL STANDARDS
   8          A court lacks subject matter jurisdiction under Article III where there is no
   9 justiciable “case or controversy” or where the plaintiff lacks standing to bring the
  10 claim. City of Oakland v. Lynch, 798 F.3d 1159, 1163 (9th Cir. 2015). A challenge
  11 based on lack of subject matter jurisdiction is properly challenged in a motion to
  12 dismiss under Rule 12(b)(1). White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000).
  13          A court should dismiss a claim under Rule 12(b)(6) when the pleading lacks
  14 “sufficient factual matter . . . to ‘state a claim to relief that is plausible on its face.’”
  15 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted).
  16          In ruling on a motion to dismiss under Rules 12(b)(1) and 12(b)(6), the Court
  17 properly considers matters subject to judicial notice. White, 227 F.3d at 1242;
  18 Skilstaf, Inc. v. CVS Caremark Corp., 669 F.3d 1005, 1016 n.9 (9th Cir. 2012).
  19 IV.      THE COURT SHOULD DISMISS THE SAC IN ITS ENTIRETY
  20          A.    Plaintiffs’ Claims Are Not Justiciable
  21                1.     There Is No Case or Controversy
  22          Article III vests federal courts with “the ‘Power’ to resolve not questions and
  23 issues but ‘Cases’ or ‘Controversies.’” Ariz. Christian Sch. Tuition Org. v. Winn,
  24 563 U.S. 125, 132 (2011); Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d
  25 1134, 1138 (9th Cir. 2000) (en banc) (“Our role is neither to issue advisory opinions
  26 nor to declare rights in hypothetical cases, but to adjudicate live cases or
  27 controversies consistent with the powers granted the judiciary in Article III of the
  28 Constitution.”). Strict adherence to this requirement ensures that federal courts do
     613203.4                                   13
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   1 not intrude into areas committed to the other branches of government: “Federal
   2 courts do not possess a roving commission to publicly opine on every legal question.
   3 Federal courts do not exercise general legal oversight of the Legislative and
   4 Executive Branches, or of private entities.” TransUnion LLC v. Ramirez, 141 S. Ct.
   5 2190, 2203 (2021); Hollingsworth v. Perry, 570 U.S. 693, 700 (2013) (“This is an
   6 essential limit on our power: It ensures that we act as judges, and do not engage in
   7 policymaking properly left to elected representatives.”).
   8         Here, the parties have entered into a binding settlement agreement in which
   9 the County pledges up to an estimated $850.5 million in new resources to
  10 dramatically expand housing, medical, and social services to PEH. (Hashmall Decl.
  11 Exs. 38, 44.) Plaintiffs, the County, and Intervenors all requested that the Court
  12 dismiss the action at the April 20, 2023 hearing. In that hearing, Plaintiffs urged the
  13 Court to dismiss, noting that the agreement’s terms—including the scope of the
  14 Court’s oversight authority to “enforc[e] this agreement with full transparency”—
  15 achieve Plaintiffs’ focused goals in this case. (Id. Ex. 45, at 19-20 (“(W)e continue
  16 to push for [this settlement], saying not only is this a good agreement for what it is,
  17 but it needed to have been done eight months ago. It needed to have been done six
  18 months ago. And here we are in April, watching these projects flounder”], 39, 41
  19 [Plaintiffs are “satisfied” with the “Judicial Enforcement Provision” which gives the
  20 court “the extended period of enforcing this agreement with full transparency”].)
  21 Thus, there is no justiciable “case” or “controversy” and the Court lacks jurisdiction.
  22 Gator.com Corp. v. L.L. Bean, Inc., 398 F.3d 1125, 1132 (9th Cir. 2005) (no case or
  23 controversy where parties’ settlement has resolved their dispute).
  24         In denying the parties’ joint request for dismissal, the Court acknowledges
  25 that this is a private settlement agreement and that dismissal is not subject to the
  26 Court’s approval. (Hashmall Decl., Ex. 47, at 4 & n.2.) Yet the Court still refuses
  27 to dismiss the case as all parties have urged, rationalizing that its discretion to refuse
  28 ancillary jurisdiction empowers it to impose unwanted terms on the parties. (Id.)
     613203.4                                 14
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   1 As Plaintiffs recently pointed out, in so doing, the Court is forcing unnecessary,
   2 costly, and time-consuming litigation—contradicting the parties’ interests and
   3 diverting critical, urgently-needed resources from PEH. (Id., Ex. 45, at 16, 20.)
   4        In sum, that the Court disagrees with the terms of the agreement because it
   5 will not singularly resolve the homelessness crisis or because it does not give the
   6 Court its preferred oversight power does not change that there is no longer a
   7 justiciable dispute among the parties and, thus, that the Court lacks power to opine
   8 on the issues implicated in this nonexistent dispute. In fact, Article III prohibits
   9 courts from disregarding parties’ request to dismiss a case and from forcing the
  10 parties to litigate a nonexistent dispute. See United States v. Sineneng-Smith, 140 S.
  11 Ct. 1575, 1579 (2020) (“our system ‘is designed around the premise that [parties
  12 represented by competent counsel] know what is best for them, and are responsible
  13 for advancing the facts and argument entitling them to relief’”; “‘[C]ourts are
  14 essentially passive instruments of government.’ They ‘do not, or should not, sally
  15 forth each day looking for wrongs to right.’” (citations omitted)).
  16               2.     Plaintiffs Lack Standing
  17        Article III requires that each Plaintiff must “allege personal injury fairly
  18 traceable to the defendant’s allegedly unlawful conduct and likely to be redressed by
  19 the requested relief.” California v. Texas, 141 S. Ct. 2104, 2113 (2021) (citation
  20 omitted). Pervasive standing defects require the SAC be dismissed.
  21        First, other than Plaintiffs’ Inverse Condemnation and Taking claims, the
  22 SAC purports to state all claims against the County on behalf of undifferentiated
  23 “Plaintiffs.” But not every Plaintiff has standing to pursue each claim. For instance,
  24 Shinbane, Bastian, Rich, Burk, Frem, Pinsky, and Tashdjian do not allege they are
  25 indigent—most are real estate developers and property owners in Skid Row. Thus,
  26 they cannot assert a claim under WIC section 17000. Frem alleges injuries to his
  27 Mar Vista business miles from Skid Row and thus has no standing to challenge
  28 policies or alleged nuisances there. The SAC’s nuisance allegations are based on
     613203.4                                 15
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   1 alleged harm to “Plaintiffs who own or rent property”—necessarily excluding all
   2 unhoused Plaintiffs or Alliance members. (SAC ¶ 136.) Moreover, the named
   3 Plaintiffs do not allege that they needed and were denied mental health and
   4 substance use disorder treatment and services, so they cannot allege any violation
   5 based on the purported denial of such services. These deficiencies remain despite
   6 the Ninth Circuit’s decision identifying them. LA Alli., 14 F.4th at 958-59.
   7         Second, Plaintiffs’ alleged injuries are not traceable to the County. No
   8 Plaintiff or representative members reside in unincorporated parts of Los Angeles
   9 County, which the County’s authority is limited to. City of Dublin, 14 Cal. App. 4th
  10 at 274-75. And Plaintiffs have failed to allege a nexus between their injuries and the
  11 County’s conduct on which their claims are based. Wash. Envtl. Council v. Bellon,
  12 732 F.3d 1131, 1141-42 (9th Cir. 2013); Simon v. E. Ky. Welfare Rights Org., 426
  13 U.S. 26, 44-46 (1976) (speculative or removed links in a causal chain cannot support
  14 standing). To the extent Plaintiffs’ injuries are due to increased PEH in Skid Row, it
  15 is beyond dispute that countless factors lead to homelessness. Plaintiffs cannot link
  16 their alleged harm and the County’s substantial efforts to combat homelessness.
  17         Third, and most significantly, Plaintiffs’ alleged injuries are not redressable.
  18 The thrust of the SAC is that Plaintiffs disagree with the County’s strategy to
  19 address the homelessness crisis. Such “injuries” are not “capable of resolution
  20 through the judicial process.” Raines v. Byrd, 521 U.S. 811, 819 (1997) (citation
  21 omitted). At most, Plaintiffs raise generalized grievances, not any injury sufficient
  22 to confer standing. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992) (it must
  23 be likely, not merely speculative, that the injury will be redressed by a favorable
  24 decision).
  25         The Court’s Article III power does not permit intervention into legislative
  26 prerogatives about how to spend limited resources to serve the public. Horne v.
  27 Flores, 557 U.S. 433, 472 (2009) (regardless of how “vitally important” a goal, a
  28 district court could not require state to increase funding in one geographic area);
     613203.4                                    16
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   1 Lewis v. Casey, 518 U.S. 343, 361-62 (1996) (overturning “inordinately—indeed,
   2 wildly—intrusive” order mandating changes to state prisons that “failed to accord
   3 adequate deference to the judgment” of local officials); Rizzo v. Goode, 423 U.S.
   4 362, 366 (1976) (court order that police department implement program to handle
   5 grievances constituted “an unwarranted intrusion by the federal judiciary into the
   6 discretionary authority committed to [the city officials] by state and local law to
   7 perform their official functions”); Juliana v. United States, 947 F.3d 1159, 1171-72
   8 (9th Cir. 2020) (“[I]t is beyond the power of an Article III court to order, design,
   9 supervise, or implement [a] requested remedial plan . . . [that] would necessarily
  10 require a host of complex policy decisions entrusted, for better or worse, to the
  11 wisdom and discretion of the executive and legislative branches.”).
  12              In sum, the law is clear: there is no justiciable controversy, the complex issue
  13 of homelessness that exists beyond this action cannot be redressed here, and the
  14 Court may not engage in policymaking properly left to elected representatives.
  15              B.    Plaintiffs’ Constitutional Claims Fail As A Matter Of Law
  16                    1.     Plaintiffs Have Not Stated a Section 1983 Claim
  17              The County may be liable under 42 U.S.C. section 1983 only for its own
  18 constitutional violations. Connick v. Thompson, 563 U.S. 51, 60 (2011). To state a
  19 section 1983 claim, Plaintiffs must allege that: (1) they were deprived of a
  20 constitutional right; (2) the County has a municipal policy; (3) the policy amounts to
  21 deliberate indifference to their constitutional right; and (4) the policy was the
  22 moving force behind the constitutional violation. Dougherty v. City of Covina, 654
  23 F.3d 892, 900 (9th Cir. 2011).
  24              Plaintiffs allege that the County violated the Due Process Clause of the U.S.
  25 Constitution by (1) “depriving Plaintiffs of their liberty interest in mandatory care”
  26 (SAC ¶ 153)1 and (2) “affirmatively creat[ing] and/or increas[ing] the risk that
  27
  28
       1
           Plaintiffs’ Fifth Cause of Action cites the Fifth Amendment in passing, but the due
       613203.4                                      17
             DEFENDANT COUNTY OF LOS ANGELES’ MEMORANDUM OF POINTS AND AUTHORITIES IN
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   1 Plaintiffs would be exposed to dangerous conditions” by “contain[ing] homeless
   2 people in Skid Row . . . [and] focusing nearly exclusively on so-called permanent
   3 housing options” (id. ¶ 158). These claims violate the fundamental tenet of
   4 constitutional law: private citizens do not have any due-process right to demand
   5 specific actions by their government. See DeShaney v. Winnebago Cty. Dep’t of
   6 Soc. Servs., 489 U.S. 189, 196-97 (1989) (“[T]he State cannot be held liable under
   7 the Clause for injuries that could have been averted had it chosen to provide them.”).
   8 Moreover, to amount to a constitutional violation, government conduct is actionable
   9 only if it was “so egregious, so outrageous, that it may fairly be said to shock the
  10 contemporary conscience.” County of Sacramento v. Lewis, 523 U.S. 833, 847 n.8
  11 (1998). Plaintiffs do not and cannot allege any such conduct by the County.
  12              The Constitution does not confer a fundamental right to housing, Lindsey v.
  13 Normet, 405 U.S. 56, 74 (1972), nor to any “governmental aid,” DeShaney, 489 U.S.
  14 at 196. Unable to point to any federal rights to the housing and services claimed,
  15 Plaintiffs rely exclusively on state law. Although a liberty interest may arise from
  16 an “expectation or interest created by state laws or policies,” Wilkinson v. Austin,
  17 545 U.S. 209, 221 (2005); Mendoza v. Blodgett, 960 F.2d 1425, 1428 (9th Cir.
  18 1992), state law can create a liberty interest “only if the state law contains
  19 ‘(1) substantive predicates governing official decisionmaking, and (2) explicitly
  20 mandatory language specifying the outcome that must be reached if the substantive
  21 predicates have been met,’” Marsh v. County of San Diego, 680 F.3d 1148, 1155-56
  22 (9th Cir. 2012) (citation omitted). Demonstrating a mandatory state-law duty is
  23 extremely difficult. Even use of words such as “shall” or “will” is insufficient;
  24 rather, the “mandatory language [must] expressly require[] the decisionmaker to
  25 apply certain substantive predicates.” Mendoza, 960 F.2d at 1429 (citation omitted);
  26
  27 process and equal protection components thereof only apply to the federal
  28 government. Schweiker v. Wilson, 450 U.S. 221, 226 n.6 (1981).
       613203.4                                     18
             DEFENDANT COUNTY OF LOS ANGELES’ MEMORANDUM OF POINTS AND AUTHORITIES IN
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   1 see also Smith v. Noonan, 992 F.2d 987, 989 (9th Cir. 1993) (use of the word “may”
   2 cannot create a liberty interest).
   3           Plaintiffs do not identify any state-law “rights” to universal housing or
   4 comprehensive mental health treatment, let alone any allegation that the County
   5 violated such rights in a way that is actionable under the Fourteenth Amendment.
   6 Plaintiffs also misstate the state law on which they rely. For example, the California
   7 Supreme Court has made clear that WIC section 17000 “neither requires the County
   8 to satisfy all unmet needs, nor mandates universal health care.” Hunt v. Superior
   9 Court, 21 Cal. 4th 984, 1014 (1999). Section 17000 does not require the County to
  10 provide any specific type of care or otherwise dictate its “cho[ice] between a
  11 multitude of potential courses of action,” as Plaintiffs demand. Tailfeather v. Bd. of
  12 Supervisors, 48 Cal. App. 4th 1223, 1246 (1996). To the contrary, section 17000
  13 “give[s] the counties a great deal of discretion in determining how best to meet the
  14 medical needs of indigent residents in light of the limited resources available,” id. at
  15 1245-46, and the County defines the “standards of aid and care,” WIC § 17001.
  16           Plaintiffs’ reliance on the remaining statutes is also misplaced. E.g., WIC
  17 §§ 5600.2 (“To the extent resources are available, public mental health services in
  18 this state should be provided …”), 5600.3 (“To the extent resources are available,
  19 the primary goal of the use of funds deposited in the mental health account …
  20 should be to serve the target populations …”), 5600.4 (“Community mental health
  21 services should be organized to provide an array of treatment options …, to the
  22 extent resources are available.”), 14000 (“The intent of the Legislature is to
  23 provide, to the extent practicable, … for health care for those aged and other
  24 persons …”)2 (emphasis added). These provisions do not create a liberty interest
  25 because none specifies any service that must be provided.
  26
  27   2
       Effective January 1, 2023, WIC section 14000, setting forth the purpose of the
  28 Medi-Cal statutory scheme, was amended with changes not material here.
     613203.4                                19
             DEFENDANT COUNTY OF LOS ANGELES’ MEMORANDUM OF POINTS AND AUTHORITIES IN
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   1         Plaintiffs’ allegation that the County has failed to meet its obligation to
   2 provide mental health services also fails. The SAC points to third-party research
   3 about ideal standards of care, but not to any mandatory statutory duty. (SAC ¶ 64.)
   4 Section 17000 does not impose an obligation to provide mental health services as
   5 Plaintiffs allege, Bd. of Supervisors v. Superior Court, 207 Cal. App. 3d 552, 561-62
   6 (1989); and Plaintiffs do not allege they qualified for and were denied any specific
   7 services required by law.
   8         Moreover, Plaintiffs do not allege that the County violated any of the state
   9 laws from which their supposed “liberty interest” derives. Rather, the County has
  10 met its minimal obligations under state law, but not in a way Plaintiffs find to be
  11 “meaningful.” (See SAC ¶ 124.) This does not meet the stringent test for a due-
  12 process violation and confirms that Plaintiffs’ complaints are merely political.
  13         Finally, Plaintiffs cannot show that the County’s compliance with state law
  14 caused them any harm—let alone lost business and insurance opportunities, arson,
  15 and “trash and human waste” in “our oceans.” (SAC ¶¶ 14–16.)
  16                2.    Plaintiffs Do Not State a Claim Under the “State-Created
  17                      Danger” Doctrine
  18         Plaintiffs’ substantive due-process claim under the “state-created danger”
  19 doctrine fares no better. The SAC includes no new allegations that overcome the
  20 deficiencies identified in the County’s last motion to dismiss. Nor could it.
  21         The Due Process Clause limits state action; it is not a “guarantee of certain
  22 minimal levels of safety and security.” DeShaney, 489 U.S. at 195. “Simply failing
  23 to prevent acts of a private party is insufficient to establish liability.” Martinez v.
  24 City of Clovis, 943 F.3d 1260, 1271 (9th Cir. 2019). The “state-created danger”
  25 doctrine is a narrow exception to the rule that the Constitution “confer[s] no
  26 affirmative right to governmental aid, even where such aid may be necessary to
  27 secure life, liberty, or property interests.” DeShaney, at 196. To satisfy the state-
  28 created danger exception, Plaintiffs must allege (1) “affirmative actions” that
     613203.4                                 20
          DEFENDANT COUNTY OF LOS ANGELES’ MEMORANDUM OF POINTS AND AUTHORITIES IN
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   1 “created or exposed [them] to an actual, particularized danger that [they] would not
   2 otherwise have faced”; (2) their injuries were “foreseeable”; and (3) deliberate
   3 indifference “to the known danger.” Martinez, at 1271. Plaintiffs’ allegations,
   4 again, fall far short.
   5         Plaintiffs do not allege that the County created a particularized danger
   6 specifically directed at any particular plaintiff. Sinclair v. City of Seattle, 61 F.4th
   7 674, 682 (9th Cir. 2023) (“A danger is ‘particularized’ if it is directed at a specific
   8 victim.”). At most, the SAC alleges generalized dangers that purportedly exposed
   9 all Plaintiffs, generally and equally, to risks and dangerous conditions on Skid Row.
  10 (See SAC ¶ 158.) This is not enough: “A ‘particularized’ danger, naturally,
  11 contrasts with a general one.” Sinclair, at 682. Where, as here, the dangers that
  12 plaintiffs purportedly face as the result of government action are the same as anyone
  13 else in the affected area, a claim under the state-created danger doctrine fails as a
  14 matter of law. Id. at 682-83; id. at 684 (where the City created an actual danger of
  15 increased crime in Seattle’s “CHOP” zone but not one specific to the plaintiffs, no
  16 viable claim; affirming dismissal under Rule 12(b)(6)).
  17         Nor do Plaintiffs’ allegations satisfy the “affirmative act” requirement.
  18 Plaintiffs challenge two policies: (1) “a strategy to contain homeless people in Skid
  19 Row,” and (2) the County’s purported “focus[] nearly exclusively on so-called
  20 permanent housing options.” (SAC ¶ 158.)
  21         First, Plaintiffs cannot hold the County liable for a City policy regarding
  22 Skid Row. (See supra §IV.A.2.) The alleged Skid Row containment “policy” also
  23 pre-dates Plaintiffs’ injuries by several decades. Thus, Plaintiffs cannot show that
  24 any actions by the County “create[d] or expose[d] [them] to a danger which [they]
  25 would not have otherwise faced.” Campbell v. State of Wash. Dep’t of Soc. &
  26 Health Servs., 671 F.3d 837, 845 (9th Cir. 2011) (citation omitted).
  27         Second, the County’s efforts to break the cycle of homelessness by
  28 prioritizing permanent housing solutions for PEH, as opposed to focusing on
     613203.4                                 21
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   1 “emergency” shelters, do not come close to a state-created danger. Plaintiffs simply
   2 disagree with the County’s discretionary policy decisions. See Johnson v. City of
   3 Seattle, 474 F.3d 634, 641 (9th Cir. 2007) (decision to abandon a more “effective[]”
   4 plan did not constitute “affirmative conduct that placed the [plaintiffs] in danger”).
   5 Moreover, Plaintiffs cannot tie the County’s focus on achieving the right proportion
   6 of interim housing and permanent housing to greater danger than they would face if
   7 PEH were offered only temporary, emergency shelter. (See, e.g., SAC ¶ 12
   8 (alleging that there is “inherent danger involved in being unsheltered”).)
   9         Nor do Plaintiffs’ allegations based on housing priorities satisfy the
  10 “affirmative action[]” requirement. The allegations are missing the obvious,
  11 immediate, and “particularized danger” to a specific individual that gives rise to a
  12 duty of care. Martinez, 943 F.3d at 1271. And Plaintiffs cannot allege that County
  13 policies caused their litany of diffuse injuries. Lawrence v. United States, 340 F.3d
  14 952, 957 (9th Cir. 2003) (“[I]n each of the cases in which we have applied the
  15 danger-creation exception, ultimate injury to the plaintiff was foreseeable.”).
  16         The SAC also fails to allege facts establishing the County acted with
  17 deliberate indifference. Sinclair, 61 F.4th at 680-81 (deliberate indifference is a
  18 “‘stringent standard of fault.’ The defendant ‘must “recognize[] the unreasonable
  19 risk and actually intend[] to expose the plaintiff to such risks without regard to the
  20 consequences to the plaintiff”’” (citations omitted); id. (“‘[O]nly official conduct
  21 that “shocks the conscience” is cognizable as a due process violation.’”). To the
  22 contrary, as Plaintiffs’ acknowledge, the County devotes significant effort and
  23 resources to the homelessness crisis. Cf. id. at 681 (deliberate indifference where
  24 City officials “knowingly exposed the public to a danger against which the officials
  25 did almost nothing to protect against” (emphasis added)); see SAC ¶ 10 (“Together
  26 the City and County spend over a billion dollars annually providing police,
  27 emergency, and support services to those living on the streets.”). At most, Plaintiffs
  28 allege the County’s policy decisions and use of taxpayer funds have not adequately
     613203.4                                 22
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   1 addressed the homelessness crisis. (See SAC ¶¶ 157-61.) The Supreme Court has
   2 rejected this as a basis for a due process challenge. See County of Sacramento, 523
   3 U.S. at 848-49 (“[L]iability for negligently inflicted harm is categorically beneath
   4 the threshold of constitutional due process.”).
   5                 3.     Plaintiffs Have Not Stated a Takings Claim
   6           With respect to the uncompensated taking and inverse condemnation3 claims,
   7 the SAC substitutes the County for the City in name alone and makes no other
   8 amendments. (SAC ¶¶ 163-65.) This shows how meritless Plaintiffs’ claims are. In
   9 any event, the County’s discretionary spending decisions cannot be deemed a
  10 taking. Pa. Coal Co. v. Mahon, 260 U.S. 393, 413 (1922) (“Government hardly
  11 could go on if to some extent values incident to property could not be diminished
  12 without paying for every such change in the general law.”).
  13           Moreover, to state a taking or inverse condemnation claim, a plaintiff must
  14 allege both that (1) the plaintiff has a property interest; and (2) the government has
  15 taken that property for which compensation is due. See Engquist v. Or. Dep’t of
  16 Agric., 478 F.3d 985, 1002 (9th Cir. 2007). Plaintiffs’ claims fail on both parts.
  17           First, “‘only persons with a valid property interest at the time of the taking are
  18 entitled to compensation.’” Air Pegasus of D.C., Inc. v. United States, 424 F.3d
  19 1206, 1212 (Fed. Cir. 2005) (citation omitted). To qualify, a private property
  20 interest cannot be “speculative,” “uncertain,” or “discretionary.” Engquist, 478 F.3d
  21 at 1003. But the SAC alleges that PEH are located “on the sidewalks, beaches, and
  22 under overpasses” and acknowledges that these locations are not on the Plaintiffs’
  23 private property. (See, e.g., SAC ¶¶ 2, 9, 81(i), 83-87, 89-90, 111, 113, 115.)
  24 Plaintiffs cannot have a private property interest in public locations. See Air
  25
       3
  26   Save for a difference not relevant here, the California Supreme Court has held that
     takings claims under California and U.S. Constitutions are “construed …
  27 congruently.” San Remo Hotel L.P. v. City And County of San Francisco, 27 Cal.
  28 4th 643, 663-64 (2002).
     613203.4                                   23
             DEFENDANT COUNTY OF LOS ANGELES’ MEMORANDUM OF POINTS AND AUTHORITIES IN
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   1 Pegasus, at 1217-18 (plaintiff has no private property interest in the navigable
   2 airspace because it is considered public property).
   3         Second, even if Plaintiffs could establish the requisite private property
   4 interest, their claims still fail. “[A] property loss compensable as a taking only
   5 results when the government intends to invade a protected property interest or the
   6 asserted invasion is the ‘direct, natural, or probable result of an authorized activity
   7 and not the incidental or consequential injury inflicted by the action.’” Ridge Line,
   8 Inc. v. United States, 346 F.3d 1346, 1355-56 (Fed. Cir. 2003) (citation omitted).
   9 Thus, a takings claim must be predicated on actions by government, not third
  10 parties. See, e.g., Navajo Nation v. United States, 631 F.3d 1268, 1274, 1276 (Fed.
  11 Cir. 2011) (rejecting takings claim because no credible evidence showed the
  12 government directed or encouraged third parties’ conduct, so it could not support a
  13 takings claim); Lingle v. Chevron U.S.A. Inc., 544 U.S. 528, 537 (2005) (“The
  14 paradigmatic taking requiring just compensation is a direct government
  15 appropriation … of private property.” (emphasis added)). Even where a government
  16 agency engages in action it knows “will pave the way for another to lose property at
  17 the hands of a third party,” “a taking claim will not lie.” Casa de Cambio Comdiv
  18 S.A. de C.V. v. United States, 48 Fed. Cl. 137, 142 (Fed. Cl. 2000), aff’d, 291 F.3d
  19 1356 (Fed. Cir. 2002). Plaintiffs’ claims allege only injury caused by third parties—
  20 the PEH on public property near Plaintiffs’ properties. This is not “direct, natural,
  21 or probable” action by the County.
  22         Even if both elements are met (they are not), the claims still fail. For one
  23 thing, all of the Plaintiffs and LA Alliance members identified in the SAC own
  24 property in the City of Los Angeles—outside of the County’s jurisdiction. See Cty.
  25 Sanitation Dist. No. 2 v. County of Kern, 127 Cal. App. 4th 1544, 1612 (2005)
  26 (cities “are necessarily outside the jurisdiction and authority of County; County’s
  27 authority extends only to the unincorporated areas”). For another, “[i]solated
  28 physical invasions, not undertaken pursuant to a granted right of access, are properly
     613203.4                                24
          DEFENDANT COUNTY OF LOS ANGELES’ MEMORANDUM OF POINTS AND AUTHORITIES IN
                   SUPPORT OF MOTION TO DISMISS SECOND AMENDED COMPLAINT

                                                                                               ER 68
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   1 assessed as individual torts rather than appropriations of a property right.” Cedar
   2 Point Nursery v. Hassid, 141 S. Ct. 2063, 2078 (2021). Thus, to the extent PEH
   3 have physically “invaded” Plaintiffs’ properties, Plaintiffs’ claims lie in tort against
   4 those individuals, not the County.
   5              C.    Plaintiffs’ Remaining State Law Claims Fail As A Matter Of Law
   6              Plaintiffs’ federal claims are flawed, so the Court should decline supplemental
   7 jurisdiction over the state law claims. 28 U.S.C. § 1367(a). Indeed, because
   8 Plaintiffs lack Article III standing, the Court cannot adjudicate the state law claims.
   9 Herman Family Revocable Tr. v. Teddy Bear, 254 F.3d 802, 805 (9th Cir. 2001).
  10              In any event, as explained below, the state law claims are untenable.
  11                    1.    Plaintiffs Fail to Identify a Mandatory Duty
  12              The SAC alleges the County violated a “mandatory duty” under WIC section
  13 17000, which provides that a county “shall relieve and support” indigent residents.
  14 (SAC ¶¶ 122-32.) Section 17000 does not require counties to cover “all unmet
  15 needs,” Hunt, 21 Cal. 4th at 1014, only to provide “last resort” financial assistance
  16 and “medically necessary care,” County of San Diego v. State, 15 Cal. 4th 68, 92,
  17 104-05 (1997) (citations omitted).
  18              Section 17000 forecloses Plaintiffs’ theory that “beds themselves are
  19 medically necessary.” (SAC ¶ 130.) WIC confers broad discretion on counties to
  20 determine the form and structure of relief they provide. Scates v. Rydingsword, 229
  21 Cal. App. 3d 1085, 1089 (1991). The statute does not mandate particular forms of
  22 assistance, such as provision of beds for those not requiring acute inpatient care.4
  23              Plaintiffs cite to WIC section 10000 (SAC ¶ 127), which is a “general
  24 statement of policy” that “aid shall be administered and services provided promptly
  25
  26   4
      A state appellate court rejected the argument that counties have a mandatory duty
  27 under section 17000 to provide shelter for every homeless person. See Clinton v.
  28 Cody, 2019 WL 2004842, at *9 (Cal. Ct. App. May 7, 2019).
       613203.4                                      25
             DEFENDANT COUNTY OF LOS ANGELES’ MEMORANDUM OF POINTS AND AUTHORITIES IN
                      SUPPORT OF MOTION TO DISMISS SECOND AMENDED COMPLAINT

                                                                                                    ER 69
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   1 and humanely.” Marquez v. State Dep’t of Health Care Servs., 240 Cal. App. 4th
   2 87, 120 (2015) (citations omitted). This provision “does not set forth any specific
   3 duty or course of conduct an agency must take, but leaves to the agency’s discretion
   4 how to pursue the policy goal.” Id.
   5         As discussed above, none of the other WIC provisions give rise to a
   6 mandatory duty for the County. (See supra, at 19.) Section 5600 describes only
   7 objectives the County “should” try to meet “to the extent resources are available.”
   8 See WIC §§ 5600.3, 5600.4, 5600.6. Section 14000 provides for limited services
   9 “to the extent practicable.” Id. § 14000; see id. § 14005.36(d) (“This section shall
  10 be implemented only to the extent that federal financial participation … is
  11 available.” (emphasis added)).
  12         Likewise, with the exception of funding adult protective services (which
  13 Plaintiffs do not claim are at issue), WIC section 13000 merely sets forth goals that
  14 the County “may expend” funds to meet. Thus, while the County is working hard to
  15 address the homelessness crisis, it is not subject to any mandatory statutory duty.
  16         Moreover, section 17000 only applies when an indigent person is “not
  17 supported and relieved by their relatives or friends, by their own means, or by state
  18 hospitals or other state or private institutions.” § 17000. No Plaintiff alleges they
  19 are indigent and deprived of medically necessary care or general assistance. Thus,
  20 as the Ninth Circuit already held, Plaintiffs lack standing. LA All., 14 F.4th at 958-
  21 59. The SAC fails to cure this fatal deficiency. (See SAC ¶¶ 122-32.)
  22               2.     Plaintiffs Have Not Stated a Claim for Nuisance
  23         A nuisance is a non-trespassory invasion of a person’s interest in the private
  24 use and enjoyment of land. Cal. Civ. Code § 3479; San Diego Gas & Elec. Co. v.
  25 Superior Court, 13 Cal. 4th 893, 937 (1996). A public nuisance is “one which
  26 affects at the same time an entire community or neighborhood, or any considerable
  27 number of persons.” Cal. Civ. Code § 3480. A private nuisance is any nuisance not
  28 otherwise defined as a public nuisance. Id. § 3481.
     613203.4                                 26
          DEFENDANT COUNTY OF LOS ANGELES’ MEMORANDUM OF POINTS AND AUTHORITIES IN
                   SUPPORT OF MOTION TO DISMISS SECOND AMENDED COMPLAINT

                                                                                              ER 70
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   1        Claims for public and private nuisance must establish causation. “[T]he
   2 critical question is whether the defendant created or assisted in the creation of the
   3 nuisance.” See Citizens for Odor Nuisance Abatement v. City of San Diego, 8 Cal.
   4 App. 5th 350, 359 (2017) (citation omitted); Resolution Tr. Corp. v. Rossmoor
   5 Corp., 34 Cal. App. 4th 93, 99 (1995) (defendant must be an “active participant” in
   6 the nuisance). Causation requires (a) an act, or (b) a failure to act where the actor is
   7 under a duty to take positive action to prevent or abate the nuisance. Citizens for
   8 Odor, at 359.
   9        The SAC alleges that third-party PEH are breaking the law and that their
  10 waste, trash, and encampments are harming Plaintiffs’ “health and welfare.” (SAC
  11 ¶ 136.) But the County did not create the alleged nuisance—the waste, disease,
  12 fires, or crime. Nuisance liability cannot extend “to damage suffered as a proximate
  13 result of the independent intervening acts of others.” Martinez v. Pac. Bell, 225 Cal.
  14 App. 3d 1557, 1565 (1990). Moreover, the alleged nuisances caused by PEH
  15 entirely within the incorporated boundaries of the City are outside of County
  16 jurisdiction. See Cty. Sanitation Dist. No. 2, 127 Cal. App. 4th at 1612.
  17        Plaintiffs’ theory that PEH are themselves an actionable, area-wide nuisance
  18 is baseless: The Ninth Circuit has repeatedly affirmed that PEH have rights to exist
  19 in the streets with their personal property. E.g., Lavan v. City of Los Angeles, 693
  20 F.3d 1022, 1032 (9th Cir. 2012); Jones v. City of Los Angeles, 444 F.3d 1118, 1132-
  21 37 (9th Cir. 2006), vacated following settlement by 505 F.3d 1006 (9th Cir. 2007).
  22               3.     Plaintiffs Fail to State a Claim for Waste of Public Resources
  23        Plaintiffs lack standing to assert their Sixth Cause of Action under Code of
  24 Civil Procedure section 526a for “taxpayer waste.” Section 526a does not
  25 automatically confer Article III standing. Cantrell v. City of Long Beach, 241 F.3d
  26 674, 683-84 (9th Cir. 2001). Plaintiffs’ theory is that, if the County had made better
  27 use of its funds, it could have constructed enough homeless shelters such that, if the
  28 City enforced its anti-vagrancy laws, Skid Row encampments would be eliminated.
     613203.4                                 27
          DEFENDANT COUNTY OF LOS ANGELES’ MEMORANDUM OF POINTS AND AUTHORITIES IN
                   SUPPORT OF MOTION TO DISMISS SECOND AMENDED COMPLAINT

                                                                                                ER 71
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   1 This tenuous, speculative claim is not a legitimate “pocketbook” injury traceable to
   2 the County or redressable by the Court. California, 141 S. Ct. at 2114.
   3         Moreover, “[a] cause of action under Code of Civil Procedure section 526a
   4 will not lie where the challenged governmental conduct is legal.” Coshow v. City of
   5 Escondido, 132 Cal. App. 4th 687, 714 (2005). The County’s expenditures to help
   6 PEH are undeniably legal. Plaintiffs attempt to obtain sweeping injunctive relief
   7 based on their belief that the County has “misused and wasted” taxpayer funds on
   8 addressing homelessness. (SAC ¶ 145.) Yet, Plaintiffs admit the County’s budget
   9 allocates $466 million in Measure H funds for combatting homelessness through
  10 housing and supportive services. (Id. ¶ 59.) Plaintiffs have no viable waste claim.
  11         Plaintiffs’ allegation that “alternative available measures” would be more
  12 “effective in addressing the crisis” is merely a policy disagreement. (SAC ¶ 145.)
  13 Section 526a is not a tool for private citizens to dictate public policy. See Coshow,
  14 132 Cal. App. 4th at 714 (“[A] taxpayer is not entitled to injunctive relief . . . where
  15 the real issue is a disagreement with [how] government has chosen to address a
  16 problem”); Schmid v. City & County of San Francisco, 60 Cal. App. 5th 470, 495-96
  17 (2021) (“A claim under [526a] does not lie to attack exercises of administrative
  18 discretion and may not be employed to interfere with policymaking.”).
  19               4.     Statutory Immunity Bars Plaintiffs’ Claims
  20         Under California law, public entities have absolute immunity unless
  21 “otherwise provided by statute.” Cal. Gov’t Code § 815. Governmental immunity
  22 shields public entities from claims based on “adopting or failing to adopt an
  23 enactment” or “failing to enforce any law,” id. § 818.2, and “exercise[s] of . . .
  24 discretion . . ., whether or not such discretion be abused,” id. § 820.2. See Taylor v.
  25 Buff, 172 Cal. App. 3d 384, 390 (1985) (budgetary and fiscal policy, allocation of
  26 finite resources, and choices between competing policy objectives are
  27 “discretionary” activities protected by governmental immunity); HFH, Ltd. v.
  28 Superior Court, 15 Cal. 3d 508, 519 (1975) (“basic policy decisions” immune from
     613203.4                                28
          DEFENDANT COUNTY OF LOS ANGELES’ MEMORANDUM OF POINTS AND AUTHORITIES IN
                   SUPPORT OF MOTION TO DISMISS SECOND AMENDED COMPLAINT

                                                                                                ER 72
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   1 “governmental tort liability” (citation omitted)).
   2              Plaintiffs’ request for injunctive relief does not change the immunity analysis.
   3 See Schooler v. State, 85 Cal. App. 4th 1004, 1013-15 (2000) (rejecting plaintiff’s
   4 argument that injunctive relief claims were not subject to immunity). Although
   5 Government Code section 814 states that immunity does not affect “the right to
   6 obtain relief other than money or damages,” this provision does not “circumvent
   7 either its own underlying legislative policy or that of another section in the Tort
   8 Claims Act.” Id. at 1013. The mandatory injunctive relief Plaintiffs seek would
   9 impose substantial financial burdens—hundreds of millions of dollars—on the
  10 County as real as money damages; it is thus barred. See id. at 1014-15.
  11              Moreover, section 818.2 “recognizes that the wisdom of legislative or quasi-
  12 legislative action . . . should not be subject to review” by the courts. Cal. Gov’t
  13 Code § 818.2 (Law Revision Comm’n Comments). The County dedicates
  14 tremendous resources to addressing the complex homelessness crisis—which
  15 requires that it weigh policy options and carefully allocate limited resources. These
  16 basic policy decisions regarding law enforcement and municipal services are the
  17 crux of the immunity doctrine. Freeny v. City of San Buenaventura, 216 Cal. App.
  18 4th 1333, 1341 (2013); see also Taylor, 172 Cal. App. 3d at 390 (“A decision
  19 involving the allocation of limited funds is a purely discretionary one . . . ‘and thus
  20 immune from liability.’” (citation omitted)).
  21              The SAC asks the Court to substitute its judgment for these fundamental
  22 County policy choices. But it is not the Court’s role to dictate local policy and
  23 budget priorities by usurping the County’s discretionary decisions. Immunity bars
  24 Plaintiffs’ claims. See Schooler, 85 Cal. App. 4th at 1014 (“[A]ny ‘relief’ allowed
  25 under section 814 cannot create duties that immunity provisions guard against.”).
  26 V.           CONCLUSION
  27              For the reasons set forth above, the County respectfully requests that the
  28 Court grant the Motion in its entirety.
       613203.4                                      29
             DEFENDANT COUNTY OF LOS ANGELES’ MEMORANDUM OF POINTS AND AUTHORITIES IN
                      SUPPORT OF MOTION TO DISMISS SECOND AMENDED COMPLAINT

                                                                                                     ER 73
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                                 #:16295



   1 DATED: May 3, 2023                    MILLER BARONDESS, LLP
   2
   3
                                           By:        /s/ Mira Hashmall
   4
                                                  MIRA HASHMALL
   5                                              Attorneys for Defendant
   6                                              COUNTY OF LOS ANGELES

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       613203.4                                  30
             DEFENDANT COUNTY OF LOS ANGELES’ MEMORANDUM OF POINTS AND AUTHORITIES IN
                      SUPPORT OF MOTION TO DISMISS SECOND AMENDED COMPLAINT

                                                                                        ER 74
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                                 UNITED STATES DISTRICT COURT
  9
                             CENTRAL DISTRICT OF CALIFORNIA
 10
 11
      LA ALLIANCE FOR HUMAN                     Case No. 2:20-cv-02291-DOC-KES
 12   RIGHTS, et al.,
 13                                             Assigned to Judge David O. Carter
                   Plaintiffs,
 14
            v.                                  PLAINTIFFS’ OPPOSITION TO
 15                                             DEFENDANT COUNTY OF LOS
                                                ANGELES’S EX PARTE
 16   CITY OF LOS ANGELES, et al.,              APPLICATION FOR STAY
 17
                   Defendants.
 18
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 28


          OPPOSITION TO COUNTY OF LOS ANGELES’S EX PARTE APPLICATION
                                                                                     ER 75
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  1         PLEASE TAKE NOTICE that Plaintiffs in this matter hereby oppose the
  2   County’s ex parte application for a stay of this case pending a meritless appeal.1
  3         What the County insists is a constitutional question is in fact a simple contract
  4   issue. Plaintiffs and the County sought the court’s approval of a Settlement
  5   Agreement that contained the following language: “[T]his Agreement shall become
  6   effective and operative on the date that the District Court enters an Order dismissing,
  7   with prejudice, the Action, subject to the court's continuing enforcement in accordance
  8   with Section P of this Agreement.” (ECF No. 485-1, Settlement Agreement,
  9   paragraph A(1).) 2 In other words, the County expressly agreed that the Settlement
 10   Agreement would not become binding unless the Court (i) dismissed the case and (ii)
 11   agreed to “continuing enforcement.” It is undisputed that the Court did neither.
 12   Because this express condition precedent was not satisfied, the Settlement Agreement
 13   never became “effective and operative.” See Roth v. Garcia Marquez, 942 F.2d 617,
 14   626 (9th Cir. 1991) (A contract in which the defendant's “signature was a condition
 15   precedent to the forming of a binding contract. Since he never signed, no contract was
 16   formed.”). Without the Court’s consent to “continuing enforcement,” there is no deal,
 17   and no grounds for a stay or appeal.
 18         Pretending that this contractual, court-enforcement condition doesn’t exist, the
 19   County creates an alternative reality where the parties reached a purely private
 20   agreement that had no condition precedent and left the Court with no choice but to
 21   accept the deal and dismiss this case. But ignoring reality is not a basis to stay a
 22   federal case.
 23         There is no legitimacy to the County’s lament that the Court somehow imposed
 24   additional terms on a private deal between the parties. The Settlement Agreement
 25   expressly contemplated the Court’s retention of jurisdiction to enforce the agreement.
 26
            1
                The Plaintiffs take no position on the request for expedited briefing.
 27
            2
             The plaintiffs and the County later submitted to the Court an addendum to the
 28   Settlement Agreement (ECF No. 533-2), which altered certain terms in the original
      Settlement Agreement but left untouched paragraph A(1).
                                                    1
          OPPOSITION TO COUNTY OF LOS ANGELES’S EX PARTE APPLICATION
                                                                                                ER 76
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  1   The Supreme Court itself has made it clear that under these circumstances,
  2                [w]hen the dismissal is pursuant to Federal Rule of Civil
  3                Procedure 41(a)(2), which specifies that the action “shall not be
  4                dismissed at the plaintiff's instance save upon order of the court
  5                and upon such terms and conditions as the court deems proper,”
  6                the parties’ compliance with the terms of the settlement contract
  7                (or the court's “retention of jurisdiction” over the settlement
  8                contract) may, in the court's discretion, be one of the terms set
  9                forth in the order.
 10   Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 381–82 (1994) (emphasis
 11   added). 3 In other words, “a court is under no obligation to retain jurisdiction over a
 12   settlement agreement, but may do so if it chooses.” Brass Smith, LLC v. RPI Indus.,
 13   Inc., 827 F. Supp. 2d 377, 381 (2011). Contrary to the County’s belief,
 14                Parties, even if they mutually agree, do not have a right to
 15                incorporation of all their settlement terms in a dismissal order,
 16                since “nowhere in [Kokkonen] does it say that a court must
 17                allow such an incorporation.” It is within the Court's discretion
 18                to decline “the invitation to place the judicial stamp of authority
 19                on whatever private arrangements have been made between the
 20                parties.”
 21   Id. (quoting Glaxo Grp. Ltd. v. Dr. Reddy's Labs., Ltd., 325 F. Supp. 2d 502, 506
 22   (D.N.J. 2004). This is what the County misses when it complains that the Court was
 23   imposing its own conditions on a purely private deal. It was never a private deal. It
 24   called for the Court’s retention of jurisdiction to enforce the settlement, which the
 25
 26
 27         3
               The Ninth Circuit “has long held that the decision to grant a voluntary
      dismissal under Rule 41(a)(2) is addressed to the sound discretion of the District Court,
 28   and its order will not be reversed unless the District Court has abused its discretion.”
      Hamilton v. Firestone Tire & Rubber Co., 679 F.2d 143, 145 (9th Cir. 1982).
                                                  2
          OPPOSITION TO COUNTY OF LOS ANGELES’S EX PARTE APPLICATION
                                                                                                  ER 77
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  1   Court was under no obligation to give. 4 And the Court acted within the bounds of its
  2   discretion in indicating what kind of deal that it might agree to retain jurisdiction over.
  3         The County also proclaims that it would be prejudiced without a stay because it
  4   would have to defend itself in court, but “it is clear that the mere inconvenience of
  5   defending another lawsuit does not constitute plain legal prejudice.” Hamilton v.
  6   Firestone Tire & Rubber Co., 679 F.2d 143, 145 (9th Cir. 1982). It is understandable
  7   but unfortunate that the County would seek to avoid litigation over its failure to meet
  8   the needs of those living and dying on the streets of Los Angeles—particularly those
  9   experiencing mental health challenges and substance use disorder. This case has been
 10   pending for three years, and the County still refuses to create the beds and commit to
 11   the accountability that would resolve it. It is time for this case to proceed.
 12                                              Respectfully submitted,
 13
 14   Dated: April 29, 2023                      /s/ Matthew Donald Umhofer
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 15                                                Matthew Donald Umhofer
                                                   Elizabeth A. Mitchell
 16
                                                  Attorneys for Plaintiffs
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 27         4
              In its Motion to Certify, the County evades controlling in-circuit precedent
      concerning the district court’s broad discretion under Rule 41(a)(2), and instead
 28   embraces out-of-circuit cases, none of which involved a settlement conditioned on a
      court’s acceptance of continued jurisdiction.
                                                   3
          OPPOSITION TO COUNTY OF LOS ANGELES’S EX PARTE APPLICATION
                                                                                                    ER 78
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                                #:15627



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15
16                            UNITED STATES DISTRICT COURT
17              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
18
19 LA ALLIANCE FOR HUMAN                           CASE NO. 2:20-cv-02291 DOC (KES)
20 RIGHTS, et al.,
                                                   DEFENDANT COUNTY OF
21                   Plaintiffs,                   LOS ANGELES’ EX PARTE
                                                   APPLICATION FOR STAY AND
22              v.                                 EXPEDITED BRIEFING
                                                   SCHEDULE
23 CITY OF LOS ANGELES, et al.,
24                                                 Assigned to the Hon. David O. Carter
             Defendants.                           and Magistrate Judge Karen E. Scott
25
26
27
28
     612259.4
                 DEFENDANT COUNTY OF LOS ANGELES’ EX PARTE APPLICATION FOR STAY AND
                                   EXPEDITED BRIEFING SCHEDULE

                                                                                          ER 79
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 131 of 1079

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                                #:15628



  1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2          PLEASE TAKE NOTICE that Defendant County of Los Angeles (the
  3 “County”) hereby applies to the Court ex parte for an order staying the case until the
  4 County is able to seek appellate review of the Court’s April 20, 2023 Minute Order
  5 (the “April 20 Order”). In the April 20 Order, the Court denied the joint stipulation
  6 for dismissal with prejudice submitted by the County and Plaintiffs LA Alliance for
  7 Human Rights, et al. (“Plaintiffs”). The County is filing a motion to certify the
  8 April 20 Order for interlocutory appeal pursuant to 28 U.S.C. § 1292(b) (the
  9 “Motion for Certification”), which the County seeks to have expedited.
10           Good cause supports this ex parte application. The County needs expedited
11 ex parte relief because, in the absence of an immediate stay, it will need to respond
12 to Plaintiffs’ Second Amended Complaint by the May 3 deadline set by the Court.
13 The County satisfies all four factors considered by courts when evaluating whether
14 to grant a stay of proceedings pending appeal. First, the County is likely to succeed
15 on the merits of its appeal because there is no justiciable controversy between the
16 parties, and the Court exceeded its legal and equitable powers by forcing the parties
17 to litigate a case they have already fully resolved. Second, the County will be
18 irreparably harmed absent a stay because it will be forced to divert resources to
19 litigating this matter. Third, the stay will not injure any other interested parties
20 because all parties urged this Court to approve the stipulated dismissal. Fourth, the
21 public interest favors the stay because there is a strong public policy favoring the
22 economic use of judicial resources, and requiring the parties to litigate a matter that
23 has already been settled between them is a waste of valuable judicial resources.
24           There is also good cause to expedite the resolution of the County’s Motion for
25 Certification. By Local Rule, the County’s Motion for Certification would
26 ordinarily not be heard until June 5, 2023, over a month from now and after the
27 Rule 16 Scheduling Conference set for May 9, 2023. The County respectfully
28 requests that the Court: (1) set the County’s Motion for Certification for hearing on
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  1 May 9, 2023; and (2) provide that any responses to the Motion be filed by May 5,
  2 2023. To expedite the resolution of the Motion, the County will forego an
  3 opportunity to file reply papers before the May 9 hearing.
  4               This ex parte application is based on the Application, the Memorandum of
  5 Points and Authorities, the Declaration of Mira Hashmall and exhibits thereto, the
  6 pleadings and records on file in this action, and any further evidence or argument
  7 received by the Court in connection with the Application.
  8               Local Rule 7-19 Compliance
  9               Pursuant to Local Rule 7-19, on April 25, 2023, the County provided notice
10 of its intent to file this ex parte application to Plaintiffs and Intervenors via email.
11 (Declaration of Mira Hashmall (“Hashmall Decl.”) ¶ 2 & Ex. A.) The parties
12 further discussed the ex parte application during a teleconference on April 27, 2023.
13 (Id. ¶¶ 3-5.) Plaintiffs indicated that they did not oppose expedited resolution of the
14 County’s Motion for Certification and that they opposed the application for a stay.
15 (Id. ¶ 3.) Intervenors stated that they would not oppose the application for a stay or
16 expedited briefing on the County’s Motion for Certification. (Id. ¶ 4.)
17                Counsel for Plaintiffs and Intervenors are identified below.
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28
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  6
  7
  8                                        By:           /s/ Mira Hashmall
                                                     MIRA HASHMALL
  9                                                  Attorneys for Defendant
10                                                   COUNTY OF LOS ANGELES
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  1                 MEMORANDUM OF POINTS AND AUTHORITIES
  2 I.       INTRODUCTION
  3          On April 20, 2023, the Court denied the Plaintiffs’ and County’s stipulated
  4 dismissal of this action in its entirety based on its characterization of the parties’
  5 binding settlement agreement—committing over $1.1 billion in resources to the
  6 unhoused—as an “aspirational document” that was undeserving of the “credibility
  7 of the federal court.” (Declaration of Mira Hashmall Ex. D at 23-25.) Plaintiffs, the
  8 County, and Intervenors—nonprofit community organizations advocating on behalf
  9 of the unhoused—urged the Court to dismiss the action at the April 20 hearing.
10 Because the Court lacks “trust” in the political “process,” it refused to do so,
11 conditioning dismissal on the addition of settlement terms giving the Court powers
12 of monitoring that the Court wants. (Id. at 32, 42 [“You get me that same paragraph
13 that the City had, oversight and enforcement, let’s talk. But until then, I said it
14 before, and I’m not bargaining with you, I meant it.”].)
15           The County requests a stay of proceedings while seeking certification for
16 interlocutory appellate review of the Court’s April 20 Order pursuant to 28 U.S.C. §
17 1292(b), for the reasons outlined in the County’s concurrently-filed motion. This
18 Court has broad discretion to grant such a stay, especially in the context of
19 interlocutory appellate review under Section 1292(b). Courts routinely do so for the
20 purpose of promoting “economy of time and effort for [themselves], for counsel,
21 and for litigants.” Ass’n of Irritated Residents v. Fred Schakel Dairy, 634 F. Supp.
22 2d 1081, 1094 (E.D. Cal. 2008) (citation omitted); CMAX, Inc. v. Hall, 300 F.2d
23 265, 268 (9th Cir. 1962).
24           Absent a stay, the parties will need to engage in substantial, unrecoverable,
25 and wasteful discovery and motion practice on matters that could be mooted by
26 appellate review. There is no countervailing harm to Plaintiffs or Intervenors, and
27 staying the proceedings would conserve judicial resources and promote the most
28 efficient resolution of this case. Accordingly, the County respectfully requests that
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  1 the Court enter a stay while the Court considers the County’s request for
  2 interlocutory appeal and any further related proceedings that take place in the Ninth
  3 Circuit Court of Appeals.
  4          As this Court is well aware, the County has pledged an unprecedented
  5 $1.1 billion in public funds and resources to address and prevent homelessness in
  6 connection with this litigation, after reaching a fully-agreed settlement with
  7 Plaintiffs more than six months ago, and again this month at the Court’s urging. It is
  8 the County’s view that this Court exceeded its authority when it rejected the
  9 stipulated dismissal of this action with prejudice, and the County intends to pursue
10 all available appellate redress to bring this fully-settled litigation to a close. The
11 County does not take these steps lightly.
12           The County respectfully requests that this Court (1) set an expedited briefing
13 schedule and hearing on the Motion for Certification of This Court’s April 20, 2023
14 Order Pursuant to 28 U.S.C. § 1292(b); and (2) stay this case pending appeal.
15 II.       PROCEDURAL HISTORY
16           While the procedural history in this litigation is long and complex, the
17 relevant facts for purposes of this application are straightforward. Plaintiffs and the
18 County entered a settlement agreement and stipulated to dismiss this action with
19 prejudice under Federal Rule of Civil Procedure 41(a)(2) more than six months ago.
20 (Hashmall Decl. Ex. B.) The parties subsequently agreed to resume negotiations in
21 good faith, which resulted in an addendum to the agreement and a second stipulated
22 request to dismiss this action with prejudice in April 2023. (Id. Ex. C.)
23           As detailed in the County’s motion to certify the April 20 Order for
24 interlocutory appeal, this Court has repeatedly attempted to condition approval of
25 the stipulated dismissal on the parties adding new terms to their private settlement
26 agreement and has insisted on monitoring powers that are not agreed to by the
27 parties. (Dkt. 544.) On April 20, 2023, this Court made good on its threat that any
28 settlement agreement that did not include such terms would be “dead on arrival” and
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  1 denied the parties’ stipulated dismissal, setting aggressive deadlines to respond to
  2 Plaintiff’s second amended complaint and engage in a scheduling conference.
  3 (Hashmall Decl. Ex. E; id. Ex. D at 53-54.)
  4 III.          LEGAL STANDARD
  5               “A district court has authority to stay proceedings pending a § 1292(b) appeal
  6 both under § 1292(b) itself and under the court’s inherent authority to manage its
  7 docket.” Casas v. Victoria’s Secret Stores, LLC, 2015 WL 13446989, at *5
  8 (C.D. Cal. Apr. 9, 2015). “When considering a stay pending appeal pursuant to
  9 § 1292(b), the Court has broad discretion to decide whether a stay is appropriate to
 10 ‘promote economy of time and effort for itself, for counsel, and for litigants.’”
 11 Asis Internet Servs. v. Active Response Grp., 2008 WL 4279695, at *3–4 (N.D. Cal.
 12 Sept. 16, 2008) (quoting Filtrol Corp. v. Kelleher, 467 F.2d 242, 244 (9th Cir.
 13 1972)); accord Casas, 2015 WL 13446989, at *5; see also Mediterranean Enters.,
 14 Inc. v. Ssangyong Corp., 708 F.2d 1458, 1465 (9th Cir. 1983) (“[A] trial court may,
 15 with propriety, find it is efficient for its own docket and the fairest course for the
 16 parties to enter a stay of an action before it, pending resolution of independent
 17 proceedings which bear upon the case.” (quoting Leyva v. Certified. Grocers of Cal.,
 18 Ltd., 593 F.2d 857, 863–64 (9th Cir. 1979))).
 19               In evaluating a stay request, courts are guided by the factors set forth in
 20 Nken v. Holder, 556 U.S. 418 (2009), which are: “(1) whether the stay applicant has
 21 made a strong showing that he is likely to succeed on the merits; (2) whether the
 22 applicant will be irreparably injured absent a stay; (3) whether issuance of the stay
 23 will substantially injure the other parties interested in the proceeding; and (4) where
 24 the public interest lies.” Leiva-Perez v. Holder, 640 F.3d 962, 964 (9th Cir. 2011)
 25 (per curiam) (quoting Holder, 556 U.S. at 434); accord Flo & Eddie, Inc. v. Sirius
 26 XM Radio, Inc., 2015 WL 4397175, at *1 (C.D. Cal. June 8, 2015); United States
 27 ex rel. Integra Med Analytics LLC v. Providence Health & Servs., 2019 WL
 28 6973547, at *6 (C.D. Cal. Oct. 8, 2019).
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  1         A strict adherence to these factors is not always required in the Section
  2 1292(b) context, however; and courts routinely stay proceedings upon finding that a
  3 certification under Section 1292(b) is warranted and that efficiency and judicial
  4 economy would be best achieved by a stay. See Asis, 2008 WL 4279695, at *4;
  5 Ass’n of Irritated Residents, 634 F. Supp. 2d at 1094; Casas, 2015 WL 13446989, at
  6 *5; Envtl. World Watch, Inc. v. Walt Disney Co., 2014 WL 10979864, at *4 (C.D.
  7 Cal. Apr. 2, 2014); Umatilla Waterquality Protective Ass’n, Inc. v. Smith Frozen
  8 Foods, Inc., 962 F. Supp. 1312, 1323 (D. Or. 1997).
  9 IV.     EX PARTE RELIEF IS WARRANTED
 10         While the County is pursuing all available appellate remedies, this Court
 11 should preserve the status quo and issue a stay. This Court has exercised that power
 12 liberally in this litigation already and stayed the action several times; as a result,
 13 even though this litigation has been pending for more than three years, the Court has
 14 never even resolved motions to dismiss the pleadings. (Dkt. 287, 384, 388, 449,
 15 473, 507.)
 16         Here all four factors favor a stay, as (1) the County’s Motion for Certification
 17 raises serious legal questions; (2) proceeding without a stay may result in
 18 substantial, unrecoverable, and wasteful motion practice and discovery; (3) neither
 19 Plaintiffs nor Intervenors will be injured in any way by a stay; and (4) efficient use
 20 of judicial resources would serve the public interest. Accordingly, the County
 21 requests that the Court stay the proceedings while its Certification Motion and
 22 related appellate proceedings are resolved. Ex parte relief to decide this application
 23 for stay is warranted, given that the Court has set a May 3, 2023 deadline to respond
 24 to the Second Amended Complaint. The parties should not be forced to expend
 25 significant resources on dispositive motion practice in a fully-settled action.
 26         A.     The County Is Likely To Succeed On The Merits
 27         The County is likely to succeed on the merits of its appellate challenge for all
 28 the reasons stated in its motion to certify the April 20 Order for interlocutory appeal.
    612259.4                                    11
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  1 (Dkt. 544.) There is no longer a justiciable case or controversy between the parties.
  2 Where a stipulated dismissal of a case is with prejudice and does not injure the
  3 rights of third-party intervenors, voluntary dismissal under Rule 41(a)(2) is also
  4 mandatory. The Court’s Order, attempting to force the parties to litigate a case they
  5 have already resolved, indisputably exceeds its legal and equitable powers. This
  6 Court does not have the authority to condition approval of the dismissal on the
  7 addition of terms to a private settlement agreement that are not agreed to by the
  8 parties.
  9          The Court’s effort to pressure and force the parties violates the separation of
 10 powers doctrine. (Dkt. 544.) Federal judges do not have inherent authority (or
 11 expertise) to make complex policy decisions about how to manage the public health,
 12 public safety, and financial implications of the homelessness crisis. The Ninth
 13 Circuit has already advised the Court, in connection with this matter, that it only has
 14 “equitable power to grant relief” on the “case or controversy before it” and must act
 15 within the confines of Article III. LA Alliance for Human Rights v. Los Angeles
 16 County, 14 F.4th 947, 957, 961 (9th Cir. 2021) (citation omitted). In denying the
 17 parties’ stipulated dismissal, the Court has not heeded the Ninth Circuit’s directive.
 18          B.    The County Will Be Irreparably Harmed Absent A Stay
 19          The County also satisfies the second Holder factor, which requires that there
 20 be a “probability of irreparable injury if the stay is not granted.” Lair v. Bullock,
 21 697 F.3d 1200, 1214 (9th Cir. 2012); Leiva-Perez, 640 F.3d at 968 (noting that the
 22 second factor asks courts to “anticipate what would happen as a practical matter
 23 following the denial of a stay”). There is no prospect that Los Angeles’
 24 homelessness crisis will be comprehensively resolved through litigation. At this
 25 point, this lawsuit is actually an impediment.
 26          Here, the County will be irreparably harmed if forced to engage in discovery
 27 and motion practice and attend hearings regarding fully-settled claims. The parties
 28 have spent three years working towards this agreement. The April 20 Order will
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  1 require all parties to expend massive resources and staff time in litigation that
  2 should have been dismissed six months ago.1 “[N]eedlessly” or “inefficiently”
  3 incurring discovery costs is sufficient to find irreparable harm. Integra, 2019 WL
  4 6973547, at *7; see also Finder v. Leprino Foods Co., 2017 WL 1355104, at *4
  5 (E.D. Cal. Jan. 20, 2017) (“[F]orcing a party to conduct ‘substantial, unrecoverable,
  6 and wasteful’ discovery and pretrial motions practice on matters that could be
  7 mooted by a pending appeal may amount to hardship or inequity sufficient to justify
  8 a stay.” (citation omitted)); Flo & Eddie, 2015 WL 4397175, at *3 (“[M]onetary
  9 losses can be considered irreparable harm if defendants are forced to incur much of
 10 the expense of potentially unnecessary trial-oriented litigation before their appeal is
 11 heard.”). Accordingly, the second Holder factor also favors a stay.
 12          C.    A Stay Will Not Prejudice Any Other Interested Parties
 13          There is no countervailing burden on Plaintiffs or Intervenors if the Court
 14 grants a stay pending resolution of the County’s pursuit of all appellate remedies.
 15 At the April 20, 2023 conference, the Plaintiffs and Intervenors urged this Court to
 16 approve the stipulated dismissal. (Hashmall Decl. Ex. D at 14 [Intervenors: County
 17 settlement agreement is “a reasonable response under the circumstances to the
 18 need”], 20 [Plaintiffs: “It needed to have been done six months ago. And here we
 19 are in April, watching these projects flounder. . . . We cannot keep waiting and
 20 letting the perfect to be the enemy of the good.”].)
 21          It should be stating the obvious, but staying litigation that Plaintiffs have
 22 already agreed to dismiss with prejudice, and that Intervenors have likewise
 23 implored this Court to dismiss, does not injure them. The City settlement agreement
 24
 25    1
      Further, the May 9, 2023 Scheduling Conference is premature because the
 26 pleadings are not closed and it runs afoul of Federal Rule of Civil Procedure 26.
    Under Rule 26(f), the parties should have conferred at least 21 days prior to a
 27 Scheduling Conference—i.e., on or before April 18—which was impossible because
 28 the Court set the Scheduling Conference on April 20.
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  1 also depends upon the County’s settlement to be effective. (Hashmall Decl. Ex. D
  2 at 18 [Plaintiffs: “[W]e entered into this agreement, frankly, the City told us that’s
  3 what the City needs”].) Thus, the third Holder factor weighs in favor of a stay as
  4 well.
  5               D.    The Public Interest Supports A Stay
  6               The public interest favors a stay. The County is committed to addressing
  7 homelessness regardless of the outcome of this litigation, but there is no getting
  8 around that the litigation has become a barrier, rather than a catalyst, in achieving
  9 those goals.
 10               “[T]he public ‘generally has an interest in accuracy of judicial proceedings
 11 and in efficient use of government resources.’” Flo & Eddie, 2015 WL 4397175, at
 12 *4; Integra, 2019 WL 6973547, at *8. Hence, when courts certify an order for
 13 immediate review under Section 1292(b), they routinely stay proceedings pending
 14 resolution of the appeal. Asis, 2008 WL 4279695, at *4; Ass’n of Irritated
 15 Residents, 634 F. Supp. 2d at 1094; Casas, 2015 WL 13446989, at *5; Walt Disney
 16 Co., 2014 WL 10979864, at *4. Doing so makes sense, as “[i]t would be a waste of
 17 judicial and party resources to proceed with the other claims while the appeal is
 18 pending.” See Ass’n of Irritated Residents, 634 F. Supp. 2d at 1094. That is
 19 particularly so where, as here, the appellate court’s decision should end the litigation
 20 altogether.
 21               Homelessness will not be solved through motion practice, discovery, and trial.
 22 Federal courts also “do not possess a roving commission to publicly opine on every
 23 legal question,” nor do they “exercise general legal oversight of the Legislative and
 24 Executive Branches, or of private entities.” TransUnion LLC v. Ramirez, 141 S. Ct.
 25 2190, 2205 (2021) (‘“Article III grants federal courts the power to redress harms
 26 that defendants cause plaintiffs, not a freewheeling power to hold defendants
 27 accountable for legal infractions.” (citation omitted)).
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  1          This case is over, and on the parties’ terms. Plaintiffs and the County chose a
  2 judicial enforcement mechanism that carefully balances the parties’ desire for
  3 accountability and effective enforcement, while avoiding the type of expansive
  4 judicial supervision that raises “sensitive federalism concerns” (Horne v. Flores,
  5 557 U.S. 433, 448 (2009)) and risks improperly depriving state officeholders of
  6 “their designated legislative and executive powers.” Frew ex rel. Frew v. Hawkins,
  7 540 U.S. 431, 441 (2004).
  8          The Court may have preferred that the parties struck a different balance. But
  9 that is not its prerogative. The waste of resources and the disruption of public
 10 confidence in an unrestrained federal judiciary strongly militate in favor of a stay.
 11 V.       THE COUNTY REQUESTS AN EXPEDITED HEARING AND
 12          BRIEFING SCHEDULE FOR ON ITS MOTION FOR
 13          CERTIFICATION
 14          The County further requests that this Court exercise its discretion to set an
 15 expedited hearing and briefing schedule to decide the County’s Motion for
 16 Certification, which it has discretion to do, and no parties oppose. CMAX, 300 F.2d
 17 at 268 (a district court has “inherent power to control the disposition of the causes
 18 on its docket” in a manner which will “promote economy of time and effort for
 19 itself, for counsel, and for litigants”). Resolving whether this lawsuit must be
 20 dismissed with prejudice should come first, before the parties delve into a flurry of
 21 litigation activity that will almost certainly prove to be a waste of the parties’ and
 22 the Court’s resources.
 23          By Local Rule, the County’s Motion for Certification would ordinarily not be
 24 heard until June 5, 2023. There is good cause to speed things up here. The County
 25 respectfully requests that the Court: (1) set the County’s Motion for Certification for
 26 hearing on May 9, 2023, and (2) provide that any responses to the Motion be filed
 27 by May 5, 2023. To expedite the resolution of the Motion, the County will forego
 28 an opportunity to file reply papers before the May 9 hearing.
    612259.4                                  15
              DEFENDANT COUNTY OF LOS ANGELES’ EX PARTE APPLICATION FOR STAY AND
                                EXPEDITED BRIEFING SCHEDULE

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  1 VI.           CONCLUSION
  2               For the foregoing reasons, the County respectfully requests that the Court
  3 grant the Ex Parte Application in its entirety, stay the matter pending appeal, and set
  4 an expedited hearing and briefing schedule on the County’s Motion for Certification
  5 of the Court’s April 20, 2023 Order Pursuant to 28 U.S.C. §1292(b).
  6
  7 DATED: April 28, 2023                      MILLER BARONDESS, LLP
  8
  9
                                               By:         /s/ Mira Hashmall
 10
                                                       MIRA HASHMALL
 11                                                    Attorneys for Defendant
 12                                                    COUNTY OF LOS ANGELES

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                   DEFENDANT COUNTY OF LOS ANGELES’ EX PARTE APPLICATION FOR STAY AND
                                     EXPEDITED BRIEFING SCHEDULE

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   Facsimile: (310) 552-8400
13
14 Attorneys for Defendant
   COUNTY OF LOS ANGELES
15
16                            UNITED STATES DISTRICT COURT
17              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
18
   LA ALLIANCE FOR HUMAN                           CASE NO. 2:20-cv-02291 DOC (KES)
19 RIGHTS, et al.,
                                                   DEFENDANT COUNTY OF
20                   Plaintiffs,                   LOS ANGELES’ MOTION FOR
21                                                 CERTIFICATION OF THIS
                v.                                 COURT’S APRIL 20, 2023 ORDER
22                                                 PURSUANT TO 28 U.S.C. § 1292(b)
     CITY OF LOS ANGELES, et al.,
23                                                 Date: June 5, 2023
                     Defendants.                   Time: 8:30 a.m.
24
                                                   Place: Courtroom 10A
25
26                                                 Assigned to the Hon. David O. Carter
                                                   and Magistrate Judge Karen E. Scott
27
28
     611761.4
                DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR CERTIFICATION OF COURT’S
                           APRIL 20, 2023 ORDER PURSUANT TO 28 U.S.C. § 1292(b)

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  1 TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
  2               PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1292(b), Defendant
  3 County of Los Angeles (the “County”) hereby moves the Court for an order
  4 certifying its April 20, 2023 Minute Order (the “April 20 Order”) for interlocutory
  5 appeal. This Motion is set for hearing on June 5, 2023, at 8:30 a.m. in Courtroom
  6 10A at the Ronald Reagan Federal Building and United States Courthouse, located
  7 at 411 West Fourth Street, Santa Ana, California 92701-4516, the Honorable David
  8 O. Carter presiding.
  9               The April 20 Order rejected the Plaintiffs’ and the County’s joint stipulation
10 to voluntarily dismiss this action in its entirety with prejudice, pursuant to Federal
11 Rule of Civil Procedure 41(a)(2), and presents three controlling questions of law
12 that merit review under Section 1292(b): (1) the scope of a district court’s
13 discretion to disapprove a stipulated dismissal with prejudice pursuant to
14 Rule 41(a)(2), following the parties’ execution of a binding private settlement
15 agreement disposing of all claims between them; (2) whether a district court may
16 condition approval of a Rule 41(a)(2) dismissal on the addition of new settlement
17 terms that are neither agreed to by the parties, nor requested by any party or
18 intervenor; and (3) whether there remains a justiciable case or controversy between
19 the parties, considering they have settled all claims between them.
20                This Motion is made following the conference of counsel pursuant to Local
21 Rule 7-3. (Declaration of Mira Hashmall (“Hashmall Decl.” ¶ 21 & Ex. T.)
22 Counsel for Plaintiffs indicated they had yet to take a position on the County’s
23 Motion.
24                This Motion is based on this Notice, the accompanying Memorandum of
25 Points and Authorities, the Declaration of Mira Hashmall and exhibits attached
26 thereto, the pleadings and records on file in this action, and any further evidence or
27 argument in connection with the Motion.
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       611761.4                                       2
                  DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR CERTIFICATION OF COURT’S
                             APRIL 20, 2023 ORDER PURSUANT TO 28 U.S.C. § 1292(b)

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  1 DATED: April 28, 2023                   MILLER BARONDESS, LLP
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  3
                                            By:           /s/ Mira Hashmall
  4
                                                      MIRA HASHMALL
  5                                                   Attorneys for Defendant
  6                                                   COUNTY OF LOS ANGELES

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                             APRIL 20, 2023 ORDER PURSUANT TO 28 U.S.C. § 1292(b)

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  1                 MEMORANDUM OF POINTS AND AUTHORITIES
  2 I.       INTRODUCTION
  3          The County’s binding settlement agreement with Plaintiffs pledges more than
  4 $850.5 million in new resources to dramatically expand the number of beds,
  5 supportive housing units, shelter capacity, and medical and social services in
  6 Los Angeles for persons experiencing homelessness. These new resources are in
  7 addition to the $293 million in new funding the County committed earlier in the
  8 lawsuit to provide 6,700 beds for people experiencing homelessness near freeways
  9 and for unhoused seniors. The County is committed to providing these urgently
10 needed resources, which represent significant progress towards saving and
11 improving the lives of the unhoused.
12           The County also does not want its time and resources diverted to litigation.
13 Plaintiffs and the County support the terms of this agreement, and they have urged
14 this Court to grant the joint stipulation to dismiss this action with prejudice pursuant
15 to Federal Rule of Civil Procedure 41(a)(2). At the April 20, 2023 hearing, the City
16 of Los Angeles and Intervenors1 did not object to the settlement or the joint
17 stipulation of dismissal, nor did any third parties to this litigation.
18           With its April 20 Order, this Court refused to dismiss the case, concluding the
19 “County’s settlement terms are improper and against the public interest” because
20 they do not give the Court its preferred “oversight and enforcement powers.”
21 (Hashmall Decl. Ex. Q; id. Ex. P at 51-53.) This was clear error and exceeds the
22 Court’s legal and equitable powers under Article III of the Constitution—which the
23 Ninth Circuit has already admonished this Court must not do. LA All. for Human
24 Rights v. County of Los Angeles, 14 F.4th 947, 961 (9th Cir. 2021) (the district
25 court’s “equitable power to remedy legal violations that have contributed to the
26
       1
27   Intervenors are Los Angeles Community Action Network, Los Angeles Catholic
   Worker, and Orange County Catholic Worker, nonprofit community organizations
28 that advocate for the rights of the unhoused.
   611761.4                                   8
             DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR CERTIFICATION OF COURT’S
                        APRIL 20, 2023 ORDER PURSUANT TO 28 U.S.C. § 1292(b)

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  1 complex problem of homelessness in Los Angeles” “must be exercised consistent
  2 with its discretionary authority and Article III”).
  3          The April 20 Order presents controlling questions of law that merit review
  4 under 28 U.S.C. § 1292(b): (1) the scope of a district court’s discretion to
  5 disapprove a stipulated dismissal with prejudice pursuant to Rule 41(a)(2),
  6 following the parties’ execution of a binding private settlement agreement disposing
  7 of all claims between them; (2) whether a district court may condition approval of a
  8 Rule 41(a)(2) dismissal on the addition of new settlement terms that are neither
  9 agreed to by the parties, nor requested by any other party or intervenor; and
10 (3) whether there remains a justiciable case or controversy between the parties,
11 considering they have settled all claims between them.
12           Under Section 1292(b), the Court may allow an interlocutory appeal of an
13 order that “involves a controlling question of law as to which there is substantial
14 ground for difference of opinion” if an “immediate appeal . . . may materially
15 advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b). The
16 controlling questions of law raised in the Order meet these criteria.
17           To the County’s knowledge, this Court is the first and only federal court to
18 construe its Article III jurisdiction to condition a stipulated dismissal pursuant to
19 Rule 41(a)(2) on the rewriting of a fully-agreed private settlement agreement to give
20 the Court additional powers of enforcement. Such an unprecedented approach,
21 particularly where, as here, the stakes of protracted litigation are so high, warrants
22 immediate interlocutory review.
23           This Court should amend its April 20 Order and certify it for interlocutory
24 appeal.
25 II.       RELEVANT FACTUAL AND PROCEDURAL BACKGROUND
26           Because the Court has repeatedly referenced the City of Los Angeles’s
27 settlement agreement with Plaintiffs and demanded that the County’s agreement
28 include the same terms, this Background section describes both agreements.
   611761.4                                 9
             DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR CERTIFICATION OF COURT’S
                        APRIL 20, 2023 ORDER PURSUANT TO 28 U.S.C. § 1292(b)

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  1               A.    The City/Plaintiffs Settlement Agreement
  2               Plaintiffs settled with the City of Los Angeles in May 2022. The City’s
  3 agreement excluded from its definition of “City Shelter Appropriate” any person
  4 experiencing homelessness (PEH) who had a “severe mental illness,” “substance use
  5 disorder,” or “chronic physical illness or disability requiring the need for
  6 professional medical care and support,” taking the position it was the County’s
  7 obligation to meet these individuals’ needs. (Hashmall Decl. Ex. A at 8.) The
  8 agreement provides, “the Court shall have continuing jurisdiction to oversee and
  9 enforce this Settlement Agreement,” and permits the Court to “appoint one or more
 10 Special Masters” to assist “in overseeing and enforcing this Agreement.” (Id. at 9.)
 11               The City’s settlement “agrees” to impose significant obligations on the
 12 County—spanning two-and-a-half pages of the agreement—but the County is not a
 13 party to, and had no role in negotiating, the City’s agreement. (Id. at 17.) The
 14 County filed an objection to the City’s settlement agreement. (Id. Ex. B at 4 [To
 15 define the “County’s ‘obligations’ under the guise of entering a consent decree
 16 between other parties” is “entirely improper, and an egregious violation of the due
 17 process of law”].) So did Intervenors. (Id. Ex. C.) At the hearing on the City’s
 18 settlement agreement, Intervenors’ counsel objected to the agreement’s enforcement
 19 provisions, stated the agreement was inadequate to “address the homelessness
 20 crisis,” and asserted the City was not “committing to do more than is already in the
 21 pipeline.” (Id. Ex. D at 7-20.)
 22               This Court nonetheless approved the City’s settlement agreement as “fair,
 23 reasonable, and adequate” because, while “not a solution for homelessness, it is a
 24 concrete step toward improving the lives of our neighbors who are currently
 25 suffering on the streets.” (Id. Ex. E.) The Court appointed “Special Master Michele
 26 Martinez” as the “Monitor of the Settlement Agreement” to assist with oversight and
 27 enforcement. (Id.) The June 14, 2022 Order approving the City’s settlement
 28
       611761.4                                     10
                  DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR CERTIFICATION OF COURT’S
                             APRIL 20, 2023 ORDER PURSUANT TO 28 U.S.C. § 1292(b)

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  1 agreement states the agreement does not affect “any rights” or impose any
  2 “responsibilities” on the County. (Id.)
  3               Intervenors have appealed the June 14 Order. (Dkt. 451.)
  4               B.    The County/Plaintiffs Settlement Agreement
  5               The County’s historic settlement agreement—which was fully executed more
  6 than six months ago in October 2022—ends more than three years of litigation and
  7 provides much-needed additional resources within the City and County of Los
  8 Angeles to increase beds, services, outreach, and interim housing for the most
  9 vulnerable people experiencing homelessness. (Hashmall Decl. Exs. K, O.) The
 10 settlement builds on the County’s massive response to homelessness outside the
 11 lawsuit.
 12               Over the last five-and-a-half years, the County has placed more than 90,000
 13 people in permanent housing, provided nearly 124,000 with temporary shelter, and
 14 prevented 22,000 others from falling into homelessness. The Board of Supervisors
 15 also declared a local emergency on homelessness in January 2023 and is fast-
 16 tracking encampment resolutions countywide, as well as housing and mental health
 17 and substance use disorder services.
 18               As detailed in Section II.C., post, the Court demanded the parties change the
 19 following terms in the County settlement agreement:
 20 •             Section D.3, which provides that by the end of fiscal year 2023/2024, the
 21               County “shall develop 300 additional substance use and mental health beds
                  according to the greatest need as solely determined by the County.” (Id. Ex.
 22               G at 4.)
 23 •             Section D.9, governing the County’s reporting obligations, which provides,
 24               “The County shall file reports regarding its progress in meeting its obligations
                  under this Agreement quarterly. Each status report shall be provided within
 25               30 days of the end of the County’s fiscal quarter.” (Id. at 5.)
 26
       •          Section P.1.ii, which governs judicial enforcement if the dispute resolution
 27               and right to cure process outlined in the agreement does not resolve an alleged
 28               breach of the agreement. (Id. at 9.) The “Claiming Party may file a notice of
       611761.4                                      11
                  DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR CERTIFICATION OF COURT’S
                             APRIL 20, 2023 ORDER PURSUANT TO 28 U.S.C. § 1292(b)

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  1         breach and request judicial enforcement in the District Court to remedy such
            alleged breach.” (Id.) The “only relief” available under the agreement for
  2
            breach is “an order compelling specific performance of the Agreement.” (Id.)
  3         No party may seek monetary damages. (Id.)
  4
  5         On April 18, 2023, the parties executed an addendum to the agreement
  6 modifying, among other things, the terms of Section D.3. In the settlement
  7 agreement as modified by the addendum, the County is providing 1,000 new mental
  8 health and substance use disorder beds for the unhoused, as well as 450 subsidies to
  9 provide individuals at risk of homelessness with Enriched Residential Care in Adult
 10 Residential Facilities and Residential Care Facilities for the Elderly, commonly
 11 called “Board and Care” beds, throughout the County. (Id. Ex. O.)
 12         C.    Plaintiffs And The County Jointly Seek Dismissal With Prejudice
 13               Of All Claims Against The County Under Rule 41(a)(2)
 14         In September 2022, Plaintiffs and the County notified the Court that they had
 15 reached a settlement agreement that would result in the parties jointly seeking a
 16 dismissal with prejudice under Rule 41(a)(2). (Hashmall Decl. Ex. F.) A few weeks
 17 later, the parties submitted their executed settlement agreement and filed a
 18 stipulation for voluntary dismissal of this action in its entirety with prejudice. (Id.
 19 Ex. G.) The stipulation requests that the Court retain jurisdiction to enforce the
 20 agreement until the end of fiscal year 2026/2027 (i.e., June 30, 2027). (Id.)
 21         The Court invited “any party and the public to submit comments or
 22 objections” to the County settlement agreement and set a hearing for November 14,
 23 2022. (Dkt. 473.) Intervenors filed a statement of non-opposition to the County
 24 settlement agreement. (Hashmall Decl. Ex. H.) No other comments or objections
 25 were filed. At the November hearing, the City expressed “no objections.” (Id. Ex. I
 26 at 7.) The Intervenors likewise did not object to “any of the substance” of the
 27 agreement. (Id. at 8.) But the Court refused “to endorse” the agreement based on its
 28 belief “that we can do much better,” though it acknowledged its “unorthodox”
    611761.4                                 12
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  1 approach is “rightfully subject to debate and criticism.” (Id. at 12.) The Court then
  2 put the agreement “on hold,” pending the installation of newly elected officials. (Id.
  3 at 18.)
  4           The Court requested the presence of Mayor Karen Bass, Los Angeles City
  5 Council President Paul Krekorian, and Los Angeles County Supervisor Holly
  6 Mitchell at the second hearing on the County settlement agreement, held on
  7 January 17, 2023. (Id. Ex. J.) During this hearing, the Court criticized the
  8 agreement’s reporting provision as inadequate and demanded different terms that
  9 would provide greater “judicial supervision” over the settlement. (Id. Ex. L at 20-
 10 24.) In the Court’s words, the settlement agreement “without monitoring and
 11 accountability to the Court” was “dead on arrival. That’s my bottom line.” (Id. at
 12 24, 37-38 [“I want monitoring, and I want accountability, and I want it to the
 13 Court”]; id. Ex. M [acknowledging the “County Settlement Agreement—as it’s
 14 written now—is a private settlement”].)
 15           The Court also admonished the County to include more new subacute beds in
 16 a revised agreement, suggesting at least 3,200 to 4,250 additional beds were needed,
 17 on top of the 8,600 existing beds. (Id. Ex. L at 13-15, 32; id. Ex. M at 8 [“(T)he
 18 County’s offer falls short. . . . How can 300 beds accommodate the need for . . .
 19 those suffering from severe mental illness?”].)
 20           The parties agreed to negotiate further, which resulted in the Addendum to the
 21 settlement agreement, providing 1,000 new mental health and substance use disorder
 22 beds, among other terms. (Id. Ex. O.) On April 18, 2023, Plaintiffs and the County
 23 resubmitted their Stipulation for Voluntary Dismissal, along with their fully-
 24 executed Addendum to Settlement Agreement. (Id.)
 25 III.      THE APRIL 20, 2023 STATUS CONFERENCE AND THE COURT’S
 26           RULING
 27           The Court held a status conference on April 20 regarding the parties’ joint
 28 stipulation for voluntary dismissal, again demanding the presence of the Mayor,
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              DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR CERTIFICATION OF COURT’S
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  1 City Council president, and Los Angeles County Supervisor Janice Hahn.
  2 (Hashmall Decl. Ex. N.) No party or Intervenor advocated for the Court to
  3 disapprove the parties’ stipulation during the hearing:
  4 •        City Council President and Acting Mayor Paul Krekorian stated that the City
  5          was satisfied with the “monumental change” in its relationship with the
             County and the “significant progress” that the County’s settlement agreement
  6          reflects. (Id. Ex. P at 9, 36.) Though the County settlement agreement is not
  7          sufficient, in and of itself, to solve the problem of homelessness,
             Mr. Krekorian was “absolutely confident” in the County’s and its Board of
  8          Supervisors’ commitment to working with the City. (Id. at 10-11.)
  9 •        Counsel for Intervenors, Los Angeles Community Action Network and Los
 10          Angeles Catholic Worker (“LA Intervenors”), said “[y]ou cannot solve
             homelessness through litigation,” but that “the County’s commitment matches
 11          the City of Los Angeles’s commitment” and is a “reasonable response under
 12          the circumstances to the need.” (Id. at 12-13.) LA Intervenors’ counsel
             stated it was inappropriate to “hold the County responsible for a different
 13
             standard than the City was held” to in its settlement.2 (Id.)
 14
       •     Plaintiffs stated their lawsuit was not about “solving homelessness,” but the
 15          need to divert resources to “immediate crisis control.” (Id. at 16.) They
 16          emphasized the delay in approving the dismissal and settlement agreement
             was impeding progress. (Id. at 20.) Plaintiffs characterized the agreement’s
 17          “judicial enforcement provision” as providing an “extended period of
 18          enforcing this agreement with full transparency.” (Id. at 37-39, 41-42.)
 19 •        The County’s counsel reiterated that the settlement agreement reflects only “a
 20          small piece” of the County’s ongoing work to address homelessness. (Id. at
             43, 46.) The County clarified the settlement agreement was already fully
 21          approved and executed3 and underscored that its reporting and enforcement
 22          provisions provided the necessary accountability.

 23
 24    2
         Other counsel for Intervenors criticized the City settlement agreement and its focus
 25    on criminalization of homelessness. (Hashmall Decl. Ex. P at 15.)
       3
 26      The Court suggested that the settlement agreement was somehow not final because
       of a provision requiring County approval. That is incorrect. The parties to the
 27    agreement, the County and the Plaintiffs, have signed off on the agreement. The
       County’s counsel also confirmed that the settlement terms were approved by the
 28    Board and duly executed on behalf of the County. (Hashmall Decl. Ex. P at 45.)
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  1          The Court criticized the settlement agreement and demanded that the parties
  2 change its terms. The Court advised the County that members of the Board of
  3 Supervisors, rather than County Counsel, should be signatories to the agreement
  4 (although it made no such demand related to the City settlement agreement). (Id. at
  5 22, 38.) It decreed the addition of 1,500 beds was insufficient and expressed the
  6 view that approving the parties’ stipulated dismissal should not turn on whether the
  7 County had made “progress” in increasing the number of beds, but on whether the
  8 total number was “enough,” suggesting several thousand more were required. (Id. at
  9 28-29, 51.)
 10          Most emphatically, the Court demanded additional oversight and enforcement
 11 powers, again calling the settlement agreement “dead on arrival” because it did not
 12 provide for the same “judicial oversight” as the City’s agreement with Plaintiffs.
 13 (Id. at 23-25 [“You give me absolutely no oversight, and you give me no
 14 enforcement. . . . I’m giving you the credibility of the federal court . . . .”], 28
 15 [“(Y)ou are asking the Court to put my approval on this.”], 32 [“I have to have
 16 accountability” “[b]ecause while I may trust you implicitly, Chairwoman Hahn, . . .
 17 I don’t know who your successor is. And I don’t trust that [political] process.”], 37
 18 [“(J)ust restate the exact provisions in the City agreement . . . .”], 42 [“You get me
 19 that same paragraph that the City had, oversight and enforcement, let’s talk. But
 20 until then, I said it before, and I’m not bargaining with you, I meant it.”].)
 21          The Court also expressed “grave concerns” that its signature on the dismissal
 22 would be used as an endorsement of the County agreement, because it could be used
 23 to support “new bond money” and a vote for “increased taxes”; made specific
 24 suggestions about how the County should better allocate its budget; and introduced
 25 extra-record evidence, including pictures of people experiencing homelessness. (Id.
 26 at 32-35 [“(D)on’t throw the lack of money at me from the County’s perspective,”
 27 commenting on the salary of the director of Los Angeles Homeless Services
 28 Authority as “twice as much as a federal court judge,” and concluding “I think the
    611761.4                                 15
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  1 county has, with a $43.5 billion budget, a lot more potentially that you could
  2 contribute”]; id. at 38, 49-50.)
  3               The April 20 Order denied the Plaintiffs’ and the County’s stipulation to
  4 voluntarily dismiss this action with prejudice under Rule 41(a)(2) for the “reasons
  5 stated on the record.” (Id. Ex. Q.)
  6 IV.           THE ORDER SHOULD BE CERTIFIED FOR IMMEDIATE
  7               APPELLATE REVIEW
  8               The Court may certify an order for interlocutory appeal if it involves “[1] a
  9 controlling question of law [2] as to which there is substantial ground for difference
 10 of opinion and [3] that an immediate appeal from the order may materially advance
 11 the ultimate termination of the litigation.” 28 U.S.C. § 1292(b); In re Cement
 12 Antitrust Litig., 673 F.2d 1020, 1026 (9th Cir. 1981). The Supreme Court has
 13 underscored that discretionary review mechanisms, including Section 1292(b), are
 14 “useful ‘safety valve[s]’ for promptly correcting serious errors” and instructed that
 15 district courts “should not hesitate to certify an interlocutory appeal” when a
 16 decision “involves a new legal question or is of special consequence.” Mohawk
 17 Indus., Inc. v. Carpenter, 558 U.S. 100, 110-11 (2009) (alteration in original)
 18 (citation omitted); Balintulo v. Daimler AG, 727 F.3d 174, 186 n.17 (2d Cir. 2013)
 19 (permissive interlocutory appeal serves to reduce “the need to develop
 20 extraordinary-writ practice to fill the inevitable gaps in provisions for appeal as a
 21 matter of right” (citation omitted)).
 22               “The institutional efficiency of the federal court system is among the chief
 23 concerns underlying Section 1292(b).” Primavera Familienstifung v. Askin, 139 F.
 24 Supp. 2d 567, 570 (S.D.N.Y. 2001). “The advantages of immediate appeal increase
 25 with the probabilities of prompt reversal, the length of the district court proceedings
 26 saved by reversal of an erroneous ruling, and the substantiality of the burdens
 27 imposed on the parties by a wrong ruling.” 16 Edward H. Cooper, Federal Practice
 28
       611761.4                                      16
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  1 and Procedure § 3930 (3d ed. Apr. 2023 Update). As explained below, this Court’s
  2 April 20 Order meets all three elements for Section 1292(b) certification.
  3          A.    The Order Involves Controlling Questions Of Law
  4          The April 20 Order presents three controlling questions of law, the resolution
  5 of which will materially advance the termination of this case: (1) the scope of a
  6 district court’s discretion to disapprove a stipulated dismissal with prejudice
  7 pursuant to Rule 41(a)(2), following the parties’ execution of a binding private
  8 settlement agreement disposing of all claims between them; (2) whether a district
  9 court may condition approval of a Rule 41(a)(2) dismissal on the addition of new
 10 settlement terms that are neither agreed to by the parties, nor requested by any other
 11 party or intervenor; and (3) whether there remains a justiciable case or controversy
 12 between the parties, considering they have settled all claims between them.
 13          A “controlling” question of law is one which, if decided incorrectly and
 14 appealed immediately, would bring an end to the action. Klinghoffer v. S.N.C.
 15 Achille Lauro, 921 F.2d 21, 24 (2d Cir. 1990) (“[I]t is clear that a question of law is
 16 ‘controlling’ if reversal of the district court’s order would terminate the action”);
 17 Kuehner v. Dickinson & Co., 84 F.3d 316, 319 (9th Cir. 1996) (controlling question
 18 of law where delaying resolution “could cause the needless expense and delay of
 19 litigating an entire case in a forum that has no power to decide the matter”). Indeed,
 20 “all that must be shown in order for a question to be ‘controlling’ is that resolution
 21 of the issue on appeal could materially affect the outcome of litigation in the district
 22 court.” In re Cement Antitrust Litig., 673 F.2d at 1026.
 23          That a question of law concerns the scope of a district court’s discretion is not
 24 an impediment to Section 1292(b) review. “The key consideration is not whether
 25 the order involves the exercise of discretion, but whether it truly implicates the
 26 policies favoring interlocutory appeal,” including “the avoidance of harm” from a
 27 “possibly erroneous interlocutory order and the avoidance of possibly wasted trial
 28 time and litigation expense.” Katz v. Carte Blanche Corp., 496 F.2d 747, 756 (3d
    611761.4                                 17
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  1 Cir. 1974); see also In re Text Messaging Antitrust Litig., 630 F.3d 622, 626 (7th
  2 Cir. 2010) (“Decisions holding that the application of a legal standard is a
  3 controlling question of law within the meaning of section 1292(b) are numerous.”).
  4          Questions of justiciability are controlling questions of law and regularly
  5 subject to certification under Section 1292(b). Blackman v. Hadron, Inc., 450 F.2d
  6 781, 782 (2d Cir. 1971) (“[t]he question certified to this court is, in essence, whether
  7 there remains a justiciable controversy” between the parties); Philipp v. Federal
  8 Republic of Germany, 253 F. Supp. 3d 84, 87 (D.D.C. 2017) (certifying for
  9 interlocutory appeal “whether Plaintiffs’ claims are non-justiciable due to
 10 international comity”); B.R. v. F.C.S.B., 17 F.4th 485, 491 (4th Cir. 2021)
 11 (certifying whether pseudonymous complaint invokes Article III case-or-
 12 controversy jurisdiction); Bais Yaakov of Spring Valley v. ACT, Inc., 798 F.3d 46,
 13 47 (1st Cir. 2015) (certifying whether unaccepted offer of judgment under Rule 68
 14 moots Plaintiff’s entire action).
 15          It is similarly straightforward that (1) the scope of the Court’s discretion
 16 under Rule 41(a)(2) to reject the parties’ stipulated dismissal, and (2) whether the
 17 Court has the power to condition that approval on the addition of new settlement
 18 terms the Court (but no one else) wants are “controlling” questions of law. They
 19 can be decided quickly and cleanly as a matter of law and should bring an end to the
 20 action. There is no need to delve into a factual record to decide them. And as a
 21 practical matter, there is an exceedingly high cost to delaying review. The parties
 22 will be forced to litigate a case they have already fully resolved and in a way that
 23 actively harms the public interest.
 24          The County wants to focus its resources and energy on carrying out its
 25 commitments, both under the settlement agreement, and more broadly, to ameliorate
 26 the homelessness crisis. It should not be forced to divert resources to litigation
 27 because this Court (1) wants powers of judicial involvement the parties deem
 28 unnecessary; (2) believes the settlement agreement should reflect a more
    611761.4                                  18
             DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR CERTIFICATION OF COURT’S
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  1 comprehensive solution for homelessness; and (3) thinks the County’s Board of
  2 Supervisors should sign the settlement agreement. As highlighted by Plaintiffs’
  3 counsel, delaying the parties’ settlement agreement will only impede the City’s and
  4 County’s progress. (Hashmall Decl. Ex. P at 19-20 [“(W)e continue to push for
  5 [this settlement], saying not only is this a good agreement for what it is, but it
  6 needed to have been done eight months ago. It needed to have been done six
  7 months ago. And here we are in April, watching these projects flounder.”]; see also
  8 id. Ex. R (Intervenors: “[T]he instability caused by this litigation” “is not in the
  9 public interest”).
 10               B.    An Immediate Appeal Will Likely Resolve The Litigation
 11               Interlocutory review will also materially advance the ultimate resolution of
 12 this litigation. In re Cement Antitrust Litig., 673 F.2d at 1026 (certification
 13 materially advances the ultimate termination of litigation when “allowing an
 14 interlocutory appeal would avoid protracted and expensive litigation”); Hawaii ex
 15 rel. Louie v. JP Morgan Chase & Co., 921 F. Supp. 2d 1059, 1067-68 (D. Haw.
 16 2013) (material advancement criteria “is directed to the very purpose of §1292(b)—
 17 to ‘facilitate disposition of the action by getting a final decision on a controlling
 18 legal issue sooner’” (citation omitted)).
 19               Interlocutory review should end this extraordinarily large and complex
 20 litigation altogether, which strongly militates in favor of interlocutory review. Core
 21 Optical Techs., LLC v. Juniper Networks Inc., 2021 WL 5978761, at *1 (N.D. Cal.
 22 Dec. 17, 2021) (granting immediate appeal would materially advance the litigation
 23 where reversal was “likely (if not certain)” to terminate the litigation); Rodrigues v.
 24 CNP of Sanctuary, LLC, 2012 WL 12895255, at *3 (S.D. Fla. May 9, 2012)
 25 (granting interlocutory appeal to resolve whether confidentiality clause in FLSA
 26 settlement curtailed the public’s and the parties’ First Amendment rights, noting the
 27 “lawsuit will likely end sooner with an interlocutory ruling, than if the case is not
 28 settled and the litigation is continued”).
       611761.4                                      19
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  1          C.    This Court’s Assertion Of Authority To Deny The Parties’ Joint
  2                Stipulated Dismissal With Prejudice Is Unprecedented
  3          Because the Court’s actions here are so unprecedented, there is a dearth of
  4 precedent within the Ninth Circuit on when (1) a district court has authority to
  5 disapprove litigants’ joint stipulation to dismiss under Rule 41(a)(2), in the absence
  6 of any objection by members of the public or intervenors; (2) whether it is ever
  7 appropriate to condition such a dismissal on the addition of settlement terms that the
  8 Court—but not the parties—want included; and (3) whether there even remains a
  9 justiciable controversy in the circumstances presented. The April 20 Order is
 10 clearly erroneous and exceeds the Court’s Article III powers, heightening the need
 11 for immediate appellate review.
 12          Indeed, discretionary review mechanisms are intended for just these
 13 circumstances. The legislative history of Section 1292(b) “indicates that the
 14 statutory prerequisite of ‘substantial ground for difference of opinion’ is satisfied
 15 only when there is ‘“substantial doubt” that the district court’s order was correct.’”
 16 Carbotrade SpA v. Bureau Veritas, 1993 WL 60567, at *1 (S.D.N.Y. Mar. 2, 1992)
 17 (citing S.Rep. No. 2434, 85th Cong., 2d Sess. (1958), reprinted in [1985]
 18 U.S.C.C.A.N. 5255, 5257); see also McFarlin v. Conseco Servs., LLC, 381 F.3d
 19 1251, 1259 (11th Cir. 2004) (interlocutory review is appropriate where there is a
 20 “substantial dispute about the correctness of any of the pure law premises the district
 21 court actually applied in its reasoning leading to the order sought to be appealed”).
 22 “The level of uncertainty required to find a substantial ground for difference of
 23 opinion” is also “adjusted to meet the importance of the question in the context of
 24 the specific case.” Cooper, supra, § 3930; see, e.g., Coal. For Equity & Excellence
 25 In Md. Higher Educ. v. Md. Higher Educ. Comm’n, 2015 WL 4040425, at *6 (D.
 26 Md. June 29, 2015) (granting Section 1292(b) certification in the “context of this
 27 extraordinarily important case” where state believed the court misinterpreted
 28 governing precedent and the other criteria for interlocutory appeal were satisfied).
    611761.4                                 20
             DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR CERTIFICATION OF COURT’S
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  1        The April 20 Order meets the standard for interlocutory review in this
  2 important case. It is the County’s view that the April 20 Order is clearly erroneous
  3 and that an appellate court could draw no other conclusion.
  4        Dismissal is mandatory. Ample authority holds that where, as here, the
  5 stipulated dismissal of a case is with prejudice and does not injure the rights of
  6 third-party intervenors, voluntary dismissal under Rule 41(a)(2) is mandatory. See
  7 Smoot v. Fox, 340 F.2d 301, 303 (6th Cir. 1964) (granting petition for writ of
  8 mandamus, directing district court to grant plaintiff’s Rule 41(a)(2) motion for
  9 dismissal with prejudice); Century Mfg. Co., Inc. v. Cent. Transp. Int’l, Inc., 209
 10 F.R.D. 647, 648 (D. Mass. 2002) (where parties have moved to dismiss third-party
 11 complaint with prejudice under Rule 41(a)(2), “courts have found that they are
 12 without discretion, and must grant the motion”); Bridgeport Music, Inc. v. London
 13 Music, U.K., 345 F. Supp. 2d 836, 841 (M.D. Tenn. 2004) (abuse of discretion to
 14 refuse to grant Rule 41(a)(2) dismissal with prejudice).
 15        At the April 20 hearing, no party, Intervenor, or member of the public has
 16 objected to the County settlement agreement or the parties’ joint request for
 17 dismissal. Cf. ITV Direct, Inc. v. Health Sols., LLC, 445 F.3d 66, 69-71 (1st Cir.
 18 2006) (affirming withdrawal of approval of dismissal where intervenors—who
 19 obtained a preliminary injunction against cross-plaintiff—had not consented to
 20 judgment). To the contrary, Intervenors’ counsel has urged this Court to approve
 21 the settlement and asserted the delay in doing so is causing harm.4 Plaintiffs’
 22 counsel likewise urged dismissal, stating “We cannot keep waiting and letting the
 23 perfect be the enemy of the good.” (Hashmall Decl. Ex. P at 20.) There is simply
 24 no precedent for a district court denying a request for stipulated dismissal with
 25 prejudice under these circumstances.
 26
      4
 27   The opposite is true for the City settlement agreement. Intervenors have objected
    to that settlement agreement as prejudicial to their interests. (Hashmall Decl. Ex.
 28 C.)
    611761.4                                   21
            DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR CERTIFICATION OF COURT’S
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  1          There are at least three justifications that dismissal is mandatory under these
  2 circumstances. First, the ‘“principle [sic] consideration’ for a court considering
  3 whether to dismiss a case under Rule 41(a)(2) ‘is whether dismissal would prejudice
  4 the defendant,’” and so “the fact that dismissal with prejudice secures the
  5 defendant’s interests weighs heavily in support of allowing such a motion.” Puello
  6 v. Citifinancial Servs., Inc., 2010 WL 1541503, at *3 (D. Mass. Apr. 16, 2010)
  7 (citation omitted); accord Hamilton v. Firestone Tire & Rubber Co., Inc., 679 F.2d
  8 143, 145 (9th Cir. 1982) (a district court’s discretion is typically limited to
  9 evaluating “whether the defendant will suffer some plain legal prejudice as a result
 10 of the dismissal” (emphasis added)). Here, there is no suggestion that the County
 11 will be prejudiced by dismissal. Thus, in denying dismissal under Rule 41(a)(2), the
 12 Court’s concerns—focused on its own desired powers of monitoring—address a
 13 different, procedurally improper consideration.
 14          The second is “based on concerns of practicality and logistics.” Puello, 2010
 15 WL 1541503, at *3. If a court denies a plaintiff’s request to dismiss a case with
 16 prejudice: “Could the Court force the plaintiff to continue discovery, or offer
 17 evidence? Can or should the Court require plaintiff to litigate a claim” when the
 18 plaintiff “has attempted to dismiss it?” Id. (citation omitted). The parties should not
 19 be forced to litigate after they’ve settled.
 20          Third, a case that is fully settled is no longer justiciable because there is no
 21 case or controversy between the parties. Under Article III of the Constitution, the
 22 federal judiciary is only vested with power to decide “Cases” or “Controversies”
 23 through an adversary process. Ariz. Christian Sch. Tuition Org. v. Winn, 563 U.S.
 24 125, 132-33 (2011) (“Continued adherence to the case-or-controversy requirement
 25 of Article III maintains the public’s confidence in an unelected but restrained
 26 Federal Judiciary”).
 27          This is core to the separation of powers doctrine. “Federal courts do not
 28 possess a roving commission to publicly opine on every legal question,” nor do they
    611761.4                                22
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  1 “exercise general legal oversight of the Legislative and Executive Branches, or of
  2 private entities.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2205 (2021)
  3 (“Article III grants federal courts the power to redress harms that defendants cause
  4 plaintiffs, not a freewheeling power to hold defendants accountable for legal
  5 infractions.” (citation omitted)); United States v. Sineneng-Smith, 140 S. Ct 1575,
  6 1579 (2020) (“our system ‘is designed around the premise that [parties represented
  7 by competent counsel] know what is best for them, and are responsible for
  8 advancing the facts and argument entitling them to relief’”; courts “do not, or should
  9 not, sally forth each day looking for wrongs to right” (alteration in original)
 10 (citations omitted)).
 11          As the Ninth Circuit has already instructed, this Court only has “equitable
 12 power to grant relief” on the “case or controversy before it.” LA All., 14 F.4th at
 13 957 (citation omitted). That controversy has now been resolved (twice), and the
 14 case must be dismissed.
 15          This Court improperly conditioned approval of the parties’ stipulated
 16 dismissal on changing the terms of their settlement agreement. This Court’s
 17 limited power under Rule 41(a)(2) does not permit the Court to rewrite the
 18 settlement agreement or condition dismissal on giving the Court additional powers
 19 of judicial oversight that are not agreed to by the parties. Case law only supports the
 20 imposition of terms “to prevent prejudice to the defendant.” Hamilton, 679 F.2d at
 21 146; McCall-Bey v. Franzen, 777 F.2d 1178, 1184 (7th Cir. 1985) (“it has been
 22 uniformly assumed” that “the terms and conditions must be for the defendant’s
 23 benefit”); McLaughlin v. Cheshire, 676 F.2d 855, 856 (D.C. Cir. 1982) (the
 24 discretion that a court has in imposing terms and conditions in a Rule 41(a)(2)
 25 dismissal is “limited to imposing conditions that will alleviate harm (other than
 26 tactical disadvantage) that the defendant will suffer if the motion is granted.”);
 27 LeCompte v. Mr. Chip, Inc., 528 F.2d 601, 604-05 (5th Cir. 1976) (in ruling on
 28 motions for voluntary dismissals, the court “should impose only those conditions
    611761.4                                 23
             DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR CERTIFICATION OF COURT’S
                        APRIL 20, 2023 ORDER PURSUANT TO 28 U.S.C. § 1292(b)

                                                                                           ER 117
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 169 of 1079

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                                #:15623



  1 which will alleviate the harm caused to the defendant”; reversing district court’s
  2 conditions on Rule 41(a)(2) dismissal where there was no indication “how
  3 defendants would be prejudiced by an unconditional dismissal”).
  4               This Court has acknowledged “this is not a class action settlement.”
  5 (Hashmall Decl. Ex. P at 50.) No precedent allows the Court to impose new terms
  6 and conditions in the “public interest” in this context, particularly where, as here, the
  7 Intervenors have urged the Court to approve the settlement agreement and dismiss
  8 the litigation. See In re Smith, 926 F.2d 1027, 1029-30 (11th Cir. 1991) (granting
  9 writ of mandamus, directing district court to vacate order disapproving settlement
 10 agreement “based on the ‘unrepresented interests’ of Florida taxpayers”); Gardiner
 11 v. A.H. Robins Co., Inc., 747 F.2d 1180, 1185-88 (8th Cir. 1984) (district court had
 12 no authority to approve settlement agreement underlying stipulated dismissal).
 13               The parties chose a judicial enforcement mechanism that carefully balances
 14 the parties’ desire for accountability and effective enforcement, while avoiding the
 15 type of expansive judicial supervision that raises “sensitive federalism concerns”
 16 (Horne v. Flores, 557 U.S. 433, 448 (2009)) and risks improperly depriving state
 17 officeholders of “their designated legislative and executive powers.” Frew ex rel.
 18 Frew v. Hawkins, 540 U.S. 431, 441 (2004). The Court’s conduct here, attempting
 19 to dictate the County’s budget priorities and policy choices beyond the purview of
 20 this fully-settled litigation, proves the County’s concerns are well-founded.
 21 V.            CONCLUSION
 22               For these reasons, the County respectfully requests that the Court amend its
 23 April 20 Order to certify it for interlocutory appeal under 28 U.S.C. § 1292(b).
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       611761.4                                     24
                  DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR CERTIFICATION OF COURT’S
                             APRIL 20, 2023 ORDER PURSUANT TO 28 U.S.C. § 1292(b)

                                                                                                 ER 118
  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 170 of 1079

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                                #:15624



  1 DATED: April 28, 2023                   MILLER BARONDESS, LLP
  2
  3
                                            By:        /s/ Mira Hashmall
  4
                                                   MIRA HASHMALL
  5                                                Attorneys for Defendant
  6                                                COUNTY OF LOS ANGELES

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      611761.4                                    25
                 DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR CERTIFICATION OF COURT’S
                            APRIL 20, 2023 ORDER PURSUANT TO 28 U.S.C. § 1292(b)

                                                                                        ER 119
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    14 Attorneys for Defendant
       COUNTY OF LOS ANGELES
    15
    16                             UNITED STATES DISTRICT COURT
    17               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    18
    19 LA ALLIANCE FOR HUMAN                           CASE NO. 2:20-cv-02291 DOC (KES)
    20 RIGHTS, et al.,
                                                       DEFENDANT COUNTY OF
    21                    Plaintiffs,                  LOS ANGELES’ NOTICE OF
                                                       WITHDRAWAL OF CONSENT TO
    22               v.                                EX PARTE COMMUNICATIONS
    23 CITY OF LOS ANGELES, et al.,                    Assigned to the Hon. David O. Carter
    24                                                 and Magistrate Judge Karen E. Scott
                 Defendants.
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          612236.2
                     DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF WITHDRAWAL OF CONSENT TO
                                          EX PARTE COMMUNICATIONS

                                                                                              ER 120
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 172 of 1079

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     1 TO THE COURT, ALL PARTIES, AND THEIR RESPECTIVE COUNSEL
     2 OF RECORD:
     3          At an emergency status conference conducted on March 19, 2020, the Court
     4 requested that the Parties consent to ex parte communications between and/or
     5 among the Court; other judicial officers in the Central District of California; the
     6 Parties (including Intervenors); and relevant non-parties, such as state and local
     7 government leaders. (See Dkt. 39 (Tr. of March 19, 2020 Status Conf. at 7:24–8:10,
     8 109:8–112:3).) At the time, the Parties (including Intervenors) agreed to permit ex
     9 parte communications. (Id. at 117:1–22.) The Court suggested that “if [the Parties]
    10 get to litigation,” an appropriate course in light of the prior ex parte communications
    11 would be to solicit the involvement of other “judges who can litigate” the matter, in
    12 contrast to this Court’s more involved role regarding settlement that justified the
    13 need for ex parte communications. (Id. at 111:10–11.)
    14          This action has been pending for more than three years. On March 25, 2022,
    15 the County withdrew its consent to ex parte communications with the Court.
    16 (Dkt. 403.) The Parties then resumed efforts to resolve this matter through
    17 settlement.
    18          In October 2022, the County and Plaintiffs reached a historic settlement
    19 agreement that provides much-needed additional resources within the City and
    20 County of Los Angeles to increase beds, services, outreach, and interim housing for
    21 the most vulnerable people experiencing homelessness. (Dkt. 485.) Accordingly, in
    22 light of the settlement, the Parties submitted a joint stipulation for dismissal of the
    23 action with prejudice. (Id.)
    24          The Court conducted a hearing on November 14, 2022 regarding the
    25 County/Plaintiffs settlement. (Dkt. 473.) The Court refused “to endorse” the
    26 agreement based on its belief “that we can do much better,” though it acknowledged
    27 its “unorthodox” approach is “rightfully subject to debate and criticism.” (Tr. of
    28 November 14, 2022 Settlement Conf. at 12:12-14, 17:21-23.) The Court then put
       612236.2                               2
            DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF WITHDRAWAL OF CONSENT TO EX PARTE
                                         COMMUNICATIONS

                                                                                                 ER 121
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     1 the agreement “on hold,” pending the installation of newly elected officials. (Id. at
     2 18:21-19:1.)
     3               The Court held a second hearing on the County/Plaintiffs settlement on
     4 January 17, 2023 and requested the presence of the elected officials. (Dkt. 508.) At
     5 the hearing, and at the Court’s urging, the County, Plaintiffs, and the City agreed
     6 that the Court could re-engage in ex parte communications. (Tr. of January 17,
     7 2023 Status Conf. at 47:9-25.) The Parties agreed to negotiate further, and the Court
     8 set a conference regarding the County/Plaintiffs settlement on April 20, 2023. (Id.
     9 at 40:9-13; Dkt. 530.)
    10               On April 18, 2023, the Parties executed an addendum to the agreement. (Dkt.
    11 533.) The settlement agreement, as modified by the addendum, includes 1,000 new
    12 mental health and substance use disorder beds for the unhoused and effectively
    13 tripled the value of the resources in the settlement agreement from $236 million to
    14 over $850 million. (Id.)
    15               At the April 20 hearing, the Court criticized the settlement agreement and
    16 demanded that the Parties change its terms. Ultimately, the Court denied the
    17 Parties’ joint stipulation for dismissal of the action with prejudice, set May 3 as the
    18 County’s deadline for responding to the Second Amended Complaint, and set a
    19 Rule 16 Scheduling Conference for May 9. (Dkt. 534.) Because the Court is
    20 forcing the Parties to continue down a litigation path, there should be no more
    21 ex parte communications with the Court pursuant to Local Rule of Court 83-2.5 for
    22 the Central District of California.
    23               PLEASE TAKE NOTICE that Defendant County of Los Angeles, by and
    24 through its counsel of record, hereby withdraws its consent to the Court’s ex parte
    25 communications in the above-captioned matter.
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          612236.2                                      3
             DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF WITHDRAWAL OF CONSENT TO EX PARTE
                                          COMMUNICATIONS

                                                                                                  ER 122
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     1 DATED: April 28, 2023                MILLER BARONDESS, LLP
     2
     3
                                            By:           /s/ Mira Hashmall
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     5                                                Attorneys for Defendant
     6                                                COUNTY OF LOS ANGELES

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         612236.2                                 4
            DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF WITHDRAWAL OF CONSENT TO EX PARTE
                                         COMMUNICATIONS

                                                                                       ER 123
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 175 of 1079

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       Attorneys for Defendant
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    16
                                UNITED STATES DISTRICT COURT
    17
                     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    18
    19
    20 LA ALLIANCE FOR HUMAN                        CASE NO. 2:20-cv-02291 DOC (KES)
       RIGHTS, et al.,
    21                                              JOINT SUBMISSION OF
                  Plaintiffs,                       ADDENDUM TO SETTLEMENT
    22                                              AGREEMENT
            v.
    23
    24 CITY OF LOS ANGELES, et al.,
                                                    Assigned to the Hon. David O. Carter
    25                   Defendants.                and Magistrate Judge Karen E. Scott
    26
    27
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          611415.2
                          JOINT SUBMISSION OF ADDENDUM TO SETTLEMENT AGREEMENT

                                                                                           ER 124
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 176 of 1079

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     1 TO THE COURT, ALL PARTIES AND THEIR RESPECTIVE COUNSEL
     2 OF RECORD:
     3               PLEASE TAKE NOTICE that Plaintiffs LA Alliance for Human Rights,
     4 Joseph Burk, Harry Tashdjian, Wenzial Jarrell, Karen Pinsky, Charles Malow, and
     5 George Frem (collectively, “Plaintiffs”) and Defendant County of Los Angeles
     6 (“County” and together with Plaintiffs, the “Parties”) reached a settlement in the
     7 above-captioned case, which was submitted to the Court on October 17, 2022. [Dkt.
     8 485.]
     9               On January 20, 2023, the Court entered a Scheduling Order Following
    10 01/17/2023 Settlement Hearing [Dkt. 519] ordering the Parties to submit their
    11 Proposed Settlement Agreement by April 17, 2023. Thereafter, the Court approved
    12 the Parties’ request for an additional day to comply with the scheduling order.
    13               The Parties dedicated significant time and resources to reaching additional
    14 settlement terms. Attached hereto as Exhibit A is the Stipulation for Voluntary
    15 Dismissal pursuant to Federal Rule of Civil Procedure 41(a)(2) submitted on
    16 October 17, 2022 [Dkt. 485]. Attached hereto as Exhibit B is the Parties’ fully-
    17 executed Addendum to Settlement Agreement. The Addendum will provide
    18 substantial new resources, including 1,000 new mental health and substance use
    19 disorder beds for the unhoused, as well as 450 subsidies to provide individuals at
    20 risk of homelessness with Enriched Residential Care in Adult Residential Facilities
    21 and Residential Care Facilities for the Elderly, commonly called “Board and Care”
    22 beds, throughout the county.
    23               For the reasons set forth herein and in the Stipulation for Voluntary Dismissal
    24 pursuant to Federal Rule of Civil Procedure 41(a)(2) submitted on October 17, 2022
    25 [Dkt. 485], the Parties hereby respectfully request that the Court enter an order
    26 dismissing Plaintiffs’ claims against the County with prejudice and retaining
    27 jurisdiction for purposes of enforcing their agreement until the end of fiscal year
    28 2026-2027 (i.e., June 30, 2027).

          611415.2                                      2
                             JOINT SUBMISSION OF ADDENDUM OF SETTLEMENT AGREEMENT

                                                                                                   ER 125
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     1 DATED: April 18, 2023                      UMHOFER, MITCHELL & KING LLP
     2
     3
                                                  By:     /s/ Elizabeth A. Mitchell
     4
                                                        ELIZABETH A. MITCHELL
     5                                                  Attorneys for Plaintiffs
     6
     7
         DATED: April 18, 2023                    MILLER BARONDESS, LLP
     8
     9
    10                                            By:           /s/ Mira Hashmall
    11                                                      MIRA HASHMALL
                                                            Attorneys for Defendant
    12                                                      COUNTY OF LOS ANGELES
    13
    14                                  ATTORNEY ATTESTATION
    15              The other signatories listed, and on whose behalf the filing is submitted,
    16 concur in the filing’s content and have authorized the filing.
    17
    18 DATED: April 18, 2023                      MILLER BARONDESS, LLP
    19
    20
    21                                            By:           /s/ Mira Hashmall
                                                            MIRA HASHMALL
    22
                                                            Attorneys for Defendant
    23                                                      COUNTY OF LOS ANGELES
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         611415.2                                       3
                            JOINT SUBMISSION OF ADDENDUM OF SETTLEMENT AGREEMENT

                                                                                                 ER 126
     Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 178 of 1079

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     1                               INDEX OF EXHIBITS
     2        Ex.                         Description                           Pg. No.
     3        No.
              A.    Stipulation for Voluntary Dismissal pursuant to Federal      5-23
     4
                    Rule of Civil Procedure 41(a)(2) submitted on October 17,
     5              2022 [Dkt. 485]
     6         B.   Addendum to Settlement Agreement                            24-36
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         611415.2                                4
                      JOINT SUBMISSION OF ADDENDUM OF SETTLEMENT AGREEMENT

                                                                                          ER 127
     Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 179 of 1079

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                    EXHIBIT A




                                                                  Exhibit A, Page 5
                                                                                 ER 128
                                                                                  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 180 of 1079

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                                                                                      #:15411
                                                                   Case 2:20-cv-02291-DOC-KES Document 485 Filed 10/17/22 Page 1 of 4 Page ID #:14819



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                                                                                       [Additional counsel continued on following page.]
                                                                                  14
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                                                                                                                  UNITED STATES DISTRICT COURT
                                                                                  16
                                                                                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                                  17
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                                                                                  19     LA ALLIANCE FOR HUMAN                     CASE NO. 2:20-CV-02291-DOC-KES
                                                                                         RIGHTS, et al.,
                                                                                  20                  Plaintiffs,                  Assigned to Judge David O. Carter
                                                                                  21           v.
                                                                                  22                                               STIPULATION FOR VOLUNTARY
                                                                                         CITY OF LOS ANGELES, et al.,              DISMISSAL WITH PREJUDICE
                                                                                  23                                               PURSUANT TO FEDERAL RULE
                                                                                                                                   OF CIVIL PROCEDURE 41(a)(2)
                                                                                  24                  Defendants.

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                                                                                             STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE
                                                                                             PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(2)
                                                                                                                                                         Exhibit A, Page 6
                                                                                                                                                                       ER 129
                                                                                  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 181 of 1079

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                                                                  #:15412
                                                                   Case 2:20-cv-02291-DOC-KES Document 485 Filed 10/17/22 Page 2 of 4 Page ID #:14820



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                                                                                  6    Attorneys for Defendant
                                                                                       COUNTY OF LOS ANGELES
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                                            LOS ANGELES. CA 90025




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                                                                                             STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE
                                                                                             PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(2)
                                                                                                                                                Exhibit A, Page 7
                                                                                                                                                              ER 130
                                                                                   Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 182 of 1079

                                                           Case 2:20-cv-02291-DOC-KES Document 533-1 Filed 04/18/23 Page 4 of 19 Page ID
                                                                                            #:15413
                                                                   Case 2:20-cv-02291-DOC-KES Document 485 Filed 10/17/22 Page 3 of 4 Page ID #:14821



                                                                                  1    TO THE COURT, ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF
                                                                                  2    RECORD:
                                                                                  3          PLEASE TAKE NOTICE that Plaintiffs LA Alliance for Human Rights,
                                                                                  4    Joseph Burk, Harry Tashdjian, Wenzial Jarrell, Karen Pinsky, Charles Malow, and
                                                                                  5    George Frem (“Plaintiffs”) and Defendant County of Los Angeles (“County”) have
                                                                                  6    reached a settlement in the above-captioned case. Pursuant to Federal Rule of Civil
                                                                                  7    Procedure 41(a)(2), Plaintiffs hereby request an order dismissing this action against
                                                                                  8    the County with regard to all claims in their entirety, with prejudice, and request this
                                                                                  9    Court retain jurisdiction for purposes of enforcing their agreement until the end of
                                                                                  10   fiscal year 2026/2027 (i.e., June 30, 2027). A copy of the settlement agreement is
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  11   attached hereto as Exhibit 1.
Spertus, Landes & Umhofer, LLP
                                        1990 SOUTH BUNDY DR., SUITE 705




                                                                                  12         Rule 41(a)(2) permits a plaintiff to seek a voluntary dismissal by court order if
                                            LOS ANGELES. CA 90025




                                                                                  13   dismissal is no longer available as of right under Rule 41(a)(1)(A)(i). Because the
                                                                                  14   County has served an answer [Dkt. 320], a court order is required for Plaintiffs to
                                                                                  15   dismiss their claims against the County. See Fed. R. Civ. P. 41(a)(1) (a “plaintiff may
                                                                                  16   dismiss an action without a court order by filing . . . a notice of dismissal before the
                                                                                  17   opposing party serves either an answer” or “a stipulation of dismissal signed by all
                                                                                  18   parties who have appeared”).1 A request for voluntary dismissal should be denied
                                                                                  19   only when the defendant will suffer “plain legal prejudice.” Waller v. Financial
                                                                                  20   Corp. of Am., 828 F.2d 579, 583 (9th Cir. 1987). The County will suffer no legal
                                                                                  21   prejudice because the County consents to Plaintiffs’ request for dismissal, which is
                                                                                  22   submitted by Plaintiffs as a condition of the settlement reached between the County
                                                                                  23   and Plaintiffs.
                                                                                  24         Rule 41(a)(2) provides that the trial court may impose terms and conditions on
                                                                                  25   an order of voluntary dismissal. Fed. R. Civ. P. 41(a)(2). The purpose of this rule is
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                                                                                              The parties are also unable to obtain consent to a stipulated dismissal from
                                                                                  28   Gary Whitter, who has been incommunicable for months, as explained in Plaintiffs’
                                                                                       counsel’s July 11, 2022 Ex Parte Application to Withdraw as Counsel. [Dkt. 450.]
                                                                                                                                 1
                                                                                             STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE
                                                                                             PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(2)
                                                                                                                                                                Exhibit A, Page 8
                                                                                                                                                                                  ER 131
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                                                                                  1    to protect the defendant from prejudice. See Cross v. Westchester Dev. Corp. V
                                                                                  2    Chiulli, 887 F.2d 431, 432 (2nd Cir. 1989); McCall-Bey v. Franzen, 777 F.2d 1178,
                                                                                  3    1183-84 (7th Cir. 1985). Because the County will not be prejudiced in any way by
                                                                                  4    the requested order, there is no need to impose any conditions to the order granting
                                                                                  5    dismissal. Moreover, the parties’ settlement agreement provides for the allocation of
                                                                                  6    costs and attorneys' fees.
                                                                                  7                                       CONCLUSION
                                                                                  8          For the foregoing reasons, Plaintiffs and the County respectfully request that
                                                                                  9    the Court enter an order dismissing Plaintiffs’ claims against the County with
                                                                                  10   prejudice and retaining jurisdiction for purposes of enforcing their agreement until
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  11   the end of fiscal year 2026/2027 (i.e., June 30, 2027).
Spertus, Landes & Umhofer, LLP
                                        1990 SOUTH BUNDY DR., SUITE 705




                                                                                  12
                                            LOS ANGELES. CA 90025




                                                                                  13   Dated: October 17, 2022          Respectfully submitted,
                                                                                  14
                                                                                  15                                    /s/ Elizabeth A. Mitchell
                                                                                                                        SPERTUS, LANDES & UMHOFER, LLP
                                                                                  16                                    Elizabeth A. Mitchell
                                                                                  17                                    Attorneys for Plaintiffs
                                                                                  18                                    The other signatories listed, and on whose behalf the
                                                                                                                        filing is submitted, concur in the filing’s content and
                                                                                  19                                    have authorized the filing.
                                                                                  20
                                                                                  21   Dated: October 17, 2022          /s/ Louis R. Miller
                                                                                                                        MILLER | BARONDESS LLP
                                                                                  22                                    Mira Hashmall
                                                                                  23                                    Attorneys for Defendant County of Los Angeles
                                                                                  24
                                                                                  25
                                                                                  26
                                                                                  27
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                                                                                             STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE
                                                                                             PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(2)
                                                                                                                                                              Exhibit A, Page 9
                                                                                                                                                                                  ER 132
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                                    SETTLEMENT AGREEMENT
            This Settlement Agreement ("Agreement") is entered into in connection with the action
    LA Alliance for Human Rights et al. v. City ofLos Angeles et al., U.S. District Court for the
    Central District of California, Case No. 2:20-cv-02291 (the "Action") by and between the
    County of Los Angeles ("County"); LA Alliance for Human Rights, Joseph Burk,
    Harry Tashdjian, Wenzial Jarrell, Karyn Pinsky, Charles Malow, and George Frem (collectively,
    "Plaintiffs"); and Spertus, Landes, & Umhofer, LLP ("Plaintiffs' Counsel"), solely with respect
    to Section B.5 of this Agreement. Each of the County and Plaintiffs is referred to individually as
    a "Party" and collectively as the "Parties."

            In and through this landmark Agreement, the Parties desire to end the Action and also
    address the needs of People Experiencing Homelessness ("PEH") by supporting the development
    of housing units and the provision of a comprehensive and targeted array of supportive services
    designed to prevent and end homelessness, and by strengthening existing agreements and
    partnerships between and among relevant stakeholders such as the Parties and the City .of Los
    Angeles ("City"). This Agreement follows over two years of contested litigation involving
    significant motion practice and an appeal, and months of arduous mediation attended by the
    Parties and the City. All Parties have found and determined that this Agreement is entered into
    for good consideration following a lengthy negotiation and revision process.

                                               RECITALS
            WHEREAS, Plaintiff LA Alliance for Human Rights ("Alliance") is an incorporated non-
    profit membership association in Los Angeles, California;

           WHEREAS, Alliance's members include Plaintiffs Joseph Burk, Harry Tashdjian,
    Wenzial Jarrell, Karyn Pinsky, Charles Malow, George Frem, Charles Van Scoy, Leonard
    Suarez, all other individual plaintiffs that appeared in the Action, and current and/or former
    homeless individuals, non-profit organizations, community leaders, employees, residents,
    business owners, service providers, and community members residing and/or working in the
    County and/or the City;

          WHEREAS, on March 10, 2020, Plaintiffs initiated the Action against the City and the
    County in the District Court for the Central District of California, where it was assigned to the
    Honorable David 0. Carter ("District Court");

            WHEREAS, on April 20, 2021, the District Court entered a preliminary injunction
    against the City and County, ordering the County to, inter alia, cease any sales, transfers or
    leases of County-owned properties, shelter and provide treatment services to all residents of Skid
    Row, and prepare numerous audits and reports (ECF No. 277);

            WHEREAS, on October 15, 2021, the United States Court of Appeals for the Ninth
    Circuit vacated the injunction issued by the District Court and remanded the Action to the
    District Court;

          WHEREAS, on November 1, 2021, Plaintiffs filed a First Amended and Supplemental
    Complaint ("FASC") against the City and the County (ECF No. 361 );

           WHEREAS, the County denied all claims in the FASC and filed a motion to dismiss the
    FASC, which was taken under submission by the District Court following a hearing on
    January 24, 2022 (ECF No. 370);


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                                                                                         Exhibit A, Page 10
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           WHEREAS, while the County's motion to dismiss was pending, Plaintiffs and the City
    entered into a settlement agreement to which the County is not a party (the "City Settlement"),
    and also filed a stipulated order of dismissal as to Plaintiffs' claims against the City (ECF Nos.
    426-1, 429-1);

           WHEREAS, on June 14, 2022, the District Court entered an order approving the
    settlement agreement between Plaintiffs and the City, and dismissing with prejudice Plaintiffs'
    claims against the City as alleged in the FASC (ECF No. 445) but retained jurisdiction for
    purposes of enforcement;

          WHEREAS, on July 15, 2022, Plaintiffs filed a Second Amended and Supplemental
    Complaint ("SASC") against the County (ECF No. 454);

           WHEREAS, the County expressly denies all claims alleged in the SASC;

            WHEREAS, the Parties have participated in multiple mediation sessions before neutral
    third parties at which all Parties were represented by sophisticated counsel of their choosing and
    engaged in arms-length negotiations that resulted in this Agreement;

             WHEREAS, Plaintiffs and the County now desire to fully and finally compromise and
    settle all claims arising out of or relating to all matters alleged or that could have been alleged in
    the Action with respect to the Parties, without any admission of fault, liability, or wrongdoing, in
    the interests of avoiding the additional expense and the inherent uncertainties of protracted
    litigation upon the terms and conditions set forth in this Agreement; and

           NOW THEREFORE, in consideration of the promises, covenants, warranties,
    representations, and conditions contained herein, for good and valuable consideration given
    hereunder, and with the intent to be legally bound, the Parties hereby agree as follows:

                                                  TERMS

    A.     Effective Date and Duration:

            1.     Subject to the requirements of Sections A.2 and E, this Agreement shall become
    effective and operative on the date that the District Court enters an Order dismissing, with
    prejudice, the Action, subject to the court's continuing enforcement in accordance with Section P
    of this Agreement.

            2.    The effectiveness of this Agreement is expressly subject to and contingent upon
    approval by the County's approval of settlements process, including by the Los Angeles County
    Claims Board and/or the County Board of Supervisors, and by approval of the individual
    Plaintiffs.

           3.       The County's obligations in Section D.1- 9 of this Agreement shall terminate at
    the end of fiscal year 2026/2027 (i.e., June 30, 2027).

    B.     Representations, Warranties, and Acknowledgements:

           1.      Plaintiffs represent and warrant that they have not assigned, transferred, granted,
    or purported to assign, transfer, or grant, any of the claims, demands, and causes of action
    disposed of by this Agreement.

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                                                                                           Exhibit A, Page 11
                                                                                                             ER 134
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             2.      Each Party represents and warrants that he, she, or it has read this Agreement in
    its entirety, understands its contents, and is signing this Agreement freely and voluntarily,
    without duress or undue influence from any other Party.

            3.      Each Party represents and warrants that he, she, or it has been represented by
    independent counsel of his, her, or its own choosing and that, before their execution of this
    Agreement, each has had an adequate opportunity to conduct an independent investigation of all
    the facts and circumstances with respect to all matters that are the subject of this Agreement.
    Each Party further warrants and represents that he, she, or it executes this Agreement freely,
    knowingly, and voluntarily, that any representative executing this Agreement on behalf of any
    Party has the full authority of that Party to do so and thereby bind the Party represented, and that
    each Party is fully aware of and understands the content and effect of this Agreement.

           4.      Each Party represents and warrants that he, she, or it is not relying on any
    statement of fact or opinion made by any Party, or by anyone acting on behalf of any Party, to
    induce execution of this Agreement, other than those expressly set forth in this Agreement.

            5.      Plaintiffs and Plaintiffs' Counsel represent and warrant that they are not aware of
    any potential plaintiff other than Plaintiffs, or any attorney other than Plaintiffs' Counsel, who
    intends to make demands or bring litigation against the County relating to the allegations in the
    Action. Plaintiffs' Counsel represents and warrants that it does not represent any clients, or have
    knowledge of any potential clients, with claims or potential claims against County relating to
    those alleged in the Action aside from Plaintiffs.

            6.      Each Party acknowledges and agrees that the representations and warranties set
    forth in this Section are material inducements to the other Party's entering into this Agreement.

    C.     Settlement Payment and Attorney's Fees:

            1.      In addition to the County's obligations set forth in Section D below, and further
    valuable consideration for the promises, representations, warranties, acknowledgements, and
    releases herein, the County shall pay the sum of $2 million (the "Payment") to the Spertus,
    Landes, & Urnhofer, LLP attorney-client trust account, which shall be inclusive of all claims for
    attorneys' fees and costs claimed by Plaintiffs in the Action. Plaintiffs' Counsel may enter into a
    separate distribution agreement at their discretion. The County shall not be responsible for the
    allocation or payment of any sum between and among any of Plaintiffs, Plaintiffs' counsel, and
    any of their affiliates, representatives, members, agents, and assigns. Except for the Payment,
    each Party shall be responsible for and bear its own attorneys' fees and costs incurred in the
    Action including in connection with the negotiation and execution of this Agreement.

             2.       Plaintiffs and Plaintiffs' Counsel acknowledge that no representations have been
    made by the County regarding the taxability of all or any portion of this Agreement, and that
    they have had the opportunity to seek independent advice regarding the tax consequences of this
    Agreement and accept each responsibility for satisfaction of their own tax obligation(s) and/or
    liabilities, if any, that may result from this Agreement.




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                                                                                         Exhibit A, Page 12
                                                                                                           ER 135
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    D.     Countv's Obligations:
                  ~       4




           1.      Su1mort for Plaintiffs' Settlement with the C~!Y:

                   i.      From fiscal year 2022/2023 through fiscal year 2026/2027, the County
    shall fund and provide supportive services for interim housing and permanent supportive housing
    units financed by the City as part of the City Settlement, as units are developed by the City and
    become occupiable, in an amount to be determined solely by County and City in their respective
    discretion. These supportive services shall include, but shall not be limited to, "mainstream"
    services including public assistance programs, mental health services, substance use disorder
    services, and benefits advocacy services to clients who meet eligibility criteria for these services.

                   ii.    The County shall provide City-funded outreach teams with access to
    Department of Mental Health ("DMH"), Department of Health Services ("DHS"), Department of
    Public Social Services ("DPSS"), and Department of Public Health ("DPH") services directly
    and through coordination with Multi-Disciplinary Teams ("MDTs") and Homeless Outreach &
    Mobile Engagement ("HOME") teams assigned within the City.

                   iii.    The Parties acknowledge that the County does not support the
    enforcement component of the City's street engagement strategy and no funding or services from
    the County or any County department or affiliated agency committed herein will be used to
    support the City's street engagement strategy.

            2.     Beds Available to County Outreach Teams: Throughout the term of this
    Agreement, the County shall make reasonable best efforts to ensure County outreach teams
    (including the increased MDT and HOME teams referenced above) have access to County
    Homeless Initiative-funded high service need interim housing beds for PEH in the City, and that
    those beds shall either be exclusively for use by, or prioritize, PEH in the City.

           3.      Mental Health/Substance Use Disorder Beds: By the end of fiscal year
    2023/2024 (i.e., June 30, 2024), the County shall develop 300 additional substance use and
    mental health beds according to the greatest need as solely determined by the County.

            4.      Multi-Disciplinary Teams (MDTs): The County shall increase to 34 from 22
    (numbers based on what is currently required and could be subject to change based on the latest
    point-in-time count) the number ofMDTs dedicated to conducting outreach exclusively in the
    City, allocating at least 1 team per Council District and remaining teams assigned where there is
    the greatest need as informed by the Point-In-Time Count. The County shall increase the
    number of MDTs from 22 to a minimum of 28 by the end of fiscal year 2022/2023 (i.e., June 30,
    2023) and to a minimum of 34 by the end of fiscal year 2023/2024 (i. e., June 30, 2024).

            5.      Homeless Outreach and Mobile Engagement (HOME) Teams: The County
    shall increase to 10 from 5.5 (numbers based on what is currently required and could be subject
    to change based on the latest point-in-time count) the number of HOME teams dedicated to
    conducting outreach exclusively in the City. The County shall increase the number of HOME
    teams from 5.5 to a minimum of 8 by the end of fiscal year 2022/2023 (i.e., June 30, 2023) and
    to a minimum of 10 by the end of fiscal year 2023/2024 (i.e., June 30, 2024).


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                                                                                          Exhibit A, Page 13
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             6.     P~rtnership on CiJy- and Col}ntv-O~ned Land: Throughout the term of this
     Agreement, the County shall continue to work with the City in making available to each other
     appropriate City- and/or County-owned land, located within the City's jurisdiction, to create new
     interim or permanent housing units as mutually agreed by County and City.

             7.      PEH with Serious Mental Illness or Substance Use Disorders: The County
     acknowledges it has responsibilities under State and federal law to provide services, including
     but not limited to clinical treatment, to eligible County residents suffering from serious mental
     illness and/or substance use disorders, including PEH in the City. Throughout the term of this
     Agreement, County shall work with the City to advocate and apply for additional state and
     federal funding for this purpose as mutually agreed to by County and City.

             8.       New Funding: If the County or City obtains significant new funding from City
     ballot initiative United to House L.A. or County Measure H extension for the housing and/or
     services outlined in this Agreement, the County shall consider and may propose potential
     amendments to this Agreement to enhance housing and services City-wide or County-wide. Such
     amendments may include (but not be limited to) continuation of operations and supportive
     services for the permanent and interim units beyond the term of the Agreement, or redeployment
     of resources to address homelessness in other cities or unincorporated County jurisdictions.

             9.      Reporting: The County shall file reports regarding its progress in meeting its
     obligations under this Agreement quarterly. Each status report shall be provided within 30 days
     of the end of the County's fiscal quarter. Reports shall include the following:

                    i.     Support for Plaintiffs' Settlement with the City:

                             (1)   Upon receiving information from City at least 30 days before a
     quarterly report is due, County shall include a status regarding support services for interim and
     permanent supportive housing units: what units are being supported, what services have been
     provided, and numbers of PEH accessing services. County shall have no responsibility to
     confirm or otherwise verify the accuracy or completeness of the information provided to it by
     City or on behalf of City;

                             (2)    Upon receiving information from City at least 30 days before a
     quarterly report is due, County shall include the number of contacts or service support requests
     by City Outreach worker, and the result of those contacts and/or service support requests,
     including (a) type or types of service requests, (b) agency or organization to provide/which
     provided services, ( c) number of requests per individual, and ( d) location where request was
     made. County shall have no responsibility to confirm or otherwise verify the accuracy or
     completeness of the information provided to it by City or on behalf of City.

                    ii.    Beds Available to County Outreach Teams:

                           (1)     The number ofreferrals to Homeless Initiative-funded high service
     need interim housing beds, the type of team making the referral, the disposition of the referral,
     and an explanation for any referrals that are not approved (if any).



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                    iii.    Mental Health/Substance Use Disorder Beds:

                           ( 1)   The number of beds that have been developed ( or status thereon)
     under this agreement, what said beds are being used for, and basis for determining greatest need.

                    iv.     Multi-Disciplinary Teams:

                           ( 1)   The number of MDTs deployed under this agreement, where, and
     how the greatest need has been evaluated (or re-evaluated).

                    v.      Homeless Outreach and Mobile Engagement Teams:

                          (1)     The number of HOME teams deployed under this agreement,
     where, and how the greatest need has been evaluated (or re-evaluated).

                     vi.    Partnership on City- and County-Owned Land:

                            ( 1)   A status of City/County's land partnership.

                    vii.    PEH with Serious Mental Illness or Substance Use Disorders:

                            (1)   Status regarding any advocacy or applications for additional state
     or federal funding for PEH with serious mental illness or substance use disorders.

     E.     Releases:

             1.      Plaintiffs, including each of their heirs, spouses, trustees, successors, assigns,
     agents, representatives, attorneys, employees, officers, directors, shareholders, members,
     managers, principals, partners, insurers, and predecessors (collectively, the "Releasing Parties"),
     hereby absolutely and forever release and discharge the County, including all of its boards,
     bureaus, departments, elected and appointed officials, representatives, attorneys, administrators,
     officers, agents, employees, and all persons that acted on behalf of the County, and each of their
     predecessors, successors, agents, and assigns (the "County Released Parties"), from any and all
     claims, including claims for damages, damages, demands, actions, causes of action, suits,
     covenants, settlements, contracts, agreements, and liabilities for personal injuries, property
     damage, loss, cost or expense of every nature whatsoever, whether known or unknown,
     contingent or otherwise, at law or in equity, and whether or not expected to exist which the
     undersigned Plaintiffs to this Agreement had, have, or may have against the County Released
     Parties, and each of them, that arise out of or are related to the Action, and any allegations,
     events, transactions or occurrences that were alleged or that could have been alleged therein
     ("Claims").

            2.      The Releasing Parties acknowledge that they are aware that statutes exist that
     render null and void releases and discharges of any claims, rights, demands, liabilities, actions
     and causes of action that are unknown to the releasing or discharging parties at the time of
     execution of those releases and discharges. The Releasing Parties expressly waive, surrender,
     and agree to forego any protection to which they would otherwise be entitled by virtue of the


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                                                                                          Exhibit A, Page 15
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     existence of any statute in any jurisdiction, including California. Plaintiffs acknowledge that
     they are familiar with section 1542 of the California Civil Code, which provides as follows:

                    A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                    THAT THE CREDITOR OR RELEASING PARTY DOES NOT
                    KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
                    THE TIME OF EXECUTING THE RELEASE AND THAT, IF
                    KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
                    AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR
                    OR RELEASED PARTY.

             It is understood and agreed that all rights under section 1542 of the California Civil Code
     are expressly waived by the Releasing Parties, to the full extent allowed by law. The Releasing
     Parties agree that this Agreement extends and applies to all unknown, unsuspected and
     unanticipated claims, demands, injuries, or damages within the scope of this Agreement and the
     releases herein. The Releasing Parties waive any equivalent provision of any statute of the United
     States or any other state or jurisdiction with respect to such claims, demands, injuries, or damages
     within the scope of this Agreement.

            The Releasing Parties recognize and acknowledge that factors which have induced each of
     them to enter into this agreement may tum out to be incorrect or to be different from what they had
     previously anticipated, and they hereby expressly assume any and all of the risks thereof and further
     expressly assumes the risks of waiving the rights provided by California Civil Code section 1542.

             3.      Releasing Party does not waive future claims, subject to corresponding statute of
     limitations, after the term of the Agreement ends. The Releasing Parties agree that the Payment
     and the County's obligations set forth in Section D, pursuant to, and in accordance with this
     Agreement, is valuable consideration for the releases in this Section and every other benefit
     conferred upon them directly or indirectly under this Agreement.

             4.      The Releasing Parties acknowledge that their execution and delivery of the
     releases in this Section is a condition of the County's obligations under this Agreement and that
     the County is relying on this release in carrying out its obligations under this Agreement.

     F.       Dismissal With Prejudice: Within five (5) days of the execution of this Agreement by
                          ' shall file a Joint Stipulation For Voluntary Dismissal With Prejudice
     all Parties, Plaintiffs
     Pursuant to F.R.C.P. 41(a)(2) (the "Stipulation"). In the event that the District Court enters an
     order granting the Stipulation upon terms and conditions not agreed to by the Parties in this
     Agreement, the Parties may withdraw their consent to this Agreement and continue the Action if
     the Agreement and its terms never existed.

     G.     No Prevailing Party: The Parties agree that no Party to this Agreement is a prevailing
     party under any applicable law, including 42 U.S.C. § 1988 or similar fee-shifting statutes.

     H.     No Admission of Liability: This Agreement is the result of a compromise and for the
     purpose of settling disputed claims, and shall not at any time for any purpose constitute or be
     considered or deemed any admission of liability on the part of any Party hereto. Each Party
     expressly denies any wrongdoing or liability in connection with any action or omission relating

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                                                                                           Exhibit A, Page 16
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     to one another. This Agreement and any document related to this settlement, and the
     negotiations leading thereto, shall be inadmissible in evidence and shall not be used for any
     purpose in this or any other proceeding except in an action or proceeding to approve, interpret,
     implement, or enforce the Agreement.

     I.     Entire Agreement: This Agreement contains all of the terms and conditions agreed
     upon by the Parties regarding the subject matter of this Agreement, and supersedes all prior and
     contemporaneous oral and written agreements and discussions between Plaintiffs and County.

     J.     Construction: The Parties have collaborated with each other in drafting and preparing
     this Agreement. No Party to this Agreement, or any Party's respective counsel, shall be deemed
     to have drafted this Agreement, and this Agreement shall not be construed as against any Party
     on such grounds.

     K.      No Oral Modifications: This Agreement constitutes the entire agreement between
     Parties hereto, and no oral understanding not incorporated herein shall be binding on any Party.
     This Agreement may only be modified, altered or revised, as necessary, by mutual consent of the
     parties hereto by the issuance of a written amendment, signed and dated by the Parties.

     L.     Successors: The provisions of this Agreement shall be deemed to extend to and inure to
     the benefit of the Parties' respective transferees, grantees, assigns, successors, heirs, trustees,
     executors, administrators, and any other person or entity claiming by or through them, and to
     extend to and obligate the Parties' respective transferees, grantees, assigns, heirs, trustees,
     executors, and administrators.

     M.     No Third Party Beneficiaries: Notwithstanding anything in this Agreement to the
     contrary, there are no intended third-party beneficiaries that may assert rights or defenses under
     this Agreement, except the Parties to this Agreement and their Counsel.

     N.     Severability: Should any part of this Agreement be declared invalid, void or
     unenforceable, all remaining parts shall remain in full force and effect and shall in no way be
     invalidated or affected.

     0.      Choice of Law: This Agreement in all respects shall be interpreted, enforced, and
     governed by and under the laws of the State of California applicable to instruments, persons, and
     transactions that have legal contracts and relationships solely within the State of California.

     P.     Dispute Resolution:

            1.      The Parties agree that the procedures contained in this Section are the required
     and exclusive steps for resolving any dispute between the Parties arising out of or relating to this
     Agreement or any Party's rights or obligations hereunder ("Dispute").

                     i.      Dispute Initiation/Right to Cure: In the event of any dispute between the
     Parties arising out of or relating to this Agreement or any Party's rights or obligations hereunder,
     a Party wishing to raise a claim, demand, or cause of action (the "Claiming Party") against any
     other Party (the "Responding Party") shall, before taking any other action concerning the
     dispute, provide to the Responding Party written notice setting out in reasonable detail the nature

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                                                                                          Exhibit A, Page 17
                                                                                                            ER 140
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     of the dispute and the relief sought ("Notice of Dispute"). The Parties shall meet and confer
     within a reasonable time in a good-faith effort to resolve the dispute through informal
     negotiations. Any Party that is alleged in a Notice of Dispute to be in breach of this Agreement,
     and who, after meeting and conferring, requests an opportunity to cure, shall have up to one
     hundred twenty ( 120) days after receipt of the Notice of Dispute to cure such alleged breach,
     unless otherwise agreed ("Cure Period"). No Party will be considered in breach of this
     Agreement unless it is alleged that such Party has failed to substantially perform its obligations
     under this Agreement ("Breach").

                    ii.      Judicial Enforcement: If, after exhausting the dispute resolution
    procedures described in Section (P)(l)(i), the Claiming Party still alleges the Responding Party is
    in breach of this Agreement, the Claiming Party may file a notice of breach and request for
    judicial enforcement in the District Court to remedy such alleged breach. The District Court
    retains jurisdiction, at its discretion, for purposes of enforcing this Agreement until the end of
    fiscal year 2026/2027 (i.e., June 30, 2027). The only relief that any Party may seek in the event
    of an alleged Breach of this Agreement will be an order compelling specific performance of the
    Agreement. No Party may seek monetary damages of any kind as a result of an alleged Breach.

             2.     Each Party shall bear his, her, or its own costs and fees in connection with any of
     the dispute resolution processes under this Section.

     Q.      Notices. All notices to be sent under this Agreement shall be delivered as follows and
     shall reference the Action in the subject line of the notice:

            l.      For Plaintiffs:
                    Spertus Landes & Umhofer LLP
                    617 W. 7th Street, Suite 200
                    Los Angeles, CA 90017
                    Attention: Matthew Donald Urnhofer, Elizabeth Mitchell
                    matthew@spertuslaw.com, emitchell@spertuslaw.com
            2.      For the County:
                    Office of County Counsel
                    500 West Temple Street, Suite 648
                    Los Angeles, California 90012
                    Attention: Ana Lai; Jennifer Lehman
                    alai@counsel.lacounty.gov; jlehman@counsel.lacounty.gov

             Any Party may change its notice recipient or address for providing notice to it by
     notifying the other Party(ies) in writing setting forth such new notice recipient or address.

    R.      Force Majeure: No Party to this Agreement shall be deemed in violation if it is
    prevented or delayed from performing any of the obligations hereunder by reason of boycotts,
    labor disputes, embargoes, shortage of material, act of God, strikes, lockouts, inability to procure
    labor or materials, fire, accident, laws or regulations of general applicability, act of superior
    governmental authority, weather conditions, sabotage, or any other cause or circumstances for
    which it is not responsible and beyond its control (financial inability excepted). A Party that is
    delayed from performing its obligations hereunder shall make reasonable best efforts to perform

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                                                                                           Exhibit A, Page 18
                                                                                                           ER 141
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                                    #:14832



     its obligation at the earliest time possible. Any Party intending to assert force majeure shall
     notify the other Party(ies) in writing as soon as practicable following the date the Party first
     knew, or by the exercise of reasonable diligence should have known, of the force majeure event.

     S.      Execution in Counterparts and Email/Fax Signatures: This Agreement may be
     executed in any number of counterparts, each of which so executed shall be deemed to be an
     original and such counterparts shall together constitute one and the same Agreement. The
     Parties agree to accept signed pages transmitted by email or facsimile.

     AGREED TO AND ACCEPTED.

                           ANGELES

                                                      Dated:       dl 10P£R.. JI, "U)22,.
      By:      NA UH
      Title: SOv/Oi'l Dtf>W,Y QJ'-'rfff UJqNSel-

      LA ~ C W i HUMAN RIGHTS

      By: Don Steier
                     _·· ~            -               Dated:    October 10, 2022

      Title: Chair

      JOSEPH BURK

                                                      Dated:


      GEORGEFREM

                                                      Dated:


      WENZIAL JARRELL

                                                      Dated:


      CHARLES MALOW

                                                      Dated:


      KARYN PINSKY

         j
             ~                                        Dated:     10/ 10/22




     Page 10 of 11




                                                                                       Exhibit A, Page 19
                                                                                                        ER 142
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                                 #:15425
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                                    #:14833



     its obligation at the earliest time possible. Any Party intending to assert force majeure shall
     notify the other Party(ies) in writing as soon as practicable following the date the Party first
     knew, or by the exercise ofreasonable diligence should have known, of the force majeure event.

     S.      Execution in Counterparts and Email/Fax Signatures: This Agreement may be
               '
     executed in any number of counterparts, each of which so executed shall be deemed to be an
     original and such counterparts shall together constitute one and the same Agreement. The
     Parties agree to accept signed pages transmitted by email or facsimile.

     AGREED TO AND ACCEPTED.

      COUNTY OF LOS ANGELES

                                                      Dated: _ _ _ _ _ _ _ _ _ _ _ _ __
      By:
      Title:

      LA ALLIANCE FOR HUMAN RIGHTS

                                                      Dated:
      By:
                                                               -------------
      Title:

      JOSEPH BURK

                                                      Dated:      10/10/2022
                                                               ----~~-------
      GEORGEFREM

                                                      Dated: - - - - - - - - - - - - - -


     WENZIAL JARRELL

                                                      Dated:
                                                               -------------

     CHARLES MALOW

                                                      Dated:
                                                               -------------

     KARYN PINSKY

                                                      Dated:
                                                               -------------


    Page 10 of 11




                                                                                       Exhibit A, Page 20
                                                                                                        ER 143
    Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 195 of 1079

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                                 #:15426
   Case 2:20-cv-02291-DOC-KES Document 485-1 Filed 10/17/22 Page 12 of 14 Page ID
                                    #:14834


     its obligation at the earliest time possible. Any Party intending to assert force majeure shall
     notify the other Party(ies) in writing as soon as practicable following the date the Party first
     knew, or by the exercise of reasonable diligence should have known, of the force majeure event.

     S.      Execution in Counterparts and Email/Fax Signatures: This Agreement may be
     executed in any number of counterparts, each of which so executed shall be deemed to be an
     original and such counterparts shall together constitute one and the same Agreement. The
     Parties agree to accept signed pages transmitted by email or facsimile.

     AGREED TO AND ACCEPTED.

      COUNTY OF LOS ANGELES

                                                      Dated:
      By:
                                                               -------------
      Title:

      LA ALLIANCE FOR HUMAN RIGHTS

                                                      Dated:
      By:                                                      -------------
      Title:

      JOSEPH BURK

                                                      Dated:
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                                                      Dated: _ ___,___1+--'---l-r--"-".___L=-:::>w..--


      WENZIAL JARRELL

                                                      Dated:
                                                               -------------
      CHARLES MALOW

                                                      Dated:
                                                               -------------
      KARYN PINSKY

                                                      Dated:
                                                               -------------

     Page 10 of 11




                                                                                      Exhibit A, Page 21
                                                                                                         ER 144
    Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 196 of 1079

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                                    #:14835



      its obligation at the earliest time possible. Any Patiy intending to assert force majeure shall
      notify the other Pruiy(ies) in writing as soon as practicable following the date the Party first
      knew, or by the exercise of reasonable diligence should have known, of the force majeure event.

      S.
                                             .
              Execution in Counterparts and Email/Fax Signatures: This Agreement may be
                                                      '
      executed in any number of counterparts, each of which so executed sh.all be deemed to be an
      original and such counterpaits shall together constitute one and the same Agreement. The
      Parties agree to accept signed pages transmitted by email or facsimile.

      AGREED TO AND ACCEPTED.

       COUNTY OF LOS ANGELES

                                                       Dated: - - - - - - - - - -- - --
       By:
       Title:

       LA ALLIANCE FOR HUMAN RIGHTS

                                                       Dated:
       By:
                                                                --------------
       Title:

       JOSEPH BURK

                                                       Dated:
                                                                --------------
       GEORGEFREM

                                                       Dated:
                                                                --------------
       WENZIAL JARRELL

                                                       Dated:    \ \) l rD _, f=I/
                                                                ----.~---~-------

                                                       Dated:
                                                                 /Q-)()-z_2_
                                                                --------------
       KARYN PINSKY

                                                       Dated: - - - - - - - - - - - - - -



      Page 10 ofll




                                                                                        Exhibit A, Page 22
                                                                                                         ER 145
    Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 197 of 1079

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                                 #:15428
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                                    #:14836




       HARRY TASHDJIAN


           ~                                           Dated:    /(9-/ D- ?-- ~

      Plaintiffs' Counsel agrees to be bound by Section B.5 of the Agreement.
                                  •
       Spert 8';'1)andes, & Umhofer, LLP

                                                       Dated:   October 10, 2022
       By: Eliz
       Title: Attorney for Plaintiffs




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                                                                                   Exhibit A, Page 23
                                                                                                 ER 146
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                                 #:15429




                       EXHIBIT B




                                                                Exhibit B, Page 24
                                                                                 ER 147
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                                 #:15430




                             !ADDENDUM TO SETTLEMENT AGREEMENT


       This Addendum to Settlement Agreement (the "Addendum") is entered into by and between the
       County of Los Angeles ("County"); LA Alliance for Human Rights, Joseph Burk,
       Harry Tashdjian, Wenzial Jarrell, Karyn Pinsky, Charles Malow, and George Frem (collectively,
       "Plaintiffs"). Each of the County and Plaintiffs is referred to individually as a "Party" and
       collectively as the "Parties."

                                                  RECITALS

       WHEREAS, on October 11 , 2022, the Parties entered into a Settlement Agreement
       ("Agreement"), wherein they memorialized their agreement to settle and finally resolve the
       matter entitled LA Alliance for Human Rights et al. v. City ofLos Angeles et al., U.S. District
       Court for the Central District of California, Case No. 2:20-cv-02291 (the "Action");

       WHEREAS, on October 17, 2022, the Parties filed a copy of the Agreement with the Court and
       jointly requested the Court to dismiss the Action against the County; The Court scheduled a
       hearing regarding the Agreement;

       WHEREAS, on January 17, 2023, the Parties attended the hearing, and in light of the new
       leadership at the County and City of Los Angeles level, the Parties indicated their interest in
       reviewing and potentially increasing resources for the People Experiencing Homel essness
       ("PEH"); and

       NOW, THEREFORE, the Parties hereby agree to modify the terms of the Agreement as follow:

                                          TERMS OF ADDENDUM

          A. Paragraph D, County's Obligations, Subparagraph 3, Mental Health/Substance Use
             Disorder Beds, shall be deleted in its entirety and replaced with the following:

              3a.     Mental Health/Substance Use Disorder Beds: The County shall
                      develop/contract 1,000 additional mental health and substance use disorder beds
                      according to the greatest need as solely determined by the County. The 1,000
                      beds shall be open and operational on the fo llowing timeline: 300 beds by June
                      30, 2023, 310 beds by December 31, 2023, 90 beds by December 31, 2024, 130
                      beds by December 31 , 2025, and 170 beds by December 31, 2026. The beds
                      herein shall exclude those previously funded in any agreement effective before
                      June 14, 2022 between the County and a provider agency for contracted facil ities,
                      and shall exclude beds that the County directly operated and became available
                      before June 14, 2022. Funding shall not include any advance payments for
                      startups.




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                                                                                        Exhibit B, Page 25
                                                                                                           ER 148
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                                 #:15431




          B. Paragraph D, County's Obligations, Subparagraph 3b, Enriched Residential Care for
             Adult Residential Facilities ("ARF") and Residential Care Facilities for the Elderly
             ("RCFEs") Beds, shall be added to the Agreement as follows:

              3b.     Enriched Residential Care for Adult Residential Facilities ("ARF'') and
                      Residential Care Facilities for the Elderly ("RCFEs") Beds: The County shall make
                      available 450 new subsidies which includes an enhanced services rate at existing ARF
                      and RCFEs that accept individuals eligible for Department of Mental Health ("DMH")
                      services. These beds are frequently, but not exclusively, utilized by individuals with
                      Serious Mental Illness who would otherwise be homeless. The parties recognize that
                      whether there are sufficient third-party providers to accept these funds is not within the
                      County's control and the utilization of these funds is contingent on receipt of 450 eligible
                      referrals over the course of this Agreement. The County shall make available the
                      subsidies within the following deadlines: 40 by December 31, 2023, 160 by December
                      31, 2024, 120 by December 31, 2025, and 130 by December 31, 2026.

          C. Paragraph D, County Obligations, Subparagraph 9, Reporting, Section i, Support for Plaintiffs'
             Settlement with the City, Subsection (3) shall be added to the Agreement as follows:

              (3)     The Parties acknowledge that Paragraph D(9)(i)( l) and D(9)(i)(2), above, shall be
                      contingent upon receipt of information from the City.

          D . Paragraph D, County Obligations, Subparagraph 9, Reporting, Section (iii), Mental
              Health/Substance Use Disorder Beds, shall be deleted in its entirety and replaced with the
              following:

              iii.    Mental Health/Substance Use Disorder Beds:

                      (1)    The number of beds that have been developed/contracted since June 14,
                      2022 (or status thereon) under this agreement, date said beds became open and
                      operational, and confirmation said beds continue to be open and operational.

          E. Paragraph D, County Obligations, Subparagraph 9, Reporting, Section viii, Enriched
             Residential Care for ARF and RCFEs Beds, shall be added to the Agreement as follows:

              viii.   Enriched Residential Care for ARF and RCFEs Beds:

                      ( 1)   The number of referrals, name of referral sources, number of referrals
                      accepted, date individual moved in, and name and type of facility accepting
                      enhanced rate.




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                                                                                             Exhibit B, Page 26
                                                                                                                     ER 149
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                                 #:15432




            F. Paragraph Q, Notices, shall be deleted in its entirety and replaced as follows:

               Q.      Notices. All notices to be sent under this Agreement shall be delivered as follows
                       and shall reference the Action in the subject line of the notice:

                       1.     For Plaintiffs:
                              Umhofer, Mitchell & King LLP
                              11766 Wilshire Blvd, Suite 900
                              Los Angeles, CA 90025
                              Attn: Matthew Donald Umhofer, Elizabeth A. Mitchell
                              matthew@umklaw.com; elizabeth@umklaw.com

                       2.     For the County:
                              Office of County Counsel
                              500 West Temple Street, Suite 648
                              Los Angeles, California 90012
                              Attention: Ana Lai; Jennifer Lehman
                              alai@counsel. lacounty .gov; j lehman@counsel. lacounty .gov

                       Any Party may change its notice recipient or address for providing notice to it by
                       notifying the other Party(ies) in writing setting forth such new notice recipient or
                       address.

            G. All references to "Spertus, Landes, & Umhofer, LLP", including on Page 1, Paragraph 1,
               introductory paragraph, Page 3, Paragraph C, Settlement Payment and Attorney's Fees,
               Subparagraph 1, and Page 11, signature line, of the Agreement, shall be replaced by
               "Umhofer, Mitchell & King LLP".


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       Page 3 of 5




                                                                                         Exhibit B, Page 27
                                                                                                              ER 150
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 202 of 1079

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                                 #:15433




       This Addendum is hereby incorporated into and shall become a part of the Agreement. In all
       other respects, the Agreement shall remain unchanged and in full force and effect.


       AGREED TO AND ACCEPTED.



        COUNTY OF LOS ANGELES


        By:cJ:6:r                                      Dated: - - - - - - - - - - - - -



        LA ALLIANCE FOR HUMAN RIGHTS

                                                       Dated: - - - - - - - - - - - - -
        By:
        Title:

        JOSEPH BURK

                                                       Dated: - - - - - - - - - - - - -


        GEORGEFREM

                                                       Dated: - -- - - -- - - - - - -


        WENZIAL JARRELL

                                                       Dated:
                                                                - - - - - -- - - - - --

        CHARLES MALOW

                                                       Dated: _ _ _ _ __ _ __ _ _ __


        KARYN PINSKY

                                                       Dated: - - - - - -- - -- - - -




       Page 4 of 5




                                                                                   Exhibit B, Page 28
                                                                                                    ER 151
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 203 of 1079

Case 2:20-cv-02291-DOC-KES Document 533-2 Filed 04/18/23 Page 6 of 13 Page ID
                                 #:15434




        HARRY TASHDJIAN

                                           Dated:
                                                    - - - - - - - -- - - -




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                                                                Exhibit B, Page 29
                                                                                  ER 152
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                                 #:15435




      This Addendum i hereby incorporated into and shall become a pan or the Agreement. In aJ I
      other respects. the Agrccmcm shall remain unchanged and in full force and effect.


      AGREED TO A     ·o ACCEPT ED.


       COUNTY OF LOS ANGELES

                                                     Dmc<l: --i-----------c----
       By:
       Title:



                                                     Dated: -....-------------
       Bv:
       Titk:

       JOSEPH BURK




       GEORGE FRE:\-1


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      \.\'ENZIAL J.t.\RRELL

                                                     Dated:
                                                              -~-----------
      CHARLES ,\,JALO\Y

                                                     Dated: - - - - - - - - - - - - -


      KARYN PJ\SKY

                                                     Dated:
                                                              -------------




     Page ~ of 5



                                                                                Exhibit B, Page 30
                                                                                                  ER 153
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                                 #:15436




       This Addendum is hereby incorporated into and shall become a part of the Agreement. In all
       other respects, the Agreement shall remain unchanged and in full force and effect.


       AGREED TO AND ACCEPTED.



        COUNTY OF LOS ANGELES

                                                       Dated:
        By:
        Title:

        LA ALLIANCE FOR HUMAN RIGHTS

                                                       Dated:
        By:
        Title:

        JOSEPH BURK


                 ~
                                                       Dated:            04/14/2023


        GEORGEFREM

                                                       Dated:


        WENZIAL JARRELL

                                                       Dated:


        CHARLES MALOW

                                                       Dated:


        KARYN PINSKY

                                                       Dated:




       Page 4 of 5




                                                                                      Exhibit B, Page 31
                                                                                                      ER 154
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 206 of 1079

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                                 #:15437




        This Addendum is hereby incorporated into and shall become a part of the Agreement. In all
        other respects, the Agreement shall remain unchanged and in full force and effect.


        AGREED TO AND ACCEPTED.



         COUNTY OF LOS ANGELES

                                                        Dated:
                                                                 - - -- - -- - - -- - -
         By:
         Title:

         LA ALLIANCE FOR HUMAN RIGHTS

                                                        Dated:
         By:
                                                                 - -- - -- -- - -- --
         Title:

         JOSEPH BURK
                                                        Dated: _ _ __ _ _ _ __ _ _ __




          WENZIAL JARRELL

                                                        Dated:
                                                                 -------------

          CHARLES MALOW

                                                        Dated:
                                                                 - - - - - - - - - -- - -

          KARYN PINSKY
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                                                                                    Exhibit B, Page 32
                                                                                                     ER 155
       Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 207 of 1079

Case 2:20-cv-02291-DOC-KES Document 533-2 Filed 04/18/23 Page 10 of 13 Page ID
                                 #:15438




          This Addendum is hereby incorporated into and shall become a part of the Agreement. In all
          other respects, the Agreement shall remain unchanged and in full force and effect.


          AGREED TO AND ACCEPTED.



           COUNTY OF LOS ANGELES

                                                          Dated:
           By:
           Title:

           LA ALLIANCE FOR HUMAN RIGHTS

                                                          Dated:
           By:
           Title:

           JOSEPH BURK

                                                          Dated:


           GEORGEFREM

                                                          Dated:


           WENZIAL JARRELL

              ~'al./4ffd),                                Dated:     Mnn        A pr 17
            CHARLES MALOW

                                                          Dated:


            KARYN PINSKY

                                                          Dated:




           Page 4 of 5




                                                                                         Exhibit B, Page 33
                                                                                                         ER 156
       Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 208 of 1079

Case 2:20-cv-02291-DOC-KES Document 533-2 Filed 04/18/23 Page 11 of 13 Page ID
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      This Addendum is hereby incorporated into and sJ,af'I become a pa11Lof the l\grccmcnt. In ull
      other respects, the Agreement shall remain unchru1ged and in f1:tll fo11oc and1:f'fccf.


      AGRiEED TO AND ACCEPTEO.



       COUNTY OF LOS ANGELES


       By:
       Tjtle:

       LA ALLIANCE FOR HlJ.lY.IAN RIGH'ES

                                                       ;Dated: _   __:,_._.2:_   __._ _ __ _ _ _ _ __

      By:                                                                                               f1,   •



      Title:

       JOSEPHBWK




     . GEORGEFREM




      WENZIA.L JARRELL




      KARYN PINSKY




                                                                                        Exhibit B, Page 34
                                                                                                                  ER 157
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                                 #:15440




        This Addendum is hereby incorporated into and shall become a part of the Agreement. In all
        other respects, the Agreement shall remain unchanged and in full force and effect.


        AGREED TO AND ACCEPTED.



         COUNTY OF LOS ANGELES

                                                        Dated: _ _ __ _ _ __ _ _ _ __
         By:
         Title:

         LA ALLIANCE FOR HUMAN RIGHTS

                                                        Dated: - - -- - - - - -- - - -
         By:
         Title:

         JOSEPH BURK

                                                        Dated: _ __ _ _ _ _ __ _ __ _


         GEORGEFREM

                                                        Dated:


         WENZIAL JARRELL

                                                        Dated:


         CHARLES MALOW

                                                        Dated:


         KARYN PINSKY

           ,~~                                          Dated:    04/ 17/23




        Page 4 of 5




                                                                                    Exhibit B, Page 35
                                                                                                     ER 158
       Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 210 of 1079

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                                 #:15441




          HARRY TASHDJIAN


               ~            -              Dated: _ _   (2_ 4- /vf-   ci>J




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                                                                             Exhibit B, Page 36
                                                                                             ER 159
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         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 212 of 1079

Case 2:20-cv-02291-DOC-KES Document 532 Filed 04/18/23 Page 2 of 2 Page ID #:15405




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         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 213 of 1079

Case 2:20-cv-02291-DOC-KES Document 518 Filed 01/17/23 Page 1 of 9 Page ID #:15303




                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

   Case No: 2:20-cv-02291-DOC-KES                                Date: January 17, 2023

   Title: LA ALLIANCE FOR HUMAN RIGHTS ET AL. V. CITY OF LOS ANGELES ET AL.


  PRESENT: THE HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

                Damon Berry                                      Court Smart
               Courtroom Clerk                                  Court Reporter

          ATTORNEYS PRESENT FOR                         ATTORNEYS PRESENT FOR
                 PLAINTIFF:                                   DEFENDANT:
              Elizabeth Mitchell                               Scott Marcus
              Matthew Umhofer                             Jennifer Mira Hashmall
                                                            Louis "Skip" Miller

   PROCEEDINGS:                HEARING REGARDING COUNTY SETTLEMENT
                               AGREEMENT [485]

          Hearing held in Los Angeles First Street Federal Courthouse, Courtroom 5B. The
   Court recognizes the presence of Mayor Karen Bass, Los Angeles City Council President
   Paul Krekorian, and Chairwoman of the Board of Supervisors Janice Hahn. Also present
   is Judge Andre Birotte, Special Master Michele Martinez, and counsel for intervenor.

          The Court made comments, documented below, in open court regarding the
   County Settlement Agreement (Dkt. 485). Mayor Bass, joined in by Chairwoman Hahn
   and City Council President Krekorian, subsequently requested a private conference, in
   which Judge Birotte and Special Master Martinez were present. Plaintiffs also
   participated.

           Following the conference, the parties represented in open court that, in light of the
   new leadership at the city and county level, they wish to further meet and confer to
   review and amend the terms of the County Settlement Agreement, particularly in relation
   to the number of mental health beds and monitoring. The parties requested, and the Court
   granted, an additional 90 days to do so. The Court’s scheduling order is forthcoming.

   Comments regarding the County Settlement Agreement

           The Court recognizes that it should not be the burden of private citizens to sue
   their elected representatives. Only in times of desperation, anger, and hopelessness are
                                                                                                   ER 162
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 214 of 1079

Case 2:20-cv-02291-DOC-KES Document 518 Filed 01/17/23 Page 2 of 9 Page ID #:15304
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES – GENERAL

    Case No. 2:20-cv-02291-DOC-KES                                         Date: January 17, 2023
                                                                                           Page 2

   lawsuits such as this filed. And this lawsuit was filed out of desperation and fury from
   decades of neglect and inaction.

           This case was first filed in March 2020 by L.A. Alliance—a non-profit
   organization consisting of a broad coalition of Los Angeles stakeholders, including
   unhoused individuals, property owners, and small businesses. At the time, L.A. Alliance
   stated in their Amended and Supplemental Complaint that the homelessness crisis
   “continues and accelerates, with little hope of a City- or County-driven solution. Because
   of the painful results of current policies, and because of the lack of political and
   bureaucratic will to undertake effective and proven means to combat it, the Plaintiffs are
   suffering under the weight of an urgent crisis. Plaintiffs are left with no choice but to
   resort to the courts for relief.” (“Am. & Suppl. Compl.”) (Dkt. 361) ¶ 94.




          Through this litigation, Plaintiffs and the City of Los Angeles entered into a
   settlement agreement in the summer of 2022, without the County joining in. (“City
   Settlement Agreement”) (Dkt. 421-1). The City Settlement Agreement was commendable
   in a number of ways. It contained approximately 24 provisions, each of which had
   detailed subdivisions and specifically defined terms. The City promised 2-3 billion
   dollars to accommodate 12,000 to 14,000 people on the streets.

          The City Settlement Agreement was comprehensive and extensive and, notably,
   held the City accountable by providing that the Court maintain “continuing jurisdiction to
   oversee and enforce this Settlement Agreement,” which included monitoring. City
   Settlement Agreement § 2.

           But there is much more that needs to be done to address the spiraling crisis on our
   streets. The Court recognized that the City Settlement Agreement alone would not solve
   homelessness. In fact, Plaintiffs LA Alliance and the City recognized the same when they
   referenced the County’s responsibilities and “agree[d] to cooperate in ensuring the
   County meets its obligations” of—among other things— “[r]equiring a minimum of 50
   mental health beds per 100,000 people in the County, or more as necessary to ensure
   access to inpatient treatment for PEH in the City and to prevent mentally ill individuals
   from falling into homelessness due to lack of available inpatient treatment.” City
   Settlement Agreement § 11.
                                                                                                    ER 163
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 215 of 1079

Case 2:20-cv-02291-DOC-KES Document 518 Filed 01/17/23 Page 3 of 9 Page ID #:15305
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES – GENERAL

    Case No. 2:20-cv-02291-DOC-KES                                         Date: January 17, 2023
                                                                                           Page 3

          In October 2022, the County filed their settlement agreement (“County Settlement
   Agreement”) (Dkt. 485). The terms of the agreement, as the Court made clear in the last
   hearing, simply fell short of the County’s statutory obligations and the reason that this
   lawsuit was filed in the first place.

           As the newly elected mayor, Mayor Bass is present and making commendable and
   initial efforts to confront this crisis. These may or may not be successful, and whether the
   resulting effects are short-term or long-term remain to be seen. But it appears that the
   inertia is being broken. Efforts are being made in good faith to break down the decades of
   antagonism and non-cooperation between the City of Los Angeles and the County Board
   of Supervisors. Mayor Bass declared a state of emergency and, last week, the County
   Board of Supervisors followed. Hopefully, this will cut bureaucracy, costs, and lead to
   increased housing.

           Mayor Bass also pledged to accommodate 17,000 homeless persons within her
   first year of office. This is a monumental undertaking. The City Settlement Agreement
   eventually would accommodate 12,000-14,000 individuals over a five-year period. It is
   hoped that Mayor Bass and the City Council succeed at a much greater pace than the City
   Settlement Agreement anticipated.

          It has repeatedly been represented to the Court that about 40% of the homeless
   population suffers from mental illness or substance abuse, or a combination of both. See
   e.g., County’s Response to City Settlement Agreement, Ex. 19, Homeless Initiative
   Funding Letter (Dkt. 433-19).




         This division of responsibility for mental health and substance abuse falls to two
   County agencies. The Los Angeles County Department of Mental Health (DMH), with
                                                                                                    ER 164
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 216 of 1079



Case 2:20-cv-02291-DOC-KES Document 518 Filed 01/17/23 Page 4 of 9 Page ID #:15306
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES – GENERAL

    Case No. 2:20-cv-02291-DOC-KES                                         Date: January 17, 2023
                                                                                           Page 4

   interim director Lisa Wong, has responsibility for the County’s mental health needs. The
   Los Angeles County Department of Public Health, under the direction of Dr. Barbara
   Ferrer, has responsibility for substance abuse.

         In the County’s proposal, the County states that “[b]y the end of fiscal year
   2023/2024 (i.e., June 30, 2024), the County shall develop 300 additional substance use
   and mental health beds according to the greatest need as solely determined by the
   County.” County Settlement Agreement § 3.




          In the County’s Statement in Support of its Settlement Agreement, filed this past
   Friday, the County states that its 300 beds “are in addition to the County’s existing supply
   of approximately 8,600 mental health/substance use disorder beds.” County Statement in
   Support of Settlement Agreement (“County Statement”) (Dkt. 514), at 9. The County
   does not cite a source for this “8,600” number.




                                                                                                    ER 165
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 217 of 1079

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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES – GENERAL

    Case No. 2:20-cv-02291-DOC-KES                                     Date: January 17, 2023
                                                                                       Page 5

           In 2019, Dr. Jonathan Sherin, Director of DMH, submitted to the Los Angeles
   County Board of Supervisors a 178-page report addressing the shortage of mental health
   hospital beds in L.A. County. Jonathan E. Sherin, REPORT RESPONSE TO ADDRESSING
   THE SHORTAGE OF MENTAL HEALTH HOSPITAL BEDS (ITEM 8, AGENDA OF JANUARY 22,
   2019), Department of Mental Health (Oct. 29, 2019) (“Report”),
   http://file.lacounty.gov/SDSInter/bos/supdocs/132696.pdf.




                                                                                                ER 166
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 218 of 1079

Case 2:20-cv-02291-DOC-KES Document 518 Filed 01/17/23 Page 6 of 9 Page ID #:15308
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES – GENERAL

    Case No. 2:20-cv-02291-DOC-KES                                   Date: January 17, 2023
                                                                                     Page 6

          The Report is cited in the Amended and Supplemental Complaint. See Am. &
   Suppl. Compl. ¶ 89 & n. 142.




                                                                                              ER 167
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 219 of 1079




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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES – GENERAL

    Case No. 2:20-cv-02291-DOC-KES                                       Date: January 17, 2023
                                                                                         Page 7

           Dr. Sherin concluded and recommended to the Board of Supervisors in 2019 a
   pilot program of 500 state-licensed mental health beds mixed between acute and
   subacute. Report at 4.




          Dr. Sherin also stated the “need to develop nearly 3,000 new subacute beds. And if
   there are unmet needs of the homeless population which are not reflected in these
   estimates, we may need to develop more subacute beds.” Report at 20.




          Dr. Sherin once again stated in the Report: “The estimate of 3,000 additional
   subacute beds needed, for example, is under the status quo scenario where most of these
   factors remain the same.” Report at 27.




                                                                                                  ER 168
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 220 of 1079


Case 2:20-cv-02291-DOC-KES Document 518 Filed 01/17/23 Page 8 of 9 Page ID #:15310
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES – GENERAL

    Case No. 2:20-cv-02291-DOC-KES                                        Date: January 17, 2023
                                                                                          Page 8

        Moreover, Dr. Sherin found that “[r]oughly 25% of adult homeless individuals in
   LA County have a serious mental illness and need care.” Report at 6.




          Whether we’re dealing with Mayor Bass’s efforts to accommodate 17,000
   individuals or the agreement between LA Alliance and the City of Los Angeles to
   accommodate 12,800 individuals, the County’s offer falls short.

         How can 300 beds accommodate the need for 25% of Mayor Bass’s figure—
   which is approximately 4,250 beds for those suffering from severe mental illness? Or
   accommodate 25% of the City Agreement’s figure—which is 3,200 beds? Moreover, the
   County’s offer of 300 beds is over two years and is meant to cover both mental health
   and substance abuse needs.

           The Court is concerned that the County Settlement Agreement lacks concrete
   milestones and accountability. The question of government accountability was first raised
   by Plaintiffs and has been a driving force of this lawsuit. See Am. & Suppl. Compl. ¶ 17
   (“Measure H . . . is spread so thin it serves more to feed the County’s own bureaucracy
   than to make any significant dent in the crisis.”), id. ¶ 83 (“The County also faces tough
   questions about its management of homelessness-related funds.”); id. ¶ 84 (“The problem
   is outpacing the solution and the County has failed to utilize the funds in a manner that
   would effectuate the goal.”); id. ¶ 94 (“[T]he actual result is an astonishing lack of
   progress in addressing the crisis, and continued expansion of the crisis despite such
   efforts and resources, because each is being used in ways that will never solve the
   problem.”).

         The County Settlement Agreement—as it’s written now—is a private settlement. See
   County Settlement Agreement § 9(P)(ii) (providing that, in the event of “breach of this
   Agreement, the Claiming Party may file a notice of breach and request for judicial
   enforcement in the District Court to remedy such alleged breach.”). The County has since
   made clear that the terms are not subject to independent enforcement by the Court. See
   County Statement at 17–18.

                                                                                                   ER 169
            Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 221 of 1079

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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES – GENERAL

       Case No. 2:20-cv-02291-DOC-KES                                                   Date: January 17, 2023
                                                                                                        Page 9

           What is happening out there is a crisis of all kinds—a public safety crisis, a health
   crisis, and a humanitarian crisis—for the homeless, for residents, and for the police and
   sheriff department personnel who are put in a dangerous position when forced to respond
   to circumstances that are not theirs to handle. They are not psychiatrists; they are not
   mental health professionals.

          At the hearing,1 the parties represented to the Court that, in light of the new
   leadership at the city and county level, they wish to further meet and confer to review and
   amend the proposed settlement agreement between the County and Plaintiffs. The parties
   requested, and the Court granted, an additional 90 days to do so.




                                                                                          :         58
                                                                        Initials of Deputy Clerk: DBE




   1
       A transcript of these proceedings has been ordered and will be docketed when available.
                                                                                                                 ER 170
        Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 222 of 1079



Case 2:20-cv-02291-DOC-KES Document 508 Filed 12/05/22 Page 1 of 1 Page ID #:15186




                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

   Case No. LA CV 20-02291-DOC-KES                                   Date: December 5, 2022

   Title: LA ALLIANCE FOR HUMAN RIGHTS ET AL. v. CITY OF LOS ANGELES ET AL.


   PRESENT:

                      THE HONORABLE DAVID O. CARTER, JUDGE

                 Karlen Dubon                                       Not Present
                Courtroom Clerk                                    Court Reporter

         ATTORNEYS PRESENT FOR                         ATTORNEYS PRESENT FOR
               PLAINTIFF:                                   DEFENDANT:
              None Present                                   None Present


         PROCEEDINGS (IN CHAMBERS): ORDER CONTINUING HEARING
                                    REGARDING SETTLEMENT
                                    AGREEMENT

          During the November 14, 2022 hearing, the Court indicated it would continue the
   hearing regarding the settlement agreement. (Dkt. 502). Accordingly, the Court
   CONTINUES the hearing to Tuesday, January 17, 2023, at 9:00 a.m. The Court requests
   the presence of Mayor-elect Karen Bass, Los Angeles City Council President Paul
   Krekorian, and Los Angeles County Supervisor Holly Mitchell.

         The Clerk shall serve this minute order on the parties.


    MINUTES FORM 11                                                    Initials of Deputy Clerk: kdu

    CIVIL-GEN




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         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 223 of 1079

Case 2:20-cv-02291-DOC-KES Document 507 Filed 11/22/22 Page 1 of 2 Page ID #:15184




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         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 224 of 1079

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       Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 225 of 1079

Case 2:20-cv-02291-DOC-KES Document 488 Filed 10/27/22 Page 1 of 3 Page ID #:14863




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       Additional Counsel Listed Below
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  15                            UNITED STATES DISTRICT COURT
  16         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
  17
  18                                                    )   CASE NO. 20-CV-02291-DOC-KES
                                                        )
  19   LA ALLIANCE FOR HUMAN                            )   Hon. David O. Carter
       RIGHTS, et al.                                   )   Courtroom 1
  20                  Plaintiff(s),                     )
                                                        )
  21                  vs.                               )   INTERVENORS’ STATEMENT OF
                                                        )   NON-OPPOSITION TO PLAINTIFFS’
  22   City of Los Angeles, et. al.                     )   AND DEFENDANT COUNTY OF LOS
                                                        )   ANGELES’S SETTLEMENT (Dkt. 485)
  23                      Defendant(s).                 )
                                                        )   Date: November 14, 2022
                                                        )
  24                                                    )   Time: 9:00 a.m.
  25
                                                        )
                                                        )
                                                        )   Complaint Filed: March 10, 2020
  26                                                    )
  27
                                                        )
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                                                        )
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       _____________________________________________________________________________________________________
               _ INTERVENORS’ STATEMENT OF NON-OPPOSITION TO PROPOSED SETTLEMENT




                                                                                                               ER 174
     Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 226 of 1079

Case 2:20-cv-02291-DOC-KES Document 488 Filed 10/27/22 Page 2 of 3 Page ID #:14864



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      ______________________________________________________________________________________________________
              INTERVENORS’ STATEMENT OF NON-OBJECTION TO PROPOSED SETTLEMENT



                                                                                                               ER 175
     Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 227 of 1079

Case 2:20-cv-02291-DOC-KES Document 488 Filed 10/27/22 Page 3 of 3 Page ID #:14865



 1   Pursuant to this Court’s Order Granting Stay and Setting Dates re: Settlement
 2   Agreement (Dkt. 473), Intervenors Los Angeles Community Action Network, Los
 3   Angeles Catholic Worker, and Orange County Catholic Worker respectfully submit
 4   the following statement regarding the proposed “Order granting Stipulation for
 5   Voluntary Dismissal with Prejudice Pursuant to Federal Rule of Civil Procedure
 6
     41(a)(2)” (Dkt. 485-2).
 7
                Intervenors played no part in the negotiations regarding the final terms of the
 8
     settlement agreement between Los Angeles County and Plaintiffs and express no
 9
     views about the veracity of the parties’ recitals regarding those negotiations or this
10
     litigation. Intervenors do not object to the substantive terms of the settlement
11
     agreement.1
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13
14
     Dated: October 27, 2022                           Respectfully submitted,

15
                                                       Legal Aid Foundation of Los Angeles
16                                                     Schonbrun Seplow Harris & Hoffman LLP
17                                                     Law Office of Carol A. Sobel
                                                       Elder Law & Disability Rights Center
18
19
                                                             /s/ Shayla Myers
20                                                     Attorneys for Intervenors
21
22
23
24   1
      Although the parties attempt to characterize the requested order as “granting
25   Stipulation for Voluntary Dismissal with Prejudice Pursuant to Federal Rule of
     Civil Procedure 41(a)(2),” the parties request the Court retain jurisdiction to
26   enforce the terms of the settlement agreement. See Dkt. 485-2. As the County of
27   Los Angeles itself previously noted, “[t]o obtain judicial oversight and jurisdiction
     over that settlement, as Plaintiffs seek, the Court must enter a consent decree.”
28
     County’s Response to Settlement Between Plaintiffs and the City of Los Angeles,
     Dkt. 432 at 4 (citing United States v. Oregon, 913 F.2d 576, 580 (9th Cir. 1990)).
     Likewise, the parties must therefore be requesting the Court enter a consent decree.
         ______________________________________________________________________________________________________
                 INTERVENORS’ STATEMENT OF NON-OBJECTION TO PROPOSED SETTLEMENT



                                                                                                                  ER 176
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                                 #:14844



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 13 Attorneys for Defendant
 14 COUNTY OF LOS ANGELES
 15 [Additional counsel continued on following page.]
 16                            UNITED STATES DISTRICT COURT
 17              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 18
 19 LA ALLIANCE FOR HUMAN                        CASE NO. 2:20-cv-02291 DOC (KES)
 20 RIGHTS, et al.,
                                                 MEMORANDUM OF POINTS AND
 21                   Plaintiffs,                AUTHORITIES IN SUPPORT
                                                 JOINT MOTION FOR AN ORDER
 22              v.                              TO SHOW CAUSE RE: DISMISSAL
                                                 OF GARY WHITTER’S CLAIMS
 23 CITY OF LOS ANGELES, et al.,                 PURSUANT TO F.R.C.P. 41(B) AND
 24                                              L.R. 41-1, 41-5, AND 41-6
              Defendants.
 25                                              Date: November 14, 2022
                                                 Time: 8:30 a.m.
 26
 27                                              Assigned to the Hon. David O. Carter
                                                 and Magistrate Judge Karen E. Scott
 28
      577785.4
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT JOINT MOTION FOR AN ORDER TO
                      SHOW CAUSE RE: DISMISSAL OF GARY WHITTER’S CLAIMS

                                                                                         ER 177
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                                 #:14845



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      577785.4                                 2
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT JOINT MOTION FOR AN ORDER TO
                      SHOW CAUSE RE: DISMISSAL OF GARY WHITTER’S CLAIMS

                                                                                         ER 178
          Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 230 of 1079

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                                 #:14846



  1 I.           INTRODUCTION
  2              The County of Los Angeles (“County”) and City of Los Angeles (“City” and,
  3 together with County, “Defendants”) have entered into case-dispositive settlement
  4 agreements with all of the Plaintiffs in this action except Gary Whitter. Mr. Whitter
  5 has been pro se since July 22, 2022 when the Court granted Spertus, Landes &
  6 Umhofer, LLP’s (“Plaintiffs’ counsel”) ex parte application to withdraw as
  7 Mr. Whitter’s attorney due to a prolonged inability to communicate with him. [Dkt.
  8 458.] Since the withdrawal of Plaintiffs’ counsel, Mr. Whitter has not appeared or
  9 otherwise participated in this action. [See Dkts. 369, 370.] As all of the other
 10 parties have resolved the claims asserted, the interests of finality and the
 11 conservation of court resources and public funds favor the dismissal of
 12 Mr. Whitter’s claims against Defendants (which are also subject to pending Motions
 13 to Dismiss). Defendants therefore respectfully request that the Court exercise its
 14 authority under Federal Rule of Civil Procedure 41(b) and Local Rules 41-1, 41-5,
 15 and 41-6, order Mr. Whitter to show cause within 30 days why his claims should not
 16 be dismissed for lack of prosecution, and, if Mr. Whitter fails to show cause within
 17 the time allotted, dismiss his claims and enter final judgment in this case.
 18 II.          MR. WHITTER’S LACK OF PROSECUTION
 19              In Plaintiffs’ First Amended and Supplemental Complaint (“FAC”) [Dkt.
 20 358], Mr. Whitter was party to eight of the thirteen claims alleged against the City
 21 and County, which the City and County moved to dismiss in full.1 [See Dkts. 369,
 22 370.] Defendants’ motions are fully briefed and were argued in January 2022.
 23 [Dkt. 390.]
 24
 25
 26   1
     Two additional claims were brought by Plaintiff LA Alliance for Human Rights, of
 27 which Mr. Whitter is a member. [See FAC ¶ 96 (“All individual plaintiffs herein are
 28 members of the Alliance.”).]
      577785.4                                    3
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT JOINT MOTION FOR AN ORDER TO
                      SHOW CAUSE RE: DISMISSAL OF GARY WHITTER’S CLAIMS

                                                                                             ER 179
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  1              In April 2022, Plaintiffs and the City notified the Court that they had reached
  2 a preliminary settlement agreement that they intended to “fully resolve this case as
  3 to [the] City.” [Dkt. 408.] However, Mr. Whitter never joined the settlement
  4 agreement that the other Plaintiffs finalized with the City. [Dkt. 429-1.] The Court
  5 dismissed the claims of all Plaintiffs except for Mr. Whitter against the City
  6 pursuant to that agreement. [Dkt. 445.]
  7              However, it was revealed shortly thereafter that Plaintiffs’ counsel had been
  8 unable to obtain Mr. Whitter’s consent to the agreement because Mr. Whitter had
  9 ceased contact with his attorneys. Following the City settlement, Plaintiffs’ counsel
 10 filed an ex parte application for an order to withdraw as Mr. Whitter’s counsel of
 11 record. [Dkt. 450.] As “good cause” for the application, Plaintiffs’ counsel
 12 explained that its representation of Mr. Whitter was “compromised by [counsel’s]
 13 inability to communicate with Mr. Whitter,” who “failed to provide [Plaintiffs’
 14 counsel] with his current phone number or address” and “made no efforts to keep
 15 [Plaintiffs’ counsel] informed of his whereabouts.” [Id.] In the accompanying
 16 declarations submitted by Plaintiffs’ counsel in support of the application, Plaintiffs’
 17 counsel detailed the efforts she undertook to contact Mr. Whitter, including:
 18                   “call[ing] Mr. Whitter at least 20 times, and le[aving] voicemails” at “a
                       number that [she] . . . previously used to talk to him”;
 19
                      “email[ing] him several times” at his “last known email address and all
 20                    other email addresses that could be found”;
 21                   “contact[ing] Mr. Whitter’s last known address”;
 22                   sending “hard copy letters” to “two new addresses” located by
                       Plaintiffs’ counsel through “a People search on Westlaw” as potentially
 23                    affiliated with Mr. Whitter;
 24                   “conduct[ing] a search on the Los Angeles County Sheriff’s
                       Department and Coroner’s websites”; and
 25
                      “messag[ing] Mr. Whitter” through an “account belonging to Mr.
 26                    Whitter on a social media site”; and
 27                   “engag[ing] . . . a private investigator.”
 28
      577785.4                                        4
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT JOINT MOTION FOR AN ORDER TO
                      SHOW CAUSE RE: DISMISSAL OF GARY WHITTER’S CLAIMS

                                                                                                   ER 180
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                                 #:14848



  1 [Dkt. 450-1 ¶¶ 3–8 (Declaration of Elizabeth A. Mitchell in Support of Ex Parte
  2 Application to Withdraw as Counsel).] Mr. Whitter never responded to Plaintiffs’
  3 counsel’s calls, e-mails, letters, or messages. [Id. ¶¶ 4–6, 8.] Mr. Whitter had not
  4 otherwise communicated with Plaintiffs’ counsel about his whereabouts nor were
  5 Plaintiffs’ counsel or the private investigator successful in contacting Mr. Whitter.
  6 [Id. ¶¶ 5, 7, 9.; Dkt 450-2 (Declaration of Paul Bonin) (explaining private
  7 investigators’ unsuccessful efforts to locate Mr. Whitter through exhaustive research
  8 or by contacting associates and family members).]
  9         The Plaintiffs other than Mr. Whitter filed a Second Amended Complaint
 10 against the County [Dkt. 454] before reaching a settlement with the County that
 11 resolves their claims. [Dkt. 467.] Both the City and County settlements were
 12 covered by local news. (Declaration of Mira Hashmall ¶ 5.) The only thing that
 13 will remain pending after the Court dismisses the remaining Plaintiffs’ claims
 14 against the County pursuant to their settlement are Mr. Whitter’s claims against the
 15 City and County from the FAC, which are subject to pending motions to dismiss.
 16 III.    THE COURT SHOULD DISMISS THIS CASE
 17         Courts have the inherent power to control their dockets, including by
 18 dismissing cases where a plaintiff has refused to prosecute or to comply with
 19 procedural rules or the court’s orders. Pagtalunan v. Galaza, 291 F.3d 639, 640
 20 (9th Cir. 2002); see Link v. Wabash R.R. Co., 370 U.S. 626, 630–32 (1962) (the
 21 “authority of a federal trial court to dismiss a plaintiff’s action with prejudice
 22 because of his failure to prosecute cannot seriously be doubted”). Federal Rule of
 23 Civil Procedure 41(b) states that “[i]f [a] plaintiff fails to prosecute or comply with
 24 these rules or a court order, a defendant may move to dismiss the action or any
 25 claim against it.” The Local Rules for this District also authorize courts to dismiss
 26 for “want of prosecution” (a) “[c]ivil suits which have been pending for an
 27 unreasonable period of time without any action having been taken therein . . . , after
 28 notice”; (b) “[i]f a party, without notice to the Court, fails to appear at [a] noticed
    577785.4                                     5
        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT JOINT MOTION FOR AN ORDER TO
                    SHOW CAUSE RE: DISMISSAL OF GARY WHITTER’S CLAIMS

                                                                                              ER 181
       Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 233 of 1079

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                                 #:14849



  1 call of any action or proceeding,” and (c) where a “pro se party has not filed a notice
  2 of change of address within 14 days of the service date of the order or other Court
  3 document.” L.R. 41-1, 41-5, & 41-6.
  4        Dismissal of unprosecuted cases is considered “necessary in order to prevent
  5 undue delays in the disposition of pending cases and to avoid congestion in the
  6 calendars of the District Courts.” Link, 370 U.S. at 629-30. In determining whether
  7 dismissal is appropriate, courts consider “(1) the public’s interest in expeditious
  8 resolution of litigation; (2) the court’s need to manage its docket; (3) the risk of
  9 prejudice to defendants/respondents; (4) the availability of less drastic alternatives;
 10 and (5) the public policy favoring disposition of cases on their merits.” Pagtalunan,
 11 291 F.3d at 642.
 12        A district court should dismiss “where at least four factors support dismissal,
 13 … or where at least three factors ‘strongly’ support dismissal. Yourish v. California
 14 Amplifier, 191 F.3d 983, 990 (9th Cir. 1999). Here, however, all factors support
 15 dismissal.
 16        1.     Public Interest: “[T]he public’s interest in expeditious resolution of
 17 litigation always favors dismissal” of unprosecuted claims, particularly where public
 18 entities are involved. Id. The Ninth Circuit has held that this factor favors dismissal
 19 where the plaintiff has failed to pursue a case for four months. Pagtalunan, 291
 20 F.3d at 642. Here, Mr. Whitter has been incommunicable for at least six months,
 21 during which time all other parties have settled the case. This factor therefore
 22 favors the dismissal of Mr. Whitter’s claims.
 23        2.     Court Docket: A plaintiff’s “inaction hinders the Court’s ability to
 24 move th[e] case toward disposition and indicates that Plaintiff does not intend to
 25 litigate th[e] action diligently.” Croaker v. Hsing, 2016 WL 3135652, at *3 (C.D.
 26 Cal. Apr. 25, 2016), report and recommendation adopted, 2016 WL 3129606 (C.D.
 27 Cal. May 31, 2016); Sanders v. AHMS Inc., 2012 WL 13005957, at *2 (C.D. Cal.
 28 Feb. 28, 2012). Where a plaintiff is inattentive or nonresponsive, this factor also
    577785.4                                   6
        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT JOINT MOTION FOR AN ORDER TO
                    SHOW CAUSE RE: DISMISSAL OF GARY WHITTER’S CLAIMS

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                                 #:14850



  1 weighs in favor of dismissal. Sanders, 2012 WL 13005957, at *2; Curten v. Quality
  2 Loan Serv. Co., No. CV1407934MMMPJWX, 2015 WL 13915781, at *3 (C.D. Cal.
  3 Oct. 7, 2015).
  4         Here, continuing this case would not serve the Court’s interests in judicial
  5 economy and management of its docket. This case has already been pending for
  6 over two years. Should the case proceed after all other Parties reached settlement
  7 agreements, the Court would have to expend its limited resources resolving
  8 Defendants’ Motions to Dismiss and holding conferences related to discovery.
  9 Those resources are not well spent in an action where the only remaining plaintiff
 10 has been nonresponsive for over six months and has never indicated an intent to
 11 prosecute this case pro se. This factor, too, thus weighs in favor of dismissal.
 12         3.     Prejudice to Defendants: “A defendant suffers prejudice if the
 13 plaintiff’s actions impair the defendant’s ability to go to trial or threaten to interfere
 14 with the rightful decision of the case.” Adriana Int’l Corp. v. Thoeren, 913 F.2d
 15 1406, 1412 (9th Cir. 1990). Prejudice may consist of loss of evidence and memory,
 16 as well as the costs or burdens of litigation. In re Phenylpropanolamine (PPA)
 17 Prod. Liab. Litig., 460 F.3d 1217, 1228 (9th Cir. 2006). A plaintiff’s failure to
 18 prosecute gives rise to a presumption of prejudice to the defendant that “is sufficient
 19 by itself to justify dismissal, even in the absence of a showing of actual prejudice to
 20 the defendant from the failure.” In re Eisen, 31 F.3d 1447, 1452 (9th Cir. 1994)
 21 (quoting Anderson v. Air W., Inc., 542 F.2d 522, 524 (9th Cir. 1976)).
 22         Mr. Whitter’s failure to prosecute this action significantly hampers
 23 Defendants’ ability to defend themselves in this case. From the allegations in the
 24 FAC, Mr. Whitter is challenging allegedly wrongful conduct and injuries that
 25 occurred decades ago, before he was admitted into housing at the Union Rescue
 26 Mission in March 2019. (FAC ¶ 149.) Mr. Whitter’s allegations of ongoing harm
 27 include encountering sidewalk blockages, crime, and harassment in or near
 28 Skid Row. (Id. ¶ 150.) Defendants are already in the difficult position of locating
    577785.4                                7
        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT JOINT MOTION FOR AN ORDER TO
                    SHOW CAUSE RE: DISMISSAL OF GARY WHITTER’S CLAIMS

                                                                                                 ER 183
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  1 witnesses who may be unavailable, but that difficulty is compounded exponentially
  2 by the inherently transient nature of the activity Mr. Whitter claims damaged him.
  3 Meanwhile, Defendants are public entities and have already incurred significant fees
  4 and costs in connection with this litigation. Defendants have entered into case-
  5 dispositive settlement agreements with the other Plaintiffs. Defendants have no
  6 reason to believe Mr. Whitter would not have joined those agreements had he been
  7 in communication with his counsel.
  8         4.    Availability of Alternatives: A court’s warning to a party that his
  9 failure to obey the court’s order will result in dismissal satisfies the “consideration
 10 of alternatives” requirement. Ferdik, 963 F.2d at 1262; Malone v. U.S. Postal Serv.,
 11 833 F.2d 128, 131 (9th Cir. 1987); Henderson v. Duncan, 779 F.2d 1421, 1424 (9th
 12 Cir. 1986). The Court’s issuance of an order to show cause, following Defendants’
 13 motion for such relief, discharges the Court’s obligation to consider alternatives
 14 prior to dismissing Mr. Whitter’s claims. In re PPA Prod. Liab., 460 F.3d at 1228-
 15 29.
 16         5.    Public Policy: Although the public policy favoring disposition of
 17 cases on their merits generally weighs against dismissal, “this factor ‘lends little
 18 support’ to a party whose responsibility it is to move a case toward disposition on
 19 the merits but whose conduct impedes progress in that direction.” In re PPA Prod.
 20 Liab., 460 F.3d 1217 (citing In re Exxon Valdez, 102 F.3d 429, 433 (9th Cir. 1996)).
 21 This is because “it is the responsibility of the moving party to move towards [a]
 22 disposition at a reasonable pace.” Morris v. Morgan Stanley & Co., 942 F.2d 648,
 23 652 (9th Cir. 1991).
 24         Mr. Whitter has been absent from this litigation for at least six months. He
 25 has never appeared in this case other than through the attorneys who have since
 26 withdrawn from representation due to their inability to communicate with him.
 27 Since the City and County have settled with all other Plaintiffs, Mr. Whitter’s lack
 28 of communication or participation will prevent this case from proceeding and force
    577785.4                                 8
        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT JOINT MOTION FOR AN ORDER TO
                    SHOW CAUSE RE: DISMISSAL OF GARY WHITTER’S CLAIMS

                                                                                              ER 184
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  1 this Court to expend resources resolving Defendants’ motions to dismiss.
  2 Therefore, the Court should find this factor also favors dismissal.
  3 IV.          CONCLUSION
  4              For the foregoing reasons, Defendants respectfully request that the Court
  5 issue an Order (a) requiring Mr. Whitter to show cause within 30 days why the
  6 instant action should not be dismissed with prejudice for lack of prosecution, and
  7 (b) if no cause is shown within 30 days, dismissing Mr. Whitter’s claims against
  8 Defendants and directing the Clerk to promptly enter judgment and close this case.
  9
 10 DATED: October 17, 2022                   MILLER BARONDESS, LLP
 11
 12
                                              By:           /s/ Mira Hashmall
 13
                                                        MIRA HASHMALL
 14                                                     Attorneys for Defendant
 15                                                     COUNTY OF LOS ANGELES

 16
 17 DATED: October 17, 2022                   CITY ATTORNEY’S OFFICE
 18
 19
                                              By:           /s/ Scott Marcus
 20
                                                        SCOTT MARCUS
 21                                                     Attorneys for Defendant
 22                                                     CITY OF LOS ANGELES

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      577785.4                                      9
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT JOINT MOTION FOR AN ORDER TO
                      SHOW CAUSE RE: DISMISSAL OF GARY WHITTER’S CLAIMS

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   1                                         ATTESTATION
   2              I attest that concurrence in the filing of this document has been obtained from
   3 each of the other signatories who are listed on the signature pages.
   4
   5 DATED: October 17, 2022                    MILLER BARONDESS, LLP
   6
   7
                                                By:        /s/ Mira Hashmall
   8
                                                       MIRA HASHMALL
   9                                                   Attorneys for Defendant
  10                                                   COUNTY OF LOS ANGELES

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           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT JOINT MOTION FOR AN ORDER TO
                       SHOW CAUSE RE: DISMISSAL OF GARY WHITTER’S CLAIMS

                                                                                                    ER 186
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                                                                   Case 2:20-cv-02291-DOC-KES Document 485 Filed 10/17/22 Page 1 of 4 Page ID #:14819



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                                                                                  16
                                                                                                               CENTRAL DISTRICT OF CALIFORNIA
                                                                                  17
                                                                                  18
                                                                                  19      LA ALLIANCE FOR HUMAN                     CASE NO. 2:20-CV-02291-DOC-KES
                                                                                          RIGHTS, et al.,
                                                                                  20                   Plaintiffs,                  Assigned to Judge David O. Carter
                                                                                  21            v.
                                                                                  22                                                STIPULATION FOR VOLUNTARY
                                                                                          CITY OF LOS ANGELES, et al.,              DISMISSAL WITH PREJUDICE
                                                                                  23                                                PURSUANT TO FEDERAL RULE
                                                                                                                                    OF CIVIL PROCEDURE 41(a)(2)
                                                                                  24                   Defendants.

                                                                                  25
                                                                                  26
                                                                                  27
                                                                                  28

                                                                                              STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE
                                                                                              PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(2)
                                                                                                                                                                        ER 187
                                                                                  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 239 of 1079

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                                                                                             STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE
                                                                                             PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(2)
                                                                                                                                                              ER 188
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                                                                                  1     TO THE COURT, ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF
                                                                                  2     RECORD:
                                                                                  3           PLEASE TAKE NOTICE that Plaintiffs LA Alliance for Human Rights,
                                                                                  4     Joseph Burk, Harry Tashdjian, Wenzial Jarrell, Karen Pinsky, Charles Malow, and
                                                                                  5     George Frem (“Plaintiffs”) and Defendant County of Los Angeles (“County”) have
                                                                                  6     reached a settlement in the above-captioned case. Pursuant to Federal Rule of Civil
                                                                                  7     Procedure 41(a)(2), Plaintiffs hereby request an order dismissing this action against
                                                                                  8     the County with regard to all claims in their entirety, with prejudice, and request this
                                                                                  9     Court retain jurisdiction for purposes of enforcing their agreement until the end of
                                                                                  10    fiscal year 2026/2027 (i.e., June 30, 2027). A copy of the settlement agreement is
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  11    attached hereto as Exhibit 1.
Spertus, Landes & Umhofer, LLP
                                        1990 SOUTH BUNDY DR., SUITE 705




                                                                                  12          Rule 41(a)(2) permits a plaintiff to seek a voluntary dismissal by court order if
                                            LOS ANGELES. CA 90025




                                                                                  13    dismissal is no longer available as of right under Rule 41(a)(1)(A)(i). Because the
                                                                                  14    County has served an answer [Dkt. 320], a court order is required for Plaintiffs to
                                                                                  15    dismiss their claims against the County. See Fed. R. Civ. P. 41(a)(1) (a “plaintiff may
                                                                                  16    dismiss an action without a court order by filing . . . a notice of dismissal before the
                                                                                  17    opposing party serves either an answer” or “a stipulation of dismissal signed by all
                                                                                  18    parties who have appeared”).1 A request for voluntary dismissal should be denied
                                                                                  19    only when the defendant will suffer “plain legal prejudice.” Waller v. Financial
                                                                                  20    Corp. of Am., 828 F.2d 579, 583 (9th Cir. 1987). The County will suffer no legal
                                                                                  21    prejudice because the County consents to Plaintiffs’ request for dismissal, which is
                                                                                  22    submitted by Plaintiffs as a condition of the settlement reached between the County
                                                                                  23    and Plaintiffs.
                                                                                  24          Rule 41(a)(2) provides that the trial court may impose terms and conditions on
                                                                                  25    an order of voluntary dismissal. Fed. R. Civ. P. 41(a)(2). The purpose of this rule is
                                                                                  26
                                                                                  27
                                                                                              1
                                                                                               The parties are also unable to obtain consent to a stipulated dismissal from
                                                                                  28    Gary Whitter, who has been incommunicable for months, as explained in Plaintiffs’
                                                                                        counsel’s July 11, 2022 Ex Parte Application to Withdraw as Counsel. [Dkt. 450.]
                                                                                                                                  1
                                                                                              STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE
                                                                                              PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(2)
                                                                                                                                                                                   ER 189
                                                                                       Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 241 of 1079

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                                                                                  1     to protect the defendant from prejudice. See Cross v. Westchester Dev. Corp. V
                                                                                  2     Chiulli, 887 F.2d 431, 432 (2nd Cir. 1989); McCall-Bey v. Franzen, 777 F.2d 1178,
                                                                                  3     1183-84 (7th Cir. 1985). Because the County will not be prejudiced in any way by
                                                                                  4     the requested order, there is no need to impose any conditions to the order granting
                                                                                  5     dismissal. Moreover, the parties’ settlement agreement provides for the allocation of
                                                                                  6     costs and attorneys' fees.
                                                                                  7                                        CONCLUSION
                                                                                  8           For the foregoing reasons, Plaintiffs and the County respectfully request that
                                                                                  9     the Court enter an order dismissing Plaintiffs’ claims against the County with
                                                                                  10    prejudice and retaining jurisdiction for purposes of enforcing their agreement until
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  11    the end of fiscal year 2026/2027 (i.e., June 30, 2027).
Spertus, Landes & Umhofer, LLP
                                        1990 SOUTH BUNDY DR., SUITE 705




                                                                                  12
                                            LOS ANGELES. CA 90025




                                                                                  13    Dated: October 17, 2022          Respectfully submitted,
                                                                                  14
                                                                                  15                                     /s/ Elizabeth A. Mitchell
                                                                                                                         SPERTUS, LANDES & UMHOFER, LLP
                                                                                  16                                     Elizabeth A. Mitchell
                                                                                  17                                     Attorneys for Plaintiffs
                                                                                  18                                     The other signatories listed, and on whose behalf the
                                                                                                                         filing is submitted, concur in the filing’s content and
                                                                                  19                                     have authorized the filing.
                                                                                  20
                                                                                  21    Dated: October 17, 2022          /s/ Louis R. Miller
                                                                                                                         MILLER | BARONDESS LLP
                                                                                  22                                     Mira Hashmall
                                                                                  23                                     Attorneys for Defendant County of Los Angeles
                                                                                  24
                                                                                  25
                                                                                  26
                                                                                  27
                                                                                  28
                                                                                                                      2
                                                                                              STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE
                                                                                              PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(2)
                                                                                                                                                                               ER 190
  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 242 of 1079

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                                 #:14823




                                                                                ER 191
  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 243 of 1079

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                                 #:14824




                                                                                ER 192
  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 244 of 1079

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                                 #:14825




                                                                                ER 193
  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 245 of 1079

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                                 #:14826




                                                                                ER 194
  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 246 of 1079

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                                 #:14827




                                                                                ER 195
  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 247 of 1079

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                                 #:14828




                                                                                ER 196
  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 248 of 1079

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                                 #:14829




                                                                                ER 197
  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 249 of 1079

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                                 #:14830




                                                                                ER 198
  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 250 of 1079

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                                 #:14831




                                                                                ER 199
   Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 251 of 1079

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                                 #:14832




                                                                                 ER 200
   Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 252 of 1079

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                                 #:14833




                                                                                 ER 201
   Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 253 of 1079

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                                 #:14834




                                                                                 ER 202
   Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 254 of 1079

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                                 #:14835




                                                                                 ER 203
   Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 255 of 1079

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                                                                                 ER 204
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 256 of 1079



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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL


   Case No. LA CV 20-02291-DOC-KES                                Date: September 27, 2022

   Title: LA ALLIANCE FOR HUMAN RIGHTS ET AL. v. CITY OF LOS ANGELES ET AL.


   PRESENT:

                      THE HONORABLE DAVID O. CARTER, JUDGE

                  Karlen Dubon                                   Not Present
                 Courtroom Clerk                                Court Reporter

         ATTORNEYS PRESENT FOR                         ATTORNEYS PRESENT FOR
               PLAINTIFF:                                   DEFENDANT:
              None Present                                   None Present




          PROCEEDINGS (IN CHAMBERS): ORDER GRANTING STAY AND
                                     SETTING DATES RESETTLEMENT
                                     AGREEMENT


          On September 26, 2022, the parties submitted a Second Stipulation to Stay
   Proceedings Due to Settlement, along with a preliminary settlement terms sheet. (Dkt.
   471). In this renewed request, the parties ask the Court to “continue all deadlines and stay
   proceedings through November 15, 2022” so that they may “draft their agreement and
   obtain all necessary client approvals.” (Dkt. 471).

          Having read and considered the parties’ request, and to ensure the efficient and
   expedient resolution of this matter, the Court hereby ORDERS the parties to submit a
   proposed settlement agreement by October 17, 2022—thirty (30) days from the date the
   parties originally notified the Court of their pending settlement (Dkt. 467).


                                                                                                  ER 205
         Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 257 of 1079




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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

    Case No. LA CV 20-02291-DOC-KES                                      Date: September 27, 2022

                                                                                          Page 2

          The Court further GRANTS the request to stay proceedings through November
   15, 2022, and SETS the following dates regarding the settlement agreement:

                 The Court invites any party and the public to submit comments or
                 objections to the settlement agreement by October 27, 2022.

                 Responses are due November 2, 2022.

                 Hearing regarding the settlement agreement is set for November 14, 2022,
                 at 9:00 AM.


          The Clerk shall serve this minute order on the parties.


           MINUTES FORM 11                                          Initials of Deputy Clerk: kdu

           CIVIL-GEN




                                                                                                    ER 206
                                                                                            Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 258 of 1079

                                                                     Case 2:20-cv-02291-DOC-KES Document 455 Filed 07/15/22 Page 1 of 2 Page ID #:14577



                                                                                        1    SPERTUS, LANDES & UMHOFER, LLP
                                                                                             Matthew Donald Umhofer (SBN 206607)
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                                                                                             Telephone: (213) 205-6520
                                                                                        4    Facsimile: (213) 205-6521
                                                                                             mumhofer@spertuslaw.com
                                                                                        5    emitchell@spertuslaw.com
                                                                                        6    Attorneys for Plaintiffs
                                                                                        7
                                                                                        8                               UNITED STATES DISTRICT COURT
                                                                                        9                          CENTRAL DISTRICT OF CALIFORNIA
                                                                                       10
                                                                        310-826-4711




                                                                                       11      LA ALLIANCE FOR HUMAN                        CASE NO. 2:20-CV-02291-DOC-KES
                           LLP LLP




                                                                                               RIGHTS, et al.,
                                                                 310-826-4711
                                                                    SUITE 705




                                                                                       12
                     & Umhofer,
                                                             . CA 90025




                                                                                                                                            Assigned to Judge David O. Carter
                                                              FACSIMILE
                                                               DR.,705




                                                                                       13
                & Umhofer,




                                                                                                            Plaintiffs,
                                                         R., SUITE
                                                      . CA 90025
                                                       FACSIMILE
                                                        DUNDY




                                                                                       14
                                               LOS ANGELES
                                              310-826-4700;




                                                                                                     v.                                     CLARIFYING STATEMENT
              Landes
                                                  UNDY B




                                                                                                                                            REGARDING GARY WHITTER
                                                BOUTH
                                         LOS ANGELES
                                        310-826-4700;




                                                                                       15
         Landes
                                           OUTH S




                                                                                               CITY OF LOS ANGELES, et al.,
     Spertus,
                                     1990 S1990

                                    TELEPHONE




                                                                                       16
Spertus,

                              TELEPHONE




                                                                                       17                   Defendants.
                                                                                       18
                                                                                       19
                                                                                                   TO THE HONORABLE COURT, AND TO ALL PARTIES AND THEIR
                                                                                       20
                                                                                             ATTORNEYS OF RECORD:
                                                                                       21
                                                                                                   On June 23, 2022 this court issued an order requiring Plaintiffs to file an
                                                                                       22
                                                                                             amended complaint, if any, on or before July 15, 2022. (ECF No. 449.)
                                                                                       23
                                                                                                   On July 11, 2022, counsel for Plaintiffs, Spertus, Landes, and Umhofer LLP
                                                                                       24
                                                                                             (SLU) filed an ex parte application to be relieved as counsel for Plaintiff Gary
                                                                                       25
                                                                                             Whitter because Mr. Whitter has failed to keep in contact with SLU, and SLU,
                                                                                       26
                                                                                             despite best efforts, cannot locate Mr. Whitter. This has prevented SLU from
                                                                                       27
                                                                                             effectively representing Mr. Whitter. (ECF No. 450.) The court has not yet ruled on
                                                                                       28
                                                                                             this ex parte application.
                                                                                                                                        1
                                                                                                       CLARIFYING STATEMENT REGARDING GARY WHITTER

                                                                                                                                                                                   ER 207
                                                                                 Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 259 of 1079

                                                            Case 2:20-cv-02291-DOC-KES Document 455 Filed 07/15/22 Page 2 of 2 Page ID #:14578



                                                                             1          On July 15, 2022 Plaintiffs LA Alliance, Joseph Burk, George Frem, Wenzial
                                                                             2    Jarrell, Charles Malow, Karyn Pinsky, and Harry Tashdjian filed their Second
                                                                             3    Amended and Supplemental Complaint pursuant to this court’s order. This complaint
                                                                             4    was not filed on behalf of Plaintiff Gary Whitter because counsel for Plaintiffs has
                                                                             5    still had no contact from Mr. Whitter and therefore cannot file an amended complaint
                                                                             6    on his behalf. (ECF No. 454.)
                                                                             7          Spertus, Landes, and Umhofer LLP continues to act to the best of its ability to
                                                                             8    protect Mr. Whitter’s interests until such time as they are relieved as counsel. Should
                                                                             9    Mr. Whitter contact SLU, SLU will notify the court immediately.
                                                                            10
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11                                             Respectfully submitted,
Spertus, Landes & Umhofer, LLP
                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12
                                      LOS ANGELES. CA 90025




                                                                            13    Dated: July 15, 2022                     /s/ Elizabeth A. Mitchell
                                                                                                                              SPERTUS, LANDES & UMHOFER, LLP
                                                                            14                                                Matthew Donald Umhofer (SBN 206607)
                                                                                                                              Elizabeth A. Mitchell (SBN 251139)
                                                                            15
                                                                                                                             Attorneys for Plaintiffs
                                                                            16
                                                                            17
                                                                            18
                                                                            19
                                                                            20
                                                                            21
                                                                            22
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                                                                                                                             2
                                                                                            CLARIFYING STATEMENT REGARDING GARY WHITTER

                                                                                                                                                                         ER 208
                                                                             Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 260 of 1079

                                                                            Case 2:20-cv-02291-DOC-KES Document 454 Filed 07/15/22 Page 1 of 81 Page ID
                                                                                                            #:14496


                                                                              1   SPERTUS, LANDES & UMHOFER, LLP
                                                                                  Matthew Donald Umhofer (SBN 206607)
                                                                              2   Elizabeth A. Mitchell (SBN 251139)
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                                                                              4   Facsimile: (213) 205-6521
                                                                                  mumhofer@spertuslaw.com
                                                                              5   emitchell@spertuslaw.com
                                                                              6
                                                                                  Attorneys for Plaintiffs LA ALLIANCE, JOSEPH BURK, GEORGE FREM,
                                                                              7   WENZIAL JARRELL, CHARLES MALOW, KARYN PINSKY, AND HARRY
                                                                                  TASHDJIAN
                                                                              8
                                                                              9                     UNITED STATES DISTRICT COURT
                                                                             10                    CENTRAL DISTRICT OF CALIFORNIA
                                                                             11
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  LA ALLIANCE FOR HUMAN                  Case No. 2:20-cv-02291
Spertus, Landes & Umhofer, LLP




                                                                             12   RIGHTS, a non-profit corporation,
                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                                  JOSEPH BURK, GEORGE FREM,
                                      LOS ANGELES, CA 90025




                                                                             13   WENZIAL JARRELL, CHARLES               SECOND AMENDED AND
                                                                                  MALOW, KARYN PINSKY,                   SUPPLEMENTAL COMPLAINT
                                                                             14   LEANDRO SUAREZ, HARRY                  FOR:
                                                                                  TASHDJIAN, CHARLES VAN
                                                                             15   SCOY, and GARY WHITTER,                (1) Violation of Mandatory Duty
                                                                                  individuals,                              (Cal. Gov’t Code § 815.6; Welf.
                                                                             16                                             & Inst. Code § 17000)
                                                                                                    Plaintiffs,          (2) Violation of Cal. Civ. Code §
                                                                             17                                             3490, et seq.; 3501, et seq.
                                                                                        v.                               (3) Inverse
                                                                             18                                             Condemnation/Violation of
                                                                                  CITY OF LOS ANGELES, a                    Art. I § 19 of California
                                                                             19   municipal entity; COUNTY OF LOS           Constitution
                                                                                  ANGELES, a municipal entity; and       (4) Waste of Public Funds and
                                                                             20   DOES 1 through 200 inclusive,             Resources (Cal. Civ. Proc.
                                                                                                                            Code § 526a)
                                                                             21                     Defendants.          (5) Violation of Due Process and
                                                                                                                            Equal Protection (42 U.S.C. §
                                                                             22                                             1983; U.S. Const. amend.
                                                                                                                            V/XIV)
                                                                             23                                          (6) Violation of Due Process –
                                                                                                                            State Created Danger Doctrine
                                                                             24                                             (42 U.S.C. § 1983; U.S. Const.
                                                                                                                            amend XIV)
                                                                             25                                          (7) Uncompensated Taking (42
                                                                                                                            U.S.C. § 1983; U.S. Const.
                                                                             26                                             amend. V/XIV)
                                                                             27
                                                                             28


                                                                                         SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                              ER 209
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 261 of 1079

                                                                            Case 2:20-cv-02291-DOC-KES Document 454 Filed 07/15/22 Page 2 of 81 Page ID
                                                                                                            #:14497


                                                                              1                                   INTRODUCTION
                                                                              2         1.      Over two years after this case was filed, and after hundreds of
                                                                              3   millions of dollars have poured into Los Angeles through federal and state
                                                                              4   pandemic relief, the devastation on the streets and the impact on both the housed
                                                                              5   and unhoused communities have only gotten worse. LA Alliance for Human
                                                                              6   Rights—of which both housed and unhoused are members—and Plaintiffs named
                                                                              7   herein filed this lawsuit to change the trajectory of the homelessness for the
                                                                              8   benefit of both communities.
                                                                              9         2.      In the face of this lawsuit challenging its handling of the homeless
                                                                             10   crisis, the City has stepped up—it has agreed to provide shelter and housing to
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                             11   thousands of desperate people living on the street on a judicially-enforced,
Spertus, Landes & Umhofer, LLP
                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                             12   deadline-driven schedule, while at the same time increasing street engagement
                                      LOS ANGELES, CA 90025




                                                                             13   and meeting milestones for encampment reduction across the City. This means
                                                                             14   relief is coming for both those suffering on the streets, as well as businesses and
                                                                             15   residents throughout the City facing the fallout from the crisis: crime, fire,
                                                                             16   disease, blocked sidewalks, and unusable public spaces. But what the City
                                                                             17   cannot do is exactly what the County is statutorily required to do: provide
                                                                             18   services and treatment to unsheltered persons suffering under the crushing weight
                                                                             19   of drug addiction and mental illness. The County is sadly, horrifically failing in
                                                                             20   this responsibility, resulting in thousands of the most vulnerable deteriorating on
                                                                             21   the sidewalks, beaches, and under overpasses. Unless the County steps up as the
                                                                             22   City has and fulfills its obligations to provide services to those experiencing
                                                                             23   homelessness, a comprehensive solution to the homelessness crisis will remain
                                                                             24   unrealized.
                                                                             25         3.      Legal counsel maintains the County is “doing everything possible to
                                                                             26   address homelessness” and that “[a]ny assertion that the county has failed on this
                                                                             27
                                                                             28

                                                                                                                 2
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                        ER 210
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 262 of 1079

                                                                            Case 2:20-cv-02291-DOC-KES Document 454 Filed 07/15/22 Page 3 of 81 Page ID
                                                                                                            #:14498


                                                                              1   obligation is utterly baseless.”1 Yet County Supervisor Kathryn Barger has
                                                                              2   candidly and commendably admitted: “[W]hat we’re doing in LA County is
                                                                              3   failing. Our rising homeless count numbers prove that. The tents that line our
                                                                              4   streets prove that. Thousands of individuals in distress prove that. We have
                                                                              5   more than a hundred public, community-based, faith-based, and non-profit
                                                                              6   organizations dedicated to providing services to people experiencing
                                                                              7   homelessness, and millions of Measure H dollars in our coffers to fund the work,
                                                                              8   but our region continues to fall short.”2
                                                                              9         4.     Supervisor Barger is right: the mortality rate of people experiencing
                                                                             10   homelessness who die on the streets has leapt to 5.5 per day.3 The last point-in-
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                             11   time count numbers that have been released (2020) showed 66,436 persons
Spertus, Landes & Umhofer, LLP
                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                             12   experiencing homelessness in Los Angeles County (a rise of 12.7 percent from
                                      LOS ANGELES, CA 90025




                                                                             13   2019), 41,290 of whom live in the City of Los Angeles (16.1 percent increase). 4
                                                                             14   This is in addition to 12 and 14 percent respective increases from the year
                                                                             15   before.5 Using the 2020 PIT numbers, there has been an increase in homelessness
                                                                             16   by approximately 60 percent since 2013 in both City and County, with the
                                                                             17   numbers of unsheltered homeless doubling. 6 And the rates of mortality for the
                                                                             18   unhoused are increasing faster than the numbers of unhoused themselves. Dr.
                                                                             19
                                                                                        1
                                                                                           https://www.latimes.com/homeless-housing/story/2022-04-01/los-
                                                                             20   angeles-homeless-lawsuit-settlement-judge-carter
                                                                                         2
                                                                                           https://kathrynbarger.lacounty.gov/barger-and-stakeholders-respond-to-
                                                                             21   recommendations-from-blue-ribbon-commission-on-homelessness/
                                                                                         3
                                                                                           County of Los Angeles, Public Health, Mortality among People
                                                                             22   Experiencing Homelessness in Los Angeles County: One Year Before and After
                                                                                  the Start of the COVID-19 Pandemic (April 2022),
                                                                             23   http://publichealth.lacounty.gov/chie/reports/Homeless_Mortality_Report_2022.p
                                                                                  df
                                                                             24          4
                                                                                           Los Angeles Homeless Services Authority (“LAHSA”), 2020 Greater
                                                                                  Los Angeles Homeless Count Results (Sept. 3, 2020),
                                                                             25   https://www.lahsa.org/news?article=726-2020-greater-los-angeles-homeless-
                                                                                  count-results.
                                                                             26          5
                                                                                           LAHSA, 2019 Greater Los Angeles Homeless Count – Data Summary
                                                                                  Total Point-In-Time Homeless Population by Geographic Areas (June 16, 2020),
                                                                             27   https://www.lahsa.org/documents?id=3467-2019-greater-los-angeles-homeless-
                                                                                  count-total-point-in-time-homeless-population-by-geographic-areas.pdf.
                                                                             28          6
                                                                                           Los Angeles Almanac, Homelessness in Los Angeles County 2020,
                                                                                  http://www.laalmanac.com/social/so14.php (last visited June 22, 2022).
                                                                                                                           3
                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                       ER 211
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                                                                              1   Barbara Ferrer, director of DPH admits: “Homeless people are in fact dying at a
                                                                              2   higher rate because they’re homeless.”7
                                                                              3         5.     The streets tell a sad story: the mentally ill and addicted visibly
                                                                              4   suffer in intersections, parks, and sidewalks. Without medical supervision or
                                                                              5   treatment, the most severely affected cannot hold jobs or housing, and are left to
                                                                              6   wander and fend for themselves in a horrific cycle of degradation. And the
                                                                              7   number of those suffering has climbed with the increased prevalence of illegal
                                                                              8   narcotics, which are being used to self-medicate or are the cause of the mental
                                                                              9   decline in the first place. Available drug treatment beds are woefully
                                                                             10   unobtainable while the drug addiction crisis rages, and our communities are
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                                                                             11   ravaged. The County’s silos of care make it nearly impossible for anyone with a
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                                                                             12   comorbidity (that is, suffering from more than one ailment—for example mental
                                      LOS ANGELES, CA 90025




                                                                             13   illness and drug addiction) to obtain help. Los Angeles is one of only two
                                                                             14   counties in the state that does not have an integrated administration to address
                                                                             15   individuals suffering with both mental health and substance use disorders. This
                                                                             16   is particularly bad news given that a recent California Policy Lab study reported
                                                                             17   50 percent of unsheltered individuals suffer from a trimorbidity of physical
                                                                             18   health, mental health, and substance abuse conditions. 8 The County has the
                                                                             19   obligation to provide for indigent and low-income mental and public healthcare
                                                                             20   and is woefully failing in its obligations.
                                                                             21         6.     For years, the City struggled—and failed—to balance the needs of
                                                                             22   the housed and unhoused. The near-exclusive focus on building permanent
                                                                             23   supportive housing through Proposition HHH (“HHH”) in the last five years has
                                                                             24   led to lethal under-funding of emergency and interim shelter solutions which has
                                                                             25
                                                                                        7
                                                                                           Jessica Flores, Homeless deaths in LA County doubled between 2013 and
                                                                             26   2018, Curbed Los Angeles (Oct. 30, 2019, 3:50 PM),
                                                                                  https://la.curbed.com/2019/10/30/20940369/homeless-deaths-los-angeles-county.
                                                                             27          8
                                                                                           Janey Rountree, Nathan Less, & Austin Lyke, Health Conditions Among
                                                                                  Unsheltered Adults in the U.S. 4, California Policy Lab (Oct. 2019),
                                                                             28   https://www.capolicylab.org/wp-content/uploads/2019/10/Health-Conditions-
                                                                                  Among-Unsheltered-Adults-in-the-U.S.pdf.
                                                                                                                           4
                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                       ER 212
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                                                                              1   in turn left thousands to decline and die on the streets without support from
                                                                              2   County services. Those individuals in turn, without services or shelter, languish
                                                                              3   and decline, ultimately requiring increased long-term services as a result of
                                                                              4   unnecessary years spent subject to the horrors of the street.
                                                                              5         7.     As a result of an early, partial agreement reached in this case
                                                                              6   between the City and County, in what all parties hoped was a sign of future
                                                                              7   cooperation, an additional 9,633 beds have been funded according to a recent
                                                                              8   court filing, with shared operating costs and provision of mainstream services. 9
                                                                              9   1,100 of these beds were already in the works through the Mayor’s “A Bridge
                                                                             10   Housing” program, 834 of these beds are permanent supportive housing projects
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                                                                             11   which had been long-planned, and an undefined number (likely over one
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                                                                             12   thousand) are “rapid rehousing” vouchers which don’t add to the bed inventory
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                                                                             13   (but do help prevent homelessness). Still, this agreement undisputedly added
                                                                             14   thousands of much-needed interim beds to the inventory. Yet while this
                                                                             15   agreement was a welcome departure from the City and County’s historical
                                                                             16   squabbling over responsibility and blame, and a needed infusion of interim
                                                                             17   shelter opportunities, it still did not lead to a comprehensive agreement which
                                                                             18   would relieve the suffering on the streets in a meaningful way. Shelter remains
                                                                             19   unattainable for most, services are inaccessible for most, and streets are
                                                                             20   unbearable for all.
                                                                             21         8.     In a further effort to back away from the County’s liability, counsel
                                                                             22   repeatedly claims “This is a Skid Row lawsuit. Skid Row is in the city of L.A.
                                                                             23   Skid Row is the focal point of this whole lawsuit.” But this has never been only
                                                                             24   about Skid Row: Skid Row is the epicenter of homelessness—and not just
                                                                             25   homelessness, but in unhoused drug addiction and mental illness—in the United
                                                                             26
                                                                             27
                                                                                        9
                                                                                         Def. City of Los Angeles’ Quarterly Status Report Pursuant to the Mem.
                                                                             28   of Understanding Between the County of Los Angeles and the City of Los
                                                                                  Angeles at 64-71, ECF No. 342.
                                                                                                                        5
                                                                                          SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                       ER 213
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                                                                              1   States, but the crisis has spread beyond the confines of Skid Row and into every
                                                                              2   corner in Los Angeles.
                                                                              3         9.     Homeless encampments are entrenched throughout the City and
                                                                              4   County. With increased population density, unlimited property accumulation has
                                                                              5   fostered a proliferation of flea-infested rats and other vermin, which are largely
                                                                              6   responsible for the recent outbreaks of medieval diseases. Large items obstruct
                                                                              7   the free passage and use of the streets and sidewalks. Encampments have
                                                                              8   brought with them rampant drug sales and use, which in turn provide a platform
                                                                              9   for violent assaults and property crimes. Crime both on and by homeless
                                                                             10   residents has intensified. 10 A homeless individual is eight times more likely to be
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                                                                             11   a victim or suspect of a crime than a housed person. In the City of Los Angeles,
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                                                                             12   42 crimes involving homeless individuals are reported per day, over half of
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                                                                             13   which are violent. 80-90 percent of crimes reported at a homeless encampment
                                                                             14   are violent.11 In Central Bureau Homicide (which encompasses Skid Row area),
                                                                             15   40 percent of the homicides as of October, 2021 have been “transient-related”
                                                                             16   both as suspects and victims.12
                                                                             17         10.    The multiplication of makeshift structures, garbage, human waste,
                                                                             18   and other detritus has created circumstances throughout the City and County that
                                                                             19
                                                                             20         10
                                                                                            Joel Grover & Amy Corral, A Homeless Man Punched Two People in
                                                                                  the Face, But Was Cited and Released, NBC Los Angeles, (Nov. 13, 2019, 1:10
                                                                             21   PM), https://www.nbclosangeles.com/news/local/hollywood-violent-homeless-
                                                                                  attacks-increase-video-564682831.html; Eric Leonard, Homeless Crime Jumps
                                                                             22   Nearly 50 Percent in Los Angeles, LAPD Says, NBC Los Angeles (Dec. 10,
                                                                                  2018, 8:19 PM), https://www.nbclosangeles.com/news/local/LAPD-Reports-
                                                                             23   Spike-in-Homeless-Crime-502407861.html; Zoie Matthew, Crimes Against the
                                                                                  Homeless Have Risen, and Advocates are Searching for Answers, Los Angeles
                                                                             24   Magazine (Oct. 15, 2019), https://www.lamag.com/citythinkblog/homeless-
                                                                                  crime/.11
                                                                             25             Sophie Flay & Grace Manthey, What is really going on with homeless
                                                                                  crime? We crunched the numbers, ABC Eyewitness News,
                                                                             26   https://abc7.com/feature/homeless-crime-los-angeles-data-response/10827722/
                                                                                  (last visited June 22, 2022).
                                                                             27          12
                                                                                            Kevin Rector, On front lines of L.A.’s homicide spike, these detectives
                                                                                  race to solve mounting caseloads (Oct. 22, 2021, 5:00 AM),
                                                                             28   https://www.latimes.com/california/story/2021-10-22/l-a-homicide-detectives-
                                                                                  face-mounting-caseloads.
                                                                                                                            6
                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                              1   are crippling for local businesses, unlivable for residents, and deadly for those on
                                                                              2   the streets. The environmental impact from power-washing human waste and
                                                                              3   used needles into our oceans is unassessed and untold. Together the City and
                                                                              4   County spend over a billion dollars annually providing police, emergency, and
                                                                              5   support services to those living on the streets. And still, the tragedy unfolds.
                                                                              6         11.    As mental health affliction and drug addiction rates have soared over
                                                                              7   the last several decades, so has the cost of housing. Support structures for those
                                                                              8   on the streets have been stretched to the breaking point by burgeoning demands
                                                                              9   and insufficient funding by local, state, and federal governments. The population
                                                                             10   of people experiencing homelessness has nearly doubled since 2012 while
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                                                                             11   sustainable short- and long-term solutions have been in short supply. Los
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                                                                             12   Angeles County Department of Public Health has repeatedly warned the City that
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                                                                             13   basic hygiene services are needed to maintain public health in or near homeless
                                                                             14   encampments—but those critical services have been in short supply. 13 With the
                                                                             15   start of the pandemic, there was a tremendous push to place bathrooms and
                                                                             16   sanitation stations near encampments to maintain hygiene, but those are rarely
                                                                             17   serviced and are now down to only 1/3 of their previous number at a time when
                                                                             18   homelessness continues to increase.14
                                                                             19         12.    Advocates have pressured the City and County for years to permit
                                                                             20   public camping, allow the accumulation of personal property on the streets, and
                                                                             21   generally make it more comfortable for people to live on the streets. But street-
                                                                             22   living is by no means more “comfortable,” because of significant health issues
                                                                             23   and inherent danger involved in being unsheltered. Enforcement of homeless-
                                                                             24   related crimes has been reduced, or in some cases eliminated, in the name of
                                                                             25
                                                                                        13
                                                                                            Matt Stiles, As Homeless Crisis Worsens in L.A., The County Leans On
                                                                             26   City Officials To Act, Los Angeles Times (June 8, 2019, 5:04 PM),
                                                                                  https://www.latimes.com/local/lanow/la-me-homeless-county-letter-20190608-
                                                                             27   story.html.
                                                                                         14
                                                                                            Lexis-Olivier Ray, City Reverses Decision to Remove Washing Stations
                                                                             28   From Encampments Following L.A. Taco Investigation, L.A. Taco (Aug. 5,
                                                                                  2021), https://www.lataco.com/bathroom-stations-encampments-la-city/.
                                                                                                                           7
                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                         ER 215
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                                                                              1   compassion. But allowing people to die on the streets isn’t compassionate; it’s
                                                                              2   cruel.
                                                                              3            13.   The massive build-up of property and tents has made sidewalks
                                                                              4   unpassable. Business owners have suffered as well—customers cannot access
                                                                              5   stores and are declining to patronize them due to conditions on the streets, and
                                                                              6   business owners are spending hundreds of thousands of dollars on increased
                                                                              7   sanitation and security measures and cannot maintain employees. Residents and
                                                                              8   workers throughout the Skid Row area are confronted daily by disease, illicit
                                                                              9   drug sales and use, prostitution, and general filth and squalor. People are openly
                                                                             10   using drugs, urinating, and defecating in public.
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                                                                             11            14.   Residential and commercial buildings alike have endured fires from
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                                                                             12   homeless camps, where makeshift heaters are used to keep people warm, open air
                                      LOS ANGELES, CA 90025




                                                                             13   fires are used to cook food, utility wiring is tampered with to provide electricity,
                                                                             14   and arsons arise out of drug or property disputes. 15 Businesses are losing
                                                                             15   insurance because of the fire risk associated with homeless encampments next to
                                                                             16   their buildings. 16 Shockingly, more than 50 percent of the fires responded to by
                                                                             17   Los Angeles Fire Department are homeless-related, and one-third of those are
                                                                             18   intentionally started (arson).
                                                                             19            15.   The frequency of criminal conduct has increased so dramatically in
                                                                             20   some areas that law enforcement officials can respond only to the most egregious
                                                                             21   crimes—and often only after serious damage has been done. And those who are
                                                                             22
                                                                             23          15
                                                                                            James Queally, Firecrackers. Molotov cocktails. Fire attacks have
                                                                                  shaken L.A.’s homeless community, Los Angeles Times (Oct. 18, 2019, 7:00
                                                                             24   AM), https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                                  attacks-fire; Joel Grover & Amy Corral, Los Angeles Homeless Illegally Use Fire
                                                                             25   Hydrants to Fill Water Balloons, Bathe, Shave, NBC Los Angeles (Aug. 24,
                                                                                  2019, 1:00 AM), https://www.nbclosangeles.com/investigations/Los-Angeles-
                                                                             26   Homeless-Illegally-Use-Fire-Hydrants-to-Fill-Water-Balloons-Bathe-Shave-
                                                                                  558051461.html.
                                                                             27          16
                                                                                            Joel Grover & Amy Corral, Your Insurance Is Canceled Because of
                                                                                  Homeless Tent Fires, NBC Los Angeles (Sept. 23, 2019, 8:39 AM),
                                                                             28   https://www.nbclosangeles.com/news/local/LA-Homeless-Encampment-Fires-
                                                                                  Insurance-Rates-Tents-Homelessness-561145811.html.
                                                                                                                          8
                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                              1   experiencing homelessness pay the highest price for this lawlessness. Violent
                                                                              2   assaults at encampments have doubled and robberies have increased 144
                                                                              3   percent. 17 As Rev. Andy Bales of Union Rescue Mission notes, “The crime on
                                                                              4   Skid Row has skyrocketed . . . we used to have a rare occurrence of shootings.
                                                                              5   Now we have them every week. People are suffering from robberies, rape,
                                                                              6   hunger, the cold or heat – you name it. I don’t know if there’s a place anyone can
                                                                              7   suffer more. It’s an absolute disaster.”   18
                                                                                                                                  Year after year, assaults against
                                                                              8   homeless victims have increased, as the number of vulnerable subject to
                                                                              9   predators increases. In 2020, nearly 20 percent of homicides in Los Angeles
                                                                             10   were on unhoused individuals.19 Crime involving homeless individuals (as either
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                                                                             11   victim or suspect) is 8 percent of the crime in Los Angeles (11 percent of violent
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                                                                             12   crime), but homeless people only make up about 1 percent percent of the
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                                                                             13   population. Random violent attacks by unhoused individuals have increased
                                                                             14   significantly, often due to drug consumption.20 Starbucks just this week
                                                                             15   announced closure of several of its stores, citing safety concerns for its customers
                                                                             16   and employees.21
                                                                             17         16.    Humans living on the streets and in their cars have no regular access
                                                                             18   to sanitation facilities, so trash and human waste end up in public spaces and
                                                                             19   ultimately our oceans. Businesses are regularly cleaning used syringes out of
                                                                             20
                                                                             21         17
                                                                                            Ethan Ward, Crime at tent encampments rises during the pandemic year,
                                                                                  Crosstown (May 4, 2021), https://xtown.la/2021/05/04/crime-homeless-
                                                                             22   individuals/.
                                                                                         18
                                                                                            Id.
                                                                             23          19
                                                                                            Eric Leonard, LA’s Staggering Murder Rate Linked to Gang Shootings
                                                                                  and Violence Against Homeless, NBC Los Angeles (Nov. 23, 2020, 8:01 PM),
                                                                             24   https://www.nbclosangeles.com/news/local/las-staggering-murder-rate-linked-to-
                                                                                  gang-shootings-and-violence-against-homeless/2469360/.
                                                                             25          20
                                                                                            LAPD Says Random, Violent Attacks By Unhoused Residents Are on The
                                                                                  Rise, CBS Los Angeles (May 19, 2021, 11:32 PM),
                                                                             26   https://losangeles.cbslocal.com/2021/05/19/lapd-says-random-violent-attacks-by-
                                                                                  unhoused-residents-are-on-the-rise/.
                                                                             27          21
                                                                                            Christian Martinez, Starbucks to close six Los Angeles-are stores it calls
                                                                                  ‘unsafe to continue to operate’, Los Angeles Times (July 12, 2022, 6:34 PM),
                                                                             28   https://www.latimes.com/california/story/2022-07-12/starbucks-to-close-six-los-
                                                                                  angeles-stores-10-others-around-country-due-to-safety-issues.
                                                                                                                           9
                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   their drains; an untold number are washed into our waterways. The
                                                                               2   environmental impact of the homelessness crisis was recently underscored in a
                                                                               3   letter from the Environmental Protection Agency.22 Yet the governmental
                                                                               4   policies and inaction that perpetuate these pollutants continue unabated.
                                                                               5         17.    Measure H—a county-wide tax increase that was originally
                                                                               6   estimated to net $355 million in homeless-relief funding available per year but
                                                                               7   now brings in over half a billion dollars yearly—is spread so thin it serves more
                                                                               8   to feed the County’s own bureaucracy than to make any significant dent in the
                                                                               9   crisis. 23 And the original focus of the measure—supporting the City’s HHH
                                                                              10   projects and providing increased intensive services and treatment—isn’t even
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                                                                              11   mentioned in its annual budget. Meanwhile the County does the bare minimum
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                                                                              12   to support the Department of Mental Health, which in turn is holding somewhere
                                      LOS ANGELES, CA 90025




                                                                              13   between $500 million and a billion dollars in its account unspent.
                                                                              14         18.     Despite the magnitude of the problem, a major course correction
                                                                              15   can be made without breaking municipal budgets. Steps could be taken to
                                                                              16   provide safe sleeping spaces for the entire homeless population for a fraction of
                                                                              17   the funds currently devoted to the homelessness crisis—if the City and County
                                                                              18   were to work together. Reno recently build an emergency and transitional shelter
                                                                              19   community in less than 60 days that holds 600 beds at the cost of only $11,203
                                                                              20   per bed .24 Union Rescue Mission built a Sprung structure (a large membrane
                                                                              21   tent) in a matter of months—the single tent houses more than 100 people at a cost
                                                                              22   of only $10,000 per bed (including a six-month stay, security, and social
                                                                              23
                                                                                         22
                                                                                             Letter from Andrew Wheeler, Administrator, U.S. Environmental
                                                                              24   Protection Agency, to Gavin C. Newsom, Governor of California (Sept. 26,
                                                                                   2019), https://www.epa.gov/sites/production/files/2019-
                                                                              25   09/documents/9.26.19_letter-epa.pdf.
                                                                                          23
                                                                                             LAHSA, LAHSA Releases 2019 Housing Inventory Count (Sept. 19,
                                                                              26   2019), https://www.lahsa.org/news?article=584-lahsa-releases-2019-housing-
                                                                                   inventory-count (“On our present course, it will take far too long to build far too
                                                                              27   few units of housing to effectively end this crisis.” – Peter Lynn, executive
                                                                                   director  LAHSA).
                                                                              28          24
                                                                                             Renard Decl. at 1, LA Alliance for Human Rights v. City of Los
                                                                                   Angeles, Case No. 21-55395, ECF 13-2.
                                                                                                                            10
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   services).25 The City has actually utilized this same structure in several places—
                                                                               2   yet the City’s cost was quadruple Union Rescue Missions’, at $42,000 per bed. 26
                                                                               3   In Hawaii, the city of Honolulu is putting up large military-grade inflatable tents
                                                                               4   in select parks to quickly and effectively provide shelter when the demand
                                                                               5   exceeds supply, at a cost of $6,000 per bed which also includes a 90-day stay,
                                                                               6   security, and social services. 27 Tiny houses are being used in Seattle for $6,000
                                                                               7   to $10,000 per house to create micro-villages as bridge housing. 28 Entire kits can
                                                                               8   be purchased to house a family of 4 in a large tent complete with furniture,
                                                                               9   refrigerator, heater, and electrical generator for a little more than $2,000 ($500
                                                                              10   per bed). 29 Large tents that can be purchased for $400 are being used by the city
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                                                                              11   of Modesto to address its own homelessness crisis. 30 3D printed 400-square foot
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                                      LOS ANGELES, CA 90025




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                                                                              14
                                                                                         25
                                                                                             Rev. Andy Bales and J. Michael Arnold, When it Comes to
                                                                              15   Homelessness, We Must Do More and We Must Do it Now, Los Angeles
                                                                                   Downtown News (Aug. 5, 2019),
                                                                              16   http://www.ladowntownnews.com/opinion/when-it-comes-to-homelessness-we-
                                                                                   must-do-more-and/article_6b08711a-b57e-11e9-850e-670a231aefa4.html.
                                                                              17          26
                                                                                             Joel Grover and Amy Corral, Inside the Massive Tent That Might be a
                                                                                   Partial Solution Homelessness in LA, NBC Los Angeles (Sept. 18, 2019, 11:55
                                                                              18   AM), https://www.nbclosangeles.com/news/local/los-angeles-la-homeless-
                                                                                   encampments-sprung-tents-shelter-skid-row/1965408/.
                                                                              19          27
                                                                                             Dan Nakaso, Pilot project aimed at reducing Oahu’s homeless will start
                                                                                   in Waipahu, Star Advertiser (Oct. 20, 2019, 5:28 PM),
                                                                              20   https://www.staradvertiser.com/2019/10/20/hawaii-news/pilot-project-aimed-at-
                                                                                   reducing-oahus-homeless-will-start-in-waipahu/; Allyson Blair, Giant inflatable
                                                                              21   tents for the homeless could be coming to a park near you, Hawaii News Now
                                                                                   (Nov. 27, 2018, 3:19 PM), https://www.hawaiinewsnow.com/2018/11/28/giant-
                                                                              22   inflatable-tents-homeless-could-be-coming-an-oahu-park-near-you/; Ashley
                                                                                   Mizuo, Honolulu opens short-term homeless shelter in Wahiawa, The Honolulu
                                                                              23   Star-Advertiser (May 14, 2021), https://www.yahoo.com/entertainment/honolulu-
                                                                                   opens-short-term-homeless-161100501.html.
                                                                              24          28
                                                                                             See Sharon Lee, Tiny House Villages in Seattle: An Efficient Response to
                                                                                   Our Homelessness Crisis, SHELTERFORCE: The Original Voice of Community
                                                                              25   Development (Mar. 15, 2019), https://shelterforce.org/2019/03/15/tiny-house-
                                                                                   villages-in-seattle-an-efficient-response-to-our-homelessness-crisis/.
                                                                              26          29
                                                                                             Relief ShelterKits, Relief Tents: Concept Designs,
                                                                                   https://www.relieftents.com/relief-tents/shelterkit-living-supportkit/ (last visited
                                                                              27   June 22,  2022).
                                                                                          30
                                                                                             Kevin Valine, Modesto homeless camp is filling up, but officials adapt to
                                                                              28   find room for more, The Modesto Bee (May 13, 2019, 4:58 PM),
                                                                                   https://www.modbee.com/news/local/article230345544.html.
                                                                                                                             11
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   homes can be built in less than 24 hours and cost only $4,000 to construct.31
                                                                               2   Connect Homes produces fully integrated off-the-grid modular shelters for
                                                                               3   $20,000 to $30,000 per bed, with two-story options to densify.32 Pallet shelters,
                                                                               4   small “tiny home” type emergency structures which can be built in less than an
                                                                               5   hour, only cost approximately $8,000 per two-bed unit, but the City of Los
                                                                               6   Angeles spent an astonishing $130,000 to place such units due to over-
                                                                               7   engineering and over-regulation; comparatively Sonoma County spent only
                                                                               8   $21,817 per unit, the City of Riverside spent only $17,000 per cabin, and Tacoma
                                                                               9   only $12,000, all for the same structure. 33
                                                                              10         19.    The County’s General Hospital (LAC+USC) Building, with 1.5
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   million square feet of space in the heart of East L.A., has been vacant for over a
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                                                                              12   decade—the County at one point considered utilizing it for homeless assistance
                                      LOS ANGELES, CA 90025




                                                                              13   but is now evaluating it as a “mixed use” property.34 83 acres of County-owned
                                                                              14   property exist at the old County “poor farm,” Rancho Los Amigos, a brilliant
                                                                              15   19th-century solution whereby homeless housing and medical care was combined
                                                                              16   with a working farm to both feed the residents and sell for profit to support the
                                                                              17
                                                                              18
                                                                                         31
                                                                                             Aria Bendix, These 3D-printed homes can be built for less than $4,000
                                                                              19   in just 24 hours, Business Insider (Mar. 12, 2019, 2:09 PM),
                                                                                   https://www.businessinsider.com/3d-homes-that-take-24-hours-and-less-than-
                                                                              20   4000-to-print-2018-9; Sharon Jayson, 3-D-pringed homes a concept turns into
                                                                                   something solid, The Washington Post (Mar. 6, 2020, 6:00 AM),
                                                                              21   https://www.washingtonpost.com/realestate/3d-printed-homes-a-concept-turns-
                                                                                   into-something-solid/2020/03/05/61c8b0d2-36e4-11ea-bf30-
                                                                              22   ad313e4ec754_story.html.
                                                                                          32
                                                                                             Connect Shelters, https://www.connect-shelters.com/ (last visited June
                                                                              23   22, 2022).
                                                                                          33
                                                                                             Doug Smith, $130,0000 for an 8-foot-by-8-foot shed? That’s what L.A.
                                                                              24   is paying in a bid to house the homeless, Los Angeles Times (Dec. 12, 2020, 5:51
                                                                                   PM), https://www.latimes.com/california/story/2020-12-12/los-angeles-tiny-
                                                                              25   homes-homeless.
                                                                                          34
                                                                                             Jacqueline Ramírez, Second community meeting explores future of
                                                                              26   former County Hospital, Boyle Heights Beat (Sept. 18, 2019),
                                                                                   https://boyleheightsbeat.com/second-community-meeting-explores-future-of-
                                                                              27   former-county-hospital/; Alex Medina, Community meeting to explore former
                                                                                   County Hospital re-use, Boyle Heights Beat (June 12, 2019),
                                                                              28   https://boyleheightsbeat.com/community-meeting-to-explore-former-county-
                                                                                   hospital-re-use/.
                                                                                                                           12
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                        ER 220
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                                                                               1   project.35 The unused acreage has been approved for a new County office-park
                                                                               2   rather than repurpose it for its original intent.36 The County owns over 200 acres
                                                                               3   of the Los Angeles County Fairgrounds (“Fairplex”) in Pomona which, while
                                                                               4   currently leased to the non-profit Los Angeles County Fair Association, may be
                                                                               5   negotiated to support shelters. The L.A. City Controller has identified 13,948
                                                                               6   separate properties within the City owned by various public entities, many of
                                                                               7   which are vacant or underutilized. 37 Even small lots could support pallet houses
                                                                               8   individual tents, or “tiny home” communities with shared bathroom facilities.
                                                                               9   Plaintiffs have identified 166.58 acres of usable City- or County-owned property
                                                                              10   that could quickly be used for these very projects. 38
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11         20.    Board-and-care facilities—which offer housing, meals, and basic
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                                                                              12   assistance for those who need supportive care—are closing all over California at
                                      LOS ANGELES, CA 90025




                                                                              13   rapid rates because it is becoming economically infeasible to remain open. 39
                                                                              14
                                                                              15         35
                                                                                              See Historic American Buildings Survey, Los Angeles County Poor
                                                                                   Farm (Rancho Los Amigos, Los Angeles County) Rancho Los Amigos Medical
                                                                              16   Center,
                                                                                   http://lcweb2.loc.gov/master/pnp/habshaer/ca/ca3500/ca3509/data/ca3509data.pd
                                                                              17   f (last visited June 22, 2022).
                                                                                           36
                                                                                              Steven Sharp, Historic Rancho Los Amigos Campus Slated for
                                                                              18   Redevelopment, URBANIZE Los Angeles (June 24, 2020, 9:55 AM),
                                                                                   https://urbanize.city/la/post/historic-rancho-los-amigos-campus-slated-
                                                                              19   redevelopment.
                                                                                           37
                                                                                              Los Angeles City Controller, Publicly-Owned Properties,
                                                                              20   https://controllerdata.lacity.org/dataset/Publicly-Owned-Properties/bawf-
                                                                                   ixme/data (last visited June 22, 2022); Los Angeles City Controller, Property
                                                                              21   Panel: A guide to publicly-owned properties in the City of Los Angeles,
                                                                                   https://lacontroller.maps.arcgis.com/apps/Cascade/index.html?appid=b6d7907c1
                                                                              22   18d4ea2a1dd96bc0425633d (last visited June 22, 2022); Natalie Hoberman,
                                                                                   Despite housing crisis, LA lags in building its own sprawling land portfolio,
                                                                              23   TheRealDeal (May 28, 2019, 1:00 PM),
                                                                                   https://therealdeal.com/la/2019/05/28/despite-housing-crisis-la-lags-in-building-
                                                                              24   on-its-own-sprawling-land-portfolio/.
                                                                                           38
                                                                                              Mitchell Decl. Ex. D, at 104, ECF No. 239-1.
                                                                              25           39
                                                                                              Jocelyn Wiener, Overlooked mental health “catastrophe:” Vanishing
                                                                                   board-and-care-homes leave residents with few options, CalMatters: Projects
                                                                              26   (Apr. 15, 2019), https://calmatters.org/projects/board-and-care-homes-closing-in-
                                                                                   california-mental-health-crisis/; Loss of Board and Care Facilities is at Crisis
                                                                              27   Level: Undermines California Counties’ Efforts to Support Individuals with
                                                                                   Serious Mental Illness, Older Adults and Persons with Disabilities at Risk of
                                                                              28   Homelessness, Steinberg Institute, County of Los Angles, County Behavioral

                                                                                                                  13
                                                                                              SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   “Los Angeles County has lost more than 1,200 board and care placements for
                                                                               2   people with mental illness since 2016.” 40 The recent LA Times article cites
                                                                               3   higher statistics, with 1,687 beds for persons with serious mental illness closing
                                                                               4   since 2016. 41 Those facilities—which are paid only $40 per-night-per-guest by
                                                                               5   government entities—could be subsidized by the County (known as “patch
                                                                               6   funding”) to prevent closures and encourage more to open. No infrastructure
                                                                               7   need be built, and the property owners would have greater financial incentive to
                                                                               8   stay open or open anew to provide beds, meals, and basic care. Similarly, the
                                                                               9   shared/collaborative housing model supported by organizations like SHARE!,
                                                                              10   Haaven, and others, boasts zero infrastructure costs with the added benefit of
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                                                                              11   self-sustenance after a one-time $4,000-per-bed investment. 42
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                                                                              12         21.    While this is not a natural disaster, it is a disaster nonetheless, and it
                                      LOS ANGELES, CA 90025




                                                                              13   should be treated that way. The only way to address this crisis with the urgency
                                                                              14   it deserves is an emergency response—providing immediate shelter for all,
                                                                              15   increasing necessary outreach, services, and treatment, and abating the
                                                                              16   degradation of our cities and communities, for the good of everyone. The City
                                                                              17   saw the success of this very model at multiple locations in Los Angeles so far,
                                                                              18   including, inter alia, the Venice Boardwalk, Echo Park (though the clearance
                                                                              19   could have been handled far better), McArthur Park, Rose/Penmar, and CD 3
                                                                              20
                                                                              21
                                                                              22
                                                                              23
                                                                                   Health Directors Association, https://namisantaclara.org/wp-
                                                                              24   content/uploads/2020/11/Loss-of-Board-and-Care-Facilities-is-at-Crisis-Level-
                                                                                   2.28.20.pdf  (last visited June 22, 2022).
                                                                              25          40
                                                                                             Letter from Ann Sewill, General Manager, Los Angeles Housing
                                                                                   Department, to City Counsel, February 4, 2022,
                                                                              26   https://clkrep.lacity.org/onlinedocs/2020/20-1203_misc_2-4-22.pdf.
                                                                                          41
                                                                                             Lila Seidman, Homes for people with severe mental illness are rapidly
                                                                              27   closing. Will help come fast enough? Los Angeles Times (July 12, 2022, 4:00
                                                                                   AM), https://www.latimes.com/california/story/2022-07-12/board-and-cares-
                                                                              28   closing-amid-homelessness-crisis-los-angeles-county.
                                                                                          42
                                                                                             See para. 70 infra.
                                                                                                                             14
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                             ER 222
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                                                                               1   underpasses. It can be done effectively, quickly, and compassionately, and it
                                                                               2   must be done now. 43
                                                                               3                          I. JURISDICTION AND VENUE
                                                                               4         22.    This action is brought pursuant to 42 U.S.C. § 1983 and the Fifth
                                                                               5   and Fourteenth Amendments of the United States Constitution. This Court has
                                                                               6   jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343, 1367, 2201 and 2202.
                                                                               7         23.    This court has supplemental jurisdiction over Plaintiffs’ state law
                                                                               8   claims pursuant to 28 U.S.C. § 1367, as it arises from the same case or
                                                                               9   controversy as Plaintiffs’ federal claims.
                                                                              10         24.    All of the actions and omissions complained of occurred in the
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   Central District of California. Therefore, venue is proper in this District. 28
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                                                                              12   U.S.C. §1331.
                                      LOS ANGELES, CA 90025




                                                                              13                          II. GENERAL ALLEGATIONS
                                                                              14         25.    Plaintiffs are informed and believe, and thereon allege, that, at all
                                                                              15   times herein mentioned, Defendant County and Does 1-200 inclusive were the
                                                                              16   agent, employee, and co-conspirator of each of the remaining Defendants, and in
                                                                              17   participating in the acts alleged in this Complaint, acted within the scope of such
                                                                              18   agency and employment, in furtherance of the conspiracy, and with the
                                                                              19   permission and consent of the co-conspirator Defendants.
                                                                              20         26.    All causes of action brought under California statutory law are for
                                                                              21   equitable and injunctive relief only. Therefore, no tort claim was necessary prior
                                                                              22
                                                                                         43
                                                                                            Plaintiffs file this amended complaint after the Ninth Circuit vacated this
                                                                              23   Court’s April 20, 2021 preliminary injunction. Specifically the Ninth Circuit
                                                                                   noted a delta between the Court’s order and Plaintiffs’ allegations and facts:
                                                                              24   Plaintiffs had not demonstrated evidence that Plaintiffs and members of the
                                                                                   Alliance are Black because Plaintiffs had not moved on any issues that were
                                                                              25   based on race, had no unsheltered homeless individuals named in the original
                                                                                   complaint, had not alleged existence of a Special Relationship or shown they are
                                                                              26   confined to Skid Row, or were deprived of medically necessary care. Plaintiffs
                                                                                   have amended this complaint to add Wenzial Jarrell, an unsheltered Black man
                                                                              27   living in Skid Row, as a Plaintiff, and added a number of named Alliance
                                                                                   members who are also unsheltered and persons of color. Plaintiffs have
                                                                              28   supplemented their Equal Protection, Due Process allegations and 17000 claims
                                                                                   to address the Ninth Circuit’s concerns.
                                                                                                                            15
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                                                                               1   to filing this suit. See Cal. Gov. Code § 905 (West 2019); Qwest Commc’ns
                                                                               2   Corp. v. City of Berkeley, 146 F. Supp. 2d 1081 (N.D. Cal. 2001); Hart v. County
                                                                               3   of Alameda, 76 Cal. App. 4th 766 (1999). For the single cause of action for
                                                                               4   damages brought under the California Constitution, a Tort Claim was filed July
                                                                               5   15, 2022. When and if the claim is rejected, Plaintiffs may seek to amend this
                                                                               6   complaint to so-allege if necessary.
                                                                               7         27.    Each paragraph of this Complaint is expressly incorporated into each
                                                                               8   cause of action set forth below.
                                                                               9                          III. FACTUAL ALLEGATIONS
                                                                              10   A.    History of Homeless Treatment in Los Angeles
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11         28.    What is now known as Skid Row began in the late 1800s as a
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                                                                              12   concentration of day-rate hotels, bars, and brothels catering to the “rail riders”
                                      LOS ANGELES, CA 90025




                                                                              13   (transients riding the trains) due to its proximity to where the trains terminated at
                                                                              14   Los Angeles.44 Service providers like the Union Rescue Mission opened their
                                                                              15   doors to help the indigent who congregated there. Decades later, when the 1970s,
                                                                              16   brought a push for “de-institutionalization” of those suffering from mental
                                                                              17   illnesses, Skid Row became a beacon of hope for those needing services and
                                                                              18   shelter.45 At the same time, Downtown LA experienced an economic resurgence
                                                                              19   and developers began restoring the Skid Row area. Activists (fearful of losing
                                                                              20   housing) and downtown interests (fearful of homeless individuals wandering into
                                                                              21   the wealthier areas), together, pushed back and fought for a policy of
                                                                              22   “containment” with the goal of centralizing missions, charities, and other
                                                                              23   homeless services within the 50-square block area, encouraging “undesirable
                                                                              24
                                                                              25         44
                                                                                             Sebastin Kempkens, L.A.’s Homelessness Crisis: How Did We Get
                                                                                   Here?, LA Weekly (Nov. 21, 2018), https://www.laweekly.com/l-a-s-
                                                                              26   homelessness-crisis-how-did-we-get-here/; 99% Invisible: The Containment
                                                                                   Plan, Radiotopia (Oct. 10, 2017), https://99percentinvisible.org/episode/the-
                                                                              27   containment-plan/; Union Rescue Mission, About Skid Row,
                                                                                   https://urm.org/about/faqs/about-skid-row/  (last visited Mar. 9, 2020).
                                                                              28          45
                                                                                             See Kempkens, supra note 48, https://www.laweekly.com/l-a-s-
                                                                                   homelessness-crisis-how-did-we-get-here/.
                                                                                                                           16
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   population elements” to stay within the boundaries, in return for an agreement
                                                                               2   with the City to keep redevelopment out of it.46
                                                                               3         29.    The drafters of the Containment Policy were concerned that PEH
                                                                               4   and other “undesirables” could spread to other parts of the City; to combat this
                                                                               5   “people problem” the City implemented
                                                                               6                a containment approach that starts by defining an area
                                                                                                in which Skid Row activities would be allowed, but
                                                                               7                outside of which no disruptive Skid Row activity would
                                                                                                be tolerated . . . new borders were drawn that define a
                                                                               8                potential area of containment that would pull Skid Row
                                                                                                activities away from other land uses without significant
                                                                               9                relocation of housing.
                                                                              10   (Declaration of Elizabeth Mitchell (“Mitchell Decl.”) Ex. A at 143, ECF 265-1.)
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   (emphasis added). The “containment approach” had four pillars to it: (a) “a
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                                                                              12   deliberate control of housing stock, its allocation and location” to condense the
                                      LOS ANGELES, CA 90025




                                                                              13   homeless within a smaller area of downtown Los Angeles, (b) businesses catering
                                                                              14   to Skid Row “undesirables” would be discouraged outside of the containment
                                                                              15   area, (c) services to the homeless would be centralized in the area of containment
                                                                              16   to keep the homeless there, and (d) “amenities” that attract the homeless, such as
                                                                              17   parks and public restrooms, would be centralized in the contained area. Id. The
                                                                              18   Containment Policy (the “Containment” or “Policy”) included specific maps that
                                                                              19   defined where “undesirables” would be concentrated, and also included “buffers”
                                                                              20   to further isolate the “undesirables” from others. Id. The County contributed to
                                                                              21   and benefited from Containment by concentrating its statutorily-required social
                                                                              22   services within the Containment Zone. In this way it drew in those who were in
                                                                              23   the greatest need into the Containment Zone where they were effectively
                                                                              24   prevented from leaving. This appalling Containment Policy remained until it
                                                                              25
                                                                              26
                                                                                         46
                                                                                            Rich Connell, SKID ROW: ‘Containment Strategy’ of Aiding Residents,
                                                                              27   Easing Impact on Business District Is Slow and Frustrating, Los Angeles Times
                                                                                   (Aug. 5, 1985, 12:00 AM), https://www.latimes.com/archives/la-xpm-1985-08-
                                                                              28   05-me-3525-story.html; 99% Invisible, Episode 279:The Containment Plan,
                                                                                   (Oct. 10, 2017), https://99percentinvisible.org/episode/the-containment-plan/.
                                                                                                                            17
                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   was formally denounced in 2016, but in fact the Policy persists to this day, as
                                                                               2   evidenced by the new DTLA2040 plan.
                                                                               3          30.   The 1980s and 1990s, with the crack epidemic and simultaneous
                                                                               4   cuts to the welfare system, brought in true and enduring homelessness, with
                                                                               5   encampments springing up on sidewalks and criminals preying on the
                                                                               6   vulnerable. 47 Then-mayor Tom Bradley opened an urban campground along the
                                                                               7   L.A. River, but it was soon closed due to terrible living conditions. At various
                                                                               8   times groups have placed portable toilets in key encampment locations, only to
                                                                               9   have the city remove them when they became magnets for prostitution and drug
                                                                              10   use. In the early 1990s, as a settlement of litigation between the City and County,
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                                                                              11   Los Angeles Homeless Services Authority (“LAHSA”), a joint-powers authority,
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                                                                              12   was created to oversee the City and County’s homeless response. The aim was
                                      LOS ANGELES, CA 90025




                                                                              13   more accountability, but ultimately it has resulted in an accountability deficit.
                                                                              14          31.   That deficit is particularly apparent in the litigious history of two
                                                                              15   Los Angeles Municipal Code provisions (“L.A.M.C.”), section 41.18 and section
                                                                              16   56.11, that regulate behavior in public rights-of-way. Section 41.18(d) has
                                                                              17   recently been amended to prohibit sitting, sleeping, or lying in public rights of
                                                                              18   way in sensitive areas or other areas marked by signage but only after full
                                                                              19   consideration and vote by City Council in every single area designated as such
                                                                              20   and only, for non-sensitive areas, after proof of serious injury, crime, or fires.48
                                                                              21   LAMC section 56.11 prohibits, among other things, storage of “excess personal
                                                                              22   property” meaning property which cumulatively exceeds 60 gallons in a public
                                                                              23   area. 49
                                                                              24
                                                                              25          47
                                                                                             See Kempkens, supra note 48, https://www.laweekly.com/l-a-s-
                                                                                   homelessness-crisis-how-did-we-get-here/.
                                                                              26          48
                                                                                             LOS ANGELES MUN. CODE (“LAMC”) 41.18 (2021),
                                                                                   https://clkrep.lacity.org/onlinedocs/2020/20-1376-S1_ord_draft_7-02-21.pdf.
                                                                              27          49
                                                                                             LAMC 56.11 was amended in 2016 in direct response to Lavan v. City of
                                                                                   Los Angeles, discussed infra. Its express stated purpose was to “balance the
                                                                              28   needs of the residents and public at large to access clean and sanitary public areas

                                                                                                                  18
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                                                                               1         32.    In 2006, the City settled a case brought by several activists, Jones v.
                                                                               2   City of Los Angeles, agreeing not to enforce section 41.18(d)’s then-restrictions
                                                                               3   on tents and people sleeping in public areas between the hours of 9 p.m. and 6
                                                                               4   a.m. As part of the agreement, the parties concurred that a published court
                                                                               5   decision would be de-published and would no longer be binding authority.
                                                                               6   According to the Los Angeles Times, “The [Jones] agreement set the stage for
                                                                               7   today’s encampment explosion.”50 And ironically, the de-published Jones
                                                                               8   decision was still oft-cited by districts courts and resurrected in the 2018
                                                                               9   published decision of Martin v. City of Boise.
                                                                              10         33.    In 2012, the Ninth Circuit upheld an injunction in Lavan v. City of
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   Los Angeles, 693 F.3d 1022 (9th Cir. 2012), that prohibited the City from seizing
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                                                                              12   unattended property without notice absent objectively reasonable belief that it is
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                                                                              13   abandoned, evidence of crime, contraband, or presents an “immediate threat to
                                                                              14   public health or safety.” Id. at 1026. Unfortunately, it is difficult to determine
                                                                              15   when property is “abandoned” as opposed to momentarily “unattended” when
                                                                              16   there are tens of thousands of people living unsheltered in our public spaces. The
                                                                              17   result is a massive build-up of property, which harbors significant health and
                                                                              18   safety risks that mostly go undetected until too late.
                                                                              19
                                                                              20
                                                                                   consistent with the intended uses for the public areas with the needs of the
                                                                              21   individuals, who have no other alternatives for the storage of personal property,
                                                                                   to retain access to a limited of personal property in public areas.” LAMC § 56.11.
                                                                              22   Unsurprisingly, unhappy activists have challenged the new amendment, first as
                                                                                   applied to those living in Skid Row (Mitchell v. City of Los Angeles, Case No.
                                                                              23   CV 16-01750, 2016 WL 11519288 (C.D. Cal. Apr. 13, 2016) and now city-wide
                                                                                   (Garcia v. City of Los Angeles, 19-CV-06182). The Garcia court issued an
                                                                              24   injunction against its enforcement, recently upheld by the Ninth Circuit. Garcia
                                                                                   v. City of Los Angeles, 11 F.4th 1113 (9th Cir. Sept. 2, 2021). 56.11 was recently
                                                                              25   amended to refer only to “personal property” and eliminated the 60-gallon
                                                                                   requirement.
                                                                              26          50
                                                                                             Gale Holland, Why L.A. County’s homelessness crisis has been decades
                                                                                   in the making, Los Angeles Times (June 5, 2019, 11:10 AM),
                                                                              27   https://www.latimes.com/local/california/la-me-ln-homeless-housing-crisis-
                                                                                   count-history-skid-row-20190605-story.html (“‘We are dealing with historical
                                                                              28   consequences of bad decisions made 10 years ago to guarantee a right to
                                                                                   sidewalks instead of a right to shelter,’ said Westside Councilman Mike Bonin.”).
                                                                                                                             19
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                          ER 227
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                                                                               1         34.    Eight years after the Ninth Circuit upheld the Lavan injunction, the
                                                                               2   City entered into a settlement in the case of Mitchell v. City of Los Angeles.
                                                                               3   Under the terms of that settlement, the City bound its own hands in agreeing to
                                                                               4   significantly limit the enforcement of LAMC section 56.11, permitting the
                                                                               5   accumulation of personal property beyond the code section’s limits, and
                                                                               6   relegating enforcement to only certain bulky items such as couches, mattresses,
                                                                               7   refrigerators, and wooden pallets within a designated area known as “Skid Row
                                                                               8   and surrounding areas” (thus increasing the boundaries of what was traditionally
                                                                               9   considered Skid Row). The Mitchell agreement led to a sharp decline in health
                                                                              10   and safety for housed and unhoused alike not just in Skid Row but throughout
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                                                                              11   downtown. The Mitchell agreement has expired, but the court in Garcia enjoined
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                                                                              12   the City of Los Angeles in similar fashion. It is unclear why, after litigating this
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                                                                              13   issue for decades, the City cannot manage to draft an ordinance that is workable,
                                                                              14   practical, and will pass constitutional muster.
                                                                              15         35.    Mitchell was settled in the wake of the sweeping Ninth Circuit
                                                                              16   decision addressing homeless regulation: Martin v. City of Boise, based almost
                                                                              17   entirely on the reasoning published (then de-published) in Jones. Martin held
                                                                              18   that “so long as there is a greater number of homeless individuals in a jurisdiction
                                                                              19   than the number of available beds in shelters” a person may not be prosecuted for
                                                                              20   sitting, lying, or sleeping in public. Martin, 920 F.3d at 617 (original alterations
                                                                              21   omitted) (citation omitted). The language in Martin does not provide clear
                                                                              22   guidance for cities struggling with sizable homeless populations—in some
                                                                              23   passages, Martin suggests that there must be enough beds for everyone before
                                                                              24   anyone is cited for sleeping on a sidewalk, while other aspects of Martin indicate
                                                                              25   that individuals “who do have access to adequate temporary shelter” but “choose
                                                                              26   not to use it” may be prosecuted without reference to the community. Id. at n.8.
                                                                              27         36.    Regardless of how Martin is interpreted, its clear effect is to tie
                                                                              28   enforcement of public regulation ordinances to the provision of shelter. And

                                                                                                                20
                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   most people agree that the balanced approach is exactly that: provision of safe,
                                                                               2   humane, dignified, and healthy shelters with a path out of homelessness, along
                                                                               3   with regulation of our public spaces. But instead, the City’s and County’s
                                                                               4   approach to the Martin decision has been a lack of both shelters and regulation.
                                                                               5         37.    While homelessness has now exploded beyond the boundaries of
                                                                               6   Skid Row—resulting in public outcry at encampments, crime, and squalor in
                                                                               7   neighborhoods which previously could ignore the devastation—the most heavily
                                                                               8   impacted area is still without a doubt the area of Containment. City and County
                                                                               9   policies continue to concentrate persons experiencing homelessness in Skid Row,
                                                                              10   creating horribly dangerous conditions for unhoused individuals and others living
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                                                                              11   in the area. Affordable housing and services are still heavily concentrated in Skid
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                                                                              12   Row, while development of these housing or services in other areas can take
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                                                                              13   years, even for by-right projects. To this day, Skid Row is an enforcement-free
                                                                              14   zone, effectively exempt from laws against drug use and sales, weapons
                                                                              15   trafficking, human trafficking, gang activity, and public intoxication; reinforcing
                                                                              16   the concentration of human tragedy in a half-square-mile area.
                                                                              17         38.    The most obvious and overt example of the continuing Containment
                                                                              18   Policy is the DTLA2040 plan, recently approved by the Planning Commission
                                                                              19   and formally recommended to City Council, again with significant advocacy and
                                                                              20   support from groups like Los Angeles Community Action Network (LACAN).51
                                                                              21   In creating the new plan for Downtown Los Angeles, the City created an entirely
                                                                              22   new zoning designation just for the Skid Row area, permitting only homeless
                                                                              23   housing developments. This the only such area zoned for this specific purpose in
                                                                              24   the entire City and County (and in fact the nation). This plan re-codifies the
                                                                              25   Containment Policy and flies in the face of decades of research demonstrating the
                                                                              26
                                                                              27
                                                                                         51
                                                                                             Department of City Planning Recommendation Report (June 17, 2021),
                                                                              28   https://planning.lacity.org/odocument/04ca2a68-c5fd-4a26-90c2-
                                                                                   8128910239f7/DRAFT_DTLA_CPC_Staff_Recommendation_Report.pdf.
                                                                                                                          21
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                         ER 229
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                                                                               1   harmful effects of centralizing poverty.52 Under both Federal and California law,
                                                                               2   cities are required to “Affirmatively Further Fair Housing” which includes
                                                                               3   “Replacing Segregated Living Patterns with Truly Integrated and Balanced
                                                                               4   Living Patterns” and “Transforming Racially and Ethnically Concentrated Areas
                                                                               5   of Poverty (R/ECAP) into Areas of Opportunity” such as providing “economic
                                                                               6   development strategies,” “prioritizing investment,” and “promoting mixed-
                                                                               7   income development coupled with strong anti-displacement protections.” 53
                                                                               8   Instead the DTLA2040 plan maintains the segregated living pattern of Skid Row
                                                                               9   and reinforces the most racially and ethnically concentrated area of poverty in the
                                                                              10   entire county (and likely the nation). Because of the Containment Policy, there
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                                                                              11   has been an obvious disinvestment in the area with extremely limited or no
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                                                                              12   access to grocery stores, pharmacies, drug stores, restaurants, transit, retail, and
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                                                                              13   job opportunities, and an abundance of crime, violence, fires, death, and disease.
                                                                              14   With DTLA2040 the Containment Policy is reinforced, and homeless people are
                                                                              15   corralled and contained into a specified area of the city where they are effectively
                                                                              16   abandoned.
                                                                              17         39.    The lack of affordable housing in Los Angeles is no doubt one of the
                                                                              18   drivers of homelessness. In 2015, the City declared a housing emergency and in
                                                                              19   2018 the County did as well and both remain in place. See Sept. 22 Motion (we
                                                                              20   “face an emergency today that requires strong and immediate action by the City
                                                                              21   of Los Angeles.”)54; Resolution of the Board of Supervisors of the County of Los
                                                                              22   Angeles Declaring a Shelter Crisis, October 30, 2018. The County has done little
                                                                              23
                                                                              24         52
                                                                                             See, e.g. Understanding Neighborhood Effects of Concentrated Poverty,
                                                                                   Office of Policy Development and Research (Winter 2011),
                                                                              25   https://www.huduser.gov/portal/periodicals/em/winter11/highlight2.html.
                                                                                          53
                                                                                             California Department of Housing and Community Development,
                                                                              26   Affirmatively Furthering Fair Housing Guidance for All Public Entities and for
                                                                                   Housing Elements 4, 17 (Apr. 2021), https://www.hcd.ca.gov/community-
                                                                              27   development/affh/docs/affh_document_final_4-27-2021.pdf.
                                                                                          54
                                                                                             City Councilmembers Gilbert Cedillo and Mike Bonin, Motion: State of
                                                                              28   Emergency (Sept. 22, 2015), https://clkrep.lacity.org/onlinedocs/2015/15-
                                                                                   1138_mot_09-22-2015.pdf
                                                                                                                           22
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                          ER 230
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                                                                               1   to facilitate the needed expansion housing in the very low- or low-income
                                                                               2   categories. For example, in the last reporting period by the County (all
                                                                               3   unincorporated areas), from 2014 to 2019 it produced a paltry 891 units of very
                                                                               4   low- and low-income housing in an unincorporated area of over 1 million
                                                                               5   residents. In fact, in the entire unincorporated county only 6,157 housing units in
                                                                               6   total were produced. Los Angeles is now ranked as the most unaffordable city in
                                                                               7   the country, with over 60 percent of tenants paying more than 30 percent of their
                                                                               8   household income for rent and over 30 percent of tenants severely rent-burdened,
                                                                               9   paying more than 50 percent of their income for rent. Both City and County have
                                                                              10   failed to meet their housing requirements for very low, low, and moderate-
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                                                                              11   income permits. The County only permitted 22.5 percent of its required very
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                                                                              12   low-income projects, 24.1 percent of its low-income projects, 14 percent of its
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                                                                              13   moderate-income projects, and 190.2 percent of its above-moderate income
                                                                              14   projects. This was an intentional, affirmative choice made year-after-year,
                                                                              15   knowing the implications on people experiencing homelessness and the
                                                                              16   disproportionate impact on Black Angelenos.
                                                                              17   B.    Crime and Fire Incidents Have Rocketed
                                                                              18         40.    The crisis of so many unsheltered individuals in a wealthy City and
                                                                              19   County is a tragedy in and of itself. But the tragedy has been exacerbated by a
                                                                              20   severe spike in crime both on and by homeless persons, particularly in violent
                                                                              21   attacks.55 Los Angeles Police Department (“LAPD”) citywide data from 2016 to
                                                                              22   2020 shows a 200 percent increase in crime against persons experiencing
                                                                              23   homelessness, 56 and an increase of 354 percent of suspects experiencing
                                                                              24
                                                                              25         55
                                                                                             Leonard, supra note 7,
                                                                                   https://www.nbclosangeles.com/news/local/LAPD-Reports-Spike-in-Homeless-
                                                                              26   Crime-502407861.html; Matthew, supra note 7,
                                                                                   https://www.lamag.com/citythinkblog/homeless-crime/.
                                                                              27          56
                                                                                             It must be noted this statistic is only available for persons who reported
                                                                                   the crime; an untold number of crimes are perpetrated on persons experiencing
                                                                              28   homelessness which go unreported because the victim lacks agency, awareness,
                                                                                   hope, or fears retribution.
                                                                                                                               23
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                          ER 231
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                                                                               1   homelessness. The top three crimes reported for both suspects and victims
                                                                               2   experiencing homelessness were assault with a deadly weapon, battery, and
                                                                               3   robbery.57
                                                                               4         41.    In addressing the rise in crime within the homeless community, one
                                                                               5   City official accurately noted, “[T]here are certainly tensions that are rising
                                                                               6   within the homeless population. . . the connective tissue between them all is the
                                                                               7   increase in the concentration. As the homeless encampments increase, so do
                                                                               8   fights over territory, over property, over intangibles, as well as domestic
                                                                               9   violence.”58 “Personal Security Tips” have been given to County employees
                                                                              10   walking to and from civil and mental health courts, advising them “remain
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                                                                              11   vigilant,” “travel in numbers,” and “drive in a middle or left lane” due to the
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                                                                              12   criminal element rising out of surrounding homeless encampments.
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                                                                              13         42.    Crime against homeless women in particular has become a “crisis
                                                                              14   within a crisis” with 60 percent of homeless women reporting violence in the last
                                                                              15   year and 25 percent experiencing it “often” or “always.” 59 More than a quarter
                                                                              16   have experienced sexual assault in the last twelve months, and 37 percent report
                                                                              17   having experienced domestic violence in the same time period.60
                                                                              18         43.    As crime has increased, so have fires. There were 2,500 fires just
                                                                              19   involving the homeless community in Los Angeles in 2018, which is double the
                                                                              20
                                                                              21
                                                                              22
                                                                                         57
                                                                                             Nisha Venkat, LA’s homeless crime epidemic, Crosstown (June 23,
                                                                              23   2020),58https://xtown.la/2020/06/23/homeless-crime-los-angeles/.
                                                                                             See Queally, supra note 12,
                                                                              24   https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                                   attacks-fire.
                                                                              25          59
                                                                                             Elijah Chiland, For women, ‘living on the streets in Los Angeles is
                                                                                   dangerous and traumatic’, Curbed Los Angeles (Jan. 30, 2020, 2:25 PM),
                                                                              26   https://la.curbed.com/2020/1/30/21115700/downtown-womens-center-homeless-
                                                                                   report.60
                                                                              27             Downtown Women’s Center, 2019 Los Angeles City Women’s Needs
                                                                                   Assessment, https://www.downtownwomenscenter.org/wp-
                                                                              28   content/uploads/2020/01/DWC-2019-Los-Angeles-Womens-Needs-
                                                                                   Assessment.pdf (last visited June 22, 2022).
                                                                                                                           24
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                       ER 232
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                                                                               1   number of such fires in 2017. 61 That number jumped to 3,285 in 2019 and 6,151
                                                                               2   in 2020. 62 53.87 percent of all fires in the City of Los Angeles are homeless-
                                                                               3   related; nearly 20 percent of all fires in the city are homeless-related arson fires.
                                                                               4   This represents a 245 percent increase in all homeless-related fires and 240
                                                                               5   percent increase in all homeless-related arson fires since 2018.63 The industrial
                                                                               6   buildings and businesses downtown regularly experience fires from adjacent
                                                                               7   encampments, whether from heaters, food preparation, or arson. Businesses are
                                                                               8   being dropped by insurance companies because of the fire risks due to the
                                                                               9   homeless living on their sidewalks. 64 Fire hydrants are being repurposed by
                                                                              10   homeless individuals for drinking, bathing, and washing clothes and personal
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                                                                              11   items, compromising fire-readiness and putting an untold number of lives and
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                                                                              12   structures at greater risk in the event of a fire. 65 There have been no observable
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                                                                              13   efforts to curb the use of open flames, despite fire code provisions that prohibit
                                                                              14   them and the frequent use of open flames in homeless encampments.66 In fact,
                                                                              15   the Mitchell settlement specifically permits violations of the fire code by
                                                                              16   allowing “open-flame cooking devices” as long as they have fuel containers
                                                                              17   under a certain size. See Stipulated Order of Dismissal at 11, Mitchell v. City of
                                                                              18   Los Angeles, Case No. CV16-01750 (C.D. Cal. May 31, 2019), ECF No. 119.
                                                                              19         44.    Fires originating in homeless encampments are now a regular
                                                                              20   occurrence in Los Angeles County. One of the most destructive fires in Los
                                                                              21   Angeles over the last 10 years, the Skirball Fire, was caused by a cooking fire at a
                                                                              22
                                                                                         61
                                                                                             See Queally, supra note 12,
                                                                              23   https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                                   attacks-fire.
                                                                              24          62
                                                                                             Mitchell Decl. Ex. C, at 188, ECF No. 265-1.
                                                                                          63
                                                                                             Id.
                                                                              25          64
                                                                                             Grover, supra note 13, https://www.nbclosangeles.com/news/local/LA-
                                                                                   Homeless-Encampment-Fires-Insurance-Rates-Tents-Homelessness-
                                                                              26   561145811.html.
                                                                                          65
                                                                                             Joel Grover and Amy Corral, Firefighters Lose Critical Tool to Battle
                                                                              27   Rise in Homeless Fires, NBC Los Angeles (July 25, 2019, 10:53 AM),
                                                                                   https://www.nbclosangeles.com/investigations/Firefighters-Lose-Critical-Tool-
                                                                              28   to-Battle-Rise-in-Homeless-Fires-513057481.html.
                                                                                          66
                                                                                             Id.
                                                                                                                            25
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                           ER 233
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                                                                               1   homeless encampment in the hills of Bel Air in 2017—which caused thousands
                                                                               2   to evacuate and destroyed several houses. 67 In July 2019, a fire broke out in a
                                                                               3   homeless encampment in the Sepulveda Basin, where homeless residents report
                                                                               4   they put out “multiple fires daily,” burning 6 acres and destroying the
                                                                               5   encampment. 68 This unchecked chaos in the County is directly linked to and as a
                                                                               6   result of the County’s failure to address homelessness system-wide.
                                                                               7   C.    Public Health is Compromised
                                                                               8         45.    Beyond crime and fire, the homelessness crisis presents a pressing
                                                                               9   public health predicament. The Covid-19 pandemic drew attention to the
                                                                              10   inability of the unsheltered community to maintain a sanitary environment
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                                                                              11   without regular access to restrooms or running water, and the potential health
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                                                                              12   implications for the rest of the housed community. But even before Covid
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                                                                              13   existed, homelessness created significant health hazards. The accumulation of
                                                                              14   property and food storage in tents by homeless individuals has made Skid Row
                                                                              15   and other areas hotbeds for flea-infested rats and other disease-carrying vermin,
                                                                              16   making some areas nearly unlivable.69 Los Angeles declared Skid Row a “typhus
                                                                              17   zone” and at least one Deputy City Attorney contracted typhus apparently from
                                                                              18
                                                                              19
                                                                              20
                                                                              21         67
                                                                                             Gale Holland, Laura J. Nelson, et al., Fire at a homeless encampment
                                                                                   sparked Bel-Air blaze that destroyed homes, officials say, Los Angeles Times
                                                                              22   (Dec. 12, 2017, 5:55 PM), https://www.latimes.com/local/lanow/la-me-skirball-
                                                                                   fire-cause-20171212-story.html.
                                                                              23          68
                                                                                             Ariella Plachta and Elizabeth Chou, A Sepulveda basin encampment fire
                                                                                   left dozens of homeless people displaced but service providers have little to offer
                                                                              24   them, Los Angeles Daily News (May 2, 2020, 11:01 AM),
                                                                                   https://www.dailynews.com/2019/07/31/a-sepulveda-basin-encampment-fire-left-
                                                                              25   dozens-of-homeless-people-displaced-but-service-providers-have-little-to-offer-
                                                                                   them/. 69
                                                                              26             Lauren Fruen, Collapse of a City That’s Lost Control: Shocking New
                                                                                   Pictures From Downtown LA Capture The Huge Problem it Faces With Trash
                                                                              27   and Rats Amid Fear of Typhoid Fever Outbreak Among LAPD, Daily Mail and
                                                                                   Associated Press, (June 2, 2019, 1:32 PM),
                                                                              28   https://www.dailymail.co.uk/news/article-7095533/Pictures-downtown-LA-
                                                                                   capture-problem-faces-trash-tries-rodents.html.
                                                                                                                            26
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                       ER 234
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                                                                               1   the conditions surrounding her office building in Downtown Los Angeles. 70
                                                                               2   LAPD Officers working Central Division downtown contracted typhoid fever,
                                                                               3   caused by contamination of human fecal matter. 71 The United Nations noted
                                                                               4   “Los Angeles failed to meet even the minimum standards the United Nations
                                                                               5   High Commissioner for Refugees sets for refugee camps in the Syrian Arab
                                                                               6   Republic and other emergency situations.” 72 The City Controller reported that in
                                                                               7   2017 City officials had removed 8 tons of solid waste, including 40 pounds of
                                                                               8   urine and feces from homeless encampments in one cleanup of one
                                                                               9   encampment. 73 Los Angeles Sanitation (LASAN) estimated that its program,
                                                                              10   Operation Healthy Streets, cleared an average of 5 tons of solid waste per day at
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                                                                              11   encampments in the City.74 While shelter is a good start to move people inside,
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                                                                              12   without services and treatment many of those for whom shelter isn’t an option
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                                                                              13   continue the unhealthy behaviors on the street.
                                                                              14         46.    In addition to the societal implications associated with unsanitary
                                                                              15   conditions related to unsheltered homelessness, it has been well-documented that
                                                                              16   the physical and mental health of unsheltered persons is significantly worse than
                                                                              17   those of their sheltered or housed counterparts. 75 According to a report from the
                                                                              18
                                                                              19         70
                                                                                             Harriet Ryan, ‘Absolutely terrifying’: Deputy city attorney says she
                                                                                   contracted typhus at City Hall, Los Angeles Times, (Feb. 9, 2019, 5:45 PM),
                                                                              20   https://www.latimes.com/local/lanow/la-me-ln-city-hall-typhus-20190209-
                                                                                   story.html.
                                                                              21          71
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                                                                                   fever, Los Angeles Times, (May 29, 2019, 8:44 PM),
                                                                              22   https://www.latimes.com/local/lanow/la-me-ln-lapd-typhoid-fever-20190529-
                                                                                   story.html.
                                                                              23          72
                                                                                             Report of the Special Rapporteur on extreme poverty and human rights
                                                                                   on his mission to the United States of America, U.N. Doc. A/HRC/38/33/Add.1
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                                                                                   Encampments, Office of the Controller (Sept. 27, 2017),
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                                                                                             Id.
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                                                                                             Adeline M. Nyamathi and Barbara Leake, et al., Sheltered versus
                                                                                   nonsheltered homeless women, J. Gen. Intern. Med. vol. 15, issue 8, at pp. 565-72
                                                                              28   (Aug. 2000), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1495574/;

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                                                                                              SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   Los Angeles County Department of Public Health (“DPH”), homeless-related
                                                                               2   deaths have nearly tripled from 2014 to 2021.76 On average, a homeless person
                                                                               3   in Los Angeles will die 22 years earlier than the general population.77 An earlier
                                                                               4   homeless mortality report noted:
                                                                               5                A principal finding is that the overall homeless
                                                                                                mortality rate has steadily increased over the past six
                                                                               6                years. This means that increases in the number of
                                                                                                homeless deaths recently reported in the media cannot
                                                                               7                be attributed solely to the fact that the total number of
                                                                                                homeless people has also been increasing. Put simply,
                                                                               8                being homeless in LA     County is becoming
                                                                                                increasingly deadly. 78
                                                                               9
                                                                                         47.    Dr. Barbara Ferrer, director of DPH conceded: “Homeless people
                                                                              10
                                                                                   are in fact dying at a higher rate because they’re homeless.”79 Meaning, while
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                                                                                   the PIT count increases year-after-year, the mortality rate of the unsheltered
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                                                                              12
                                                                                   population is increasing at an even faster rate. Below is a chart of both homeless
                                      LOS ANGELES, CA 90025




                                                                              13
                                                                                   deaths and rates of homeless deaths over the last several years, both of which are
                                                                              14
                                                                                   increasing. Alarmingly, the deaths of people experiencing homelessness jumped
                                                                              15
                                                                                   56 percent in one year, reflected by the most recent calculations. Even removing
                                                                              16
                                                                                   Covid-related deaths, the increase was a shocking 42 percent.80
                                                                              17
                                                                              18
                                                                                   Rountree, supra note 8, https://www.capolicylab.org/wp-
                                                                              19   content/uploads/2019/10/Health-Conditions-Among-Unsheltered-Adults-in-the-
                                                                                   U.S.pdf.
                                                                              20          76
                                                                                             County of Los Angeles, Public Health, Mortality among People
                                                                                   Experiencing Homelessness in Los Angeles County: One Year Before and After
                                                                              21   the Start of the COVID-19 Pandemic (April 2022),
                                                                                   http://publichealth.lacounty.gov/chie/reports/Homeless_Mortality_Report_2022.p
                                                                              22   df. 77
                                                                                             County of Los Angeles, Public Health, Center for Health Impact
                                                                              23   Evaluation, Recent Trends in Mortality Rates and Causes of Death Among
                                                                                   People Experiencing Homelessness in Los Angeles County (October 2019),
                                                                              24   http://publichealth.lacounty.gov/chie/reports/HomelessMortality_CHIEBrief_Fin
                                                                                   al.pdf at 5 (“The average age at death was 51 among the homeless and 73 among
                                                                              25   the general   population.”).
                                                                                          78
                                                                                             Id. (emphasis added).
                                                                              26          79
                                                                                             Jessica Flores, Homeless deaths in LA County doubled between 2013
                                                                                   and 2018, Curbed Los Angeles (Oct. 30, 2019, 3:50 PM),
                                                                              27   https://la.curbed.com/2019/10/30/20940369/homeless-deaths-los-angeles-county.
                                                                                          80
                                                                                             County of Los Angeles, Public Health, supra note 79,
                                                                              28   http://publichealth.lacounty.gov/chie/reports/Homeless_Mortality_Report_2022.p
                                                                                   df.
                                                                                                                           28
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                                      LOS ANGELES, CA 90025




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                                                                              16         48.    Yet in New York City, where the number of people experiencing
                                                                              17   homelessness is high but the rate of unsheltered homelessness is low (5 percent
                                                                              18   compared to Los Angeles’ 75 percent), the mortality rates of homeless persons
                                                                              19   compared to general population low-income adults is nearly identical.81 Where
                                                                              20   “[m]ortality is a key health indicator” and unsheltered homeless die at a
                                                                              21   significantly faster rate than persons experience homelessness who are at least
                                                                              22   sheltered, there is no doubt unsheltered homelessness both causes and
                                                                              23   exacerbates physical and mental health problems.82
                                                                              24
                                                                              25          81
                                                                                             Bonnie D. Kerker, PhD, Jay Bainbridge, PhD, et al., A Population-Based
                                                                                   Assessment of the Health of Homeless Families in New York City, 2001–2003,
                                                                              26   American Journal of Public Health (Sept. 20, 2011),
                                                                                   https://ajph.aphapublications.org/doi/abs/10.2105/AJPH.2010.193102.
                                                                              27          82
                                                                                             County of Los Angeles, supra note 80,
                                                                                   http://publichealth.lacounty.gov/chie/reports/HomelessMortality_CHIEBrief_Fin
                                                                              28   al.pdf; Seena Fazel, MD, John R. Geddes, MD, et al., The health of homeless

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                                                                               1         49.    Los Angeles County has acknowledged this, and in 2012 the
                                                                               2   Department of Health Services launched a program called Housing for Health,
                                                                               3   observing “[a]ccess to community based housing options is an important element
                                                                               4   of our evolving county healthcare system, particularly in response to the
                                                                               5   homelessness crisis.”83 A study conducted by the RAND Corporation on the first
                                                                               6   890 participants enrolled found that the cost of providing health care per
                                                                               7   participant decreased by 40 percent (from an average of $38,146 to $15,358)
                                                                               8   because there was less need for the patients to access the system. 84
                                                                               9   D.    Crowded and Blocked Sidewalks Put Everyone at Risk
                                                                              10         50.    The homelessness crisis has also impeded the use of a critical
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                                                                              11   element of city life: sidewalks. While it is true that public sidewalks exist for the
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                                                                              12   benefit of all—and blocked sidewalks harm everyone who needs to use them and
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                                                                              13   cannot, the harm felt by all members of society is not identical. Free and clear
                                                                              14   sidewalks are critical for individuals using mobility devices like walkers and
                                                                              15   wheelchairs. Municipalities have an obligation to ensure that public sidewalks
                                                                              16   are usable and compliant with ADA requirements, such as providing a minimum
                                                                              17   of 36 inches of clearance for wheelchair users, yet the City had regularly ignored
                                                                              18   its obligations and failed to provide such clearance. Encampments throughout
                                                                              19
                                                                              20   people in high-income countries: descriptive epidemiology, health consequences,
                                                                                   and clinical and policy recommendations, The Lancet, vol. 382, issue 9953, pp.
                                                                              21   1529-40 (Oct. 25, 2014),
                                                                                   https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(14)61132-
                                                                              22   6/fulltext; County of Los Angeles, supra note 79,
                                                                                   http://publichealth.lacounty.gov/chie/reports/Homeless_Mortality_Report_2022.p
                                                                              23   df. 83
                                                                                             Health Services of Los Angeles County, Housing for Health,
                                                                              24   https://dhs.lacounty.gov/lacusc/our-services/housing/ (last visited June 23, 2022).
                                                                                          84
                                                                                             Sarah B. Hunter, Housing for Health; Los Angeles County’s Department
                                                                              25   of health Tackles Homelessness with an Innovative Housing Program That Saves
                                                                                   Money, The Rand Blog (Jan. 18, 2018),
                                                                              26   https://www.rand.org/blog/2018/01/housing-for-health-los-angeles-countys-
                                                                                   department-of.html (Notably the County experienced a net savings of 20% even
                                                                              27   taking the costs of housing into consideration (from an average of $38,146 per
                                                                                   participant to $30,646). Of course, this number doesn’t take into consideration
                                                                              28   the additional savings from other departments such as reduced law enforcement
                                                                                   contacts.
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                                                                               1   the City and County block sidewalks and public rights-of-way. Those
                                                                               2   encampments will be significantly reduced under this new agreement.
                                                                               3   E.    Environmental Impact
                                                                               4         51.   The unhealthiness of the homelessness crisis extends to the
                                                                               5   environment. There appears to be no environmental impact study of the kind of
                                                                               6   widespread and systemic homelessness in Los Angeles. Yet all indications show
                                                                               7   the impact has been significant. 85 Every day, businesses and residents find used
                                                                               8   needles in their drains, on sidewalks, and in gutters. Los Angeles County has far
                                                                               9   more unsheltered people than Orange County, and officials there recovered over
                                                                              10   14,000 hypodermic needles, plus over 5,000 pounds of “hazardous waste”
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                                                                              11   including human waste, and toxic chemicals such as propane, pesticides,
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                                                                              12   solvents, and paint during a clean-up of a homeless encampment in the Santa Ana
                                      LOS ANGELES, CA 90025




                                                                              13   Riverbed consisting of approximately 1400 people. 86 While City sanitation
                                                                              14   workers are deployed to identify and discard toxic waste, only 30 teams are
                                                                              15   working to cover 500 square miles, human waste, and other toxic substances is
                                                                              16   regularly making its way into our ecosystems.
                                                                              17         52.   The Environmental Protection Agency recognized this issue in a
                                                                              18   letter addressed to Governor Gavin Newsom:
                                                                              19               The EPA is aware of the growing homelessness crisis
                                                                                               developing in major California cities, including Los
                                                                              20               Angeles and San Francisco, and the impact of this crisis
                                                                                               on the environment. Indeed, press reports indicate that
                                                                              21               “piles of human feces” on sidewalks and streets in these
                                                                                               cities are becoming all too common. The EPA is
                                                                              22               concerned about the potential water quality impacts
                                                                                               from pathogens and other contaminants from untreated
                                                                              23               human waste entering nearby waters. San Francisco,
                                                                              24
                                                                                         85
                                                                                             Courtenay White, Environmental Impacts of Homeless Encampments in
                                                                              25   the Guadalupe River Riparian Zone, School of Environment and Sustainability,
                                                                                   Royal Roads University (Nov. 19, 2013),
                                                                              26   https://viurrspace.ca/bitstream/handle/10170/665/white_courtenay.pdf?sequence=
                                                                                   1&isAllowed=y.
                                                                              27          86
                                                                                             Anh Do, ‘Eye-popping’ number of hypodermic needles, pounds of waste
                                                                                   cleared from Orange County riverbed homeless encampment, Los Angeles Times
                                                                              28   (Mar. 10, 2018, 4:30 PM), https://www.latimes.com/local/lanow/la-me-ln-
                                                                                   riverbed-debris-20180310-story.html.
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                                                                                                 Los Angeles and the state do not appear to be acting
                                                                               1                 with urgency to mitigate the risks to human health and
                                                                                                 the environment that may result from the homelessness
                                                                               2                 crisis. 87
                                                                               3           53.   Thousands of people camp in or near the Los Angeles River basin,
                                                                               4   without access to toilets and sanitation services. The amount of related toxic and
                                                                               5   human waste making its way into our environment is, upon information and
                                                                               6   belief, substantial, but its full scope is unknown. 88 The Ballona Wetlands have
                                                                               7   been ravaged by nearby encampments through raw sewage dumps, needles, and
                                                                               8   fires. 89
                                                                               9           54.   The environmental impact of fires arising out of homelessness is
                                                                              10   also of great concern. Fires originating in homeless encampments are not just a
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                                                                              11   potential threat—they have actually destroyed thousands of acres of brush and
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                                                                              12   wildlife. The sweeping footprints of the County of Los Angeles encompass vast
                                      LOS ANGELES, CA 90025




                                                                              13   amounts of undeveloped land, full of dry brush and other readily combustible
                                                                              14   material. Such areas are an attractive location for many people experiencing
                                                                              15   homelessness wishing to reside “off the grid” and the combination of propane-
                                                                              16   fueled cooking fires and bootlegged electricity in untended conditions is a recipe
                                                                              17   for, and indeed has already resulted in, massively destructive fires.
                                                                              18   F.      Property Values and Businesses are Affected
                                                                              19           55.   Another casualty of the homelessness crisis is the value of property
                                                                              20   and businesses. Downtown Los Angeles has experienced a renaissance over the
                                                                              21   last 20 years with loft conversions, hundreds of new restaurants, and until
                                                                              22
                                                                              23
                                                                                           87
                                                                                             Letter to Governor Gavin C. Newsom from Andrew R. Wheeler,
                                                                              24   September 26, 2019, https://www.epa.gov/sites/production/files/2019-
                                                                                   09/documents/9.26.19_letter-epa.pdf.
                                                                              25          88
                                                                                             Anna Almendrala, Fecal Bacteria in California Waterways Increases
                                                                                   With Homelessness crisis, CaliforniaHealthline.org (Jan. 6, 2020),
                                                                              26   https://californiahealthline.org/news/fecal-bacteria-in-californias-waterways-
                                                                                   increases-with-homeless-crisis/.
                                                                              27          89
                                                                                             Erika D. Smith, Trash, needles and fire. He’s watching homelessness
                                                                                   destroy the Ballona Wetlands, Los Angeles Times (June 17, 2021, 5:00 AM),
                                                                              28   https://www.latimes.com/california/story/2021-06-17/hes-watching-la-
                                                                                   homelessness-destroy-ballona-wetlands.
                                                                                                                            32
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                                                                               1   recently over 3,000,000 square feet of office space under construction.90 That
                                                                               2   renaissance is now in jeopardy due to the homelessness crisis. Businesses are
                                                                               3   suffering and property values have been affected. The average apartment
                                                                               4   occupancy rate, rent pricing, number of sales, and sale price per square foot
                                                                               5   downtown have all decreased from 2018 numbers correlating with a rise in
                                                                               6   homelessness at the same time. Businesses throughout Los Angeles, such as
                                                                               7   Desuar Spa on 5th Street, owned by Deisy Suarez, and Exclusive Motors on
                                                                               8   Venice Boulevard, owned by George Frem, both described infra, have customers
                                                                               9   declining to utilize their services due to nearby encampments. A recent article
                                                                              10   describes in detail Venice’s inability to keep pace with the property market due in
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                                                                              11   large part to the homelessness crisis. 91
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                                                                              12         56.    Nowhere is the impact felt more strongly than on Skid Row itself,
                                      LOS ANGELES, CA 90025




                                                                              13   where encampments are visibly choking out local property owners and
                                                                              14   businesses. Plaintiff Joseph Burk can no longer maintain tenants in his building
                                                                              15   and production companies are declining to work there due to the surrounding
                                                                              16   environment. He has been trying to sell the property but the offers he receives
                                                                              17   have been less than half of what other comparable properties receive in
                                                                              18   neighboring areas and even then buyers have dropped out of escrow due to
                                                                              19   concerns about the area. He has been trying to rent the property, but no one will
                                                                              20   rent it. He and his wife had been living there, but due to the conditions on the
                                                                              21   sidewalk outside his home, it is unlivable. He is now saddled with what should
                                                                              22   be a valuable building that is near-impossible to sell, rent, live in, or use for
                                                                              23
                                                                              24         90
                                                                                             Vivian Marino, Revitalization Projects Reawaken Downtown Los
                                                                                   Angeles, The New York Times (Mar. 5, 2019),
                                                                              25   https://www.nytimes.com/2019/03/05/business/revitalization-projects-reawaken-
                                                                                   downtown-los-angeles.html; Andrea Lo, How downtown Los Angeles made a
                                                                              26   stunning comeback, CNN.com (Feb. 16, 2017, 9:09 PM),
                                                                                   https://www.cnn.com/2017/02/15/architecture/downtown-la-revival/index.html.
                                                                              27          91
                                                                                             Katy McLaughlin, The Venice Real-Estate Market Is Unstoppable No
                                                                                   More, The Wall Street Journal (Mar. 4, 2021, 12:45 PM),
                                                                              28   https://www.wsj.com/articles/the-venice-real-estate-market-is-unstoppable-no-
                                                                                   more-11614879936
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                                                                               1   business purposes—all due to conditions outside his property that are beyond his
                                                                               2   control, but are directly within the City’s control.
                                                                               3         57.    Alliance member Lisa Rich’s family has owned commercial
                                                                               4   property in the Skid Row area for decades, but she is now having to heavily
                                                                               5   discount the rents she charges, repair at least one building damaged by fires at a
                                                                               6   cost of $80,000, and pay four times her prior premiums for fire insurance. These
                                                                               7   burdens have her considering abandoning all financial dealings in the area.
                                                                               8   Alliance member Mark Shinbane has difficulty hiring and retaining employees,
                                                                               9   has had to replace doors and fences, has to clean the perimeter of the building
                                                                              10   multiple times per day, and has had to hire additional staff to handle cleaning and
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                                                                              11   maintenance, all at economic cost. Plaintiff Harry Tashdjian has been forced to
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                                                                              12   spend over $100,000 on upgraded fire and security systems and pest control just
                                      LOS ANGELES, CA 90025




                                                                              13   in the last few years while simultaneously losing customers due to the property’s
                                                                              14   surroundings.
                                                                              15   G.    The Homelessness Crisis Harms Society
                                                                              16         58.    The County, as the provider of last resort, has the obligation to
                                                                              17   “relieve and support all incompetent, poor, indigent persons, and those
                                                                              18   incapacitated by age, disease, or accident . . . when such persons are not
                                                                              19   supported and relieved by their relatives or friends, by their own means, or by
                                                                              20   state hospitals or other state or private institutions.” Cal. Welf. & Inst. Code §
                                                                              21   17000. The purpose animating section 17000 is to “provide for protection, care,
                                                                              22   and assistance to the people of the state in need thereof, and to promote the
                                                                              23   welfare and happiness of all of the people of the state by providing appropriate
                                                                              24   aid and services to all of its needy and distressed.” Cal. Welf. & Inst. Code §
                                                                              25   10000. The County is also the entity who oversees and implements Medi-Cal
                                                                              26   and now CalAIM and is under the obligation to provide mental and physical
                                                                              27   healthcare to all who qualify for MediCal (which is just about everyone who is
                                                                              28   experiencing homeless) but fails to do so. The “incompetent, poor, [and]

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                                                                               1   indigent persons” are not being relieved and supported, nor is “protection, care,
                                                                               2   and assistance” being given to those who desperately need it. The result is
                                                                               3   readily observable: squalor, lawlessness, disease, and death.
                                                                               4   H.    The County is Wasting Crucial Funds that Could Alleviate this Man-
                                                                               5         Made Disaster
                                                                               6         59.    The County has squandered massive amounts of homelessness-
                                                                               7   related funds, using its substantial revenue from Measure H and state and federal
                                                                               8   funds together to fund homeless-relief projects which have no chance of
                                                                               9   achieving the goal for which they are intended. For the 2022-2023 fiscal year,
                                                                              10   the County is proposing a $38.5 billion budget, which includes a $532.6 million
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                                                                              11   “Homeless Initiative” spending plan, $466 million of which comes from Measure
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                                                                              12   H, and another $65.86 million came from the state. Measure H was described as
                                      LOS ANGELES, CA 90025




                                                                              13   a tax voted for by county residents in 2017 to “fund mental health, substance
                                                                              14   abuse treatment, health care, education, job training, rental subsidies, emergency
                                                                              15   and affordable housing, transportation, outreach, prevention, and supportive
                                                                              16   services for homeless children, families, foster youth, veterans, battered women,
                                                                              17   seniors, disabled individuals, and other homeless adults.” 92 Of the 12 areas of
                                                                              18   homeless support articulated by Measure H and approved by the voters, LA
                                                                              19   County is unilaterally choosing to spend nearly all of its substantial funds (73.4
                                                                              20   percent) on permanent and interim housing, and very little on anything else. The
                                                                              21   LA County Homeless Initiative—which plans for and spends Measure H
                                                                              22   dollars—describes the focus of the spending plan as one “that significantly
                                                                              23   expands permanent and interim housing solutions and increasing funding for
                                                                              24
                                                                              25
                                                                              26
                                                                              27         92
                                                                                            Los Angeles County, California, Sales Tax for Homeless Services and
                                                                                   Prevention, Measure H, Ballotpedia.org (March 2017),
                                                                              28   https://ballotpedia.org/Los_Angeles_County,_California,_Sales_Tax_for_Homel
                                                                                   ess_Services_and_Prevention,_Measure_H_(March_2017).
                                                                                                                          35
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                                                                               1   local cities.”93 Yet that’s not what the voters approved: “mental health, substance
                                                                               2   use treatment, healthcare, education, and job training” don’t even make an
                                                                               3   appearance on the County’s Homeless Initiative budget, which instead includes
                                                                               4   line-items like “justice reform” which are not found in the voter-approved ballot.
                                                                               5   The Final Adopted Budget of the Department of Mental Health for FY 2021-
                                                                               6   2022 reported only $12.3 million of its allotted funds coming from Measure H
                                                                               7   which represents only 0.4 percent of DMH’s budget, and only 2.3 percent of
                                                                               8   Measure H funds. And there is nothing at all about substance abuse treatment.
                                                                               9   Measure H promised the voters real, significant services in specific areas that the
                                                                              10   public saw as valuable; once the County had the initiative locked, it took those
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                                                                              11   dollars and used them for whatever it wanted to. Such a bait-and-switch is not
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                                                                              12   only unlawful, but also an anathema to our democratic process.
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                                                                              13         60.    Los Angeles County’s Department of Mental Health (DMH) is also
                                                                              14   quite literally leaving money on the table by failing to apply for reimbursement
                                                                              15   for Mental Health Medi-Cal Administrative Activities (MH-MAA). Alameda
                                                                              16   County was able to increase its receipt of these funds by millions of dollars,
                                                                              17   whereas Los Angeles County’s claims actually decreased in the 2019-2020 year,
                                                                              18   barely taking advantage of this fee-for-service opportunity.94
                                                                              19         61.    And of DMH’s $3 billion budget, only 1 percent comes from the
                                                                              20   County itself, with the remaining funds coming from various taxes and grants.
                                                                              21   That 1 percent is the absolute minimum the County must do as a “maintenance of
                                                                              22   effort” to continue to receive state and federal funds. Which means out of the
                                                                              23   County’s nearly $40 billion general fund budget, only 0.1 percent is dedicated to
                                                                              24
                                                                                         93
                                                                                              The Los Angeles County Homeless Initiative, $532.6M Homeless
                                                                              25   Initiative Spending Plan for FY 2022-23 (May 17, 2022),
                                                                                   https://homeless.lacounty.gov/news/la-county-prepares-to-intensify-and-refocus-
                                                                              26   its-fight-against-homelessness-as-board-of-supervisors-approves-532-6m-
                                                                                   spending-plan-for-fy-2022-23/.
                                                                              27           94
                                                                                              Claudia Boyd-Barrett, As Need for Mental Health Care Surges, A
                                                                                   Funding Program Remains Underused, California Health Report (Feb. 9, 2021),
                                                                              28   https://www.calhealthreport.org/2021/02/09/as-need-for-mental-health-care-
                                                                                   surges-a-funding-program-remains-underused/
                                                                                                                           36
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                                                                               1   the Department of Mental Health. Given the massive crisis and lip-service desire
                                                                               2   to address that crisis, that sort of spending is both shameful and constitutionally
                                                                               3   deficient.
                                                                               4         62.    Since the passage of Measure H and its concomitant additional
                                                                               5   hundreds of millions of dollars for housing and services, the homeless population
                                                                               6   in LA County has risen from 57,794 to 66,436 (a 13 percent increase, as of the
                                                                               7   2020 point-in-time count). The problem is outpacing the solution and the County
                                                                               8   has failed to utilize the funds in a manner that would effectuate the goal. 95
                                                                               9   I.    LA County Is Failing to Meet its Statutory Mandate, Directly
                                                                              10         Resulting in the Death and Destruction on the Street of Los Angeles
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                                                                              11         63.    The County has failed to meet its statutory obligation to properly
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                                                                              12   administer and provide mental and healthcare services. 96 Outreach workers and
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                                                                              13   service providers report that drug rehabilitation treatment and accessible and
                                                                              14   appropriate mental health services are nearly impossible to come by. This is
                                                                              15   catastrophic news in light of California Policy Lab’s finding that 78 percent
                                                                              16   report mental health conditions and 75 percent report substance conditions. 97
                                                                              17         64.    The County Board of Supervisors recognizes the “minimum number
                                                                              18   of beds required to appropriately meet the [community’s mental health] need is
                                                                              19
                                                                              20
                                                                              21
                                                                              22
                                                                                         95
                                                                                             County of Los Angeles, County develops action plan for homelessness
                                                                              23   prevention (Dec. 16, 2019), https://homeless.lacounty.gov/news/county-
                                                                                   develops-action-plan-for-homelessness-prevention/ (approximately 133 people
                                                                              24   per day are finding some sort of housing, while an estimate 150 people per day
                                                                                   are entering homelessness); Erika D. Smith, In 2019, homelessness truly felt like
                                                                              25   a crisis in every corner of L.A., Los Angeles Times (Dec. 20, 2019, 3:00 AM),
                                                                                   https://www.latimes.com/california/story/2019-12-10/homeless-housing-crisis-
                                                                              26   los-angeles.
                                                                                          96
                                                                                             See Cal. Welf. & Inst. Code § 13000-13008; 14000 et seq., 5600 et seq.,
                                                                              27   and 17000    et seq.
                                                                                          97
                                                                                             See Rountree, supra note 8, https://www.capolicylab.org/wp-
                                                                              28   content/uploads/2019/10/Health-Conditions-Among-Unsheltered-Adults-in-the-
                                                                                   U.S.pdf.
                                                                                                                            37
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                                                                               1   50 public mental health beds per 100,000 individuals. In Los Angeles County
                                                                               2   there are only 22.7 beds per 100,000 individuals.” 98
                                                                               3         65.    The Department of Mental Health (DMH) conducted an
                                                                               4   investigation and issued a report that summarized the capacity issue:
                                                                               5                [There is a] serious deficit in LA County’s mental
                                                                                                health system of care. Our system is not delivering
                                                                               6                enough highquality mental health hospital services to
                                                                                                meet the need, and the effects of this deficit are dire:
                                                                               7                       • The Department of Health Services’ psychiatric
                                                                                                emergency rooms are severely overcrowded, with
                                                                               8                patients sometimes having to stay several days while
                                                                                                they wait for a hospital bed.
                                                                               9                       • On any given day, four to five thousand
                                                                                                individuals with serious mental illness and often
                                                                              10                cooccurring substance use disorder are incarcerated in
                                                                                                LA County justice systems and need care. Many of
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                                                                              11                their incarcerations could have been prevented entirely
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                                                                                                had they received needed treatment.
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                                                                              12                       • Roughly 25 percent of adult homeless
                                                                                                individuals in LA County have a serious mental illness
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                                                                              13                and need care. These individuals often cycle in and out
                                                                                                of hospitals and justice systems without ever being put
                                                                              14                on a sustainable path to recovery.
                                                                                                       • Readmission rates at our mental health
                                                                              15                hospitals are far too high. According to a recent
                                                                                                analysis by an outside consultant, our Medi-Cal fee-for-
                                                                              16                service hospital network in LA County has an average
                                                                                                30-day readmission rate of 37.8 percent. The national
                                                                              17                average is closer to 20 percent.
                                                                                                       • Too many clients are getting stuck in our
                                                                              18                hospitals because there aren’t enough post-hospital beds
                                                                                                and services. Waitlists to transition to the next level of
                                                                              19                care are long and getting longer, especially for hospital
                                                                                                clients on a mental health (LPS) conservatorship.
                                                                              20                Special populations, such as those who are currently or
                                                                                                formerly justice-involved, those with co-occurring
                                                                              21                substance use disorder or co-morbid physical health
                                                                                                conditions, those older than 65, and the
                                                                              22                developmentally disabled, are especially difficult to
                                                                                                place.
                                                                              23                       [. . . ]
                                                                                                       These experts come from different backgrounds
                                                                              24                and parts of the system, and they didn’t always agree on
                                                                              25
                                                                                         98
                                                                                             Motion By Supervisors Kathryn Barger and Hilda Solis, Addressing the
                                                                              26   Shortage of Mental Health Hospital Beds (Jan. 22, 2019),
                                                                                   http://file.lacounty.gov/SDSInter/bos/supdocs/131546.pdf; see also E. Fuller
                                                                              27   Torrey, M.D., Kurt Entsminger, J.D., et al., The Shortage of Public Hospital Beds
                                                                                   for Mentally Ill Persons: A Report of the Treatment Advocacy Center, Mental
                                                                              28   Illness Policy.org (2004-2005), https://mentalillnesspolicy.org/imd/shortage-
                                                                                   hospital-beds.html.
                                                                                                                           38
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                                                the nuances of the problems or ideal solutions to
                                                                               1                address them. But there was general agreement on three
                                                                                                things:
                                                                               2                       • There is indeed a shortage of mental health
                                                                                                hospital services for those who truly need them.
                                                                               3                       • Creating new hospital beds is unlikely, on its
                                                                                                own, to resolve this shortage.
                                                                               4                       • The only way we can sustainably address this
                                                                                                problem is to look at the whole system of mental health
                                                                               5                beds and services, including those that play a role prior,
                                                                                                during, and after hospital stays, and address all of the
                                                                               6                factors (e.g. capacity and service quality) across this
                                                                                                continuum which in combination act to constrain the
                                                                               7                availability of mental health hospital beds.
                                                                               8
                                                                               9         66.    The report went on to identify “significant gaps in inpatient
                                                                              10   treatment beds, residential beds, shelter beds, and respite homes across all ages”
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                                                                              11   including an “estimate of 3,000 additional subacute beds needed,” “significant
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                                                                              12   gaps in assisting people when they are leaving inpatient care, especially for those
                                      LOS ANGELES, CA 90025




                                                                              13   with co-occurring disorders,” “no SUD (substance use disorder) residential
                                                                              14   treatment for all ages,” “no local children’s inpatient psychiatric beds,” “not
                                                                              15   enough inpatient beds for patients eligible for conservatorship…with waiting
                                                                              16   periods of up to a year to access secure inpatient care, resulting in people being
                                                                              17   discharged to the street and perpetuating homelessness.” 99
                                                                              18         67.    Because of this considerable shortage, courts are unable to declare
                                                                              19   many persons conserved because there’s nowhere for them to go, and the system
                                                                              20   designed to address these issues is massively overburdened. At Olive View
                                                                              21   Hospital in north Los Angeles County, the 72-hour crisis ward often has over half
                                                                              22   of its 16 beds dedicated to patients waiting up to a year for a residential inpatient
                                                                              23   bed, leaving only a handful of other beds available for emergency 5150 holds;
                                                                              24   Olive View is the only crisis facility in north Los Angeles County and meant to
                                                                              25   serve millions of people. If a person is brought in while in crisis but there are no
                                                                              26
                                                                              27         99
                                                                                             Jonathan E. Sherin, Report Response to Addressing the Shortage of
                                                                                   Mental Health Hospital Beds (Item 8, Agenda of January 22, 2019), Department
                                                                              28   of Mental Health 30, 134 (Oct. 29, 2019),
                                                                                   http://file.lacounty.gov/SDSInter/bos/supdocs/132696.pdf.
                                                                                                                           39
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   beds for them, often they are released back on the street. This dynamic repeats
                                                                               2   itself throughout Los Angeles. The report goes on to document “limited access to
                                                                               3   urgent care for MH (mental health), SUD and services to people with co-
                                                                               4   occurring disorders at all levels of care,” “MH and SUD treatment is not
                                                                               5   integrated” (the so-called “silos of care”), and “to access care you have to ‘win
                                                                               6   the lottery,’ have a chronic level of need that requires hospitalization, or become
                                                                               7   incarcerated. Mild cases become severe while people are trying to connect to
                                                                               8   care.”100 Critically: “A lack of housing options contributes to homelessness.”101
                                                                               9   As of December, 2020, only 156 of the proposed (minimal pilot) 500 additional
                                                                              10   beds had been procured. 102
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                                                                              11         68.    As of 2018 the County had almost $1 billion in unused funds
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                                                                              12   allocated to it through the Mental Health Services Act (MHSA), and while there
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                                                                              13   has been some expenditure since, there has been no clarity about how much
                                                                              14   remains in the fund unspent. 103 According to data released earlier this year from
                                                                              15   the Mental Health Services Oversight and Accountability Commission—an entity
                                                                              16   run by the State of California—Los Angeles County’s MHSA account closing
                                                                              17   balance at the end of the FY 2020-2021 year was $1,040,422,091. 104 The County
                                                                              18   of Los Angeles identified the remaining funds at the end of the 2021-2022 fiscal
                                                                              19   year to be $537,463,000 plus a canceled obligated fund balance of $361,513,000
                                                                              20   for a total of $898,976,000.105 Of course some of that might be encumbered,
                                                                              21   which is unreported, but however the pie is sliced the resulting conclusion is the
                                                                              22
                                                                                         100
                                                                                              Id. at 135.
                                                                              23         101
                                                                                              Id. at 141.
                                                                                         102
                                                                                              Id. at 180-85.
                                                                              24         103
                                                                                              Thomas Curwen, With an epidemic of mental illness on the streets,
                                                                                   counties struggle to spend huge cash reserves, Los Angeles Times (Aug. 19,
                                                                              25   2018, 5:00 AM), https://www.latimes.com/local/california/la-me-mhsa-unspent-
                                                                                   balance-20180819-story.html.
                                                                              26          104
                                                                                              Mental Health Services Oversight and Accountability Commission,
                                                                                   Fiscal Transparency Dashboard, https://mhsoac.ca.gov/transparency-suite/fiscal-
                                                                              27   transparency-dashboard/.
                                                                                          105
                                                                                              County of Los Angeles, 2022-2021 Recommended Budget, Volume
                                                                              28   Two (April 2022), https://ceo.lacounty.gov/wp-content/uploads/2022/04/2022-
                                                                                   23-Recommended-Budget-Volume-II-Final-with-AC-Edit-Online-Version.pdf.
                                                                                                                          40
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                                                                               1   same: there are hundreds of millions of dollars available specifically for mental
                                                                               2   health treatment and residential facilities, yet year-after-year the County fails to
                                                                               3   utilize these funds for their intended purpose. And that money goes to waste
                                                                               4   while those desperate for treatment get sicker on the street.
                                                                               5         69.    The County points to the state’s antiquated and restrictive
                                                                               6   conservatorship laws and the Federal government’s refusal to permit Medicaid
                                                                               7   finances for mental health beds for facilities of more than 16 beds, both of which
                                                                               8   need to be addressed. Yet even under the existing scheme, help would be
                                                                               9   available to those who desperately need it, were there is sufficient capacity at all
                                                                              10   levels. Local courts could conserve many severely mentally ill persons who are
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                                                                              11   unable to care for themselves, were there sufficient beds available. The blame
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                                                                              12   for insufficient placement rests squarely on the County’s shoulders. And people
                                      LOS ANGELES, CA 90025




                                                                              13   suffering from very serious mental diseases decline, living on the street instead,
                                                                              14   many of whom pay the ultimate price.106
                                                                              15         70.    Together, the County and City fund LAHSA, which has been totally
                                                                              16   ineffective at stemming the growing tide of homelessness. LAHSA takes
                                                                              17   direction from the City and the County. Among LAHSA’s shortcomings is the
                                                                              18   failure to move people up and out from emergency shelters and bridge shelters to
                                                                              19   permanent housing. The agency has been so disorganized, it apparently recently
                                                                              20   discovered 3,000 units they “didn’t know about” in their system. 107 An audit
                                                                              21   conducted by LA City Controller Ron Galperin found LAHSA outreach workers
                                                                              22   fell far short of their goals, placing only 4 percent of people assessed into
                                                                              23
                                                                              24
                                                                                         106
                                                                                              Dennis McDougal, Op-Ed: My daughter was murdered, but it was
                                                                              25   misguided mental health laws that put her in danger, Los Angeles Times (Jan.
                                                                                   26, 2020, 3:00 AM), https://www.latimes.com/opinion/story/2020-01-26/i-hope-
                                                                              26   police-catch-my-daughters-killer-but-i-know-her-mental-illness-also-played-a-
                                                                                   role-in-her-death.
                                                                              27          107
                                                                                              Elijah Chiland, Agency responsible for housing LA’s homeless
                                                                                   discovers 3,000 units it ‘didn’t know about, Curbed Los Angeles (Feb. 20, 2020,
                                                                              28   2:25 PM), https://la.curbed.com/2020/2/20/21145578/lahsa-units-homeless-
                                                                                   housing.
                                                                                                                           41
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                                                                               1   permanent housing and 14 percent into shelters, only 6 percent for SUD
                                                                               2   treatment and only 4 percent for mental health treatment.108
                                                                               3   J.     The County Has Not Proffered Workable Comprehensive Solutions
                                                                               4          71.    The State of California has transferred the responsibility for the
                                                                               5   social safety net directly onto the County’s shoulders, and provides money to
                                                                               6   accomplish that obligation. Indeed, the County spends vast sums of money but
                                                                               7   the result is an astonishing lack of progress in addressing the crisis, and continued
                                                                               8   expansion of the crisis despite such exorbitant expenditures, because the funds
                                                                               9   are being used in ways that will never solve nor even substantively address the
                                                                              10   problem.
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                                                                              11          72.    And so the crisis continues and accelerates, with little hope of a
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                                                                              12   resolution. Because of the painful results of current policies, and because of the
                                      LOS ANGELES, CA 90025




                                                                              13   lack of political and bureaucratic will to undertake effective and proven means to
                                                                              14   combat it, the Plaintiffs are suffering under the weight of an urgent crisis.
                                                                              15   Plaintiffs are left with no choice but to resort to the courts for relief.
                                                                              16   K.     The City Has Stepped Up But the County Refuses To Do the Same
                                                                              17          73.    Plaintiffs filed this case in March, 2020, with the goal of aligning
                                                                              18   City and County efforts into one comprehensive approach to unsheltered
                                                                              19   homelessness in a manner which would at minimum triage the crisis to help
                                                                              20   people off the street and stay off the street, for the health and safety of both the
                                                                              21   housed and unhoused communities.
                                                                              22          74.    After two years, the City is now making significant efforts to
                                                                              23   ameliorate this crisis by entering into an agreement with the Plaintiffs to rapidly
                                                                              24   provide shelter and housing for the unhoused which is desperately needed, and
                                                                              25   judicial supervision for five years to make certain that goal is realized. It has also
                                                                              26
                                                                              27          108
                                                                                             Ron Galperin, LA Controller, Strategy on the Streets: Improving Los
                                                                                   Angeles Homeless Services Authority’s Outreach Program, Ron Galperin LA
                                                                              28   Controller (Aug. 28, 2019), https://lacontroller.org/audits-and-reports/strategy-
                                                                                   on-the-streets/#1566867736032-c107d667-baf7.
                                                                                                                           42
                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   agreed to deadlines and mandates for creation of shelter and housing, as well as
                                                                               2   encampment engagement, cleaning, and reduction.
                                                                               3         75.   However, providing housing alone without supportive services to
                                                                               4   assist people experiencing homelessness address any underlying issues that
                                                                               5   caused or resulted from the person's homelessness, is not going to help the person
                                                                               6   stay housed. And some services—in particular clinical services such as mental
                                                                               7   health and drug rehabilitation treatment—are the sole province of the County and
                                                                               8   represent the most significant need for the homeless population.
                                                                               9         76.   As noted previously, California Policy Lab has reported that 78
                                                                              10   percent of unsheltered individuals suffer from mental health conditions, and 75
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                                                                              11   percent suffer from substance use, compared to 50 percent and 13 percent
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                                                                              12   sheltered individuals respectively.109 Recently the Policy Lab cross-referenced
                                      LOS ANGELES, CA 90025




                                                                              13   records between LAHSA and DMH to discover that a full 10 percent of
                                                                              14   individuals who were unsheltered between 2019-2020 had been diagnosed with
                                                                              15   Psychotic Spectrum Disorder in the prior five years, and another 7 percent had
                                                                              16   been diagnosed with a serious mental illness.110 The LA Times reports that 67
                                                                              17   percent of homeless individuals suffer from mental illness or a substance
                                                                              18   disorder. 111 Addressing these two issues is crucial for helping people who have
                                                                              19   experienced homelessness to become healthy again. And only the County can do
                                                                              20   so.
                                                                              21         77.   Substance Use Disorder has been the number one driver of homeless
                                                                              22   deaths since the County Coroner’s Office began tracking the issue. In the 2020-
                                                                              23
                                                                                         109
                                                                                              See Rountree, supra note 8, https://www.capolicylab.org/wp-
                                                                              24   content/uploads/2019/10/Health-Conditions-Among-Unsheltered-Adults-in-the-
                                                                                   U.S.pdf.
                                                                              25          110
                                                                                              Colin Caprara, Dean Obermank, et al., Serious Mental Illness among
                                                                                   People who are Unsheltered in Los Angeles, California Policy Lab (May 2022),
                                                                              26   https://www.capolicylab.org/wp- /uploads/2022/05/Serious-Mental-Illness-
                                                                                   Among-People-who-are-      content Unsheltered-in-Los-Angeles.pdf.
                                                                              27          111
                                                                                              Doug Smith, Benjamin Oreskes, Are many homeless people in L.A.
                                                                                   mentally ill? New findings back the public’s perception, Los Angeles Times (Oct.
                                                                              28   7, 2019, 3:00 AM), https://www.latimes.com/california/story/2019-10-
                                                                                   07/homeless-population-mental-illness-disability.
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                                                                               1   2021 year (the latest Homeless Mortality Report to be released), homeless deaths
                                                                               2   surged 56 percent compared to the year before. Overdose deaths increased by a
                                                                               3   shocking 78 percent. County Supervisor Hilda Solis noted “The findings in this
                                                                               4   report reflect a true state of emergency on the streets across our County. In a civil
                                                                               5   society, it is unacceptable for any of us to not be profoundly disturbed by the
                                                                               6   shocking needs documented in this year’s homeless mortality report.” 112 Yet no one
                                                                               7   at the County—including Supervisor Solis—has responded as if in an emergency.
                                                                               8   Instead, it’s business as usual.
                                                                               9         78.    The County has the obligation to provide for mental health and
                                                                              10   substance use disorder treatment as mandated by California Welfare and
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   Institutions Code sections 5600 et seq., 13000 et seq., 14000 et seq. and 17000,
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                                                                              12   all of which together require counties to provide comprehensive residential and
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                                                                              13   non-residential mental health and substance use treatment. Yet the County fails
                                                                              14   to do its job at every step.
                                                                              15         79.    As Council President Martinez noted during the press conference
                                                                              16   announcing the City/LA Alliance settlement: “Mental healthcare, substance
                                                                              17   abuse treatment, outpatient rehab beds. That is the county's responsibility. We
                                                                              18   need you. We can't do this alone, and quite frankly, we shouldn't have to. . . . We
                                                                              19   need to prevent people from falling into homelessness because right now we're in
                                                                              20   triage mode. We need to focus on how to prevent the people from ending up on
                                                                              21   our streets. People need help. People need services, and that's how you fix the
                                                                              22   crisis. And what good is building housing if you can’t provide the services that
                                                                              23   people need? The county is the one with the $3 billion mental health department.
                                                                              24   What good is that if you’re not using it to help the most vulnerable, those that are
                                                                              25   living in our streets with mental health issues?” And as Councilmember DeLeon
                                                                              26
                                                                                         112
                                                                                             Christian Martinez, Rong-Gong Lin II, L.A. County homeless deaths
                                                                              27   surged 56% in pandemic’s first year. Overdoses are largely to blame, Los
                                                                                   Angeles Times (Apr. 22, 2022, 7:06 PM),
                                                                              28   https://www.latimes.com/california/story/2022-04-22/la-county-homeless-deaths-
                                                                                   surge-pandemic-overdoses.
                                                                                                                          44
                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   summarized: “Those individuals suffering from severe mental illnesses and
                                                                               2   substance abuse will be the sole responsibility of the County because they always
                                                                               3   have been the sole responsibility of L.A. County.”
                                                                               4         80.    The picture that results is undeniable: the County has the obligation
                                                                               5   to provide mental health and substance use disorder treatment, it has the
                                                                               6   resources to do so, and its leaders have acknowledged it is failing in its obligation
                                                                               7   to provide that treatment and related services, and because of its abject failure,
                                                                               8   there is desperation and devastation on the streets.
                                                                               9                                 IV. THE PARTIES
                                                                              10                  PLAINTIFFS AND INDIVIDUALIZED HARMS
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11         81.    LA ALLIANCE FOR HUMAN RIGHTS (the “Alliance”) is an
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                                                                              12   incorporated non-profit membership association consisting of a broad coalition of
                                      LOS ANGELES, CA 90025




                                                                              13   Los Angeles stakeholders who understand that homelessness in LA is a human
                                                                              14   rights crisis and are working towards solutions to address the crisis and its related
                                                                              15   impact on health and safety issues throughout the region. Each of its members is
                                                                              16   a resident of Los Angeles City which is within Los Angeles County. All
                                                                              17   individual plaintiffs herein are members of the Alliance and the following are
                                                                              18   representative of the membership:
                                                                              19                a.     MARIA DIAZ is a Hispanic woman who was until recently
                                                                              20 living in a tent in Skid Row, where she had been for the last 5 years. Over the
                                                                              21 past five years, Ms. Diaz regularly witnessed individuals selling drugs, stealing
                                                                              22 belongings, and attacking others for no apparent reason. She has also seen a
                                                                              23 number of young women harassed, attacked, raped, and ultimately succumb to
                                                                              24 drug addictions due to the conditions of Skid Row. Harassment for women on
                                                                              25 Skid Row is a certainty, and Ms. Diaz herself experienced it. The trauma she has
                                                                              26 experienced while living on skid row has caused her pain, suffering, and
                                                                              27 psychological damage.
                                                                              28

                                                                                                                45
                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                        ER 253
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                                                                               1                 b.    CHESTINA EVANS is a Black woman who has lived on
                                                                               2   Skid Row for over a year. Ms. Evans has been mostly homeless after aging out
                                                                               3   of the foster care system. She did not have access to any transitional program
                                                                               4   and did not have any resources or know where to go, so she found herself
                                                                               5   homeless fighting for survival. Ms. Evans left the bay area for Skid Row because
                                                                               6   she believed there was more opportunity to receive resources and exit
                                                                               7   homelessness on Skid Row.
                                                                               8         Living on the streets in Skid Row has been incredibly hard for Ms. Evans.
                                                                               9   She is frequently assaulted and attacked. Soon after arriving in Skid Row, Ms.
                                                                              10   Evans was attacked by a homeless man. He wrongly accused her of taking his
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                                                                              11   belonging and hit her hard in the face, knocking her onto the ground. Ms. Evans
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                                                                              12   doesn’t feel she has any recourse; calling the police will have little consequence
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                                                                              13   since they rarely do anything about attacks on Skid Row. Ms. Evans has also
                                                                              14   been sexually assaulted while living on Skid Row by men who prey on women.
                                                                              15   Her time on the streets has exacerbated her severe mental health issues. She
                                                                              16   suffers from depression, anxiety, uncontrolled anger and fear, and paranoia.
                                                                              17   Perhaps most taxing is that despite whatever internal turmoil she feels, Ms. Evans
                                                                              18   feels like she cannot break down or address her emotions because showing
                                                                              19   weakness on the streets puts her life in danger. Ms. Evans has sought help for her
                                                                              20   mental health issues but continues to be stone-walled. She has accessed
                                                                              21   Department of Mental Health, but the wait times between appointments makes
                                                                              22   them completely useless. She needs a place where she can go that will address
                                                                              23   her mental health issues while inside. She does not think her mental health issues
                                                                              24   can possibly be addressed while living on the street. She takes illegal narcotics to
                                                                              25   try to treat her mental issues and to stay up all night because she fears attacks at
                                                                              26   night. Her behavior is erratic and unpredictable due to her mental illness and
                                                                              27   drug use.
                                                                              28

                                                                                                                46
                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                                                                                                                          ER 254
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                                                                               1         Ms. Evans has been in two shelters. She first stayed at the Union Rescue
                                                                               2   Mission but left for Weingart Center where she shared a room with another
                                                                               3   woman. She was asked to leave following an altercation with her roommate. Ms.
                                                                               4   Evans and her roommate argued over her roommate’s continued use of drugs in
                                                                               5   their shared living space, as well as her use of loud music at all hours. At the time
                                                                               6   she was trying to stop taking drugs, and her roommate’s continued use of
                                                                               7   narcotics made that impossible. She has been told she has a “dual diagnosis” of
                                                                               8   serious mental illness and drug addiction, but she doesn’t even remember which
                                                                               9   one came first. She would love an opportunity to stay at another shelter, but she
                                                                              10   knows that without addressing her underlying mental health issues she won’t be
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                                                                              11   successful. She can’t control herself and will get in trouble. She needs a place
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                                                                              12   where she can also address her ongoing serious mental health issues at the same
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                                                                              13   time. Ms. Evans’ experience living on the streets has caused her physical,
                                                                              14   emotional, and mental harm.
                                                                              15                c.     SHINAE OWSLEY is a Black woman recently homeless and
                                                                              16   unsheltered in Skid Row. She is originally from South Central and after high
                                                                              17   school attended California State Dominguez Hills. Unfortunately, her serious
                                                                              18   mental health issues lead to drug abuse, which led to prison. Ten years ago, Ms.
                                                                              19   Owsley was released from prison. Following her release, Ms. Owsley began
                                                                              20   receiving SSI for her anxiety and other mental health concerns. Ms. Owsley is a
                                                                              21   hard worker and seeks to get off SSI soon. And she recognizes that having
                                                                              22   reliable shelter is essential to this goal. Ms. Owsley has had a difficult time
                                                                              23   living on Skid Row. She is sexually harassed by men regularly and was recently
                                                                              24   attacked by another female. She witnesses crime and violence daily and is
                                                                              25   terrified of living in the streets. She wants to get clean and sober, but it is
                                                                              26   impossible to do so while living unsheltered in Skid Row. She needs help but has
                                                                              27   no idea where to start. Since she has lived on Skid Row, not a single social
                                                                              28   worker or County or City worker has approached Ms. Owsley offering to assist

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                                                                               1   her in obtaining services or housing. If she had the opportunity for shelter
                                                                               2   anywhere, she would jump at that opportunity. But she knows that she
                                                                               3   desperately needs treatment as well.
                                                                               4                 d.     CHRISTOPHER ROPER is a Black man living in Skid
                                                                               5   Row. He has been homeless for two years. He has a traumatic brain injury, so it
                                                                               6   is hard to keep a job. He first began experiencing homelessness when he lost his
                                                                               7   job and was unable to pay his rent. Before living in Skid Row he lived in Long
                                                                               8   Beach, Santa Monica, and Venice. He eventually made his way to Skid Row
                                                                               9   because he knew resources for those experiencing homelessness were supposed
                                                                              10   to be available there, like food and showers. Homelessness has been hard for Mr.
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   Roper physically and mentally. He does not have a tent and sleeps directly on the
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                                                                              12   street, exposed to the elements. He is freezing during the winter and it affects his
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                                                                              13   health. Living on Skid Row has exacerbated his brain injury, which he first
                                                                              14   suffered in 1992. A side effect of that trauma is a shortened memory, which has
                                                                              15   only worsened since living in Skid Row. He can’t keep track of his paperwork
                                                                              16   and loses things often, which makes it more difficult to get shelter and services.
                                                                              17   But there is no one to help him. Mr. Roper also suffers from depression and
                                                                              18   anxiety which is so much worse in Skid Row due to the horrific environment. He
                                                                              19   tries to stay away from the violence and fires, but he sees it often. He is hopeful
                                                                              20   that the Department of Mental Health will help him find housing, so he keeps
                                                                              21   asking but is told it isn’t available.
                                                                              22                 e.     MILTON MILES SMITH is a sixty-year-old unhoused
                                                                              23   Black male living in Skid Row. Mr. Smith was born and raised in the Hollywood
                                                                              24   area. Mr. Smith has been living in Skid Row since 2018 after being released
                                                                              25   from prison. After initially becoming homeless, Milton went to The Center in
                                                                              26   Hollywood. He met his friend Albert Albarran at The Center. They eventually
                                                                              27   made their way to Skid Row together to try to get housing. Mr. Smith is on SSI.
                                                                              28   While in prison, Mr. Smith was attacked, and his lung almost collapsed.

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                                                                               1         Mr. Smith has several mental health issues including post-traumatic stress
                                                                               2   disorder, schizophrenia, paranoia, anxiety, and a learning disability. He is scared
                                                                               3   every day that he is forced to stay on the streets. He is afraid that if he sleeps at
                                                                               4   night he will be killed. He sometimes takes drugs to deal with the stress and to
                                                                               5   keep himself awake, but he does not like using drugs and is trying to stop. It's
                                                                               6   impossible for him to address his substance use disorder or mental health issues
                                                                               7   while unhoused in Skid Row.
                                                                               8                f.     ALBERT ALBARRAN is a Hispanic male currently living
                                                                               9   in an SRO called Rainbow Apartments, located in Skid Row. His friend, Milton
                                                                              10   Miles Smith, helped him apply for and secure this housing. Albert was
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   previously homeless. He met his friend Mr. Smith at The Center in Hollywood,
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                                                                              12   they both eventually came to Skid Row because there are more opportunities for
                                      LOS ANGELES, CA 90025




                                                                              13   housing in this area. He does not feel safe living in Skid Row and wants to leave
                                                                              14   but does not have an opportunity anywhere else.
                                                                              15         Mr. Albarran has several physical issues that began after he was hit by a
                                                                              16   car when he was fifteen years old. He suffered a traumatic brain injury which has
                                                                              17   resulted in a short-term memory issue and has a metal rod in his leg. This
                                                                              18   memory problem increases his danger living in Skid Row, as Mr. Albarran often
                                                                              19   forgets what street he lives on and is terrorized by gangs and violent drug users in
                                                                              20   the area. The stress of living in Skid Row has also made his short-term memory
                                                                              21   issue worse. Mr. Albarran suffers from depression, post-traumatic stress
                                                                              22   disorder, and anxiety. Despite these physical and mental problems, Mr. Albarran
                                                                              23   was cut-off from mental health services because he was deemed “too high-
                                                                              24   functioning.”
                                                                              25                g.     MARK SHINBANE is the President and part-owner of Ore-
                                                                              26   Cal Corporation which is a family-owned business in the Skid Row area. He has
                                                                              27   also been the Chairman of Central City East Association (CCEA) for several
                                                                              28   years. Ore-Cal Corporation is an international seafood importer, processor, and

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                                                                               1   distributor. It is a second-generation family-owned-business and they have
                                                                               2   owned property in the general area since 1961. Ore-Cal has been located on 634
                                                                               3   Crocker Street since 1971. Four years ago, Crocker Street and other streets in
                                                                               4   that vicinity—such as 6th Street, 7th Street and Towne Avenue—were clear. Mr.
                                                                               5   Shinbane recalls small homeless encampments west of San Pedro Street on San
                                                                               6   Julian Street and Wall Street in the past, but personal possessions were generally
                                                                               7   kept contained, crime was generally addressed, and the sidewalks were usable.
                                                                               8         In 2016, immediately after the injunction issued in Mitchell v. City of Los
                                                                               9   Angeles, the neighborhood surrounding Ore-Cal rapidly filled with tents and
                                                                              10   encampments, inundating the area, which coincided with an increase in violence
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   and an inability to traverse the sidewalks. Individuals loiter at all times of the
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                                                                              12   day, and the encampments block sidewalks, doorways, driveways, and streets.
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                                                                              13   Mr. Shinbane regularly observes open drug use and people walking in a perpetual
                                                                              14   drug-induced state, and bodies lying on the sidewalks or doorways near his
                                                                              15   building. There has been an increase of used needles on the streets, sidewalks,
                                                                              16   and inside drains located on the business’ property.
                                                                              17         Mr. Shinbane’s conversations with LAPD officers and detectives in the
                                                                              18   area indicate that gang members are supplying narcotics to homeless individuals
                                                                              19   in the vicinity. Mr. Shinbane and his employees now deal with the inability to
                                                                              20   traverse the sidewalks. Encampments often block sidewalks, doorways,
                                                                              21   driveways, and streets. Illegal entry onto their property, car break-ins, and thefts
                                                                              22   are now a common occurrence.
                                                                              23         Ore-Cal and its employees are subject to an increased risk of fire because
                                                                              24   of the encampment fires that surround the property. This danger is made worse
                                                                              25   by the huge quantities of trash and debris that litter their street and surrounding
                                                                              26   neighborhood. These conditions have made it difficult to hire new workers and
                                                                              27   they have lost many well-qualified candidates (approximately 30 percent) due to
                                                                              28

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                                                                               1   the nature of the neighborhood and environment. This makes the hiring process
                                                                               2   longer, and more difficult than it ever used to be.
                                                                               3         To combat some of the deteriorating conditions, Mr. Shinbane’s business
                                                                               4   has completely fenced its property to prevent individuals from camping on their
                                                                               5   grounds and to keep the used needles from the rampant narcotics use from being
                                                                               6   fed into their exterior drains. Mr. Shinbane was forced to replace roll up doors
                                                                               7   and add sections of fence due to individuals constantly urinating on them, a cost
                                                                               8   of $25,000.
                                                                               9         Ore-Cal has also had to significantly increase its exterior maintenance by
                                                                              10   washing and sanitizing the perimeter of their facility daily. In some cases, it is
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                                                                              11   necessary to clean multiple times a day to maintain cleanliness. He now spends
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                                                                              12   $15,000 a year—a new expense—on supplies and staff dedicated to maintaining
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                                                                              13   the perimeter and external areas of their facility.
                                                                              14                 h.    HAL BASTIAN, a commercial real estate professional in Los
                                                                              15   Angeles for 38 years and has been one of the leaders of the Downtown Los
                                                                              16   Angeles Renaissance for the last 27 years. From 2001 to 2014, he served as the
                                                                              17   Director of Economic Development for the Downtown Center Business
                                                                              18   Improvement District (DCBID), and eventually, its Executive Vice President.
                                                                              19   During this time, Mr. Bastian facilitated the construction of over 22,000 housing
                                                                              20   units, leading tours and producing special events that recruited thousands of new
                                                                              21   residents and resulted in the construction of dozens of new commercial and
                                                                              22   mixed-used developments, and attracting over 300 new businesses to the
                                                                              23   downtown area, including Ralphs, Fresh Fare, Bottega Louie and Whole Foods
                                                                              24   Market. He lives in Downtown Los Angeles.
                                                                              25         Mr. Bastian’s extensive experience in Downtown Los Angeles has made it
                                                                              26   clear to him that both action and inaction by the City has been a substantial
                                                                              27   contributing factor in the current homelessness crisis. In particular, the City’s
                                                                              28   response to a series of federal lawsuits has coincided with this crisis, which

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                                                                               1   affects the homeless and housed alike, and he joins this lawsuit to bring about a
                                                                               2   substantial change in the deteriorating conditions of Downtown Los Angeles.
                                                                               3                i.    LISA RICH owns several buildings in Skid Row, which she
                                                                               4   rents out to various businesses. Her family has been running the properties for
                                                                               5   over 40 years and has brought significant numbers of jobs to the area. Over the
                                                                               6   past several years, the number of homeless persons on the sidewalk in front of the
                                                                               7   buildings has dramatically increased, as has the amount of personal possessions.
                                                                               8   Frequently, tents and belongings block the sidewalks for days at a time, bringing
                                                                               9   with them refuse, criminal activity, and unhygienic conditions. At times, the
                                                                              10   buildup of property has physically prevented tenants and patrons from accessing
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                                                                              11   the buildings. Tenants have complained and requested rent reductions due to the
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                                                                              12   effect the homeless encampments are having on their business. Recently a
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                                                                              13   mobile lab engaged by her environmental consultants refused to come to the
                                                                              14   properties due to the danger of the area.
                                                                              15         Ms. Rich attempted twice to contact LAPD for assistance in moving the
                                                                              16   property but received no help. When she asked why LAPD had not moved
                                                                              17   homeless persons or their property, she was informed that there was nothing
                                                                              18   LAPD could do. After learning the City would not help, Ms. Rich attempted to
                                                                              19   install fencing around some of her higher risk properties to keep tents from being
                                                                              20   propped directly against the buildings. But the City warned her that the fencing
                                                                              21   was unlawful and would lead to fines. Before she could remove the fencing at
                                                                              22   issue, an unknown person or entity removed the chain link, and tents returned,
                                                                              23   gathering around the bare fence poles.
                                                                              24         In late 2017, a fire at a homeless encampment burned out of control and set
                                                                              25   one of Ms. Rich’s buildings on fire. The blaze significantly damaged the
                                                                              26   building’s offices and electrical system, requiring more than $80,000 worth of
                                                                              27   repairs. The fire and repair process disrupted her tenant’s business for significant
                                                                              28   time. At her next policy renewal period, her fire insurer refused to renew the

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                                                                               1   policy covering all of her buildings, claiming her buildings could no longer be
                                                                               2   insured because of the risks posed by the adjacent homeless encampments. Ms.
                                                                               3   Rich then approached 24 other insurers—of those, 23 insurers outright refused to
                                                                               4   insure her buildings at any rate. Eventually, one insurer offered to cover her
                                                                               5   buildings at a premium more than four times her original rate. As a result of
                                                                               6   these developments, she is actively considering selling her family’s business and
                                                                               7   abandoning the Skid Row area.
                                                                               8                j.    Robert P. 113 is an unsheltered Black man living in Skid Row.
                                                                               9   He was born in Los Angeles, California, and prior to becoming homeless had a
                                                                              10   successful career, and had a family and a house in Carson. He lost his job due to
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                                                                              11   downsizing, and ended up holding a number of dead-end jobs and eventually lost
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                                                                              12   his home. After several brushes with the law, made worse by his mental illness,
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                                                                              13   he became homeless and came to live on the streets of Skid Row. He has been
                                                                              14   diagnosed with paranoid schizophrenia and has been told he has “dual diagnosis”
                                                                              15   of paranoid schizophrenia and substance use disorder.
                                                                              16         His mental health issues are a defining point of his homelessness. He
                                                                              17   needs more than just shelter; he needs shelter and treatment. He is afraid that
                                                                              18   going into a shelter without receiving proper treatment, would result in him
                                                                              19   hurting someone or himself. He suffers from anger issues that he cannot control
                                                                              20   and that build up and eventually explode. He has tried to seek help but the
                                                                              21   institutions that provide the much-needed services, including mental health
                                                                              22   treatment and drug rehabilitation treatment, had to close due to lack of financial
                                                                              23   support. Without proper medications, he tries to treat his mental illness with
                                                                              24   alcohol or other drugs that he can get.
                                                                              25         Despite his own serious issues, he goes out of his way to help other people,
                                                                              26   especially unsheltered women who are vulnerable and in severe danger in Skid
                                                                              27
                                                                              28         113
                                                                                             Robert’s full last name has been redacted for privacy due to the public
                                                                                   nature of this filing.
                                                                                                                           53
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                                                                               1   Row. When volunteers distribute donations and hygiene products, he asks for
                                                                               2   products for women first because he finds they are largely ignored. Mr. Porcha’s
                                                                               3   schizophrenia makes being homeless more difficult, as interacting with people is
                                                                               4   hard for him. He believes that people are involved in conspiracies and that they
                                                                               5   are watching him. Mr. Porcha would like to obtain housing, but he knows that he
                                                                               6   would not be successful without treatment. He will “regress” which he describes
                                                                               7   as all his issues facing him at once.
                                                                               8         82.    JOSEPH BURK owns a significant building utilized for a company
                                                                               9   he created called Location 606, Inc. His property is primarily rented for film,
                                                                              10   television, commercial and music video production. Until 2017, he rented part of
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                                                                              11   the property to tenants, but since then, due to the conditions in the area, he could
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                                                                              12   not find a tenant to occupy the property and moved in along with his wife. After
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                                                                              13   his wife became pregnant with their child, they decided to move out of the
                                                                              14   property for their safety and mental well-being. Mr. Burk is regularly at the
                                                                              15   property and remains apprised of and impacted by the situation, and the
                                                                              16   challenges it presents, surrounding his property.
                                                                              17         83.    He pays property taxes but cannot use the public sidewalks around
                                                                              18   his own property. Mr. Burk’s residence became unlivable due to surrounding
                                                                              19   conditions, and his business has been destroyed. Production companies have
                                                                              20   stopped using his building for film shoots, and he has gotten countless rejection
                                                                              21   emails and letters citing the conditions around his property. He has lost hundreds
                                                                              22   of thousands of dollars because production companies cannot use Mr. Burk’s
                                                                              23   property because they need accessible driveways and sidewalks for heavy
                                                                              24   equipment, lighting and sound items, and costume trucks, and the exits and
                                                                              25   entrances to his property are often fully blocked by shelters and possessions. On
                                                                              26   at least one occasion when his property was to be used for filming, the crew was
                                                                              27   unable to bring their equipment inside his building and demanded its money
                                                                              28   back. His property has been on the market for years without an acceptable offer,

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                                                                               1   and he has experienced a significant decline in his own quality of life because of
                                                                               2   the increased filth, violence, and drug use in the surrounding areas.
                                                                               3         84.    Since his tenants moved out, Mr. Burk has struggled to find a full-
                                                                               4   time tenant for the property. People are not interested in renting his property as a
                                                                               5   home or living space because of the surrounding area. LAPD officers have told
                                                                               6   Mr. Burk that they have been instructed by their superiors not to ask homeless
                                                                               7   individuals to move their belongings from the sidewalks or from his property.
                                                                               8   Because of this, when he has asked people to move their belongings from
                                                                               9   blocking the entrance to his home, he has been threatened, spit on, and verbally
                                                                              10   attacked. Weekly, he witnesses public sex, prostitution, and/or nudity on 6th
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                                                                              11   Street and Crocker Street. His security cameras often catch violent encounters,
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                                                                              12   including shootings and other murders, right across the street from the building.
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                                                                              13   In the last two months his property was broken into with thousands in equipment
                                                                              14   stolen, he has paid more money to upgrade his system, and had another attempted
                                                                              15   break-in but the new alarms, barricaded doors, and additional security camera
                                                                              16   thwarted the theft. Recently a man from an adjacent tent random began throwing
                                                                              17   bricks at his building which broke 6 windows. On Sunday July 3,, 2022, a person
                                                                              18   was murdered in a tent across the street by rival drug dealers. On July 6, 2022, a
                                                                              19   woman who sleeps outside his property was beaten and robbed, including her
                                                                              20   new wheelchair. There is no end to the atrocities committed and experienced
                                                                              21   right outside his door.
                                                                              22         85.    The building across from him has caught on fire from a homeless
                                                                              23   encampment’s open flame five times in the last year. He was dropped by several
                                                                              24   insurance companies and was declined new insurance on multiple occasions. He
                                                                              25   was without insurance for two months before he finally found a non-admitted
                                                                              26   insurance company to insure his property, at significantly higher cost than
                                                                              27   buildings in other areas of Downtown. He has difficulty receiving mail or
                                                                              28   packages. The mail carrier will not deliver his mail if his mailbox is blocked and

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                                                                               1   will not get out of his truck to deliver mail or packages to his front door because
                                                                               2   he has said it is not safe. Food delivery services will no longer deliver food to his
                                                                               3   property after dark. Rideshare drivers such as Lyft or Uber refuse to pick up or
                                                                               4   drop off there.
                                                                               5         86.    Every day he finds used needles on the sidewalks and on his
                                                                               6   property. Clothes and trash are thrown over his fence and onto his property daily.
                                                                               7   On days when the sidewalks around his property are clear, support groups use the
                                                                               8   sidewalk to hand out food and clothing which results in mounds of trash being
                                                                               9   left behind. His property fence is regularly used as a restroom since there are
                                                                              10   minimal facilities for the number of people living in front of his property. He
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                                                                              11   must make sure the urine and feces are washed off his property on a daily basis.
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                                                                              12   The unmanaged urine and feces on his property, as well as the rat and bug
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                                                                              13   infestations, create significant health risk. His fence has been damaged from
                                                                              14   people pushing large bulky items, such as a couch and a refrigerator, against it
                                                                              15   and tying tents and tarps to it. Most days he cannot use the sidewalk around his
                                                                              16   building and the entrances to his property have been blocked by debris.
                                                                              17         87.    The conditions around his property have worsened beyond his
                                                                              18   control, and he can no longer invite friends or family to his property, or
                                                                              19   reasonably enjoy and use his property.
                                                                              20         88.    Mr. Burk has been trying to sell the property since early 2018.
                                                                              21   There have been several interested buyers, yet the property has not sold, as the
                                                                              22   conditions surrounding the building and the recent and widely reported typhus
                                                                              23   and hepatitis outbreaks in the area have scared off potential buyers. His property
                                                                              24   has dropped out of escrow multiple times. All potential buyers have cited the
                                                                              25   dangerous conditions on the surrounding streets and sidewalks as the reason they
                                                                              26   would not purchase the property.
                                                                              27         89.    GEORGE FREM owns a luxury auto-shop in Mar Vista California,
                                                                              28   which primarily services high-end vehicles. In 2015, a few homeless individuals,

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                                                                               1   and others who were not homeless but pretended to be to sell narcotics, set up
                                                                               2   tents under the 405 freeway adjacent to his business. Since then, the population
                                                                               3   of the encampment has continually increased, and he currently estimates that
                                                                               4   more than 80 people live there. The residents have brought a variety of goods
                                                                               5   with them including tents, mattresses, wardrobes, and more. The encampment
                                                                               6   effectively fully covers the sidewalk on one side of the road, and the other side of
                                                                               7   the same street—controlled by Culver City—is now completely blocked as well.
                                                                               8   Mr. Frem now sees drug use, prostitution, violence, and public indecency on a
                                                                               9   regular basis.
                                                                              10         90.     Additionally, a few times a week LAHSA representatives set up a
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                                                                              11   mobile help desk, food giveaway station, and/or mobile shower station (where
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                                                                              12   the City built a special mobile shower drainage system) directly in front of Mr.
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                                                                              13   Frem’s business, resulting in lines of people on the sidewalk for hours as they
                                                                              14   wait for the showers to be available. When this occurs, customers frequently
                                                                              15   question whether their vehicles are safe in the lot and whether they will be stored
                                                                              16   inside overnight.
                                                                              17         91.     There have been shootings under the bridge multiple times, at least
                                                                              18   three were caught on Mr. Frem’s security video: July 26, 2018, April 1, 2019,
                                                                              19   and October 14, 2020. In just the last two years there have been seven separate
                                                                              20   fires under or near the bridge: October 28, 2020, December 27, 2020, January 20,
                                                                              21   2021, April 16, 2021, April 29, 2021, May 10, 2021, and May 22, 2021. Below
                                                                              22   is a single photograph that shows the horror and danger to life and property when
                                                                              23   people live, cook, and try to warm themselves in places not made for human
                                                                              24   habitation. That risk grows even greater when considering the criminal element
                                                                              25   that preys on the vulnerable and often, sadly, intentionally light fires in revenge
                                                                              26   or madness:
                                                                              27
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                                                                              13         92.    Before the encampment was in place in 2015, Mr. Frem received
                                                                              14   significant business from studios wanting to rent his location or other auto shops
                                                                              15   who would sub-contract to him for repairs. The encampment and related activity
                                                                              16   caused those shops to doubt the safety of their vehicles while at Mr. Frem’s shop,
                                                                              17   and has caused them to stop using him for sub-contract work. Prior to 2015, Mr.
                                                                              18   Frem would get significant walk-in business from his prime location on a major
                                                                              19   arterial road, but now long-time customers tell Mr. Frem that they do not feel safe
                                                                              20   picking up their vehicles late at night and potential customers turn away when
                                                                              21   they see the conditions outside of the shop.
                                                                              22         93.    This has decreased the number of service orders the shop has every
                                                                              23   year since the encampment arose. Before the encampment was in place, Mr.
                                                                              24   Frem’s shop consistently showed an increase of repair orders and performed over
                                                                              25   1000 repairs per year. But the numbers have declined year on year, and now, the
                                                                              26   shop draws less than 50 percent of repair order jobs compared to 2013.
                                                                              27         94.    WENZIAL JARRELL is a Black man who has been homeless and
                                                                              28   living on Skid Row for the past several years. Prior to becoming homeless, Mr.

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                                                                               1   Jarrell served in the Air Force, including 8 years in Iraq, before getting injured in
                                                                               2   combat. As a result of his service, he now suffers from post-traumatic stress
                                                                               3   disorder (“PTSD”), which causes him great distress and prevents him from
                                                                               4   entering a congregate shelter where he cannot be around a lot of people. Living
                                                                               5   on the streets with his issues is incredibly difficult. The area is violent, he hears
                                                                               6   gun shots often and it triggers his PTSD. He has physical injuries as a result of
                                                                               7   his service which are exacerbated by living on the street.
                                                                               8         95.    Mr. Jarrell came to Skid Row after the death of his first wife because
                                                                               9   he was told he could find housing and services there. But Mr. Jarrell has yet to
                                                                              10   receive either housing or services. The health benefits, general relief, and food
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                                                                              11   stamps he received upon his arrival stopped because a person who he thought
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                                                                              12   was a County worker asked him to sign a contract, and his identity was
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                                                                              13   subsequently stolen. The process for obtaining services he needs like SSI,
                                                                              14   general relief, and mental health treatment is arduous and he is frequently told to
                                                                              15   wait, come back later, or that he must contact someone different. These
                                                                              16   complications to getting services are incredibly frustrating and due to his PTSD
                                                                              17   causes him to withdraw, preventing him from completing the application process
                                                                              18   and frustrating his prior efforts. He is eligible for SSI and a veteran affairs
                                                                              19   (“VA”) pension, but due to his identity theft issues he hasn’t been able to work
                                                                              20   through the barriers to receiving it. He often feels hopeless and like it is not even
                                                                              21   worth trying. For months at a time, he accepts that he will never leave Skid Row
                                                                              22   and find a better life for him and his second wife, with whom he shares a tent.
                                                                              23         96.    Mr. Jarrell’s search for help has been further complicated by how
                                                                              24   functional he is and how well he has adapted to being homeless. In his
                                                                              25   experience, services are reserved for those suffering from severe addiction or
                                                                              26   mental or physical health issues. He finds he is not “homeless enough” or “sick
                                                                              27   enough” and gets put in the back of the line for help. Because he can manage his
                                                                              28   often-debilitating PTSD and does not have a severe drug addiction or physical

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                                                                               1   health issue, he has a much harder time getting help. Mr. Jarrell is frustrated that
                                                                               2   the City’s and County’s focus is on those in the direst circumstances, leaving
                                                                               3   him, and many others like him, who are most likely to escape homelessness,
                                                                               4   without help or services.
                                                                               5         97.    Mr. Jarrell has witnessed first-hand how hard it can be to obtain
                                                                               6   services even when a person visibly needs help. For example, Mr. Jarrell once
                                                                               7   came across a 19-year-old girl who was blind, walking the streets of Skid Row.
                                                                               8   It was clear to Mr. Jarrell that she would not be able to survive on Skid Row, so
                                                                               9   he brought her to a county social worker that he knows. The county services
                                                                              10   worker initially told him there was nothing they could do for the girl. Mr. Jarrell
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                                                                              11   demanded to speak with the county manager’s supervisor and subsequently
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                                                                              12   learned that the worker was incorrect and should have been providing help to the
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                                                                              13   girl. For Mr. Jarrell, this experience demonstrates two things. First, that many
                                                                              14   homeless people on Skid Row are unable to attain the services they need due to
                                                                              15   their own limitations and the complicated system that the City and County have
                                                                              16   designed. Second the workers running these systems are often barriers rather
                                                                              17   than facilitators of the care that individuals living on Skid Row need.
                                                                              18         98.    Mr. Jarrell was living on Skid Row during the Covid-19 crisis. It
                                                                              19   was months before anyone from the city informed Mr. Jarrell and others about
                                                                              20   the pandemic or how to protect themselves. As a result, Covid-19 moved quickly
                                                                              21   through the homeless population while little to no aid was offered. He saw many
                                                                              22   people sick, coughing, and even dying. As a population, they felt ignored, and it
                                                                              23   was clear that the rate of sickness and death far exceeded what was being
                                                                              24   reported. This experience exemplified how little the City and County care about
                                                                              25   a population that is already struggling just to survive.
                                                                              26         99.    These examples paint a picture of what life on Skid Row is like.
                                                                              27   Services are regularly denied or terminated for unreasonable or unrelated issues.
                                                                              28   The workers responsible for this irrational behavior are not held accountable,

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                                                                               1   sweeping the issues under the rug to avoid blame and responsibility. Individuals,
                                                                               2   like Mr. Jarrell, were directed to Skid Row with promises of assistance and
                                                                               3   services, but instead they are turned away and abandoned; left to get worse
                                                                               4   instead of better.
                                                                               5          100. The services that are provided (frequently by private organizations)
                                                                               6   fail to stop homelessness itself. While Mr. Jarrell appreciates the food, clothes,
                                                                               7   tents, and other provisions provided, these items do little to help him get off the
                                                                               8   streets. While these provisions make life on the street more comfortable, they do
                                                                               9   not provide a stable housing environment.
                                                                              10          101. He has tried sleeping in congregate shelters when he’s been able to
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                                                                              11   get a bed, but due to his experiences in Iraq, his PTSD worsens when he is
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                                                                              12   surrounded by large numbers of people. A couple times he has been able to find
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                                                                              13   individual housing, but it’s only for single people and he does not want to be
                                                                              14   separated from his wife who he cares for, and who cares for him. And under no
                                                                              15   circumstances will he leave his wife alone in Skid Row. It is far too dangerous.
                                                                              16          102. Mr. Jarrell is a selfless, caring individual who works hard to help
                                                                              17   others get out of the black hole that is Skid Row. He prioritizes helping those
                                                                              18   who he thinks clearly do not belong, or should have a home to go back to,
                                                                              19   because he does not want them to get attacked or left to fend for themselves.
                                                                              20   According to Mr. Jarrell, there is nothing worse than getting stuck in the system
                                                                              21   of Skid Row and realizing you cannot escape. If he were able to get a stable
                                                                              22   housing environment with any semblance of personal space, he would jump at
                                                                              23   the opportunity, but it needs to come with mental health treatment or he will not
                                                                              24   be successful. Mr. Jarrell knows he is more likely to die because he lives on Skid
                                                                              25   Row.
                                                                              26          103. CHARLES MALOW has been living at Union Rescue Mission,
                                                                              27   within the Skid Row area, since 2012. Prior to 2008, he worked as a garage door
                                                                              28   installer for 29 years, and from 2000 to 2006 he worked part-time as a security

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                                                                               1   guard. He became homeless in 2008 when the economy crashed. From 2010 to
                                                                               2   2012, he lived on the streets of Glendora, California. In the winter of 2011 and
                                                                               3   2012, he stayed at a Glendora Winter Shelter and then decided to seek help at the
                                                                               4   Union Rescue Mission (“URM”) located on 545 San Pedro St., Los Angeles, CA
                                                                               5   90013. When he first arrived at URM in 2012, police officers would come by in
                                                                               6   the morning, and wake-up the people sleeping on the streets. They were required
                                                                               7   to pack up their belongings and stow them, so the sidewalks were not blocked.
                                                                               8   This also allowed illegal activity such as narcotics and weapons sales to be more
                                                                               9   easily discovered and therefore addressed. At that time, there were no tents in
                                                                              10   front of URM.
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                                                                              11         104. For about five years, Mr. Malow has been an Ambassador at URM.
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                                                                              12   The Ambassador program allows a small group of men to live at URM
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                                                                              13   indefinitely. Since living at URM, he has worked at Home Depot and in URM’s
                                                                              14   janitorial department, known as the EVS team. He knows that diseases such as
                                                                              15   typhus have made a resurgence on Skid Row, and this makes him extremely
                                                                              16   concerned that his work with the EVS team puts him at greater risk of contracting
                                                                              17   a disease.
                                                                              18         105. In the last several years Mr. Malow has seen a big increase in the
                                                                              19   volume of tents and belongings on the streets. This has greatly affected his daily
                                                                              20   life. He has observed a dramatic increase in the rodent problem on Skid Row and
                                                                              21   has seen rats running in and out of tents when he sweeps the sidewalks and
                                                                              22   gutters outside of URM. A major cause of this rodent problem is the volume of
                                                                              23   trash disposed of on the streets—because individuals living on the streets throw
                                                                              24   food and trash in the streets, rats have more than enough food to flourish. There
                                                                              25   has also been a huge increase in the amount of human feces on the street which
                                                                              26   carries with it the significant risk of disease, not to mention the odors.
                                                                              27         106. There is absolutely no room to walk on the sidewalk, so if he leaves
                                                                              28   URM, Mr. Malow is forced to walk in the street. Even in places where he could

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                                                                               1   physically walk between the encampment and the wall, he still must walk on the
                                                                               2   streets or risk violent confrontation from people who accuse him of invading their
                                                                               3   “space.” When he leaves URM, he must plan his route carefully even if traveling
                                                                               4   by public transportation. Due to an increase in crime, including narcotics sales
                                                                               5   and violent activity, he must use a car service to get back from the metro or bus
                                                                               6   station after visiting his mother in Anaheim. He always has the car drop him off
                                                                               7   directly in front of URM to avoid dangerous encounters on the street.
                                                                               8         107. Mr. Malow does not leave URM between the hours of 4 p.m. and 6
                                                                               9   a.m., because he is concerned for his safety on the streets. When he does leave,
                                                                              10   he is incessantly approached and offered illegal drugs for sale. He regularly sees
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                                                                              11   people just outside his home using illegal narcotics in the form of pills or
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                                                                              12   smoking or injecting themselves. He sees people lying motionless in gutters,
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                                                                              13   often without clothes or shoes, and is constantly looking to see if that person is
                                                                              14   dead or merely unconscious from drugs or alcohol. As a person who has
                                                                              15   struggled with drug and alcohol use, it is particularly painful to watch and
                                                                              16   experience.
                                                                              17         108. The excessive build-up of tents and debris over the last few years is
                                                                              18   directly responsible for this significant increase in crime because it allows
                                                                              19   criminals to operate in relative anonymity. This increase in debris, tents, and
                                                                              20   personal items on the streets also makes it impossible for health and safety
                                                                              21   workers to identify public health risks, causing disease and unsafe conditions to
                                                                              22   spread right outside his home. As a formerly homeless individual, Malow knows
                                                                              23   first-hand the difficulties that come from living on the street and is deeply
                                                                              24   troubled by both the City and County’s actions and inaction in the face of the
                                                                              25   homelessness crisis.
                                                                              26         109. KARYN PINSKY works in DTLA and lives there with her husband
                                                                              27   and their young son. She and her husband moved to DTLA in 2010 because they
                                                                              28   were drawn to the architecture, history, and walkability of the area. Unhoused

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                                                                               1   individuals have always been present near their home, but in far fewer numbers.
                                                                               2   In 2010, the only tents west of Skid Row were on Broadway, and they were
                                                                               3   erected every night and removed shortly after sunrise. From 2010 to 2016, Ms.
                                                                               4   Pinsky and her husband, and later her son, were able to enjoy many wonderful
                                                                               5   features of DTLA—they regularly walked their dog along Main Street, and they
                                                                               6   felt comfortable walking to the many wonderful establishments and restaurants
                                                                               7   that were nearby.
                                                                               8         110. All this has changed dramatically over the past several years as the
                                                                               9   homelessness crisis has deepened. Now, due to many recent experiences and the
                                                                              10   crime and concentration levels in Downtown, Ms. Pinsky is fearful that either she
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                                                                              11   or her son will be the subject of some random act of violence. Once, while sitting
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                                                                              12   outside at a café on Spring Street, a homeless woman screamed and became
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                                                                              13   violent towards her because she thought Ms. Pinsky was “judging” her—only
                                                                              14   when her husband and others intervened was the situation defused. On another
                                                                              15   occasion, her husband saw the aftermath of a violent encounter between a
                                                                              16   neighbor and a homeless, mentally ill individual—the individual hit their
                                                                              17   neighbor in the face with a 2x4 that had a nail in it. Earlier this year, a homeless
                                                                              18   man seated outside a café on 6th Street near Broadway, a block from their house,
                                                                              19   randomly pushed a stranger into the street in front of an oncoming bus. The man
                                                                              20   was struck by the bus and ultimately died. Another neighbor on a different floor
                                                                              21   was attacked in the middle of the night by someone who gained access through a
                                                                              22   fire escape window. Now, as a result, she no longer feels safe sleeping with her
                                                                              23   window cracked even a little at night because of its proximity to the fire escape.
                                                                              24         111. Sexual assaults on women also have increased significantly in the
                                                                              25   last several years, and as a result, Ms. Pinsky is terrified of being assaulted while
                                                                              26   running errands or just walking to or from a restaurant. The conditions
                                                                              27   immediately surrounding their home have gotten so dangerous that neither she
                                                                              28   nor her husband will leave the house by foot at all. They drive into the garage

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                                                                               1   and stay in their home; if they need to run errands, they drive. She does not walk
                                                                               2   at all, due to the violent criminals that are using the tents as cover immediately
                                                                               3   outside her building. She once was able to take her son to enjoy the various
                                                                               4   activities Downtown Los Angeles offers, like the library story time, parks such as
                                                                               5   Pershing Square, and museums. Now they avoid those altogether. Family and
                                                                               6   friends are so fearful of the disease and violence in the area that they will no
                                                                               7   longer come to visit Ms. Pinsky. The area was not always like this, but the City’s
                                                                               8   failure to address this crisis in a way that is balanced for both the housed and
                                                                               9   unhoused communities has fundamentally altered the neighborhood and her
                                                                              10   experience of it. Ms. Pinsky has been greatly affected and has a very real interest
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                                                                              11   in remediating this issue insofar as her quality of life and basic enjoyment of her
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                                                                              12   property have been severely diminished. At the same time, she also has
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                                                                              13   compassion and empathy for those on the streets who are subject to the assaults
                                                                              14   (particularly women), the elements, the drug pushers, the gang members, the rats,
                                                                              15   filth, and disease. For Ms. Pinsky, this is no way for a society to treat its most
                                                                              16   helpless members.
                                                                              17         112. HARRY TASHDJIAN owns an upholstery supply business in the
                                                                              18   industrial area of DTLA, and the property surrounding the business location. Mr.
                                                                              19   Tashdjian’s building typically houses millions of dollars’ worth of inventory.
                                                                              20   When he purchased the building in 2013, tents were not allowed on the streets
                                                                              21   during the day. Because his business operates during traditional business hours,
                                                                              22   he believed that the location would not hinder business, which generally has
                                                                              23   between 70 and 100 will-call orders per day through which customers order
                                                                              24   product and then come into the business shop to pick it up.
                                                                              25         113. In mid-2016, Mr. Tashdjian saw an immediate increase in tents on
                                                                              26   the streets and sidewalks outside of his business. Today, tents occupy the
                                                                              27   sidewalks at all hours, and it is difficult for him and his customers to access his
                                                                              28   business due to the piles of property and people loitering on the sidewalk and in

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                                                                               1   the street. Customers constantly tell him how difficult it is to get into the
                                                                               2   building or the adjacent parking lot without hitting people. Mr. Tashdjian has
                                                                               3   been repeatedly told that customers prefer to do business with competitors to
                                                                               4   avoid the hassle and inconvenience of trying to access his store.
                                                                               5         114. Vendors from all over the world—Italy, Germany, United Kingdom,
                                                                               6   China, etc.—visit Mr. Tashdjian’s shop and express shock and dismay that such
                                                                               7   horrendous conditions exist in Los Angeles. His business is now at a much
                                                                               8   greater risk for vandalism, violence, and fire damage. Homeless individuals
                                                                               9   frequently urinate into or onto his building or the adjacent parking lot, and there
                                                                              10   has been an increase in graffiti on his building. The number of tents immediately
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                                                                              11   outside of his building puts his business at risk of fire damage—indeed, the fire
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                                                                              12   department responds at least once a year to a tent fire that has started immediately
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                                                                              13   outside his building. Sometimes it is an innocent accident from an open flame;
                                                                              14   other times, it is intentional due to some drug dealers’ disagreement. His security
                                                                              15   cameras have recorded these acts of arson.
                                                                              16         115. The conditions surrounding his property have cost Mr. Tashdjian a
                                                                              17   great deal of money. Because of the immediate fire danger posed by the tents
                                                                              18   outside his building, he has been forced to upgrade his fire monitoring system
                                                                              19   which cost approximately $40,000. He has also had to spend approximately
                                                                              20   $37,000 on a new security surveillance system to protect the building. The
                                                                              21   LAPD frequently seeks footage caught on this security system during
                                                                              22   investigations. Theft is also a major concern—pallets are constantly stolen from
                                                                              23   their building and car batteries are frequently stolen from inside people’s cars.
                                                                              24         116. There has also been a significant uptick in the population of rats
                                                                              25   surrounding his building, and as a result, rat feces coat all three fences
                                                                              26   surrounding his property. To address the increase in fecal matter on his property,
                                                                              27   as well as the proliferation in cockroaches, he has hired a pest control company
                                                                              28   and had the health department visit the property multiple times. The gate

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                                                                               1   surrounding his property has been repeatedly damaged, costing him thousands of
                                                                               2   dollars in repairs.
                                                                               3          117. Over the last few years, as the City and County have permitted the
                                                                               4   homelessness crisis to grow, the risk to his property from fire damage and
                                                                               5   vandalism has increased exponentially—the business constantly replaces gates
                                                                               6   and other property, cleans the facilities, and sometimes pays security to safeguard
                                                                               7   its property. His business has had to spend over $100,000 in upgrades to their
                                                                               8   system and increased monitoring and pest control just as a result of the increased
                                                                               9   homeless persons and property in the area. Mr. Tashdjian and his employees
                                                                              10   cannot walk anywhere in the area and are constantly subject to risk of disease due
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                                                                              11   to the putrid conditions outside the business.
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                                                                              12          118. The City and the County have offered no assistance to Mr. Tashdjian
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                                                                              13   and have taken no steps to address the impact of the homelessness crisis on his
                                                                              14   business or to enforce the laws that are broken daily in the area around his
                                                                              15   business.
                                                                              16                                    DEFENDANTS
                                                                              17          119. COUNTY OF LOS ANGELES (“County”) is a municipal entity
                                                                              18   existing under the laws of the State of California, with the capacity to sue and be
                                                                              19   sued. The departments of the County include but are not limited to the Los
                                                                              20   Angeles Sheriff’s Department (LASD), the Department of Mental Health
                                                                              21   (DMH), the Department of Public Health (DPH), and the Department of Public
                                                                              22   Social Services (DPSS).
                                                                              23          120. The COUNTY, along with the City of Los Angeles, jointly funds,
                                                                              24   manages, and administers the Los Angeles Homeless Service Authority
                                                                              25   (LAHSA), an independent joint powers authority. According to its website,
                                                                              26   “LAHSA is the lead agency in the Los Angeles Continuum of Care, which is the
                                                                              27   regional planning body that coordinates housing and services for homeless
                                                                              28   families and individuals in Los Angeles County. LAHSA coordinates and

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                                                                               1   manages over $300 million annually in federal, state, county, and city funds for
                                                                               2   programs that provide shelter, housing, and services to people experiencing
                                                                               3   homelessness.”114
                                                                               4         121. Does 1 through 200, inclusive, are persons, entities, government
                                                                               5   bodies, municipal employees, the names and identifies of which are currently
                                                                               6   unknown.
                                                                               7                              V. CAUSES OF ACTION
                                                                               8                             FIRST CAUSE OF ACTION
                                                                               9                             Violation of Mandatory Duty
                                                                              10      Cal. Gov’t Code § 815.6; Welf & Inst. Code §§5600 et seq, 13000 et seq,
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                                                                              11                                    14000 et seq., 17000
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                                                                              12         122. Plaintiffs re-allege and incorporate herein by this reference each and
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                                                                              13   every allegation set forth in paragraphs 1 through 121 of this Complaint as
                                                                              14   though set forth fully herein.
                                                                              15         123. Defendant County of Los Angeles is liable under California
                                                                              16   Government Code section 815.6 and common law negligence theory for violation
                                                                              17   of a statutorily mandated duty to provide mental health and medical care for the
                                                                              18   indigent and those eligible for Medi-Cal.
                                                                              19         124. According to the California Welfare and Institutions Code section
                                                                              20   5600.1, “[t]he mission of California's mental health system shall be to enable
                                                                              21   persons experiencing severe and disabling mental illnesses… to access services
                                                                              22   and programs that assist them, in a manner tailored to each individual, to better
                                                                              23   control their illness, to achieve their personal goals, and to develop skills and
                                                                              24   supports leading to their living the most constructive and satisfying lives
                                                                              25   possible in the least restrictive available settings. Under California Welfare and
                                                                              26   Institutions Code 5600.3, counties have an obligation to use their mental health
                                                                              27
                                                                              28         114
                                                                                            LAHSA, About LAHSA, https://www.lahsa.org/about (last visited June
                                                                                   23, 2022).
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                                                                               1   “to the extent resources are available” to treat “homeless persons who are
                                                                               2   mentally ill.” Cal. Welf. and Inst. Code §§ 5600.3(b)(4)(A). The minimum array
                                                                               3   of services that must be offered to this target population are: (a) precrisis and
                                                                               4   crisis services, (b) assessment, (c) comprehensive evaluation and assessment, (d)
                                                                               5   an individual service plan, (e) medication education and management, (f) case
                                                                               6   management, (g) twenty-four hour treatment services, (h) rehabilitation and
                                                                               7   support services, (i) vocation rehabilitation, and (j) residential services. Welf. and
                                                                               8   Inst. Code § 5600.5. Additionally they should be offered: services for homeless
                                                                               9   persons, and group services Welf. and Inst. Code § 5600.4 (k)-(j). Each of these
                                                                              10   sections provides the caveat that such services must be offered “to the extent
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                                                                              11   resources are available.” But resources are available. As detailed supra, the
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                                                                              12   County has hundreds of millions of dollars sitting in its MHSA fund, a $40
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                                                                              13   billion budget (of which only 0.1 percent funds the department of mental health,
                                                                              14   the minimum necessary to receive state and federal funds), and hundreds of
                                                                              15   millions of dollars in Measure H funds which told voters it would go towards
                                                                              16   “mental health” but fails to do so in any meaningful way. And the County is
                                                                              17   quite literally leaving money on the table by not applying for reimbursable costs
                                                                              18   from the federal government.
                                                                              19         125. Under Welfare and Institutions Code sections 13000 et seq. and
                                                                              20   14000, et seq. Medi-Cal services must be provided by Counties, or cause to be
                                                                              21   provided by counties, for all services that are “medically necessary” which is
                                                                              22   defined as “reasonable and necessary to protect life, to prevent significant illness
                                                                              23   or significant disability, or to alleviate severe pain.” Cal. Welf. & Inst. Code §
                                                                              24   14059.5(a). For Med-Cal members who are under 21 years of age, this includes
                                                                              25   any service “necessary to correct or ameliorate health conditions, including
                                                                              26
                                                                              27
                                                                              28

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                                                                               1   “behavioral health conditions.”115 For members over the age of 21, this means
                                                                               2   provision of specialty mental health services “who have significant impairment or
                                                                               3   reasonable probability of functional deterioration due to a diagnosed or suspected
                                                                               4   mental health disorder.” 116 Counties must “provide or arrange for the provision”
                                                                               5   of, inter alia, evaluation, testing, drug therapy, medication, and psychiatric
                                                                               6   consultations.117 Counties must also provide “psychiatric inpatient hospital
                                                                               7   services and psychiatric health facility services” where the member has a
                                                                               8   “[s]ignificant impairment” defined as “distress, disability, or dysfunction in
                                                                               9   social, occupational, or other important activities” or “a reasonable probability of
                                                                              10   significant deterioration in an important area of life functioning” and a
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                                                                              11   “diagnosed” or “suspected” mental health disorder. 118 Its obligations for
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                                                                              12   members under the age of 21 are even higher.119 Additionally, Counties, as the
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                                                                              13   provider and administrator of Medi-Cal also has the obligation to provide
                                                                              14   substance use treatment, including residential treatment and inpatient services
                                                                              15   “when medically necessary” after evaluation and diagnosis. 120 And Counties
                                                                              16
                                                                              17         115
                                                                                              Memorandum from Dana Durham, Chief of the Managed Care Quality
                                                                                   and Monitoring Division of the State of California-Health and Human Services,
                                                                              18   Department of Health Care Services on Medi-Cal Managed Care Health Plan
                                                                                   Responsibilities for Non-Specialty Mental Health Services to All MediCal
                                                                              19   Managed Care Health Plans (Apr. 8, 2022),
                                                                                   https://www.dhcs.ca.gov/formsandpubs/Documents/MMCDAPLsandPolicyLette
                                                                              20   rs/APL2022/APL22-006.pdf.
                                                                                          116
                                                                                              Id.
                                                                              21          117
                                                                                              Id.
                                                                                          118
                                                                                              Memorandum from Shaina Zurlin, Medi-Cal Behavior Health of the
                                                                              22   State of California Health and Human Services, Department of Health Care
                                                                                   Services on Criteria for beneficiary access to Specialty Mental Health Services
                                                                              23   (SMHS), medical necessity and other coverage requirements to California
                                                                                   Alliance of Child and Family Services, et al. (Dec. 10, 2021),
                                                                              24   https://www.dhcs.ca.gov/Documents/BHIN-21-073-Criteria-for-Beneficiary-to-
                                                                                   Specialty-MHS-Medical-Necessity-and-Other-Coverage-Req.pdf.
                                                                              25          119
                                                                                              Id.
                                                                                          120
                                                                                              Memorandum from Shaina Zurlin, Medi-Cal Behavior Health of the
                                                                              26   State of California Health and Human Services, Department of Health Care
                                                                                   Services on Drug Medi-Cal Organized Delivery System (DMC-ODS)
                                                                              27   Requirements for the Period of 2022 – 2026 to california Alliance of Child and
                                                                                   Family Services, et al. (Dec. 17, 2021),
                                                                              28   https://www.dhcs.ca.gov/Documents/BHIN-21-075-DMC-ODS-Requirements-
                                                                                   for-the-Period-2022-2026.pdf.
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                                                                               1   have an obligation to “undertake outreach efforts to beneficiaries” to maintain
                                                                               2   contact information and ensure continued enrollment. Cal. Welf. & Inst. Code §
                                                                               3   14005.36.
                                                                               4         126. In addition to its obligations as the provider and administrator of
                                                                               5   Medi-Cal, California Welfare and Institutions Code section 17000 provides:
                                                                               6   “Every county and every city and county shall relieve and support all
                                                                               7   incompetent, poor, indigent persons, and those incapacitated by age, disease, or
                                                                               8   accident, lawfully resident therein, when such persons are not supported and
                                                                               9   relieved by their relatives or friends, by their own means, or by state hospitals or
                                                                              10   other state or private institutions.”
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                                                                              11         127. Section 10000 clarifies and defines the purpose of these obligations
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                                                                              12   as follows:
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                                                                              13                 The purpose of this division is to provide for protection,
                                                                                                 care, and assistance to the people of the state in need
                                                                              14                 thereof, and to promote the welfare and happiness of all
                                                                                                 of the people of the state by providing appropriate aid
                                                                              15                 and services to all of its needy and distressed. It is the
                                                                                                 legislative intent that aid shall be administered and
                                                                              16                 services provided promptly and humanely, with due
                                                                                                 regard for the preservation of family life, and without
                                                                              17                 discrimination on account of ancestry, marital status,
                                                                                                 political affiliation, or any characteristic listed or
                                                                              18                 defined in Section 11135 of the Government Code.
                                                                                                 That aid shall be so administered and services so
                                                                              19                 provided, to the extent not in conflict with federal law,
                                                                                                 as to encourage self-respect, self-reliance, and the
                                                                              20                 desire to be a good citizen, useful to society.
                                                                              21   Cal. Welf. & Inst. Code § 10000.
                                                                              22         128. Sections 17000 and 10000 taken together mandate that “medical
                                                                              23   care be provided to indigents . . . promptly and humanely.” Tailfeather v. Board
                                                                              24   of Supervisors, 48 Cal. App. 4th 1223, 1245 (1996). This means counties must
                                                                              25   provide medical care to the poor “at a level which does not lead to unnecessary
                                                                              26   suffering or endanger life and health.” Id. at 1240. The California Supreme
                                                                              27   Court has held that “subsistence medical services” must be provided. Hunt v.
                                                                              28   Superior Court, 21 Cal. 4th 984, 1014 (1999) (“Section 10000 imposes a

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                                                                               1   minimum standard of care—one requiring that subsistence medical services be
                                                                               2   provided promptly and humanely.”) Counties have an obligation to provide
                                                                               3   “‘medically necessary care,’ not just emergency care.” County of Alameda v.
                                                                               4   State Bd. of Control, 14 Cal. App. 4th 1096, 1108 (1993) (citation omitted). That
                                                                               5   includes care “sufficient to avoid substantial pain and infection.” Hunt, 21 Cal.
                                                                               6   4th at 1014. Importantly, a county’s obligation to provide medically necessary
                                                                               7   care must be fulfilled “without regard to its fiscal plight.” Fuchino v. Edwards-
                                                                               8   Buckley, 196 Cal. App. 4th 1128, 1134 (2011) (citation omitted).
                                                                               9         129. Given the facts and circumstances, and significant studies, statistics,
                                                                              10   and reports including those set forth supra, and other such evidence as may be
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                                                                              11   provided, it cannot be doubted that a person’s status as an unsheltered homeless
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                                                                              12   individual both causes and exacerbates physical and mental health problems,
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                                                                              13   ultimately causing much higher rates of infection, disease, decay, pain, and death.
                                                                              14   As Dr. Barbara Ferrer, director of the LA County Department of Public Health,
                                                                              15   admitted: “Homeless people are in fact dying at a higher rate because they’re
                                                                              16   homeless.”121 Recognizing this, the LA County Department of Health Services
                                                                              17   has implemented limited program to provide housing as part of its larger
                                                                              18   healthcare obligation which has been wildly successful. But unfortunately, it has
                                                                              19   not gone far enough to address the homeless crisis, which is ravaging the city and
                                                                              20   county, such that over 48,000 persons remain unsheltered in the County as of
                                                                              21   January 2019.
                                                                              22         130. Basic shelter is “medically necessary” insofar as it is “reasonable
                                                                              23   and necessary to protect life, to prevent significant illness or significant
                                                                              24   disability, or to alleviate severe pain” and the County’s failure to provide the
                                                                              25   same to its homeless population constitutes a breach of its duty under California
                                                                              26   Welfare & Institution Code sections 17000 and 10000. Plaintiffs allege that
                                                                              27
                                                                              28         121
                                                                                              Flores, supra note 82,
                                                                                   https://la.curbed.com/2019/10/30/20940369/homeless-deaths-los-angeles-county.
                                                                                                                         72
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   provision of shelter, in and of itself, would alleviate significant physical and
                                                                               2   mental health issues and prevent existing or pre-existing physical and mental
                                                                               3   health issues from worsening. In other words, the beds themselves are medically
                                                                               4   necessary.
                                                                               5         131. Mental Health and Substance Use Disorder Treatment is further
                                                                               6   “medically necessary” and the failure to provide such treatment, particularly
                                                                               7   residentially treatment for those for whom shelter is not practically available to
                                                                               8   them because of their serious mental health or substance use disorder, in any
                                                                               9   reasonably accessible manner is a violation of the County’s obligation under the
                                                                              10   Welfare & Institution Code.
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11         132. Defendant County is undoubtedly failing to provide the necessary
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                                                                              12   mental health and substance use treatment, both outpatient and inpatient.
                                      LOS ANGELES, CA 90025




                                                                              13   Plaintiffs, and each of them, have been damaged by the County’s failure to
                                                                              14   provide shelter and treatment, as described in detail supra.
                                                                              15                            SECOND CAUSE OF ACTION
                                                                              16                             Nuisance (Public and Private)
                                                                              17         133. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              18   every allegation set forth in paragraphs 1 through 132 of this Complaint as
                                                                              19   though set forth fully herein.
                                                                              20         134. California has defined nuisance as
                                                                              21                [a]nything which is injurious to health, including, but
                                                                                                not limited to, the illegal sale of controlled substances,
                                                                              22                or is indecent or offensive to the senses, or an
                                                                                                obstruction to the free use of property, so as to interfere
                                                                              23                with the comfortable enjoyment of life or property, or
                                                                                                unlawfully obstructs the free passage or use, in the
                                                                              24                customary manner, of any navigable lake, or river, bay,
                                                                                                stream, canal, or basin, or any public park, square,
                                                                              25                street, or highway, is a nuisance.
                                                                              26   Cal. Civ. Code § 3479.
                                                                              27         135. As described above, the County, by its failure to provide the housing
                                                                              28   and services necessary to assist people experiencing homelessness, including

                                                                                                                73
                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   plaintiffs named herein, is perpetuating and facilitating nuisance violations. The
                                                                               2   Plaintiff and Alliance members own, lease, occupy, or otherwise control all or a
                                                                               3   portion of the home or business identified. By Defendant County’s actions and
                                                                               4   inactions, it has created a condition or permitted a condition to exist that is
                                                                               5   harmful to the health, indecent and offensive to the senses, obstructs the free
                                                                               6   passage and use of public parks, squares, streets, highway, and sidewalks, permits
                                                                               7   unlawful sales of illicit narcotics, and constitutes a fire hazard, as described
                                                                               8   supra.
                                                                               9            136. All Plaintiffs who own or rent property have experienced a
                                                                              10   substantial and unreasonable interference with the enjoyment of their property,
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   whether that be a building owned or room rented; each have suffered and
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                                                                              12   continue to be threatened with respect to their health and welfare, by reason of
                                      LOS ANGELES, CA 90025




                                                                              13   the constant threat of disease and the experience of human waste, trash, and
                                                                              14   encampments outside their property.
                                                                              15            137. Defendant’s conduct has been and is intentional and unreasonable,
                                                                              16   unintentional but negligent or reckless, and/or the condition permitted to exist
                                                                              17   was the result of abnormally dangerous activity which substantially interfered
                                                                              18   with each individual’s use or enjoyment of his or her land that an ordinary person
                                                                              19   would reasonably be annoyed or disturbed by. No plaintiff or Alliance member
                                                                              20   consented to Defendants’ conduct; each was harmed, Defendants’ conduct was a
                                                                              21   substantial factor in causing the harm, and the seriousness of the harm outweighs
                                                                              22   any public benefit of such conduct (which is none). Each plaintiff and Alliance
                                                                              23   member has been damaged in his or her own right, in a manner specially
                                                                              24   injurious to him or herself.
                                                                              25            138. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              26   equitable and injunctive relief only. As such the County is not entitled to any
                                                                              27   claims of immunity pursuant to California Government Code section 814.
                                                                              28

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                                                                               1                             THIRD CAUSE OF ACTION
                                                                               2                     Inverse Condemnation/Cal. Const. art. I § 19
                                                                               3                   (Plaintiffs Alliance, Burk, Tashdjian, and Frem)
                                                                               4         139. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                               5   every allegation set forth in paragraphs 1 through 138 of this Complaint as
                                                                               6   though set forth fully herein.
                                                                               7         140. California Constitution, article I § 19 provides in relevant part:
                                                                               8   “Private property may be taken or damaged for a public use and only when just
                                                                               9   compensation, ascertained by a jury unless waived, has first been paid to, or into
                                                                              10   court for, the owner.” The actions by the County in failing to treat those with
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                                                                              11   mental illness and substance use disorder, and/or provide the necessary social
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                                                                              12   services as required by law, have limited, damaged, and/or burdened the owners’
                                      LOS ANGELES, CA 90025




                                                                              13   property and/or business so substantially they rise to the level of a regulatory
                                                                              14   taking, yet no compensation has been provided.
                                                                              15         141. Plaintiffs seek compensation according to each of their separate
                                                                              16   damages, in addition to injunctive relief and any other relief accorded to
                                                                              17   Plaintiffs as appropriate in this case.
                                                                              18                            FOURTH CAUSE OF ACTION
                                                                              19                         Waste of Public Funds and Resources
                                                                              20                               Cal. Civ. Proc. Code § 526a
                                                                              21         142. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              22   every allegation set forth in paragraphs 1 through 141 of this Complaint as
                                                                              23   though set forth fully herein.
                                                                              24         143. California Code of Civil Procedure section 526a permits private
                                                                              25   individuals or entities to bring an action to “obtain a judgment, restraining and
                                                                              26   preventing any illegal expenditure of, waste of, or injury to, the estate, funds, or
                                                                              27   other property of a local agency.”
                                                                              28

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                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1         144.    Plaintiffs and Alliance members, each of them, are residents of the
                                                                               2   County of Los Angeles and/or own property and/or businesses therein and pay
                                                                               3   income tax, sales tax, property tax, and/or business license taxes and therefore
                                                                               4   having standing to bring an action under section 526a. Payment of these taxes
                                                                               5   have been significant, and a hardship, but Plaintiffs continue to do so. In
                                                                               6   particular payment of Measure H’s quarter-cent sales tax has impacted business
                                                                               7   and quality of life, but Plaintiffs continue to do so.
                                                                               8         145. As described more fully supra, taxpayer funds have been misused
                                                                               9   and wasted by the County of Los Angeles, such they are incapable of achieving
                                                                              10   the ostensible goal of addressing the homelessness crisis in any significant way,
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   much less “ending” it. Such expenditures, particularly when taken in the
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                                                                              12   aggregate, cost several factors more than alternative available measures which
                                      LOS ANGELES, CA 90025




                                                                              13   are demonstrably effective in addressing the crisis.
                                                                              14         146. Measure H was promoted as complimentary to the City’s
                                                                              15   Proposition HHH, and passed by the electorate to address the homelessness crisis
                                                                              16   to provide mostly services in a comprehensive and effective way. Instead, the
                                                                              17   County uses its dollars mostly to fund housing, and the promised services are
                                                                              18   nowhere to be found. And homelessness has steadily increased in the County.
                                                                              19         147. Hundreds of millions of dollars sits unused in the County’s MHSA
                                                                              20   account while the mentally ill—for whom the special tax was created—go
                                                                              21   untreated on the street. The County Mental health department is unsupported and
                                                                              22   underfunded by the County, and the County’s MH-MAA reimbursement rates
                                                                              23   remains far too low. As further detailed supra, the County has spent enormous
                                                                              24   amounts of public funds on the homelessness crisis in ways that have had little or
                                                                              25   no effect on the crisis, and thereby wasted those public funds.
                                                                              26         148. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              27   equitable and injunctive relief only. As such the County is not entitled to any
                                                                              28   claims of immunity pursuant to California Government Code section 814.

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                                                                               1                             FIFTH CAUSE OF ACTION
                                                                               2                  Violation of Statutorily-Created Liberty Interest
                                                                               3                     42 U.S.C. § 1983; U.S. Const. amend. V/XIV
                                                                               4         149. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                               5   every allegation set forth in paragraphs 1 through 148 of this Complaint as
                                                                               6   though set forth fully herein.
                                                                               7         150. As described in detail supra, the County has numerous statutory
                                                                               8   obligations which require it to provide health, mental health, and substance use
                                                                               9   disorder services and treatment, including inpatient, residential, and outpatient
                                                                              10   treatment, and shelter where medically necessary.
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11         151. Through these statutes, the State of California has created a liberty
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                                                                              12   interest in adequate and available substance use disorder treatment, mental health
                                      LOS ANGELES, CA 90025




                                                                              13   treatment and shelter. These statutes set forth substantive predicates to govern
                                                                              14   official decision-making and contain explicitly mandatory language, are
                                                                              15   mandatory, and place substantive limitations on official discretion.
                                                                              16         152. Moreover, the County has intentionally and explicitly accepted
                                                                              17   responsibility for providing services and treatment to persons experiencing
                                                                              18   homelessness and has created specific taxes and holds specific accounts for such
                                                                              19   a person as detailed supra.
                                                                              20         153. The County of Los Angeles, by depriving Plaintiffs of their liberty
                                                                              21   interest in mandatory care contemplated under the aforementioned statutes and by
                                                                              22   failing to offer or provide a reasonable means by which persons experiencing
                                                                              23   homelessness in need of such care may seek or receive it, has violated the Due
                                                                              24   Process clause of the United States Constitution.
                                                                              25         154. Plaintiffs are informed, believe and allege that, at all times herein
                                                                              26   mentioned, Defendant County of Los Angeles and its respective agents, with
                                                                              27   deliberate indifference, and conscious and reckless disregard to the safety,
                                                                              28   security, and constitutional and statutory rights of Plaintiffs, engaged in the

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                                                                               1   unconstitutional conduct and omissions set forth above, all pursuant to policy,
                                                                               2   procedure, or customs held by the County of Los Angeles.
                                                                               3         155. The actions and inactions of the County of Los Angeles were known
                                                                               4   or should have been known to the policy makers responsible for that agency and
                                                                               5   occurred with deliberate indifference to the constitutional violations set forth
                                                                               6   above, and/or to the strong likelihood that constitutional rights would be violated
                                                                               7   as a result of its customs and/or policies.
                                                                               8         156. Plaintiffs seek an award of compensatory damages, injunctive relief,
                                                                               9   and the cost of attorneys’ fees in bringing this action.
                                                                              10                             SIXTH CAUSE OF ACTION
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11         Violation of Due Process Clause (State-Created Danger Doctrines)
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                                                                              12                       42 U.S.C. § 1983; U.S. Const. Amend. 14
                                      LOS ANGELES, CA 90025




                                                                              13         157. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              14   every allegation set forth in paragraphs 1 through 156 of this Complaint as
                                                                              15   though set forth fully herein.
                                                                              16         158. By the acts and omissions described above, Defendant has
                                                                              17   affirmatively created and/or increased the risk that Plaintiffs would be exposed to
                                                                              18   dangerous conditions, which placed Plaintiffs specifically at risk, and Plaintiffs
                                                                              19   were harmed as a result. The County created and/or contributed to the danger to
                                                                              20   them and others like them by adopting and maintaining various policies and laws,
                                                                              21   including but not limited to concentrating services in known dangerous areas,
                                                                              22   coalescing in a strategy to contain homeless people in Skid Row which
                                                                              23   specifically endangered Plaintiffs and were deliberately indifferent thereto. The
                                                                              24   County created a further danger by focusing nearly exclusively on so-called
                                                                              25   permanent housing options without balancing interim and emergency needs,
                                                                              26   which could not ever meet the ostensible goal, and caused more people to remain
                                                                              27   unsheltered, exacerbating or causing significant mental and physical decline at
                                                                              28   such a rate that outpaces the building and provision of such units.

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                                                                               1         159. Defendant knew or should have known that its acts or omissions
                                                                               2   specifically endangered Plaintiffs and were deliberately indifferent thereto.
                                                                               3         160. Plaintiffs are informed, believe and allege that, at all times herein
                                                                               4   mentioned, Defendant County of Los Angeles and its respective agents, with
                                                                               5   deliberate indifference, and conscious and reckless disregard to the safety,
                                                                               6   security, and constitutional and statutory rights of Plaintiffs, engaged in the
                                                                               7   unconstitutional conduct and omissions set forth above, all pursuant to policy,
                                                                               8   procedure, or customs held by the County of Los Angeles.
                                                                               9         161. The actions and inactions of the County of Los Angeles were known
                                                                              10   or should have been known to the policy makers responsible for that agency and
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                                                                              11   occurred with deliberate indifference to the constitutional violations set forth
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                                                                              12   above, and/or to the strong likelihood that constitutional rights would be violated
                                      LOS ANGELES, CA 90025




                                                                              13   as a result of its customs and/or policies.
                                                                              14         162. Plaintiffs seek an award of compensatory damages, injunctive relief,
                                                                              15   and the cost of attorneys’ fees in bringing this action.
                                                                              16                           SEVENTH CAUSE OF ACTION
                                                                              17                                Uncompensated Taking
                                                                              18                      U.S.C. § 1983; U.S. Const. Amend. V/XIV
                                                                              19                   (Plaintiffs Alliance, Burk, Tashdjian, and Frem)
                                                                              20         163. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              21   every allegation set forth in paragraphs 1 through 161 of this Complaint as
                                                                              22   though set forth fully herein.
                                                                              23         164. The Fifth Amendment mandates, in relevant part, that “private
                                                                              24   property [shall not] be taken for public use, without just compensation.” U.S.
                                                                              25   Const. amend. V. The Fifth Amendment is applied to the states through the
                                                                              26   Fourteenth Amendment. Chicago, Burlington, & Quincy R.R. Co. v. City of
                                                                              27   Chicago, 166 U.S. 226 (1897). The actions by the County, as described in detail
                                                                              28   supra, have limited, damaged, and/or burdened the property owners’ so

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                                                                                            SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   substantially they rise to the level of a regulatory taking, yet no compensation has
                                                                               2   been provided.
                                                                               3         165. Upon information and belief, this was done with deliberate intent
                                                                               4   and/or reckless disregard of Plaintiffs’ rights. Plaintiffs seek an award of
                                                                               5   compensatory damages, injunctive relief, and the cost of attorneys’ fees in
                                                                               6   bringing this action.
                                                                               7         166. Plaintiffs are informed, believe and allege that, at all times herein
                                                                               8   mentioned, Defendant County of Los Angeles and its respective agents, with
                                                                               9   deliberate indifference, and conscious and reckless disregard to the safety,
                                                                              10   security, and constitutional and statutory rights of Plaintiffs, engaged in the
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   unconstitutional conduct and omissions set forth above, all pursuant to policy,
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                                                                              12   procedure, or customs held by the County of Los Angeles.
                                      LOS ANGELES, CA 90025




                                                                              13         167. The actions and inactions of the County of Los Angeles were known
                                                                              14   or should have been known to the policy makers responsible for that agency and
                                                                              15   occurred with deliberate indifference to the constitutional violations set forth
                                                                              16   above, and/or to the strong likelihood that constitutional rights would be violated
                                                                              17   as a result of its customs and/or policies.
                                                                              18         168. Plaintiffs seek an award of compensatory damages, injunctive relief,
                                                                              19   and the cost of attorneys’ fees in bringing this action.
                                                                              20                             VI. PRAYER FOR RELIEF
                                                                              21         Plaintiffs pray for judgment against Defendant as follows:
                                                                              22         1.     Injunctive/equitable relief in a manner to be determined by law;
                                                                              23         2.     As to the federal claims and claims under the California constitution
                                                                              24   only, compensatory damages and other special, general and consequential
                                                                              25   damages according to proof;
                                                                              26         3.     An award of costs of suit, including attorneys’ fees; and
                                                                              27         4.     Such other and further relief as this Court deems just and proper.
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                                                                               1                      VII. DEMAND FOR JURY TRIAL
                                                                               2        Plaintiffs hereby demand a jury trial.
                                                                               3   Dated: July 15, 2022                /s/ Elizabeth A. Mitchell
                                                                                                                       SPERTUS, LANDES & UMHOFER, LLP
                                                                               4                                       Matthew Donald Umhofer (SBN 206607)
                                                                                                                       Elizabeth A. Mitchell (SBN 251139)
                                                                               5                                       Attorneys for Plaintiffs
                                                                               6
                                                                               7
                                                                               8
                                                                               9
                                                                              10
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




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                                      LOS ANGELES, CA 90025




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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

    Case No. LA CV 20-02291-DOC-KES                                     Date: June 23, 2022

   Title: LA ALLIANCE FOR HUMAN RIGHTS et al. v. CITY OF LOS ANGELES et al.


   PRESENT:

                      THE HONORABLE DAVID O. CARTER, JUDGE

                 Karlen Dubon                                   Not Present
                Courtroom Clerk                                Court Reporter

          ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
                PLAINTIFF:                                  DEFENDANT:
                  None Present                                  None Present


         PROCEEDINGS (IN CHAMBERS): ORDER RE: AMENDED
                                    COMPLAINT

           On June 14, 2022, the Court approved the Stipulated Dismissal and Proposed
   Settlement between Defendant City of Los Angeles and Plaintiffs LA Alliance for
   Human Rights, Joseph Burk, Harry Tashdjian, Wenzial Jarrell, Karyn Pinsky, Charles
   Malow, Charles Van Scoy, George Frem, and Leandro Suarez (collectively “Plaintiffs”)
   (Dkt. 445). Plaintiffs previously represented to the Court their intention to file an
   amended complaint after the stipulated dismissal was finalized (Dkt. 437). Accordingly,
   if Plaintiffs intend to file an amended complaint, that filing is due by Friday, July 15,
   2022.

         The Clerk shall serve this minute order on the parties.
                                                                   Initials of Deputy Clerk: kdu
    MINUTES FORM 11
    CIVIL-GEN




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1                            UNITED STATES DISTRICT COURT
2                           CENTRAL DISTRICT OF CALIFORNIA
3                                   SOUTHERN DIVISION
4

5

6

7    LA ALLIANCE FOR HUMAN RIGHTS                Case No. LA CV 20-02291-DOC-KES
8    ET AL.,
9          Plaintiff,
10

11         vs.                                   ORDER APPROVING STIPULATED
12                                               DISMISSAL AND PROPOSED
13   CITY OF LOS ANGELES ET AL.,                 SETTLEMENT [421]
14         Defendants.
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1           On May 19, 2022, Defendant City of Los Angeles (“City”) and Plaintiffs LA Alliance
2    for Human Rights, Joseph Burk, Harry Tashdjian, Wenzial Jarrell, Karyn Pinsky, Charles
3    Malow, Charles Van Scoy, George Frem, and Leandro Suarez (collectively “Plaintiffs”) filed a
4    Stipulated Order of Dismissal and Exhibit 1, their Settlement Agreement (Dkt. 421). In their
5    Stipulated Order, the parties informed the Court that they had reached a Settlement subject to
6    the Court’s approval of the terms; and dismissal with prejudice as to Defendant City of Los
7    Angeles. The parties have requested that the Court retain jurisdiction to enforce the terms of the
8    Settlement Agreement for a period of five years.
9           The parties have been aggressively litigating this case for over two years. In the process,
10   they have generated a voluminous record comprised of several pre-trial hearings, orders, and a
11   preliminary injunction. In the first year of litigation, the parties participated in multiple
12   mediation sessions, including on June 12, 2020 (Dkt. 133); June 25, 2020 (Dkt. 141); September
13   10, 2020 (Dkt. 170); September 24, 2020 (Dkt. 179); and October 8, 2020 (Dkt. 184). These
14   sessions resulted in a partial Memorandum of Understanding between the City and County of
15   Los Angeles, with the City committing to create 6,700 beds in 18 months to prioritize sheltering
16   unhoused people living by highways (Dkts. 136, 138). Just this year, the parties went to
17   mediation sessions on February 15 (Dkt. 388), February 16 (Dkt. 394), February 22 (Dkt. 395),
18   March 1 (Dkt. 397), and March 29, 2022 (Dkt. 401).
19          The agreement before the Court was not achieved in haste—it was the result of long and
20   deliberate good-faith negotiations. In fact, the City and Plaintiffs have worked diligently to
21   expand the barebones framework articulated in their Preliminary Settlement Agreement (Dkt.
22   408) to a more fleshed-out plan to partially combat homelessness in Los Angeles.
23          The Settlement Agreement creates a structure and enforcement mechanism for the City to
24   create a substantial number of new beds for people experiencing homelessness. While this
25   Agreement is not a solution to homelessness, it is a concrete step toward improving the lives of
26   our neighbors who are currently suffering on the streets.
27          Procedurally, the Settlement Agreement does not affect the rights or obligations of non-
28   settling parties or non-parties. As the City confirmed in its Reply, “nothing in the Court’s order

                                                       -2-

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1    affects any rights of the County or the Intervenors,” and it does not prejudice the rights of other
2    non-parties with respect to future challenges to City ordinances or suits on related issues. See
3    City Reply (Dkt. 438) at 5. In particular, the Section titled, “County Obligations” imposes no
4    responsibilities on the County of Los Angeles because they are not party to this Agreement—as
5    the City notes, “[t]hese agreements are nothing more than Plaintiffs and the City’s expressions
6    of (a) their beliefs concerning the County, and (b) their intent to cooperate regarding their
7    opined County’s obligations.” Id. at 7. In addition, the Settlement Agreement does not affect the
8    parties’ obligations under state or federal law, including state or federal disability law.
9           Having reviewed the Settlement Agreement and the parties’ briefing, the Court finds that
10   the Settlement Agreement is fair, reasonable, and adequate. Accordingly, the Court now
11   approves the Settlement Agreement executed by the parties and attached as Exhibit 1, which is
12   now incorporated in full into the Court’s Order as though fully set forth herein. The Court shall
13   retain jurisdiction for a period of five years to enforce the terms of the Settlement Agreement.
14   Per the parties’ agreement, the Court appoints Special Master Michele Martinez as the Monitor
15   of the Settlement Agreement to assist the Court in overseeing and enforcing this Agreement.
16          Plaintiffs’ claims against the City only, as alleged in the First Amended and
17   Supplemental Complaint, are hereby dismissed with prejudice as to the City only, subject to the
18   Court’s retention of jurisdiction as set forth in Exhibit 1. This Action shall proceed against the
19   County and no claims alleged by Plaintiff Gary Whitter are dismissed by this Order. Except as
20   expressly provided otherwise in the Settlement Agreement, Plaintiffs and the City shall bear
21   their own fees and costs in this Action.
22          The Clerk shall serve this minute order on the parties.
23
            DATED: June 14, 2022
24

25

26                                                          DAVID O. CARTER
27                                                          UNITED STATES DISTRICT JUDGE
28


                                                      -3-

                                                                                                          ER 293
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    No. ___________

                UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT

                    In re: COUNTY OF LOS ANGELES
                               Petitioner,
                                      v.
                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                     (Western Division - Los Angeles)
                               Respondent.

               LA ALLIANCE FOR HUMAN RIGHTS, et al.
                       Real Parties in Interest.

                    On Petition for a Writ of Mandamus in
                     Case No. 2:20-cv-02291 (C.D.Cal.)


                         EXCERPTS OF RECORD
                                 VOLUME 3


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                                 #:13960



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15   UNITED STATES DISTRICT COURT
16   CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
17
18                                                    )   CASE NO. 20-CV-02291-DOC-KES
                                                      )
19   LA ALLIANCE FOR HUMAN                            )   Hon. David O. Carter
     RIGHTS, et al.                                   )   Courtroom 1
20                  Plaintiff(s),                     )
                                                      )
21                  vs.                               )   INTERVENORS’ OBJECTIONS TO
                                                      )   PLAINTIFFS’ AND DEFENDANT CITY
22   City of Los Angeles, et. al.                     )   OF LOS ANGELES’S STIPULATED
                                                      )   ORDER OF DISMISSAL
23                      Defendant(s).                 )
                                                      )   Date: June 11, 2022
                                                      )
24                                                    )   Time: 9:00 a.m.
25
                                                      )
                                                      )
                                                      )   Complaint Filed: March 10, 2020
26                                                    )
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                    _ INTERVENOR’S OBJECTIONS TO PROPOSED ORDER OF DISMISSAL




                                                                                                             ER 295
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                      Intervenors’ Objections to Proposed Order of Dismissal




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 1           I.      INTRODUCTION
 2
             The City of Los Angeles, which has been repeatedly enjoined by federal courts

 3
      from violating the constitutional rights of people experiencing homelessness, and a

 4
      private group of property owners and residents, who have long decried these court

 5
      decisions and brought this case in part to undermine those rulings, have now reached

 6
      an agreement that, unsurprisingly, attempts to obtain judicial approval to do just that.

 7
      Intevenors Los Angeles Community Action Network (LA CAN), LA Catholic Worker,

 8
      and Orange County Catholic Worker object to the Court’s entry of the proposed

 9
      “stipulated order of dismissal.” The agreement, which was negotiated only by the City

10
      and the Plaintiffs, to the exclusion of all other parties to the case, purports to trade the

11
      creation of an as-of-yet undetermined number of shelter beds, by an as-of-yet

12
      undetermined deadline, for this Court’s permission to enforce as-of-yet unwritten and

13
      otherwise undefined regulations and ordinances against unhoused residents, including

14
      LA CAN members intervenors, none of whom are parties to this agreement.

15
             As outlined below, this agreement cannot be approved by this Court. The

16
      agreement runs afoul of numerous requirements that must be met before a court can

17
      enter a consent decree. First, and most importantly, the agreement does not fall within

18
      the Court’s subject matter jurisdiction. Plaintiffs do not have standing to seek the relief

19
      proposed in the agreement, the basis for the relief is too hypothetical and abstract, and

20
      there is no case or controversy between the parties that would give the Court

21
      jurisdiction to enter the proposed agreement. Second, the agreement impermissibly

22
      impacts the rights of third parties who are not a party to the agreement, and relatedly,

23
      the agreement is procedurally unfair because the parties’ agreement was not forged as

24
      part of an adversarial proceeding. Third, the agreement runs afoul of federal, state, and

25
      even local disability law. And finally, the agreement is so vague and ambiguous that

26
      it would effectively be unenforceable if it was entered as drafted. For all of these

27
      reasons, the agreement as drafted cannot be approved by the Court.

28

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      ______________________________________________________________________________________________________
                        Intervenors’ Objections to Proposed Order of Dismissal




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1
2            II.     FACTUAL AND PROCEDURAL BACKGROUND
3
             The LA Alliance filed this lawsuit in March 2020, after reaching out to the City

4
      because it believed the parties “interests [were] aligned” and the City may be a “willing

5
      party” to the suit because “[i]mpact litigation can go far in providing political cover or

6
      breaking down barriers to get things done.” Request for Judicial Notice (RJN), Exh.

7
      1. Within three months, the LA Alliance filed this lawsuit, alleging claims for public

8
      and private nuisance and related constitutional violations. Dkt. 1. Plaintiffs “sought

9
      out” this Court to preside over the litigation 1 and although Plaintiffs did not bring any

10
      constitutional challenges to the enforcement of quality of life ordinances or even, at

11
      that point, represent people experiencing homelessness, they still related the case to

12
      Orange County Catholic Worker, et al. v. County of Orange, 18-CV-00155-DOC-JDE

13
      (“OCCW”), asserting that it was appropriate given the Court’s experience in deciding

14
      issues such as “the sufficiency of number of beds needed to resume enforcement of

15
      certain quality of life laws under Martin v. Boise.” Dkt. 10 at 3.

16
             Almost immediately after the case was filed, Orange County Catholic Worker,

17
      Los Angeles Community Action Network, and Los Angeles Catholic Worker moved

18
      to intervene as a matter of right under Federal Rule of Civil Procedure 24(a) as well as

19
      under 24(b).The Court granted both motions. See Dkt. 18 (granting Orange County

20
      Catholic Worker’s motion to intervene); Dkt. 29 (granting Los Angeles Catholic

21
      Worker and Los Angeles Community Action Network’s (LA CAN)’s motion to

22
      intervene). In granting LA CAN and LA Catholic Worker’s motion, the Court found

23
      that LA CAN’s unhoused members “have a protectable interest to be free from

24
      Oreskes, Benjamin, Alpert Reyes, Emily, and Smith, Doug, “Judge Orders L.A. city
      1

25
      and count ot offer shelter to everyone on skid row by fall,” LA Times, April 20. 2021,
26    available at https://www.latimes.com/homeless-housing/story/2021-04-20/judge-
27
      carter-la-city-county-shelter-skid-row-homeless-fall. Instead of relating the case to
      other litigation already filed against the City of Los Angeles related to the enforcement
28    of “public space regulations,”. Neither the City nor the County objected to the relation.
                                                         2
      ______________________________________________________________________________________________________
                        Intervenors’ Objections to Proposed Order of Dismissal




                                                                                                               ER 301
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 1    increased enforcement and the violation of their constitutional rights,” and that there
 2    was “no other representation of unsheltered homeless people in Los Angeles, who are
 3    most likely to be impacted by any proposed remedies in this case.” Dkt. 29 at 4, n. 1.
 4           Even before the defendants were served, this Court began holding hearings
 5    related to homelessness and COVID-19, and in the course of those hearings, the parties
 6    immediately agreed to stay litigation and enter into settlement negotiations. See Dkt.
 7    39 at 116. From the beginning, those negotiations focused on setting a threshold
 8    number of housing and shelter units that the City would need to create in order for the
 9    City to be obtain the Court’s blessing to begin enforcing “quality of life” offenses like
10    anti-camping bans; and in doing so, circumvent existing litigation and prevent future
11    litigation. See e.g., Dkt. 39 at 69 (describing the 60% threshold and discussing how
12    consent decrees entered in other cities related to the Orange County litigation had
13    “absolutely flattened the litigation”). Although Intervenors attempted to participate in
14    the settlement negotiations to advocate for policy solutions that would address the
15    homelessness crisis, Intervenors objected to the parties’ attempt to use the litigation to
16    secure judicial permission to enforce quality of life ordinances that were not actually
17    before the Court or to undermine judicial rulings that protected unhoused people’s
18    constitutional rights. Intervenors were quickly excluded from negotiations between
19    the City and the Plaintiffs. Even after the parties were ordered to attend mandatory
20    settlement conferences earlier this year, the negotiations between Plaintiffs and the City
21    remained behind closed doors.
22           On April 1, 2022, Intervenors learned that the City and Plaintiffs had reached a
23    settlement agreement, only after the parties announced an invitation-only press
24    conference at City Hall. Intervenors were excluded from even attending, and unlike
25    every other closed door press conference held during COVID-19, the City did not even
26    live-stream the press conference on its social media channels. That afternoon, the City
27    filed a “term sheet” related to the proposed settlement. See Dkt. 408-1.
28

                                                         3
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                        Intervenors’ Objections to Proposed Order of Dismissal




                                                                                                               ER 302
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1            On May 10, 2022, after the City Council agenized the case for another closed
2     session, Intervenors reached out to Plaintiffs and the City to inquire about the timing
3     of the settlement and briefing on the approval of the agreement, including meeting and
4     conferring pursuant to Local Rule 7.3. See Myers Dec. ¶ 2. Neither party even
5     acknowledged the communication for over a week. At the end of the day on May 19,
6     2022, the day before Plaintiffs’ and the City’s deadline to submit the final agreement,
7     counsel for the City responded that the were not obligated to even meet and confer with
8     Intervenors and would not be filing a motion seeking approval; instead, the parties
9     would simply be stipulating for the dismissal of the City from the case. Id., ¶ 3. At
10    9:46 p.m., Plaintiffs filed a notice of lodging and lodged a document titled a
11    “[Proposed] Stipulated Order of Dismissal under Federal Rule of Civil Procedure . See
12    Dkt. 421, 421-1 (“Agreement”). This was the first time Intervenors received a copy of
13    the proposed order or settlement agreement Id. ¶ 4.
14           Just as the City and Plaintiffs had telegraphed when the case was filed over two
15    years ago, the agreement mirrors the settlement agreements in the Orange County
16    litigation, even though the facts, legal claims, and basis for Article III jurisdiction in
17    this case do not. The proposed agreement provides that 1) the City “agrees to create a
18    Required Number of housing or shelter solutions, which is equal to . . . the shelter
19    and/or capacity shelter solutions needed to accommodate sixty percent of the
20    unsheltered City Shelter appropriate PEH within the City based on LAHSA’s 2022
21    Point in Time Count” and 2) “once there are sufficient shelter or housing solutions to
22    accommodate 60% of unsheltered City Shelter appropriate PEH” in a given council
23    district or citywide, the agreement gives the City permission to enforce “public space
24    regulations and ordinances” throughout the district or the city. Agreement at 5, 6, 7.
25    Under the agreement, this Court retains jurisdiction to both enforce the agreement and
26    to provide oversight over its implementation. Agreement at 4. Section 4.2 and 4.3
27    provide a mechanism for Plaintiffs, and only Plaintiffs, to challenge the City’s
28

                                                         4
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                        Intervenors’ Objections to Proposed Order of Dismissal




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 1    determination that it may enforce “public space regulations and ordinances.”
 2    Agreement at 7, 8.
 3         III. LEGAL STANDARD
 4
                     a. The “Stipulated Order” is a Consent Decree

 5
             Regardless of the name given to it by the parties, the “[Proposed] Stipulated

 6
      Order of Dismissal,” lodged by Plaintiffs on May 19, 2022 is a consent decree. “A

 7
      consent decree is ‘essentially a settlement agreement subject to judicial policing,”’

 8
      United States v. State of Or., 913 F.3d 576, 580 (9th Cir. 1990) quoting Williams v.

 9
      Vukovich, 720 F.2d 909, 920 (6th Cir. 1983). The parties request this Court, as a

10
      condition of dismissal, to incorporate the settlement into the “order of dismissal,” Dkt.

11
      421-1 at 2, and to “retain[] exclusive jurisdiction” for five years to enforce it. See e.g.,

12
      Oregon, 913 F.3d at 580 (noting that “[c]onsent decrees are often designed to be carried

13
      out over a number of years”). The agreement also gives the Court significant oversight

14
      of the City’s compliance with the order. See e.g., Agreement at 4 (providing that the

15
      Court will maintain continuing jurisdiction to “oversee and enforce” the agreement,

16
      including to appoint “at its sole discretion” a Special Mater responsible for “overseeing

17
      and Enforcing this Agreement); 11 and 12 (creating a mechanism for the Court to

18
      approve the City’s implementation of “public space regulations and ordinances” in a

19
      given City Council District or City-wide); 18 (giving the Court oversight over whether

20
      the consent decree conflicts with orders issued by other courts); 23 (giving the Court

21
      oversight to decide disputes between the parties). These are hallmarks of a consent

22
      decree, judicial approval and ongoing judicial oversight, are present in the agreement.

23
      See Buckhannon Bd. and Care Home, Inc. v. West Virginia Dept. of Health and Human

24
      Resources, 532 U.S. 598, 604 n. 7 (2001) (“Private settlements do not entail the judicial

25
      approval and oversight involved in consent decrees”).
                  b. Legal Standard for Entering Orders That Maintain Jurisdiction
26                   to Enforce Settlement Agreements (or Consent Degrees)
27           Because the parties request the Court enter an order incorporating the terms of
28    the settlement and retain jurisdiction to enforce it (i.e., enter a consent decree), the
                                                         5
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                                                                                                               ER 304
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1     Court may not simply “rubber stamp” the agreement, U.S. v. Montrose Chem. Corp. of
2     Ca., 50 F.3d 741, 747 (9th Cir. 1995) or enter the order of dismissal without reviewing
3     the terms of the agreement. “[A] federal court is more than a recorder of contracts from
4     whom parties can purchase injunctions; it is an organ of government constituted to
5     make judicial decisions.” Local No. 93, Int'l Ass'n of Firefighters v. City of
6     Cleveland, 478 U.S. 501, 525 (1986) (citations and quotations omitted)). Because the
7     parties are requesting the court retain jurisdiction to enforce the terms of the agreement
8     and oversee its implementation, the proposed agreement must “spring from and serve
9     to resolve a dispute within the court’s subject matter jurisdiction. Furthermore,
10    consistent with this requirement, the consent decree must come within the general
11    scope of the case made by the pleadings.” Id.
12           If the agreement falls within the Court’s Article III jurisdiction, the Court must
13    still determine that the decree is “fair, reasonable and equitable and does not violate
14    the law or public policy.” Sierra Club, Inc. v. Elec. Controls Design, Inc., 909 F.2d
15    1350, 1355 (9th Cir.1990). See also Martin v. Wilks, 490 U.S. 755, 787 n. 26 (1989)
16    (J. Stevens, dissenting) (“The court reviews the consent decree to determine whether it
17    is lawful, reasonable, and equitable.”). When determining whether an agreement is
18    fair, the Court must look at both substantive fairness and procedural fairness, including
19    ensuring that the “consent decree was the product of good faith, arms-length
20    negotiations.” Oregon, 913 F.3d at 581 (citing United States v. City of Miami, 664 F.2d
21    435, 439, 441 (5th Cir. 1981)(en banc)(per curiam)(Rubin, J., concurring). Moreover,
22    “a district court may not approve a consent decree that ‘conflicts with or violates’ an
23    applicable statute.” Conservation Northwest v. Sherman, 715 F.3d 1181, 1185 (9th Cir.
24    2013) (quoting Local 93, 478 U.S. at 526). See also SEC v. Randolph, 736 F.2d 525,
25    528 (9th Cir. 1984)(citing Miami, 664 F.2d at 435 with approval) (“because it is a form
26    of judgment, a consent decree must conform to applicable laws”).
27           Finally, as is the case here, “a consent decree that affects the public interest or
28    third parties imposes a heightened responsibility on the court to protect those interests,”
                                                         6
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                                                                                                               ER 305
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 1    and while the decree must not be “in the public’s best interest,” the Ninth Circuit has
 2    been clear that “this requirement is intended to protect those who did not participate in
 3    negotiating the compromise.” Oregon, 913 F.2d at 581 (internal citations omitted)
 4    (emphasis in original); cf Randolph, 736 F.2d at 529 (affirming that consent decrees
 5    must be in the public interest but remanding after the denial of an agreement because
 6    the District Court set too high a standard for its review).
 7          IV. ARGUMENT
 8
                     a. The Court Lacks Jurisdiction to Approve the Consent Decree

 9
              Because federal courts are courts of limited jurisdiction, a court that maintains

10
      jurisdiction over a settlement agreement may do so only when the agreement falls

11
      within the Court’s limited jurisdiction. As the Supreme Court held in Local No. 93, a

12
      “consent decree must spring from and serve to resolve a dispute within the court’s

13
      subject matter jurisdiction.” \478 U.S. at 525 (internal citation omitted).

14
              Despite this longstanding rule, the City and Plaintiffs seek judicial approval of a

15
      provision of the agreement that explicitly grants permission to the City to implement

16
      and enforce undefined and theoretical municipal ordinances against third parties

17
      (including Intervenor’s members), in a case where no one has alleged that the City is

18
      actually enforcing the ordinances, and certainly not that the City has enforced or even

19
      threatened enforcement of any regulations or ordinances against any of the Plaintiffs.2

20
      There is no basis under Article III for doing so.

21
              Section Four of the Agreement purports to give the City permission to

22
      implement and enforce euphemistically-entitled “public space regulations and

23
24    2
       It remains an open question whether Plaintiffs even have standing to bring any claims
25    on behalf of anyone experiencing homelessness. Both the City and the County raised
26    the question of Plaintiffs’ standing in Motions to Dismiss that were filed in January
      2022 and which are currently pending before this Court. The County requested
27    permission to begin discovery, and Intervenors requested the Court allow the parties to
28    do limited discovery regarding Plaintiffs’ standing before filing objections to the
      proposed consent decree. Both requests were denied. See Myers Decl., Exh. A.
                                                         7
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                        Intervenors’ Objections to Proposed Order of Dismissal




                                                                                                               ER 306
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 1    ordinances” against people experiencing homelessness. The settlement states that,
 2    following the creation of some currently unknown number of “shelter or housing
 3    solutions,” which includes congregate shelter beds, family unification, and safe
 4    camping sites, the City “may implement and enforce public space regulations and
 5    ordinances” first in individual council districts and then throughout the City, “as to
 6    individuals who decline an offer of shelter or housing and/or decline to move to an
 7    alternative location where they may legally reside.” Agreement at 5, 6. For a number
 8    of reasons, this section does not relate to or revolve a dispute within the subject matter
 9    of the Court, and therefore, the agreement cannot be approved.
10            As an initial matter, the term “public space regulations and ordinances” is
11    meaningless. Although the settlement agreement has a defined terms section, the
12    agreement does not spell out what this term means, let alone what provisions of the
13    municipal code constitute “public space regulations and ordinances.” As the City is
14    quick to point out, the City has a whole host of municipal ordinances that fit this
15    description. 3 See e.g., Request for Judicial Notice (RJN), Exh 2, Los Angeles
16    Municipal Code (LAMC) Chapter IV, Article 1, Disorderly Conduct, Places and
17    Publications; RJN, Exh. 3, LAMC Chapter V, Article 6, Public Hazards. Certainly the
18    agreement cannot be read as limiting the enforcement of these ordinances until the City
19    builds the “Required Number” of shelter beds. Yet the agreement provided no further
20    hint in the language of the settlement agreement about which public space regulations
21
22
      3As the parties and this Court are aware, one of the City’s public space regulations, Los
23    Angeles Municipal Code Section 56.11, is the subject of other federal litigation
24    pending in this district. That litigation, Garcia v. City of Los Angeles, 2: 2:19-cv-
      06182-DSF-PLA, was filed almost a year before this case and neither the City nor
25    Plaintiffs identified that case as related. This court has repeatedly made clear that the
26    ordinance at issue in Garcia and the challenges to that ordinance do not fall within this
      Court’s jurisdiction, see e.g., Myers Decl., Exh A at 18. Yet the draft agreement is
27
      written so broadly that it could be interpreted as including LAMC 56.11 in the broad
28    grant of approval of the enforcement of “public space regulations and ordinances.”
                                                         8
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                        Intervenors’ Objections to Proposed Order of Dismissal




                                                                                                               ER 307
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1     are government by the agreement.                 And the First Amended and Supplemental
2     Complaint provides no clear guidance either, because the lawsuit does not challenge
3     the enforcement of any of these regulations.                  In fact, it does not challenge the
4     enforcement of any regulation or ordinance.
5            Even if the undefined term is read in the context of this case to apply narrowly
6     to quality of life offenses that target people experiencing homelessness, the City’s
7     ability to enforce “public space regulations and ordinances” does not fall within the
8     court’s subject matter jurisdiction because no plaintiff in this case alleges they were
9     subjected to enforcement of any “public space regulation and ordinances.” This
10    includes the current version of LAMC 41.18, which is one specific ordinance that the
11    agreement references.           The agreement refers to this as a “time/manner/place
12    regulation” (ostensibly distinguishing it from other “public space regulations and
13    ordinances” that can be enforced at any time) and with no factual or legal support, gives
14    judicial approval of the ordinance and its enforcement. See Agreement at 7, 8 (stating
15    that LAMC 41.18 (and all other time/manner/place restrictions) “may be enforced
16    immediately and without such notice at any time”).
17           Yet, unlike the Orange County litigation upon which the settlement is modeled,
18    this case was not brought by people who were subjected to enforcement of the
19    “challenged” municipal code. None of the plaintiffs in this case challenge the
20    enforcement of LAMC 41.18, nor do any of the Plaintiffs have standing to do so. None
21    of the plaintiffs allege that LAMC 41.18 was enforced against them or even that they
22    were at risk of having the ordinance enforced against them—a requirement for standing
23    to bring a federal challenge regarding the enforceability of the ordinance. See San
24    Diego County Gun Rights Comm. v. Reno, 98 F.3d 1121, 1126-27 (9th Cir. 1996) (“the
25    mere existence of a statute . . . is not sufficient to create a case or controversy within
26    the meaning of Article III”). See also Martin v. City of Boise, 920 F.3d 584, 608-09
27    (9th Cir. 2019) (Plaintiffs have standing to challenge the enforcement of an ordinance
28    only when the ordinance has been enforced against them or Plaintiffs have alleged an
                                                         9
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                        Intervenors’ Objections to Proposed Order of Dismissal




                                                                                                               ER 308
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1     intention to engage in a course of conduct arguably affected by a constitutional interest,
2     but proscribed by a statute, and “there exist[ed] a credible threat of prosecution
3     thereunder”). In fact, there is only one mention of LAMC 41.18 in Plaintiffs’ sprawling
4     113 page Amended and Supplemental Complaint. See Dkt. 361 at ¶ 33. Far from
5     challenging 41.18 and arguing that it cannot be enforced, Plaintiffs argue that LAMC
6     41.18 must be enforced.
7              As for the rest of Section Four, to the extent that the phrase “public regulations
8     and ordinances” is a euphemism for a ban on camping or “sitting, sleeping, lying in the
9     public right of way” and the agreement intends to settle when and under what
10    conditions such a ban can be enforced, this too is far outside the Court’s jurisdiction in
11    this case. Not only do Plaintiffs not have standing to bring a challenge that could result
12    in this agreement, no one in Los Angles has such standing. No one has been subjected
13    to enforcement or threat of enforcement for the simple reason that there is currently no
14    such ordinance in the Municipal Code. The parties are seeking approval from the Court
15    to enforce ordinances that have not even been written yet. Judicial approval now of a
16    theoretical ordinance that could be drafted in the future cannot possibly be said to
17    “spring from and serve to resolve a dispute within the court’s subject matter
18    jurisdiction” Local No. 93, 478 U.S. at 521. The court has no subject matter
19    jurisdiction because no challenge to the ordinance would be even remotely ripe for
20    review. Such a challenge would definitionally be “hypothetical and abstract,” Thomas
21    v. Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1139 (9th Cir. 2000) (en banc)
22    (holding that the challenge to an actual ordinance on the books was not ripe when there
23    was no threat of enforcement). Nothing in Article III gives the Court jurisdiction to
24    give its judicial stamp of approval for the enforcement of an ordinance that does not
25    exist.
26             Approval of this provision is also outside the Court’s Article III jurisdiction
27    because no party to this agreement is actually contending that the City cannot enforce
28    these provisions, such that a settlement term that allows the City to do so based on its
                                                         10
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                                                                                                               ER 309
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 1    fulfillment of a condition precedent resolves an actual dispute. Far from arguing that
 2    the municipal codes are unconstitutional or otherwise unenforceable, Plaintiffs allege
 3    instead that the City has not enforced ordinances against people experiencing
 4    homelessness. See e.g., Dkt. 361 at 33-37, 59-60. Plaintiffs argue not only that the
 5    City can enforce these regulations, but also that they must. The City likewise agrees
 6    that it should be able to enforce these ordinances. The only disagreement between the
 7    parties is the extent to which the City has discretion to enforce the ordinances. But the
 8    proposed agreement does not resolve that dispute. The agreement states explicitly that
 9    the City may “at its sole discretion” enforce the “public space regulations and
10    ordinances.” Agreement at 7, 8. The only work the provision in the settlement does is
11    give judicial approval to a position that both the Plaintiffs and the City share: the City
12    may enforce “public space regulations and ordinances” against people experiencing
13    homelessness. There is simply no “case or controversy” between the parties to this
14    agreement as to whether the City can enforce any public space regulations. See Moore
15    v. Charlottte-Mecklenburg Board of Education, 402 U.S. 47, 47-48 (1971) (dismissing
16    a case before the Court where both parties argue that a statute was constitutional
17    because there was no “case or controversy” under Article III). Absent a “case or
18    controversy,” this provision does not fall within the Court’s subject matter jurisdiction,
19    which is required of any agreement for which the parties seek judicial approval and
20    enforcement. Local No. 93, 478 U.S. at 521.
21           The requirement that there be an actual dispute between the parties is a
22    foundational principal of Federal Court jurisdiction. See Raines v. Byrd, 521 U.S. 811,
23    818 (1997) (“No principle is more fundamental to the judiciary’s proper role in our
24    system of government than the constitutional limitation of federal-court jurisdiction to
25    actual cases or controversies”). That is no more true than when the dispute rises to the
26    level of constitutional significance, as it does here. See Baker v. Carr, 369 U.S. 186,
27    204 (1962) (question of standing in constitutional questions is whether parties “alleged
28    such a personal stake in the outcome of the controversy as to assure that concrete
                                                         11
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                        Intervenors’ Objections to Proposed Order of Dismissal




                                                                                                               ER 310
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 1    adverseness which sharpens the presentation of issues upon which the court so largely
 2    depends for illumination of difficult constitutional questions”).
 3           Both Plaintiffs and the City contend that the Ninth Circuit’s decision in Martin
 4    v. Boise, 920 F.3d 584 (9th Cir. 2019) is internally inconsistent and fails to provide
 5    sufficient guidance regarding when and under what circumstances the City may
 6    enforce a ban on camping in public. Plaintiffs criticized the Ninth Circuit decision for
 7    its failure to “provide clear guidance for cities struggling with sizable homeless
 8    populations.” See Dkt. 361 at 23; see also LA Alliance for Human Rights v. City of Los
 9    Angeles,14 F.4th 947, 953 n. 7 (9th Cir. 2021) (noting that Plaintiffs “take issue with
10    our holding in Martin v. City of Boise that municipalities cannot ‘prosecute people
11    criminally for sleeping outside on public property when those people have no home o
12    rother shelter to go to’”). This is the exact same critique offered by the City of Los
13    Angeles of the decision. See RJN, Exh. 6, Brief of Amicus Curiae, City of Los Angeles,
14    in Support of Grant of Petition for Certiorari, Boise v. Martin, 19-247 at 3 (seeking
15    Supreme Court review because “Boise does not give that requisite guidance”). But the
16    parties’ view that the decision lacks clarity does not give the parties standing to enter
17    into a settlement that determines when the ordinance can be enforced, let alone to seek
18    approval and ongoing enforcement of that agreement by this Court. That is simply not
19    the role of the federal court. “The Court will not pass upon the constitutionality of
20    legislation in a friendly nonadversary proceeding because to decide such questions is
21    legitimate only in the last resort, and as necessity in the determination of real, earnest,
22    and vital controversy between individuals.” Ashwander v. Tennessee Valley Authority,
23    297 U.S. 288, 346 (1936) (Brandeis J., concurring). Nor will the Court “anticipate a
24    question of constitutional law in advance of the necessity of deciding it.” Id; see also
25    Thomas, 220 F.3d at 1139. Here, signing the settlement agreement would grant
26    permission to the City to enforce an ordinance that has not even been drafted, let alone
27    before the ordinance has been enforced, simply because the advocates of the ordinance
28

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                                                                                                               ER 311
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1     asked the Court to do so. That has never been the proper role of the federal court, and
2     it is not the Court’s role here.
3                    b. The Proposed Consent Decree Impermissibly Infringes on the
                        Rights of Third Parties, Including Intervenor
4
             The City and Plaintiffs also cannot use the promise of a judicial imprimatur on
5
      their agreement as a bargaining chip where, as here, the principle purpose of the
6
      agreement is to enforce an ordinance against third parties and third parties alone.
7
      Parties do not have the authority to enter into agreements that impact the rights of third
8
      parties, especially against the objection of those parties, yet that is exactly what the
9
      parties are attempting to do here. The agreement directly impacts people experiencing
10
      homelessness who, under this agreement, would be subjected to court-sanctioned
11
      enforcement of “public space regulations and ordinances.” This includes intervenor
12
      LA CAN, which was granted intervention in this case precisely because enforcement
13
      of ordinances would impact their members’ rights. There can be no greater interest at
14
      stake than the liberty interests that are implicated by this agreement.
15
             The direct impact on third parties’ rights makes this case different from other
16
      cases in which courts have held that an intervenor cannot prevent the parties from
17
      entering into an agreement and dismissing a defendant. For example, in Local No. 93,
18
      the Supreme Court held that an intervenor could not prevent plaintiffs and defendants
19
      from settling a case or preventing the Court from entering a consent decree because the
20
      agreement did not implicate their rights. Similarly, in Sierra Club v. North Dakota,
21
      868 F.3d 1062, 1067 (9th Cir. 2017), the court approved a consent decree over the
22
      objections of intervenors because “[n]owhere in the Consent Decree are the States’
23
      claims or grievances identified or even referenced.” The Ninth Circuit was very clear
24
      that the agreement was effectively a nonsuit between Plaintiffs and defendants, and the
25
      parties to the agreement went out of their way to clarify that it would not implicate the
26
      rights of third parties or intervenors. Id.
27
             Here, on the other hand, the paties have done just the opposite. The stated
28
      purpose of Section Four of the proposed agreement is to implicate third party interests,
                                                         13
      ______________________________________________________________________________________________________
                        Intervenors’ Objections to Proposed Order of Dismissal




                                                                                                               ER 312
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 1    including Intervenors. The agreement literally states that, upon the creation of an
 2    unspecified number of shelter and housing “solutions,” the City may enforce “public
 3    space regulations and ordinances,” which as discussed above will almost certainly
 4    mean anti-camping ordinances. These ordinances will be enforced exclusively against
 5    third parties, including members of LA CAN. See Dkt. 26. What is worse, there is no
 6    suggestion that the business owners and residents who are the Plaintiffs in this case
 7    will be subjected to the enforcement that Plaintiffs so readily agree can occur.
 8           To be sure, under current Ninth Circuit and Supreme Court precedent, this
 9    agreement cannot be used to preclude individuals, including Intervenors, from
10    challenging any ordinances or enforcement regimes the City attempts to implement
11    pursuant to this agreement. See E.E.O.C. v. Pan Am. World Airways, Inc., 897 F.2d
12    1499, 1506 (9th Cir. 1990) (“It is fundamental to our notions of due process that a
13    consent decree cannot prejudice the rights of a third party who fails to consent to it”);
14    Local No. 93 (“A court’s approval of a consent decree between some of the
15    parties…cannot dispose of the valid claims of nonconsenting intervenors”). In fact, the
16    actions taken by Plaintiffs and the City closely resemble the facts in Hansberry v. Lee,
17    311 U.S. 32 (1940), in which white homeowners obtained a judgment validating a
18    racially-restrictive covenant, and the Supreme Court held that Black homeowners who
19    were not a party to the case were not bound by the agreement because giving preclusive
20    effect to such an agreement would violate Black homeowners’ due process rights. 311
21    U.S. at 35 (“Apart from the opportunities it would afford for the fraudulent and
22    collusive sacrifice of the rights of absent parties, we think that the representation in this
23    case no more satisfies the requirements of due process than a trial by a judicial officer
24    who is in such a situation that he may have an interest in the outcome of the litigation
25    in conflict with that of the litigants”). Likewise here, an agreement between property
26    owners and residents and the City of Los Angeles that an ordinance is enforceable,
27    cannot be construed as actually binding on individuals who could otherwise challenge
28    the ordinances (once drafted) that may be enforced against them.
                                                         14
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                                                                                                               ER 313
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1            But just as racially-restrictive covenants, though unenforceable, are still harmful,
2     the fact that the provision of the agreement would be unenforceable in court if
3     challenged by the targets of the City’s enforcement, does not render the provision
4     harmless. On the contrary, it underscores why the inclusion of this term is patently
5     unfair, unequal, and unreasonable. Even though decades of Supreme Court precedent
6     have clarified that a provision like this is unenforceable against third parties, the
7     provision was not simply drafted as a private agreement between two parties. In fact,
8     nothing in the agreement acknowledges that the provision explicitly allowing the City
9     to enforce theoretical anti-camping ordinances in the future is nothing more than an
10    agreement that Plaintiffs, and only the Plaintiffs, will not challenge the City’s
11    enforcement of an anti-camping ban if the City reaches its goal. Nor does any part of
12    the agreement suggest that this is the Court’s intention either.
13            In fact, from the beginning, the parties have been clear that it is their intent to
14    enter into this agreement because it will stifle future litigation by people experiencing
15    homelessness, who are subjected to enforcement of the City’s ordinances. See e.g.,
16    Dkt. 39 at 69 (Council member Kevin De Leon discussing the need for a settlement
17    that can prevent future litigation like Boise and Mitchell v. City of Los Angeles); Dkt.
18    94 at 13-15 (Council member Buscaino criticizing court rulings protecting unhoused
19    people’s civil rights and notifying the Court that the City Council had agreed to enter
20    into settlement negotiations to obtain a court-approved settlement agreement in order
21    to “stop this endless cycle of litigation” by people experiencing homelessness); RJN,
22    Exh. 4 (post by Council Member Blumenfield on his official council website
23    explaining that “Judge Carter offered [that] . . . [a]s a federal judge he can settle the
24    pending court case by helping forge a consent decree, a negotiated settlement that
25    would supersede all of the prior court rulings” and that the “legally binding bargain”
26    that would exchange shelter beds for “the ability to enforce anti-camping, bulky item
27    removal, and other laws”).
28

                                                         15
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                                                                                                               ER 314
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1            Moreover, the agreement is purposefully drafted to give the City the greatest
2     possible protection against challenges by individuals actually impacted by the
3     ordinances in the future. That is the very purpose of continuing court oversight over
4     the agreement. The agreement sets up a mechanism by which the Court will continue
5     to oversee the enforcement of any ordinances drafted in the future, consistent with this
6     agreement. See Agreement at 7, 8 (outlining the procedure for the City to begin
7     enforcing ordinances after the City has met the Required Number of shelter beds in a
8     given district or city-wide). Under the enforcement mechanism created by the parties,
9     Plaintiffs (and only Plaintiffs) are notified of the City’s plan to begin enforcement, and
10    they alone may object or simply let enforcement begin. If they do not object, the City
11    can proceed with enforcement, with the full approval of this Court. Only if Plaintiffs
12    choose to object, will the Court have an opportunity to provide any oversight, but even
13    then, the oversight is limited only to whether the City has met its obligation under the
14    agreement. Of course, the LA Alliance has made it explicitly clear that their goal is
15    for the City to be able to enforce anti-camping ordinances; the parties have effectively
16    set up a system by which the proverbial fox is the only one guarding the henhouse, and
17    the rights of people experiencing homelessness are left in the hands of a group of
18    property owners and residents who have long decried the Federal Court’s protection of
19    those rights. This is unreasonable, unequitable, and unfair, and on this ground alone,
20    the agreement cannot be approved.
21                c. The Proposed Agreement Is Procedurally Unfair Because Section
                     Four Was Not Negotiated at Arms Length
22
             Consent degrees must not only be substantively fair and reasonable, they must
23
      be procedurally fair as well. “With regard to procedural fairness, courts determine
24
      whether the negotiation process was fair and full of adversarial vigor.” Sierra Club v.
25
      McCarthy, 2015 WL 889142, at *5 (N.D.Cal., 2015) (quoting United States v.
26
      Telluride Co., 849 F.Supp. 1400, 1402 (D.Colo.1994) (citations and internal quotations
27
      omitted). The “district court must ensure that the agreement is not ... a product of
28
      collusion . . . ,” United States v. Colorado, 937 F.2d 505, 509 (10th Cir.1991) and only
                                                         16
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 1    “if the decree was the product of good faith, arms-length negotiations” is the agreement
 2    entitled to deference. Oregon, 913 F.2d at 581.
 3           In this case, the unreasonableness and lack of fairness of Section Four of the
 4    agreement is underscored by parties’ negotiation of the terms of the settlement in this
 5    case. From the beginning, the City and Plaintiffs expressed agreement that this case
 6    could be used as a vehicle to enter into court-approved consent decree that would allow
 7    the City to enforce a camping ban if the City provided shelter to sixty percent of the
 8    City’s homeless population, and the value of that agreement would be to supercede
 9    prior settlement agreements and stifle litigation in the future. Intervenors, who were
10    parties to earlier litigation and whose rights the Court had already found would be
11    impacted by any increase in enforcement, were excluded from these negotiations. The
12    purpose of this agreement was, as both Plaintiffs, City Council members, and the Court
13    made clear, to supercede prior litigation and to stifle future litigation by people
14    experiencing homelessness. The parties agreed at the outset of the litigation what the
15    end result should be. Although the City and Plaintiffs may have disagreed on the
16    margins about other provisions in the agreement, for example, exactly how to calculate
17    the Required Number or the amount of money the City would pay Plaintiffs for
18    bringing this case, the parties’ fundamental goals were aligned from the outset of this
19    litigation. This agreement is not entitled to deference. Oregon, 913 F.2d at 581.
20                  d. The Settlement Agreement Allows Discrimination on the Basis of
                        Disability in Violation of the Federal and State Anti-
21                      Discrimination Law
22           In an attempt to force the County of Los Angeles, which is not a party to this
23    agreement, to take on the obligation of providing services to PEH with disabilities (and
24    what appears to be an attempt to decrease the number of shelter and housing solutions
25    the City must provide while still maintaining the “60%” threshold, Plaintiffs and the
26    City have created a new term of art: “City Shelter Appropriate,” which excludes from
27    the City’s 60% obligation, anyone who 1) has a serious mental illness, 2) is chronically
28    homeless and has a substance use disorder; or 3) is chronically homeless and have a
                                                         17
      ______________________________________________________________________________________________________
                        Intervenors’ Objections to Proposed Order of Dismissal




                                                                                                               ER 316
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 1    chronic physical illness or disability requiring the need for professional medical care
 2    and support to perform various activities of daily life.
 3            The settlement agreement clarifies that “the fact that an individual….is not
 4    included in the definition of City Shelter Appropriate, will not preclude the City from
 5    making an offer of shelter or housing to that individual if the City can reasonably assist
 6    that individual.” Settlement at 8-9. While this is an improvement from the term sheet
 7    filed on April 1, 2022, which provided simply that the City would not provide housing
 8    or shelter to individuals who were not “City Shelter Appropriate,”—a provision that is
 9    patently illegal under numerous federal and state anti-discrimination statutes and the
10    City’s own municipal code—the provision that appears in the parties’ final settlement
11    agreement still runs afoul of these statutes. 4
12            First, the agreement still purports to allow the City to refuse to offer shelter or
13    housing based on a person’s disabilities. Specifically, the agreement states that a
14    person’s disability will not preclude the City from making an offer of shelter or housing
15    only “if the City can reasonably assist that individual.” Settlement at 8-9. But this
16    turns disability law on its head, suggesting that the City may withhold an offer of
17    shelter, housing, or other assistance because a person has a disability if the City
18    determines it cannot “reasonably assist” the individual, as opposed to what is actually
19    required by anti-discrimination laws, namely to offer housing and services without
20    consideration of a person’s disability. The Americans with Disabilities Act, the Fair
21    Housing Act, and state law requires the City to provide housing to people with
22    disabilities without regard for their disabilities. See e.g., 42 U.S.C. § 3604(f)(1)
23
24    4
       Page 11 of the settlement agreement states that “City will continue to offer shelter or
25    housing to City Shelter Appropriate PEH within the City.” To the extent this provision
26    evidences the City’s practice or intent to provide housing or services only to people
      experiencing homelessness that do not “have a severe mental illness” and/or “is not
27    chronically homeless and has a substance abuse disorder” or “a chronic physical illness
28    or disability requiring the need for professional medical care and support…,” this
      would violate state and federal law. See infra note 5.
                                                         18
      ______________________________________________________________________________________________________
                        Intervenors’ Objections to Proposed Order of Dismissal




                                                                                                               ER 317
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 1    (making it illegal to “discriminate against any person . . . in the provision of services
 2    of facilities” or to “make unavailable . . . a dwelling . . . because of a handicap”); 42
 3    U.S.C. § 12131 (prohibiting entities from “exclud[ing] from participation in or
 4    [denying] the benefits of services, programs, or activities of a public entity,” including
 5    withholding “aid, benefits, and services” like transitional and emergency shelters and
 6    public accommodations,            29 C.F.R. § 35.310); 29 U.S.C. § 794(a) (preventing
 7    individuals with disabilities from “be[ing] excluded from the participation in, be denied
 8    the benefits of, or be subjected to discrimination under any program or activity
 9    receiving Federal financial assistance . . . solely by reason of her or his disability”);
10    Ca. Gov’t Code Gov. Code §§ 12920, 12927, 12955 (Ca. Fair Employment and
11    Housing Act); Ca. Gov’t Code §11135(b) (incorporating ADA protections for state-
12    funded programs); Ca. Civ. Code §§ 51 et seq. The ADA and state disability law
13    requires the City to make reasonable accommodations and modifications to its
14    programs to ensure an individual has equal access to services; none of these laws allow
15    the City to withhold services if the City determines it cannot reasonably assist an
16    individual because of their disability.
17           Second, the agreement provides that “accommodations shall be made for those
18    who qualify as disabled under the Americans with Disabilities Act,” but this ignores
19    the fact that the definition of disability under state law is broader than federal law. See
20    Cal. Gov’t Code § 12926.1 (explicitly stating that the definition of disability is broader
21    than under federal law and that “[t]his distinction is intended to result in broader
22    coverage under the law of this state than under” the ADA); Cal. Gov’t Code 11135(b)
23    (incorporating stronger provisions under state law).                   Accommodating only those
24    individuals with disabilities under the ADA, as the agreement expressly provides,
25    excludes individuals who meet the definition under state, but not federal law.
26           The Court cannot approve a settlement agreement, where, as here, the terms of
27    the agreement allows one party to simply disregard its obligation under otherwise valid
28    laws. Conservation Northwest, 715 F.3d at 1188 (reversing a district court’s decision
                                                         19
      ______________________________________________________________________________________________________
                        Intervenors’ Objections to Proposed Order of Dismissal




                                                                                                               ER 318
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 1    to approve a consent decree which allowed the defendant to promulgate regulations in
 2    violation of law); Perkins v. City of Chicago Heights, 47 F.3d 212, 216 (7th Cir. 1995)
 3    (“While parties can settle their litigation with consent decrees, they cannot agree to
 4    disregard valid state laws”) (internal quotations removed). That is particularly true
 5    where, as here, the laws the agreement runs afoul of is the very statutory regime that
 6    gave rise to the litigation. See Conservation Northwest, 715 F.3d at 1188.
 7                  e. The Settlement Agreement is Incomprehensible and Too Vague to
                       be Enforceable
 8
             Finally, the settlement agreement contains a number of provisions that, as
 9
      drafted, undermine the enforceability of the agreement. As discussed above, the
10
      agreement includes two major substantive provisions: Section 3 that requires the City
11
      to create a Required number of housing or shelter solutions and Section 4 that allows
12
      the City to enforce “public space regulations and ordinances” when there are enough
13
      beds or units in any given district or city-wide. The agreement appears at first blush to
14
      maintain the basic framework of the settlement agreement adopted by numerous cities
15
      in the Orange County homelessness litigation: the creation of enough shelter and
16
      housing for 60% of the City’s unsheltered “City Shelter appropriate” homeless
17
      population, in exchange for the ability to enforce a City’s anti-camping ban. Yet the
18
      parties here also made changes on the margins of the agreement that significantly
19
      undermine both the enforceability and the reasonableness of the agreement. Whether
20
      these changes were made because the agreement was not negotiated at arms length or
21
      because the parties were less interested in creating housing than they were in obtaining
22
      permission to enforce the City’s camping ban, or for some other reason entirely, the
23
      end result is the same: the key provisions of the agreement are so vague that the
24
      agreement is effectively a nullity before it is even approved.
25                        i. The agreement is vague and ambiguous as to key terms,
26                           making enforceability impossible
27           Although the settlement agreement is 27 pages and contains a definitions
28    section, many of the provisions contain terms that are undefined. The ambiguity left

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                                                                                                               ER 319
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1     by these terms renders the agreement so vague and ambiguous that it would be
2     impossible for the Court, Plaintiffs, or anyone else to hold the City to any obligation to
3     create an appreciable amount of new housing or shelter.
4            First, the agreement states that “[t] City agrees to create a Required Number of
5     housing or shelter solutions.” Settlement 10. The agreement, however, contains no
6     explanation of what it means for the City to “create” an intervention. The agreement
7     provides no threshold level of City involvement to count a unit towards the Required
8     Number. The ambiguity of the term is elucidated further by section 3.2, which provides
9     that “[t]he housing or shelter solutions may be government- and/or privately-funded. .
10    . .” By including “privately-funded” housing and shelter solutions, it begs the question
11    what role, if any, the City must have in a “solution” in order for it to count towards the
12    Required Number. It also suggests there is no standards by which the Court can judge
13    whether the City has fulfilled its obligations under the agreement. See United States v.
14    New York City Housing Authority, 347 F.Supp.3d. 182 (S.D.N.Y. 2018) (declining to
15    enter a consent decree when the terms were too vague to be enforceable).
16           Similarly, the agreement speaks to the euphemistically-named “housing or
17    shelter solution,” but it provides no guidance as to what constitutes a “solution.”
18    Section 3.2 is explicit that the City has “sole discretion” to choose what it counts as a
19    “solution” and includes a non-exhaustive list of options, including “permanent
20    supportive housing” and “tiny homes,” but also family reunification, shared housing,
21    and rental assistance. By allowing the City to count minor subsidies (like family
22    unification expenses), the City could fulfill its obligation by funding the least effective,
23    least expensive interventions possible, and there is no basis for holding the City
24    accountable if this is what it decides to do.
25                        ii. The agreement’s lack of parallel construction between
                              Sections 3 and 4 could allow the City to count existing beds
26                            towards the threshold for enforcement
27           This is not the only ambiguity in the agreement. Although Section 3 speaks to
28    the City’s obligation to “create” the Required Number of housing or shelter
                                                         21
      ______________________________________________________________________________________________________
                        Intervenors’ Objections to Proposed Order of Dismissal




                                                                                                               ER 320
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 1    “solutions,” the enforcement provisions in Sections 4.2 and 4.3 provides that the City
 2    may begin enforcement of the City’s anti-camping ordinances “once there are
 3    sufficient shelter or housing solutions to accommodate 60% of unsheltered City Shelter
 4    Appropriate PEH in a Council District as determined by the Required Number.” The
 5    difference between having a Required Number of shelter beds and creating new shelter
 6    beds to meet the Required Number is significant, given that each council district
 7    already has shelter beds, including those beds created under the Freeway agreement.
 8    The difference in language between Section 3 and Section 4 leaves open the possibility
 9    that the City could count existing shelter beds or housing units towards the number of
10    shelter beds needed to reach the 60% threshold.
11           Of course, such an interpretation of the agreement would be incredibly
12    disengenous, since the vast majority of these beds are already occupied by sheltered
13    PEH, who are excluded from the Required Number because that number is based only
14    on unsheltered PEH. Such an interpretation of the agreement would allow the City to
15    count the “housing and shelter solutions” that currently exist towards the 60%
16    threshold, without counting the people who currently occupy them. Yet the language
17    of the agreement, as drafted, allows for such an interpretation.
18           Even if the agreement is to be understood as counting only the new “housing and
19    shelter solutions” created pursuant to Section 3 of the agreement towards the 60%
20    threshold in Section 4, there is nothing in the agreement that requires the City to
21    maintain the number of shelter beds throughout Los Angeles that currently exist. If the
22    City closes shelters, which it may do under the agreement (and in some instances, must
23    do because of ground lease restrictions related to the creation of ABH beds), there is
24    no obligation for the City to replace those beds, since existing beds are not counted
25    towards the Required Number. This is highly problematic, since the vast majority of
26    those beds are occupied by PEH, but are not included in the baseline number, which
27    counts only “unsheltered” PEH.
28

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                        Intervenors’ Objections to Proposed Order of Dismissal




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1            In either event, the agreement is drafted in such a way that could allow the City
2     to count existing shelter beds towards the 60% threshold for enforcement or remove
3     the beds without accounting for increases in the number of PEH in its base calculations.
4                       iii. Likely pandemic-related impacts on the 2022 Homeless
                             Count render the use of the count unreasonable
5
             The parties’ definition of the Required Number of beds is, at first glance, an
6
      attempt to align the an attempt to align this agreement with other settlement agreements
7
      entered into as part of the Orange County litigation, but in this case, the parties made
8
      numerous adjustments to the 60% threshold, which significant decrease the City’s
9
      obligation to provide shelter and housing “solutions.” What will likely prove to be the
10
      most significant impact on threshold number is the parties’ agreement to tie the
11
      baseline number to the 2022 homeless count, and to use that number for the next five
12
      years. As an initial matter, it is unreasonable for the City to tie the enforcement of a
13
      camping ban to a static number based on a count of people experiencing homelessness
14
      during a three day period in January 2022, for five years into the future. The number
15
      of people experiencing homelessness is an dynamic number, to say nothing of the fact
16
      that the PIT count is an imperfect approximation of the number of people experiencing
17
      homelessness.
18
             Even if it were a good approximation, the number of PEH has gone up almost
19
      every year for the past decade. A fixed Required Number will not take into account
20
      any increases in homelessness that will occur in the next five years. This problem is
21
      exacerbated by the fact that the parties have chosen to use the 2022 point in time count
22
      (which has yet to be released), given that, for the past two years, the City and the world
23
      have been dealing with the COVID-19 pandemic. And in response to the pandemic,
24
      there have been unprecedented eviction protections in place, including eviction
25
      moratoria in both the City and County of Los Angeles. As a direct result of these
26
      eviction protections, one of the largest drivers of people entering homelessness,
27
      evictions, have decreased dramatically--in 2019, there were 40,572 evictions filed in
28
      Los Angeles Superior Court; in 2021, the number was reduced by more than 65 percent.
                                                         23
      ______________________________________________________________________________________________________
                        Intervenors’ Objections to Proposed Order of Dismissal




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1     Myers Decl., Exh. B at p. 2. And the formal filing of unlawful detainer actions
2     constitute only a fraction of the number of people who actually leave their units, either
3     because of self-evictions, lockouts, etc. Research has shown that for every person
4     facing a formal eviction, more than five people leave their homes as a result of more
5     informal evictions. Id. (citing Gromis, A., & Desmond, M., Estimating the Prevalence
6     of Eviction in the United States: New Data from the 2017 American Housing Survey
7     (2021) Cityscape, 23(2), 279–290.) Given the protections in place, which not only
8     prevented filings, but in Los Angeles County, prevented the service of an eviction
9     notice, it is likely that the significant decrease in formal evictions signifies a far more
10    significant decrease in people becoming homeless, since there is little disagreement
11    that evictions are one of the largest drivers of homelessness in Los Angeles County.
12             This likely decrease, which may be reflected in the 2022 PIT Count, will not be
13    replicated in subsequent years if the COVID-19 protections are allowed to sunset.
14    Once eviction protections are removed, the rates of homelessness will likely return to
15    pre-pandemic numbers. The 2022 PIT count will prove to be a significant deviation
16    from the City’s rate of homelessness, yet it will remain the baseline for the next five
17    years.
18             V.    CONCLUSION
19
               For the foregoing reasons, Intervenors object to the proposed consent decree

20
      submitted by Plaintiffs and the City of Los Angeles and respectfully request this Court

21
      decline to enter the parties’ order, as requested.

22
      Dated: May 31, 2022                            Respectfully submitted,
23                                                   Legal Aid Foundation of Los Angeles
24                                                   Schonbrun Seplow Harris & Hoffman LLP
                                                     Law Office of Carol A. Sobel
25
                                                     Elder Law & Disability Rights Center
26
27
                                                           /s/ Shayla Myers
                                                     Attorneys for Intervenors
28

                                                         24
      ______________________________________________________________________________________________________
                        Intervenors’ Objections to Proposed Order of Dismissal




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15
16                            UNITED STATES DISTRICT COURT
17              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
18
19 LA ALLIANCE FOR HUMAN                        CASE NO. 2:20-cv-02291 DOC (KES)
20 RIGHTS, et al.,
                                                THE COUNTY OF LOS ANGELES’
21                   Plaintiffs,                RESPONSE TO SETTLEMENT
                                                BETWEEN PLAINTIFFS AND
22              v.                              CITY OF LOS ANGELES
23 CITY OF LOS ANGELES, et al.,                 Assigned to the Hon. David O. Carter
24                                              and Magistrate Judge Karen E. Scott
             Defendants.
25
26
27
28

     565290.6
        THE COUNTY’S RESPONSE TO SETTLEMENT BETWEEN PLAINTIFFS AND CITY OF LOS ANGELES

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  1 I.           INTRODUCTION
  2              The County of Los Angeles (the “County”) respectfully submits this response
  3 to the settlement agreement that has been submitted to the Court for approval
  4 between and among LA Alliance for Human Rights (“Alliance”), eight of the nine
  5 individual Plaintiffs, and the City of Los Angeles (the “City”).
  6              The County has long shared the Plaintiffs’ and the Court’s interest in solving
  7 the homelessness crisis and has always believed those solutions should take place
  8 outside of litigation. It is the County’s hope that, if the Court approves the City’s
  9 proposed settlement agreement, it will bring needed relief to people experiencing
10 homelessness (“PEH”). As Plaintiffs’ Amended and Supplemental Complaint
11 (“First Amended Complaint”) acknowledged, it is the City “who has the primary
12 land-use obligation” with respect to the area’s PEH (FAC ¶ 5), although the County
13 has been a frequent partner to the City in providing aid. For example, in this very
14 case, in a historic Memorandum of Understanding (“MOU”), the County agreed to
15 provide up to $300 million in funds and more in services toward the City’s creation
16 of 6,700 beds or shelter opportunities to house high-risk PEH.
17               A settlement agreement reflects the obligations of the parties who agree to it.
18 Here, however, in addition to describing the obligations of Plaintiffs and the City,
19 the proposed settlement agreement improperly seeks to impose nearly two and a half
20 pages of supposed “County Obligations,” even though the County is not a party to
21 the agreement. These “responsibilities” have no basis in law, and the Settling
22 Parties make no effort to identify one. The Court cannot approve a private
23 agreement between Plaintiffs and the City that imposes “responsibilities” on the
24 County, without usurping the role of the Legislature in determining the County’s
25 fiscal and social policies. Nor can the Court properly determine the County’s
26 “obligations” under the guise of entering a consent decree between other parties.
27 This would be entirely improper, and an egregious violation of due process of law.
28               The “obligations” and “responsibilities” assigned to the County in the

      565290.6                                       1
         THE COUNTY’S RESPONSE TO SETTLEMENT BETWEEN PLAINTIFFS AND CITY OF LOS ANGELES

                                                                                                   ER 327
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  1 proposed agreement are also a distraction from the myriad ways the County has
  2 committed to addressing homelessness, including dedicating countless hours and
  3 billions of dollars to housing, shelter, services and other resources for PEH. In the
  4 last fiscal year alone, 20,477 people received permanent housing, and 26,760 people
  5 received interim housing, in the County. The County’s proposed budget for the next
  6 fiscal year includes $532.6 million in additional funding to combat homelessness,
  7 and the County is actively working to ensure those funds are used in the most
  8 efficient and effective ways possible.
  9 II.         OVERVIEW OF THE PROPOSED SETTLEMENT
10              Plaintiffs filed this lawsuit against the City and County allegedly “to change
11 the trajectory of the homelessness [crisis]” in Los Angeles. (FAC ¶ 1.) Early in
12 their 226-paragraph, 100-page, First Amended Complaint (Dkt. # 361), Plaintiffs
13 call particular attention to “the mentally ill visibly suffer[ing] in intersections, parks,
14 and sidewalks” and “the increased prevalence of illegal narcotics” among PEH.
15 (FAC ¶ 4.) Plaintiffs also allege that “the most heavily impacted area is still without
16 a doubt” Skid Row, which comprises a half-square-mile area in the City near
17 Downtown Los Angeles, where most of the individual Plaintiffs live and/or work.
18 (Id. ¶ 39.) Yet, the proposed settlement agreement falls woefully short of aiding the
19 very PEH to which Plaintiffs call attention.
20              The proposed settlement agreement is between Alliance, eight of the nine
21 individual Plaintiffs, and the City. Under the proposed settlement, the City agrees,
22 within five years, to create sufficient housing or shelter to accommodate 60% of
23 “unsheltered City Shelter Appropriate PEH within the City,” which the Agreement
24 defines as PEH who “do[] not have a severe mental illness, and/or” are “not
25 chronically homeless” and have neither “a substance use disorder” or “chronic
26 physical illness or disability requiring the need for professional medical care and
27 support.” (Agmt §§ 1.4, 3.1.)
28              Plaintiffs and the City have agreed to wait for the results of the 2022

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  1 homeless Point-In-Time count to confirm the number of new beds/shelter
  2 opportunities the City is required to build under the settlement. However, the
  3 County shares the concerns expressed by the objectors that this limitation appears to
  4 exclude a large number of the most vulnerable PEH. For example, according to the
  5 2020 Point-In-Time data, which was cited in Plaintiffs’ motion for a preliminary
  6 injunction (Dkt. # 265 at 21 & n. 21), 38% of PEH in Skid Row had a serious
  7 mental illness,1 40% of PEH in Skid Row were characterized as chronically
  8 homeless, 35% had a substance use disorder, 26% had a physical disability, and
  9 18% had a developmental disability. The vast majority of the chronically homeless
10 individuals were unsheltered.
11              It is vague, at best, how many PEH will benefit from this agreement. At
12 worst, it appears that the PEH most in need of shelter may not benefit at all. The
13 City has stated that the 60% goal is in addition to the 6,700 beds it has already
14 created under the historic MOU with the County. (Tr. of May 20, 2022 Hr’g at
15 11:19–23.) However, the proposed agreement allows the City to count toward its
16 settlement obligation the HHH pipeline beds it already committed to building, which
17 calls into question what additional benefit PEH will gain from the agreement. City
18 Council President Nury Martinez has said, “[t]he city has committed to building a
19 minimum of 14,000 beds and has over 13,000 beds in process already.”2 The City
20 has an obligation to prove to this Court that recounting these beds towards its
21 “commitment” under the settlement agreement is not illusory.
22              This is consistent with the agreement’s specification that the City has sole
23
24
     1
       2020 Greater Los Angeles Homeless Count – Skid Row,
     https://www.lahsa.org/documents?id=4700-2020-greater-los-angeles-homeless-
25   countskid-row.
26
     2
       See John Antszak, “Los Angeles Agrees to Settle Lawsuit Over Homeless Crisis,”
     US NEWS (April 1, 2022), https://www.usnews.com/news/best-
27   states/california/articles/2022-04-01/los-angeles-agrees-to-settle-lawsuit-over-
28   homeless-crisis.

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  1 discretion to determine the kind of housing or shelter to build to fulfill that
  2 obligation. Other than the pipeline beds the City committed to prior to and
  3 independent of the settlement, the agreement appears to contemplate that the City
  4 will predominantly focus on interim housing or shelters (such as shared housing,
  5 congregate shelters, sprung structures or tents, safe parking, safe sleeping/camping,
  6 and A Bridge Home beds) rather than permanent supportive housing. (Id. § 3.2)
  7              Last, further clarification is needed as to whether Plaintiffs believe this
  8 settlement affects or narrows the claims that they have asserted in this litigation.
  9 Plaintiffs have stated that they intend to file a Second Amended Complaint if the
10 Court approves their settlement with the City, but the settlement agreement does not
11 resolve all of Plaintiffs’ claims against the City. Plaintiff Gary Whitter is not a party
12 to the settlement agreement. (Agmt n.3.) The Court previously indicated it was
13 inclined to grant Plaintiffs leave to amend because the amended pleading “will
14 narrow the issues and focus on the county” (Tr. at 18:19–22), but, at this time,
15 Plaintiffs have not proffered a proposed amended pleading, and the agreement is
16 unclear as to whether Mr. Whitter’s lack of participation means the City will remain
17 a defendant in this litigation.
18 III.          THE SETTLEMENT CANNOT BE APPROVED UNLESS IT IS FAIR,
19               ADEQUATE, AND REASONABLE
20               Plaintiffs do not need a court order to voluntarily dismiss their claims against
21 the City. See Fed. R. Civ. P. 41(a)(1). To obtain judicial oversight and jurisdiction
22 over that settlement, as Plaintiffs seek, the Court must enter a consent decree.
23 United States v. Oregon, 913 F.2d 576, 580 (9th Cir. 1990) (“a settlement agreement
24 subject to continued judicial policing” is “[a] consent decree” (citation omitted)).
25 To do so, the Court has an independent obligation to confirm the agreement is
26 “fundamentally fair, adequate and reasonable” and “conform[s] to applicable laws.”
27 Id. at 580-81. Where, as here, the requested consent decree “affects the public
28 interest or third parties” that “did not participate in negotiating,” the Court has a

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  1 “heightened responsibility . . . to protect those interests.” Id. at 581; see also Waller
  2 v. Fin. Corp. of Am., 828 F.2d 579, 583 (9th Cir. 1987) (a non-settling defendant has
  3 standing to object to a settlement entered into by other parties if it will suffer some
  4 formal legal prejudice as a result).
  5 IV.          THE SETTLEMENT PREJUDGES THE ONGOING CASE
  6              “It is fundamental to our notions of due process that a consent decree cannot
  7 prejudice the rights of a third party who fails to consent to it.” E.E.O.C. v. Pan Am.
  8 World Airways, Inc., 897 F.2d 1499, 1506 (9th Cir. 1990). The Court should not
  9 enter Plaintiffs’ proposed order because the settlement includes several pages
10 imposing purported “obligations” and “responsibilities” on the County, which is not
11 a party to the agreement. (See Agmt § 9.) This would be entirely improper and
12 illegal—a violation of due process of law. See Pan Am., 897 F.2d at 1506 (a
13 consent decree that prejudiced the rights of non-settling parties violates “deep-
14 rooted historic tradition that everyone should have his own day in court” (citation
15 omitted)).
16               As a non-settling party, the County is not bound by any agreement between
17 the Plaintiffs and the City. See E.E.O.C. v. Waffle House, Inc., 534 U.S. 279, 294
18 (2002) (“It goes without saying that a contract cannot bind a nonparty.”). It would
19 violate this well-settled principle for the Court to enter an order that, on its face,
20 assigns legal obligations to the County that were only “agree[d]” to by the Settling
21 Parties in a contract to which the County is not a signatory. (Agmt § 9); see
22 Thompson v. Enomoto, 815 F.2d 1323, 1326 (9th Cir. 1987) (holding a consent
23 decree is a kind of injunction, which are orders “enforceable by contempt, and
24 designed to accord or protect ‘some or all of the substantive relief sought by a
25 complaint’” (citation omitted)).
26               Entering the proposed settlement raises acute concerns because the alleged
27 “responsibilities” run contrary to the County’s legal arguments in this litigation,
28 including those set forth in its fully briefed Motion to Dismiss the First Amended

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  1 Complaint. (Dkt. # 370.) The Court cannot enter the settlement as drafted without
  2 pre-judging the existence of the County’s “obligations” described therein, which the
  3 County is disputing in the ongoing case, and which the County contends have no
  4 merit.
  5              For example, all of Plaintiffs’ claims against the County are based on the
  6 County’s alleged failure to house PEH in or near Skid Row, and the County has
  7 argued those claims must be dismissed because Skid Row is within the incorporated
  8 territory of the City and under its exclusive jurisdiction. However, the settlement
  9 declares it to be the County’s responsibility to provide services and/or housing to
10 PEH in the City who have a severe mental illness and/or are chronically homeless
11 and suffer from a substance abuse disorder or chronic disability, including Skid
12 Row. (See Agmt § 1.4 (defining “City Shelter Appropriate” PEH); id. § 9 (the
13 “County responsibilities include, but are not limited to . . . [p]roviding housing and
14 treatment services for all unsheltered PEH within the City who are not City Shelter
15 Appropriate”). There is no legal basis for this; the County has no general
16 responsibility to provide housing or mental health services under Welfare and
17 Institutions Code section 17000.
18               To issue the settlement as a consent decree would also be inconsistent with a
19 keystone argument in the County’s pending motion, that the Plaintiffs have not met
20 their burden of establishing Article III standing. (Id. at 13–15); see LA All. for
21 Human Rights v. County of Los Angeles, 14 F.4th 947, 956-57 (9th Cir. 2021)
22 (Alliance) (a plaintiff must demonstrate Article III standing to obtain injunctive
23 relief). Entering a consent decree, including one that purports to define the
24 County’s obligations as including Skid Row, would give the appearance that the
25 Court had already resolved the merits of the Plaintiffs’ claims against the County
26 before the County has been able to undertake any discovery.
27               The absence of factual support for the settlement’s proffered
28 “responsibilities” of the County is particularly troubling because some of them were

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  1 lifted directly from the Court’s April 2021 preliminary injunction order, which the
  2 Ninth Circuit Court of Appeals reversed on the grounds that the Court had
  3 impermissibly “relied on its own independent research and cited material not subject
  4 to judicial notice.” Alliance, 14 F.4th at 957; (see FAC ¶¶ 89, 167–74 (alleging that
  5 “the County has failed to meet its statutory obligation” under California Welfare &
  6 Institutions Code (“WIC”) section 17000 “to provide appropriate mental health
  7 services,” which Plaintiffs insist includes shelter); Dkt. 277 at 87 (“the County has
  8 also failed to meet its minimal duties” under the WIC because “the County comes
  9 nowhere close to . . . 50 public mental health beds per 100,000 individuals”); Agmt
 10 § 9 (the “County responsibilities include, but are not limited to . . . [r]equiring a
 11 minimum of 50 mental health beds per 100,000 people in the County”).) There has
 12 still been no evidentiary development that would support a finding that the County
 13 has the obligations that have been assigned to it by the Settling Parties.
 14              If the Court approves the settlement, it should remove section 9 and make
 15 clear in its order that the agreement between the Plaintiffs and the City has no
 16 bearing on the County’s case or any of the County’s defenses. The Plaintiffs and the
 17 City have stated that it is their intent to resolve their case “without any admission of
 18 fault, liability, or wrongdoing.” (Agmt at 2.) It is imperative that the County is
 19 likewise entitled to continue its defense unprejudiced by their settlement.
 20 V.           THE PROPOSED SETTLEMENT MATERIALLY MISSTATES THE
 21              COUNTY’S SIGNIFICANT AID FOR PEH
 22              The “County Obligations” section of the proposed settlement not only
 23 improperly seeks to bind a non-settling party, it also suffers from the same fatal flaw
 24 as all of Plaintiffs’ claims—it improperly seeks to usurp the County’s legislative
 25 authority by dictating County policy.
 26              Moreover, the City and Plaintiffs’ agreement that they will “ensur[e] the
 27 County meets its obligations to provide adequate services to PEH” and “foster[]
 28 County-developed or County-funded housing, shelters, and treatment services,”

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  1 necessarily implies that the County is not already doing this work. (See ECF No.
  2 429-1 at 10.) Nothing could be further from the truth. As set forth in the County’s
  3 Motion to Dismiss and corresponding Request for Judicial Notice, the County’s
  4 commitment to combatting homelessness and serving PEH is undisputed, well-
  5 documented, and massive. (See ECF Nos. 370-1, 371, 371-1.)
  6              A.    The County’s Ongoing Work To Address Homelessness
  7              On August 17, 2015, the County Board of Supervisors (“Board”) launched the
  8 Homeless Initiative; and, on February 9, 2016, the Board approved nearly
  9 $100 million in funding to implement 47 strategies recommended by the Homeless
 10 Initiative to (a) prevent homelessness, (b) expand subsidized housing, (c) increase
 11 income among those who are homeless or are at risk of becoming homeless,
 12 (d) enhance homeless case management and supportive services, (e) create a
 13 coordinated homelessness service system, and (f) expand affordable and homeless
 14 housing. (Appendix of Evidence (“AOE”) Exs. 1-2.) All 47 strategies have now
 15 been fully or partially implemented. (Id. Ex. 6.)
 16              Since its enactment in March 2017, Measure H has also successfully
 17 generated hundreds of millions of dollars annually and provides an ongoing revenue
 18 stream to fund the County’s work to address the homeless crisis. (Id. Exs. 3, 4, 6.)
 19 Indeed, Measure H has been credited for “accelerat[ing]” the critical work of the
 20 Homeless Initiative to “improve the lives of individuals and families experiencing
 21 homelessness.” (Id. Ex. 6.)
 22              The County has continued to expand its efforts to combat homelessness in
 23 recent years and currently funds a variety of housing and services to individuals and
 24 families experiencing homelessness, formerly homeless, or at risk of homelessness.
 25 (Id. Ex. 5.) Among other things, these programs and services include: (1) rapid re-
 26 housing; (2) Multidisciplinary and Homeless Outreach & Mobile Engagement teams
 27 that provide outreach and engagement; (3) housing assistance, including cash
 28 subsidies, legal services, eviction prevention, and other tenant-related assistance;

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  1 and (4) assistance for current and formerly incarcerated individuals. (Id. Exs. 5, 7.)
  2              In addition to the services it was already providing, and the expanded
  3 services it is contributing pursuant to the MOU, the County has also been working
  4 diligently to house and shelter PEH. The Homeless Initiative reported that since the
  5 passage of Measure H in 2017, the County’s homeless services system had placed
  6 nearly 81,000 people in permanent housing and 110,000 people in interim housing.3
  7 Between November 2012 and March 2021, the Housing for Health division of the
  8 County Department of Health Services housed 18,444 clients who are homeless and
  9 who have complex medical and behavioral health conditions in permanent
 10 supportive housing. (AOE Ex. 8.) This includes 4,415 people placed in existing
 11 permanent supportive housing and 14,029 placed in new permanent supportive
 12 housing. (Id.)
 13              The County has also been working to develop long-term strategies to tackle
 14 the complex problem of homelessness, while simultaneously pursuing innovative
 15 interim solutions. (See, e.g., Exs. 10–12.) For example, on September 15, 2021, the
 16 Board approved the creation of a taskforce to coordinate and effectuate a
 17 comprehensive community-based prevention services system, informed by an
 18 equity-centered framework, to improve the lives of the most vulnerable County
 19 residents, including PEH. (Id. Ex. 13). At the same time, the Board also approved
 20 an additional $34 million in funding for Project Roomkey in fiscal year 2021-22.
 21 (Id.) And on November 2, 2021, the Board authorized another $10 million in
 22 funding for cities and local Councils of Governments in need of supportive services
 23 at interim housing sites. (Id. Ex. 14.)
 24              Through Project Homekey, the County has received over $100 million from
 25 the State to acquire 10 properties for use as housing for PEH. Nine of the 10
 26
      3
     Homeless Initiative Impact Dashboard, https://homeless.lacounty.gov/dashboard-
 27 2/.
 28

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  1 properties are currently operating as interim housing and will be converted to
  2 permanent supportive housing beginning in 2023. To date, nearly 1,500 PEH have
  3 been served at the County’s Homekey sites.4 Although Project Homekey was
  4 originally conceived in July 2020 as a way to provide housing for PEH who were
  5 impacted by COVID-19, the State subsequently announced the availability of an
  6 additional $250 million in funding for Homekey. The County has since applied to
  7 the State for additional grants to support the acquisition of several new properties.
  8 The County has already received awards for at least 12 new projects, including a 40-
  9 room housing facility located in Boyle Heights that the County intends to use to
 10 provide interim housing for transition aged youth experiencing or at-risk of
 11 homelessness. (Id.)
 12              In total, for fiscal year 2021-22, the County approved over $1 billion in its
 13 fight against homelessness, including one-time grants from state and federal entities.
 14 Half of this money is going towards creating approximately 11,000 beds for PEH
 15 (including those created pursuant to the MOU). The remainder went towards
 16 services, including homelessness prevention, outreach and engagement services,
 17 interim and permanent housing services, employment services, justice reform for
 18 PEH, and services relating to transition-age youth.
 19              B.    The County’s Fiscal Year 2022-23 Budget Proposal
 20              On April 19, 2022, the County’s Chief Executive Office (“CEO”) submitted
 21 its recommended budget for fiscal year 2022-23 to the Board, which identified the
 22 County’s top priority as its fight against homelessness, with “extensive investments”
 23 in mental health services, supportive services, and a wide range of housing
 24 programs. (AOE Ex. 16 at 1.)
 25              The recommended budget includes $532.6 million to fund Homeless Initiative
 26
 27   4
     See April 19, 2022 Motion by Supervisor Hilda L. Solis, available at
 28 http://file.lacounty.gov/SDSInter/bos/supdocs/168208.pdf.

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  1 strategies focused on prevention, outreach, interim housing, permanent housing, and
  2 supportive services to serve people at risk of or experiencing homelessness. (Id. at
  3 5-6; Ex. 19, Encl. 1 at 6.) In addition, the County has allocated funding for the
  4 following: (1) $4.3 million to augment homeless mental healthcare teams, enhance
  5 crisis intervention, and provide transportation; (2) $1.2 million for treatment
  6 authorization, care coordination, and service navigation for the most intensive
  7 mental health services; (3) $3.9 million to establish mobile clinics to provide
  8 medical care to PEH in the County; (4) $26.6 million for the development and
  9 preservation of affordable housing; and (5) $15.1 million to the Department of
 10 Public Social Services to cover projected expenditures by Los Angeles Homeless
 11 Services Authority (“LAHSA”). (AOE Ex. 16 at 5-6.)
 12              The budget also reflects the County’s many other goals to address
 13 homelessness, including continuing its collaboration with justice partners and
 14 community-based organizations to reduce the number of PEH by promoting local
 15 resources and assisting with referrals to homelessness assistance programs (id. at
 16 7.1); coordinating the prioritization of housing and services (id. at 32.1); and
 17 partnering with cities, service providers, philanthropy and faith-based organizations,
 18 and the business community in an effort to develop and implement innovative
 19 solutions to combat homelessness (id.).
 20              C.    The Board’s Adoption Of The Blue Ribbon Commission’s
 21                    Recommendations
 22              The County is also actively working with its partners to carefully examine
 23 how best to allocate the hundreds of millions of dollars it has committed to fighting
 24 homelessness. On July 27, 2021, the Board created a Blue Ribbon Commission on
 25 Homelessness (the “Commission”) to research and analyze various homelessness
 26 governance reports, study models from across the nation, and provide feedback on
 27 the most relevant and effective models, with the intention of implementing reform to
 28 help solve the homelessness crisis in the County. (AOE Ex. 9.)

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  1              On March 30, 2022, after hundreds of hours of research and hundreds of
  2 interviews with stakeholders, the Commission published its Governance Report (the
  3 “Report”) and delivered it to the Board. (Id. Ex. 15.) The Report highlighted
  4 several “key concerns” for addressing the homelessness crisis, including, among
  5 others, the need to act with urgency and develop flexible solutions; the need to
  6 improve communication and focus on diversity, equity, and inclusion; and the need
  7 to increase support for small service providers in order to build capacity. (Id. at 5,
  8 8-12.)
  9              In response to these and other concerns, the Report delineated seven
 10 recommendations to the Board, including: (1) creating an appropriately-resourced
 11 County entity to cut across County departments and take charge to ensure the
 12 departments are working together; (2) establishing a local solutions fund within
 13 Measure H to allocate amounts to smaller cities and unincorporated areas within the
 14 County; (3) simplifying and streamlining LAHSA to lead rehousing efforts in light
 15 of the new entity formation; (4) consolidating the LAHSA Commission, Continuum
 16 of Care (“CoC”) Board, and Coordinated Entry Systems Policy Council into a single
 17 entity; (5) improving LAHSA’s operations by defining its decision-making
 18 responsibilities and ensuring it has the appropriate staff and expertise to manage its
 19 budget of over $700 million and staff of over 600 employees through the creation of
 20 an “Ops Team”; (6) requiring access to, sharing of, and tracking of data, conducting
 21 comprehensive reports on how monies are spent, and developing common
 22 definitions and metrics to measure success; and (7) creating a forum for convening
 23 decision-makers from across the region to set goals and discuss policy, funding,
 24 fundraising, initiatives, and resources. (Id. at 7, 13-27.) On May 3, 2022, the Board
 25 voted to adopt all seven recommendations. (Id. Ex. 18.)
 26              The County’s commitment to combatting homelessness cannot be disputed. It
 27 has already allocated $527 million for Homeless Initiative services for the current
 28 fiscal year, and is poised to allocate hundreds of millions of dollars in additional

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  1 funding for fiscal year 2022-23. By adopting the Commission’s recommendations,
  2 the Board has also demonstrated its resolve to look critically at how those funds
  3 should be allocated and to ensure that its significant resources are used efficiently to
  4 develop meaningful and effective solutions to address the homelessness crisis and
  5 support PEH.
  6              The County recognizes there is more work to be done and is committed to
  7 continuing to partner with the City and other stakeholders to do that important work.
  8 But it is not appropriate for the Court to approve a Settlement Agreement between
  9 Plaintiffs and the City that seeks to define the County’s obligations and dictate its
 10 policy choices.
 11
 12 DATED: May 31, 2022                      MILLER BARONDESS, LLP
 13
 14
                                             By:        /s/ Louis R. Miller
 15
                                                    LOUIS R. MILLER
 16                                                 Attorneys for Defendant
 17                                                 COUNTY OF LOS ANGELES

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                                                                            16                           CENTRAL DISTRICT OF CALIFORNIA
                                                                            17
                                                                            18      LA ALLIANCE FOR HUMAN                    CASE NO. 2:20-CV-02291-DOC-KES
                                                                                    RIGHTS, et al.,
                                                                            19
                                                                                                 Plaintiffs,                 Assigned to Judge David O. Carter
                                                                            20
                                                                                          v.
                                                                            21                                               AMENDED NOTICE OF LODGING
                                                                                    CITY OF LOS ANGELES, et al.,             OF FULLY EXECUTED
                                                                            22                                               [PROPOSED] STIPULATED ORDER
                                                                                                                             OF DISMISSAL AS TO
                                                                            23                   Defendants.                 DEFENDANT CITY OF LOS
                                                                                                                             ANGELES ONLY [Fed. R. Civ. P.
                                                                            24                                               41(a)(2)]
                                                                            25
                                                                            26
                                                                            27
                                                                            28
                                                                                                                         1
                                                                                      AMENDED NOTICE OF LODGING OF FULLY EXECUTED [PROPOSED]
                                                                                  STIPULATED ORDER OF DISMISSAL AS TO DEF. CITY OF LOS ANGELES ONLY
                                                                                                                                                                 ER 340
                                                                                 Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 392 of 1079

                                                            Case 2:20-cv-02291-DOC-KES Document 429 Filed 05/24/22 Page 2 of 2 Page ID #:11981



                                                                             1
                                                                             2          TO THE COURT AND TO ALL PARTIES AND THEIR ATTORNEYS OF
                                                                             3    RECORD:
                                                                             4          PLEASE TAKE NOTICE that pursuant to L.R. 5-4.4 and Rule 41(a)(2) of the
                                                                             5    Federal Rules of Civil Procedure, Plaintiffs LA Alliance for Human Rights, et al.,
                                                                             6    and Defendant City of Los Angeles hereby lodge for the Court’s signature a Fully
                                                                             7    Executed [Proposed] Stipulated Order of Dismissal as to Defendant City of Los
                                                                             8    Angeles only.
                                                                             9    DATED: May 24, 2022              Respectfully submitted,
                                                                            10
                                                                                                                   /s/ Elizabeth A. Mitchell
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11                                     SPERTUS, LANDES & UMHOFER, LLP
Spertus, Landes & Umhofer, LLP




                                                                                                                   Matthew Donald Umhofer
                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12                                     Elizabeth A. Mitchell
                                      LOS ANGELES. CA 90025




                                                                                                                   Attorneys for Plaintiffs
                                                                            13
                                                                            14    DATED: May 24, 2022              MICHAEL N. FEUER, City Attorney
                                                                                                                   SCOTT MARCUS, Chief Assistant City Attorney
                                                                            15                                     ARLENE N. HOANG, Deputy City Attorney
                                                                                                                   JESSICA MARIANI, Deputy City Attorney
                                                                            16                                     RYAN SALSIG, Deputy City Attorney
                                                                            17
                                                                                                                   By: /s/ Scott Marcus
                                                                            18                                     Scott Marcus, Chief Assistant City Attorney
                                                                                                                   Counsel for Defendant City of Los Angeles
                                                                            19
                                                                            20    Pursuant to L.R. 5-4.3.4(a)(2)(i), all other signatories listed, and on whose behalf the
                                                                            21    filing is submitted, concur in the filing’s content and have authorized the filing.
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                                                                                                                              2
                                                                                      AMENDED NOTICE OF LODGING OF FULLY EXECUTED [PROPOSED]
                                                                                  STIPULATED ORDER OF DISMISSAL AS TO DEF. CITY OF LOS ANGELES ONLY
                                                                                                                                                                        ER 341
                                                                                 Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 393 of 1079

                                                                            Case 2:20-cv-02291-DOC-KES Document 429-1 Filed 05/24/22 Page 1 of 28 Page ID
                                                                                                             #:11982


                                                                             1    SPERTUS, LANDES & UMHOFER, LLP
                                                                                  Matthew Donald Umhofer (SBN 206607)
                                                                             2    Elizabeth A. Mitchell (SBN 251139)
                                                                                  617 W. 7th Street, Suite 200
                                                                             3    Los Angeles, California 90017
                                                                                  Telephone: (213) 205-6520
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                                                                                  Email: mumhofer@spertuslaw.com
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                                                                             7    MICHAEL N. FEUER, City Attorney (SBN 111529)
                                                                                  SCOTT MARCUS, Chief Assistant City Attorney (SBN 184980)
                                                                             8    ARLENE N. HOANG, Deputy City Attorney (SBN 193395)
                                                                                  JESSICA MARIANI, Deputy City Attorney (SBN 280748)
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                                                                                  200 North Main Street, City Hall East, 7th Floor
                                                                            10    Los Angeles, California 90012
                                                                                  Telephone: 213-978-4681
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11    Facsimile: 213-978-7011
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                                                                                  Email: Scott.Marcus@lacity.org
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                                                                            12
                                      LOS ANGELES. CA 90025




                                                                                  Attorneys for Defendant
                                                                            13    CITY OF LOS ANGELES
                                                                            14
                                                                            15                               UNITED STATES DISTRICT COURT
                                                                            16                           CENTRAL DISTRICT OF CALIFORNIA
                                                                            17
                                                                            18      LA ALLIANCE FOR HUMAN                    CASE NO. 2:20-CV-02291-DOC-KES
                                                                                    RIGHTS, et al.,
                                                                            19
                                                                                                 Plaintiffs,                 Assigned to Judge David O. Carter
                                                                            20
                                                                                          v.
                                                                            21                                               AMENDED FULLY EXECUTED
                                                                                    CITY OF LOS ANGELES, et al.,             [PROPOSED] STIPULATED
                                                                            22                                               ORDER OF DISMISSAL AS TO
                                                                                                                             DEFENDANT CITY OF LOS
                                                                            23                   Defendants.                 ANGELES ONLY [Fed. R. Civ. P.
                                                                                                                             41(a)(2)]
                                                                            24
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                                                                                                                         1
                                                                                      AMENDED FULLY EXECUTED [PROPOSED] STIPULATED ORDER OF
                                                                                         DISMISSAL AS TO DEFENDANT CITY OF LOS ANGELES ONLY
                                                                                                                                                                 ER 342
                                                                                 Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 394 of 1079

                                                                            Case 2:20-cv-02291-DOC-KES Document 429-1 Filed 05/24/22 Page 2 of 28 Page ID
                                                                                                             #:11983


                                                                             1          On March 10, 2020, Plaintiff LA Alliance for Human Rights, et al. filed the
                                                                             2    above-captioned against the City of Los Angeles (“City”) and the County of Los
                                                                             3    Angeles (“County”) [ECF No. 1]. On November 1, 2021, Plaintiffs LA Alliance for
                                                                             4    Human Rights, Joseph Burk, Harry Tashdjian, Wenzial Jarrell, Karen Pinsky, Charles
                                                                             5    Malow, Charles van Scoy, George Frem, Gary Whitter, and Leandro Suarez
                                                                             6    (collectively “Plaintiffs”) filed a First Amended and Supplemental Complaint against
                                                                             7    the City and the County (“FASC”) [ECF No. 361].
                                                                             8          In the FASC, Plaintiffs alleged thirteen separate claims for relief concerning
                                                                             9    the City and County’s handling of the homelessness crisis, and contended the City
                                                                            10    and County violated, among other things, the Due Process and Equal Protection
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11    Clauses of the United State Constitution, the State Created Danger doctrine, state and
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                                                                            12    federal disability laws, were negligent, created nuisances, and engaged in inverse
                                      LOS ANGELES. CA 90025




                                                                            13    condemnation and takings of real property. Id. The City and County each separately
                                                                            14    filed a motion to dismiss the FASC [ECF No. 369, 370], which were taken under
                                                                            15    submission on January 24, 2022, and all parties were Ordered to participate in a
                                                                            16    mediation [ECF Nos. 388, 391].
                                                                            17          Following extensive discussions and multiple mediation sessions, Plaintiffs 1
                                                                            18    and the City reached a settlement resolving the disputed claims in this Action as to
                                                                            19    the City only. A copy of the executed Settlement Agreement between Plaintiffs and
                                                                            20    the City (“Settlement Agreement”) is attached hereto as Exhibit 1, the terms of which
                                                                            21    are expressly incorporated herein by reference.
                                                                            22          NOW THEREFORE, pursuant to Federal Rule of Civil Procedure 41(a)(2), and
                                                                            23    good cause appearing therefore, the Court HEREBY ORDERS AND DECREES the
                                                                            24    following:
                                                                            25          1.       The Court expressly incorporates all of the terms of the Settlement
                                                                            26    Agreement, attached as Exhibit 1, into this Order.
                                                                            27
                                                                            28
                                                                                        1
                                                                                            Plaintiff Gary Whitter is not participating in this agreement.
                                                                                                                               2
                                                                                      AMENDED FULLY EXECUTED [PROPOSED] STIPULATED ORDER OF
                                                                                         DISMISSAL AS TO DEFENDANT CITY OF LOS ANGELES ONLY
                                                                                                                                                                         ER 343
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                                                                                                             #:11984


                                                                             1          2.     The Court expressly retains exclusive jurisdiction for a period of five (5)
                                                                             2    years from the date of this Order to enforce the Settlement Agreement, and to resolve
                                                                             3    any future disputes regarding interpretation, performance, or enforcement of the
                                                                             4    Agreement. See Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 381 (1994);
                                                                             5    Flanagan v. Arnaiz, 143 F.3d 540, 544 (9th Cir. 1998).
                                                                             6          3.     Except as expressly provided otherwise in the Settlement Agreement,
                                                                             7    Plaintiffs and the City shall bear their own fees and costs in this Action.
                                                                             8          4.     Plaintiffs’ claims against the City only, as alleged in the First Amended
                                                                             9    and Supplemental Complaint are hereby dismissed with prejudice as to the City only.
                                                                            10    This Action shall proceed against the County and no claims alleged by Plaintiff Gary
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11    Whitter are dismissed by this Order.
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                                                                            12
                                      LOS ANGELES. CA 90025




                                                                            13                 IT IS SO ORDERED.
                                                                            14
                                                                            15    Dated: May ___ 2022                             ______________________________
                                                                                                                                  Hon. David O. Carter,
                                                                            16
                                                                                                                                  United States District Judge
                                                                            17
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                                                                                      AMENDED FULLY EXECUTED [PROPOSED] STIPULATED ORDER OF
                                                                                         DISMISSAL AS TO DEFENDANT CITY OF LOS ANGELES ONLY
                                                                                                                                                                        ER 344
                                                                                        Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 396 of 1079

                                                                                   Case 2:20-cv-02291-DOC-KES Document 429-1 Filed 05/24/22 Page 4 of 28 Page ID
                                                                                                                    #:11985


                                                                                    1    APPROVED AS TO FORM.
                                                                                    2    DATED: May 24, 2022              Respectfully submitted,
                                                                                    3
                                                                                                                          /s/ Elizabeth A. Mitchell
                                                                                    4                                     SPERTUS, LANDES & UMHOFER, LLP
                                                                                                                          Matthew Donald Umhofer
                                                                                    5                                     Elizabeth A. Mitchell
                                                                                    6                                     Attorneys for Plaintiffs

                                                                                    7    DATED: May 24, 2022              MICHAEL N. FEUER, City Attorney
                                                                                                                          SCOTT MARCUS, Chief Assistant City Attorney
                                                                                    8                                     ARLENE N. HOANG, Deputy City Attorney
                                                                                                                          JESSICA MARIANI, Deputy City Attorney
                                                                                    9                                     RYAN SALSIG, Deputy City Attorney
                                                                                   10
                                                                                                                          By: /s/ Scott Marcus_______________
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                   11                                     Scott Marcus, Chief Assistant City Attorney
Spertus, Landes & Umhofer, LLP




                                                                                                                          Counsel for Defendant City of Los Angeles
                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                                   12
                                      LOS ANGELES. CA 90025




                                                                                   13    Pursuant to L.R. 5-4.3.4(a)(2)(i), all other signatories listed, and on whose behalf the
                                                                                   14    filing is submitted, concur in the filing’s content and have authorized the filing.
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Landes & Umhofer, LLP




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                                                S ANGELES. CA 90025




                                                                                                                                     4
                                                                                             AMENDED FULLY EXECUTED [PROPOSED] STIPULATED ORDER OF
                                                                                                DISMISSAL AS TO DEFENDANT CITY OF LOS ANGELES ONLY
                                                                                                                                                                                ER 345
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                                 #:11986




                         Exhibit 1
                                                                                 ER 346
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                                                                                                             #:11987


                                                                               1                            SETTLEMENT AGREEMENT
                                                                               2         This Settlement Agreement is entered into by and between the following
                                                                               3   Parties:
                                                                               4         1)     Plaintiffs LA Alliance for Human Rights, Joseph Burk, Harry
                                                                               5   Tashdjian, Wenzial Jarrell, Karyn Pinsky, Charles Malow, Charles Van Scoy,
                                                                               6   George Frem, and Leandro Suarez (“Plaintiffs”); and
                                                                               7         2)     Defendant City of Los Angeles (“City”).
                                                                               8                                       RECITALS
                                                                               9         WHEREAS, Plaintiffs filed a Complaint on March 10, 2020 in the Central
                                                                              10   District of California, Case No. Case 2:20-cv-02291-DOC-KES (the “Action”)
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   naming the City and the County of Los Angeles (the “County”) as co-defendants
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                                                                              12   in fourteen separate claims, including three that allege violations of 42 U.S.C.
                                      LOS ANGELES, CA 90025




                                                                              13   § 1983, concerning the City and County’s handling of the homelessness crisis,
                                                                              14   and contended the City and County violated, among other things, the Due Process
                                                                              15   and Equal Protection Clauses of the United State Constitution, the State Created
                                                                              16   Danger doctrine, state and federal disability laws, were negligent, created or
                                                                              17   maintained nuisances, and engaged in inverse condemnation and takings of real
                                                                              18   property;
                                                                              19         WHEREAS, the City expressly denies all claims alleged in the Action (and
                                                                              20   did so via a motion to dismiss), and further denies that the City and any of its
                                                                              21   officers, employees, or agents violated any laws, committed any wrongful acts or
                                                                              22   omissions, or are liable to the Plaintiffs as alleged in the Action;
                                                                              23         WHEREAS, on April 20, 2021, the District Court entered a preliminary
                                                                              24   injunction against the City and County, ordering, among other things, the City to
                                                                              25   escrow $1 billion, cease any sales, transfers or leases of City-owned properties,
                                                                              26   shelter all residents of Skid Row, and prepare numerous audits and reports;
                                                                              27         WHEREAS, on October 15, 2021, the United States Court of Appeals for
                                                                              28   the Ninth Circuit vacated the injunction issued by the District Court;

                                                                                                                       1
                                                                                                             SETTLEMENT AGREEMENT
                                                                                                                                                                       ER 347
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                                                                                                             #:11988


                                                                               1         WHEREAS, on November 1, 2021, Plaintiffs filed a First Amended and
                                                                               2   Supplemental Complaint, the allegations and claims within which the City also
                                                                               3   expressly denies, and has filed a motion to dismiss them;
                                                                               4         WHEREAS, the Plaintiffs and the City desire to fully and finally
                                                                               5   compromise and settle all claims arising out of or relating to all matters alleged or
                                                                               6   that could have been alleged in the Action with respect to the Parties, without any
                                                                               7   admission of fault, liability, or wrongdoing, in the interests of avoiding the
                                                                               8   additional expense and the inherent uncertainties of protracted litigation upon the
                                                                               9   terms and conditions set forth in this Agreement; and
                                                                              10         WHEREAS, the purpose of this Agreement is to substantially increase the
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   number of housing and shelter opportunities in the City of Los Angeles, and to
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                                                                              12   address the needs of everyone who shares public spaces and rights of way in the
                                      LOS ANGELES, CA 90025




                                                                              13   City of Los Angeles, including both housed and unhoused Angelenos, to achieve
                                                                              14   a substantial and meaningful reduction in unsheltered homelessness in the City of
                                                                              15   Los Angeles.
                                                                              16                                         TERMS
                                                                              17   1.    Definitions
                                                                              18         1.1.   Agreement. The term “Agreement” as used herein shall refer to this
                                                                              19   Settlement Agreement and all associated documents, including all necessary
                                                                              20   orders and stipulations referred to herein.
                                                                              21         1.2.   LAHSA. “LAHSA” as used herein shall mean and refer to the Los
                                                                              22   Angeles Homeless Services Authority.
                                                                              23         1.3.   PEH. “PEH” as used herein shall mean persons experiencing
                                                                              24   homelessness.
                                                                              25         1.4.   City Shelter Appropriate. The term “City Shelter Appropriate” as
                                                                              26   used herein shall include any PEH within the City whom the City can reasonably
                                                                              27   assist, meaning the individual:
                                                                              28                (A)    does not have a severe mental illness, and/or

                                                                                                                      2
                                                                                                            SETTLEMENT AGREEMENT
                                                                                                                                                                         ER 348
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                                                                                                             #:11989


                                                                               1                  (B)   is not chronically homeless and has
                                                                               2                        (i)    a substance use disorder, or
                                                                               3                        (ii)   a chronic physical illness or disability requiring the
                                                                               4                               need for professional medical care and support,
                                                                               5                  such that the individual (a) is unable to perform activities of daily
                                                                               6         living, including bathing, dressing, grooming, toileting, transferring
                                                                               7         between bed and chair, and feeding oneself, and/or (b) lacks medical
                                                                               8         and/or mental health care decision-making capacity, and/or (c) is a danger
                                                                               9         to themselves or others.
                                                                              10         PEH who meet the definition of City Shelter Appropriate are typically, but
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                                                                              11   not always, those with low- or medium-acuity needs according to accepted
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                                                                              12   industry standards, including, but not limited to, through the use of an assessment
                                      LOS ANGELES, CA 90025




                                                                              13   tool, such as the Vulnerability Index-Service Prioritization Decision Assistance
                                                                              14   Tool (VI-SPDAT) or other similar assessment tool such as the CES Survey
                                                                              15   Packet or Next Step Tool as evaluated by a qualified outreach or clinical staff
                                                                              16   member.
                                                                              17         The City will use its best efforts to engage the appropriate County entity,
                                                                              18   including, but not limited to, the Department of Mental Health (DMH),
                                                                              19   Department of Health Services (DHS), Department of Public Social Services
                                                                              20   (DPSS), or Department of Public Health (DPH), for intervention, treatment,
                                                                              21   services, and/or housing as appropriate for PEH who are not City Shelter
                                                                              22   Appropriate.
                                                                              23         Moreover, the fact that an individual meets the criteria of “high acuity”
                                                                              24   according to accepted industry standards, has a severe mental illness, substance
                                                                              25   use disorder, chronic physical illness or disability, or otherwise is not included in
                                                                              26   the definition of City Shelter Appropriate, will not preclude the City from making
                                                                              27   an offer of shelter or housing to that individual if the City can reasonably assist
                                                                              28   that individual.

                                                                                                                         3
                                                                                                               SETTLEMENT AGREEMENT
                                                                                                                                                                           ER 349
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                                                                                                             #:11990


                                                                               1         1.5.   Parties. The word “Parties” as used herein shall refer only to the
                                                                               2   parties to this Agreement, specifically the City of Los Angeles and Plaintiffs.
                                                                               3   The word “Parties” shall not refer to any individual or entity that is not a party to
                                                                               4   this agreement. The County of Los Angeles and Intervenors are not Parties to this
                                                                               5   Agreement at this time, but may be added with written consent from the Parties.
                                                                               6         1.6.   Required Number. The term “Required Number” as used herein is
                                                                               7   the number of housing or shelter solutions which is equal to the shelter and/or
                                                                               8   housing capacity needed to accommodate sixty percent (60%) of unsheltered City
                                                                               9   Shelter Appropriate PEH in the City based on LAHSA’s 2022 Point in Time
                                                                              10   (PIT) Count. 1
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   2.    Term and Continuing Jurisdiction
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                                                                              12         The Parties agree that the duration of the Agreement shall be five (5) years,
                                      LOS ANGELES, CA 90025




                                                                              13   during which point the Court shall have continuing jurisdiction to oversee and
                                                                              14   enforce this Settlement Agreement. The obligations of the Parties in the
                                                                              15   remaining sections of this Agreement, and the releases contained herein, shall
                                                                              16   become effective and operative on the date(s) on which the respective Order
                                                                              17   approving this Agreement and dismissing the Action (“Order”) is fully executed
                                                                              18   and entered by the Court, and shall be contingent upon the Court’s executing and
                                                                              19   entry of the Order. The Parties acknowledge that the Court may, in its sole
                                                                              20   discretion, appoint one or more Special Masters to assist the Court in overseeing
                                                                              21   and enforcing this Agreement. If the Order is not executed and entered, this
                                                                              22   Agreement shall not become operative, and this litigation shall continue as if the
                                                                              23   proposed Agreement and its terms never existed.
                                                                              24
                                                                              25   1
                                                                                    LAHSA’s 2022 PIT Count is still in progress. Once the 2022 PIT Count is
                                                                              26   confirmed by LAHSA and released, Defendant City will calculate the number of
                                                                                   housing and shelter solutions needed to accommodate 60% of unsheltered City
                                                                              27   Shelter Appropriate PEH in the City and submit a report setting forth the
                                                                                   Required Number under Section 2 and Milestones and Deadlines under Section 4.
                                                                              28   The Parties may submit a revised Agreement that includes the specific Required
                                                                                   Number and Milestones and Deadlines.

                                                                                                                       4
                                                                                                             SETTLEMENT AGREEMENT
                                                                                                                                                                           ER 350
                                                                            Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 402 of 1079

                                                                       Case 2:20-cv-02291-DOC-KES Document 429-1 Filed 05/24/22 Page 10 of 28 Page ID
                                                                                                        #:11991


                                                                             1   3.     Housing and Shelter for City Shelter Appropriate Individuals
                                                                             2          3.1.   The City agrees to create a Required Number of housing or shelter
                                                                             3   solutions, which is equal to, but (in the City’s discretion) may be greater than, the
                                                                             4   shelter and/or housing capacity needed to accommodate sixty percent (60%) of
                                                                             5   unsheltered City Shelter Appropriate PEH within the City based on LAHSA’s
                                                                             6   2022 Point in Time count.
                                                                             7          3.2.   Subject to Constitutional requirements and legal mandates, the City
                                                                             8   may choose, at its sole discretion, any housing or shelter solution, including but
                                                                             9   not limited to tiny homes, shared housing, purchased or master-leased
                                                                            10   apartments, hotels/motels, or other buildings, congregate shelters, permanent
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   supportive housing, rental assistance/rapid rehousing, family reunification,
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                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12   sprung structures or tents, safe parking, safe sleeping/camping, affordable
                                      LOS ANGELES, CA 90025




                                                                            13   housing, and interim housing (including A Bridge Home beds), as long as the
                                                                            14   Milestones are met. The housing or shelter solutions may be government- and/or
                                                                            15   privately-funded as long as each offer is adequate for the individual.
                                                                            16   Accommodations shall be made for those who qualify as disabled under the
                                                                            17   Americans with Disabilities Act.
                                                                            18          3.3.   City agrees to implement an approach of equitably distributing
                                                                            19   housing and shelter solutions throughout the City. The Required Number and
                                                                            20   60% threshold is the minimum required by the Agreement, and the City is
                                                                            21   encouraged to and may provide (at its sole discretion) incentives and/or benefits
                                                                            22   for Council Districts that create more housing or shelter solutions beyond those
                                                                            23   required to accommodate 60% of the City Shelter Appropriate PEH in their
                                                                            24   district.
                                                                            25   4.     Street Engagement
                                                                            26          4.1.   City will continue to offer shelter or housing to City Shelter
                                                                            27   Appropriate PEH within the City and enforce public space regulations and health
                                                                            28   and safety laws consistent with its own protocol (Street Engagement Strategy)

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                                                                             1   and constitutional requirements. No enforcement of public space regulations
                                                                             2   shall be taken against any individual unless that individual has first been offered
                                                                             3   an opportunity for housing or shelter or to relocate consistent with applicable
                                                                             4   laws. City reserves the right, in its sole discretion, to revise or amend its Street
                                                                             5   Engagement Strategy, Los Angeles Municipal Code 41.18, or any similar
                                                                             6   ordinance, regulation, or protocol consistent with applicable constitutional
                                                                             7   requirements and is consistent with and meets the requirements of terms of this
                                                                             8   Agreement.
                                                                             9         4.2.   Council District-wide Engagement
                                                                            10         Once there are sufficient shelter or housing solutions to accommodate 60%
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   of unsheltered City Shelter Appropriate PEH in a Council District as determined
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                                                                            12   by the Required Number, the City, in its sole discretion, may implement and
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                                                                            13   enforce public space regulations and ordinances within that entire Council
                                                                            14   District as to those individuals who refuse an offer of shelter or housing and/or
                                                                            15   decline to move to an alternative location where they may legally reside. The
                                                                            16   City must provide notice to the Plaintiffs of its intention to implement and
                                                                            17   enforce District-wide. If a Party to this Agreement files a written objection with
                                                                            18   the Court (or Special Master, if one is appointed by the Court for this purpose)
                                                                            19   within five court days of the notice, the Court (or Special Master) shall schedule
                                                                            20   a status conference to take place within court two days, or as soon as is
                                                                            21   practicable, to resolve the objection. If no objection is filed, or if the Court (or
                                                                            22   Special Master) resolves the objection in favor of the City, City may implement
                                                                            23   and enforce public space regulations and ordinances throughout that District
                                                                            24   consistent with this Agreement. Even after the City creates adequate and
                                                                            25   appropriate housing and shelter opportunities for 60% of unsheltered City Shelter
                                                                            26   Appropriate PEH in a Council District, no enforcement action shall be taken
                                                                            27   against any individual suspected of violating a public space regulation or
                                                                            28   ordinance unless that individual has first been offered adequate and appropriate

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                                                                             1   shelter or housing and/or to relocate to an alternative location consistent with
                                                                             2   applicable laws and this Agreement, except for time/manner/place regulations
                                                                             3   (such as LAMC 41.18 or similar ordinances) which may be enforced immediately
                                                                             4   and without such notice at any time.
                                                                             5         4.3.   City-wide Engagement
                                                                             6         Once there are sufficient shelter or housing solutions to accommodate 60%
                                                                             7   of unsheltered City Shelter Appropriate PEH in the City as determined by the
                                                                             8   Required Number, the City, in its sole discretion, may implement and enforce
                                                                             9   public space regulations and ordinances throughout the City as to individuals
                                                                            10   who decline an offer of shelter or housing and/or decline to move to an
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   alternative location where they may legally reside. The City must provide notice
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                                                                            12   to the Plaintiffs of its intention to implement and enforce City-wide. If any Party
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                                                                            13   to this Agreement files a written objection with the Court (or Special Master, if
                                                                            14   one is appointed by the Court for this purpose) within five court days of the
                                                                            15   notice, the Court (or Special Master) shall schedule a status conference to take
                                                                            16   place within two court days, or as soon as is practicable, to resolve the objection.
                                                                            17   If no objection is filed, or if the Court (or Special Master) resolves the objection
                                                                            18   in favor of City, City may implement and enforce public space regulations and
                                                                            19   ordinances throughout the City, consistent with this Agreement. Even after the
                                                                            20   City creates adequate and appropriate housing and shelter opportunities for 60%
                                                                            21   of the number of unsheltered City Shelter Appropriate PEH within the City, no
                                                                            22   enforcement action shall be taken against any individual suspected of violating a
                                                                            23   public space regulation or ordinance unless that individual has first been offered
                                                                            24   adequate and appropriate shelter or housing and/or to relocate to an alternative
                                                                            25   location consistent with applicable laws and this Agreement, except for
                                                                            26   time/manner/place regulations (such as LAMC 41.18 or similar ordinances)
                                                                            27   which may be enforced immediately and without such notice at any time.
                                                                            28

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                                                                             1         4.4.   Nothing in this Agreement shall prohibit or prevent the City from
                                                                             2   enforcing laws otherwise applicable in the City that are not inconsistent with this
                                                                             3   Agreement.
                                                                             4   5.    Milestones and Deadlines
                                                                             5         5.1.   Within 30 days from the date information from the 2022 PIT Count
                                                                             6   is confirmed by LAHSA and released, the City will calculate the Required
                                                                             7   Number and provide its calculation with the Plaintiffs. The Parties agree to meet
                                                                             8   and confer in good faith to resolve any objections to the calculation of the
                                                                             9   Required Number raised by Plaintiffs. Any objection that cannot be resolved by
                                                                            10   the Parties may be heard by the Court if necessary.
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                                                                            11         5.2.   Thereafter the City will create plans and develop milestones and
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                                                                            12   deadlines for: (i) the City’s creation of shelter and housing solutions to
                                      LOS ANGELES, CA 90025




                                                                            13   accommodate a minimum of 60% of unsheltered City Shelter Appropriate PEH
                                                                            14   in each Council District as determined by the Required Number; (ii) the City’s
                                                                            15   plan for encampment engagement, cleaning, and reduction in each Council
                                                                            16   District; (iii) the City’s creation of shelter and/or housing to accommodate a
                                                                            17   minimum of 60% of unsheltered City Shelter Appropriate PEH in the City as
                                                                            18   determined by the Required Number; and (iv) the City’s plan for encampment
                                                                            19   engagement, cleaning, and reduction in the City. The City will provide the plans,
                                                                            20   milestones and deadlines to Plaintiffs, and the City and Plaintiffs agree to work
                                                                            21   together in good faith to resolve any concerns or disputes about the plans,
                                                                            22   milestones, and deadlines, and will consult with the Court for resolution, if
                                                                            23   necessary. The City will provide a report setting forth the milestones and
                                                                            24   deadlines. The Parties agree the City will promptly employ its best efforts to
                                                                            25   comply with established plans, milestones, and deadlines.
                                                                            26   6.    Street Engagement Dispute Resolution Process
                                                                            27         The Parties agree to design, in conjunction with the Court and/or Special
                                                                            28   Master, a dispute resolution process for individuals who are subject to the City’s

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                                                                             1   Street Engagement Strategy in connection with the City’s performance of this
                                                                             2   Agreement, pursuant to paragraph 4.
                                                                             3   7.    Status Updates
                                                                             4         7.1.   The City will provide quarterly status updates to the Court regarding
                                                                             5   its progress with this Agreement, including the number of housing or shelter
                                                                             6   opportunities created or otherwise obtained, the number of beds or opportunities
                                                                             7   offered, and the number of beds or opportunities currently available in each
                                                                             8   Council District. The City will work with LAHSA to include in the quarterly
                                                                             9   status updates, to the extent possible: the number of PEH engaged, the number of
                                                                            10   PEH who have accepted offers of shelter or housing, the number of PEH who
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                                                                            11   have rejected offers of shelter or housing and why offers were rejected, and the
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                                                                            12   number of encampments in each Council District.
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                                                                            13         7.2.   The Parties will engage a mutually agreed-upon third party to
                                                                            14   provide data collection, analysis, comments, and regular public reports on the
                                                                            15   City’s compliance with the terms of this Agreement. The City shall be
                                                                            16   responsible for paying all fees, if any, or for obtaining grants or other private
                                                                            17   funding, if needed.
                                                                            18   8.    Funding
                                                                            19         8.1.   Funding of housing and shelter opportunities created by the City
                                                                            20   shall be at the City’s sole discretion. The City agrees to: (i) Petition county, state,
                                                                            21   and federal government for additional funding, as may be available; (ii) Consider
                                                                            22   expediting public/private partnerships that utilize private capital and which
                                                                            23   require no up-front costs to the City; and (iii) Consider other possible funding
                                                                            24   mechanisms to pay for future housing or shelter, facilities, and services solutions
                                                                            25   for PEH.
                                                                            26         8.2.   In the event of fires, floods, earthquakes, epidemics, quarantine
                                                                            27   restrictions, or other natural catastrophic occurrences; terrorist acts, insurrections
                                                                            28   or other large scale civil disturbances; or any local or fiscal emergency declared

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                                                                             1   by the Mayor of Los Angeles and the Los Angeles City Council under the
                                                                             2   authority vested in them by the Los Angeles City Charter and Los Angeles
                                                                             3   Administrative Code (or other applicable ordinances, resolutions, or laws), the
                                                                             4   obligations of the City as set forth in Sections 3, 4, and 5 of this Agreement shall
                                                                             5   be paused, and the Parties agree to meet and confer on any necessary and
                                                                             6   appropriate amendments to those obligations.
                                                                             7   9.    County Obligations
                                                                             8         The Parties agree that Defendant County of Los Angeles, who is not a
                                                                             9   party to this Agreement, is obligated to provide certain services to all PEH in the
                                                                            10   County, including PEH located within the City. The Parties agree to cooperate in
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   ensuring the County meets its obligations to provide adequate services to PEH
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                                                                            12   within the City, and in fostering County-developed or County-funded housing,
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                                                                            13   shelters, and treatment services for PEH who are not City Shelter Appropriate.
                                                                            14   These County responsibilities include, but are not limited to:
                                                                            15         ● Funding and providing wrap-around and supportive services 2 for PEH
                                                                            16             in housing or shelter established by the City. Supportive services
                                                                            17             funded and provided by the County will include, but not be limited to,
                                                                            18             Department of Mental Health, Department of Health Services,
                                                                            19             Department of Public Health, and Department of Public Social
                                                                            20             Services, for intervention, services, and housing, as appropriate;
                                                                            21         ● Providing housing and treatment services for all unsheltered PEH
                                                                            22             within the City who are not City Shelter Appropriate;
                                                                            23         ● Providing and funding the Intensive Case Management Services
                                                                            24             (ICMS) and integrated health services necessary to ensure appropriate
                                                                            25
                                                                            26
                                                                                 2
                                                                                   “Supportive services” as used herein refers to mental health and substance use
                                                                                 disorder treatment, and other services, including mainstream services, which are
                                                                            27   traditionally funded by the County of Los Angeles. City agrees to ensure each
                                                                                 project will include case management, housing placement services, and
                                                                            28   homelessness reduction assistance or will work with appropriate agencies to do
                                                                                 so.

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                                                                             1          medical, mental health, substance use, and other services and treatment
                                                                             2          for permanent supportive units financed by the City;
                                                                             3       ● Requiring that permanent supportive housing (PSH) placements into
                                                                             4          units within City limits will prioritize PEH that are homeless in the City
                                                                             5          first (consistent with applicable constitutional and statutory laws),
                                                                             6          including units funded and operated by the County if they are within
                                                                             7          City limits;
                                                                             8       ● Increasing to at least 34 (from 22; numbers based on what is currently
                                                                             9          required and could be subject to change after the 2022 PIT Count
                                                                            10          results are released and analyzed) the number of Multi-Disciplinary
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                                                                            11          Teams (MDTs) dedicated to conducting outreach exclusively in the
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                                                                            12          City, allocating at least 1 team per Council District, coordinated by the
                                      LOS ANGELES, CA 90025




                                                                            13          City’s outreach staff in the Office of the City Administrative Officer
                                                                            14          (CAO) and/or the Unified Homelessness Response Center (UHRC);
                                                                            15       ● Increasing to at least 10 (from 5.5; numbers based on what is currently
                                                                            16          required and could be subject to change after the 2022 PIT Count
                                                                            17          results are released and analyzed) the number of Homeless Outreach
                                                                            18          and Mobile Engagement (HOME) teams dedicated to conducting
                                                                            19          outreach exclusively in the City, allocating at least 1 team per two
                                                                            20          Council Districts, coordinated by the CAO and/or UHRC;
                                                                            21       ● Requiring outreach teams (including the increased number of teams
                                                                            22          referenced above) have direct access to sufficient County-funded
                                                                            23          licensed and unlicensed high service need beds necessary to provide
                                                                            24          housing and treatment services for PEH in the City, and require that
                                                                            25          these beds will either be exclusively for use by, or prioritize use by,
                                                                            26          PEH in the City. In order to effectuate this access, the County will, in
                                                                            27          collaboration with LAHSA, County departments, and other relevant
                                                                            28          agencies and partners, establish a centralized, County-wide bed

                                                                                                                 11
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                                                                             1            management system that is inclusive of all types of shelter, housing,
                                                                             2            and care beds, and which will identify specific, available, and
                                                                             3            appropriate high service need beds for PEH in the City;
                                                                             4         ● Requiring a minimum of 50 mental health beds per 100,000 people in
                                                                             5            the County, or more as necessary to ensure access to inpatient treatment
                                                                             6            for PEH in the City and to prevent mentally ill individuals from falling
                                                                             7            into homelessness due to lack of available inpatient treatment;
                                                                             8         ● Increasing the number of high acuity public health (SUD/detox/drug
                                                                             9            rehabilitation) beds to specified level, and priority access for PEH
                                                                            10            regardless of the availability of insurance coverage;
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                                                                            11         ● Providing City-directed outreach teams with direct access to
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                                                                            12            Department of Mental Health, Department of Health Services,
                                      LOS ANGELES, CA 90025




                                                                            13            Department of Public Social Services, and Department of Public Health
                                                                            14            during outreach and other Street Engagement Strategy activities;
                                                                            15         ● Identify and make available sufficient County-owned land to other
                                                                            16            County jurisdictions, including City, for homeless housing on a $1 per
                                                                            17            year lease and allowing by right development; and
                                                                            18         ● Securing County commitment to prevention of inflow of new PEH in
                                                                            19            the City of Los Angeles, including commitment to registering
                                                                            20            individuals for SSI and Social Security, and other local (e.g., General
                                                                            21            Relief), state, and federal entitlement programs.
                                                                            22   10.   Affordable Housing
                                                                            23         The Parties agree to cooperate to identify and reduce barriers to building
                                                                            24   more affordable housing.
                                                                            25   11.   No Third Party Beneficiaries
                                                                            26         Notwithstanding anything in this Agreement to the contrary, there are no
                                                                            27   intended third-party beneficiaries that may assert rights or defenses under this
                                                                            28   Agreement, except the Parties to this Agreement.

                                                                                                                   12
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                                                                             1   12.   Modification By Judicial Action
                                                                             2         If a court issues an order or judgment regarding the constitutionality of, or
                                                                             3   the City’s ability to enforce, any law, code, ordinance, or regulation governing
                                                                             4   public spaces in the City (including but not limited to LAMC § 41.18), or any
                                                                             5   other part of this Agreement, and that order or judgment conflicts with or is
                                                                             6   inconsistent with any part of the terms of this Agreement, the Parties agree that
                                                                             7   the conflicting or inconsistent part(s) of this Agreement shall no longer be in
                                                                             8   effect, but all other terms of this Agreement that are not inconsistent with the
                                                                             9   order or judgment shall still remain in effect. In the event a Party asserts that an
                                                                            10   order or judgment conflicts with or is inconsistent with a part of this Agreement,
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                                                                            11   the Party shall notify the other Parties in writing. If the Parties disagree as to
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                                                                            12   whether a conflict or inconsistency exists, the question of whether a conflict or
                                      LOS ANGELES, CA 90025




                                                                            13   inconsistency exists shall be resolved according to Section 24 of this Agreement.
                                                                            14   13.   Releases and Waiver of California Civil Code Section 1542
                                                                            15         13.1. The undersigned Plaintiffs to this Agreement, each on behalf of
                                                                            16   themselves, and their respective heirs, spouses, trustees, successors, assigns,
                                                                            17   agents, representatives, attorneys, employees, officers, directors, shareholders,
                                                                            18   members, managers, principals, partners, insurers, and predecessors do hereby
                                                                            19   forever release, acquit, and discharge the City and all of its boards, bureaus,
                                                                            20   departments, elected and appointed officials, administrators, officers, agents,
                                                                            21   employees, and all persons that acted on behalf of the City (collectively the “City
                                                                            22   Released Parties”) from any and all claims, demands, actions, causes of action,
                                                                            23   suits, covenants, settlements, contracts, agreements, and liabilities for personal
                                                                            24   injuries, property damage, loss, cost or expense of every nature whatsoever,
                                                                            25   whether known or unknown, contingent or otherwise, at law or in equity, and
                                                                            26   whether or not expected to exist which the undersigned Plaintiffs to this
                                                                            27   Agreement had, have, or may have against the City Released Parties, and each of
                                                                            28   them, that arise out of or are related to the Action, and any allegations, events,

                                                                                                                    13
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                                                                             1   transactions or occurrences that were alleged or that could have been alleged
                                                                             2   therein (the “City Released Claims”).
                                                                             3         Nothing in this release and waiver is intended to include Plaintiffs’ claims
                                                                             4   against the County, including for attorneys’ fees, which Plaintiffs will continue to
                                                                             5   litigate against the County to judgment or settlement consistent with the terms of
                                                                             6   this Agreement.
                                                                             7         13.2. Plaintiffs acknowledge that they are familiar with the provisions of
                                                                             8   California Civil Code section 1542 and, except as otherwise provided herein,
                                                                             9   expressly waive and relinquish any and all rights or benefits that they may have
                                                                            10   under said section to the fullest extent permitted by law concerning any matters
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                                                                            11   relating to the Parties' Actions.
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                                                                            12         California Civil Code section 1542 states:
                                      LOS ANGELES, CA 90025




                                                                            13                A general release does not extend to claims that the
                                                                            14                creditor or releasing party does not know or suspect
                                                                            15                to exist in his or her favor at the time of executing
                                                                            16                the release and that, if known by him or her, would
                                                                            17                have materially affected his or her settlement with
                                                                            18                the debtor or released party.
                                                                            19         Plaintiffs declare that they understand the full nature, extent and import of
                                                                            20   section 1542 of the California Civil Code and have been so advised by their
                                                                            21   attorneys.
                                                                            22         13.3. Plaintiffs warrant and represent that they have made no assignment,
                                                                            23   and will make no assignment, of any claim, chose in action, right of action, or
                                                                            24   any right, of any kind whatsoever, within the scope of the City Released Claims,
                                                                            25   and that no other person or entity of any kind had or has any interest in any of the
                                                                            26   demands, obligations, actions, causes of action, debts, liabilities, rights, contracts,
                                                                            27   damages, attorneys' fees, costs, expenses, losses, or claims within the scope of the
                                                                            28   City Released Claims.

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                                                                             1   14.   Dismissal of the Action
                                                                             2         Upon approval of this Agreement by the City Council and Mayor, which
                                                                             3   approvals are required for this Agreement to be final and binding, and after
                                                                             4   execution of this Agreement by all Parties and their respective counsel, Plaintiffs
                                                                             5   and the City shall jointly file a Stipulated Order of Dismissal, to which this
                                                                             6   Agreement will be attached as Exhibit 1. At the conclusion of the Court’s
                                                                             7   retained jurisdiction, subject to the City’s compliance, Plaintiffs will take all
                                                                             8   additional actions and file all additional documents to effectuate dismissal of the
                                                                             9   Action as to the City with prejudice, if necessary.
                                                                            10   15.   Settlement Payments and Attorneys’ Fees
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                                                                            11         This City shall pay a total amount of $1,800,000, which shall be inclusive
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                                                                            12   of all claims for damages, attorneys’ fees, and/or costs claimed by Plaintiffs in
                                      LOS ANGELES, CA 90025




                                                                            13   the action.3 Such payment shall be made to the Spertus, Landes, & Umhofer,
                                                                            14   LLP, attorney-client trust account for distribution by Spertus, Landes, &
                                                                            15   Umhofer, LLP, as approved by Plaintiffs. The Parties agree that nothing in this
                                                                            16   Agreement, including the City’s payment of $1,800,000, will affect the Plaintiffs’
                                                                            17   right to pursue all damages, costs, and attorney’s fees from the County or any
                                                                            18   other party other than the City. Should the County ever seek contribution from
                                                                            19   the City for fees, costs, or damages awarded against the County through the date
                                                                            20   on which the order as entered, such contribution claims are solely between the
                                                                            21   City and the County and do not affect the terms of this Agreement nor involve
                                                                            22   Plaintiffs in any manner. Plaintiffs agree not to oppose any motion by the City
                                                                            23   for a good faith settlement determination from the Court that may extinguish the
                                                                            24   County’s potential claims for contribution from the City.
                                                                            25
                                                                            26
                                                                            27
                                                                                 3
                                                                                  Plaintiff Gary Whitter is not participating in this Agreement. LA Alliance for
                                                                                 Human Rights agrees to indemnify the City against any damages, attorneys’ fees,
                                                                            28   and/or costs incurred by the City in the event Plaintiff Whitter pursues his claims
                                                                                 against the City.

                                                                                                                    15
                                                                                                           SETTLEMENT AGREEMENT
                                                                                                                                                                       ER 361
                                                                            Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 413 of 1079

                                                                       Case 2:20-cv-02291-DOC-KES Document 429-1 Filed 05/24/22 Page 21 of 28 Page ID
                                                                                                        #:12002


                                                                             1   16.   Non-Admission of Liability
                                                                             2         By entering into this Agreement, the City does not admit any liability, and
                                                                             3   explicitly denies any liability or wrongdoing of any kind arising out of or relating
                                                                             4   to any of the claims alleged in the Action. Nothing herein constitutes an
                                                                             5   admission by the Parties as to any interpretation of laws, or as to the merits,
                                                                             6   validity, or accuracy of any of the claims or legal contentions made or which
                                                                             7   could be made in the Action. Plaintiffs and the City have entered into this
                                                                             8   Agreement solely to avoid the time, expense, and risk of litigation. The Parties
                                                                             9   agree that an express condition of this settlement is that there has been no finding
                                                                            10   of liability on the merits, and that this settlement and any document related to this
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   settlement, including this Agreement and Order, and the confidential negotiations
Spertus, Landes & Umhofer, LLP
                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12   leading up to this settlement, shall be inadmissible in evidence and shall not be
                                      LOS ANGELES, CA 90025




                                                                            13   used for any purpose in this or any other proceeding except in an action or
                                                                            14   proceeding to approve, interpret, implement, or enforce the Agreement.
                                                                            15   17.   Knowing and Voluntary Agreement
                                                                            16         This Agreement is an important legal document that has been voluntarily
                                                                            17   and knowingly executed by the Parties. The Parties, and each of them,
                                                                            18   specifically represent that, prior to signing this Agreement, (a) they have each
                                                                            19   been provided a reasonable period of time within which to consider whether to
                                                                            20   accept this Agreement, (b) they have each carefully read and fully understand all
                                                                            21   of the provisions of this Agreement, and (c) they are voluntarily, knowingly, and
                                                                            22   without coercion entering into this Agreement based upon their own judgment.
                                                                            23   Plaintiffs, and each of them, further specifically represent that, prior to signing
                                                                            24   this Agreement, they have conferred with counsel of their choice to the extent
                                                                            25   desired concerning the legal effect of this Agreement, and that the legal effect of
                                                                            26   this Agreement has been adequately explained to them.
                                                                            27
                                                                            28

                                                                                                                    16
                                                                                                           SETTLEMENT AGREEMENT
                                                                                                                                                                        ER 362
                                                                            Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 414 of 1079

                                                                       Case 2:20-cv-02291-DOC-KES Document 429-1 Filed 05/24/22 Page 22 of 28 Page ID
                                                                                                        #:12003


                                                                             1   18.   Entire Agreement; No Other Reliance
                                                                             2         This Agreement constitutes the entire agreement between the Plaintiffs and
                                                                             3   the City regarding the subject matter discussed hereof and supersedes any and all
                                                                             4   other agreements, understandings, negotiations, or discussions, either oral or in
                                                                             5   writing, express or implied, between or among the Parties relating to the subject
                                                                             6   matter hereof. The Parties acknowledge that no representations, inducements,
                                                                             7   promises, agreements, or warranties, oral or otherwise, have been made by them,
                                                                             8   or anyone acting on their behalf, which are not embodied in the Agreement, that
                                                                             9   they have not executed this Agreement in reliance on any such representation,
                                                                            10   inducement, promise, agreement, or warranty, and that no representation,
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   inducement, promise, agreement, or warranty not contained in this Agreement
Spertus, Landes & Umhofer, LLP
                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12   including, but not limited to, any purported supplements, modifications, waivers,
                                      LOS ANGELES, CA 90025




                                                                            13   or terminations of this Agreement, shall be valid or binding, unless executed in
                                                                            14   writing by all of the Parties to this Agreement. Any alteration, change, or
                                                                            15   modification of or to this Agreement shall be made by written instrument
                                                                            16   executed by each party hereto in order to become effective.
                                                                            17   19.   Warranty of Authority
                                                                            18         Each individual or entity that executes this Agreement represents and
                                                                            19   warrants, in his, her, or its personal capacity, that he, she, or it is duly authorized
                                                                            20   and empowered to enter into this Agreement on behalf of the party it purports to
                                                                            21   represent.
                                                                            22   20.   Counterparts
                                                                            23         This Agreement may be executed in multiple counterparts, each of which
                                                                            24   shall be considered an original but all of which shall constitute one agreement.
                                                                            25   21.   Representation by Counsel and Understanding
                                                                            26         The Parties acknowledge that each of them has been represented in the
                                                                            27   settlement of the matter by its own counsel and represent that each of them has
                                                                            28   received independent legal advice from their respective attorneys and has been

                                                                                                                    17
                                                                                                           SETTLEMENT AGREEMENT
                                                                                                                                                                           ER 363
   Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 415 of 1079

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                                 #:12004




                                                                                 ER 364
                                                                                  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 416 of 1079

                                                                        Case 2:20-cv-02291-DOC-KES Document 429-1 Filed 05/24/22 Page 24 of 28 Page ID
                                                                                                         #:12005


                                                                                   1          05-19-2022
                                                                                       DATED:_______________              ___________________________
                                                                                   2                                       Plaintiff Joseph Burk
                                                                                   3
                                                                                   4   DATED:_______________              ___________________________
                                                                                   5                                       Plaintiff George Frem
                                                                                   6
                                                                                   7   DATED:_______________              ___________________________
                                                                                   8                                       Plaintiff Wenzial Jarrell
                                                                                   9
                                                                                  10   DATED:_______________              ___________________________
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  11                                       Plaintiff Charles Malow
Spertus, Landes & Umhofer, LLP




                                                                                  12
                                         1990 SOUTH BUNDY DR., SUITE 705
                                             LOS ANGELES, CA 90025




                                                                                  13   DATED:_______________              ___________________________
                                                                                  14                                       Plaintiff Karyn Pinsky
                                                                                  15
                                                                                  16   DATED:_______________              ___________________________
                                                                                  17                                       Plaintiff Leandro Suarez
                                                                                  18
                                                                                  19   DATED:_______________              ___________________________
                                                                                  20                                       Plaintiff Harry Tashdjian
                                                                                  21
                                                                                  22   DATED:_______________              ___________________________
                                                                                  23                                       Plaintiff Charles Van Scoy
                                                                                  24
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                                                                                                              SETTLEMENT AGREEMENT
                                                                                                                                                              ER 365
6, 05/11/2023, ID: 12714476, DktEntry: 1-2, Pa

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                  #:12006




                                 ER 366
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                                 #:12007




                  05-19-22




                                                                                 ER 367
   Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 419 of 1079

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                                 #:12008




                                                                                 ER 368
                                                                                  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 420 of 1079

                                                                        Case 2:20-cv-02291-DOC-KES Document 429-1 Filed 05/24/22 Page 28 of 28 Page ID
                                                                                                         #:12009


                                                                                   1   DATED: May 19, 2022         MATTHEW W. SZABO
                                                                                   2
                                                                                   3                               By: __________________________
                                                                                   4                               City Administrative Officer, City of Los Angeles
                                                                                       Approved as to Form:
                                                                                   5
                                                                                   6   DATED: May 19, 2022         SPERTUS, LANDES & UMHOFER, LLP
                                                                                   7
                                                                                                                   By: __________________________
                                                                                   8
                                                                                                                   Elizabeth A. Mitchell
                                                                                   9                               Counsel for Plaintiffs LA Alliance for Human
                                                                                                                   Rights, et al.
                                                                                  10
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  11
Spertus, Landes & Umhofer, LLP




                                                                                       DATED: May 19, 2022         MICHAEL N. FEUER, City Attorney
                                         1990 SOUTH BUNDY DR., SUITE 705




                                                                                  12
                                                                                                                          Scott Marcus
                                             LOS ANGELES, CA 90025




                                                                                  13                               By: __________________________
                                                                                  14                               Scott Marcus, Chief Assistant City Attorney
                                                                                                                   Counsel for Defendant City of Los Angeles
                                                                                  15
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                                                                                                              SETTLEMENT AGREEMENT
                                                                                                                                                                  ER 369
                                                                                 Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 421 of 1079

                                                            Case 2:20-cv-02291-DOC-KES Document 421 Filed 05/19/22 Page 1 of 2 Page ID #:11885



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                                                                             3    Los Angeles, California 90017
                                                                                  Telephone: (213) 205-6520
                                                                             4    Facsimile: (213) 205-6521
                                                                                  Email: mumhofer@spertuslaw.com
                                                                             5    Email: emitchell@spertuslaw.com
                                                                             6    Attorneys for Plaintiffs
                                                                             7    MICHAEL N. FEUER, City Attorney (SBN 111529)
                                                                                  SCOTT MARCUS, Chief Assistant City Attorney (SBN 184980)
                                                                             8    ARLENE N. HOANG, Deputy City Attorney (SBN 193395)
                                                                                  JESSICA MARIANI, Deputy City Attorney (SBN 280748)
                                                                             9    RYAN SALSIG, Deputy City Attorney (SBN         250830)
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                                                                            11    Facsimile: 213-978-7011
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                                                                                  Email: Scott.Marcus@lacity.org
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                                                                            12
                                      LOS ANGELES. CA 90025




                                                                                  Attorneys for Defendant
                                                                            13    CITY OF LOS ANGELES
                                                                            14
                                                                            15                               UNITED STATES DISTRICT COURT
                                                                            16                           CENTRAL DISTRICT OF CALIFORNIA
                                                                            17
                                                                            18      LA ALLIANCE FOR HUMAN                    CASE NO. 2:20-CV-02291-DOC-KES
                                                                                    RIGHTS, et al.,
                                                                            19
                                                                                                 Plaintiffs,                 Assigned to Judge David O. Carter
                                                                            20
                                                                                          v.
                                                                            21                                               NOTICE OF LODGING
                                                                                    CITY OF LOS ANGELES, et al.,             [PROPOSED] STIPULATED ORDER
                                                                            22                                               OF DISMISSAL AS TO
                                                                                                                             DEFENDANT CITY OF LOS
                                                                            23                   Defendants.                 ANGELES ONLY [Fed.R.Civ.P.
                                                                                                                             41(a)(2)]
                                                                            24
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                                                                                                                         1
                                                                                   NOTICE OF LODGING [PROPOSED] STIPULATED ORDER OF DISMISSAL AS
                                                                                     TO DEFENDANT CITY OF LOS ANGELES ONLY [Fed.R.Civ.P. 41(a)(2)]
                                                                                                                                                                 ER 370
                                                                                 Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 422 of 1079

                                                            Case 2:20-cv-02291-DOC-KES Document 421 Filed 05/19/22 Page 2 of 2 Page ID #:11886



                                                                             1          TO THE COURT AND TO ALL PARTIES AND THEIR ATTORNEYS OF
                                                                             2    RECORD:
                                                                             3          PLEASE TAKE NOTICE that pursuant to L.R. 5-4.4 and Rule 41(a)(2) of the
                                                                             4    Federal Rules of Civil Procedure, Plaintiffs LA Alliance for Human Rights, et al.,
                                                                             5    and Defendant City of Los Angeles hereby lodge for the Court’s signature a
                                                                             6    [Proposed] Stipulated Order of Dismissal as to Defendant City of Los Angeles only.
                                                                             7    DATED: May 19, 2022              Respectfully submitted,
                                                                             8
                                                                                                                   /s/ Elizabeth A. Mitchell
                                                                             9                                     SPERTUS, LANDES & UMHOFER, LLP
                                                                                                                   Matthew Donald Umhofer
                                                                            10                                     Elizabeth A. Mitchell
                                                                                                                   Attorneys for Plaintiffs
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11
Spertus, Landes & Umhofer, LLP
                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12    DATED: May 19, 2022              MICHAEL N. FEUER, City Attorney
                                      LOS ANGELES. CA 90025




                                                                                                                   SCOTT MARCUS, Chief Assistant City Attorney
                                                                            13                                     ARLENE N. HOANG, Deputy City Attorney
                                                                                                                   JESSICA MARIANI, Deputy City Attorney
                                                                            14                                     RYAN SALSIG, Deputy City Attorney
                                                                            15
                                                                                                                   By: /s/ Scott Marcus
                                                                            16                                     Scott Marcus, Chief Assistant City Attorney
                                                                            17                                     Counsel for Defendant City of Los Angeles

                                                                            18    Pursuant to L.R. 5-4.3.4(a)(2)(i), all other signatories listed, and on whose behalf the
                                                                            19    filing is submitted, concur in the filing’s content and have authorized the filing.
                                                                            20
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                                                                                   NOTICE OF LODGING [PROPOSED] STIPULATED ORDER OF DISMISSAL AS
                                                                                     TO DEFENDANT CITY OF LOS ANGELES ONLY [Fed.R.Civ.P. 41(a)(2)]
                                                        11




                                                                                                                                                                        ER 371
                                                                                 Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 423 of 1079

                                                                            Case 2:20-cv-02291-DOC-KES Document 421-1 Filed 05/19/22 Page 1 of 27 Page ID
                                                                                                             #:11887


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                                                                             4    Facsimile: (213) 205-6521
                                                                                  Email: mumhofer@spertuslaw.com
                                                                             5    Email: emitchell@spertuslaw.com
                                                                             6    Attorneys for Plaintiffs
                                                                             7    MICHAEL N. FEUER, City Attorney (SBN 111529)
                                                                                  SCOTT MARCUS, Chief Assistant City Attorney (SBN 184980)
                                                                             8    ARLENE N. HOANG, Deputy City Attorney (SBN 193395)
                                                                                  JESSICA MARIANI, Deputy City Attorney (SBN 280748)
                                                                             9    RYAN SALSIG, Deputy City Attorney (SBN         250830)
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                                                                                  Email: Scott.Marcus@lacity.org
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                                                                            12
                                      LOS ANGELES. CA 90025




                                                                                  Attorneys for Defendant
                                                                            13    CITY OF LOS ANGELES
                                                                            14
                                                                            15                               UNITED STATES DISTRICT COURT
                                                                            16                           CENTRAL DISTRICT OF CALIFORNIA
                                                                            17
                                                                            18      LA ALLIANCE FOR HUMAN                    CASE NO. 2:20-CV-02291-DOC-KES
                                                                                    RIGHTS, et al.,
                                                                            19
                                                                                                 Plaintiffs,                 Assigned to Judge David O. Carter
                                                                            20
                                                                                          v.
                                                                            21                                               [PROPOSED] STIPULATED
                                                                                    CITY OF LOS ANGELES, et al.,             ORDER OF DISMISSAL AS TO
                                                                            22                                               DEFENDANT CITY OF LOS
                                                                                                                             ANGELES ONLY [Fed.R.Civ.P.
                                                                            23                   Defendants.                 41(a)(2)]
                                                                            24
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                                                                                                                         1
                                                                                   [PROPOSED] STIPULATED ORDER OF DISMISSAL AS TO DEFENDANT CITY
                                                                                               OF LOS ANGELES ONLY [Fed.R.Civ.P. 41(a)(2)]
                                                                                                                                                                 ER 372
                                                                                 Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 424 of 1079

                                                                            Case 2:20-cv-02291-DOC-KES Document 421-1 Filed 05/19/22 Page 2 of 27 Page ID
                                                                                                             #:11888


                                                                             1          On March 10, 2020, Plaintiff LA Alliance for Human Rights, et al. filed the
                                                                             2    above-captioned against the City of Los Angeles (“City”) and the County of Los
                                                                             3    Angeles (“County”) [ECF No. 1]. On November 1, 2021, Plaintiffs LA Alliance for
                                                                             4    Human Rights, Joseph Burk, Harry Tashdjian, Wenzial Jarrell, Karen Pinsky, Charles
                                                                             5    Malow, Charles van Scoy, George Frem, Gary Whitter, and Leandro Suarez
                                                                             6    (collectively “Plaintiffs”) filed a First Amended and Supplemental Complaint against
                                                                             7    the City and the County (“FASC”) [ECF No. 361].
                                                                             8          In the FASC, Plaintiffs alleged thirteen separate claims for relief concerning
                                                                             9    the City and County’s handling of the homelessness crisis, and contended the City
                                                                            10    and County violated, among other things, the Due Process and Equal Protection
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11    Clauses of the United State Constitution, the State Created Danger doctrine, state and
Spertus, Landes & Umhofer, LLP
                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12    federal disability laws, were negligent, created nuisances, and engaged in inverse
                                      LOS ANGELES. CA 90025




                                                                            13    condemnation and takings of real property. Id. The City and County each separately
                                                                            14    filed a motion to dismiss the FASC [ECF No. 369, 370], which were taken under
                                                                            15    submission on January 24, 2022, and all parties were Ordered to participate in a
                                                                            16    mediation [ECF Nos. 388, 391].
                                                                            17          Following extensive discussions and multiple mediation sessions, Plaintiffs 1
                                                                            18    and the City reached a settlement resolving the disputed claims in this Action as to
                                                                            19    the City only. A copy of the executed Settlement Agreement between Plaintiffs and
                                                                            20    the City (“Settlement Agreement”) is attached hereto as Exhibit 1, the terms of which
                                                                            21    are expressly incorporated herein by reference.
                                                                            22          NOW THEREFORE, pursuant to Federal Rule of Civil Procedure 41(a)(2), and
                                                                            23    good cause appearing therefore, the Court HEREBY ORDERS AND DECREES the
                                                                            24    following:
                                                                            25          1.       The Court expressly incorporates all of the terms of the Settlement
                                                                            26    Agreement, attached as Exhibit 1, into this Order.
                                                                            27
                                                                            28
                                                                                        1
                                                                                            Plaintiff Gary Whitter is not participating in this agreement.
                                                                                                                               2
                                                                                  [PROPOSED] STIPULATED ORDER OF DISMISSAL AS TO DEFENDANT CITY
                                                                                              OF LOS ANGELES ONLY [Fed.R.Civ.P. 41(a)(2)]
                                                                                                                                                                         ER 373
                                                                                 Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 425 of 1079

                                                                            Case 2:20-cv-02291-DOC-KES Document 421-1 Filed 05/19/22 Page 3 of 27 Page ID
                                                                                                             #:11889


                                                                             1          2.     The Court expressly retains exclusive jurisdiction for a period of five (5)
                                                                             2    years from the date of this Order to enforce the Settlement Agreement, and to resolve
                                                                             3    any future disputes regarding interpretation, performance, or enforcement of the
                                                                             4    Agreement. See Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 381 (1994);
                                                                             5    Flanagan v. Arnaiz, 143 F.3d 540, 544 (9th Cir. 1998).
                                                                             6          3.     Except as expressly provided otherwise in the Settlement Agreement,
                                                                             7    Plaintiffs and the City shall bear their own fees and costs in this Action.
                                                                             8          4.     Plaintiffs’ claims against the City only, as alleged in the First Amended
                                                                             9    and Supplemental Complaint are hereby dismissed with prejudice as to the City only.
                                                                            10    This Action shall proceed against the County and no claims alleged by Plaintiff Gary
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11    Whitter are dismissed by this Order.
Spertus, Landes & Umhofer, LLP
                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12
                                      LOS ANGELES. CA 90025




                                                                            13                 IT IS SO ORDERED.
                                                                            14
                                                                            15    Dated: May ___ 2022                             ______________________________
                                                                                                                                  Hon. David O. Carter,
                                                                            16
                                                                                                                                  United States District Judge
                                                                            17
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                                                                                  [PROPOSED] STIPULATED ORDER OF DISMISSAL AS TO DEFENDANT CITY
                                                                                              OF LOS ANGELES ONLY [Fed.R.Civ.P. 41(a)(2)]
                                                                                                                                                                        ER 374
                                                                                        Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 426 of 1079

                                                                                   Case 2:20-cv-02291-DOC-KES Document 421-1 Filed 05/19/22 Page 4 of 27 Page ID
                                                                                                                    #:11890


                                                                                    1    APPROVED AS TO FORM.
                                                                                    2    DATED: May 19, 2022              Respectfully submitted,
                                                                                    3
                                                                                                                          /s/ Elizabeth A. Mitchell
                                                                                    4                                     SPERTUS, LANDES & UMHOFER, LLP
                                                                                                                          Matthew Donald Umhofer
                                                                                    5                                     Elizabeth A. Mitchell
                                                                                    6                                     Attorneys for Plaintiffs

                                                                                    7    DATED: May 19, 2022              MICHAEL N. FEUER, City Attorney
                                                                                                                          SCOTT MARCUS, Chief Assistant City Attorney
                                                                                    8                                     ARLENE N. HOANG, Deputy City Attorney
                                                                                                                          JESSICA MARIANI, Deputy City Attorney
                                                                                    9                                     RYAN SALSIG, Deputy City Attorney
                                                                                   10
                                                                                                                          By: /s/ Scott Marcus_______________
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                   11                                     Scott Marcus, Chief Assistant City Attorney
Spertus, Landes & Umhofer, LLP




                                                                                                                          Counsel for Defendant City of Los Angeles
                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                                   12
                                      LOS ANGELES. CA 90025




                                                                                   13    Pursuant to L.R. 5-4.3.4(a)(2)(i), all other signatories listed, and on whose behalf the
                                                                                   14    filing is submitted, concur in the filing’s content and have authorized the filing.
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                                                826-4700; FACSIMILE 310-826-4711




                                                                                   27
Landes & Umhofer, LLP




                                                                                   28
                           OUTH BUNDY DR., SUITE 705
                                                S ANGELES. CA 90025




                                                                                                                                     4
                                                                                         [PROPOSED] STIPULATED ORDER OF DISMISSAL AS TO DEFENDANT CITY
                                                                                                     OF LOS ANGELES ONLY [Fed.R.Civ.P. 41(a)(2)]
                                                                                                                                                                                ER 375
     Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 427 of 1079




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                                 #:11891




                         Exhibit 1
                                                                                 ER 376
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                                                                                  1                             SETTLEMENT AGREEMENT
                                                                                  2          This Settlement Agreement is entered into by and between the following
                                                                                  3    Parties:
                                                                                  4          1)     Plaintiffs LA Alliance for Human Rights, Joseph Burk, Harry
                                                                                  5    Tashdjian, Wenzial Jarrell, Karyn Pinsky, Charles Malow, Charles Van Scoy,
                                                                                  6    George Frem, and Leandro Suarez (“Plaintiffs”); and
                                                                                  7          2)     Defendant City of Los Angeles (“City”).
                                                                                  8                                        RECITALS
                                                                                  9          WHEREAS, Plaintiffs filed a Complaint on March 10, 2020 in the Central
                                                                                  10   District of California, Case No. Case 2:20-cv-02291-DOC-KES (the “Action”)
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  11   naming the City and the County of Los Angeles (the “County”) as co-defendants
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                                                                                  12   in fourteen separate claims, including three that allege violations of 42 U.S.C.
                                             LOS ANGELES, CA 90025




                                                                                  13   § 1983, concerning the City and County’s handling of the homelessness crisis,
                                                                                  14   and contended the City and County violated, among other things, the Due Process
                                                                                  15   and Equal Protection Clauses of the United State Constitution, the State Created
                                                                                  16   Danger doctrine, state and federal disability laws, were negligent, created or
                                                                                  17   maintained nuisances, and engaged in inverse condemnation and takings of real
                                                                                  18   property;
                                                                                  19         WHEREAS, the City expressly denies all claims alleged in the Action (and
                                                                                  20   did so via a motion to dismiss), and further denies that the City and any of its
                                                                                  21   officers, employees, or agents violated any laws, committed any wrongful acts or
                                                                                  22   omissions, or are liable to the Plaintiffs as alleged in the Action;
                                                                                  23         WHEREAS, on April 20, 2021, the District Court entered a preliminary
                                                                                  24   injunction against the City and County, ordering, among other things, the City to
                                                                                  25   escrow $1 billion, cease any sales, transfers or leases of City-owned properties,
                                                                                  26   shelter all residents of Skid Row, and prepare numerous audits and reports;
                                                                                  27         WHEREAS, on October 15, 2021, the United States Court of Appeals for
                                                                                  28   the Ninth Circuit vacated the injunction issued by the District Court;

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                                                                                  1          WHEREAS, on November 1, 2021, Plaintiffs filed a First Amended and
                                                                                  2    Supplemental Complaint, the allegations and claims within which the City also
                                                                                  3    expressly denies, and has filed a motion to dismiss them;
                                                                                  4          WHEREAS, the Plaintiffs and the City desire to fully and finally
                                                                                  5    compromise and settle all claims arising out of or relating to all matters alleged or
                                                                                  6    that could have been alleged in the Action with respect to the Parties, without any
                                                                                  7    admission of fault, liability, or wrongdoing, in the interests of avoiding the
                                                                                  8    additional expense and the inherent uncertainties of protracted litigation upon the
                                                                                  9    terms and conditions set forth in this Agreement; and
                                                                                  10         WHEREAS, the purpose of this Agreement is to substantially increase the
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                                                                                  11   number of housing and shelter opportunities in the City of Los Angeles, and to
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                                                                                  12   address the needs of everyone who shares public spaces and rights of way in the
                                             LOS ANGELES, CA 90025




                                                                                  13   City of Los Angeles, including both housed and unhoused Angelenos, to achieve
                                                                                  14   a substantial and meaningful reduction in unsheltered homelessness in the City of
                                                                                  15   Los Angeles.
                                                                                  16                                         TERMS
                                                                                  17   1.    Definitions
                                                                                  18         1.1.   Agreement. The term “Agreement” as used herein shall refer to this
                                                                                  19   Settlement Agreement and all associated documents, including all necessary
                                                                                  20   orders and stipulations referred to herein.
                                                                                  21         1.2.   LAHSA. “LAHSA” as used herein shall mean and refer to the Los
                                                                                  22   Angeles Homeless Services Authority.
                                                                                  23         1.3.   PEH. “PEH” as used herein shall mean persons experiencing
                                                                                  24   homelessness.
                                                                                  25         1.4.   City Shelter Appropriate. The term “City Shelter Appropriate” as
                                                                                  26   used herein shall include any PEH within the City whom the City can reasonably
                                                                                  27   assist, meaning the individual:
                                                                                  28                (A)    does not have a severe mental illness, and/or

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                                                                                  1                   (B)   is not chronically homeless and has
                                                                                  2                         (i)    a substance use disorder, or
                                                                                  3                         (ii)   a chronic physical illness or disability requiring the
                                                                                  4                                need for professional medical care and support,
                                                                                  5                   such that the individual (a) is unable to perform activities of
                                                                                  6           daily living, including bathing, dressing, grooming, toileting,
                                                                                  7           transferring between bed and chair, and feeding oneself, and/or (b)
                                                                                  8           lacks medical and/or mental health care decision-making capacity,
                                                                                  9           and/or (c) is a danger to themselves or others.
                                                                                  10
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                                                                                  11         PEH who meet the definition of City Shelter Appropriate are typically, but
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                                                                                  12   not always, those with low- or medium-acuity needs according to accepted
                                             LOS ANGELES, CA 90025




                                                                                  13   industry standards, including, but not limited to, through the use of an assessment
                                                                                  14   tool, such as the Vulnerability Index-Service Prioritization Decision Assistance
                                                                                  15   Tool (VI-SPDAT) or other similar assessment tool such as the CES Survey
                                                                                  16   Packet or Next Step Tool as evaluated by a qualified outreach or clinical staff
                                                                                  17   member.
                                                                                  18         The City will use its best efforts to engage the appropriate County entity,
                                                                                  19   including, but not limited to, the Department of Mental Health (DMH),
                                                                                  20   Department of Health Services (DHS), Department of Public Social Services
                                                                                  21   (DPSS), or Department of Public Health (DPH), for intervention, treatment,
                                                                                  22   services, and/or housing as appropriate for PEH who are not City Shelter
                                                                                  23   Appropriate.
                                                                                  24         Moreover, the fact that an individual meets the criteria of “high acuity”
                                                                                  25   according to accepted industry standards, has a severe mental illness, substance
                                                                                  26   use disorder, chronic physical illness or disability, or otherwise is not included in
                                                                                  27   the definition of City Shelter Appropriate, will not preclude the City from making
                                                                                  28

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                                                                                  1    an offer of shelter or housing to that individual if the City can reasonably assist
                                                                                  2    that individual.
                                                                                  3          1.5.     Parties. The word “Parties” as used herein shall refer only to the
                                                                                  4    parties to this Agreement, specifically the City of Los Angeles and Plaintiffs.
                                                                                  5    The word “Parties” shall not refer to any individual or entity that is not a party to
                                                                                  6    this agreement. The County of Los Angeles and Intervenors are not Parties to this
                                                                                  7    Agreement at this time, but may be added with written consent from the Parties.
                                                                                  8          1.6.     Required Number. The term “Required Number” as used herein is
                                                                                  9    the number of housing or shelter solutions which is equal to the shelter and/or
                                                                                  10   housing capacity needed to accommodate sixty percent (60%) of unsheltered City
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                                                                                  11   Shelter Appropriate PEH in the City based on LAHSA’s 2022 Point in Time
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                                                                                  12   (PIT) Count.
                                             LOS ANGELES, CA 90025




                                                                                  13   2.    Term and Continuing Jurisdiction
                                                                                  14         The Parties agree that the duration of the Agreement shall be five (5) years,
                                                                                  15   during which point the Court shall have continuing jurisdiction to oversee and
                                                                                  16   enforce this Settlement Agreement. The obligations of the Parties in the
                                                                                  17   remaining sections of this Agreement, and the releases contained herein, shall
                                                                                  18   become effective and operative on the date(s) on which the respective Order
                                                                                  19   approving this Agreement and dismissing the Action (“Order”) is fully executed
                                                                                  20   and entered by the Court, and shall be contingent upon the Court’s executing and
                                                                                  21   entry of the Order. The Parties acknowledge that the Court may, in its sole
                                                                                  22   discretion, appoint one or more Special Masters to assist the Court in overseeing
                                                                                  23   and enforcing this Agreement. If the Order is not executed and entered, this
                                                                                  24
                                                                                  25   1
                                                                                        LAHSA’s 2022 PIT Count is still in progress. Once the 2022 PIT Count is
                                                                                  26   confirmed by LAHSA and released, Defendant City will calculate the number of
                                                                                       housing and shelter solutions needed to accommodate 60% of unsheltered City
                                                                                  27   Shelter Appropriate PEH in the City and submit a report setting forth the
                                                                                       Required Number under Section 2 and Milestones and Deadlines under Section 4.
                                                                                  28   The Parties may submit a revised Agreement that includes the specific Required
                                                                                       Number and Milestones and Deadlines.

                                                                                                                            4
                                                                                                                  SETTLEMENT AGREEMENT
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                                                                                  1    Agreement shall not become operative, and this litigation shall continue as if the
                                                                                  2    proposed Agreement and its terms never existed.
                                                                                  3    3.     Housing and Shelter for City Shelter Appropriate Individuals
                                                                                  4           3.1.   The City agrees to create a Required Number of housing or shelter
                                                                                  5    solutions, which is equal to, but (in the City’s discretion) may be greater than, the
                                                                                  6    shelter and/or housing capacity needed to accommodate sixty percent (60%) of
                                                                                  7    unsheltered City Shelter Appropriate PEH within the City based on LAHSA’s
                                                                                  8    2022 Point in Time count.
                                                                                  9           3.2.   Subject to Constitutional requirements and legal mandates, the City
                                                                                  10   may choose, at its sole discretion, any housing or shelter solution, including but
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                                                                                  11   not limited to tiny homes, shared housing, purchased or master-leased
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                                                                                  12   apartments, hotels/motels, or other buildings, congregate shelters, permanent
                                             LOS ANGELES, CA 90025




                                                                                  13   supportive housing, rental assistance/rapid rehousing, family reunification,
                                                                                  14   sprung structures or tents, safe parking, safe sleeping/camping, affordable
                                                                                  15   housing, and interim housing (including A Bridge Home beds), as long as the
                                                                                  16   Milestones are met. The housing or shelter solutions may be government- and/or
                                                                                  17   privately-funded as long as each offer is adequate for the individual.
                                                                                  18   Accommodations shall be made for those who qualify as disabled under the
                                                                                  19   Americans with Disabilities Act.
                                                                                  20          3.3.   City agrees to implement an approach of equitably distributing
                                                                                  21   housing and shelter solutions throughout the City. The Required Number and
                                                                                  22   60% threshold is the minimum required by the Agreement, and the City is
                                                                                  23   encouraged to and may provide (at its sole discretion) incentives and/or benefits
                                                                                  24   for Council Districts that create more housing or shelter solutions beyond those
                                                                                  25   required to accommodate 60% of the City Shelter Appropriate PEH in their
                                                                                  26   district.
                                                                                  27
                                                                                  28

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                                                                                                                SETTLEMENT AGREEMENT
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                                                                                  1    4.    Street Engagement
                                                                                  2          4.1.   City will continue to offer shelter or housing to City Shelter
                                                                                  3    Appropriate PEH within the City and enforce public space regulations and health
                                                                                  4    and safety laws consistent with its own protocol (Street Engagement Strategy)
                                                                                  5    and constitutional requirements. No enforcement of public space regulations
                                                                                  6    shall be taken against any individual unless that individual has first been offered
                                                                                  7    an opportunity for housing or shelter or to relocate consistent with applicable
                                                                                  8    laws. City reserves the right, in its sole discretion, to revise or amend its Street
                                                                                  9    Engagement Strategy, Los Angeles Municipal Code 41.18, or any similar
                                                                                  10   ordinance, regulation, or protocol consistent with applicable constitutional
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                                                                                  11   requirements and is consistent with and meets the requirements of terms of this
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                                                                                  12   Agreement.
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                                                                                  13         4.2.   Council District-wide Engagement
                                                                                  14         Once there are sufficient shelter or housing solutions to accommodate 60%
                                                                                  15   of unsheltered City Shelter Appropriate PEH in a Council District as determined
                                                                                  16   by the Required Number, the City, in its sole discretion, may implement and
                                                                                  17   enforce public space regulations and ordinances within that entire Council
                                                                                  18   District as to those individuals who refuse an offer of shelter or housing and/or
                                                                                  19   decline to move to an alternative location where they may legally reside. The
                                                                                  20   City must provide notice to the Plaintiffs of its intention to implement and
                                                                                  21   enforce District-wide. If a Party to this Agreement files a written objection with
                                                                                  22   the Court (or Special Master, if one is appointed by the Court for this purpose)
                                                                                  23   within five court days of the notice, the Court (or Special Master) shall schedule
                                                                                  24   a status conference to take place within court two days, or as soon as is
                                                                                  25   practicable, to resolve the objection. If no objection is filed, or if the Court (or
                                                                                  26   Special Master) resolves the objection in favor of the City, City may implement
                                                                                  27   and enforce public space regulations and ordinances throughout that District
                                                                                  28   consistent with this Agreement. Even after the City creates adequate and

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                                                                                  1    appropriate housing and shelter opportunities for 60% of unsheltered City Shelter
                                                                                  2    Appropriate PEH in a Council District, no enforcement action shall be taken
                                                                                  3    against any individual suspected of violating a public space regulation or
                                                                                  4    ordinance unless that individual has first been offered adequate and appropriate
                                                                                  5    shelter or housing and/or to relocate to an alternative location consistent with
                                                                                  6    applicable laws and this Agreement, except for time/manner/place regulations
                                                                                  7    (such as LAMC 41.18 or similar ordinances) which may be enforced immediately
                                                                                  8    and without such notice at any time.
                                                                                  9          4.3.   City-wide Engagement
                                                                                  10         Once there are sufficient shelter or housing solutions to accommodate 60%
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                                                                                  11   of unsheltered City Shelter Appropriate PEH in the City as determined by the
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                                                                                  12   Required Number, the City, in its sole discretion, may implement and enforce
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                                                                                  13   public space regulations and ordinances throughout the City as to individuals
                                                                                  14   who decline an offer of shelter or housing and/or decline to move to an
                                                                                  15   alternative location where they may legally reside. The City must provide notice
                                                                                  16   to the Plaintiffs of its intention to implement and enforce City-wide. If any Party
                                                                                  17   to this Agreement files a written objection with the Court (or Special Master, if
                                                                                  18   one is appointed by the Court for this purpose) within five court days of the
                                                                                  19   notice, the Court (or Special Master) shall schedule a status conference to take
                                                                                  20   place within two court days, or as soon as is practicable, to resolve the objection.
                                                                                  21   If no objection is filed, or if the Court (or Special Master) resolves the objection
                                                                                  22   in favor of City, City may implement and enforce public space regulations and
                                                                                  23   ordinances throughout the City, consistent with this Agreement. Even after the
                                                                                  24   City creates adequate and appropriate housing and shelter opportunities for 60%
                                                                                  25   of the number of unsheltered City Shelter Appropriate PEH within the City, no
                                                                                  26   enforcement action shall be taken against any individual suspected of violating a
                                                                                  27   public space regulation or ordinance unless that individual has first been offered
                                                                                  28   adequate and appropriate shelter or housing and/or to relocate to an alternative

                                                                                                                           7
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                                                                                  1    location consistent with applicable laws and this Agreement, except for
                                                                                  2    time/manner/place regulations (such as LAMC 41.18 or similar ordinances)
                                                                                  3    which may be enforced immediately and without such notice at any time.
                                                                                  4          4.4.   Nothing in this Agreement shall prohibit or prevent the City from
                                                                                  5    enforcing laws otherwise applicable in the City that are not inconsistent with this
                                                                                  6    Agreement.
                                                                                  7    5.    Milestones and Deadlines
                                                                                  8          5.1.   Within 30 days from the date information from the 2022 PIT Count
                                                                                  9    is confirmed by LAHSA and released, the City will calculate the Required
                                                                                  10   Number and provide its calculation with the Plaintiffs. The Parties agree to meet
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                                                                                  11   and confer in good faith to resolve any objections to the calculation of the
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                                                                                  12   Required Number raised by Plaintiffs. Any objection that cannot be resolved by
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                                                                                  13   the Parties may be heard by the Court if necessary.
                                                                                  14         5.2.   Thereafter the City will create plans and develop milestones and
                                                                                  15   deadlines for: (i) the City’s creation of shelter and housing solutions to
                                                                                  16   accommodate a minimum of 60% of unsheltered City Shelter Appropriate PEH
                                                                                  17   in each Council District as determined by the Required Number; (ii) the City’s
                                                                                  18   plan for encampment engagement, cleaning, and reduction in each Council
                                                                                  19   District; (iii) the City’s creation of shelter and/or housing to accommodate a
                                                                                  20   minimum of 60% of unsheltered City Shelter Appropriate PEH in the City as
                                                                                  21   determined by the Required Number; and (iv) the City’s plan for encampment
                                                                                  22   engagement, cleaning, and reduction in the City. The City will provide the plans,
                                                                                  23   milestones and deadlines to Plaintiffs, and the City and Plaintiffs agree to work
                                                                                  24   together in good faith to resolve any concerns or disputes about the plans,
                                                                                  25   milestones, and deadlines, and will consult with the Court for resolution, if
                                                                                  26   necessary. The City will provide a report setting forth the milestones and
                                                                                  27   deadlines. The Parties agree the City will promptly employ its best efforts to
                                                                                  28   comply with established plans, milestones, and deadlines.

                                                                                                                           8
                                                                                                                 SETTLEMENT AGREEMENT
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                                                                                  1    6.    Street Engagement Dispute Resolution Process
                                                                                  2          The Parties agree to design, in conjunction with the Court and/or Special
                                                                                  3    Master, a dispute resolution process for individuals who are subject to the City’s
                                                                                  4    Street Engagement Strategy in connection with the City’s performance of this
                                                                                  5    Agreement, pursuant to paragraph 4.
                                                                                  6    7.    Status Updates
                                                                                  7          7.1.   The City will provide quarterly status updates to the Court regarding
                                                                                  8    its progress with this Agreement, including the number of housing or shelter
                                                                                  9    opportunities created or otherwise obtained, the number of beds or opportunities
                                                                                  10   offered, and the number of beds or opportunities currently available in each
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                                                                                  11   Council District. The City will work with LAHSA to include in the quarterly
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                                                                                  12   status updates, to the extent possible: the number of PEH engaged, the number of
                                             LOS ANGELES, CA 90025




                                                                                  13   PEH who have accepted offers of shelter or housing, the number of PEH who
                                                                                  14   have rejected offers of shelter or housing and why offers were rejected, and the
                                                                                  15   number of encampments in each Council District.
                                                                                  16         7.2.   The Parties will engage a mutually agreed-upon third party to
                                                                                  17   provide data collection, analysis, comments, and regular public reports on the
                                                                                  18   City’s compliance with the terms of this Agreement. The City shall be
                                                                                  19   responsible for paying all fees, if any, or for obtaining grants or other private
                                                                                  20   funding, if needed.
                                                                                  21   8.    Funding
                                                                                  22         8.1.   Funding of housing and shelter opportunities created by the City
                                                                                  23   shall be at the City’s sole discretion. The City agrees to: (i) Petition county, state,
                                                                                  24   and federal government for additional funding, as may be available; (ii) Consider
                                                                                  25   expediting public/private partnerships that utilize private capital and which
                                                                                  26   require no up-front costs to the City; and (iii) Consider other possible funding
                                                                                  27   mechanisms to pay for future housing or shelter, facilities, and services solutions
                                                                                  28   for PEH.

                                                                                                                           9
                                                                                                                 SETTLEMENT AGREEMENT
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                                                                                  1          8.2.   In the event of fires, floods, earthquakes, epidemics, quarantine
                                                                                  2    restrictions, or other natural catastrophic occurrences; terrorist acts, insurrections
                                                                                  3    or other large scale civil disturbances; or any local or fiscal emergency declared
                                                                                  4    by the Mayor of Los Angeles and the Los Angeles City Council under the
                                                                                  5    authority vested in them by the Los Angeles City Charter and Los Angeles
                                                                                  6    Administrative Code (or other applicable ordinances, resolutions, or laws), the
                                                                                  7    obligations of the City as set forth in Sections 3, 4, and 5 of this Agreement shall
                                                                                  8    be paused, and the Parties agree to meet and confer on any necessary and
                                                                                  9    appropriate amendments to those obligations.
                                                                                  10   9.    County Obligations
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                                                                                  11         The Parties agree that Defendant County of Los Angeles, who is not a
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                                                                                  12   party to this Agreement, is obligated to provide certain services to all PEH in the
                                             LOS ANGELES, CA 90025




                                                                                  13   County, including PEH located within the City. The Parties agree to cooperate in
                                                                                  14   ensuring the County meets its obligations to provide adequate services to PEH
                                                                                  15   within the City, and in fostering County-developed or County-funded housing,
                                                                                  16   shelters, and treatment services for PEH who are not City Shelter Appropriate.
                                                                                  17   These County responsibilities include, but are not limited to:
                                                                                  18         ● Funding and providing wrap-around and supportive services 2 for PEH
                                                                                  19             in housing or shelter established by the City. Supportive services
                                                                                  20             funded and provided by the County will include, but not be limited to,
                                                                                  21             Department of Mental Health, Department of Health Services,
                                                                                  22             Department of Public Health, and Department of Public Social
                                                                                  23             Services, for intervention, services, and housing, as appropriate;
                                                                                  24
                                                                                  25
                                                                                  26
                                                                                       2
                                                                                         “Supportive services” as used herein refers to mental health and substance use
                                                                                       disorder treatment, and other services, including mainstream services, which are
                                                                                  27   traditionally funded by the County of Los Angeles. City agrees to ensure each
                                                                                       project will include case management, housing placement services, and
                                                                                  28   homelessness reduction assistance or will work with appropriate agencies to do
                                                                                       so.

                                                                                                                          10
                                                                                                                 SETTLEMENT AGREEMENT
                                                                                                                                                                                ER 386
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                                                                                   1        ● Providing housing and treatment services for all unsheltered PEH
                                                                                   2           within the City who are not City Shelter Appropriate;
                                                                                   3        ● Providing and funding the Intensive Case Management Services
                                                                                   4           (ICMS) and integrated health services necessary to ensure appropriate
                                                                                   5           medical, mental health, substance use, and other services and treatment
                                                                                   6           for permanent supportive units financed by the City;
                                                                                   7        ● Requiring that permanent supportive housing (PSH) placements into
                                                                                   8           units within City limits will prioritize PEH that are homeless in the City
                                                                                   9           first (consistent with applicable constitutional and statutory laws),
                                                                                  10           including units funded and operated by the County if they are within
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  11           City limits;
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                                                                                            ● Increasing to at least 34 (from 22; numbers based on what is currently
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                                                                                  12
                                             LOS ANGELES, CA 90025




                                                                                  13           required and could be subject to change after the 2022 PIT Count
                                                                                  14           results are released and analyzed) the number of Multi-Disciplinary
                                                                                  15           Teams (MDTs) dedicated to conducting outreach exclusively in the
                                                                                  16           City, allocating at least 1 team per Council District, coordinated by the
                                                                                  17           City’s outreach staff in the Office of the City Administrative Officer
                                                                                  18           (CAO) and/or the Unified Homelessness Response Center (UHRC);
                                                                                  19        ● Increasing to at least 10 (from 5.5; numbers based on what is currently
                                                                                  20           required and could be subject to change after the 2022 PIT Count
                                                                                  21           results are released and analyzed) the number of Homeless Outreach
                                                                                  22           and Mobile Engagement (HOME) teams dedicated to conducting
                                                                                  23           outreach exclusively in the City, allocating at least 1 team per two
                                                                                  24           Council Districts, coordinated by the CAO and/or UHRC;
                                                                                  25        ● Requiring outreach teams (including the increased number of teams
                                                                                  26           referenced above) have direct access to sufficient County-funded
                                                                                  27           licensed and unlicensed high service need beds necessary to provide
                                                                                  28           housing and treatment services for PEH in the City, and require that

                                                                                                                       11
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                                                                                  1             these beds will either be exclusively for use by, or prioritize use by,
                                                                                  2             PEH in the City. In order to effectuate this access, the County will, in
                                                                                  3             collaboration with LAHSA, County departments, and other relevant
                                                                                  4             agencies and partners, establish a centralized, County-wide bed
                                                                                  5             management system that is inclusive of all types of shelter, housing,
                                                                                  6             and care beds, and which will identify specific, available, and
                                                                                  7             appropriate high service need beds for PEH in the City;
                                                                                  8          ● Requiring a minimum of 50 mental health beds per 100,000 people in
                                                                                  9             the County, or more as necessary to ensure access to inpatient treatment
                                                                                  10            for PEH in the City and to prevent mentally ill individuals from falling
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  11            into homelessness due to lack of available inpatient treatment;
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                                                                                             ● Increasing the number of high acuity public health (SUD/detox/drug
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                                                                                  12
                                             LOS ANGELES, CA 90025




                                                                                  13            rehabilitation) beds to specified level, and priority access for PEH
                                                                                  14            regardless of the availability of insurance coverage;
                                                                                  15         ● Providing City-directed outreach teams with direct access to
                                                                                  16            Department of Mental Health, Department of Health Services,
                                                                                  17            Department of Public Social Services, and Department of Public Health
                                                                                  18            during outreach and other Street Engagement Strategy activities;
                                                                                  19         ● Identify and make available sufficient County-owned land to other
                                                                                  20            County jurisdictions, including City, for homeless housing on a $1 per
                                                                                  21            year lease and allowing by right development; and
                                                                                  22         ● Securing County commitment to prevention of inflow of new PEH in
                                                                                  23            the City of Los Angeles, including commitment to registering
                                                                                  24            individuals for SSI and Social Security, and other local (e.g., General
                                                                                  25            Relief), state, and federal entitlement programs.
                                                                                  26   10.   Affordable Housing
                                                                                  27         The Parties agree to cooperate to identify and reduce barriers to building
                                                                                  28   more affordable housing.

                                                                                                                         12
                                                                                                                SETTLEMENT AGREEMENT
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                                                                                  1    11.   No Third Party Beneficiaries
                                                                                  2          Notwithstanding anything in this Agreement to the contrary, there are no
                                                                                  3    intended third-party beneficiaries that may assert rights or defenses under this
                                                                                  4    Agreement, except the Parties to this Agreement.
                                                                                  5    12.   Modification By Judicial Action
                                                                                  6          If a court issues an order or judgment regarding the constitutionality of, or
                                                                                  7    the City’s ability to enforce, any law, code, ordinance, or regulation governing
                                                                                  8    public spaces in the City (including but not limited to LAMC § 41.18), or any
                                                                                  9    other part of this Agreement, and that order or judgment conflicts with or is
                                                                                  10   inconsistent with any part of the terms of this Agreement, the Parties agree that
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                                                                                  11   the conflicting or inconsistent part(s) of this Agreement shall no longer be in
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                                                                                  12   effect, but all other terms of this Agreement that are not inconsistent with the
                                             LOS ANGELES, CA 90025




                                                                                  13   order or judgment shall still remain in effect. In the event a Party asserts that an
                                                                                  14   order or judgment conflicts with or is inconsistent with a part of this Agreement,
                                                                                  15   the Party shall notify the other Parties in writing. If the Parties disagree as to
                                                                                  16   whether a conflict or inconsistency exists, the question of whether a conflict or
                                                                                  17   inconsistency exists shall be resolved according to Section 24 of this Agreement.
                                                                                  18   13.   Releases and Waiver of California Civil Code Section 1542
                                                                                  19         13.1. The undersigned Plaintiffs to this Agreement, each on behalf of
                                                                                  20   themselves, and their respective heirs, spouses, trustees, successors, assigns,
                                                                                  21   agents, representatives, attorneys, employees, officers, directors, shareholders,
                                                                                  22   members, managers, principals, partners, insurers, and predecessors do hereby
                                                                                  23   forever release, acquit, and discharge the City and all of its boards, bureaus,
                                                                                  24   departments, elected and appointed officials, administrators, officers, agents,
                                                                                  25   employees, and all persons that acted on behalf of the City (collectively the “City
                                                                                  26   Released Parties”) from any and all claims, demands, actions, causes of action,
                                                                                  27   suits, covenants, settlements, contracts, agreements, and liabilities for personal
                                                                                  28   injuries, property damage, loss, cost or expense of every nature whatsoever,

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                                                                                                                 SETTLEMENT AGREEMENT
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                                                                                  1    whether known or unknown, contingent or otherwise, at law or in equity, and
                                                                                  2    whether or not expected to exist which the undersigned Plaintiffs to this
                                                                                  3    Agreement had, have, or may have against the City Released Parties, and each of
                                                                                  4    them, that arise out of or are related to the Action, and any allegations, events,
                                                                                  5    transactions or occurrences that were alleged or that could have been alleged
                                                                                  6    therein (the “City Released Claims”).
                                                                                  7          Nothing in this release and waiver is intended to include Plaintiffs’ claims
                                                                                  8    against the County, including for attorneys’ fees, which Plaintiffs will continue to
                                                                                  9    litigate against the County to judgment or settlement consistent with the terms of
                                                                                  10   this Agreement.
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                                                                                  11         13.2. Plaintiffs acknowledge that they are familiar with the provisions of
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                                                                                  12   California Civil Code section 1542 and, except as otherwise provided herein,
                                             LOS ANGELES, CA 90025




                                                                                  13   expressly waive and relinquish any and all rights or benefits that they may have
                                                                                  14   under said section to the fullest extent permitted by law concerning any matters
                                                                                  15   relating to the Parties' Actions.
                                                                                  16         California Civil Code section 1542 states:
                                                                                                   A general release does not extend to claims that the
                                                                                  17               creditor or releasing party does not know or suspect
                                                                                                   to exist in his or her favor at the time of executing
                                                                                  18               the release and that, if known by him or her, would
                                                                                                   have materially affected his or her settlement with
                                                                                  19               the debtor or released party.
                                                                                  20         Plaintiffs declare that they understand the full nature, extent and import of
                                                                                  21   section 1542 of the California Civil Code and have been so advised by their
                                                                                  22   attorneys.
                                                                                  23         13.3. Plaintiffs warrant and represent that they have made no assignment,
                                                                                  24   and will make no assignment, of any claim, chose in action, right of action, or
                                                                                  25   any right, of any kind whatsoever, within the scope of the City Released Claims,
                                                                                  26   and that no other person or entity of any kind had or has any interest in any of the
                                                                                  27   demands, obligations, actions, causes of action, debts, liabilities, rights, contracts,
                                                                                  28

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                                                                                                                 SETTLEMENT AGREEMENT
                                                                                                                                                                             ER 390
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                                                                                  1    damages, attorneys' fees, costs, expenses, losses, or claims within the scope of the
                                                                                  2    City Released Claims.
                                                                                  3    14.   Dismissal of the Action
                                                                                  4          Upon approval of this Agreement by the City Council and Mayor, which
                                                                                  5    approvals are required for this Agreement to be final and binding, and after
                                                                                  6    execution of this Agreement by all Parties and their respective counsel, Plaintiffs
                                                                                  7    and the City shall jointly file a Stipulated Order of Dismissal, to which this
                                                                                  8    Agreement will be attached as Exhibit 1. At the conclusion of the Court’s
                                                                                  9    retained jurisdiction, subject to the City’s compliance, Plaintiffs will take all
                                                                                  10   additional actions and file all additional documents to effectuate dismissal of the
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  11   Action as to the City with prejudice, if necessary.
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                                                                                             Settlement Payments and Attorneys’ Fees
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                                                                                  12   15.
                                             LOS ANGELES, CA 90025




                                                                                  13         This City shall pay a total amount of $1,800,000, which shall be inclusive
                                                                                  14   of all claims for damages, attorneys’ fees, and/or costs claimed by Plaintiffs in
                                                                                  15   the action.3 Such payment shall be made to the Spertus, Landes, & Umhofer,
                                                                                  16   LLP, attorney-client trust account for distribution by Spertus, Landes, &
                                                                                  17   Umhofer, LLP, as approved by Plaintiffs. The Parties agree that nothing in this
                                                                                  18   Agreement, including the City’s payment of $1,800,000, will affect the Plaintiffs’
                                                                                  19   right to pursue all damages, costs, and attorney’s fees from the County or any
                                                                                  20   other party other than the City. Should the County ever seek contribution from
                                                                                  21   the City for fees, costs, or damages awarded against the County through the date
                                                                                  22   on which the order as entered, such contribution claims are solely between the
                                                                                  23   City and the County and do not affect the terms of this Agreement nor involve
                                                                                  24   Plaintiffs in any manner. Plaintiffs agree not to oppose any motion by the City
                                                                                  25
                                                                                  26
                                                                                       3
                                                                                  27    Plaintiff Gary Whitter is not participating in this Agreement. LA Alliance for
                                                                                       Human Rights agrees to indemnify the City against any damages, attorneys’ fees,
                                                                                  28   and/or costs incurred by the City in the event Plaintiff Whitter pursues his claims
                                                                                       against the City.

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                                                                                                                 SETTLEMENT AGREEMENT
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                                                                                  1    for a good faith settlement determination from the Court that may extinguish the
                                                                                  2    County’s potential claims for contribution from the City.
                                                                                  3    16.   Non-Admission of Liability
                                                                                  4          By entering into this Agreement, the City does not admit any liability, and
                                                                                  5    explicitly denies any liability or wrongdoing of any kind arising out of or relating
                                                                                  6    to any of the claims alleged in the Action. Nothing herein constitutes an
                                                                                  7    admission by the Parties as to any interpretation of laws, or as to the merits,
                                                                                  8    validity, or accuracy of any of the claims or legal contentions made or which
                                                                                  9    could be made in the Action. Plaintiffs and the City have entered into this
                                                                                  10   Agreement solely to avoid the time, expense, and risk of litigation. The Parties
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  11   agree that an express condition of this settlement is that there has been no finding
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                                                                                  12   of liability on the merits, and that this settlement and any document related to this
                                             LOS ANGELES, CA 90025




                                                                                  13   settlement, including this Agreement and Order, and the confidential negotiations
                                                                                  14   leading up to this settlement, shall be inadmissible in evidence and shall not be
                                                                                  15   used for any purpose in this or any other proceeding except in an action or
                                                                                  16   proceeding to approve, interpret, implement, or enforce the Agreement.
                                                                                  17   17.   Knowing and Voluntary Agreement
                                                                                  18         This Agreement is an important legal document that has been voluntarily
                                                                                  19   and knowingly executed by the Parties. The Parties, and each of them,
                                                                                  20   specifically represent that, prior to signing this Agreement, (a) they have each
                                                                                  21   been provided a reasonable period of time within which to consider whether to
                                                                                  22   accept this Agreement, (b) they have each carefully read and fully understand all
                                                                                  23   of the provisions of this Agreement, and (c) they are voluntarily, knowingly, and
                                                                                  24   without coercion entering into this Agreement based upon their own judgment.
                                                                                  25   Plaintiffs, and each of them, further specifically represent that, prior to signing
                                                                                  26   this Agreement, they have conferred with counsel of their choice to the extent
                                                                                  27   desired concerning the legal effect of this Agreement, and that the legal effect of
                                                                                  28   this Agreement has been adequately explained to them.

                                                                                                                          16
                                                                                                                 SETTLEMENT AGREEMENT
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                                                                                  1    18.   Entire Agreement; No Other Reliance
                                                                                  2          This Agreement constitutes the entire agreement between the Plaintiffs and
                                                                                  3    the City regarding the subject matter discussed hereof and supersedes any and all
                                                                                  4    other agreements, understandings, negotiations, or discussions, either oral or in
                                                                                  5    writing, express or implied, between or among the Parties relating to the subject
                                                                                  6    matter hereof. The Parties acknowledge that no representations, inducements,
                                                                                  7    promises, agreements, or warranties, oral or otherwise, have been made by them,
                                                                                  8    or anyone acting on their behalf, which are not embodied in the Agreement, that
                                                                                  9    they have not executed this Agreement in reliance on any such representation,
                                                                                  10   inducement, promise, agreement, or warranty, and that no representation,
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  11   inducement, promise, agreement, or warranty not contained in this Agreement
Spertus, Landes & Umhofer, LLP
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                                                                                  12   including, but not limited to, any purported supplements, modifications, waivers,
                                             LOS ANGELES, CA 90025




                                                                                  13   or terminations of this Agreement, shall be valid or binding, unless executed in
                                                                                  14   writing by all of the Parties to this Agreement. Any alteration, change, or
                                                                                  15   modification of or to this Agreement shall be made by written instrument
                                                                                  16   executed by each party hereto in order to become effective.
                                                                                  17   19.   Warranty of Authority
                                                                                  18         Each individual or entity that executes this Agreement represents and
                                                                                  19   warrants, in his, her, or its personal capacity, that he, she, or it is duly authorized
                                                                                  20   and empowered to enter into this Agreement on behalf of the party it purports to
                                                                                  21   represent.
                                                                                  22   20.   Counterparts
                                                                                  23         This Agreement may be executed in multiple counterparts, each of which
                                                                                  24   shall be considered an original but all of which shall constitute one agreement.
                                                                                  25   21.   Representation by Counsel and Understanding
                                                                                  26         The Parties acknowledge that each of them has been represented in the
                                                                                  27   settlement of the matter by its own counsel and represent that each of them has
                                                                                  28   received independent legal advice from their respective attorneys and has been

                                                                                                                          17
                                                                                                                 SETTLEMENT AGREEMENT
                                                                                                                                                                                 ER 393
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                                                                                   1          05-19-2022
                                                                                       DATED:_______________              ___________________________
                                                                                   2                                       Plaintiff Joseph Burk
                                                                                   3
                                                                                   4   DATED:_______________              ___________________________
                                                                                   5                                       Plaintiff George Frem
                                                                                   6
                                                                                   7   DATED:_______________              ___________________________
                                                                                   8                                       Plaintiff Wenzial Jarrell
                                                                                   9
                                                                                  10   DATED:_______________              ___________________________
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  11                                       Plaintiff Charles Malow
Spertus, Landes & Umhofer, LLP




                                                                                  12
                                         1990 SOUTH BUNDY DR., SUITE 705
                                             LOS ANGELES, CA 90025




                                                                                  13   DATED:_______________              ___________________________
                                                                                  14                                       Plaintiff Karyn Pinsky
                                                                                  15
                                                                                  16   DATED:_______________              ___________________________
                                                                                  17                                       Plaintiff Leandro Suarez
                                                                                  18
                                                                                  19   DATED:_______________              ___________________________
                                                                                  20                                       Plaintiff Harry Tashdjian
                                                                                  21
                                                                                  22   DATED:_______________              ___________________________
                                                                                  23                                       Plaintiff Charles Van Scoy
                                                                                  24
                                                                                  25
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                                                                                                              SETTLEMENT AGREEMENT
                                                                                                                                                              ER 395
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                                                                                   1   DATED: May 19, 2022         MATTHEW W. SZABO
                                                                                   2
                                                                                   3                               By: __________________________
                                                                                   4                               City Administrative Officer, City of Los Angeles
                                                                                       Approved as to Form:
                                                                                   5
                                                                                   6   DATED: May 19, 2022         SPERTUS, LANDES & UMHOFER, LLP
                                                                                   7
                                                                                                                   By: __________________________
                                                                                   8
                                                                                                                   Elizabeth A. Mitchell
                                                                                   9                               Counsel for Plaintiffs LA Alliance for Human
                                                                                                                   Rights, et al.
                                                                                  10
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                  11
Spertus, Landes & Umhofer, LLP




                                                                                       DATED: May 19, 2022         MICHAEL N. FEUER, City Attorney
                                         1990 SOUTH BUNDY DR., SUITE 705




                                                                                  12
                                                                                                                          Scott Marcus
                                             LOS ANGELES, CA 90025




                                                                                  13                               By: __________________________
                                                                                  14                               Scott Marcus, Chief Assistant City Attorney
                                                                                                                   Counsel for Defendant City of Los Angeles
                                                                                  15
                                                                                  16
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                                                                                                              SETTLEMENT AGREEMENT
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                2 LAUREN M. BLACK (SBN 192302), Assistant County Counsel
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                   500 West Temple Street, Suite 468
                4 Los Angeles, California 90012
                   Tel.: (213) 974-1830 I Fax: (213) 626-7446
                5
                   LOUIS R. MILLER (SBN 54141)
                6 smiller@millerbarondess.com
                7 MIRA HASHMALL (SBN 216842)
                   MILLER BARONDESS, LLP
                8 1999 A venue of the Stars, Suite I 000
                   Los Angeles, California 90067
                9 Tel.: (310) 552-4400 I Fax: (310) 552-8400
               10
                   Attorneys for Defendant
               11 COUNTY OF LOS ANGELES
               12
 ~
                                             UNITED STATES DISTRICT COURT
 -"
 -"            13
 vi                            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 ~
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               14
 z      0
 0      0
        8     15 LA ALLIANCE FOR HUMAN                            CASE NO. 2:20-cv-02291 DOC-KES
"'
 .,:
                 RIGHTS, et al.,
"'w"'         16
                                                                  NOTICE OF WITHDRAWAL OF
-"
 -"
              17            Plaintiffs,                           CONSENT TO EX PARTE
:::,                                                              COMMUNICATIONS
              18               V.
                                                                  Assigned to the Hon. David 0. Carter
              19 CITY OF LOS ANGELES, et al.,                     and Magistrate Judge Karen E. Scott
              20
                                     Defendants.
              21
              22
              23
              24
              25
              26
              27
              28
                    556797,9

                                    NOTICE OF WITHDRAW AL OF CONSENT TO EX PARTE COMMUNICATIONS



                                                                                                         ER 399
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             I TO THE COURT, ALL PARTIES, AND THEIR RESPECTIVE COUNSEL
            2 OF RECORD:
            3              At an emergency status conference conducted on March 19, 2020, the Court
            4 requested that the Parties consent to ex parte communications between and/or
            5 among the Court, other judicial officers in the Central District of California, the
            6 Parties (including Intervenors), and relevant non-parties, such as state and local
            7 government leaders. (See Exhibit A (Tr. of March 19, 2020 Status Conf. at 7:24-
            8 8:20, 109:8- 112:3, ECF No. 39).) At the time, the Parties (including Intervenors)
            9 agreed to permit ex parte communications. (Id. at 117: 1-22.)
           10              This action is now entering its third year. While the County will continue to
           11 pursue settlement, the County believes this litigation should return to the normal
           12 process and that there should be no more ex parte communications with the Court
 '-
 -'
 -'        13 pursuant to Local Rule of Court 83-2.5 for the Central District of California.
 .,;
 ~
 w
 0
           14              When the aforementioned ex parte communication agreement was reached on
 z
 0         15 March 19, 2020, the Court suggested that "if [the Parties] get to litigation," an
"'-<
"'w"'      16 appropriate course in light of the prior ex parte communications would be to solicit
-'
 -'
::;;:      17 the involvement of other "judges who can litigate" the matter, in contrast to this
           18 Court's more involved role that justified the need for ex parte communications. (Id.
           19 at 111 : I 0-11.)
          20               Thus, at the outset of this case two years ago, the Court recognized the
          21 importance of this issue, as follows:
          22                     And you've got to trust me in those ex parte conversations.
          23                     Because they're going to be more valuable, I hope, than
                                 litigation. And if you get to litigation, I've got great judges
          24                     who can litigate. And they can probably be much more
          25                     collaborative than even I am. (Id. at 111 :7-12.)
          26               The Court's statement above is consistent with 28 U.S.C. § 455(a), which
          27 requires recusal "in any proceeding in which [a judge's] impartiality might
          28 reasonably be questioned." Preston v. United States, 923 F.2d 731, 734 (9th Cir.
                556797.9
                                                               2
                               NOTICE OF WITHDRAW AL OF CONSENT TO EX PARTE COMMUNICATIONS



                                                                                                           ER 400
           Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 452 of 1079

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             1 1991 ); see, e.g., Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 86 I
             2 (1988) ( courts must "take the steps necessary to maintain public confidence in the
             3 impartiality of the judiciary").
             4              We are now in litigation, so based on the foregoing we request that the
             5 Court assign this case to another Judge for the purpose of litigation.
             6              PLEASE TAKE NOTICE that Defendant County of Los Angeles, by and
             7 through its counsel of record, hereby withdraws its consent to the Court's ex parte
             8 communications in the above-captioned matter.
             9
            10 DATED: March 25, 2022                     MILLER BARONDESS, LLP
            11
            12
 ~                                                       By:   _ _.J...__ _ _ _ _ _ _ _ _ _ _ __
 -'
 -'         13
 vi                                                                Louis R. Miller
 ~
 w          14                                                     Attorneys for Defendant
 Cl
 z                                                                 COUNTY OF LOS ANGELES
 0          15
"
"'"'w"      16
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                                NOTICE OF WITHDRAW AL OF CONSENT TO EX PARTE COMMUNICATIONS



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            Exhibit A
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        1                         UNITED STATES DISTRICT COURT

        2            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

        3              HONORABLE DAVID O. CARTER, U.S. DISTRICT JUDGE

        4
            LA ALLIANCE FOR HUMAN                      )
        5   RIGHTS, an unincorporated                  )
            Association, JOSEPH BURK,                  )
        6   HARRY TASHDJIAN, KARYN                     )
            PINSKY, CHARLES MALOW,                     )
        7   CHARLES VAN SCOY, GEORGE                   )
            FREM, GARY WHITTER, and                    )   Certified Transcript
        8   LEANDRO SUAREZ, individuals,               )
                                                       )
        9                         Plaintiffs,          )
                                                       )
      10              vs.                              )   Case No.
                                                       )   2:20-cv-02291 DOC (KES)
      11    CITY OF LOS ANGELES, a                     )
            Municipal entity; COUNTY OF                )
      12    LOS ANGELES, a municipal entity;           )
            and DOES 1 through 200 inclusive,          )
      13                                               )
                                  Defendants.          )
      14                                               )

      15

      16
                             REPORTER'S TRANSCRIPT OF PROCEEDINGS
      17                               STATUS CONFERENCE
                                   THURSDAY, MARCH 19, 2020
      18                                   10:00 A.M.
                                    LOS ANGELES, CALIFORNIA
      19

      20

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      22

      23                       DEBBIE HINO-SPAAN, CSR 7953, CRR
                                FEDERAL OFFICIAL COURT REPORTER
      24                       350 WEST 1ST STREET, SUITE 4455
                                  LOS ANGELES, CA 90012-4565
      25                              dhinospaan@yahoo.com




                                 UNITED STATES DISTRICT COURT
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        1                            APPEARANCES OF COUNSEL:

        2

        3   FOR THE PLAINTIFFS:

        4              SPERTUS LANDES & UMHOFER LLP
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                       BY: CAROL A. SOBEL, ATTORNEY AT LAW
      19               725 Arizona Avenue
                       Suite 300
      20               Santa Monica, California 90401
                       310-393-3055
      21

      22

      23

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        1                            APPEARANCES OF COUNSEL:
                                           (Continued:)
        2

        3   FOR THE INTERVENOR LOS ANGELES CATHOLIC WORKER:

        4              SCHONBRUN SEPLOW HARRIS & HOFFMAN LLP
                       BY: CATHERINE ELIZABETH SWEETSER, ATTORNEY AT LAW
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        6              310-396-0731

        7   FOR THE LEGAL AID FOUNDATION OF LOS ANGELES ON
            BEHALF OF INTERVENOR L.A. CATHOLIC WORKER AND LOS ANGELES
        8   COMMUNITY ACTION NETWORK:

        9              LEGAL AID FOUNDATION OF LOS ANGELES
                       BY: SHAYLA RENEE MYERS, ATTORNEY AT LAW
      10               7000 South Broadway
                       Los Angeles, California 90003
      11               213-640-3983

      12    ALSO PRESENT:

      13               Honorable Judge Andre Birotte, Federal Judge

      14               Honorable Judge Philip S. Gutierrez, Federal Judge

      15               Honorable Judge James Smith - Special Master

      16               Thomas Fawn - Senior Assistant County Counsel, County
                       of Los Angeles
      17
                       Brooke Weitzman - Intervenor Orange County Catholic
      18               Worker

      19               Scott Marcus - Los Angeles City Attorney's Office

      20               Jessica Mariani - Los Angeles City Attorney's Office

      21               Mike Feuer - Los Angeles City Attorney's Office

      22               Kevin de Leon - Los Angeles City Council

      23

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        1                            APPEARANCES OF COUNSEL:
                                           (Continued:)
        2

        3   ALSO PRESENT:

        4              Michele Martinez - Chief Dot Connector

        5              Juan Garza - Mayor of Bellflower

        6              Miguel A. Pulido - Mayor of Santa Ana

        7              Yvette Ahlstrom - Elimination Foundation

        8              Paul Cho - Elimination Foundation

        9              Paul Leon - CEO of Elimination Foundation

      10               Gary Kranker - Whittier City Attorney

      11               Joe Vinatieri - Mayor of Whittier

      12               Kathryn Barger - Los Angeles County Supervisor

      13               Heidi Marsdon - Interim LAHSA

      14               Aleen Langton - LAHSA

      15               Nury Martinez - Los Angeles City Council President

      16               Ken Price

      17               Jackie Lacey - Los Angeles County District Attorney

      18               Robert Cartwright - Assistant Los Angeles County
                       Counsel
      19
                       Gabriel Dermer - Los Angeles City Attorney's Office
      20
                       Brandon Young - Manatt, Phelps & Phillips
      21

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        1                                  APPEARANCES:
                                           (Continued:)
        2

        3   ALSO PRESENT:

        4              Byron McLain - Foley & Lardner

        5              Rodrigo Castro-Silva - Los Angeles County Counsel

        6              Mark Ridley-Thomas - Los Angeles County Supervisor

        7              Michel Moore - Los Angeles Police Chief

        8              Ralph Terrazas - Los Angeles Fire Chief

        9              Commissioner Kenneth Hodder - The Salvation Army

      10               Lieutenant Colonel John Chamness - The Salvation Army

      11               Miguel Santiago - California Assemblyman

      12               Bill Taormina

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           1           LOS ANGELES, CALIFORNIA; THURSDAY, MARCH 19, 2020

           2                                   10:00 A.M.

           3                                     - - -

           4                 THE COURT:    Well, first, good morning.      If you would

10:00AM    5   try to find a seat and be as distant as you can from normally

           6   our wonderful and collegial executive and legislative and court

           7   family, it would be appreciated.

           8                 So it's a huge courtroom.      We planned it that way.

           9   But if you can get six feet apart, we would actually appreciate

10:00AM   10   it.   Okay?   There's plenty of room.      That's not quite six feet,

          11   but we're working on it.       Okay.   And there's -- we tried to

          12   supply sanitary, you know, for you as best we can.

          13                 A couple of general thoughts.      I'm going to get

          14   right into business.       And for counsel, I'm calling the matter

10:00AM   15   of L.A. First Alliance for Human Rights versus City of

          16   Los Angeles.    But believe it or not, I don't even want your

          17   appearances at this time, although I'm going to spend a good

          18   part of the day with you.      We're going to get our elected

          19   officials back doing what they do best in this critical time.

10:01AM   20   That's making good decisions on all of our part.

          21                 And although we've called you together concerning

          22   the homeless, whatever happens concerning the homeless

          23   community, they're not a socially acceptable distance right

          24   now, and I think we're all on the same page collaboratively,

10:01AM   25   and that is, you know, if we can do something through your good




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           1   graces, and if the Court can be of a benefit and not a

           2   hindrance in this matter, then we're working together,

           3   hopefully saving time.

           4                 The other thing is this is eventually,

10:01AM    5   unfortunately, going to probably affect our citizens who are

           6   able to socially distance, which our homeless community is not.

           7   If it breaks out in the homeless community, I don't think any

           8   of the socially distanced community is going to be safe in any

           9   way, shape, or form.     And from whatever I read, this may come

10:01AM   10   in waves over a long period of time.        So at some point most of

          11   us are going to be exposed and hopefully survive.

          12                 I'm not going to stand on further ado.        I'm going to

          13   call on Mayor Garcetti.     I'm going to call you Eric from now

          14   on.   Okay?   I'm Dave or whoever you want to call me when you're

10:02AM   15   done.

          16                 And Kathryn Barger, I'm going to call on you next.

          17                 And then we've got a little bit of a program.            Let

          18   me give you an overlay.     With transparency, we're going to talk

          19   about our phone call last night, who was on it, and I'm going

10:02AM   20   to ask at the end of the day for the plaintiffs' and defense

          21   counsel -- and by the way, you can use your cell phones at any

          22   time.   Okay?   Keep those conversations going.        Because I don't

          23   want to hold another one of these.

          24                 But I'm going to ask the parties, if eventually you

10:02AM   25   trust this Court or another member of the Court as the other




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           1   community that we've been involved in has trusted us, I need

           2   the following from you.     If not a settlement, I need the

           3   ability to reach out in an ex parte situation and make a call

           4   to Eric or to Kathryn or to you or to you, but share that

10:02AM    5   transparently and get you together as a court family as we work

           6   together, because together we accomplished a tremendous amount

           7   before.   But if I don't have that ex parte ability to

           8   communicate, I can't hold these kinds of meetings timely enough

           9   for this wave that's about to hit us.        The same thing, that

10:03AM   10   means you have to trust me.

          11                We can do it in two ways.      You can enter into a

          12   temporary settlement for a month setting out those parameters

          13   or three months but not -- certainly not a consent decree and

          14   not over a period of time.      These issues have to be worked out.

10:03AM   15                So at the end of the day I'm going to spend quite a

          16   bit of time with you, but we're getting folks on the way.

          17                So, Mayor Garcetti, the lectern is yours.          You can

          18   remain seated.    If you have notes, you can go to the lectern.

          19   There's --

10:03AM   20                MAYOR GARCETTI:    What's best for you?       Is it best

          21   for me to go there?

          22                THE COURT:   Whatever is good for you.

          23                MAYOR GARCETTI:    I'll go up there.

          24                THE COURT:   I think our goal is the same.         Let's get

10:03AM   25   collaborative.    If the courts can help you, let's save some




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           1   lives as fast as we can.

           2                 MAYOR GARCETTI:    Thank you so much, Your Honor.        And

           3   it's great to be here at the first convening of the

           4   Judge Carter Fan Club meeting, Los Angeles chapter.

10:03AM    5                 THE COURT:    Tell me that in a couple weeks.

           6                 MAYOR GARCETTI:    Yeah, exactly.    Appreciate you and

           7   appreciate the energy you've brought to the most pressing

           8   humanitarian crisis of our time, certainly in Southern

           9   California, across California, and too much of America.

10:04AM   10                 As you're well aware, overlaid on this right now is

          11   the most existential crisis we have, which is the coronavirus

          12   spread and COVID-19.       And I want to thank Kathryn Barger and

          13   our County and our other fellow mayors, not just in the County

          14   of Los Angeles but across the counties of Southern California,

10:04AM   15   for really acting more as a single organism that I've ever seen

          16   in my life.    When it comes to homelessness, I think it's a

          17   pretty fitting model, too, that it's about breaking down all

          18   the boundaries that have separated us, all those borders that

          19   distinguish us.

10:04AM   20                 But we're in the midst of a global emergency

          21   unprecedented in recent modern history.         We know that the novel

          22   Coronavirus is now in 150 different countries of the world.

          23   It's only a matter of time before every corner of the globe has

          24   it.

10:04AM   25                 And I think there's considerable fear and anxiety,




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           1   especially for those of us who have a deep caring for those who

           2   are not only the most vulnerable but the most susceptible; most

           3   vulnerable because they're much more likely to have underlying

           4   health conditions which the public health officials, of course,

10:05AM    5   tell us makes them more likely to die, and most susceptible

           6   because of the way they're living right now and where they're

           7   clustered together.

           8               So the City and the County have been working around

           9   the clock really hand in glove in a County that already has

10:05AM   10   good relationships between City and County.          I know that's not

          11   always the case.     But here we do, and it's been even closer.

          12   But we know that our homeless neighbors that are out there

          13   today with the underlying health conditions that I described

          14   and living in environments that put them at a higher risk, we

10:05AM   15   have a special obligation.

          16               So let me thank you for letting me go back to the

          17   rest of the work shortly.      But between testing, bed capacity,

          18   restrictions on people's movements right now, closures of

          19   businesses, this is one of the five, I would say, equal pillars

10:05AM   20   of our fight right now against coronavirus and its spread.

          21               We had the first death of somebody who is homeless

          22   in Northern California from COVID-19.         We have no confirmed

          23   cases here of anybody homeless.       But we know, of course, like

          24   all of us that the actual number of cases is dozens above -- by

10:06AM   25   a factor of dozens above what we are officially reporting.




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           1                So to protect the unhoused population during this

           2   public health emergency, at the beginning of this I asked my

           3   team to start drawing up what sort of plans we could do in this

           4   emergency.    And I want to be clear, I took that direction first

10:06AM    5   from Dr. Barbara Ferrer.      Really had some pushes back and forth

           6   about what is the public health advice and -- because there was

           7   some service providers, others who said, "No, maybe keeping

           8   people on the street is better."        She has been, at least with

           9   me, and I think the county's direction has been crystal clear,

10:06AM   10   that this is best prevented and treated indoors, not outdoors.

          11   That's the first principle.

          12                And so the City of Los Angeles, I asked what would

          13   it take for us to take decisive action, to be not looking at

          14   dozens as we usually do when we celebrate the opening of a

10:06AM   15   shelter or even hundreds but thousands of people off of our

          16   streets.

          17                So we're increasing in advance of that outreach

          18   together LAHSA, the City, the County, and other cities to

          19   educate those Angelenos experiencing homelessness about the

10:07AM   20   disease.   They, like anybody who is housed, want to save their

          21   lives and want to be healthy.       When people ask, "How are you

          22   going to get them off the streets?" everybody wants to care for

          23   themselves, whether they are lucky enough to be in housing or

          24   not.

10:07AM   25                And so we added critical resources right away.            I




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           1   think there's over 250 new handwashing stations already

           2   deployed, another 60 on the way or deployed as well for a total

           3   of 310.   120 mobile bathrooms on the way in addition to the

           4   many mobile bathrooms that we put up in encampment sites months

10:07AM    5   before this as well.

           6               And these interventions may sound basic, but whether

           7   it's that or continuing street sweeping even as we relax

           8   ticketing for that, these things are critical to public health

           9   around and in encampments as well to improve hygiene, to

10:07AM   10   flatten the curve of local infections, and to prepare the

          11   County and the health system better for the onslaught of beds

          12   that will be taken.

          13               And, also, in coordination with the County, we've

          14   made plans to isolate and quarantine unhoused individuals,

10:08AM   15   either at and/or away from shelters.        Nobody will go into a

          16   shelter who's exhibiting those symptoms.         That vetting will

          17   happen with County public health officials before anybody

          18   boards a bus and is transported to these areas.

          19               And our preparation to isolate and quarantine

10:08AM   20   unhoused patients is happening several levels of government.

          21   County led, as of yesterday -- or two days ago, excuse me, 34

          22   RVs have been placed by the County for isolation units for

          23   COVID-confirmed cases.      124 motel rooms have been acquired by

          24   the County for symptomatic COVID-unconfirmed cases.

10:08AM   25               And the County, with assistance from the City, has




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           1   been engaging hotel and motel owners who are about to go out of

           2   business, so it's actually a good time to help them and help

           3   this crisis, to begin designating rooms with bathrooms with

           4   quarantine and isolation.

10:08AM    5                 To be clear, the County has to do that

           6   simultaneously for housed people and unhoused people.            But

           7   there's no discrimination on that, and the highest priority

           8   goes to those most at risk.       That is disproportionately going

           9   to help those who are unhoused given their underlying health

10:09AM   10   conditions.

          11                 Second, city-led efforts, we've acquired 50 pallet

          12   shelters that will be delivered Friday.         We got 50 of, I think,

          13   the last 75 left in America from this company.          We're looking

          14   at the potential placement of these pallet shelters in parking

10:09AM   15   lots in City Council District 13, Mitch O'Farrell, who asked if

          16   we could put them there.      We're considering them for quarantine

          17   and isolation use.     So, if somebody has symptoms, immediately

          18   be able to take them into essentially their own housing, almost

          19   like a mini-home for them to be able to be in for the period of

10:09AM   20   quarantine and then take the direction from public health.

          21                 One of the reasons we were advised by public health

          22   also to look at this with proper spacing using the 35 tenets of

          23   the CDC's recommendations for homeless shelters is because --

          24   everything from making sure people are head to toe properly

10:09AM   25   spaced, we're looking at whether there can be even partitions.




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           1   But we took that advice because the public health officials

           2   said this is a place where we can monitor better.           We cannot

           3   monitor very well on the street.        Of course, this is right now

           4   voluntary.

10:10AM    5                 And we know that our homeless neighbors, like the

           6   rest of us, are safer and healthier when they're indoors.              So

           7   I've exercised my emergency authority under the City Charter

           8   and our administrative code to extend the winter shelter period

           9   which would be ending just next week on March 21st until this

10:10AM   10   crisis is over.    So indefinitely.

          11                 THE COURT:   Okay.

          12                 MAYOR GARCETTI:    And then a couple last notes.         Over

          13   the past 19 months before this crisis hit, we had been part of

          14   a historic surge of bridge-housing shelters.          These are

10:10AM   15   shelters that have your own little area, pets, partners,

          16   possessions, all those things can come in, low barrier.            You

          17   stay there.    You're not kicked out during the day.

          18                 So today we have 12 of those open with 813 beds.              We

          19   had 14 due to open by July 1st.       And I can tell you we're

10:10AM   20   pressing the accelerator on that so that we will have over

          21   2,200 beds that didn't exist just 18 months ago on top of our

          22   plans to take 1600 people, we believe, or have capacity for

          23   1600 people by the end of this weekend.

          24                 Think about that.    18 months to get 2200.      When this

10:11AM   25   happens, it will be in four or five days, 1,600 additional




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           1   beds.   And then a second phase will go to 29 additional

           2   recreation centers and have a full capacity when we're done of

           3   6,006 beds.

           4                 So we're working to identify with LAHSA who's

10:11AM    5   prioritized the 4,000 most vulnerable folks that are in their

           6   system to make sure that we're making the contact with them and

           7   offering these beds to them first.        This will make it easier

           8   for the at-risk population to practice safe social distancing,

           9   to remain visible to outreach workers who are focused on

10:11AM   10   getting them crucial services.

          11                 And we'll also work to relocate vulnerable Angelenos

          12   indoors into low barrier congregate settings.          So this isn't

          13   just something that we'll probably be doing over the long term

          14   for those that are unhoused.       As our hospital beds are

10:11AM   15   overwhelmed, we can expect that those of us that live in

          16   housing will need to go to those low barrier settings as well

          17   and isolation in hotels, motels, et cetera, if they cannot stay

          18   at home in a safe space.

          19                 And with our partners at LAHSA, as I mentioned, this

10:12AM   20   is really -- I want to thank our rec and parks, our emergency

          21   operations center -- I've never seen this before -- and the Red

          22   Cross, we have obtained, you know, 6,000 beds -- actually 7,000

          23   cots, all the blankets.      We've put in the orders for everything

          24   we need for sanitation.      Not every rec center is equal.        They

10:12AM   25   don't all have showers.      But our Department of Transportation




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           1   buses will take people for their showers to those rec centers

           2   that have them if they're staying at one that doesn't.            And

           3   this will be paid for through City dollars, state aid, and

           4   federal dollars, we believe, through FEMA reimbursements now

10:12AM    5   that I've mobilized emergency workers.

           6                 So this means together with the existing shelters

           7   and ones opening, we can bring 7,000 unhoused Angelenos off the

           8   streets and into emergency housing.

           9                 One last note, which is not about COVID but is, I

10:12AM   10   think, very important, up and down the state, Mayor Pulido and

          11   I are part of the big 13 mayors, we've been talking every

          12   single night, and we appreciated the contact as well from you

          13   last night.    We need to plan for the moment this crisis winds

          14   down to make sure that folks that we bring in aren't just

10:13AM   15   thrown back out on the streets.

          16                 THE COURT:   Right.

          17                 MAYOR GARCETTI:    And whether that federal aid will

          18   be there, whether the state dollars that have been promised

          19   from the legislature and Governor Newsom yesterday can be used

10:13AM   20   for that, we're going to have to look everywhere, but this is

          21   an opportunity to not let this crisis go to waste and to say

          22   not only did we save lives during this crisis, but we finally

          23   healed those lives and brought people home.

          24                 So I'm encouraged that that money is coming.         It's

10:13AM   25   $100 million directly to local governments and $50 million in




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           1   trailers and to lease rooms in hotels and motels.           And whether

           2   it's leads you've given us from North Dakota, oil and gas

           3   employee housing, whether it is the trailers, the tiny homes,

           4   we have to look all over to be able to make sure at a time of

10:13AM    5   scarce resources that we can make this happen.

           6               So in closing, let me say as the mayor of

           7   Los Angeles, I can assure the Court that the City is committed

           8   before this crisis, during this crisis, and after this crisis

           9   to doing everything that we can to listen and to bring together

10:14AM   10   a coalition of folks.      You never make 100 percent of people

          11   happy.

          12               THE COURT:     Right.

          13               MAYOR GARCETTI:      But for those who will say, "You're

          14   never doing anything right," and for those who say, "I never

10:14AM   15   want anything in my neighborhood," there is a huge wide berth

          16   in between of, I think, you've seen in our actions and our

          17   willingness to stand up on both sides to be able to say let's

          18   keep moving forward.

          19               Never stop listening to people no matter how they

10:14AM   20   communicate, because often there's kernels of truth to what

          21   everybody is saying.     But we're very excited.       Your

          22   coalition-building powers are part of this and your wide

          23   shoulders, as you said, to be able to say from a federal court

          24   perspective that this needs to keep going.         I would only ask

10:14AM   25   that of you, help us keep momentum, help us keep momentum, help




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           1   us keep momentum.     These are trying days for our city, but we

           2   will get through them together.

           3                 THE COURT:   Don't go away.     And I can't tell you how

           4   much you're appreciated.      Let's have a conversation

10:14AM    5   transparently.    And I'm not going to allow counsel to enter

           6   into this.

           7                 MAYOR GARCETTI:    Okay.

           8                 THE COURT:   It's just -- it's a very complimentary

           9   conversation, by the way.

10:15AM   10                 First of all, I want all counsel to know that we

          11   started ex parte communications immediately when a wonderful

          12   colleague of mine, Steve Wolfson, and I had a conversation last

          13   Friday.     This was actually Judge Wolfson's case.        We go back

          14   for many, many years.      We had a collegial conversation about

10:15AM   15   who's going to take this case.       And so let me tell you how this

          16   ended up.    And by the way, if you get rid of me, it's no

          17   problem at all.

          18                 MAYOR GARCETTI:    We don't want that.

          19                 THE COURT:   First of all, in Orange County we had

10:15AM   20   what's perceived to be a modicum of success.          And I want to lay

          21   out how that was to the parties so we discuss this later on.

          22   First of all, Boise is a decent and good case, but when

          23   Judge Berzon wrote this, you can read Boise as requiring 100

          24   percent.

10:15AM   25                 So let's say we have 35- to 38,000 homeless in




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           1   Los Angeles with Juan Garza, the president of the League of

           2   Cities will tell me we have probably another 20,000 in the

           3   surrounding cities.     Well, Boise could be read that we take

           4   100 percent of that, Mayor, and we say you have to build 38,000

10:16AM    5   shelters.

           6               I'm not certain if I'm going against Boise, but in

           7   working with Carol and Brooke down in our part of the world and

           8   other folks who are involved on the plaintiff and defendant's

           9   side, we came together and came up with this thought and idea;

10:16AM   10   that all of your homeless aren't going to go into shelters.                 In

          11   fact, some are going to avoid it.        Whether they're using

          12   narcotics, et cetera, you're not going to save every soul,

          13   although we're going to try.

          14               And, therefore, in the Santa Ana River we had

10:16AM   15   this -- and you need to hear why we're at these numbers.               We

          16   took the unheard of step of walking down the river before it

          17   was cleared, and there weren't a thousand people on the river,

          18   there were about 1400.      And when we put out two-weeks' notice,

          19   we saw people walking away.

10:16AM   20               So in a good faith, the plaintiffs' counsel came and

          21   said to us, "Look, the number is about 81 percent because we

          22   have 1,000 people on the river and 810 wanted shelter."            There

          23   was also a different number, and that is for weeks 3- or 400

          24   people had walked away.      So I took the lowest number.        That's

10:17AM   25   the first time I thought I was in trouble with one of the




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           1   parties.    I took the 60 percent.     So, therefore, it was, in a

           2   sense, a defendant's number at the time.         And we held pretty

           3   close to 60 percent in the 11 or 12 encampments that we've gone

           4   out.

10:17AM    5                 Now, I want to tell you and share with you how many

           6   mistakes I've made and how many times I've tried to back up and

           7   get it right.    It's very humbling.      I didn't recognize the

           8   number of women.    I didn't recognize the number of people who

           9   had lost their homes.     I didn't recognize the number of

10:17AM   10   veterans.    I probably started off with the perception that most

          11   of these were criminals.      But what I found was a huge degree of

          12   mental illness.     And I found an awful lot of people who had

          13   lost their homes from UCI -- UCI students and dock workers and,

          14   I'll name it, Disneyland workers and Angel workers and just

10:17AM   15   good people out there also.

          16                 And then the multitude, I also found, quite frankly,

          17   that most of those were homegrown.        They didn't come from

          18   Los Angeles or from another state, they came from Orange

          19   County.     And I was surprised.

10:18AM   20                 That's why the 60 percent number.       And what I find

          21   fault with me about is this:       If I write an order, you folks

          22   are stuck with that for ten years.        That's a federal order, and

          23   some other case has to go along with that; otherwise, you have

          24   this order.    So I've taken a 60 percent figure, right or wrong.

10:18AM   25                 But in working with my cities -- and I'll tell you




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           1   about the L.A. supervisor in just a moment also, because you've

           2   been very helpful with this -- what we're finding is that we're

           3   holding not only to about 60 percent of the number, but what

           4   happens in a year, Mayor, if you and the supervisor have been

10:18AM    5   successful and you've swept your city and the people who want

           6   to go into shelter have gone into shelter?         And now we're done

           7   to 30 percent.

           8                 I shouldn't be at that 60 percent.       I need you to

           9   come back to me working together and say, "You know, Dave,

10:18AM   10   we're about 30 to 40 percent we're showing in this last year,

          11   and we don't need 30 to 40 percent emergency shelter.            It's

          12   badly spent money."     So, therefore, I want that continuing

          13   interplay in negotiations so we're spending your money wisely

          14   and quickly from the Court's perspective and you don't have

10:19AM   15   that hindsight of our wisdom that you're stuck with as a bright

          16   line duty.    So that's what I'm offering back to you.         That

          17   collaboration is absolutely critical that our courts are

          18   flexible.

          19                 Second, I want to introduce you to two wonderful

10:19AM   20   colleagues.    Well, first of all, Judge Smith who's been with me

          21   from the beginning, he's my former friend because he's probably

          22   given over $1.5 million of free time that he would normally

          23   charge, so I call him my former friend.

          24                 But Andre Birotte, who is my colleague, and Phil

10:19AM   25   Gutierrez, would you folks stand up.        I personally asked these




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           1   jurists to become involved.       And in the finishing colloquy I

           2   have with the mayor, Phil, if you have any questions, just

           3   blurt them out.    Fair enough?     Okay.

           4               We only have jurisdiction over three cases.           18

10:20AM    5   other cases have come in voluntarily who were never going to be

           6   sued and held up their hand and said, "Judge, I want to be

           7   sued," because they want to be tucked under the federal

           8   umbrella, and they wanted to know going forward what they could

           9   do, not what they couldn't do.       Because the end result working

10:20AM   10   all together, we came up with some parameter and some ability

          11   to move forward.     Because otherwise, it's a chilling effect.

          12   And it's a chilling effect that five or six judges are making a

          13   decision, because which judge's decision do you start playing

          14   to?   So you are always chilled.

10:20AM   15               I think our courts are offering you a real

          16   opportunity for collaboration from our point of view and a real

          17   good discussion with both these parties later today to try to

          18   either reach a negotiation or hammer one out that will give us

          19   all some guidelines so you're not chilled in any way and you do

10:20AM   20   that in record time.

          21               I think the last thing I'd say is that the reason

          22   you came to me was, frankly, we're negotiating with 16 other

          23   cities in Los Angeles at the present time.         It's a slow walk,

          24   but Bellflower has settled.       We were just talking to Whittier

10:20AM   25   today, not quite certain where they're at, but I think they're




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           1   the next ones up.     And I'll say to Joe -- Mayor Joe is here.           I

           2   just know Joe by "Joe" because we call each other all the time.

           3                But there's 14 or 15 other cities who have been into

           4   my chambers.    And what's happening is this is starting to speed

10:21AM    5   along.   So whatever happens in Downtown L.A., we've got to be

           6   careful with our surrounding cities, which you well know, which

           7   is why Juan Garza is here, and a lot of other mayors who wanted

           8   to come that we turned away because we didn't want over 50.

           9   Because if, in fact, folks migrate, they're going to go out to

10:21AM   10   your residential areas, your surrounding cities.          So whatever

          11   we're doing, hopefully we're containing it here, we're getting

          12   some things to you much needed.

          13                Finally, let me say this:      You've done a fabulous

          14   job.    Judges aren't supposed to say that.       Thank you very much.

10:21AM   15                MAYOR GARCETTI:    Thank you.

          16                THE COURT:   And the next thing I would say to you is

          17   this:    I think you're going to see us in a few moments, and

          18   your staff can make the decision because I want to get you out

          19   of here, along with the supervisor, if you leave somebody to

10:21AM   20   listen to this presentation, I think we're going to be able to

          21   augment, if you choose, a huge amount of resources.

          22                Now, let me disclose to all parties, I can't tell

          23   you the number of phone calls, but I'll tell you the last one.

          24   They got my home number through some colleagues.          I got a call

10:22AM   25   at 8:15.    I thought it was just Rusty Bailey, the mayor of




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           1   Riverside, who we've talked, but it was the mayor from

           2   Los Angeles, Stockton, Oakland, San Diego --

           3                MAYOR GARCETTI:     The 13 most popular cities.

           4                THE COURT:    -- 13, yeah, all on the phone.        And I

10:22AM    5   thought --

           6                MAYOR GARCETTI:     Your Honor, I didn't call because I

           7   don't know what these rules are, I'm not a lawyer, but

           8   Mayor Pulido brought him in.

           9                THE COURT:    So I want to disclose to the parties

10:22AM   10   that that's the way I've got to be able to operate.           If the

          11   mayors want to call me individually or collectively, or

          12   Kathryn, you want to call me, I have to have that ability or I

          13   can't function.    And just go litigate, which is wasteful.            We

          14   need to hammer this out.

10:22AM   15                So at the end of the day, you have got to give me

          16   that consent or just go litigate.        The phone's open to you,

          17   period.

          18                MAYOR GARCETTI:     Thank you.

          19                THE COURT:    And I think this:     I think that your

10:22AM   20   cities are going to come running with consent decrees and tuck

          21   under the federal umbrella, but they need help.          We're paying

          22   attention, and we should, to Los Angeles and San Francisco.

          23   It's our smaller cities right now who don't have that financial

          24   backing but the supervisors, quite frankly, have been very

10:23AM   25   helpful in getting.




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           1               Janice Hahn and your colleague and you, Kathryn,

           2   have stepped forward and tried to step forward with funding.

           3   But they need a funding source also, and we need to get that

           4   message out to the governor who, by the way, had his staff on

10:23AM    5   the phone at 10:00 o'clock after the call.

           6               Lastly, help me, I've got 14 to 20 percent of folks

           7   out there who have done nothing with women who have to dress up

           8   over the top of their head.

           9               Jimmy, what time did we go out in the morning?              What

10:23AM   10   time did we appear on the scene?

          11               JUDGE SMITH:     4:30, 4:45, 5:30.

          12               THE COURT:     4:30 a.m. because your homeless are

          13   moving.   They're not working on County hours or my hours.

          14   They're moving at 4:30.      And by 6:00 o'clock you're not finding

10:23AM   15   the homeless.    They're scattering.

          16               So what are we going to do with that 14 to 20

          17   percent who are truly bipolar when we closed our mental

          18   hospitals, who I can't put inside a shelter because they'll

          19   tear it apart and they've done absolutely nothing wrong?               And

10:24AM   20   that I'm going to ask you -- and I think Gavin's fully on board

          21   with our conversations last night, so I'm paying compliments

          22   today, I think he's recognizing that whether it's Norwalk,

          23   Fairview, Sonoma, those hospitals have to be opened up in some

          24   form to contain these people.       I want to ask your help because

10:24AM   25   I've been on that bandwagon from day one.




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           1               And number two, if we get these for the local folks

           2   here in the state of California, maybe we're not getting people

           3   shipped in off Princess Cruise -- I'm just kidding you -- but

           4   we need those facilities anyway for our own state, and we're

10:24AM    5   going to have to have them sooner or later.          Sooner is better.

           6               I'm going to ask you to leave a staff member here.

           7               MAYOR GARCETTI:      Yes.

           8               THE COURT:     I want to compliment you on these motel

           9   rooms.   I have the personal opinion that they're transitory,

10:24AM   10   but their transitional in the sense -- and I think we're going

          11   to be able to offer you 20,000 units really quick out of

          12   North Dakota.    And if anybody doesn't like them, I'm going to

          13   invite today, give me a better solution.         Show me the pop-up

          14   tents that are supposed to be coming, show me the spring tents,

10:25AM   15   tell me why the price is wrong, et cetera.         And if you don't

          16   like this alternative, just give me an alternative.

          17               Number two, Michelle Martinez in Santa Ana hammered

          18   out and knocked down all of the barriers because she put a

          19   building inspector onsite.       So when we went for a permit, we

10:25AM   20   didn't go into an office and wait for a good person who was

          21   doing their job to take 24 to 36 hours or two weeks.           They're

          22   well-intentioned people.      But I'm encouraging you, if we get

          23   some trucks down here that we're going to talk about, we've got

          24   40 trucks ready to roll, if you'd like it.

10:25AM   25               The last thing I'll disclose to counsel is this:              If




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           1   L.A. doesn't want it, Dave, you're the mayor of Stanton, you

           2   want some?    Joe, you want some out in Anaheim?        Sure.    I just

           3   got off the phone with Harry Sidhu.        He wants some.

           4                 Here's my concern:    Can we transition these trailers

10:25AM    5   fast enough to help our Los Angeles community?          Because if

           6   we're going to a hookup with a sewer system and you can't

           7   accomplish it quickly, as I said to the mayors last night, we

           8   can't wait with that valuable resource.         I want to get them up

           9   to Oakland for the governor or whatever.         And so, therefore,

10:26AM   10   please leave somebody here for this presentation.

          11                 MAYOR GARCETTI:    We'll have somebody here

          12   throughout.    And if you'll permit me 15 seconds, we appreciate

          13   that.   Our goal, also, is not to have an order but to have a

          14   collaboration.

10:26AM   15                 THE COURT:   Exactly.

          16                 MAYOR GARCETTI:    Second, the flexibility we greatly

          17   appreciate.    And know that even though I was presenting on our

          18   plan amidst this crisis, you will hear from the City what we're

          19   doing -- permanent housing, special services, working with

10:26AM   20   veterans -- which I know is near and dear to our hearts, and

          21   we've reduced by 80 percent in this city.

          22                 There's a lot of other aspects of this that I know

          23   will be in the larger case, but you asked us to come today

          24   because of COVID-19.

10:26AM   25                 THE COURT:   Yeah.




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           1               MAYOR GARCETTI:      And Council President Nury Martinez

           2   is here representing incredible City Council.

           3               THE COURT:     Right.

           4               MAYOR GARCETTI:      Beautiful leadership.      And we'd

10:26AM    5   love other cities to be involved if they want to be in this.

           6   So we are not in any way -- we know that this problem has no

           7   borders, and the solutions need to have no borders as well.             We

           8   very much appreciate you.

           9               THE COURT:     Okay.    Mayor, just a moment.

10:27AM   10               Jimmy, any thoughts?        Any thoughts on your part?

          11               JUDGE SMITH:     No.

          12               THE COURT:     Okay.    Let's do this:    I have no

          13   jurisdiction right now.      Understand?

          14               MAYOR GARCETTI:      Yes.

10:27AM   15               THE COURT:     The defendants are here by choice.          They

          16   haven't even been served.      But I couldn't wait for the 60 days

          17   and the answer.    So you were invited today.        I really

          18   appreciate your courtesy.      I promise that we're going to have

          19   uniformity back from the courts from all of us as colleagues

10:27AM   20   trying to be cooperative and collaborative within reason as we

          21   talk to the parties today to get some reasonableness, which is

          22   why I have allowed the intervention on the plaintiffs' side of

          23   every potential plaintiff we can get here, because there will

          24   be disputes between the plaintiffs, and they're going to have

10:27AM   25   to come to some agreement basically to give us some guidance.




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           1   Fair enough?

           2                 MAYOR GARCETTI:      Thank you.

           3                 THE COURT:   Okay.    We can work together.

           4                 MAYOR GARCETTI:      My sister, I'm sitting down.

10:27AM    5   You're smart to do that.

           6                 THE COURT:   And Mayor, listen, would you designate

           7   somebody by name, because I'd like to be able to call you as

           8   early as tonight and as late as tomorrow morning.

           9                 MAYOR GARCETTI:      Could you stay?

10:27AM   10                 THE COURT:   Okay.    Could one of you stay --

          11                 MAYOR GARCETTI:      So Christina Miller, who's deputy

          12   mayor of City Homelessness Initiatives, our first deputy mayor,

          13   and my deputy chief of staff, one of them will always be here.

          14                 THE COURT:   Perfect.    Let's get you back.     That way

10:28AM   15   you're reporting back to the mayor, not through my eyes

          16   tonight.    And we'll talk as early as tonight or as late as

          17   tomorrow.    Okay?   But you're reporting back through your eyes.

          18   And I want you to listen to this presentation and keep

          19   asking -- we're not necessarily in favor or disfavor of what

10:28AM   20   you're about to hear, but what else is out there.           And if we

          21   can get 20- and maybe 30,000 units down here -- we got 40

          22   trucks up there ready to roll.        It depends upon how fast we can

          23   sequence.    And if we can't, then just tell me.        Let's get these

          24   up to Oakland if they're interested with some of the other

10:28AM   25   mayors.     Okay?   Fair enough?




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           1               Mayor, I can't thank you enough.         Stay as long or as

           2   little as you'd like.      You're socially distanced.       Go take good

           3   care of yourself and make great decisions for us.

           4               Kathryn, please.

10:28AM    5               MS. BARGER:     Thank you.    First of all, I want to

           6   thank Mayor Garcetti, because this is about all hands on deck.

           7               THE COURT:     Yeah.

           8               MS. BARGER:     And while L.A. city is probably ground

           9   zero for where the greatest number of homeless are located, the

10:29AM   10   impact it has throughout all of L.A. County -- Whittier,

          11   Bellflower, Pasadena -- it's still really a humanitarian

          12   crisis.   And I view being in this court today not as

          13   adversarial, but actually, I think we're all on the same page.

          14               THE COURT:     We are.

10:29AM   15               MS. BARGER:     And the plaintiffs, quite frankly, have

          16   been in our office, and we've talked to them, and we wanted to

          17   work toward addressing this issue.        So I don't view this as us

          18   against them because we're all in this together.           And working

          19   with all of our 87 other cities along with L.A. city is what

10:29AM   20   L.A. County is committed to do.

          21               And I believe that the challenges that we have

          22   before us as it relates to the Coronavirus are going to present

          23   opportunities.    Because while we're looking right now short

          24   term and we've got 2,000 isolation beds set aside, 4200 County

10:30AM   25   property beds also ready to go right now, and we're moving that




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           1   out.   And our team at the County will really outline what

           2   exactly our plan is for the Coronavirus.         But this is only the

           3   beginning of what we are doing.

           4                 And as Mayor Garcetti said last night, I watch every

10:30AM    5   briefing you have every night.       But what is being done at the

           6   City level and the County level was already in the works.

           7   Coronavirus just accelerated and actually broke down barriers

           8   that we recognize were in place, whether it be CEQA and/or

           9   other issues that, quite frankly, given this virus, we have to

10:30AM   10   think outside the box and recognize that asking for permission

          11   is not necessary -- sorry, lawyers -- but we're going to ask

          12   for forgiveness because we have to get this done and we have

          13   got to get it down now.      And we recognize that prevention is

          14   the key.

10:31AM   15                 And to your point, the homeless population is very

          16   good at moving early morning and are oftentimes invisible.             And

          17   we need to be aggressive in how we do outreach.

          18   Sheriff Villanueva has got his host team boots on the ground

          19   out there working very aggressively to try to convince people

10:31AM   20   to come in.    Because many of them do not understand how at risk

          21   they are right now.     And many do not understand what this

          22   Coronavirus means or could mean.

          23                 And so when we hear the number of one death already

          24   amongst the homeless, my biggest concern is that that is going

10:31AM   25   to rise because we all know that healthwise they are




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           1   compromised.    They are not in the best of health.         And we know

           2   that the studies show that the elderly and those with

           3   compromised immune systems are at greatest risk.

           4               And when we talk about slowing the spread, it's done

10:32AM    5   so that we do not overwhelm our hospitals.         Because right now,

           6   you know, what's keeping me up at night is making sure that we

           7   have the inventory of beds across the County should we need

           8   them, especially the ICU beds, for those that are going to be

           9   presenting themselves in the emergency rooms.

10:32AM   10               So, you know, Judge Carter, I have admired the work

          11   you did in Orange County, and you keep saying it's going to

          12   change.   It won't change.     Because I know where your heart is,

          13   and I know where my fellow colleagues on the board of

          14   supervisors' heart is, and that is we have to do better.

10:32AM   15               And Measure H gave us an opportunity to put new

          16   money into addressing the homeless population.          So money really

          17   prior to the Coronavirus wasn't our issue.         Post Coronavirus it

          18   may be because we don't know what the implication is going to

          19   be as it relates to jobs that are being lost, people that are

10:33AM   20   presenting themselves as possibly homeless.

          21               I know we did exactly what the City did in terms of

          22   eviction notices and putting a stay on that because that is

          23   another issue for those that can't pay.         We're trying to get

          24   the ones that are currently on the street off the street.              God

10:33AM   25   forbid we add more.     So we are looking at that, and we don't




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           1   know what the implication would be financially.

           2               But prior to this, Measure H provided us with an

           3   infusion of money.     We projected 355 million.       In fact, it came

           4   in over 400 million thanks to the hard work of people like

10:33AM    5   Supervisor Mark Ridley-Thomas, who saw this as a crisis long

           6   before we even came into this court, long before you were

           7   dealing with the Orange County.

           8               So I know that money is not necessarily the issue,

           9   it's about leadership.     And I will tell you that I know in my

10:33AM   10   cities -- and I look at Juan Garza.        Is he here?    You keep

          11   saying "Juan."

          12               THE COURT:    He is.    Come on, Juan.     Come on up here.

          13               MS. BARGER:     Okay.   There he is.    I look at people

          14   like Juan Garza, who I had the honor of meeting last year and

10:34AM   15   heard him speak, and listened to his vision about wanting to

          16   understand who the homeless are.       And then I flash forward,

          17   read about how he's entered into the consent decree within

          18   Bellflower to address the homeless within his population --

          19               THE COURT:    Kathryn, on May 5th, Bellflower got

10:34AM   20   swept.

          21               MS. BARGER:     Yeah -- no, but I mean -- my point

          22   being Bellflower was ahead of the curve as it relates to

          23   recognizing that they could do it if given the opportunity, but

          24   they actually wanted to enter into the consent decree to give

10:34AM   25   them coverage so that they could be compassionate.           Because




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           1   it's not about criminalizing the homeless, but also being firm.

           2   And I know Whittier is looking at doing the same.

           3                 We have an opportunity, both the plaintiffs, the

           4   counties, and the cities to get this right.         And I am

10:35AM    5   committed, along with my colleagues.        And you referenced

           6   Supervisor Janice Hahn who took a lot of heat for pushing to

           7   San Pedro.    But what I tell people is they're already in our

           8   community.    If left to their own device, not great neighbors.

           9   But if provided the supportive services and the help that they

10:35AM   10   need, I'd be proud to have them as my neighbor.

          11                 So as a board, we are committed to moving forward,

          12   Your Honor.    And I want you to know that, again, I don't view

          13   the people that got us here today in an adversarial way.               In

          14   fact, I admire their courage for stepping forward and saying,

10:35AM   15   "We want to be a part of the solution as well."

          16                 Because you will in the end be a part of the

          17   solution, because it's going to be a give and take and it's

          18   going to impact neighborhoods and people that you may know that

          19   are going to say, "We want you to fix it.         But by the way, do

10:35AM   20   it over there, don't do it over here," which I'm sure

          21   Mayor Garcetti's heard, I'm sure a lot of my colleagues have

          22   heard that are elected officials.

          23                 So we have to have the political will and the

          24   leadership to get it done.      And we're going to be looking to

10:36AM   25   you, Judge Carter, to help us navigate those waters.           So thank




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           1   you for having us here today.

           2                THE COURT:    Well, thank you.     And let me be a safe

           3   forum because I've got heroes and heroines out there, and our

           4   job is to create that for you as elected officials and let you

10:36AM    5   proceed as quickly as possible without being an impediment.

           6                Now I'm going to ask the following of you

           7   specifically:    You're so well thought of in so many circles, so

           8   I'm going to toss out some names, Robert O'Brien, okay, and Joe

           9   Grogan, they're a phone call away.        All right?

10:36AM   10                You know that I went back -- Ben Cardin wanted to

          11   come out and see our program.       I went back to DC because nobody

          12   cares about a federal judge in DC or most places, by the way,

          13   but certainly not in DC.      And that was too big a story having

          14   him come out.    If they're going to produce, this is the

10:36AM   15   collaborative effort, but I'm going to be asking the tough

          16   questions in the future on behalf of our city, and that is if

          17   they're going to produce and help you, maybe you can't say it,

          18   but I can.    So right now, love to all, best wishes,

          19   collaborative effect.      But the federal government, if they're

10:37AM   20   going to step up, Mayor, and they're not, this is going to be a

          21   much different session in the future.         Okay?   And that's not a

          22   threat, that's just a promise.

          23                Now, sharpen your pencils.       You don't have to stay.

          24   You've got decisions to make.       But in a moment we're going to

10:37AM   25   try to give you a presentation because since Steve was kind




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           1   enough to accede to me taking this case, I think folks have

           2   been working night and day.      I don't know many folks who have

           3   slept since last Friday.

           4                And we're going to see if there's 20,000 to 30,000

10:37AM    5   units that you're interested in and how you would sequence them

           6   and what permitting would take place, et cetera, and how

           7   quickly.   Because if not, then let's get on the phone.          I want

           8   you to have my number.      Okay?   If I can't communicate with you,

           9   then -- and I don't want the whole public to know it, because

10:37AM   10   I'm going to make a transcript, and I'm going to ship it out to

          11   everybody.   We're going to get a transcript out because we had

          12   to limit this today.      But you've got to be able to call me, and

          13   I've got to be able to call you.

          14                But most importantly, Andre Birotte is a great

10:38AM   15   admirer of you.    Judge Birotte speaks nothing but praise.            I'd

          16   like you to coordinate with Andre Birotte and work though him

          17   on all occasions, okay, that are possible.         You've always got

          18   my number.   But we're such close friends.        Okay.

          19                Now, I want to show you one picture on the way out.

10:38AM   20                Eddie, put up a picture of someplace called Georgia.

          21   And I want to show you what our country can do.           So anybody

          22   tells us that they can't build a shelter within 28 days, then

          23   go talk to Michelle Martinez or the mayor in Anaheim --

          24                MAYOR PULIDO:    And Santa Ana.

10:38AM   25                THE COURT:    And Santa Ana, yeah.     Thanks, Miguel.




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           1                -- and go talk to Michelle Martinez.        They put a

           2   shelter up in 28 days.     Anaheim matched them.       And right now

           3   you're looking at America.      This is a place called Georgia

           4   right after the war, right after the debacle called genocide

10:39AM    5   had taken place.    And this is South Ascension coming across the

           6   border into Georgia.

           7                By the way, this gentleman was born a short place

           8   from here.    That's your money.     They may call it UN money, but

           9   that's United States money, and these were put up overnight by

10:39AM   10   USAID.    So anybody who tells you from the federal or state

          11   government that America can't do this, well, I'll just show

          12   them this picture.

          13                Now, would you take me over to where I just sat in

          14   Saipan.    They got hit by a god-awful typhoon.        It destroyed it.

10:39AM   15   If you don't like those kind of shelters, then I'm all for

          16   tents.    Because if we're going to get them off the street, it's

          17   not going to be pretty.      Some people are going to get hurt.

          18   But we're trying to move as many people as quickly and save

          19   their lives.

10:39AM   20                And they're not going to be the optimum conditions,

          21   plaintiffs' counsel.     They're not going to have all the ADA.

          22   We're going to try.     We don't want a paraplegic on the second

          23   floor of a motel without whatever, an elevator.          And so we're

          24   going to try.    But this is not going to be perfect.         In fact,

10:40AM   25   don't let the --




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           1               What is it, Jim?       Get a --

           2               JUDGE SMITH:     Don't let the perfect be the enemy of

           3   the good.

           4               THE COURT:     Yeah.    So if we're going to move, then

10:40AM    5   there's going to be a lot of criticism for everybody.            Well,

           6   these are tents.     Guess what, they've been going to school now

           7   for five and a half months over there, and these kids are going

           8   to be going to school over there in these tents for probably

           9   another year and a half to two years.

10:40AM   10               If a country is doing that this quickly and we've

          11   got a crisis involving death on Skid Row -- hey, tents, I love

          12   tents.   So you're not getting any pushback from this court or

          13   from my colleagues in terms of getting structure up because I'm

          14   going to say this:     We are losing more people right now to

10:40AM   15   hypothermia, pneumonia, and other disease than possibly this

          16   COVID crisis is going to cause in increased deaths.

          17               In Orange County alone, we've lost 240 without the

          18   crisis hitting.    Well, God help us, I hope it doesn't add

          19   substantially.    But with those kinds of numbers, if you could

10:41AM   20   give me these in every city in Orange County and Riverside and

          21   Los Angeles immediately -- so if you don't like the following

          22   presentation, great, I'm going to ask everybody what's better.

          23               So without further ado, Paul Leon, come up here, and

          24   I'm going to get a pencil and step off of the bench, and we're

10:41AM   25   going to get numbers.      And you're going to start taking down




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           1   numbers for me.    Because if this doesn't make sense, tell me

           2   what does.

           3                Eric, thank you.     I'll call you tonight.

           4                MR. LEON:    Good morning.    My name is Paul Leon.        I

10:41AM    5   am a public health nurse and CEO of Elimination Foundation.

           6   And we currently are working in Orange County, L.A. County, and

           7   Inland Empire.

           8                So Judge Carter asked me to present real quickly on

           9   what we were doing prior to COVID-19 hitting, and that was we

10:42AM   10   ran recuperative care, medical recuperative care.           We're the

          11   largest recuperative care currently in the nation.           And we had

          12   already started looking at supply and emergency housing, bridge

          13   housing, and then permanent supportive housing.

          14                And about a month ago, Mr. Ken Rice [sic] came to us

10:42AM   15   with these units.     We had already talked to him about

          16   purchasing these units at cost.       They were in North Dakota, and

          17   they were assembled for oil derricks and oil derrick workers.

          18   When we saw these units, we realized that we could not only

          19   assemble them quickly, but they could serve as recuperative

10:42AM   20   care medical respite units for our clients that were homeless

          21   and were really increasing.

          22                You could see the beds are complete.         They come with

          23   all the soft items needed to run.        You know, they can be

          24   stacked.   They could get here -- they could start coming.             They

10:43AM   25   have full kitchens that could be set up.         And they could also




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           1   be assembled and serve 300 meals three times a day.

           2               We -- they can be configured any way.          They have

           3   full washrooms.    And on the right you'll see they have complete

           4   generator systems if they need to be brought in and they can't

10:43AM    5   be hooked up to a grid.      Full-on washing machines, pretty much

           6   everything similar to -- these are the generators -- to what

           7   we're doing now.

           8               Now, again, these are at cost.        It's a

           9   public/private partnership that we were going to do in

10:44AM   10   Orange County, and our nonprofit was going to bring in 78 beds

          11   as a stepdown facility for COVID-19.        So we had already talked

          12   to Ken about having them on the way.        And, again, we could go

          13   over the prices with you.

          14               My colleague in just a second -- these are the

10:44AM   15   Caltrans places that we identified that we were already looking

          16   at putting LifeArk -- and I'll show you LifeArk in a second --

          17   but we were already looking at acquiring some of these places

          18   in L.A., Orange County, and we were already on our way to

          19   filling out the applications to put up LifeArk.

10:44AM   20               And, again, LifeArk, for those of you who don't

          21   know, Mayor Garcetti's office had a challenge for innovative

          22   housing.   We actually won that housing challenge.          And we won

          23   the challenge for services.       LifeArk, again, will take a little

          24   bit longer to set up, about 90 days.        90 days to six months.

10:45AM   25               The first facility is going to be set up --




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           1                 Paul, is that Monterey Park?

           2                 THE COURT:    No, no, too long.     Move on.

           3                 MR. LEON:    Okay.    So, again, these are the units.

           4   We could have 7,000 of the first units here in 90 days to six

10:45AM    5   months max.    So, again, Judge Carter wanted us to present.

           6                 THE COURT:    You presented that.     Still too long.

           7                 MR. LEON:    7,000 beds, 11,000 per bed, and that's a

           8   total of 4,648 units.      We showed you the Caltrans sites that

           9   we're able to apply to put them on that.

10:45AM   10                 As far as services, both Elimination Foundation,

          11   Salvation Army, we in Orange County run probably the two

          12   biggest shelters, and we have capacity to scale up.

          13                 THE COURT:    Okay.    Now, let's have a conversation.

          14   That's excellent for the long term.        But our conversation was

10:46AM   15   also about 1.9 million --

          16                 Come on up, Ken.

          17                 -- about 1.9 million for 70 beds.       Right, Paul?     No,

          18   Paul, stay there.     About 1.9 million for 70 bedrooms; right?

          19                 MR. LEON:    Yes.

10:46AM   20                 THE COURT:    But on my discussion, and I want all of

          21   you to be clear, I don't care if these are purchased or not.

          22   You could put up tents.      You could put up Tuff Sheds if you

          23   could save lives.     But the end result is that if you double

          24   bunk these, then you move from 70 to 140.

10:46AM   25                 And the problem facing us right now is we don't know




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           1   the standard.    Can 50 of us assemble under the present

           2   guidelines or shortly are we at 10?        And so, therefore,

           3   wherever we're doing, we need the flexibility to make certain

           4   we're not spending money and backing up and having to do it

10:47AM    5   again.

           6                The next thing is we need these now, which is why

           7   I'm going to call on Kevin De Leon in just a moment.           And so I

           8   want to talk about what we could do now as we transition in,

           9   because if Los Angeles can't absorb this, then, Joe, I want a

10:47AM   10   couple hundred out in Whittier.        Dave, in Stanton, I want 100

          11   out there.    In Anaheim, Harry wants some.       I think Mayor Silva

          12   is here.    But I want to give this opportunity, if it is an

          13   opportunity, right here because we're the most impacted in

          14   Los Angeles.    So let's see if this makes sense monetarily.           And

10:47AM   15   if it doesn't, okay.

          16                So if we -- remember, I can't add, so you're going

          17   to help me in the audience.        Are you ready for this?     And

          18   multiply.    How many trucks can you use for transportation?           And

          19   I informed you my dad was a long-haul truck driver.           How many

10:48AM   20   trucks can you put on the road?

          21                MR. PRICE:    Right now I have a commitment for 240.

          22                THE COURT:    Trucks?

          23                MR. PRICE:    Trucks.

          24                THE COURT:    Okay.    On each truck, I'm going to call

10:48AM   25   one of these units of 70 bedrooms holding 140 people -- what do




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           1   you want to call this?

           2                 MR. PRICE:   That's a facility.

           3                 THE COURT:   A facility.

           4                 So I want to just take 40 trucks.       And would

10:48AM    5   somebody multiply for me in the audience 40 times 140 and tell

           6   me what the answer is.

           7                 UNIDENTIFIED SPEAKER:     5,600.

           8                 THE COURT:   5,600.

           9                 Now, when the Saudis got in a fight with Russia over

10:49AM   10   oil prices -- if you're not broke by now, something's wrong --

          11   but it went down into the 50s, and now if you check, it's in

          12   the high 30s or low 20s.      He's having to stash these up in

          13   Canada probably.

          14                 So you say you're selling at cost, I don't know.

10:49AM   15   Check it out.    Not in favor or disfavor, but if that's the

          16   case --

          17                 Eddie, start flipping up the first photo of what one

          18   of these looks like.

          19                 Without the bureaucracy of well-intentioned permits

10:49AM   20   and going into offices, if you put 40 trucks on the road, Ken,

          21   how quick could you have them here?

          22                 MR. PRICE:   We've worked it out for the 70-bed

          23   facility --

          24                 THE COURT:   Not set up.    Just how soon can you get

10:49AM   25   to the outskirts of L.A.?




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           1               MR. PRICE:    A little less than a week.

           2               THE COURT:    Okay.    Let's say eight days to be sure,

           3   a little more.    As we put up these pictures --

           4               And blow that up, Eddie, if you can.

10:50AM    5               Let's go to the interior of what one of these looks

           6   like.   Because, folks, I'll represent I haven't seen these in

           7   person.   I'm only giving you alternatives about adding to a

           8   supply, if we can add to the supply, and then getting a cost

           9   figure and seeing if we can beat that cost figure or negotiate

10:50AM   10   it or do something else as an alternative instead of what are

          11   we going to do next.     So all I'm doing is laying out for you a

          12   possibility that I don't necessarily subscribe to.

          13               Let's just start with 40 trucks; right?          Eight days.

          14   5,600 -- what do we call them?       Bedrooms?

10:50AM   15               UNIDENTIFIED SPEAKER:      Facilities.

          16               THE COURT:    Facilities?     Well, whatever they are.

          17               Is that 5,600 if I double-bunk those rooms?

          18               MR. PRICE:    We're looking at -- right now I think we

          19   have nine facilities on the offer.        The first unit is the

10:51AM   20   70-bed complex.

          21               THE COURT:    Right.    We're right here.

          22               MR. PRICE:    And that we can have --

          23               THE COURT:    140 capacity.

          24               MR. PRICE:    That we can have here and operational in

10:51AM   25   three weeks.




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           1               THE COURT:     So if we -- now, not operational because

           2   the City is about to help you.       Part of the problem with

           3   operation is are these the four units that operate off of a

           4   septic tank where we don't have to hook into a main sewer line,

10:51AM    5   and that's 640 you can supply that I know about?           Or are these

           6   units that we have to hook into a sewer line?

           7               MR. PRICE:     This unit is built to connect into the

           8   local utilities.

           9               THE COURT:     Okay.    In a sewer line or electricity.

10:51AM   10   So the question would become for the mayor and the City, where

          11   do they go and how many do you want, if you even want these?

          12   And how do we shorten that permit process and do it as the City

          13   of Santa Ana just did it, that is, put an inspector onsite with

          14   these and sign off as we go, because every time we had to go

10:52AM   15   back to the office in my cities in Orange County, it took a

          16   long time because folks were doing what they were supposed to

          17   be doing.   But when we got them out in the street, we were able

          18   to build shelters in 28 days.       Okay?

          19               How many of these do you have?

10:52AM   20               MR. PRICE:     Right now I've set aside for Paul 20,000

          21   beds.

          22               THE COURT:     How many do you and Paul have under

          23   contract that he's trying to tie you up with?

          24               MR. LEON:     4,000.

10:52AM   25               THE COURT:     4,000.   So if I had a population in




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           1   Los Angeles, according to "Los Angeles Times" -- and who's here

           2   from the "Times"?     Anybody?    Yeah.    So you wrote in yesterday's

           3   article 38- to 37,000 homeless people in Los Angeles.            That's

           4   what you said.    I'll read it to you.       And if I took 60 percent

10:53AM    5   of that, what's that?

           6                UNIDENTIFIED SPEAKER:        I'm sorry?

           7                THE COURT:     What's 60 percent of 37,000?

           8                UNIDENTIFIED SPEAKER:        I didn't write it.

           9                THE COURT:     How much?     25,000.   25,000.   So at

10:53AM   10   60 percent, you've already got 4,000, and you have it under

          11   contract.

          12                MR. LEON:    For Orange County.

          13                THE COURT:     For Orange County, right.      But I might

          14   be asking you -- well, we'll see.         You got it under contract;

10:53AM   15   right?   Yeah, show me the money.        Put up your contract for me.

          16                MR. LEON:    We actually don't own it, but we have the

          17   purchase agreements.

          18                THE COURT:     You agree?     You've got a purchase

          19   agreement?

10:53AM   20                MR. PRICE:     We have a purchase agreement.

          21                THE COURT:     So I won't have to do the drama of

          22   putting up the contract.      We can believe that.      Okay.

          23                Now, that's going to leave -- what's your capacity

          24   here?    You said 20,000?

10:53AM   25                MR. PRICE:     We have set aside 20-.




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           1                THE COURT:    20,000?

           2                MR. PRICE:    Since this hit, we're getting demands

           3   from all across the country now.

           4                THE COURT:    Exactly.   So if you're going to jump on

10:54AM    5   this, you better jump on it if it's being true to cost, because

           6   otherwise, in our discussion with the mayors last night, we're

           7   quite willing to ship them right up to Oakland as we dawdle and

           8   discuss this and try to get perfect instead of good.

           9                Because my input to the governor and staff last

10:54AM   10   night was as follows:      If we can't absorb them here in

          11   Los Angeles with a need, we're not going to wait for

          12   Los Angeles.    We're going to get them up to Oakland, et cetera.

          13   So you got first opportunity or nonopportunity.          And the longer

          14   you take -- and by the way, it's okay to reject it.           In other

10:54AM   15   words, if it doesn't fit, just tell me no and let somebody else

          16   take a shot at it.     But you have got about 24 hours to make up

          17   your mind.   And we're going to do that today.         Back to your

          18   office.   And I'm going to stay here until I get it.          Fair

          19   enough?

10:54AM   20                Now, Eddie, what are my court hours?

          21                MR. NUGENT:    We've been on the record until 1:30 in

          22   the morning.

          23                THE COURT:    1:30 in the morning, no problem.          I'll

          24   just sit here.

10:55AM   25                So I believe that we're collaborative, but I also




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           1   believe that when we get back to our offices, we have got a

           2   thousand things to do.      And just tell me you don't want them.

           3   Because 13 other mayors were on the line last night, right,

           4   Miguel?    Miguel's gone.    Yeah.   But, Joe, et cetera, and other

10:55AM    5   folks.    Kevin, you said you wanted some.       Come on up for a

           6   moment.    Kevin, come on up.     Don't be shy.    How many you want?

           7   If the price is right.

           8                MR. DE LEON:    We'll negotiate.     One thing I want to

           9   make sure it's clear, these are not just beds.          When these

10:55AM   10   facilities drop in, you have a full commercial kitchen.            We

          11   have one complex that is 330 beds.        It has a full commercial

          12   kitchen that will serve breakfast, lunch, and dinner for over

          13   700 people a day.

          14                THE COURT:     Eddie, show them the kitchen.

10:56AM   15                Now, remember, this may be pie in the sky.          Okay?

          16   Just tell me what else you got going that's better, or even

          17   less better, whatever that means, that you think is acceptable.

          18                MR. DE LEON:    These all have laundry facilities.

          19   They all have dining halls.       They all have commissaries.          We

10:56AM   20   have meeting rooms.     We have treatment rooms.       We have

          21   examination rooms.     We have boardrooms.      We have fitness

          22   centers that can work as rehab centers.

          23                THE COURT:     So for the mayor, the Board, we

          24   obviously have an opportunity far beyond homelessness.            We

10:56AM   25   actually have an opportunity in this crisis to set up, if you




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           1   will, intake centers and isolation centers in the same module.

           2   Now that's a lot different than a motel room that we're putting

           3   folks in and asking a doctor to go to.

           4                And the question is how fast in talking to City

10:57AM    5   Manager Rick from Santa Monica yesterday, he said, "Watch out,

           6   Judge, because we may not be able to sequence these fast

           7   enough."    And if we can't sequence these fast enough, then I

           8   think that there's a general agreement that we don't want to

           9   wait while they sit there for a period of time because then

10:57AM   10   another city can use them.

          11                So my last question is I want to do some fancy

          12   calculations, okay.       I calculated that 140 into 1.9 million is

          13   how much?    Would somebody calculate that for me in the

          14   audience?

10:57AM   15                "L.A. Times," you're doing real well.         How much?

          16                UNIDENTIFIED SPEAKER:      It's about 13.5, Judge.

          17                THE COURT:     I would know the answer, but we'll see

          18   how he does.    13,500.    Okay.   Good.

          19                All right.     13,500 to serve one homeless person in a

10:57AM   20   two-person separated --

          21                I'll be right with you, I promise you.

          22                -- separated unit.     So you don't have to worry about

          23   whether there's 10 or 50 as the CDC gives direction to us.             And

          24   they haven't given direction yet.

10:58AM   25                Hold on, I'll get to you.      But if I let you in, I




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           1   let everybody in.     So hold on.

           2               Now take what's the cost of 27,000 units or -- or

           3   27,000 people on the streets of Los Angeles?          In other words,

           4   if you supplied 60 percent of the 37- or 38,000, I want

10:58AM    5   everybody in this room to come up with a bottom-line number

           6   that should scare the heck out of us.

           7               MS. SOBEL:     The current budget, it is around 50

           8   million just for the cleanups.

           9               THE COURT:     Okay.    Just hold on.    I just want to

10:58AM   10   know what these units are going to cost for a moment.            Come on.

          11               UNIDENTIFIED SPEAKER:       350 million.

          12               UNIDENTIFIED SPEAKER:       350 million, Your Honor.

          13               THE COURT:     350.    Do it again.    Remember, we're

          14   double-bunking.    So really, one module of 70 is 140; right?          So

10:59AM   15   how many modules do we need?       140 into 27,000, let's say,

          16   times -- and we'll take the smaller modules because they get

          17   less expensive, the larger modules --

          18               And you've got much larger modules; right?

          19               UNIDENTIFIED SPEAKER:       Up to 1800 beds.

10:59AM   20               THE COURT:     So let's get the worst figure possible.

          21   Do it one more time.     You may be right.

          22               UNIDENTIFIED SPEAKER:       It's around 340 million.

          23               THE COURT:     Okay.    340 million.    That's our bottom

          24   line with other costs, of course, with hookup.          Now that's a

11:00AM   25   scary number, but at least it's a number to work with; right?




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           1   That's a number to decide if there's a more quicker -- if

           2   there's a quicker, more economical, more humane way.           But

           3   eventually, you're going to go to some kind of transitional or

           4   long-term supportive housing.       And what I'm suggesting is this

11:00AM    5   may be the jump right now with the crisis that gets you into

           6   one bedroom, two people per bedroom, et cetera.          But law

           7   enforcement's here and I'd like to speak to LAPD.

           8               UNIDENTIFIED SPEAKER:       Chief Moore is here.

           9               THE COURT:     Chief, thank you.     The first concern

11:00AM   10   would be, Chief, hey, why am I putting a bunch of folks into a

          11   room where I can't see them?       I can't see them.     Because I've

          12   got these folks coming in and some are using narcotics who want

          13   shelter.   And so at least in our part of the world, we were

          14   putting them into larger rooms for supervision until they gave

11:01AM   15   us some degree of, let's say, of getting off of narcotics for

          16   those who were on narcotics or psychiatric issues.

          17               So our experience was we put you into a little bit

          18   larger facility, or tried to, and then you kind of earned your

          19   way out because law enforcement couldn't see unless they were

11:01AM   20   in more of a dormitory style.       And we don't know if we're going

          21   to 10 or 50 yet.     CDC hasn't told us that yet.

          22               And, number two, you've got a tough call to make,

          23   and I really respect you, and that is, do you even want these

          24   folks in jail if they're loitering, et cetera, or they're going

11:01AM   25   to carry the Coronavirus in, and my guess is that's the last




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           1   thing you want to do.

           2                CHIEF MOORE:    Well, Your Honor, thank you for the

           3   opportunity to appear before you.        And I appreciate your energy

           4   and even more importantly your authority on this critical

11:01AM    5   issue.   This is an organization as a local government that is

           6   trying to work feverishly to provide needed services for

           7   individuals that are in -- terribly at risk, and this pandemic

           8   is only amplifying the crisis that we have before us.            And

           9   frankly, this is also an organization of County and City

11:02AM   10   officials that have worked tirelessly in order to get through

          11   red tape and bureaucracy and seemingly endless counts of

          12   obstacles.

          13                And I'm -- it's my hope by being here today that I'm

          14   witnessing an opportunity to break through that, and that

11:02AM   15   you'll have the authority and the ability to actually allow us

          16   to work in a common-sense manner that can provide shelter for

          17   those that are in need as well as care and treatment for people

          18   who are experiencing mental health crises, substance abuse

          19   problems, and that the complexity of this is not simply the

11:02AM   20   establishment of a large shelter or individual beds.           But the

          21   real care of this is not the construction of the units, but

          22   also the augmenting it with staffing that can provide.

          23                The worst-case scenario is a barrack setting with

          24   law enforcement on gun post, looking at this population as if

11:03AM   25   it's somehow an offender or somehow the enemy.          The best-case




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           1   scenario is mental health workers, medical personnel, outreach

           2   and engagement of social workers that are present 24/7, 365.

           3   That has been a challenge for this region and it is across

           4   America.

11:03AM    5               So I look forward to you working with us in this

           6   coalition, working in support of our joint endeavor here, which

           7   is to provide affordable, realistic, resilient housing

           8   immediately for people who are in crisis because they're in an

           9   environment in a public setting that exposes them to this

11:03AM   10   Coronavirus as only the latest chapter of the risk to their

          11   safety and their welfare.

          12               And so, secondly, as is perhaps is a moment that can

          13   transition us into a more lasting solution, I -- we all share

          14   that ambition.    But as law enforcement, what I would first ask

11:03AM   15   is that we find the means to build and locate and establish

          16   immediate shelters so that we have ample opportunity for people

          17   who are willing or able to provide, then to take advantage of

          18   that shelter.

          19               THE COURT:     Absolutely.    In other words, let's get

11:04AM   20   folks under shelter as quickly as possible, supervise them as

          21   best we can.

          22               Okay.    A couple things.     This won't work unless it

          23   works for law enforcement.       It's just as simple as that.          And

          24   historically, when I started, the cities wanted to sweep the

11:04AM   25   City from a law enforcement perspective, but we didn't have the




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           1   same kind of help, impetus, and push.        I don't think people

           2   really cared about that as much in the community.          That's

           3   transitioning now because the community is terrified of this

           4   COVID-19.   So health has really risen to the top of the ladder.

11:04AM    5               I want you to tell me and educate me what the best

           6   scenario for law enforcement is and repeat that to me.           So if

           7   we were going down, let's say, Broadway, and we were cleaning

           8   encampments and we just started -- I mean, street to street --

           9   you took in a thousand people, tell me the module that you'd

11:05AM   10   like that initial thousand people, what that module would look

          11   like for you.

          12               CHIEF MOORE:     Well, the worst-case scenario is the

          13   one you just described.      The clearing of streets by law

          14   enforcement in Los Angeles would, in my view, as a professional

11:05AM   15   of nearly four decades of service, lose the very trust of the

          16   community in which we're attempting to maintain.

          17               THE COURT:    Everybody hear that?

          18               Now, here's what I got from the governor's office.

          19   They're right on board.      They're expecting that they may get

11:05AM   20   from CDC as of 10:00 o'clock last night in the conversation,

          21   "Hey, hold these encampments in place because the scattering is

          22   going to cause chaos and mayhem.       And, Judge, what do you think

          23   about that?"

          24               I said, well, I would never interfere with the input

11:05AM   25   of a professional like CDC, but why aren't we increasing, then,




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           1   the health of these people in that very area by supplying these

           2   tents or trailers or whatever you decide because they're not

           3   social distancing themselves now, Chief, they're all rubbing

           4   elbows and using subway and I don't care about our social

11:06AM    5   distancing.    It's just not going to work in the gate-guarded

           6   communities even.     So I'm right on board with you.

           7                 CHIEF MOORE:    So we join with you, the -- the

           8   sheltering system, the 13 that are being established starting

           9   tomorrow as part of a 42 overall outreach effort will also have

11:06AM   10   challenges in regards to social distancing.          And I do not

          11   intend for LAPD to be the enforcers of social distancing.

          12   We're not carrying tape measures around nor do we expect to use

          13   them.

          14                 THE COURT:     Listen closely as we discuss these

11:06AM   15   trailers or tents today from your perspective.          And jump in at

          16   any time because this must work for law enforcement in the

          17   community and the citizens.       Because although we're focusing on

          18   homelessness, it's really the whole community.          Okay?

          19                 UNIDENTIFIED SPEAKER:     Yes.

11:07AM   20                 THE COURT:     Any input, just step forward.      All

          21   right?

          22                 Okay, Ken, we're almost done.      So there's your price

          23   tag.    Are you going to flimflam us and negotiate and drive that

          24   price up or are you going to hold your word --

11:07AM   25                 CHIEF MOORE:    Excuse me, Your Honor.      I'm going to




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           1   excuse myself.

           2               THE COURT:     -- to that cost?

           3               CHIEF MOORE:     Your Honor, absent other direction or

           4   desire, I'm going to excuse myself.        I do have staff here --

11:07AM    5               THE COURT:     Excellent.

           6               CHIEF MOORE:     -- that will continue to monitor this

           7   and be a party to our efforts.

           8               THE COURT:     And by the way, you'll have my phone

           9   number.

11:07AM   10               CHIEF MOORE:     Very good, sir.

          11               THE COURT:     And I'll reach out.

          12               So Ken, here, now we're going to test you.           I get

          13   input as of two days ago that we're going to go with cost.

          14   You're going to stay with cost?

11:07AM   15               MR. PRICE:     Yes.

          16               THE COURT:     Okay.    There's the commitment.      He's not

          17   going to flimflam you or raise it.        Those were the numbers that

          18   we were given.    Take it or leave it or take a portion of it,

          19   but please let the governor, let me, and let other people know

11:07AM   20   what our needs are in Los Angeles.        And please let us work

          21   together from the City perspective if we can sequence these in,

          22   if you want some of these, Kevin, quickly enough so that we're

          23   not wasting time by either finding professionals who we don't

          24   have to get in here, because then let's get some up to Oakland

11:08AM   25   and help the governor.      Okay?   Let's not let them sit for six




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           1   months.

           2               Now, anybody in the audience, this is -- come on

           3   down.   You tell me and give me a better price for units of this

           4   type.

11:08AM    5               MS. SOBEL:     I have a question.

           6               THE COURT:     Okay.   Now, hang on, Carol, I promise

           7   you you'll have all day and night.        I want to hear from the

           8   audience.   I want to even hear from the press.         You guys are

           9   covering this, and gals.      Give me a better price.

11:08AM   10               Okay.    Then either go with trailers or they come

          11   back with some alternative or cheaper solution.          Tell me why

          12   it's better.    Tell me why hotel rooms are going to work.             While

          13   they might in the interim, how in the heck are we going to

          14   eventually service those hotel rooms with professionals going

11:08AM   15   place to place?     And aren't we wasting money in the long run by

          16   not having transitional and long-term supportive centers that

          17   we need anyway?     So for God's sake, if the governor's helpful

          18   and going to give away money, and if President Trump -- can

          19   somebody get him on the line?       No, call Joe Grogan.      I tried

11:09AM   20   this morning.    I'm not kidding you.      Call him.    Then if they're

          21   serious about this, then let's take advantage of this god-awful

          22   situation and do something.

          23               So, Ken, I'm going to come back to you.          Anything

          24   else you want to say?      Because you got about 30 more seconds.

11:09AM   25   You did great.




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           1               MR. PRICE:     Oh, I just think this is a full-service

           2   offering.   So you're not just throwing people into beds, you're

           3   getting them fed, you're making them secure, you're getting

           4   them treatment all on-site.        So this is a total solution, not

11:09AM    5   just a throw-them-in-a-bed solution.

           6               UNIDENTIFIED SPEAKER:       Ken, what's your last name?

           7               MR. PRICE:     Price.

           8               THE COURT:     Okay.    Paul.

           9               And by the way, we've got lots of photos.          I'm

11:09AM   10   not -- trust me, I'm going to remain a judge for the rest of my

          11   life.   I don't care if you take it or not.        Just give me a

          12   better alternative that works better for Los Angeles.            Ears

          13   open.

          14               Carol, you had one question?

11:10AM   15               MS. SOBEL:     One question.    Can we tell what the

          16   square footage of each unit is?

          17               MR. LEON:     Yes.   We have that.    We've got it.        We

          18   have the footprint.

          19               But I want to just clarify, Judge, that we're the

11:10AM   20   service providers.     So although Ken seems like a nice guy, we

          21   said this is the price.      We've got to show its at cost because

          22   we have contracts with DHS, L.A. Care, Orange County Health

          23   Care Agency.    We're already at the front line and our beds

          24   are -- DHS cleared some out because they're going to bring some

11:10AM   25   other people to our recuperative cares, but we've already been




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           1   in contact with hospitals.       We anticipate by the weekend

           2   they're going to be full.

           3               And I used to be a critical care director at

           4   Saddleback and Orange County.       I already know their biggest

11:10AM    5   need right now is to clear the people that are healthy.            And

           6   this could be an option.      LifeArk could be an option.        Because

           7   this is going to be for months, to clear the hospital so then

           8   they can really use their ICU beds.        So far we've sent about 50

           9   people that we deemed -- and remember, we're medical

11:11AM   10   personnel -- that we deemed are significant.          They met the

          11   criteria.   And probably about 40 of them came back roughly as

          12   nonCOVID-19.    So it's just a huge problem we're going to have

          13   continuing forward.

          14               And as a provider, we're seeing both those as the

11:11AM   15   immediate answer to -- that we really need.          We're telling as a

          16   provider that not only can we use them now moving forward,

          17   December, January next year, we would have needed similar units

          18   like this to house, you know, roughly, give or take, 16,000 in

          19   L.A. and about 10,000 in Orange County.         So --

11:12AM   20               THE COURT:     Thank you very much.      In fact, there are

          21   schematics of the space, et cetera.        Remember, I don't care if

          22   you accept these or reject them.        Just make a decision, and

          23   then let's move on, if you want some of these or not.

          24               So now I want to turn to Nury Martinez.          You're the

11:12AM   25   council president.     It's a pleasure.     I wanted to --




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           1                 And thank you for letting me get that presentation

           2   on.

           3                 Let me turn to you.

           4                 MS. MARTINEZ:    Thank you very much, Judge.       One

11:12AM    5   thing about me, and I hope through this whole process you and I

           6   can become friends, I don't mince words and I'm very direct in

           7   terms of not only what I believe the leadership of this council

           8   is trying to do with this homeless crisis, but also to give you

           9   an indication of how our neighborhoods and our communities are

11:12AM   10   heavily impacted by this crisis that's been going over the last

          11   couple of years.

          12                 And so for me, I think the mayor has already covered

          13   what the City is doing.       These -- two days ago when we had a

          14   council meeting, we appropriated $20 million for our COVID-19

11:13AM   15   crisis.     Over the last couple of years through the commitment

          16   of this council and the voters of the City, we voted on

          17   Measure HHH, which you are well aware about, and we have now --

          18   our goal is to build almost 10,000 units of housing.           I want to

          19   say that 10 out of the 15 council districts have already met,

11:13AM   20   if not exceeded the 222 pledge, which basically we took 10,000

          21   units of housing, divided it by 15, and that was our pledge to

          22   at least build 222 units of housing in each council district.

          23                 I am adamant -- and I don't mince words -- I am

          24   adamant that all communities need to provide a homeless

11:13AM   25   solution.    Historically, some parts of our city have not shared




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           1   the same responsibility and we are overwhelmed.          Particularly,

           2   those communities or districts -- communities of color and

           3   districts that -- who have historically have had to deal with

           4   environmental justice issues.       Basically, every and any other

11:14AM    5   facility that no one else wanted in the City, it gets built in

           6   these communities.     So if we are going to do this, we need to

           7   do it fair and we need to do it equitable for everyone to share

           8   in the responsibility.

           9               We are in an era of NIMBYism, and I have to say that

11:14AM   10   my colleagues on the City Council have dealt with opposition,

          11   with community pushback, and they have stood up to some of

          12   those oppositions and moved forward with some of these

          13   permanent supporting housing projects and their district.              That

          14   needs to be recognized.      We need to do more of that and we need

11:14AM   15   to ensure that as a city, we're committed to doing this and

          16   sharing the responsibility of solving this crisis.           You know,

          17   it's a decent thing to do and we're up to the obligations to

          18   make sure that we fulfill those commitments.

          19               THE COURT:     I want to thank you.      And that equitable

11:14AM   20   responsibility is critical.       No community can feel that they're

          21   being disproportionately harmed.        By the same token, if

          22   everybody does whatever they've got there, then if one

          23   community has more, that's the problem.         If another community

          24   has less, that may be good for that community.          But unless they

11:15AM   25   cooperate, there's going to be an unintended consequence of




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           1   migration for some of these communities who so far have felt

           2   relatively distant, and we're seeing that in some portions of

           3   Orange County where there's been an influx towards our beaches

           4   and some other locations that have been unintended by some of

11:15AM    5   those communities that didn't step up as quickly, let's say, as

           6   others.

           7                MS. MARTINEZ:    That's correct.

           8                THE COURT:    And so I want to thank you.

           9                I want to turn really quickly to The Salvation Army.

11:15AM   10                MS. MARTINEZ:    One more thing, Judge, if I may.         I

          11   know that Chief Terrazas is also here in the audience --

          12                THE COURT:    Oh, thank you.

          13                MS. MARTINEZ:    -- from our fire department.        They

          14   need to get back to deal with our Coronavirus crisis --

11:15AM   15                THE COURT:    Chief, I want to recognize you --

          16                MS. MARTINEZ:    -- so I want to recognize him if he

          17   has anything.

          18                Chief, do you want to come up?       Because I know our

          19   first responders are heavily being impacted by this crisis, and

11:16AM   20   I want to recognize him and give him the ability to be able to

          21   go back to work because I know you have a full plate.

          22                THE COURT:    Chief, we're getting you back to work

          23   right now.

          24                MS. MARTINEZ:    Thank you, sir.

11:16AM   25                CHIEF TERRAZAS:     Thank you, President Martinez.




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           1   Thank you, Your Honor, for allowing me to be here.

           2                 I think public safety has an important role in this

           3   whole effort.    Just to give you an idea of the numbers that we

           4   deal with on a regular basis, we run 1350 emergency incidents

11:16AM    5   every 24 hours in the City of Los Angeles.         Of that 1350, about

           6   11 percent is to our homeless population.         We transport about

           7   600 people to the hospital every 24 hours.         Of that number, we

           8   transport about 14 percent of our homeless population to the

           9   hospitals.

11:16AM   10                 I think bringing the homeless into shelters is going

          11   to help us.    They're going to be protected from the elements.

          12   They're going to be congregated together instead of spread out

          13   throughout the city.       And we should have a healthcare component

          14   on-site at these shelters so we can catch these issues, these

11:17AM   15   medical emergencies while they're still minor.          So we're here

          16   to do whatever is necessary to support the effort.

          17                 THE COURT:    And we're going to extend that courtesy

          18   back from the bench.       I don't want you to be chilled.       I think

          19   you're the first responders and it's amazing that I'm capable

11:17AM   20   of social distancing.       I'm privileged and lucky and fortunate,

          21   but that homeless population isn't.        And guess who's responding

          22   to it?

          23                 CHIEF TERRAZAS:    We are, Your Honor.

          24                 THE COURT:    Yeah, just like the military, you're

11:17AM   25   right on the front line.




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           1               CHIEF TERRAZAS:      Yes, sir.

           2               THE COURT:     And so, you know, anything that we can

           3   do, you've got that pledge right back.         We're not going to be

           4   an obstacle.    We're going to give you hopefully a parameter so

11:17AM    5   the plaintiffs and defendants here can operate in good faith

           6   within that parameter, and you get the necessary nonimpediment

           7   and nonchilling effect just immediately.         Okay.    And the same

           8   thing to the police chief.

           9               But I want to follow with Kevin De Leon for just a

11:17AM   10   moment because he's got a -- and I apologize to The Salvation

          11   Army because he's got the most impacted area, which you

          12   commonly refer to as Skid Row.       So Kevin?

          13               CHIEF TERRAZAS:      Yes, sir.    Am I excused,

          14   Your Honor, or would you like me to --

11:18AM   15               THE COURT:     Listen.     A long time ago.    I humbly

          16   can't thank you enough.      You've got really important things to

          17   do.   Let me hammer this out with the plaintiffs and defendants

          18   later tonight.

          19               CHIEF TERRAZAS:      Yes, sir.

11:18AM   20               THE COURT:     And phone's open, okay?

          21               CHIEF TERRAZAS:      Thank you very much.

          22               THE COURT:     Pleasure.

          23               CHIEF TERRAZAS:      Thank you.

          24               MR. DE LEON:     Thank you very much, Judge David

11:18AM   25   Carter, Judge Birotte, as well as the fellow judges here




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           1   present today, I want to thank everyone who's had the

           2   opportunity to present to you.

           3               Judge Carter, it was indeed an honor and pleasure,

           4   quite a kick, actually, a few years ago to work with you and

11:18AM    5   the dilemma in Orange County with regards to the housing

           6   homeless crisis.     But it was a real honor -- it was a real

           7   honor, once again, to touch base with you again.

           8               I am a senate president emeritus of the California

           9   State Senate.    I am an aspirant to say that hopefully sometime

11:19AM   10   soon within the next few weeks I can call myself council

          11   member-elect of CD 14.      And CD 14 is also the epicenter of the

          12   homelessness crisis not in the City of Los Angeles, but

          13   actually in the United States of America.         There's not one city

          14   in America that can claim the most number of unhoused

11:19AM   15   individuals, any particular geographical area, than Skid Row

          16   specifically in CD 14.      If we walk out this U.S. federal

          17   building, this beautiful brand-new federal building, just down

          18   the street past Little Tokyo, we will be in Skid Row, and it's

          19   unlike anything we have ever seen there.         In fact, let me say

11:19AM   20   this --

          21               THE COURT:     In fact, you're going to take me down

          22   there, aren't you?

          23               MR. DE LEON:     We're going to go together.

          24               THE COURT:     That's right.

11:19AM   25               MR. DE LEON:     And you said you wanted to go at 4:00




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           1   or 5:00 in the morning, so...

           2               Let me say that a few months ago I took some family

           3   members down to Skid Row purposefully.         And as we were driving,

           4   my family members said, who are not from Los Angeles --

11:20AM    5               (Speaking in Spanish.)

           6               "This cannot be.      This is incredible.      This is the

           7   City of Los Angeles."      Which to another relative in the van

           8   said --

           9               (Speaking in Spanish.)

11:20AM   10               "This looks like the third world."

          11               To another family member corrected that family

          12   member and said, "That's an insult to Third World nations to

          13   say something like this.      In one of the wealthiest cities,

          14   clearly in the wealthiest state, in the wealthiest nation in

11:20AM   15   the world, obviously, this leaves an indelible mark of shame

          16   and it wounds our civic pride as Angelenos, as Californians,

          17   and as Americans.     And I think as Kathy Barger, who just said a

          18   few moments ago before she left, "This is all hands on deck."

          19               I appreciate our great mayor, Eric Garcetti, who I

11:20AM   20   know him and his staff have been on this 24/7 as well as our

          21   new council president, Nury Martinez.         And before I want to

          22   just share a few -- just a couple minutes, but I do want to

          23   emphasize what Council President Nury Martinez just mentioned a

          24   few moments ago.

11:21AM   25               This is about equity.       And those communities that




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           1   have been disproportionately impacted by poverty, lack of

           2   parks, lack of open space, a dearth of supermarkets, fresh

           3   food, freeways, deep-entrenched poverty, gentrification

           4   displacement, these communities also to -- through Council

11:21AM    5   President Nury Martinez's comments have to be treated through

           6   the lens of equity, and how we distribute this issue throughout

           7   the City and County of Los Angeles.        So therefore, I say it is

           8   all hands on deck.

           9               Let me say the following, Judge Carter, is one is --

11:21AM   10   and I think it was mentioned here a few moments ago.           This is

          11   about leadership and accountability.        And the reason why I say

          12   leadership and accountability is that taxpayer dollars are

          13   finite.   HHH, I'm the author of "No Place Like Home."           That's

          14   $2 billion that are coming down the pipeline to build permanent

11:22AM   15   housing solutions.     Those are finite dollars.

          16               It is ultimately up to the citizens of the City, the

          17   County, and the state of California to make that determination

          18   if, in fact, they'll continue to fund housing programs.            We

          19   need value to get volume because the crisis that we have.               You

11:22AM   20   cannot have extraordinary amounts of dollars being spent,

          21   therefore, politically, you have an electorate saying if we're

          22   spending 500-, 600-, $700,000 per unit on permanent housing

          23   solutions, I can't afford to purchase with a great FICO score

          24   with any capital to put down as a down payment to get into a

11:22AM   25   condominium or a townhouse.




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           1               So you run the risk of alienating the electorate.

           2   Because as mayors know, as our great council member Nury

           3   Martinez, and our Mayor Eric Garcetti knows, budgets are tied

           4   up for fire and police, Department of Transportation, city

11:23AM    5   parks, after-school programs, and so forth.          So your wiggle

           6   room is limited to nonexistent.       Therefore, you have to go to

           7   the electorate to ask for money, whether it's a government

           8   bond, whether it's an enhancement on a tax revenue.

           9               And if the electorate themselves are saying, "I'm

11:23AM   10   done, that's it," then we're going to be in a heap of trouble,

          11   even more so, than the current situation today.

          12               I would differ with regards to the chief when he

          13   said -- when he described the worst-case scenario.           The

          14   worst-case scenario is what is happening today present in

11:23AM   15   realtime.   That is the worst-case scenario.         We have tens of

          16   thousands of men and women, increasingly children, who are

          17   living on our streets every single night.

          18               To that, I want to say the following:          The question

          19   is, can we build what I authored, Senate Bill 100 RPS,

11:24AM   20   Renewable Portfolio Standard, which clearly says to utility

          21   companies you must by a certain year have X amount procurement

          22   of renewable energy.     I think for leadership and

          23   accountability, and to have the teeth that's built in, city

          24   governments throughout California, especially in Southern

11:24AM   25   California, have to have a legal mandate.         We will build X




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           1   amount of housing units, and the question is by when.

           2               THE COURT:     By when.    Okay.

           3               MR. DE LEON:     How many units and by when which is

           4   absolutely critical.     Because if we don't have the legal teeth,

11:24AM    5   then we'll be in litigation after litigation after litigation.

           6   The Boise decision, the Mitchell decision, all of these

           7   lawsuits that are coming down the pipeline today right now.            If

           8   we're all hands on deck by using the money that we have today

           9   in the most prudent manner, we can resolve this crisis.

11:24AM   10               THE COURT:     And let me share something with you.

          11   One of the best things that's happened through the settlements

          12   and the consent decrees with the 21 cities is that in 18

          13   months, we've had two issues that were resolved by Judge Smith

          14   that took 15 to 30 minutes each.        And that wasn't necessarily

11:25AM   15   satisfactory to all parties, but we have absolutely flattened

          16   the litigation.    That is money that you can be spending that

          17   normally goes out for litigation purposes that's devastating

          18   and, quite frankly, could be better spent in other ways.

          19               So that's one of the good things.         Maybe a city

11:25AM   20   attorney or law firm might not be as appreciative of that, but

          21   we have flattened the litigation in our part of the world.             And

          22   it's caused two things, our ability to move forward.

          23               Kevin, hypothetically, I'm going to offer you 4,000

          24   trailers.

11:25AM   25               MR. DE LEON:     I will say this --




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           1               THE COURT:    No, hold on.     Hypothetically, I want you

           2   to walk me through that.      How are you going to get the permits?

           3   How are you going to hook them up?        And how long would it --

           4   and you don't have these answers yet, so you don't have to

11:25AM    5   respond today, but are you interested?

           6               MR. DE LEON:     I am absolutely interested.       I don't

           7   have the legal or political authority to accept these units,

           8   but I do have the moral authority as a constituent of CD 14 and

           9   as a constituent --

11:26AM   10               THE COURT:    So if we can get them here

          11   hypothetically in seven days and without the City's help, if it

          12   took 30, 60, 90 days to hook up, but hypothetically, if my dad

          13   were still alive and he got in his long-haul rig and he drove

          14   down here -- see, he used to go from Portland to Detroit down

11:26AM   15   to L.A. to deliver cars -- back to see mom and me, and made

          16   that circle.    Okay?   So North Dakota, no big deal.

          17               All right.    Now, you arrive with 4,000 units out

          18   here at the -- either the train station or you arrive -- if

          19   they're overland.     I think it's become a real problem in terms

11:26AM   20   of well-intended bureaucracy because we take it to an office,

          21   the person does a good job looking at it, but the one miracle

          22   that I saw with Michele Martinez in Santa Ana and Anaheim and

          23   the rest of these cities was they actually took that

          24   inspectorate and put it right on-site.        And it didn't go to an

11:27AM   25   office.   They signed off as they went if it was appropriate.




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           1   And if not, they corrected it.       That's the realtime action we

           2   need because this doesn't have to take 90 days.

           3               And that's why I kind of rudely, and I apologize to

           4   Ken and Paul, cut them off when I said 90 days is too much.

11:27AM    5   Because we've talked about a much shorter period, if we get the

           6   cooperation of the City, because we watched it work before.              So

           7   it's nothing new.     We're not inventing something.        We've just

           8   sat there and watched the time cut in two-thirds, just slashed.

           9               MR. DE LEON:     Well, I would say, Judge Carter, in

11:27AM   10   that I think that city/local governments have to identify

          11   city-owned real estate portfolio assets that are

          12   underappreciated, undervalued, underused.         So those are real

          13   estate locations where we can immediately --

          14               THE COURT:     Okay.

11:27AM   15               MR. DE LEON:     -- find the housings.      And

          16   specifically, I think when it comes to planning departments, we

          17   have to cut the red tape and roll out the red carpet.

          18               THE COURT:     I have to depend upon you to do that.              I

          19   don't want to tell folks the date we're going out there.               Call

11:27AM   20   me at home again.

          21               MR. DE LEON:     I'll give you a call.

          22               THE COURT:     Okay.   4:30, 5:00, 5:00 o'clock, and

          23   we're out there; right?

          24               MR. DE LEON:     We'll do it together.

11:28AM   25               THE COURT:     In a very short period.      Because I don't




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           1   want the press with us or anybody else.         We'll just quietly go

           2   out there.

           3                MR. DE LEON:    We'll go out there in cognito.

           4                THE COURT:     By the way, I used to be here in the

11:28AM    5   Mexican Mafia case for two years so I used to run down through

           6   Skid Row every day.     So I know it.     I just want to relook at it

           7   again.    I wasn't -- haven't been there for a while.

           8                MR. DE LEON:    Okay.

           9                THE COURT:     Kevin, thank you very much.

11:28AM   10                MR. DE LEON:    Thank you very much.

          11                THE COURT:     Give me a call.

          12                MR. DE LEON:    Just one last -- I will take those

          13   units right there, as many as we can --

          14                THE COURT:     Okay.

11:28AM   15                MR. DE LEON:    -- for CD 14 at least.

          16                THE COURT:     Okay.   Then we'll work out the

          17   sequencing and stuff.

          18                MR. DE LEON:    Okay.

          19                THE COURT:     Fair enough, Kevin.     Thanks a lot.

11:28AM   20                Okay.   I want to call on Salvation Army for a

          21   moment.    General, you've come down.      I know you don't go by

          22   "general," I just promoted you.       Thank you.     Introduce yourself

          23   to the audience really quick, tell me your capacity, and then

          24   get back to the front line as a first responder.

11:28AM   25                COMMISSIONER HODDER:      Thank you very much, Your




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           1   Honor.   It's a privilege to appear before you today.          My name

           2   is Commissioner Kenneth Hodder.       I'm privileged to serve as the

           3   territorial commander for The Salvation Army USA Western

           4   Territory, all of its operations from the eastern border of

11:28AM    5   Colorado to Guam and Saipan.

           6               I'm accompanied today by Lieutenant Colonel John

           7   Chamness, who is the divisional commander for the California

           8   South Division, and by Captain Nursen Keyston (phonetic) with

           9   whom I know you had the opportunity to work when you were doing

11:29AM   10   your fine work in Orange County.

          11               Your Honor, as you know, The Salvation Army has been

          12   passionate about the issue of homelessness since its founding

          13   in 1865.   We have 155 years of experience in this area.           It is

          14   at the very core of what The Salvation Army does.           In the last

11:29AM   15   few years, of course, we've hit an explosion in this problem.

          16   We determined, therefore, last year that we were going to

          17   double our capacity to improve the lives of the homeless around

          18   the Western United States within five years.

          19               THE COURT:     Now, just a moment.      My colleagues in

11:29AM   20   Portland, Seattle, and San Francisco are very interested in

          21   what's happening in court today.

          22               COMMISSIONER HODDER:       Yes, sir.

          23               THE COURT:     So you're about to speak far beyond

          24   Los Angeles for a moment.      There's a network of judges out

11:29AM   25   there who want to be, let's say, helpful.          And that may be best




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           1   in a collaborative sense, as long as it's within reason and the

           2   parties being involved, instead of you guessing what we're

           3   about to do a year from now.       Can you add to this capacity?

           4   You've heard today some representations that were made, you've

11:30AM    5   heard the issues and problems about sequencing, et cetera.             Can

           6   you add to the capacity in Los Angeles?         And if so, tell me

           7   how.

           8               COMMISSIONER HODDER:       Your Honor, within 24 hours,

           9   we can add 80,000 square feet of facility available in Bell for

11:30AM   10   triage purposes.     Within 24 hours under your direction, we'll

          11   have an additional 27 properties which are closed Salvation

          12   Army thrift stores.     By instruction, I closed all of them

          13   yesterday and repurposed them for purposes of serving the

          14   homeless and those who are vulnerable in the Coronavirus

11:30AM   15   crisis.

          16               THE COURT:     Okay.   Repeat that very quickly.       And

          17   then Mike and certainly our district attorney, Jackie, I'd like

          18   to call on you.     I'll get you back on the front lines.

          19               Okay.    I want you to repeat that.

11:30AM   20               COMMISSIONER HODDER:       Certainly, sir.     Subject to

          21   appropriate governmental approvals and the necessary funding,

          22   we can make available 80,000 square feet in Bell for purposes

          23   of indoor sheltering, for isolation purposes, or for triage.

          24   In 24 hours, we can also make two of our camps available in the

11:31AM   25   Calabasas area that will provide recuperative recovery care and




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           1   it will also provide isolation services for those who perhaps

           2   have already tested positive for Coronavirus, again, within 24

           3   hours.

           4                 We have more than 60 properties here in Los Angeles

11:31AM    5   County that The Salvation Army will make available for any use

           6   that any municipality feels is most appropriate to respond to

           7   the crisis.    We can have all of those ready in 24 hours.             Store

           8   personnel that have been working in Salvation Army stores will

           9   be available to provide additional personnel.

11:31AM   10                 THE COURT:   So you're going to switch those out of

          11   the stores into the field?

          12                 COMMISSIONER HODDER:     Yes, sir.    We'll just bring

          13   them right in.    And all of those facilities, sir, will be led

          14   by trained Salvation Army officers.

11:32AM   15                 THE COURT:   Okay.   You've done an outstanding job in

          16   Anaheim, first, is where we've been working with you.              And on

          17   every occasion, I want to pay a compliment to you.           The

          18   homeless have actually come to believe that you're one of the

          19   premiere, if not primary programs, that they tend to stay in.

11:32AM   20   And that's quite frankly because of some of your rules and

          21   rigidity, which they're not rejecting.

          22                 Now, I want to walk through this again.        80,000

          23   square feet.    Give me specifics.      Who do you need to talk to?

          24   What do you need?     How do you get this up and running?

11:32AM   25                 COMMISSIONER HODDER:     We would like to work through




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           1   LAHSA so as to --

           2                 THE COURT:   Hold on.    Where's LAHSA?

           3                 UNIDENTIFIED SPEAKER:     Right here.

           4                 THE COURT:   Thank you.    Come on up.    LAHSA's coming

11:32AM    5   up.    There she is.   Hold on.    Have we have a chance to talk

           6   yet?   And that's not fault finding because I want to see a big

           7   hug -- just kidding you.      Get six feet apart.

           8                 COMMISSIONER HODDER:     It's a pleasure to meet her

           9   this morning.

11:32AM   10                 THE COURT:   Well, there's no problem.       That's why

          11   we're here.    Say hi to each other.

          12                 COMMISSIONER HODDER:     Good morning.

          13                 UNIDENTIFIED SPEAKER:     Good morning.

          14                 THE COURT:   Good.   Now give each other your phone

11:33AM   15   numbers.   Write down your phone number.        Write down your phone

          16   number for each other.

          17                 COMMISSIONER HODDER:     We will, indeed.

          18                 THE COURT:   Yeah, right now.     Good.   Now exchange

          19   the phone number.      Now, hold on.

11:33AM   20                 So we don't know when, but I would love to be able

          21   to go out and see these 80,000 feet, so would you and so would

          22   the public, although they can't go, operational; right.

          23                 COMMISSIONER HODDER:     Yes, sir.    At the present time

          24   on that site, we already have one of the largest shelters in

11:33AM   25   L.A. County.    The Bell --




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           1                THE COURT:    I know about it.     Harry Pregerson, I

           2   think, was involved.

           3                COMMISSIONER HODDER:      Yes, sir.

           4                THE COURT:    Yeah, he took me down there years ago

11:33AM    5   and I wish Harry was with us now.        He would be a fabulous

           6   asset.

           7                Okay.   I don't know what you have to do and I'm not

           8   going to take the time to hammer that out.         But I would like to

           9   get back to you not in a huge setting like this, but on a phone

11:33AM   10   call.    Okay?   If I could be of help, great.       If I can't be of

          11   help, get me out of the way.       In other words, you don't need a

          12   lookie-loo coming in and interfering with professionals.

          13   You're on the front line shooting bullets right now.

          14                But by the same token, I'm going to be asking why

11:34AM   15   that isn't up and running.       And so I don't want to get into the

          16   particulars, I don't have time.       I need my first responders

          17   back.    But the next meeting will be why isn't this up and

          18   running?    And I want names of why it's not.        Okay?   But today,

          19   we're all happy.     Next time, I'm not sure we're happy.         Okay.

11:34AM   20                Now, what else are you going to do for us?          You've

          21   got 80,000 feet.     I want to hear the next one.

          22                COMMISSIONER HODDER:      Next place, sir, would be the

          23   repurposing of all of our closed Salvation Army thrift stores.

          24   We will be ready to clear those out so as to make them

11:34AM   25   available for --




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           1               THE COURT:     Give me an idea of capacity.       In other

           2   words, what am I talking about?       Am I talking about a hundred

           3   people or am I talking about a thousand people?          A rough

           4   guesstimate.    And I'm not holding you to exactness, but tell

11:34AM    5   Eric and his staff what kind of capacity we have out here in

           6   our communities.

           7               COMMISSIONER HODDER:       Each store would have

           8   approximately 12- to 15,000 square feet of area.

           9               THE COURT:     Wow.   Time out.    Now, if you made that

11:34AM   10   available and I was in a smaller city like La Puente or

          11   Rosemead or hypothetically some city who might have come in,

          12   and I don't have any money and I heard that I could get a

          13   Salvation Army site that I formerly couldn't afford, then I

          14   need to go to somebody for provider services, because in the

11:35AM   15   past our smaller cities are afraid to put in a building,

          16   because after they spend their 1 or 2 million -- right, Joe? --

          17   out in Whittier or 3 million, they have no guarantee of

          18   provider services, so they're searching for 1.5 or $1.2 million

          19   each of the succeeding years.       They can't get started.

11:35AM   20               If you could do that, the end result would be a lot

          21   of these cities would now cut their costs in half, and they

          22   just have to go back to whomever for provider services.            I

          23   mean, that would be a huge benefit to kick start these for the

          24   cities because you're everywhere.        I drop off stuff at

11:35AM   25   Salvation Army a lot of times.       So does my wife.




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           1               Okay.    So how do we get these locations?        How do we

           2   know at least in the Southern California area, let's just say

           3   Los Angeles, let's say the southern cities of Los Angeles or

           4   the valley, I don't care, how can we get these sites to LAHSA,

11:36AM    5   and then how could we coordinate --

           6               Where's Juan Garza?      Juan?

           7               -- how could we coordinate as the president of the

           8   League of Cities --

           9               Come on up.

11:36AM   10               -- and how could we coordinate, Nury, through your

          11   agencies getting our cities, these individually scattered small

          12   cities who have a hard time, together with these potential

          13   sites that they're offering for free and maybe even some

          14   professional intake help because we're transitioning -- you

11:36AM   15   know, Salvation Army, I mean, this -- if this worked, this

          16   would be a godsend.     You'd have immediate structures up and

          17   ready to go with some kind of professional.          Even if we don't

          18   have the nursing staff we need, it's better than what's

          19   happening now.

11:36AM   20               MS. MARTINEZ:     Do you have a number of Salvation

          21   Army stores?    How many are there?      Do you know where they're

          22   located?

          23               COMMISSIONER HODDER:       In Los Angeles County we have

          24   17.   In Orange County we have 10.       We have approximately -- and

11:36AM   25   speaking to those in Portland and Seattle, we have about




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           1   another 100 stores that would be available.

           2               THE COURT:     I'll be on the phone with my colleagues

           3   after this up in Portland and Seattle.         But right now, 17 L.A.?

           4               COMMISSIONER HODDER:       17 L.A.

11:37AM    5               THE COURT:     And we can give those designations to

           6   Nury?

           7               MS. MARTINEZ:     17 L.A. City or L.A. County?

           8               COMMISSIONER HODDER:       They're L.A. County.

           9               THE COURT:     That's why I've got Juan up here also on

11:37AM   10   behalf of the cities.      We need to find out where these are.

          11   And if we can really transition these into dropping off, you

          12   know, things for the folks and transition these, we'd have 17

          13   new locations.

          14               I don't care whether we call it city or -- cities or

11:37AM   15   the Downtown L.A. area, it's got to be a benefit to all of us

          16   in breaking down these barriers; right?

          17               COMMISSIONER HODDER:       Yes, sir.

          18               THE COURT:     Now, how do we get what you want to call

          19   a tickle date, what I call a drop-dead date where we just don't

11:37AM   20   talk about it but we're responsible by phone or in person in a

          21   much smaller group getting back together in a timeline that

          22   either gives us a yes or a no?       How do we make that progress?

          23               Okay.    Time out.    Go talk about that for a moment.

          24   The next presentation, come back with a plan in a few moments

11:38AM   25   about some schematic of getting us together in a time frame




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           1   that's reasonable to make that kind of decision so we don't go

           2   back to our offices and just kind of, you know, do our job, but

           3   we don't get together.      There's a wonderful corner.       Stay six

           4   feet apart or jump in there with the press.         They'll love that.

11:38AM    5                 COMMISSIONER HODDER:    Thank you, Your Honor.       We

           6   will do so.

           7                 THE COURT:   Okay.    Here we go.

           8                 Okay.   District Attorney Jackie and whatever you'd

           9   like to say, please.

11:38AM   10                 MS. LACEY:   Thank you.    First of all, just from an

          11   entertainment point of view, it's great to see a federal judge

          12   cut elected officials off.      I've never smiled so much.

          13                 THE COURT:   Well, usually my attorneys cut me off,

          14   and so --

11:38AM   15                 MS. LACEY:   Only you can do that, so that's really

          16   good, because you're making people get to the point.

          17                 Here's just a brief thing I want to say.        Does the

          18   340 million number include services?        Because without

          19   services --

11:38AM   20                 THE COURT:   Great.   I don't think it does.

          21                 MS. LACEY:   I don't think it does either.

          22                 THE COURT:   Hold on.   But Paul and Ken, come on up

          23   here.

          24                 Jackie, let's get those answers.      That's a great

11:38AM   25   question.   I didn't think it does.       Just what's the bottom line




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           1   to get X amount?     If we can't afford it, can we do half of it?

           2               MS. LACEY:     Right, Your Honor, because we don't need

           3   a timeshare presentation.      We need to get down to brass tacks.

           4               THE COURT:     Let's find out.      There they are.    What's

11:39AM    5   real and what's not?

           6               MR. LEON:     So our services, we are already working

           7   with DHS.   We're just looking for capacity.         And so we already

           8   provide services.     So they're already paid for in different,

           9   you know, venues by different contracts.

11:39AM   10               So the problem that we have is that we have clients

          11   or patients that are funded, but we don't have anywhere to put

          12   them or for our nurses and our case managers to work.            So...

          13               THE COURT:     So the funding -- I keep hearing,

          14   Jackie, that we've actually got the funding out there.

11:39AM   15               MS. LACEY:     Yeah.

          16               THE COURT:     What we don't have is let's get together

          17   because we're so large, quite frankly and, you know --

          18               THE WITNESS:     Right.    Right.   My next question is

          19   will they house people who are infected?

11:39AM   20               THE COURT:     Well, let's find out.

          21               MS. LACEY:     That's fine.

          22               THE COURT:     Because that's one of the things I like

          23   about the trailers is that we can separate out with the

          24   trailers so I could use them for two purposes.

11:39AM   25               MS. LACEY:     Right.




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           1                 THE COURT:    Not homelessness, but I could also get

           2   those over to the medical community where we were sorting out.

           3   And maybe we had one trailer with OVID [sic] whatever, and I

           4   also like the fact that we weren't putting 10 or 15 people in

11:40AM    5   the same room whenever CDC gives us direction.

           6                 MS. LACEY:    Right.

           7                 THE COURT:    Can somebody call CDC and get some

           8   direction?    I'm just kidding.

           9                 MR. LEON:    They can be converted any way.      And

11:40AM   10   they're actually perfect because the fact that you could use it

          11   isolation, we could do triage, we could break them apart.

          12                 THE COURT:    Yeah.    Come on up.

          13                 MR. LEON:    And again, they're temporary.      However,

          14   once they're done, we can continue to use them in different

11:40AM   15   capacities.    That's the difference from having just a trailer.

          16   They're temporary.     And then we already have permanent

          17   supportive housing coming in the back of ours.

          18                 THE COURT:    Jackie, I promise you, it's a lot of

          19   money, but the money really isn't the problem.

11:40AM   20                 MS. LACEY:    Right.   No, I agree.

          21                 THE COURT:    Long term it's not really the money,

          22   believe it or not.

          23                 MS. LACEY:    Well, so is it the RFP process?       Can

          24   these things be done --

11:40AM   25                 THE COURT:    Well, let's find out, Jackie.      Hold on.




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           1   Come on back up here.

           2               MS. LACEY:     The request for proposal, does it have

           3   to be competitive bidding for the City to accept?

           4               THE COURT:     Mike, do we have to spend a whole lot of

11:41AM    5   time spending out for 30 people -- you know, 30 days or 60 days

           6   while people die?

           7               MR. FEUER:     In the emergency, competitive bidding is

           8   not required.

           9               THE COURT:     Bingo.

11:41AM   10               Jackie, see what I mean?       We've got an answer now.

          11   Mike is not going to stand in our way with competitive bidding

          12   because we've got an emergency so we don't have to take that

          13   normal 30-, 60-day timeline.

          14               Mike, thanks.

11:41AM   15               MS. LACEY:     Right.   Right.   So hypothetically

          16   speaking, let's say L.A. County was getting ready to release a

          17   certain percentage of inmates in response to this emergency.

          18   Okay?   Some of those people are going to be homeless.          So we're

          19   getting them out of the jail.       Will we be able to get them into

11:41AM   20   some of this housing?     Is there going to be housing set aside

          21   for the justice involved?

          22               THE COURT:     Great question.     That's why I asked the

          23   police chief to come over today.       Look, they've got a tough

          24   decision to make, and that's a decision I'd love to hear

11:41AM   25   between you and the police chief, and I don't want to put you




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           1   on the spot.

           2                 MS. LACEY:    Right.

           3                 THE COURT:    Because as the jails are down loaded

           4   because they're worried about taking in a COVID-19, by the same

11:42AM    5   token, where are they going to go?

           6                 MS. LACEY:    That's right.

           7                 THE COURT:    And then the public's going to say, and

           8   they should, "Hey, I've got all these homeless running around

           9   down here."    And by the way, you downloaded the jails, and why

11:42AM   10   aren't they in jail because they're loitering, camping,

          11   defecating and, by the way, committing some robberies and

          12   shooting some dope?       And now the police chiefs is really in a

          13   tough bind as he's trying to keep his jail population pure.

          14                 Come on up, representative.

11:42AM   15                 MR. LEON:    I just want to mention that --

          16                 THE COURT:    Hold on.   Hold on.    Hold on.

          17                 Jackie --

          18                 Hold on.    Hold on.   Wait.    Paul, you got it.

          19                 So, Jackie, that's a really hard, tough question.

11:42AM   20   And the second thing is the courts.          Hey, are the courts going

          21   to do, what I would think from the plaintiffs' perspective,

          22   what I call a turnaround?      If somebody was arrested and they,

          23   you know, were loitering or being homeless, then the end result

          24   is if we had these old loitering laws, do you really take them

11:42AM   25   into custody for two days and let them out?




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           1               MS. LACEY:     No.

           2               THE COURT:     See, the courts are going to have a very

           3   difficult -- because I used to be a state court judge.            Jim was

           4   my presiding judge.     We're going to have a very tough problem

11:43AM    5   back, Phil, on the state court side if we were still there.

           6   Andre, you know, we're going to turn these people right back?

           7   I mean, it's a heck of a problem.        So I leave that to the

           8   professionals because I don't have the answer to that.

           9               MS. LACEY:     Right.   So like I said, hypothetically

11:43AM   10   speaking, there may actually be more homeless people next week

          11   out there, so...

          12               THE COURT:     Absolutely, with no place to go, by the

          13   way.

          14               MS. LACEY:     So as a prosecutor who's concerned about

11:43AM   15   public safety, I would love it if these people had someplace to

          16   live because that would cut down on them being rearrested.

          17               THE COURT:     Have you asked the police how many

          18   they're going to release?

          19               MS. LACEY:     We're working on it.

11:43AM   20               THE COURT:     No, just go ask her.      She knows.    Just

          21   step over and ask her.      No.   Quietly, not in front of me.

          22               MS. LACEY:     She doesn't represent the sheriff.

          23               UNIDENTIFIED SPEAKER:       I don't represent the

          24   sheriff, Your Honor.     So the police only have a very short

11:43AM   25   term, and then they go into County jail.




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           1                THE COURT:    Oh, and you're not the County?

           2                UNIDENTIFIED SPEAKER:      Sorry.

           3                MS. LACEY:    Right.   Yeah.

           4                THE COURT:    Is the County here?

11:44AM    5                MS. LACEY:    So I think the sheriff might have a rep

           6   here.   But I know they've identified 2,000 people who are in

           7   there are nonserious, nonviolent that may be able to be

           8   released.    So we're talking about that now.        So in terms of --

           9                THE COURT:    Jackie, I'm going to leave that alone

11:44AM   10   for the time being.     Because I -- that's something to you

          11   uniquely and there's -- you'll have to work out.

          12                MS. LACEY:    Right.   Right.    Exactly.    So my only

          13   comment is we just need to ask more questions.

          14                THE COURT:    Get back and do your job.       But thank you

11:44AM   15   for the courtesy.     Okay?

          16                And let me turn -- because I'm going to conclude

          17   court in just a moment -- to Mike.        You've been very patient

          18   with me.    Thank you for that wisdom concerning the emergency

          19   and not having to go through an RFP.

11:44AM   20                And then, Bill, I want to get to you for a moment,

          21   and then we're going to disband court.

          22                MR. FEUER:    Your Honor, thank you very much for

          23   convening this extraordinary session today.          As the Court

          24   probably knows, I came to public life having directed that side

11:44AM   25   of legal services that provides free legal work to tens of




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           1   thousands of people.     And we emphasized for the first time in

           2   the history of the organization reaching out to homeless

           3   people.   I also served as a state legislature and a city

           4   council member.

11:45AM    5               The roles there are different than the role I occupy

           6   here, but the values remain the same.         So our office has a

           7   program which is focused on in the "L.A. Times" over the

           8   weekend that -- where we send a nurse, a substance abuse

           9   expert, a mental health expert, and formerly incarcerated

11:45AM   10   caseworkers to the street to locations where homelessness and

          11   drug possession offenses intersect to direct people to services

          12   before they commit an offense.

          13               We have a program we competed for and won a grant to

          14   take over the County's homeless court program.          So we now have

11:45AM   15   convened dozens and dozens and dozens of sessions where we help

          16   people, principally homeless people, eliminate outstanding

          17   fines and citations and warrants in exchange for them agreeing

          18   to connect to services to lift them out of homelessness.

          19               We have been very aggressive on what's called

11:46AM   20   patient dumping, unlawful discharge of homeless patients to the

          21   street, not only going after --

          22               THE COURT:     Just a moment.     Thank you.

          23               MR. FEUER:     For what it's worth, the principal goal

          24   we have is not to be punitive.       The goal is to change medical

11:46AM   25   facility protocols so that no homeless patient is ever




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           1   unlawfully discharged.      And now we're collaborating with the

           2   hospital association to achieve that.

           3               We have a program in conjunction with the public

           4   defender in courts where the offenders have serious mental

11:46AM    5   health issues to divert them immediately in a collaborative way

           6   working across the lines of prosecutor and defense counsel to

           7   get people the services they need rather than have them

           8   languish in an incarcerated setting.

           9               I could go on a number of very important programs,

11:46AM   10   many of which transcend the traditional role of a city

          11   attorney.   But the crisis demands, as you pointed out, that we

          12   transcend our traditional roles.        So for purposes --

          13               THE COURT:     By the way, Mike, as uncomfortable as it

          14   is, it's uncomfortable, in coming out of these traditional

11:46AM   15   roles, everybody's going to have to get uncomfortable in this

          16   process.

          17               MR. FEUER:     The least comfortable people are people

          18   who have Coronavirus and/or homeless at the same time, the

          19   numbers for which we do not know at this moment.

11:47AM   20               So -- but for today, the Court's focus today is on

          21   the intersection between Coronavirus and homelessness.            And

          22   it's not as though I stand here with a ready solution to deal

          23   with that confluence, but I do want to say that our office has

          24   been deeply involved in both collaboration with the mayor's

11:47AM   25   office and the City Council on an array of emergency measures.




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           1                 We continue to be there for this particular purpose:

           2   To eliminate where possible impediments to action, to be sure

           3   that rules that may otherwise seem appropriate, if they can be

           4   circumvented in order to achieve the result of getting services

11:47AM    5   to people who desperately need them, we will try to find a way

           6   to do that.    Our role is in this crisis, with regard to our

           7   partners on the policy-making side, to get to the point of

           8   providing services as rapidly as possible with as few

           9   impediments as possible.

11:48AM   10                 And so in addition to the outreach programs we

          11   engage in on the affirmative side to try to lift people out of

          12   homelessness in our purely legal capacity as the lawyers for

          13   the City Council and the mayor, we're going to working as we

          14   did over the past weekend day and night.

11:48AM   15                 So, Your Honor, having said that, if you have

          16   requests of me and of my office --

          17                 THE COURT:   I'm making one right now.

          18                 MR. FEUER:   Yeah.

          19                 THE COURT:   In the past, historically, I'm really

11:48AM   20   good at telling you what you did wrong two years from now

          21   because I've got the hindsight and the wisdom of looking back

          22   at people who are struggling on the front line making tough

          23   decisions and making value choices that actually the courts

          24   might not agree with.

11:48AM   25                 This whole scenario is changing in realtime because




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           1   if you wait for the courts, we have a chilling effect on you.

           2   You don't know what injunctive relief we're going to assign.

           3   You don't know what we're going to do.         You haven't seen the

           4   parties get together this afternoon.

11:49AM    5               I'm going to toss back to you that we need to be

           6   more helpful in going forward in this new dynamic so that the

           7   parties and the Court hammer out and get together with you so

           8   that you don't have a chilling effect.         You can move forward.

           9   You know what you can do within reason and you have input about

11:49AM   10   that.

          11               And if you wait, Mike, that the problem's going to

          12   be -- that the Courts are going -- or at least this Court's

          13   going to have to change its shallow thinking to some degree and

          14   be a little bit more listening to both parties, but a little

11:49AM   15   bit more demanding on them to really get together for the

          16   public good and hammer this out and take off the litigation.

          17               And I will pay a compliment to plaintiffs on both

          18   sides.   I was told that -- and I told plaintiffs' counsel when

          19   you go down the riverbed in L.A., we're going to have 20 1983

11:49AM   20   cases.   There's going to be a battle going on and a couple of

          21   my litigants down in Orange County.        He said, "No, Judge,

          22   there's not going to be."

          23               And what they did is actually put down their sword,

          24   and they went into the tents.       They got out in front of the

11:50AM   25   health workers followed by the police.         We didn't have one




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           1   incident in five days.      Let me repeat that.      I was astounded

           2   and absolutely wrong.      And it was a great lesson about a

           3   cooperative effort when the council finally got together.

           4   Because unless they can get together today, I'm going to go

11:50AM    5   back to Orange County and do what I do best, and that is deal

           6   with my cities down there.       But in a few moments, I'm going to

           7   ask them if they want us involved, fine.         If they don't, just

           8   go litigate and have a great day.

           9                So I think if we're still involved, we're going to

11:50AM   10   be getting together, but probably by phone, because I'm not

          11   going to have another big tent meeting like this.           In fact,

          12   knowing now, you know, we limited it to 50.          Let's get you back

          13   to work.   Okay?

          14                MR. FEUER:    No, we'll trade you -- we'll trade cell

11:50AM   15   phone numbers, Your Honor.

          16                THE COURT:    Yeah.   Then they got to give me

          17   permission and you permission to talk and trust, and then I'll

          18   disclose to you what we're saying.        And we have to do that in

          19   realtime, Mike.

11:50AM   20                MR. FEUER:    Yeah.   And let me conclude with this --

          21                THE COURT:    Oh, and I'll give you Judge Smith's

          22   number.    No, I'm just kidding.

          23                MR. FEUER:    I already know Judge Birotte's phone

          24   number.    And Judge Gutierrez is trying to shield his phone

11:51AM   25   number from me.




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           1               THE COURT:     Let me give you both of them, then.

           2               MR. FEUER:     There you go.    But seriously for a

           3   second, the one -- you know, a couple key revelations that

           4   emerge from a conversation as broad as this.          One is there

11:51AM    5   needs to be region-wide collaboration because homeless people

           6   don't know where the boundary is between Beverly Hills and

           7   Los Angeles and so on; right?

           8               THE COURT:      Right.

           9               MR. FEUER:     And region-wide sharing of obligation as

11:51AM   10   well.   You know, Ms. Martinez alluded to the importance within

          11   the City of Los Angeles of shared commitments across council

          12   district lines, across neighborhood lines.         The same argument

          13   pertain with even more force with regard to the cities in the

          14   broader region here, and that's going to require several

11:51AM   15   things.

          16               And one thing is, as I conclude here, with regard to

          17   the various proposals for -- I'll call them putting beds on the

          18   street right now -- we do have to work collaboratively in the

          19   larger system including with the state and ideally the federal

11:52AM   20   government, because if you crossed out $340 million for those

          21   beds, for example, I have no idea what the service provision

          22   costs are associated with that, let alone -- what the mayor's

          23   office is doing right now is redirecting staff members from

          24   throughout the City whose roles have been changed --

11:52AM   25               THE COURT:     Right.




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           1                MR. FEUER:   -- because of the emergency and putting

           2   them for the first time in settings to assist homeless people.

           3                THE COURT:   And we just heard that about the

           4   Salvation Army which I didn't know until I heard this

11:52AM    5   presentation.

           6                MR. FEUER:   Right.    But there is going to be a need

           7   to assure that there is a supply of people to provide the

           8   services of the police chief and what others have said are

           9   necessary concomitants of this location of this housing.

11:52AM   10                So let's -- if we're going to think about working

          11   together across jurisdictional lines, it has to be with real

          12   common sense in a practical way, saying what's real in terms of

          13   actually delivering an array of services in a setting that's

          14   helping --

11:53AM   15                THE COURT:   Hold on.

          16                Come on up, Salvation Army.      If you've had a

          17   meeting.

          18                Mike --

          19                MR. FEUER:   Ken and I are law school classmates.

11:53AM   20                THE COURT:   No, I know.     But, folks, come on down

          21   from LAHSA, whatever -- whoever wants to participate.           Colonel,

          22   Captain, come on up.

          23                Now, hold on, Mike.

          24                Let's find out real quick, what's our solution here?

11:53AM   25   How are we doing?




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           1                 COMMISSIONER HODDER:     Based upon the conversations

           2   we've been having, Your Honor, we will have a final plan in

           3   place by Tuesday.

           4                 THE COURT:   Excellent.    And who do I call to verify

11:53AM    5   that?   I believe you.

           6                 COMMISSIONER HODDER:     The man here (indicating).

           7                 THE COURT:   Okay.    So I'll see you in my court

           8   Tuesday at what time?

           9                 UNIDENTIFIED SPEAKER:     What time do you want me?

11:53AM   10                 THE COURT:   No.    You know my hours.    5:00 in the

          11   morning, 10:00 o'clock?       You name the time.

          12                 UNIDENTIFIED SPEAKER:     10:00 a.m.

          13                 THE COURT:   I'll see you at 10:00 a.m. along with

          14   the captain.    Fair enough.      Now, you don't have to drive all

11:53AM   15   the way down.    We'll get you by phone.      I'm not trying to get

          16   folks down.    Okay?   I just want to know that if we're setting

          17   dates, that those are kind of dates that we're really working

          18   towards.   So thank you.      Every day, everything -- we have 17

          19   maybe, places.

11:54AM   20                 UNIDENTIFIED SPEAKER:     Yes, sir.

          21                 THE COURT:   Wow.    Yeah, I can't tell you how much --

          22                 Michele, isn't that going to help our cities?            Yeah.

          23                 Juan -- I mean, Nury, isn't that going to help our

          24   cities?

11:54AM   25                 MS. MARTINEZ:    Absolutely.




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           1                 THE COURT:   No matter how you call it.       And if

           2   they're going to transition, I mean, just -- that was worth it

           3   for me to drive down just today to hear that.          I had no idea

           4   about that.    I had no idea when I talked to you by phone and

11:54AM    5   asked you to come down that you were in the process of actually

           6   taking Salvation Army personnel and willing to give up your

           7   storefront and the drop-offs, which by the way, I'm still going

           8   to do, okay.    But then transition those folks into people

           9   trying to help.    We just now need to get to the medical folks.

11:54AM   10   Let's work on that, because maybe we can get our healthy folks

          11   in there.

          12                 And so for the mayor's office, you're hearing

          13   something I never heard.      This is a gift.     And if it's

          14   happening in Los Angeles, you know -- so we need their number

11:54AM   15   also; right?    We certainly need Nury's number; right?          We're

          16   going to need the litigants.       We're going to have to talk about

          17   this today as we run with it.       I know there are problems, but

          18   you just overcame those problems.        Thank you.    They're not now

          19   problems.   There are no problems.       All right.    Good.

11:55AM   20                 MR. FEUER:   Can I ask a question?      Just for my

          21   edification --

          22                 Ken, good to see you.     Is -- are you offering these

          23   locations free of charge to the City, or would there be some

          24   compensation you'd be asking for?

11:55AM   25                 COMMISSIONER HODDER:     We are asking for no rent of




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           1   any kind.

           2               THE COURT:     Hold on.

           3               Did you hear that, everybody?

           4               MS. SOBEL:     Zero rent.

11:55AM    5               THE COURT:     Zero rent.

           6               COMMISSIONER HODDER:       We would ask for assistance in

           7   operational funding, but no rent.

           8               THE COURT:     Sure.   That's fair enough.      And Carol's

           9   saying that that's really high, but we'll get it lower; right?

11:55AM   10               COMMISSIONER HODDER:       We're willing to work with all

          11   involved.

          12               THE COURT:     Okay.   So at least we can get the

          13   establishments which we didn't have before.          And wherever the

          14   negotiations are now, it's over the servicing, Carol, that's

11:55AM   15   going to take place.     And so you might say it's too high, and

          16   you might say it's too low, and you might say we're not going

          17   to pay for it, but at least we have something we never had

          18   before, and that is 17 different locations with personnel.

          19   That's worth just having this meeting in and of itself.

11:56AM   20               Okay.    Mike, get back to work.      Thanks.     Blessing.

          21               UNIDENTIFIED SPEAKER:       Judge, can we be excused or

          22   would you --

          23               THE COURT:     Oh, no, absolutely.      Get back and do

          24   what you do best.

11:56AM   25               Nury, do you want -- do you need to go?




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           1                 MS. MARTINEZ:    Yeah, I need to leave.

           2                 THE COURT:    Yeah, please.    Don't stand up in the

           3   gallery.   Just walk out.     We have got just a few more

           4   presentations, and I'm going to disband also.

11:56AM    5                 MS. MARTINEZ:    Thank you, Judge.

           6                 THE COURT:    Thank you very much.

           7                 Okay.    Mayor, I'm going to -- Mayor Joe -- and I

           8   just know Mayor Joe as Mayor Joe.         So, Mayor, would you

           9   introduce yourself on behalf of Whittier.

11:56AM   10                 And by the way, I expressed some -- I got it.            I

          11   expressed -- where's Miguel?        Ask Miguel to come up.

          12                 Miguel, my apologies.      Where's Miguel?    Yeah, come

          13   on up here.

          14                 Join with the mayor.      He's going to be just a

11:56AM   15   moment, Miguel.       I saw you.    I thought you'd left.     Come on up

          16   or just a moment.

          17                 But, Joe, tell me your thoughts in a couple minutes.

          18   Then I want to talk to Miguel.

          19                 MAYOR VINATIERI:      Your Honor, thank you very much.

11:57AM   20   I'm in court all the time.         This is an -- I've never seen a

          21   court hearing like this.      Thank you.     There is hope.     I'm

          22   hearing hope this morning.         And thank you that the Court's

          23   making something happen, that there's accountability.            That's

          24   very important.

11:57AM   25                 I'm Joe Vinatieri.      I'm the mayor of the City of




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           1   Whittier.    We have 88,000 people.      We've been talking about

           2   L.A. County and the City of Los Angeles.         We're a small city,

           3   somewhat small, 80,000 in Southeast L.A. County, and we border

           4   Orange County.    We also have --

11:57AM    5                 THE COURT:    Thanks again, Mike.     And, Nury, thank

           6   you very much.    And tell your staff thank you.

           7                 MAYOR VINATIERI:    As you know, we have 231 homeless,

           8   and we've done our City Net survey.        There are three things I

           9   just want to say.     The City of Whittier, we have the City

11:57AM   10   council-approved settlement agreement has been sent to

          11   plaintiffs' counsel.

          12                 THE COURT:    Let me say this in complete

          13   transparency.    I expressed frustration with both of you out in

          14   the hallway.    My apologies.     This just arrived last night.          So

11:58AM   15   although the council's approved it, I put you both in a

          16   position of making the decision, and I think I growled.             My

          17   apologies to both of you.      Isn't that nice to hear apologize?

          18   I apologize.    But I was growling at both of you.

          19                 She needs time to look at that.       So we probably have

11:58AM   20   a good chance of a settlement that we could have put on record

          21   today or modification, Carol, if you looked at it and didn't

          22   see something you like.      But it's not fair to you to lay out

          23   that settlement now.       But I know that Whittier is going to

          24   settle.     And I know that, Carol, whatever those modifications

11:58AM   25   is, we'll get back in a reasonable period of time.           But I don't




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           1   expect you to stress over that today.        She got that last night,

           2   okay?

           3               MAYOR VINATIERI:      We are very motivated, Your Honor,

           4   and to join with the City of Bellflower and the other cities in

11:58AM    5   Los Angeles County, the smaller cities.

           6               Secondly, we're very concerned, of course, about the

           7   mental health aspects of what is going on.         There's been lots

           8   of discussion.    And you've talked about Fairview and Costa

           9   Mesa, Metropolitan State Hospital in Norwalk.          From our

11:59AM   10   perspective, at least in the southeast area, and with the

          11   governor's order relative to state facilities, we're working

          12   with Juan Garza, and we're hopeful of getting here very shortly

          13   with the City of Norwalk and talk about how we can work some

          14   things through because you have lots of space, and I saw it, I

11:59AM   15   think, indicated on one of the screens we saw just earlier.

          16               So we think it's very important for the regional

          17   approach to homelessness to make things happen that way also.

          18               THE COURT:    Eddie, you want to put up Fairview?

          19               MAYOR VINATIERI:      Yeah.   We had all those, I think,

11:59AM   20   various properties that are properties within Los Angeles

          21   County.

          22               THE COURT:    Now, a lot of the cities have expressed

          23   this.   So, Joe, here's what I need.       And I would -- I know my

          24   colleagues may be interested.       And, in fact, I think Andre or

11:59AM   25   Phil orchestrated all of this.       And I want to thank you for




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           1   bearing with me for so long just humbly as colleagues.           So

           2   appreciative.

           3                I've been on the bandwagon about what do I do with

           4   that 10 to 14 percent and some people say 20 percent of just

12:00PM    5   the poor people out there who are just so schizophrenic and

           6   bipolar.    Guess what, they got downloaded a long time ago.           And

           7   the governor's not going to bring them onboard.          Maybe you

           8   ought to know that.     So we're sharing courts --

           9                It's all my -- my fault.      Would you get on the

12:00PM   10   phone, just apologize.     Doing my best.     It's L.A.; right.

          11                She's been expressing that a long time.         If the

          12   governor is going to open them, great.        And if he's not, just

          13   tell us that, bottom line.

          14                MAYOR VINATIERI:     We're going to find out.      We're

12:00PM   15   working on it.    It needs to be done.      It's a major issue in

          16   Whittier.    I know it is everywhere else.

          17                THE COURT:   But if we're not going to put it -- if

          18   we're not going to put them on the grounds at Norwalk or

          19   Fairview or Sonoma or whatever, hey, just bottom line it, maybe

12:00PM   20   you sell it, maybe you do something else.         But right now we

          21   have got to find a way to get those 10 or 14 or 20 percent off

          22   those streets because I can't get them into a shelter.           And I'm

          23   watching them close so --

          24                MAYOR VINATIERI:     It's a major issue in our

12:01PM   25   jurisdiction.




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           1                THE COURT:   Okay.    Let me talk jointly with the

           2   assembly person.    So would you introduce yourself.         By the way,

           3   I disclosed to both parties that members of the California

           4   Assembly called, they got on FaceTime, I think there was six or

12:01PM    5   seven of us, maybe more dropping by.        I was in court.     And we

           6   had a conversation about you being here.         So I want that fully

           7   disclosed to the parties that I didn't wait for this meeting

           8   today to take place.

           9                MR. SANTIAGO:    And I want to thank you, Judge.

12:01PM   10   We're here at your discretion to expedite and facilitate

          11   anything that we can do.      I know the questions that you had

          12   asked at the time were what sort of funds had the state

          13   expended and what sort of ideas or facilities do we have.

          14                I don't want to take the Court's time -- too much of

12:01PM   15   your time.   But I do want to say I want to thank you for making

          16   this happen because I think otherwise we'd be waiting a little

          17   bit longer to get some of this stuff online.          In terms of state

          18   dollars, those that expended had already had been HEAP dollars,

          19   and they're close to about 86 million for L.A. city continuum

12:02PM   20   of care.   About 81 million HAP dollars, to my knowledge, have

          21   not been expended but will be released.

          22                THE COURT:   How much?

          23                MR. SANTIAGO:    So it's my knowledge that the -- for

          24   this region alone, about 81 million to the continuums of care,

12:02PM   25   about 118 million to the City, and L.A. County about 194




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           1   million.   If I have erred, I will correct myself to you.

           2               THE COURT:    Don't worry.     It's a good faith.      Okay.

           3               MR. SANTIAGO:     It is.   We were jotting this down.

           4               And when the governor asked us for -- about

12:02PM    5   authority, we passed $1 billion in emergency funding that gave

           6   the governor the authority to use at his discretion.

           7               A day ago yesterday, as you know, the governor

           8   released $150 million.     Of that approximately 19 million is

           9   going to the City of Los Angeles and to the region, these are

12:03PM   10   approximate numbers, 37 million to the region in total.            So we

          11   expect that money to be used as fast as possible.

          12               THE COURT:    Now, let me tell you the content of the

          13   conversation without the -- with the governor's office last

          14   night.   The governor's not on the phone.        I don't think it's

12:03PM   15   good that we communicate.      But I told them that the Court was

          16   going to be very supportive if I had jurisdiction over this

          17   case in terms of moving forward.

          18               But the one thing was going to be absolute

          19   consistency, and that is that I was going to ask the tough

12:03PM   20   question and, I didn't want them to feel slighted as everybody

          21   left with a very warm hospitable phone call about 10:00 last

          22   night, that I wasn't going to say time and time again what we

          23   were going to do with that 10, 14, or 20 percent of these

          24   hopeless schizophrenic/bipolar men and women who have done

12:04PM   25   absolutely nothing wrong.      And so you don't have the answer to




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           1   that.

           2               MR. SANTIAGO:     But I think you should ask the tough

           3   questions because it will force immediate action.

           4               THE COURT:    Oh, I am.     And I'm going to trust you to

12:04PM    5   take that back to the governor's office, to Williams.           Okay?

           6               MR. SANTIAGO:     I will.

           7               THE COURT:    Okay.    Real quick.    I mean, please.

           8               MR. SANTIAGO:     I will call.     Absolutely.

           9               THE COURT:    And I'm wide open tonight for another

12:04PM   10   phone call because we -- we said we would get on the phone with

          11   his chief, et cetera, and they know that I'm asking that tough

          12   question again, why aren't these hospitals open?          If not, what

          13   are you going to do with this percentage of people that are in

          14   our cities that the co-op person just can't cope with?

12:04PM   15               MR. SANTIAGO:     I will note, Judge, if I may, that

          16   the governor took an extraordinary step to -- in exempting CEQA

          17   for emergency shelters.

          18               THE COURT:    I was very complimentary last night

          19   about that, both for municipality --

12:04PM   20               MR. SANTIAGO:     That was my bill so I know very well

          21   about it.   But to local municipalities, it really does cut down

          22   the time that they need to go through that process.           So that --

          23   and L.A. already has that.      But for other municipalities up and

          24   down the stat for the region, they no longer have to wait for

12:05PM   25   that.




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           1                I would ask you as another piece to take a look at,

           2   too, would be the conservatorship or Lanterman Act

           3   conversations.

           4                THE COURT:   Right.

12:05PM    5                MR. SANTIAGO:    Because there are going to be a

           6   series of populations who are going to be hard to press to get

           7   off the street.    But I would ask the Court in a future late,

           8   maybe take a look at that as well.

           9                THE COURT:   Other than, you know, having this

12:05PM   10   pulpit, that's the legislative function.         I understand that.     I

          11   can growl.    But I have no power in a sense to implement what

          12   you can implement.     But I don't care whether it's Norwalk or

          13   Fairview or Sonoma or whatever, we seem to have the federal

          14   government on one occasion saying that we can bring people off

12:05PM   15   the Princess Cruise, and I'm just wondering when I saw that why

          16   aren't we handling our own California people who we have to

          17   deal with at some point anyway and providing those services

          18   that are so needed?

          19                Because every police chief tells me, "You know,

12:06PM   20   Judge, if I could get 10 or 15 people just out of my community

          21   who are just bipolar and schizophrenic and they've done nothing

          22   wrong, I take my violence level down.        I take" -- I leave that

          23   with you.    But next session I'm going to be asking the same

          24   question.    So please tell Darrel that.      Please convey that to

12:06PM   25   the governor.    And I'll convey that tonight.




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           1                 MR. SANTIAGO:    I will make that call when I leave

           2   here.

           3                 THE REPORTER:    Excuse me, can I have your

           4   appearance.

12:06PM    5                 MR. SANTIAGO:    Sure.   Miguel Santiago.

           6                 THE COURT:    Okay.    Thank you very much.    All right.

           7   And I appreciate your patience.        I love Sharon Quirk-Silva.

           8   I -- would you apologize, and I'll text her later on.           I just

           9   had Los Angeles folks I wanted to get to immediately.           So no

12:06PM   10   disrespect intended.

          11                 So, Joe, do you want any of these trailers?

          12                 MAYOR VINATIERI:      Yes, Your Honor.

          13                 Just one last thing.     Trailers, looks great.      I

          14   haven't talked to my council about it.

12:06PM   15                 THE COURT:    Right.

          16                 MAYOR VINATIERI:      But the mayor of Whittier wants to

          17   make it happen.    So put us in line.

          18                 THE COURT:    Okay.    So check the price.    I mean, get

          19   involved.   If you don't want them, fine.        I don't care.     But if

12:07PM   20   they are of any value, so be it.        If they're not, just reject

          21   them.   I don't care.      You know, we can get tents.      We can get

          22   other trailers, et cetera.       I just want to come up with

          23   something concrete, Joe, that's on the table.          If people don't

          24   like it, reject it, but if it's going to go, then make it go.

12:07PM   25   Okay?   And if you want some of these and L.A. doesn't want




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           1   them, let's feed them out to Oakland, let's get them over to

           2   Whittier.

           3                MAYOR VINATIERI:     My suspicion is with this

           4   information that you've elicited today, I think there will be a

12:07PM    5   lot of people interested.

           6                THE COURT:    Oh, I've gotten calls.      In fact, we

           7   asked some mayors not to come who are going to make the same

           8   statement, that they wanted these trailers.

           9                Michele, you've been extraordinary helpful as usual.

12:07PM   10                Bill, I invite you to come up for a moment.

          11                And I want to thank Miguel and Christine for

          12   remaining also.

          13                MR. TAORMINA:     Good afternoon, sir.

          14                THE COURT:    Hi, Bill.

12:07PM   15                MR. TAORMINA:     Bill Taormina.     I am here to add to

          16   your arsenal to avoid anarchy.        I'm from the private sector.

          17   I'm not an elected official, nor will I ever be one.            I need 90

          18   seconds of the Court's time.

          19                THE COURT:    Take it.

12:08PM   20                MR. TAORMINA:     I need six points to tell to you

          21   right now.

          22                Number one, I'm the private sector.         I represent

          23   numerous families in Orange and Los Angeles County that are

          24   ready to move forward on this.        We are a catalyst.     We are a

12:08PM   25   catalyst to make action.      We are not driven by profit.        We are




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           1   driven by the preservation of the quality of life and life

           2   itself.

           3                Point two, the funding is ready.       We need zero

           4   dollars from any government.       We are ready to buy these

12:08PM    5   trailers today.    In a moment I'm going to hand my credit card

           6   to Mr. Price for whatever deposit he wants.         We're going to tie

           7   these trailers up today.

           8                Number three, logistics, the shipping and the

           9   installation is ready.     We are ready to move forward.

12:08PM   10                Number four, our nonprofit operators are sitting in

          11   the front row.    They're ready to move forward.

          12                Number five, what we need -- the gentleman from

          13   Whittier just said we need locations.        We need government

          14   property.    We need private property.      We need -- we just need

12:08PM   15   locations.    We need to break a few rules relative to zoning and

          16   land entitlements.     That should be easy because your other

          17   choice is anarchy.     Let's be honest here.      This thing is out of

          18   control and we need to fix it.

          19                Point six, this is a solution for both homelessness

12:09PM   20   and to control this virus.      Thank you for your time.       I'm going

          21   to hand my --

          22                THE COURT:   Oh, no, don't go away.       I love this

          23   credit card.    Could I -- no, I'm just kidding.

          24                MR. TAORMINA:    It has unlimited credit amount, and

12:09PM   25   I'm here to give this to Mr. Price.        I'm going to walk back




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           1   there and hand him my business card and the credit card number

           2   is on the back.    And I'm dead serious.

           3                THE COURT:   By the way, I know his worth, and he has

           4   got a substantial limit, trust me.

12:09PM    5                MR. TAORMINA:    It doesn't matter.      It's time for

           6   action.   Thanks to you for this Court for making it happen.           So

           7   let's do it.

           8                THE COURT:   Okay.    Now, here is a strong ally for

           9   some portion of the plaintiffs.       They're your business

12:09PM   10   community.   In my part of the world, before I came to this part

          11   of the world and now I'm part of our world here in Los Angeles,

          12   I may be getting a shelter up here, okay, I'm going to start

          13   living up here thanks to Judge Carney and his being so gracious

          14   about maybe getting me some hotel space -- he's what I call the

12:10PM   15   police league side.     He's what I call the business side.

          16                If you don't know who he is -- and by the way some

          17   of the other major families, who he's going to probably

          18   privately disclose to you, trust me, he's probably very much in

          19   line with the First Alliance Group, because I perceive you as

12:10PM   20   more business oriented in a sense than maybe some of the other

          21   groups that might be -- there's going to be an accord.

          22                So he's speaking your language.       Okay?    In fact, he

          23   actually sued the railroads to clean up the mess on the

          24   railroads behind his multiple properties.         So talk to him.

12:10PM   25   Okay.




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           1                Bill, I want to thank you for stepping up.         I had no

           2   idea you were going to do that.       I'm actually a little stunned.

           3                Okay.   I'm ready to suspend this Court except for my

           4   esteemed and incredibly wonderful counsel.         And here's the

12:11PM    5   bottom line.    You've heard today -- and I've asked nothing of

           6   you -- if you want the Court not to be involved, that's just

           7   great.   We will litigate for the next ten years, and I could

           8   care less.

           9                And Andre and -- Birotte, thank you for being here

12:11PM   10   for this wonderful opportunity to meet all these good folks.

          11                But if you want us involved, we can give you a

          12   shelter and parameter to operate within, I hope, with a lot of

          13   disagreements on occasion, a lot of disagreements on occasion.

          14   Okay?    But the point is we moved forward in our part of the

12:11PM   15   world to an extent that I never expected before I got involved.

          16   It's not been pretty.     It's not been perfect.      People have

          17   gotten hurt.    But by God we moved forward.

          18                And I know that we can move forward on this.         So you

          19   tell me what time you want me to be back here.          I'm going to go

12:11PM   20   walk around and get a cup of coffee for a moment and visit with

          21   some of the folks who've remained, just because they're friends

          22   and I'd like to meet some of the other people in the audience

          23   who have been so patiently sitting here with us that I haven't

          24   had a chance to talk to.

12:12PM   25                If you want the Court involved, I want you to tell




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           1   me that, but you have to give me the following or I won't be

           2   involved:   One, I must be able not to gather a group like this

           3   again.   I have to be able to reach out to Eric.         I have to get

           4   on the phone with the governor's office tonight.          I've got to

12:12PM    5   be able to talk to Bill about trailers or call Ken, you know,

           6   and Paul.   I've got to be able to talk to Carol.         I've got to

           7   be able talk to you.     And you've got to trust me in those

           8   ex parte conversations.      Because they're going to be more

           9   valuable, I hope, than litigation.

12:12PM   10               And if you get to litigation, I've got great judges

          11   who can litigate.     And they can probably be much more

          12   collaborative than even I am.       So I'm reaching out to you

          13   choosing two of what I think are the finest colleagues that I

          14   could possibly find on the bench to participate in this,

12:12PM   15   because you should have a tremendous -- you should have a

          16   tremendous sense of confidence that when you talk about people

          17   like Judge Birotte -- in fact, our entire bench here and

          18   Judge Gutierrez, that you're talking about people that are the

          19   middle of the road, that don't have an axe to grind, liberal or

12:13PM   20   conservative or however you toss those silly labels around, who

          21   will get down to work with you, and by God, we're going to get

          22   criticized for the lives we didn't save.         We're never going to

          23   be accountable or known for the lives we did save.

          24               But you have got a chance for us to save an awful

12:13PM   25   lot of lives.    And if we act quickly -- and if not, we came




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           1   here for the homelessness and COVID, right, the community right

           2   now distancing themselves who have that benefit, and God bless

           3   them.   Thank you.      It's coming.   It's just going to delay.

           4                 So what time would you like me to meet?        Because

12:13PM    5   you're going to be ordered to meet and confer.

           6                 Carol, you've been through this before.        Okay?     And

           7   you know that I have to be able to communicate with you early

           8   in the morning or late at night and share with the other side.

           9   And I've made a lot of mistakes.

12:13PM   10                 But you have got to give me an answer today.         And

          11   I'm going to sit here until I get "yes" or "no."          And then

          12   you're going to sign up and you're going to give me some

          13   limited jurisdiction for a limited period of time so you're not

          14   trapped.   Because I don't want a three-year consent decree.             I

12:14PM   15   don't want a settlement.       You don't even have to call it a

          16   settlement.    You just have to call it an agreement of some kind

          17   so you're not trapped.       And then let's get going.     Okay?

          18                 Now --

          19                 MR. UMHOFER:    Your Honor, we want you involved.

12:14PM   20                 THE COURT:    Wait, wait, wait.    Not so fast.      You

          21   talk to those people over there, and you talk to the defendants

          22   sitting there.    They're not here, et cetera.        Get on the phone.

          23   But I'm going to sit here until I get an answer "yes" or "no."

          24   Okay?

12:14PM   25                 So get together.    I'll be back at what time?       How




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           1   about 1:30?    Because she's got some defendants here also.             I

           2   mean, you need to have a conference back in that room, just

           3   like Salvation Army.       Be certain -- because I'm a complete

           4   nightmare.    Smiling, but I'm a nightmare.

12:14PM    5                 MR. UMHOFER:    It's the nightmare we need, Your

           6   Honor.

           7                 THE COURT:    Well, we'll see.    Okay.    So 1:30 then.

           8                 For all you folks outside, let me come out and just

           9   humbly thank you for a moment because you've stayed and sat

12:14PM   10   through this.

          11                 (Lunch recess from 12:14 p.m. to 3:08 p.m.)

          12                 THE COURT:     We're on the record.    We're on the

          13   record.   We're on the record.

          14                 And now I will have the parties identify themselves.

03:08PM   15   So just please identify who you are and who you represent.

          16                 MR. UMHOFER:    Good afternoon, Your Honor.       Matthew

          17   Umhofer on behalf of the plaintiffs.         With me at counsel table

          18   is Elizabeth Mitchell.       We're both with the law firm of

          19   Spertus, Landes & Umhofer.

03:09PM   20                 THE COURT:     Just introduce -- I know both of you

          21   gentlemen, but let me make a record of who's here.

          22                 MR. FAWN:    Yes.   Thomas Fawn, senior assistant

          23   county counsel on behalf of the County of Los Angeles.

          24                 MR. CARTWRIGHT:     Bob Cartwright, assistant county

03:09PM   25   counsel on behalf of the County of Los Angeles.




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           1                 THE COURT:    Thank you.   Let's go down -- well, let

           2   me see.    Let's take the other plaintiffs, in a sense.

           3   Plaintiffs.

           4                 MS. WEITZMAN:   Brooke Weitzman on behalf of

03:09PM    5   intervenor Orange County Catholic Worker.

           6                 MS. SOBEL:    Carol Sobel on behalf of intervenor

           7   Orange County Catholic Worker and also on behalf of intervenor

           8   Los Angeles Catholic Worker and Los Angeles Community Action

           9   Network.

03:09PM   10                 MS. MYERS:    Shayla Myers with the Legal Aid

          11   Foundation of Los Angeles on behalf of intervenor L.A. Catholic

          12   Worker and Los Angeles Community Action Network.

          13                 MS. SWEETSER:   Catherine Sweetser on behalf of all

          14   intervenors.

03:10PM   15                 THE COURT:    Now, for the other parties, I want it

          16   clear that the parties who are about to identify themselves

          17   were invited to come to the court, because the Court had no

          18   legal ability to order you into court.        So please.

          19                 MR. CASTRO-SILVA:    Thank you, Your Honor.      Rodrigo

03:10PM   20   Castro-Silva for the County of Los Angeles.         I'm from the

          21   Office of County Counsel.

          22                 MR. MCLAIN:   Byron McLain on behalf of Los Angeles

          23   County from Foley & Lardner.

          24                 MR. YOUNG:    Brandon Young on behalf of the County of

03:10PM   25   Los Angeles from the law firm of Manatt, Phelps & Phillips.




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           1                MR. DERMER:    Gabriel Dermer from the Los Angeles

           2   City Attorney's Office on behalf of the defendant City of

           3   Los Angeles.

           4                MR. MARCUS:    Scott Marcus from the Los Angeles City

03:10PM    5   Attorney's Office on behalf of the City of Los Angeles.

           6                THE COURT:    First, there's an agreement that we will

           7   convene next Tuesday at --

           8                MR. UMHOFER:    10:00 in the morning.

           9                UNIDENTIFIED SPEAKER:     10:00 a.m.

03:10PM   10                THE COURT:    -- 10:00 a.m.    Not p.m., 10:00 a.m.       At

          11   the location of?

          12                MR. UMHOFER:    The Alexandria Building in Pershing

          13   Square.    We'll provide details to all the parties and the

          14   Court.

03:11PM   15                THE COURT:    And it's my intent to exclude the public

          16   but not the press because I'm going to make the same order, and

          17   I'm not quite certain how I'm going to control that, you

          18   understand, in an outside facility.        So one of the things I

          19   want you to take into account is I can control excluding the

03:11PM   20   public in the court, but that's because of the emergency health

          21   issue.    So we're going to try this, though, next week at this

          22   location to see if it works.       I think we can control it.

          23                Is that correct, Counsel?

          24                MS. MITCHELL:    Yes.   The address is 501 South

03:11PM   25   Spring.




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           1                THE COURT:   501 South Spring.

           2                JUDGE SMITH:    It seems to me it's not a problem.        If

           3   it's a private-owned building, you have the right to exclude

           4   anybody.   If you decide that you're not going to let the public

03:12PM    5   in, it's not a court order, it's the parties.          If other parties

           6   don't want to participate under those circumstances, that's

           7   their decision.

           8                MR. UMHOFER:    Right.   And, Your Honor, in the

           9   interim, should I put the agreement that we talked about off

03:12PM   10   the record on the record; that is, the agreement to suspend

          11   litigation deadlines and things along those lines?

          12                MS. MITCHELL:    The original agreement when we first

          13   came into the court this afternoon, Your Honor.

          14                MR. UMHOFER:    So, Your Honor, I'll put this on the

03:12PM   15   record.    The parties during lunch --

          16                THE COURT:   Oh, I'm sorry.     Put that on the record

          17   for me.    I thought we were back in the settlements.

          18                MR. UMHOFER:    No, no, no, no.     I apologize.

          19                So we have a limited agreement that we reached over

03:12PM   20   the -- over the lunch break.       That agreement was to suspend

          21   litigation deadlines, including the 21 days that the City and

          22   County have to respond, because they have been served, so it's

          23   21, not 60, to permit the Court and the parties to engage in

          24   settlement discussions and in efforts to address the underlying

03:13PM   25   problems that occasioned this hearing today.




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           1                 The parties have no objection to the Court's

           2   ex parte communications with other relevant parties.           And at

           3   the service of trying to get both resolution and action on the

           4   underlying issues of the Coronavirus and the homelessness

03:13PM    5   crisis, the parties stand ready to support and assist the

           6   Court.   And the parties have no objection to the involvement of

           7   Judges Birotte and Gutierrez in the process.

           8                 MS. SOBEL:    And Judge Smith.

           9                 MR. UMHOFER:    And Judge Smith as well.

03:14PM   10                 THE COURT:    Who's earning nothing.

          11                 MR. UMHOFER:    Yes.   Yes.

          12                 THE COURT:    Would you state who you are and if this

          13   is acceptable as stated by counsel.

          14                 MR. CASTRO-SILVA:      So this is Rodrigo Castro-Silva

03:14PM   15   on behalf of the County of Los Angeles.         We're in agreement.

          16                 MR. MARCUS:    On behalf of the City of Los Angeles,

          17   this is Scott Marcus from the City Attorney's Office, that's

          18   acceptable.

          19                 MS. MYERS:    On behalf of the intervenors LA CAN and

03:14PM   20   LA Catholic Worker, that's acceptable.

          21                 MS. SOBEL:    And on behalf of intervenor Orange

          22   County Catholic Worker, that is acceptable.

          23                 MR. UMHOFER:    Your Honor, one more thing, Mr. McLain

          24   just pointed out to me that -- we just wanted to make it

03:14PM   25   clear -- I think the Court has already issued orders on this




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           1   point that the intervenors are allowed to -- or their motions

           2   to intervene have been granted and that they're allowed to --

           3               THE COURT:    And the other motion you brought to me

           4   is --

03:14PM    5               MR. UMHOFER:     Well, we haven't brought any other

           6   motions.   They've all been over there.

           7               THE COURT:    Okay.    Let's anticipate two things, and

           8   that is, we're trying to give access to the public through the

           9   press.   And you've heard that we're going to start with

03:15PM   10   transparency until it's called to my attention that there's a

          11   reason for going in camera.       But you're different entities.

          12   You're the printed press.      Then we might have the audio or

          13   radio station, and then we might have the television.

          14               The difficulty is in federal court with our rules,

03:15PM   15   we would not allow television.       And what I can't have is moving

          16   off-site and then perceiving that I'm treating one area of the

          17   public access television unfairly.        I think that they would be

          18   saying, "Golly, gosh, what's happening here?"          But I'm not

          19   really comfortable having a televised off-site because it's

03:15PM   20   violating our local rules.

          21               I need to go to my chief judge here.         I need to have

          22   a court meeting to abrogate those rules.         And there's just no

          23   way to do that.    The judges are all over the place and they're

          24   not going to have a special meeting in that regard.           So help

03:15PM   25   me.




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           1               MS. SOBEL:    I have a suggestion to amend the

           2   stipulation or add to it, which is that because of the court

           3   closures for dealing with the pandemic, that the parties agree

           4   that meetings that are scheduled with the Court off-site are to

03:16PM    5   be held under the same rules as if the meeting were occurring

           6   in the federal courthouse.

           7               THE COURT:    I think my colleagues would appreciate

           8   that.

           9               MR. UMHOFER:     No objection.

03:16PM   10               THE COURT:    Because we're not going against our

          11   time-honored rules otherwise.

          12               MR. UMHOFER:     No objection.

          13               THE COURT:    Would that be acceptable, Counsel?

          14               MR. UMHOFER:     No objection.

03:16PM   15               THE COURT:    Counsel, acceptable?

          16               (Counsel collectively responded "No objection.")

          17               THE COURT:     I think that will allow us to honor the

          18   decorum and the tradition of the federal court regardless.             But

          19   I'll have to get an explanation from some of you folks who can

03:16PM   20   come in from the printed press about what's happened here.

          21   Because if I was the television station, I'd be concerned and

          22   wonder why I would be treated differently.         But those are the

          23   federal rules.

          24               Is there anything else today?        Otherwise, I want to

03:16PM   25   thank you very much and see you next Tuesday at 10:00 o'clock.




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      1                (Proceedings concluded at 3:16 p.m.)

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      1                     CERTIFICATE OF OFFICIAL REPORTER

      2

      3   COUNTY OF LOS ANGELES       )
                                      )
      4   STATE OF CALIFORNIA         )

      5                   I, DEBBIE HINO-SPAAN, FEDERAL OFFICIAL REALTIME

      6   COURT REPORTER, in and for the United States District Court for

      7   the Central District of California, do hereby certify that

      8   pursuant to Section 753, Title 28, United States Code that the

      9   foregoing is a true and correct transcript of the

     10   stenographically reported proceedings held in the

     11   above-entitled matter and that the transcript page format is in

     12   conformance with the regulations of the Judicial Conference of

     13   the United States.

     14

     15   Date:   March 20, 2020

     16

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     18

     19                                      /S/ DEBBIE HINO-SPAAN_

     20                                    Debbie Hino-Spaan, CSR No. 7953
                                           Federal Official Court Reporter
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   1                                 CERTIFICATE OF SERVICE
   2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   3       At the time of service, I was over 18 years of age and not a party to this
     action. I am employed in the County of Los Angeles, State of . My business
   4 address is 1999 Avenue of the Stars, Suite 1000, Los Angeles, CA 90067.
   5          On March 25, 2022, I served true copies of the following document(s)
        described as:
   6
     NOTICE OF WITHDRAWAL OF CONSENT TO EX PARTE
   7 COMMUNICATIONS
   8 on the interested parties in this action as follows:
   9                               SEE ATTACHED SERVICE LIST
  10        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
     the document(s) with the Clerk of the Court by using the CM/ECF system.
  11 Participants in the case who are registered CM/ECF users will be served by the
     CM/ECF system. Participants in the case who are not registered CM/ECF users will
  12 be served by mail or by other means permitted by the court rules.
  13       I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct and that I am employed in the office
  14 of a member of the bar of this Court at whose direction the service was made.
  15               Executed on March 25, 2022, at Los Angeles, California.
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  17
                                                     Brian Binns
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                       NOTICE OF WITHDRAWAL OF CONSENT TO EX PARTE COMMUNICATIONS

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   1                                    SERVICE LIST
                  LA Alliance for Human Rights, et al. v. City of Los Angeles, et al.
   2
                                     Case No. 2:20-cv-02291
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                  NOTICE OF WITHDRAWAL OF CONSENT TO EX PARTE COMMUNICATIONS

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3/25/22, 4:42 PM                                                    CM/ECF - California Central District

Notices
 2:20-cv-02291-DOC-KES LA Alliance for Human Rights et al v. City of Los Angeles et al

 ACCO,(KESx),DISCOVERY,MANADR,RELATED-G,SM


                                                UNITED STATES DISTRICT COURT

                                              CENTRAL DISTRICT OF CALIFORNIA

Notice of Electronic Filing

The following transaction was entered by Miller, Louis on 3/25/2022 at 4:42 PM PDT and filed on 3/25/2022
Case Name:           LA Alliance for Human Rights et al v. City of Los Angeles et al
Case Number:         2:20-cv-02291-DOC-KES
Filer:               County of Los Angeles
Document Number: 403

Docket Text:
NOTICE Notice of Withdrawal of Consent to Ex Parte Communications filed by Defendant County
of Los Angeles. (Miller, Louis)


2:20-cv-02291-DOC-KES Notice has been electronically mailed to:

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                                                                                                            ER 528
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2:20-cv-02291-DOC-KES Notice has been delivered by First Class U. S. Mail or by other means BY THE
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Document description:Main Document
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Electronic document Stamp:
[STAMP cacdStamp_ID=1020290914 [Date=3/25/2022] [FileNumber=33640768-0
] [a216f44ed2b48d320c51a46c4e7a2ced7b65048bb8b088122fcbe63bc485d5b6e61
87e91eee262f362c0ede8c8846b02848339633eeac2e85beae59f421af127]]




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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                             CIVIL MINUTES – GENERAL



    Case No. LA CV 20-02291-DOC (KESx)                       Date: January 24, 2022

   Title:      LA Alliance for Human Rights, et al. v. City of Los Angeles, et al.

   PRESENT:          THE HONORABLE DAVID O. CARTER, U.S. DISTRICT JUDGE


                Karlen Dubon                                        Court Smart
               Courtroom Deputy                                    Court Reporter

      Attorneys Present for Plaintiff:                  Attorneys Present for Defendant:
            Elizabeth Mitchell                                    Scott Marcus
            Matthew Umhofer                                     Jennifer Hashmall
               Carol Sobel                                     Louis “Skip” Miller
              Shayla Myers                                         Ryan Salaig
            Brooke Weitzman                                       Arlene Hoang

 PROCEEDINGS (via Zoom):             CITY OF LOS ANGELES' MOTION TO DISMISS [369]
                                     CITY OF LOS ANGELES' MOTION TO DISMISS FAC [370]

        Case is called. The Court hears oral arguments.

       The Court orders the parties to attend a mandatory settlement conference on Tuesday,
 February 15, 2022 at 8:30 a.m. at the First Street U.S. Courthouse, 350 W. 1st Street, Los Angeles,
 CA 90012.

       The Court orders the transcript for the hearing date above be made available on the docket
 forthwith free of charge to all ordering parties.

        The Court orders the transcript of this hearing designated as the official court record. The
 Court further orders the transcript be produced at Government expense and billed at the 7-day rate.

       The Court orders original transcript and notes be submitted to
 Transcripts_cacd@cacd.uscourts.gov no later than Monday, January 31, 2022, for immediate
 uploading on the Court’s CM/ECF document filing system.


 cc: Alberto Ortiz@cacd.uscourts.gov
 cc: DebbieGalecsr@gmail.com
                                                                                            1:   00
 MINUTES FORM 11
 CIVIL-GEN                                                            Initials of Deputy Clerk: kdu
                                                                                                       ER 530
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17
          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
18
19 LA ALLIANCE FOR HUMAN                      CASE NO. 2:20-cv-02291 DOC-KES
   RIGHTS, et al.,
20
                                              DEFENDANT COUNTY OF
21            Plaintiffs,                     LOS ANGELES’ REPLY IN
                                              SUPPORT OF ITS MOTION TO
22        v.                                  DISMISS FIRST AMENDED
                                              COMPLAINT
23 CITY OF LOS ANGELES, et al.,
24                                            Hearing:    January 24, 2022
             Defendants.                      Time:       8:30 a.m.
25                                            Place:      Courtroom: 9D
26
                                              Assigned to the Hon. David O. Carter
27                                            and Magistrate Judge Karen E. Scott
28

                   DEFENDANT COUNTY OF LOS ANGELES’ REPLY IN SUPPORT OF
                      ITS MOTION TO DISMISS FIRST AMENDED COMPLAINT

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                              ITS MOTION TO DISMISS FIRST AMENDED COMPLAINT

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  1 I.        INTRODUCTION
  2           Plaintiffs’ Opposition is more notable for what it omits than what it says. As
  3 a matter of law, the County cannot be liable for Plaintiffs’ injuries caused by PEH in
  4 Skid Row because Skid Row is located entirely within the incorporated territory of
  5 the City of Los Angeles—outside of the County’s jurisdiction or control.1 Plaintiffs
  6 allege discrimination and violations of due process, but the FAC fails to allege any
  7 unequal treatment by the County, or any specific, affirmative conduct by the County
  8 that placed Plaintiffs in harm’s way. Plaintiffs plead their state law claims in only
  9 conclusory terms, and do not identify an express statutory duty that was breached.
10            In their Opposition, Plaintiffs do not respond to any of these arguments. This
11 alone constitutes a waiver of the issues and warrants dismissal. All they really do is
12 attach the Court’s preliminary injunction order and rely on it. But this obvious
13 pandering to the Court doesn’t work—the preliminary injunction order was
14 overturned by the Court of Appeals and is no longer in effect.
15            Plaintiffs’ claims fail for another reason: the gravamen of the FAC is that
16 “[t]he County . . . has not done enough” to end homelessness. (Opp. at 1.) This
17 “theory” is neither judicially cognizable nor a plausible ground for relief.
18            In effect, Plaintiffs argue the County violated the law by spending hundreds
19 of millions of dollars to prioritize permanent housing solutions instead. This theory
20 of municipal liability is dead on arrival. As the Motion makes clear, citizens cannot
21 sue their local government in federal court to commandeer the government’s
22 discretionary spending and re-direct taxpayer funds according to their individual
23 prerogatives. Yet that is exactly what Plaintiffs attempt here.
24            Although they acknowledge—repeatedly—that the County provides
25 significant social services and aid to PEH, Plaintiffs insist that such aid affirmatively
26 infringed on their rights. Remarkably, Plaintiffs now argue that the County violated
27
      1
28        The Reply uses the same defined terms as in the County’s Motion.
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  1 the Constitution by offering aid to PEH because it allegedly drew people from all
  2 over the world, who fell into homelessness for any number of reasons, into the City,
  3 where they disturbed Plaintiffs. They ask the Court to usurp the County’s lawful
  4 authority by mandating that the County reallocate millions of taxpayer dollars to
  5 implement Plaintiffs’ policy agenda. Such a drastic and unprecedented remedy far
  6 exceed the limits of the Court’s Article III power.
  7        In reversing the prior preliminary injunction, the Ninth Circuit noted that the
  8 Court has “equitable power to remedy legal violations that have contributed to the
  9 complex problem of homelessness in Los Angeles.” LA All. for Human Rights v.
10 County of Los Angeles, 14 F.4th 947, 961 (9th Cir. 2021) (emphasis added). The
11 FAC fails to identify any such violations of law.
12         Of course, the County shares the goal of providing shelter to all PEH and is
13 admittedly doing a great deal to that end. But Plaintiffs’ policy disagreements with
14 how the County is working to achieve that goal are not a basis for judicial intrusion
15 into local affairs. It is simply not the Court’s role to dictate local policy and budget
16 priorities by usurping the County’s discretionary decisions.
17 II.     PLAINTIFFS’ CLAIMS ARE NOT JUSTICIABLE
18         Plaintiffs agree that, to survive the County’s Motion, they must establish the
19 triad of standing requirements: (1) an “injury in fact” (2) that is “fairly traceable” to
20 the County, and (3) that a favorable court decision is “likely” to redress that injury.
21 (Opp. at 5; Mot. at 13.) Plaintiffs have not done so.
22         Plaintiffs’ FAC suffers from a fatal flaw: Plaintiffs lack standing because they
23 fail to allege a concrete, particularized harm that is traceable to the County or
24 capable of being redressed by the injunctive relief they seek. (Mot. at 13-15.) In the
25 Opposition, Plaintiffs (1) stress district courts’ “broad power to order equitable
26 relief”; (2) cloak themselves in the Court’s prior order; (3) downplay standing as a
27 “low bar”; and (4) regurgitate their legal claims in boilerplate terms. (Opp. at 4-7.)
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  1        A.     Standing Is Not Satisfied For Every Claim
  2        Standing is claim-specific. (Mot. at 13; see DaimlerChrysler Corp. v. Cuno,
  3 547 U.S. 332, 352 (2006) (“a plaintiff must demonstrate standing for each claim he
  4 seeks to press” and “for each form of relief sought” (citation omitted)).) Plaintiffs
  5 have not established standing where they allege claims against the County on behalf
  6 of undifferentiated “Plaintiffs” because they have not shown that each has suffered
  7 each alleged injury. (Mot. at 13.) Plaintiffs do not respond to the County’s
  8 argument. This alone “constitutes a waiver or abandonment of the issue.” Heraldez
  9 v. Bayview Loan Servicing, LLC, 2016 WL 10834101, at *2 (C.D. Cal. Dec. 15,
10 2016), aff’d, 719 F. App’x 663 (9th Cir. 2018) (mem.).
11         Standing “is not dispensed in gross,” and pleading standing as a collective—
12 as Plaintiffs do—violates Article III. Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996);
13 see Warth v. Seldin, 422 U.S. 490, 501 (1975) (complaint must show that each
14 plaintiff suffered “a distinct and palpable injury to himself”). Other than Plaintiffs’
15 disability claims, this requirement is not met. Lujan v. Defs. of Wildlife, 504 U.S.
16 555, 560 n.1 (1992) (court must be able to determine “that the injury” conferring
17 standing “affect[ed] [each] plaintiff in a personal and individual way”).
18         B.     Plaintiffs’ Alleged Injuries Are Not Traceable To The County
19         Plaintiffs’ alleged injuries are traceable, if at all, to the City, which has
20 exclusive jurisdiction over Skid Row, and to recent federal court orders in litigation
21 that did not involve the County. (Mot. at 13-14.) Standing is not satisfied where
22 “the injury complained of” is only “th[e] result [of] the independent action of some
23 third party.” Bennett v. Spear, 520 U.S. 154, 169 (1997) (alterations in original)
24 (citation omitted).
25         Plaintiffs’ reliance on Tyler v. Cuomo, 236 F.3d 1124 (9th Cir. 2000), is
26 misplaced. (Opp. at 5.) There, the plaintiff homeowners sued the City of San
27 Francisco, the U.S. Department of Housing and Urban Development (“HUD”), and
28 a developer for approving a low-income housing project over their objections. Id. at
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  1 1128. The Ninth Circuit ruled they had standing as to the City because it was bound
  2 by an agreement to consult with the plaintiffs. See id. at 1133-35. But the court
  3 held the plaintiffs lacked standing to sue the other defendants because they had no
  4 duty to respond to their objections and, thus, there was no causal connection
  5 between the challenged conduct and plaintiffs’ alleged injury. Id. at 1136-37.
  6         The County is in the same position as the dismissed defendants in Tyler.
  7 Plaintiffs allege they have suffered economic injuries because of the lack of
  8 enforcement in Skid Row, but the County has no authority over PEH there. (Mot. at
  9 14-15.) As in Tyler, there is no causal link between the claimed injuries and the
 10 County’s conduct.
 11         There is also no causation because Plaintiffs’ theory of liability involves
 12 numerous third parties whose independent decisions, collectively, have led to
 13 Plaintiffs’ claimed injuries. (See Mot. at 14.) The County actions that Plaintiffs
 14 challenge include allegedly focusing on “permanent housing” over “interim” options
 15 and “complicity . . . in . . . institutional racism.” (FAC ¶ 217; see Opp. at 6-7.)
 16 Plaintiffs assert that in combination with, inter alia, mental health affliction, drug
 17 addiction, litigation settlements, federal welfare cuts, arson fires, pressure from
 18 homeless advocates, limits on federal expenditures, “redlining” policies of the City,
 19 and more, there are now a significant number of PEH in the County and more trash
 20 and waste from tent encampments, causing Plaintiffs to have higher insurance
 21 premiums, employee retention issues, and misdelivered mail. (FAC ¶¶ 9, 10, 12, 50,
 22 69, 90, 92.) This kind of diffuse causal chain is insufficient. (Mot. at 14.)
 23         Plaintiffs cannot overcome these standing deficiencies with conclusory and
 24 circular allegations of fault. (Opp. at 6-7.) Plaintiffs assert that they “have properly
 25 alleged their injuries are traceable to the . . . County” and that the County is “either
 26 causing the number of persons experiencing homelessness to increase or causing the
 27 conditions in which they live to worsen.” (Id.) But as for how, the Opposition is
 28 mum on details. Plaintiffs do not even cite to the FAC in arguing they have met the
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  1 traceability element, because this element is not alleged in the FAC.
  2         Plaintiffs argue the County has “waste[d] . . . Measure H funds” and helps
  3 fund and direct LAHSA, which Plaintiffs believe is “ineffective in several ways.”
  4 (Opp. at 6.) These conclusory assertions do not establish that Plaintiffs suffered
  5 cognizable harm. The remaining “actions”—focusing on permanent housing,
  6 concentrating services in Skid Row, and being “complicit[]” “in the long history of
  7 institutional racism”—are similarly unsupported, vague and lack a causal nexus to
  8 Plaintiffs’ injuries. Plaintiffs’ generalized grievances against the County are not
  9 actionable. United States v. Lazarenko, 476 F.3d 642, 649-50 (9th Cir. 2007).
 10         C.    Plaintiffs Have Not Pleaded Redressability
 11         Plaintiffs’ focus on courts’ equitable power to fashion injunctive relief puts
 12 the cart before the horse. (See Opp. at 4-5.) Standing is a prerequisite to any relief.
 13 Plaintiffs must demonstrate that the requested injunction would redress alleged
 14 injuries attributable to the County, not just that the Court (obviously) has the power
 15 to grant injunctions. DaimlerChrysler, 547 U.S. at 352.
 16         The Court’s equitable powers do not include the intrusive intervention into
 17 legislative prerogatives. Plaintiffs seek an order requiring the County to spend
 18 hundreds of millions of taxpayer dollars on emergency housing for all PEH in Skid
 19 Row. (See, e.g., FAC ¶ 23 (“The only way to address this crisis” is “providing
 20 immediate shelter for all”).)
 21         There are multiple U.S. Supreme Court and Ninth Circuit decisions that
 22 prohibit this type of legislation from the bench. (Mot. at 14-15 (citing Rizzo v.
 23 Goode, 423 U.S. 362 (1976); Lewis v. Casey, 518 U.S. 343 (1996); Horne v. Flores,
 24 557 U.S. 433 (2009); Juliana v. United States, 947 F.3d 1159 (9th Cir. 2020).)
 25 These cases hold that the Court’s equitable powers have limits. See M.S. v. Brown,
 26 902 F.3d 1076, 1090 (9th Cir. 2018) (plaintiffs lacked standing for injunction
 27 requiring state to issue drivers’ licenses since such “intrusive affirmative relief”
 28 would be “incompatible with democratic principles” and violates federalism
                                           11
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  1 principles). Plaintiffs fail to acknowledge these cases, let alone distinguish them.
  2 III.      PLAINTIFFS DO NOT PLEAD A CONSTITUTIONAL VIOLATION
  3           A.    Plaintiffs Have Not Stated A Substantive Due Process Claim
  4           The “state-created danger” and “special relationship” doctrines are narrow
  5 exceptions to the rule that the Constitution “confer[s] no affirmative right to
  6 governmental aid, even where such aid may be necessary to secure life, liberty, or
  7 property interests.” DeShaney v. Winnebago Cty. Dep’t of Soc. Servs., 489 U.S.
  8 189, 196 (1989). Conduct is actionable only if it was “so egregious, so outrageous,
  9 that it may fairly be said to shock the contemporary conscience.” County of
 10 Sacramento v. Lewis, 523 U.S. 833, 847 n.8 (1998).
 11           Plaintiffs do not—and cannot—state a claim under these circumstances. Per
 12 the materials in the RJN (Dkt. 370-2), the County is doing a lot—spending hundreds
 13 of millions of dollars annually—to address homelessness. To say that this is
 14 “outrageous” or that it “shocks the conscious” is ridiculous.
 15                 1.      There Was No State-Created Danger
 16           Plaintiffs argue the County has “adopt[ed] and maintain[ed] policies and
 17 laws” that have “placed its homeless and housed constituents in danger.” (Opp. at
 18 7.) None of the County’s “policies and laws” constitute a state-created danger.
 19           Plaintiffs criticize the County for “centralizing services in the Skid Row area”
 20 and “focusing heavily” on permanent housing rather than “emergency and interim”
 21 shelters.2 (Opp. at 7.) This is nonsensical. Providing services and permanent
 22 housing is not a state-created danger; it is not a danger at all.
 23           Plaintiffs must allege that the County “placed [them] in a ‘worse position’”
 24 than they “would have been had [it] not acted at all.” Pauluk v. Savage, 836 F.3d
 25 1117, 1124-25 (9th Cir. 2016) (citation omitted). Plaintiffs cannot plausibly claim
 26
 27  Plaintiffs say the County “misus[ed] . . . tax funds” (Opp. 7), but they admit the
      2

    County used Measure H funds “on a host of programs” that have had a “positive”
 28 effect on the difficult problem of homelessness. (See FAC ¶ 88.)
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  1 that they are in a worse position than they would be if the County provided no
  2 services or housing. Plaintiffs cannot mask their policy disagreements as
  3 constitutional violations.
  4           Plaintiffs also cannot establish a state-created danger by alleging that the
  5 County is “failing in its obligation to ‘relieve and support’ the poor.” (See Opp. at
  6 7.) First, Plaintiffs have not identified any obligation the County is failing to satisfy.
  7 Indeed, the County has dedicated hundreds of millions of dollars annually to
  8 housing, shelter, services, and other resources for PEH. (E.g., Hashmall Decl. Ex.
  9 13 [Homeless Initiative Quarterly Report No. 18] at 3, Dkt. 371; id. Ex. 16 [July 13,
 10 2021 Press Release announcing the Homeless Initiative Budget for Fiscal Year
 11 2021-2022].) Plaintiffs admit this.3 (See, e.g., FAC ¶¶ 88, 93-94.)
 12           Moreover, Plaintiffs must allege affirmative conduct by the County because
 13 the state-created danger doctrine is an exception to “[t]he general rule” that “a state
 14 is not liable for its omissions.” Martinez v. City of Clovis, 943 F.3d 1260, 1271 (9th
 15 Cir. 2019) (citation omitted). Plaintiffs cannot state a due process claim based on
 16 their belief that the County “has not done enough.” (Opp. at 1; Mot. at 20-21.) See
 17 Johnson v. City of Seattle, 474 F.3d 634, 639 (9th Cir. 2007) (failure to protect
 18 someone from unsafe environment cannot give rise to liability under the state-
 19 created danger doctrine).
 20           Plaintiffs’ allegation that the County has a “long history” of “racist policies
 21 and practices” similarly fails. (See Opp. at 7.) Plaintiffs do not specify any alleged
 22 racist County policy that resulted in a state-created danger. Instead, they cite
 23
 24   3
        Plaintiffs’ legal standard argument is a red herring. (See Opp. at 3.) The County’s
 25   Motion is both facial and factual. The County submitted an RJN detailing its
      extensive work to shelter PEH and address homelessness (Dkt. 370-2), which
 26   confirms why the Court lacks jurisdiction to direct the County’s legislative actions.
 27   Plaintiffs cannot satisfy their pleading burden by simply ignoring the facts. Whether
      the County’s Motion is viewed as a facial or factual challenge, Plaintiffs’ claims are
 28   untenable.
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  1 allegations in the FAC about the City’s historical containment policy and its zoning
  2 designations under its DTLA2040 plan. (See id. (citing FAC ¶¶ 40-45).) Plaintiffs’
  3 conclusory allegation of unspecified historical racist policies cannot satisfy their
  4 burden to plead that the County’s affirmative conduct placed them in “an actual,
  5 particularized danger.” Martinez, 943 F.3d at 1271.
  6         Plaintiffs do not identify any “actual, particularized danger.” Instead, they
  7 argue the County is “exacerbating or causing significant mental and physical
  8 decline” of its constituents. (See Opp. at 7 (citing FAC ¶ 217).) But conclusory
  9 allegations about the generalized risks attendant to being homeless do not satisfy the
 10 state-created danger doctrine. See Huffman v. County of Los Angeles, 147 F.3d
 11 1054, 1061 (9th Cir. 1998); Patel v. Kent Sch. Dist., 648 F.3d 965, 974 (9th Cir.
 12 2011) (plaintiffs must identify a “known, immediate” threat of harm).
 13         Plaintiffs cite cases that are inapposite. In Kennedy v. City of Ridgefield, the
 14 Ninth Circuit affirmed the denial of qualified immunity to a police officer who had
 15 informed the plaintiff’s neighbor—an individual with known violent tendencies and
 16 against whom the plaintiff had made allegations of child abuse—that he was being
 17 investigated for molesting the plaintiff’s daughter. 439 F.3d 1055, 1057, 1067 (9th
 18 Cir. 2006). The officer had promised, but failed, to warn the plaintiff before
 19 approaching her neighbor, who later broke into the plaintiff’s house and shot and
 20 wounded plaintiff and shot and killed her husband. Id. at 1058.
 21         In Hernandez v. City of San Jose, police officers “actively prevented”
 22 attendees of a political protest from exiting a rally, forcing them into contact with
 23 known violent counter-protesters who attacked them. 897 F.3d 1125, 1133 (9th Cir.
 24 2018). And in Wood v. Ostrander, the Court denied qualified immunity to an
 25 officer who impounded a vehicle, stranding the female passenger in a high-crime
 26 area at 2:30 a.m. where she was subsequently assaulted. 879 F.2d 583, 586, 596
 27 (9th Cir. 1989). These cases share common elements notably absent from the FAC:
 28 an acute danger to the plaintiff known to municipal officers, temporal closeness
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  1 between the challenged action and the injury, and a direct line of causation between
  2 the conduct and the injury.
  3         Plaintiffs’ COVID cases further undercut their arguments. (Opp. at 8-9
  4 (citing Santa Cruz Homeless Union v. Bernal, 514 F. Supp. 3d 1136 (N.D. Cal.
  5 2021), and Sausalito/Marin Cty. Chapter of Cal. Homeless Union v. City of
  6 Sausalito, 2021 WL 2141323 (N.D. Cal. May 26, 2021).) There, courts enjoined the
  7 forced relocation of PEH out of public encampments because of the particularized
  8 risk that doing so would increase their exposure to COVID-19. Thus, those cases
  9 held that the exact relief Plaintiffs seek here was likely unconstitutional.
 10         Plaintiffs also fail to show the County acted with “deliberate indifference” to
 11 their health and safety. Patel, 648 F.3d at 974. Plaintiffs do not allege the County’s
 12 deliberate indifference in the FAC. To the contrary, Plaintiffs concede the County
 13 provides services to PEH throughout the County. The efficacy of the County’s
 14 policy decisions is an issue for the political process—not a federal lawsuit. Juliana,
 15 947 F.3d at 1175.
 16               2.      Plaintiffs Have No Special Relationship to the County
 17         Plaintiffs concede they were “not physically behind bars” when their alleged
 18 injuries occurred. (Opp. at 10.) This is fatal to Plaintiffs’ claim—as a matter of law,
 19 “[t]he special-relationship exception does not apply when a state fails to protect a
 20 person who is not in custody.” Patel, 648 F.3d at 972.
 21         Plaintiffs cannot establish a constitutional violation by arguing that “there is
 22 nowhere else for [PEH] to go with a better chance of help.” (Opp. at 10.) There is
 23 no support for this theory. DeShaney affirmed that the Fourteenth Amendment
 24 “confer[s] no affirmative right to governmental aid” nor “minimal levels of safety
 25 and security,” even if “necessary to secure life, liberty, or property interests.” 489
 26 U.S. at 195-96. If it is not a constitutional violation for the government to provide
 27 no aid to PEH, then it is certainly not a constitutional violation to provide some aid
 28 as here. (See Mot. at 23-24.)
                                                15
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  1          Plaintiffs’ attempt to equate the County’s provision of services to
  2 “incarceration” or “institutionalization” is nonsensical. (Opp. at 10 (quoting
  3 DeShaney, 489 U.S. at 200).) Plaintiffs cannot allege deliberate indifference. They
  4 admit the County spends hundreds of millions of dollars each year on housing,
  5 shelter, services, and other resources for PEH. Their own admissions defeat their
  6 claim.
  7          B.    Plaintiffs Have Not Stated A Procedural Due Process Violation
  8          Plaintiffs argue they were denied procedural due process based on an alleged
  9 Skid Row “containment” policy. (Opp. at 11.) This argument fails.
 10          First, Skid Row is within the City and under its jurisdiction. Plaintiffs cannot
 11 maintain a constitutional claim against the County based on an alleged City policy.
 12 (See Mot. at 19-20.) Second, Plaintiffs have no individual procedural due process
 13 right to weigh in on the City’s policy. (See id.) See also Halverson v. Skagit
 14 County, 42 F.3d 1257, 1261 (9th Cir. 1994) (“[G]overnmental decisions which
 15 affect large areas and are not directed at one or a few individuals do not give rise to
 16 the constitutional procedural due process requirements of individual notice and
 17 hearing; general notice as provided by law is sufficient.”).
 18          Instead, Plaintiffs claim the County “exact[ed] a taking . . . without
 19 justification.” (Opp. at 11.) But Plaintiffs have not alleged a taking claim against
 20 the County; and they cannot raise a new, unpleaded claim in opposition to a motion
 21 to dismiss. Schneider v. Cal. Dep’t of Corr., 151 F.3d 1194, 1197 n.1 (9th Cir.
 22 1998). Moreover, any such taking claim would fail. See, e.g., BAM Historic Dist.
 23 Ass’n v. Koch, 723 F.2d 233, 237 (2d Cir. 1983) (“plaintiffs have no cognizable
 24 liberty interest in preventing the location of a shelter for the homeless in their
 25 neighborhood” because the rights protected by the Due Process Clause “do[] not
 26 include the maintenance of transient levels of the quality of neighborhood life”).
 27
 28
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  1         C.    Plaintiffs Have Not Stated An Equal Protection Claim
  2               1.      Plaintiffs Fail to Allege the County Discriminated Against
  3                       Them Because of Geography
  4         The County identified several fatal flaws in Plaintiffs’ equal protection claim,
  5 including that the FAC is devoid of any allegation that the County intentionally
  6 discriminated against Plaintiffs because of their geographic location, let alone for an
  7 impermissible reason. Plaintiffs do not respond to any of the County’s arguments,
  8 which is a concession that their claim fails. Heraldez, 2016 WL 10834101, at *2;
  9 Excel Fitness Fair Oaks, LLC v. Newsom, 2021 WL 795670, at *4 (E.D. Cal.
 10 Mar. 2, 2021) (“Failure to oppose an argument raised in a motion to dismiss
 11 constitutes waiver of that argument.” (citation omitted)).
 12         Instead, Plaintiffs again point to the City’s alleged containment policy and its
 13 unequal enforcement of its own ordinances in Skid Row and under one freeway
 14 overpass near Mar Vista. (Opp. at 11-12; see also FAC ¶¶ 30-39 (alleging the City
 15 has a containment policy in Skid Row); FAC ¶ 111 (“Mr. Frem . . . was admonished
 16 by the City” (emphasis added)); id. ¶ 114 (“The City’s homelessness policies have
 17 caused serious economic damage to Mr. Frem’s business . . . .” (emphasis added)).)
 18 As a matter of law, the City’s conduct cannot support an equal protection claim
 19 against the County. (See Mot. at 16.) The FAC alleges only that the County is
 20 providing aid to PEH, not engaging in intentional discrimination against Mr. Frem.
 21 (Id.)
 22         Plaintiffs also offer no support for their “class-of-one” selective enforcement
 23 argument. (See Opp. at 12.) Plaintiffs cite to Engquist v. Or. Dep’t of Agric., 553
 24 U.S. 591 (2008), but, as the County explained, that case supports dismissal. (See
 25 Mot. at 16.) All of the allegations in the FAC “involve discretionary
 26 decisionmaking based on a vast array of subjective, individualized assessments” that
 27 cannot support a selective enforcement claim as a matter of law. Engquist, 553 U.S.
 28 at 603.
                                               17
                       DEFENDANT COUNTY OF LOS ANGELES’ REPLY IN SUPPORT OF
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  1                 2.      Plaintiffs Do Not Allege Racial Discrimination by the County
  2           The County pointed out that Plaintiffs do not plead any alleged injuries
  3 caused by invidious discrimination by the County. (Mot. at 18-19.) Plaintiffs
  4 respond that facially neutral laws can still be discriminatory. (Opp. at 13.) But this
  5 argument does not save Plaintiffs’ claim because the FAC does not allege that the
  6 County is actually enforcing a race-neutral law in a discriminatory way. Thus, all of
  7 Plaintiffs’ cases are distinguishable. Unlike the permitting scheme in Yick v.
  8 Hopkins, 118 U.S. 356 (1886), the redistricting of electoral districts in Gomillion v.
  9 Lightfoot, 364 U.S. 339 (1960), or the at-large voting system in Rogers v. Lodge,
 10 458 U.S. 613 (1982), Plaintiffs do not identify any specific County law that has a
 11 disparate impact on people of color.
 12           Moreover, these cases do not alter the rule that unequal application of a
 13 facially neutral law “is not a denial of equal protection unless there is shown to be
 14 present in it an element of intentional or purposeful discrimination.” Snowden v.
 15 Hughes, 321 U.S. 1, 8 (1944) (distinguishing Yick); see Village of Arlington Heights
 16 v. Metro. Hous. Dev. Corp., 429 U.S. 252, 264-65 (1977) (same).4
 17           Plaintiffs contend the alleged discrimination “is so blatant and invidious as to
 18 infer improper discriminatory intent by race,” and that “[t]he City and County” have
 19 “made affirmative decisions and adopted policies and laws which has furthered th[e]
 20 disparate treatment, knowing the result would have a continued and intensified
 21 disparate impact.” (FAC ¶ 214.) These vague, conclusory allegations fail as a
 22 matter of law. Snowden, 321 U.S. at 10 (purposeful discrimination requires more
 23
 24   4
      The Supreme Court has cautioned that discriminatory intent cannot be inferred
 25 from statistical proof of disparate impact except in “rare” situations that require “a
 26 pattern as stark as that in Gomillion,” where a city was re-shaped into a 28-sided
    figure that removed 4/5 of Black voters from a district—”or Yick Wo,” where all
 27 but one Chinese business was denied a permit. Arlington Heights, 429 U.S. at 266;
 28 accord McCleskey v. Kemp, 481 U.S. 279, 293-94, 293 n.12 (1987).
                                                 18
                         DEFENDANT COUNTY OF LOS ANGELES’ REPLY IN SUPPORT OF
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  1 than “epithets” like “‘willful’ and ‘malicious’” or “characterizing [a] failure as an
  2 unequal, unjust, and oppressive administration of the laws”).
  3         D.     Plaintiffs’ Conclusory “Municipal Liability” Claim Fails
  4         Plaintiffs must “specify the content of the policies, customs, or practices” that
  5 “gave rise to [their] Constitutional injuries.” Mateos-Sandoval v. County of
  6 Sonoma, 942 F. Supp. 2d 890, 899 (N.D. Cal. 2013). They have failed to do so.
  7 (See Mot. at 24-25.)
  8         In their Opposition, Plaintiffs say they “properly allege all actions were taken
  9 by County agents pursuant to official ‘policy, procedure, or customs held by the . . .
 10 County.’” (Opp. at 14 (citing FAC ¶ 224).) But these are boilerplate allegations
 11 that cannot survive dismissal. Ashcroft v. Iqbal, 556 U.S. 662, 680-83 (2009)
 12 (affirming dismissal because plaintiff relied only on conclusory allegations that
 13 federal officials purposefully adopted an unconstitutional policy of arresting
 14 detainees after September 11, 2001 because of race, religion or national origin);
 15 Young v. City of Visalia, 687 F. Supp. 2d 1141, 1149 (E.D. Cal. 2009) (holding that,
 16 in “light of Iqbal,” the Ninth Circuit’s “pleading standard for Monell claims (i.e.
 17 ‘bare allegations’) is no longer viable”).
 18         Plaintiffs insist that somewhere in the FAC’s 226 unspecified paragraphs,
 19 “Plaintiffs have identified the specific policies alleged and acted upon . . . which,
 20 taken together, entitle Plaintiffs to relief.” (Opp. at 14.) This is plainly insufficient.
 21 IV.     PLAINTIFFS DO NOT PLEAD DISABILITY DISCRIMINATION
 22         Plaintiffs admit “the City is responsible for ensuring sidewalks within its
 23 jurisdiction . . . meet the requirements of the ADA,” and do not dispute that the
 24 sidewalks of Skid Row are under the City’s jurisdiction. (Opp. at 15.) This alone
 25 requires dismissal of their new disability discrimination claims against the County.
 26         But the claims fail on the merits too. Plaintiffs rely on Crowder v. Kitagawa,
 27 81 F.3d 1480 (9th Cir. 1996), to argue that Suarez and Van Scoy are prevented from
 28 using the sidewalks “‘by reason’ of their disabilities.” (Opp. at 16.) But Crowder
                                              19
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  1 supports the County’s argument. There, the visually impaired plaintiffs claimed that
  2 Hawaii’s quarantine on dogs entering the state discriminated against them on the
  3 basis of their disability because they relied on guide dogs to “negotiat[e] public
  4 streets and us[e] transportation systems.” 81 F.3d at 1482. The Ninth Circuit held
  5 the quarantine violated the ADA because, due to their “unique dependence” on
  6 guide dogs, it denied plaintiffs access to state services, while those services
  7 “remain[ed] open and easily accessible by others.” Id. 1484 (emphasis added).
  8         Here, by contrast, Plaintiffs claim the “[s]idewalks . . . are completely blocked
  9 and impassible.” (Opp. at 15.) They do not allege the sidewalks are “open and
 10 easily accessible” to anyone. Instead, Plaintiffs argue that the burden on Suarez and
 11 Van Scoy is greater because they cannot “simply step down and around an
 12 encampment.” (Id. at 16.) But Crowder did not establish a blanket rule that a
 13 “different or greater” burden on disabled individuals is sufficient to state an ADA
 14 claim. That Suarez and Van Scoy “must turn around” to go “back to the other side
 15 of the street,” instead of “walk[ing] through the street to the other side” does not
 16 constitute unequal access to the sidewalks “because of” their disability. (See id.)
 17 V.      THE REMAINING STATE-LAW CLAIMS ARE FATALLY FLAWED
 18         A.    Plaintiffs Cannot Plead Around Governmental Immunity
 19         Under California law, public entities have absolute immunity unless
 20 “otherwise provided by statute.” Cal. Gov’t Code § 815. Plaintiffs argue that
 21 governmental immunity does not bar their claims for injunctive relief. (Opp. at 20-
 22 22.) Their attempt to circumvent the County’s statutory immunity fails as a matter
 23 of law. (See Mot. at 28-30.)
 24         Plaintiffs quote Schooler v. State, 85 Cal. App. 4th 1004, 1013 (2000), for the
 25 proposition that “[u]nder section 814, Government Code immunities extend only to
 26 tort actions that seek money damages.” (Opp. at 21.) But Plaintiffs omit the key
 27 holding in Schooler. There, plaintiff’s home was on top of a state-owned bluff that
 28 was adjacent to a state-owned beach. The plaintiff sought an injunction against the
                                           20
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  1 state in connection with structural damage to his home caused by erosion of the
  2 bluff, and relied on section 814 to argue that immunity did not bar his claim for
  3 injunctive relief. 85 Cal. App. 4th at 1013.
  4         The court rejected this argument because Government Code section 831.25
  5 “relieves public entities of the responsibility” to protect adjacent property from land
  6 failures caused by natural conditions (85 Cal. App. 4th at 1012 (emphasis added)),
  7 and the injunctive relief plaintiff sought was merely an end-run around immunity
  8 and undermined the legislative intent to reduce the state’s financial burden for
  9 injuries from natural conditions on public land (id. at 1012-14). Section 814
 10 “cannot be applied in such a way as to circumvent either its own underlying
 11 legislative policy or that of another section in the Tort Claims Act,” and “any ‘relief’
 12 allowed under section 814 cannot create duties that immunity provisions guard
 13 against.” Id. at 1013-14 (emphasis added). The same is true here.
 14         Government Code section 815.2 provides that “a public entity is not liable for
 15 an injury resulting from an act or omission of an employee of the public entity
 16 where the employee is immune from liability.” Cal. Gov’t Code § 815.2(b). And
 17 section 820.2 provides that “a public employee is not liable for an injury resulting
 18 from his act or omission where the act or omission was the result of the exercise of
 19 the discretion vested in him, whether or not such discretion be abused.” Id. § 820.2.
 20         Under section 820.2, public employees cannot be held liable for basic policy
 21 or planning decisions. Masters v. San Bernardino Cty. Emps. Ret. Ass’n, 32 Cal.
 22 App. 4th 30, 45-46 (1995). A fundamental purpose of discretionary immunity is the
 23 need to fix duties and attain finality of governmental decisions. Connelly v. State, 3
 24 Cal. App. 3d 744, 766 (1970). If a trier of fact “is permitted to redetermine what [a
 25 public employee] should have done under a given set of circumstances where he had
 26 judgment and discretion, the ultimate power of decision is transferred to those not
 27 responsible,” and the result of each suit would become a redefinition of his duty. Id.
 28         The County’s decisions about how to allocate funds for the purpose of
                                            21
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  1 addressing homelessness is a legislative policy decision and quintessential
  2 discretionary act. Since a fundamental purpose of discretionary immunity is the
  3 need to fix responsibilities and to attain finality of [governmental] decision[s],”
  4 allowing “a court-imposed duty would be inconsistent with the legislative intent”
  5 underlying section 820.2 that public employees cannot be held liable for basic
  6 policy or planning decisions. See Connelly, 3 Cal. App. 3d at 766; Schooler, 85 Cal.
  7 App. 4th at 1011; see also Pierce v. County of Orange, 2004 WL 7340113, at *2
  8 (C.D. Cal. June 4, 2004) (“[A] plaintiff cannot use a claim for equitable and
  9 injunctive relief to circumvent the financial protections immunity provides a
 10 governmental entity.”); Thompson v. City of Petaluma, 231 Cal. App. 4th 101, 106
 11 (2014) (“Courts should not interfere with a local government’s legislative judgment
 12 on the ground that its funds could be spent more efficiently.”); Lucas v. Santa Maria
 13 Pub. Airport Dist., 39 Cal. App. 4th 1017, 1026 (1995) (“Thus, the courts should not
 14 take judicial cognizance of disputes which are primarily political in nature, nor
 15 should they attempt to enjoin every expenditure which does not meet with a
 16 taxpayer’s approval.”).
 17         Plaintiffs rely on a single unpublished district court case, Pierce v. County of
 18 Orange, to argue that immunity does not apply because they “are not seeking to
 19 impose additional financial burdens the County would not already have, had it
 20 properly fulfilled its constitutional and statutory obligations.” (Opp. at 21). Pierce
 21 is distinguishable. There, the court recognized that Schooler precludes a plaintiff
 22 from “us[ing] equitable and injunctive relief to impose a duty . . . the state did not
 23 otherwise have a duty to maintain,” but held that governmental immunities did not
 24 apply because the plaintiffs sought to enjoin the county’s operation of its jails in an
 25 unlawful manner, such as depriving pre-trial detainees the ability to practice
 26 religion, or denying disabled inmates access to programs and services. Pierce, 2004
 27 WL 7340113, at *2. The court reasoned that the county was already under the legal
 28 obligation to comply with the Constitution and ADA, and had failed to do so, so an
                                             22
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  1 injunction compelling compliance imposed no new burdens on the county that
  2 would be barred by governmental immunity. Id.
  3         Pierce stands for the unremarkable principle that where a party has the legal
  4 right to specifically enforce an obligation, governmental immunity does not bar the
  5 claim. But that is not the issue here. Rather, Plaintiffs do not identify any legal
  6 right (under WIC section 17000 or otherwise) to require the County to build
  7 emergency shelters or expend funds based on Plaintiffs’ policy preferences. (Mot.
  8 at 28-29.) Thus, an injunction requiring the County to redirect funds allocated for
  9 services or housing to build emergency shelters would impose a new duty on the
 10 County, with new fiscal burdens not contemplated by California law. This would
 11 directly conflict with the legislative intent behind the immunity statutes relieving
 12 public entities of responsibility for “adopting or failing to adopt an enactment,”
 13 “failing to enforce any law,” and “exercis[ing] . . . discretion.” (Mot. at 28 (citing
 14 Cal. Gov’t Code §§ 818.2, 820.2).) See also Schooler, 85 Cal. App. 4th at 1013-15.
 15         B.    Plaintiffs Fail To Allege The Existence Of A State-Law Duty To
 16               Provide Emergency Shelters To All PEH
 17         Plaintiffs’ remaining claims all require Plaintiffs to allege a statutory duty that
 18 the County breached, causing Plaintiffs’ injuries. They have not done so.
 19               1.      Plaintiffs Fail to State a Section 17000 Claim
 20         Plaintiffs contend that, under WIC section 17000, the County owes a
 21 mandatory duty to provide housing to the unhoused because “‘subsistence’ medical
 22 care includes basic shelter.” (Opp. at 19.) Plaintiffs misrepresent what section
 23 17000 requires. The County embraces its obligations under the statute: (i) to
 24 provide general assistance to the indigent, and (ii) to provide medically necessary
 25 care to “medically indigent persons.” Hunt v. Superior Court, 21 Cal. 4th 984,
 26 1002-03 (1999).
 27         Even assuming, arguendo, that provision of beds could constitute medical
 28 care of some kind, such aid would not constitute subsistence medical care mandated
                                            23
                       DEFENDANT COUNTY OF LOS ANGELES’ REPLY IN SUPPORT OF
                          ITS MOTION TO DISMISS FIRST AMENDED COMPLAINT

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  1 by section 17000. The medical care obligation “neither requires the County to
  2 satisfy all unmet needs, nor mandates universal health care.” Hunt, 21 Cal. 4th at
  3 1014. Moreover, nothing in the plain language of section 17000 requires the County
  4 to provide care in the form of temporary emergency shelters or otherwise dictates its
  5 “cho[ice] between a multitude of potential courses of action,” as Plaintiffs demand.
  6 Tailfeather v. Bd. of Supervisors, 48 Cal. App. 4th 1223, 1246 (1996). To the
  7 contrary, section 17000 “give[s] the counties a great deal of discretion in
  8 determining how best to meet the medical needs of indigent residents in light of the
  9 limited resources available,” id. at 1245-46, and it is up to the County to define the
 10 “standards of aid and care,” Cal. Welf. & Inst. Code § 17001.
 11        The County has exercised its discretion and determined how to support its
 12 indigent residents. Plaintiffs acknowledge as much in the FAC. (E.g., FAC ¶¶ 83,
 13 171.) Thus, Plaintiffs cannot allege the County has failed to discharge a mandatory
 14 obligation. Instead, they argue the County was required to discharge its obligations
 15 in a different way. (Id. ¶¶ 171-72.) The Court’s inquiry can end there. The County
 16 has discharged its mandatory duty by exercising its discretion. Tailfeather, 48 Cal.
 17 App. 4th at 1246 (because counties have discretion to determine the type of relief
 18 they provide under WIC sections 17000 and 17001, a court’s role is limited to
 19 determining “whether the County has abused or exceeded its discretion under the
 20 governing statutes—not to dictate how that discretion must be exercised”).
 21 Plaintiffs’ own allegations defeat their claim.
 22               2.      Plaintiffs Fail to State a Negligence Claim
 23        Plaintiffs do not respond to the County’s arguments for why their negligence
 24 claim fails. (See Mot. at 31-33.) Again, this alone is grounds for dismissal.
 25 Heraldez, 2016 WL 10834101, at *2; Excel Fitness, 2021 WL 795670, at *4.
 26 Instead, they argue in a footnote that their negligence claim must survive because it
 27 is predicated on a breach of section 17000. (Opp. at 17 n.4.)
 28        Plaintiffs’ attempt to tie their negligence claim to section 17000 contradicts
                                                 24
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  1 the FAC, which alleges the County breached a duty to maintain public rights of way,
  2 abate harmful or offensive conditions, and implement Measure H. (See FAC
  3 ¶¶ 161-64; Mot. at 31-32.) It is also inconsistent with Plaintiffs’ new respondeat
  4 superior theory of liability. (See FAC ¶¶ 161, 165.)
  5           In any event, it does not work because section 17000 does not impose a duty
  6 to provide temporary shelter. The County cannot be liable in negligence for
  7 breaching a duty that does not exist.5
  8                 3.      Plaintiffs Fail to State a Nuisance Claim
  9           Plaintiffs fail to identify a statute giving rise to a duty by the County to
 10 affirmatively act to prevent the alleged waste, fires and crime caused by PEH in the
 11 City. This dooms their public and private nuisance claims. (See Mot. at 33-34.)
 12 Indeed, Plaintiffs do not dispute this is required to state a claim. (See Opp. at 23
 13 (“[T]he “substantial factor” test for nuisance may be met by a failure to act when
 14 the defendant has a duty to take a positive action to prevent or abate the
 15 interference.”).)
 16           Schneider v. State of New Jersey, Town of Irvington, 308 U.S. 147 (1939), is
 17 inapposite. (See Opp. at 23-24.) There, the Supreme Court struck down a municipal
 18 ordinance that banned the distribution of leaflets on certain city land on First
 19 Amendment grounds. 308 U.S. at 165. The Supreme Court noted that while
 20 municipalities “may lawfully regulate the conduct of those using the streets,” such
 21
 22   5
      Plaintiffs contend that, under Brenneman v. State, governmental entities may be
 23 liable under a negligence per se theory for breaching a statute that creates a
 24 “legislatively prescribed standard of care.” (Opp. at 17 n.4 (citing 208 Cal. App. 3d
    812, 817 n.2 (1989)).) But that case affirmed the dismissal of a complaint for failure
 25 to plead the breach of any recognized duty. Moreover, section 17000 confers
 26 discretion on counties, and therefore cannot support a negligence claim. See Haggis
    v. City of Los Angeles, 22 Cal. 4th 490, 498 (2000) (“[T]he enactment at issue
 27 [must] be obligatory, rather than merely discretionary or permissive, in its directions
 28 to the public entity . . . .”).
                                                   25
                         DEFENDANT COUNTY OF LOS ANGELES’ REPLY IN SUPPORT OF
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  1 as enacting and enforcing “traffic regulations,” “the public convenience in respect of
  2 cleanliness of the streets does not justify an exertion of the police power which
  3 invades the free communication of information and opinion secured by the
  4 Constitution.” Id. at 160-61, 163. Schneider does not support Plaintiffs’ argument
  5 that the County owes a legal duty to remove PEH from City streets near Plaintiffs’
  6 private property.
  7        C.     Plaintiffs Fail To State A Waste Claim
  8        Plaintiffs’ theory of liability under section 526a is that the County negligently
  9 spent taxpayer money. (Opp. at 20.) That does not work. Sundance v. Municipal
 10 Court, 42 Cal. 3d 1101, 1138-39 (1986) (“[T]he term ‘waste’ as used in section
 11 526a means something more than an alleged mistake by public officials in matters
 12 involving the exercise of judgment or wide discretion. To hold otherwise would
 13 invite constant harassment of city and county officers by disgruntled citizens and
 14 could seriously hamper our representative form of government at the local level.”
 15 (alteration in original) (citation omitted)). The waste claim must be dismissed.
 16 VI.    CONCLUSION
 17        Plaintiffs’ Opposition is heavy on rhetoric and critiques, but devoid of any
 18 legal basis to allow their claims against the County to proceed. Each claim fails
 19 under Plaintiffs’ own admissions and well-settled law. The County respectfully
 20 requests that the Court dismiss it from this lawsuit.
 21
 22 DATED: January 10, 2021               MILLER BARONDESS, LLP
 23
 24
                                          By:        /s/ Mira Hashmall
 25
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 26                                              Attorneys for Defendant
 27                                              COUNTY OF LOS ANGELES

 28
                                                26
                     DEFENDANT COUNTY OF LOS ANGELES’ REPLY IN SUPPORT OF
                        ITS MOTION TO DISMISS FIRST AMENDED COMPLAINT

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    No. ___________

                UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT

                    In re: COUNTY OF LOS ANGELES
                               Petitioner,
                                      v.
                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                     (Western Division - Los Angeles)
                               Respondent.

               LA ALLIANCE FOR HUMAN RIGHTS, et al.
                       Real Parties in Interest.

                    On Petition for a Writ of Mandamus in
                     Case No. 2:20-cv-02291 (C.D.Cal.)


                         EXCERPTS OF RECORD
                                 VOLUME 4


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                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 18
 19 LA ALLIANCE FOR HUMAN                           CASE NO. 2:20-cv-02291 DOC-KES
    RIGHTS, et al.,
 20
                                                    DEFENDANT COUNTY OF
 21            Plaintiffs,                          LOS ANGELES’ MEMORANDUM
                                                    OF POINTS AND AUTHORITIES
 22              v.                                 IN SUPPORT OF MOTION TO
                                                    DISMISS FIRST AMENDED
 23 CITY OF LOS ANGELES, et al.,                    COMPLAINT
 24
              Defendants.                           Date: January 24, 2022
 25                                                 Time: 8:30 a.m.
                                                    Place: Courtroom 9D
 26
 27                                                 Assigned to the Hon. David O. Carter
                                                    and Magistrate Judge Karen E. Scott
 28
      542539.9                                                   Case No. 2:20-cv-02291 DOC-KES
            DEFENDANT COUNTY OF LOS ANGELES’ MEMORANDUM OF POINTS AND AUTHORITIES IN
                      SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT

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   1 I.       INTRODUCTION
   2          Plaintiffs are local residents and business owners, several persons
   3 experiencing homelessness (“PEH”), and an organization formed to pursue this
   4 litigation. But nearly two years after filing suit, Plaintiffs still cannot point to any
   5 violation of law or harm traceable to the County of Los Angeles (“County”).
   6 Plaintiffs brought this action to compel the County to spend hundreds of millions of
   7 dollars pursuant to their own agenda because, at the core, Plaintiffs disagree with the
   8 County’s policies and allocation of funds, and believe they know better how to
   9 address homelessness.
  10          The County shares Plaintiffs’ desire to house and shelter PEH and address the
  11 complex and critically important issue of homelessness. As laid out in the
  12 concurrently-filed Request for Judicial Notice (“RJN”), the County has dedicated
  13 billions of dollars to housing, shelter, services, and other resources for PEH. As
  14 Plaintiffs acknowledge, the County’s efforts, particularly in recent years, have been
  15 laudable. In 2015, the County created its Homeless Initiative with 47 strategies and
  16 $100 million. In 2016, it declared a local emergency on homelessness and set the
  17 stage for Measure H. In 2017, Measure H was adopted, generating over $350
  18 million annually and dramatically increasing services to PEH.
  19          There is, of course, more work to be done. The County and its partners are
  20 doing that work. In its budget for Fiscal Year (FY) 2021-22, the County allocated
  21 $527 million for Homeless Initiative services alone. This represents a $62 million
  22 increase over FY 2020-21 and is in addition to the millions of dollars in federal and
  23 State funds the County has earmarked for homelessness services. The County is
  24 committed to addressing homelessness and strives to develop effective long-term
  25 strategies and well-proven solutions.
  26          However, identifying and implementing those solutions is a quintessential
  27 legislative function incapable of being redressed by a federal court order dictating
  28 County policy. Plaintiffs’ action is misguided and fails on numerous grounds. It
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   1 should be dismissed.
   2 II.           FACTS
   3               In the First Amended Complaint (“FAC”), Plaintiffs allege homelessness has
   4 negatively impacted Plaintiffs and their residential and commercial property near
   5 Skid Row and other places in the City of Los Angeles (“City”). The FAC updates
   6 statistics about homelessness generally, crime involving PEH, and responsive efforts
   7 undertaken by various municipalities (FAC ¶¶ 46, 50-54, 64, 72-84, 89-93), as well
   8 as expands on the history of Skid Row and alleged exclusionary zoning during
   9 depression-era Los Angeles (id. ¶¶ 31, 39-45).1
  10               The FAC alleges 11 claims against the County. Compared to the Complaint,
  11 the FAC: (1) revises Plaintiffs’ theory of negligence to respondeat superior (id.
  12 ¶ 161); (2) contends that “beds themselves are medically necessary” under
  13 California Welfare & Institutions Code (“WIC”) section 17000 (id. ¶ 172); (3) adds
  14 a race-based equal protection claim on behalf of new individual Plaintiffs that
  15 identify as Black and unhoused in the City (¶¶ 96(b)-(d), 96(h), 214); and (4) alleges
  16 a new theory of liability based on the “special relationship” doctrine to its
  17 substantive due process claim (id. ¶¶ 217-18). Plaintiffs have also added the County
  18 to their claims of disability discrimination under the California Disabled Persons
  19 Act, Americans with Disabilities Act and Section 504 of the Rehabilitation Act,
  20 although there are no new allegations against the County to support any of those
  21 claims. (Id. ¶¶ 194-210.) Plaintiffs’ claims for public and private nuisance,
  22 taxpayer waste (California Code of Civil Procedure § 526a), and “Municipal
  23 Liability” are identical to the Complaint.2
  24
        1
  25   Plaintiffs purport to “incorporate[]” the Court’s entire preliminary injunction order
     in the FAC, which violates Rule 8 and Article III principles. (See FAC ¶ 45.)
  26 Moreover, the preliminary injunction was overturned on appeal and vacated.
  27 2 The only new “law” or policy alleged is a new City ordinance (L.A., Cal., Mun.
  28 Code ch. IV, art. 1, § 41.18) that bans sitting, lying down and sleeping on sidewalks.
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   1               The County’s commitment to combatting homelessness and serving PEH is
   2 undisputed. (See id. ¶ 94 (noting the County’s “significant” efforts).) The public
   3 record of the County’s extensive work on homelessness is set forth in the RJN.
   4               Since the implementation of Measure H-funded strategies in July 2017, the
   5 County’s homeless services system has placed nearly 72,000 people in permanent
   6 housing, of which more than 30,000 received funding through Measure H.
   7 (Declaration of Mira Hashmall (“Hashmall Decl.”) Ex. 15, p. 15; Ex. 14, pp. 1-2.)
   8 Over the 2020-2021 fiscal year alone, 20,477 people were placed in permanent
   9 housing, with 7,702 of these placements funded through Measure H. (Id., Ex. 15, p.
  10 15.) The County Board of Supervisors approved an unprecedented $527.1 million
  11 in 2021-2022 for PEH. (Id., Ex. 16.)
  12               Plaintiffs’ criticism of the County’s short-term and emergency housing
  13 placements ignores the facts. More than 92,000 PEH have been placed in interim
  14 housing, with more than half of the placements funded in whole or in part by
  15 Measure H. (Id., Ex. 15, p. 3; Ex. 14, pp. 1-2, 75.) Project Roomkey, a coordinated
  16 effort to house PEH in unused hotel rooms, has provided temporary shelter to over
  17 8,500 people. (Id., Ex. 15, p. 3.) The Board has allocated nearly equal funding for
  18 interim and permanent housing over the next fiscal year, in addition to $89 million
  19 for rapid rehousing and $50 million in street outreach and prevention. (Id., Ex. 16.)
  20 Thus, Plaintiffs’ allegations that the County is indifferent and not effectively
  21 utilizing Measure H funds are baseless.
  22 III.          LEGAL STANDARD
  23               Standing pertains to subject-matter jurisdiction under Article III and is
  24 properly challenged in a motion to dismiss under Rule 12(b)(1). White v. Lee, 227
  25 F.3d 1214, 1242 (9th Cir. 2000). In a challenge to subject-matter jurisdiction, “the
  26 district court is not confined by the facts contained in the four corners of the
  27
  28 (FAC ¶¶ 33, 59.)
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   1 complaint—it may consider facts and need not assume the truthfulness of the
   2 complaint.” Americopters, LLC v. F.A.A., 441 F.3d 726, 732 n.4 (9th Cir. 2006).
   3               A court should dismiss a claim under Rule 12(b)(6) when the pleading lacks
   4 “sufficient factual matter . . . to ‘state a claim to relief that is plausible on its face.’”
   5 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted).
   6 IV.           THERE IS NO JUSTICIABLE CASE OR CONTROVERSY BETWEEN
   7               PLAINTIFFS AND THE COUNTY
   8               A.     Plaintiffs’ Claims Are Not Justiciable
   9               Under Article III, each Plaintiff asserting a claim must “allege personal injury
  10 fairly traceable to the defendant’s allegedly unlawful conduct and likely to be
  11 redressed by the requested relief.” California v. Texas, 141 S. Ct. 2104, 2113
  12 (2021) (citation omitted). There are standing defects that pervade the FAC.
  13               First, other than Plaintiffs’ disability discrimination claims, the FAC purports
  14 to state all claims against the County on behalf of undifferentiated “Plaintiffs.” But
  15 not every Plaintiff has standing to pursue each claim. Plaintiffs Smiland, Shinbane,
  16 Bastian, Shaw, Rich, Leandro Suarez, Deisy Suarez, Burk, Frem, Pinsky, and
  17 Tashdjian do not allege they are Black/African-American, or members of any other
  18 racial group that has been discriminated against. Nor do they allege they are
  19 indigent—most are prominent real estate developers and property owners in Skid
  20 Row. Thus, they cannot assert a claim under WIC section 17000 or for race-based
  21 discrimination. Frem alleges injuries to his Mar Vista business miles from Skid
  22 Row and thus has no standing to challenge policies or alleged nuisances there. And
  23 the nuisance allegations based on interference with property that “[e]ach
  24 Plaintiff . . . owns, leases, occupies, or otherwise controls” necessarily excludes the
  25 unhoused Plaintiffs. (FAC ¶ 182.) These deficiencies are evident throughout the
  26 FAC—by their own admission, some number of Plaintiffs are not eligible to assert
  27 the claim or have not suffered the injury alleged.
  28               Second, Plaintiffs’ alleged injuries are not traceable to the County. The FAC
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   1 focuses on conduct by the City, and on court orders and settlements reached in
   2 litigation to which the County was not a party. (See, e.g., id. ¶¶ 36-37.) Likewise,
   3 Skid Row is within the incorporated territory of the City of Los Angeles. The City
   4 has authority over, and responsibility for, municipal affairs within its borders,
   5 including the general safety and welfare of its residents. Cal. Const. art. XI, §§ 5(a)-
   6 (b), 7; Richeson v. Helal, 158 Cal. App. 4th 268, 277 (2007). The County’s
   7 authority is limited to the unincorporated areas. City of Dublin v. County of
   8 Alameda, 14 Cal. App. 4th 264, 274-75 (1993).
   9          The links in the causal chain are also far too tenuous to support standing.
  10 Wash. Envtl. Council v. Bellon, 732 F.3d 1131, 1141-42 (9th Cir. 2013); Simon v. E.
  11 Ky. Welfare Rights Org., 426 U.S. 26, 44-46 (1976) (speculative or removed links in
  12 a causal chain cannot support standing). Plaintiffs have failed to allege a nexus
  13 between their injuries and the County actions that they challenge. See, e.g., Simon,
  14 426 U.S. at 42-44 (plaintiffs lacked standing to challenge new tax-exempt rule for
  15 charitable hospitals where it was speculative that change would increase access to
  16 private hospitals). Moreover, to the extent Plaintiffs’ injuries are due to increased
  17 PEH in Skid Row, there are countless factors that lead to homelessness. Plaintiffs
  18 cannot allege a causal link between their harm and the County’s efforts to address
  19 homelessness. The County has dedicated numerous resources to combat and
  20 prevent homelessness and assist PEH.
  21          Third, and the starkest standing defect, Plaintiffs’ alleged injuries are not
  22 redressable. The gravamen of the FAC is that there is a significant homelessness
  23 crisis, and Plaintiffs disagree with the County’s strategy to address it. Such
  24 “injuries” are not “capable of resolution through the judicial process.” Raines v.
  25 Byrd, 521 U.S. 811, 819 (1997) (citation omitted). Plaintiffs raise generalized
  26 grievances, not an injury sufficient to confer standing.
  27          The Court’s Article III power does not permit intrusive intervention into
  28 legislative prerogatives about how to spend limited resources to serve the public.
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   1 See, e.g., Horne v. Flores, 557 U.S. 433, 472 (2009) (regardless of how “vitally
   2 important” a goal, a district court could not require state to increase funding in one
   3 geographic area); Lewis v. Casey, 518 U.S. 343, 362 (1996) (overturning
   4 “inordinately—indeed, wildly—intrusive” order mandating changes to state prisons
   5 that “failed to accord adequate deference to the judgment” of local officials); Rizzo
   6 v. Goode, 423 U.S. 362, 366 (1976) (court order that police department implement
   7 program to handle grievances constituted an “an unwarranted intrusion by the
   8 federal judiciary into the discretionary authority committed to [the city officials] by
   9 state and local law to perform their official functions”).
  10               “It is beyond the power of an Article III court to order, design, supervise, or
  11 implement [a] requested remedial plan . . . [that] would necessarily require a host of
  12 complex policy decisions entrusted, for better or worse, to the wisdom and
  13 discretion of the executive and legislative branches.” Juliana v. United States, 947
  14 F.3d 1159, 1171-72 (9th Cir. 2020) (court could not compel a comprehensive
  15 climate-change scheme even though there was “much to recommend”).
  16               The law is clear. The complex issue of homelessness is simply not capable of
  17 being redressed by a federal court order that dictates County policy and mandates
  18 the expenditure of hundreds of millions of dollars in a specific manner.
  19 V.            PLAINTIFFS’ CLAIMS AGAINST THE COUNTY FAIL
  20               A.    Plaintiffs’ Section 1983 Claims Fail As A Matter Of Law
  21               In their Tenth, Eleventh, and Thirteenth Causes of Action, Plaintiffs allege the
  22 County violated section 1983 by: (1) infringing on Plaintiffs’ equal protection and
  23 procedural due process rights;3 (2) violating their substantive due process rights; and
  24 (3) maintaining an “Unconstitutional Custom or Policy.” The claims are untenable.
  25
  26    3
       Plaintiffs’ Twelfth Cause of Action also cites the Fifth Amendment in passing, but
  27 the due process and equal protection components thereof only apply to the federal
  28 government. Schweiker v. Wilson, 450 U.S. 221, 226 n.6 (1981).
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   1                     1.     Plaintiffs Have Not Stated an Equal Protection Claim
   2               To state an equal protection claim, Plaintiffs must first “identify the
   3 [defendant’s] classification of groups” that were purportedly treated differently.
   4 Country Classic Dairies, Inc. v. State of Mont., Dep’t of Commerce Milk Control
   5 Bureau, 847 F.2d 593, 596 (9th Cir. 1988). “[P]roof” that a government act has a
   6 “disproportionate impact on an identifiable group” is not enough; Plaintiffs must
   7 also plausibly show “the defendants acted with an intent or purpose to discriminate”
   8 and that the challenged classification cannot withstand the relevant level of scrutiny.
   9 Lee v. City of Los Angeles, 250 F.3d 668, 686-87 (9th Cir. 2001) (citation omitted).
  10               Plaintiffs allege two equal protection violations: (1) geographic
  11 discrimination against people near “homeless encampments” (FAC ¶ 212); and
  12 (2) racial discrimination against African-Americans (id. ¶ 214).
  13                            (a)    Plaintiffs’ Geographic Discrimination Claim Fails
  14               The FAC alleges that “by enforcing the law in some areas” and not in others,
  15 Defendants “have arbitrarily determined where homeless encampments may or may
  16 not be located,” and disproportionately burdened “some persons, communities, and
  17 businesses over others.” (FAC ¶ 212.) This “selective enforcement” theory does
  18 not support an equal protection claim.
  19               First, Plaintiffs are not members of any class that was targeted by government
  20 action. Their proposed “class” is comprised of businesses and housed individuals
  21 who were incidentally affected by allegedly selective enforcement against third
  22 parties (PEH). Lee, 250 F.3d at 686 (discrimination must be “based upon
  23 membership in a protected class” (citation omitted)). Moreover, the Supreme Court
  24 has recognized that perfection in law enforcement is not possible, and “complaining
  25 that one has been singled out” because of the state’s exercise of its “discretionary
  26 authority” in light of those practical limits does not trigger the Fourteenth
  27 Amendment. Engquist v. Or. Dep’t of Agric., 553 U.S. 591, 602-03, 604 (2008).
  28               Second, because geographic location is not a protected class, Plaintiffs’ claim
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   1 is subject to rational basis review, and Plaintiffs cannot plausibly allege the City’s
   2 enforcement actions are not “rationally related to legitimate legislative goals.” Lee,
   3 250 F.3d at 687 (citation omitted); e.g., Culinary Studios, Inc. v. Newsom, 517 F.
   4 Supp. 3d 1042, 1053 (E.D. Cal. 2021) (rational basis test governed equal protection
   5 challenge based on physical location of businesses); In re Tourism Assessment Fee
   6 Litig., 2009 WL 10185458, at *15 (S.D. Cal. Feb. 19, 2009) (discrimination against
   7 people renting cars at airports versus other locations subject to rational basis test).
   8          Government conduct is entitled to a “strong presumption of validity,” and the
   9 Court’s review must be “a paradigm of judicial restraint.” F.C.C. v. Beach
  10 Commc’ns, Inc., 508 U.S. 307, 314-15 (1993). “[E]qual protection is not a license
  11 for courts to judge the wisdom, fairness, or logic of legislative choices,” and the
  12 challenged conduct, even if “improvident” in the Court’s view, “must be upheld
  13 against equal protection challenge if there is any reasonably conceivable state of
  14 facts that could provide a rational basis.” Id. at 313-14 (citation omitted). Here,
  15 Plaintiffs explicitly link their injury to the Ninth Circuit’s “sweeping” decision in
  16 Martin v. City of Boise, 920 F.3d 584 (9th Cir. 2019), cert. denied, 140 S. Ct. 674
  17 (mem.) (2019), which precipitated a settlement by “the City” that “significantly
  18 limit[s]” the City’s “enforcement” of its anti-vagrancy law. (FAC ¶¶ 36, 37, 213.)
  19 The City’s compliance with Martin cannot be deemed “irrational.”
  20          Third, the FAC also fails to allege how discretionary enforcement of City
  21 laws equates to an intent by the County to treat Plaintiffs differently than other
  22 businesses and residents throughout the City. See Lee, 250 F.3d at 686 (the
  23 defendant must have “acted with an intent or purpose to discriminate against the
  24 plaintiff” (citation omitted)). “Discriminatory purpose” requires that “the
  25 decisionmaker . . . selected or reaffirmed a particular course of action at least in part
  26 ‘because of,’ not merely ‘in spite of,’ its adverse effects upon an identifiable group.”
  27 Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 279 (1979). Plaintiffs’ alleged
  28 “disproportionate burden” is insufficient to support an equal protection claim. Id.
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   1          Fourth, Plaintiffs tie their claim to the anti-vagrancy provisions of the
   2 “Los Angeles Municipal Code,” which is a City law. (FAC ¶ 33.) The County has
   3 no authority to alter the City’s enforcement decisions. The City’s enforcement of
   4 the City’s law is not—and cannot be—an unconstitutional County policy. Thus,
   5 Plaintiffs cannot show that a County policy was the “moving force” behind their
   6 injuries. See Dougherty v. City of Covina, 654 F.3d 892, 900 (9th Cir. 2011).
   7                       (b)    Homelessness in Los Angeles Is Not Traceable to a
   8                              Policy of Racial Discrimination by the County
   9          Plaintiffs added a race-based equal protection claim, citing the higher rate at
  10 which African-Americans experience homelessness. (FAC ¶ 214.) The FAC
  11 alleges that “[t]he City and County have repeatedly made affirmative decisions and
  12 adopted policies and laws which has furthered this disparate treatment, knowing the
  13 result would have a continued and intensified disparate impact.” (Id.)
  14          Plaintiffs also added individual plaintiffs who identify as Black, but that does
  15 not cure the deficiencies in the equal protection claim. Membership in a protected
  16 class, alone, does not demonstrate a violation of equal protection. The FAC fails to
  17 allege any facts showing the County treated Plaintiffs differently, let alone
  18 intentionally and because of their race. Plaintiffs do not identify any County
  19 program or benefit to which they were excluded, or any County policy that classifies
  20 people by race or has been applied differently based on race. (See Id. ¶¶ 41, 43
  21 (referencing “redlining policies” of “the City” and unnamed “federal, state, and
  22 local policies . . . in post-war Los Angeles”).) To the contrary, the FAC alleges that
  23 the Los Angeles Homeless Services Authority (“LAHSA,” a joint agency) enrolls
  24 Black clients in equal proportion to their representation among PEH. (Id. ¶ 42.)
  25          Plaintiffs’ reliance on the Skid Row containment “policy” is also misplaced.
  26 Plaintiffs lump the County together with the City, which alone is grounds for
  27 dismissal. Roberts v. County of Riverside, 2020 WL 3965027, at *4 (C.D. Cal.
  28 June 5, 2020) (dismissing Monell claim where plaintiff lumped together municipal
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   1 defendants); Terrell v. Samuel, Son & Co. (USA), Inc., 2020 WL 5372107, at *3
   2 (C.D. Cal. Apr. 23, 2020) (“[A] lack of differentiation in the allegations against
   3 multiple defendants is typically cause for dismissal in any context.”).
   4          Skid Row is within the City’s incorporated territory and under its exclusive
   5 jurisdiction. See Cty. Sanitation Dist. No. 2 v. County of Kern, 127 Cal. App. 4th
   6 1544, 1612 (2005) (cities “are necessarily outside the jurisdiction and authority of
   7 County; County’s authority extends only to the unincorporated areas”). The FAC
   8 asserts “the City implemented” the containment policy in the 1970s and that it has
   9 since denounced it. (FAC ¶¶ 30–31, 43.) Plaintiffs suggest that “City and County
  10 policies continue to concentrate [PEH]” in Skid Row, but point only to recent
  11 conduct by the City, such as the “DTLA2040 plan” that was “recommended to City
  12 Council.” (Id. ¶¶ 39-40.) Plaintiffs also expressly complain throughout the FAC
  13 that homelessness is not contained. (E.g., id. ¶¶ 23, 39, 51, 60, 67, 204, 213.)
  14          The FAC alleges that Black/African American people are disproportionately
  15 at risk for homelessness. (Id. ¶¶ 41-44, 214.) However, disproportionate impact is
  16 not enough to state an equal protection claim or show discriminatory purpose.
  17 Village of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 264-65
  18 (1977). Plaintiffs’ own allegations regarding the County, as well as statements by
  19 LAHSA’s executive director, indicate both an awareness and desire to “dismantle[]”
  20 any “legacies of systemic racism”—the opposite of discriminatory intent. (See, e.g.,
  21 FAC ¶ 42.) In the absence of a discriminatory County policy or custom, the County
  22 cannot be the “moving force” behind any of Plaintiffs’ alleged injuries.
  23                2.    The FAC Does Not State a Procedural Due Process Claim
  24          Plaintiffs assert a due process claim based on “allowing encampments in
  25 some areas and not others without review, public comment, vote, or other
  26 appropriate process.” (FAC ¶ 213.) This claim fails because Plaintiffs have not
  27 alleged any “substantive property interest entitled to constitutional protection.”
  28 Shanks v. Dressel, 540 F.3d 1082, 1091 (9th Cir. 2008). Plaintiffs had no
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   1 constitutional right to weigh in on discretionary enforcement of municipal laws, nor
   2 the City’s legal settlements. See Town of Castle Rock, Colo. v. Gonzales, 545 U.S.
   3 748, 768 (2005) (“[T]he benefit that a third party may receive from having someone
   4 else arrested for a crime generally does not trigger protections under the Due
   5 Process Clause.”). Moreover, the FAC addresses the City’s actions. (FAC ¶ 213.)
   6 It does not allege a due process violation by the County.
   7                     3.     Plaintiffs Have Not Alleged a Substantive Due Process Claim
   8               There is no fundamental right to housing. Lindsey v. Normet, 405 U.S. 56, 74
   9 (1972). Nor do private citizens have a constitutional right to specific actions by
  10 their government. See DeShaney v. Winnebago Cty. Dep’t of Soc. Servs., 489 U.S.
  11 189, 196-97 (1989) (“[T]he State cannot be held liable under the Clause for injuries
  12 that could have been averted had it chosen to provide them.”).
  13               The “state-created danger” and “special relationship” doctrines are narrow
  14 exceptions to the rule that the Constitution “confer[s] no affirmative right to
  15 governmental aid, even where such aid may be necessary to secure life, liberty, or
  16 property interests.” 489 U.S. at 196. Even if conduct falls within an exception, it is
  17 actionable only if it was “so egregious, so outrageous, that it may fairly be said to
  18 shock the contemporary conscience.” County of Sacramento v. Lewis, 523 U.S. 833,
  19 847 n.8 (1998). Plaintiffs do not and cannot allege any such conduct by the County.
  20                            (a)   The County Did Not Put Plaintiffs in Danger
  21               The Due Process Clause limits state action; it is not a “guarantee of certain
  22 minimal levels of safety and security.” DeShaney, 489 U.S. at 195. “Simply failing
  23 to prevent acts of a private party is insufficient to establish liability.” Martinez v.
  24 City of Clovis, 943 F.3d 1260, 1271 (9th Cir. 2019). To satisfy the state-created
  25 danger exception, Plaintiffs must allege (1) “affirmative actions” that “created or
  26 exposed [them] to an actual, particularized danger that [they] would not otherwise
  27 have faced”; (2) their injuries were “foreseeable”; and (3) deliberate indifference “to
  28 the known danger.” Id.
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   1          As an initial matter, the Ninth Circuit has only applied this exception to
   2 conduct by individual defendants, not government policies. See, e.g., 943 F.3d at
   3 1271 (law enforcement officer); Patel v. Kent Sch. Dist., 648 F.3d 965, 971 (9th Cir.
   4 2011) (teacher); Johnson v. City of Seattle, 474 F.3d 634, 639 (9th Cir. 2007) (rule
   5 applies when “members of the public . . . sue state actors who fail to protect them
   6 from harm inflicted by third parties”); see also Johnson, 474 F.3d at 639 (separately
   7 analyzing Monell claim and holding that the city “had no constitutional duty to
   8 protect” plaintiffs and thus “its failure to do so . . . simply does not constitute a
   9 violation of the Due Process Clause” (citation omitted)). DeShaney and its progeny
  10 foreclose a mandate that the government always adopt the “least dangerous” policy.
  11          Even assuming, arguendo, that the state-created danger doctrine could apply
  12 to County policies (it cannot), Plaintiffs’ claim still fails. Plaintiffs challenge two
  13 “affirmative[]” policies: (1) “a strategy to contain homeless people in Skid Row,”
  14 and (2) “focusing nearly exclusively on so-called permanent housing options.”
  15 (FAC ¶ 217.) Neither satisfies the “affirmative act” requirement.
  16          First, Plaintiffs cannot hold the County liable for a City policy with respect to
  17 Skid Row. (See supra V.A.1.(b).) The alleged Skid Row containment “policy” also
  18 pre-dates Plaintiffs’ injuries by several decades. Plaintiffs therefore cannot show
  19 that any actions by the County “create[d] or expose[d] [them] to a danger which
  20 [they] would not have otherwise faced.” Campbell v. State of Wash. Dep’t of Soc. &
  21 Health Servs., 671 F.3d 837, 845 (9th Cir. 2011) (citation omitted).
  22          Second, the County’s efforts to break the cycle of homelessness by
  23 prioritizing permanent housing solutions for PEH, as opposed to focusing on
  24 “emergency” shelters, do not remotely amount to a state-created danger. Plaintiffs
  25 disagree with the County’s policy decisions and want a “quick fix.” This is not
  26 enough. See Johnson, 474 F.3d at 641 (decision to abandon a more “effective[]”
  27 plan did not constitute “affirmative conduct that placed the [plaintiffs] in danger”).
  28 Moreover, Plaintiffs cannot tie the County’s focus on achieving the right proportion
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   1 of interim housing and permanent housing to greater danger than they would face if
   2 PEH were offered only temporary, emergency shelter. (See, e.g., FAC ¶ 10
   3 (alleging that there is “inherent danger involved in being unsheltered”).
   4          Plaintiffs’ allegations of systemic racism also do not satisfy the “affirmative
   5 action[]” requirement because they are missing the kind of obvious, immediate, and
   6 “particularized danger” to a specific individual that gives rise to a duty of care.
   7 Martinez, 943 F.3d at 1271. And Plaintiffs have not alleged—and cannot allege—
   8 that systemic racism by the County caused their alleged injuries, which range from
   9 obstructed sidewalks to denials of insurance coverage. Lawrence v. United States,
  10 340 F.3d 952, 957 (9th Cir. 2003) (“[I]n each of the cases in which we have applied
  11 the danger-creation exception, ultimate injury to the plaintiff was foreseeable.”).
  12          The County also did not act with deliberate indifference. The County devotes
  13 “significant” effort and resources to the homelessness crisis. (FAC ¶ 94; see also id.
  14 ¶ 83 (County budget includes half a billion dollars “dedicated to addressing
  15 homelessness . . . wholly separate from, and in addition to, the significant
  16 percentage of County funds allotted to departments to address issues of
  17 homelessness, . . . not to mention funding General Relief and other myriad social
  18 services”).
  19          At most, Plaintiffs allege the County’s use of taxpayer funds has not
  20 adequately addressed the homelessness crisis. But the Supreme Court has rejected
  21 this as a viable basis for a due process challenge. See County of Sacramento, 523
  22 U.S. at 848-49 (“[L]iability for negligently inflicted harm is categorically beneath
  23 the threshold of constitutional due process.”). Plaintiffs’ claim also runs afoul of the
  24 “presumption that the administration of government programs is based on a rational
  25 decision making process that takes account of competing forces,” and “decisions
  26 concerning the allocation of resources to individual programs . . . and to particular
  27 aspects of those programs . . . involve a host of policy choices that must be made by
  28 locally elected representatives, rather than by federal judges.” Collins v. City of
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   1 Harker Heights, Tex., 503 U.S. 115, 116 (1992).
   2                       (b)    The Special Relationship Exception Is Inapplicable
   3          “The special-relationship exception does not apply when a state fails to
   4 protect a person who is not in custody.” Patel, 648 F.3d at 972 (citing DeShaney,
   5 489 U.S. at 195-202). Involuntary restraint is the linchpin of this exception. See
   6 Campbell, 671 F.3d at 842 (custody must be “against [plaintiff’s] will” (citation
   7 omitted)). The FAC does not allege a single interaction between Plaintiffs and the
   8 County, let alone that they were taken into County custody or restrained in any way.
   9          Plaintiffs base their claim on the alleged “restraint on personal liberty
  10 exercised to draw in and contain homeless individuals in and near Skid Row.”
  11 (FAC ¶ 218.) But, once again, Plaintiffs fail to allege the County’s responsibility
  12 for any policy of containment with respect to Skid Row. (See supra V.A.1.(b).)
  13 Moreover, the centralization of municipal services in Skid Row is not equivalent to
  14 “custody” that gives rise to a special relationship. The Ninth Circuit has expressly
  15 rejected the notion that the government exerts “‘de facto custody’ . . . by exercising
  16 geographic control” over the place of the plaintiff’s injury. Estate of Amos ex rel.
  17 Amos v. City of Page, Ariz., 257 F.3d 1086, 1090-91 (9th Cir. 2001).
  18          Plaintiffs’ unsupported allegation that the City and County have “caused
  19 and/or exacerbated homelessness” (FAC ¶ 218) does not plead a custodial
  20 relationship akin to “incarceration, institutionalization, or other similar restraint of
  21 personal liberty” necessary to trigger the special relationship exception. Patel, 648
  22 F.3d at 972 (quoting DeShaney, 489 U.S. at 200).
  23          Plaintiffs cannot base a due process violation on allegations that the County
  24 “ha[s] acknowledged and recognized the role [it] has played in the crisis” and “the
  25 vulnerability of unhoused individuals to both the criminal and natural elements.”
  26 (FAC ¶ 218; see also id. ¶¶ 41–42); DeShaney, 489 U.S. at 201 (no special
  27 relationship even though state “may have been aware of the dangers that [the child]
  28 faced in the free world”); Campbell, 671 F.3d at 843 (“In the special relationship
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   1 situation, the state’s affirmative duty to protect . . . does not arise ‘from the State’s
   2 knowledge of the individual’s predicament . . . .’” (citation omitted)).
   3          Plaintiffs’ allegation that the County has “assumed responsibility” for
   4 providing supportive services to PEH also does not create a “special relationship.”
   5 (See FAC ¶ 218.) See DeShaney, 489 U.S. at 201 (“[T]he State does not become the
   6 permanent guarantor of an individual’s safety by having once offered him shelter.”);
   7 Campbell, 671 F.3d at 843 (“expressions of intent to help” do not create a special
   8 relationship (citation omitted)); cf. Patel, 648 F.3d at 973 (“[A] state-law obligation
   9 does not necessarily create a duty of care under the Fourteenth Amendment.”).4
  10                4.     Plaintiffs’ “Municipal Liability” Claim Necessarily Fails
  11          To state a claim under section 1983, Plaintiffs must allege: (1) they were
  12 deprived of a constitutional right; (2) a municipal policy; (3) the policy amounts to
  13 deliberate indifference to their constitutional right; and (4) the policy was the
  14 moving force behind the constitutional violation. Dougherty, 654 F.3d at 900;
  15 accord Monell v. Dep’t of Soc. Servs. of City of N.Y., 436 U.S. 658, 694 (1978).
  16 Plaintiffs’ claim for “Municipal Liability for Unconstitutional Custom or Policy” is
  17 redundant of their deficient Tenth and Eleventh Causes of Action. Moreover,
  18 because Plaintiffs fail to state a cognizable constitutional claim, the Thirteenth
  19 Cause of Action likewise fails. Dougherty, 654 F.3d at 900.
  20          Indeed, the “Municipal Liability” claim contains no new allegations. (FAC
  21 ¶¶ 223-26.) This “claim” does not challenge any policy or custom. It merely “re-
  22 allege[s] and incorporate[s] by . . . reference” Plaintiffs’ earlier allegations, and
  23 asserts the County and its “agents, with deliberate indifference, and conscious and
  24 reckless disregard to the safety, security, and constitutional and statutory rights of
  25 Plaintiffs, engaged in the unconstitutional conduct and omissions set forth above, all
  26
        4
  27   Plaintiffs also cannot satisfy the “deliberate indifference” element. (See supra
  28 V.A.3.(a).)
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   1 pursuant to policy, procedure, or customs held by the . . . County.” (Id. ¶¶ 223-24.)
   2 That is not enough.
   3          A plaintiff must “specify the content of the policies, customs, or practices”
   4 that “gave rise to [their] Constitutional injuries.” Mateos-Sandoval v. County of
   5 Sonoma, 942 F. Supp. 2d 890, 899 (N.D. Cal. 2013). The FAC’s contention that the
   6 County engaged in “unconstitutional conduct and omissions set forth above, all
   7 pursuant to policy, procedure, or customs” mirrors allegations the Ninth Circuit
   8 deemed insufficient to survive dismissal. AE ex rel. Hernandez v. County of Tulare,
   9 666 F.3d 631, 637 (9th Cir. 2012) (allegation that county “‘maintained or permitted
  10 an official policy, custom or practice of knowingly permitting the occurrence of the
  11 type of wrongs’ that [plaintiff] elsewhere alleged” failed to state a claim); Iqbal, 556
  12 U.S. at 678 (pleadings that offer “labels and conclusions” or “naked assertion[s]”
  13 devoid of “further factual enhancement” must be dismissed (citation omitted)).
  14          B.    Plaintiffs’ Accessibility Claims Fail
  15          The FAC added the County to discrimination claims under the California
  16 Disabled Persons Act (“CDPA”) (Count Seven), the Americans with Disabilities
  17 Act (“ADA”) (Count Eight), and Section 504 of the Rehabilitation Act (Count
  18 Nine), all stemming from sidewalk blockages by homeless encampments that
  19 allegedly impeded Plaintiffs Van Scoy and Suarez’s free passage by wheelchair.
  20          The CDPA creates a right to “full and free use of the streets, highways,
  21 sidewalks, walkways, public buildings, medical facilities, . . . public facilities, and
  22 other public places” for “[i]ndividuals with disabilities.” Cal. Civ. Code § 54(a). A
  23 plaintiff can also state a CDPA claim by pleading an ADA violation. Id. § 54(c).
  24 To plead an ADA claim, a plaintiff must allege (1) he was a “qualified individual
  25 with a disability,” (2) who was “excluded from participation in or . . . denied the
  26 benefits of the services, programs, or activities of a public entity, or [otherwise]
  27 subjected to discrimination,” and (3) that exclusion, denial, or discrimination was
  28 “by reason of such disability.” 42 U.S.C. § 12132. Section 504 of the
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   1 Rehabilitation Act similarly precludes discrimination in programs or activities
   2 funded by federal grants “solely by reason of . . . disability.” 29 U.S.C. § 794(a).
   3               Plaintiffs added the County to their disability discrimination claims, but they
   4 allege no facts showing sidewalk obstruction on County property. To the contrary,
   5 Suarez and Van Scoy both allege they have encountered obstructions due to
   6 encampments near their homes in Downtown Los Angeles. (FAC ¶¶ 133-38, 151-
   7 53.) These are City sidewalks over which the County has no jurisdiction, duty, or
   8 control. (L.A., Cal., Mun. Code Ch. VI, art. 2, § 62.01; L.A., Cal., County Code tit.
   9 1, ch. 1.12, § 1.12.010.) Indeed, Plaintiffs attribute responsibility for the obstructed
  10 sidewalks to the City. (See FAC ¶ 59 (“[T]he City is consistently failing to ensure
  11 the minimum clearance (36 inches) under the ADA.); id. ¶ 60 (“In the Skid Row
  12 area . . . the City agreed to allow nearly unlimited property accumulation on the
  13 public sidewalks . . . .”); id. ¶ 196 (alleging Van Scoy and Suarez “are being denied
  14 full and equal access to . . . public sidewalks, by the policies and practices of the
  15 City of Los Angeles”); (id. ¶ 204 (alleging “discrimination and denial of access to
  16 the City’s rights-of-way”).)
  17               Plaintiffs’ conclusory allegation that “[t]hroughout Los Angeles, the City and
  18 County are failing to uphold their obligations to maintain clear and accessible
  19 sidewalks” (id. ¶ 202) fails under Rule 8. See Langer v. Badger Co., LLC, 2020 WL
  20 7181076, at *3 (S.D. Cal. Dec. 7, 2020) (dismissing ADA claim for failure to allege
  21 locations of purported violations); Reycraft v. Lee, 177 Cal. App. 4th 1211, 1224
  22 (2009) (plaintiff must actually present himself to the public place to state a CDPA
  23 claim). The FAC also fails to allege the obstructed City sidewalks constitute a
  24 County “program or activity receiving Federal financial assistance,” as required to
  25 state a Section 504 claim. 29 U.S.C. § 794(a). (See FAC ¶ 209 (“The City is a
  26 recipient of federal financial assistance and therefore subject to Section 504.”).) Nor
  27 could it.
  28               The federal claims also fail for the independent reason that Van Scoy and
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   1 Suarez have not alleged that they were prevented from using sidewalks “by reason
   2 of” their disabilities. By their own allegations, “blocked sidewalks harm everyone
   3 who needs to use them and cannot,” and the burden on Van Scoy and Suarez from
   4 blocked sidewalks is felt equally by other plaintiffs with no disability. (FAC, Part
   5 III.D; id. ¶¶ 11, 58, 96(n).) As the Ninth Circuit held, these allegations do not “offer
   6 sufficient evidence to make the required showing for Van Scoy and Suarez to
   7 succeed on [their] claim[s] at this stage.” LA All. for Human Rights v. County of Los
   8 Angeles, 14 F.4th 947, 960 (9th Cir. 2021) (Plaintiffs not likely to prove denial of
   9 benefits was “by reason of their disabilities” where “allegations centered on the fact
  10 that blocked sidewalks ‘[p]ut [e]veryone at [r]isk’” (alterations in original)); see also
  11 Weinreich v. L.A. Cty. Metro. Transp. Auth., 114 F.3d 976, 978-79 (9th Cir. 1997)
  12 (“[A] plaintiff proceeding under Title II of the ADA must, similar to a Section 504
  13 plaintiff, prove that the exclusion from participation in the program was ‘solely by
  14 reason of disability.’” (alteration in original) (citation omitted)).
  15          C.    Plaintiffs’ Remaining State Law Claims Fail As A Matter of Law
  16          Plaintiffs’ federal claims are flawed, so the Court should decline supplemental
  17 jurisdiction over the state law claims. 28 U.S.C. § 1367(a). Indeed, because
  18 Plaintiffs lack Article III standing, the Court cannot adjudicate the state law claims.
  19 Herman Family Revocable Tr. v. Teddy Bear, 254 F.3d 802, 805 (9th Cir. 2001).
  20          Moreover, as explained below, the state law claims are untenable.
  21                1.     Plaintiffs Have Not Stated a Claim for Taxpayer Waste
  22          Plaintiffs lack standing to assert their Sixth Cause of Action under Code of
  23 Civil Procedure section 526a for “taxpayer waste.” Section 526a does not
  24 automatically confer Article III standing. Cantrell v. City of Long Beach, 241 F.3d
  25 674, 683-84 (9th Cir. 2001); Turner v. City & County of San Francisco, 892 F.
  26 Supp. 2d 1188, 1197 (N.D. Cal. 2012), aff’d 617 F. App’x 674 (9th Cir. 2015).
  27 Plaintiffs’ claim is based on the theory that, if the County had made better use of its
  28 funds, it could have constructed enough homeless shelters such that, if the City
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   1 enforced its anti-vagrancy laws, Skid Row encampments would be eliminated. This
   2 tenuous, speculative sort of claim is not a legitimate “pocketbook” injury traceable
   3 to the County or redressable by the Court. California, 141 S. Ct. at 2113.
   4          A claim “under Code of Civil Procedure section 526a will not lie where the
   5 challenged governmental conduct is legal.” Coshow v. City of Escondido, 132 Cal.
   6 App. 4th 687, 714 (2005). The County’s expenditures to help PEH are undeniably
   7 legal. And Plaintiffs’ attempt to obtain sweeping injunctive relief based on their
   8 belief that the City and County have “misused and wasted” taxpayer funds on
   9 addressing homelessness (FAC ¶ 190) does not work. Section 526a “should not be
  10 applied to principally ‘political’ issues or issues involving the exercise of the
  11 discretion of either the legislative or executive branches of government.” Schmid v.
  12 City & County of San Francisco, 60 Cal. App. 5th 470, 495-96 (2021) (citation
  13 omitted). “A claim under [526a] does not lie to attack exercises of administrative
  14 discretion and may not be employed to interfere with policymaking.” Id.; Chiatello
  15 v. City & County of San Francisco, 189 Cal. App. 4th 472, 483 (2010) (courts
  16 should not enjoin every expenditure that does not meet with a taxpayer’s approval).
  17          Plaintiffs’ policy disagreement with the County’s funding decisions as
  18 compared to “alternative available measures” that they believe would be more
  19 “effective in addressing the crisis” is insufficient. (FAC ¶ 190.) Section 526a is not
  20 a tool for private citizens to dictate public policy. See Coshow, 132 Cal. App. 4th at
  21 714 (“[A] taxpayer is not entitled to injunctive relief . . . where the real issue is a
  22 disagreement with [how] government has chosen to address a problem . . . .”).
  23                2.     Statutory Immunity Bars Plaintiffs’ Remaining Claims
  24          Under California law, public entities have absolute immunity unless
  25 “otherwise provided by statute.” Cal. Gov’t Code § 815. Governmental immunity
  26 shields public entities from claims based on “adopting or failing to adopt an
  27 enactment” or “failing to enforce any law,” id. § 818.2, and “exercise[s] of . . .
  28 discretion . . ., whether or not such discretion be abused,” id. § 820.2. See also
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   1 Taylor v. Buff, 172 Cal. App. 3d 384, 390 (1985) (budgetary and fiscal policy,
   2 allocation of finite resources, and choices between competing policy objectives are
   3 “discretionary” activities protected by governmental immunity); HFH, Ltd. v.
   4 Superior Court, 15 Cal. 3d 508, 519 (1975) (“basic policy decisions” immune from
   5 “governmental tort liability” (citation omitted)); Michenfelder v. City of Torrance,
   6 28 Cal. App. 3d 202, 206-07 (1972) (same for law-enforcement decisions).
   7          Plaintiffs’ request for injunctive relief does not change the immunity analysis.
   8 See Schooler v. State, 85 Cal. App. 4th 1004, 1013-15 (2000) (rejecting plaintiff’s
   9 argument that injunctive relief claims were not subject to immunity). Although
  10 Government Code section 814 states that immunity does not affect “the right to
  11 obtain relief other than money or damages,” this provision does not “circumvent
  12 either its own underlying legislative policy or that of another section in the Tort
  13 Claims Act.” Id. at 1013. The mandatory injunctive relief Plaintiffs seek would
  14 impose financial burdens on the County as real as money damages, and is therefore
  15 barred. See id. at 1014-15. Plaintiffs cannot plead around immunity.
  16          Section 818.2 “recognizes that the wisdom of legislative or quasi-legislative
  17 action . . . should not be subject to review” by the courts. Cal. Gov’t Code § 818.2
  18 (Law Revision Comm’n Comments). Homelessness is a complex problem for
  19 which there is no easy fix. The County dedicates tremendous resources to
  20 developing strategies to address the crisis and house PEH. And it remains
  21 committed to this work, which requires that it weigh available policy options and
  22 carefully allocate resources. These sorts of basic policy decisions regarding law
  23 enforcement and municipal services are the crux of the immunity doctrine. Freeny
  24 v. City of San Buenaventura, 216 Cal. App. 4th 1333, 1341 (2013); see also Taylor,
  25 172 Cal. App. 3d at 390 (“A decision involving the allocation of limited funds is a
  26 purely discretionary one . . . ‘and thus immune from liability.’” (citation omitted)).
  27          Plaintiffs ask the Court to substitute its judgment for these fundamental
  28 County policy choices. But it is not the Court’s role to dictate local policy and
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   1 budget priorities by usurping the County’s discretionary decisions. Immunity bars
   2 Plaintiffs’ claims. See Schooler, 85 Cal. App. 4th at 1014 (“[A]ny ‘relief’ allowed
   3 under section 814 cannot create duties that immunity provisions guard against.”).
   4                     3.     The State Law Claims Suffer from Other Fatal Flaws
   5                            (a)   Plaintiffs Have Not Stated a Section 17000 Claim
   6               The FAC alleges the County violated a “mandatory duty” under WIC
   7 section 17000, which provides that a county “shall relieve and support” indigent
   8 residents. (FAC ¶¶ 167-74.) Counties are not required to cover “all unmet needs”
   9 under section 17000, Hunt v. Superior Court, 21 Cal. 4th 984, 1014 (1999), only to
  10 provide “last resort” financial assistance and “medically necessary care,” County of
  11 San Diego v. State, 15 Cal. 4th 68, 92, 104-05 (1997) (citations omitted).
  12               Section 17000 forecloses Plaintiffs’ theory that “beds themselves are
  13 medically necessary” within the meaning of section 17000. (FAC ¶ 172.) WIC
  14 confers broad discretion on counties to determine the form and structure of relief
  15 they provide. Scates v. Rydingsword, 229 Cal. App. 3d 1085, 1089 (1991). The
  16 statute does not mandate particular forms of assistance, such as provision of beds.5
  17               Plaintiffs cite to section 10000 (FAC ¶ 169), which is a “general statement of
  18 policy” that “aid shall be administered and services provided promptly and
  19 humanely.” Marquez v. State Dep’t of Health Care Servs., 240 Cal. App. 4th 87,
  20 120 (2015) (citation omitted). This provision “does not set forth any specific duty
  21 or course of conduct an agency must take, but leaves to the agency’s discretion how
  22 to pursue the policy goal.” Id. Accordingly, while the County is working hard to
  23 shelter PEH, neither section 17000 nor section 10000 creates a duty to provide beds.
  24               Plaintiffs have not alleged that the County failed to provide any other required
  25 services. (FAC ¶¶ 88, 93-94 (acknowledging the County provides significant health
  26    5
      A state appellate court recently rejected the argument that counties have a
  27 mandatory duty under section 17000 to provide shelter for every homeless person.
  28 See Clinton v. Cody, 2019 WL 2004842, at *9 (Cal. Ct. App. May 7, 2019).
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   1 services and aid to PEH).) Nor have Plaintiffs alleged that an individual Plaintiff is
   2 indigent and was deprived of medically necessary care or general assistance. Thus,
   3 Plaintiffs cannot plead a violation of section 17000, which only applies when an
   4 indigent person is “not supported and relieved by their relatives or friends, by their
   5 own means, or by state hospitals or other state or private institutions.”
   6          Plaintiffs’ allegation that “the County has failed to meet its statutory
   7 obligation to provide appropriate mental health services” also fails. (See FAC ¶ 89.)
   8 The FAC points only to third-party research, not any mandatory statutory duty. (See
   9 id.) The County’s duty to provide mental health services under section 17000 is
  10 limited to services required by California’s Short-Doyle law, and Plaintiffs do not
  11 allege they were qualified for and denied such services. Bd. of Supervisors v.
  12 Superior Court, 207 Cal. App. 3d 552, 561-62 (1989).
  13                       (b)    Plaintiffs Have Not Stated a Negligence Claim
  14          To state a claim for negligence, Plaintiffs must allege (1) “a legal duty to use
  15 reasonable care,” (2) breach, (3) “but for” and proximate cause, and (4) “injury.”
  16 Mendoza v. City of Los Angeles, 66 Cal. App. 4th 1333, 1339, 1342 (1998). As a
  17 public entity, the County’s liability must be based on a statute giving rise to a
  18 specific duty, and the statute “claimed to establish the duty must at the very least be
  19 identified” in the pleading. Searcy v. Hemet Unified Sch. Dist., 177 Cal. App. 3d
  20 792, 802 (1986); Cal. Gov’t Code § 815(a).
  21          The FAC alleges the County has an obligation to “control, maintain, and keep
  22 safe and clean the public and public-right-of-way areas,” “make and enforce” health
  23 and safety laws, and “address[] and alleviate[]” harmful or offensive “conditions.”
  24 (See FAC ¶ 161.) But Plaintiffs identify no statute to support these allegations.6
  25
        6
  26   Plaintiffs’ cited authority is inapposite. (See FAC ¶ 162 citing Vanderhurst v.
     Tholcke, 113 Cal. 147, 152 (1896), and Schneider v. State of New Jersey, Town of
  27 Irvington, 308 U.S. 147, 160-61 (1939).) Vanderhurst and Schneider pre-date the
  28 Government Code and dealt only with the power of particular municipalities—
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   1 Plaintiffs contend the County was “obligat[ed] . . . to implement” Measure H (id.
   2 ¶ 164), but Measure H merely authorized the County to raise the sales tax and
   3 earmark revenue for supportive services for PEH (id. ¶ 83). Even if Measure H
   4 could be interpreted as imposing a “duty of care” (it cannot), the FAC admits the
   5 County uses “hundreds of millions of dollars” in Measure H funds to aid PEH. (Id.
   6 ¶ 84.) Plaintiffs’ criticism about Measure H programs is not actionable.
   7               The County is committed to public transparency and accountability regarding
   8 the use of Measure H funding. (Hashmall Decl. Ex. 14, p. 6.) Plaintiffs cannot
   9 impose tort liability based on their policy disagreements. See Zelig v. County of
  10 Los Angeles, 27 Cal. 4th 1112, 1132 (2002) (“[P]ublic entities—and their
  11 employees—generally are not liable for failure to protect individuals against
  12 crime.”); Dalehite v. United States, 346 U.S. 15, 26-38 (1953) (government’s
  13 allocation of limited resources is an exercise of discretion not subject to challenge
  14 by a negligence suit). Further, Plaintiffs have not pleaded, and cannot plead, a
  15 causal relationship between their alleged injuries and any statutory duty. See
  16 Mendoza, 66 Cal. App. 4th at 1333 (“[P]rivate act[s] br[eak] the chain of proximate
  17 cause.”).
  18               Plaintiffs’ attempt to circumvent these deficiencies by characterizing their
  19 theory of liability as respondeat superior goes nowhere. (FAC ¶ 161.) The FAC
  20 does not allege any conduct by an agent or employee, let alone a duty breached by
  21 such conduct or a causal relationship between that breach and Plaintiffs’ claimed
  22 injuries. (See id. (alleging “Defendants, by and through their agents and employees”
  23 have failed to maintain undifferentiated “parks, sidewalks, streets, public buildings,
  24 and certain undeveloped areas such as alongside freeways and other transportation
  25 routes”).) A public entity may be held vicariously liable under respondeat superior
  26
  27 notably, not the County—to exercise control on municipal streets. Further,
  28 Plaintiffs attribute “the duty to keep sidewalks open” to the City alone. (Id.)
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   1 principles “only if it is established that the employee would be personally liable for
   2 the conduct upon some ‘acceptable theory of liability.’” Peter W. v. S.F. Unified
   3 Sch. Dist., 60 Cal. App. 3d 814, 819 (1976) (citation omitted). Plaintiffs allege no
   4 such conduct. Id. (respondeat superior does not “relieve [plaintiffs] of the pleading
   5 requirements [they] must meet for this purpose”).
   6                       (c)   Plaintiffs Have Not Stated a Nuisance Claim
   7          A nuisance is a non-trespassory invasion of a person’s interest in the private
   8 use and enjoyment of land. Cal. Civ. Code § 3479; San Diego Gas & Elec. Co. v.
   9 Superior Court, 13 Cal. 4th 893, 937 (1996). A public nuisance (Count Three) is
  10 “one which affects at the same time an entire community or neighborhood, or any
  11 considerable number of persons.” Cal. Civ. Code § 3480. A private nuisance
  12 (Count Four) is any nuisance not otherwise defined as a public nuisance. Id. § 3481.
  13          Causation is an essential element of public and private nuisance claims.
  14 “[T]he critical question is whether the defendant created or assisted in the creation
  15 of the nuisance.’” See Citizens for Odor Nuisance Abatement v. City of San Diego,
  16 8 Cal. App. 5th 350, 359 (2017) (citation omitted); Resolution Tr. Corp. v.
  17 Rossmoor Corp., 34 Cal. App. 4th 93, 99 (1995) (defendant must be an “active
  18 participant” in the nuisance). Causation requires (a) an act, or (b) a failure to act
  19 under circumstances in which the actor is under a duty to take positive action to
  20 prevent or abate the nuisance. Citizens for Odor, 8 Cal. App. 5th at 359.
  21          The FAC alleges that third-party PEH are breaking the law and that their
  22 waste, trash, and encampments are harming Plaintiffs’ “property values,” as well as
  23 “health and welfare.” (FAC ¶¶ 177, 179.) But the County did not create the alleged
  24 nuisance—the waste, fires, or crime. Nuisance liability cannot extend “to damage
  25 suffered as a proximate result of the independent intervening acts of others.”
  26 Martinez v. Pac. Bell, 225 Cal. App. 3d 1557, 1565 (1990).
  27          Plaintiffs point to alleged nuisances caused by PEH entirely within the
  28 incorporated boundaries of the City (not County jurisdiction). Moreover, Plaintiffs
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   1 admit the County has made significant efforts to abate the issues where it has
   2 authority to do so. (FAC ¶¶ 88, 93-94.) See Citizens for Odor, 8 Cal. App. 5th at
   3 364 (rejecting nuisance claim against city relating to odors from animal droppings
   4 because the fact that city “might have considered alternative approaches did not”
   5 show “the City caused the alleged nuisance by failing to act”).
   6              Nuisance law is limited by inherent principles of reasonableness. See City of
   7 Los Angeles v. San Pedro Boat Works, 635 F.3d 440, 452 (9th Cir. 2011) (nuisance
   8 must be substantial and unreasonable). Plaintiffs’ theory that PEH are themselves
   9 an actionable, area-wide nuisance is baseless. The Ninth Circuit has repeatedly
  10 affirmed that PEH have rights to exist in the streets with their personal property.
  11 E.g., Lavan v. City of Los Angeles, 693 F.3d 1022, 1032 (9th Cir. 2012); Jones v.
  12 City of Los Angeles, 444 F.3d 1118, 1132-37 (9th Cir. 2006), vacated following
  13 settlement by 505 F.3d 1006 (9th Cir. 2007).
  14 VI.          CONCLUSION
  15              For the reasons set forth above, the County respectfully requests that the
  16 Court grant the Motion in its entirety.
  17
  18 DATED: December 3, 2021                    MILLER BARONDESS, LLP
  19
  20
                                                By:       /s/ Mira Hashmall
  21
                                                      MIRA HASHMALL
  22                                                  Attorneys for Defendant
  23                                                  COUNTY OF LOS ANGELES

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Applications/Ex Parte Applications/Motions/Petitions/Requests
2:20-cv-02291-DOC-KES LA Alliance for Human Rights et al v. City of Los Angeles et al

ACCO,(KESx),DISCOVERY,MANADR,RELATED-G,SM


                                     UNITED STATES DISTRICT COURT

                                   CENTRAL DISTRICT OF CALIFORNIA

Notice of Electronic Filing

The following transaction was entered by Hashmall, Jennifer on 12/3/2021 at 6:35 PM PST and filed on 12/3/2021
Case Name:           LA Alliance for Human Rights et al v. City of Los Angeles et al
Case Number:         2:20-cv-02291-DOC-KES
Filer:               County of Los Angeles
Document Number: 370

Docket Text:
NOTICE OF MOTION AND MOTION to Dismiss First Amended Complaint filed by Defendant
County of Los Angeles. Motion set for hearing on 1/24/2022 at 08:30 AM before Judge David O.
Carter. (Attachments: # (1) Memorandum of Points and Authorities, # (2) Request for Judicial
Notice, # (3) Notice of Lodging [Proposed] Order Granting Request for Judicial Notice, # (4)
Notice of Lodging [Proposed] Order Granting Motion to Dismiss) (Hashmall, Jennifer)


2:20-cv-02291-DOC-KES Notice has been electronically mailed to:

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2:20-cv-02291-DOC-KES Notice has been delivered by First Class U. S. Mail or by other means BY THE
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The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:C:\fakepath\Notice of Motion and Motion to Dismiss.pdf
Electronic document Stamp:
[STAMP cacdStamp_ID=1020290914 [Date=12/3/2021] [FileNumber=33059241-0
] [acbb53fcf8eef4ecc434bcde9e6fedb726f440d517b7432a426c5852987d23f050b
95aec294fd5e96b7f3690a9b0d01753ec9aefa212caaec0e23affcf94f7f4]]
Document description: Memorandum of Points and Authorities
Original filename:C:\fakepath\Memorandum of Points and Authorities.pdf
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[STAMP cacdStamp_ID=1020290914 [Date=12/3/2021] [FileNumber=33059241-1
                                                                                                   ER 593
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] [b8d0adb5983395ad3fb2e4f9e335ce41ab76a98e8f1325dc4360b7af5c73aa68a85
b4d0a81a4d679b43f4ff046927356f7e941d093f40b28ab960a9173bac917]]
Document description: Request for Judicial Notice
Original filename:C:\fakepath\Request for Judicial Notice.pdf
Electronic document Stamp:
[STAMP cacdStamp_ID=1020290914 [Date=12/3/2021] [FileNumber=33059241-2
] [09b703422a1491b91a1a986c3e1f262eaa551c34259e791eea42126bde6dfda17e4
fef7d8227d0a699532d90e6502aafdf853d8fb59e23ec1f94da2ba5234f06]]
Document description: Notice of Lodging [Proposed] Order Granting Request for Judicial Notice
Original filename:C:\fakepath\N otice of Lodging [Proposed] Order Granting Request for Judicial Notice.pdf
Electronic document Stamp:
[STAMP cacdStamp_ID=1020290914 [Date=12/3/2021] [FileNumber=33059241-3
] [19e2950f1018d4462dc068d00ba2d6654c97aa0e87b85552a96eff4c4f1b7e5ce75
0f263dd40e9f85dc1d2c04c1abce0bc3439ca87d0e9d7ada36d5e4bbc4eba]]
Document description: Notice of Lodging [Proposed] Order Granting Motion to Dismiss
Original filename:C:\fakepath\Notice of Lodging [Proposed] Order Granting Motion to Dismiss.pdf
Electronic document Stamp:
[STAMP cacdStamp_ID=1020290914 [Date=12/3/2021] [FileNumber=33059241-4
] [9449a00abd04fb20b756f391b9029af607887b9a6fb0008bbfbbbfcb9559c5ce7ce
1fe2210fab5403959971d778682b449266223ef37459c2fe0fbf8dded7d9c]]




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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

    Case No. LA CV 20-02291-DOC (KESx)                                   Date: April 26, 2021

   Title: LA ALLIANCE FOR HUMAN RIGHTS, et al v. CITY OF LOS ANGELES, et al

   PRESENT:

                      THE HONORABLE DAVID O. CARTER, JUDGE

                Deborah Lewman                                     Not Present
                 Courtroom Clerk                                   Court Reporter

          ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
                PLAINTIFF:                                  DEFENDANT:
                  None Present                                 None Present



         PROCEEDINGS (IN CHAMBERS): AMENDED ORDER GRANTING IN PART
                                    AND DENYING IN PART
                                    DEFENDANTS’ EX PARTE
                                    APPLICATIONS TO STAY [282, 284]

         Before the Court is Defendant County’s Ex Parte Application to Stay (Dkt. 282)
   and Defendant City’s Ex Parte Application to Stay (Dkt. 284). The Court finds the matter
   appropriate for resolution without oral argument. Fed. R. Civ. P. 78; C.D. Cal. R. 7–15.
   Having reviewed the moving papers and considered the parties’ arguments, the Court
   GRANTS IN PART and DENIES IN PART Plaintiff’s motion.

         The Clerk shall serve this minute order on the parties.

    MINUTES FORM 11                                                      Initials of Deputy Clerk djl
    CIVIL-GEN




                                                                                                        ER 595
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      I.        Procedural History


             On April 20, 2021, the Court issued a preliminary injunction. Dkt. 277. Defendant
   County appealed this order on April 21, 2021. Dkt. 278. On April 23, 2021, Defendant City
   appealed this order, as did Intervenor Cangress. Dkt. 281; Dkt. 283. Also on April 23, 2021,
   Defendants County and City filed separate Ex Parte Applications to Stay. Dkts. 282, 284.
   Plaintiffs opposed the ex parte applications on April 24, 2021. Dkt. 285.


      II.       Legal Standard


             Supreme Court precedent has “distilled” the legal principles for issuing stays pending
   appeal into consideration of four factors: (1) whether the stay applicant has made a strong
   showing of likelihood of success on the merits; (2) whether the applicant will be irreparably
   injured absent a stay; (3) whether issuance of the stay will substantially injure the other parties
   interested in the proceeding; and (4) where the public interest lies. Nken v. Holder, 556 U.S. at
   434 (quoting Hilton v. Braunskill, 481 U.S. 770, 776, (1987)). “The first two factors of the
   traditional standard are the most critical.” Id. In applying these factors, the Ninth Circuit employs
   a “sliding scale” approach. The factors are balanced such that a stronger showing of one element
   may offset a weaker showing of another. Leiva-Perez v. Holder, 640 F.3d 962, 964-66 (9th Cir.
   2011). In other words, “the required degree of irreparable harm increases as the probability of
   success decreases.” Nat. Res. Def. Council, Inc. v. Winter, 502 F.3d 859, 862 (9th Cir. 2007); see
   Al Otro Lado v. Wolf, 952 F.3d 999, 1007 (9th Cir. 2020) (“We first consider the government’s
   showing on irreparable harm, then discuss the likelihood of success on the merits under the
   sliding scale approach”).


      III.      Standing


             Defendants assert that the Plaintiffs lack standing because they cannot allege injuries to
   third parties—homeless persons on Skid Row—to support Article III standing for themselves.
   Dkt. 282 at 9–10; Dkt. 284 at 14. In response, Plaintiffs’ point to their Declarations, Dkt. 265-2,
   that show that there is a plethora of homeless persons amongst the Plaintiffs. Dkt. 285 at 3.


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           Standing is an essential and unchanging part of the case-or-controversy requirement of
   Article III. DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342 (2006). To establish Article III
   standing, a “plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the
   challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial
   decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1546–47 (2016), as rev’d (May 24, 2016).
   “To establish injury in fact, a plaintiff must show that he or she suffered ‘an invasion of a legally
   protected interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not conjectural
   or hypothetical.’” Id. at 1548 (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992))
           Because “[t]he party invoking federal jurisdiction bears the burden of establishing these
   elements,” they are “an indispensable part of the plaintiff’s case.” Lujan, 504 U.S. at 561.
   Accordingly, “each element must be supported in the same way as any other matter on which the
   plaintiff bears the burden of proof, i.e., with the manner and degree of evidence required at the
   successive stages of the litigation.” Id. at 561.
           Defendants argue that Plaintiffs lack standing to bring the preliminary injunction in
   question. Dkt. 265; Dkt. 284 at 14. because injury to homeless persons is the basis for the
   preliminary injunction order, Dkt. 277, and “Plaintiffs are not [persons suffering homelessness].”
   Dkt. 282 at 10. As stated in the Declarations attached to the Plaintiffs’ motion for preliminary
   injunction, however, there are numerous homeless persons amongst the Plaintiffs. See, e.g. Dkt
   265-2, Declarations of Mary Brannon, Maria Diaz, Gregory Gibson, Javier Gonzales, Ann
   Jackson, Wenzial Jarrell, and Luis Zaldivar, all of whom are members of LA Alliance and are
   currently experiencing homelessness in and around Skid Row. The following examples, drawn
   from their declarations, demonstrate that Plaintiffs have carried their burden to show standing at
   this stage of the litigation.
           “I did not go to war for our country to be afforded such sorry circumstances for self-
   sufficiency,” states Wenzial Jarrell, a veteran who served for years in the Air Force before being
   injured in combat, a plaintiff to this suit, and a homeless person. Id. Jarrell suffers from post-
   traumatic stress disorder from years of serving in war, which has made it difficult for him to
   survive on the streets. Id. Since moving to Skid Row, however, Jarrell has realized that “service
   providers offer little to no substantive support for the people living in Skid Row.” Id. Jarrell
   mentions how he found a 19-year-old girl who was blind, walking the streets of Skid Row; “[i]t
   was clear that she would be unable to survive there by herself.” Id. He brought her to the county



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   services worker who told him that there was nothing they could do for the girl. Id. Jarrell prides
   himself on helping countless others to “get out of the black hole that is Skid Row.” Id. Because
   there is nothing worse than “getting stuck in the system of Skid Row and finding you cannot
   escape.” Id. Unfortunately, he himself has not been able to escape the system. Concluding his
   declaration, Jarrell states that he “would jump at [a] chance” for stable housing, a chance for life.
   Id. “The world doesn’t know how bad it really is to live on Skid Row. I know I am more likely to
   die because I live on Skid Row. It is a desperate situation.” Id.
           “L.A.’s public services are not just inefficient—they are killing us,” says Gregory
   Gibson, a plaintiff to this suit who has suffered homelessness for the past 15 years. Id. While
   dealing with the difficulties of living on the street, he says, “we fight for necessities like
   identification and housing.” “Drug use is rampant because it is an escape from reality,” Gibson
   continues. “I never did drugs before becoming homeless, but now I do them just to deal with the
   pain of living on the street.” Id. Gibson laments that “[t]ackling issues through public services is
   so difficult that, in the fixing one problem, ten more pop up.” Id. Gibson concludes his statement
   with a cry for help. Id. “I want to break this vicious cycle of living on the streets, fighting for
   survival;” “I need help.” Id.
           “I have lived on Skid Row for five years” and “have seen a number of young women
   harassed, attacked, raped, and ultimately succumb to drug addiction due to the conditions of Skid
   Row,” states Maria Diaz, a homeless woman and a plaintiff to this suit. Id. Diaz states that it is
   women like her who suffer the most on Skid Row. “Harassment of women in Skid row is a
   certainty, and they need to learn fast how to deal with the constant onslaught of issues they will
   face.” Id. Furthermore, “[p]eople are always trying to sell drugs, steal belongings, or just hassle
   those trying to make it through this troubling time.” Id. She wishes that resources were “more
   accessible to those living on the street because [she believes] the first step in escaping
   homelessness is finding a safe and stable place to rebuild your life.” Id.
           “I . . . experienced much violence and fear after moving here,” states Mary Brannon, a
   plaintiff to this suit and a sixty-year-old woman suffering homelessness in Skid Row. Id. “I am
   scared,” Brannon continues; “every day on the streets hurts more.” When she reached out to
   authorities for help, Brannon was told that she “must wait six months to be assigned a
   caseworker,” and “not a single City or County employee offered [her] a room through Project
   Roomkey.” Id.



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           “Originally, I was sent to Skid Row by a judge to participate in a program . . . but the
   decision ended up putting me in the epicenter of the homeless crisis,” asserts Ann Jackson, a
   plaintiff to this suit and a woman who has suffered homelessness on Skid Row for the past eight
   years. Id. “The stress of my life in Skid Row caused me to have a stroke 18 months ago,” she
   continues. Id. Because of this stroke and her case manager’s unhelpfulness, Jackson states that
   she has “not been able to obtain the section 8 housing that [she is] entitled to.” Id. Jackson prays
   to the Court for relief, stating, “I desperately want to change and to get housing away from Skid
   Row where I can put my life back together and recover from my stroke in safety.” Id.
           “The circumstances of Skid Row actively harm people’s chances of escaping a life of
   homelessness,” states Javier Gonzales, a plaintiff to this suit and a homeless person. Id.
   “Robberies and assaults are a part of daily life,” he asserts. Id. Gonzales is forced to take
   amphetamines to stay awake “during the most dangerous hours.” Id. The lack of services to
   house himself or maintain his condition, Gibson continues, “has essentially trapped [him] at Skid
   Row.” Id. In his prayer for relief, Gibson says that “what those on Skid Row need isn’t
   sympathy, pandering, or handouts, but access to the resources to get ourselves back on our feet.”
   Id.
           “I have been living on Skid Row for approximately the last 25 years,” states Luis
   Zaldivar, a plaintiff to this suit and a homeless person. Id. “I have seen murders, arson, gang
   activity, and violent attacks,” Zaldivar continues. Id. “The crime seems to be getting worse, and
   there are more people than I have ever seen living on the street. I worry that the longer I stay, the
   more likely I am to become a victim.” Id.
           These are a few of the numerous realities laid out in Plaintiffs’ declarations. See
   generally id. In Plaintiffs’ own words, Plaintiffs “are current and formerly unhoused individuals,
   residents, community members, businesses, non-profit, and service providers all coming together
   to fight against what has become the accepted standard of death and despair in Los Angeles.”
   Dkt. 285 at 3; Dkt. 265-2. Plaintiffs therefore have shown that they have suffered injury-in-fact.
   And as laid out in detail in the Court’s preliminary injunction order (Dkt. 277) Plaintiffs’ injuries
   are fairly traceable to the challenged conduct of the City and County, and are likely to be
   redressed by a favorable judicial decision.
           Plaintiffs have fulfilled their burden of establishing standing.




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      IV.      Likelihood of Success on the Merits


            A. Irreparable Harm to Plaintiffs


            The Defendants argue that the Plaintiffs cannot show irreparable harm, and therefore
   cannot satisfy the requirements of a preliminary injunction. Dkt. 282 at 20.
            An injunction requires a showing that irreparable harm will likely result without the
   injunction. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) (finding that plaintiffs
   must show that “irreparable injury is likely in the absence of an injunction”). Defendants argue
   that the irreparable harm must be to the plaintiffs and not to third parties, i.e. homeless persons.
   Dkt. 282 at 20–21. The Plaintiffs, however, do consist of homeless persons. As stated in the
   Declarations attached to the Plaintiffs’ motion for preliminary injunction, there are numerous
   homeless persons amongst the Plaintiffs. See, e.g. Dkt 265-2, Declarations of Mary Brannon,
   Maria Diaz, Gregory Gibson, Javier Gonzales, Ann Jackson, Wenzial Jarrell, and Luis Zaldivar,
   all of whom are members of LA Alliance and are currently experiencing homelessness in and
   around Skid Row.
            And there is clear irreparable harm to these Plaintiffs—“[b]y the time briefing is finished
   in Defendants’ interlocutory appeal, 385 people will have perished.” Dkt. 285 at 2. There can be
   no harm more grave or irreparable than the loss of life, and with each passing day, five
   homeless persons die in Skid Row and the streets of Los Angeles.


            B. Public Interest - Preliminary Injunction


            Similarly, Defendants argue that the Plaintiffs have made no showing of public interest,
   to meet the standard for a preliminary injunction. As mentioned in the Court’s preliminary
   injunction order, however, the “public interest concerns are implicated when a constitutional
   right has been violated, because all citizens have a stake in upholding the Constitution,” and the
   constitutional rights of homeless persons—who are a part of the Plaintiffs—are being violated.
   Dkt. 277 at 93.




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                   C. Preliminary Injunction as a Matter of Law


                       i. State-Created Danger Doctrine


              The Defendants argue that a lengthy history of structural racism defined by deliberately
   discriminatory state acts like redlining and eminent domain does not constitute a state-created
   danger. Dkt. 284 at 16–17 . As the Court stated in its preliminary injunction, “[e]ven if this Court
   ignored the entire history of conscious decisions by the government that led to the creation of
   Skid Row and the rampant depravity before us today, there is still incontrovertible evidence that
   the danger of living on the streets . . . is state-made.” Dkt. 277 at 73. The Court went on to say
   that “pursuing housing at the expense of shelter, suspending HHH deadlines (and thereby
   evading accountability), and ramping down Project Roomkey despite the availability of federal
   funds to support it were all political choices that created this crisis.” Id. It is clear that the Court
   did not base its state-created danger doctrine decision solely, or even primarily, on a history of
   structural racism.


                       ii. Substantive Due Process

              Defendants assert that the right to family integrity is reviewed under rational basis
   review. The Supreme Court has held that “the Constitution protects the sanctity of the family
   precisely because the institution of the family is deeply rooted in this Nation’s history and
   tradition.”1 Under substantive due process, courts review intrusions on fundamental rights under
   strict scrutiny. Many family-related issues have been considered fundamental rights. See Meyer
   v. Nebraska, 262 U.S. 390 (1923); Pierce v. Society of Sisters, 268 U.S. 510 (1928); Loving v.
   Virginia, 388 U.S. 1, 12 (1967). Furthermore, there is a constitutional right to live together with
   one’s family, and this right is not limited to the nuclear family. “If a State were to attempt to
   force the breakup of a natural family . . . I should have little doubt that the State would have
   intruded impermissibly on ‘the private realm of family life which the state cannot enter.’” Smith
   v. Organization of Foster Families, 431 U.S. 816, 862–63 (1977) (J. Stewart, concurring). Given
   the numerous opinions finding that rights related to the family should be afforded strict scrutiny


   1
       Moore v. City of East Cleveland, 431 U.S. 494, 503 (1977) (plurality).


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   as fundamental rights, the Court disagrees with Defendants’ argument that they should instead be
   afforded mere rational basis review.


                   iii. Brown v. Board of Education


            Defendants argue that the Court’s reference to Brown is improper and that the Court
   itself, previously, recognized this. Dkt. 282 at 18. Defendants quote the Court stating that the
   constitutional violations in Brown were of a different sort. Id. This, however, is only a part of the
   Court’s statement. To be precise the Court stated that Brown represented constitutional violations
   of a different sort, but “increasingly it is obvious that the impact of homelessness on
   communities of color is so immense that to call it other than intentional is to ask the Court to
   blind itself to apparent reality.” Dkt. 205 at 4.


                   iv. Cal. Welf. & Inst. Code § 17000


            Defendants argue that they are not liable under Cal. Welf & Inst. Code § 17000 because §
   17000 imposes a discretionary rather than a mandatory duty of care. As stated in its preliminary
   injunction, the Court agrees with Defendants that Defendants have discretion in discharging their
   obligations under § 17000. Dkt. 277 at 87. However, the Defendants’ arguments fail in that that
   discretion is not limitless. There are certain minimum standards that Defendants must meet in
   order to meet the burden imposed by § 17000. To hold otherwise and to say that Defendants have
   absolute freedom to act, or not act, as they see fit in meeting the needs of indigent constituents
   would be to render §17000 moot. The Court declines to do so.


       V.      Irreparable Harm to Defendants


            Defendants argue that the preliminary injunction harms the Defendants irreparably
   because it interferes with government function and imposes burdens. Dkt. 282 at 22; Dkt 284 at
   20–21. The Court, however, has not interfered with any government function. Rather, the Court
   has set up goal posts for the purpose of accountability. Accountability measures are not
   irreparable harms.


                                                       8
                                                                                                           ER 603
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   VI.      Issuance of Stay Will Substantially Injure Interested Parties


         Defendants argue that the issuance of a stay would not injure any interested parties. Dkt.
282 at 23–24; Dkt. 284 at 21–22. Not so. As previously mentioned, there are numerous homeless
persons amongst the Plaintiffs. The Court has previously found that five homeless Angelenos die
on our streets each day. Dkt. 241-1 at 1. This is not to mention the litany of health issues caused
by the forced proximity of Homeless to pollution. See Dkt. 103-1 at 3. Therefore, the Court finds
that at the very least, some parties will be harmed by the issuance of a stay.


   VII.     Public Interest - Stay


         Similarly, the Defendants argue that the public interest favors a stay. Dkt. 282 at 25; Dkt.
284 at 21–23. Defendants continue that the relief would have a significantly negative impact on
the homeless Angelenos in Skid Row, because the relief calls for interim shelter over “real
housing solutions.” Dkt. 282 at 25. The Court disagrees.
         As emphasized previously, the Court’s preliminary injunction calls for both interim
shelter and long-term housing. Homeless Angelenos cannot be left to die while long-term
housing is in progress—no harm could be more grave or irreparable than the loss of life.
Accordingly, the Court finds that the public interest requires both the short- and long-term relief
provided for in the preliminary injunction.




                                                   9
                                                                                                        ER 604
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    VIII. Provisions of the Stay


        The Court has carefully considered the parties’ Applications to Stay Pending Appeal. The
Court recognizes the need for flexibility in determining the best way forward to help the
homeless population.
        The failure of settlement negotiations over the last few months has been a source of
concern for the Court. The City and County continue to squabble over financial responsibility for
addressing the homelessness crisis. Monetary commitments alone do not fulfill the parties’
obligations to their constituents. As action and accountability continue to stagnate, the homeless
population and number of deaths increase.
        The Court believes that increasing the availability of long-term housing is critical, and we
cannot let our homeless die in the streets while we build it. The Court thus welcomes any effort
to provide temporary relief while simultaneously building abundant and sustainable long-term
housing.
        The Court invites the Mayor of Los Angeles, the President of the Los Angeles City
Council, and the Chairman of the County Board of Supervisors to meet with the Court pursuant
to settlement discussions. Without a global settlement, the Court will continue to impose its
April 20, 2021 preliminary injunction, subject to certain modifications in response to the City
and County’s Applications to Stay Pending Appeal (Dkts. 282, 284):

            A. Skid Row

        With respect to Skid Row, the Court is mindful of the impact that decompression of Skid
Row would have on neighboring districts and has DENIED without prejudice Plaintiffs’ request
for 50% decompression. Rather, the Court’s order mandates that the City offer housing options to
Skid Row residents within 90 days in the case of unaccompanied women and children; within
120 days in the case of families; and within 180 days in the case of the general population. The
Court notes that under the terms of the preliminary injunction, while the City is ordered to offer
housing options on this timeline, Skid Row residents are not required to accept and may decline
these offers.
        Therefore, the Court DENIES the request to stay with respect to this provision.




                                                 10
                                                                                                       ER 605
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            B. Accountability of Funds Dedicated to Homelessness

        On April 20, 2021, the Court ordered the following:


        Pursuant to the Mayor’s announcement2 of a ‘justice budget’3 on Monday, April 19,
        2021, the Court ORDERS that $1 billion, as represented by Mayor Garcetti, will be
        placed in escrow forthwith, with funding streams accounted for and reported to the Court
        within 7 days.


Dkt. 277 at 106.
        The Court included this provision in response to the City’s “justice budget,” which
purportedly allocated $1 billion to address the homelessness crisis, including an unused $164
million dedicated to homeless relief that remains available as a roll-over from the previous year’s
budget. Rather than directing the City’s homelessness spending, the Court’s order for escrow
was intended to make certain that this promised money would in fact be set aside for
homelessness. Reports have alleged that the distribution of Proposition HHH funds has been
corrupted by “everything from fake not-for-profits to contractors with zero employees and multi-
million dollar development fees, and lucrative guaranteed management fees that support zero-
risk development.”4 Repeated concerns such as this are the basis for the Court’s ordered audits.
        Further, City Controller Ron Galperin cited a balance of “10-ish billion dollars available
in the City treasury” and stated that “the point I’ve made repeatedly to others in the City is that if
the issue is cash flow . . . we can solve that cash flow issue. That should not be the
impediment.”5 The Court was troubled by the apparent incongruity between the available “cash
flow” and the severe conditions of homelessness in Los Angeles. The Court was also concerned




2
  Benjamin Oreskes & David Zahniser, L.A. Plans Nearly $1 Billion in Spending to Address Homelessness Under
Garcetti Plan, L.A. TIMES (Apr. 19, 2021), https://www.latimes.com/homeless-housing/story/2021-04-19/los-
angeles-will-increase-budget-for-addressing-homelessness.
3
  David Zahniser, Dakota Smith & Emily Alpert Reyes, Garcetti Seeks to Stem Poverty, Boost Social Justice in
Vision for L.A.'s Recovery, L.A. TIMES (Apr. 19, 2021), https://www.latimes.com/california/story/2021-04-
19/garcetti-los-angeles-state-of-the-city.
4
  Letter from Ron Miller, Exec. Sec’y, L.A./Orange Cntys. Bldg. & Constr. Trades Council, to Mike Feuer, L.A.
City Att’y (Dec. 17, 2020).
5
  People’s City Council – Los Angeles (@PplsCityCouncil), TWITTER (Apr. 15, 2021, 6:33 PM),
https://twitter.com/pplscitycouncil/status/1382869701852729348?s=21.


                                                      11
                                                                                                                ER 606
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by the City’s failure to apply for 100% reimbursement from FEMA for funds spent on Project
Roomkey in light of purported budget concerns.
        However, on April 21, 2021, the City represented that the billion dollars allocated for
homelessness in the justice budget is not available to put in escrow. 6 Los Angeles City
Administrative Officer Richard Llewellyn further stated that “the great majority of these funds
are not currently in the City’s possession.”7 Given this new information, the Court agrees that a
modification of this provision is appropriate. Therefore, the Court STAYS provision 1(a) of the
preliminary injunction for 60 days in order to hear testimony from the City regarding details of
the $1 billion and asks the parties to create a Binding Commitment and Implementation Plan (the
“Plan”):


            1. The City shall draft the Plan within 60 days to ensure that the full $1 billion is
                 spent city-wide.
            2. The Plan shall provide the Court with a detailed breakdown of funding sources,
                 uses, objectives, methods, and means so that the Court can monitor the Plan’s
                 implementation.
            3. The Plan shall further provide specific information about the number of homeless
                 individuals who will be housed and by when.
            4. The Plan shall also provide details on the 89 pending projects with timeframes for
                 completion and move-in dates.
            5. Finally, the Plan shall provide details on how the funding will be used to address
                 racial disparities in housing and homelessness.
            6. The objectives and deadlines established in response to items 3 through 5 above
                 shall be binding on the City.




6
  Christopher Weber, Judge Orders LA to Offer Shelter for Homeless on Skid Row, YAHOO! NEWS (Apr. 20, 2021),
https://www.yahoo.com/news/judge-orders-la-offer-shelter-213848366.html. But see Benjamin Oreskes & David
Zahniser, L.A. Plans Nearly $1 Billion in Spending to Address Homelessness Under Garcetti Plan, L.A. TIMES (Apr.
19, 2021), https://www.latimes.com/homeless-housing/story/2021-04-19/los-angeles-will-increase-budget-for-
addressing-homelessness.
7
  Dkt. 284-1, ¶ 10 (Richard H. Llewellyn, Jr. Declaration).


                                                      12
                                                                                                                   ER 607
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             C. Availability of City Property

                i.    Cessation of Transfer of Property

On April 20, 2021, the Court ordered the following:


        The Court ORDERS the cessation of sales, transfers by lease or covenant, of the over
        14,000 City properties pending the report by the Controller Ron Galperin to the Court,
        and all similarly situated properties held by the County pending the report by the County
        counsel.


Dkt. 277 at 107.
        The Court will not impede any progress toward programs the City is proposing to help
homelessness, including Proposition HHH. In a clarifying order issued last week, the Court
emphasized that the Court’s order will not apply to projects that are already in progress. 8 To
ensure no further confusion regarding what qualifies as projects in progress, the Court hereby
STAYS provision 2(a)(ii) of the preliminary injunction until May 27, 2021, when an evidentiary
hearing will be held to determine what properties exist and are available for homelessness relief.

               ii.    Creation of Report on Property

        On April 20, 2021, the Court also ordered the following:

        Within 30 days, City Controller Ron Galperin shall oversee the creation of a report on all
        land potentially available within each district for housing and sheltering the homeless of
        each district. The homeless have been left no other place to turn to but our beaches,
        parks, libraries, and sidewalks, and it is pivotal that they no longer rely on spaces that
        enhance quality of life for all citizens.

Dkt. 277 at 107. This order was based on the City’s report to the Court that “[t]he City Controller
[Ron Galperin] compiled a list of nearly 14,000 properties in the City owned by six major public
entities, including over 7,500 properties owned by the City.” Dkt. 149 at 6. The City maintained


8
 See Dkt. 279 (“Second, the provision regarding the cessation of sales and transfers by lease or covenant under
Section 2(a)(ii) does not apply to projects in progress as of the date of the order, April 20, 2021.”).


                                                        13
                                                                                                                  ER 608
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that “the City does not have any property for sale, nor does it own or possess vacant properties,
that are immediately available and suitable for use for interim housing or shelter purposes.” Dkt.
149 at 8.
         The Court was deeply troubled that despite the City’s representation of access to over
14,000 properties, the City committed not one of these properties to building additional long-
term sustainable housing or interim housing.9 The City explained that these conclusions are
based on a process of “constant evaluation”; however, this “constant evaluation” has constantly
led to no options for housing.
         As mentioned above, the Court recognizes a need for all housing options, including long-
term housing. The property identified in the ordered report must be used for both long-term and
interim housing. The alternative is to leave our homeless no place but the sidewalks while we
build long-term units. There is no plan brought before this Court to accommodate all 66,000
homeless individuals in long-term housing, at a cost of $531,000 per unit. 10 Such a plan would
cost in excess of $30 billion. Further, while long-term housing is vital, its construction is long-
term, and the interim period has lasted decades. Accountability cannot always be on the
horizon—people are dying on the streets now.
         Therefore, given the urgent need to understand the inventory of available properties, the
Court DENIES the request to stay with respect to this provision.
         The Court DENIES the City and County’s Applications to Stay the remaining provisions
of the Court’s April 20, 2021 preliminary injunction.
         Finally, the Court SCHEDULES a hearing for Thursday, May 27, 2021 at 9:00 a.m. At
the hearing, the Court will receive evidence as to what properties are available for homelessness
relief, as detailed in section VII(C)(i) above. In addition, the City and County have requested to
be heard concerning the Court’s findings on structural racism in its April 20, 2021 preliminary
injunction. At the May 27, 2021 hearing, the Court will therefore receive testimony from the City
and County on these findings. The Court additionally invites all interested parties to notify the
Court if they would also like to be heard in this regard. The Court hereby SCHEDULES a
hearing for Thursday, May 27, 2021 at 9:00 a.m. IT IS SO ORDERED.


9
  The City stated that it “does not have any property for sale, nor does it own or possess vacant properties, that are
immediately available and suitable for use for interim housing or shelter purposes.” Dkt. 149 at 6, 8.
10
   Ron Galperin, It’s Time for Los Angeles to Pivot on HHH: Ron Galperin, L.A. DAILY NEWS (Mar. 14, 2021),
https://www.dailynews.com/2021/03/14/its-time-for-los-angeles-to-pivot-on-hhh-ron-galperin/.


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                                                                                                                         ER 609
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15                      UNITED STATES DISTRICT COURT
16                     CENTRAL DISTRICT OF CALIFORNIA
17
18   L.A. ALLIANCE FOR HUMAN                 Case No. 2:20-cv-02291 DOC-KES
     RIGHTS, et al.,
19                                           JOINT NOTICE TO THE COURT
                               Plaintiffs,   REGARDING MEMORANDUM OF
20                                           UNDERSTANDING FOR 6,700 BED
               vs.                           PLAN FROM CITY OF LOS
21                                           ANGELES AND COUNTY OF LOS
     CITY OF LOS ANGELES, et al.,            ANGELES
22
                             Defendants.
23
24

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28
                      JOINT NOTICE TO COURT REGARDING MEMORANDUM OF
                                                          UNDERSTANDING
                                             Case No. 2:20-cv-02291 DOC-KES

                                                                                    ER 610
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                         JOINT NOTICE TO COURT REGARDING MEMORANDUM OF
                                                             UNDERSTANDING
                                        -2-     Case No. 2:20-cv-02291 DOC-KES

                                                                                   ER 611
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1
            TO THE HONORABLE COURT, ALL PARTIES AND THEIR ATTORNEYS
2
     OF RECORD:
3
            PLEASE TAKE NOTICE that on October 9, 2020, the City of Los Angeles (“City”)
4
     and the County of Los Angeles (“County”) reached an agreement on a Memorandum of
5
     Understanding (“MOU”). This MOU clarifies the historic agreement between the City and
6
     County to provide a total of 6,700 beds and services for people experiencing homelessness
7
     (PEH”) in the City of Los Angeles within 18 months. (See Dkt. 136, Binding Term Sheet
8
     at ¶ 1.)
9
            Attached hereto is the MOU with its associated Binding Term Sheet as Exhibit 1.
10
11   DATED: October 12, 2020                FOLEY & LARDNER LLP
                                            Byron J. McLain
12

13
14
                                             /s/ Byron J. McLain
15                                          Byron J. McLain
                                            Attorneys for Defendant
16                                          COUNTY OF LOS ANGELES
17
     DATED: October 12, 2020                MICHAEL N. FEUER, City Attorney
18

19                                           /s/ Scott Marcus
                                            Scott Marcus
20                                          Senior Assistant City Attorney
                                            CITY OF LOS ANGELES
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                         JOINT NOTICE TO COURT REGARDING MEMORANDUM OF
                                                             UNDERSTANDING
                                        -1-     Case No. 2:20-cv-02291 DOC-KES

                                                                                              ER 612
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                                 #:3032



                                MEMORANDUM OF UNDERSTANDING
                                           BETW EEN
                                 THE COUNTY OF LOS ANGELES and
                                    THE CITY OF LOS ANGELES


   This Memor andum of Unders tanding ("MOU ") is entered into this
                                                                             9th day of Octobe r 2020 by
   and betwee n the County of Los Angele s, a subdivi sion of the State
                                                                             of Califor nia ("COU NTY") ,
   and the City of Los Angele s, a munici pal corpora tion ("CITY "), for
                                                                               purpose s of establis hing
   roles, respons ibilities , and financial relationships necessa ry to create
                                                                               housing or shelter for
   (i) people experie ncing homele ssness ("PEH" ) living within 500 feet
                                                                                of freewa y overpa sses,
   underp asses and ramps within the City of Los Angele s, (ii) PEH age
                                                                               65 and over within the
   City of Los Angele s, and (iii) other vulnera ble PEH within the City
                                                                             of Los Angele s. COUN TY
   and CITY will be referred to herein individ ually as "PART Y" and
                                                                            togethe r as "PART IES."
   PARTI ES agree to the followi ng for purpose s of this MOU only:

   I.        TERM OF MOU

   The term of this MOU will begin on the date of signature of PARTI
                                                                     ES, and will end on June 30,
   2025 , unless extende d upon mutual agreem ent of PARTI ES.

   II.       RECIT ALS

            A.       COUN TY

                      1.   The County has long recogni zed that a compre hensive crisis respons
                                                                                                e is
                           required to counter act the myriad causes of homele ssness and has
                                                                                              taken
                           several constru ctive steps toward s meetin g this challenge.

                     2.    On August 17, 2015, the Los Angele s County Board of Supervisors
                           ("Board ") launched the Homeless Initiative to combat the homele ss
                                                                                                crisis
                           that pervades our communities. The primary initial objective of the
                           Homeless Initiative was to develop a coordinated set of recommended
                           strategies. To achieve this objective, the Homeless Initiative conven
                                                                                                 ed 18
                           policy summit s on nine topics from October 1 to Decem ber 3, 2015,
                                                                                                 which
                           brought together County departments, cities and other public agencie
                                                                                                 s, and
                           a wide range of commu nity partners and stakeholders.

                     3.    On February 9, 2016, the Board approved 47 strategies that reach across
                           govern ment and commu nity boundaries to forge effective partner ships
                                                                                                  and
                           get results. On the same day, the Los Angele s City Council approve
                                                                                               d the
                           first-ever Los Angele s City Comprehensive Homele ss Strategy which
                                                                                                 was
                           developed in collaboration with the County.

                     4.    In March 2017, voters resound ingly approved Measur e H, the landma
                                                                                                   rk ¼
                           percent increase to the County 's sales tax to provide an ongoin g revenue
                           stream - an estimat ed $355 million per year for ten years - to fund

  HOA. I03025439.1




                                                                                                            ER 613
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                            services, rental subsidies and housing. It is designed to fund a
                            comprehensive regional approach encompassing 21 interconnected
                            strategies in six areas to combat homelessness: (i) prevent homelessness;
                            (ii) subsidize housing; (iii) increase income; (iv) provide case management
                            and services; (v) create a coordinated system; and (vi) increase
                            affordable/homeless housing.

                     5.     The County began efforts to alleviate homelessness even before passage of
                            Measure H by infusing $100 million to launch these strategies in 2016.

                     6.     On January 21 , 2020, the Board approved a motion proposed by
                            Supervisors Mark Ridley-Thomas and Janice Hahn entitled "Establishing a
                            Comprehensive Homelessness Crisis Response Strategy in Los Angeles,"
                            with a goal of establishing an accountability framework for providing
                            shelter or housing for PEH in Los Angeles County.

                     7.     On April 14, 2020, the Board unanimously approved a motion entitled
                            "Piloting a Comprehensive Crisis Response to Ensure Post-COVID-19
                            Housing for Homeless Older Adults in Los Angeles County," directing its
                            Chief Executive Officer ("CEO") to develop a pilot program to provide
                            long-term housing options and services to PEH who are aged 65 years or
                            older including those who were provided emergency housing in response to
                            the COVID-19 public health crisis. The motion further directed all County
                            departments to take appropriate action to implement 16 recommendations
                            for changes in state law or policy to achieve three goals: (i) addressing and
                            preventing street homelessness; (ii) reducing barriers to building more
                            housing; and (iii) getting more people into treatment.

           B.        CITY

                     1.     The City has taken unprecedented action to end street homelessness in Los
                            Angeles, and continues to act to address both the crisis of homelessness in
                            the city and the increased risk that COVID-19 creates for persons
                            experiencing homelessness in Los Angeles.

                     2.     In February 2016, the Mayor and City Council adopted the City' s
                            Comprehensive Homeless Strategy. It is meant to be a comprehensive
                            approach to address short- and long-term homelessness issues and is
                            adopted in tandem with the Homeless Initiative approved concurrently by
                            the County of Los Angeles Board of Supervisors. The City Council also
                            adopted 14 Guiding Principles which are incorporated in the
                            Comprehensive Homeless Strategy.

                     3.     In November 2016, Los Angelenos overwhelmingly approved Proposition
                            HHH. Proposition HHH authorized the City to issue up to $1.2 billion in
                            general obligation bonds to partially subsidize the development of up
                            to 10,000 supportive housing units for individuals and families who are
                            experiencing homelessness or are at risk of becoming homeless. As of


  HOA. I03025439.1                                    2




                                                                                                            ER 614
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                            September 30, 2019, the City has allocated nearly the entire amount
                            authorized by the Proposition HHH ballot measure, on its way to securing
                            the development of up to l 0,000 supportive housing units. City and
                            County also entered into a memorandum of understanding securing
                            County's provision of services to tenants of City-created permanent
                            supportive housing opportunities, including intensive case management,
                            integrated health services, and rental assistance.

                      4.    In April 2018, the Mayor and the City Council declared an emergency
                            shelter crisis and took advantage of a new state law that enables cities to
                            construct bridge housing more quickly on land owned or leased by the
                            City. The A Bridge Home (ABH) shelter program seeks to create l 00
                            shelter beds in each of the City's 15 Council Districts.

                      5.   In April 2018, the City also formed the Unified Homelessness Response
                           Center ("UHRC") in the City' s Emergency Operations Center, bringing
                           City Departments and partners under one roof to respond to the crisis
                           together and deliver every possible resource to help Angelenos
                           experiencing homelessness get the help they need to move indoors.

                     6.    On March 19, 2020, the City declared a state of emergency and issued the
                           Safer at Home orders in response to the coronavirus pandemic. The City
                           took several emergency measures to help protect homeless Angelenos and
                           slow the spread of COVID-19, including opening more than 20 emergency
                           shelters at City recreation centers to provide emergency shelter for over
                           1,000 people. The City also worked with the County and the State to
                           provide shelter through Project Roomkey. These emergency shelters are
                           temporary, however, and persons experiencing homelessness who were
                           brought inside these shelters must be relocated to longer term interim or
                           permanent housing solutions.

                     7.    The City continues to make addressing homelessness a top priority, even
                           during the financial crisis caused by COVID-19. In Fiscal Year 2020-
                           2021 , the City has committed over $460 million in supportive housing,
                           bridge housing, services, and facilities to help homeless Angelenos find
                           their way off the streets.

           C.        THE COURT

                     1.    COUNTY and CITY are parties to LA Alliance for Human Rights, et al. v.
                           City of Los Angeles, et al., Civil Action No. 2:20-cv-02291 (the "Action" ),
                           in the United States District Court for the Central District of California,
                           Judge David 0. Carter presiding (the "Court") .

                     2.    In addition to individuals over 65, those with preexisting medical
                           conditions, and those otherwise vulnerable to coronavirus, the Court has
                           expressed concerns about the health and safety of people experiencing
                           homelessness living within 500 feet of freeway overpasses, underpasses

 HOA. 103025439. 1                                   3




                                                                                                          ER 615
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                           and ramps. On June 18, 2020, the Parties submitted a binding term sheet
                           in the Action to address the Court's concerns (0kt. 136) (" Binding Term
                           Sheet").

  III.      PARTIE S ' RESPONSIBILITIES

  PARTIE S agree to the following responsibilities in connection with this MOU.
                                                                                      This MOU does
  not arise from a legal obligation, does not resolve the Action or any other litigatio
                                                                                        n, and further
  defines and incorporates the PARTIE S' Binding Term Sheet, attached as Exhibit
                                                                                        l to this MOU.
           A.       During the term of this MOU, the CITY will provide a total of 6,000 New Beds,
           and 700 Other Beds, for housing or shelter for (i) PEH within 500 feet of freeway
           overpasses, underpasses and ramps within the City of Los Angeles, and then
                                                                                         give priority
           to (ii) PEH who are aged 65 years or older within the City of Los Angeles and
                                                                                           (iii) other
           vulnerable PEH within the City of Los Angeles. CITY will provide 5,300 New
                                                                                             Beds
           within ten (10) months of June 16, 2020, and an additional 700 New Beds within
           eighteen (18) months of June 16, 2020 (" 6,000 New Beds"). CITY will provide
                                                                                              700
           Other Beds within ten (10) months of June 16, 2020 ("700 Other Beds").

                    1.    "New Beds" provided under this MOU shall be defined as beds (i) not
                          previously captured in any agreeme nt or plan between the PARTIES, and
                          (ii) opened on or after the date of the Binding Term Sheet (i.e., June 16,
                          2020). New Beds may include any combination of the following:
                          (i) purchased and/or leased motel/hotel rooms by the City; (ii) rental
                          assistance, including rapid rehousing, but only for the duration of the
                          assistance; (iii) sprung structures or tents; (iv) safe parking; (v) safe
                          sleeping; (vi) scattered site or permane nt supportive housing ; (vii) ABH
                          beds; and (viii) other innovative modes of housing or shelter. Family
                          reunification is not included as a New Bed under this MOU.

                    2.    "Other Beds" provided under this MOU may be beds previously captured
                          in an agreeme nt or plan between CITY and COUNT Y.
           B.       To assist CITY with funding services for the 6,000 New Beds, COUNT Y shall
           contribute up to $53 million for the first year and up to $60 million for years
                                                                                           two through
           five, as set forth in more detail below:

                    1.    For the period from execution of this MOU until June 30, 2021 ("Year
                          One"), COUNT Y shall pay to CITY the amount of (i) $17 .66 million on
                          Septemb er 1, 2020; (ii) $17.67 million on January 1, 2021 ; and (iii) $17.67
                          million on April 1, 2021.

                    2.   For the period from July 1, 2021 to June 30, 2022 ("Year Two"),
                         COUNT Y shall pay to CITY the amount of $60 million on July 1, 2021;
                         however, if the 6,000 New Beds from CITY are not open and occupiable
                         by July 1, 2021 , COUNT Y may prorate paymen t equal to $10,000 per new
                         bed that exists or will be open and occupiable within 60 days of the Year
                         Two paymen t date.

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                   3.     For the period from July 1, 2022 to June 30, 2023 ("Year Three") ,
                          COUNTY shall pay to CITY the amount of $60 million on July I , 2022;
                          however, if the 6,000 New Beds from CITY are not open and occupiable
                          by July 1, 2022, COUNTY may prorate paymen t equal to $10,000 per new
                          bed that exists or will be open and occupiable within 60 days of the Year
                          Three payment date.

                   4.     For the period from July 1, 2023 to June 30, 2024 ("Year Four"),
                          COUNTY shall pay to CITY the amount of $60 million on July I, 2023;
                          however, if the 6,000 New Beds from CITY are not open and occupiable
                          by July 1, 2023, COUNTY may prorate payment equal to $10,000 per new
                          bed that exists or be will open and occupiable within 60 days of the Year
                          Four payment date.
                   5.     For the period from July 1, 2024 to June 30, 2025 ("Year Five"),
                          COUNTY shall pay to CITY the amount of $60 million on July 1, 2024;
                          however, if the 6,000 New Beds from CITY are not open and occupiable
                          by July 1, 2024, COUNTY may prorate payment equal to $10,000 per new
                          bed that exists or will be open and occupiable within 60 days of the Year
                          Five payment date.
           C.     COUNT Y will pay to CITY a one-time bonus of $8 million if 5,300 New Beds
           are open and occupiable within ten months from June 16, 2020.

          D.      The Los Angeles Homeless Services Authority ("LAHS A") facilitates the
          coordination and management of resources and services in order to efficiently
                                                                                           and
          effectively connect PEH in the community to available housing and supportive
                                                                                            services
          equitably. To leverage resources and efficiency, services provided to PEH who
                                                                                             are
          sheltered or housed under this MOU may be facilitated and supported by LAHSA
                                                                                               in
          coordination with relevant community-based providers, but City may, in its sole
          discretion, contract with service providers directly , and such services may be
                                                                                          consistent
          with LAHSA 's service standards. City may also utilize its own staff to deliver
                                                                                            certain
          services (i.e. maintenance, sanitation, supplies, etc.) where appropriate.

          E.      Except as otherwise stated in this MOU, or to the extent COUNTY is responsi
                                                                                                   ble
          for costs in an agreement or plan between the PARTIES other than this MOU,
                                                                                             CITY is
          responsible for all costs, including capital costs, operating costs, and/or other
                                                                                            expenses
          associated with the 6,000 New Beds and 700 Other Beds described herein.

          F.       The precise mix and location of New Beds and Other Beds will be determined
                                                                                                   at
          CITY' s sole discretion. CITY will use all reasonable efforts to utilize, on an
                                                                                          ongoing and
          regular basis, all the New Beds for PEH in the City of Los Angeles for which
                                                                                          COUNT Y
          is contributing a portion of the funding for services.

          G.      The funding obligation of COUNTY under this MOU is exclusive. COUNT Y
          will continue to allocate Measure H funding by Service Planning Area (SPA)
                                                                                     based on
          the Homeless Count conducted by LAHSA and, where applicable, the Homele
                                                                                     ss
          Population Estimate, consistent with Board policy.

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             H.      COUNTY will take action to provide a package of the following mainstream
             services to PEH residing in facilities established by CITY pursuant to this MOU
                                                                                                  at the
             scale and availability deemed appropriate by the County: mental health and substanc
                                                                                                       e-use
             disorder outreach and disability benefit advocacy services through COUNTY's
             Departments of Health Services, Mental Health, and Public Health; and assistan
                                                                                                 ce to
             apply for and obtain public assistance, including Electronic Benefits Transfer
                                                                                              ("EBT")
             benefits to purchase food , temporary financial assistance and employment-focu
                                                                                                sed
             services for families with minor children, Medi-Cal enrollment, and general relief
                                                                                                   (i.e.,
             temporary financial assistance for indigent adults who are otherwise ineligible
                                                                                               for state-
             or federally-funded benefits) through COUNTY's Department of Public Social
                                                                                               Services.
             In addition, the County will continue to provide these mainstream services at
                                                                                             its County
             Department offices and other locations, as applicable, to all eligible PEH in the
                                                                                                City of
             Los Angeles , including to PEH assisted through family reunification.

   IV.       COMPLIANCE AND REPORTING

   PARTIES agree to the following reporting requirements; provided , however,
                                                                                  if the Court
   requires different and more extensive reporting than what is set forth below, then
                                                                                       the PARTIES
   agree to provide reporting as required by the Court and not in this MOU. PARTIE
                                                                                         S agree that:
   CITY shall submit to COUNTY and the Court the following:

            A.       BEDPL AN.

                     1.      By August 1, 2020, CITY shall provide each Council District ' s current
                     plan describing how CITY will establish New Beds and Other Beds specified
                     herein ("Bed Plan"). The CITY' s Bed Plan shall include, at a minimum, the
                     following information:

                            a)     Identification of New Beds and Other Beds in development to be
                                   provided under this MOU, categorized by type, number, and
                                   location (if not tenant-based), and the expected opening dates for
                                   each intervention; and

                            b)     Identification of additional New Beds and Other Beds being
                                   considered or proposed for development, categorized by type,
                                   number, and location (if not tenant-based), and the status of the
                                   proposed intervention.




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             B.       STATU S REPOR TS.

                       1.     Quarte rly Reports. During the term of this MOU, CITY shall provide
                      written quarter ly status reports, starting at least by Octobe r 15, 2020,
                                                                                                 to report on
                      CITY's progres s in providi ng New Beds, Other Beds, and service s
                                                                                              pursuan t to
                      this MOU ("Statu s Report"). Each Status Report shall include informa
                                                                                                   tion for the
                      most recent three-m onth period, and will be provide d within 30 days
                                                                                                 of the end of
                      the quarter, and shall include at least the following:

                              a)      Update s to the Bed Plan;

                              b)      Numbe r and location of New Beds and Other Beds then existing,
                                      as well as the current status of beds being created , and additional
                                      interventions being conside red pursuan t to this MOU; and

                              c)     Numbe r of PEH provide d New Beds and Other Beds, identified by
                                     the three target PEH populat ions: (i) PEH within 500 feet of
                                     freeway overpas ses, underp asses and ramps within the City of Los
                                     Angele s; (ii) PEH who are aged 65 years or older within the City
                                     of Los Angele s; and (iii) other vulnera ble PEH within the City of
                                     Los Angele s.

                     2.      Bed Count. At least 90 days prior to the annual paymen t date for Years
                     Two through Five, CITY shall provide information regardi ng the numbe
                                                                                              r of
                     existing beds and the numbe r of beds that will be open within 60 days
                                                                                            of the
                     paymen t date.

                     3.      Annual Report . At least annually, City shall report the cumula tive
                                                                                                    amoun t
                     of City funding provide d to fund service s during the precedi ng fiscal
                                                                                              year for
                     New Beds established under this MOU. The City' s and County ' s
                                                                                          contrib ution are
                     each expecte d to cover 50% of the average cost of providi ng service
                                                                                            s to PEH in
                     New Beds establis hed by the City under this MOU.

  COUN TY shall submit to CITY and the Court the following:

           C.        STATU S REPOR TS.

                     1.      Payme nt Report. COUN TY shall report the amount s paid to CITY
                                                                                                     in
                     Year One pursuan t to this MOU by Septem ber 30, 2020, January 31
                                                                                            , 2021 , and
                     April 30, 2021 , and shall thereaf ter report the amount s paid to CITY
                                                                                              in Years
                     Two through Five on or before Septem ber 30 of each respect ive Year
                                                                                               (or earlier if
                     request ed by the Court).




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                      2.       Payment After City Reporting. COUNT Y's scheduled payments to the
                      CITY as identified in this MOU shall occur (i) as identified in Section III.B. l
                                                                                                        or
                      (ii) within 30 days after the CITY has met its reporting obligations (i.e., Status
                      Reports) immediately preceding that paymen t as specified in this Compliance
                                                                                                        and
                      Reporting section (whichever date is latest).

                      3.      Mainstream Services. During the term of this MOU, COUNTY shall
                      provide written quarterly status reports on COUNTY' s provision of mainstream
                      services for PEH in facilities established by CITY pursuant to this MOU. Each
                      Status Report will be provided within 30 days of the end of the fiscal quarter.

   V.        MODIFICATIONS AND REVISIONS

   This MOU constitutes the entire agreement between PARTIBS hereto, and no
                                                                                oral understanding
   not incorporated herein will be binding on any PARTY. This MOU may only
                                                                                 be modified,
   altered or revised, as necessary, by mutual consent of PARTIBS hereto by the
                                                                                issuance of a
   written amendment, signed and dated by PARTIES.

   VI.       DISPUTE RESOLUTION

   PARTIES agree to implement good faith efforts and promptly meet and confer
                                                                                 to resolve
   disputes arising from this MOU. If, after such efforts, the PARTIES cannot resolve
                                                                                      disputes , the
   PARTIES shall seek resolution from the Court.

   VII.      COURT ENFORCEMENT

  This MOU is subject to enforcement by the Court. Promptly upon execution,
                                                                            PARTTES agree to
  submit this MOU to the Court.

  VIII.     PRESS RELEASES AND COMMUNICATIONS

  To the extent feasible , both PARTIES shall be invited to participate when commun
                                                                                       icating with
  the press, television, radio or any other form of media regarding duties or perform
                                                                                      ance under this
  MOU. Participation of each PARTY in press/m edia presentations will be determi
                                                                                     ned by each
  PARTY ' s public relations policies. Unless a PARTY directs otherwise, each
                                                                                  PARTY shall make
  specific reference to both PARTIES in all communications regarding this MOU.

  IX.       INDEMNIFICATION

 Pursuant to the provisions of Section 895.4 of the California Government Code,
                                                                                   PARTIES
 agree to indemnify and hold the other PARTY harmless from all liability for
                                                                                damage , actual or
 alleged, to person or property arising out of or resulting from indemnifying PAR
                                                                                   TY' s acts or
 omissions in the performance of this MOU. ln the event of third-party loss caused
                                                                                       by
 negligence, wrongful act or omission of PARTIES, each PARTY shall bear financia
                                                                                        l
 responsibility in proportion to its percentage of fault as may be mutually agreed
                                                                                   or judicially
 determined. The provisions of California Civil Code Section 2778 regarding
                                                                                interpretation of
 indemnity agreements are hereby incorporated.

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   X.       MISCE LLANE OUS PROVI SIONS

  This MOU is governed by and shall be interpreted in accordance with
                                                                            the laws of the State of
   California, excludi ng its conflict of law rules. PARTIES agree that
                                                                          any action relating to any
  dispute, claim, or controversy regarding the validity, enforcement, interpre
                                                                                 tation, or breach of
  this MOU shall only be comme nced in and maintained in, and PARTI
                                                                            ES hereby stipulate to the
  jurisdic tion only of, the United States District Court for the Central
                                                                          District of California.
  If any part of this MOU is found to be illegal, invalid , or unenforceable by
                                                                                  a court of compet ent
  jurisdiction, the legality, validity, and enforceability of the remaining
                                                                            parts, terms, or provisions
  of this MOU shall not be affected thereby , and shall remain in full force
                                                                               and effect. The illegal,
  unenforceable , or invalid part, term, or provision shall no longer be
                                                                          deemed to be part of this
  MOU. It is the desire and intent of the PARTIES that the provisions
                                                                           of this MOU be enforce d to
  the fullest extent permissible under applicable laws.

  This MOU may be executed in counterparts, each of which so execute
                                                                         d will be deemed to be an
  original and will togethe r constitute one and the same agreement. Manua
                                                                            l signatures may be
  provided by facsimile, or digitally scanned and provided by electron
                                                                       ic mail.
  Each PARTY shall be responsible for and bear its own attorneys' fees
                                                                       and costs incurred in
  connection with this MOU.


  The City of Los Angele s



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  By: - - --              .. ,-'   /!C
                    -- - - - - -- - -
          Richard H. Llewellyn, Jr
          City Administrative Officer                   Date    October 9, 2020




  The County of Los Angeles




  By C ~ , ~
          Fesia Da enport
          Acting Chief Executive Officer               Date:   \0' \ ~ ~b:\ )




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                         EXHIBIT 1




                                    EXHIBIT 1
                                                                                 ER 622
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     Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 676 of 1079

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16                         UNITED STATES DISTRICT COURT
17         CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
18
                                              CASE NO. 20-02291-DOC
19
      LA ALLIANCE FOR HUMAN                   Hon. David O. Carter
20    RIGHTS, et al.                          Courtroom 1
                     Plaintiff(s),
21
                   vs.                        ORDER GRANTING INTERVENORS'
22                                            EX P ARTE APPLICATION TO
      City of Los Angeles, et. al.            INTERVENE AS OF RIGHT
23
                          Defendant(s).
24
25                                            Complaint Filed: March 10, 2020

26

27

28


                          ORDER GRANTING EX PARTE APPLICATION TO INTERVENE



                                                                                  ER 625
     Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 677 of 1079

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 1          Pursuant to Federal Rule of Procedure 24, Plaintiffs LA CAN and LACW have
 2   moved to intervene as of right or, in the alternative, for permissive intervention in
 3   this case.
 4          Proposed Intervenor LA CAN is a grassroots, non-profit organization that has
 5   operated in Skid Row and throughout Los Angeles for approximately two decades.
 6   The primary purpose of the organization is to organize and empower community
 7   residents to work collectively to address systemic poverty and oppression in the
 8   community. For example, in 2016, LA CAN was a supporter of Measure HHH and
 9   since then, has spent considerable resources working to ensure accountability in the
10   spending of Measure HHH funds, including threatening litigation in 2016 to prevent
11   the expenditure of funds on projects that were not authorized by the proposition. LA
12   CAN is a membership organization with unhoused members who are currently
13   unsheltered on the streets of Los Angeles. LA CAN moves to intervene in this
14   lawsuit on its own behalf and on behalf of its members who are unsheltered in Skid
15   Row and throughout Los Angeles.
16          Proposed Intervenor Los Angeles Catholic Worker, ("LACW"), founded in
17   1970, is an unincorporated lay Catholic community of women and men that operate a
18   free soup kitchen, hospitality house for the homeless, hospice care for the dying and
19   by-monthly newspaper. In furtherance of its mission, the Hippie Kitchen provides
20   food and other services, including access to dental care, over-the-counter
21   medications, podiatry services, toiletries and other personal items, including
22   shopping carts.
23          Both LA CAN and LACW were plaintiffs in Mitchell v. City ofLos Angeles,
24   along with four homeless individuals who lived on the streets in Skid Row, and who
25   were arrested for incredibly minor quality of life offenses or subjected to street
26   cleanings, and had all of their belongings seized and destroyed or otherwise stored in
27   a location that was completely inaccessible to them. The individual plaintiffs in the
28   action assigned their rights to enforce the settlement to LA CAN and LACW.

                                                2

                          ORDER GRANTING EXPARTE APPLICATION TO INTERVENE




                                                                                              ER 626
     Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 678 of 1079

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 1         In Mitchell v. City ofLos Angeles, the parties entered into significant
 2   negotiations and finally reached a tentative settlement. The Court retained
 3   jurisdiction to enforce the settlement, and the Court dismissed the case. After the
 4   settlement was finalized, the Plaintiffs in this case, then operating under the name
 5   Downtown Alliance for Human Rights, filed a motion to intervene, which was denied
 6   as untimely. The Plaintiffs filed a notice of appeal, but subsequently dismissed that
 7   appeal and simultaneously filed this instant lawsuit, making the same allegations as
 8   those outlined in Plaintiffs' Motion to Intervene and as discussed below, seeking in
 9   part to invalidate the settlement agreement in Mitchell.
10          I.     PROPOSED INTERVENORS ARE ENTITLED TO INTERVENE
                   AS A MATTER OF RIGHT
11
           Federal Rules of Civil Procedure 24(a) provides that a party "who claims an
12
     interest relating to the property or transaction that is the subject of the action, and is
13
     so situated that disposing of the action may as a practical matter impair or impede the
14
     movant's ability to protect its interest" must be allowed to intervene in a case "unless
15
     existing parties adequately represent that interest." Fed   R of Ciy Proc 24(a)(2).
16
           To be granted intervention as a matter of right, Proposed Intervenors must
17
     demonstrate that 1) they have a "significant protectable interest" relating to the
18
     matter that is the subject of the action; 2) a decision in the action may, as a practical
19
     matter, impair or impede Proposed Intervenors' ability to protect its interest; 3) the
20
     request to intervene is timely; and 4) the existing parties may not adequately
21
     represent proposed Intervenors' interest. Donnelly v. Glickman,       159 F 3d 405 409
22
     (9th Cir. 1998). "Though the applicant bears the burden of establishing these
23
     elements, we have repeatedly instructed that ' the requirements for intervention are [to
24
     be] broadly interpreted in favor of intervention."' Smith v. Los Angeles Unified
25
     School District, 830 F 3d 843    853 (9th Cir. 2016). Proposed Intervenors easily
26
     satisfy each of these prongs.
27
           Proposed Intervenors have a significant protectable interest in this litigation.
28
     Rule 24(a) does not require that the protectable interest at stake in the litigation be a
                                                 3

                           ORDER GRANTING EXPARTE APPLICATION TO INTERVENE




                                                                                                  ER 627
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 679 of 1079

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 1   specific legal or equitable interest. In re Estate of Ferdinand E. Marcos Human
 2   Rights Litigation, 536 F.3d 980, 984–85 (9th Cir. 2008)( quoting S. Cal. Edison Co. v.
 3   Lynch, 307 F.3d 794, 802 (9th Cir.2002). Proposed Intervenors have a legally
 4   protectable interest in the settlement in Mitchell v. City of Los Angeles, which
 5   Plaintiffs explicitly and implicitly challenge in this lawsuit. Plaintiffs allege in the
 6   seventh cause of action that the settlement in Mitchell was a project under CEQA, for
 7   which an environmental review was required. See Comp., ¶ 165. The eleventh cause
 8   of action challenges the settlement on due process and equal protection grounds,
 9   namely that the settlement distinguished between Skid Row and the rest of the City
10   without a rational reason for doing so. In addition to those causes of action that
11   explicitly mention the Mitchell settlement, other causes of action, including the first,
12   third through fourth, and seventh causes of action for negligence, nuisance, and
13   violations of substantive due process, relate to conditions in Skid Row that Plaintiffs
14   allege throughout the complaint were caused by the Mitchell injunction and
15   settlement. See e.g., Comp., ¶¶ 30, 37, 48; Comp., Pg. 47. 1
16      To satisfy the second prong of the test for intervention as a matter of right,
17   Proposed Intervenors must show that “the disposition of this case will, as a practical
18   matter, affect” the interest at stake. California ex rel Lockyer v. U.S., 450 F.3d 436,
19   442 (9th Cir. 2006). Again, as with all of the factors, the proposed intervenors “need
20   not demonstrate that their interest would be impaired in a legal sense, only that their
21
22          1
             Proposed Intervenors also have legally protected interests stemming from
23   advocacy to pass and subsequently to protect the integrity of Measure HHH, see
24
     Washington State Building & Construction Trades v. Spellman, 684 F.2d 627 (9th
     Cir. 982), as well as on behalf of their members, who have a protectable interest to
25   be free from increased enforcement and the violation of their constitutional rights.
26   Although less concrete than the right to protect their settlement, Courts have
     recognized these as sufficient interests to support intervention, particularly where,
27
     as here, there is no other representation of unsheltered homeless people in Los
28   Angeles, who are most likely to be impacted by any proposed remedies in this
     case.
                                                        4
     ______________________________________________________________________________________________________
                        ORDER GRANTING EX PARTE APPLICATION TO INTERVENE




                                                                                                              ER 628
     Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 680 of 1079

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 1   interest 'would be substantially affected in a practical sense." Sw. Ctf. for Biological
 2   Diversity v. Berg, 268 F.3d 810, 822 (9th Cir.) (quoting Fed. R. Civ. P. 24, Advisory
 3   Committee Notes).
 4      Here, the remedy sought by the Plaintiffs could have the effect of undermining or
 5   even invalidating Proposed Intervenors' settlement with the City of Los Angeles.
 6   Indeed, Plaintiffs are seeking to do so here, just Plaintiffs explicitly sought to do
 7   when they moved to intervene in the Mitchell, and they intended to object to and
 8   ultimately aimed to invalidate the settlement. This is a more than sufficient showing
 9   for intervention. See e.g. , Idaho Farm Bureau Fed. v. Babbit,     58 F 3d 1392 1398
10   (1995) (decision in another case that could result in a legal decision undermining the
11   result of another case is sufficient showing of impairment to support intervention). In
12   addition, however, the settlement could also result in orders related to the
13   expenditures of Measure HHH funds and changes in the allocation of resources, as
14   well as the increased criminalization and enforcement of laws against LA CAN's
15   members. All of these potential outcomes, contemplated by the sweeping complaint
16   filed by Plaintiffs, could impact Proposed Intervenors' rights.
17      Third, as the City of Los Angeles has not yet answered, the request is timely. A
18   request made «at an early stage of the proceedings" will generally satisfy the
19   timeliness requirement. See Citizens for Balanced Use v. Mont. Wilderness Ass 'n, ~
20   F.3d 893 , 897 (9th Cir. 2011).
21         Finally, the parties in this case have distinct interests to those of the Proposed
22   Intervenors and cannot adequately represent the Proposed Intervenors' interests.
23   Trbovich v. United Mine Workers ofAmerica, 404 US             528 538 (1972). Proposed
24   Intervenors are the only party that represent the interests of unhoused persons.
25   Proposed Intervenors easily show they have a protectable interest that could be
26   affected by the resolution in this case, that they were timely in seeking to intervene,
27   and that none of the parties can protect their interests. As such, Proposed
28   Intervenors are entitled to intervene as a matter of right.

                                                5

                          ORDER GRANTING EXPARTE APPLICATION TO INTERVENE




                                                                                                ER 629
      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 681 of 1079

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 1          II.     LA CAN AND LACW SHOULD BE ALLOWED PERMISSIVE
                    INTERVENTION
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            In the alternative, this court finds that the Proposed Intervenors have also met
 3
     the requirements of Rule 24(b), which allows permissive intervention when “an
 4
     applicant’s claim or defense and the main action have a question of law or fact in
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     common.” Fed. R. Civ. P. 24(b)(1)(B). Permissive intervention is in the “broad
 6
     discretion of the trial court.” GOJO Indus., Inc. v. Barough, (“GOJO”), No.
 7
     SACV171382DOCJDEX, 2018 WL 5880829, at *3 (C.D. Cal. Apr. 2, 2018).
 8
     LACAN and LACW represent important interests in this case that are otherwise not
 9
     represented and as such, should be allowed to permissively intervene.
10
              As noted above, none of the parties currently in the case, include any
11
     individual who is currently unsheltered in Los Angeles. On the other hand, LA CAN
12
     and LACW have members and clients who live on the streets. Moreover, organizers
13
     and staff of LA CAN and LACW monitor what is happening on the streets, not just in
14
     Skid Row, but throughout Los Angeles. For example, the complaint alleges that the
15
     encampment under the overpass at Venice and the 405 is blocking the sidewalk. LA
16
     CAN has organizers and members that regularly visit that encampment and are
17
     familiar with the conditions there. The sweeps and property seizures at the overpass
18
     at Venice and the 405 divert LA CAN’s resources; yet this lawsuit is alleging the
19
     need for increased sweeps and enforcement. Complaint at 177.
20
            Similarly, LA CAN, as mentioned above, has unhoused members that reside
21
     on Skid Row and would be impacted by increased sweeps and enforcement. Not only
22
     are their interests affected, their participation will aid the court in determining the
23
     factual context of the litigation and in proving or disproving the parties’ statements
24
     about accessibility and state-created danger. It will also aid the court to hear from
25
     un-sheltered individuals, as the only unhoused individual who is a Plaintiff became
26
     sheltered prior to the lawsuit beginning.
27
28
            The Court finds that LA CAN and LACW have meet the standard for
                                                        6
       ______________________________________________________________________________________________________
                                 ORDER GRANTING EX PARTE APPLICATION TO INTERVENE




                                                                                                                ER 630
     Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 682 of 1079

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 1   intervention as of right, as this litigation has significant potential to impact the
 2   settlement reached in the Mitchell case. It is so ORDERED.
 3
 4   Dated: March 18 , 2020
 5                                                   The Honorable David O. Carter
 6                                                   United States District Judge
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      ______________________________________________________________________________________________________
                                  ORDER GRANTING EX PARTE APPLICATION TO INTERVENE




                                                                                                               ER 631
                                                                                 Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 683 of 1079


                                                                              Case 2:20-cv-02291-DOC-KES Document 1 Filed 03/10/20 Page 1 of 92 Page ID #:1



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                                                                                 6
                                                                                     Attorneys for Plaintiffs
                                                                                 7
                                                                                 8                        UNITED STATES DISTRICT COURT
                                                                                 9                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                10
                                                                                      LA ALLIANCE FOR HUMAN                   Case No. 2:20-cv-02291
                                                                                11    RIGHTS, an unincorporated
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                                      association, JOSEPH BURK,
                                                                                12    HARRY TASHDJIAN, KARYN                  COMPLAINT FOR:
                                     1990 SOUTH BUNDY DR., SUITE 705




                                                                                      PINSKY, CHARLES MALOW,
                                                                                13
                                          LOS ANGELES, CA 90025




                                                                                      CHARLES VAN SCOY, GEORGE                (1) Negligence
                                                                                      FREM, GARY WHITTER, and                 (2) Violation of Mandatory Duty
                                                                                14    LEANDRO SUAREZ, individuals,                (Cal. Gov’t Code § 815.6; Welf.
                                                                                                                                  & Inst. Code § 17000)
                                                                                15                        Plaintiffs,         (3) Violation of Cal. Civ. Code §
                                                                                                                                  3490, et seq.
                                                                                16          v.                                (4) Violation of Cal. Civ. Code §
                                                                                                                                  3501 et seq.
                                                                                17    CITY OF LOS ANGELES, a                  (5) Inverse Condemnation/Violation
                                                                                      municipal entity; COUNTY OF LOS             of Art. I § 19 of California
                                                                                18    ANGELES, a municipal entity; and            Constitution
                                                                                      DOES 1 through 200 inclusive,           (6) Waste of Public Funds and
                                                                                19                                                Resources (Cal. Civ. Proc. Code
                                                                                                          Defendants.             § 526a)
                                                                                20                                            (7) Violation of California
                                                                                                                                  Environmental Quality Act
                                                                                21                                                (“CEQA”) (Cal. Pub. Res. Code
                                                                                                                                  § 21000 et seq.)
                                                                                22                                            (8) Violation of California Disabled
                                                                                                                                  Persons Act (Cal. Civ. Code § 54,
                                                                                23                                                et seq.)
                                                                                                                              (9) Violation of TITLE II of the
                                                                                24                                                Americans with Disabilities Act,
                                                                                                                                  42 U.S.C. §§ 12131 et seq.
                                                                                25                                            (10) Violation of Section 504 of the
                                                                                                                                  Rehabilitation Act, 29 U.S.C. §§
                                                                                26                                                791 et seq.
                                                                                                                              (11) Violation of Due Process and
                                                                                27                                                Equal Protection (42 U.S.C. §
                                                                                                                                  1983; U.S. Const. amend.
                                                                                28                                                V/XIV)


                                                                                                                        COMPLAINT
                                                                                                                                                                  ER 632
                                                                                Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 684 of 1079


                                                                              Case 2:20-cv-02291-DOC-KES Document 1 Filed 03/10/20 Page 2 of 92 Page ID #:2



                                                                                 1                                          (12) Violation of Due Process –
                                                                                                                               State Created Danger Doctrine
                                                                                 2                                             (42 U.S.C. § 1983; U.S. Const.
                                                                                                                               amend XIV)
                                                                                 3                                          (13) Uncompensated Taking (42
                                                                                                                               U.S.C. § 1983; U.S. Const.
                                                                                 4                                             amend. V/XIV)
                                                                                                                            (14) Municipal Liability for
                                                                                 5                                             Unconstitutional Custom or
                                                                                                                               Policy (42 U.S.C. §1983)
                                                                                 6
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                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




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                                     1990 SOUTH BUNDY DR., SUITE 705




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                                          LOS ANGELES, CA 90025




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                                                                                                                   COMPLAINT
                                                                                                                                                                ER 633
                                                                                Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 685 of 1079


                                                                              Case 2:20-cv-02291-DOC-KES Document 1 Filed 03/10/20 Page 3 of 92 Page ID #:3



                                                                                 1                                  INTRODUCTION
                                                                                 2         1.     People are perishing in the streets at a rate of three per day while the
                                                                                 3   City and County of Los Angeles have tried but failed to stem this tide of human
                                                                                 4   tragedy. 1 The numbers alone are staggering. There are 58,936 homeless
                                                                                 5   individuals in Los Angeles County (“County”) and 36,300 in the City of Los
                                                                                 6   Angeles’ (“City”)—an increase of 12 percent and 16 percent from just the prior
                                                                                 7   year’s count, respectively. 2 The City’s homeless population has nearly doubled
                                                                                 8   in the last three years. Some 75 percent of these are unsheltered persons who
                                                                                 9   lack regular access to basic hygiene care such as toilets, running water to wash
                                                                                10   hands, showers, sinks, kitchen, laundry which has led to filthy (and unhealthy)
                                                                                11   conditions. Los Angeles bears the dishonorable distinction of hosting the largest
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                                12   unsheltered population in the country. 3
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                                13         2.     In both the City and County, homeless encampments are becoming
                                                                                14   entrenched. With increased population density, unlimited property accumulation
                                                                                15   has fostered a proliferation of flea-infested rats and other vermin, which are
                                                                                16   largely responsible for the recent outbreaks of medieval diseases. Large items
                                                                                17   obstruct the free passage and use of the streets and sidewalks. Encampments
                                                                                18   have brought with them rampant drug sales and use, which in turn provide a
                                                                                19   platform for violent assaults and property crimes. Crime both on and by our
                                                                                20
                                                                                21
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                                                                                              County of Los Angeles, Public Health, Center for Health Impact
                                                                                22   Evaluation, Recent Trends in Mortality Rates and Causes of Death Among
                                                                                     People Experiencing Homelessness in Los Angeles County (October 2019),
                                                                                23   http://publichealth.lacounty.gov/chie/reports/HomelessMortality_CHIEBrief_Fin
                                                                                     al.pdf.
                                                                                24
                                                                                           2
                                                                                             Los Angeles Homeless Services Authority (“LAHSA”), 2019 Greater
                                                                                25   Los Angeles Homeless Count (Sept. 5, 2019),
                                                                                     https://www.lahsa.org/documents?id=3467-2019-greater-los-angeles-homeless-
                                                                                26   count-total-point-in-time-homeless-population-by-geographic-areas.pdf.
                                                                                27         3
                                                                                              U.S. Dep’t of Housing and Urban Development (“HUD”), The 2018
                                                                                     Annual Homeless Assessment Report (AHAR) to Congress (December 2018),
                                                                                28   https://files.hudexchange.info/resources/documents/2018-AHAR-Part-1.pdf.

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                                                                                                                       COMPLAINT
                                                                                                                                                                         ER 634
                                                                                Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 686 of 1079


                                                                              Case 2:20-cv-02291-DOC-KES Document 1 Filed 03/10/20 Page 4 of 92 Page ID #:4



                                                                                 1   homeless residents has intensified. 4 The multiplication of makeshift structures,
                                                                                 2   garbage, human waste, and other detritus has created circumstances throughout
                                                                                 3   the City that are crippling for local businesses, unlivable for residents, and deadly
                                                                                 4   for those on the streets. The environmental impact from power-washing human
                                                                                 5   waste and used needles into our oceans is unassessed and untold. The City and
                                                                                 6   County combined spend over a billion dollars annually providing police,
                                                                                 7   emergency, and support services to those living on the streets. And still, the
                                                                                 8   tragedy unfolds.
                                                                                 9         3.     This crisis has been building for decades, as mental health affliction
                                                                                10   and drug addiction rates have risen, so has the cost of housing, and support
                                                                                11   structures for those on the streets have been stretched to the breaking point by
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                                12   burgeoning demands and insufficient funding by local, state, and federal
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                                13   governments. The population of people experiencing homelessness has surged
                                                                                14   75 percent since 2012 while sustainable short- and long-term solutions have been
                                                                                15   in short supply. Los Angeles County Department of Public Health has repeatedly
                                                                                16   warned the City that basic hygiene services were needed to maintain public
                                                                                17   health in or near homeless encampments—but those critical services have been in
                                                                                18   short supply. 5
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                                                                                20
                                                                                21         4
                                                                                             Joel Grover and Amy Corral, A Homeless Man Punched Two People in
                                                                                     the Face, But Was Cited and Released, NBC Los Angeles, (Nov. 11, 2019, 4:00
                                                                                22   PM), https://www.nbclosangeles.com/news/local/hollywood-violent-homeless-
                                                                                     attacks-increase-video-564682831.html; Eric Leonard, Homeless Crime Jumps
                                                                                23   Nearly 50 Percent in Los Angeles, LAPD Says, NBC Los Angeles (Dec. 10,
                                                                                     2018, 4:52 PM), https://www.nbclosangeles.com/news/local/LAPD-Reports-
                                                                                24   Spike-in-Homeless-Crime-502407861.html; Zoie Matthew, Crimes Against the
                                                                                     Homeless Have Risen, and Advocates are Searching for Answers, Los Angeles
                                                                                25   Magazine (Oct. 15, 2019), https://www.lamag.com/citythinkblog/homeless-
                                                                                     crime/.
                                                                                26
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                                                                                              Matt Stiles, As Homeless Crisis Worsens in L.A., The County Leans On
                                                                                27   City Officials To Act, Los Angeles Times (June 8, 2019, 5:04 PM),
                                                                                     https://www.latimes.com/local/lanow/la-me-homeless-county-letter-20190608-
                                                                                28   story.html.

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                                                                                                                        COMPLAINT
                                                                                                                                                                           ER 635
                                                                                Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 687 of 1079


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                                                                                 1         4.     Homeless advocates have put pressure on the City and County for
                                                                                 2   years to permit public camping, allow the accumulation of piles of personal
                                                                                 3   property on the streets, and generally make it more comfortable for people to live
                                                                                 4   on the streets. But street-living is by no means more “comfortable,” because of
                                                                                 5   significant health issues and inherent danger involved in being unsheltered.
                                                                                 6   Enforcement of homeless-related crimes has been reduced, or in some cases
                                                                                 7   eliminated, in the name of compassion. But allowing people to die on the streets
                                                                                 8   isn’t compassionate; it’s cruel.
                                                                                 9         5.     The massive build-up of property and tents has made the sidewalks
                                                                                10   unpassable: Charles Van Scoy, restricted to a wheelchair, is trapped in his own
                                                                                11   home; Karyn Pinsky must walk with her young son in a stroller in the middle of
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                                                                                12   traffic. The Inner-City Arts Center must hire security to walk with students and
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                                                                                13   staff to and from campus. Business owners have suffered as well—customers
                                                                                14   cannot access stores and are declining to patronize them due to conditions on the
                                                                                15   street, and business owners are spending hundreds of thousands of dollars on
                                                                                16   increased sanitation and security measures and cannot maintain employees.
                                                                                17   Joseph Burk has lost tenants and hundreds of thousands of dollars in client
                                                                                18   accounts. Residents and workers throughout the area are confronted daily by
                                                                                19   disease, illicit drug sales and use, prostitution, and general filth and squalor.
                                                                                20   People are openly using drugs, urinating, and defecating in public.
                                                                                21         6.     Residential and commercial buildings alike have endured fires from
                                                                                22   homeless camps, where makeshift heaters are used to keep people warm, open air
                                                                                23   fires are used to cook food, utility wiring is tampered with to provide electricity,
                                                                                24   and arsons arise out of drug or property disputes. 6 Businesses are being dropped
                                                                                25
                                                                                26          6
                                                                                              James Queally, Firecrackers. Molotov cocktails. Fire attacks have shaken
                                                                                     L.A.’s homeless community, Los Angeles Times (Oct. 18, 2019, 7:00 AM),
                                                                                27   https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                                     attacks-fire; Joel Grover and Amy Corral, Los Angeles Homeless Illegally Use
                                                                                28   Fire Hydrants to Fill Water Balloons, Bathe, Shave, NBC Los Angeles (Aug. 23,

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                                                                                                                        COMPLAINT
                                                                                                                                                                            ER 636
                                                                                Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 688 of 1079


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                                                                                 1   by insurance companies because of the fire risks associated with the homeless
                                                                                 2   living on their sidewalks. 7
                                                                                 3         7.     The frequency of criminal conduct has increased so dramatically in
                                                                                 4   some areas that law enforcement officials can respond only to the most egregious
                                                                                 5   crimes—and often only after serious damage has been done. And those who are
                                                                                 6   experiencing homelessness pay the highest price for this lawlessness.
                                                                                 7   Aggravated assaults against homeless victims rose 57 percent from 2017 to 2018;
                                                                                 8   crimes with a homeless suspect increased by 28.5 percent. Those percentages are
                                                                                 9   set to increase again in 2019: in Central Division alone, the percentage of Part I
                                                                                10   (serious) crimes involving a transient victim year-to-date has risen 51.4 percent
                                                                                11   from 2018 and the percentage of Part I crimes involving a transient suspect has
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                                                                                12   risen 45.1 percent (although the overall Part I crime rate has only increased 3.2
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                                                                                13   percent). And as these crimes increase, recidivism is also on the rise as even the
                                                                                14   few arrested quickly return to the streets. 8
                                                                                15         8.     Humans living on the streets and in their cars have no regular access
                                                                                16   to sanitation facilities, so trash and human waste end up in public spaces and
                                                                                17   ultimately our oceans. Businesses are regularly cleaning used syringes out of
                                                                                18   their drains; an untold number are washed into our waterways. The
                                                                                19   environmental impact of the homelessness crisis was recently underscored in a
                                                                                20
                                                                                21
                                                                                22
                                                                                     2019, 5:11 PM), https://www.nbclosangeles.com/investigations/Los-Angeles-
                                                                                23   Homeless-Illegally-Use-Fire-Hydrants-to-Fill-Water-Balloons-Bathe-Shave-
                                                                                     558051461.html.
                                                                                24
                                                                                           7
                                                                                              Joel Grover and Amy Corral, Your Insurance Is Canceled Because of
                                                                                25   Homeless Tent Fires, NBC Los Angeles (Sept. 23, 2019, 11:55 AM),
                                                                                     https://www.nbclosangeles.com/news/local/LA-Homeless-Encampment-Fires-
                                                                                26   Insurance-Rates-Tents-Homelessness-561145811.html.
                                                                                27         8
                                                                                              Grover, supra note 4,
                                                                                     https://www.nbclosangeles.com/news/local/hollywood-violent-homeless-attacks-
                                                                                28   increase-video-564682831.html.

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                                                                                                                         COMPLAINT
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                                                                                Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 689 of 1079


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                                                                                 1   letter from the Environmental Protection Agency. 9 Yet the governmental policies
                                                                                 2   and inaction that perpetuate these pollutants continue unabated.
                                                                                 3         9.     The City of LA’s Bureau of Sanitation regularly power-washes
                                                                                 4   streets, sidewalks, and other public spaces that have been occupied by
                                                                                 5   unsheltered individuals; but those clean-ups cost millions of dollars and are
                                                                                 6   ineffective in proactively addressing the crisis. 10 In 2018, it cost over $35 million
                                                                                 7   to conduct almost 15,000 clean-ups of homeless encampments, yet the ultimate
                                                                                 8   benefits both to the encampment residents and to surrounding community are
                                                                                 9   minimal at best. The residents of the encampments are permitted to retain most
                                                                                10   of their belongings (health hazards included) back into the exact same area after
                                                                                11   the clean-up is conducted. Trash and human waste are often permitted to remain
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                                                                                12   or are pushed into surrounding streets. Id. Yet the City’s 2019-2020 budget has
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                                                                                13   actually increased funding for these ineffective programs by $6.45 million. 11
                                                                                14         10.    The mentally ill in this City and County are visibly suffering in the
                                                                                15   street, IMD (Institute for Mental Disease) facilities are overfilled, and even the
                                                                                16   antiquated conservatorship laws can’t work as they were meant to when there is
                                                                                17   nowhere for conserved persons to go. Without medical supervision, the most
                                                                                18   severely affected cannot hold jobs or housing, and are left to wander and fend for
                                                                                19   themselves in a horrific cycle of degradation. And the number of those suffering
                                                                                20
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                                                                                             Letter from Andrew Wheeler, Administrator, U.S. Environmental
                                                                                22   Protection Agency, to Gavin C. Newsom, Governor of California (Sept. 26,
                                                                                     2019), https://www.epa.gov/sites/production/files/2019-
                                                                                23   09/documents/9.26.19_letter-epa.pdf.
                                                                                24         10
                                                                                              Joel Grover and Amy Corral, Homeless Encampment Cleanups: Are
                                                                                     Millions of Tax Dollars Being Wasted?, NBC Los Angeles, (May 13, 2019, 8:44
                                                                                25   AM), https://www.nbclosangeles.com/news/local/Los-Angeles-Homeless-
                                                                                     Encampments-Tent-City-Trash-Garbage-Waste-Cleanup-509849151.html.
                                                                                26
                                                                                           11
                                                                                             Emily Alpert Reyes and Benjamin Oreskes, L.A. expands cleanup teams
                                                                                27   for homeless encampments, vowing to be ‘less reactive’, Los Angeles Times
                                                                                     (June 28, 2019, 1:18 PM), https://www.latimes.com/local/lanow/la-me-ln-
                                                                                28   homeless-encampment-cleanups-plan-20190628-story.html.

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                                                                                                                        COMPLAINT
                                                                                                                                                                          ER 638
                                                                                Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 690 of 1079


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                                                                                 1   has climbed with the increased prevalence of illegal narcotics, which are being
                                                                                 2   used to self-medicate or are the cause of the mental decline in the first place.
                                                                                 3          11.    The solutions currently under official consideration are too few, too
                                                                                 4   expensive, and take too long. There is no plan in place or being considered to
                                                                                 5   provide shelter for a majority of the region’s significant homeless population. In
                                                                                 6   2018 Mayor Garcetti unveiled his “A Bridge Home” initiative, which
                                                                                 7   commendably would up to 2,000 shelter beds to the City’s inventory. Yet due to
                                                                                 8   protests, legal challenges, construction costs, and location waffling, only 673
                                                                                 9   beds have opened to-date. Even if all 2,000 beds were available today, they
                                                                                10   would barely scratch the surface of the 27,221 beds needed in the City to house
                                                                                11   its unsheltered population. An additional burden is placed on the defendants by
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                                                                                12   many of the smaller neighboring municipalities, which have done very little to
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                                                                                13   address their own crises and instead rely on the City and County to pick up their
                                                                                14   slack. Yet instead of addressing these issues head-on, defendants maintain their
                                                                                15   inadequate trajectory. And the problem continues to outpace the solutions.
                                                                                16          12.    Proposition HHH, a $1.2 billion City project, is now expected to net
                                                                                17   only 5,873 supportive units and 1,767 affordable units, at a staggering cost of
                                                                                18   $531,000 to $700,000 per bed. 12 Likewise Measure H—a county-wide tax
                                                                                19   increase that was originally estimated to net $355 million in homeless-relief
                                                                                20   funding available per year—is spread so thin that it has failed to make any
                                                                                21   significant dent in the crisis. 13
                                                                                22
                                                                                23
                                                                                24          12
                                                                                               Ron Galpern, Los Angeles Controller, Report: The High Cost of
                                                                                     Homeless Housing: Review of Proposition HHH (Oct. 8, 2019),
                                                                                25   https://lacontroller.org/audits-and-reports/high-cost-of-homeless-housing-hhh/.
                                                                                26          13
                                                                                              LAHSA, LAHSA Releases 2019 Housing Inventory Count (Sept. 19,
                                                                                     2019), https://www.lahsa.org/news?article=584-lahsa-releases-2019-housing-
                                                                                27   inventory-count (“On our present course, it will take far too long to build far too
                                                                                     few units of housing to effectively end this crisis” – Peter Lynn, executive
                                                                                28   director LAHSA).

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                                                                                                                          COMPLAINT
                                                                                                                                                                           ER 639
                                                                                Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 691 of 1079


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                                                                                 1         13.    Despite the magnitude of the problem, there is hope. Steps could be
                                                                                 2   taken to provide safe sleeping spaces for the entire homeless population for a
                                                                                 3   fraction of the funds currently devoted the homelessness crisis. Union Rescue
                                                                                 4   Mission recently built a Sprung structure (large membrane tent) in a matter of
                                                                                 5   months—the single tent houses more than 100 people at a cost of only $10,000
                                                                                 6   per bed (including a six-month stay, security, and social services). 14 The City has
                                                                                 7   actually utilized this same structure in several places—yet for a variety of
                                                                                 8   reasons, the City’s cost was quadruple Union Rescue Missions’, at $42,000 per
                                                                                 9   bed. 15 In Hawaii, the city of Honolulu is putting up large military-grade
                                                                                10   inflatable tents in select parks to quickly and effectively provide shelter when the
                                                                                11   demand exceeds supply, at a cost of $6,000 per bed which also includes a 90-day
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                                                                                12   stay, security, and social services. 16 Sacramento has purchased small Pallet
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                                                                                13   shelters for $2,000 per bed. 17 Tiny houses are being used in Seattle to create
                                                                                14   micro-villages as bridge housing. 18 Entire kits can be purchased to house a family
                                                                                15
                                                                                16         14
                                                                                             Rev. Andy Bales and J. Michael Arnold, When it Comes to
                                                                                     Homelessness, We Must Do More and We Must Do it Now, Los Angeles
                                                                                17   Downtown News (Aug. 5, 2019),
                                                                                     http://www.ladowntownnews.com/opinion/when-it-comes-to-homelessness-we-
                                                                                18   must-do-more-and/article_6b08711a-b57e-11e9-850e-670a231aefa4.html.
                                                                                19         15
                                                                                              Joel Grover and Amy Corral, Inside the Massive Tent That Might be a
                                                                                     Partial Solution Homelessness in LA, NBC Los Angeles (Sept. 11, 2019, 1:45
                                                                                20   PM), https://www.nbclosangeles.com/news/local/los-angeles-la-homeless-
                                                                                     encampments-sprung-tents-shelter-skid-row/1965408/.
                                                                                21
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                                                                                               Dan Nakaso, Pilot project aimed at reducing Oahu’s homeless will start
                                                                                22   in Waipahu, Star Advertiser (Oct. 20, 2019, 5:28 PM),
                                                                                     https://www.staradvertiser.com/2019/10/20/hawaii-news/pilot-project-aimed-at-
                                                                                23   reducing-oahus-homeless-will-start-in-waipahu/; Allyson Blair, Giant inflatable
                                                                                     tents for the homeless could be coming to a park near you, Hawaii News Now
                                                                                24   (Nov. 27, 2018), https://www.hawaiinewsnow.com/2018/11/28/giant-inflatable-
                                                                                     tents-homeless-could-be-coming-an-oahu-park-near-you/.
                                                                                25
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                                                                                             Theresa Clift, These small homeless shelters can be built in 20 minutes.
                                                                                26   Sacramento may buy dozens of them, The Sacramento Bee (Nov. 13, 2019, 4:50
                                                                                     PM), https://www.sacbee.com/news/local/article237332039.html.
                                                                                27
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                                                                                            Sharon Lee, Tiny House Villages in Seattle: An Efficient Response to
                                                                                28   Our Homelessness Crisis (March 15, 2019),

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                                                                                                                       COMPLAINT
                                                                                                                                                                            ER 640
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 692 of 1079


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                                                                              1    of 4 in a large tent complete with furniture, refrigerator, heater, and electrical
                                                                              2    generator for a little more than $2,000 ($500 per bed). 19 Large “festival” tents
                                                                              3    that can be purchased for $400 are being used by the city of Modesto to address
                                                                              4    its own homelessness crisis. 20 3D printed 400-square foot homes can be built in
                                                                              5    less than 24 hours and cost only $4,000 to construct. 21
                                                                              6          14.    Even using the $10,000-per-bed number and extrapolating, it would
                                                                              7    cost roughly $272 million to provide a bed for every unsheltered person in the
                                                                              8    City, and an extra $170 million to provide a bed for every unhoused person in the
                                                                              9    rest of the County. 22 In other words, just one-quarter of the Proposition HHH
                                                                              10   funds could provide a bed for every unsheltered homeless person in the City.
                                                                              11   And using only 1.2 percent of the County’s $36.1 billion annual budget (less than
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                                                                              12   this year’s Measure H funds allocated to “combat homelessness”) the County
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                                                                              16   https://shelterforce.org/2019/03/15/tiny-house-villages-in-seattle-an-efficient-
                                                                                   response-to-our-homelessness-crisis/.
                                                                              17
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                                                                                             Relief ShelterKits, Relief Tents: Concept Designs,
                                                                              18   https://www.relieftents.com/relief-tents/shelterkit-living-supportkit/ (last visited
                                                                                   Mar. 9, 2020).
                                                                              19
                                                                                         20
                                                                                             Kevin Valine, Modesto homeless camp is filling up, but officials adapt
                                                                              20   to find room for more, The Modesto Bee (May 13, 2019, 4:58 PM),
                                                                                   https://www.modbee.com/news/local/article230345544.html; QAMP, Qamp
                                                                              21   Tent, https://qamp.com/products/qamp-tent?variant=35987893763 (last visited on
                                                                                   Mar. 9, 2020).
                                                                              22
                                                                                         21
                                                                                            Aria Bendix, These 3D-printed homes can be built for less than $4,000
                                                                              23   in just 24 hours, Business Insider (Mar. 12, 2019, 2:09 PM),
                                                                                   https://www.businessinsider.com/3d-homes-that-take-24-hours-and-less-than-
                                                                              24   4000-to-print-2018-9; Sharon Jayson, 3-D-pringed homes a concept turns into
                                                                                   something solid, The Washington Post (Mar. 6, 2020, 3:00 AM),
                                                                              25   https://www.washingtonpost.com/realestate/3d-printed-homes-a-concept-turns-
                                                                                   into-something-solid/2020/03/05/61c8b0d2-36e4-11ea-bf30-
                                                                              26   ad313e4ec754_story.html.
                                                                              27         22
                                                                                           See LAHSA, supra note 2, https://www.lahsa.org/documents?id=3467-
                                                                                   2019-greater-los-angeles-homeless-count-total-point-in-time-homeless-
                                                                              28   population-by-geographic-areas.pdf.

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                                                                                                                      COMPLAINT
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                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 693 of 1079


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                                                                              1    could provide a bed for every homeless person in its entire jurisdiction.23 When
                                                                              2    considering tent or pallet options, that amount is reduced even further.
                                                                              3          15.     And there are places to put these kinds of shelters. Hundreds of
                                                                              4    acres adjacent to LAX are owned and controlled by the City and could support
                                                                              5    thousands of beds. 24 Under Title V of the McKinney-Vento Homeless Assistance
                                                                              6    Act 25, the federal government is obligated to lease or deed underutilized federal
                                                                              7    property to local governments for the specific purpose of homeless assistance,
                                                                              8    such as the abandoned Federal Aviation Administration (FAA) building in
                                                                              9    Hawthorne, toured by a White House delegation in September. 26 The County’s
                                                                              10   General Hospital (LAC+USC) Building, with 1.5 million square feet of space in
                                                                              11   the heart of East L.A., has been vacant for over a decade—the County at one
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                                                                              12   point considered utilizing it for homeless assistance but is now evaluating it as a
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                                                                              13   “mixed use” property. 27 St. Vincent Medical Center, a 366-bed facility, is
                                                                              14   closing and both the City and County are in talks about purchasing it (though the
                                                                              15   extent to which either could or would use the infrastructure to capitalize on the
                                                                              16
                                                                                         23
                                                                                           County of Los Angeles, 2019-2020 Los Angeles County Budget: LA
                                                                              17   County budget process concludes with adoption of $36.1 billion supplemental
                                                                                   budget, https://www.lacounty.gov/budget/ (last visited on Mar. 9, 2020).
                                                                              18
                                                                                         24
                                                                                           Rob Eshman, Opinion: Imagine if L.A. put the same effort into housing
                                                                              19   the homeless that it does Olympic athletes, Los Angeles Times: Opinion (Nov.
                                                                                   10, 2019, 4:00 AM), https://www.latimes.com/opinion/story/2019-11-
                                                                              20   10/homeless-crisis-housing-2028-olympics-los-angeles.
                                                                              21         25
                                                                                              42 U.S.C. § 11411.
                                                                              22         26
                                                                                             Jeff Stein, Trump officials tour unused FAA facility in California in
                                                                                   search for place to relocate homeless people, The Washington Post (Sept. 11,
                                                                              23   2019, 5:49 PM), https://www.washingtonpost.com/business/2019/09/12/trump-
                                                                                   officials-tour-unused-faa-facility-california-search-place-relocate-homeless-
                                                                              24   people/.
                                                                              25         27
                                                                                            Jacqueline Ramírez, Second community meeting explores future of
                                                                                   former County Hospital, Boyle Heights Beat (Sept. 18, 2019),
                                                                              26   https://boyleheightsbeat.com/second-community-meeting-explores-future-of-
                                                                                   former-county-hospital/; Alex Medina, Community meeting to explore former
                                                                              27   County Hospital re-use, Boyle Heights Beat (June 12, 2019),
                                                                                   https://boyleheightsbeat.com/community-meeting-to-explore-former-county-
                                                                              28   hospital-re-use/.

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                                                                                                                     COMPLAINT
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                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 694 of 1079


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                                                                              1    property to house exponentially more than 366 is yet to be seen). 28 The County
                                                                              2    owns over 200 acres of the Los Angeles County Fairgrounds (“Fairplex”) in
                                                                              3    Pomona which, while currently leased to the non-profit Los Angeles County Fair
                                                                              4    Association, may be negotiated to support shelters. The L.A. City Controller has
                                                                              5    recently identified 13,948 separate properties within the City owned by various
                                                                              6    public entities, many of which are vacant or underutilized. 29 Even small lots
                                                                              7    could support pallet houses individual tents, or “tiny home” communities with
                                                                              8    shared bathroom facilities.
                                                                              9          16.    Board-and-care facilities—which offer housing, meals, and basic
                                                                              10   assistance for those who need supportive care—could also be part of the solution.
                                                                              11   But they are closing all over California at rapid rates because it is becoming
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                                                                              12   economically infeasible to remain open. 30 This has resulted in an estimated 1,000
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                                                                              13   individuals becoming homeless in Los Angeles County in the last couple years—
                                                                              14   and without such supportive care, their conditions inevitably decline. Those
                                                                              15   same facilities—which are paid only $35 per-night-per-guest by government
                                                                              16   entities—could be utilized as temporary shelters with higher per-guest
                                                                              17   compensation ($60 per night). No infrastructure would need to be built, and the
                                                                              18
                                                                                         28
                                                                                            Eric Heinz, LA County bids to purchase St. Vincent Medical Center for
                                                                              19   homeless aid, Los Angeles Daily News, (Feb. 7, 2020, 8:24 AM),
                                                                                   https://www.dailynews.com/2020/02/07/la-county-bids-to-purchase-st-vincent-
                                                                              20   medical-center-for-homeless-aid/.
                                                                              21         29
                                                                                             Los Angeles City Controller, Publicly-Owned Properties,
                                                                                   https://controllerdata.lacity.org/dataset/Publicly-Owned-Properties/bawf-
                                                                              22   ixme/data (last visited Mar. 9, 2020); Los Angeles City Controller, Property
                                                                                   Panel: A guide to publicly-owned properties in the City of Los Angeles,
                                                                              23   https://lacontroller.maps.arcgis.com/apps/Cascade/index.html?appid=b6d7907c1
                                                                                   18d4ea2a1dd96bc0425633d (last visited Mar. 9, 2020); Natalie Hoberman,
                                                                              24   Despite housing crisis, LA lags in building its own sprawling land portfolio,
                                                                                   TheRealDeal (May 28, 2019, 1:00 PM),
                                                                              25   https://therealdeal.com/la/2019/05/28/despite-housing-crisis-la-lags-in-building-
                                                                                   on-its-own-sprawling-land-portfolio/.
                                                                              26
                                                                                         30
                                                                                            Jocelyn Wiener, Overlooked mental health “catastrophe:” Vanishing
                                                                              27   board-and-care-homes leave residents with few options, CalMatters: Projects
                                                                                   (Apr. 15, 2019), https://calmatters.org/projects/board-and-care-homes-closing-in-
                                                                              28   california-mental-health-crisis/.

                                                                                                                        10
                                                                                                                     COMPLAINT
                                                                                                                                                                       ER 643
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 695 of 1079


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                                                                              1    property owners would have greater financial incentive to stay open to provide
                                                                              2    beds, meals, and basic care. Similarly, the shared housing model supported by
                                                                              3    SHARE!, Haaven, and others, boasts zero infrastructure costs with the added
                                                                              4    benefit of self-sustenance after a one-time $4,000-per-bed investment. 31
                                                                              5          17.      For decades, the City and County have failed to dedicate the
                                                                              6    necessary funds or build the infrastructure to support the significant numbers of
                                                                              7    unhoused persons. This failure of public will has been exacerbated by recent
                                                                              8    legal decisions, including Martin v. City of Boise, in which the Ninth Circuit
                                                                              9    held, “‘[S]o long as there is a greater number of homeless individuals in a
                                                                              10   jurisdiction than the number of available beds in shelters,’ the jurisdiction cannot
                                                                              11   prosecute homeless individuals for ‘involuntarily sitting, lying, and sleeping in
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                              12   public.’” Martin v. City of Boise, 920 F.3d 584, 617 (9th Cir. 2019) (alterations
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   in original omitted) (citation omitted), cert. denied, 140 S. Ct. 674 (2019). In
                                                                              14   December 2019, the Supreme Court declined to take up the Martin case on
                                                                              15   review. Despite the sweeping ruling in Martin, and huge increase in numbers of
                                                                              16   unsheltered in the City and County, neither entity has been able to pivot their
                                                                              17   strategy to address the decision, and the crisis has increased exponentially. This
                                                                              18   has had a profoundly negative affect on both the homeless and the community as
                                                                              19   a whole.
                                                                              20         18.      While this is not a natural disaster, it is a disaster nonetheless, and it
                                                                              21   should be treated that way. Officials in both the County and City have gone to
                                                                              22   great lengths in the last couple years to address this crisis, and their efforts are
                                                                              23   impressive and commendable; yet much more needs to be done. The only way to
                                                                              24   address this crisis with the urgency it deserves is an emergency response—
                                                                              25   providing immediate shelter for all and abating the degradation of our cities and
                                                                              26
                                                                              27
                                                                              28         31
                                                                                              See para. 70 infra.

                                                                                                                           11
                                                                                                                        COMPLAINT
                                                                                                                                                                               ER 644
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 696 of 1079


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                                                                              1    communities, for the good of everyone. It can be done cheaply and quickly, and
                                                                              2    it must be done now.
                                                                              3                       I.    JURISDICTION AND VENUE
                                                                              4          19.    This action is brought pursuant to 42 U.S.C. § 1983, the Americans
                                                                              5    with Disabilities Act (42 USC §§12131 et seq.) (“ADA”), Section 504 of the
                                                                              6    Rehabilitation Act of 1973 (29 U.S.C. § 794 et seq.) (“Section 504”), and the
                                                                              7    Fifth, and Fourteenth Amendments of the United States Constitution. This Court
                                                                              8    has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343, 1367, 2201 and 2202.
                                                                              9          20.    This court has supplemental jurisdiction over Plaintiffs’ state law
                                                                              10   claims pursuant to 28 U.S.C. § 1367, as it arises from the same case or
                                                                              11   controversy as Plaintiffs’ federal claims.
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                                                                              12         21.    All of the actions and omissions complained of occurred in the
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   Central District of California. Therefore, venue is proper in this District. 28
                                                                              14   U.S.C. §1331.
                                                                              15
                                                                              16                      II.    GENERAL ALLEGATIONS
                                                                              17         22.    Plaintiffs are informed and believe, and thereon allege, that, at all
                                                                              18   times herein mentioned, each of the Defendants and Does 1-20 inclusive was the
                                                                              19   agent, employee, and co-conspirator of each of the remaining Defendants, and in
                                                                              20   participating in the acts alleged in this Complaint, acted within the scope of such
                                                                              21   agency and employment, in furtherance of the conspiracy, and with the
                                                                              22   permission and consent of the co-conspirator Defendants.
                                                                              23         23.    All causes of action brought under California law are for equitable
                                                                              24   and injunctive relief only. Therefore, no tort claim was necessary prior to filing
                                                                              25   this suit. See Cal. Gov. Code § 905 (West, 2019); Qwest Commc’ns Corp. v. City
                                                                              26   of Berkeley, 146 F. Supp. 2d 1081 (N.D. Cal. 2001); Hart v. County of Alameda,
                                                                              27   76 Cal. App. 4th 766 (1999).
                                                                              28

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                                                                                                                     COMPLAINT
                                                                                                                                                                         ER 645
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 697 of 1079


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                                                                              1          24.    Each paragraph of this Complaint is expressly incorporated into each
                                                                              2    cause of action set forth below.
                                                                              3
                                                                              4                      III.     FACTUAL ALLEGATIONS
                                                                              5    A.    History of Homeless Treatment in Los Angeles
                                                                              6          25.    What is now known as Skid Row began in the late 1800s as a
                                                                              7    concentration of day-rate hotels, bars, and brothels catering to the “rail riders”
                                                                              8    (transients riding the trains) due to its proximity to where the trains terminated at
                                                                              9    Los Angeles. 32 Service providers like the Union Rescue Mission opened their
                                                                              10   doors to help the indigent who congregated there. Decades later, when the 1970s,
                                                                              11   brought a push for “de-institutionalization” of those suffering from mental
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                                                                              12   illnesses, Skid Row became a beacon of hope for those needing services and
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                                                                              13   shelter. 33 At the same time, DTLA experienced an economic resurgence and
                                                                              14   developers began restoring the Skid Row area. Activists pushed back and fought
                                                                              15   for a policy of “containment” with the goal of centralizing missions, charities,
                                                                              16   and other homeless services within the 50-square block area, encouraging
                                                                              17   “undesirable population elements” to stay within the boundaries, in return for an
                                                                              18   agreement with the City to keep redevelopment out of it. 34 In one interview, the
                                                                              19   Reverend Andy Bales, who runs Union Rescue Mission, noted the containment
                                                                              20
                                                                              21         32
                                                                                             Sebastin Kempkens, L.A.’s Homelessness Crisis: How Did We Get
                                                                                   Here?, LA Weekly (Nov. 21, 2018), https://www.laweekly.com/l-a-s-
                                                                              22   homelessness-crisis-how-did-we-get-here/; 99% Invisible: The Containment
                                                                                   Plan, Radiotopia (Oct. 10, 2017), https://99percentinvisible.org/episode/the-
                                                                              23   containment-plan/; Union Rescue Mission, About Skid Row,
                                                                                   https://urm.org/about/faqs/about-skid-row/ (last visited Mar. 9, 2020).
                                                                              24
                                                                                         33
                                                                                          See Kempkens, supra note 32, https://www.laweekly.com/l-a-s-
                                                                              25   homelessness-crisis-how-did-we-get-here/.
                                                                              26         34
                                                                                            Rich Connell, SKID ROW: ‘Containment Strategy’ of Aiding Residents,
                                                                                   Easing Impact on Business District Is Slow and Frustrating, Los Angeles Times
                                                                              27   (Aug. 5, 1985, 12:00 AM), https://www.latimes.com/archives/la-xpm-1985-08-
                                                                                   05-me-3525-story.html; 99% Invisible, supra note 32,
                                                                              28   https://99percentinvisible.org/episode/the-containment-plan/.

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                                                                                                                      COMPLAINT
                                                                                                                                                                           ER 646
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 698 of 1079


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                                                                              1    policy “basically said ‘Let’s send everybody who’s struggling in all of L.A. to
                                                                              2    Skid Row and then let’s turn our back on it.” 35 The policy is now widely
                                                                              3    considered a failure, yet unofficially continues today.
                                                                              4          26.        The 1980 and 1990s, with the crack epidemic and simultaneous cuts
                                                                              5    to the welfare system, brought in true and enduring homelessness, with
                                                                              6    encampments springing up on sidewalks and criminals preying on the
                                                                              7    vulnerable. 36 Then-mayor Tom Bradley opened an urban campground along the
                                                                              8    L.A. River, but it was soon closed due to terrible living conditions. At various
                                                                              9    times groups have placed portable toilets in key encampment locations, only to
                                                                              10   have the city remove them when they became magnets for prostitution and drug
                                                                              11   use. In the early 1990s, as a settlement of litigation between the City and County,
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                                                                              12   Los Angeles Homeless Services Authority (“LAHSA”), a joint-powers authority,
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                                                                              13   was created to oversee the City and County’s homeless response. The aim was
                                                                              14   more accountability, but ultimately it has resulted in an accountability deficit.
                                                                              15         27.        That deficit is particularly apparent in the litigious history of two
                                                                              16   Los Angeles Municipal Code provisions (“L.A.M.C.”)—section 41.18 and
                                                                              17   56.11—that regulate behavior in public rights-of-way. Section 41.18(d) provides
                                                                              18   “No person shall sit, lie or sleep in or upon any street, sidewalk or other public
                                                                              19   way.” 37 56.11 prohibits, among other things, storage of “excess personal
                                                                              20
                                                                              21
                                                                              22
                                                                                         35
                                                                                          See Kempkens, supra note 32, https://www.laweekly.com/l-a-s-
                                                                              23   homelessness-crisis-how-did-we-get-here/.
                                                                              24         36
                                                                                              Id.
                                                                              25         37
                                                                                            The Los Angeles City Council is currently considering an amendment to
                                                                                   41.18(d) that would permit persons to sit, lie, or sleep in non-sensitive public
                                                                              26   areas (500 feet away from schools, parks, and day care facilities, out of tunnels,
                                                                                   etc.) Emily Alpert Reyes, L.A. is again considering limits on where homeless
                                                                              27   people can sleep — this time by schools and parks, Los Angeles Times (Aug. 22,
                                                                                   2019, 5:25 PM), https://www.latimes.com/california/story/2019-08-22/homeless-
                                                                              28   sidewalk-sleeping-ban-restrictions-boise-case-shelter.

                                                                                                                             14
                                                                                                                          COMPLAINT
                                                                                                                                                                            ER 647
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 699 of 1079


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                                                                              1    property” meaning property which cumulatively exceeds 60 gallons in a public
                                                                              2    area. 38
                                                                              3           28.   In 2006, the City settled a case brought by several activists, Jones v.
                                                                              4    City of Los Angeles, agreeing not to enforce Section 41.18(d)’s restrictions on
                                                                              5    tents and people sleeping in public areas between the hours of 9 p.m. and 6 a.m.
                                                                              6    As part of the agreement, the parties concurred that a published court decision
                                                                              7    would be de-published and would no longer be binding authority. According to
                                                                              8    the Los Angeles Times, “The [Jones] agreement set the stage for today’s
                                                                              9    encampment explosion.” 39 And ironically, the de-published Jones decision was
                                                                              10   still oft-cited and essentially resurrected in the 2018 published decision of Martin
                                                                              11   v. City of Boise.
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                                                                              12          29.   In 2011, the Ninth Circuit upheld an injunction in Lavan v. City of
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                                                                              13   Los Angeles that prohibited the City from seizing unattended property without
                                                                              14   notice absent objectively reasonable belief that it is abandoned, evidence of
                                                                              15   crime, contraband, or presents an “immediate threat to public health or safety.”
                                                                              16   Unfortunately, it is difficult to determine when property is “abandoned” as
                                                                              17   opposed to momentarily “unattended” when there are tens of thousands of people
                                                                              18   living unsheltered in our public spaces. The result is a massive build-up of
                                                                              19
                                                                              20
                                                                                          38
                                                                                             LAMC 56.11 was amended in 2016 in direct response to Lavan v. City of
                                                                              21   Los Angeles, discussed infra. Its express stated purpose was to “balance the
                                                                                   needs of the residents and public at large to access clean and sanitary public areas
                                                                              22   with the needs of the individuals, who have no other alternatives for the storage
                                                                                   of personal property, to retain access to a limited of personal property in public
                                                                              23   areas.” Unsurprisingly, unhappy advocates have challenged the new amendment,
                                                                                   first as applied to those living in Skid Row (Mitchell v. City of Los Angeles, 16-
                                                                              24   CV-01750 SJO JPR) and now city-wide (Garcia v. City of Los Angeles, 2:19-CV-
                                                                                   06182 DSF PLA).
                                                                              25
                                                                                          39
                                                                                            Gale Holland, Why L.A. County’s homelessness crisis has been decades
                                                                              26   in the making, Los Angeles Times (June 5, 2019, 11:10 AM),
                                                                                   https://www.latimes.com/local/california/la-me-ln-homeless-housing-crisis-
                                                                              27   count-history-skid-row-20190605-story.html ( “‘We are dealing with historical
                                                                                   consequences of bad decisions made 10 years ago to guarantee a right to
                                                                              28   sidewalks instead of a right to shelter,’ said Westside Councilman Mike Bonin.”).

                                                                                                                        15
                                                                                                                     COMPLAINT
                                                                                                                                                                          ER 648
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 700 of 1079


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                                                                              1    property, which harbors significant health and safety risks that mostly go
                                                                              2    undetected until too late.
                                                                              3          30.    Eight years after the Ninth Circuit upheld the Lavan injunction, the
                                                                              4    City entered into a settlement in the case of Mitchell v. City of Los Angeles.
                                                                              5    Under the terms of that settlement, the City bound its own hands in agreeing to
                                                                              6    significantly limit the enforcement of L.A.M.C. Section 56.11, permitting the
                                                                              7    accumulation of personal property beyond the code section’s limits, and
                                                                              8    relegating enforcement to only certain bulky items such as couches, mattresses,
                                                                              9    refrigerators, and wooden pallets within a designated area known as “Skid Row
                                                                              10   and surrounding areas.” The Mitchell agreement has led to a sharp decline in
                                                                              11   health and safety for housed and unhoused alike not just in Skid Row but
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                                                                              12   throughout downtown. The agreement promotes and authorizes violation of a
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                                                                              13   valid city ordinance and suffers from significant legal flaws. League of
                                                                              14   Residential Neighborhood Advocates v. City of Los Angeles, 498 F.3d 1052, 1055
                                                                              15   (9th Cir. 2007) (“A federal consent decree or settlement agreement cannot be a
                                                                              16   means for state officials to evade state law.”); City of Glendale v. Superior Court,
                                                                              17   18 Cal. App. 4th 1768, 1778-79 (1993) (“It is well established that
                                                                              18   governments cannot divest themselves by contract of the right to exert their
                                                                              19   governmental authority ‘in matters which from their very nature so concern that
                                                                              20   authority that to restrain its exercise by contract would be a renunciation of
                                                                              21   power to legislate for the preservation of society or to secure the performance of
                                                                              22   essential governmental duties.’”). 40
                                                                              23         31.    Mitchell was settled in the wake of a recent, broadly-sweeping
                                                                              24   decision addressing homeless regulation: Martin v. City of Boise, based almost
                                                                              25   entirely on the reasoning published (then de-published) in Jones. Martin held
                                                                              26
                                                                              27         40
                                                                                          See [Proposed] Intervenors’ Notice of Motion and Motion for Relief
                                                                                   from Order or Modification thereof, Mitchell v. City of Los Angeles, Case No.
                                                                              28   CV16-01750 SJO (JPRx) (C.D. Cal. June 24, 2019), ECF No. 120-1.

                                                                                                                         16
                                                                                                                      COMPLAINT
                                                                                                                                                                        ER 649
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 701 of 1079


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                                                                              1    that “so long as there is a greater number of homeless individuals in a jurisdiction
                                                                              2    than the number of available beds in shelters” a person may not be prosecuted for
                                                                              3    sitting, lying, or sleeping in public. Martin, 920 F.3d at 617 (original alterations
                                                                              4    omitted) (citation omitted). The language in the Martin does not provide clear
                                                                              5    guidance for cities struggling with sizable homeless populations--in some
                                                                              6    passages, Martin suggests that there must be enough beds for everyone before
                                                                              7    anyone may be cited for sleeping on a sidewalk, while other aspects of Martin
                                                                              8    indicate that individuals “who do have access to adequate temporary shelter” but
                                                                              9    “choose not to use it” may be prosecuted without reference to the community. Id.
                                                                              10   at n.8.
                                                                              11             32.     Regardless of how the Martin case is interpreted, it is clear the only
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                                                                              12   way out of the current crisis is to provide beds to the unsheltered. That will not
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                                                                              13   be easy. The homelessness crisis has now reached the highest numbers we have
                                                                              14   ever seen, with 58,936 homeless individuals in Los Angeles County and 36,300
                                                                              15   homeless individuals in the City. Approximately 75 percent of these are
                                                                              16   unsheltered, meaning living and sleeping in a place not meant for human
                                                                              17   habitation, including streets, parks, tents, and cars. The task of finding beds for
                                                                              18   so many people is daunting, but it must be done if Los Angeles is to find its way
                                                                              19   clear of this crisis.
                                                                              20     B.           Crime and Fire Incidents Have Escalated
                                                                              21              33. The crisis of so many unsheltered individuals in a wealthy City is a
                                                                              22   tragedy in and of itself. But the tragedy has been exacerbated by a severe spike
                                                                              23   in crime both on and by homeless persons, particularly in violent attacks. 41
                                                                              24   LAPD citywide data from 2017 to 2018 shows a 36 percent increase in crimes
                                                                              25   against homeless victims, aggravated assault increased 57 percent, and crimes
                                                                              26
                                                                                             41
                                                                                            Leonard, supra note 4,
                                                                              27   https://www.nbclosangeles.com/news/local/LAPD-Reports-Spike-in-Homeless-
                                                                                   Crime-502407861.html; Matthew, supra note 4,
                                                                              28   https://www.lamag.com/citythinkblog/homeless-crime/.

                                                                                                                             17
                                                                                                                          COMPLAINT
                                                                                                                                                                              ER 650
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 702 of 1079


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                                                                              1    with a homeless suspect rose 28.5 percent. The statistics from 2018 to 2019 are
                                                                              2    even worse:
                                                                              3           •   The homicide rate citywide rose 5 percent last year yet homicides
                                                                              4               against a homeless victim in Central Bureau rose 33 percent.
                                                                              5           • Violent crimes against a homeless person increased 18.9 percent
                                                                              6               citywide while property crimes identifying a homeless victim rose 43.8
                                                                              7               percent.
                                                                              8           • Violent crimes with an identified homeless suspect rose 22.5 percent
                                                                              9               citywide (48.1 percent in Central Division) and property crimes with
                                                                              10              an identified homeless suspect rose 18 percent citywide (27.9 percent
                                                                              11              in Central Division).
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                                                                              12          • Homicides in Central Division with an identified homeless suspect
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                                          LOS ANGELES, CA 90025




                                                                              13              increased by a shocking 175 percent from 2018 to 2019.
                                                                              14          34. Drugs are being sold and used openly on streets and sidewalks.
                                                                              15   Public urination and defection have become the norm. LA Metro spent $36
                                                                              16   million on a bike-share program, but those bikes go missing daily and many have
                                                                              17   been recovered, repainted or otherwise vandalized, in homeless encampments
                                                                              18   throughout the city. 42 As the ranks of the desperate and downtrodden have grown
                                                                              19   exponentially in Skid Row and throughout the City and County, and quality-of-
                                                                              20   life laws are left unenforced, public order has deteriorated.
                                                                              21          35. In addressing the rise in crime within the homeless community, one
                                                                              22   City official accurately noted, “[T]here are certainly tensions that are rising
                                                                              23   within the homeless population. . . the connective tissue between them all is the
                                                                              24   increase in the concentration. As the homeless encampments increase, so do
                                                                              25   fights over territory, over property, over intangibles, as well as domestic
                                                                              26
                                                                                         42
                                                                                           David Goldstein, Goldstein Investigation: Hundreds Of Taxpayer-
                                                                              27   Funded Metro Bikes Stolen, Stripped, CBS Los Angeles (Nov. 7, 2019, 11:59
                                                                                   PM), https://losangeles.cbslocal.com/2019/11/07/goldstein-investigation-
                                                                              28   taxpayer-funded-metro-bikes-stolen-stripped/.

                                                                                                                         18
                                                                                                                      COMPLAINT
                                                                                                                                                                       ER 651
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 703 of 1079


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                                                                              1    violence.” 43 “Personal Security Tips” have been given to County employees
                                                                              2    walking to and from civil and mental health courts, advising them “remain
                                                                              3    vigilant,” “travel in numbers,” and “drive in a middle or left lane” due to the
                                                                              4    criminal element rising out of surrounding homeless encampments.
                                                                              5           36. Crime against homeless women in particular has become a “crisis
                                                                              6    within a crisis” with 60 percent of homeless women reporting violence in the last
                                                                              7    year and 25 percent experiencing it “often” or “always.” 44 More than a quarter
                                                                              8    have experienced sexual assault in the last twelve months, and 37 percent report
                                                                              9    having experienced domestic violence in the same time period. 45
                                                                              10          37. As crime has increased, so have fires. There were 2,500 fires just
                                                                              11   involving the homeless community in Los Angeles in 2018, which is double the
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                              12   number of such fires in 2017. 46 And the statistics for 2019, while not yet released
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                                                                              13   were on track to far outpace 2018’s record number. 47 The industrial buildings
                                                                              14   and businesses downtown regularly experience fires from adjacent encampments,
                                                                              15   whether from heaters, food preparation, or arson. In the first six months of 2019,
                                                                              16   there were 65 fires just in this one small area. Businesses are being dropped by
                                                                              17
                                                                              18         43
                                                                                            See Queally, supra note 6,
                                                                                   https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                              19   attacks-fire.
                                                                              20         44
                                                                                             Elijah Chiland, For women, ‘living on the streets in Los Angeles is
                                                                                   dangerous and traumatic’, Curbed Los Angeles (Jan. 30, 2020, 2:25 PM),
                                                                              21   https://la.curbed.com/2020/1/30/21115700/downtown-womens-center-homeless-
                                                                                   report.
                                                                              22
                                                                                         45
                                                                                           Downtown Women’s Center, 2019 Los Angeles City Women’s Needs
                                                                              23   Assessment, https://www.downtownwomenscenter.org/wp-
                                                                                   content/uploads/2020/01/DWC-2019-Los-Angeles-Womens-Needs-
                                                                              24   Assessment.pdf (last visited Mar. 9, 2020).
                                                                              25         46
                                                                                            See Queally, supra note 6,
                                                                                   https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                              26   attacks-fire.
                                                                              27         47
                                                                                           Id.; Marc Brown, Leanne Suter, et al., LAFD incidents involving the
                                                                                   homeless disproportionately high, data shows, ABC Eyewitness News (Feb. 11,
                                                                              28   2020, 11:15 AM), https://abc7.com/5919386/.

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                                                                                                                     COMPLAINT
                                                                                                                                                                        ER 652
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 704 of 1079


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                                                                              1    insurance companies because of the fire risks due to the homeless living on their
                                                                              2    sidewalks. 48 Fire hydrants are being repurposed by homeless for drinking,
                                                                              3    bathing, and washing clothes and personal items, compromising fire-readiness
                                                                              4    and putting an untold number of lives and structures at greater risk in the event of
                                                                              5    a fire. 49 There have been no observable efforts to curb the use of open flames,
                                                                              6    despite fire code provisions that prohibit them and the frequent use of open
                                                                              7    flames in homeless encampments. 50 In fact, the Mitchell settlement specifically
                                                                              8    permits violations of the fire code by allowing “open-flame cooking devices” as
                                                                              9    long as they have fuel containers under a certain size. See Stipulated Order of
                                                                              10   Dismissal at 11, Mitchell v. City of Los Angeles, Case No. CV16-01750 SJO
                                                                              11   (JPRx) (C.D. Cal. May 31, 2019), ECF No. 119.
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                              12          38. Fires originating in homeless encampments are now a regular
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                                                                              13   occurrence in Los Angeles County. One of the most destructive fires in Los
                                                                              14   Angeles over the last 10 years, the Skirball Fire, was caused by a cooking fire at a
                                                                              15   homeless encampment in the hills of Bel Air in 2017—that fire caused thousands
                                                                              16   to evacuate and destroyed several houses. 51 In July 2019, a fire broke out in a
                                                                              17   homeless encampment in the Sepulveda Basin, where homeless residents report
                                                                              18
                                                                                         48
                                                                                            Joel Grover and Amy Corral, Your Insurance is Canceled Because of
                                                                              19   Homeless Tent Fires, NBC Los Angeles (Sept. 23, 2019, 11:55 AM),
                                                                                   https://www.nbclosangeles.com/news/local/LA-Homeless-Encampment-Fires-
                                                                              20   Insurance-Rates-Tents-Homelessness-561145811.html.
                                                                              21         49
                                                                                            Joel Grover and Amy Corral, Firefighters Lose Critical Tool to Battle
                                                                                   Rise in Homeless Fires, NBC Los Angeles (July 22, 2019, 3:17 PM),
                                                                              22   https://www.nbclosangeles.com/investigations/Firefighters-Lose-Critical-Tool-
                                                                                   to-Battle-Rise-in-Homeless-Fires-513057481.html.
                                                                              23
                                                                                         50
                                                                                            See Grover and Corral, supra note 49,
                                                                              24   https://www.nbclosangeles.com/investigations/Firefighters-Lose-Critical-Tool-
                                                                                   to-Battle-Rise-in-Homeless-Fires-513057481.html; County of Los Angeles,
                                                                              25   Ordinance re Open Fires § 307.6 (2017), http://lacounty-
                                                                                   ca.elaws.us/code/coor_title32.
                                                                              26
                                                                                         51
                                                                                            Gale Holland, Laura J. Nelson, et al., Fire at a homeless encampment
                                                                              27   sparked Bel-Air blaze that destroyed homes, officials say, Los Angeles Times
                                                                                   (Dec. 12, 2017, 5:55 PM), https://www.latimes.com/local/lanow/la-me-skirball-
                                                                              28   fire-cause-20171212-story.html.

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                                                                                                                     COMPLAINT
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                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 705 of 1079


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                                                                              1    they put out “multiple fires daily,” burning 6 acres and destroying the
                                                                              2    encampment. 52
                                                                              3    C.    Public Health is Compromised
                                                                              4           39. Beyond crime and fire, the homelessness crisis presents a pressing
                                                                              5    public health predicament. The accumulation of property and food storage in
                                                                              6    tents by homeless individuals has made Skid Row and other areas hotbeds for
                                                                              7    flea-infested rats and other disease-carrying vermin, making some areas nearly
                                                                              8    unlivable. 53 Los Angeles has declared Skid Row a “typhus zone” and at least one
                                                                              9    Deputy City Attorney has contracted typhus apparently from the conditions
                                                                              10   surrounding her office building in Downtown Los Angeles. 54 LAPD Officers
                                                                              11   working Central Division downtown contracted typhoid fever, caused by
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                              12   contamination of human fecal matter. 55 LA City was recently cited by
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                                                                              13   Cal/OSHA for the homeless encampments outside City Hall East for exposing its
                                                                              14
                                                                              15
                                                                              16
                                                                              17         52
                                                                                            Ariella Plachta and Elizabeth Chou, A Sepulveda basin encampment fire
                                                                                   left dozens of homeless people displaced but service providers have little to offer
                                                                              18   them, Los Angeles Daily News (July 31, 2019, 1:23 PM),
                                                                                   https://www.dailynews.com/2019/07/31/a-sepulveda-basin-encampment-fire-left-
                                                                              19   dozens-of-homeless-people-displaced-but-service-providers-have-little-to-offer-
                                                                                   them/.
                                                                              20
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                                                                                            Lauren Fruen, Collapse of a City That’s Lost Control: Shocking New
                                                                              21   Pictures From Downtown LA Capture The Huge Problem it Faces With Trash
                                                                                   and Rats Amid Fear of Typhoid Fever Outbreak Among LAPD, Daily Mail and
                                                                              22   Associated Press, (June 2, 2019, 2:03 PM),
                                                                                   https://www.dailymail.co.uk/news/article-7095533/Pictures-downtown-LA-
                                                                              23   capture-problem-faces-trash-tries-rodents.html.
                                                                              24         54
                                                                                            Harriet Ryan, ‘Absolutely terrifying’: Deputy city attorney says she
                                                                                   contracted typhus at City Hall, Los Angeles Times, (Feb. 9, 2019, 5:45 PM),
                                                                              25   https://www.latimes.com/local/lanow/la-me-ln-city-hall-typhus-20190209-
                                                                                   story.html.
                                                                              26
                                                                                         55
                                                                                            Jaclyn Cosgrove, LAPD employee contracts bacteria that causes typhoid
                                                                              27   fever, Los Angeles Times, (May 29, 2019, 8:44 PM),
                                                                                   https://www.latimes.com/local/lanow/la-me-ln-lapd-typhoid-fever-20190529-
                                                                              28   story.html.

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                                                                                                                     COMPLAINT
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                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 706 of 1079


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                                                                              1    workers to trash and bodily fluids. 56 Experts have predicted a “major infectious
                                                                              2    disease epidemic” outbreak in DTLA, including measles and/or tuberculosis. 57
                                                                              3    The United Nations noted “Los Angeles failed to meet even the minimum
                                                                              4    standards the United Nations High Commissioner for Refugees sets for refugee
                                                                              5    camps in the Syrian Arab Republic and other emergency situations.” 58
                                                                              6           40. Beyond the societal implications associated with unsanitary
                                                                              7    conditions related to unsheltered homelessness, it has been well-documented that
                                                                              8    the physical and mental health of unsheltered persons is significantly worse than
                                                                              9    those of their sheltered or housed counterparts. 59 According to a recent report
                                                                              10   from the Los Angeles County Department of Public Health (“DPH”), homeless-
                                                                              11   related deaths doubled from 2013 to 2018. 60 On average, a homeless person in
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                                          LOS ANGELES, CA 90025




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                                                                                            California News Wire Services, State Slaps City Of LA Over Unsanitary
                                                                              16   Conditions, Los Angeles, CA Patch.com (Aug. 16, 2019, 1:31 PM),
                                                                                   https://patch.com/california/los-angeles/state-slaps-city-la-over-unsanitary-
                                                                              17   conditions.
                                                                              18         57
                                                                                            Victor Garcia, Dr. Drew Pinsky Warns Los Angeles Could be at Risk of
                                                                                   a Deadly Epidemic This Summer, Fox News, (May 23, 2019),
                                                                              19   https://www.foxnews.com/us/dr-drew-pinsky-major-epidemic-los-angeles-kill-
                                                                                   thousands.
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                                                                                           Report of the Special Rapporteur on extreme poverty and human rights
                                                                              21   on his mission to the United States of America, U.N. Doc. A/HRC/38/33/Add.1
                                                                                   (May 4, 2018), https://documents-dds-
                                                                              22   ny.un.org/doc/UNDOC/GEN/G18/125/30/PDF/G1812530.pdf.
                                                                              23          59
                                                                                             Adeline M. Nyamathi and Barbara Leake, et al., Sheltered versus
                                                                                   nonsheltered homeless women, J. Gen. Intern. Med. vol. 15, issue 8, at pp. 565-72
                                                                              24   (Aug. 2000), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1495574/; Janey
                                                                                   Rountree, Nathan Hess, and Austin Lyke, Health Conditions Among Unsheltered
                                                                              25   Adults in the U.S., California Policy Lab (October 2019),
                                                                                   https://www.capolicylab.org/wp-content/uploads/2019/10/Health-Conditions-
                                                                              26   Among-Unsheltered-Adults-in-the-U.S.pdf.
                                                                              27         60
                                                                                            County of Los Angeles, Public Health, supra note 1,
                                                                                   http://publichealth.lacounty.gov/chie/reports/HomelessMortality_CHIEBrief_Fin
                                                                              28   al.pdf.

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                                                                                                                     COMPLAINT
                                                                                                                                                                       ER 655
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 707 of 1079


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                                                                              1    Los Angeles will die 22 years earlier than the general population. 61 Importantly,
                                                                              2    the report noted:
                                                                              3    A principal finding is that the overall homeless mortality rate has steadily
                                                                              4    increased over the past six years. This means that increases in the number of
                                                                              5    homeless deaths recently reported in the media cannot be attributed solely to
                                                                              6    the fact that the total number of homeless people has also been increasing.
                                                                              7    Put simply, being homeless in LA County is becoming increasingly
                                                                              8    deadly. 62
                                                                              9           41.     Dr. Barbara Ferrer, director of DPH conceded: “Homeless people
                                                                              10   are in fact dying at a higher rate because they’re homeless.” 63 Yet in New York
                                                                              11   City, where the number of people experiencing homelessness is high (91,897
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                                                                              12   persons) but the rate of unsheltered homelessness is low (5 percent compared to
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                                                                              13   Los Angeles’ 75 percent), the mortality rates of homeless persons compared to
                                                                              14   general population low-income adults is nearly identical. 64 Unsheltered
                                                                              15   homelessness both causes and exacerbates physical and mental health problems. 65
                                                                              16
                                                                              17
                                                                                        61
                                                                                           Id. at 5 (“The average age at death was 51 among the homeless and 73
                                                                              18   among the general population.”).
                                                                              19         62
                                                                                              Id. (emphasis added).
                                                                              20         63
                                                                                             Jessica Flores, Homeless deaths in LA County doubled between 2013
                                                                                   and 2018, Curbed Los Angeles (Oct. 30, 2019, 3:50 PM),
                                                                              21   https://la.curbed.com/2019/10/30/20940369/homeless-deaths-los-angeles-county.
                                                                              22         64
                                                                                             Bonnie D. Kerker, PhD, Jay Bainbridge, PhD, et al., A Population-Based
                                                                                   Assessment of the Health of Homeless Families in New York City, 2001–2003,
                                                                              23   American Journal of Public Health (Sept. 20, 2011),
                                                                                   https://ajph.aphapublications.org/doi/abs/10.2105/AJPH.2010.193102.
                                                                              24
                                                                                         65
                                                                                            County of Los Angeles, supra note 1,
                                                                              25   http://publichealth.lacounty.gov/chie/reports/HomelessMortality_CHIEBrief_Fin
                                                                                   al.pdf; Seena Fazel, MD, John R. Geddes, MD, et al., The health of homeless
                                                                              26   people in high-income countries: descriptive epidemiology, health consequences,
                                                                                   and clinical and policy recommendations, The Lancet, vol. 382, issue 9953, pp.
                                                                              27   1529-40 (Oct. 25, 2014),
                                                                                   https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(14)61132-
                                                                              28   6/fulltext.

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                                                                                                                      COMPLAINT
                                                                                                                                                                        ER 656
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 708 of 1079


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                                                                              1           42. Los Angeles County has recognized this, and in 2012 the
                                                                              2    Department of Health Services launched a program called Housing for Health,
                                                                              3    observing “[a]ccess to community based housing options is an important element
                                                                              4    of our evolving county healthcare system, particularly in response to the
                                                                              5    homelessness crisis.” 66 A study conducted by the RAND Corporation on the first
                                                                              6    890 participants enrolled found that the cost of providing health care per
                                                                              7    participant decreased by 40 percent (from an average of $38,146 to $15,358)
                                                                              8    because there was less need for the patients to access the system. 67
                                                                              9    D.    Crowded and Blocked Sidewalks Put Everyone at Risk
                                                                              10         43.    The homelessness crisis has also impeded the use of a critical
                                                                              11   element of city life: sidewalks. Municipalities have an obligation to keep
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                                                                              12   sidewalks clear for use by the public. The City itself recognized this in its recent
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                                                                              13   Motion to Dismiss filed in the ongoing litigation in Garcia v. City of Los
                                                                              14   Angeles:
                                                                              15         Sidewalks serve numerous functions and implicate a myriad of
                                                                              16         individual interests. Children on field trips, persons with disabilities,
                                                                              17         mail carriers with delivery carts, free-speech demonstrators, shop
                                                                              18         owners, travelers, and the many thousands of other persons that live,
                                                                              19         work, and visit Los Angeles—all have legitimate claims to use these
                                                                              20         narrow strips of public property. As courts have long recognized,
                                                                              21
                                                                              22         66
                                                                                            Health Services of Los Angeles County, Housing for Health,
                                                                                   http://dhs.lacounty.gov/wps/portal/dhs/housingforhealth (last visited Mar. 9,
                                                                              23   2020).
                                                                              24         67
                                                                                            Sarah B. Hunter, Housing for Health; Los Angeles County’s Department
                                                                                   of health Tackles Homelessness with an Innovative Housing Program That Saves
                                                                              25   Money, The Rand Blog (Jan. 18, 2018),
                                                                                   https://www.rand.org/blog/2018/01/housing-for-health-los-angeles-countys-
                                                                              26   department-of.html (Notably the County experienced a net savings of 20% even
                                                                                   taking the costs of housing into consideration (from an average of $38,146 per
                                                                              27   participant to $30,646). Of course, this number doesn’t take into consideration
                                                                                   the additional savings from other departments such as reduced law enforcement
                                                                              28   contacts.

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                                                                                                                     COMPLAINT
                                                                                                                                                                          ER 657
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 709 of 1079


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                                                                              1          “[t]he public is entitled to the free and unobstructed use of the entire
                                                                              2          streets and sidewalks . . . ” Vanderhurst v. Tholcke, 113 Cal. 147, 152
                                                                              3          (1896). To balance among the many, often competing uses, cities
                                                                              4          have been designated as trustees of these public spaces. In this
                                                                              5          capacity, they have not only the power but “the duty to keep their
                                                                              6          communities’ streets open and available for movement of people and
                                                                              7          property.” Schneider v. State, 308 U.S. 147, 160-61 (1939) (emphasis
                                                                              8          added); see also Smith v. Corp. of Wash., 61 U.S. (20 How.) 135, 146
                                                                              9          (1858); Cal. Gov. Code § 37359 (“the legislative body having control
                                                                              10         of any property owned or controlled by the city may at any time
                                                                              11         withdraw…or limit the access or use in area or time or in any other
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                                                                              12         reasonable manner deemed necessary.”).
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                                                                              13   Def. City of Los Angeles’ Mot. to Dismiss Suppl. Compl. at 2, Garcia v.
                                                                              14   City of Los Angeles, Case No.: 2:19-cv-6182-DSF-PLA (C.D. Cal. Oct. 21,
                                                                              15   2019), ECF No. 22.
                                                                              16         44.      Public sidewalks and the maintenance of them constitutes a
                                                                              17   “program, service, or activity within the meaning of Title II of the Americans
                                                                              18   with Disabilities Act and Section 504 of the Rehabilitation Act of 1973.” 68
                                                                              19   Municipalities have an obligation to ensure that public sidewalks are usable and
                                                                              20   compliant with ADA requirements, such as providing a minimum of 36 inches of
                                                                              21   clearance for wheelchair users, yet the City regularly ignores its obligations and
                                                                              22   fails to provide such clearance.
                                                                              23         45.      Encampments throughout the City and County block sidewalks and
                                                                              24   public rights-of-way. Local governments, as explained by the City, have an
                                                                              25   obligation to balance the needs of all citizens to access sidewalks, particularly for
                                                                              26   those with disabilities who have no alternative like stepping around a blockage.
                                                                              27
                                                                                         68
                                                                                              Willits v. City of Los Angeles, 925 F. Supp. 2d 1089, 1093 (C.D. Cal.
                                                                              28   2013).

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                                                                                                                       COMPLAINT
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                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 710 of 1079


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                                                                              1    Yet the City is consistently failing to do so. Disabled persons in wheelchairs
                                                                              2    such as plaintiffs Charles Van Scoy and Leandro Suarez must choose daily
                                                                              3    whether to stay in their homes or walk into the middle of the street with
                                                                              4    oncoming traffic. Mothers with young children in strollers, like plaintiffs Deisy
                                                                              5    Suarez and Karyn Pinsky, do the same. Children on their way to and from school
                                                                              6    daily risk injury by car where sidewalks are impassable.
                                                                              7          46.    Citizens are calling 311 to request cleanup of sidewalk encampments
                                                                              8    at a skyrocketing rate—increasing 167 percent between 2016 and 2018. 69 Yet if
                                                                              9    City officials even respond, it is to simply power-wash the sidewalk and then
                                                                              10   allow encampments to resume. 70
                                                                              11         47.    After Martin v. Boise was decided, Los Angeles Police
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                                                                              12   Department’s Office of the Chief of Police issued an order suspending all
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                                                                              13   enforcement of L.A.M.C 41.18 except to provided “minimum clearance of a
                                                                              14   continuous three-foot wide pathway as required under the Americans with
                                                                              15   Disabilities Act” or “When a person is sitting, sleeping, or lying within ten (10)
                                                                              16   feet of any operational and utilizable entrance or exit of a building, driveway, or
                                                                              17   loading dock.”
                                                                              18         48.    The prevalent and virtually permanent nature of these
                                                                              19   encampments—unimpeded by any meaningful City enforcement or cleanup
                                                                              20   efforts despite notice to the City—reflects an unambiguous official City policy to
                                                                              21   permit usurpation of public sidewalks in certain areas. For example, on Venice
                                                                              22   Boulevard under the 405 freeway, a large-scale encampment has been been
                                                                              23
                                                                              24         69
                                                                                            Emily Alpert Reyes, Benjamin Oreskes, Doug Smith, L.A. is swamped
                                                                                   with 311 complaints over homeless camps. But are the cleanups pointless?, Los
                                                                              25   Angeles Times (June 7, 2019, 5:00 AM),
                                                                                   https://www.latimes.com/local/lanow/la-me-ln-homeless-cleanups-accelerate-
                                                                              26   20190607-htmlstory.html.
                                                                              27         70
                                                                                             Id.; Matt Tinoco, LA /wukk Spend $30M This Year on Homeless Sweeps.
                                                                                   Do They Even Work?, LAist (Apr. 10, 2019, 6:00 AM),
                                                                              28   https://laist.com/2019/04/10/homeless_sweeps_los_angeles_public_health.php.

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                                                                                                                     COMPLAINT
                                                                                                                                                                         ER 659
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 711 of 1079


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                                                                              1    allowed to persist for over a year. City workers have actively encouraged
                                                                              2    homeless persons in nearby areas to move to this encampment. In the Skid Row
                                                                              3    area, as part of the Mitchell v. City of Los Angeles settlement, the City agreed to
                                                                              4    allow nearly unlimited property accumulation on the public sidewalks while
                                                                              5    providing little comfort to the ADA-based concerns regarding the navigational
                                                                              6    impediments to those with disabilities. The freeway overpasses near the Los
                                                                              7    Angeles Civic Center now are so packed that it is difficult for an able-bodied
                                                                              8    individual to walk past without stepping in the street, and impossible for those
                                                                              9    who need the assistance of wheelchairs and walkers.
                                                                              10         49.    The sidewalk problem directly affects businesses that are accessed
                                                                              11   by sidewalks. This prevents disabled customers from reaching businesses, but
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                                                                              12   also deters able-bodied customers who seek to access their businesses or abandon
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                                                                              13   some businesses in favor of more accessible ones. As discussed above,
                                                                              14   businesses are collectively spending hundreds of thousands of dollars on
                                                                              15   increased sanitation and security measures while struggling to maintain
                                                                              16   employees and tenants. Both business owners and residents of the area are thus
                                                                              17   subject to substantial and unreasonable interference with their enjoyment of their
                                                                              18   property. Indeed, the streets and sidewalks of Skid Row have been rendered
                                                                              19   unusable because of human waste, garbage, and encampments that the City has
                                                                              20   allowed to persist.
                                                                              21   F.    Environmental Impact
                                                                              22         50.    The unhealthy aspects of the homelessness crisis extend to the
                                                                              23   environment. There appears to be no environmental impact study of the kind of
                                                                              24   widespread and systemic homelessness in Los Angeles. Yet all indications show
                                                                              25   the impact has been significant. 71 Every day, businesses and residents find used
                                                                              26
                                                                              27         71
                                                                                           Courtenay White, Environmental Impacts of Homeless Encampments in
                                                                                   the Guadalupe River Riparian Zone, School of Environment and Sustainability,
                                                                              28   Royal Roads University (Jan. 9, 2014),

                                                                                                                         27
                                                                                                                      COMPLAINT
                                                                                                                                                                         ER 660
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 712 of 1079


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                                                                              1    needles in their drains, on sidewalks, and in gutters. Los Angeles County has far
                                                                              2    more unsheltered people than Orange County, and officials there recovered over
                                                                              3    14,000 hypodermic needles, plus over 5,000 pounds of “hazardous waste”
                                                                              4    including human waste, and toxic chemicals such as propane, pesticides,
                                                                              5    solvents, and paint during a clean-up of a homeless encampment in the Santa Ana
                                                                              6    Riverbed consisting of approximately 700 people. 72 While City sanitation
                                                                              7    workers are deployed to identify and discard toxic waste, only 30 teams are
                                                                              8    working to cover 500 square miles, missing countless numbers of needles, human
                                                                              9    waste, and other toxic substances making its way into our ecosystems.
                                                                              10         51.   The Environmental Protection Agency recently recognized this issue
                                                                              11   in a letter addressed to Governor Gavin Newsom:
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                                                                              12         The EPA is aware of the growing homelessness crisis developing in
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                                                                              13         major California cities, including Los Angeles and San Francisco, and
                                                                              14         the impact of this crisis on the environment. Indeed, press reports
                                                                              15         indicate that “piles of human feces” on sidewalks and streets in these
                                                                              16         cities are becoming all too common. The EPA is concerned about the
                                                                              17         potential water quality impacts from pathogens and other
                                                                              18         contaminants from untreated human waste entering nearby waters.
                                                                              19         San Francisco, Los Angeles and the state do not appear to be acting
                                                                              20         with urgency to mitigate the risks to human health and the
                                                                              21         environment that may result from the homelessness crisis. 73
                                                                              22
                                                                              23   https://viurrspace.ca/bitstream/handle/10170/665/white_courtenay.pdf?sequence=
                                                                                   1&isAllowed=y.
                                                                              24
                                                                                         72
                                                                                            Anh Do, ‘Eye-popping’ number of hypodermic needles, pounds of waste
                                                                              25   cleared from Orange County riverbed homeless encampment, Los Angeles Times
                                                                                   (Mar. 10, 2018, 4:30 PM), https://www.latimes.com/local/lanow/la-me-ln-
                                                                              26   riverbed-debris-20180310-story.html.
                                                                              27         73
                                                                                          Letter to Governor Gavin C. Newsom from Andrew R. Wheeler,
                                                                                   September 26, 2019, https://www.epa.gov/sites/production/files/2019-
                                                                              28   09/documents/9.26.19_letter-epa.pdf.

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                                                                                                                    COMPLAINT
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                                                                              1          52.    Thousands of people camp in or near the Los Angeles River basin,
                                                                              2    without access to toilets and sanitation services. The amount of related toxic and
                                                                              3    human waste making its way into our environment is, upon information and
                                                                              4    belief, substantial, but its full scope is unknown. 74
                                                                              5          53.    The power-washing scheme takes place daily throughout the City,
                                                                              6    and uses likely millions of gallons of water yearly to clean refuse and filth from
                                                                              7    the streets and into our drains and ultimately, oceans. In a city and state facing
                                                                              8    water shortages, just on the other side of a devastating eight-year drought, such
                                                                              9    water usage, particularly without any kind of review taking place, is shameful
                                                                              10   and ultimately threatening to the water systems of the City and County.
                                                                              11         54.    The environmental impact of fires arising out of homelessness is
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                                                                              12   also of great concern. Fires originating in homeless encampments are not just a
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                                                                              13   potential threat—they have actually destroyed thousands of acres of brush and
                                                                              14   wildlife. The sweeping footprints of the City and County of Los Angeles
                                                                              15   encompass vast amounts of undeveloped land, full of dry brush and other readily
                                                                              16   combustible material. Such areas are an attractive location for many homeless
                                                                              17   persons wishing to reside “off the grid” and the combination of propane-fueled
                                                                              18   cooking fires and bootlegged electricity in untended conditions is a recipe for,
                                                                              19   and indeed has already resulted in, massively destructive fires.
                                                                              20   G.    Property Values and Businesses are Affected
                                                                              21         55.    Another casualty of the homelessness crisis is the value of property
                                                                              22   and businesses. Downtown Los Angeles has experienced a renaissance over the
                                                                              23   last 20 years with loft conversions, hundreds of new restaurants, and currently
                                                                              24
                                                                              25
                                                                              26
                                                                                         74
                                                                                             Anna Almendrala, Fecal Bacteria in California Waterways Increases
                                                                              27   With Homelessness crisis, CaliforniaHealthline.org (Jan. 6, 2020),
                                                                                   https://californiahealthline.org/news/fecal-bacteria-in-californias-waterways-
                                                                              28   increases-with-homeless-crisis/.

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                                                                                                                       COMPLAINT
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                                                                              1    over three million square feet of office space under construction. 75 That
                                                                              2    renaissance is now in jeopardy due to the homelessness crisis. Businesses are
                                                                              3    suffering and property values have been affected. The average apartment
                                                                              4    occupancy rate, rent pricing, number of sales, and sale price per square foot
                                                                              5    downtown have all decreased from 2018 numbers correlating with a rise in
                                                                              6    homelessness at the same time. Businesses throughout Los Angeles, such as
                                                                              7    Desuar Spa on 5th Street, owned by Deisy Suarez, and Exclusive Motors on
                                                                              8    Venice Boulevard, owned by George Frem, both described infra, have customers
                                                                              9    declining to utilize their services due to nearby encampments.
                                                                              10         56.    Nowhere is the impact felt more strongly than on Skid Row itself,
                                                                              11   where encampments are visibly choking out local property owners and
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                                                                              12   businesses. As discussed in further detail infra, Plaintiff Joseph Burk can no
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                                                                              13   longer maintain tenants in his building and production companies are declining to
                                                                              14   work there due to the surrounding environment. He has been trying to sell the
                                                                              15   property but the offers he receives have been less than half of what other
                                                                              16   comparable properties receive in neighboring areas. The offers he has accepted
                                                                              17   have dropped out of escrow due to concerns about the area. He has been trying
                                                                              18   to rent the property, but no one will rent it. He and his wife have been living
                                                                              19   there, but due to the conditions on the sidewalk outside his home, it is becoming
                                                                              20   nearly unlivable. He is now saddled with what should be a valuable building that
                                                                              21   is near-impossible to sell, rent, live in, or use for business purposes—all due to
                                                                              22   conditions outside his property that are beyond his control, but are directly within
                                                                              23   the City’s control.
                                                                              24
                                                                              25
                                                                                         75
                                                                                            Vivian Marino, Revitalization Projects Reawaken Downtown Los
                                                                              26   Angeles, The New York Times (Mar. 5, 2019),
                                                                                   https://www.nytimes.com/2019/03/05/business/revitalization-projects-reawaken-
                                                                              27   downtown-los-angeles.html; Andrea Lo, How downtown Los Angeles made a
                                                                                   stunning comeback, CNN.com (Feb. 16, 2017, 3:50 PM),
                                                                              28   https://www.cnn.com/2017/02/15/architecture/downtown-la-revival/index.html.

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                                                                                                                      COMPLAINT
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                                                                              1          57.    As detailed infra, Alliance member Lisa Rich’s family has owned
                                                                              2    commercial property in the Skid Row area for decades, but she is now having to
                                                                              3    heavily discount the rents she charges, repair at least one building damaged by
                                                                              4    fires at a cost of $80,000, and pay four times her prior premiums for fire
                                                                              5    insurance. These burdens have her to consider abandoning all financial dealings
                                                                              6    in the area. Alliance member Mark Shinbane has difficulty hiring and retaining
                                                                              7    employees, has had to replace doors and fences, has to clean the perimeter of the
                                                                              8    building multiple times per day, and hire additional staff to handle cleaning and
                                                                              9    maintenance, all at economic cost. Alliance member Larry Rauch has doubled
                                                                              10   his spending on security and cleaning to keep employees and maintain
                                                                              11   certifications, all at economic cost. Plaintiff Harry Tashdjian has been forced to
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                                                                              12   spend over $100,000 on upgraded fire and security systems and pest control just
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                                                                              13   in the last few years while simultaneously losing customers due to the property’s
                                                                              14   surroundings.
                                                                              15   H.    The Homelessness Crisis Harms Society
                                                                              16          58. The City and County have basic obligations to its citizens—all its
                                                                              17   citizens—to preserve the public health, to ensure a semblance of law and order,
                                                                              18   to maintain public areas and infrastructure for the use and enjoyment of all its
                                                                              19   residents. Yet the homelessness crisis persists and threatens all of these: general
                                                                              20   public welfare and health threatened by disease, rats, and toxic waste permeating
                                                                              21   public areas. Law and public order are being threatened by the increased crime
                                                                              22   both on and by homeless, driven by rampant drug addiction and its concomitant
                                                                              23   gang and property-related crimes. Unchecked waste and disease affect the
                                                                              24   sheltered and unsheltered alike living in or near these areas.
                                                                              25         59.    The County, as the provider of last resort, has the additional
                                                                              26   obligation to “relieve and support all incompetent, poor, indigent persons, and
                                                                              27   those incapacitated by age, disease, or accident . . . when such persons are not
                                                                              28   supported and relieved by their relatives or friends, by their own means, or by

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                                                                              1    state hospitals or other state or private institutions.” Cal. Welf. & Inst. Code
                                                                              2    §17000. The purpose animating Section 17000 is to “provide for protection,
                                                                              3    care, and assistance to the people of the state in need thereof, and to promote the
                                                                              4    welfare and happiness of all of the people of the state by providing appropriate
                                                                              5    aid and services to all of its needy and distressed.” Cal. Welf. & Inst. Code
                                                                              6    §10000. Yet the “incompetent, poor, [and] indigent persons” are not being
                                                                              7    relieved and supported, nor is “protection, care, and assistance” being given to
                                                                              8    those who desperately need it. The result is readily observable: squalor,
                                                                              9    lawlessness, disease, and death.
                                                                              10   I.    Crucial Funds That Could Alleviate This Man-Made Disaster Are
                                                                              11         Used In a Manner Unable to Achieve the Ostensible Goal
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                                                                              12         60.    The challenges presented by the homelessness crisis persist despite
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                                                                              13   massive expenditures of taxpayer dollars. For the 2019/2020 fiscal year, the City
                                                                              14   of Los Angeles has approved a $10 billion budget that includes approximately
                                                                              15   $176 million in homeless assistance (including $85 million in HEAP grants from
                                                                              16   the state), roughly 1.7 percent of the budget. 76 This doesn’t include money
                                                                              17   received and allocated pursuant to Proposition HHH. This also doesn’t include
                                                                              18   the portions of the various department budgets dedicated to homelessness (such
                                                                              19   as police and fire response), estimated in 2015 to be over $100 million—and the
                                                                              20   number of unsheltered homeless Angelenos has nearly doubled in that time, from
                                                                              21   14,968 to 27,221.77
                                                                              22         61.    In 2016, City residents voted overwhelmingly to increase their
                                                                              23   property taxes and issue general obligation bonds to generate a total of $1.2
                                                                              24
                                                                                         76
                                                                                            City of Los Angeles, Budget Summary (2019-2020),
                                                                              25   http://cao.lacity.org/budget19-20/2019-20Budget_Summary.pdf.
                                                                              26         77
                                                                                            Los Angeles Almanac, Homelessness in Los Angeles County 2019
                                                                                   (2019), http://www.laalmanac.com/social/so14.php; Office of the City
                                                                              27   Administrative Officer, Miguel A. Santana, Homelessness and the City of Los
                                                                                   Angeles (Apr. 16, 2015), https://clkrep.lacity.org/onlinedocs/2015/15-
                                                                              28   0211_rpt_CAO_04-21-2015.pdf.

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                                                                              1    billion over a ten-year period with the claimed goal of building 10,000 units of
                                                                              2    Permanent Supportive Housing (“PSH”). 78 The City of Los Angeles has now
                                                                              3    allocated nearly all of that $1.2 billion, for a slated total of “5,873 supportive
                                                                              4    units for homeless residents and another 1,767 affordable units” presumably for
                                                                              5    low-income (but not yet homeless) persons. 79 While permanent housing is
                                                                              6    certainly a valuable piece of the puzzle, the median cost of HHH housing is now
                                                                              7    an astonishing $531,000 per unit, greater than many market-rate homes for sale in
                                                                              8    Los Angeles County. “An unusually high 35 to 40 percent of costs are so-called
                                                                              9    ‘soft costs’ (development fees, consultants, financing, etc.) compared to just 11
                                                                              10   percent for actual land costs.” 80 Part of the high cost is due to the “elongated
                                                                              11   approval and construction timelines”—three to six years—which is “plainly out
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                                                                              12   of step with the City’s urgent need to bring tens of thousands of people off the
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                                                                              13   streets and into housing.” 81 The purpose of HHH was to provide a significant
                                                                              14   solution to address the increasing homelessness crisis. Yet for less than a quarter
                                                                              15   of the $1.2 billion price tag, the City of Los Angeles could provide a bed for
                                                                              16
                                                                              17         78
                                                                                              The Proposition HHH ballot described it thus:
                                                                              18                To provide safe, clean affordable housing for the homeless and
                                                                                         for those in danger of becoming homeless, such as battered women
                                                                              19         and their children, veterans, seniors, foster youth, and the disabled;
                                                                                         and provide facilities to increase access to mental health care, drug
                                                                              20         and alcohol treatment, and other services; shall the City of Los
                                                                                         Angeles issue $1,200,000,000 in general obligation bonds, with
                                                                              21         citizen oversight and annual financial audits?
                                                                              22   City of Los Angeles, City Clerk, Voter Information Pamphlet at 7 (Nov. 8,
                                                                                   2016),
                                                                              23   http://clerk.cityofla.acsitefactory.com/sites/g/files/wph606/f/2016%20Nove
                                                                                   mber%20County%20WEB_English.pdf.
                                                                              24
                                                                                         79
                                                                                           Ron Galperin, LA Controller, High Cost of Homeless Housing: Review
                                                                              25   of Proposition HHH, (Oct. 8, 2019), https://lacontroller.org/wp-
                                                                                   content/uploads/2019/10/The-High-Cost-of-Homeless-Housing_Review-of-Prop-
                                                                              26   HHH_10.8.19.pdf.
                                                                              27         80
                                                                                              Id.
                                                                              28         81
                                                                                              Id.

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                                                                                                                      COMPLAINT
                                                                                                                                                                         ER 666
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                                                                              1    every unsheltered Angeleno. 82 Instead, year after year, the point-in-time count
                                                                              2    has increased and to date, over three years since Proposition HHH was passed,
                                                                              3    only 46 PSH units have been opened. In focusing almost exclusively on PSH, a
                                                                              4    solution which is laudable but alone takes too long, is too expensive, and
                                                                              5    provides less than 20 percent of the beds actually needed, the City has wasted its
                                                                              6    best opportunity to address this crisis and failed to accomplish its stated goal as
                                                                              7    promised to the voters in 2016.
                                                                              8          62.    While most of the HHH money has been committed (though many
                                                                              9    have not even broken ground yet), there have been several opportunities to pivot
                                                                              10   strategies and claw-back some of the funding. For example, on December 10,
                                                                              11   2019 City Council voted to give an extension to several developers who have
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                                                                              12   missed deadlines. 83 That extension represented $225 Million that could have
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                                                                              13   been pulled back from Permanent Supportive Housing and used to provide
                                                                              14   shelter approximately 20,000 homeless individuals. As it is, these projects only
                                                                              15   fund 410 units, of which 284 are for supportive housing for chronic homeless
                                                                              16   and 126 for low-income families.
                                                                              17         63.    Another significant source of waste is found in the City’s
                                                                              18   encampment clean-up strategy. In July 2019 the City Council approved an
                                                                              19   increase of $6.45 million on top of $26.5 million already in the budget for both
                                                                              20   noticed and “rapid response” clean-ups consisting of Sanitation workers and
                                                                              21   LAPD Officers responding to particular areas of homeless encampments, having
                                                                              22
                                                                                         82
                                                                                            HHH is funded using General Obligation (G.O.) bonds, which are
                                                                              23   limited by the California Constitution to fund “the acquisition or improvement of
                                                                                   real property.” Cal. Const. art. 13A § 1(b)(2). The phrase “acquisition or
                                                                              24   improvement of real property” is not defined by legal authority. There are many
                                                                                   options presented herein which could easily fall within this category, including
                                                                              25   tiny home structures, 3D printed homes, or modification of existing structures
                                                                                   such as the abandoned L.A. County hospital.
                                                                              26
                                                                                         83
                                                                                            City of Los Angeles, City Clerk, LACityClerk Connect, Council File: 17-
                                                                              27   0090-S2,
                                                                                   https://cityclerk.lacity.org/lacityclerkconnect/index.cfm?fa=ccfi.viewrecord&cfn
                                                                              28   umber=17-0090-S2 (last visited Mar. 9, 2020).

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                                                                              1    camp residents move their property, process what is left (dumping literally
                                                                              2    thousands of tons of needles and toxic waste yearly), and then permitting the
                                                                              3    same encampments to return to the same location. 84 The cycle repeats itself with
                                                                              4    no ultimate change or real net positive benefit for the campers or society. As one
                                                                              5    person noted about the plan: “This, while well-intentioned, is housekeeping
                                                                              6    service for encampments.” 85 Mayor Garcetti apparently agrees this program is a
                                                                              7    waste: “We can’t sweep or move homelessness away. . . We’re not going to wash
                                                                              8    down sidewalks one day, only to see an encampment return the next, and people
                                                                              9    not helped. It doesn’t get any single person off the street with that strategy.” 86
                                                                              10         64.    The County also faces tough questions about its management of
                                                                              11   homelessness-related funds. This fiscal year, the County passed a $36.1 billion
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                              12   budget for this fiscal year, which includes $532.8 million raised by Measure H
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                                                                              13   dedicated to addressing homelessness. Measure H was described as a tax voted
                                                                              14   for county residents in 2017 to “fund mental health, substance abuse treatment,
                                                                              15   health care, education, job training, rental subsidies, emergency and affordable
                                                                              16   housing, transportation, outreach, prevention, and supportive services for
                                                                              17   homeless children, families, foster youth, veterans, battered women, seniors,
                                                                              18   disabled individuals, and other homeless adults.” 87 This amount is wholly
                                                                              19
                                                                              20         84
                                                                                          City of Los Angeles, Mayor Eric Garcetti, Mayor Garcetti Announces
                                                                                   New Plan to Deploy New Sanitation Teams, Deliver Services to Homeless
                                                                              21   Encampments (June 19, 2019), https://www.lamayor.org/mayor-garcetti-
                                                                                   announces-new-plan-deploy-new-sanitation-teams-deliver-services-homeless-
                                                                              22   encampments.
                                                                              23         85
                                                                                            Emily Alpert Reyes, L.A. could overhaul how homeless encampments
                                                                                   are cleaned, Los Angeles Times (June 19, 2019, 3:00 AM),
                                                                              24   https://www.latimes.com/local/lanow/la-me-ln-homeless-encampment-cleanup-
                                                                                   dumping-bathrooms-trash-20190619-story.html.
                                                                              25
                                                                                         86
                                                                                          Aaron Schrank, LA seeks permanent solution to homeless encampments,
                                                                              26   Marketplace (Apr. 26, 2018), https://www.marketplace.org/2018/04/26/la-seeks-
                                                                                   permanent-solution-homeless-encampments/.
                                                                              27
                                                                                         87
                                                                                           County of Los Angeles, LA County budget process concludes with
                                                                              28   adoption of $36.1 billion supplemental budget (2019-2020),

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                                                                              1    separate from, and in addition to, the significant percentage of County funds
                                                                              2    allotted to departments to address issues of homelessness, including those housed
                                                                              3    and treated in County jails, emergency treatment and transport, Department of
                                                                              4    Mental Health, LA County Fire Department, medical treatment through various
                                                                              5    hospitals and treatment centers, and criminal prosecution and defense costs, not
                                                                              6    to mention funding General Relief and other myriad social services.
                                                                              7           65.       Measure H has generated a significant amount of money, yet a
                                                                              8    substantial portion of these funds are wasted through a failure to spend the funds.
                                                                              9    In the 2017/2018 fiscal year, $258,937,000 was allocated for homeless services
                                                                              10   under Measure H and astonishingly $86,727,737 was left unspent at the end of
                                                                              11   the year. For the 2018/2019 fiscal year the County of Los Angeles allocated
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                                                                              12   $412,241,000 for homeless services through Measure H; $39,323,000 remained
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                                                                              13   unused. 88 In this time of critical emergency, for any funds to be left unspent is a
                                                                              14   tragedy. Moreover, there is little indication that the funds spent have actually
                                                                              15   reduced the homelessness crisis. The problem is outpacing the solution, and the
                                                                              16   goal of Measure H—reducing and preventing homelessness—remains largely
                                                                              17   unrealized. 89
                                                                              18
                                                                              19
                                                                              20   https://lacounty.gov/budget/; Los Angeles County, California, Sales Tax for
                                                                                   Homeless Services and Prevention, Measure H, Ballotpedia.org (March 2017),
                                                                              21   https://ballotpedia.org/Los_Angeles_County,_California,_Sales_Tax_for_Homel
                                                                                   ess_Services_and_Prevention,_Measure_H_(March_2017).
                                                                              22
                                                                                          88
                                                                                           County of Los Angeles, FY 2018-2019 Actuals Measure H Expenditures
                                                                              23   (Aug. 30, 2019), http://file.lacounty.gov/SDSInter/lac/1060405_COAB-
                                                                                   MeasureH18-19Expenditures.pdf.
                                                                              24
                                                                                          89
                                                                                             County of Los Angeles, County develops action plan for homelessness
                                                                              25   prevention (Dec. 16, 2019), https://homeless.lacounty.gov/news/county-
                                                                                   develops-action-plan-for-homelessness-prevention/ (approximately 133 people
                                                                              26   per day are finding some sort of housing, while an estimate 150 people per day
                                                                                   are entering homelessness); Erika D. Smith, In 2019, homelessness truly felt like
                                                                              27   a crisis in every corner of L.A., Los Angeles Times (Dec. 20, 2019, 3:00 AM),
                                                                                   https://www.latimes.com/california/story/2019-12-10/homeless-housing-crisis-
                                                                              28   los-angeles.

                                                                                                                          36
                                                                                                                       COMPLAINT
                                                                                                                                                                          ER 669
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 721 of 1079


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                                                                               1         66.    In addition, the County has failed to meet its statutory obligation to
                                                                               2   provide appropriate mental health services. A healthy community will have 50
                                                                               3   IMD (Institute for Mental Disease) beds per 100,000 people; Los Angeles only
                                                                               4   has 23. 90 Courts are reticent to declare a person conserved because there’s
                                                                               5   nowhere for them to go, and the system designed to address these issues is
                                                                               6   massively overburdened. As of 2019 the County had almost $1 billion in funds
                                                                               7   allocated to it through the Mental Health Services Act, and while there has been
                                                                               8   some discussion about what to do with these funds, to date no reported
                                                                               9   expenditure has been made. 91 The County points to the state’s antiquated and
                                                                              10   restrictive conservatorship laws and the Federal government’s refusal to permit
                                                                              11   Medicaid finances for IMD beds, both of which do need to be addressed. Yet
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                              12   even under the existing scheme, local courts could conserve many severely
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                                                                              13   mentally ill persons were there sufficient beds available. The blame for
                                                                              14   insufficient placement rests squarely on the County’s shoulders. And people
                                                                              15   suffering from very serious mental diseases decline living on the street instead,
                                                                              16   many of whom pay the ultimate price. 92
                                                                              17         67.    Both the County and City have hundreds of millions of dollars in
                                                                              18   emergency funds to be used for disaster relief. This homelessness crisis is
                                                                              19
                                                                              20
                                                                              21         90
                                                                                            E. Fuller Torrey, M.D., Kurt Entsminger, J.D., et al., The Shortage of
                                                                                   Public Hospital Beds for Mentally Ill Persons: A Report of the Treatment
                                                                              22   Advocacy Center, Mental Illness Policy.org (2004-2005),
                                                                                   https://mentalillnesspolicy.org/imd/shortage-hospital-beds.html.
                                                                              23
                                                                                         91
                                                                                            Thomas Curwen, With an epidemic of mental illness on the streets,
                                                                              24   counties struggle to spend huge cash reserves, Los Angeles Times (Aug. 19,
                                                                                   2018, 5:00 AM), https://www.latimes.com/local/california/la-me-mhsa-unspent-
                                                                              25   balance-20180819-story.html.
                                                                              26         92
                                                                                            Dennis McDougal, Op-Ed: My daughter was murdered, but it was
                                                                                   misguided mental health laws that put her in danger, Los Angeles Times (Jan.
                                                                              27   26, 2020, 3:00 AM), https://www.latimes.com/opinion/story/2020-01-26/i-hope-
                                                                                   police-catch-my-daughters-killer-but-i-know-her-mental-illness-also-played-a-
                                                                              28   role-in-her-death.

                                                                                                                        37
                                                                                                                     COMPLAINT
                                                                                                                                                                         ER 670
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 722 of 1079


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                                                                              1    nothing short of a disaster, with thousands of casualties and massive collateral
                                                                              2    consequences, yet emergency funds remain untapped.
                                                                              3          68.    Together, the County and City fund LAHSA, which has been totally
                                                                              4    ineffective at stemming the growing tide of homelessness. Among LAHSA’s
                                                                              5    shortcomings is the failure to move people up and out from emergency shelters
                                                                              6    and bridge shelters to permanent housing. One woman at the Downtown
                                                                              7    Women’s Center has been there for five years as she waits for housing;
                                                                              8    unfortunately those deemed “sickest” get priority for housing and women like her
                                                                              9    who are more capable of caring for themselves get pushed down the list. The
                                                                              10   agency has been so disorganized, it apparently just discovered 3,000 units they
                                                                              11   “didn’t know about” in their system. 93
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                              12         69.    Solutions exist that would meet the articulated program goals in a
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                                                                              13   time- and cost-effective manner, including Sprung structures (already being used
                                                                              14   in many places in Los Angeles), military-grade inflatable tents (being utilized in
                                                                              15   Honolulu), pallet shelters (being used in Sacramento), and festival tents (utilized
                                                                              16   in Modesto), discussed in para. 13 supra. Board and care facilities could be
                                                                              17   utilized as bridge shelters. The City of Seattle has created small “villages” of
                                                                              18   tiny houses which don’t require a lot of property (6,000 to 30,000 square feet)
                                                                              19   and can be built in a matter of months, with building cost of $1,500-$7,500 per
                                                                              20   unit (depending on utility connections) and run on an annual budget of $3,000-
                                                                              21   $7,000 depending on services provided. 94 Hundreds of smaller properties
                                                                              22
                                                                              23
                                                                              24
                                                                              25
                                                                                         93
                                                                                            Elijah Chiland, Agency responsible for housing LA’s homeless
                                                                              26   discoverys 3,000 units it ‘didn’t know about, Curbed Los Angeles (Feb. 20,
                                                                                   2020), https://la.curbed.com/2020/2/20/21145578/lahsa-units-homeless-housing.
                                                                              27
                                                                                         94
                                                                                            Lee, supra note 18, https://shelterforce.org/2019/03/15/tiny-house-
                                                                              28   villages-in-seattle-an-efficient-response-to-our-homelessness-crisis/.

                                                                                                                        38
                                                                                                                     COMPLAINT
                                                                                                                                                                         ER 671
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 723 of 1079


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                                                                              1    throughout the City and County of Los Angeles fit the bill and could be utilized
                                                                              2    in a large-scale way to provide an “enhanced shelter” option. 95
                                                                              3          70.    One of the most promising solutions to this crisis already exists in
                                                                              4    the form of collaborative housing, yet LAHSA refuses to refer homeless persons
                                                                              5    to the program, calling it “undignified” because it houses two to a room (like
                                                                              6    college dormitories or sober living facilities), and doesn’t permit alcohol and
                                                                              7    drug use within the houses (even though LAHSA purports to encourage a life
                                                                              8    style of recovery). 96 SHARE! collaborative housing provides affordable
                                                                              9    permanent supportive housing in single-family houses and duplexes throughout
                                                                              10   Los Angeles County. It utilizes a shared housing model, wherein existing single
                                                                              11   family homes are purchased or leased, or new homes or duplexes are constructed,
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                                                                              12   the home is furnished with low-cost basic furniture, and persons are housed two-
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                                                                              13   to-a-room forming a sense of community and kinship, and supported by peer
                                                                              14   advocate counselors. Residents pay rent averaging $600 per month (sufficiently
                                                                              15   low that it is covered SSI, SSDI, or low wage jobs with enough left over for food
                                                                              16   and other basics of life); no security deposit is required and all bedding, cleaning
                                                                              17   supplies, and utilities are provided. It costs roughly $4,000 per person to get
                                                                              18   started, and thereafter is self-sustaining; no infrastructure is required as it relies
                                                                              19   on existing homes for sale or rent (over 30,000 currently listed in the County). A
                                                                              20   proposal was made to the LA City Council in October of 2017 to house and
                                                                              21
                                                                                         95
                                                                                           Examples cited in one private study include 3.6 acres of empty, county-
                                                                              22   owned property located at Soto and E. Cesar Chavez, 13.5 acres of underutilized
                                                                                   county-owned property located at Adams and Grand, 1.3 acres of empty state-
                                                                              23   owned property at 1616 Maple Ave, 20,000 square feet of City-owned property at
                                                                                   5800 S. Figueroa Street, a 15,000 square foot empty lot located at 2301 San
                                                                              24   Pedro Street, 1.4 acres of unoccupied city-owned property at 4521 Browne Ave.,
                                                                                   a combined 3 acres of city and county owned property at Alpine and Spring in
                                                                              25   Chinatown, 2.7 acres of city-owned property at 9413 S. Spring, and 8 useable
                                                                                   acres adjacent to Hope Gardens Family Center in Sylmar which is unable to
                                                                              26   expand due to conditional use permits.
                                                                              27         96
                                                                                           Share!, History & Vision, https://shareselfhelp.org/about-share-the-self-
                                                                                   help-and-recovery-exchange/history-vision-share-the-self-help-and-recovery-
                                                                              28   exchange/ (last visited Mar. 9, 2020).

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                                                                                                                       COMPLAINT
                                                                                                                                                                            ER 672
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                                                                              1    provide peer services to 2,000 people for the minimal cost of $8 million. This
                                                                              2    evidence based, housing-first program for chronically and other homeless
                                                                              3    individuals with proven outcomes of success has yet to be funded.
                                                                              4              71.   Another promising option is 3D-printed homes, currently being built
                                                                              5    in Austin, Texas and Tabasco, Mexico, which come in various square foot
                                                                              6    models (400-800 square feet), cost around $4,000 per unit, and take only 24
                                                                              7    hours to build. 97 The company that innovated this model is willing to sell their
                                                                              8    upgraded printer, the Vulcan II, which would expedite building and potentially
                                                                              9    reduce costs. More land is needed than some of the more temporary options
                                                                              10   described supra, and several hundred acres of land are available in less populated
                                                                              11   areas of the City and County. When paired with wrap-around services, and
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                                                                              12   transportation to facilitate job accessibility, the County and City could develop
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                                                                              13   nearly self-sustaining communities that have been successful in other cities. 98
                                                                              14             72.   Utilizing any of the options described in the preceding paragraphs,
                                                                              15   or a combination, in a large-scale manner would be an effective way of spending
                                                                              16   taxpayer funds that would actually accomplish the goals identified by the
                                                                              17   programs. Yet still the City focuses on funding exorbitantly expensive PSH units
                                                                              18   and wasting taxpayer dollars on “housekeeping services” for encampments,
                                                                              19   neither of which are addressing the immediate crisis on the ground. And the
                                                                              20   County spends massive amounts on a host of programs that, while positive, lack
                                                                              21   focus and fail to solve the most pressing problems presented by the homelessness
                                                                              22   crisis.
                                                                              23   J.        Neither City nor County Has Proffered Workable Holistic Solutions
                                                                              24
                                                                                            Jayson, supra note 21, https://www.washingtonpost.com/realestate/3d-
                                                                                             97

                                                                              25   printed-homes-a-concept-turns-into-something-solid/2020/03/05/61c8b0d2-36e4-
                                                                                   11ea-bf30-ad313e4ec754_story.html; Aria Bendix, supra note 21,
                                                                              26   https://www.businessinsider.com/3d-homes-that-take-24-hours-and-less-than-
                                                                                   4000-to-print-2018-9.
                                                                              27
                                                                                            Mobile Loaves & Fishes, Community First! Village,
                                                                                             98

                                                                              28   https://mlf.org/community-first/ (last visited Mar. 9, 2020).

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                                                                                                                       COMPLAINT
                                                                                                                                                                         ER 673
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                                                                              1              73.   While the City and County have made efforts to address this crisis,
                                                                              2    they are at best scattered and neither has developed comprehensive plans to solve
                                                                              3    it. The new County mapping tool shows a total of 4,506 interim housing units
                                                                              4    coming online in the next two years (which includes beds within the City of Los
                                                                              5    Angeles and other locations), and 9,960 supportive housing units in the
                                                                              6    “pipeline” (the majority of which are funded through HHH and will not be ready
                                                                              7    for another several years). 99 That is less than 15,000 new beds becoming
                                                                              8    available when there are more than 44,000 people in the County without a safe
                                                                              9    place to sleep on a nightly basis, and many of those beds that are planned won’t
                                                                              10   be available for years.
                                                                              11             74.   Plaintiffs do not suggest the City and County are doing nothing; the
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                                                                              12   amount of effort and resources that have been devoted to addressing this issue is
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                                                                              13   considerable and admirable. But the actual result is an astonishing lack of
                                                                              14   progress in addressing the crisis, and continued expansion of the crisis despite
                                                                              15   such efforts and resources.
                                                                              16             75.   Without beds to offer, the City and County’s efforts are stymied and
                                                                              17   destined to fail under Martin v. City of Boise. And so the crisis continues and
                                                                              18   accelerates, with little hope of a City- or County-driven solution. Because of the
                                                                              19   painful results of current policies, and because of the lack of political and
                                                                              20   bureaucratic will to undertake effective and proven means to combat it, the
                                                                              21   Plaintiffs and the entire City and County are suffering under the weight of an
                                                                              22   urgent crisis. Plaintiffs are left with no choice but to resort to the Courts for
                                                                              23   relief.
                                                                              24
                                                                              25
                                                                              26
                                                                                             99
                                                                                             County of Los Angeles, Los Angeles County Homelessness & Housing
                                                                              27   Map: A Data Driven GIS Map of Interim and Supportive Housing (Dec. 12,
                                                                                   2019),
                                                                              28   https://storymaps.arcgis.com/stories/400d7b75f18747c4ae1ad22d662781a3.

                                                                                                                          41
                                                                                                                       COMPLAINT
                                                                                                                                                                          ER 674
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 726 of 1079


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                                                                              1                              IV.     THE PARTIES
                                                                              2                   PLAINTIFFS AND INDIVIDUALIZED HARMS
                                                                              3          76.    LA ALLIANCE FOR HUMAN RIGHTS (the “Alliance”) is an
                                                                              4    unincorporated association consisting of a broad coalition of Los Angeles
                                                                              5    stakeholders who understand that homelessness in LA is a human rights crisis
                                                                              6    and are working towards solutions to address the crisis and its related impact on
                                                                              7    health and safety issues throughout the region. Each of its members is a resident
                                                                              8    of Los Angeles City and Los Angeles County, and pays municipal taxes to each.
                                                                              9    All individual plaintiffs herein are members of the Alliance. Additionally, the
                                                                              10   following individuals are representative of the membership:
                                                                              11                a.     BOB SMILAND is the President and chief executive officer
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                              12   of Inner-City Arts—a non-profit organization dedicated to providing elementary,
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                                                                              13   middle, and high school students instruction in a range of subject areas within the
                                                                              14   visual, performing, and media arts. The organization serves almost 10,000
                                                                              15   students per year and is open 6 days a week from 7:30 a.m. to 9:30 p.m. As the
                                                                              16   CEO and President, he is directly responsible for the safety of the students and
                                                                              17   staff. He both lives and works in the Skid Row area. The increase in squalor,
                                                                              18   disease, and violence over the last several years has threatened not only his
                                                                              19   personal well-being, but that of his co-workers, and the hundreds of students he
                                                                              20   works with on a daily basis.
                                                                              21         Mr. Smiland’s apartment building, which houses 53 residents, experiences
                                                                              22   at least one break-in a week, and neither he nor his visitors can safely leave their
                                                                              23   cars parked on the street overnight, as cars left overnight are frequently
                                                                              24   vandalized. Ambulances appear at all times of the day and night outside the
                                                                              25   building, and the last two years have brought an increase of gun shots, and other
                                                                              26   violent noises in the area.
                                                                              27         The explosion in in the number of tents, people, and personal belongings
                                                                              28   stored on the sidewalks in the area creates regular blockades, preventing Inner-

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                                                                                                                                                                          ER 675
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                                                                              1    City Arts staff and students from walking to the school. Because of this
                                                                              2    blockade, those staff members that rely on the 7th and San Pedro bus stop,
                                                                              3    roughly 6 blocks away, are forced to walk in the street the entire way. Staff
                                                                              4    members no longer walk to work out of fear that they will be attacked. It is no
                                                                              5    longer safe for students to walk between their schools alone—they must be
                                                                              6    escorted by staff members of the Central City East Association. Mr. Smiland—
                                                                              7    an imposing man at 6 feet, 5 inches—does not feel safe walking the 40 yards
                                                                              8    from the school to the post office during the day. Each time he makes this walk,
                                                                              9    he is confronted by multiple people whose conduct poses a threat to his safety.
                                                                              10         Inner-City Arts has experienced a sharp increase in vandalization. Graffiti,
                                                                              11   once a rare occurrence, appears weekly on the organization’s buildings. There
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                                                                              12   has also been a sharp rise in break-ins to the campus over the past year. These
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                                                                              13   break-ins are a major safety concern for the school, its staff, and its students.
                                                                              14   Because of the increased danger, violence, and vandalization, the school’s
                                                                              15   security costs have risen from minimal to over $80,000 per year. The school has
                                                                              16   also been forced to install a fence for protection, a large capital expense that
                                                                              17   impedes the carefully designed architectural aesthetic of the property. These
                                                                              18   expenses have diverted resources away from the core work of the organization.
                                                                              19         As someone who both lives and works within the Skid Row area, Mr.
                                                                              20   Smiland has been treated differently than other similarly situated individuals
                                                                              21   living and working outside of this area. He is subjected to violence, garbage,
                                                                              22   narcotics use, offensive odors and sounds, forced to walk in the middle of the
                                                                              23   street, and lacks police enforcement of the laws protecting his safety and security,
                                                                              24   different from individuals living and working outside of this geographic area and
                                                                              25   not subject to these same conditions at the same rate. This unfair, unequal
                                                                              26   treatment funnels these problems into the area where he lives and works,
                                                                              27   increasing the homeless population density and exacerbating existing problems.
                                                                              28

                                                                                                                         43
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                                                                                                                                                                       ER 676
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                                                                              1                  b.    DONALD SHAW has lived in or near Skid Row for the last
                                                                              2    25 years. He was in and out of jail for much of that time but has been free, clean
                                                                              3    and sober since 2013. He is now the residential manager of security at the
                                                                              4    Midnight Mission (the “Mission”), located at 601 San Pedro Street, in the heart
                                                                              5    of Skid Row, where he lives and oversees a one-year drug and alcohol program
                                                                              6    that helps 150 men get clean each year. While working as the assistant manager,
                                                                              7    he became the liaison between the Mission and the Los Angeles Police
                                                                              8    Department (“LAPD”). He represented the Mission at all LAPD meetings. In
                                                                              9    attending these meetings, he began to understand the challenges the LAPD has in
                                                                              10   the Skid Row area, and he informed the LAPD how concerned the Mission’s
                                                                              11   security team was about the hazards personal property created outside the
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                                                                              12   Mission. He also asked LAPD officers multiple times if they could help get
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                                                                              13   people to move their possessions off the Mission’s walls or keep their property
                                                                              14   from blocking entrances. The officers seemed sympathetic to his plight but
                                                                              15   explained there was nothing the LAPD could or is allowed to do to alleviate such
                                                                              16   conditions.
                                                                              17         When he walks to work, he is forced to walk in the street due to the
                                                                              18   blocked sidewalks, and as a result, he was nearly hit twice by passing cars. He
                                                                              19   has also witnessed and experienced the significant increase in drugs and violence
                                                                              20   in the Skid Row over the last several years arising out of the increase in
                                                                              21   unsheltered homeless persons living in encampments on the sidewalks in the
                                                                              22   area. The conditions surround Mr. Shaw and those at the Mission is such that
                                                                              23   going out at night is too big a risk, so he doesn’t.
                                                                              24                 c.    GALVESTER GAULDING has struggled with drug and
                                                                              25   alcohol abuse for the past 20 years, and in 2005 became homeless and ended up
                                                                              26   in jail due to drug-related issues. From 2007 to 2008, he lived in a halfway
                                                                              27   house, and, during this time, started attending meetings and battling his addiction,
                                                                              28   constantly alternating between rehab and the hospital. Mr. Gaulding suffers from

                                                                                                                         44
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                                                                                                                                                                        ER 677
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 729 of 1079


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                                                                              1    both mental and physical health issues, including bipolar disorder, severe
                                                                              2    depression, and hypertension. The time he spent without regular shelter
                                                                              3    exacerbated those issues: he rarely was able to sleep more than a few hours at a
                                                                              4    time, he was exposed to the heat in summer and the cold and rain in winter. He
                                                                              5    took illegal drugs to self-medicate, both for his mental health issues and to cope
                                                                              6    with the stress of living on the streets; the narcotics further intensified his chronic
                                                                              7    illnesses. It wasn’t until he finally entered the Union Rescue Mission
                                                                              8    approximately two years ago that he began to heal: he was able to sleep without
                                                                              9    fear of attack or exposure to the elements and began to take his medication
                                                                              10   regularly. But he will never be the same.
                                                                              11         When he arrived at the Mission, he was told that if he finished the one-year
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                              12   drug and alcohol program, they would give him the resources he needed to find a
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                                                                              13   place to live. He was successful and received a Section 8 voucher for permanent
                                                                              14   housing. But the only available housing was on Skid Row, which is rife with
                                                                              15   conditions threaten his sobriety and safety. He was terrified to take the offered
                                                                              16   housing on Skid Row and waited an extra year until he was finally able to find
                                                                              17   housing out of the area. He received his keys and moved in three weeks ago.
                                                                              18         In the last two years while living in Skid Row, he was physically attacked,
                                                                              19   witnessed multiple stabbings, and saw multiple dead bodies. As a former addict
                                                                              20   who has struggled with this disease for his entire life, he it was nearly impossible
                                                                              21   to stay clean on Skid Row; he mostly chose to avoid going outside at all because
                                                                              22   the moment he did, someone offered him drugs.
                                                                              23                d.     KYLE HARPT is formerly homeless and on July 5, 2016, he
                                                                              24   enrolled in a program at the Mission. He came to the Mission because of the
                                                                              25   facilities and the programs it offered and stayed at the Mission for a year and a
                                                                              26   half. He has remained sober since then. After graduating from the Mission, he
                                                                              27   moved to 5th and Main Street, adjacent to Skid Row. He began to see the dire
                                                                              28   circumstances afflicting Skid Row on a daily basis, and was fearful of the

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                                                                              1    increase in violence, unchecked drug use, and exploding sanitation and disease
                                                                              2    problems that continue to plague the area. Concerned for his health, he got
                                                                              3    various vaccinations, including the vaccine for Hepatitis A.
                                                                              4          Mr. Harpt has observed people openly using drugs on the street and the
                                                                              5    prevalent absence of police enforcement. Walking down the street, he has seen
                                                                              6    people smoking meth out of glass pipes or smoking crack, and he is regularly
                                                                              7    accosted by individuals offering to sell him drugs. Mr. Harpt observed no effort
                                                                              8    by city officials, including the police, to stem this flagrant use of drugs.
                                                                              9          From 2016-2019 he worked at the Mission doing data base work. To
                                                                              10   avoid dangerous areas and altercations in Skid Row, Mr. Harpt used a set path
                                                                              11   well out of his way to get to and from work. A couple years ago, he was robbed
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                                                                              12   outside of his house in broad daylight—the offender pulled a knife and stole his
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                                                                              13   bicycle. This incident and the violent altercations he observed on the streets of
                                                                              14   Skid Row caused Mr. Harpt to fear for his own safety. In late 2019 Mr. Harpt
                                                                              15   changed jobs and left the area; he would like to return to downtown if conditions
                                                                              16   change for the better.
                                                                              17                e.     MARK SHINBANE is the President and part-owner of Ore-
                                                                              18   Cal Corporation which is a family-owned business in the Skid Row area. He has
                                                                              19   also been the Chairman of Central City East Association (CCEA) for several
                                                                              20   years. Ore-Cal Corporation is an international seafood importer, processor, and
                                                                              21   distributor. It is a second-generation family-owned-business and they have
                                                                              22   owned property in the general area since 1961. Ore-Cal has been located on 634
                                                                              23   Crocker Street since 1971. Four years ago, Crocker Street and other streets in
                                                                              24   that vicinity—such as 6th Street, 7th Street and Towne Avenue—were free of
                                                                              25   encampments. Mr. Shinbane recalls small homeless encampments west of San
                                                                              26   Pedro Street on San Julian Street and Wall Street in the past, but personal
                                                                              27   possessions were generally kept contained, crime was generally addressed, and
                                                                              28   the sidewalks were usable.

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                                                                              1          In 2016, immediately after the injunction issued in Mitchell v. City of Los
                                                                              2    Angeles, Crocker Street, the neighborhood surrounding Ore-Cal became a haven
                                                                              3    for homeless individuals. The streets rapidly filled with tents and encampments,
                                                                              4    inundating the area, which coincided with an increase in violence and an inability
                                                                              5    to traverse the sidewalks. Individuals loiter at all times of the day, and the
                                                                              6    growing encampments block sidewalks, doorways, driveways, and streets. Mr.
                                                                              7    Shinbane regularly observes open drug use and people walking in a perpetual
                                                                              8    drug-induced state, and bodies lying on the sidewalks or doorways near his
                                                                              9    business. There has been an increase of used needles on the streets, sidewalks,
                                                                              10   and inside drains located on the business’ property.
                                                                              11         Mr. Shinbane’s conversations with LAPD Officers and Detectives in the
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                                                                              12   area indicate that gang members are supplying narcotics to homeless individuals
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                                                                              13   right outside of Ore-Cal. There has been an increase in violence with both
                                                                              14   homeless (as victims and perpetrators) and gang members. His employees and
                                                                              15   transportation drivers are frequently assaulted or threatened by homeless
                                                                              16   individuals. Illegal entry onto their property, car break-ins, and thefts are now a
                                                                              17   common occurrence.
                                                                              18         Ore-Cal and its employees are subject to an increased risk of fire because
                                                                              19   of the encampment fires that surround the property. This danger is made worse
                                                                              20   by the huge quantities of trash and debris that litter their street and surrounding
                                                                              21   neighborhood. The conditions on the street are worsening and there has been a
                                                                              22   significant increase in rats and vermin as well as urine and feces in their gutters
                                                                              23   and on their property. These conditions have made it extremely difficult for Mr.
                                                                              24   Shinbane to hire new workers, and his company has lost many well qualified
                                                                              25   candidates due to the unpleasant neighborhood and environment—at least 10
                                                                              26   candidates for administrative or managerial roles declined an offer because of
                                                                              27   concern for their safety or the conditions in the area. Approximately 25 to 40
                                                                              28

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                                                                              1    percent of candidates decline offers or interviews based solely on the location.
                                                                              2    This never used to be the case.
                                                                              3          To combat some of the deteriorating conditions, Mr. Shinbane’s business
                                                                              4    has completely fenced its property to prevent individuals from camping on their
                                                                              5    grounds and to keep the used needles from being fed into their exterior drains
                                                                              6    from the rampant narcotics use. He was forced to replace roll up doors and add
                                                                              7    sections of fence due to individuals constantly urinating on them, a cost of
                                                                              8    $25,000.
                                                                              9          Ore-Cal has also had to significantly increase its exterior maintenance by
                                                                              10   washing and sanitizing the perimeter of their facility daily. In some cases, it is
                                                                              11   necessary to clean multiple times a day, in order to maintain cleanliness. He now
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                                                                              12   spends $15,000 a year—a new expense—on supplies and staff dedicated to
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                                                                              13   maintaining the perimeter and external areas of their facility.
                                                                              14         His company’s property has appeared in footage taken recently by a
                                                                              15   reporter for a local television affiliate that accurately captures the conditions in
                                                                              16   Skid Row. (See Chris Cristi, L.A.’s homeless: Aerial tour of Skid Row, epicenter
                                                                              17   of crisis, ABC7.com (June 13, 2019), https://abc7.com/society/las-homeless-
                                                                              18   aerial-tour-of-skid-row-epicenter-of-crisis/5344680/.) The video shows mounds
                                                                              19   of trash with tents, structures, and other property completely blocking sidewalks
                                                                              20   and spilling into the streets at the corner of 6th and Crocker, just yards away from
                                                                              21   the Ore-Cal building.
                                                                              22         Mr. Shinbane has observed no meaningful efforts by the City to address
                                                                              23   these issues and has noted a lack of law enforcement activity in the area
                                                                              24   surrounding his business despite the prevailing state of lawlessness.
                                                                              25                f.     LARRY RAUCH is the president of Los Angeles Cold
                                                                              26   Storage Company located at 400 South Central Avenue within the Skid Row
                                                                              27   area. Los Angeles Cold Storage is a public refrigerated warehouse that stores
                                                                              28   frozen and refrigerated foods for hundreds of customers. It is owned by Standard

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                                                                              1    Southern Corporation, which Mr. Rauch’s family owns. He has worked for Los
                                                                              2    Angeles Cold Storage for over 45 years.
                                                                              3          Mr. Rauch is one of the founding members of CCEA, has been Chairman
                                                                              4    twice and has also sat on the Finance and Executive Committees. He is also the
                                                                              5    past Chairman of both the International Association of Refrigerated Warehouses
                                                                              6    and the World Food Logistics Organization, both of which are international
                                                                              7    organizations representing his industry. He is a past Chairman of the Jewish
                                                                              8    Family Service, the oldest Jewish social service agency in Los Angeles. He is
                                                                              9    also a past Chairman of the Jewish Community Foundation.
                                                                              10         Over the past three years, there has been an explosion in the numbers of
                                                                              11   people living on the streets near Los Angeles Cold Storage. This rapid increase
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                                                                              12   in the population has resulted in dangerously unhealthy living conditions and a
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                                                                              13   sharp decrease in sanitation. With the increase in individuals has come an
                                                                              14   increase in personal property, trash, and human feces, all of which line the streets
                                                                              15   that he, his employees, and his customers depend on daily. Given the nature of
                                                                              16   their business, sanitation and health conditions in the immediate area surrounding
                                                                              17   the facility are a high priority for them.
                                                                              18         Los Angeles Cold Storage is inspected by a variety of government
                                                                              19   agencies including: the Food and Drug Administration (FDA), the United States
                                                                              20   Department of Agriculture (USDA), the United States Department of Commerce
                                                                              21   (USDC), the Los Angeles City Public Works (Sanitation), the Occupational and
                                                                              22   Safety Administration (CAL OSHA), the Los Angeles County Health
                                                                              23   Department (Environmental Health), the Los Angeles City Fire Department,
                                                                              24   departments: 1) Fire Safety and 2) CAL/ARP, Los Angeles County Fire
                                                                              25   Department (HAZMAT), the City of Los Angeles Public Works (Watershed
                                                                              26   Protection Division and Industrial Waste Management Division), and the State of
                                                                              27   California Department of Public Health (Food and Drug branch). Their ability to
                                                                              28   remain operational and profitable as a business depends on their compliance with

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                                                                              1    the rules and regulations of each of the organizations listed above. The increase
                                                                              2    in squalor, feces, and trash has required the company to wash their sidewalks
                                                                              3    down every morning before 6 a.m. to maintain the necessary certifications
                                                                              4    certification and ensure the employees and truck drivers do not bring the
                                                                              5    unsanitary conditions from the street into the warehouses or offices. Efforts to
                                                                              6    remain sanitary are made even more difficult by the rodent infestation on the
                                                                              7    nearby streets. Trash left out by those on the streets ensures that the rodents are
                                                                              8    well fed each day and continue to maintain a home on the streets, which in turn
                                                                              9    creates health risks for those living on the street and working and living in the
                                                                              10   area, including Los Angeles Cold Storage employees.
                                                                              11         Some Los Angeles Cold Storage customers require that the company be
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                                                                              12   audited and certified by the British Retail Consortium (“BRC”), a global safety
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                                                                              13   and sanitation program. While Los Angeles Cold Storage holds an AA
                                                                              14   certification, the highest possible level, with BRC, their customers expect them to
                                                                              15   maintain this high-level certification. The lack of sanitation, and accumulation of
                                                                              16   trash and human waste outside constantly poses an imminent risk of failing BRC
                                                                              17   audits, which would result in the loss of valuable customers.
                                                                              18         The company continues to incur significant additional security costs to
                                                                              19   protect their property and avoid graffiti, and has installed extra cameras and
                                                                              20   lighting to protect its buildings, as well as employing a security guard to escort
                                                                              21   employees to company vehicles and monitor the safety of the building throughout
                                                                              22   the night. Annual security costs for Los Angeles Cold Storage have skyrocketed
                                                                              23   by nearly 100 percent to a current level of $150,000.
                                                                              24         Los Angeles Cold Storage employees are often endangered on their
                                                                              25   commute to work. Because the sidewalks are often completely blocked with
                                                                              26   individuals, personal belongings, and tents, employees have been forced to walk
                                                                              27   in the middle of the street to access the parking lot. Employees have experienced
                                                                              28   harassment on multiple occasions in the forms of panhandling or individuals

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                                                                              1    exposing themselves. These panhandlers create even greater danger for those
                                                                              2    forced to walk in the street, because when they approach cars for money the cars
                                                                              3    swerve to avoid them. The number of individuals in the street causes a great
                                                                              4    danger to vehicles passing through, and for vehicles entering and leaving their
                                                                              5    facility.
                                                                              6           The high concentration of desperate people has led to an increase in
                                                                              7    violence in the area. Now, his employees must be escorted to and from their cars
                                                                              8    in order to avoid harassment. Employees have also experienced an increase in
                                                                              9    theft and physical damage done to their cars.
                                                                              10          Mr. Rauch’s daily observation of the human tragedy in Skid Row both
                                                                              11   saddens and frustrates him—he is sobered by the squalor in which unsheltered
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                                                                              12   individuals live, and irked by the inaction of the City in the face of this crisis.
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                                                                              13                g.     HAL BASTIAN, a commercial real estate professional in Los
                                                                              14   Angeles for 37 years, has been one of the leaders of the Downtown Los Angeles
                                                                              15   Renaissance for the last 26 years. He began working as a retail broker for
                                                                              16   Cushman & Wakefield in Downtown Los Angeles (“DTLA”) in 1994. He later
                                                                              17   transitioned to the role of leasing director for The Old Bank District—the first
                                                                              18   adaptive reuse project in downtown that converted historical office buildings into
                                                                              19   loft apartments. From 2001 to 2014, he served as the Director of Economic
                                                                              20   Development for the Downtown Center Business Improvement District
                                                                              21   (DCBID), and eventually, its Executive Vice President. During this time, Mr.
                                                                              22   Bastian facilitated the construction of over 22,000 housing units, leading tours
                                                                              23   and producing special events that recruited thousands of new residents and
                                                                              24   resulted in the construction of dozens of new commercial and mixed-used
                                                                              25   developments, and attracting over 300 new businesses to the downtown area,
                                                                              26   including Ralphs, Fresh Fare, Bottega Louie and Whole Foods Market. He lives
                                                                              27   in DTLA.
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                                                                              1          Mr. Bastian’s extensive experience in DTLA has made it clear to him that
                                                                              2    both action and inaction by the City has been a substantial contributing factor in
                                                                              3    the current homelessness crisis. In particular, the City’s response to a series of
                                                                              4    federal lawsuits has coincided with this crisis, which affects the homeless and
                                                                              5    housed alike, and he joins this lawsuit to bring about a substantial change in the
                                                                              6    deteriorating conditions of DTLA.
                                                                              7                 h.     LISA RICH owns several buildings in Skid Row, which she
                                                                              8    rents out to various businesses. Her family has been running the properties for
                                                                              9    over 40 years and has brought significant numbers of jobs to the area. Over the
                                                                              10   past several years, the number of homeless persons on the sidewalk in front of the
                                                                              11   buildings has dramatically increased, as has the amount of personal possessions.
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                                                                              12   Frequently, tents and belongings block the sidewalks for days at a time, bringing
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                                                                              13   with them refuse, criminal activity, and unhygienic conditions. At times, the
                                                                              14   buildup of property has physically prevented tenants and patrons from accessing
                                                                              15   the buildings. Tenants have complained and requested rent reductions due to the
                                                                              16   effect the homeless encampments are having on their business.
                                                                              17          Ms. Rich attempted twice to contact LAPD for assistance in moving the
                                                                              18   property, but received no help. When she asked why the LAPD had not moved
                                                                              19   homeless persons or their property, she was informed that there was nothing
                                                                              20   LAPD could do. After learning the City would not help, Ms. Rich attempted to
                                                                              21   install fencing around some of her higher risk properties to keep tents from being
                                                                              22   propped directly against the buildings. However, for one of the buildings, the
                                                                              23   City warned her that the fencing was unlawful and would lead to fines. Before
                                                                              24   she could remove the fencing at issue, an unknown person or entity removed the
                                                                              25   chain link, and tents returned, gathering around the bare fence poles.
                                                                              26         In late 2017, a campfire at a homeless encampment burned out of control
                                                                              27   and set one of Ms. Rich’s buildings on fire. The blaze significantly damaged the
                                                                              28   building’s offices and electrical system, requiring more than $80,000 worth of

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                                                                              1    repairs. The fire and repair process disrupted her tenant’s business for significant
                                                                              2    time. At her next policy renewal period, her fire insurer refused to renew the
                                                                              3    policy covering all of her buildings, claiming her buildings could no longer be
                                                                              4    insured because of the risks posed by the adjacent homeless encampments. Ms.
                                                                              5    Rich then approached 24 other insurers—of those, 23 insurers outright refused to
                                                                              6    insure her buildings at any rate. Eventually, one insurer offered to cover her
                                                                              7    buildings at a premium more than four times her original rate. As a result of
                                                                              8    these developments, she is actively considering selling her family’s business and
                                                                              9    abandoning the Skid Row area.
                                                                              10                i.     DEISY SUAREZ is a resident of and business owner in
                                                                              11   Downtown Los Angeles. She lives and works on 5th Street (“5th”) and
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                              12   Broadway Street (“Broadway”). Ms. Suarez is the proud mother of two young
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                                                                              13   children, both under two. Due to the violence and disease surrounding the
                                                                              14   encampments throughout downtown, Ms. Suarez fears for her and her children’s
                                                                              15   safety each time they leave their home. In fact, this fear has become almost
                                                                              16   paralyzing, often preventing Ms. Suarez from leaving the building by foot.
                                                                              17         Given her children’s young age, Ms. Suarez uses a stroller when traveling
                                                                              18   by foot. The increase in homeless persons and their property on the streets
                                                                              19   hinders Ms. Suarez’s ability to freely travel the public sidewalks and regularly
                                                                              20   puts her and her children’s lives in danger. She finds it difficult to travel 3rd
                                                                              21   Street and Main Street, between 7th and 8th Street along Maple Street, along the
                                                                              22   east side of Los Angeles Street between Winston and 5th Street, between 5th and
                                                                              23   6th Street on Los Angeles Street, and along Main Street between 6th and 7th
                                                                              24   Street.
                                                                              25         Some of these routes are blocked by street vendors who become extremely
                                                                              26   aggressive, and whose belongings and “shops” take up the entire sidewalk. On
                                                                              27   other streets, tents and personal belongings fill the sidewalk, making it difficult or
                                                                              28   impossible for a person with a stroller or someone in a wheelchair to pass. When

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                                                                              1    she asks individuals to move themselves or their belongings so that she can use
                                                                              2    the sidewalk, she is often met with aggression. As a result, Ms. Suarez is
                                                                              3    frequently forced to walk, with her children in their strollers, in the street with
                                                                              4    moving cars, to reach her destination because the streets are blocked with
                                                                              5    individuals and belongings. As a mother of young children, Ms. Suarez feels
                                                                              6    extremely vulnerable walking on the streets.
                                                                              7          Ms. Suarez’s business has also been negatively impacted by the homeless
                                                                              8    crisis in Downtown Los Angeles. She owns Desuar Spa, a day spa, that is
                                                                              9    located in the same building where she and her family live. At least a few times a
                                                                              10   month, she and her staff receive phone calls from clients canceling their
                                                                              11   appointments because they are afraid of getting out of the car or walking to the
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                                                                              12   building. The hotel concierges at the Intercontinental and the Weston have
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                                                                              13   expressed safety concerns for guests looking to visit the day spa. Sometimes,
                                                                              14   there are individuals asleep on the sidewalk in front her business, making it
                                                                              15   difficult, and unnerving for individuals to enter the building. The increase in
                                                                              16   homeless persons living and sleeping outside of her business has made it difficult
                                                                              17   for her to retain staff. Multiple staff members have quit as a direct result of
                                                                              18   frightening interactions with the homeless individuals. And Ms. Suarez has
                                                                              19   struggled to recruit new staff members because of the danger the location of the
                                                                              20   spa poses.
                                                                              21         77.    JOSEPH BURK owns an historic building utilized for a company
                                                                              22   he created called Location 606, Inc. His property is primarily rented for film,
                                                                              23   television, commercial and music video production. Until 2017, he rented part of
                                                                              24   the property to tenants, but since then, due to the conditions in the area, he can no
                                                                              25   longer get a tenant to occupy the property, and he now lives there with his wife.
                                                                              26   He pays property taxes, but cannot use the public sidewalks around his own
                                                                              27   property. Mr. Burk’s residence has become unlivable due to surrounding
                                                                              28   conditions, and his business has been destroyed. Production companies have

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                                                                              1    stopped using his building for film shoots, and he has gotten countless rejection
                                                                              2    emails and letters citing the conditions around his property. He has lost hundreds
                                                                              3    of thousands of dollars because production companies cannot use Mr. Burk’s
                                                                              4    property since they need accessible driveways and sidewalks for heavy
                                                                              5    equipment, lighting and sound items, and costume trucks, and the exits and
                                                                              6    entrances to his property are often fully blocked by shelters and possessions. On
                                                                              7    at least one occasion when his property was to be used for filming, the crew was
                                                                              8    unable able to bring their equipment inside his building and demanded its money
                                                                              9    back. His property has been on the market for years without an acceptable offer,
                                                                              10   and he has experienced a significant decline in his own quality of life as a result
                                                                              11   of the increased filth, violence, and drug use in the surrounding areas.
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                                                                              12         78.      Over the past three years, Mr. Burk has received the following
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                                                                              13   communications from production companies considering his property for filming:
                                                                              14               a. October 11, 2016 email: “After driving past your place on 6th and
                                                                              15                  Crocker yesterday I can no longer present your property for
                                                                              16                  upcoming commercial shoots. The homeless condition directly
                                                                              17                  around your property is out of control and I wouldn’t feel safe
                                                                              18                  bringing any film crew into that area.”
                                                                              19               b. October 24, 2016 email: “Sorry the scout left before going inside to
                                                                              20                  see your space today. He told me that when he showed up, he could
                                                                              21                  barely walk down the street because there were so many homeless
                                                                              22                  tents and people around. He said it would be a nightmare to try and
                                                                              23                  film there and didn’t want to put the option in front of the director.
                                                                              24                  Also, wouldn’t be appealing to bring the client there due to all the
                                                                              25                  homeless people.”
                                                                              26               c. February 7, 2017 email: “Thank you for showing [interested client]
                                                                              27                  your place. She really liked it. But she is concerned about the
                                                                              28

                                                                                                                          55
                                                                                                                       COMPLAINT
                                                                                                                                                                           ER 688
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                                                                              1                  neighborhood because her show has a big star attached. Thanks
                                                                              2                  again.”
                                                                              3                d. June 27, 2017 email: “When the location manager showed up with
                                                                              4                  the director, his instant reaction was ‘I won’t shoot here, because I
                                                                              5                  won’t get out of the car[.]’ Due to the severity of the homelessness
                                                                              6                  in your area, I fear you are losing out on a lot of shoots. I know
                                                                              7                  it[’]s out of your hands, but thanks for all your help today.”
                                                                              8          79.     From 2003 to 2017, two full-time tenants, a married couple, lived in
                                                                              9    the building, but they moved out due to the declining quality of life arising out of
                                                                              10   the homelessness crisis. The amount of noise and trash coming from the
                                                                              11   encampments had become too much for them. The wife was harassed repeatedly
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                                                                              12   and the husband had his bike stolen numerous times. People would (and still do)
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                                                                              13   urinate and defecate on the property’s fence, which would run down toward the
                                                                              14   front door. The tenants frequently came across used needles which were left
                                                                              15   behind from people in the encampments, and called 911 several times to report
                                                                              16   individuals overdosing on drugs.
                                                                              17         80.     Since those tenants moved out, Mr. Burk has struggled to find a full-
                                                                              18   time tenant for the property. People are not interested in renting his property as a
                                                                              19   home or living space because of the surrounding area. LAPD officers have told
                                                                              20   Mr. Burk that they have been instructed by their superiors not to ask the homeless
                                                                              21   to move their belongings from the sidewalks or from his property. Because of
                                                                              22   this, when he has asked people to move their belongings from blocking the
                                                                              23   entrance to his home, he has been threatened, spit on, and verbally attacked.
                                                                              24   Weekly, he witnesses public sex, prostitution, and/or nudity on 6th Street and
                                                                              25   Crocker street. His security cameras often catch violent encounters, like a
                                                                              26   shooting that occurred in the end of January across the street from his building.
                                                                              27         81.     Insurance premiums on his property are significantly higher than on
                                                                              28   properties in other areas of DTLA due to the increased danger surrounding him

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                                                                              1    daily. The building across from him caught on fire from a homeless
                                                                              2    encampment’s open flame; the building down the street recently caught on fire
                                                                              3    for the same reason. He has difficulty receiving mail or packages. The mail
                                                                              4    carrier will not deliver his mail if his mailbox is blocked and will not get out of
                                                                              5    his truck to deliver mail or packages to his front door because he has said it is not
                                                                              6    safe. He regularly receives his neighbors’ mail because the carrier simply
                                                                              7    chooses the mailbox that is not blocked that day to put the entire block’s mail in.
                                                                              8    If everyone’s mailboxes are blocked, mail is not delivered. Food delivery
                                                                              9    services will no longer deliver food to his property after dark. Rideshare drivers
                                                                              10   such as Lyft or Uber will refuse to pick up or drop off there.
                                                                              11         82.      Mr. Burk has been trying to sell the property since early 2018.
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                                                                              12   There have been several interested buyers, yet the property has not sold, as the
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                                                                              13   conditions surrounding the building and the recent and widely reported typhus
                                                                              14   and hepatitis outbreaks in the area have scared off potential buyers. His property
                                                                              15   has dropped out of escrow multiple times. All potential buyers have cited the
                                                                              16   dangerous conditions on the surrounding streets and sidewalks as the reason they
                                                                              17   would not purchase the property.
                                                                              18               a. For example, on January 17, 2018, he received an email from a
                                                                              19                  potential buyer stating, in part, “Just wondering how you’re planning
                                                                              20                  to sell it when the homeless are 3 tents deep all around that. I know
                                                                              21                  that DTLA is working on the problem but isn’t the skid row
                                                                              22                  development company super close? . . . [W]hat precautions and what
                                                                              23                  actions can be taken regarding the sidewalks around the property as
                                                                              24                  owners[,] if we were to buy it?” The email also included a text
                                                                              25                  message screen shot from a potential buyer stating, “Thanks for
                                                                              26                  letting me know about the sidewalk directly around the building. I
                                                                              27                  just know that it will make it awfully hard for pedestrians to walk
                                                                              28                  over from the arts district . . . if no one will venture over because the

                                                                                                                           57
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                                                                              1                    rest of the surrounding streets look like a scene from Mad Max then
                                                                              2                    that could be a hiccup.”
                                                                              3          83.       In 2018, the City of Los Angeles inquired about acquisition of Mr.
                                                                              4    Burk’s property. The City would not tell him why they were interested in his
                                                                              5    property, but in January 2019, he found out from an article in the Los Angeles
                                                                              6    Times that the City was looking to turn his property into a Homeless Hygiene
                                                                              7    Center. The City has not made an offer on the property but has made matters
                                                                              8    worse by releasing his address to the public.
                                                                              9          84.       Last year, Mr. Burk spoke to some young men who told him they
                                                                              10   came to Skid Row from the Valley because they knew they could pitch a tent,
                                                                              11   buy and use drugs, without any repercussions. To be clear, they were not
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                                                                              12   homeless, they were simply capitalizing on the drug-haven Skid Row has
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                                                                              13   become. This is just one example of the “attractive nuisance” of Skid Row as a
                                                                              14   result of the City and County’s current lax enforcement policies.
                                                                              15         85.       The homelessness crisis right outside Mr. Burk’s building is
                                                                              16   heartbreaking, but what is even more heartbreaking is that the City is allowing it
                                                                              17   to get worse.
                                                                              18         86.       HARRY TASHDJIAN owns an upholstery supplier in the
                                                                              19   industrial area of DTLA, and the property surrounding the business location. Mr.
                                                                              20   Tashdjian’s building typically houses millions of dollars’ worth of inventory.
                                                                              21   When he purchased the building in 2013, tents were not allowed on the streets
                                                                              22   during the day. Because his business operates during traditional business hours,
                                                                              23   he believed that the location would not hinder business, which generally has
                                                                              24   between 70 and 100 will-call orders per day through which customers order
                                                                              25   product then come into the business shop to pick it up.
                                                                              26         87.       In mid-2016, Mr. Tashdjian saw an immediate increase in tents on
                                                                              27   the streets and sidewalks outside of his business. Today, tents occupy the
                                                                              28   sidewalks at all hours, and it is difficult for him and his customers to access his

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                                                                              1    business due to the piles of property and people loitering on the sidewalk and in
                                                                              2    the street. Customers constantly tell him how difficult it is to get into the
                                                                              3    building or the adjacent parking lot without hitting people. Mr. Tashdjian has
                                                                              4    been repeatedly told that customers prefer to do business with competitors to
                                                                              5    avoid the hassle and inconvenience of trying to access his store.
                                                                              6          88.    Vendors from all over the world—Italy, Germany, United Kingdom,
                                                                              7    China, etc.—visit Mr. Tashdjian’s shop and express shock and dismay that such
                                                                              8    horrendous conditions exist in Los Angeles. His business is now at a much
                                                                              9    greater risk for vandalism, violence, and fire damage. Homeless individuals
                                                                              10   frequently urinate into or onto his building or the adjacent parking lot, and there
                                                                              11   has been an increase in graffiti on his building. The number of tents immediately
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                                                                              12   outside of his building puts his business at risk of fire damage—indeed, the fire
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                                                                              13   department responds at least once a year to a tent fire that has started immediately
                                                                              14   outside his building. Sometimes it is an innocent accident from an open flame;
                                                                              15   other times, it is intentional due to some drug dealers’ disagreement. His security
                                                                              16   has caught these arsons on camera.
                                                                              17         89.    The conditions surrounding his property have cost Mr. Tashdjian a
                                                                              18   great deal of money. Because of the immediate fire danger posed by the tents
                                                                              19   outside his building, he has been forced to upgrade his fire monitoring system
                                                                              20   which cost approximately $40,000. He has also had to spend approximately
                                                                              21   $37,000 on a new security surveillance system to protect the building. The
                                                                              22   LAPD frequently seeks footage caught on this security system during
                                                                              23   investigations. Theft is also a major concern—pallets are constantly stolen from
                                                                              24   their building and car batteries are frequently stolen from inside people’s cars.
                                                                              25         90.    There has also been a significant uptick in the population of rats
                                                                              26   surrounding his building, and as a result, rat feces coat all three fences
                                                                              27   surrounding his property. To address the increase in fecal matter on his property,
                                                                              28   as well as the proliferation in cockroaches, he has hired a pest control company

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                                                                              1    and had the health department visit the property multiple times. The gate
                                                                              2    surrounding is property has been repeatedly damaged, costing him thousands of
                                                                              3    dollars in repairs.
                                                                              4           91.    Over the last few years, as the City and County have permitted the
                                                                              5    homelessness crisis to grow, the risk to his property from fire damage and
                                                                              6    vandalism has increased exponentially—the business constantly replaces gates
                                                                              7    and other property, cleans the facilities, and pays security to safeguard its
                                                                              8    property. They have had to spend over $100,000 in upgrades to their system and
                                                                              9    increased monitoring and pest control just as a result of the increased homeless
                                                                              10   persons and property in the area. He and his employees cannot walk anywhere in
                                                                              11   the area and are constantly subject to risk of disease due to the putrid conditions
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                                                                              12   outside the business.
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                                                                              13          92.    The City and the County have offered no assistance to Mr. Tashdjian
                                                                              14   and have taken no steps to address the impact of the homelessness crisis on his
                                                                              15   business or to enforce the laws that are broken daily in the area around his
                                                                              16   business.
                                                                              17          93.    KARYN PINSKY works in DTLA and lives there with her husband
                                                                              18   and their three-year-old son. She and her husband moved to DTLA in 2010
                                                                              19   because they were drawn to the architecture, history, and walkability of the area.
                                                                              20   Homeless people have always been present near their home, but in far fewer
                                                                              21   numbers. In 2010, the only tents west of Skid Row were on Broadway, and they
                                                                              22   were erected every night and removed shortly after sunrise. From 2010 to 2016,
                                                                              23   Ms. Pinsky and her husband, and later her son, were able to enjoy many
                                                                              24   wonderful features of DTLA—they regularly walked their dog along Main Street,
                                                                              25   and they felt comfortable walking to the many wonderful establishments and
                                                                              26   restaurants that were nearby.
                                                                              27          94.    All this has changed dramatically over the past several years as the
                                                                              28   homelessness crisis has deepened. When walking outside, Ms. Pinsky is fearful

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                                                                              1    that either she or her son will be the subject of some random act of violence.
                                                                              2    This fear stems from dangerous encounters either she or her husband have had
                                                                              3    with individuals on the streets. Once, while sitting outside at a café on Spring
                                                                              4    Street, a homeless woman screamed and became violent towards her because she
                                                                              5    thought Ms. Pinsky was “judging” her—only when her husband and others
                                                                              6    intervened was the situation defused. On another occasion, her husband saw the
                                                                              7    aftermath of a violent encounter between a neighbor and a homeless, mentally ill
                                                                              8    individual—the individual hit their neighbor in the face with a 2x4 that had a nail
                                                                              9    in it. Earlier this year, a homeless man seated outside a café on 6th Street near
                                                                              10   Broadway, a block from their house, randomly pushed a stranger into the street in
                                                                              11   front of an oncoming bus. The man was struck by the bus and ultimately died.
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                                                                              12   Another neighbor on a different floor was attacked in the middle of the night by
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                                                                              13   someone who gained access through a fire escape window. Now, as a result, she
                                                                              14   no longer feels safe sleeping with her window cracked even a little at night
                                                                              15   because of its proximity to the fire escape.
                                                                              16         95.    Sexual assaults on women also have increased significantly in the
                                                                              17   last several years, and as a result, Ms. Pinsky is terrified of being assaulted while
                                                                              18   running errands or just walking to or from a restaurant. The conditions
                                                                              19   immediately surrounding their home have gotten so dangerous that neither she
                                                                              20   nor her husband will leave the house late at night, even to let their elderly dog
                                                                              21   out. A woman in their building was attacked twice near the building while
                                                                              22   walking her dog at night. Since then, she and her husband decided to put a diaper
                                                                              23   on their dog to avoid going out.
                                                                              24         96.    Each time she takes her son outside, she’s afraid that he will contract
                                                                              25   one of the many diseases that are plaguing the area—typhus, tuberculosis,
                                                                              26   typhoid, hepatitis, or the plague. To avoid disease and violence, she’s stopped
                                                                              27   allowing her son to play at the park in Pershing Square, and she’s stopped taking
                                                                              28   him to Story Time at the Central Library. Family and friends are so fearful of the

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                                                                              1    disease and violence in the area that they will no longer come to visit Ms. Pinsky.
                                                                              2    The area was not always like this, but the City’s failure to limit the goods
                                                                              3    accumulated on sidewalks or remove tents during the day has fundamentally
                                                                              4    altered the neighborhood and her experience of it. Ms. Pinsky has been greatly
                                                                              5    affected and has a very real interest in remediating this issue insofar as her
                                                                              6    quality of life and basic enjoyment of her property has been severely diminished.
                                                                              7    At the same time, she also has compassion and empathy for those on the streets
                                                                              8    who are subject to the assaults (particularly women), the elements, the drug
                                                                              9    pushers, the gang members, the rats, filth, and disease. For Ms. Pinsky, this is no
                                                                              10   way for a society to treat its most helpless members.
                                                                              11         97.    CHARLES MALOW has been living at Union Rescue Mission,
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                                                                              12   within the Skid Row area, since 2012. Prior to 2008, he worked as a garage door
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                                                                              13   installer for 29 years, and from 2000 to 2006 he worked part-time as a security
                                                                              14   guard. He became homeless in 2008 when the economy tanked. From 2010 to
                                                                              15   2012, he lived on the streets of Glendora, California. In the winter of 2011 and
                                                                              16   2012, he stayed at a Glendora Winter Shelter and then decided to seek help at the
                                                                              17   Union Rescue Mission (“URM”) located on 545 San Pedro St., Los Angeles, CA
                                                                              18   90013. When he first arrived at URM in 2012, police officers would come by in
                                                                              19   the morning, and wake-up the people sleeping on the streets. They were required
                                                                              20   to pack up their belongings and stow them, so the sidewalks were not blocked.
                                                                              21   This also allowed illegal activity such as narcotics and weapons sales to be more
                                                                              22   easily discovered and therefore addressed. At that time, there were no tents in
                                                                              23   front of URM.
                                                                              24         98.    For a little over two years, Mr. Malow has been an Ambassador at
                                                                              25   URM. The Ambassador program allows a small group of men to live at URM
                                                                              26   indefinitely. Since living at URM, he has worked at Home Depot and in URM’s
                                                                              27   janitorial department, known as the EVS team. He knows that diseases such as
                                                                              28   typhus have made a resurgence on Skid Row, and this makes him extremely

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                                                                              1    concerned that his work with the EVS team puts him at greater risk of contracting
                                                                              2    a disease.
                                                                              3          99.    In the last several years Mr. Malow has seen a big increase in the
                                                                              4    volume of tents and belongings on the streets. This has greatly affected his daily
                                                                              5    life. He has observed a dramatic increase in the rodent problem on Skid Row and
                                                                              6    has seen rats running in and out of tents when he sweeps the sidewalks and
                                                                              7    gutters outside of URM. A major cause of this rodent problem is the volume of
                                                                              8    trash disposed of on the streets—because individuals living on the streets throw
                                                                              9    food and trash in the streets, rats have more than enough food to flourish. There
                                                                              10   has also been a huge increase in the amount of human feces on the street which
                                                                              11   carries with it the significant risk of disease, not to mention the odors.
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                                                                              12         100. There is absolutely no room to walk on the sidewalk, so if he leaves
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                                                                              13   URM, Mr. Malow is forced to walk in the street. Even in places where he could
                                                                              14   physically walk between the encampment and the wall, he still must walk on the
                                                                              15   streets or risk violent confrontation from people who accuse him of invading their
                                                                              16   “space.” When he leaves URM, he must plan his route carefully even if traveling
                                                                              17   by public transportation. Due to an increase in crime, including narcotics sales
                                                                              18   and violent activity, he must use a car service to get back from the metro or bus
                                                                              19   station after visiting his mother in Anaheim. He always has the car drop him off
                                                                              20   directly in front of URM to avoid dangerous encounters on the street.
                                                                              21         101. Mr. Malow does not leave URM between the hours of 4 p.m. and 6
                                                                              22   a.m., because he is concerned for his safety on the streets. When he does leave,
                                                                              23   he is incessantly approached and offered illegal drugs for sale. He regularly sees
                                                                              24   people just outside his home using illegal narcotics in the form of pills or
                                                                              25   smoking or injecting themselves. He sees people lying motionless in gutters,
                                                                              26   often without clothes or shoes, and is constantly looking to see if that person is
                                                                              27   dead or merely unconscious from drugs or alcohol. As a person who has
                                                                              28

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                                                                              1    struggled with drug and alcohol use, it is particularly painful to watch and
                                                                              2    experience.
                                                                              3              102. The excessive build-up of tents and debris over the last few years is
                                                                              4    directly responsible for this significant increase in crime because it allows
                                                                              5    criminals to operate in relative anonymity. This increase in debris, tents, and
                                                                              6    personal items on the streets also makes it impossible for health and safety
                                                                              7    workers to identify public health risks, causing disease and unsafe conditions to
                                                                              8    spread right outside his home. As a formerly homeless individual, Malow knows
                                                                              9    first-hand the difficulties that come from living on the street and is deeply
                                                                              10   troubled by both the City’s actions and inaction in the face of the homelessness
                                                                              11   crisis.
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                              12             103. CHARLES VAN SCOY also lives at Union Rescue Mission and
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                                                                              13   has been homeless or lived in shelters at various points in time over the last three
                                                                              14   decades. Sometime after 2010, he moved to Long Beach Rescue Mission, where
                                                                              15   he lived for two or three years. He has been living at the URM for three years
                                                                              16   and is part of its Ambassador program.
                                                                              17             104. Due to various illnesses, Mr. Van Scoy is confined to a wheelchair.
                                                                              18   He depends on Access Services (“Access”), Los Angeles County’s Paratransit
                                                                              19   program, when traveling further distances within the city. Sometimes Access is
                                                                              20   available to him, but sometimes it is not—it is a limited program and he is
                                                                              21   regularly in danger of losing qualification for its services. Because of the
                                                                              22   homelessness crisis, it is presently impossible for Mr. Van Scoy to navigate the
                                                                              23   sidewalks surrounding the URM, and so he must choose every day to stay inside
                                                                              24   or risk traversing busy streets in a wheelchair and risking accident and injury—
                                                                              25   indeed, the risk is even greater for him on the streets because the massive
                                                                              26   amounts of trash and property (and sometimes unconscious bodies) in the gutters
                                                                              27   require him edge closer to the center of the streets. When he asks people to move
                                                                              28   their belongings on the sidewalk to make a path for his 32-inch wheelchair, he is

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                                                                              1    met with threats and aggression, so he doesn’t even ask anymore. He has missed
                                                                              2    important doctors’ appointments and meetings because it is so difficult for him to
                                                                              3    move along public sidewalks.
                                                                              4          105. Every time Mr. Van Scoy leaves URM, people approach him to buy
                                                                              5    or sell drugs. As a recovering addict, it feels like walking into a firestorm. So
                                                                              6    many of the tents and enclosures are used by gang members to sell drugs and
                                                                              7    weapons that people who come to Skid Row looking for services frequently find
                                                                              8    themselves targets for drug pushers.
                                                                              9          106. Mr. Van Scoy has observed that the increase in debris on the streets
                                                                              10   has been accompanied by a rodent infestation that carries with it the high risk of
                                                                              11   disease. The lack of sanitation and accumulation of trash and human waste have
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                                                                              12   made the streets increasingly dangerous for him. He knows of one individual
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                                                                              13   who came into contact with human feces and developed an infection that led to
                                                                              14   the amputation of a leg. Van Scoy’s medical conditions make him particularly
                                                                              15   vulnerable to the spread of bacteria and disease.
                                                                              16         107. All these circumstances combine to render Mr. Van Scoy a prisoner
                                                                              17   in his own home.
                                                                              18        108.    GEORGE FREM owns a luxury auto-shop in Mar Vista California,
                                                                              19   which primarily services high-end vehicles. In 2015, a few homeless individuals
                                                                              20   set up tents under the 405 freeway adjacent to his business. Since then, the
                                                                              21   population of the encampment has continually increased, and he currently
                                                                              22   estimates that more than 80 people live there. The residents have brought a
                                                                              23   variety of goods with them including tents, mattresses, wardrobes, and
                                                                              24   more. The encampment effectively fully covers the sidewalk on one side of the
                                                                              25   road. Mr. Frem now sees drug use, prostitution, violence, and public indecency
                                                                              26   on a regular basis. In the summer, the scent of urine and feces permeates the air,
                                                                              27   causing Mr. Frem and his patrons to question whether the area is safe to occupy.
                                                                              28

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                                                                                                                     COMPLAINT
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                                                                              1         109.     The City conducts weekly sanitary cleanups of the camp. When
                                                                              2    they do so, the City tells the homeless persons that any property left within a
                                                                              3    designated zone will be considered abandoned and disposed of accordingly. This
                                                                              4    causes the unsheltered persons to move themselves and all of their belongings to
                                                                              5    the area immediately outside of the cleanup area and directly in front of Mr.
                                                                              6    Frem’s business. Additionally, every Friday LAHSA representatives set up a
                                                                              7    mobile shower station directly in front of Mr. Frem’s business, resulting in lines
                                                                              8    of people on the sidewalk for hours as they wait for the showers to be
                                                                              9    available. When this occurs, customers frequently question whether their
                                                                              10   vehicles are safe in the lot and whether they will be stored inside overnight.
                                                                              11        110.     Before the encampment was in place, Mr. Frem received significant
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                                                                              12   business from other auto shops who would sub-contract to him for repairs. The
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                                                                              13   encampment and related activity, especially the presence of homeless persons
                                                                              14   immediately outside of the property, caused those shops to doubt the safety of
                                                                              15   their vehicles while at Mr. Frem’s shop, and has caused them to stop using him
                                                                              16   for sub-contract work. Prior to 2015, Mr. Frem would get significant walk-in
                                                                              17   business from his prime location on a major arterial road, but now long-time
                                                                              18   customers tell Mr. Frem that they do not feel safe picking up their vehicles late at
                                                                              19   night and potential customers turn away when they see the conditions outside of
                                                                              20   the shop.
                                                                              21        111.     This has decreased the number of service orders the shop has every
                                                                              22   year since the encampment arose. Before the encampment was in place, Mr.
                                                                              23   Frem’s shop consistently performed over 1000 repairs per year. But, because of
                                                                              24   the City’s policies effectively maintaining and promoting the camp, the numbers
                                                                              25   have declined year on year, and now, the shop can only draw around 600 repair
                                                                              26   jobs per year. The City’s homelessness policies have caused serious economic
                                                                              27   damage to Mr. Frem’s business and have effectively destroyed the value of his
                                                                              28   enterprise.

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                                                                              1         112.    LEANDRO SUAREZ is chief petty officer (“CPO”) in the United
                                                                              2    States Navy and has served for over 22 years. He resides with his sister, Deisy
                                                                              3    Suarez, at Fifth Street and Broadway four days of the week. While stationed off
                                                                              4    the coast of Southern California, he was involved in an accident that resulted in
                                                                              5    the amputation of his right leg and his left big toe. It took him nearly two years
                                                                              6    to be healthy enough to use a prosthetic leg. He also suffers from lower back
                                                                              7    problems and problems with his toes, knees, and feet. Currently, he can only
                                                                              8    walk for five to eight minutes at a time with the assistance of two crutches.
                                                                              9    Because of his limited mobility with the prosthetic, CPO Suarez relies on an
                                                                              10   electric wheelchair for most daily activities, e.g. walking the dog, grocery
                                                                              11   shopping, or going “long” distances.
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                                                                              12        113.    Navigating the streets of Downtown Los Angeles is nearly
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                                                                              13   impossible for CPO Suarez, and he is often confined on his block at Fifth and
                                                                              14   Broadway. The swelling number of persons living on the streets with their
                                                                              15   possessions severely limit Mr. Suarez’s ability to travel by wheelchair throughout
                                                                              16   DTLA.
                                                                              17        114.    Streets that contain businesses with outdoor patios, chairs, or other
                                                                              18   decorative materials pose a particularly difficult problem for CPO Suarez. While
                                                                              19   the law requires businesses to ensure a certain portion of the sidewalk remain
                                                                              20   clear, homeless persons openly camp in front of these establishments, effectively
                                                                              21   blocking the entire sidewalk. CPO Suarez cannot get around these persons, and
                                                                              22   because he is in a wheelchair, he must go back to the corner so he can use the
                                                                              23   ramp to access the street and cross to the other side. This is a laborious, time-
                                                                              24   consuming, and dangerous process. And the constant backtracking limits CPO
                                                                              25   Suarez’s ability to travel within the city because his wheelchair is not made for
                                                                              26   long distances.
                                                                              27        115.    When CPO Suarez asks homeless persons to move themselves or
                                                                              28   their belongings, they often become aggressive with him, demanding that he

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                                                                              1    prove he “owns the sidewalk,” or that he give them cigarettes or other
                                                                              2    paraphernalia as a “tax.” More often than not, people simply refuse to move,
                                                                              3    again, forcing Mr. Suarez to find a curb, cross to the other side of the street, and
                                                                              4    hope that there will be enough public walkway for his wheelchair to fit through
                                                                              5    so that he can complete a simple errand, task, or outing.
                                                                              6          116.   The buildup of goods and persons on the streets prevents CPO
                                                                              7    Suarez from freely traveling throughout the city. He is limited in the distance
                                                                              8    and the places he can travel because his electric wheelchair has a limited battery
                                                                              9    life. When streets are blocked with property and people, CPO Suarez is forced to
                                                                              10   find a different, unobstructed, route to his destination. And sometimes, because
                                                                              11   CPO Suarez’s wheelchair has limited battery life, he is prevented from even
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                                                                              12   reaching his destination. In fact, at times the idea of traveling outside is so
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                                                                              13   daunting that Mr. Suarez is forced to remain indoors.
                                                                              14         117.   Mr. Suarez’s difficulties are exacerbated when construction projects
                                                                              15   limit the sidewalk further. A construction project between 4th and 5th Street has
                                                                              16   made it is nearly impossible for Mr. Suarez to travel down Broadway because
                                                                              17   while a makeshift walkway exists, the walkway is often blocked by homeless
                                                                              18   persons or their property. Mr. Suarez’s request that the individuals move is often
                                                                              19   rebuffed, preventing him from descending down the ramp or having full and free
                                                                              20   access to public sidewalks or the ability to travel the streets.
                                                                              21         118.   Mr. Suarez regularly endures verbal abuse from the individuals he
                                                                              22   asks to move so that he can access the public walkway. Already physically
                                                                              23   vulnerable, this constant beratement has left Mr. Suarez fearful of traveling
                                                                              24   outside.
                                                                              25         119. GARY WHITTER has been homeless on and off in the Los
                                                                              26   Angeles area for the last 13 years. He struggles with alcoholism, depression,
                                                                              27   bipolar disorder, chronic back pain, and hypertension. While he was living on
                                                                              28   the streets, he would sleep wrapped up in a blanket, usually on hard cement or a

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                                                                              1    blanket. He could not get more than an hour or two of sleep at a time because of
                                                                              2    fear of attacks, noise, people asking him to move, physical pain, or exposure to
                                                                              3    the elements. Sleep deprivation caused his mental state to spiral, exacerbating his
                                                                              4    depression, bipolar, and hypertension conditions. The hard sleeping conditions
                                                                              5    and constantly carrying all his belongings everywhere he went lead to severe
                                                                              6    back pain.
                                                                              7           120. The stress of the stigma of being homeless was also significant,
                                                                              8    adding to his depression and hypertension. As hard as he tried, he understood
                                                                              9    that he always looked and smelled terrible. It was impossible to keep his hygiene
                                                                              10   up and as a result he was constantly sick. Due to his unpredictable living and
                                                                              11   sleeping conditions, he lacked regular medical and dental care. He frequently
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                                                                              12   encountered persons attempting to scam him or victimize him in some way. All
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                                                                              13   of this caused his mental and physical state to further decline.
                                                                              14          121. In the middle of March, 2019, he entered into a program at the
                                                                              15   Union Rescue Mission, and has now been there for almost a year. He is able to
                                                                              16   get a full night’s sleep which has significantly increased his mental stability and
                                                                              17   reduced his hypertension. Sleeping on a bed, and not having to carry his worldly
                                                                              18   possessions on his back, has helped his back pain tremendously and he can move
                                                                              19   uninhibited which has itself improved his mental stability and hypertension. He
                                                                              20   now has regular access to medical and mental health clinics, and his mental and
                                                                              21   physical health has improved markedly. This is the third time he has been
                                                                              22   through Union Rescue Mission’s program and he is unsure about what will
                                                                              23   happen in the future once he graduates. He is aware that permanent housing is
                                                                              24   difficult to find, but he is fearful of living on Skid Row or returning to living on
                                                                              25   the streets.
                                                                              26          122. Staying on Skid Row has its own dangers. He often has to walk on
                                                                              27   the street because the sidewalks are completely blocked with tents and
                                                                              28   possessions. Even when there is room to walk on the sidewalk, he often must

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                                                                              1    walk in the street anyway or risk harassment for walking in a person’s
                                                                              2    “backyard” (the area in front of the tent). Other than walking to Rite-Aid to pick
                                                                              3    up his prescriptions or to the Department of Public Social Services office to get
                                                                              4    his General Relief check, he stays inside because he is too afraid to leave the
                                                                              5    building. At night he can hear gunshots and sirens all night long, and on the roof,
                                                                              6    it isn’t uncommon to witness people getting attacked on the street, including
                                                                              7    women getting beaten or raped.
                                                                              8
                                                                              9                                     DEFENDANTS
                                                                              10        123.    CITY OF LOS ANGELES (“City”) is a municipal entity existing
                                                                              11   under the laws of the State of California, with the capacity to sue and be sued.
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                                                                              12   The departments of the City include the Los Angeles Department of Public
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                                                                              13   Works with its various sub-departments include the Los Angeles Department of
                                                                              14   Sanitation (LASAN), and the Los Angeles Police Department (LAPD).
                                                                              15        124.    COUNTY OF LOS ANGELES (“County”) is a municipal entity
                                                                              16   existing under the laws of the State of California, with the capacity to sue and be
                                                                              17   sued. The departments of the County include the Los Angeles Sheriff’s
                                                                              18   Department (LASD), the Department of Mental Health (DMH), the Department
                                                                              19   of Public Health (DPH), and the Department of Public Social Services (DPSS).
                                                                              20        125.    The CITY and COUNTY jointly fund, manage, and administer the
                                                                              21   Los Angeles Homeless Service Authority (LAHSA), an independent joint powers
                                                                              22   authority. According to its website, “LAHSA is the lead agency in the Los
                                                                              23   Angeles Continuum of Care, which is the regional planning body that coordinates
                                                                              24   housing and services for homeless families and individuals in Los Angeles
                                                                              25   County. LAHSA coordinates and manages over $300 million annually in federal,
                                                                              26
                                                                              27
                                                                              28

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                                                                              1    state, county, and city funds for programs that provide shelter, housing, and
                                                                              2    services to people experiencing homelessness.” 100
                                                                              3         126.      Does 1 through 200, inclusive, are persons, entities, government
                                                                              4    bodies, municipal employees, the names and identifies of which are currently
                                                                              5    unknown.
                                                                              6
                                                                              7                               V.      CAUSES OF ACTION
                                                                              8                               FIRST CAUSE OF ACTION
                                                                              9                                          Negligence
                                                                              10                                   (Against all Defendants)
                                                                              11         127. Plaintiffs re-allege and incorporate herein by this reference each and
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                                                                              12   every allegation set forth in paragraphs 1 through 126 of this Complaint as
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                                                                              13   though set forth fully herein.
                                                                              14         128. Defendants, by and through their agents and employees, have sole
                                                                              15   right and responsibility to control, maintain, and keep safe and clean the public
                                                                              16   and public-right-of-way areas in the City and unincorporated parts of the County,
                                                                              17   including parks, sidewalks, streets, public buildings, and certain undeveloped
                                                                              18   areas such as alongside freeways and other transportation routes, and to make and
                                                                              19   enforce laws assuring the public health and safety thereof for its citizens and their
                                                                              20   guests. Among other things, Defendants have the duty to maintain these areas in
                                                                              21   a manner which does not unreasonably interfere with the free passage or use by
                                                                              22   plaintiffs, and which addresses and alleviates conditions which are harmful to
                                                                              23   health, or indecent or offensive to the senses, and which create a fire hazard or
                                                                              24   permit crime to occur unabated including the illegal sale of controlled substances.
                                                                              25         129. As controlling law makes clear, “The public is entitled to the free
                                                                              26   and unobstructed use of the entire streets and sidewalks. . .” Vanderhurst, 113
                                                                              27
                                                                                         100
                                                                                               LAHSA, About LAHSA, https://www.lahsa.org/about (last visited Mar.
                                                                              28   9. 2020).

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                                                                              1    Cal. at 152. Indeed, municipalities have “the duty to keep their communities’
                                                                              2    streets open and available for movement of people and property.” Schneider, 308
                                                                              3    U.S. at 160-61.
                                                                              4          130. In 2016, the City sponsored and supported a ballot measure which
                                                                              5    promised to “provide safe, clean affordable housing for the homeless, and … to
                                                                              6    provide facilities to increase access to mental health care, drug, and alcohol
                                                                              7    treatment and other services” if its citizens authorized the issuance of
                                                                              8    $1,200,000,000 in general obligation bonds for that purpose. 101 Proposition HHH
                                                                              9    passed overwhelmingly and became law in 2017, thereby obligating and creating
                                                                              10   a duty of the City to implement it in a manner to achieve its purposes.
                                                                              11         131. In 2017, the County sponsored a ballot measure which promised to
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                                                                              12   “fund mental health, substance abuse treatment, health care, education, job
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                                                                              13   training, rental subsidies, emergency and affordable housing, transportation,
                                                                              14   outreach, prevention, and supportive services for homeless children, families,
                                                                              15   foster youth, veterans, battered women, seniors, disabled individuals, and other
                                                                              16   homeless adults” if its citizens authorized a ¼ cent sales tax for ten years to be
                                                                              17   used for that purpose. Proposition H passed overwhelming and became law,
                                                                              18   thereby obligating the County to implement it in a manner to achieve its
                                                                              19   purposes.
                                                                              20         132. Defendants and their agents have breached their duty to its citizens,
                                                                              21   including and specifically to plaintiffs and Alliance members, and each plaintiff
                                                                              22   and Alliance member has suffered damages as a result, as described more fully
                                                                              23   supra. The bases of this cause of action is the conduct, acts, and omissions of
                                                                              24   individual responsible officials, including Does 1-150, inclusive, based on the
                                                                              25   theory of respondeat superior.
                                                                              26
                                                                                         101
                                                                                             City of Los Angeles, City Clerk, Voter Information Pamphlet at 7 (Nov.
                                                                              27   8, 2016),
                                                                                   http://clerk.cityofla.acsitefactory.com/sites/g/files/wph606/f/2016%20November
                                                                              28   %20County%20WEB_English.pdf.

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                                                                              1          133. Plaintiffs seek no damages hereunder and seek equitable and
                                                                              2    injunctive relief only. As such neither the City nor County are entitled to any
                                                                              3    claims of immunity pursuant to California Government Code section 814.
                                                                              4
                                                                              5                             SECOND CAUSE OF ACTION
                                                                              6                              Violation of Mandatory Duty
                                                                              7                  Cal. Gov’t Code § 815.6; Welf & Inst. Code § 17000
                                                                              8                       (Against Defendant County of Los Angeles)
                                                                              9          134. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              10   every allegation set forth in paragraphs 1 through 133 of this Complaint as
                                                                              11   though set forth fully herein.
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                                                                              12         135. Defendant County of Los Angeles is liable under California
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                                                                              13   Government Code section 815.6 and common law negligence theory for violation
                                                                              14   of a statutorily mandated duty to provide medical care for the indigent.
                                                                              15   California Welfare and Institutions Code section 17000 provides: “Every county
                                                                              16   and every city and county shall relieve and support all incompetent, poor,
                                                                              17   indigent persons, and those incapacitated by age, disease, or accident, lawfully
                                                                              18   resident therein, when such persons are not supported and relieved by their
                                                                              19   relatives or friends, by their own means, or by state hospitals or other state or
                                                                              20   private institutions.”
                                                                              21         136. Section 10000 clarifies and defines the purpose of these obligations
                                                                              22   as follows:
                                                                              23         The purpose of this division is to provide for protection, care, and
                                                                              24         assistance to the people of the state in need thereof, and to promote
                                                                              25         the welfare and happiness of all of the people of the state by
                                                                              26         providing appropriate aid and services to all of its needy and
                                                                              27         distressed. It is the legislative intent that aid shall be administered
                                                                              28         and services provided promptly and humanely, with due regard for

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                                                                              1          the preservation of family life, and without discrimination on
                                                                              2          account of ancestry, marital status, political affiliation, or any
                                                                              3          characteristic listed or defined in Section 11135 of the Government
                                                                              4          Code. That aid shall be so administered and services so provided,
                                                                              5          to the extent not in conflict with federal law, as to encourage self-
                                                                              6          respect, self-reliance, and the desire to be a good citizen, useful to
                                                                              7          society.
                                                                              8    Cal. Welf. & Inst. Code § 10000.
                                                                              9          137. Sections 17000 and 10000 taken together mandate that “medical
                                                                              10   care be provided to indigents. . . promptly and humanely.” Tailfeather v. Board
                                                                              11   of Supervisors, 48 Cal. App. 4th 1223, 1245 (1996). This means counties must
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                                                                              12   provide medical care to the poor “at a level which does not lead to unnecessary
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                                                                              13   suffering or endanger life and health.” Id. at 1240. The California Supreme
                                                                              14   Court has held that “subsistence medical services” must be provided. Hunt v.
                                                                              15   Superior Court, 21 Cal. 4th 984, 1014-15 (“Section 10000 imposes a minimum
                                                                              16   standard of care—one requiring that subsistence medical services be provided
                                                                              17   promptly and humanely.”) Counties have an obligation to provide “medically
                                                                              18   necessary care, not just emergency care.” County of Alameda v. State Bd. of
                                                                              19   Control, 14 Cal. App. 4th 1096, 1108 (1993) (citation omitted). That includes
                                                                              20   care “sufficient to avoid substantial pain and infection.” Hunt, 21 Cal. 4th at 1014
                                                                              21   (citing Cooke v. Superior Court, 213 Cal. App. 3d 401, 413-15 (1989)).
                                                                              22   Importantly, a county’s obligation to provide medically necessary care must be
                                                                              23   fulfilled “without regard to its fiscal plight.” Fuchino v. Edwards-Buckley, 196
                                                                              24   Cal. App. 4th 1128, 1134 (2011) (citation omitted). “Medically necessary” for
                                                                              25   adults is defined in California Welfare & Institutions Code section 14059.5(a):
                                                                              26   “[A] service is ‘medically necessary’ or a ‘medical necessity’ when it is
                                                                              27   reasonable and necessary to protect life, to prevent significant illness or
                                                                              28

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                                                                              1    significant disability, or to alleviate severe pain.” Cal. Welf. & Inst. Code §
                                                                              2    14059.5(a).
                                                                              3          138. Given the above described facts and circumstances, and significant
                                                                              4    studies, statistics, and reports including those set forth supra, and other such
                                                                              5    evidence as may be provided, it cannot be doubted that a person’s status as an
                                                                              6    unsheltered homeless individual both causes and exacerbates physical and mental
                                                                              7    health problems, ultimately causing much higher rates of infection, disease,
                                                                              8    decay, pain, and death. As Dr. Barbara Ferrer, director of the LA County
                                                                              9    Department of Public Health, admitted: “Homeless people are in fact dying at a
                                                                              10   higher rate because they’re homeless.” 102 Recognizing this, the LA County
                                                                              11   Department of Health Services has implemented limited program to provide
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                                                                              12   housing as part of its larger healthcare obligation which has been wildly
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                                                                              13   successful. But unfortunately, it has not gone far enough to address the homeless
                                                                              14   crisis which is ravaging the city and county, such that approximately 44,000
                                                                              15   persons remain unsheltered in the County as of January 2019.
                                                                              16         139. Basic shelter is “medically necessary” insofar as it is “reasonable
                                                                              17   and necessary to protect life, to prevent significant illness or significant
                                                                              18   disability, or to alleviate severe pain” and the City and County’s failure to
                                                                              19   provide the same to its homeless population constitutes a breach of its duty under
                                                                              20   California Welfare & Institution Code Sections 17000 and 10000.
                                                                              21         140. Plaintiffs, and each of them, have been damaged by the County’s
                                                                              22   failure to provide beds, as described in detail supra.
                                                                              23         141. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              24   equitable and injunctive relief only. As such neither the City nor County are
                                                                              25   entitled to any claims of immunity pursuant Cal. Gov. Code § 814.
                                                                              26
                                                                              27
                                                                                         102
                                                                                              Flores, supra note 63,
                                                                              28   https://la.curbed.com/2019/10/30/20940369/homeless-deaths-los-angeles-county.

                                                                                                                         75
                                                                                                                      COMPLAINT
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                                                                              1                              THIRD CAUSE OF ACTION
                                                                              2             Violation of Cal. Civ. Code § 3490, et seq. (Public Nuisance)
                                                                              3                                 (Against all Defendants)
                                                                              4          142. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              5    every allegation set forth in paragraphs 1 through 141 of this Complaint as
                                                                              6    though set forth fully herein.
                                                                              7          143. California has defined nuisance as
                                                                              8          [a]nything which is injurious to health, including, but not limited to,
                                                                              9          the illegal sale of controlled substances, or is indecent or offensive to
                                                                              10         the senses, or an obstruction to the free use of property, so as to
                                                                              11         interfere with the comfortable enjoyment of life or property, or
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                                                                              12         unlawfully obstructs the free passage or use, in the customary manner,
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                                                                              13         of any navigable lake, or river, bay, stream, canal, or basin, or any
                                                                              14         public park, square, street, or highway, is a nuisance.
                                                                              15   Cal. Civ. Code § 3479.
                                                                              16         144. A nuisance cause of action “is plainly aimed at protecting the public
                                                                              17   from the hazards created by public nuisances.” People v. ConAgra Grocery
                                                                              18   Prod. Co., 17 Cal. App. 5th 51, 136 (2017). In addition to health and safety
                                                                              19   hazards, “[a] reduction in property values caused by activities on a . . . piece of
                                                                              20   land, and an assault on the senses by noise, dust, and odors, are just the kinds of
                                                                              21   harm that common law suits to abate a nuisance are designed to redress.” Solid
                                                                              22   Waste Agency of N. Cook Cty. v. U.S. Army Corps of Eng’rs, 101 F.3d 503, 505
                                                                              23   (7th Cir. 1996). A public nuisance is the substantial and unreasonable
                                                                              24   interference with a public right. San Diego Gas & Elec. Co. v. Superior Court,
                                                                              25   13 Cal. 4th 893, 938-39 (1996).
                                                                              26         145. As described above, the City, by its failure to maintain the public
                                                                              27   property under its control, and to enforce the laws requiring the same, is
                                                                              28   perpetuating and facilitating nuisance violations.

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                                                                                                                      COMPLAINT
                                                                                                                                                                         ER 709
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                                                                              1          146. All Plaintiffs have experienced a substantial and unreasonable
                                                                              2    interference with the enjoyment of their property, whether that be a building
                                                                              3    owned or room rented; each have suffered and continue to be threatened with
                                                                              4    respect to their health and welfare, by reason of the constant threat of disease and
                                                                              5    the experience of human waste, trash, and encampments outside their property.
                                                                              6          147. Each plaintiff and Alliance member has been damaged in his or her
                                                                              7    own right, in a manner specially injurious to him or herself. No plaintiff or
                                                                              8    Alliance member consented to defendants’ conduct.
                                                                              9
                                                                              10                           FOURTH CAUSE OF ACTION
                                                                              11            Violation of Cal. Civ. Code § 3501, et seq. (Private Nuisance)
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                                                                              12                                (Against all Defendants)
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                                                                              13         148. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              14   every allegation set forth in paragraphs 1 through 147 of this Complaint as
                                                                              15   though set forth fully herein.
                                                                              16         149. Each Plaintiff and Alliance member identified owns, leases,
                                                                              17   occupies, or otherwise controls all of a portion of the home or business identified.
                                                                              18   By Defendants’ actions and inactions, each has created a condition or permitted a
                                                                              19   condition to exist that is harmful to the health, indecent and offensive to the
                                                                              20   senses, obstructs the free passage and use of public parks, squares, streets,
                                                                              21   highway, and sidewalks, permits unlawful sales of illicit narcotics, and
                                                                              22   constitutes a fire hazard, as described supra.
                                                                              23         150. Defendants’ conduct has been and is intentional and unreasonable,
                                                                              24   unintentional but negligent or reckless, and/or the condition permitted to exist
                                                                              25   was the result of abnormally dangerous activity which substantially interfered
                                                                              26   with each plaintiff’s and Alliance member’s use or enjoyment of his or her land
                                                                              27   that an ordinary person would reasonably be annoyed or disturbed by. No
                                                                              28   plaintiff or Alliance member consented to Defendants’ conduct; each was

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                                                                                                                      COMPLAINT
                                                                                                                                                                          ER 710
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                                                                              1    harmed, Defendants’ conduct was a substantial factor in causing the harm, and
                                                                              2    the seriousness of the harm outweighs any public benefit of such conduct (which
                                                                              3    is none).
                                                                              4          151. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              5    equitable and injunctive relief only. As such neither the City nor County are
                                                                              6    entitled to any claims of immunity pursuant to California Government Code
                                                                              7    section 814.
                                                                              8
                                                                              9                              FIFTH CAUSE OF ACTION
                                                                              10                    Inverse Condemnation/Cal. Const. art. I § 19
                                                                              11                  (Plaintiffs Alliance, Burk, and Frem against City)
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                                                                              12         152. Plaintiffs re-allege and incorporate herein by this reference each and
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                                                                              13   every allegation set forth in paragraphs 1 through 151 of this Complaint as
                                                                              14   though set forth fully herein.
                                                                              15         153. California Constitution, article I § 19 provides in relevant part:
                                                                              16   “Private property may be taken or damaged for a public use and only when just
                                                                              17   compensation, ascertained by a jury unless waived, has first been paid to, or into
                                                                              18   court for, the owner.” The actions by the City have limited, damaged, and/or
                                                                              19   burdened the owners’ property and/or business so substantially they rise to the
                                                                              20   level of a regulatory taking, yet no compensation has been provided.
                                                                              21         154. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              22   equitable and injunctive relief only.
                                                                              23   //
                                                                              24   //
                                                                              25   //
                                                                              26   //
                                                                              27   //
                                                                              28   //

                                                                                                                        78
                                                                                                                     COMPLAINT
                                                                                                                                                                        ER 711
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                                                                              1                              SIXTH CAUSE OF ACTION
                                                                              2                         Waste of Public Funds and Resources
                                                                              3                               Cal. Civ. Proc. Code § 526a
                                                                              4                                 (Against All Defendants)
                                                                              5          155. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              6    every allegation set forth in paragraphs 1 through 154 of this Complaint as
                                                                              7    though set forth fully herein.
                                                                              8          156. California Code of Civil Procedure section 526a permits private
                                                                              9    individuals or entities to bring an action to “obtain a judgment, restraining and
                                                                              10   preventing any illegal expenditure of, waste of, or injury to, the estate, funds, or
                                                                              11   other property of a local agency.”
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                                                                              12         157.    Plaintiffs and Alliance members, each of them, are residents of the
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                                                                              13   City of Los Angeles and/or County of Los Angeles and/or own property and/or
                                                                              14   businesses therein and pay income tax, sales tax, property tax, and/or business
                                                                              15   license taxes and therefore having standing to bring an action under section 526a.
                                                                              16         158. As described more fully in paragraphs 59 through 69 supra, taxpayer
                                                                              17   funds have been misused and wasted by the City and County of Los Angeles,
                                                                              18   such they are incapable of achieving the ostensible goal of addressing the
                                                                              19   homelessness crisis in any significant way, much less “ending” it. Such
                                                                              20   expenditures, particularly when taken in the aggregate, cost several factors more
                                                                              21   than alternative available measures which are demonstrably effective in
                                                                              22   addressing the crisis.
                                                                              23         159. Proposition HHH and Measure H were promoted and passed by the
                                                                              24   electorate to address the homelessness crisis in a comprehensive and effective
                                                                              25   way. Instead, homelessness has steadily increased in this City and County.
                                                                              26         160. As detailed above the City and the County have spent enormous
                                                                              27   amounts of public funds on the homelessness crisis in ways that have had little or
                                                                              28   no effect on the crisis, and thereby wasted those public funds.

                                                                                                                           79
                                                                                                                        COMPLAINT
                                                                                                                                                                          ER 712
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                                                                              1          161. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              2    equitable and injunctive relief only. As such neither the City nor County are
                                                                              3    entitled to any claims of immunity pursuant to California Government Code
                                                                              4    section 814.
                                                                              5
                                                                              6                            SEVENTH CAUSE OF ACTION
                                                                              7            Violation of California Environmental Quality Act (“CEQA”)
                                                                              8                          Cal. Public. Res. Code § 21000 et seq
                                                                              9                                 (Against All Defendants)
                                                                              10         162. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              11   every allegation set forth in paragraphs 1 through 161 of this Complaint as
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                                                                              12   though set forth fully herein.
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                                                                              13         163. The California Environmental Quality Act requires local
                                                                              14   governments to consider the environmental implications of their actions to
                                                                              15   “[e]nsure that long term protection of the environment. . . shall be the guiding
                                                                              16   criterion in public decisions.” Cal. Pub. Res. Code § 21001(d). Before any
                                                                              17   agency commences a “project”, environmental analysis must be complete.
                                                                              18   “Project” is defined as an “activity which may cause either a direct physical
                                                                              19   change in the environment, or a reasonably foreseeable indirect physical change
                                                                              20   in the environment. . .” Cal. Pub. Res. Code § 21065; see also, Cal. Code Regs.
                                                                              21   tit. 14, § 15378(a). “Activity,” for this purpose, includes “[a]n activity directly
                                                                              22   undertaken by any public agency,” (Cal. Pub. Res. Code § 21065(a)), as well as
                                                                              23   “[a]n activity that involves the issuance to a person of a lease, permit, license,
                                                                              24   certificate, or other entitlement for use by one or more public agencies.” Cal.
                                                                              25   Pub. Res. Code § 21065(c).
                                                                              26         164. The adoption of a rule or regulation can be a project subject to
                                                                              27   CEQA. Plastic Pipe & Fittings Ass’n v. California Bldg. Standards Comm’n,
                                                                              28   124 Cal. App. 4th 1390, 1412 (2004); Wildlife Alive v. Chickering, 18 Cal. 3d

                                                                                                                         80
                                                                                                                      COMPLAINT
                                                                                                                                                                         ER 713
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                                                                              1    190, 206 (1976). “A direct physical change in the environment is a physical
                                                                              2    change in the environment which is caused by and immediately related to the
                                                                              3    project. Examples of direct physical changes in the environment are the dust,
                                                                              4    noise, and traffic of heavy equipment that would result from construction of a
                                                                              5    sewage treatment plant and possible odors from operation of the plant.” Cal.
                                                                              6    Code Regs. tit. 14 § 15064(d)(1).
                                                                              7          165. Numerous acts by the City constitute a “project”, including the
                                                                              8    power-washing scheme which flushes thousands of tons per year of toxic
                                                                              9    substances into our oceans. The City’s decision to settle Mitchell v. City of Los
                                                                              10   Angeles is another example of a “project” in the Skid Row area; permitting
                                                                              11   unlimited property accumulation in the area has caused untold amounts of human
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                                                                              12   waste, trash, debris, and toxic substances to wash into our waterways. Substantial
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                                                                              13   evidence exists, as discussed supra, that the growing homelessness crisis may
                                                                              14   have a significant effect on the environment. 103 Yet no review has ever been done
                                                                              15   prior to adopting these projects, in violation of the California Environmental
                                                                              16   Quality Act.
                                                                              17         166. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              18   equitable and injunctive relief only. As such neither the City nor County are
                                                                              19   entitled to any claims of immunity pursuant to California Government Code
                                                                              20   section 814.
                                                                              21   //
                                                                              22   //
                                                                              23   //
                                                                              24   //
                                                                              25   //
                                                                              26   //
                                                                              27
                                                                              28         103
                                                                                               See para. 49-53, supra.

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                                                                                                                         COMPLAINT
                                                                                                                                                                       ER 714
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                                                                              1                               EIGHTH CAUSE OF ACTION
                                                                              2                      Violation of California Disabled Persons Act
                                                                              3                                 Cal. Civ. Code § 54, et seq
                                                                              4     (Plaintiffs Charles Van Scoy and Leandro Suarez Against Defendant City)
                                                                              5          167. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              6    every allegation set forth in paragraphs 1 through 166 of this Complaint as
                                                                              7    though set forth fully herein.
                                                                              8          168. California’s Disabled Persons Act codifies requirements that ensure
                                                                              9    equal and full access to individuals with disabilities. That Act provides, in part:
                                                                              10                Individuals with disabilities or medical conditions have
                                                                              11                the same right as the general public to the full and free
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                                                                              12                use of the streets, highways, sidewalks, walkways, public
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                                          LOS ANGELES, CA 90025




                                                                              13                buildings, medical facilities, including hospitals, clinics,
                                                                              14                and physicians’ offices, public facilities, and other public
                                                                              15                places.
                                                                              16   Cal. Civ. Code § 54 (a).
                                                                              17                Individuals with disabilities shall be entitled to full and equal
                                                                              18                access, as other members of the general public, to
                                                                              19                accommodations, advantages, facilities, medical facilities,
                                                                              20                including hospitals, clinics, and physicians’ offices . . . and
                                                                              21                other places to which the general public is invited, subject only
                                                                              22                to the conditions and limitations established by law, or state or
                                                                              23                federal regulation, and applicable alike to all persons.
                                                                              24   Cal. Civ. Code § 54.1(a)(1).
                                                                              25         169. As detailed above, Plaintiffs Charles Van Scoy and Leandro Suarez
                                                                              26   are individuals with disabilities as defined by the Disabled Persons Act, and are
                                                                              27   being denied full and equal access to places to which the general public is
                                                                              28   invited, including “free and full use” of public sidewalks, by the policies and

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                                                                                                                                                                         ER 715
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                                                                              1    practices of the City of Los Angeles, including its failure to regularly maintain its
                                                                              2    sidewalks in a manner which permits wheelchair-bound individuals “full and free
                                                                              3    use” thereof.
                                                                              4           170. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              5    equitable and injunctive relief only. As such neither the City nor County are
                                                                              6    entitled to any claims of immunity pursuant to California Government Code
                                                                              7    section 814.
                                                                              8
                                                                              9                              NINTH CAUSE OF ACTION
                                                                              10              Violation of Title II of the Americans with Disabilities Act
                                                                              11                                42 U.S.C. § 12131, et seq.
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                                                                              12    (Plaintiffs Charles Van Scoy and Leandro Suarez against Defendant City)
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                                                                              13          171. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              14   every allegation set forth in paragraphs 1 through 170 of this Complaint as
                                                                              15   though set forth fully herein.
                                                                              16          172. The Americans with Disabilities Act (“ADA”) provides that people
                                                                              17   with disabilities be afforded “the full and equal enjoyment of the goods, services,
                                                                              18   facilities, privileges, advantages, or accommodations of any place of public
                                                                              19   accommodation …” 42 U.S.C. § 12182(a). Further, the ADA ensures that
                                                                              20   transportation facilities are constructed to a set of standards that ensures
                                                                              21   accessibility for the disabled. Sidewalks are the most common element of
                                                                              22   transportation infrastructure, yet if they are not accessible, they pose great
                                                                              23   challenges and dangers to anyone in a wheelchair or who has other mobility
                                                                              24   restrictions.
                                                                              25          173. Sidewalks are subject to the access requirements of Title II of the
                                                                              26   ADA and § 504 of the Rehabilitation Act. 42 U.S.C. § 12101(1); Willits, 925 F.
                                                                              27   Supp. 2d at 1093 (“Any public sidewalk over which the City of Los Angeles has
                                                                              28   responsibility to inspect and notify property owners of repair needs is a ‘program,

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                                                                              1    service, or activity’ within the meaning of Title II of the Americans with
                                                                              2    Disabilities Act and Section 504 of the Rehabilitation Act of 1973.”).
                                                                              3    Accordingly, sidewalk width requirements ensure that sidewalks are accessible
                                                                              4    for use by wheelchair-bound individuals.
                                                                              5          174. The minimum width for an ADA-compliant sidewalk is 36 inches.
                                                                              6    36 C.F.R. § 1191, app. D, § 403.5.1 (2014) (“the clear width of walking surfaces
                                                                              7    shall be 36 inches (915 mm) minimum”). Where obstructions such as telephone
                                                                              8    poles, traffic signal cabinets, or other utilities exist, the sidewalk must be
                                                                              9    constructed to allow the minimum width requirement of 36 inches between the
                                                                              10   edge of the obstruction and the edge of the sidewalk. Id. “A public entity shall
                                                                              11   maintain in operable working condition those features of facilities and equipment
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                                                                              12   that are required to be readily accessible to and usable by persons with
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                                          LOS ANGELES, CA 90025




                                                                              13   disabilities by the Act or this part.” 28 C.F.R § 35.133(a) (2011).
                                                                              14         175. Throughout Los Angeles, the City and County are failing to uphold
                                                                              15   their obligations to maintain clear and accessible sidewalks and public rights-of-
                                                                              16   way for its disabled residents and visitors, resulting in regular violations of the
                                                                              17   Americans with Disabilities Act. These ADA violations are obvious and known
                                                                              18   to the City and County both through its own inspections and various reports of
                                                                              19   blocked sidewalks due to encampments through its own reporting mechanisms,
                                                                              20   such as 311. Defendants and its agents and employees have failed and continue
                                                                              21   to fail to provide reasonable accommodations for disabled persons using public
                                                                              22   sidewalks.
                                                                              23         176. Defendants are obligated to operate the “service, program, or
                                                                              24   activity” “so that . . ., when viewed in its entirety, it is readily accessible to and
                                                                              25   useable by individuals with disabilities. 28 C.F.R. § 35.150(a) (2012). Yet when
                                                                              26   “viewed in its entirety” public rights-of-way are not provided by Defendants to
                                                                              27   be “readily accessible to and useable” by individuals bound to wheelchairs.
                                                                              28

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                                                                                                                       COMPLAINT
                                                                                                                                                                            ER 717
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                                                                              1          177. The discrimination and denial of access to the City’s rights-of-way
                                                                              2    for persons with disabilities is the direct result of Defendants’ policies and
                                                                              3    practices of deliberately permitting encampments to proliferate, particularly in
                                                                              4    certain areas such as Skid Row or on Venice Blvd under the 405 freeway, and the
                                                                              5    failure to adopt or implement any adequate procedure for regularly inspecting
                                                                              6    and maintaining the pedestrian rights-of-way clear of obstructions.
                                                                              7          178. As a direct and proximate result of the aforementioned acts,
                                                                              8    including but not limited to Defendants’ deliberate indifference to the violation of
                                                                              9    Mr. Van Scoy and Mr. Suarez’s federally protected rights, both have suffered
                                                                              10   pain, humiliation, hardship, anxiety, indignity, and severe mental and emotional
                                                                              11   anguish. This causes each of them to be deprived of their independence and
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                                                                              12   prevents each from accessing the services and benefits of public establishments.
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                                          LOS ANGELES, CA 90025




                                                                              13         179. Pursuant to 42 U.S.C. § 12133, Plaintiffs Van Scoy and Suarez are
                                                                              14   entitled to recover compensatory damages and reasonable attorneys’ fees and
                                                                              15   costs incurred in bringing this action.
                                                                              16
                                                                              17                             TENTH CAUSE OF ACTION
                                                                              18                  Violation of Section 504 of the Rehabilitation Act
                                                                              19                                    29 U.S.C. § 791 et seq.
                                                                              20    (Plaintiffs Charles Van Scoy and Leandro Suarez against Defendant City)
                                                                              21         180. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              22   every allegation set forth in paragraphs 1 through 179 of this Complaint as
                                                                              23   though set forth fully herein.
                                                                              24         181. Section 504 of the Rehabilitation Act of 1973 provides in relevant
                                                                              25   part: “[N]o otherwise qualified individual with a disability. . . shall, solely by
                                                                              26   reason of his or her disability, be excluded from the participation in, be denied
                                                                              27   the benefits of, or be subjected to discrimination under any program or activity
                                                                              28   receiving Federal financial assistance. . .” 29 U.S.C. § 794(a) (2016).

                                                                                                                           85
                                                                                                                        COMPLAINT
                                                                                                                                                                        ER 718
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                                                                              1          182. Plaintiffs are otherwise qualified to participate in the services,
                                                                              2    programs, or activities that are provided to individuals in the City. The City is a
                                                                              3    recipient of federal financial assistance and therefore subject to Section 504.
                                                                              4    Upon information and belief, Defendants and their agents and employees have
                                                                              5    and continue to violate Section 504 of the Rehabilitation Act by excluding
                                                                              6    Plaintiffs Van Scoy and Suarez from participation in, denying them the benefits
                                                                              7    of, and subjecting them to discrimination regarding the benefits and services
                                                                              8    involved in utilizing public rights-of-way based solely on their disability
                                                                              9          183. Upon information and belief, said discrimination occurred with
                                                                              10   deliberate intent and/or reckless disregard of Plaintiffs’ rights. Plaintiffs seek an
                                                                              11   award of compensatory damages, injunctive relief, and the cost of attorneys’ fees
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                              12   in bringing this action.
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13
                                                                              14                          ELEVENTH CAUSE OF ACTION
                                                                              15                    Violation of Due Process and Equal Protection
                                                                              16                     42 U.S.C. § 1983; U.S. Const. amend. V/XIV
                                                                              17                                (Against all Defendants)
                                                                              18         184. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              19   every allegation set forth in paragraphs 1 through 183 of this Complaint as
                                                                              20   though set forth fully herein.
                                                                              21         185. Defendants, by enforcing the law in some areas and declining to
                                                                              22   enforce the law in others, and by abdicating their duties under the law, have
                                                                              23   arbitrarily determined where homeless encampments may or may not be located
                                                                              24   and what communities should be affected, without following their own respective
                                                                              25   procedures and in violation of both state and federal law. This has placed a
                                                                              26   disproportionate burden on some persons, communities, and businesses over
                                                                              27   others.
                                                                              28

                                                                                                                         86
                                                                                                                      COMPLAINT
                                                                                                                                                                           ER 719
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                                                                              1          186. Upon information and belief, City and County officials have within
                                                                              2    the last year affirmatively notified and/or instructed homeless individuals that
                                                                              3    some areas (for example, Skid Row, certain areas in Venice, or under the 405
                                                                              4    freeway) were locations where camps would be allowed to exist and persist. This
                                                                              5    policy of allowing encampments in some areas and not others without review,
                                                                              6    public comment, vote, or other appropriate process is in direct violation of the
                                                                              7    Fifth and Fourteenth Amendments’ prohibitions against deprivation without due
                                                                              8    process and unequal protection of the law. When the City entered into the
                                                                              9    Mitchell settlement providing for the foregoing it agreed by its very terms, and
                                                                              10   implicitly, to treat a segment of the population (those living, working, and
                                                                              11   owning property within the “Designated Area” known as Skid Row and the
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                              12   surrounding blocks), including many Plaintiffs herein differently than those
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                                          LOS ANGELES, CA 90025




                                                                              13   outside the “Designated Area.” The City had no rational basis for doing so.
                                                                              14         187. Upon information and belief, this was done with deliberate intent
                                                                              15   and/or reckless disregard of Plaintiffs’ rights. Plaintiffs seek an award of
                                                                              16   compensatory damages, injunctive relief, and the cost of attorneys’ fees in
                                                                              17   bringing this action.
                                                                              18
                                                                              19                            TWELFTH CAUSE OF ACTION
                                                                              20         Violation of Due Process Clause (State-Created Danger Doctrine)
                                                                              21                       42 U.S.C. § 1983; U.S. Const. Amend. 14
                                                                              22                           (All Plaintiffs against All Defendants)
                                                                              23          188. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              24   every allegation set forth in paragraphs 1 through 187 of this Complaint as
                                                                              25   though set forth fully herein.
                                                                              26          189. By the acts and omissions described above, Defendants have
                                                                              27   affirmatively created or increased the risk that Plaintiffs would be exposed to
                                                                              28

                                                                                                                          87
                                                                                                                       COMPLAINT
                                                                                                                                                                        ER 720
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 772 of 1079


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                                                                              1    dangerous conditions, which placed Plaintiffs specifically at risk, and Plaintiffs
                                                                              2    were harmed as a result
                                                                              3           190. Defendants knew or should have known that their acts or omissions
                                                                              4    specifically endangered Plaintiffs, and were deliberately indifferent thereto.
                                                                              5
                                                                              6                            THIRTEENTH CAUSE OF ACTION
                                                                              7                                 Uncompensated Taking
                                                                              8                       42. U.S.C. § 1983; U.S. Const. Amend. V/XIV
                                                                              9                      (Plaintiffs Alliance, Burk, and Frem Against City)
                                                                              10         191. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              11   every allegation set forth in paragraphs 1 through 190 of this Complaint as
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                              12   though set forth fully herein.
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                                                                              13         192. The Fifth Amendment mandates, in relevant part, that “private
                                                                              14   property [shall not] be taken for public use, without just compensation.” U.S.
                                                                              15   Const. amend. V. The Fifth Amendment is applied to the states through the
                                                                              16   Fourteenth Amendment. Chicago, Burlington, & Quincy R.R. Co. v. City of
                                                                              17   Chicago, 166 U.S. 226 (1897). The actions by the City, as described in detail
                                                                              18   supra, have limited, damaged, and/or burdened the property owners’ so
                                                                              19   substantially they rise to the level of a regulatory taking, yet no compensation has
                                                                              20   been provided.
                                                                              21         193. Upon information and belief, this was done with deliberate intent
                                                                              22   and/or reckless disregard of Plaintiffs’ rights. Plaintiffs seek an award of
                                                                              23   compensatory damages, injunctive relief, and the cost of attorneys’ fees in
                                                                              24   bringing this action.
                                                                              25   //
                                                                              26   //
                                                                              27   //
                                                                              28   //

                                                                                                                        88
                                                                                                                     COMPLAINT
                                                                                                                                                                        ER 721
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 773 of 1079


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                                                                              1                         FOURTEENTH CAUSE OF ACTION
                                                                              2    Municipal Liability for Unconstitutional Custom or Policy (42 U.S.C. § 1983)
                                                                              3                                 (Against All Defendants)
                                                                              4          194. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              5    every allegation set forth in paragraphs 1 through 193 of this Complaint as
                                                                              6    though set forth fully herein.
                                                                              7          195. Plaintiffs are informed, believe and allege that, at all times herein
                                                                              8    mentioned, Defendants City of Los Angeles and County of Los Angeles and their
                                                                              9    respective agents, with deliberate indifference, and conscious and reckless
                                                                              10   disregard to the safety, security, and constitutional and statutory rights of
                                                                              11   Plaintiffs, engaged in the unconstitutional conduct and omissions set forth above,
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Spertus, Landes & Umhofer, LLP




                                                                              12   all pursuant to policy, procedure, or customs held by the City and County of Los
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   Angeles.
                                                                              14         196. The actions and inactions of the City of Los Angeles and County of
                                                                              15   Los Angeles were known or should have been known to the policy makers
                                                                              16   responsible for that agency and occurred with deliberate indifference to the
                                                                              17   constitutional violations set forth above, and/or to the strong likelihood that
                                                                              18   constitutional rights would be violated as a result of its customs and/or policies.
                                                                              19         197. Plaintiffs seek an award of compensatory damages, injunctive relief,
                                                                              20   and the cost of attorneys’ fees in bringing this action.
                                                                              21   WHEREFORE, Plaintiffs pray for judgment against all Defendants, and each of
                                                                              22   them, as more fully set forth below.
                                                                              23   //
                                                                              24   //
                                                                              25   //
                                                                              26   //
                                                                              27   //
                                                                              28   //

                                                                                                                         89
                                                                                                                      COMPLAINT
                                                                                                                                                                         ER 722
                                                                              Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 774 of 1079


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                                                                              1                            VI.    PRAYER FOR RELIEF
                                                                              2          Plaintiffs pray for judgment against Defendants as follows:
                                                                              3          1.    Injunctive/equitable relief in a manner to be determined by law;
                                                                              4          2.    As to the federal claims and claims under the California constitution
                                                                              5    only, compensatory damages and other special, general and consequential
                                                                              6    damages according to proof;
                                                                              7          3.    An award of costs of suit, including attorneys’ fees; and
                                                                              8          4.    Such other and further relief as this Court deems just and proper.
                                                                              9
                                                                              10                     VII. DEMAND FOR JURY TRIAL
                                                                              11         Plaintiffs hereby demand a jury trial.
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                              12
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   Dated: March 10, 2020                  /s/ Elizabeth A. Mitchell
                                                                                                                           SPERTUS, LANDES & UMHOFER, LLP
                                                                              14                                           Matthew Donald Umhofer (SBN 206607)
                                                                                                                           Elizabeth A. Mitchell (SBN 251139)
                                                                              15
                                                                              16                                           Attorneys for Plaintiffs
                                                                              17
                                                                              18
                                                                              19
                                                                              20
                                                                              21
                                                                              22
                                                                              23
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                                                                              25
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                                                                              27
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                                                                                                                     COMPLAINT
                                                                                                                                                                    ER 723
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    No. ___________

                UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT

                    In re: COUNTY OF LOS ANGELES
                               Petitioner,
                                      v.
                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                     (Western Division - Los Angeles)
                               Respondent.

               LA ALLIANCE FOR HUMAN RIGHTS, et al.
                       Real Parties in Interest.

                    On Petition for a Writ of Mandamus in
                     Case No. 2:20-cv-02291 (C.D.Cal.)


                         EXCERPTS OF RECORD
                    VOLUME 5 (TRANSCRIPT VOLUME)


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     Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 776 of 1079

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                                #:18352




                        UNITED STATES DISTRICT COURT

                       CENTRAL DISTRICT OF CALIFORNIA

                       WESTERN DIVISION AT LOS ANGELES

                HONORABLE DAVID O. CARTER, JUDGE PRESIDING




     LA ALLIANCE FOR HUMAN RIGHTS,      )
     et al.,                            )
                                        )
                  PLAINTIFFS,           )
                                        )
               vs.                      ) LACV NO. 20-02291-DOC
                                        )
     CITY OF LOS ANGELES, et al.,       )
                                        )
                  DEFENDANTS.           )
     ___________________________________)




                    REPORTER'S TRANSCRIPT OF PROCEEDINGS

                            LOS ANGELES, CALIFORNIA

                            TUESDAY, APRIL 20, 2023

                                     9:07 A.M.




                        DEBORAH D. PARKER, CSR 10342
                           OFFICIAL COURT REPORTER
                        UNITED STATES DISTRICT COURT
                             350 WEST 1st STREET
                                  SUITE 4455
                        LOS ANGELES, CALIFORNIA 90012
                                (657) 229-4305
                          transcripts@ddparker.com



                   Deborah D. Parker, U.S. Court Reporter
                                                                                 ER 725
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                                #:18353




     APPEARANCES OF COUNSEL:

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           municipal entity:

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           FOR THE INTERVENOR, LOS ANGELES CATHOLIC WORKER:

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                  Deborah D. Parker, U.S. Court Reporter
                                                                                    ER 726
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                   Deborah D. Parker, U.S. Court Reporter
                                                                                 ER 727
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                                                                                       4


            1    LOS ANGELES, CALIFORNIA; TUESDAY, APRIL 20, 2023; 9:07 A.M.

            2                                       -o0o-

            3                THE COURT:     We're on the record in L.A. Alliance

            4   versus the County of Los Angeles.

            5                Counsel, just remain seated, but your appearances,

            6   please.

            7                MS. MITCHELL:      Good morning, Your Honor.

            8                Elizabeth Mitchell, on behalf of plaintiffs.

            9                THE COURT:     Nice meeting you.

09:07:03   10                MR. UMHOFER:     Good morning, Your Honor.

           11                Matthew Umhofer and also Cara Arnold --

           12                THE COURT:     Just a little bit louder.

           13                MR. UMHOFER:     Yes.

           14                Good morning, Your Honor.

09:07:08   15                Matthew Umhofer also for the plaintiffs.

           16                And Cara Arnold is making her first appearance in

           17   the case.     She's an attorney at our firm.

           18                THE COURT:     It's a pleasure.       It's nice meeting

           19   you.

09:07:15   20                MS. ARNOLD:     Thank you.

           21                THE COURT:     And then on behalf of the County,

           22   please.

           23                MS. HASHMALL:      Good morning, Your Honor.

           24                Mira Hashmall for the County of Los Angeles.

09:07:20   25                THE COURT:     Okay.    And I think we finally have


                              Deborah D. Parker, U.S. Court Reporter
                                                                                           ER 728
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                                                                                       5


09:07:22    1   power, so if you want to turn on the mic.

            2                MS. MYERS:     Yes, Your Honor.       Good morning.

            3                Shayla Myers, on behalf of the intervenors.

            4                THE COURT:     It should be a very short discussion

09:07:31    5   today.    And I was going to simply send out trial dates, but

            6   I wanted to be courteous.          I wanted to ask you your best

            7   thoughts about the -- setting dates, so let me start with

            8   LA Alliance for just a moment.

            9                MS. MITCHELL:      Your Honor, just looking at the

09:07:46   10   discovery that needs to be done --

           11         (Court Reporter requests clarification for the

           12         record.)

           13                MS. MITCHELL:      Thank you.

           14                Just looking at the discovery that has to be done,

09:07:58   15   I think a lot of it is going to depend on how difficult the

           16   County is here and what kind of discovery fights that we're

           17   going to be getting into.          But we think a reasonable date is

           18   probably -- for trial is probably in October.               We think we

           19   can get it done that quickly.

09:08:13   20                THE COURT:     Okay.    Anything you would like to add?

           21                MR. UMHOFER:     No, Your Honor.

           22                THE COURT:     And --

           23                MS. ARNOLD:     No.

           24                THE COURT:     Let me turn to the County.

09:08:21   25                What are your thoughts?


                              Deborah D. Parker, U.S. Court Reporter
                                                                                           ER 729
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09:08:21    1                MS. HASHMALL:      Thank you, Your Honor.

            2                Well, first, as you know, the County believes

            3   there's a binding settlement agreement between the parties.

            4                THE COURT:     I think we discussed that.          And I've

09:08:28    5   sent out an order.

            6                MS. HASHMALL:      Yes.

            7                THE COURT:     Now, let's move through that, because

            8   I tried to get dates and information from you.               I was just

            9   going to -- so I'm trying to get your best input.

09:08:37   10                MS. HASHMALL:      The next sort of threshold issue is

           11   whether the plaintiffs -- viable claims.             We have filed a

           12   motion to dismiss which is set for hearing on June 5th.

           13                THE COURT:     I'm aware of that.

           14                MS. HASHMALL:      As the Court may recall, we've done

09:08:50   15   prior pleading challenges but have not received a ruling

           16   from the Court.       And so the scope of potential claims,

           17   particularly because the plaintiffs have not been able to

           18   establish standing -- a fact noted by the Ninth Circuit in

           19   its ruling in this matter and raised again in connection

09:09:05   20   with our pending motion to dismiss -- is going to

           21   significantly affect whether claims can go forward and what

           22   the nature and scope of discovery appropriate in the matter

           23   would be.

           24                THE COURT:     And having heard all that, what's your

09:09:17   25   best suggestion concerning a trial date?


                              Deborah D. Parker, U.S. Court Reporter
                                                                                           ER 730
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09:09:18    1                MS. HASHMALL:      My experience is typically a year

            2   from the scheduling conference is appropriate.

            3                THE COURT:     What's your input on behalf of the

            4   intervenors?

09:09:30    5                MS. MYERS:     We've obviously joined the motion to

            6   dismiss, particularly --

            7         (Court Reporter requests clarification for the

            8         record.)

            9                MS. MYERS:     So we've joined the motion to dismiss

09:09:39   10   with regards to the standing issues and the nuance issues.

           11   What the claims are, I think, will shape dramatically what

           12   the discovery is.       So we think a year is probably closer in

           13   light of what, I assume, will be the disputes between the

           14   plaintiffs and the County with discovery.

09:09:57   15                THE COURT:     Say that again.

           16                MS. MYERS:     A year would be appropriate, given

           17   what we assume will be the disputes between the plaintiffs

           18   and the County on discovery.          And we don't know how

           19   plaintiffs are going to respond to any discovery request

09:10:08   20   related to standing, too.

           21                THE COURT:     Let me ask both of you, what -- just

           22   your guesstimate, not holding you to the length of the

           23   trial.    What I don't want to do is have a jury around, let's

           24   say, the Jewish/Christian holidays, for instance, in

09:10:28   25   December, because you've got trouble then holding that jury


                              Deborah D. Parker, U.S. Court Reporter
                                                                                           ER 731
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09:10:31    1   together.

            2                So what's your thought?        And I'm not holding you

            3   to this representation at all.           I'm just trying to get a --

            4   kind of guesstimate about what your time frame would be.

09:10:44    5                MS. MITCHELL:      Your Honor, given what we know

            6   about how the Court conducts trials and how much we can get

            7   done in those days, we think that two weeks is probably

            8   sufficient for plaintiffs.

            9                THE COURT:     What are your best -- I'm not holding

09:10:57   10   you to this trial length.

           11                MS. HASHMALL:      Well, I think very few claims

           12   should survive Rule 56 motion practice, if they survive the

           13   Rule 12 motion; but if we're there, I would say five to

           14   seven days.

09:11:13   15                MS. MYERS:     We don't have an opinion on that.

           16                THE COURT:     Okay.    So let's just take the outside

           17   parameter of two weeks.         It could be longer.       Has there been

           18   any preliminary discussion concerning discovery between the

           19   parties?     In other words, since our last meeting, has there

09:11:32   20   been some informal discussion?           And I don't want to know

           21   what that is, but you anticipate running into some

           22   obstacles, you say, from the County.            I don't know if that's

           23   true or not.      I don't know what might be privileged.               I

           24   don't know --

09:11:46   25                MS. MITCHELL:      Sure.    Your Honor, at the outset,


                              Deborah D. Parker, U.S. Court Reporter
                                                                                               ER 732
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09:11:47    1   we anticipate needing e-mails.           We anticipate needing --

            2   harvesting cell phones certainly of supervisors and senior

            3   staff.    So when we look at those significant issues -- and

            4   we expect a lot of pushback from the County -- we are

09:12:02    5   looking at probably a lot of motion practice, which is going

            6   to take some time.

            7                We reached out to the County to have the initial

            8   Rule 26 conference.        They would not engage with us, so we

            9   have not discussed it amongst the parties.              But looking at

09:12:16   10   what we are looking at, I do think there's going to be some

           11   discovery disputes.

           12                THE COURT:     Okay.    I'm not too concerned about

           13   participation or nonparticipation at this point in a formal

           14   26 scheduling conference.         But I think your input today is

09:12:39   15   going to be valuable, because I will set dates, and I

           16   started to set dates without input from you.              I re-thought

           17   that, trying to get the best, you know, thought you have and

           18   to share transparently what my concerns are.

           19                If there's going to be difficulty between the two

09:12:54   20   of you in terms of discovery, I'd like to know what that is

           21   as quickly as possible.         I agree with you to some extent

           22   that perhaps January might be the best date, but I'm not

           23   going to set that date.         I'm probably going to set an

           24   October date, but I want to go back and think about that for

09:13:14   25   five or 10 minutes.        And what that will do is, it will put


                              Deborah D. Parker, U.S. Court Reporter
                                                                                           ER 733
            Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 785 of 1079

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                                           #:18361

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09:13:18    1    all of you in a position of responding quickly to discovery

            2    or not responding to discovery.           So if I'm running into

            3    discovery problems, I might as well know that between the

            4    two of you just as quickly as possible.

09:13:35    5                 Do you have any more input?          If not, the motion to

            6    dismiss has been filed, noted by the Court.              The opposition

            7    is due.    There are prior rulings handed down.             I want to

            8    look at those prior rulings in addition to whatever

            9    additional claims that have been brought.

09:13:58   10                 And do you have any further input?           I'd just like

           11    about five or 10 minutes to sort out what would be

           12    appropriate.

           13                 L.A. Alliance?

           14                 MS. MITCHELL:      No, I don't think so, Your Honor.

09:14:10   15    I think beyond the discovery dispute, there's likely to be

           16    Rule 56 practice, as -- raised and plaintiffs are likely to

           17    bring that as well.        And so, I think that's the only other

           18    consideration.

           19                 There's likely to be expert discovery.             We think

09:14:25   20    that if we move quickly -- and we do think we should move

           21    quickly on this -- that we can get all of that done, but

           22    it's going to take dedication.

           23                 THE COURT:     Let me turn to the County.

           24                 MS. HASHMALL:      Your Honor, I do think we should

09:14:37   25    clarify exactly what has happened and not happened in


                               Deborah D. Parker, U.S. Court Reporter
                                                                                             ER 734
            Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 786 of 1079

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09:14:41    1    connection with discovery in this matter.

            2                 Back in 2021, we tried to engage with plaintiffs'

            3    counsel with regards to the Rule 26 process.              We even

            4    initiated written discovery because many of the local rules

09:14:51    5    in the Central District actually encourage the parties to

            6    move expeditiously.        They balked at that.        We've not engaged

            7    on the Rule 26 process.         It would be requested and obtained

            8    a stay of the proceeding.         So it is not accurate to suggest

            9    that any intransigeance on our part is why the parties have

09:15:10   10    not conducted discovery.

           11                 The reason there was no Rule 26 conference is

           12    because the Court set this scheduling conference at the

           13    April 20th hearing on a time frame where the parties had

           14    already missed the scheduling time frame for conducting that

09:15:28   15    Rule 26 conference.

           16                 THE COURT:     I understand that concern.

           17                 MS. HASHMALL:      And with regard to discovery, you

           18    got to establish standing before you can do discovery in a

           19    case where you're attempting to legislate executive

09:15:38   20    decision-making about the County's resources in the absence

           21    of any cognizable injury under federal law.              You know, we do

           22    believe the Rule 12 motion is critical and --

           23                 THE COURT:     Waiting for the opposition.          And I

           24    think that's due in a week or so.           I didn't look at the date

09:16:00   25    before I came out.       So that will be resolved, one way or the


                               Deborah D. Parker, U.S. Court Reporter
                                                                                             ER 735
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09:16:03    1    other, rather quickly, okay?

            2                 Ms. Myers.

            3                 MS. MYERS:     I do think October, given the dates

            4    that have been articulated and given what I think is already

09:16:13    5    clear about the intransigence between the two parties -- the

            6    two primary parties related to this.            I expect that there

            7    will be significant motion practice, and I would hate to

            8    waste the Court's time with a date that is unreasonable,

            9    literally given the timelines for motion practice in order

09:16:30   10    to get rulings and those kinds of things.              And so I would

           11    just -- I would just say that January seems like a more

           12    reasonable date under the circumstances, but --

           13                 THE COURT:     When Mayor Bass and chairwoman --

           14    Supervisor Hahn and President Paul Krekorian with counsel

09:16:53   15    asked for a recess -- not on the last hearing, but the prior

           16    hearing, none of you as counsel were present.

           17                 I think it's widely known now that the Court was

           18    requested to recess for 90 days, while Mayor Bass went back

           19    to Washington, and there was some other discussion that will

09:17:17   20    remain private.

           21                 I think the Court was very gracious.            I was

           22    inclined not to grant that.          I listened to the parties,

           23    thought that that was a reasonable effort and agreed with

           24    Mayor Bass to that 90 days.

09:17:28   25                 You know, my main concern here, amongst others, is


                               Deborah D. Parker, U.S. Court Reporter
                                                                                             ER 736
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                                           #:18364

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09:17:31    1    the unaccountability of the settlement offered to the Court.

            2    And it's that report -- a simple report to the Court,

            3    amongst other things -- that's causing me great concern.

            4                 My colleague, Judge Pregerson, I haven't spoken to

09:17:52    5    him recently.      He's in the middle of a contempt proceeding

            6    fairly soon with the County where there is actually a

            7    consent decree.       And whatever that ruling is, that's going

            8    to before maybe -- I don't know if your law firm is

            9    representing that or Bob Dugdale, maybe Todale [phonetic]

09:18:10   10    is.

           11                 Are you involved in that?

           12                 MS. HASHMALL:      I am not.

           13                 THE COURT:     Well, let me make you aware of it.

           14    Apparently, five years ago, a consent decree was signed

09:18:20   15    concerning mental health at the Orange County -- strike

           16    "Orange County" -- at the Los Angeles Jail.

           17                 Judge Pregerson now has undertaken a contempt

           18    proceeding in that matter.          And my concern transparently

           19    with all of you is:        If the County was in contempt, if that

09:18:35   20    wasn't fulfilled, let alone with a consent decree given by

           21    the County -- and I don't know when Judge Pregerson is going

           22    to rule -- why would this Court ever accept a simple report

           23    to the Court with no accountability in this matter?

           24                 I think we've been through that discussion a

09:18:51   25    number of times.       You chose to raise it again today.              I give


                               Deborah D. Parker, U.S. Court Reporter
                                                                                             ER 737
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                                           #:18365

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09:18:55    1    that back to you as simply not accountability and that's why

            2    the settlement amongst other reasons has been turned down.

            3                 You also have the power, regardless of your public

            4    positions, to resolve this at any time.             You both know that.

09:19:13    5    So this idea that you can't resolve it, you can resolve

            6    this.

            7                 And I ask this one question for all of you:               Can't

            8    we do much better?       I mean, with this crisis on our hands,

            9    can't all us just do much better?

09:19:29   10                 What that "much" is, I'm not certain yet.             I don't

           11    want to dictate terms.        I don't think it's appropriate for

           12    me to give you a number, but I think it's pretty widely

           13    known, and I keep going back to Dr. Sherin's report.                   And in

           14    2019, Dr. Sherin says, I need 3,000 subacute spaces, and he

09:19:47   15    undertakes a pilot program and the County undertakes a study

           16    called the "Mercer Report."          I wrote about that in my

           17    opinion.     It's in a footnote, for goodness sakes.             You're

           18    all aware of that.       There were initially 500 acute spaces.

           19    He was given 164.       Go back and check the history of this.

09:20:05   20                 Then later on there was a little bit of a fill-in

           21    by the County.      But if you talk to Jon Sherin, when I could

           22    talk to him, that was a very difficult place for the

           23    Department of Mental Health to be in this kind of

           24    incremental need.       Now, I don't know if he deserved 3,000

09:20:22   25    subacute bed spaces.        I don't if he deserved 500, but it was


                               Deborah D. Parker, U.S. Court Reporter
                                                                                             ER 738
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                                           #:18366

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09:20:26    1    clear in the report that was actually put forward by the

            2    County.

            3                 So while it's not the reason, you know, my concern

            4    is -- and I'm praising you for the progress.              I want you to

09:20:37    5    hear that.     I recognize you got 300.         Probably the Court is

            6    badgering up to 1,000.         But if, in fact, you have the need

            7    of 1,000 or 1,500, if you count the 500 for the seniors, and

            8    that's in 2019, which is one-half of what John Mercer is

            9    asking.    And then you're asking the Court to also approve

09:21:02   10    four years later, on a five-year program, which means

           11    nine years, half of what your Department of Mental Health is

           12    asking in 2019:       1,500?

           13                 Well, I could probably get through that if there's

           14    accountability, but there's got to be accountability here.

09:21:25   15    This document you submitted to me doesn't have

           16    accountability, and I'm not going to accept a simple report.

           17    I've alluded to the City -- I've been, I think, working very

           18    well with the City.        Haven't interfered in one way or

           19    intruded with the City, including Mayor Bass, you know,

09:21:41   20    making her best efforts.

           21                 So you can quite frankly settle if you chose to

           22    without me, but you know that the Court doesn't have the

           23    approval for the settlement.          I think it's inadequate, and I

           24    think there's no accountability here.

09:21:54   25                 And so with that in mind, I'm inclined -- but I


                               Deborah D. Parker, U.S. Court Reporter
                                                                                             ER 739
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09:21:57    1    want to take a few moments and finish this cup of coffee --

            2    to October, because if I set a date in October, that puts

            3    tremendous pressure on you, but I know two things:                Are you

            4    really going to settle outside the Court's bailiwick?                  And

09:22:14    5    if you're not and I've got discovery problems, I'll handle

            6    those discovery problems.         Those won't go to a

            7    Special Master.       And so I'll know very quickly what the

            8    problem is, if there is a problem between the two of you.

            9                 Now, I can delay this with a scheduled 26 and give

09:22:30   10    you more time.      And I think if we can work together, we can

           11    come up with some dates today.           And, quite frankly, I think

           12    that 90 days that I granted before was extraordinarily

           13    gracious.     And I regret it, quite frankly.           I should have

           14    set it two weeks after that initial meeting.

09:22:47   15                 I'll be back with you in about 15 minutes or

           16    20 minutes.     If you want to go downstairs and get a cup of

           17    coffee, why don't we just say at 9:45, okay?              I'll have you

           18    out of here.      Thank you.

           19                 MS. MITCHELL:      Thank you.

09:22:58   20                 MS. HASHMALL:      Thank you, Your Honor.

           21          (Recess taken from 9:23 a.m. to 9:44 a.m.)

           22                 THE COURT:     These will be the dates, and I'll be

           23    transparent concerning my reasoning with both of you,

           24    whether you agree with it or not.

09:45:10   25                 First, the trial date will be on Monday,


                               Deborah D. Parker, U.S. Court Reporter
                                                                                             ER 740
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09:45:19    1    November 6th.      I'll check with the Clerk of the Court to

            2    make certain jurors are available on Monday, but Kiry will

            3    be, I think, very cooperative.           If it's a two-week estimate,

            4    you'll probably finish by the 16th; if not, I understand

09:45:42    5    that that's Thanksgiving week.           We would have to go over a

            6    week and we would resume on the 27th or the 28th, depending

            7    upon jurors.      Because in 40-some-years now, I've never been

            8    able to hold a jury together over Thanksgiving.               They're

            9    catching good fares on a Friday night; because on a Friday

09:46:01   10    night, they're $300.        Thanksgiving week, they're three times

           11    that amount.

           12                 So I would expect, if we don't finish, that you

           13    should plan that we would be in recess through -- the

           14    20th through the 24th, because Thanksgiving is on the 23rd.

09:46:16   15    If we do finish, hopefully, the jury can go into

           16    deliberations.      Now, that assumes two weeks, and I'm not

           17    holding you to it.       It may be longer.

           18                 The pretrial will be on October 24th.            The motion

           19    cut-off date, which is the actual day that we will hear

09:46:34   20    motions, will be on October 10th.           That means you're filing

           21    30 days prior.

           22                 Your discovery cut-off date will be September 8th.

           23    It's a Friday.

           24                 Now, let me be completely transparent with you.

09:46:49   25    You've raised, regardless of who's correct, that there might


                               Deborah D. Parker, U.S. Court Reporter
                                                                                             ER 741
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09:46:52    1    be some difficulty during discovery between the two of you.

            2    This is going to flesh out the problems concerning discovery

            3    immediately.      And so if there is a problem, I'm going to

            4    know about it literally within a month or two.

09:47:08    5                 If we delay until January, we're not treating this

            6    as the emergency that it is, but I'm flexible.               Along the

            7    way, I do expect all parties to cooperate in discovery.                     And

            8    the reason for that is, the Court has the power of adverse

            9    inferences in front of the jury.           And I'll remind you both

09:47:26   10    of that.     So I'm encouraging your cooperation so that I

           11    don't get into a position potentially of an adverse

           12    inference in front of the jury.

           13                 I will resolve all discovery disputes in my court

           14    and it will not go to a Special Master, so I'll know the

09:47:42   15    cooperative level very quickly between the two of you.

           16                 I don't need a formal write up.           I'll simply put

           17    this in the docket to get this case moving.              I think this

           18    has "emergency" written all over it.            I think I've delayed

           19    further or long enough concerning listening to the parties

09:47:56   20    ask the Court for additional time, and I've been cooperative

           21    in terms of those 90 days, but it ends here.

           22                 So November 6th for your trial; October 24th,

           23    pretrial.     Motion cutoff, which is the day I'm hearing

           24    motions, on October 10th.

09:48:10   25                 September 8th is discovery cutoff, and that's for


                               Deborah D. Parker, U.S. Court Reporter
                                                                                             ER 742
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09:48:12    1    experts and laypeople.        And the reason for that is, I'm not

            2    going to push your discovery with your experts earlier in

            3    case you decide to settle outside the Court's -- from

            4    outside this Court's -- well, in case you decide to settle

09:48:30    5    privately.     I don't want to run up the costs, in terms of

            6    the experts, okay?

            7                 All right.     We'll put that out in a minute order.

            8    I want to thank you very much for your courtesy.

            9                 MS. HASHMALL:      Your Honor, may I raise one more

09:48:39   10    thing, please?

           11                 THE COURT:     Please.    Certainly.

           12                 MS. HASHMALL:      It's been a year or maybe more

           13    since the plaintiffs withdrew as counsel for one of the

           14    individual plaintiffs, Gary Whitter.            The County and the

09:48:49   15    City moved jointly for an OSC re Dismissal regarding that

           16    individual.

           17                 THE COURT:     Do I have that on my docket?

           18                 MS. HASHMALL:      It was filed in October and it has

           19    not been ruled on.

09:48:57   20                 THE COURT:     You know, I've neglected it.          I'll go

           21    back and look at that.        Thank you.      It's probably sitting

           22    there.    I didn't see it, okay.         I'll resolve it for you.

           23                 MS. HASHMALL:      Thank you.

           24                 THE COURT:     Thank you very much for your courtesy.

09:49:07   25


                               Deborah D. Parker, U.S. Court Reporter
                                                                                             ER 743
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09:49:07    1          (At 9:49 a.m., proceedings were adjourned.)

            2                                       -oOo-

            3                                  CERTIFICATE

            4                 I hereby certify that pursuant to Section 753,

            5    Title 28, United States Code, the foregoing is a true and

            6    correct transcript of the stenographically reported

            7    proceedings held in the above-entitled matter and that the

            8    transcript page format is in conformance with the

            9    regulations of the Judicial Conference of the United States.

           10

           11    Date:    May 9, 2023

           12

           13

           14                                          /s/DEBORAH D. PARKER
                                             DEBORAH D. PARKER, OFFICIAL REPORTER
           15

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                               Deborah D. Parker, U.S. Court Reporter
                                                                                             ER 744
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 1                       UNITED STATES DISTRICT COURT

 2                      CENTRAL DISTRICT OF CALIFORNIA

 3                               WESTERN DIVISION

 4               THE HON. DAVID O. CARTER, JUDGE PRESIDING

 5

 6   LA ALLIANCE FOR HUMAN RIGHTS,      )
     et al.,                            )
 7                                      )
                         Plaintiffs,    )
 8                                      )
               vs.                      ) No. LA CV 20-022291-DOC
 9                                      )
     CITY OF LOS ANGELES, et al.,       )
10                                      )
                         Defendants.    )
11   ___________________________________)

12

13

14                  REPORTER'S TRANSCRIPT OF PROCEEDINGS

15                          Los Angeles, California

16                          Thursday, April 20, 2023

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19

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                                #:15527

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                                #:15528

                                                                                 3


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17   ALSO PRESENT:

18               Supervisor Janice Hahn

19               Supervisor Lindsey Horvath

20               Paul Krekorian, Acting Mayor

21               Dave Michaelson, Counsel for the Mayor

22               Cheri Todoroff, Director

23               Special Master Michele Martinez
                 Daniel Conway, LA Alliance
24

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 1        LOS ANGELES, CA.; THURSDAY, APRIL 20, 2023; 9:09 AM

 2                                      -oOo-

 3               THE COURT:      We're on the record.        First of all,

 4   once again, good morning.

 5               And Deb, are you okay?         Okay.    If there's any

 6   issues at all, just stop me.

 7               COURT REPORTER:       Wil is writing, Your Honor.

 8               THE COURT:      Thank you very much.

 9               And I'd like to begin with the appearance of the

10   parties with a little bit more formality today.               And that

11   is, on behalf of the Plaintiff, Ms. Mitchell and Matt, would

12   introduce yourselves, please, for the record.

13               MS. MITCHELL:      Elizabeth Mitchell on behalf of

14   LA Alliance.     With us is also Daniel Conway, representing

15   LA Alliance for Human Rights today as well as the individual

16   Plaintiffs.     And we have Matthew Umhofer here as well.

17               THE COURT:      Thank you very much.        It's a pleasure.

18               And Chairwoman Hahn, would you begin, and then

19   whoever's with you.       And I know the names, but I need a good

20   record.    And then I want to recognize the president.

21               MS. HAHN:     Yes.    Good morning, Judge Carter.          I'm

22   Supervisor Janice Hahn, and I'm currently the chair of the

23   Los Angeles County Board of Supervisors.

24               And here's our newest supervisor.

25               MS. HORVATH:      Good morning, Your Honor.



                                                                                     ER 748
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 1               THE COURT:      Good morning.

 2               MS. HORVATH:      Lindsey Horvath, I am the newest

 3   supervisor for the 3rd District, vice chair of the board.

 4               THE COURT:      It's a pleasure to meet you.

 5               MS. HORVATH:      Nice to meet you.

 6               MS. LAI:     Good morning, Your Honor.          Ana Lai here

 7   on behalf of the County of Los Angeles from county counsel.

 8               THE COURT:      Thank you.     It's a pleasure.

 9               MS. HASHMALL:      Good morning, Your Honor.

10   Mira Hashmall here from Miller Barondess for the County of

11   Los Angeles.

12               THE COURT:      It's a pleasure.       Nice to see you

13   again.

14               I'm honored to have you here once again,

15   President of Los Angeles Council.           And I understand from my

16   clerks that you're the acting mayor today.

17               MR. KREKORIAN:       As of the moment, yes, Your Honor.

18               THE COURT:      It's a pleasure.

19               MR. KREKORIAN:       I'm wearing both hats.        It's good

20   to be with you.

21               THE COURT:      It's good to be with you.

22               And also, this is Paul Krekorian, acting mayor

23   today in the absence of Mayor Hahn.

24               The Intervenors, please.          And I mean -- I'm sorry,

25   Mayor Bass.     We gave you two positions today, Mayor Bass.



                                                                                     ER 749
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 1                                  (Laughter.)

 2               MR. KREKORIAN:       And, of course, in addition to

 3   Mr. Marcus, Dave Michaelson is here as counsel for the

 4   mayor.

 5               THE COURT:      It's a pleasure.       And you're more than

 6   welcome to come up and join us closer at any time with

 7   participation.

 8               Okay.    Any other council members here who might be

 9   recognized?

10               MS. MYERS:      Yes, Your Honor.       Shayla Myers from

11   the Legal Aid Foundation of Los Angeles on behalf of the

12   Intervenors, Los Angeles Community Action Network and

13   Los Angeles Catholic Worker.

14               THE COURT:      It's a pleasure.

15               And Ms. Sobel.

16               MS. SOBEL:      Carol Sobel on behalf of all of the

17   Intervenors.

18               MS. HAHN:     Judge, I forgot to introduce

19   Cheri Todoroff, who is the director of our Homeless

20   Initiative.

21               THE COURT:      It's a pleasure.       You're more than

22   welcome to approach any of your clients or consult with them

23   at any time during the process.

24               MS. HAHN:     Thank you.

25               THE COURT:      First, I want to express the



                                                                                     ER 750
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 1   appreciation for the numerous mediation and continued

 2   mediation efforts of Special Master Michele Martinez who's

 3   here today and Judge André Birotte.

 4               It's been 90 days since I last saw you when the

 5   parties asked for a continuance.           Mayor Bass wanted to talk

 6   to President Biden and all the parties in agreement that

 7   they wanted this 90 days to discuss the matter.               So your

 8   courtesy is appreciated in attending today.              And I hope you

 9   got through the security downstairs.            I didn't get a last --

10   I didn't get the call till the last moment.              So I waived the

11   searches, except there are no weapons allowed.

12               And for the -- if there are press members here,

13   you are more than welcome to use a computer.              Apparently,

14   there was some confusion last time.            It's my understanding

15   that your generation doesn't write cursively anymore.

16                                     (Laughter.)

17               THE COURT:      I'm just kidding you.        But use the

18   computer, but please don't take pictures and no recording.

19   But beyond that, you're than welcome to use the computer.

20               We return today after the parties requested this

21   90-day continuance for the hearing held on January 17th,

22   2023.   And at that hearing, the Court considered the

23   County's proposed settlement agreement submitted October of

24   2022, which, for my record, is Docket 485.

25               The Court traced the history of this litigation



                                                                                     ER 751
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 1   and the state of homelessness in Los Angeles pursuant to

 2   Docket 518, and Mayor Karen Bass, Chairwoman Janice Hahn and

 3   City Council President Paul Krekorian were present on behalf

 4   of the City and County of Los Angeles.

 5               After the Court made comments, the parties

 6   subsequently requested a private conference in which

 7   Judge Birotte and Special Master Martinez were present.                 The

 8   Court was not.      Plaintiffs also participated.

 9               And following that conference, the parties

10   represented in open court that in light of the new

11   leadership at the city and county level, they will meet and

12   confer to review and amend the terms of the County's

13   settlement agreement, particularly in relation to the number

14   of mental health beds and monitoring, which is also

15   contained in Docket 518.

16               And the parties requested and the Court granted an

17   additional 90 days to do so.          And on April 18th, 2023, after

18   a request for an extension of time, which the Court granted

19   two days ago, during the evening hours, the parties

20   submitted an addendum to the proposed settlement agreement

21   at Docket 533.

22               I represent to you I've read all of your documents

23   and gone over them thoroughly during the evening hours.

24   We've spent the last 48 hours nonstop since those were

25   filed.



                                                                                     ER 752
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 1               For the purposes of transparency, the Court

 2   will make available the transcript of today's proceedings

 3   after court today.       And in recognizing

 4   City Council President Paul Krekorian as a representative

 5   and the acting mayor of Los Angeles, Mr. Krekorian, the

 6   first question is to you.

 7               Is the City of Los Angeles satisfied with the

 8   terms of the proposed settlement?

 9               MR. KREKORIAN:       Well, thank you, Your Honor.          And

10   let me say first how satisfied the City of Los Angeles is in

11   our new relationship with the County and how important it is

12   that we continue to work together locking arms, as

13   Mayor Bass and Chair Hahn declared during the State of the

14   City this week.

15               And that was, I think, a monumental change in this

16   relationship.      And I think the settlement agreement reflects

17   certainly significant progress since the last time that we

18   were here.     And thanks to Your Honor's intervention, the

19   increase in the number of beds that are being proposed in

20   the settlement agreement are welcome and will make a

21   difference.

22               If the question is will this be sufficient to meet

23   the moment, I think the answer has to be "no."               The addition

24   of a thousand beds over the course of three and a half years

25   means an addition of fewer than one bed a day, which likely



                                                                                     ER 753
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 1    won't even keep up with the increase in demand.

 2                The additional 450 vouchers that are provided

 3    under the settlement agreement, I have concerns about

 4    because of the fact that they are for RCFEs and adult care

 5    facilities, and there's no guarantee that those facilities

 6    will even be available to be used.

 7                It is, as I understand it, the trend in that area

 8    of care that RCFEs are actually tending to close now, rather

 9    than open new facilities.

10                So and that's not within the County's control, of

11    course.    But it is a question that we as -- we collectively

12    have to address, whether there will be sufficient capacity

13    to be able to use those vouchers.

14                So I'm concerned that while this definitely shows

15    progress and it's consistent with the progress that we've

16    made in this relationship, if you're asking me whether this

17    will be a transformative agreement, it will not be.                It will

18    an incremental improvement.          But I can't see that this,

19    standing by itself, will meet the needs that we have now for

20    the seriously mentally ill.

21                That's not to say that we will not continue to do

22    this work.     And I have -- I'm absolutely confident in all

23    five supervisors' commitment to this work and commitment to

24    working with the City and commitment to expanding

25    significantly the capacity that's available for those who



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 1    are in need of mental health care.

 2                This agreement simply is, I hope, only one small

 3    part of that larger effort.          In my view, it's hard to image

 4    that the claims presented by the Plaintiffs are sufficiently

 5    met by the settlement.

 6                THE COURT:      Okay.

 7                MR. KREKORIAN:       The Plaintiffs have a different

 8    view, apparently.       But I think if we -- if we are going to

 9    meet this moment, it's going to take transformative change,

10    and this agreement does not reflect transformative change.

11                THE COURT:      I may come back to you in just a

12    moment.

13                I'm going to turn to the Interveners and then I'll

14    turn back to the respective parties with the proposed

15    settlement.

16                So either Ms. Myers or Ms. Sobel, if you care to

17    enter into this discussion; if not, I'll move on.

18                MS. MYERS:      Sure, Your Honor.

19                THE COURT:      And the same question that I've asked

20    the council president.

21                MS. MYERS:      Yeah.    Obviously, and we just want to

22    be clear on the record, that the Intervenors had no part in

23    the negotiations of any the settlements and agreements in

24    this.    Despite the Intervenors always being willing to come

25    the table, the LA Alliance and the -- and the County and the



                                                                                       ER 755
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 1    City made the decision to do that without the presence of

 2    homeless service organizations at the table.               So just to be

 3    clear on that, the first time we saw this was the same time

 4    the Court saw this.

 5                THE COURT:      About 7:00 or 8:00 on Wednesday night?

 6                MS. MYERS:      Yeah.    And --

 7                THE COURT:      I'm sorry.     On Tuesday night.

 8                MS. SPEAKER:      I mean, obviously, I agree with

 9    Council President Krekorian that this is not sufficient to

10    solve the problem.       Obviously, no resources that are

11    available in the County or the City right now are available

12    to solve this problem.        I think the County's commitment

13    matches the City of Los Angeles's commitment, though, and

14    the settlement that was put forward months and months ago

15    approved by this Court.

16                I think it is very clear that the City Council, in

17    approving their settlement that was present, in no way met

18    the moment.     And so I think it's challenging to sit here and

19    attempt to hold the County responsible for a different

20    standard than the City was held in committing largely

21    resources that were already committed by the City of

22    Los Angeles to build shelter beds and housing.

23                The reality is, is the City of Los Angeles's

24    agreement to build approximately 12,000 new beds was only

25    60 percent of an exclusion of the population that I think



                                                                                       ER 756
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 1    the County is struggling to provide services to.

 2                THE COURT:      And another 40 percent of substance

 3    and mental health.

 4                MS. SPEAKER:      Exactly, Your Honor.         And it's not

 5    just excluding the 40 percent.           I think it's excluding

 6    people with mental health issues and substance abuse issues

 7    from the number, and then taking 60 percent of that number.

 8                In no way is that meeting the moment we're in.                  I

 9    think President Krekorian made it clear last year that he

10    was meeting the moment as it was last year.              We're in a very

11    different time.      And certainly, the settlement agreement,

12    which Interveners objected to strenuously, in no way met

13    that moment because it locked in time the point in time

14    count from a year ago.

15                So the reality is, this case is not going to solve

16    homelessness.      I think Your Honor has been clear about that.

17    I think the council has been clear about that.               I think the

18    board of supervisors have been clear about that.                I think

19    the press has been clear about that.            I think the public has

20    been clear about that.        You cannot solve homelessness

21    through litigation.        What you can do is you can solve it

22    through dramatic political leadership and those sorts of

23    things.

24                I think this settlement agreement, while it is by

25    no means perfect, certainly matches the commitment that the



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 1    City of Los Angeles made last year.            And I think it's a --

 2    it's a reasonable response under the circumstances to the

 3    need, and it certainly matches the commitment to increase

 4    the number of beds.        It's not going to solve the problem.

 5    This problem is not going to be solved in this courthouse.

 6    So that's the Intervenors' position on that.

 7                The last thing that I want to express, though, is

 8    the Intervenors' ongoing concern with the lack of

 9    transparency with these proceedings related to the public.

10    The reality is, much of the -- much of the process in this

11    case has been pulled back into the back chambers of this

12    courthouse through ex parte communications, which the

13    Interveners continue to object to.

14                The reality is, these are incredibly important

15    issues that deserve public airing.            They deserve public

16    communications.      Whether it's about the enforcement of

17    Los Angeles Municipal Code 41.18, whether it's about the

18    city street strategies, whether it's about the increase in

19    beds, those sorts of things.

20                We have a political process and groups like the

21    Interveners and all of the other organizations and unhoused

22    folks deserve a right and the ability to participate in that

23    process.    When everything is being shoe-horned into

24    monitoring through a special master or through procedures

25    that are outside of the political process, it takes away the



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 1    political accountability.         And we continue to have

 2    significant concerns with that.

 3                That's all I would say at this point.             Thank you.

 4                THE COURT:      I may have some questions back to you

 5    in just a moment.

 6                MS. SPEAKER:      Yes, Your Honor.

 7                THE COURT:      Ms. Sobel.     And would you pull the

 8    microphone just a little bit closer because we are on

 9    CourtSmart.

10                MS. SOBEL:      I fully agree with

11    Council President Krekorian that this doesn't meet the

12    moment.    I think it's incredibly disappointing.

13                It's almost exactly 20 years ago that I filed the

14    Jones case.     And, to me, it is just remarkable that we are

15    talking about a settlement that is anchored in a threat

16    still of criminalization, that we have not moved forward,

17    that it took the City 16 years -- not 16 years -- 13 years

18    to build -- to increase the available beds for people who

19    were unhoused to 1250, and that included private builders.

20                There is no -- the focus of the City is wrong.

21    It's been wrong since the beginning.            It was wrong when the

22    economic roundtable told them 20 years ago that they needed

23    to do certain things to cut off the feeder pools into

24    homelessness.      And we are now at a point where the feeder

25    pools are increasing at a rate that is far greater than



                                                                                       ER 759
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 1    anything the City can imagine.

 2                I'm not suggesting that this isn't it a resolvable

 3    problem; I believe it is.         But is not resolvable through

 4    expanding shelter beds.

 5                THE COURT:      All right.     Let me turn to either --

 6    it doesn't matter -- either LA Alliance or to the County.

 7    Because this is really centered over the County, not the

 8    City at this time.

 9                MS. MITCHELL:       I'm happy to talk, Your Honor.

10                THE COURT:      So Ms. Mitchell.

11                MS. MITCHELL:       Here, I'll go ahead and move up

12    here since there's a microphone.

13                We don't disagree with Ms. Myers that this has

14    never been about solving homelessness.             It's always been

15    about addressing the immediate crisis on the street.                 The

16    emergency needs to be addressed.

17                And when we filed this back in 2020, were going

18    the speed of a turtle, right.          We were -- we were focused

19    exclusively on permanent supportive housing.               All of our

20    resources were going to permanent supportive housing.                 And

21    the County, to be quite frank, was floundering through

22    Measure H, was not matching any of that.

23                And so we filed this to say we need to re-divert

24    some of those resources to immediate crisis control.

25    Because as the crisis spins out of control further and



                                                                                       ER 760
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 1    further and further down the rabbit hole, more and more

 2    people are dying, more and more people are getting sick,

 3    right.    We have to fill that basin.

 4                You cannot treat a broken leg on a surgeon's table

 5    without treating the gunshot wound first.              And we've always

 6    said we first have to address the gunshot wound.                Let's

 7    address the crisis on the street, and then we can talk about

 8    the long-term issues.        And that's what this has always been

 9    about.    And I think that the City did a great job stepping

10    that up last year, which is what the settlement was.

11                This year what we're looking at right now, this

12    agreement, I think is largely -- the forest is being lost

13    for the trees, Your Honor.

14                We don't disagree that 1500 beds is not going to

15    solve this.     I don't think the County disagrees that 1500

16    beds is not going to solve this, right.             We probably are

17    looking at this point maybe 8,000 beds.             If we're talking

18    about mental health, if we're talking about substance use

19    disorder, if we're talking about board and care patches,

20    that's probably what we're looking at.

21                But I think the County will also say the resources

22    are not available, and the County can do what the County can

23    do.   And in stepping up to 1500 beds, it's five times better

24    than we've ever seen before.          And so something like that is

25    significant, and should be observed.



                                                                                       ER 761
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 1                But what I want to do is take a step back from

 2    just the bed count, because we've been so focused on the bed

 3    count, and look at the rest of the agreement.               Because

 4    that's why LA Alliance ultimately agreed to this.                And I'm

 5    looking at the agreement right now.            But that's why

 6    LA Alliance ultimately agreed to this.             It was not because

 7    of the bed count, which has gotten significantly better.

 8    And thank you to, Your Honor, for -- for putting that

 9    pressure on.      There's no doubt about that.

10                But if you look at the shelter agreements, you

11    look at the services agreements, you look at the home teams,

12    you look at all of that crisis that's being stepped up, we

13    cannot discount that.

14                We entered into this agreement because, frankly,

15    the City told us that's what the City needs.               And I want to

16    look at the shelter projects that are being stood up right

17    now, all of the Project Roomkey and the Project Homekey,

18    they're being stood up right now.           There is no shelter

19    agreement that's in place, Your Honor.

20                For eight months, the City has been doing this,

21    and the County has been coming alongside without a shelter

22    agreement.     And all the Court has to do is walk into these

23    projects to see the problem with that.             You have people that

24    are going into these projects with mental illness, with drug

25    addiction, that are not being assessed for days, weeks,



                                                                                       ER 762
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 1    months that are not getting services --

 2                THE COURT:      Let me help you.       I am in those

 3    projects.

 4                MS. MITCHELL:       So Your Honor understands.         There

 5    is no services agreement with those projects.

 6                And so when we entered into this agreement with

 7    the City last year, we knew that, and we were all concerned

 8    about that.     But the City stepped up and did it anyway

 9    because they needed to meet the moment.             And the County is

10    ready to partner with the City on that.             And that is too

11    much of an emergency to throw out the window.

12                So when you look at all of the rest of it, you

13    look at the high-needs beds that are actually being

14    addressed, the number's not in here, but I'm told it's about

15    1,000 beds, that are being produced, unlicensed, high-needs

16    beds that the City is being given access to as they're going

17    through this encampment reduction process.

18                THE COURT:      The numbers are in the addendum.

19                MS. MITCHELL:       No, Your Honor.      The high-needs

20    beds.    I'm talking about the unlicensed, high-needs beds.

21                THE COURT:      Oh, I'm sorry.      Thank you.

22                MS. MITCHELL:       So if you look at this in the

23    totality, and you look at the dramatic situation we have on

24    the streets now, that is why we signed off on this.                That is

25    why we agree to it.        And that is why we continue to push for



                                                                                       ER 763
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 1    it, saying not only is this a good agreement for what it is,

 2    but it needed to have been done eight months ago.                It needed

 3    to have been done six months ago.           And here we are in April,

 4    watching these projects flounder.

 5                And I'm hearing it from service providers.               I'm

 6    hearing it from residents, about the crisis that we're

 7    facing right now.       And we can't keep going.

 8                Because sure, we can fight, Your Honor.              And I'm

 9    happy to fight.      The Court has always known that.            We have

10    done a lot of business together in the past.               But what

11    you're looking at, at that point, is three years down the

12    road, Ninth Circuit arguments, and how bad is the crisis

13    going to be then?

14                So from our perspective -- and I can't speak to

15    the County's perspective, I'll let the County do that about

16    whether there's the sufficient funding available and that

17    kind of thing.      But from the Alliance's perspective, we need

18    to be clear that we need to move forward now.               We cannot

19    keep waiting and letting the perfect be the enemy of the

20    good.    So we've heard that a lot in this court.             And this is

21    what we're trying not to do here.

22                So with that, I will step back.            I'm happy to

23    answer any questions that the Court has.

24                THE COURT:      And I may come back to you as well.

25                Also to either Matt Umhofer or Darryl -- I'm sorry



                                                                                       ER 764
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 1    Daniel.    My apologies.      I know that the mayor of Sacramento

 2    was down here for a while also participating.

 3                Let me turn to any of you as counsel or the

 4    chairman of the board.        But the first question I have,

 5    regardless, is to Chairwoman Hahn.

 6                And first of all, let me continually express my

 7    appreciation in terms of your leadership or attempted

 8    leadership throughout the process.

 9                In Section A2 of this proposal -- and somebody's

10    going to help put that in front of you.             You shouldn't have

11    to do that.

12                MS. HAHN:      Thank you, Your Honor.

13                THE COURT:      You've got lots of staff here.

14                Proposal, Settlement Proposal 2A, if you put that

15    in front of the Supervisor.

16                MS. HAHN:      I see it.

17                THE COURT:      The effectiveness of this agreement is

18    expressly subject to and contingent upon approval by the

19    County's approval of settlement process, including by the

20    Los Angeles County Claims Board and the County Board of

21    Supervisors and by approval of the individual Plaintiffs.

22                You'll find that at Docket, for my record, 533-1

23    at 7, Section A2.

24                When does the County Board of Supervisors plan to

25    hold its public meeting regarding the approval of this



                                                                                       ER 765
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                                                                                  22


 1    proposed settlement agreement?

 2                MS. HAHN:      Your Honor, my understanding is that we

 3    would be approving that at our next -- if it's signed off

 4    today by you, Judge Carter, then we would officially approve

 5    it at our next open County Board of Supervisors meeting.

 6                THE COURT:      Let me -- in my 25 years on the

 7    federal bench dealing with the SEC, the FTC, any government

 8    agency, this Court has never approved a settlement until the

 9    parties have signed off on that settlement.              Let me repeat

10    that.

11                So what I find unique in this is that you don't

12    have an approved settlement from your parties on the

13    County's side, and you're asking the Court, then, to sign

14    off on no vote.

15                The second thing is, when I look at this proposed

16    settlement, I'm somewhat stunned in terms of who has signed

17    this settlement.       If I'm dealing with the principals, I

18    expect your name on the settlement.            I expect you to be

19    responsible, not somebody who is able counsel in the County

20    Counsel's office signing off so in the future, if something

21    goes sideways, elected officials can then take the position

22    that the signatures were with a very competent attorney.

23                Now, hold on.

24                I'm going to express some concerns so you can

25    respond to them when I take the bench in just a moment.



                                                                                       ER 766
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                                                                                  23


 1    Excuse me.

 2                You seek dismissal with prejudice of Plaintiffs'

 3    claims against the County pursuant to Federal Rule of Civil

 4    Procedure 41(a)(2).        And 41(a)(2) provides that "An action

 5    may be dismissed on terms that the court considers proper,"

 6    quote, unquote.

 7                And I've got some questions and some concerns, and

 8    I want you to discuss those amongst yourselves in just a

 9    moment.

10                First, in this proposal, there is still, in my

11    opinion, subject to your arguments, no oversight.                I stated,

12    and I was clear, at the last hearing that this is just

13    another document, aspirational that we're chasing in three

14    or four years, as many of my colleagues have had to do in

15    other consent decrees -- and this is not a consent decree; I

16    know, transparently, that the board is concerned about that

17    wording.     You don't have to say that, but I know that.

18                So if you'd be so kind, Diali, Julian, would you

19    put up the terms and conditions of the settlement with the

20    City.    And I'm going to point out stark differences.               And I

21    said last time -- and I think I used the word "dead on

22    arrival."

23                This is the City settlement.           This is where the

24    City trusts the Court to work with the City in good faith --

25    and if you noticed, I haven't interfered with Mayor Bass at



                                                                                       ER 767
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 1    all.   In fact, we've had a number of meetings.              She's got

 2    the latitude to carry out her program.             The Court's not

 3    going to be an obstacle unless there's a constitutional

 4    violation.     No intermeddling.       A working relationship,

 5    hopefully.

 6                This is what the City gives the Court.              And I give

 7    them back the same trust.

 8                The parties agree that the duration of the

 9    agreement shall be five years.

10                And by the way, in the future, I'm going to be

11    concerned about five years because any time I see a

12    five-year agreement, I'm absolutely concerned now because

13    the politicians who made that agreement are now out of

14    office and don't have to respond to it.             So I'm concerned.

15                But in five years, during which point the Court

16    shall have continuing jurisdiction to oversee -- circle that

17    for a moment -- and enforce the settlement agreement.

18                Now, if you'd be so kind, would you put up the

19    City -- or the County, this is the County's proposal.

20                You give me absolutely no oversight, and you give

21    me no enforcement.       Your proposal is reporting the County

22    shall file reports regarding its progress in meeting its

23    obligations under this agreement quarterly.

24                That means that if I sign off on this agreement,

25    I'm simply getting a quarterly report with absolutely no



                                                                                       ER 768
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 1    power of oversight, monitoring to hold you to your

 2    milestones and representations.           I'm giving you the

 3    credibility of the federal court to go out to the public and

 4    ask for more monies without any accountability.

 5                The judicial enforcement, if after exhausting the

 6    dispute resolution -- and this only pertains to dispute

 7    resolution.     Your main portion is nine.

 8                Procedures described in section P1I, the claiming

 9    party still alleges the responding party is in breach of

10    this agreement.      The claiming party may file a notice of

11    breach and request for judicial enforcement of the district

12    court to remedy such breach.

13                That's just a contractual breach.            So I see a huge

14    difference and tried to put everybody on notice concerning

15    this at the last hearing.         And I used -- I think I used the

16    dramatic words of "dead on arrival."            I apologize for the

17    drama involved in that, but I don't in terms of the meeting.

18    I don't see any remedy to this so far.

19                Let me then turn to accountability for just a

20    moment.    If you turn to the next section.            And these are my

21    concerns in the early morning hours with my law clerks.

22                And I want to thank each of you humbly for the

23    incredible hours you're keeping.

24                When I come back, I want you to respond to

25    accountability.      And I have grave concerns about this.



                                                                                       ER 769
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 1                The question of the government accountability was

 2    first raised -- and by the way, for Mr. Umhofer and for you,

 3    Ms. Mitchell, I have nothing but praise.

 4                In fact, in bringing this lawsuit, it did cause a

 5    breaking of absolute inertia in the city.              And at some

 6    point, I don't think you bargained -- and I'm joking with

 7    you -- to go citywide and now countywide.              I don't know that

 8    that was ever your original -- but in a sense, you've acted

 9    as a buffer, and the County has been fortunate and so is the

10    City, because this has become the center of the litigation

11    including Venice Homeowners who came into court, issues

12    involving recreational trailers.

13                And once this lawsuit either settles or goes to

14    litigation or whatever happens, there's nothing that

15    precludes a multitude of lawsuits coming forward.                And

16    that's what this Court's been trying to avoid to center

17    these lawsuits amongst the judges here, so seven different

18    judges didn't decide the same or related issues in the same

19    way.

20                And at least when we started we were successful

21    with that.     I'm worried about this turning into massive

22    litigation, spread out to the court again, more lawsuits

23    Chairwoman, than you could possibly imagine.               Back to the

24    good old days of the Wild West with how do you govern not

25    knowing what the federal court's going to do.               But let's get



                                                                                       ER 770
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 1    some parameter.

 2                So in a sense, this has protected you from

 3    lawsuits.     But if this settles or goes to litigation or

 4    whatever, you're back right in what I call the litigation.

 5    And it may not be you, Mr. Umhofer.            It may be an entirely

 6    different firm or three different firms or four different

 7    issues.

 8                So accountability.        First of all, you stated in

 9    your complaint:      "Measure H is spread so thin that it serves

10    more to feed the County's own bureaucracy than to make any

11    significant dent in the crisis," end of quote.

12                You go on to say that the County also faces tough

13    questions about its management of homelessness-related

14    issues.    The other point at the last hearing is the problem

15    is outpacing the solution, and the County has failed to

16    utilize the funds in a manner that would effectuate the

17    goal.

18                The next was the actual result is an astonishing

19    lack of progress at addressing the crisis, continuing

20    expansion of the crisis despite such efforts and resources

21    because each being used in ways that will never solve the

22    problem.

23                I understand that the Court cannot exercise its

24    jurisdiction to enforce terms that are against the public

25    policy and public interest.          And I've stated that at the



                                                                                       ER 771
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 1    last hearing so you know I'm absolutely consistent in this,

 2    and your counsel heard this.

 3                Could you put up that portion on Page 4 for a

 4    moment.    I want to read this to him.

 5                Quote, from the last hearing:           "But because the

 6    settlement as written is really a private settlement, I want

 7    to stress that for a moment, this is portrayed to the Court

 8    as a private settlement with no judicial oversight, no

 9    accounting, no monitoring, and the LA City gave the Court

10    that trust to at least monitor.           LA City gave the Court that

11    trust, and the Court gave you that trust back so that we had

12    a check and balance and that we're able to accommodate each

13    other along the way."

14                And the next paragraph that I pulled out just so

15    they can address.

16                This requires no judicial approval.

17                In other words, I understand that you can settle

18    without me.     You can withdraw the complaint.            But you are

19    asking the Court to put my approval on this.               And by

20    implication, then, it can go to the taxpayers as approval

21    with the Court's blessings, in a sense.

22                And what is astounding to me is that whatever this

23    matter is, and I want to compliment the County for moving

24    from the 300 to the 1500.         I want to compliment you again.

25    That's progress.



                                                                                       ER 772
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 1                But my decision today is based upon not whether

 2    you've made some progress, but is that enough.               And so I

 3    want to go back to what I said at the last hearing like a

 4    "Rocky Horror Picture Show" and do this one more time.

 5                You are going to develop 1000 additional mental

 6    health substance, disorder use -- or disorder beds, as well

 7    as 450 subsidy beds in adult residential facilities.                 This

 8    adds additional beds, and it sets up those milestones in the

 9    settlement.     However, I'm concerned that the numbers may

10    fall far short.      And when I come back after that recess,

11    because I want to go over my notes, I'd like you to pull up

12    Dr. Sherin.

13                Go to Page 5 for a moment.

14                And I want to remind you what our own mental

15    health director said in 2019.          And we can up pull up the

16    first page again.

17                And Dr. Sherin said:         The Mercer and ODR analysis

18    suggests we may need to develop nearly 3,000 new subacute

19    beds.    And if there are unmet needs for subacute care among

20    the homeless population which are not reflected in these

21    estimates, we may need to develop even more subacute beds.

22    And while some uncertainty is unacceptable -- or is

23    acceptable, inaction is not.          The problems mentioned

24    throughout this report due to a lack of post-hospital beds

25    and services are real and serious.



                                                                                       ER 773
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 1                Now, go back and read those reports.             I'm falling

 2    asleep reading these reports.          And he also had a project of

 3    500.   And instead of 500, the County, if you read carefully,

 4    only came forward with 167.          This is in 2019, folks.         This

 5    is four years ago.

 6                And so what I'm astounded about on one hand is I

 7    pay you the compliment of moving forward.              And I pay you the

 8    compliment again and again.

 9                This 1500 shouldn't even be negotiable between

10    you.   This shouldn't even be a bargaining chip between the

11    two of you.     The County should have done this years ago

12    without even coming in front of the federal court.                And yet,

13    this is used as a bargaining chip of 1500 beds out of 3,000

14    needed, out of 167 beds given out of 1500.

15                For goodness sakes, this comes from your own

16    mental health director.         Now, Kathryn Barger, who you know I

17    have great respect for, I want to put that on the record,

18    she made a statement couple of days ago.             She said

19    39 percent.     Go back and read her own statement in the

20    press.    39 percent of the folks out there have severe mental

21    health issues and/or substance abuse or a combination.

22                I asked the question last time, and I ask you to

23    address it again.       If Mayor Bass is going to fulfill her

24    commitment of 17,000 off the street, and if we have a

25    40 percent substance abuse and particularly mental health



                                                                                       ER 774
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 1    problem, you do the math.         Is that 300 beds that you

 2    initially offered to me?         Is that 1500 beds that you

 3    initially offered now?        You do the math.       I don't have to.

 4                If you just take the agreement that we entered

 5    into between the City and the Court of 12,000 to 14,000,

 6    take any number in between, is 40 percent of that 300

 7    initially offered to the Court or 1500?             Excuse me.     I'm

 8    sorry.

 9                Go back and read your own report.            It's in the

10    footnote in the briefing that I wrote to you.               It's at

11    Page 20.    It's your own shortage of mental health hospital

12    beds in the LA County.        And that has not been addressed in

13    this.

14                So today you need much more than the 3,000 beds.

15    So it's less than half of what was even proposed four years

16    ago, and your population has grown disproportionally.

17                Finally, this accountability issue.             We held a

18    hearing, if you remember, in April of 2021.              And we got into

19    some really, really finite concerns about where's the money

20    going, $13 billion thus far.

21                The governor seems committed.           I'm not a

22    politician.     But if -- I took note that in the best of times

23    with a $100 billion budget, he put in a lot of money; and in

24    the worst of times, when he doesn't have the budget, he's

25    still putting in the money for homelessness.               In fact, he's



                                                                                       ER 775
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 1    looking for some kind of success.

 2                But despite the huge amounts of public spending,

 3    our numbers keep rising and the conditions on the ground

 4    appear to get even worse.         And I'm wondering where the

 5    accountability is here.

 6                So I'm going to joke with you -- sit down.               Thank

 7    you.   I'll address you, I promise you.            I'll give you all

 8    the courtesy in the world in just a moment, I promise you.

 9    But not when I'm speaking.         And I won't interrupt you.

10                I'm going to joke with you.           I don't think you

11    would want me on this case.          And the reason for that is if

12    I'm going to sign off on this, I have to have

13    accountability.      Let me repeat that.        I have to have

14    accountability to sign off on this.

15                At least not looking over your shoulder, but

16    making certain that the representations you make are not

17    once again aspirational.

18                Because while I may trust you implicitly,

19    Chairwoman Hahn, and I put that on the record, I don't know

20    who your successor is.        And I don't trust that process.

21                And finally, could you put up a couple pictures

22    that I just took.       You know, I don't live down there at

23    Skid Row, but I get down there.

24                And it's nice to have Pete White here, I want to

25    recognize you.



                                                                                       ER 776
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 1                And there's two people I want to pay tribute

 2    today.    And along the journey, I think I've talked to what,

 3    Michele, 400 to 600 people?          At least.

 4                One of those is ^Tom LaBonge, a former Mr. LA.

 5    And Tom -- you don't know this, but he was secretly behind

 6    the scenes when I could talk to anybody, helping the Court

 7    immensely.     I've got some pictures of him driving down the

 8    riverbed.     Incredible memories of some the great people I've

 9    met on this journey.

10                And Tom said something very wise I didn't

11    understand.     "Judge, the board of supervisors will only do

12    what the board of supervisors is made to do."

13                And how many times did he repeat that to us,

14    Michele?    Forever.

15                Now, I don't know if that's true or not.              But it

16    seems to me when we start with 300 and we get to 1500, that

17    we keep doing kind of the bare minimum along the way.                 And

18    then we have a press conference.

19                And the second thing is -- well, who I call the

20    mayor and that is -- well, a very wise man came into my

21    court, and he one time described this as "the homeless

22    industrial complex."        And I don't know if that's true or

23    not.   It's a dramatic word.

24                But he said one thing to me.           He said, "Judge, why

25    don't you take a walk with me, and let me show you my area."



                                                                                       ER 777
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 1    And I think that's the first time I'd met Pete White, who's

 2    here.    And I think that's the -- Pastor Q followed.               "And

 3    now I don't go with you because you're an advocate in this

 4    matter."

 5                So I want to put up two pictures a week or so ago.

 6    And these are two little girls coming out of the rescue

 7    mission on the way to school with a guard.              And you have to

 8    ask, what are they doing there?

 9                And if you put up the next picture.             This guy is

10    just walking down the street, shivering with hypothermia.

11    That's gangrene.

12                And then the next picture.          So I took off his

13    face -- take off his face.         Go up there.      Boom.    No.    Remove

14    his face.     Thank you.     My apologies.      I thought we'd edited

15    that out.     He's going to lose his foot.

16                My problem is that we, as elected officials, and

17    the Court -- I blame myself -- we're not getting down there.

18    And it makes me wonder -- and I toss this back to you with

19    no criticism of Dr. Adam.         She's terrific.       $438,000.

20                When you get up here and address me and you tell

21    me you don't have money, I will never go in the LAHSA

22    offices again in a downtown hotel with that kind of rent.

23    And so don't throw the lack of money at me from the County's

24    perspective.      And don't throw this budget of now

25    $800 million at me as "We don't have money."



                                                                                       ER 778
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 1                And I do agree with the former director.              I'm

 2    really concerned about the president of the United States

 3    earning less than the LASA director.            And twice as much a

 4    federal court judge, by the way, so I'm envious.                I'm joking

 5    with you, but not.       How we justify that in dealing with

 6    poverty.    And how we also justify the low wage for these

 7    wonderful kids going out to the street, paying that kind of

 8    staff salary.

 9                So when you address me, be careful if we get into

10    a discussion of how money is being spent.              Because I think

11    the county has, with a $43.5 billion budget, a lot more

12    potentially that you could contribute.

13                And my tough call is this.          I don't want to deter

14    you.   I'm willing to settle for the good and not the

15    perfect.    I've got grave reservations if this is the good.

16                So I'm going to take a recess for just a moment.

17    And we'll be back in about 20 minutes.             I want to look at

18    some more notes.       Thank you.     The court will be in recess.

19                                (Recess taken.)

20                THE COURT:      We're back on the record.         All parties

21    are present.      Thank you for your courtesy.

22                All right.      One more time around, then.          And I

23    promise you I'll be with you, but not in that order.

24                On behalf of the City of Los Angeles, do you have

25    any further comments, Mr. Councilperson -- or



                                                                                       ER 779
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 1    President Krekorian?

 2                MR. KREKORIAN:       The one thing I do want to say,

 3    which I'm -- I apologize that I didn't say earlier, is I

 4    really want to stress, especially Chair Hahn's leadership

 5    that she demonstrated in the last hearing and throughout

 6    this process in moving the ball forward.

 7                THE COURT:      And let me echo that and join you.

 8    And, in fact, I'll represent that we had a conversation

 9    literally in an airport and from your office recently.                 So I

10    commend her as well, trying to move this forward.

11                MR. KREKORIAN:       None of this would have happened

12    without the persistent advocacy that she has demonstrated

13    throughout.     And I didn't want to leave that unsaid in my

14    comments earlier.

15                And I want to, again, just stress that I think as

16    a number of the speakers had mentioned and I want to

17    reiterate too, this is a tiny slice of the discussion that

18    we're having as a society, and certainly between the City

19    and the County.      So I didn't want to overemphasize.            I was

20    trying to respond to your question, Your Honor.               But there's

21    much to do that will continue -- and that work will continue

22    regardless of what the parties agree to today.

23                THE COURT:      Okay.    Good.    Then I think the

24    Interveners were next.        And if you have anything you would

25    like to add.



                                                                                       ER 780
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 1                MS. MYERS:      No, Your Honor.       I think we made our

 2    comments previously.

 3                THE COURT:      Okay.    Then I think LA Alliance was

 4    next.    Anything you'd like to add?

 5                MR. UMHOFER:      Matthew Umhofer, Your Honor, for the

 6    Alliance.

 7                I want to just focus on one piece that I

 8    understand to be the Court's central concern, which is

 9    enforcement.

10                THE COURT:      No.   I have three pieces.

11    Accountability, in terms of money.            "Enforcement" is a bad

12    word.    You can call it "oversight."          But how -- and, quite

13    frankly, this reporting to the Court, which is nonsensical.

14                MR. UMHOFER:      And so, Your Honor, my view is

15    that -- I'm just using the language in the agreement --

16    enforcement encompasses -- I mean enforcement in my

17    discussion of enforcement to encompass all of those things.

18                And all I would to, Your Honor, is point out that

19    when the Court says that there is no enforcement, that there

20    is no accountability, that's not consistent with the

21    agreement that we've entered into.

22                THE COURT:      Then just restate the exact provisions

23    in the City agreement with the County, and we might be

24    getting someplace.       And I told you that before.          I couldn't

25    have been more clear.



                                                                                       ER 781
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 1                MR. UMHOFER:      I understand that, Your Honor.           And

 2    we pushed for that.        We did push for that.

 3                THE COURT:      I know you did.       And I'm not -- once

 4    again, let me commend you.

 5                Let me commend all the parties here.

 6                In fact, I represented to Janice Hahn that I'd

 7    like to be not a thorn in your side, but I'd like to join

 8    together at some point, all of us would.             But I've got some

 9    grave concerns when I put my signature on this.               By the way,

10    none of your signatures are on this as politicians.                And

11    then we go out to the public and ask for more money or more

12    bond issue, and the federal court is now being fronted as

13    approving this.

14                No.    You come to me.       And you come to me with your

15    signatures on this -- not from counsel -- so that we know

16    two or three or five years from now if there's a failure,

17    who exactly we point to.         And that's some of the

18    gamesmanship that I've objected to and stated that

19    privately, and now I'm saying that publicly.               Step up and

20    put your names on these documents and be responsible.

21                Now, that has nothing to do with you.

22                But, no.     You give me the exact language that the

23    City had in terms of oversight and enforcement because I'm

24    not going to get into a gray channeling area five years from

25    now, arguing about what the Court's powers are.               Because the



                                                                                       ER 782
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 1    one thing I hope the parties understand is I will hold them

 2    accountable.      I will do that gently.        I will work with them.

 3    Mayor Bass may not get to 17,000, she may get to 12,000.

 4    Guess what.     She's trying.      She's trying.       Good enough.         I'm

 5    not getting that same thing from the County.

 6                And you have been unsuccessful in getting that

 7    language.     Thank you for trying.

 8                MR. UMHOFER:      Your Honor, let me point to the

 9    language we did have, which we are satisfied with.                Which is

10    P, Subsection 11, Subsection 2, which is the Judicial

11    Enforcement Provision.        That provision empowers this

12    Court -- if I could just finish, Your Honor.

13                THE COURT:      You can.

14                MR. UMHOFER:      I really appreciate it.

15                That provision empowers this Court to enforce this

16    agreement.     And then if you go up to Section D, which is the

17    county's obligations.        Those are meaningful obligations all

18    the way through support to the City's agreement.                Very

19    detailed.     And you go all the way down, that includes the

20    number of beds we have here.

21                And without this agreement, the Court has no

22    ability to enforce the County's efforts with any bed.                  We're

23    just in litigation for the next year or two or three.                  And

24    meanwhile, we don't have a floor set on what a floor -- and

25    let's all call it a floor -- for what the county needs to do



                                                                                        ER 783
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 1    on mental health and substance use disorder.

 2                THE COURT:      Well, maybe the public needs the

 3    transparency if we can't reach a decent settlement

 4    concerning discovery about where these funds went.                Maybe

 5    the public needs to have a voice transparently in terms of

 6    the number of beds that are made.           What is wrong with

 7    litigation.

 8                Now, I've been trying to settle this, as well as

 9    Judge Birotte, into the frustration level --

10                How many evenings, Michele?           I can't even count

11    them.

12                And when I'm clear about what the Court expects on

13    the last hearing, I'm not bargaining with the parties on

14    this.    I said I need the same provisions.            Everybody heard

15    that.    And you've chosen to ignore it.

16                MR. UMHOFER:      Well, Plaintiffs definitely didn't

17    ignore it, Your Honor.

18                The final thing I would say on this, Your Honor,

19    is in terms of transparency, there are two paths here.                 One,

20    is litigation where money that could be spent in more

21    productive ways is spent on litigation, which we're not

22    afraid of.

23                THE COURT:      I've got ways you can cut back the

24    budget.    You want to hear them?         I'm just joking with you,

25    but I'm not.      I pointed out a couple of them right to begin



                                                                                       ER 784
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 1    with.

 2                MR. UMHOFER:      I understand, Your Honor.

 3                But litigation doesn't end with this settlement.

 4    You have the extended period of enforcing this agreement

 5    with full transparency.

 6                You can still demand accountability and

 7    transparency about the spending of the County and the City

 8    on these issues.       Going backwards, the Court can look

 9    through, in great detail, what's under the County's

10    obligations and continue to push the County even where there

11    isn't a number.

12                The Court can bring the County in here and ask

13    them if they're doing everything they can do on these issues

14    and continue to shine a light with full transparency, with

15    being held accountable by the media and by the different

16    parties in this case, by the Special Master who's overseeing

17    the City agreement.        And the City agreement is particularly

18    referenced here in this agreement.            So you have a special

19    master who's actually monitoring many of the terms of this

20    agreement already under the City, which the County has an

21    obligation, under this agreement, to support.

22                And that is why we think that there is

23    sufficient -- we wouldn't have signed off on this if we

24    didn't believe that the Court had sufficient purchase to be

25    able to continue to shine a light on this issue, to continue



                                                                                       ER 785
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 1    to bring transparency to this issue and continue to push the

 2    County beyond even the minimums that they are agreeing to in

 3    this agreement that --

 4                THE COURT:      I respect that, Matt.        But I don't

 5    intend to shine a light on this issue.             I intend to have

 6    people live up to their word when they sign a document.                     I

 7    intend to have the ability for accountability.               And I intend

 8    to not have all of these aspirational pledges that build

 9    public confidence, only to find out three or four years or

10    five years later that we failed.

11                So you and I both know you made a magnificent

12    effort, and I'll put that on the record.             But we know that

13    there was a failure to reach an agreement.              I know that the

14    County's concerned about just the word "consent decree."

15    Who wouldn't be?

16                But we've had so many consent decrees that are

17    absolutely meaningless with federal courts trying to change

18    and what that means three and four years into litigation.

19    There's going to be absolute clarity here.              You get me that

20    same paragraph that the City had, oversight and enforcement,

21    let's talk.

22                But until then, I said it before, and I'm not

23    bargaining with you, I meant it.

24                MR. UMHOFER:      I understand, Your Honor.

25                THE COURT:      Okay.    Thank you very much for your



                                                                                       ER 786
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 1    courtesy.

 2                And now, uninterrupted, I promise you, on behalf

 3    of the County.      And it's a pleasure.        And just reintroduce

 4    yourself.     And I'm sorry for telling you to sit down

 5    abruptly, but that's my pet peeve.

 6                MS. HASHMALL:       Thank you, Your Honor.

 7    Mira Hashmall for the County.

 8                I want to start with echoing what I think everyone

 9    in this room has agreed is an undeniable truth.

10    Homelessness is not going to be solved in any courtroom;

11    this one, or in any other courthouse.             It is an issue that

12    requires coordination from our elected officials, our

13    community leaders, and our subject matter experts.

14                The other undeniable truth is that what the County

15    is doing on homelessness goes far beyond any settlement with

16    the Plaintiffs, any settlement with the City.               It is a

17    significant commitment, hundreds and hundreds of

18    millions dollars spent annually to address this crisis.

19                We had a binding settlement agreement with the

20    Plaintiffs in October.        And we came before Your Honor, and

21    you asked the County to do more.           And our County leadership

22    stepped up, and we did more.          And we now have an addendum, a

23    binding settlement agreement between these parties, that

24    provides significant new resources, a thousand new mental

25    health and substance abuse disorder beds, 450 subsidies for



                                                                                       ER 787
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 1    facilities that we call board and care, in shorthand.

 2                But what they are, are residential facilities for

 3    individuals who are on the brink of potentially falling into

 4    homelessness.      And the enhanced services that those

 5    resources will provide are going to incentivize those

 6    facilities to stay open, motivate additional providers to do

 7    that work.

 8                That is on top of the significant wraparound

 9    services, the mental health, the social services that are

10    going to be there for the city and supporting the City's

11    settlement.

12                And, Your Honor, just to be clear, the County is

13    already doing that work.         Our enhanced outreach teams are

14    there side by side with helping the City bring individuals

15    inside safe.

16                Our County teams are coordinating with the

17    providers at those new city shelters, and they are also

18    available and reaching out and connecting individuals to the

19    services they need, whether it's through DPSS to get

20    financial resources or mental health to get medical and

21    mental health care.

22                This is on top of outreach teams, both home and

23    multidisciplinary teams, that are making a difference every

24    day.

25                And, in addition, this agreement, this binding



                                                                                       ER 788
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 1    agreement between these parties provides for the County to

 2    make property available for new development.               We all know

 3    that the need for more housing is at the core of this issue

 4    for the City and the County.          And working together to get

 5    more funding.      Yes, this is a significant financial

 6    commitment.

 7                The County already, in connection with the City

 8    and County MOU, devoted nearly $300 million to providing new

 9    resources, 6700 beds for individuals near the freeways, and

10    seniors experiencing homelessness.            When you add this

11    settlement, the binding settlement reached with the

12    Plaintiff, that's over $850 million in additional resources.

13                And make no mistake, that this settlement -- I

14    want to clarify, these terms were approved by the board.

15    They stand by this agreement.          They stand by the County's

16    commitment in connection with this settlement as well as

17    everything the County is doing on homelessness.

18                It's not typical for elected officials to sign

19    settlement agreements.        I didn't see any City officials sign

20    the City Plaintiff settlement agreement that the Court

21    approved.     But that doesn't mean that they don't stand

22    behind it, because they do.

23                Now, you've referenced accountability, Your Honor.

24    The County is accountable to the public and to this Court

25    and to its constituents.         And that's why this agreement



                                                                                       ER 789
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 1    builds in significant reporting obligations.               That

 2    transparency is available to every Angeleno who'd like to

 3    see where the County resources are working and the change

 4    that's being made.

 5                And we do not believe the Court would ever be

 6    called upon to address a failure by the County under this

 7    agreement because the County is going to do the work.                 But

 8    if that ever happens, the Court is authorized to enforce

 9    this settlement agreement.         And that is exactly, I think,

10    the Court's concern:        Will the county do what its agreed to

11    do?   Yes, is the answer.        But so, too, does this provision

12    provide a mechanism for the Court to enforce those

13    obligations if they're not met.

14                And so the parties have now several times jointly

15    requested that this matter be dismissed with prejudice

16    pursuant to the settlement.          And I want to reiterate that

17    request again.      And also to reiterate this is just a small

18    piece of the puzzle, and the County is continuing to work

19    outside of this settlement before this case, during this

20    case, and after this case.

21                So for all those reasons, Your Honor, we do

22    request that the Court approve the request for dismissal

23    submitted by the parties.         And, again, never doubt that the

24    County intends to live up to these obligations and to keep

25    doing more.



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 1                THE COURT:      I'm never going to question your

 2    credibility.      Understood?

 3                MS. HASHMALL:       Thank you, Your Honor.

 4                THE COURT:      I'm going to read something back you

 5    that you filed.      And the Docket No. is 553-1 -- I'm sorry

 6    514 at 17.

 7                "It provides for the Court to retain ancillary

 8    jurisdiction only if there is a breach of the agreement and

 9    only in the manner prescribed by the parties."

10                That directly contradicts what you just stated.

11                MS. HASHMALL:       No, Your Honor.      Respectfully, I

12    don't think it does.        This settlement has robust terms that

13    provide for new additional county resources, support for the

14    City Plaintiff settlement, outreach teams, a thousand new

15    mental health and substance disorder beds, 450 new

16    opportunities to support board and care placements and

17    additional provisions, all subject to reporting and all

18    subject to the Court's enforcement if those provisions

19    aren't met.     That is accountability, Your Honor.             That is

20    transparency.      And that is part of the County's commitment

21    to publicly report its successes to the entire community on

22    a regular basis pursuant to the settlement terms.

23                THE COURT:      All right.     Counsel, thank you very

24    much.

25                MS. HASHMALL:       Thank you, Your Honor.



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 1                THE COURT:      Well, first let me say that I

 2    neglected, because I got a little bit choked up, but I want

 3    to mention General Jeff for a moment.             In the same breath as

 4    Tom LaBonge, two entirely different individuals amongst the

 5    400 to 600 people.       And I just really had a lot of faith.               I

 6    have to tell you, he said there was a homeless industrial

 7    complex.    He literally took me around and I watched the

 8    double counting going on.         And I'll say it.

 9                Be careful how you spend your money because these

10    figures of 22,000 are fictional.           Go down to the Wellesley

11    Clinic.    Go down and sit some places and watch people check

12    in and sign up.      And the folks are doing a great job down

13    there.    But that person, after they signed up, goes next

14    door because they just didn't get service fast enough or

15    they're having a mental episode.

16                So you, in good faith, believe you've got 22,000

17    or 24,000.     No, you don't.      You've got sign-ups down there.

18    And sometimes multiple times.

19                So the second thing is, we went through this whole

20    double counting with the freeway of Paul Remembers,

21    et cetera, not with the City, but a whole set of double

22    counting going on.

23                And I just caution you in the future, although

24    it's none of my business, watch the Skid Row Housing Trust.

25    If 2,000 people are now coming out, are we now going to



                                                                                       ER 792
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 1    count 2,000 people going in and claiming that against the

 2    17,000 in the future?        I'm just -- not my concern.          But just

 3    tossing out to you how much fiction is out there when we

 4    throw out these numbers to the public.             And that's causing

 5    me grave concern, signing a document with the federal

 6    court's preemptor and signature on this.

 7                Well, then the public believes that the federal

 8    court is signing off in a document it believes, and we're

 9    out asking for a new bond money, which I hope you do.                 I'd

10    love to be supportive of that.           But I've got grave, grave

11    concerns that the federal court's going to sign off on a

12    document such as this, and then have that as one of the many

13    reasons that the public should vote for increased taxes,

14    when I'm not seeing the accountability.             And by the way,

15    neither is the governor.         Let me repeat that.        I think he's

16    looking for success right now.

17                So with General Jeff, it was really a journey.                  I

18    didn't have to take the police into the community.                And I

19    just want to pay tribute to Tom LaBonge and General Jeff,

20    not to signal out any others of the 4 to 600, but I've got

21    tell you, if you have faith and confidence, those were two

22    really good representatives of the respective communities

23    out there.     And for whatever agreements or disagreements,

24    there was complete transparency and candidness between us.

25                I'm not deminimizing your argument concerning the



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 1    funds devoted by the County.          Understood?      I'll put that on

 2    the record.

 3                But I did raise a couple thoughts about this

 4    homeless industrial complex.          And that phraseology is well

 5    taken.    It's not hitting the streets.           Let me repeat that.

 6    And it's not hitting the streets in the degree that the

 7    public is paying this money.          And there is not the

 8    accountability out there.         And that's been repeatedly said

 9    by the state treasurer.         And I can read those reports back

10    to you, but you sat through that, and you know it.

11                So the Court recognizes that this is not a class

12    action settlement.       And the terms of settlement are

13    contingent upon the public's very approval through the

14    board.    But as the board I know is aware, it's meetings

15    regarding approval of this agreement must be consistent with

16    the published constitutional rights and the Brown Act's

17    requirement that the board provide quote, "an opportunity

18    for public comment on each specific agenda item as it's

19    taken up," end of quote.

20                I agree with the Intervenors' concerns.              I'm not

21    going to decline to assert the public power or the public's

22    power in this regard in terms of transparency and putting

23    this before the public for approval or not by the board.

24                But the settlement agreement unequivocally states

25    that its terms are contingent on the board's approval, not



                                                                                       ER 794
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 1    the Court's.      And that's a Docket 485-1 at 2.

 2                The's effectiveness of this agreement is expressly

 3    subject to and contingent upon approval by the County's

 4    approval of settlement process, including by the Los Angeles

 5    County Claims Board and/or the County Board of Supervisors

 6    and by approval of the individual Plaintiffs.               Whether it's

 7    Mayor Bass or the settlement for the 12- to 14,000 or the

 8    freeway settlement for 6,000 individuals, that number alone,

 9    that 17,000, is of a concern.

10                And it's hard if there's 40 percent of our mental

11    and substance abuse folks, at least 25 percent of those

12    being severely mentally impaired, it really highlights, I

13    think, the County's lack of substantial and satisfactory

14    action in this matter.

15                And I convey back to my friends and colleagues on

16    the board, you have the power to reduce the number of

17    deaths.    You have the power to improve inhumane conditions

18    on our streets.      And you have the power to safeguard the

19    public.    And I don't believe that this is commensurate with

20    the City settlement at all.

21                And by the County not using this power, the

22    proposal for settlement lacks significant measures to hold

23    accountable the enormous amounts of public funds being

24    spent.    And I find that this lack of oversight and

25    accountability harms the public interest.



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 1                And Matt, you said it yourself, you didn't

 2    personally fail, but that procedural morass you've gotten

 3    the Court into interpretation applies if you bring a breach

 4    to the Court.      It does not give the oversight and

 5    enforcement powers as set forth in the City agreement.

 6                So I think that the subtlety of this from what I

 7    heard on the County's argument is, Judge, you know if you

 8    don't approve this, somehow all of this 1500's going to

 9    disappear.

10                Judge, if you don't approve this settlement

11    agreement, gosh, what are we going do with this thousand

12    beds?

13                You had a duty back in 2019 to get 3,000 of these

14    beds on.    And that implied concern or threat on your part

15    that somehow you're not going to settle and back out of the

16    1500 beds that you already have on power, shame on you if

17    you do that.      Those beds should have been given right now

18    without bargaining with human lives as a bargaining chip in

19    a settlement, and that 1500 should be an agreement whether

20    you have an agreement or not that should have been done

21    yesterday, let alone today.

22                So any implication that a nonability to settle

23    takes away those 1500 beds, shame on you.              And I mean that.

24    You get those 1500 beds on the table whether the Court

25    approves this or not, and you quit using this as a



                                                                                       ER 796
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 1    bargaining chip in human lives.           And I find that affronting,

 2    quite frankly.

 3                So finally, I'll make the legal ruling in this

 4    matter.    What the Court does today in no way takes away from

 5    the proposed private agreement already given to the public.

 6    And I recognize that the County has committed, and I'll say

 7    it again, at least 1450 beds, and, once again, thank you for

 8    the progress.

 9                But I further recognize that the parties can reach

10    this agreement even without the Court's approval.                You can

11    get me out of the case.         You can have me not watching you

12    anymore.    You can have me not pushing you.            You can have me

13    not holding you accountable.          And you can go back to

14    litigating with a lot more lawsuits in the future.

15                But today, however, because the County's

16    settlement terms are improper and against the public

17    interest, and I quote that, and because the board has not

18    signed off, I'm going to deny the parties' stipulation.                     I'm

19    now lifting the stay in this matter.            I am reinstating these

20    proceedings at this time.

21                Defendant's deadline to respond to Plaintiff's

22    second amended complaint is due in two weeks on May 3rd,

23    2023.

24                I'm going to set a scheduling conference on this

25    matter on May 9th of 2023, and at that time, set this matter



                                                                                        ER 797
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 1    for litigation.      And I'll discuss those dates with you.

 2                I want to humbly thank you again.            I want to thank

 3    you for the phone calls, reaching out, the communication, at

 4    least with you, and at least one other member of the board.

 5    Whether we agree or disagree, we need that kind of

 6    communication.      And I humbly thank you.

 7                I want to thank all of you for your patience.                   I

 8    leave that now to your best devices.            The Court's now in

 9    recess.

10               (At 10:40 a.m. proceedings were adjourned.)

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 1                                     --oOo--

 2                                  CERTIFICATE

 3

 4

 5                I hereby certify that pursuant to Section 753,

 6    Title 28, United States Code, the foregoing is a true and

 7    correct transcript of the stenographically reported

 8    proceedings held in the above-entitled matter and that the

 9    transcript page format is in conformance with the

10    regulations of the Judicial Conference of the United States.

11

12    Date:   April 21, 2023

13

14

15                                      /S/____WIL S. WILCOX _________

16                                           U.S. COURT REPORTER
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taxes [1] 49/13             trend [1] 10/7              vote [2] 22/14 49/13
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       1                       UNITED STATES DISTRICT COURT

       2         CENTRAL DISTRICT OF CALIFORNIA       -   WESTERN DIVISION

       3

       4 LA ALLIANCE FOR HUMAN RIGHTS,       )   Case No.   LA CV 20-02291-DOC-
         et al.,                             )                         (KESx)
       5
                     Plaintiffs,
       6
           vs.                               ) Los Angeles, California
       7
           CITY OF LOS ANGELES,    et al.,   ) Tuesday, January 17, 2023
       8
                     Defendants.             )   (9:05 a.m.    to 10:52 a.m.)
       9   _________________




      10
                  TRANSCRIPT OF PRESENTATION OF FINAL SETTLEMENT
      11                    OBJECTIONS/STATUS CONFERENCE
                       BEFORE THE HONORABLE DAVID 0. CARTER
      12                    UNITED STATES DISTRICT JUDGE

      13
           Appearances:                      See next page.
      14
           Court Reporter:                   Recorded;      CourtSmart
      15
           Courtroom Deputy:                 Karlen Dubon
      16
           Transcribed by:                   Jordan Keilty
     17                                      Echo Reporting, Inc.
                                             9711 Cactus Street, Suite B
     18                                      Lakeside, California 92040
                                             (858) 453—7590
     19

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     24
        Proceedings recorded by electronic sound recording;
     25 transcript produced by transcription service.




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                                                                                    2
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                                                                                     3

       1   Los Angeles, California; Tuesday, January 17,         2023 9:05 a.m.

       2                                 ——000——

       3                             (Call to Order)

       4             THE CLERK:    Now calling item number one case

       5 number LA CV 20—2291,     LA Alliance for Human Rights, et al,

       6 versus the City of Los Angeles, et al.

       7             Counsel, please stand and state your appearances.

       8            MR. UMHOFER:     Good morning, your Honor.         Matthew

       9 Umhofer and Elizabeth Mitchell on behalf of the Plaintiffs.

      10             MS. MITCHELL:     Good morning,    your Honor.

      11             MR. MILLER:     Good morning,    your Honor.     Skip

      12 Miller and Mira Hashmall for the County of L.A.            And I’d

      13 like the record to reflect that two of the supervisors are

      14 here today, the Chair, Janice Hahn, and Supervisor Hilda

      15 Solis.

      16             THE COURT:     I’m going to publicly thank them in

      17 just a moment

      18             MR. MOON:     Good morning,   your Honor.      Adrian 0.

      19 Moon offering glory to the Almighty Creator in the mighty

      20 name of Jesus Christ, the Messiah.          I believe I’m a

      21 Defendant Intervenor, but you haven’t         ——




      22             THE COURT:     Mr. Moon,   you are more than welcome.

      23 I’d like you to be seated in the audience.

      24             MR. MOON:     Thank you, your Honor.

      25             THE COURT:     Mr. Moon,   I’d like you to be seated in




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                                                                                         ER 815
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                                                                                         4

       1 the audience.

       2              MR. MOON:     I can’t appear in       --




       3              THE COURT:        I’d like you to be seated in the

       4 audience immediately.           Thank you.     You’ve caused past

       5 disruptions.       I’m aware of that, but you’re more than

       6 welcome to be here.        Have the gentleman seated in the

       7 audience.

       8              MR. MOON:     I    --




       9              THE COURT:        You’re welcome to be here.

      10              MR. MOON:     --    can   --




      11              THE COURT:        Otherwise I’m going to remove you,

      12 sir.

      13              MR. MOON:     --    make an appearance.

      14              THE COURT:        Thank you very much.     Mr. Moon,      you’re

      15 going to be welcome at all times, but I’m going to invite

      16 you not to speak today.

      17         (Pause.)

      18              THE COURT:        First of all,    good morning.    I want to

      19 thank all of you for being here,             and I want to specially

      20 recognize Mayor Bass.           Mayor Bass, good morning.       Very

      21 gracious of you.

      22              MAYOR BASS:        Good morning.

      23              THE COURT:        Also, City County present, Paul

      24 Krekorian.     Paul,   I’d like to thank you for being here as

      25 well.    Very gracious of you.




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                                                                                             ER 816
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                                                                                     5
       1               And Supervisor Cho,     a member of the Board,

       2 Supervisor Janice Hahn,      it’s a pleasure to see all of you

       3 again.     And,   also, Hilda Solis, Supervisor,    it’s a pleasure

       4 to see you.       Monica Rodriguez,   it’s a pleasure to see you.

       5 Matt Szabo.

       6               And are there any other Council persons present

       7 that I may have neglected or that I can’t see through the

       8 screens, and other members of the Board of Supervisors?

       9               Okay.   Let me begin on a very positive note, and

      10 that is your courtesy in attending today was a request by

      11 the Court, but I do believe it’s a strong commitment on each

      12 of you parts, and, once again,        a hopeful willingness to

      13 solve this homeless crisis.

      14             For the sake of transparency,     I’m going to document

      15   —-   docket the comments I’m about to make today in the record

      16 as well as the transcript.       There’ll be no recording.        Only

      17 the Chief Judge of the District can make that waiver, and

      18 that is not being made.

      19               There’s a number of screens in front of you today,

      20 and I’m going to make some initial comments and invite

      21 comments by the elected officials but first the attorneys in

      22 a few moments.

      23               This case was first filed in March of 2020 by LA

      24 Alliance,     a nonprofit organization consisting of a broad

      25 coalition of Los Angeles stakeholders,         including unhoused




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                                                                                         ER 817
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                                                                                         6
       1 individuals, property owners,     small businesses, and

       2 eventually larger businesses in the downtown area.                It has

       3 since grown into a much larger lawsuit.        And at the time of

       4 the second amended complaint,     LA Alliance stated in their

       5 amended and supplemental complaint in paragraph 94 that:

       6                   “The homeless crisis continues and

       7             accelerates with little hope of a city

       8             or county—driven solution because of the

       9             painful results of current policies and

      10             because of the lack of political and

      11             bureaucratic will to undertake effective

      12             and proven means to combat it.         The

      13             Plaintiffs are suffering under the

      14             weight of an urgent crisis.      The

      15             Plaintiffs are left with no choice but

      16             to resort to the courts for relief.”

      17             This Court recognizes that it should not be the

      18 burden of private citizens to sue their elected

      19 representatives, and only in times of desperation,               anger and

      20 hopelessness are lawsuits such as this filed.              Apparently

      21 this lawsuit came before the Court out of desperation and

      22 fury over decades of neglect and inaction.

      23             But through this litigation, the Plaintiffs and

      24 the City of Los Angeles entered into a settlement agreement

      25 in the summer of 2022 without the County joining in.                 This




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                                                                                             ER 818
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                                                                                      7

       1 agreement by the City was commendable in a number of ways.

       2 It contained approximately 24 provisions, each of which had

       3 detailed subdivisions and specifically defined terms.             The

       4 agreement promised two to three billion dollars to

       5 accommodate the 12 to 14 thousand people on the streets.                It

       6 was comprehensive and extensive and, notably, held the City

       7 accountable by providing that the Court maintain “continuing

       8 jurisdiction” to oversee and enforce this settlement

       9 agreement which included monitoring.

      10               Could this agreement have gone further?        In

      11 November I stated,     yes,   it could.   It did not solve

      12 homelessness,     and absolutely,   it could have gone further.

      13 But   ——   and there’s much more that needs to be done obviously

      14 to address the spiraling crisis on our streets.

      15               This Court recognized that this agreement alone

      16 would not sole homelessness.        In fact,   Plaintiffs, LA

      17 Alliance, and the City,       recognized the same when they

      18 referenced the County’s responsibilities and “agreed to

      19 cooperate in assuring the County meets its obligations of,

      20 among other things,     requiring a minimum of 50 mental health

      21 beds per 100,000 people in the County or more, as necessary

      22 to ensure access to inpatient treatment for PEH in the City

      23 and to prevent mentally ill individuals from falling into

      24 homelessness due to lack of inpatient treatment.”

      25               That’s in the City’s settlement agreement, Docket




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                                                                                          ER 819
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                                                                                    8
       1 421—1 at page 11.

       2             In October of 2022,    the County filed their

       3 settlement proposal.     The terms of the agreement, as I made

       4 clear in the last hearing,     simply fell short of the County’s

       5 statutory obligations and the very reason that this lawsuit

       6 was filed in the first place, and I asked the simple

       7 question,   “Could we do better?”     I did not outright reject

       8 that agreement at that time, hoping that there would be an

       9 additional agreement coming before the Court.

      10             You’re back here present, and you’re making

      11 commendable and initial efforts to confront this crisis.

      12 These may be successful or nonsuccessful, but it appears

      13 that you’ve broken the inertia and,      as such, whether the

      14 resulting efforts are short term or long term remains to be

      15 seen, but your efforts are being made in good faith to break

      16 down some of the barriers of antagonism and noncooperation

      17 between the City of Los Angeles and the County of Board of

      18 Supervisors which apparently goes back decades.

      19             You’ve declared an emergency.      Last week the

      20 County Board of Supervisors,      through Chairperson Hahn,

      21 joined you, and hopefully this will cut bureaucracy cost and

      22 lead to increased housing.      So,   I start with all   ——    all of

      23 you with a compliment today.

      24             But Mayor Bass has pledged to accommodate 17

      25 homeless persons within her first year of office.             This is a




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                                                                                        ER 820
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                                                                                       9
       1 monumental undertaking, Mayor.          It’s bold,   and it’s needed.

       2 And the settlement reached between the City of Los Angeles

       3 and LA Alliance eventually would accommodate 12 to 14

       4 thousand individuals over a five—year period.            It’s hoped,

       5 Mayor,   that the City Council through you and the President,

       6 Paul Krekorian, will go at a much greater pace of this

       7 agreement entered into before you were in office by LA

       8 Alliance and the City of Los Angeles.

       9               It’s repeatedly been represented to this Court

      10 that 40 percent of the homeless population suffers from

      11 mental illness or substance abuse or a combination of both.

      12 This started with Carol Sobel’s representations to me,

      13 Brooke Weitzman’s representations, and your representations

      14 to me.   So, when we talk for just the next few moments,              I

      15 want you to keep that 40 percent figure in mind.

      16               The division of responsibility for mental health

      17 and substance abuse falls to two County agencies.              The Los

      18 Angeles County Department of Mental Health,          DMH, with

     19 interim   ——    with an interim Director, Lisa Wong, has the

     20 responsibility for the County’s mental health needs.

     21                The Los Angeles County Department of Public

     22 Health, under the direction of Barbara Ferrer, has

     23 responsibility for substance abuse.           Please keep that in

     24 mind in the next few moments

     25                So,   Dale,   if you’d be kind enough to put up on the




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                                                                                           ER 821
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                                                                                                 10
       1 screen page four of the County proposal for a moment.                         And I

       2 can’t see that screen, but is it on the                ——   is it up,    Dale?

       3              UNIDENTIFIED SPEAKER:           You don’t see it?

       4              THE COURT:        No.     On my screen,    I can see the         --




       5              MR. UMHOFER:          We’re seeing   --   we’re seeing

       6 something on this screen which is I think what you want,

       7 your Honor and       ——    and something different on the screens in

       8 front of us.

       9              THE COURT:        Yeah.     We tried to arrange the

      10 screens, but this is          ——   would be the County proposal page

      11 four, paragraph three.             That would be on this screen,

      12 correct?

      13              So,   folks in the audience, it may be difficult to

      14 see,    and I don’t know what you’re seeing.                You’re seeing          ——




      15 you’re seeing a split screen.              In a moment we’re going to

      16 put other documents on the screens closest to you.                      So,

      17 don’t pay attention to those for a moment.                   It is this

      18 screen over here.

      19              Okay.        And I’m going to invite the Mayor to come

      20 closer.     I really wish you would so you can see this.                      I

      21 know you as Hilda and Janice.             For goodness sakes,

      22 Supervisors, please come forward so you can actually see

      23 this.     And, as the President,          Paul Krekorian,      it’s just

      24 critical.     I’d like to get this into the leaders’ hands and,

      25 quite frankly, have the leaders of our community,                    so that I




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                                                                                                      ER 822
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                                                                                            11
       1 know you’re really getting the information that you need.

       2              Okay.     So,    in front of you should be page four of

       3 the proposed County settlement.

       4              Paul,    can you see that?           Hilda,   can you see that?

       5 And,    Hilda, by the way, my apologies.              I couldn’t talk to

       6 you.     I had to go through the formality because that

       7 permission was withdrawn.           Also,    I had a Chairperson at the

       8 time, Holly, who was the Chair.              So,    I didn’t have a chance

       9 to sit down.       I know you called.            I returned.      I couldn’t

      10 talk.    The County hasn’t given me permission to.                     If that’s

      11 lifted at any time,          I’d love to    ——    I’d love to engage you in

      12 conversation.        But right now I’ve got a blanket over me.

      13              Okay.     In the County’s proposal at page four,

      14 paragraph three:

      15                      “Mental health substance use

      16              disorder beds:        The County states that

      17              ‘By the end of Fiscal Year 2023/2024’”

      18              ——   which would be June 30th of 2024              ——




      19              “‘the County shall develop 300

      20              additional substance use and mental

      21             health beds according to the greatest

      22             need as solely determined by the

      23             County.’”

      24             Now, those are my handwritten notes.                     I hope that

      25 that reflects what I’m seeing on the screen.                    You have to




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                                                                                                 ER 823
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                                                                                    12
       1 follow this closely for a moment.

       2             I’m being offered 300 beds, but notice that those

       3 beds are divided between two different agencies.             So,   is

       4 this 150 with Public Health,      is this 150 with Mental Health?

       5 And I’m just going to assume for a moment and give all the

       6 credit and say all 300 hypothetically are going to go to

       7 mental health.      Let’s just take the best scenario for all of

       8 us in the room.

       9             Now,   if you go to the screen and put up the first

      10 page of the DMH report, which is Doctor Robert Sherin’s

      11 report,   Director of DMH,   to the Los Angeles County Board of

      12 Supervisors   ——   it should be October 2019, and that I should

      13 be able to see on my screen Diella       (phonetic)

      14        (Pause.)

      15             THE COURT:    You just had it up a moment ago,          so    -—




      16 and,   folks, bear with us because we’ve been trying through

      17 the miracles of modern electronics, which I don’t

      18 understand, to set this up for you,       and it’s been hard.            But

      19 I really want you to see what’s happening here and then help

      20 the Court to see if you can further help our citizens.

      21             It would just be page to begin with.          I want to

      22 verify what you’re looking at right now.         It’s actually the

      23 second amended complaint.      It’s in a footnote it’s a public

      24 document, and on the first page it refers to the report by

      25 Doctor Jonathan Sherin, Mental Health 2019 to the Board of




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                                                                                         ER 824
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                                                                                       13
       1 Supervisors

       2                Now,   if you go to page four   —-   and we should be on

       3 page four of the same report.         Now,   Doctor Sherin clear back

       4 in 2019, wanted to start a pilot project.            And his pilot

       5 project he wants to start is for 500 beds.            He’s very wise.

       6 What he’s saying is I want 500 beds of acute and subacute.

       7 And I,    Doctor Sherin, want to be able to vary those beds

       8 because I recognize that somebody might be acute for a week

       9 or two    ——   and that’s for all the people.       You understand

      10 this.     But I might go into a subacute category.          So,   I,

      11 Doctor Sherin, want to be able to mix and match these,                 and I

      12 want a pilot program.

      13                Now,   if you’d go to page 20 on the screen and drop

      14 down to the second paragraph.         Now,   in addition, he wants

      15 3,000 subacute beds at the time.         He wants 500 plus 3,000.

      16 And what he’s saying is, because of the Mercer Report that’s

      17 been submitted to the Board, we need 3,000 new subacute

      18 beds,    and these are in addition to the 500 pilot program

      19 beds going between acute and subacute for the homeless

      20 population.       And in just a moment he’s going to further

      21 break that down for the Board.

      22                So, go to page 27.    I hope I have this memorized.

      23 I want you to go to paragraph nine,          Diella, and we should

      24 see a quote at the bottom:

      25                       “The estimate of 3,000 additional




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                                                                                     14
       1             subacute beds needed,       for example, is

       2             under the status quo scenario.”

       3             In other words,       in 2019, where most of these

       4 factors remain the same      -—    this is dealing with our 13 or

       5 more percent increase.

       6             So, now, whether we’re dealing, Mayor Bass, with

       7 either your efforts regarding the 17,000 individuals or the

       8 present agreement that I’ve approved between the City and LA

       9 Alliance, where we have 12 to 14 thousand beds, the County

      10 offer may fall far short.

      11             So, would you put up page six on the screen

      12 Diella.   And,   so,   it’s not the Judge making this up, to

      13 quote from Doctor Sherin:

      14                   “Roughly 25 percent of adult

      15             homeless individuals in L.A. have

      16             serious mental illness and need care.”

      17             And remember the 40 percent figure?           That

      18 potentially was mental illness and substance abuse or a

      19 combination of both.      But here Doctor Sherin is getting us

      20 the statistic of 25 percent.         All right.   We’re almost

      21 there.

      22             How can this Court approve and accommodate the

      23 need for 25 percent of May Bass’s figure, which is

      24 approximately 4,250 beds,         for those suffering from mental

      25 severe illness or accommodate even 25 percent of the City’s




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                                                                                   15
       1 agreement figure, which is 3,200 beds, when the Court’s

       2 being offered 300 beds and asked to sign off on a settlement

       3 agreement.     I don’t see how this could lead to any success,

       4 Mayor Bass,    other than clearing out encampments.           The human

       5 factor leaves us the people who desperately need it are

       6 sitting on the street crying for help, and our citizens

       7 aren’t protected.

       8              Now,    Doctor Sherin’s recommendation to the Board

       9 in 2019 is cited in paragraph 89,         LA Alliance, at their

      10 first amended and supplemental complaint.           So,   if you’d be

      11 so kind,   Diella, put up paragraph 89, and I’m going to show

      12 you internally why LA Alliance’s figures are absolutely

      13 correct.

      14                      “In addition,    the County has failed

      15              to meet its statutory obligation to

      16              provide appropriate mental health

      17              services.”

      18              Well,   that’s for litigation.      This is a statement

      19 by the Plaintiff, okay.        But:

      20                      “The County Board of Supervisors

      21              recognizes the minimum number of beds

      22              required to appropriately meet the

      23              community mental health need is 50

      24              public mental health beds per 100

      25              thousand individuals.”




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                                                                                        ER 827
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                                                                                    16
       1             And that’s right in the Nercer Report.              It’s right

       2 in the County documents submitted to the Board in 2019.

       3                    “In Los Angeles County,        there are

       4             only 22.7 beds per        100,000   individuals.”

       5             Now,   take the County of about 4 million to 500

       6 million people,    and you’ll find out that these internal

       7 factors absolutely overlay Doctor Sherin.             We’ve got about

       8 minimally 2500 beds if you reach the 50 per thousand from

       9 the 22.7, and Doctor Sherin’s saying about 3,000 beds.

      10                    “In response, the Department of

      11             Mental Health,    DM11,    conducted an

      12             investigation and identified an estimate

      13             of 3,000 additional subacute beds

      14             needed.     As of December 2020, only 156

      15             of the proposed minimal pilot of the 500

      16             additional beds had been procured.”

      17             In the County’s statement in support of its

      18 settlement agreement which was filed on Friday            -—    and I

      19 doubt that many of you read it.           It was filed late.       We

      20 spent the weekend with it      ——     the County states that its 300

      21 beds are in   ——   “in addition to the County’s existing supply

      22 of approximately 8,600 mental health substance abuse

      23 disorder beds.”       That’s Docket 5149, but there’s no cite for

      24 the source of this number to the Court, and that’s what your

      25 litigation’s all about.       There’s no audit at the present




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                                                                                     17
          1 time

       2               I’m concerned about accountability, and I’m

       3 further concerned that the agreement lacks concrete

       4 milestones and accountability.

       5              The question of government accountability has been

       6 a driving force of this lawsuit and,         again, as stated by LA

       7 Alliance in the first amended complaint,         for example    ——   and

       8 go to paragraph 17, Measure H,        Diella:

       9                       “A countywide increase that was

      10              originally estimated to net $355 million

      11              in homeless relief funding available per

      12              year is spread so thin it serves more to

      13              feed the County’s own bureaucracy than

      14              to make any significant debt in the

      15              crisis.”

      16              Well,    that’s a litigator talking.    Disregard that

      17 for just a moment, but don’t disregard the amount of Measure

      18 H funds plus the additional moneys that we all know are

      19 coming in.     And,    if we’re successful, there’s going to be

      20 more money.     So,    it’s really a chance to reset and restart

     21 for all of us.

     22               In paragraph 83:

     23                       “The County faces tough questions

     24               about its management of homeless related

     25               funds.     This fiscal year,   the County




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                                                                                          ER 829
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                                                                                     18
       1             passed a $36.2 billion budget for this

       2             fiscal year, which includes an estimated

       3             $465,090,000 raised by Measure H

       4             dedicated to addressing homelessness.

       5             Measure H was described as a tax voted

       6             for by County residents in 2017 to fund

       7             mental health/substance abuse treatment,

       8             healthcare, education,    job training,

       9             rental subsidies, emergency and

      10             affordable housing,    transportation,

      11             outreach, prevention,    and supportive

      12             services for homeless children,

      13             families,   foster youth, veterans,

      14             battered women,   seniors, disabled

      15             individuals and other homeless

      16             individuals.’T

      17             This amount is wholly separate from and in

      18 addition to the significant percentage of County funds

      19 allotted to departments to address issues of homelessness,

      20 including those housed and treated in County jails,

      21 emergency treatment and transport,      Department of Mental

      22 Health,   L.A. County Fire Department, medical treatment

      23 through various hospitals and treatment centers, and

      24 criminal prosecution and defense costs, not to mention

      25 funding the general relief and other myriad social




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                                                                                          ER 830
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                                                                                     19
       1 services.t’

       2               Paragraph 84:

       3                    “Since the passage of Measure H and

       4               its concomitant additional hundreds of

       5               millions of dollars for housing and

       6               services, the homeless population in

       7               L.A. County has risen from 57,794 to

       8               66,436.”

       9               And we know it’s   ——   it’s greater than that.      It’s

      10 up to 69,000 some.

      11                    “The problem is outpacing the

      12               solution,   and the County has failed to

      13               utilize the funds in a manner that would

      14               effectuate the goal.”

      15               Paragraph 94:

      16                    “The amount of effort and resources

      17               devoted to addressing this issue is

      18               significant, but the actual result is an

      19               astonishing lack of progress in

      20               addressing the crisis and continued

      21               expansion of the crisis despite such

      22               efforts and resources, because each is

      23               being used in ways that will never solve

      24               the problem.”

      25             Now,   these were the Plaintiffs’ allegations when




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                                                                                    20
       1 the lawsuit was filed.      The County settlement as written now

       2 is that the terms are not subject to independent enforcement

       3 or monitoring, and this is going to be my bottom line before

       4 I will ever consider accepting a settlement in just a few

       5 moments.

       6             This point is laid out in the County’s settlement

       7 agreement, and the County once again pressed this point to

       8 the Court in the filing on Friday afternoon.

       9             What’s happening out there is a crisis of all

      10 times,   the public safety crisis, a health crisis, a

      11 humanitarian crisis for the homeless,       for residents, and for

      12 our police and Sheriff’s Department personnel who respond to

      13 calls and are put in a dangerous position when forced to

      14 respond to circumstances that are not theirs to handle.

      15 They are not psychiatrists.      They are not mental health

      16 professionals,   and the homeless are put in the same

      17 dangerous position.

      18             But because the settlement as written is really a

      19 private settlement,    I want to stress that for a moment.

      20 This is portrayed to the Court as a private settlement with

      21 no judicial oversight, no accounting, no monitoring, and the

      22 L.A. City gave the Court that trust to at least monitor.

      23 L.A. City gave the Court that trust, and the Court gave you

     24 that trust back so that we had a check and balance and that

     25 we were able to accommodate each other along the way.




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                                                                                   21
       1             This requires no    ——   no judicial approval.      And if

       2 you’ve reached a private settlement,         I’m forced to dismiss

       3 this case because this is a private settlement between the

       4 parties.

       5             So,   I’ll turn to Plaintiffs LA Council first.           I

       6 wanted to give you time.       Now, have a seat for a moment,

       7 ma’am.

       8             In November I sent a message.        I don’t think it

       9 was heard by many first of all.         I pointed specifically to

      10 paragraph nine.      I was specific and warned you and Mr.

      11 Miller about that paragraph.         I tried to point out the

      12 inadequacies,     and I’ve received nothing in the interim

      13 period of time.     So,   I’m going to put you on the spot.

      14             After careful consideration and the Court raising

      15 these concerns after the last hearing to today, do you agree

      16 with the settlement, and is this in the best interests of

      17 the City of Los Angeles?

      18             MR. UMHOFER:     Thank you,   your Honor.      Almost three

      19 years ago now, we brought this case         ——




      20             THE COURT:     Why don’t you just sit down and use

      21 the microphone

      22             MR. UMHOFER:     That’s fine,    your Honor.

      23             THE COURT:     That way we can hear you.

      24             MR. UMHOFER:    Almost three years ago now we

      25 brought this case because the City and the County weren’t




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                                                                                        ER 833
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                                                                                                          22
       1 working together on this issue.                    We wanted this case not to

       2 be a fight but an opportunity for the City and the County to

       3 come together finally on this with judicial supervision.

       4                  THE COURT:     There’s no judicial supervision in

       5 this settlement.

       6                  MR. UMHOFER:     There is.          So,    if you look,             your

       7 Honor,        under the terms,    the       ——




       S                  THE COURT:     No,    under those terms           --     Matt,       I’m

       9 going to be very direct with you.                    It’s getting played both

      10 ways.         Judge,   sign off on this.           There’s no monitoring.

      11 We’re going to write you a report every three months.

      12 Absolutely worthless.

      13                  MR. UNHOFER:     Your Honor,         I    —-   it’s    --   let’s focus

      14 on that, because I think this is really important.                                   This is

      15 what we insisted on.            We insisted on this Court having

      16 continued ability to enforce this agreement.                            It’s on        ——   on

      17 page 2(a) (1)      ,   subject to the requirements of                  (a) (2)   ,   with

      18 the      ——   and subject to the Court’s continuing enforcement in

      19 accordance with Section           (p)       of this agreement,           and Section

      20   (p),    as we go down to that section, has specific reference

      21 to whenever the parties           ——    so,      if we go down to Section

      22   (p) (1) (2),    judicial enforcement section, there’s a dispute

      23 resolution process.           Any claiming party can come to this

      24 Court and seek enforcement of anything in this agreement.

      25 That’s five years of this              -—   this party here being able to




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                                                                                         23
       1 bring to the Court any issues that arise.

       2              Now,   I want to add to that.

       3              THE COURT:     So,    let’s be clear then.     This is a

       4 consent decree

       5              MR. UMHOFER:     So, your Honor    --




       6              THE COURT:     It can only be one of two things,               a

       7 contractual agreement between the two of you or a consent

       8 decree.    In other words,        you can’t put a tuxedo on a pig.

       9 what is this?

      10              MR. UMHOFER:     we had this discussion with the City

      11 agreement.     Everybody wants to use different terms.                It is

      12 what it says it is.

      13              THE COURT:     Is it a consent degree or is it a

      14 private contractual agreement, Matt?

      15              MR. UMHOFER:     Your Honor,    I don’t have the

      16 definition of a consent decree in mind.           But you and I are

      17 aligned in one thing,       that for the next five years,            this

      18 Court can go through this entire agreement, all the

      19 commitments made,      including, by the way,     your Honor,         several

      20 pieces that    ——   that the Court didn’t mention,        including we

      21 got specifically in paragraph seven of Section             (d)   a

      22 specific acknowledgment by the County that they have

      23 responsibilities under federal and state law to provide

      24 clinical treatment to people suffering from serious mental

      25 illness and substance abuse,         substance use disorders,




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                                                                                             24
       1 including persons experiencing homelessness.

       2                  Now, your Honor, what that means is that for the

       3 next five years, this Court can hold the County to that,                      ask

       4 hard questions.            We can ask hard questions.

       5                  THE COURT:      What’s my sanctioning power, Matt?

       6 Right now you’re writing me a report every three months.

       7 What’s my power of accountability here?

       B                  MR. UMHOFER:      The Court has its inherent power to

       9 enforce this agreement.

      10                  THE COURT:      No.     I’m going to get resistance,

      11 Matt, because somebody will point back to this agreement and

      12 say,       “Judge,     in paragraph nine, we just get to write you a

      13 report.         You have no sanctioning power.”

      14                  MR. UMHOFER:      But that’s not true, because the

      15 continuing enforcement of this agreement is explicit                    ——




      16                  THE COURT:      Okay.

      17                  MR. UMHOFER:      -—    in the agreement.    So,   I just    --




      18 so,    I   ——   but,   your Honor, if I could speak to a few more            ——




      19 a few more pieces here.

      20                  THE COURT:      And I’d like to know about this

      21 ability with 300 beds, Matt, divided out between the public

      22 health and the mental health, how we’re going to accommodate

      23 25 percent of just the mental health needs from our street.

      24 Are you in agreement with this?

      25                  MR. UMHQF’ER:     Your Honor, we believe and have




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                                                                                                  25
       1 believed from the beginning that what Mr. Sherin’s report

       2 called for is what is needed.                 That’s what we pushed for in
       3 this     ——




       4                THE COURT:          So,   I’m asking the question.           You’re
       5 not answering it.               Is this an adequate settlement to
       6 accommodate that number of mentally severe                   ——    serious
       7 mentally ill people on the street?                 You put this in your
       8 paragraph 89, Matt.

       9                MR. UMHOFER:          I understand,    your Honor.         And my     --




      10 my direct answer to that is it’s not enough, but this is a

      11 good deal, and I will tell you why this is still a good

      12 deal,     okay, because I think it’s really important for                     ——   the
      13 mental health piece was something we pushed very hard for,

      14 and this is        ——    we didn’t want to stop here.             Okay.     I want
      15 to be very clear about that.                But, when we worked through
      16 this issue with the City and the County                 ——   and youTll hear
      17 from the City.               Matt Szabo is here.     I think he can
      18 articulate very effectively,                along with the County as well
      19 and Mayor Bass and the Supervisors as well, Ms. Solis, and

      20   ——   and Supervisor Solis and Supervisor Hahn.
      21                I think it’s really important to focus on the fact
      22 that the City           ——    we finally brought the City and the County
      23 together      --




      24                THE COURT:          And, Matt,   just a moment.         Why does a
      25 lawsuit have to bring the City and the County together?




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                                                                                          26
       1 Most of this agreement is simply aspirational.                  It’s a

       2 promise to do something in the future.            Why did we have to

       3 get to this point,        including the creation of loss, quite

       4 frankly, to stop the bickering between the County and the

       5 City?      And why should I trust that I don’t lose Mayor Bass

       6 some day,     I don’t lose Janice Hahn,       I don’t lose Hilda

       7 Solis,     all of which who I have great admiration for and

       8 things change?        Why am I going to buy into a settlement

       9 based upon personal relationships?            Where are my milestones

      10 and goals?      Where is my guarantee in this, Matt?

      11               MR. UMHOFER:      Milestones and goals are set forth

      12 in the County’s obligations.

      13               THE COURT:      No,   they’re not, Matt.     Look at the

      14 proposal.      Go back to paragraph three.        Go back to paragraph

      15 four.      Go back to your own complaint.        There’s a minimum of

      16 3,000 to 3,500 acute and subacute beds who should be out

      17 there as of 2019, and they’re offering me 300.

      18               MR. UMHOFER:      Your Honor,   I think the bed numbers

      19 are better, and I want the County to speak to this.                    I think

      20 the   --   the bed   --




      21               THE COURT:      I want you to speak to it.         You

      22 brought this lawsuit.

      23               MR. UMHOF’ER:     You’re right,   your Honor.       We did.

      24               THE COURT:      Three hundred beds out of 25 percent,

      25 are you going to take that position, Matt?               And,   if so,    I




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                                                                                                          27
       1 really want to hear that.

       2                 MR. UMHOFER:     There are more beds underneath that

       3 300, your Honor.

       4                 THE COURT:     I don’t see that, Matt.

       5                 MR. UMHOFER:     There        --   I’m    --       what I’m telling you

       6 is that they exist.

       7                 THE COURT:     Where?

       8                 MR. UMHOFER:     It’s not in the                   ——    it’s not here

       9 because this is the additional commitment that the County is

      10 making.        So, your Honor,       I   ——   but I      ——    I    ——




      11                 THE COURT:     I can’t force you to proceed.                         I know

      12 that there’s a $2 million fee that’s going to be awarded.

      13 Quite frankly,       I think that’s a di minimus amount.                           You

      14 probably deserve three or four times the amount of that fee,

      15 but I’m having a tremendously difficult time with accepting

      16 your representation that this is good for the citizens of

      17 Los Angeles.

      18                MR. UMHOFER:      Your Honor,             I’ll let Ms. Mitchell

      19 speak because she       ——




     20                 THE COURT:      No.       I think I’m going to turn now to

     21 the City.        I’ve heard you.

     22                 On behalf of the City?

     23                 MR. MARCUS:      Good morning, your Honor.                        Scott

     24 Marcus     ——




     25                 THE COURT:      Have a seat for a moment,                      Scott,     so we




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                                                                                                               ER 839
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                                                                                         28
       1 can hear you

       2              MR. MARCUS:    Good morning, your Honor.            Thank you.

       3 As you know,    the City is not a party to this particular

       4 agreement between the County and the LA Alliance.                 But,    as

       5 we indicated earlier today, a lot has happened since this

       6 agreement was reached back in the fall or summer of last

       7 year.     The City has a new Mayor.          The City has a new Council

       8 President.     There is a new Board comprised at the             ——    at the

       9 County with a new Chair.

      10              THE COURT:    And is your position going to be that

      11 these 300 bed spaces are adequate to accommodate the 17,000

      12 people,    25 percent who are SMI,         severely mentally ill,        or

      13 are we setting Mayor Bass up for failure right at the

      14 beginning?

      15              MR. MARCUS:    Again,       your Honor,   the City is not a

      16 party to this agreement.

      17              THE COURT:    Okay.        Then you’ll remain silent then.

      18              Mayor Bass,   I’ll    ——    I didn’t want to put     ——




      19 between you and the County because maybe I need to be the

      20 one, but I don’t want to spoil the relationship.                 So,   let me

      21 repeat to you and Janice Hahn,           I really appreciate that all

      22 of you are getting together.            I recognize that.      I don’t

      23 want to cause harm to that relationship.               But, by the same

      24 token,    I don’t see how you can possibly be successful, and

      25 I’m not willing to accept an aspirational promise after 30




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                                                                                                29
          1 years of bickering.      So,    I see right in the own report,

       2 Mayor,     3,000 to 3500.     I’m going to say you fall short,

       3 still applaud you, a thousand but not 300,                  1500 but not 300.

       4               So,    if you want to speak,     so be it.           If Janice

       5 Hahn wants to speak for the Board,            so be it.           But I really

       6 don’t want to hear from the attorneys now.                   I want to hear

       7 from the leadership.         So,   if you want to,      Paul Krekorian,

       8 you’re the President.         You don’t have to say a word.                  I

       9 don’t want to put you on the spot, but I’m having a very

      10 difficult time with this agreement on behalf of the citizens

      11 of Los Angeles.

      12               MAYOR BASS:     Your Honor,     first,    I    ——    I would

      13 appreciate the opportunity if we had to speak to you in

      14 chambers privately.

      15               THE COURT:     If you’d like to.         If we can make

      16 progress     ——   you know that you and I are very much attuned,

      17 and I’ve been attuned with Janice in the past and with

      18 Hilda.      I’ve got a great amount of respect for you.                 But I’m

      19 taking the attorneys out of this now.             And if you want to

      20 speak to me,        I want to speak to you as leaders, and I want

      21 to speak to you without the attorneys, and I’d like to

      22 include Paul Krekorian, and that has to be stipulated to,

      23 and I want to speak to the leadership first before I include

     24    ——   allow LA Alliance and the Intervenors.

     25                Before we do that      ——   Mr. Miller,       sit down   ——        I’d




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                                                                                     30
          1 like to speak to the Intervenors for just a moment.

       2              Ultimately,   I pointed you   --   and we’ve had some
       3 disagreements over shelter and housing.          I understand that.
       4 We’ll always be in disagreement over that mix, et cetera.

       5 But this involves a Court’s great concern of how do we

       6 accommodate the SMI on the street if Mayor Bass is really

       7 going to undertake 17,000 or even fall short with 15,000 or

       8 even if we take the agreement of 12,000.          The inhumanitarian
       9 problem that occurs is I don’t see how we’re matching that

      10 with provider services, getting more robustness out of our

      11 providers,    quite frankly,   and the money is there if we’re
      12 successful.     The Governor’s trying to step up if we’re
      13 successful.     I just don’t see why we can’t be,       and I think
      14 it’s a real reset with the last election, with no

      15 denigration of the past administration, but it’s like

      16 changing the Supreme Court.        One new Justice changes the
      17 Court.    We’ve got a chance to reset this, we really do, on
      18 behalf of these citizens.

      19              Explain to me how 300 beds divided between the
      20 public health and mental health accommodates 25 percent of

      21 17,000 people.     Just a couple of sentences.
      22              MS. SOBEL:    I mean no disrespect, but that’s an
     23 unfair question.

     24               THE COURT:    Okay.   We’re done.    Thank you very
     25 much, and I won’t put you on the spot because I’m trying not




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       1 to get any disagreement between the County and the City as
       2 they’ve entered into this relationship.             So,   if you want to
       3 speak to me privately, then I want a waiver from LA
       4 Alliance.
       5                MR. UMHOFER:     Your Honor,    subject to our ability
       6 to   --




       7                THE COURT:     Do I have that waiver to speak to the
       8 leadership of this County and the City?

       9                MR. UMHOFER:     You do have    --




      10                THE COURT:     Mr. Miller, do I have that
      11 accommodation?
      12                MR. MILLER:     I would like to speak and answer some
      13 of the questions.
      14                THE COURT:     I’m not interested right now.          I want
      15 to speak to the leadership.             Thank you very much.
      16                MR. MILLER:     Subject to my statement the other
      17 lawyers got to talk, I would greatly appreciate just a
      18 couple of      ——




      19                THE COURT:     Mr. Miller,    thank you.
      20                MR. MILLER:     Can I?
      21                THE COURT:     Please.
      22                MR. MILLER:     Okay.     Thank you, your Honor.       I’ll
      23 be very   ——    I’ll be brief
      24                THE COURT:     Brief.
      25                MR. MILLER:     First of all,    I want to thank your




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                                                                                                      32
          1 Honor and thank this Court           ——




       2                THE COURT:       Have a seat.

       3                MR. MILLER:       --   for bringing this massive problem

       4 to the fore

       5                THE COURT:       You and I have had this discussion

       6 before, Mr. Miller.            This isn’t the first time.

       7                MR. MILLER:       Yes.        I just want to say that.                  Thank

       8 you.    Okay

       9                As far as the 8600 beds              ——    as far as the 300 beds,

      10 there are 8600        ——    and I apologize.             We   ——   your Honor raised

      11 this issue before.            So, what we did from the last hearing,

      12 we went around to figure out how many additional beds there

      13 are,   subacute, acute beds for substance abuse and                          ——    and for

      14 mental health.        And I have a spreadsheet.                     I didn’t      ——   we’re

      15 not winging it.            We’re not coming up with 8600.                   I have a

      16 spreadsheet with addresses and locations of the 8600 that

      17 are already on the books.               And this is           ——   this is the real

      18 thing, and I’ll give it to the Court.                         I probably should

     19 have attached it to our brief.

     20              But the 300 is on top of the 8600 that are already

     21 out there.       So,   that’s 8900.           It’s not enough           ——




     22              THE COURT:          You can’t      ——   Mr. Miller, you can’t

     23 accommodate right now with the 8600, even if that figure is

     24 correct, and I think that there’s a lot of litigation behind

     25 that figure and counting, quite frankly.                            And you’re




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                                                                                         33
       1 offering 300 for 17,000 people.

       2             MR. MILLER:     No.     There’s 8600.        We’re offering

       3 300 more, and I have the details and the locations,                 the

       4 specifics of that.       It’s not enough, but       ——




       5             THE COURT:     Show me your proposal.           Show me that

       6 proposal.

       7             MR. MILLER:     I agree it’s not enough.            If I can

       8 hand this up to your Honor        ——




       9             THE COURT:     So,    if we can do better,        then, are you

      10 going to waive and let me talk with the leadership of this

      11 County and the City?

      12             MR. MILLER:     I am, but I want to finish what I

      13 have to say

      14             THE COURT:    All right.      Finish.

      15             MR. MILLER:     I want to just clarify, and then I’m

      16 going to waive,    yes, your Honor.       It’s fine.

      17             The other point I want to       ——




      18             THE COURT:    And are you going to permanently waive

      19 since the County withdrew the permission of me to talk,                   for

      20 instance, when Hilda Solis calls my home?                I couldn’t

      21 respond to her.     I had to be discourteous and refer her.

      22 When Janice calls my home, can I speak to her?                 Can I get

      23 that waiver back from the County so that we can have some

      24 good conversations literally at midnight if we want to?

      25             MR. MILLER:     If it’s all right with Janice Hahn




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       1 and Hilda Solis,        it’s fine with me.

       2                  THE COURT:    You’re the one that withdrew this on

       3 behalf of the County.           Are you revoking that?

       4                  MR. MILLER:    I’m revoking it if that’s what my

       5 clients     ——




       6                  THE COURT:    For all purposes?               Then go talk to

       7 your clients for a moment.

       8                  MR. MILLER:    Okay.     Can I      --




       9                  THE COURT:    No.     Go talk to your clients for a

      10 moment.      That’s an order.          Go talk to your clients.              I want

      11 to do this one at a time.

      12                  MR. MILLER:    All right.

      13                  UNIDENTIFIED SPEAKER:          Your Honor        --




      14                  MR. MILLER:    Okay.

      15                  UNIDENTIFIED SPEAKER:          --   to talk to        --




      16                  MR. MILLER:    They said okay.

      17                  THE COURT:    Okay.

      18                  MR. MILLER:    I revoke it.

      19                  THE COURT:    So,    Janice,    if you call the house,            I’m

      20 happy to talk to you and vice versa.                  And, Hilda, if you

      21 call   ——   but I’ll always go to the Chairperson of the Board

      22 first, Hilda, which is why I was afraid to talk to you.

      23 Now,   you and I have had two meetings already.                        The phone is

      24 open and vice versa.           Okay.

      25                  All right.    Now,    finish your        -—




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                                                                                        35
       1             MR. MILLER:    Okay.         One other point,   your Honor.

       2 I thank the Court for     ——   you know,      for instigating, having

       3 us all coalesce

       4             My other point     ——   I have two other points.         We’re

       5 never going to be able to do enough.             The County

       6 acknowledges that.

       7             THE COURT:    I--I--

       8             MR. MILLER:    The Court’s right, okay.            It’s a

       9 massive problem.     It’s an intractable problem.             It’s going

      10 to take time,   and the County       ——    you’ll hear it directly from

      11 the policy makers, the elected officials, they’re all over

      12 it.   They’re doing a lot more than the settlement of just

      13 this lawsuit.

      14             THE COURT:    Show me in the proposal you gave me

      15 where that is

      16             MR. MILLER:    They’ll tell you.

      17             THE COURT:    Show me in that proposal that you

      18 submitted to the Court with no additional conferences, no

      19 communication, where that is.

      20             MR. MILLER:    It’s     ——    we set forth in our brief the

      21 additional things we’re doing.

      22             THE COURT:    That’s not part of the settlement

      23 submitted to the Court for my signature.

     24             MR. MILLER:    No,     it’s not part of the settlement.

     25 It’s being done above and beyond the settlement of this




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                                                                                               36
       1 case.   There’s only so much a court can do.                  The    -—    the   ——




       2 the County,      the City, the elected officials have a

       3 responsibility above and beyond just this lawsuit.

       4             Now,    let me   ——   let me just last point, your Honor.

       5 Then I’ll sit down and your Honor can talk to my clients

       6 directly.     As far as enforcement and supervision,                  I’m going

       7 to read directly page nine,         subparagraph     (ii)     .     It’s

       8 entitled “Judicial Enforcement.”              It says:

       9                     “If, after exhausting the dispute

      10             resolution procedures described above

      11             the claiming party still alleges the

      12             responding party”       ——   that’s us, the

      13             County   ——   “is in breach of the

      14             agreement, the claiming party may file a

      15             notice of breach and request for

      16             judicial enforcement”        ——   by your Honor

      17             ——   “judicial enforcement in the District

      18             Court to remedy such alleged breach.”

      19             And this is the key part:

      20                    “The District Court retains

      21             jurisdiction at its discretion”              ——




      22             That means your Honor obviously retains

     23 jurisdiction in case it doesn’t go away for purposes of

     24 enforcement.

     25                     “The District Court retains




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       1                  jurisdiction at its discretion for

       2                  purposes of enforcing this agreement

       3                  until the end of Fiscal Year 2026/2027,

       4                  i.e.,      June 30th,   2027.”

       5                  So,   for the next four and a half years,            if we

       6 don’t do        ——   by the way,    the County’s going to meet its

       7 commitments.           The County of Los Angeles doesn’t breach

       8 contracts.           We’re going to do what we say we’re going to do.

       9 But if     -—    if we don’t, we’re going to be hauled into court

      10 before your Honor, and we’re going to have to perform.                          I’m

      11 quite sure this Court will               ——   will order it.

      12                  So,   to say that there’s on accountability or no

      13 enforcement mechanism is incorrect.                   There is.    And it’s

      14 before Judge Carter,            and everybody in this courtroom knows

      15 that Judge Carter doesn’t mess around.

      16                  So,   on that basis, your Honor,         I’m going to     ——    I’m

      17 going to file          ——   I have to redact some of the addresses of

      18 some of these beds for privacy, but I’m going to file this

      19   ——   the detail behind the 8600 beds that are already the

      20 acute mental health and the substance abuse beds.                      They’re

      21 already out there,            not enough, but it’s a lot more than 300.

      22                 THE COURT:       Okay.        I tried to send a gentle signal

     23 last time about this paragraph nine,                  and without monitoring

     24 and accountability to the Court,                  this is dead on arrival.

     25 That’s my bottom line.




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                                                                                     38
       1              Now, eventually, we can talk about the bed space.
       2 I need your wisdom in terms of how that’s divided out.              I’d
       3 like to get Doctor Sherin involved again or whoever you
       4 choose.    I’d like to work with you and increase this, and
       5 I’m not asking for the perfect.          I’m just asking for the
       6 good, but I know that 300 bed spaces is not it.

       7              And we’ve got a reset right now with the new
       8 Mayor, the new Chairperson, and you weren’t part of this
       9 agreement when it was signed,         and yet you’re bearing the
      10 responsibility.       And I feel that we’re setting up the
      11 citizens of Los Angeles for a tremendous letdown in our

      12 mental health area with the most severe on the street and

      13 all those entities that I named.

      14              And,   so,    if I have to be the bad judge and turn
      15 this down,    I’m going to turn this down,      I minimally have to
      16 have the same provisions as the City or don’t bring this

      17 agreement to me.          And that is I want monitoring, and I want
      18 accountability, and I want it to the Court, and you can call

      19 it whatever you want to, a consent decree or not, but I want

      20 that responsibility and trust that the City gave me back

      21 from the Count.       And,    if not, then you’ll have to enter into
      22 a private contractual agreement.          You bear the
      23 responsibility of that,         and you can get around me, quite
      24 frankly.     You can take me out of the lawsuit, but I will now
     25 participate in something that I don’t have power to actually




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                                                                                                39
       1 monitor and hold people accountable for.                      The Governor’s

       2 saying it and everybody else is saying it now for decades.

       3               All right.     Now,    I’m going to come back to you.

       4 You chose not to speak.         I would like to speak to the

       5 Chairperson for the Board,           the Mayor.            You can accommodate,

       6 but no counsel are present by waiver.                      If you want to bring

       7 Supervisor Solis, that’s fine.              If you want to bring Monica

       8 Rodriguez,     Paul,    that’s fine.       But you’re the person.                  And I

       9 think   ——   if there’s another Council              —-    but I leave that to

      10 you as President of the L.A. Council.                      Okay.    I’ll see you

      11 in chambers.      Thank you.

      12               MS. MYERS:     Your Honor, before you                ——   the

      13 Intervenors were not given an opportunity to speak, and

      14 we’ve not withdrawn our objection to                  ——




      15               THE COURT:     I understand.

      16               MS. MYERS:     I just want to be explicitly clear on

      17 the record that the Intervenors withdrew consent to ex parte

      18 communications,        have never been asked to nor have we waived

      19 that.    We are concerned with the lack of transparency that

      20 continues to exist related to the               ——




      21               THE COURT:     Yeah.     I   --   Shayla,       I am too.       In

      22 other words,     you and I have had some disagreements, but

      23 we’ve been able to talk to each other, and I’ve been able to

      24 talk to the City.        And even though we disagree, we know what

      25 those disagreements are.            The County is the one that




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       1 withdrew this ability for me to talk, okay,               about this.

       2 And,     so,    therefore, this has to be a waiver for all time so

       3 I can literally have these conversations along the way.

       4 That’s what I’m hearing so far.

       5                  So,    Folks,   come on back,   and let me extend my

       6 hospitality.            But we’ll be as transparent as we can now with

       7 the public.

       8          (Proceedings recessed briefly.)

       9                  THE COURT:      Thank you for your courtesy.

      10                  After our discussions in chambers,        the parties

      11 have represented to the Court that they’re willing to

      12 renegotiate the terms,            including accountability and

      13 monitoring, but I’m going to turn that over to               ——   to Mayor

      14 Bass initially for her comments.

      15                  MAYOR BASS:      First of all, Judge,   let me just

      16 thank you for giving us the opportunity to meet with you in

      17 your chambers.           And, essentially, what our request is is

      18 that the City and the County have 90 days.               We do think that

      19 the word that you used describes it in essence, which is a

      20 reset.         We think this is a new day.        We think that the stars

      21 are aligning in a way that we haven’t seen before and that

     22 we have the potential to align each level of government

     23                   And,   so,   for example,   the Biden administration

     24 announced a month ago that they want to reduce homelessness

     25 by 25 percent in the nation in the next two years.                  We




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       1 appeal to them that if you simply address homelessness in

       2 Los Angeles and in California,       you can meet your national

       3 goal.   The President responded by sending Susan Rice,

       4 Ambassador Susan Rice, the Head of the Domestic Policy

       5 Council, here on Friday,       and she is examining including Los

       6 Angeles in their first cohort, which would result in a

       7 memorandum of understanding in the next couple of months.

       8             Governor Newsom reached out to Chair Hahn and

       9 myself to see if Los Angeles would be willing to be one of

      10 the first cohorts in the CARE Court, and I know that the

      11 Board of Supervisors will be discussing that today.           But

      12 there is the potential there to really increase the number

      13 of mental health beds.       We will make the case to the

      14 Governor that     ——   that if we are in the cohort, that has to

      15 come with resources.       But we also know that one of the

      16 reasons why the County is not able to access resources that

      17 they have is because of the entanglement caused by

      18 Proposition 63, but now is the time to examine that so that

      19 the County actually can increase the number of beds

      20 significantly.

      21             So,   the bottom line is that we feel if we had 90

      22 days, we could come back with a much better agreement.              The

      23 County and the City are working hand in glove right now.              We

      24 believe that that will continue        We have new leadership in

     25 our City Council, new leadership at the Board, and in the




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       1 Mayor’s office,      and we would like that opportunity.

       2                THE COURT:    Thank you, Mayor.

       3                Let me turn to the Superwoman         ——   Supervisor and

       4 Chairwoman of the      ——




       5                MAYOR BASS:    I kind of like superwoman.

       6                THE COURT:    Superwoman is a great title.

       7                MAYOR BASS:    I like that.

       8                SUPERVISOR HAHN:     Thank you,      Judge Carter,     for

       9 bringing us together this morning.               And I echo everything

      10 that my   ——   my friend, my former colleague in Congress,                 the

      11 new Mayor of Los Angeles said.               It is a new day.     We are

      12 pressing the reset button on            ——   on addressing the

      13 homelessness crisis in Los Angeles County.

      14                It breaks my heart that we still have close to

      15 70,000 people who are sleeping on our streets.                  I woke up in

      16 the middle of the night freezing in my own house and with my

      17 own blankets on my bed, and I thought surely there is

      18 someone who is not going to make it last night who is

      19 sleeping on our streets.          So,    it breaks my heart that          ——




      20 that we had to have a lawsuit on behalf of the most

      21 vulnerable in our County and City to get us to this point.

      22 But here we are, and it is a new day.

      23                I have a feeling that we are going to work

      24 differently from this day forward because, honestly,                  I

      25 believe what we’ve been trying all these years has not




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          1 worked, and will      ——   will this settlement of this agreement

       2 get us there?          You know,   it is in the right direction,         and

       3 we want to solve this problem.             The hearts and souls of the

       4 three women sitting here and one good man are with you,

       5 Judge Carter,         in taking this in a different direction.

       6                And, to that, also,       you know, Karen Bass on day

       7 one of    ——   of her mayorship declared a state of emergency.

       8 The County of Los Angeles last Tuesday unanimously voted to

       9 declare a state of emergency for this crisis.                I think that

      10 speaks volumes of where we are and what we want to do

      11 differently, and we concur          ——   well, Janice Hahn and      ——   and

      12 Hilda Solis      ——   we have three other colleagues that we hope

      13 will agree, but we concur that the County’s new language in

      14 an agreement would mirror the provisions for monitoring that

      15 the City of Los Angeles agreement has in theirs.

      16                We want accountability.        We want transparency.            I

      17 believe it is about relationships,            and that’s what we have.

      18 But you made a good point, what if these relationships don’t

      19 exist in the future?           But I think this is going to be

      20 successful because of our relationships, both at the state

      21 level, the federal level, and between the City and the

      22 County.

      23                Thank you.

     24                 THE COURT:      Supervisor,   thank you.

     25                 Let me turn to the one good man known, member of




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       1 the Council President, Mr. Paul Krekorian.

       2                 MR. KREKORIAN:     Thank you very much,         Judge.     And

       3 thank you for your diligence throughout this process.                      I

       4 think it’s remarkable how much progress has been made since

       5 the time this litigation was filed until today.                  And what

       6 you’re seeing today here is accelerating that progress even

       7 more.      This is a time of new leadership, of new resources,

       8 of new commitments by both the City and the County and,

       9 hopefully, our partners at other levels of government soon.

      10 And,     so,   I think that what Supervisor Hahn just described is

      11 important in moving forward to ensure that the relationship

      12 between the County and the City remains unified in this is

      13 to have unified accountability, you know,             in   ——   in this

      14 settlement agreement as well with          ——   with your Honor.

      15                So,   that makes complete sense to me with the

      16 90—day extension.           I can assure you that the Council, as

      17 well as our Mayor, will use that time vigorously to try to

      18 work with our        —-   our friends and colleagues at the County to

      19   ——   to make sure that we have workable solutions that will be

      20 even better than what’s on the table before us today.                      So,

      21 for that,      I thank you, your Honor.

      22                THE COURT:      Well, thank you.     Let me turn to First

      23 Alliance

      24                MS. MITCHELL:      Thank you,    your Honor.      So   --




      25                THE COURT:      I said First Alliance.       I mean LA




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                                                                                           45
       1 Alliance.

       2             MS. MITCHELL:       That’s okay.     We   ——




       3             THE COURT:    No.        Thirty years ago I had a case

       4 called First Alliance, which has nothing to do with this.

       5 So,   LA Alliance.    My apologies.

       6             MS. MITCHELL:       Thank you,    your Honor.        You’ve been

       7 calling us First Alliance for three years.

       8             THE COURT:    For a long time, yeah.

       9             MS. MITCHELL:       I just respond to it automatically.

      10             Thank you, your Honor.         We appreciate this.           I

      11 think highlighting these deficiencies has been eye opening I

      12 think for   ——   for a lot of folks.       We have    ——   have been

      13 pushing for 3,000 plus beds this entire time, mental health

      14 beds.   And, to get us there,         I’m excited to be able to work

      15 with what seems like a newly invigored government on the

      16 other side.      So, we’re very excited to see what progress we

      17 can make in 90 days.      I think the accountability piece is

      18 absolutely key, without sacrificing the support for city

      19 projects and things that        —-   that we all know and agree is

      20 absolutely necessary.

      21             So, we’re excited.         We agree to the 90 days.              We

      22 are happy to agree to ex parte communications across the

      23 board so that we can really see the progress being made and

      24 being able to talk very clearly and directly I think is                      —-




      25 is very appropriate in the circumstance.              So   ——   so, we agree




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                                                                                                ER 857
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        1 to that continuance if the Court is in agreement as well.

        2             THE COURT:           I’m   ——   as I expressed to you in

        3 chambers and I express to you now transparently in open

        4 court,   I’m excited about this possibility, very

        5 complimentary the willing to renegotiate and at least relook

        6 at this agreement.             I agree it’s time to reset, and we have

        7 a wonderful opportunity here on behalf of all of the

        8 citizens, the homeless, the community, the police,                   everyone,

        9 and let’s seize it.

       10             So,    let’s go in good faith.            And, with your

       11 permission, instead of setting a specific date today, why

       12 don’t I reach out through Michelle Martinez and Judge

       13 Birotte to Mercedes and all of you folks about a convenient

       14 date instead of arbitrarily setting one.                 That way,     in case

       15 there’s other business, et cetera, we’re not having to reset

       16 those dates,      and we’ll do that within the next week with

       17 Alliance and the Intervenors.

       18             And, Ms. Sobel, please be here also on that date.

       19 I need you.       Okay.

       20             MS. SOBEL:           (Indiscernible)

       21             THE COURT:           Oh,    never mind.   Okay.

       22             MS. SOBEL:           Oh, no, no.      I’m so sorry,    your Honor.

       23 I didn’t hear the         -—    the    ——




       24             THE COURT:           We’re going to set this in 90 days.

       25 So, we’re going to be reaching out to you and Shayla also.




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                                                                                                ER 858
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       1             MS. SOBEL:    Thank you, your Honor.

       2             THE COURT:    All right.    For all that,    let’s not

       3 waste any more time in terms of going back to the Council,

       4 and I saw a number of other council members here.            So,

       5 extend my best wishes to the Council also.

       6             UNIDENTIFIED SPEAKER:      Thank you,   your Honor.

       7             THE COURT:    And, Michelle, a couple of things,

       8 because I wasn’t in the room for part of the        ——




       9             UNIDENTIFIED SPEAKER:      I may just comment very

      10 briefly, we also would like for the State and the County to

      11 allow ex parte communications to allow for ex parte

      12 communications    ——




      13             THE COURT:    Oh,   I want to be absolutely certain of

      14 this as discussed,     and that’s having to come to you.           Do 1~

      15 have the ability to go back to ex parte communications,              et

      16 cetera, and I want to know that on the County’s part because

      17 the County was the one that withdrew this.

      18             MR. MILLER:    Yes,   your Honor, you do.

      19             THE COURT:    Across the board.

      20             MR. MILLER:    We agree.

      21             THE COURT:    Across the board?

      22             MR. MILLER:    Yes.

      23             THE COURT:    And the phone’s open.      Okay.

      24             MR. MILLER:    The phone is open.

      25             THE COURT:    The phone is open.    Fair enough.




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                                                                                         ER 859
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       1 Okay.

       2             MR. MILLER:    Likewise, my clients,    the Chair of

       3 the Board of Supervisors said yes.

       4             THE COURT:    Okay.    All right.

       5             All right.    Then,    is there anything further?

       6         (No response.)

       7             THE COURT:    Thank you very much.     Go have a

       8 wonderful day.     Let’s get this done.

        9            ALL:   Thank you,     your Honor.

      10         (Proceedings concluded.)

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      25              I certify that the foregoing is a correct




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                                                                                    ER 860
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                                                                                49
       1 transcript from the electronic sound recording of the

       2 proceedings in the above—entitled matter.

       3

       4 /s/Jordan Keilty                 1/20/2023
         Transcriber                      Date
       5
         FEDERALLY CERTIFIED TRANSCRIPT AUTHENTICATED BY:
       6

       7 /s/L.L. Francisco
         L.L. Francisco, President
       8 Echo Reporting, Inc.

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       1                     UNITED STATES DISTRICT COURT
       2        CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
       3
       4 LA ALLIANCE FOR HUMAN RIGHTS, )         Case No. LA CV 20-02291-DOC
         et al.,                       )                               (KESx)
       5                               )
                   Plaintiffs,         )         Los Angeles, California
       6                               )
         vs.                           )         Thursday, June 9, 2022
       7                               )
         CITY OF LOS ANGELES, et al., )          (9:20 a.m. to 11:38 a.m.)
       8                               )
                   Defendants.         )
       9 ______________________________)
      10

      11    TRANSCRIPT OF PRESENTATION OF FINAL SETTLEMENT OBJECTIONS/
                              SCHEDULING CONFERENCE
      12               BEFORE THE HONORABLE DAVID O. CARTER
                           UNITED STATES DISTRICT JUDGE
      13
      14
           Appearances:                       See next page.
      15
           Court Reporter:                    Recorded; CourtSmart
      16
           Courtroom Deputy:                  Karlen Dubon
      17
           Transcribed by:                    Jordan Keilty
      18                                      Echo Reporting, Inc.
                                              9711 Cactus Street, Suite B
      19                                      Lakeside, California 92040
                                              (858) 453-7590
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         Proceedings recorded by electronic sound recording;
      25 transcript produced by transcription service.




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                                                                                        3
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                                                                                        4
       1 APPEARANCES:     (Cont'd.)
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                                                                                        5
       1   Los Angeles, California; Thursday, June 9, 2022 9:20 a.m.
       2                                  --o0o--
       3                             (Call to Order)
       4             THE COURT:     Then, we're in session on case number
       5 20-02291, entitled LA Alliance for Human Rights, et al.

       6 versus Plaintiff, City of Los Angeles, a municipal entity.
       7             We'll be a little bit more formal today.             So, I
       8 would like the appearances beginning with the respective
       9 parties.    And let me begin with Plaintiffs' counsel, please.
      10             MS. MITCHELL:      Good morning, your Honor.
      11 Elizabeth Mitchell and Matt Umhofer on behalf of Plaintiffs.

      12             THE COURT:     Thank you.
      13             Let me turn to the City, please.
      14             MR. MARCUS:     Good morning, your Honor.         Scott
      15 Marcus on behalf of the City of Los Angeles.

      16             THE COURT:     All right.      Thank you.
      17             And let me turn to the County.
      18             MR. MILLER:     Good morning, your Honor.         Skip
      19 Miller and Mira Hashmall on behalf of the County of L.A.
      20             THE COURT:     And the Intervenors, please.
      21             MS. SOBEL:     Good morning, your Honor.         Carol Sobel
      22 on behalf of all of the Intervenors.

      23             MS. MYERS:     And Shayla Myers on behalf of
      24 Intervenor Los Angeles Community Action Network and Los

      25 Angeles Catholic Worker.




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       1             THE COURT:     I represent to you I've read the
       2 briefing on numbers occasions.         I may have a few questions,
       3 but at the beginning of this process, I'd like to hear from
       4 the Intervenors to begin with.         You had substantial
       5 concerns, and I'd like you to address the Court concerning

       6 those.
       7             MS. MYERS:     Thank you, your Honor.        Shayla Myers
       8 on behalf of the Intervenors.         I don't think it's an
       9 exaggeration to say that we have substantial concerns with
      10 this gentleman agreement.

      11             From the beginning of this case, the LA Alliance
      12 and the City of Los Angeles have sought from this Court an

      13 order that would allow the City to enforce an anti-camping
      14 ban in the City of Los Angeles.          They have not been quiet
      15 about that, and two years after this case was -- was filed,

      16 that's the agreement that was presented to the Court.
      17 Certainly not surprised that that's the agreement that was

      18 presented to the Court.

      19             THE COURT:     A little slower.
      20             MS. MYERS:     We're not surprised that that's the
      21 settlement agreement that was presented to the Court, but

      22 this Court simply does not have jurisdiction to enter that

      23 settlement agreement.
      24             We want to be clear about what Intervenors'
      25 objections are in this case because I think both the LA




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       1 Alliance and the City have attempted to present our

       2 objections as something other than they are.

       3              Part of the City and the Intervene -- or in the
       4 Plaintiffs' agreement provides for the creation of shelter
       5 beds.

       6              THE COURT:    Just a little slower.
       7              MS. MYERS:    Part of the agreement provides for the
       8 creation of shelter beds, housing solutions.             And, while it
       9 is certainly the case that Intervenors have significant
      10 policy objections to that, we do not think that it will

      11 address the homelessness crisis.          We do not believe that the
      12 City is actually committing to do more than is already in

      13 the pipeline, and we do not believe that the agreement
      14 provides the type of certainty that an agreement like this

      15 should provide about the City's obligations in exchange for

      16 this Court's approval.
      17              But those aren't the -- those aren't the arguments
      18 that we're making here today from a legal standpoint.                What
      19 we are arguing today with regards -- is with regards to
      20 sections four and sections five of the settlement agreement.

      21 And, in those provisions, the City of Los Angeles and the LA

      22 Alliance are attempting to gain this Court's approval for

      23 enforcement of ordinances that are not challenged in the
      24 court, that no one on the LA Alliance side has standing to

      25 challenge.    There are no allegations that there's been any




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       1 enforcement that they could challenge.           And, your Honor,
       2 they're seeking pre-enforcement approval for ordinances that

       3 haven't even been written, and there's certainly no basis
       4 under Article 3 for the Court to enter an agreement like
       5 this.

       6              We do want to raise a couple of specific
       7 arguments.    First of all, procedurally, we just want to say
       8 the City and the LA Alliance made the choice not to file a
       9 motion for approval.       So, any arguments that they raised for
      10 the first time on reply we think are waived, and they simply

      11 didn't give us an opportunity to respond to them.

      12              They also failed to put forth any evidence in
      13 support of the agreement.        The LA Alliance puts forth a
      14 number of statements about the -- the agreements -- a

      15 similar agreement in Orange County but puts forth absolutely

      16 no evidence in support of that.          And I know my co-counsel,
      17 Ms. Sobel, is going to address that.           But we just want to be
      18 clear that the record is devoid of any factual support

      19 related to this.
      20              I do want to make one quick point about the -- the
      21 fight that seems to be going on in the pleadings -- or in

      22 the papers about what this agreement is called.              We refer to
      23 it as a consent decree, as does the County.
      24              The City has taken the position, as has the LA
      25 Alliance that it's not a consent decree.            I think that




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       1 issue, your Honor, is a red herring.           The City doesn't
       2 explain why they take objection to the term "consent decree"

       3 and actually go so far as to say if your Honor finds it to
       4 be a consent decree, they want the opportunity to reconsider
       5 the agreement.

       6             The consent decree is -- is not a term of art.               It
       7 simply means a settlement agreement with judicial approval.

       8 That's exactly what they're seeking here.            So, this is a
       9 consent decree.      And the City hasn't put forth any argument
      10 to suggest why there's a problem with referring to it as a

      11 consent decree.

      12             We want to -- I want to just make a couple of
      13 points about the substance of the agreement itself, as I
      14 said, with regards to Section 3.          From a legal standpoint,
      15 we don't object to it.       But, obviously, with regards to
      16 Section 4 and Section 5, we have significant -- a
      17 significant objections.

      18             The City of Los Angeles and the LA Alliance are
      19 asking for not only approval of an agreement for which there
      20 is no standing, they are asking for continued jurisdiction

      21 for this Court for five years to enforce an agreement over

      22 which the Court does not have standing.            They're asking for
      23 continuing jurisdiction from the Federal Court to enforce a
      24 provision that says that the City may enforce public safety

      25 regulations throughout Los Angeles once it reaches a




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       1 condition precedent.        But there is no basis and Article 3
       2 standing for such an agreement.

       3              The LA Alliance argues that provisions and
       4 guardrails in the settlement agreement provide for the Court
       5 to have continuing jurisdiction.           The City makes the same
       6 argument.     They suggest that because objections can be
       7 raised later on, that the Court should continue to have

       8 jurisdiction over this.         But the reality is who is allowed
       9 to make the objections in this case is limited entirely to
      10 the LA Alliance and the City of Los Angeles related to an

      11 enforcement -- to the enforcement of an ordinance that both

      12 the City and the LA Alliance have been advocating since this

      13 case started should be enforced.           Because of that, there is
      14 simply no case or controversy between the City and the LA

      15 Alliance over which this Court has jurisdiction.

      16              And then I just want to make a couple of other
      17 points to address some of the representations that the City

      18 made related to the specifics of the agreement.

      19              Your Honor, we took issue with the term "creates
      20 housing".     And I think --
      21              THE COURT:     Repeat that slowly.
      22              MS. MYERS:     We took issue with and raised concerns
      23 about the agreement and the fact that it says that the City
      24 must create housing and shelter beds.

      25              THE COURT:     Is that page nine, the last paragraph




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                                                                                     11
       1 on page nine of Docket 438?          Look at that to make certain
       2 that that's what you're referring to.

       3              MS. MYERS:     Do you mean as -- as opposed to the
       4 City's objections?
       5              THE COURT:     Docket 438, look at page nine, the
       6 last paragraph.       You'll see some numbers there, 9,000,
       7 approximately 1,000, and that's one of the areas that this

       8 issue's raised in as well as what does it mean to create --
       9 and when there's in "the pipeline".
      10              MS. MYERS:     Sure.    And, your Honor, I think we're
      11 making a --

      12              THE COURT:     Respond to my question now.          Is that
      13 the correct area that you're looking at?
      14              MS. MYERS:     No.    I'm looking -- I am looking at
      15 that, but I'm making a different argument.              That is where
      16 the City purports to address our argument, but I think they
      17 misrepresent what our argument actually is.

      18              So, there's a number of issues that we think would
      19 raise concerns for your Honor related to -- to approving the
      20 settlement agreement that we raised.            The first is -- is the
      21 issue of creates.       There's no doubt that Section 3 of the
      22 agreement requires that the City of Los Angeles create

      23 housing and shelter solutions.           But, again, the term
      24 "create" is not defined.          The agreement suggests that they
      25 can count shelter beds and other housing solutions that are




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                                                                                     12
       1 funded entirely by third parties.           So, there's no threshold
       2 participation for which the City gets to count a bed towards

       3 the threshold.       There's absolutely nothing.         So, the City
       4 could fund a plane ticket home for an individual, and that
       5 would count towards the 60 percent, and I think that's

       6 explicit in the agreement.
       7              Your Honor, we're making a second agreement -- a
       8 second argument, though, related to the use of the term
       9 "create" as it relates to Section 4 of the agreement, which
      10 is where the Court -- where the parties refer to having

      11 shelter beds, and I think this is where the City's papers

      12 misrepresent what our argument is.

      13              Section 3 requires the City to create a threshold
      14 number of housing solutions.          It's a floor, not a ceiling.
      15 And, again, if that were where the agreement stopped, we may

      16 think it's bad policy, but we wouldn't be here.               But Section
      17 3 speaks to creating.        Section 4, which is the section that
      18 speaks to enforcement, does not make reference to the beds

      19 that are created under Section 3.           It simply says when they
      20 have enough shelter beds to reach 60 percent of the

      21 unsheltered population.

      22              The lack of parallel construction there leaves
      23 open the suggestion -- and -- and we have seen -- and I
      24 think your Honor raised these concerns.             We've seen the ways
      25 in which those terms can be manipulated.




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       1              THE COURT:     Excuse me a moment.       Slower.
       2              MS. MYERS:     We've seen the way those terms can be
       3 manipulated by -- by the parties when seeking judicial
       4 approval for things.
       5              So, the City -- the City and the LA Alliance say
       6 when the City has enough shelter beds, which doesn't
       7 preclude counting the existing shelter beds, including the

       8 6700 beds that were created as a result of the agreement
       9 between the City and the County.           When the City has enough
      10 shelter beds, then it can enforce the order.

      11              So, that's the argument that we're making.              That's
      12 the argument that the City did not address, and we don't

      13 think on the face of the settlement agreement they actually
      14 can address because that -- that ambiguity is really

      15 significant, your Honor.

      16              And then I also just want to make another point
      17 related to the 60 percent, and I think -- Ms. Sobel is going

      18 to address this more in detail, but I just want to make this

      19 point related to the 60 percent as a number.
      20              The LA Alliance and the City of Los Angeles keep
      21 saying this is like the Orange County Catholic Worker case.

      22 It's -- because it provides that the City may enforce public

      23 safety ordinances upon the creation of beds for 60 percent
      24 of the population.        It's not actually like the Orange County
      25 Catholic Worker case insomuch as the City has made




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       1 significant mathematical calculations that reduced the

       2 number far below the 60 percent threshold that was set based

       3 on a factual record in the Orange County Catholic Worker.
       4 And, your Honor, the City -- the City concedes that point in
       5 its objections.

       6              So, the 60 percent -- the 60 percent number is 60
       7 percent of the unsheltered population that is City shelter

       8 appropriate.      And by the City's own calculation, that
       9 reduces the number of people within that 60 percent by
      10 roughly 9,000 is our understanding.

      11              But, the City then concedes, as they must based on
      12 disability law, that it's not that they're not going to

      13 provide shelter beds and offers of shelter to people they
      14 deem City shelter inappropriate.           Not offering shelter beds
      15 would be a blatant violation of -- of anti-discrimination

      16 law.
      17              So, the City says, We're going to offer shelter
      18 beds to that 60 -- to those individuals who are City shelter

      19 inappropriate, but we're just not going to count them to get
      20 to our threshold.       So, that's a significant reduction that I
      21 think the parties aren't conceding to as they talk about the

      22 settlement agreements, but it actually makes it

      23 substantially different from the numbers that were at issue
      24 in the Orange County Catholic Worker case.              And then, your
      25 Honor, of course, there is the issue of the homeless count.




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       1 The fact that the City and the -- the City and the

       2 Plaintiffs want to be bound by a homeless count that is

       3 being calculated this year I think speaks volumes about what
       4 -- about the ways in which they view this 60 percent
       5 threshold.      As we put in our papers, there's significant
       6 evidence that the housing -- that the housing -- or, I'm
       7 sorry -- the homeless count number may go down as a result

       8 of tenant protections that have been in place for the past
       9 two years --
      10              THE COURT:     Just a little slower.
      11              MS. MYERS:     -- with no indication whatsoever, your
      12 Honor, that those tenant protections are going to be in

      13 place going forward.
      14              We don't know what the homeless count number is.
      15 It's possible the City actually does know what the homeless

      16 count number is.       It's possible they know what the top line
      17 number is and that they know that the number is going to go

      18 down and that they've already met their 60 percent threshold

      19 in some of the council districts.           We have no idea.       But
      20 approving the agreement and holding the City to that number

      21 for five years and approving enforcement is simply

      22 unreasonable.

      23              But, of course, your Honor, all of those points
      24 are beside the point that the Intervenors are really

      25 stressing here.       The City of Los Angeles wants to walk out




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                                                                                     16
       1 of this courtroom with an agreement and with an order signed

       2 by your Honor that says that they can enforce Los Angeles

       3 Municipal Code 4118.        That's what the agreement says.
       4              4118 is not at issue in this case.           There's no one
       5 on the Plaintiffs' side that has been arrested, even alleged

       6 that they have been subject to enforcement under Los Angeles
       7 Municipal Code 4118.        And yet the agreement that they handed
       8 you today says explicitly that you're entering an order that
       9 says that they may enforce it and that the only -- the only
      10 entities that have the ability to challenge that going

      11 forward are the very parties who believe that Los Angeles

      12 Municipal Code 4118 should be enforced.

      13              THE COURT:     On page five, if you'd look at that,
      14 the City proposes to make certain that you have the right to

      15 sue.    In other words, one of the things that I read in your
      16 response was that you were concerned that you were being
      17 shut out and precluded from future lawsuits.

      18              The City represents and tells the Court that I can
      19 even modify this so that you always have access to the
      20 courts.     How do you respond to page five?
      21              MS. MYERS:     It's not simply, your Honor, about the
      22 Intervenors' ability to sue.          It's about -- as you know,
      23 Intervenors are here on behalf -- Los Angeles Community
      24 Action Network is here on behalf of their members.

      25              THE COURT:     How are they precluded from bringing a




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       1 suit?    The City is -- and the Court would be reluctant to
       2 adopt and take away your ability to sue.             One of the values
       3 of the Orange County settlements were that there was still
       4 access to suit, but it decreased the number of lawsuits.                  It
       5 decreased because of the informal ability of Judge Smith,

       6 Michel Martinez and others to intervene.             And, quite
       7 frankly, there's no representation that there's not going to

       8 be access to the courts when I read this, from the City's
       9 perspective.      And my past dealings in this, the benefit to
      10 this was that we took away a huge amount of the lawsuits, in

      11 fact, two within the last month that would have cost

      12 millions of dollars.

      13              So, I'm having trouble with that argument, and I
      14 want to say that to you.

      15              MS. MYERS:     But, your Honor, it's not the Federal
      16 Court's role to take away legitimate lawsuits and
      17 opportunities for individuals to come into the court in a

      18 case where the issues were not raised.             And I think that is
      19 a fundamental difference that I think the LA Alliance and
      20 the City have just never addressed.            LA Alliance does not
      21 sit in the same shoes as Orange County Catholic Worker

      22 because no one in Orange County Catholic -- because no one

      23 in the LA Alliance has standing to challenge the Municipal
      24 Codes.     And the City doesn't stand in the shoes of Orange
      25 County, Santa Ana, Anaheim, any of the other municipalities




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                                                                                     18
       1 because they're asking for not only a pre-enforcement.

       2 They're not enforcing the Municipal Code.             That wasn't why
       3 this lawsuit was brought was to challenge those Municipal
       4 Codes.
       5              They're asking for an ordinance that permits them
       6 to enforce some unknown ordinance that is not even
       7 referenced in the pleadings, that hasn't even been passed

       8 yet, your Honor.       And that's -- that's the problem is that
       9 it's continued jurisdiction for this Court to oversee the
      10 enforcement of ordinances that have never been drafted, let

      11 alone have been enforced.         And it's simply not right, nor
      12 does the Court have Article 3 standing for that.

      13              And, your Honor, I just want to say the -- the
      14 last point that I will make related to this.              As you point
      15 out, as drafted, there are no guardrails to protect

      16 intervenors.      There are no guardrails at all to -- to
      17 dictate how this agreement should be enforced going forward

      18 five years into the future.          There's no guardrails to
      19 prevent the City of Los Angeles or the LA Alliance from
      20 making the arguments that this agreement doesn't mean

      21 exactly what it says, i.e., that they may enforce these

      22 ordinances.      They're asking for a Federal Court to approve
      23 this ordinance saying that they may enforce the ordinance
      24 without any clarification whatsoever that at the end of the

      25 day, what this really is is an agreement that the LA




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       1 Alliance will drop the case in exchange for an agreement

       2 that they -- they will not sue going forward.              No third
       3 party can be bound by this at all, and the fact that it
       4 exists in this agreement and it's unenforceable gives
       5 another justification for why it's unfair, unequitable and

       6 unreasonable for the Court to enforce going forward.
       7              And I think that that's -- at the end of the day,
       8 that is the critical aspect of the settlement agreement is
       9 that there is no case or controversy between the LA Alliance
      10 and the City of Los Angeles that would give rise to this

      11 type of agreement.

      12              And the only last thing that I will say, your
      13 Honor, is that both the Intervenors and the -- and the City
      14 sprinkled in -- did not actually make arguments about this

      15 but sprinkled in the fact that the Intervenors had not filed

      16 a complaint in intervention or an answer in intervention.
      17              THE COURT:     No, no, slower.      I want you to repeat
      18 that, slowly.      Okay.
      19              MS. MYERS:     Both the -- both the Plaintiff in the
      20 -- in a footnote and the City in its factual statement

      21 sprinkle in the fact that the Intervenors did not file a

      22 complaint nor answer an intervention.            That's a technical
      23 deficit that we believe the Court already addressed by
      24 granting intervention.         The purpose of it is to spell out
      25 the basis of intervention.          The order issued by the Court




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       1 spells out explicitly the basis for standing and

       2 intervention.      So, it's a technical deficit that's already
       3 been addressed, and they waived in the past two years any
       4 suggestion that this is a problem, and they waived it by not
       5 raising it in the first instance and raising it only in a

       6 factual statement in the reply.
       7              But, in the interests of caution, to the extent
       8 that your Honor feels that a pleading would be necessary at
       9 this point, we're happy to file one.
      10              THE COURT:     I may be back to you with questions
      11 but not at the present time.

      12              MS. MYERS:     Thank you, your Honor.
      13              THE COURT:     Ms. Sobel.
      14              MS. SOBEL:     I'm going to try to be brief, which is
      15 hard for me to do.

      16              Following up on -- on Ms. Myers' argument about
      17 there not being set time goals, et cetera, for the Court's

      18 information, it took 13 years for the City of Los Angeles to

      19 meet the settlement in Jones.          And during that time
      20 period --

      21              THE COURT:     Took 13 years?
      22              MS. SOBEL:     Thirteen years to -- to -- to get
      23 1,250 units of permanent supportive housing, half of
      24 which --

      25              THE COURT:     Would you repeat that more slowly?




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       1              MS. SOBEL:     So, the settlement was 1,250 units.
       2              THE COURT:     Just a moment.      One thousand two
       3 hundred and fifty units in Jones, and it took 13 years.
       4              MS. SOBEL:     It took 13 years, and they didn't --
       5 they were allowed to count private entities, and they were

       6 allowed to count -- half the units could be outside of Skid
       7 Row.    Still, it took 13 years.         And, quite frankly, your
       8 Honor, where it took the most time was on Skid Row.                And
       9 part of the problem -- and I'm -- I'm -- you know, I can
      10 send the Court the letters that I sent to the Housing

      11 Committee and to Mayor Garcetti and others over --

      12              THE COURT:     Just make the representation.           I
      13 believe you.
      14              MS. SOBEL:     Okay.    Part of the problem is that the
      15 City counted units that previously existed or that had been

      16 downgraded, and the reason that we had this measure is
      17 because there is another lawsuit against the City, the

      18 Wiggins case, to maintain the housing stock in downtown Los

      19 Angeles.     Legal Aid brought the case, and they have been to
      20 court many times since 2006 when the Wiggins agreement was

      21 put into place because the City has repeatedly attempted to

      22 allow developers to take out low-cost housing on skid row.

      23 So, that's number one.
      24              Number two, I have a different understanding of
      25 the Orange County settlement than the Court does about the




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       1 access to sue.       There was only an access to sue with two
       2 specific entities, because we could not agree on the terms,

       3 and they insisted on wanting to do enforcement at an earlier
       4 time.    So, there is -- as the Court knows, there was a
       5 cutout with Stanton, and we are now in litigation with

       6 Stanton in State Court.         There was a cutout with Costa Mesa,
       7 and Costa Mesa has stopped the policy that we were

       8 challenging, which was the lawyering policy in particular.
       9              We have threatened to sue Santa Ana, which has not
      10 a single shelter bed at present, even --

      11              THE COURT:     Yes, they do.      They moved 78 people in
      12 on Monday, and they now have 28 families moved in yesterday,

      13 and there are over 100 today.
      14              MS. SOBEL:     Okay.
      15              THE COURT:     Carnegie is open.
      16              MS. SOBEL:     Okay.    And in our agreement with Santa
      17 Ana, they were supposed to have 450 units because 250 were

      18 going to be at Yale Street.

      19              THE COURT:     They have 125 at Yale.        They have 200
      20 with a capacity of 400 at the new Carnegie Shelter.                Plus,
      21 they have additional space.

      22              MS. SOBEL:     Okay.
      23              THE COURT:     They're way over their count.
      24              MS. SOBEL:     Well, they're not way over their
      25 count, your Honor.




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       1              THE COURT:     Counsel, they're way over their count.
       2              MS. SOBEL:     But here's the issue, your Honor.             For
       3 five years, they've been under their count, four years.                   And
       4 they've had no beds whatsoever.           So, I just want to make
       5 that clear, because in Orange County, the point in time

       6 count was something referenced by Ms. Mitchell in her -- in
       7 her reply papers.       Everyone in Orange County who looked at
       8 the point in time count has different views about it, and
       9 there is a significant view that the point in time count is
      10 down in Orange County for a couple of reasons, one of which

      11 is that they had fewer people to go out and count people.

      12 If you don't have people to count people, you're not going

      13 to count people.       So, that was one.
      14              Two, the difference between the 2022 point in time
      15 count in Orange County and the 2019 point in time count is

      16 almost exactly equal to the number of people Father Kriz
      17 documented as dying.        So, it isn't -- you know, I don't
      18 think that our goal in trying to address homelessness is to

      19 have death -- you know, attrition by death as a solution to
      20 this issue.

      21              And then I -- I want to be really clear.             We have
      22 been from the outset clear that the 60 percent number was

      23 not something we supported.          We supported it originally when
      24 the Court asked us to agree to it for a test with Anaheim.

      25 It was to be a short-term test.           It has now become




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       1 institutionalized.

       2              When the Court and the special master came to
       3 speak with Intervenors before the first hearing in this
       4 matter and the special master raised the 60 percent number,
       5 frankly, I cut her off and said we will never accept the 60

       6 percent number and especially not in Los Angeles, because
       7 here's what happened on the point in time count.               Several
       8 council people conduct -- had sweeps in their district the
       9 week or so before the point in time count so that people
      10 would be moved out and they would have a lower threshold

      11 number.     Where did those people go?         They went to a
      12 different council district, and those numbers went up in

      13 that council district.
      14              So, when we take 60 percent and we apply it as if
      15 this were 15 fiefdoms rather than a city, we wind up with

      16 all of this artificial construct about who can -- who can
      17 reach 60 percent and then start enforcement in their area,

      18 and that is particularly problematic for this -- for this

      19 City.
      20              So, I think those are the -- the major points that
      21 I wanted to -- to raise with the Court, and I know that the

      22 Court in the Orange County hearing this week raised with my

      23 co-counsel, Ms. Weitzman, that we don't have an agreement in
      24 Huntington Beach.

      25              The Court -- well, the -- the reason we don't have




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       1 the agreement in Huntington Beach is we will not accept 60

       2 percent anymore.       So, thank you, your Honor.
       3              THE COURT:     Thank you.     I may have questions but
       4 not at this time.
       5              Mr. Miller on behalf -- or co-counsel on behalf of
       6 the County.
       7              MR. MILLER:     Good morning, your Honor.         I'll be
       8 brief.     I have a couple of points that I want to raise.
       9 We're in an interesting position.           The County's in an
      10 interesting position.        We don't think there's any Article 3
      11 jurisdiction at all.        We think we're -- you know, this is a
      12 -- this is a big issue, big problem, and we're devoting

      13 tremendous amount of resources and effort to address it.
      14              So, that's -- that's where we are at the outset.
      15 I read the agreement -- the settlement agreement through.

      16 There are some parts of it I just didn't understand, and I
      17 -- and I read some of the commentary about it.               It seems
      18 acknowledged that the 60 percent threshold is going to hit

      19 approximately 14 -- 14,000 beds.
      20              THE COURT:     I heard 14,000 to 16,000, right?
      21              MR. MILLER:     Fourteen to sixteen.        And it seems
      22 acknowledged by Council President Martinez.              She made the
      23 statement -- and it's in the briefs -- that the -- the beds
      24 that are subject to the agreement are already committed, or

      25 most of them.      Thirteen, fourteen thousand of them are




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       1 already committed.        So, I don't understand, and I -- you
       2 know, I'm in favor of settlements.            We'd like to settle this
       3 case.    We -- you know, frankly, we have a mediation set for
       4 Monday, for your Honor's information.            But I don't
       5 understand how you can make an agreement to do something

       6 that's already been committed that you have to do, and --
       7 and then there was a payment of a million eight in legal

       8 fees.
       9              So, I just don't understand that, and I guess your
      10 Honor probably saw that and is going to -- going to address

      11 that.    So, that's one issue.
      12              The other issue is that we raised --
      13              THE COURT:     And what did you want the Court to
      14 address about the 1.8 million?

      15              MR. MILLER:     Well, it just -- it seems like an
      16 agreement to commit to something that's already been
      17 committed to, plus the payment of a million eight of legal

      18 fees that it just -- I don't understand it.              It -- it
      19 doesn't make a lot of sense to me.            I don't want to throw
      20 stones on their settlement.          We'd like all this litigation
      21 to be settled.       We'd like the money to be spent on, you
      22 know, helping people that live in the streets and getting

      23 shelter, not on lawyers.         That's our position.        That's --
      24 that's where the County's coming from.             I just don't
      25 understand how you can enter into an agreement based on a




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       1 commitment you've previously made.            It seems illusory or
       2 lacking in consideration.

       3              The other issue that I wanted to talk about, your
       4 Honor, is I read the -- the agreement, and it -- in page 10,
       5 paragraph nine, it talks about County obligations.                The
       6 County is obligated to do all these things.              The County is
       7 obviously not a party to this settlement agreement.                Our
       8 position is that the County is more than meeting its
       9 obligations.      So, it doesn't seem to be an appropriate part
      10 of the settlement or an appropriate thing for the parties to

      11 do to try to define or address obligations of the County.

      12 We're not part of this deal.          So, I would like to see that
      13 paragraph nine excised.
      14              If they want to -- you know, if the Alliance and
      15 the City want to talk about things and they want to work

      16 with the County and so forth, we're -- our door is open.
      17 You know, we're willing to listen.            We've been talking to
      18 them.    As I said before, we have a media -- another
      19 mediation on Monday.        We'd like very much to get out of this
      20 litigation, as much as I like being in your Honor's court,

      21 not in this lawsuit.

      22              So, I don't think paragraph nine belongs in this
      23 deal at all, and I'm concerned that if the Court were to
      24 approve it, approve the settlement with paragraph nine in

      25 it, there would be some kind of a determination of the




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       1 County's "obligations", and that would be totally

       2 inappropriate.       So, we would ask that that -- you know, that
       3 be clarified.
       4              That's -- that's pretty much all I have, your
       5 Honor.     We don't -- the Board of Supervisors wants to work
       6 on homelessness and helping people that are homeless and
       7 living -- living in the streets and need services, need

       8 shelter, and that's where we're coming from.              So, I would --
       9 I would submit it on that basis and thank you, your Honor.
      10              THE COURT:     Thank you very much.        I have no
      11 particular preference in response.            So, if the Plaintiffs
      12 are comfortable and then the City.

      13              MS. MITCHELL:      Thank you, your Honor.
      14              We don't have a whole lot of response because
      15 there wasn't a whole lot said that wasn't in the objection

      16 papers already.
      17              THE COURT:     But cover that.      In other words, I
      18 want to hear full argument today.

      19              MS. MITCHELL:      Thank you.     So, Ms. -- Ms. Myers
      20 said, as she was standing up here today, she would not be

      21 here from a legal perspective or have legal objections if

      22 certain things were true.         But, in her mind, they're not.
      23 And the implication of that statement is if those things are
      24 true, she would not have a legal argument.              And, so, as we
      25 pointed out in our papers, those things are, in fact, true.




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       1 And I think one of the problems is Ms. Myers, as I

       2 understand it, is reading ambiguities into the agreement

       3 that, one, don't actually exist and, two, can be clarified
       4 in other ways.       And one of those discussions is what beds,
       5 what creating -- creating beds means as opposed to having

       6 beds, and that is a particular concern.
       7              That's not a reason to deny the objection.              That's
       8 a reason to clarify what creating versus having means.                    And
       9 I think that we have been very clear.            I think the agreement
      10 has been very clear.        The City has been very clear in their
      11 response to that objection that they intended to create beds

      12 for 60 percent of the unsheltered population for whom the

      13 City can reasonably assist, and we have gone back and forth
      14 and back and forth on what that definition means, and we're

      15 reasonably specific, as specific as can be I think in a 27-

      16 page document, what that means.           And, certainly, we expect
      17 over the next five years for that to be further, I think,

      18 defined as we end up, you know, addressing problems that

      19 exist, but that's not a reason to deny the settlement on the
      20 front end.      It's a reason to continue to work out problems
      21 on the back end.

      22              One of the other issues that was raised was the
      23 2022 calculation, and this is something that the City
      24 certainly addressed, but I think everybody except for this

      25 argument here today, expects the 2022 count to actually




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       1 increase.     It has increased in every other jurisdiction that
       2 has released a 2022 pit count so far that I have seen except

       3 for Orange County, which has seen a 17 percent decrease,
       4 which I think, frankly, speaks volumes about the success of
       5 this program that we have agreed to enter into.

       6              So, the argument I think is that we intentionally
       7 didn't use the 2020 count because it's going to be higher

       8 based on the tenant protections.           But I think in reality, we
       9 expect the 2022 count to be higher than the 2020 count.
      10 And, regardless of those expectations which at this point my

      11 understanding is nobody knows, and I think certainly Mr.

      12 Marcus can clarify that.         We certainly don't know.         But it
      13 makes more sense to use today's count than the count from
      14 two years ago or the count from 2023 or 2024, 2025, because

      15 that results in a shifting target, not only for the City but

      16 for the Court and for the Plaintiffs if we have to
      17 continuously reassess.

      18              Yes, your Honor?
      19              THE COURT:     If you're right about that, then I
      20 would say to the Intervenors, the County, to you and the

      21 City that that argument has virtue for the following reason.

      22              If we all believe that the count's going up, it
      23 increases the responsibility under this agreement for the
      24 City to go up in the number of beds.

      25              MS. MITCHELL:      That's correct.




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       1              THE COURT:     And if you go backwards to 2019, you
       2 would put yourself in a position where, frankly, this Court

       3 would feel uncomfortable with an old number.              Now, if the
       4 number goes down, that might be different.              And my question
       5 is why haven't we gotten that count in Los Angeles?                We
       6 virtually have that count in most other counties.
       7              MS. MITCHELL:      I would inquire that of the City
       8 and the County, but --
       9              THE COURT:     Why ask LAHSA that?
      10              MS. MITCHELL:      Yeah.    My understanding is that
      11 LAHSA last year took a lot of time -- excuse me -- in 2020

      12 took a lot of time.        They didn't release it until the end of
      13 June.    And I think, frankly, because the Executive Director
      14 recently resigned, there's more complications, but I'm going

      15 to have to defer to the City and County and LAHSA on that

      16 issue.     So, I don't know if we can do that now or you'd like
      17 me to keep going, your Honor.

      18              THE COURT:     I want you to be continuous in your
      19 argument.     And then if I have questions -- and I apologize
      20 for breaking in.

      21              MS. MITCHELL:      Thank you, your Honor.
      22              So, I think one of the most significant issues for
      23 us to address, us being the Plaintiffs, is the standing
      24 argument, because that has been raised over and over and

      25 over again.      And I think there's a couple of different




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       1 issues here.      One is standing to bring the lawsuit in the
       2 first place, which has already been litigated, and one is

       3 standing to enter into this agreement.
       4              So, I think on the front end I want to clear up
       5 some -- some misunderstanding about why we brought this

       6 lawsuit in the first place.          There's a lot that has been
       7 stated about the LA Alliance's whole goal is just to get to

       8 enforcement, and that's just patently untrue, your Honor.
       9 We have been very clear.         You can look at the original
      10 complaint, Judge.       You can look at the first amended and
      11 supplemental complaint and all of our argument.               It is --
      12 the goal has never been to get to enforcement.               And, in
      13 fact, if that was the sole goal of what we have been trying
      14 to achieve, it would be a failure by this agreement because

      15 this agreement does not require enforcement.              This agreement
      16 permits enforcement if certain things are met.               And we can
      17 talk about that in a second, but I just wanted to be very

      18 clear.     The goal has always been to mirror the Orange County
      19 settlement that was reached, and I'll talk about the 60
      20 percent issue in a second, but we -- in looking at this, it

      21 was a very balanced approach.          And that is something the LA
      22 Alliance has always been fighting for, has always said and

      23 its members have been aggrieved by and damaged by, including
      24 its unhoused members, of which there are several, is the

      25 lack of shelter beds as well as the lack of regulation of




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       1 public spaces as well as the lack of services, including

       2 mental health treatment and substance use treatment.                 Job --
       3 I mean, job training, we can talk about all of those
       4 services.     But that has always been the three-pronged
       5 approach of the Alliance, and this agreement achieves two of

       6 those.
       7              So, as far as the increase in shelter, that is the
       8 number one goal, and that has been one of the main pillars
       9 of this litigation.        And, in fact, your Honor, in the reply,
      10 we quoted the main purpose and the intent, which I would

      11 like to read into the record at this moment if the Court is

      12 looking for a continuous argument.

      13              In the first amended and supplemental complaint,
      14 on page 23, Plaintiffs state:

      15                    "While this is not a natural
      16              disaster, it is a disaster nonetheless,
      17              and it should be treated that way.           The
      18              only way to address this crisis with the
      19              urgency it deserves is an emergency
      20              response providing immediate shelter for
      21              all, increasing necessary outreach
      22              services and treatment and abating the
      23              degradation of our cities and
      24              communities for the good of everyone."
      25              That has been our goal from the beginning.              That




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       1 is the goal that is to some extent at least as possible

       2 achieved with the City.         Obviously, the case against the
       3 County for services and treatment continues.
       4              But, because the issue of standing has been
       5 raised, I want to address both of those issues.               So, one, if
       6 we're talking about standing to bring this lawsuit, that
       7 issue has already been litigated.           The County has brought
       8 this issue.      The City has brought this issue.          This
       9 honorable Court found for Plaintiffs already, that
      10 Plaintiffs did, in fact, have standing when the original

      11 motions to dismiss were litigated.

      12              There's no reason to continue litigating that
      13 issue again with the County, certainly not with the City at
      14 this point.

      15              So, as far as standing to bring this, I think the
      16 issue has been very clear what our -- what our intent is,
      17 what our obligation is, and what we are achieving by this.

      18 Now, Los Angeles Community Action Network and other

      19 Intervenors that are objecting have a sole goal.               They --
      20 they challenge these on certain bases, right.              It is almost
      21 always, when we're talking about these sweeps as opposed to

      22 property, when we're talking about sweeps under 4118 and

      23 other similar ordinances, it's always them challenging the
      24 ordinance directly.        They're -- it's not the only way to
      25 achieve standing in this case, right.            With this balanced




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       1 approach, which is what we have been arguing for from the

       2 beginning, it is both the -- both the lack of enforcement

       3 and the lack of beds that has been an issue.              They are two
       4 of the three things that we have been attempting to achieve,
       5 right, is this balanced approach for the community as well

       6 as for the unhoused community, who are desperate for shelter
       7 and for assistance, and I hear that almost on a daily basis,

       8 "I just need help."        This agreement will give the help that
       9 we are so desperate for in Los Angeles.
      10              As far as what the -- let me look at my notes,
      11 your Honor, if I can have a moment.            Oh, the as of yet
      12 written ordinances.        This is another issue that we addressed
      13 in our reply, but this -- this agreement is not doing, as
      14 the Intervenor suggests, requesting the Court to approve

      15 some as of yet unwritten ordinances.            That's not what this
      16 is.    This is saying in one -- one way in which the City may
      17 be addressing the lack of public regulation at the moment,

      18 which is what we see and which is one of the main pillars of

      19 this agreement, is by enforcing public regulation
      20 ordinances.      And once it hits the 60 percent, which I
      21 promised I would address in a minute, and I will, that it

      22 may proceed with public regulation ordinances and with

      23 enforcement thereof but prior to doing so, must notify the
      24 Plaintiffs, must notify the Court, and, so, we will

      25 understand exactly what is being done.             But it also doesn't




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       1 prevent anybody from challenging those ordinances.                It
       2 doesn't prevent anybody from filing suit.             I do expect such
       3 lawsuits may be related to this case and to this Court given
       4 this significant case and given the Court's prior statements
       5 thereon, but there -- it doesn't prevent anybody from moving

       6 in and filing lawsuits or by having standing to do so.
       7              And I think one of the other issues that I said I
       8 wanted to address was the 60 percent number.              I recognize
       9 Ms. Sobel indicated they don't agree to 60 percent.                They've
      10 never agreed to 60 percent, and I understand that and

      11 recognize that.       But what I did is I went back when we were
      12 looking at the 60 percent approach, and I talked to a number

      13 of individuals who came from various cities that have used
      14 this 60 percent number, and I want to be very clear why we

      15 -- we, the LA Alliance, were comfortable with the 60 percent

      16 number.
      17              So, one of the things we did, talked to a number
      18 of cities and said, Hey, I understand you're using this 60

      19 percent approach.       And the 60 percent approach is not as has
      20 been understood by some people and has been represented by

      21 some people that 60 percent of the people get offered

      22 shelter and everybody else gets arrested.             That's clearly
      23 not what the Court has agreed to and what we've suggested or
      24 what the City has agreed to.

      25              Any person prior to any type of enforcement or any




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       1 type of enforcement of -- of these sweeps, one, has to be

       2 given an option to vacate the premises or an opportunity for

       3 appropriate and adequate shelter or housing.
       4              So, not a single person under this agreement would
       5 ever face enforcement unless that was first met, unless

       6 offers were first met.
       7              Now, as I understand it, this 60 percent number
       8 has been successful in a number of municipalities.                And I
       9 want to talk about Bellflower and Whittier specifically
      10 because I think they were the two most recent ones to enter

      11 into this agreement.        And I talked to two of the civic
      12 leaders there as well as the City Manager, and what I was

      13 told is that 60 percent across the board has been a very
      14 successful number, with about 40 percent of the individuals

      15 choosing not to enter into shelter, choosing to reunite with

      16 family, which I think should be applauded as a blessing and
      17 not a reason to object to this agreement, frankly, but has

      18 -- a variety of things, reunite with family, migrate, any

      19 number of things.       But approximately 40 percent were not
      20 interested in shelter for one reason or another, and

      21 approximately 60 percent or less were.

      22              So, in some jurisdictions, they were even closing
      23 beds because they no longer needed them anymore.               And it was
      24 a very successful number, one that has been used across the

      25 board successfully.        Therefore, we were comfortable.           I




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       1 think the Court was comfortable, and the City was

       2 comfortable in using the 60 percent as the appropriate

       3 number.
       4              And I'll let the City address the objections to
       5 the City appropriate shelter, but what that is designed to

       6 do is simply explain the -- and, as the -- as the City has
       7 -- has said, the -- the on the boots on the streets reality

       8 of what the City can reasonably do and reasonably offer
       9 without -- for people that don't need clinical beds.                 But,
      10 for people that need clinical beds, they're going to need

      11 more assistance than the City can reasonably offer.

      12              And I think one other thing, just to address the
      13 County's argument, this 14,000 to 16,000 beds that's been
      14 the approximate.       I actually think it will be more than that
      15 because I think that we'll see the 2022 count go up

      16 significantly, both by anecdotal evidence and by what I hear
      17 from service providers.         But, whatever that number ends up
      18 being, the only beds that are in the pipeline right now --

      19 and I think there's between 10,000 and 11,000 beds, most of
      20 them or a lot of them, particularly in the last few years,

      21 have been added to the stat as a result of this litigation.

      22              The City voted two years ago to enter into
      23 settlement negotiations with Plaintiffs and with this Court
      24 and with Intervenors with the County.            And at that point,
      25 you had several council members start actively moving to hit




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       1 those numbers.       And, because of that, we have an increase in
       2 stock I think particularly for the 1500 interim beds, which

       3 is exciting and should be lauded.
       4              Now, one concern I do have and I think the City
       5 will address is the permanent housing beds.              To the extent
       6 that is permanent supportive housing, that's obviously going
       7 to go to individuals that have significant mental health,

       8 drug dependency issues, physical disability issues, people
       9 that need supportive housing, in which case, you have
      10 shelter beds opening up and individuals should be offered

      11 those shelter beds.        So, I don't think it's a problem as
      12 people move through the system.           It should be applauded.
      13              I think that's it, your Honor.          I'm happy to
      14 address any other issues that have come up.

      15              THE COURT:     I may have questions later, but thank
      16 you.
      17              MS. MITCHELL:      Thank you, your Honor.
      18              THE COURT:     All right.     Counsel, are you
      19 comfortable turning to the City or do you need a recess or
      20 you're ready?

      21              MR. MARCUS:     It's up to the Court.        I'm happy to
      22 go forward.

      23              THE COURT:     Please, let's go forward.
      24              MR. MARCUS:     I agree, your Honor, that the
      25 objections stated here today are essentially nothing new.                   I




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       1 think the City and the Plaintiffs have addressed the bulk of

       2 them in their papers, but I will highlight a few issues, and

       3 I will try not to duplicate or repeat anything Ms. Mitchell
       4 said.    I think she addressed the majority of them.
       5              It's interesting that Ms. Sobel references the
       6 Jones settlement here because Jones, in very many ways, is
       7 similar to this settlement.          It is an agreement by the City
       8 to limit its enforcement of certain public rights of way
       9 ordinances, regulations until it constructs certain number
      10 of beds.     That's essentially what the City is agreeing to do
      11 here with the Plaintiffs.

      12              Now, Ms. Sobel may have buyer's remorse with that
      13 particular agreement, but that is not a legal challenge to
      14 the agreement, and the City here and the Plaintiffs here are

      15 doing nothing more than what Ms. Sobel and the City did in

      16 Jones.
      17              The issue of the count, your Honor, is -- is one
      18 that I agree with the Court's statements.             It would not be
      19 appropriate for us to use the 2020 count numbers.                Those are
      20 old numbers.      The City agreed to bind itself to whatever the
      21 2022 count is before it gets released.             I don't know what
      22 those numbers are.        We don't know what those numbers are.
      23              THE COURT:     But the expectation is on all parties'
      24 parts, in the briefing at least, that those numbers are

      25 going to go up.       And that's why I was pleased to see you




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       1 take the 2022 count, because if you took the 2019 or 2020

       2 count, then in a sense you wouldn't have the present numbers

       3 that would be appropriate.
       4              MR. MARCUS:     That's right, your Honor.         And --
       5 and --

       6              THE COURT:     It's actually detrimental to the City
       7 in a -- in a sense to take the 2022 count.

       8              MR. MARCUS:     We agree.     And -- and we can only
       9 rely on the numbers provided to us by LAHSA.              It's not the
      10 City's.     It's not the County's.        This is LAHSA's count.
      11 We're agreeing to be bound by the third party, LAHSA's,

      12 count, whatever that may be.          And if it's a whole lot more,
      13 then we're committing to a whole lot more.              If it's a little
      14 bit more, then we're committing to a little bit more.                 But
      15 the important thing is the City is committing to build the

      16 number of beds that is needed, whatever that number may be.
      17              What we cannot do, as Ms. Mitchell referenced, is
      18 have a rolling commitment.          What the City is doing, as any
      19 party does when they settle a lawsuit, is buy certainty.
      20 Litigation doesn't have certainty.            Litigation has risks.
      21 Settlements have certainty.          The City is agreeing to build
      22 the required number of beds, whatever that number may be, in

      23 the 2022 count.       That is a certainty that the City is
      24 bargaining for in this agreement.           And if the -- if, as the
      25 Intervenor suggests, there should be a rolling commitment




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       1 when the '23 count comes out, when the '24 count comes out,

       2 the City has lost the certainty that is bargained for, and

       3 that is not what the agreement states, which is why the
       4 agreement sticks with the 2022 count.
       5              And, to say that we are -- that there's no new
       6 commitment here is -- is simply false.             There are beds that
       7 are currently being contemplated in the pipeline, as we call

       8 it.    That number of beds, again, needs to be built.              We are
       9 going to create those beds because we need to create as many
      10 beds as we can.       As has been stated, this is a floor, not a
      11 ceiling.     But whatever number comes out of the 2022 count
      12 and whatever calculation we make in consultation with the

      13 Plaintiffs, approved by this Court, for the required number,
      14 those are the number of beds that the City is going to

      15 create.     And that's what our commitment is.           We're
      16 committing to build that number of beds and get out of the
      17 risks of litigation, as any party does in the settlement

      18 agreement.

      19              Lastly, the County's complaint about paragraph
      20 nine of the settlement agreement, it's very clear in the

      21 agreement throughout that the agreement is binding on the

      22 Plaintiffs and on the City.          It does not bind the County.
      23 It does not bind the Intervenors.           They are not party to it.
      24              Paragraph nine is a statement, a joint statement
      25 of what the City and the Plaintiffs believe the County




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       1 should be doing.       We are hoping that the City -- excuse me.
       2 We are hoping that the County steps up to that statement of

       3 principles, either in mediation or a settlement agreement or
       4 as a result of this litigation or just on their own, because
       5 it's the right thing to do.          But that's all that that is.
       6 It's a statement of what we think the County should do.                   And
       7 if the County wants to join this agreement, we are happy to

       8 have them.      And if a -- a mediation or future settlement
       9 discussions result in such a larger better agreement, we
      10 will bring that to the Court to supersede this one.                But
      11 right now, you have a firm commitment from the City to build

      12 a certain number of beds in five years under this settlement

      13 agreement, not a consent decree, settlement agreement.
      14         (Pause.)
      15              MR. MILLER:     Could I be heard again, your Honor,
      16 at some point?
      17              THE COURT:     Briefly.
      18              MR. MILLER:     Very briefly, your Honor.         The reason
      19 I asked to be heard, your Honor, I just haven't heard an
      20 answer to my question.         We put in -- quote in our brief from
      21 City Council President Martinez, "The City has committed to

      22 building a minimum of 14,000 beds and has over 13,000 beds

      23 in process already."        And we cite, you know, where she said
      24 that.

      25              I have not heard anything from Alliance or from




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       1 the City answering my question, and it's a question because

       2 I don't know.      How can you have a settlement agreement that
       3 requires you to commit to something that you've already
       4 committed to?      It seems like a charade.         It just doesn't
       5 seem real, and I would like an answer to that issue.                 I
       6 mean, we want this to work as much as anybody.               We're
       7 working very hard on the issue, but it -- it doesn't seem

       8 like -- it seems -- it seems paper thin.             Maybe there's
       9 another thousand beds, maybe not, depending on the count.
      10              If they've already committed to 14,000 beds, as
      11 City Council President Martinez says, then what are we

      12 getting out of this deal?         They're getting a million eight
      13 in legal fees, the Alliance is.           What is the City getting
      14 for this commitment?        I don't -- I have not heard an answer
      15 this morning at all, and that's the point I wanted to make.

      16              Thank you.
      17              MS. MYERS:     Your Honor, Intervenors would also
      18 like to be heard briefly on just a few specific points.

      19              THE COURT:     All right.     Briefly.
      20              MS. MYERS:     And I'll try and speak more slowly.             I
      21 want to -- I want to address the 2022 homeless count issue

      22 because I think that's -- that's been raised by both

      23 parties.     It's been raised by your Honor.
      24              We appreciate the City's desire for certainty
      25 relative to Section 3 of the agreement, and we don't raise




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       1 the objection related to the homeless count numbers with

       2 regards to Section 3.        As I said earlier, as we said in our
       3 -- in our papers and I reiterated just to -- to make the
       4 point clear because I think there's been some misstatements
       5 about our papers, if the LA Alliance and the City of Los

       6 Angeles want to reach an agreement that provides that the LA
       7 Alliance will dismiss the case upon the creation of a

       8 certain number of beds, we may object that it's bad policy,
       9 that it's not going to do much.           We may be in agreement with
      10 AIDS Healthcare Foundation, a lot of service providers, the

      11 LA Times, a lot of other people who think this agreement

      12 won't do any good, but they can enter into it.               They can use
      13 the 2022 count, whether it goes up, whether it goes down,
      14 whether it stays exactly the same.            That's not our
      15 objection.

      16              Our objection is that the City is attempting to
      17 get a court approval to enforce public space regulations

      18 five years into the future for 60 percent of the shelter

      19 beds, for 60 percent of the population based on a count that
      20 was done in 2022.

      21              That -- your Honor, the constitutional rights of
      22 unhoused people related to the enforcement of ordinances

      23 against them is not static.          This idea that the City can
      24 enter into an agreement today to build a certain number of

      25 shelter beds and, in exchange, get certainty about the




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       1 enforcement of ordinances five years from now based on that

       2 number is not -- is not contemplated under the Eight

       3 Amendment.     It's not contemplated under existing Ninth
       4 Circuit and Supreme Court precedence, and it's certainly not
       5 within the Court's jurisdiction.           But we want to be clear
       6 that's the objection that we're raising is the use of that
       7 2022 number to calibrate enforcement for some period into

       8 the future.
       9              The other thing -- the other point that I want to
      10 make is that Plaintiffs misstate the agreement with regards

      11 to who must be notified when certain trigger points are

      12 made.    The -- Ms. Mitchell stated that the Plaintiffs and
      13 the Court must be notified.          That's not accurate, your
      14 Honor.    The agreement explicitly states that the Plaintiffs
      15 must be notified, and that's our problem in part with this

      16 -- with this agreement.         Putting aside the standing issue --
      17 and we want to be clear, when we say standing, it's what we

      18 briefed in the papers.        It's not just LA Alliance's
      19 standing.     It's also the standing Article 3 ripeness.
      20              With regards to this agreement, everything is
      21 between the LA Alliance and the City.            For example, section
      22 five, Milestones and Deadlines, the City will share with

      23 Plaintiffs the City's plans for encampment engagement,
      24 cleaning and reduction in each council district, only

      25 Plaintiffs.      The City and -- the City and Plaintiffs have




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       1 set up an agreement where they can -- where they can talk

       2 about third parties' constitutional rights in private and

       3 only if the Plaintiffs disagree with that, the Plaintiffs,
       4 who have staked their claim on arguing that the Court is too
       5 protective of unhoused people's constitutional rights, only

       6 if Plaintiffs disagree do those issues become -- come in
       7 front of the Court.        And only then is there a contemplation
       8 of whether or not there's any disruption to the heart of
       9 this agreement, to be explicitly clear, is permission to
      10 enforce public safety regulations.

      11              And then the last -- one of the -- just two more
      12 quick points, your Honor.         LA Alliance says they talked to
      13 City managers about how well the enforcement is going
      14 related to the 60 percent rule.           And I think, your Honor,
      15 just -- just to point a fine point on it, that's exactly the

      16 problem here.      The LA Alliance spoke to the City about
      17 whether or not agreements related to unhoused people's

      18 constitutional rights were going well.             And when the City
      19 said it was going fine, that was enough for them.                The LA
      20 Alliance is standing in the shoes and aligning itself with

      21 the City, which is exactly what they're doing here.                They're
      22 aligning themselves with the City to reach an agreement

      23 related to unhoused people's constitutional rights.
      24              There is no case or controversy related to where
      25 the LA Alliance stands and where the City of Los Angeles




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       1 stands relative to the enforcement of the -- the Municipal

       2 Code violations.

       3              And then the -- the final point that I will make
       4 is that this is not Jones, your Honor.             This is not Jones v.
       5 The City of Los Angeles.         Jones was brought by unhoused
       6 individuals to challenge the constitutionality of the City's
       7 anti-camping ban.       And Ms. Sobel can say this better than I
       8 can, but I will just say that the Jones agreement prohibited
       9 the City of Los Angeles from enforcing an anti-camping ban
      10 based on a lawsuit that was brought with standing pursuant

      11 to Article 3 to actually challenge that, similar to The

      12 Orange County Catholic Worker case.            Standing is real, your
      13 Honor.     The requirement that there be a case or controversy
      14 and the requirement that there be an actual injury is to

      15 ensure that what is happening here is not -- is not

      16 permitted by the courts.         It cannot be the case that
      17 advocates for an ordinance can walk into court and agree

      18 with the City, who are also advocates of that ordinance,

      19 that the City, under certain circumstances, can enforce that
      20 ordinance against third parties, including Intervenors, when

      21 there are significant constitutional issues at stake.                 This
      22 is not Jones.      This is not The Orange County Catholic
      23 Worker.     This is not Mitchell v. City of Los Angeles.              This
      24 is a very different case.         That matters -- the procedural
      25 posture of this case matters, and we just want to make that




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       1 point clear given what the -- what the City and what the LA

       2 Alliance had invoked in their positions.

       3              Thank you.
       4              THE COURT:     I'm going to turn back so that there's
       5 equality in terms of the argument.            And, so, I'm going to
       6 turn back to the Plaintiffs and then the City, and then this
       7 is concluded.

       8              MS. MITCHELL:      Thank you, your Honor.
       9              I agree that this is not Jones because this is not
      10 going to take 13,000 -- 13,000 -- this isn't going to take

      11 13 years to build the beds.          We have in -- in this agreement
      12 a deadline-driven schedule which cannot, obviously, be

      13 established until the 2022 count is out, which we are still
      14 waiting for.      But the agreement has been reached to the 8th
      15 of June.     This agreement was reached back in April as we
      16 worked out the details.         But we're still waiting for the
      17 2022 count.      So the deadlines and milestones aren't in this
      18 agreement.      But, certainly, we anticipate the agreement may
      19 be amended to include the deadlines and milestones.                But it
      20 is very clear that this cannot take 13 years to accomplish.

      21              And, to address Mr. Miller's points, if -- if the
      22 Court looks at what is in the pipeline currently, you have,

      23 again, less than 11,000 beds.          I recognize that Council
      24 President may have misspoke when she said 13,000 beds.                    But
      25 you have less than 11,000 beds currently in the pipeline.




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       1 And, again, we expect this number to increase to over 16,000

       2 beds that the City is committing to.            I would anticipate
       3 more like 18,000 or higher.
       4              I'm happy to address the -- the financial issue if
       5 the Court is interested in that at all.             It is certainly
       6 less than half of what we have invested in this case, and it
       7 is in par with what other advocates have been paid in these

       8 1988 fee cases.       It's not anything that is unusual.           But if
       9 the Court has concerns, I'm happy to address them.
      10              I think we have said we've beat standing to death
      11 at this point.       We have brought a clear lawsuit with
      12 standing.     I think that it is certainly under some people's
      13 skin that we represent businesses, community members, as
      14 well as unhoused individuals who are all interested in

      15 pushing these balanced solutions, balanced solutions that

      16 work for all cities and communities.            I'm not going to beat
      17 that issue to death, but because we represent both unhoused

      18 individuals as well as businesses who are all interested in

      19 the buildup of shelter and the agreement thereon, I think
      20 has been a source of frustration, and we recognize that.

      21 But it doesn't take the standing issue away.              If the Court
      22 would like more answers on that, we're happy to answer that,

      23 but it does not -- I mean, I think we've beat this issue to
      24 death at this point.

      25              So, I think with that, I will sit down, your




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       1 Honor, unless the Court has additional questions.

       2              THE COURT:     Thank you.
       3              On behalf of the City, Mr. Marcus?
       4              MR. MARCUS:     Thank you, your Honor.        Let me
       5 address just two points, one from the County and one from

       6 the Intervenors.
       7              With respect to the County's reference to Council
       8 President Martinez's comments, and with all respect to Ms.
       9 Mitchell, the Council President never misspeaks.               She did,
      10 however, estimate a number.

      11              THE COURT:     She did what?
      12              MR. MARCUS:     She estimated a number.         She guessed.
      13 When the 2022 count comes out, we'll know what the real
      14 number is, but --

      15              THE COURT:     And if we're right, if it's going up,
      16 you're going to have an additional commitment?               In other
      17 words, I'm pleased with the virtuousness of that because if

      18 you'd brought me the 2019 or 2020 count, my first question

      19 would be why.
      20              MR. MARCUS:     And that would --
      21              THE COURT:     So, it's got to be the 2022 count, and
      22 I think we can all expect it's going up.

      23              MR. MARCUS:     Right.    And which is why the 2020
      24 count was never a consideration.

      25              THE COURT:     Right.




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       1              MR. MARCUS:     With respect to the Intervenors'
       2 concerns about future ordinances relating to regulation of

       3 public rights of way, as the Intervenors stated in their own
       4 papers and as the City has stated in its own papers, nothing
       5 in this agreement binds or precludes someone from bringing a

       6 legal challenge to some future ordinance, whether a facial
       7 challenge or an as-applied challenge.

       8              So, the argument that this agreement is somehow
       9 going to grant cart blanche to the City to ride roughshod
      10 over constitutional rights of people experiencing

      11 homelessness is simply false.

      12              And, with that, if the Court has any other
      13 questions, the City Submits.
      14              THE COURT:     No, other than to thank all of you and
      15 to make a couple of brief comments and then a recess, but

      16 this will be resolved one way or the other today.
      17              First of all, you should all compliment yourselves
      18 in terms of dealing with this inhumanity because my

      19 impression was, right or wrong, when I came here that
      20 whatever was happening was not working, that whether it was

      21 Jones and 1250 bed spaces in 13 years, with the ever-

      22 increasing death rate, with the single-digit but then

      23 double-digit rise in homelessness, that whatever the
      24 solutions or nonsolutions have been for the last literally

      25 20 to 30 years, have landed on all of your laps.




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       1              And if you go back to the April of 2020
       2 transcripts and bother looking at it, you'll see that the

       3 Court had made the same statement at that time, that if not
       4 us, who and if not now, when.          And you can read that in the
       5 transcript.      Nothing's changed.       It's fallen on your laps.
       6              The second thing I would generally say is that
       7 this -- my impression is that this suit started primarily

       8 with Skid Row and the Downtown business community.                I want
       9 to compliment you because it's now morphed into the entire
      10 City and the entire County, which means we have to deal with

      11 it.    We're no longer dealing with it in a piecemeal way
      12 because now it involves finally the City and the County.

      13 So, I'm pleased to see you're entering into additional
      14 negotiations on June 13th, however those turn out.                And
      15 you're an integral part of this.

      16              Third, I'll remind you that this is a judicially
      17 created doctrine.       The City Council and the legislature did
      18 not bring Boise.       The Ninth Circuit did.        And in that Ninth
      19 Circuit opinion, it says "shelter".            And if you can find
      20 anything about housing, I want you to quote that to me.

      21 It's shelter.      And if it was housing, this Court would
      22 enforce housing.

      23              But the debate that's taken place has been what
      24 does shelter mean, and the Ninth Circuit left that

      25 undefined.      So, that ended up being a political decision




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       1 from a housing first model, which was a policy decision, to

       2 shelter or to some mix.         And when I was able to communicate
       3 with all of you previously, I had warned you that when a
       4 Federal Court makes a decision, whether it's Jones or
       5 Mitchell or this case, you are stuck with our decision for

       6 10 or 15 years until that decision comes back or that same
       7 area comes back in front of court.            In other words, we've
       8 frozen you.      And it seems to me in the issue of homelessness
       9 and house -- houselessness, that there has to be a
      10 tremendous amount of flexibility on all of our parts, and we

      11 have to be unafraid to make the attempt and sometimes make

      12 the mistake and just back up and try to get it right,

      13 whatever that is.
      14              So, from the Intervenors' standpoint, you are a
      15 housing-first model.        From the City's standpoint, there's a
      16 growing recognition that there has to be some balance and
      17 that there has to be shelter to move thousands of people,

      18 and this Court has been critical of HHH.             The reason for
      19 that is that so few units were produced at such a great cost
      20 that even if that was the best model, we weren't dealing

      21 with thousands of people, we were dealing with hundreds of

      22 people.     And, so, therefore, the City literally entered into
      23 a period of inertia, stagnation, and then not only did it
      24 hurt the homeless, it hurt the citizens.

      25              So, from the beginning, when I was able to speak




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       1 to both of you, there was no secret that this Court was

       2 seeking, when I was actively involved anyway, a better

       3 balance.     And if you could produce a housing-first model and
       4 if you had 10,000 units, I couldn't be more complimentary.
       5              But what has happened is that the costs have risen
       6 now to minimally 630,000 to 800,000 dollars a unit.                And,
       7 so, we are treating the very few, if you will, and leaving

       8 thousands and thousands and thousands of people out on the
       9 street.
      10              The next thing is, generally speaking, before I
      11 come back with a few questions, I became sensitized because

      12 of Michele Martinez and other advocates in Orange County,

      13 including Brooke Weitzman.         And the blessing was taking me
      14 out to communities and realizing that the homeless impact

      15 our lesser income areas as much or more than our wealthy

      16 areas.    All of you in this room, regardless of any complaint
      17 about salary, can probably fly to Europe.             But if you'll
      18 come with me on occasion -- and I know you don't like to get

      19 up at 4:30 or 5:00 o'clock in the morning, you'll find that
      20 our impoverished communities are the most effected, Curren

      21 Price's district, Gil Cedillo district, Marqueece Dawson's

      22 district, Buscaino's district, Kevin de Leon's district.

      23 They can't use their parks.          Yet, because of the power of
      24 those who have a voice over those that don't have a voice,

      25 we focus on a place like San Vincente.            And when that human




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       1 cry takes place, there seems to be a reaction, which is

       2 good, and this Court has constantly asked myself, without

       3 asking any of you but being pretty blunt about it, why?                   Was
       4 it only because of access to City Hall?             Was it only because
       5 somebody was affronted because they drove down the west side

       6 of Los Angeles?       Was it only because Venice or the L.A.
       7 Times decided to go out and cover the Sheriff?               But where
       8 the hell was everybody out in Curren's district or Kevin de
       9 Leon's district?
      10              And I have to tell you I really got concerned with
      11 a lot of you folks who wouldn't even come out with us early

      12 in the morning.       And, quite frankly, some of you lost a lot
      13 of credibility because you just wouldn't come out to the
      14 sites.

      15              Now, I say that generally because there's
      16 exceptions.      There are people who work in the community.
      17 This isn't aimed at the Intervenors.            So, therefore, when I
      18 came to this City -- and now I'm a citizen.              I'm spending
      19 more time here than you can imagine -- you were frozen.
      20 There was inertia, an ever spiraling death rate, and why

      21 would the Court accept that?          Why would this Court want to
      22 become complicit or any court become complicit?               And that's
      23 caused quite a bit of controversy from unorthodoxy to
      24 whatever.     But if that problem's before you, I don't see how
      25 a court or any of us can act with comfort.




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       1              Now, the other day I said to Brooke Weitzman
       2 something in a settlement conference that you weren't

       3 involved in.      A young lady that we found housing for -- and
       4 this is street-by-street fighting.            This is door by door.
       5 If we're going to get involved in this business, you will

       6 never be successful because no matter what you do today,
       7 you'll drive down the street, and you'll see a woman who's

       8 babbling or a man running into the street.              You will never
       9 be 100 percent successful.          You just -- we just have to be
      10 more successful.

      11              I have pushed you as hard as I possibly could.               I
      12 hope I have affronted every one of you on occasion.                I've
      13 literally said to Shayla and I'll say this, I said "I think
      14 you're killing people."         I've said to the -- on the other
      15 side, "What are you doing?          This involves humanity across
      16 the City," to the Plaintiffs.          The Court's constantly said
      17 to the City "Quit dabbling in bits and pieces around the

      18 City," and the County, "Quit dabbling in bits and pieces."

      19 So, if you want to settle with some small portion, the Court
      20 doesn't want to spend the time on X amount.              I want to spend
      21 the time on the whole amount because it's no solution in

      22 this piecemeal wacamole approach.

      23              Back to I compliment you.         You're finally there.
      24 You're talking about the City.           I want to thank you, thank
      25 the City Attorney, thank the Mayor.            You're finally talking




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       1 about the City.       And one of the valuations we made with
       2 complete transparency was you were too big and too

       3 dysfunctional to ever get a citywide settlement to begin
       4 with.    You're really 15 different cities out there with 15
       5 different cities.       It's the mosaic of this City.          And, so,
       6 therefore, that's why we went district to district to talk
       7 to every single councilperson to try to learn what is so

       8 unique about Monica Rodriguez versus Gil Cedillo versus
       9 Curren Price versus Marqueece, and it was an amazing
      10 education.

      11              So, I end this part of this kind of from the heart
      12 talk to you to say you should be complimented that you're

      13 finally at the place as the City and maybe the County of
      14 taking this on in a holistic manner.            Where you end up in
      15 terms of shelter or where you end up in terms of housing

      16 first I could care less.         Just do it.     And you haven't done
      17 it.

      18              Now, this may present an opportunity, depending on
      19 your responses in a few moments.           This settlement is far
      20 from perfect.      This settlement will not, if I approve it,
      21 solve homelessness.

      22              So, the first point is that in the past, a lot of
      23 politicians have made a lot of promises, most of those
      24 broken, and they tend to be aspirational, "If you elect me,

      25 I will do the following."         And once elected, four years,




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       1 what's the number of new housing units that are going to be

       2 produced?     Let me repeat that.        That's a really simple
       3 question.     Am I dealing with 3,000, 4,000, 14,000?             Because
       4 the press has popularly picked up that 14,000 to 16,000
       5 units are going to be produced.

       6              The problem, Marcus, that we got into it between
       7 you and Skip and the County with the 6700 was how we were

       8 going to count those, you know, what was in the pipeline,
       9 were we going to count one in the pipeline because we got a
      10 permit?     Were we going to cause -- were we going to count
      11 that because a nail was driven into the wall?              It took four
      12 months to reach an MOU just on that.            So, I don't want to
      13 get caught on the back side of this tentatively even
      14 thinking about approving a settlement unless it has some

      15 meaningful number.

      16              By the same token, you're the Plaintiff.             You're
      17 taking on what the Government should be doing.               Why don't
      18 you have the right to settle?          Why is it your responsibility
      19 to continue on gratis regardless of the complaint about your
      20 fee and take on the burden if you choose to settle.                And if
      21 you had produced one new unit, why would the Court intervene

      22 and interfere with that?

      23              All right.     The second general area is the
      24 $1,800,000 is ridiculous.         That is a low figure for the
      25 services you've performed, and I'll put that on the record.




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       1 And, Mr. Miller, just produce your paycheck.              And I'm going
       2 to say that to you bluntly.          When I hear that argument, I'm
       3 affronted by it, frankly.         Just put on the table your
       4 contract with the County, along with all of your associates.
       5 So, as far as the $1,800,000, happy to accept that number.

       6 If that's the agreement between you and the City, I have no
       7 concern and no complaint.         Understood?
       8              The last area is one of money.          I think Elizabeth
       9 Chou, I'm not sure, the last article I read, kind of valued
      10 this at $3 billion.        That's a number just thrown out by the
      11 press.    What -- what is the value of this settlement,
      12 because I can't imagine a court turning down a $3 billion

      13 settlement if you move forward on this.             But if this is di
      14 minimus and we're just borrowing money from something else,

      15 I'd like to hear how much money we're borrowing.               So, I'm
      16 not concerned about double counting anymore, and I'll say to
      17 LAHSA I got flimflammed by LAHSA to begin with in this

      18 double counting and you read those transcripts way back

      19 when, and that caused a lot of concern on my part in terms
      20 of credibility.

      21              We don't have double counting here.           We have 6700.
      22 You're representing you're producing new beds.               What you
      23 really have is what I call a drawing off of funds
      24 potentially from HHH.        And, so, when I was thinking about
      25 this, I was saying, Well, why can't we incentivize HHH.                   If




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                                                                                     61
       1 you haven't built the units, you might have a narrow window

       2 of time to get these in the pipeline, and let's get you

       3 going, and maybe that's a good thing.            So, get me another
       4 thousand real quick.        Don't wait until year seven or eight.
       5 If you really want these in the pipeline to be counted,

       6 let's see the developers step up and do it and the City
       7 bureaucracy do it.       Maybe that's a good thing.
       8              So, I'll ask the City and I'll ask the Plaintiffs,
       9 what's the value of this lawsuit in money?             And step over
      10 and have a conference with each other.            That's an order.
      11 See if you can come up with a unified number because from

      12 the press I read about $3 billion.           I don't know that that's
      13 true.    What's the money value?
      14              MR. MARCUS:     Your Honor, can I have a moment?
      15              THE COURT:     Sure.    And I'm not holding you to the,
      16 you know, 100 million mark, but I'd like to kind of have an
      17 idea of what we're dealing with.           And you can bring -- I
      18 certainly know you.        Come on -- you can come forward, ma'am.
      19 What's the estimate here?
      20         (Pause.)
      21              THE COURT:     Matt, it's good to see you.          Just
      22 identify yourself.

      23              MR. SZABO:     Sure.    Matt Szabo, City Administrative
      24 Law --

      25              THE COURT:     And it's a pleasure to have you here,




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                                                                                     62
       1 by the way.

       2              MR. SZABO:     Yeah.    Thank you very much.
       3              THE COURT:     What's the value of this?
       4              MR. SZABO:     So, we --
       5              THE COURT:     I don’t know if I’d walk away from 100
       6 million.     I don't know if I want to walk away from 3
       7 billion.

       8              MR. SZABO:     So, we made a -- a rough estimate.
       9 That 2.4 billion to 3 billion dollar figure that you read in
      10 the Times was --

      11              THE COURT:     No.     I read -- I read it from Arosky
      12 (phonetic).      I read it from Susan Shelley, and I read it
      13 from Elizabeth Chou.        So, any time you get three members of
      14 the press together, it must be credible.

      15              MR. SZABO:     Right.     Yeah, it -- it was discussed
      16 when the -- when the proposed settlement was announced.
      17              THE COURT:     Okay.    How did we come up with that
      18 number?

      19              MR. SZABO:     We came up with that number based on
      20 -- there is a -- an average amount of either subsidy for a

      21 permanent housing or the actual cost of capital for shelter

      22 plus the cost of ongoing services that would be required for

      23 each of those.       We -- we looked at what was in the pipeline
      24 and as -- as was stated and is stated in the papers, we've

      25 -- we estimate that there is between permanent housing and




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                                                                                       63
       1 shelter a capacity for the City to stand up about 11,000 new

       2 units, most of which are permanent.

       3              THE COURT:     Okay.
       4              MR. SZABO:     And, so, we took the -- what we would
       5 be required to subsidize for those 11,000, and then we

       6 project it out.       If we needed to do 14,000 units, it would
       7 be about 2.4.      If we needed to do       16,000 units, it would be
       8 about 3 billion in subsidy and service cost.
       9              THE COURT:     Matt, I can't thank you enough.           A
      10 couple more questions.         Don't go away.
      11              MR. SZABO:     Sit down or --
      12              THE COURT:     No.
      13              MR. SZABO:     Okay.
      14              THE COURT:     What does "in the pipeline" mean?             I
      15 got in this debate over the 6700, and the County would say

      16 X, and the City would say Y.          And, finally, they worked it
      17 out, and if they both say that we produced 6700 units, I'm

      18 going to accept that.        But what does "in the pipeline" mean?
      19              MR. SZABO:     So, what in the -- "in the pipeline"
      20 means is identified projects, projects that have gone

      21 through some initial approval.           So, we have a site.       We have
      22 a site plan.      We have a rough order of magnitude on the cost
      23 of the construction of that project.
      24              THE COURT:     Um-hmm.
      25              MR. SZABO:     It may not be -- we may not have laid




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                                                                                     64
       1 out one brick yet or one -- you know, dug at a foundation

       2 yet, but we have some idea, and we have some commitment that

       3 dollars will be found.         Now, I do want to make an important
       4 point, Judge.      In the -- in the documents that you have in
       5 front of you, we identified 9400 units of permanent housing

       6 that --
       7                THE COURT:   Yeah.    It's on page nine.
       8                MR. SZABO:   -- that we view -- that we are saying
       9 are in the pipeline.        That does not mean, contrary to Mr.
      10 Miller's comments, that it's just stuff that's already

      11 there, certainly not.        Almost a thousand of those units are
      12 permanent housing units that we are going to establish

      13 through the State Home Key Program.
      14                THE COURT:   Okay.
      15                MR. SZABO:   And that is going to require -- those
      16 thousand units are going to require the City to come up with
      17 over $200 million of match.          And that Home Key Program, by
      18 the way, the reason that we're willing to invest that much

      19 is that it is an acquisition program of already existing
      20 units.     So, we don't have to wait the four plus years, as
      21 you had pointed out, to build from the ground up.

      22                Do we know where all that money's going to come
      23 from?    No.    But the City is willing --
      24                THE COURT:   Well, if you're successful, the
      25 Governor seems to have a surplus.




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       1              MR. SZABO:     Well --
       2              THE COURT:     And I notice Ms. Fudge came by
       3 recently.     So I'm sure she has a lot of money she'd like to
       4 give you.
       5              MR. SZABO:     True, true.     But it still is going to
       6 require about a 50/50 match.          And -- and the City is
       7 committing on that program to -- to come up with $230

       8 million that hasn't been planned for.            So, we're going to
       9 make that stretch commitment because we have an opportunity
      10 to get a thousand units of housing up this year.               So, we're
      11 going to do that, without -- and it's not something that my

      12 office does often is to make recommendations to counsel to

      13 make commitments without having secured the funding to make
      14 good on those commitments, but we're willing to do it

      15 because of the nature of the emergency.

      16              THE COURT:     Matt, one more question.         I read some
      17 place when I could do a lot of investigation that the Mayor

      18 had touted and the Council had touted about 7200 units

      19 eventually out of the 10,000 from HHH.             And yet I look at
      20 the controller, Galperin, and he's got about 1400 units

      21 completed in almost five or six years now.

      22              This is not double counting, but there's going to
      23 be a complaint from the housing first model that funds are
      24 being moved from HHH over potentially to shelter.                I don't
      25 think that the Court is going to become involved in that.                   I




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                                                                                     66
       1 think that that's a function for the elected officials to

       2 decide what the appropriate balance is.             You just have a
       3 rising death rate.        Hopefully and aspirationally I would say
       4 to you that I hope you get as much shelter as quickly as
       5 possible to try to get people out of the rain or out of the

       6 heat.    But, by the same token, nobody wants to give up on
       7 housing first, but I think that's best for the elected

       8 officials to decide that balance.
       9              The third thing is that I'll say to the
      10 Intervenors, I don't read this agreement the way you do.

      11 And, in fact, on page -- and, Sarah, I want you to help me.

      12 I think it's page five, isn't it?           Yeah, page five at the
      13 last paragraph.       I don't think it needs clarification.
      14 You're -- you're stating that enforcing the terms to which

      15 the settling parties have agreed and nothing affects any

      16 rights of the County or the Intervenors or any other party.
      17 So, if somebody wants to sue the City, I would be concerned

      18 if you came to me with a settlement as a class action and

      19 you were binding all people in the future.
      20              Here, I think we've had historically a reduction
      21 when we've entered into these kinds of agreements with

      22 litigation and saved our cities, 25 cities, huge amounts of

      23 money.     That's all I can represent to you.           But as far as
      24 taking away the right of the Intervenors to file a lawsuit,

      25 if 4118 was amended, et cetera, I think they're perfectly




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                                                                                     67
       1 able to do that, and I see no reason why the Court would

       2 preclude that.

       3              Now, if you're of a different impression, either
       4 on behalf of the Plaintiffs or the City, I'd like to hear
       5 that, but the Court doesn't intend to take away any

       6 constitutional right to sue by the Intervenors.               They can
       7 file tomorrow or any other group can, but I will say to you

       8 as a practical matter we've absolutely flattened the
       9 litigation in Orange County.
      10              The third thing I'll say to you is I'm pleased to
      11 see the 17 percent reduction in Orange County, but that is

      12 not being held up as a bright shining light on the hill for

      13 Los Angeles.      We're a different community.          But, by the same
      14 token, there seems to be an effort -- an increasing effort

      15 to get people off the street in the thousands right now

      16 instead of just the hundreds and it appears to me that we've
      17 been catering to the perfect, and we haven't been able to

      18 accomplish the good.

      19              So, Matt, take it back to your council, take back
      20 to your Mayor my compliments because we've moved from a

      21 small lawsuit citywide, and it's bold, and I hope that

      22 you're successful in your mediation.            I wish you the best,
      23 Mr. Miller.
      24              I want to go talk to my law clerks for a moment.
      25              MS. SOBEL:     Your Honor, may I just --




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                                                                                    68
       1              THE COURT:     No.    I'm speaking now.      You're
       2 listening.     I've given the courtesy to all the parties.
       3 We're done now.
       4              About $3 billion, Matt, on the table?           I just want
       5 to make sure I'm hearing this.

       6              MR. SZABO:     Depending on the number of units,
       7 sir --

       8              THE COURT:     Matt, about $3 billion on the table?
       9              MR. SZABO:     Up to $3 billion.
      10              THE COURT:     Okay.    About.   Okay.
      11              MR. SZABO:     Yes.
      12              THE COURT:     Give or take $100 million, but okay.
      13 About 14 to 16 thousand new units depending upon our 2022
      14 count?

      15              MR. SZABO:     Depending up the count, that's --
      16 that's correct.      And we will --
      17              THE COURT:     Okay.
      18              MR. SZABO:     And we will provide that information.
      19              THE COURT:     And here's what I've been weighing.
      20 I've heard more promises broken than you can possibly

      21 imagine.     And, so, therefore, I don't care what a politician
      22 says.    But one of the points that you made in this agreement
      23 was that this was something concrete that the Plaintiffs
      24 finally have as an agreement.          And the question I had late
      25 at night was what I care for, was it a thousand new units or




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                                                                                    69
       1 14 to 16 thousand new units and when would the Court step in

       2 and put a stop to that.        So, as long as there's counting,
       3 its not final.      I won't sign this or even consider it unless
       4 there's a monitor and you've already stated that there's
       5 going to be a monitor.        Right?    I'll point to the -- Sarah,
       6 help me, what page?
       7              MS. MITCHELL:     Correct, your Honor.
       8              THE COURT:     Counsel, point out the page.         I'll
       9 just read it to you.
      10              MR. MARCUS:     Your Honor, the parties stipulate
      11 that the Court --

      12              THE COURT:     No, I know.
      13              MR. MARCUS:     -- has jurisdiction.
      14              THE COURT:     I'm going to read it, though.          I'll
      15 find it.

      16              Secondly, there's been a lot of criticism about
      17 one district getting turned against the other district.                   So,
      18 let's be completely transparent about that.             I would hope
      19 that the City is able to balance out the needs of our more
      20 impacted districts, the Curren Price, the de Leons, the

      21 Buscainos, the Marqueece Dawson, with the less impacted

      22 districts -- and I include Bonin in that impacted district

      23 -- because it wouldn't be fair on the 60 percent to have
      24 these, you know, huge districts unless you have some

      25 equitable distribution of funds to the districts that need




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                                                                                    70
       1 this the most.      I have to leave that to you, but that's why
       2 I need the monitor.       Fair enough?
       3              MR. SZABO:     Correct.    And we will be regularly
       4 reporting publically on --
       5              THE COURT:     Right.
       6              MR. SZABO:     -- the funding available for each of
       7 the projects in each of the districts.

       8              THE COURT:     I'm -- I'm appointing Michele
       9 Martinez.     You gave me that ability, and I think you all
      10 trust her, although she's growled at you on occasion.

      11 You've each called her over the -- the years and talked to

      12 her.    But if you have an objection, I'm happy to appoint the
      13 law firm.     Do you know what they're going to charge?             Try a
      14 thousand dollars an hour with three associates, two senior

      15 partners, catching up with this, and you'll be over a

      16 million to a million point five just like that.
      17              Sit down.    Somehow, you have to work out some
      18 compensation with her because she's done working for free.

      19 She's been doing this out of the goodness of her heart for
      20 three years because she really believes, is one of the few

      21 virtuous people who's been involved in this.             So, you're
      22 going to go work out some kind of compensation.              She's going
      23 to get involved, but I've encouraged her to do the
      24 following, not to become involved with you for over more

      25 than one year.      If you're not living up to your promises,




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                                                                                    71
       1 there's no reason for that frustration.            She's going to have
       2 to step away from a private practice of some type, and those

       3 negotiations I think should be Judge Brotte with Michele
       4 Martinez.
       5              So, I'd like to see, Scott, you for a moment,
       6 Elizabeth, you for a moment.          Let's sit down and talk about
       7 that in the back, initially out of my presence, but then if

       8 I need to intervene.        But come up with some amount that's
       9 reasonable and compensates her for the private practice.
      10              I would suggest to you that she work no more than
      11 two years, with the option of her stepping away or if you

      12 have dissatisfaction with her after one year and then

      13 supplementing her with another monitor by agreement if that
      14 occurs.    That way, you're not bound to a particular monitor
      15 for five years.      Now, if you come up with a different
      16 agreement, that's fine.        Okay.
      17              And, finally, Matt, let's talk about the 60
      18 percent with you and the Intervenors, because there's a lot

      19 of concern on Ms. Sobel's part.          I'm not arguing with you,
      20 but I'm going to go back to the very beginning of this.                   We
      21 started trying to imagine the flexibility with a riverbed

      22 with 1400 people on it, not a couple hundred people across

      23 but 1400 people, and how are we going to clear that.                And,
      24 trust me, Orange County had no plan.            They can tell you they
      25 had a plan, and the Court laid an injunction on the Sheriff




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                                                                                    72
       1 and on the County and stopped it.           And pretty soon, the
       2 first plan was, Gee, Judge, maybe we're going to come in

       3 with some blue shirts, some newly trained kids out of
       4 college that, quite frankly, were learning on the job.                 And
       5 where are we going to put them?          And, so, the Board of
       6 Supervisors came up with 400 motel rooms.             You know how
       7 long?    Thirty days.     Totally inadequate.       Thirty days.
       8              But walking down the river each day with Ms. Sobel
       9 and with Brooke, it was readily apparent that we had about
      10 801 people ready to take shelter.           In fact, there were more
      11 than that.     So, where does this 60 percent come from?             It's
      12 an aspirational meaningless number in a sense.              It could be
      13 50 percent.     It could be 70 percent.         But you need to
      14 understand the basis of it, whether you agree with it or

      15 not.

      16              Carol, Ms. Sobel, took the decent and good
      17 position, Judge, this should be 80 percent, 80 percent.                   And
      18 the County took the position of, No, this should be 60

      19 percent, because what you're really dealing with is you
      20 started with about 13 to 14 hundred people, but as the signs

      21 went up, people started walking away.            So, if you have a
      22 thousand people left on the river, which we did, and 801

      23 seat shelter, Carol Sobel's right.           That should be about 80
      24 percent, right?      But what happens if you have 1300 people on
      25 the river and three or four hundred of them have walked away




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                                                                                    73
       1 because they're never going to accept shelter?              So, that's
       2 how we came up with the 60 percent.           Okay.
       3              The second thing is we always had 60 percent plus
       4 one.    It wasn't a 60 percent.        It was if we got to 60
       5 percent, we were supposed to stop and build the additional

       6 shelters so that nobody was going into an enforcement
       7 situation, whatever that meant.          But in your document, you
       8 have said much more holistically than Orange County and
       9 maybe much more humanely that you're not going to enforce
      10 this unless a person's offered shelter, and you put that in

      11 writing.

      12              So, it seems to me that as long as we continue to
      13 work together, this Court's going to turn from poking and
      14 trying to work with you, quite frankly, but I can only do

      15 that through a monitor.

      16              And, lastly, I agree with you, Mr. Miller.             I read
      17 this agreement.      This seems to be a binding attempt or a
      18 good faith effort between the City and the Plaintiffs.                 But
      19 all of those provisions don't apply to you.             I'm not
      20 adopting those.      Those seem to be aspirational, and I don't
      21 think that that's the essence of the agreement.              It seems to
      22 be a public statement.        You'll litigate that or you'll
      23 settle that, et cetera, but I -- I'm not binding myself in
      24 the agreement to anything that reflects on the County.

      25 That's for future litigation or future settlement.               Seems to




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       1 be a cry out to the County.         I'll leave that in your good
       2 hands.

       3              Now, I'm not accepting any more input, Counsel.
       4 I'll be back with you in about 15 minutes at the most, and
       5 I'll have a decision for you one way or the other.               Thank
       6 you.
       7              (Proceedings recessed briefly.)
       8              THE COURT:     On the record.      All the parties are
       9 present.     I want to thank you.
      10              This Court's inclined to approve the settlement.
      11 I'm tentatively approving the settlement now, but I'm going

      12 to issue a written order by next week to more address some

      13 of the issues raised today.
      14              I want to thank all of you for your attendance.
      15              We're in recess.
      16              (Proceedings concluded.)
      17

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       1              I certify the foregoing is a correct transcript
       2 from the electronic sound recording of the proceedings in

       3 the above-entitled matter.
       4
       5 /s/Jordan Keilty                    6/11/2022
         Transcriber                          Date
       6
         FEDERALLY CERTIFIED TRANSCRIPT AUTHENTICATED BY:
       7

       8
         /s/L.L. Francisco
       9 L.L. Francisco, President
         Echo Reporting, Inc.
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                                                                 Echo Reporting, Inc.
                                                                                        ER 956
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                                                                                     1


       1                         UNITED STATES DISTRICT COURT

       2            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

       3              HONORABLE DAVID O. CARTER, U.S. DISTRICT JUDGE

       4
           LA ALLIANCE FOR HUMAN                      )
       5   RIGHTS, an unincorporated                  )
           Association, JOSEPH BURK,                  )
       6   HARRY TASHDJIAN, KARYN                     )
           PINSKY, CHARLES MALOW,                     )
       7   CHARLES VAN SCOY, GEORGE                   )
           FREM, GARY WHITTER, and                    )   Certified Transcript
       8   LEANDRO SUAREZ, individuals,               )
                                                      )
       9                         Plaintiffs,          )
                                                      )
      10             vs.                              )   Case No.
                                                      )   2:20-cv-02291 DOC (KES)
      11   CITY OF LOS ANGELES, a                     )
           Municipal entity; COUNTY OF                )
      12   LOS ANGELES, a municipal entity;           )
           and DOES 1 through 200 inclusive,          )
      13                                              )
                                 Defendants.          )
      14                                              )

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      16
                            REPORTER'S TRANSCRIPT OF PROCEEDINGS
      17                              STATUS CONFERENCE
                                  THURSDAY, MARCH 19, 2020
      18                                  10:00 A.M.
                                   LOS ANGELES, CALIFORNIA
      19

      20

      21

      22

      23                      DEBBIE HINO-SPAAN, CSR 7953, CRR
                               FEDERAL OFFICIAL COURT REPORTER
      24                      350 WEST 1ST STREET, SUITE 4455
                                 LOS ANGELES, CA 90012-4565
      25                             dhinospaan@yahoo.com




                                 UNITED STATES DISTRICT COURT
                                                                                    ER 957
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                                                                                     2


       1                            APPEARANCES OF COUNSEL:

       2

       3   FOR THE PLAINTIFFS:

       4              SPERTUS LANDES & UMHOFER LLP
                      BY: MATTHEW DONALD UMHOFER, ESQ.
       5                   ELIZABETH ANNE MITCHELL, ATTORNEY AT LAW
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       6              Suite 200
                      Los Angeles, California 90017
       7              213-205-6520

       8   FOR THE DEFENDANT CITY OF LOS ANGELES:

       9              LOS ANGELES CITY ATTORNEY'S OFFICE
                      BY: SCOTT D. MARCUS, ESQ.
      10              200 North Main Street
                      7th Floor, Room 675
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           FOR THE DEFENDANT COUNTY OF LOS ANGELES:
      13
                      FOLEY & LARDNER LLP
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      15              Suite 3300
                      Los Angeles, California 90071-2411
      16              213-972-4500

      17   FOR THE INTERVENOR ORANGE COUNTY CATHOLIC WORKER:

      18              CAROL A. SOBEL LAW OFFICES
                      BY: CAROL A. SOBEL, ATTORNEY AT LAW
      19              725 Arizona Avenue
                      Suite 300
      20              Santa Monica, California 90401
                      310-393-3055
      21

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                                 UNITED STATES DISTRICT COURT
                                                                                    ER 958
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                                                                                     3


       1                            APPEARANCES OF COUNSEL:
                                          (Continued:)
       2

       3   FOR THE INTERVENOR LOS ANGELES CATHOLIC WORKER:

       4              SCHONBRUN SEPLOW HARRIS & HOFFMAN LLP
                      BY: CATHERINE ELIZABETH SWEETSER, ATTORNEY AT LAW
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                      Los Angeles, California 90064
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       7   FOR THE LEGAL AID FOUNDATION OF LOS ANGELES ON
           BEHALF OF INTERVENOR L.A. CATHOLIC WORKER AND LOS ANGELES
       8   COMMUNITY ACTION NETWORK:

       9              LEGAL AID FOUNDATION OF LOS ANGELES
                      BY: SHAYLA RENEE MYERS, ATTORNEY AT LAW
      10              7000 South Broadway
                      Los Angeles, California 90003
      11              213-640-3983

      12   ALSO PRESENT:

      13              Honorable Judge Andre Birotte, Federal Judge

      14              Honorable Judge Philip S. Gutierrez, Federal Judge

      15              Honorable Judge James Smith - Special Master

      16              Thomas Fawn - Senior Assistant County Counsel, County
                      of Los Angeles
      17
                      Brooke Weitzman - Intervenor Orange County Catholic
      18              Worker

      19              Scott Marcus - Los Angeles City Attorney's Office

      20              Jessica Mariani - Los Angeles City Attorney's Office

      21              Mike Feuer - Los Angeles City Attorney's Office

      22              Kevin de Leon - Los Angeles City Council

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                                 UNITED STATES DISTRICT COURT
                                                                                    ER 959
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                                                                                     4


       1                            APPEARANCES OF COUNSEL:
                                          (Continued:)
       2

       3   ALSO PRESENT:

       4              Michele Martinez - Chief Dot Connector

       5              Juan Garza - Mayor of Bellflower

       6              Miguel A. Pulido - Mayor of Santa Ana

       7              Yvette Ahlstrom - Elimination Foundation

       8              Paul Cho - Elimination Foundation

       9              Paul Leon - CEO of Elimination Foundation

      10              Gary Kranker - Whittier City Attorney

      11              Joe Vinatieri - Mayor of Whittier

      12              Kathryn Barger - Los Angeles County Supervisor

      13              Heidi Marsdon - Interim LAHSA

      14              Aleen Langton - LAHSA

      15              Nury Martinez - Los Angeles City Council President

      16              Ken Price

      17              Jackie Lacey - Los Angeles County District Attorney

      18              Robert Cartwright - Assistant Los Angeles County
                      Counsel
      19
                      Gabriel Dermer - Los Angeles City Attorney's Office
      20
                      Brandon Young - Manatt, Phelps & Phillips
      21

      22

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                                 UNITED STATES DISTRICT COURT
                                                                                    ER 960
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                                                                                     5


       1                                  APPEARANCES:
                                          (Continued:)
       2

       3   ALSO PRESENT:

       4              Byron McLain - Foley & Lardner

       5              Rodrigo Castro-Silva - Los Angeles County Counsel

       6              Mark Ridley-Thomas - Los Angeles County Supervisor

       7              Michel Moore - Los Angeles Police Chief

       8              Ralph Terrazas - Los Angeles Fire Chief

       9              Commissioner Kenneth Hodder - The Salvation Army

      10              Lieutenant Colonel John Chamness - The Salvation Army

      11              Miguel Santiago - California Assemblyman

      12              Bill Taormina

      13

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                                 UNITED STATES DISTRICT COURT
                                                                                    ER 961
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           1   driven by the preservation of the quality of life and life

           2   itself.

           3                Point two, the funding is ready.        We need zero

           4   dollars from any government.       We are ready to buy these

12:08PM    5   trailers today.     In a moment I'm going to hand my credit card

           6   to Mr. Price for whatever deposit he wants.          We're going to tie

           7   these trailers up today.

           8                Number three, logistics, the shipping and the

           9   installation is ready.      We are ready to move forward.

12:08PM   10                Number four, our nonprofit operators are sitting in

          11   the front row.    They're ready to move forward.

          12                Number five, what we need -- the gentleman from

          13   Whittier just said we need locations.         We need government

          14   property.    We need private property.       We need -- we just need

12:08PM   15   locations.    We need to break a few rules relative to zoning and

          16   land entitlements.     That should be easy because your other

          17   choice is anarchy.     Let's be honest here.       This thing is out of

          18   control and we need to fix it.

          19                Point six, this is a solution for both homelessness

12:09PM   20   and to control this virus.       Thank you for your time.       I'm going

          21   to hand my --

          22                THE COURT:    Oh, no, don't go away.       I love this

          23   credit card.     Could I -- no, I'm just kidding.

          24                MR. TAORMINA:    It has unlimited credit amount, and

12:09PM   25   I'm here to give this to Mr. Price.        I'm going to walk back




                                    UNITED STATES DISTRICT COURT
                                                                                       ER 962
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           1   there and hand him my business card and the credit card number

           2   is on the back.     And I'm dead serious.

           3                THE COURT:    By the way, I know his worth, and he has

           4   got a substantial limit, trust me.

12:09PM    5                MR. TAORMINA:    It doesn't matter.      It's time for

           6   action.   Thanks to you for this Court for making it happen.            So

           7   let's do it.

           8                THE COURT:    Okay.   Now, here is a strong ally for

           9   some portion of the plaintiffs.        They're your business

12:09PM   10   community.    In my part of the world, before I came to this part

          11   of the world and now I'm part of our world here in Los Angeles,

          12   I may be getting a shelter up here, okay, I'm going to start

          13   living up here thanks to Judge Carney and his being so gracious

          14   about maybe getting me some hotel space -- he's what I call the

12:10PM   15   police league side.     He's what I call the business side.

          16                If you don't know who he is -- and by the way some

          17   of the other major families, who he's going to probably

          18   privately disclose to you, trust me, he's probably very much in

          19   line with the First Alliance Group, because I perceive you as

12:10PM   20   more business oriented in a sense than maybe some of the other

          21   groups that might be -- there's going to be an accord.

          22                So he's speaking your language.        Okay?   In fact, he

          23   actually sued the railroads to clean up the mess on the

          24   railroads behind his multiple properties.          So talk to him.

12:10PM   25   Okay.




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                                                                                       ER 963
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           1                Bill, I want to thank you for stepping up.          I had no

           2   idea you were going to do that.       I'm actually a little stunned.

           3                Okay.   I'm ready to suspend this Court except for my

           4   esteemed and incredibly wonderful counsel.          And here's the

12:11PM    5   bottom line.    You've heard today -- and I've asked nothing of

           6   you -- if you want the Court not to be involved, that's just

           7   great.   We will litigate for the next ten years, and I could

           8   care less.

           9                And Andre and -- Birotte, thank you for being here

12:11PM   10   for this wonderful opportunity to meet all these good folks.

          11                But if you want us involved, we can give you a

          12   shelter and parameter to operate within, I hope, with a lot of

          13   disagreements on occasion, a lot of disagreements on occasion.

          14   Okay?    But the point is we moved forward in our part of the

12:11PM   15   world to an extent that I never expected before I got involved.

          16   It's not been pretty.     It's not been perfect.       People have

          17   gotten hurt.    But by God we moved forward.

          18                And I know that we can move forward on this.          So you

          19   tell me what time you want me to be back here.          I'm going to go

12:11PM   20   walk around and get a cup of coffee for a moment and visit with

          21   some of the folks who've remained, just because they're friends

          22   and I'd like to meet some of the other people in the audience

          23   who have been so patiently sitting here with us that I haven't

          24   had a chance to talk to.

12:12PM   25                If you want the Court involved, I want you to tell




                                    UNITED STATES DISTRICT COURT
                                                                                       ER 964
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           1   me that, but you have to give me the following or I won't be

           2   involved:   One, I must be able not to gather a group like this

           3   again.   I have to be able to reach out to Eric.          I have to get

           4   on the phone with the governor's office tonight.           I've got to

12:12PM    5   be able to talk to Bill about trailers or call Ken, you know,

           6   and Paul.   I've got to be able to talk to Carol.          I've got to

           7   be able talk to you.      And you've got to trust me in those

           8   ex parte conversations.      Because they're going to be more

           9   valuable, I hope, than litigation.

12:12PM   10                And if you get to litigation, I've got great judges

          11   who can litigate.     And they can probably be much more

          12   collaborative than even I am.       So I'm reaching out to you

          13   choosing two of what I think are the finest colleagues that I

          14   could possibly find on the bench to participate in this,

12:12PM   15   because you should have a tremendous -- you should have a

          16   tremendous sense of confidence that when you talk about people

          17   like Judge Birotte -- in fact, our entire bench here and

          18   Judge Gutierrez, that you're talking about people that are the

          19   middle of the road, that don't have an axe to grind, liberal or

12:13PM   20   conservative or however you toss those silly labels around, who

          21   will get down to work with you, and by God, we're going to get

          22   criticized for the lives we didn't save.         We're never going to

          23   be accountable or known for the lives we did save.

          24                But you have got a chance for us to save an awful

12:13PM   25   lot of lives.    And if we act quickly -- and if not, we came




                                    UNITED STATES DISTRICT COURT
                                                                                        ER 965
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                                    #:428
                                                                                         112


           1   here for the homelessness and COVID, right, the community right

           2   now distancing themselves who have that benefit, and God bless

           3   them.   Thank you.      It's coming.   It's just going to delay.

           4                 So what time would you like me to meet?         Because

12:13PM    5   you're going to be ordered to meet and confer.

           6                 Carol, you've been through this before.         Okay?     And

           7   you know that I have to be able to communicate with you early

           8   in the morning or late at night and share with the other side.

           9   And I've made a lot of mistakes.

12:13PM   10                 But you have got to give me an answer today.          And

          11   I'm going to sit here until I get "yes" or "no."           And then

          12   you're going to sign up and you're going to give me some

          13   limited jurisdiction for a limited period of time so you're not

          14   trapped.   Because I don't want a three-year consent decree.              I

12:14PM   15   don't want a settlement.       You don't even have to call it a

          16   settlement.    You just have to call it an agreement of some kind

          17   so you're not trapped.       And then let's get going.      Okay?

          18                 Now --

          19                 MR. UMHOFER:    Your Honor, we want you involved.

12:14PM   20                 THE COURT:    Wait, wait, wait.     Not so fast.      You

          21   talk to those people over there, and you talk to the defendants

          22   sitting there.    They're not here, et cetera.        Get on the phone.

          23   But I'm going to sit here until I get an answer "yes" or "no."

          24   Okay?

12:14PM   25                 So get together.    I'll be back at what time?        How




                                      UNITED STATES DISTRICT COURT
                                                                                         ER 966
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                                  #:437
                                                                                   121


     1                       CERTIFICATE OF OFFICIAL REPORTER

     2

     3   COUNTY OF LOS ANGELES        )
                                      )
     4   STATE OF CALIFORNIA          )

     5                    I, DEBBIE HINO-SPAAN, FEDERAL OFFICIAL REALTIME

     6   COURT REPORTER, in and for the United States District Court for

     7   the Central District of California, do hereby certify that

     8   pursuant to Section 753, Title 28, United States Code that the

     9   foregoing is a true and correct transcript of the

    10   stenographically reported proceedings held in the

    11   above-entitled matter and that the transcript page format is in

    12   conformance with the regulations of the Judicial Conference of

    13   the United States.

    14

    15   Date:    March 20, 2020

    16

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    19                                        /S/ DEBBIE HINO-SPAAN_

    20                                     Debbie Hino-Spaan, CSR No. 7953
                                           Federal Official Court Reporter
    21

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                               UNITED STATES DISTRICT COURT
                                                                                    ER 967
                      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 1019 of 1079
CM/ECF - California Central District                                        https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?936960264869699-L_1_0-1



                                       Query   Reports     Utilities   Help     Log Out

                                                                            ACCO,(KESx),DISCOVERY,MANADR,RELATED-G,SM,VEX

                                        UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA (Western Division - Los Angeles)
                                CIVIL DOCKET FOR CASE #: 2:20-cv-02291-DOC-KES


          LA Alliance for Human Rights et al v. City of Los Angeles et al                 Date Filed: 03/10/2020
          Assigned to: Judge David O. Carter                                              Jury Demand: Plaintiff
          Referred to: Magistrate Judge Karen E. Scott                                    Nature of Suit: 440 Civil Rights: Other
          Related Cases: 8:17-cv-00246-DOC-KES                                            Jurisdiction: Federal Question
                          2:21-cv-07305-DOC-KES
                          2:21-cv-06003-DOC-KES
                          2:21-cv-07596-DOC-KES
                          2:21-cv-06109-DOC-KES
                          2:22-cv-00483-DOC-KES
                          2:22-cv-00484-DOC-KES
          Case in other court: Ninth Circuit, 21-55395
                              9TH CCA, 21-55404
                              9TH CCA, 21-55408
                              9th CCA, 22-55687
                              9th CCA, 22-55933
          Cause: 42:1983 Civil Rights Act
          Plaintiff
          LA Alliance for Human Rights                                  represented by Elizabeth Anne Mitchell
          an unincorporated association                                                Umhofer, Mitchell and King LLP
                                                                                       767 South Alameda Street, Suite 270
                                                                                       Los Angeles, CA 90021
                                                                                       213-394-7979
                                                                                       Fax: 213-529-1027
                                                                                       Email: elizabeth@umklaw.com
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                          Matthew Donald Umhofer
                                                                                          Umhofer, Mitchell and King LLP
                                                                                          767 South Alameda Street, Suite 270
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          Plaintiff
          Joseph Burk                                                   represented by Elizabeth Anne Mitchell
          individual                                                                   (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                          Matthew Donald Umhofer
                                                                                          (See above for address)
                                                                                          ATTORNEY TO BE NOTICED

          Plaintiff



1 of 56                                                                                                                             5/10/2023, 2:07 PM
                                                                                                                                          ER 968
                      Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 1020 of 1079
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          Harry Tashdjian                                represented by Elizabeth Anne Mitchell
          individual                                                    (See above for address)
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

                                                                       Matthew Donald Umhofer
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED

          Plaintiff
          Karyn Pinsky                                   represented by Elizabeth Anne Mitchell
          individual                                                    (See above for address)
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

                                                                       Matthew Donald Umhofer
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED

          Plaintiff
          Charles Malow                                  represented by Elizabeth Anne Mitchell
          individual                                                    (See above for address)
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

                                                                       Matthew Donald Umhofer
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED

          Plaintiff
          Charles Van Scoy                               represented by Elizabeth Anne Mitchell
          individual                                                    (See above for address)
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

                                                                       Matthew Donald Umhofer
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED

          Plaintiff
          George Frem                                    represented by Elizabeth Anne Mitchell
          individual                                                    (See above for address)
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

                                                                       Matthew Donald Umhofer
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED

          Plaintiff
          Gary Whitter                                   represented by Elizabeth Anne Mitchell
          individual                                                    (See above for address)
                                                                        TERMINATED: 07/22/2022
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

                                                                       Matthew Donald Umhofer
                                                                       (See above for address)
                                                                       TERMINATED: 07/22/2022



2 of 56                                                                                                        5/10/2023, 2:07 PM
                                                                                                                      ER 969
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                                                                       ATTORNEY TO BE NOTICED

          Plaintiff
          Leandro Suarez                                 represented by Elizabeth Anne Mitchell
          individual                                                    (See above for address)
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

                                                                       Matthew Donald Umhofer
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED

          Plaintiff
          Wenzial Jarrell                                represented by Matthew Donald Umhofer
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

                                                                       Elizabeth Anne Mitchell
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED


          V.
          Movant
          AIDS Healthcare Foundation                     represented by Jonathan Michael Eisenberg
                                                                        AIDS Healthcare Foundation
                                                                        Legal Department
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                                                                        ATTORNEY TO BE NOTICED


          V.
          Intervenor Plaintiff
          Venice Stakeholders Association                represented by Jeffrey Lewis
          TERMINATED: 04/15/2020                                        Jeff Lewis Law, APC
                                                                        827 Deep Valley Drive, Suite 209
                                                                        Rolling Hills Estates, CA 90274
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                                                                        Fax: 310-872-5389
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                                                                        ATTORNEY TO BE NOTICED

                                                                       Sean Christopher Rotstan
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                                                                       Email: sean@jefflewislaw.com
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED

          Intervenor Plaintiff




3 of 56                                                                                                         5/10/2023, 2:07 PM
                                                                                                                      ER 970
                  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 1022 of 1079
CM/ECF - California Central District                   https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?936960264869699-L_1_0-1



          Latino Coalition of Los Angeles            represented by Christian M. Contreras
          TERMINATED: 08/10/2020                                    Law Offices of Christian Contreras PLC
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                                                                    Fax: 323-597-0101
                                                                    Email: cc@contreras-law.com
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

          Intervenor Plaintiff
          Josue Tiguila                              represented by Christian M. Contreras
                                                                    (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED


          V.
          Defendant
          City of Los Angeles                        represented by Arlene Nancy Hoang
          a municipal entity                                        Los Angeles City Attorneys Office
                                                                    City Hall East
                                                                    200 North Main Street Room 675
                                                                    Los Angeles, CA 90012
                                                                    213-978-6952
                                                                    Fax: 213-978-7011
                                                                    Email: arlene.hoang@lacity.org
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                   Scott D Marcus
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                                                                   Email: ryan.salsig@lacity.org
                                                                   ATTORNEY TO BE NOTICED




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          Defendant
          County of Los Angeles                      represented by Jennifer Mira Hashmall
          a municipal entity                                        Miller Barondess LLP
                                                                    2121 Avenue of the Stars, Suite 2600
                                                                    Los Angeles, CA 90067
                                                                    310-552-4400
                                                                    Email: mhashmall@millerbarondess.com
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                   Amie S Park
                                                                   Los Angeles County Counsel Office
                                                                   500 West Temple Street 6th Floor
                                                                   Los Angeles, CA 90012
                                                                   213-893-5939
                                                                   Fax: 213-626-2105
                                                                   Email: apark@counsel.lacounty.gov
                                                                   ATTORNEY TO BE NOTICED

                                                                   Ana Wai-Kwan Lai
                                                                   Los Angeles County Counsel Office
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                                                                   Los Angeles, CA 90071
                                                                   213-974-0061
                                                                   Fax: 213-617-6785
                                                                   Email: alai@counsel.lacounty.gov
                                                                   ATTORNEY TO BE NOTICED

                                                                   Brandon D Young
                                                                   Manatt Phelps and Phillips LLP
                                                                   2049 Century Park East Suite 1700
                                                                   Los Angeles, CA 90067
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                                                                   Fax: 310-996-7081
                                                                   Email: bdyoung@manatt.com
                                                                   ATTORNEY TO BE NOTICED

                                                                   Byron J McLain
                                                                   Foley and Lardner LLP
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                                                                   Los Angeles, CA 90071-2411
                                                                   213-972-4500
                                                                   Fax: 213-486-0065
                                                                   Email: bmclain@foley.com
                                                                   ATTORNEY TO BE NOTICED

                                                                   Emily A Rodriguez-Sanchirico
                                                                   1630 Stewart Street
                                                                   Santa Monica, CA 90404
                                                                   310-266-6029
                                                                   Email: Emily.Rodriguez-Sanchirico@redbull.com
                                                                   TERMINATED: 12/15/2021

                                                                   Lauren M Black
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                                                                   500 W Temple Street 6th Floor
                                                                   Los Angeles, CA 90012-2713
                                                                   213-974-1943
                                                                   Email: lblack@counsel.lacounty.gov



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                                                                    ATTORNEY TO BE NOTICED

                                                                    Louis R. Miller
                                                                    Miller Barondess, LLP
                                                                    2121 Avenue of the Stars Suite 2600
                                                                    Los Angeles, CA 90067
                                                                    310-552-4400
                                                                    Email: smiller@millerbarondess.com
                                                                    ATTORNEY TO BE NOTICED

          Defendant
          Does
          1 through 200 inclusive


          V.
          Intervenor Defendant
          Adrian D. Moon                              represented by Adrian D. Moon
          TERMINATED: 05/02/2023                                     955 North Lake Avenue
                                                                     Pasadena, CA 91104
                                                                     626-360-9896
                                                                     PRO SE

          Amicus
          Venice Stakeholders Association             represented by Jeffrey Lewis
          TERMINATED: 04/15/2020                                     (See above for address)
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED

                                                                    Sean Christopher Rotstan
                                                                    (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

          Amicus
          NAACP - Compton Branch                      represented by David H Martin
                                                                     Law Office of Mark Ravis and Associates
                                                                     26565 West Agoura Raod Suite 200
                                                                     Calabasas, CA 91302
                                                                     310-295-4145
                                                                     Fax: 310-388-5251
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED

                                                                    Mark S Ravis
                                                                    Law Office of Mark Ravis and Associates
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                                                                    Los Angeles, CA 90067
                                                                    310-295-4145
                                                                    Fax: 310-388-5251
                                                                    Email: mravis99@gmail.com
                                                                    ATTORNEY TO BE NOTICED

          Amicus
          CORE-CA                                     represented by David H Martin
                                                                     (See above for address)
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED




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                                                                    Mark S Ravis
                                                                    (See above for address)
                                                                    ATTORNEY TO BE NOTICED

          Amicus
          Committee for Safe Havens                   represented by Mark S Ravis
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

          Amicus
          Central City Association of Los Angeles     represented by Theano Evangelis Kapur
                                                                     Gibson Dunn and Crutcher LLP
                                                                     333 South Grand Avenue
                                                                     Los Angeles, CA 90071-3197
                                                                     213-229-7726
                                                                     Fax: 213-229-6726
                                                                     Email: tevangelis@gibsondunn.com
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED

                                                                    Bradley Joseph Hamburger
                                                                    Gibson Dunn and Crutcher LLP
                                                                    333 South Grand Avenue
                                                                    Los Angeles, CA 90071
                                                                    213-229-7000
                                                                    Fax: 213-229-7520
                                                                    Email: bhamburger@gibsondunn.com
                                                                    ATTORNEY TO BE NOTICED

          Amicus
          The Center in Hollywood

          Amicus
          Union Rescue Mission                        represented by Manuel A. Abascal
                                                                     Latham and Watkins LLP
                                                                     355 South Grand Avenue Suite 100
                                                                     Los Angeles, CA 90071-1560
                                                                     213-485-1234
                                                                     Fax: 213-891-8763
                                                                     Email: manny.abascal@lw.com
                                                                     ATTORNEY TO BE NOTICED

          Amicus
          Skid Row Housing Trust


          V.
          Special Master
          Michele Martinez

          Special Master
          James L. Smith


          V.
          Interested Party
          Urban Offerings, Inc.



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          Interested Party
          Santee Village Homeowner's Association


          V.
          Intervenor
          Orange County Catholic Worker              represented by Brooke Alyson Weitzman
                                                                    Elder Law and Disability Rights Center
                                                                    1535 East 17th Street, Suite 104
                                                                    Santa Ana, CA 92705
                                                                    714-617-5353
                                                                    Email: bweitzman@eldrcenter.org
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                    Catherine Elizabeth Sweetser
                                                                    Schonbrun Seplow Harris Hoffman and Zeldes
                                                                    LLP
                                                                    9415 Culver Boulevard Suite 115
                                                                    Culver City, CA 90232
                                                                    310-396-0731
                                                                    Fax: 310-399-7040
                                                                    Email: csweetser@sshhzlaw.com
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                    Paul L Hoffman
                                                                    Schonbrun Seplow Harris Hoffman and Zeldes
                                                                    LLP
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                                                                    Hermosa Beach, CA 90254
                                                                    310-717-7373
                                                                    Fax: 310-399-7040
                                                                    Email: hoffpaul@aol.com
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                    Weston C Rowland
                                                                    Law Office of Carol Sobel
                                                                    2632 Wilshire Boulevard No 552
                                                                    Santa Monica, CA 90403
                                                                    310-393-3055
                                                                    Email: rowland.weston@gmail.com
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                    William R Wise , Jr.
                                                                    Elder Law and Disability Rights Center
                                                                    1535 East 17th Strreet Suite 110
                                                                    Santa Ana, CA 92705
                                                                    714-617-5353
                                                                    Email: bwise@eldrcenter.org
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                    Carol A. Sobel
                                                                    Law Office of Carol A. Sobel
                                                                    1158 26th Street Suite 552



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                                                                                    Santa Monica, CA 90403
                                                                                    310-393-3055
                                                                                    Email: carolsobellaw@gmail.com
                                                                                    ATTORNEY TO BE NOTICED

          Intervenor
          Los Angeles Catholic Worker                                represented by Catherine Elizabeth Sweetser
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Shayla Renee Myers
                                                                                    Legal Aid Foundation of Los Angeles
                                                                                    7000 S Broadway
                                                                                    Los Angeles, CA 90003
                                                                                    213-640-3983
                                                                                    Fax: 213-640-3988
                                                                                    Email: smyers@lafla.org
                                                                                    ATTORNEY TO BE NOTICED

          Intervenor
          Cangress                                                   represented by Carol A. Sobel
          doing business as                                                         (See above for address)
          Los Angeles Community Action Network (LA                                  ATTORNEY TO BE NOTICED
          CAN)
                                                                                    Catherine Elizabeth Sweetser
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Shayla Renee Myers
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

          Intervenor
          Los Angeles Community Action Network                       represented by Carol A. Sobel
          added re #193                                                             (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Shayla Renee Myers
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED


          Date Filed       #    Docket Text
          03/10/2020        1 COMPLAINT Receipt No: ACACDC-25670317 - Fee: $400, filed by Plaintiffs Charles Van Scoy, Harry
                              Tashdjian, George Frem, Leandro Suarez, Joseph Burk, Gary Whitter, LA Alliance for Human Rights,
                              Karyn Pinsky, Charles Malow. (Attorney Elizabeth Anne Mitchell added to party Joseph Burk(pty:pla),
                              Attorney Elizabeth Anne Mitchell added to party George Frem(pty:pla), Attorney Elizabeth Anne Mitchell
                              added to party LA Alliance for Human Rights(pty:pla), Attorney Elizabeth Anne Mitchell added to party
                              Charles Malow(pty:pla), Attorney Elizabeth Anne Mitchell added to party Karyn Pinsky(pty:pla),
                              Attorney Elizabeth Anne Mitchell added to party Leandro Suarez(pty:pla), Attorney Elizabeth Anne
                              Mitchell added to party Harry Tashdjian(pty:pla), Attorney Elizabeth Anne Mitchell added to party
                              Charles Van Scoy(pty:pla), Attorney Elizabeth Anne Mitchell added to party Gary Whitter(pty:pla))
                              (Mitchell, Elizabeth) (Entered: 03/10/2020)
          03/10/2020        2 CIVIL COVER SHEET filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights,
                              Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter.
                              (Mitchell, Elizabeth) (Entered: 03/10/2020)




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           03/10/2020       3 Request for Clerk to Issue Summons on Complaint (Attorney Civil Case Opening),,, 1 , Civil Cover Sheet
                              (CV-71) 2 filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights, Charles Malow,
                              Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. (Mitchell, Elizabeth)
                              (Entered: 03/10/2020)
           03/10/2020       4 Request for Clerk to Issue Summons on Complaint (Attorney Civil Case Opening),,, 1 , Civil Cover Sheet
                              (CV-71) 2 filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights, Charles Malow,
                              Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. (Mitchell, Elizabeth)
                              (Entered: 03/10/2020)
           03/10/2020       5 NOTICE of Interested Parties filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human
                              Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter,
                              identifying LA Alliance for Human Rights, Joseph Burk, Harry Tashdjian, Karyn Pinsky, Charles Malow,
                              Charles Van Scoy, George Frem, Gary Whitter, Leandro Suarez, City of Los Angeles, County of Los
                              Angeles. (Mitchell, Elizabeth) (Entered: 03/10/2020)
           03/11/2020       6 NOTICE OF ASSIGNMENT to District Judge Stephen V. Wilson and Magistrate Judge Steve Kim.
                              (ghap) (Entered: 03/11/2020)
           03/11/2020       7 NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM filed. (ghap) (Entered: 03/11/2020)
           03/11/2020       8 21 DAY Summons Issued re Complaint (Attorney Civil Case Opening), 1 as to Defendant City of Los
                              Angeles. (ghap) (Entered: 03/11/2020)
           03/11/2020       9 21 DAY Summons Issued re Complaint (Attorney Civil Case Opening), 1 as to Defendant County of Los
                              Angeles. (ghap) (Entered: 03/11/2020)
           03/11/2020      10 NOTICE of Related Case(s) filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights,
                              Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. Related
                              Case(s): 18-cv-00155-DOC-JDE (Mitchell, Elizabeth) (Entered: 03/11/2020)
           03/13/2020      11 ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 19-03-Related Case-filed. Related Case
                              No: 8:17-cv-00246-DOC (KESx). Case transferred from Magistrate Judge Steve Kim and Judge Stephen
                              V. Wilson to Judge David O. Carter and Magistrate Judge Karen E. Scott for all further proceedings. The
                              case number will now reflect the initials of the transferee Judge 2:20-cv-02291-DOC (KESx). Signed by
                              Judge David O. Carter. (ts) (Entered: 03/15/2020)
           03/16/2020      12 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE: STATUS CONFERENCE
                              MARCH 19, 2020. The Court orders Plaintiffs to show proof of service in this action by 12:00PM on
                              Tuesday March 17, 2020. ( Show Cause Response due by 3/17/2020.) ( Status Conference set for
                              3/19/2020 at 10:00 AM before Judge David O. Carter.) The conference will occur at the FIRST STREET
                              U.S. COURTHOUSE, 350 W 1st Street, Suite 4311, Los Angeles, CA 90012-4565, Courtroom Number 1.
                              (twdb) (Entered: 03/16/2020)
           03/16/2020      13 PROOF OF SERVICE Executed by Plaintiff Charles Van Scoy, Harry Tashdjian, George Frem, Leandro
                              Suarez, Joseph Burk, Gary Whitter, LA Alliance for Human Rights, Karyn Pinsky, Charles Malow, upon
                              Defendant City of Los Angeles served on 3/16/2020, answer due 4/6/2020. Service of the Summons and
                              Complaint were executed upon City of Los Angeles, City Clerk in compliance with Federal Rules of Civil
                              Procedure by service on a domestic corporation, unincorporated association, or public entity.Original
                              Summons NOT returned. (Mitchell, Elizabeth) (Entered: 03/16/2020)
           03/16/2020      14 PROOF OF SERVICE Executed by Plaintiff Charles Van Scoy, Harry Tashdjian, George Frem, Leandro
                              Suarez, Joseph Burk, Gary Whitter, LA Alliance for Human Rights, Karyn Pinsky, Charles Malow, upon
                              Defendant County of Los Angeles served on 3/16/2020, answer due 4/6/2020. Service of the Summons
                              and Complaint were executed upon County of Los Angeles, Clerk of the Board in compliance with
                              Federal Rules of Civil Procedure by service on a domestic corporation, unincorporated association, or
                              public entity.Original Summons NOT returned. (Mitchell, Elizabeth) (Entered: 03/16/2020)
           03/17/2020      15 INITIAL STANDING ORDER FOLLOWING ASSIGNMENT OF CIVIL CASE TO JUDGE CARTER
                              upon filing of the complaint by Judge David O. Carter. (kd) (Entered: 03/17/2020)
           03/17/2020      16 EX PARTE APPLICATION to Intervene filed by intervenor Orange County Catholic Worker.
                              (Attachments: # 1 Proposed Order) (Attorney Carol A Sobel added to party Orange County Catholic
                              Worker(pty:intv)) (Sobel, Carol) (Entered: 03/17/2020)




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           03/17/2020      17 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: SUPPLEMENTAL IN RE: STATUS
                              CONFERENCE MARCH 19, 2020. Plaintiffs are ORDERED to serve this order on the Defendants. SEE
                              DOCUMENT FOR FURTHER INFORMATION. (twdb) (Entered: 03/17/2020)
           03/17/2020      18 ORDER by Judge David O. Carter: granting 16 EX PARTE APPLICATION to Intervene and Appearance
                              at the Conference set for 3/19/20. SEE DOCUMENT FOR FURTHER INFORMATION. (twdb) (Entered:
                              03/17/2020)
           03/17/2020      19 PROOF OF SERVICE filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights,
                              Charles Malow, Orange County Catholic Worker, Karyn Pinsky, Leandro Suarez, Harry Tashdjian,
                              Charles Van Scoy, Gary Whitter, re Initial Order upon Filing of Complaint - form only 15 , Order on
                              Motion to Intervene 18 , Minutes of In Chambers Order/Directive - no proceeding held,, Set/Reset
                              Deadlines,, Set/Reset Hearing, 12 , EX PARTE APPLICATION to Intervene 16 , Minutes of In Chambers
                              Order/Directive - no proceeding held 17 served on March 17, 2020. (Mitchell, Elizabeth) (Entered:
                              03/17/2020)
           03/17/2020      20 PROOF OF SERVICE filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights,
                              Charles Malow, Orange County Catholic Worker, Karyn Pinsky, Leandro Suarez, Harry Tashdjian,
                              Charles Van Scoy, Gary Whitter, re Initial Order upon Filing of Complaint - form only 15 , Order on
                              Motion to Intervene 18 , Minutes of In Chambers Order/Directive - no proceeding held,, Set/Reset
                              Deadlines,, Set/Reset Hearing, 12 , EX PARTE APPLICATION to Intervene 16 , Minutes of In Chambers
                              Order/Directive - no proceeding held 17 as to Defendant, County of Los Angeles served on March 17,
                              2020. (Mitchell, Elizabeth) (Entered: 03/17/2020)
           03/17/2020      21 PROOF OF SERVICE filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights,
                              Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter, re
                              Initial Order upon Filing of Complaint - form only 15 , Order on Motion to Intervene 18 , Minutes of In
                              Chambers Order/Directive - no proceeding held,, Set/Reset Deadlines,, Set/Reset Hearing, 12 , EX
                              PARTE APPLICATION to Intervene 16 , Minutes of In Chambers Order/Directive - no proceeding held
                              17 as to personal service on Defendant, City of Los Angeles served on March 17, 2020. (Mitchell,
                              Elizabeth) (Entered: 03/17/2020)
           03/17/2020      22 PROOF OF SERVICE filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights,
                              Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter, re
                              Initial Order upon Filing of Complaint - form only 15 , Order on Motion to Intervene 18 , Minutes of In
                              Chambers Order/Directive - no proceeding held,, Set/Reset Deadlines,, Set/Reset Hearing, 12 , EX
                              PARTE APPLICATION to Intervene 16 , Minutes of In Chambers Order/Directive - no proceeding held
                              17 Corrected Proof of Electronic Service on Defendant, County of Los Angeles served on March 17, 2020.
                              (Mitchell, Elizabeth) (Entered: 03/17/2020)
           03/17/2020      23 PROOF OF SERVICE filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights,
                              Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter, re
                              Initial Order upon Filing of Complaint - form only 15 , Order on Motion to Intervene 18 , Minutes of In
                              Chambers Order/Directive - no proceeding held,, Set/Reset Deadlines,, Set/Reset Hearing, 12 , EX
                              PARTE APPLICATION to Intervene 16 , Minutes of In Chambers Order/Directive - no proceeding held
                              17 Revised Proof of Personal Service on Defendant, City of Los Angeles served on March 17, 2020.
                              (Mitchell, Elizabeth) (Entered: 03/17/2020)
           03/17/2020      24 STATEMENT of Defendant City of Los Angeles re: EX PARTE APPLICATION to Intervene 16 filed by
                              Defendant City of Los Angeles. (Attorney Jessica Mariani added to party City of Los Angeles(pty:dft))
                              (Mariani, Jessica) (Entered: 03/17/2020)
           03/18/2020      25 EX PARTE APPLICATION to Intervene filed by Proposed Intervenors Los Angeles Catholic Worker,
                              Cangress. (Attachments: # 1 Proposed Order) (Attorney Shayla Renee Myers added to party Los Angeles
                              Catholic Worker(pty:intv), Attorney Shayla Renee Myers added to party Cangress(pty:intv)) (Myers,
                              Shayla) (Entered: 03/18/2020)
           03/18/2020      26 REQUEST FOR JUDICIAL NOTICE re EX PARTE APPLICATION to Intervene 25 filed by Intervenor
                              Parties Cangress, Los Angeles Catholic Worker. (Attachments: # 1 Exhibit A - D)(Attorney Catherine
                              Elizabeth Sweetser added to party Cangress(pty:intv), Attorney Catherine Elizabeth Sweetser added to
                              party Los Angeles Catholic Worker(pty:intv))(Sweetser, Catherine) (Entered: 03/18/2020)
           03/18/2020      27 Notice of Withdrawal of Statement (Motion related) 24 filed by defendant City of Los Angeles. (Mariani,
                              Jessica) (Entered: 03/18/2020)



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           03/18/2020      28 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: IN RESPONSE TO REQUEST 27 . The
                              Court is inclined to grant the request, and invites the parties to discuss the removal of Docket No. 24 at the
                              March 19, 2020 hearing. The Clerk shall serve this minute order on the parties. (twdb) (Entered:
                              03/18/2020)
           03/18/2020      29 ORDER by Judge David O. Carter: Granting 25 Intervenors' EX PARTE APPLICATION to Intervene AS
                              Of Right. SEE DOCUMENT FOR FURTHER INFORMATION. (twdb) (Entered: 03/18/2020)
           03/18/2020      30 STATUS REPORT re: March 19, 2020 Status Conference filed by Plaintiffs Joseph Burk, George Frem,
                              LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles
                              Van Scoy, Gary Whitter. (Umhofer, Matthew) (Entered: 03/18/2020)
           03/18/2020      31 PROOF OF SERVICE filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights,
                              Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter, re
                              Minutes of In Chambers Order/Directive - no proceeding held, 28 , EX PARTE APPLICATION to
                              Intervene 25 , Request for Judicial Notice, 26 , Status Report 30 , Notice of Withdrawal 27 , Order on
                              Motion to Intervene 29 as to Defendant, County of Los Angeles served on March 18, 2020. (Umhofer,
                              Matthew) (Entered: 03/18/2020)
           03/18/2020      32 STATEMENT of in Response to LACAN and LACW's Ex Parte Application for Intervention and
                              Appearance EX PARTE APPLICATION to Intervene 25 filed by Plaintiffs Joseph Burk, George Frem, LA
                              Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van
                              Scoy, Gary Whitter. (Umhofer, Matthew) (Entered: 03/18/2020)
           03/18/2020      33 Report re Developments filed by Intervenor Orange County Catholic Worker (Sobel, Carol) (Entered:
                              03/18/2020)
           03/19/2020      34 STATUS REPORT filed by Intervenor Parties Cangress, Los Angeles Catholic Worker. (Sweetser,
                              Catherine) (Entered: 03/19/2020)
           03/19/2020      35 ORDER LIMITING NUMBER OF PEOPLE PERMITTED TO ATTEND EMERGENCY STATUS
                              CONFERENCE by Judge David O. Carter, that the number of people permitted to attend the emergency
                              status conference limited to 50 people and only to those who are necessary to determine and implement
                              the mitigation measures. No more than four representatives from the press will be permitted to attend the
                              emergency status conference and present in the courtroom so the public can be advised of what transpired
                              at the emergency status conference. (see attached for further details) (pj). (Entered: 03/19/2020)
           03/19/2020      36 MINUTES OF Status Conference held before Judge David O. Carter: The Honorable James L. Smith
                              (Ret.), various City Officials, Mayors, and Chiefs of Police are present to discuss homeless population of
                              Los Angeles and other cities in the County of Los Angeles. The Court orders the transcript of the Status
                              Conference held on March 19, 2020, be immediately produced at government expense and billed at the
                              daily rate. The transcript shall be prepared forthwith and filed on the docket with immediate release to the
                              public. The Court sets a further Status Conference for MARCH 24, 2020 at 10:00 a.m. Court Reporter:
                              Debbie Hino-Spaan. (kd) (Entered: 03/19/2020)
           03/19/2020      37 Notice of Appearance or Withdrawal of Counsel: for attorney Byron J McLain counsel for Defendant
                              County of Los Angeles. Adding Byron J. McLain as counsel of record for County of Los Angeles for the
                              reason indicated in the G-123 Notice. Filed by Defendant County of Los Angeles. (Attorney Byron J
                              McLain added to party County of Los Angeles(pty:dft))(McLain, Byron) (Entered: 03/19/2020)
           03/20/2020      38 Notice of Appearance or Withdrawal of Counsel: for attorney Brandon D Young counsel for Defendant
                              County of Los Angeles. Adding Brandon D. Young as counsel of record for County of Los Angeles for the
                              reason indicated in the G-123 Notice. Filed by Defendant County of Los Angeles. (Attorney Brandon D
                              Young added to party County of Los Angeles(pty:dft))(Young, Brandon) (Entered: 03/20/2020)
           03/20/2020      39 TRANSCRIPT for proceedings held on 3/19/2020 at 10:100 a.m. ****Transcript may be viewed at the
                              court public terminal or purchased through Court Reporter DEBBIE HINO-SPAAN at: WEBSITE
                              www.debbiehinospaan.com; E-mail, dhinospaan@yahoo.com before the deadline for Release of
                              Transcript restriction. After that date, it may be obtained from the Court Reporter or through PACER.
                              Additional formats of the transcript (ASCII, Condensed, and Word Indexing/Concordance) are also
                              available to be purchased at any time through the Court Reporter. Notice of Intent to Redact due within 7
                              days of this date.** Redaction Request due 4/10/2020. Redacted Transcript Deadline set for 4/20/2020.
                              Release of Transcript Restriction set for 6/18/2020. (dhs) (Entered: 03/20/2020)




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                                                                                                                                         ER 979
                  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 1031 of 1079
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           03/20/2020      40 NOTICE OF FILING TRANSCRIPT filed for proceedings 3/19/2020 at 10:00 a.m. re Transcript 39
                              THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (dhs) TEXT ONLY ENTRY
                              (Entered: 03/20/2020)
           03/23/2020      41 MINUTE ORDER IN CHAMBERS by Judge David O. Carter. After the Court conducted its initial
                              hearing in this matter on March 19, 2020, the Central District of California issued its Continuity of
                              Operations Plan (COOP), effective March 23, 2020. In order to comply with the COOP and other public
                              health guidance, the parties have agreed to an acceptable off-site location for the March 24settlement
                              conference. The settlement conference shall be held at the Alexandria Ballrooms, 501 S. Spring St., Los
                              Angeles, CA 90013.The Clerk shall serve this minute order on the parties. (kd) (Entered: 03/23/2020)
           03/23/2020      42 Notice of Appearance or Withdrawal of Counsel: for attorney Carol A Sobel counsel for Intervenor
                              Orange County Catholic Worker. Filed by plaintiff Orange County Catholic Worker. (Sobel, Carol)
                              (Entered: 03/23/2020)
           03/23/2020      43 STATUS REPORT filed by Defendants City of Los Angeles, County of Los Angeles. (Attachments: # 1
                              Exhibit A)(Young, Brandon) (Entered: 03/23/2020)
           03/24/2020      44 MINUTE ORDER IN CHAMBERS by Judge David O. Carter. After the Court conducted its initial
                              hearing in this matter on March 19, 2020, the Central District of California issued its Continuity of
                              Operations Plan (COOP), effective March 23, 2020. In order to comply with the COOP and other public
                              health guidance, the parties have agreed to an acceptable off-site location for the March 26 status
                              conference. The Status Conference will be held on March 26, 2020, at 10:00 a.m. at the Alexandria
                              Ballrooms, 501 S. Spring St., Los Angeles, CA 90013. In order to be prepared to address this issue at
                              Thursdays status conference, the Court requests and encourages the Los Angeles Police Department and
                              the Los Angeles County Sheriffs Office to continue their joint efforts to establish procedures to be
                              implemented for law enforcement personnel involved in facilitating the placement of homeless persons in
                              appropriate shelter facilities in the City of Los Angeles, contract cities, and the unincorporated areas of
                              Los Angeles County. (kd) (Entered: 03/24/2020)
           03/24/2020      81 Text Only Entry: Settlement Conference held before Judge David O. Carter at the Alexandria Ballrooms,
                              501 S. Spring Street, Los Angeles, California. Court Reporter: None present; Courtroom Deputy: None
                              present. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (dgo) TEXT ONLY
                              ENTRY (Entered: 04/28/2020)
           03/25/2020      45 EX PARTE APPLICATION to File Amicus Brief filed by Amicus Curae Venice Stakeholders Association.
                              (Attachments: # 1 Declaration Decl. of Mark Ryavec, # 2 Declaration Decl. of Jeffrey Lewis, # 3 Proposed
                              Order Proposed Order) (Attorney Jeffrey Lewis added to party Venice Stakeholders Association(pty:am))
                              (Lewis, Jeffrey) (Entered: 03/25/2020)
           03/25/2020      46 STATUS REPORT filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights, Charles
                              Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. (Umhofer,
                              Matthew) (Entered: 03/25/2020)
           03/26/2020      47 STATUS REPORT as of March 26, 2020 filed by Intervenor Parties Cangress, Los Angeles Catholic
                              Worker. (Attachments: # 1 Exhibit A-D)(Myers, Shayla) (Entered: 03/26/2020)
           03/26/2020      82 Text Only Entry: Status Conference held before Judge David O. Carter at the Alexandria Ballrooms, 501
                              S. Spring Street, Los Angeles, California. Court Reporter: None present; Courtroom Deputy: None
                              present. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (dgo) TEXT ONLY
                              ENTRY (Entered: 04/28/2020)
           04/01/2020      48 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: The Court has received information
                              indicating the lack of sufficient sanitary facilities to meet the basic needs of the homeless community
                              generally referred to as Skid Row. The Court, moreover, has personally observed these conditions. In this
                              community, there are very few sanitation facilities available, and it appears that no new toilets or
                              sanitation stations have been installed in this area since the advent of the COVID-19 health crisis. If left
                              unchecked, it is likely that the coronavirus will both devastate the vulnerable homeless population and
                              exacerbate the existing public health crisis more generally.Therefore, the Court hereby ORDERS a status
                              report by Defendants City of Los Angeles and County of Los Angeles to address the timeline for the
                              installation of fifty additional toilets and fifty additional sanitation stations in the Skid Row area. The
                              Special Master has reported that a private-sector entity has reserved these needed toilets and sanitation
                              stations, along with a commitment for their installation. All of the toilets and sanitation stations can be
                              installed by Wednesday, April 8, 2020. Fifty of the toilets and twenty-five of the sanitation stations can be



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                  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 1032 of 1079
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                                installed by Friday, April 3, 2020. However, the parties are invited to acquire and installfrom whatever
                                source they deem appropriatethe needed units within the timeline outlined above.Defendants City of Los
                                Angeles and County of Los Angeles shall file the ordered status report, whether separately or jointly, by
                                4:00 p.m. on April 1, 2020. The Special Master has been ordered to communicate with the parties
                                regarding these issues. (kd) (Entered: 04/01/2020)
           04/01/2020      49 STATUS REPORT filed by Defendant County of Los Angeles. (Attachments: # 1 Exhibit Exhibit A to
                              Status Report)(McLain, Byron) (Entered: 04/01/2020)
           04/01/2020      50 STATUS REPORT for April 1, 2020 filed by Defendant City of Los Angeles. (Marcus, Scott) (Entered:
                              04/01/2020)
           04/04/2020      51 MINUTE ORDER IN CHAMBERS by Judge David O. Carter. Since its previous Order in this case 48
                              issued April 1, 2020, the Court has continued to observe the conditions of the homeless community
                              generally referred to as Skid Row. The Court attempted to use four of the handwashing stations that were
                              in place prior to the COVID-19 outbreak, and found no water in all four of the tested stations. The Court
                              also attempted to use two of the newly delivered handwashing stations; one was fully functional, and one
                              had soap but no water. Although this sample size is small, the Courts observations raise a strong inference
                              that there are inadequate sanitation facilities available in Skid Row. The Court, accompanied by Los
                              Angeles Police Department officers, also encountered an employee from Andy Gump, Inc., who advised
                              that he was working on instructions from his employer to remove fifty of the companys existing
                              handwashing stations from Skid Row. Although Defendant City of Los Angeles represents, in its April 1
                              Status Report (Dkt. 50), that the City is deploying sixty new handwashing stations to Skid Row, if fifty of
                              the existing handwashing stations are removed, Skid Row will see a net gain of only ten handwashing
                              stations. This minimal increase supports the inference that the sanitation facilities in Skid Row continue to
                              be inadequate to meet the exigencies of the COVID-19 health crisis. The Court therefore ORDERS a
                              hearing in this matter for Tuesday, April 7, 2020, at 2:00 p.m. In order to comply with the Central District
                              of Californias Continuity of Operations Plan and other public health guidance, the hearing shall be held at
                              the Alexandria Ballrooms, 501 S. Spring St., Los Angeles, CA 90013. (kd) (Entered: 04/04/2020)
           04/06/2020      52 STATUS REPORT IN ADVANCE OF APRIL 7 2020 HEARING filed by Intervenor Orange County
                              Catholic Worker. (Sobel, Carol) (Entered: 04/06/2020)
           04/06/2020      53 REQUEST for Order for Status Report filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for
                              Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary
                              Whitter. (Attachments: # 1 Proposed Order) (Mitchell, Elizabeth) (Entered: 04/06/2020)
           04/06/2020      54 STATUS REPORT for April 7, 2020 Hearing filed by Defendant City of Los Angeles. (Marcus, Scott)
                              (Entered: 04/06/2020)
           04/06/2020      55 STATUS REPORT filed by Intervenor Parties Cangress, Los Angeles Catholic Worker. (Myers, Shayla)
                              (Entered: 04/06/2020)
           04/06/2020      56 Notice of Appearance or Withdrawal of Counsel: for attorney Brandon D Young counsel for Defendant
                              County of Los Angeles. Adding Lauren Black as counsel of record for County of Los Angeles for the
                              reason indicated in the G-123 Notice. Filed by Defendant County of Los Angeles. (Young, Brandon)
                              (Entered: 04/06/2020)
           04/06/2020      57 ORDER by Judge David O. Carter: Denying 45 EX PARTE APPLICATION. DENIED BY COURT.
                              (twdb) (Entered: 04/06/2020)
           04/07/2020      83 Text Only Entry: Status Conference held before Judge David O. Carter at the Alexandria Ballrooms, 501
                              S. Spring Street, Los Angeles, California. Recorded by: Austin Che; Courtroom Deputy: None present;
                              Time in session: 1:33. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (dgo)
                              TEXT ONLY ENTRY (Entered: 04/28/2020)
           04/07/2020      90 TRANSCRIPT for proceedings held on 4/07/2020, 2:10 p.m. Electronic Court Recorder: Austin Che /
                              Transcriber: Lorie A. Cook with Personal Court Reporters, A Veritext Company, phone number (818)
                              988-1900. Transcript may be viewed at the court public terminal or purchased through the Electronic
                              Court Recorder before the deadline for Release of Transcript Restriction. After that date it may be
                              obtained through PACER. Notice of Intent to Redact due within 7 days of this date. Redaction Request
                              due 4/28/2020. Redacted Transcript Deadline set for 5/8/2020. Release of Transcript Restriction set for
                              7/6/2020. (ls) (Entered: 05/05/2020)




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                  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 1033 of 1079
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           04/07/2020      91 NOTICE OF FILING TRANSCRIPT filed for proceedings 4/07/2020, 2:10 p.m. re Transcript 90 THERE
                              IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ls) TEXT ONLY ENTRY (Entered:
                              05/05/2020)
           04/08/2020      58 MINUTE ORDER IN CHAMBERS by Judge David O. Carter:In order to address the ostensibly
                              inadequate sanitation facilities in Skid Row and the surrounding area, the Court hereby ORDERS
                              Defendants City of Los Angeles and County of Los Angeles to submit a status report on Defendants plans
                              for maintaining and servicing the sanitation facilities, such that the local community will have sufficient
                              access to functioning sanitation facilities to mitigate the spread of coronavirus. Defendants City of Los
                              Angeles and County of Los Angeles shall file the ordered status report, whether separately or jointly,
                              within 48 hours, i.e., by 12:00 noon on Friday, April 10, 2020. (kd) (Entered: 04/08/2020)
           04/09/2020      59 NOTICE filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights, Charles Malow,
                              Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. Notice of Transcript of
                              April 7, 2020 Hearing and Instructions to Order Copies (Mitchell, Elizabeth) (Entered: 04/09/2020)
           04/10/2020      60 STATUS REPORT DEFENDANT COUNTY OF LOS ANGELES APRIL 10, 2020 STATUS REPORT filed
                              by Defendant County of Los Angeles. (McLain, Byron) (Entered: 04/10/2020)
           04/10/2020      61 STATUS REPORT for April 10, 2020 filed by Defendant City of Los Angeles. (Marcus, Scott) (Entered:
                              04/10/2020)
           04/10/2020      62 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER FOR STATUS REPORT AND
                              HEARING. At the April 7, 2020 hearing, Plaintiffs and Intervenors requested, and the Court ORDERED,
                              a status report, which Defendants shall file either jointly or separately by 7:00 p.m. on Monday, April 13,
                              2020. See document for detailed information. The Court indicated at the previous hearing that it was going
                              to start settlement discussions immediately. The initial discussion concerned recreational vehicles and
                              focused on Skid Row and the surrounding area, up to and including the 10 Freeway. The Court requests
                              that the parties discuss designated areas for recreational vehicles and present possible options to the Court,
                              beginning with Skid Row and the surrounding area. If the parties wish to present a more comprehensive
                              plan covering more of Los Angeles City and County, they are welcome to do so. While the Court will
                              begin settlement discussions with a focus on Skid Row and the surrounding area, the Court intends to
                              quickly broaden the scope of these discussions to encompass more of the City and County. As such, the
                              parties should also be prepared to indicate to the Court when their respective principals will be available
                              for an in-depth settlement discussion. A hearing to discuss these matters shall be held on Tuesday, April
                              14, 2020 at 10:00 a.m. In order to comply with the Central District of Californias Continuity of Operations
                              Plan and other public health guidance, the hearing shall be held at the Alexandria Ballrooms, 501 S.
                              Spring St., Los Angeles, CA 90013. (ts) (Entered: 04/10/2020)
           04/12/2020      63 STATUS REPORT RE RVs filed by Intervenor Orange County Catholic Worker. (Attachments: # 1 Exhibit
                              Exhibits A-H)(Sobel, Carol) (Entered: 04/12/2020)
           04/13/2020      64 STATUS REPORT Defendant County of Los Angeles April 13, 2020 Status Report filed by Defendant
                              County of Los Angeles. (Attachments: # 1 Exhibit A)(Young, Brandon) (Entered: 04/13/2020)
           04/13/2020      65 STATUS REPORT for April 14, 2020 Hearing filed by Defendant City of Los Angeles. (Marcus, Scott)
                              (Entered: 04/13/2020)
           04/14/2020      66 EX PARTE APPLICATION to Intervene filed by Intervenor-Plaintiff Venice Stakeholders Association.
                              (Attachments: # 1 Declaration Decl. iso Ex Parte Application, # 2 Declaration Decl. iso Ex Parte
                              Application, # 3 Proposed Order Proposed Order Granting Ex Parte) (Attorney Jeffrey Lewis added to
                              party Venice Stakeholders Association(pty:intvp)) (Lewis, Jeffrey) (Entered: 04/14/2020)
           04/14/2020      67 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: Defendant City of Los Angeles is hereby
                              ORDERED to make available those persons responsible for the environmental report concerning Maple
                              and 16th Street by 8:00 p.m. on Tuesday, April 14, 2020 (i.e., this evening). A hearing to discuss this
                              report and related matters shall be held on Tuesday, April 14, 2020 at 8:00 p.m. In order to comply with
                              the Central District of Californias Continuity of Operations Plan and other public health guidance, the
                              hearing shall be held at the Alexandria Ballrooms, 501 S. Spring St., Los Angeles, CA 90013. The Clerk
                              shall serve this minute order on the parties. (kd) (Entered: 04/14/2020)
           04/14/2020      84 Text Only Entry: Status Conference held (p.m. session) before Judge David O. Carter at the Alexandria
                              Ballrooms, 501 S. Spring Street, Los Angeles, California. Recorded by: Austin Che; Courtroom Deputy:
                              None present; Time in Session: :21. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS



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                  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 1034 of 1079
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                                ENTRY. (dgo) TEXT ONLY ENTRY (Entered: 04/28/2020)
           04/14/2020      92 TRANSCRIPT for proceedings held on 4/14/2020, 8:21 p.m. Electronic Court Recorder: Austin Che /
                              Transcriber: Jane W. Gilliam with Veritext Legal Solutions, phone number (866) 299-5127. Transcript
                              may be viewed at the court public terminal or purchased through the Electronic Court Recorder before the
                              deadline for Release of Transcript Restriction. After that date it may be obtained through PACER. Notice
                              of Intent to Redact due within 7 days of this date. Redaction Request due 5/5/2020. Redacted Transcript
                              Deadline set for 5/15/2020. Release of Transcript Restriction set for 7/13/2020. (ls) (Entered: 05/05/2020)
           04/14/2020      93 NOTICE OF FILING TRANSCRIPT filed for proceedings 4/14/2020, 8:21 a.m. re Transcript 92 THERE
                              IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ls) TEXT ONLY ENTRY (Entered:
                              05/05/2020)
           04/14/2020     298 Text Only Entry: Status Conference held (a.m. session) before Judge David O. Carter at the Alexandria
                              Ballrooms, 501 S. Spring Street, Los Angeles, California. Recorded by: Austin Che; Courtroom Deputy:
                              None present; Time in Session: 2:50. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
                              ENTRY. (dgo) TEXT ONLY ENTRY (dgo) (Entered: 05/11/2021)
           04/15/2020      68 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: During the April 14, 2020 status
                              conference, the parties indicated that they had reached a proposed settlement agreement regarding the use
                              of the site at 16th and Maple as a parking area for recreational vehicles, vans, and cars being resided in by
                              homeless persons. The Court then learned, at the last minute, that the proposed agreement in question was
                              subject to evaluation of any environmental concerns that the site may present. The parties shall file a joint
                              status report on or before 4:00 p.m. on Tuesday, April 21, 2020, addressing the following items: (a) the
                              status of the environmental review, including any tentative findings and conclusions; and (b) any non-
                              environmental issues remaining unresolved, as pertain to the proposed settlement agreement announced to
                              the Court. (kd) (Entered: 04/15/2020)
           04/15/2020      69 ORDER by Judge David O. Carter: Denying 66 EX PARTE APPLICATION to Intervene. DENIED BY
                              ORDER OF THE COURT. (twdb) (Entered: 04/15/2020)
           04/15/2020      70 AMENDED ORDER FOR STATUS REPORT AND HEARING RE: PROPOSED SETTLEMENT by
                              Judge David O. Carter. During the April 14, 2020 status conference, the parties indicated that they had
                              reached a proposed settlement agreement regarding the use of the site at 16th and Maple as a parking area
                              for recreational vehicles, vans, and cars being resided in by homeless persons. The Court then learned, at
                              the last minute, that the proposed agreement in question was subject to evaluation of any environmental
                              concerns that the site may present. The parties shall file a joint status report on or before 4:00 p.m. on
                              Tuesday, April 21, 2020, addressing the following items: (a)the status of the environmental review,
                              including any tentative findings and conclusions; and (b) any non-environmental issues remaining
                              unresolved, as pertain to the proposed settlement agreement announced to the Court. The Court hereby
                              schedules a hearing for Thursday, April 23 at 10:00 a.m. In order to comply with the Central District of
                              Californias Continuity of Operations Plan and other public health guidance, the hearing shall be held at
                              the Alexandria Ballrooms, 501 S. Spring St., Los Angeles, CA 90013. (kd) (Entered: 04/15/2020)
           04/16/2020      71 NOTICE of Transcript of April 14, 2020 Hearing and Instructions to Order Copies filed by Defendant
                              City of Los Angeles. (Hoang, Arlene) (Entered: 04/16/2020)
           04/17/2020      72 REQUEST for Hearing Emergency Status Conference filed by Defendant County of Los Angeles.
                              (Attachments: # 1 Exhibit A, # 2 Exhibit B) (McLain, Byron) (Entered: 04/17/2020)
           04/19/2020      73 MINUTE ORDER (IN CHAMBERS) Regarding Request for Emergency Status Conference 72 by Judge
                              David O. Carter: The Project Roomkey program -- a joint undertaking by the City of Los Angeles, the
                              County of Los Angeles, and the State of California -- seeks to secure hotel and motel rooms in the local
                              community to provide safe isolation for the vulnerable homeless population during this unprecedented
                              pandemic. As part of this program, over 250 hotel and motel owners have been contacted by City and
                              County officials, and currently the County of Los Angeles has entered into contracts for over 2500 beds.
                              The implementation of the Room Key Program will require cooperation of state and local government at
                              all levels. The Court, recognizes the powers vested in the executive branch of government at all levels,
                              including officials of the cities in which these hotels and motels are located. Concerns have been
                              expressed by the cities of Lawndale and Bell Gardens regarding how this program is to be implemented.
                              These concerns include, but are not necessarily limited to, the perceived lack of notice and an opportunity
                              to be heard by the cities in which the hotels are located.The County of Los Angeles has requested an
                              emergency status conference. Given the time-sensitive nature of the program and the concerns raised, the
                              Court, to facilitate the discussion of these issues, respectfully invites the attendance of the following



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                                individuals at the previously scheduled status conference on Thursday April 23, 2020: City of Bell
                                Gardens: Mayor Alejandra Cortez; City of Lawndale: Mayor Robert Pullen-Miles; Chairperson of the Los
                                Angeles County Board of Supervisors, Kathryn Barger; and Not more than one (1) representative from
                                each party in this action. In order to comply with the Central District of Californias Continuity of
                                Operations Plan and other public health guidance, the status conference shall be held at the Alexandria
                                Ballrooms, 501 S. Spring St., Los Angeles, CA 90013. To ensure social distancing and compliance with
                                public health guidelines, the above participants are urged to limit the number persons appearing on their
                                behalf. (dgo) (Entered: 04/19/2020)
           04/21/2020      74 Notice of Appearance or Withdrawal of Counsel: for attorney Louis R Miller counsel for Defendant
                              County of Los Angeles. Adding Louis R. Miller as counsel of record for Defendant County of Los
                              Angeles for the reason indicated in the G-123 Notice. Filed by Defendant County of Los Angeles.
                              (Attorney Louis R Miller added to party County of Los Angeles(pty:dft))(Miller, Louis) (Entered:
                              04/21/2020)
           04/21/2020      75 STATEMENT [Status Conference Statement] filed by Defendant County of Los Angeles (Miller, Louis)
                              (Entered: 04/21/2020)
           04/21/2020      76 Notice of Appearance or Withdrawal of Counsel: for attorney Jennifer Mira Hashmall counsel for
                              Defendant County of Los Angeles. Adding Mira Hashmall as counsel of record for Defendant County of
                              Los Angeles for the reason indicated in the G-123 Notice. Filed by Defendant County of Los Angeles.
                              (Attorney Jennifer Mira Hashmall added to party County of Los Angeles(pty:dft))(Hashmall, Jennifer)
                              (Entered: 04/21/2020)
           04/21/2020      77 STATUS REPORT Joint Status Report filed by Defendant City of Los Angeles. (Marcus, Scott) (Entered:
                              04/21/2020)
           04/23/2020      86 Text Only Entry: Status Conference held before Judge David O. Carter at the Alexandria Ballrooms, 501
                              S. Spring Street, Los Angeles, California. Recorded by: Austin Che. Courtroom Deputy: None present.
                              Time in Session: 2:52. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ts)
                              TEXT ONLY ENTRY (Entered: 04/30/2020)
           04/23/2020      94 TRANSCRIPT for proceedings held on 4/23/2020, 10:03 a.m. Electronic Court Recorder: Austin Che /
                              Transcriber: Lorie A. Cook with Veritext Legal Solutions, phone number (866) 299-5127. Transcript may
                              be viewed at the court public terminal or purchased through the Electronic Court Recorder before the
                              deadline for Release of Transcript Restriction. After that date it may be obtained through PACER. Notice
                              of Intent to Redact due within 7 days of this date. Redaction Request due 5/14/2020. Redacted Transcript
                              Deadline set for 5/26/2020. Release of Transcript Restriction set for 7/22/2020. (ls) (Entered: 05/05/2020)
           04/23/2020      95 NOTICE OF FILING TRANSCRIPT filed for proceedings 4/23/2020, 10:03 a.m. re Transcript 94
                              THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ls) TEXT ONLY ENTRY
                              (Entered: 05/05/2020)
           04/24/2020      78 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER FOR STATUS REPORTThe
                              Court thanks the parties, as well as all of the additional attendees, who participated in the April 23, 2020
                              Status Conference for their efforts to engage in constructive discussions regarding efforts to house those
                              experiencing homelessness during this pandemic. By this ORDER, the Court is memorializing the
                              participants suggestions as to the process by which this may be accomplished.To that end, the parties shall
                              file a joint status report no later than 4:00 p.m. on Monday, APRIL 27, 2020, regarding the following:(1)
                              The use of property located at 749 S. Los Angeles Street, Los Angeles, California, for safe parking or
                              pallet shelters; and(2) The status of the review and use of the property located at Maple and 16th Street,
                              Los Angeles, California. At the April 23, 2020 Status Conference, the Court perceived what appeared to
                              be a consensus reached among the participants, and on that basis REQUESTS that the parties file a
                              progress report as to each of the following items on or before APRIL 30, 2020:(1) The current status of
                              each location which has previously been identified or is under consideration as a safe parking site. In
                              particular, said report should include how many recreational vehicles, vans, and cars are in each site, as
                              well as the maximum capacity of each site.(2) The current status of the implementation of Governor
                              Newsoms Project Roomkey. In particular, said report should include the number of persons already placed
                              in hotels and motels.(3) The current number of recreational centers being used as shelters, and the number
                              of persons sheltered therein. Finally, the Court notes that the City of Los Angeles is divided into 15
                              Districts, each represented by a City Councilperson. The Court has been advised that a settlement in this
                              matter will best be achieved by a global settlement implemented on a District-by-District basis. The Court
                              has been informed that, in furtherance of that goal, Nury Martinez, President, Los Angeles City Council,



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                                and Joe Buscaino, President Pro Tem, Los Angeles City Council, will be directly involved in the
                                settlement discussions.The Court reiterates its appreciation of the efforts of all of the participants in these
                                settlement discussions. (kd) (Entered: 04/24/2020)
           04/24/2020      79 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: APPOINTING SPECIAL MASTER. The
                              Court hereby APPOINTS Michele Martinez to serve as a Special Master in this case, alongside the
                              previously appointed Special Master, the Honorable James L. Smith (Ret.). (twdb) (Entered: 04/24/2020)
           04/27/2020      80 STATUS REPORT for April 27, 2020 filed by Defendant City of Los Angeles. (Marcus, Scott) (Entered:
                              04/27/2020)
           04/28/2020     302 TRANSCRIPT for proceedings held on 4/14/2020, 10:00 a.m. Electronic Court Recorder: Austin Che /
                              Transcriber: Danielle S. Vanriper with Veritext Legal Solutions, phone number (866) 299-5127. Transcript
                              may be viewed at the court public terminal or purchased through the Electronic Court Recorder before the
                              deadline for Release of Transcript Restriction. After that date it may be obtained through PACER. Notice
                              of Intent to Redact due within 7 days of this date. Redaction Request due 5/19/2020. Redacted Transcript
                              Deadline set for 5/29/2020. Release of Transcript Restriction set for 7/27/2020. (ls) (Entered: 05/12/2021)
           04/28/2020     303 NOTICE OF FILING TRANSCRIPT filed for proceedings 4/14/2020, 10:00 a.m. re Transcript 302
                              THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ls) TEXT ONLY ENTRY
                              (Entered: 05/12/2021)
           04/29/2020      85 Letter from Kathryn Barger, Supervisor re County's Intention to Enter Into Settlement Negotiations. (dgo)
                              (Entered: 04/29/2020)
           04/30/2020      87 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE TRANSCRIPTS OF
                              HEARINGS HELD ON 4/7/20, 4/14/20 AND 4/23/20. SEE DOCUMENT FOR FURTHER
                              INFORMATION. (twdb) (Entered: 04/30/2020)
           04/30/2020      88 STATUS REPORT Defendants Joint Progress Report for April 30 2020 filed by Defendant City of Los
                              Angeles. (Marcus, Scott) (Entered: 04/30/2020)
           05/02/2020      89 MINUTE ORDER (IN CHAMBERS) Scheduling Notice Re: Settlement Negotiations by Judge David O.
                              Carter: The Court REQUESTS that the parties commence settlement negotiations, together with the Court,
                              at 10:00 a.m. on Thursday, May 7, 2020. In order to comply with the Central District of California's
                              Continuity of Operations Plan and other public health guidance, the settlement negotiations shall be held
                              at the Alexandria Ballrooms, 501 S. Spring St., Los Angeles, CA 90013. The Court further REQUESTS
                              that the parties confidentially submit their written settlement positions to the Court in advance of the
                              settlement negotiations.The Clerk shall serve this minute order on the parties. Settlement Conference set
                              for 5/7/2020 at 10:00 AM before Judge David O. Carter. (See Minute Order for further information) (dgo)
                              (Entered: 05/02/2020)
           05/05/2020      96 Letter on behalf of Urban Offerings, Inc. re Objection to Selection of 749 S. Los Angeles Street as Safe
                              Parking Site (Hallock, Karen) (Entered: 05/05/2020)
           05/05/2020      97 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: FURTHER ORDER RE TRANSCRIPTS
                              OF HEARINGS HELD ON APRIL 7, 2020, APRIL 14, 2020 AND APRIL 23, 2020. SEE DOCUMENT
                              FOR FURTHER INFORMATION. (twdb) (Entered: 05/06/2020)
           05/06/2020      98 OBJECTIONS to Status Report 88 Letter objecting to selection of 749 S. Los Angeles Street as Safe
                              Parking Site filed by Interested Party Santee Village Homeowner's Association. (Attachments: # 1 Exhibit
                              1-Map of residential housing surrounding Proposed Site)(Mannion, David) (Entered: 05/06/2020)
           05/07/2020     100 MINUTES OF Settlement Conference held before Judge David O. Carter: Settlement Conference held
                              before Judge David O. Carter at the Alexandria Ballrooms, 501 S. Spring Street, Los Angeles, California.
                              Court Reporter: Austin Che. (twdb) (Entered: 05/11/2020)
           05/07/2020     104 MINUTES OF Hearing held on May 7, 2020 before Judge David O. Carter: Settlement Conference held
                              before Judge David O. Carter at the Alexandria Ballrooms, 501 S. Spring Street, Los Angeles, California.
                              SEE DOCUMENT FOR FURTHER INFORMATION. Court Reporter: Austin Che. (twdb) (Entered:
                              05/14/2020)
           05/07/2020     105 AMENDED MINUTES held before Judge David O. Carter re: Hearing Held on May 7, 2020 104 .
                              Settlement Conference held before Judge David O. Carter at the Alexandria Ballrooms, 501 S. Spring
                              Street, Los Angeles, California. SEE DOCUMENT FOR FURTHER INFORMATION. (twdb) (Entered:
                              05/14/2020)



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           05/07/2020     110 TRANSCRIPT for proceedings held on 5/07/2020, 10:03 a.m. Electronic Court Recorder: Austin Che /
                              Transcriber: Jane W. Gilliam with Veritext Legal Solutions, phone number (866) 299-5127. Transcript
                              may be viewed at the court public terminal or purchased through the Electronic Court Recorder before the
                              deadline for Release of Transcript Restriction. After that date it may be obtained through PACER. Notice
                              of Intent to Redact due within 7 days of this date. Redaction Request due 5/28/2020. Redacted Transcript
                              Deadline set for 6/8/2020. Release of Transcript Restriction set for 8/5/2020. (ls) (Entered: 05/18/2020)
           05/07/2020     111 NOTICE OF FILING TRANSCRIPT filed for proceedings 5/07/2020, 10:03 a.m. re Transcript 110
                              THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ls) TEXT ONLY ENTRY
                              (Entered: 05/18/2020)
           05/07/2020     317 2nd AMENDED May 25, 2021 MINUTES held before Judge David O. Carter: HEARING HELD ON
                              MAY 7, 2020. SEE DOCUMENT FOR FURTHER INFORMATION. (twdb) Modified on 5/26/2021
                              (twdb). (Entered: 05/26/2021)
           05/09/2020      99 MINUTE ORDER (IN CHAMBERS) by Judge David O. Carter: The Court hereby SCHEDULES a Status
                              Conference for Wednesday, May 13, 2020 at 10:00 a.m. In order to comply with the Central District of
                              California's Continuity of Operations Plan and other public health guidance, the settlement negotiations
                              shall be held at the Alexandria Ballrooms, 501 S. Spring St., Los Angeles, CA 90013, or another location
                              designated and agreed upon by the parties. Status Conference set for 5/13/2020 @ 10:00 AM before Judge
                              David O. Carter. See Minute Order for further information. (dgo) (Entered: 05/09/2020)
           05/12/2020     101 STATUS REPORT filed by Defendant County of Los Angeles. (Attachments: # 1 Exhibit A)(Young,
                              Brandon) (Entered: 05/12/2020)
           05/12/2020     102 STATUS REPORT for May 13, 2020 Status Conference filed by Defendant City of Los Angeles. (Marcus,
                              Scott) (Entered: 05/12/2020)
           05/13/2020     103 MINUTE ORDER (IN CHAMBERS): ORDER FOR BRIEFING by Judge David O. Carter. The health
                              risks described above constitute an emergency and demand a swift response, the Court invites the parties
                              input before ordering injunctive relief. To that end, the Court hereby ORDERS that the parties file briefing
                              on the above proposal by 5:00 p.m. on Wednesday, May 20, 2020. Each brief should be no longer than
                              twenty-five pages, and should, at a minimum, discuss the partys position on the legal justification for
                              injunctive relief and the proposed remedy outlined above. The Court further ORDERS the City of Los
                              Angeles and County of Los Angeles to submit an estimate of how many individuals experiencing
                              homelessness would be affected by the proposed relief no later than 10:00 a.m. on Friday, May 15, 2020.
                              (Attachments: # 1 Exhibit A) (kd) (Entered: 05/13/2020)
           05/13/2020     107 MINUTES OF HEARING HELD ON MAY 13, 2020 before Judge David O. Carter: Settlement
                              Conference held before Judge David O. Carter at the Alexandria Ballrooms, 501 S. Spring Street, Los
                              Angeles, California. SEE DOCUMENT FOR FURTHER INFORMATION. Court Reporter: Austin Che.
                              (twdb) (Entered: 05/15/2020)
           05/13/2020     112 TRANSCRIPT for proceedings held on 5/13/2020, 10:01 a.m. Electronic Court Recorder: Austin Che /
                              Transcriber: Benjamin Graham with Veritext Legal Solutions, phone number (866) 299-5127. Transcript
                              may be viewed at the court public terminal or purchased through the Electronic Court Recorder before the
                              deadline for Release of Transcript Restriction. After that date it may be obtained through PACER. Notice
                              of Intent to Redact due within 7 days of this date. Redaction Request due 6/3/2020. Redacted Transcript
                              Deadline set for 6/15/2020. Release of Transcript Restriction set for 8/11/2020. (ls) (Entered: 05/18/2020)
           05/13/2020     113 NOTICE OF FILING TRANSCRIPT filed for proceedings 5/13/2020, 10:01 a.m re Transcript 112
                              THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ls) TEXT ONLY ENTRY
                              (Entered: 05/18/2020)
           05/13/2020     318 AMENDED May 25, 2021 MINUTES held before Judge David O. Carter: Hearing Held on May 13,
                              2020. SEE DOCUMENT FOR FURTHER INFORMATION. (twdb) Modified on 5/26/2021 (twdb).
                              (Entered: 05/26/2021)
           05/14/2020     106 SCHEDULING NOTICE by Judge David O. Carter. The Court hereby SCHEDULES a Status Conference
                              for Friday, May 15, 2020 at 10:00 a.m. In order to comply with the Central District of California's
                              Continuity of Operations Plan and other public health guidance, the status conference shall be held at the
                              Los Angeles Homeless Services Authority, 811 Wilshire Blvd., 5th Floor Conference Room, Los Angeles,
                              CA. Status Conference set for 5/15/2020 @ 10:00 a.m. THERE IS NO PDF DOCUMENT ASSOCIATED
                              WITH THIS ENTRY. (kd) TEXT ONLY ENTRY (Entered: 05/14/2020)



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           05/15/2020     108 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: The Court invites the parties input before
                              this preliminary injunction takes effect. Therefore, the following timeline shall apply: (1) This preliminary
                              injunction shall enter into force at 12:00 noon on Friday, May 22, 2020 (2) Before then, if the parties reach
                              an agreement on an alternative plan, they may submit their plan to the Court by 3:00 p.m. on Tuesday,
                              May 19, 2020. (3) If the parties submit an alternative plan, a hearing will be held to discuss the alternative
                              plan on Wednesday, May 20, 2020 at 10:00 a.m. In order to comply with the Central District of Californias
                              Continuity of Operations Plan and other public health guidance, if such a hearing occurs, it shall be held at
                              the Alexandria Ballrooms, 501 S. Spring St., Los Angeles, CA 90013, or another location designated and
                              agreed upon by the parties. (4) To ensure all parties have an adequate opportunity to be heard, the parties
                              may submit briefingnot to exceed 25 pages on this preliminary injunction by 3:00 p.m. on Thursday, May
                              21, 2020. The briefing deadlines the Court set from the bench are vacated and superseded by this order. (5)
                              Before or after this preliminary injunction takes effect at 12:00 noon on Friday, May 22, 2020, the Court
                              may modify this preliminary injunction, either on its own motion or upon consideration of the parties
                              input. If modified, the Court will docket a superseding order. (kd) (Entered: 05/15/2020)
           05/15/2020     109 MINUTES OF Status Conference held on May 15, 2020 before Judge David O. Carter: Status Conference
                              held before Judge David O. Carter at the Los AngelesHomeless Services Authority, 811 Wilshire Blvd.,
                              5th Floor Conference Room, LosAngeles, CA. SEE DOCUMENT FOR FURTHER INFORMATION.
                              Court Reporter: Austin Che. (twdb) (Entered: 05/18/2020)
           05/15/2020     117 TRANSCRIPT for proceedings held on 5/15/2020, 10:12 a.m. Electronic Court Recorder: Austin Che /
                              Transcriber: Sonya Ledanski Hyde with Veritext Legal Solutions, phone number (866) 299-5127.
                              Transcript may be viewed at the court public terminal or purchased through the Electronic Court Recorder
                              before the deadline for Release of Transcript Restriction. After that date it may be obtained through
                              PACER. Notice of Intent to Redact due within 7 days of this date. Redaction Request due 6/5/2020.
                              Redacted Transcript Deadline set for 6/15/2020. Release of Transcript Restriction set for 8/13/2020. (ls)
                              (Entered: 05/20/2020)
           05/15/2020     118 NOTICE OF FILING TRANSCRIPT filed for proceedings 5/15/2020, 10:12 a.m. re Transcript 117
                              THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ls) TEXT ONLY ENTRY
                              (Entered: 05/20/2020)
           05/15/2020     319 AMENDED May 25, 2021 MINUTES held before Judge David O. Carter: Status Conference Held on
                              5/15/20. re: Status Conference 109 . SEE DOCUMENT FOR FURTHER INFORMATION. (twdb)
                              (Entered: 05/26/2021)
           05/19/2020     114 REPORT of Alternative Plan filed by Defendant City of Los Angeles. (Marcus, Scott) (Entered:
                              05/19/2020)
           05/20/2020     115 STATUS REPORT re PEH Plan filed by Defendant County of Los Angeles. (McLain, Byron) (Entered:
                              05/20/2020)
           05/20/2020     116 RESPONSE filed by Plaintiff LA Alliance for Human Rightsto Report 114 , Status Report 115 RE
                              IMPLEMENTING COURT ORDER DATED MAY 15, 2020 (Mitchell, Elizabeth) (Entered: 05/20/2020)
           05/21/2020     119 BRIEF filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights, Charles Malow,
                              Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. Plaintiffs' Brief in
                              Support of Preliminary Injunction Dated May 15, 2020 regarding Minutes of In Chambers Order/Directive
                              - no proceeding held,,,,, 108 . (Mitchell, Elizabeth) (Entered: 05/21/2020)
           05/21/2020     120 RESPONSE filed by Defendant County of Los Angelesto Minutes of In Chambers Order/Directive - no
                              proceeding held,,,,, 108 (Young, Brandon) (Entered: 05/21/2020)
           05/21/2020     121 RESPONSE filed by Defendant City of Los Angeles TO COURTS PRELIMINARY INJUNCTION TO BE
                              ISSUED MAY 22, 2020 [DOCKET NO. 108] (Marcus, Scott) (Entered: 05/21/2020)
           05/21/2020     122 OBJECTIONS tto Proposed Injunction filed by Intervenor Los Angeles Catholic Worker. (Sobel, Carol)
                              (Entered: 05/21/2020)
           05/22/2020     123 MINUTE ORDER AND PRELIMINARY INJUNCTION (IN CHAMBERS) by Judge David O. Carter:
                              To facilitate the Courts monitoring of compliance with the terms of this preliminary injunction, the Court
                              will require periodic status reports from the parties as to their progress. The first such report shall be filed
                              with the Court no later than 12:00 noon on Friday, June 12, 2020. At minimum, this report shall detail a
                              plan for establishing shelter and clearing overpasses, underpasses, and ramps in each council district or
                              supervisorial district no later than September 1, 2020. The Court reserves the authority to advance the


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                                deadline of September 1, 2020 in the event that the interim status reports do not demonstrate satisfactory
                                progress towards compliance with the preliminary injunction. Furthermore, the Court shall conduct
                                additional hearings to monitor compliance as the Court finds necessary. (Attachments: # 1 Exhibit A, # 2
                                Exhibit B) (kd) (Please see document for details on the Preliminary Injunction) Modified per Judge Carter
                                (Entered: 05/22/2020)
           05/28/2020     124 Joint REQUEST for Order for TO MEDIATE filed by Defendant County of Los Angeles. (Attachments: #
                              1 Proposed Order) (McLain, Byron) (Entered: 05/28/2020)
           05/29/2020     125 MINUTES (IN CHAMBERS) by Judge David O. Carter: ORDER APPOINTING MEDIATOR. The
                              Court hereby GRANTS the Request and APPOINTS the Honorable Andr Birotte Jr. to serve as the
                              mediator in this matter. Re: (Dkt. 124 ). SEE DOCUMENT FOR FURTHER INFORMATION (twdb)
                              (Entered: 05/29/2020)
           05/29/2020     126 Letter from Nury Martinez, Counsel President, re City's Intention to Enter Into Settlement Negotiations
                              (kd) Modified on 5/29/2020 (dgo). Modified on 6/2/2020 (dgo). (Entered: 05/29/2020)
           05/29/2020     127 (IN CHAMBERS) ORDER SETTING BRIEFING SCHEDULE AND MEDIATION FOR
                              DEFENDANTS CITY OF LOS ANGELES AND COUNTY OF LOS ANGELES PURSUANT TO
                              JUDGE CARTER'S ORDER APPOINTING MEDIATOR by Judge Andre Birotte Jr.: Defendants City of
                              Los Angeles and County of Los Angeles shall submit confidential briefs of no more than 20 pages by
                              Tuesday, June 2, 2020, at 5:00 p.m. Defendants City of Los Angeles and County of Los Angeles shall
                              mediate this issue on Thursday, June 4, 2020, at 10:00 a.m. See Order for details. (cb) (Entered:
                              05/29/2020)
           06/02/2020     128 Text Only Order by Judge David O. Carter: On the Court's own motion, docket entry 126 SEALED
                              DOCUMENT is ORDERED unsealed. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
                              ENTRY. (dgo) TEXT ONLY ENTRY (Entered: 06/02/2020)
           06/02/2020     129 Joint STIPULATION for Order TO CHANGE DATE AND LOCATION FOR MEDIATION filed by
                              Defendant County of Los Angeles. (Attachments: # 1 Proposed Order)(McLain, Byron) (Entered:
                              06/02/2020)
           06/02/2020     130 ORDER GRANTING JOINT STIPULATION OF CITY OF LOS ANGELES AND COUNTY OF LOS
                              ANGELES TO CHANGE DATE AND LOCATION FOR MEDIATION (Dkt. No. 129 ) by Judge Andre
                              Birotte Jr. The mediation currently scheduled for Thursday, June 4, 2020 at 10:00 a.m. will now take place
                              on Thursday, June 11, 2020 at 10:00 a.m. See Order for details. IT IS SO ORDERED. (cb) (Entered:
                              06/02/2020)
           06/10/2020     131 Joint STIPULATION for Order TO EXTEND DEADLINE TO FILE STATUS REPORT filed by
                              Defendant County of Los Angeles. (Attachments: # 1 Proposed Order)(McLain, Byron) (Entered:
                              06/10/2020)
           06/11/2020     132 ORDER by Judge David O. Carter, Granting Joint Stipulation of City of Los Angeles and County of Los
                              Angeles to Extend Deadline to File Status Report 131 . Status Report due by 6/18/2020 at noon.) (twdb)
                              (Entered: 06/11/2020)
           06/12/2020     133 (IN CHAMBERS) ORDER RE: MEDIATION by Judge Andre Birotte Jr.: The Court hereby ORDERS
                              Defendants City of Los Angeles and County of Los Angeles to continue the mediation today, Friday, June
                              12, 2020, at 1:00 p.m. SEE ORDER FOR DETAILS. (cb) (Entered: 06/12/2020)
           06/17/2020     134 Joint STIPULATION for Order REQUESTING HEARING TO APPROVE BINDING TERM SHEET
                              filed by Defendant County of Los Angeles. (Attachments: # 1 Proposed Order)(McLain, Byron) (Entered:
                              06/17/2020)
           06/17/2020     135 ORDER RE BINDING TERM SHEET APPROVAL HEARING by Judge David O. Carter.On June 17,
                              2020, the City of Los Angeles and County of Los Angeles filed a Joint Request for Hearing to Approve
                              Binding Term Sheet (Request) 134 . In this Request, the Defendants indicate that they have reached an
                              agreement as a result of mediation, and have memorialized the terms in a Binding Term Sheet, subject to
                              the Courts approval. The Court, having read and considered the Request, ORDERS the following: A
                              hearing shall be held on Thursday, June 18, 2020 at 9:00 a.m. In order to comply with the Central District
                              of Californias Continuity of Operations Plan and other public health guidance, the hearing shall be held at
                              the Alexandria Ballrooms, 501 S. Spring St., Los Angeles, CA 90013. The Court invites the attendance of
                              the principals involved in the mediation, including Eric Garcetti, Mayor of the City of Los Angeles;
                              Kathryn Barger, Chair of the County Board of Supervisors; Nury Martinez, President of the Los Angeles



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                                City Council; Joe Buscaino, Member of the Los Angeles City Council; Mark Ridley-Thomas, Member of
                                the County Board of Supervisors and any other member of the Board of Supervisors or City Council who
                                wishes to attend. (kd) (Entered: 06/17/2020)
           06/18/2020     136 SETTLEMENT TERM SHEET from Defendants City of Los Angeles, County of Los Angeles. (kd)
                              (Entered: 06/18/2020)
           06/18/2020     137 Joint STIPULATION for Order REQUESTING THE COURT APPROVE THE BINDING TERM SHEET
                              AND VACATE THE PRELIMINARY INJUNCTION filed by Defendant County of Los Angeles.
                              (Attachments: # 1 Proposed Order)(McLain, Byron) (Entered: 06/18/2020)
           06/18/2020     138 ORDER RE: JOINT STIPULATION REQUESTING THE COURT APPROVE THE BINDING TERM
                              SHEET AND VACATE THE PRELIMINARY INJUNCTION 137 by Judge David O. Carter. The
                              Preliminary Injunction Order dated May 22, 2020 [Dkt. 123 ] is hereby vacated without prejudice subject
                              to the Court's later consideration of reinstatement of the Preliminary Injunction should the parties fail to
                              comply with the Binding Term Sheet. SEE DOCUMENT FOR FURTHER INFORMATION. (twdb)
                              (Entered: 06/18/2020)
           06/18/2020     142 MINUTES OF SETTLEMENT CONFERENCE HELD ON JUNE 18, 2020 before Judge David O.
                              Carter: SEE DOCUMENT FOR FURTHER INFORMATION. Court Reporter: Austin Che. (twdb)
                              (Entered: 06/24/2020)
           06/18/2020     161 AMENDED MINUTES (AMENDED ON 8/12/20) held before Judge David O. Carter re: SETTLEMENT
                              CONFERENCE HELD ON JUNE 18, 2020 142 . SEE DOCUMENT FOR FURTHER INFORMATION.
                              (twdb) (Entered: 08/12/2020)
           06/19/2020     139 STATUS REPORT filed by Defendant County of Los Angeles. (McLain, Byron) (Entered: 06/19/2020)
           06/19/2020     140 STATUS REPORT filed by Defendant City of Los Angeles. (Marcus, Scott) (Entered: 06/19/2020)
           06/20/2020     141 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: Order re: Global Settlement Discussions.
                              The Court hereby ORDERS a Mediation Conference between all parties on Thursday, June 25, 2020 at
                              10:00 a.m., regarding global settlement discussions for this matter. The Mediation Conference will occur
                              before Judge Andre Birotte Jr. at the First Street U.S. Courthouse, Courtroom 7B, 350 W. 1st Street, Los
                              Angeles, California 90012. The Court commends the City and County of Los Angeles for the settlement
                              they have reached regarding individuals experiencing homelessness on or near highway underpasses and
                              overpasses. The Court now urges the parties to continue these efforts to reach a global settlement of all the
                              remaining disputes in this matter. The Court requests that the following principals be present at the
                              Mediation Conference on Thursday, June 25, 2020, at 10:00 a.m.: Los Angeles Mayor Eric Garcetti; Los
                              Angeles County Supervisor Kathryn Barger, Chair of the Los Angeles County Board of Supervisors; Los
                              Angeles County Supervisor Mark Ridley-Thomas; Los Angeles City Council President Nury Martinez;
                              and Los Angeles City Councilman Joe Buscaino. The presence of the principals was instrumental in
                              reaching the initial settlement in this matter, and the Court is confident that further agreements can be
                              reached with their continued direct participation in mediation. (ts) (Entered: 06/20/2020)
           07/08/2020     143 MINUTE ORDER IN CHAMBERS (IN CHAMBERS): ORDER FOR STATUS REPORT AND
                              SCHEDULING STATUS CONFERENCE by Judge David O. Carter. The Court SCHEDULES a Status
                              Conference for 10:00 a.m. on Thursday, July 16, 2020, to be held in the Ceremonial Courtroom at the First
                              Street U.S. Courthouse, 350 W. 1st Street, Los Angeles, CA 90012. The Court will inquire about the
                              central authority tasked with carrying out the parties agreement and such authoritys plans for
                              implementing the agreement. The Court also intends to ask about the implementation of the agreement in
                              each council district and supervisorial district. PLEASE READ COMPLETE ORDER FOR ALL
                              DETAILS. (kd) (Entered: 07/08/2020)
           07/09/2020     144 MINUTE ORDER IN CHAMBERS NOTICE OF ERRATA RE: ORDER FOR STATUS REPORT AND
                              SCHEDULING STATUS CONFERENCE 143 by Judge David O. Carter. In its Order for Status Report
                              and Scheduling Status Conference (Order) (Dkt. 143), filed July 8, 2020, the Court erroneously instructed
                              the parties to provide the individuals listed in the Order with a copy thereof by 5:00 p.m. on Friday, June
                              10, 2020. See Order at 3. The Court intended to set a deadline of 5:00 p.m. on Friday, July 10, 2020. In
                              accordance with this correction, the parties shall ensure that all individuals listed in the Order are provided
                              with a copy of the Order by 5:00 p.m. on Friday, July 10, 2020. The Clerk shall serve this minute order on
                              the parties. (kd) (Entered: 07/09/2020)




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           07/13/2020     145 Notice of Appearance or Withdrawal of Counsel: for attorney Byron J McLain counsel for Defendant
                              County of Los Angeles. Adding Amie Park as counsel of record for Defendant County of Los Angeles for
                              the reason indicated in the G-123 Notice. Filed by Defendant County of Los Angeles. (McLain, Byron)
                              (Entered: 07/13/2020)
           07/14/2020     146 SCHEDULING NOTICE by Judge David O. Carter. At the upcoming Status Conference scheduled for
                              10:00 a.m. on Thursday, July 16, 2020 (see Dkt. 143), the Court REQUESTS the attendance of Los
                              Angeles City Attorney Mike Feuer, LAHSA Commission Chair Sarah Dusseault, Los Angeles Fire
                              Department Chief Ralph M. Terrazas, and Los Angeles County Fire Department Chief Daryl L. Osby. The
                              Court apologizes for their omission from the original order.The parties shall forthwith provide the above
                              individuals with a copy of the Courts original order (Dkt. 143), the first notice of errata (Dkt. 144), and
                              this notice.The Clerk shall serve this minute order on the parties. (kd) (Entered: 07/14/2020)
           07/14/2020     147 STATUS REPORT OF THE COUNTY OF LOS ANGELES PURSUANT TO JULY 8, 2020 ORDER [DKT
                              143] filed by Defendant County of Los Angeles. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(McLain,
                              Byron) (Entered: 07/14/2020)
           07/14/2020     148 MINUTE ORDER IN CHAMBERS POSTPONING JULY 16,2020 STATUS CONFERENCE by Judge
                              David O. Carter: In the Court's July 8, 2020 Minute Order (the Order) (Dkt. 143), the Court scheduled a
                              Status Conference for 10:00 a.m. on July 16, 2020 (the Status Conference). See Order at 1. However, on
                              Tuesday, July 14, 2020, Los Angeles County public health officials... reported the highest single-day count
                              of COVID-19 cases and related hospitalizations since the pandemic hit. Colleen Shalby, L.A. County Sets
                              Record for COVID-19 Cases, Hospitalizations as Conditions Worsen, L.A. Times (July 14, 2020),
                              https://www.latimes.com/california/story/2020-07-14/threat-level-in-los-angeles-increasing-mayor-warns.
                              There have never been more infections or reported daily positive cases in Los Angeles than there are
                              currently. Id. As the Coronavirus pandemic continues to worsen, the Court cannot in good conscience
                              conduct an in-person hearing on the scale of the planned Status Conference, which numerous public
                              officials, staff members, and community activists planned to attend. The Court recognizes that many
                              prospective attendees have been hard at work preparing presentations for the Status Conference, and the
                              Court regrets that they will not be able to share their knowledge with the Court on July 16, 2020 as
                              planned. The Court, however, must prioritize everyone's health and well-being in these precarious times.
                              As such, the Court will look forward to hearing from all of the individuals expected to attend the Status
                              Conference as soon as it can be safely rescheduled in accordance with prevailing public health conditions.
                              The Court hereby POSTPONES the Status Conference, and will reschedule the Status Conference as soon
                              as public health conditions improve to an extent that the Status Conference can be safely held. The City
                              and County of Los Angeles shall still submit the status report described in the Order by 12:00 noon on
                              Wednesday, July 15, 2020. See Order at 2-3. Finally, the parties shall ensure that all individuals listed in
                              the Order and Notices of Errata (Dkts. 144, 146) are notified of the postponement of the Status
                              Conference. (dgo) (Entered: 07/14/2020)
           07/15/2020     149 STATUS REPORT for July 15, 2020 filed by Defendant City of Los Angeles. (Attachments: # 1 Exhibit A
                              to City of Los Angeles 7-15-20 Status Report, # 2 Exhibit B to City of Los Angeles 7-15-20 Status
                              Report, # 3 Exhibit C to City of Los Angeles 7-15-20 Status Report, # 4 Exhibit D to City of Los Angeles
                              7-15-20 Status Report, # 5 Exhibit E to City of Los Angeles 7-15-20 Status Report, # 6 Exhibit F to City
                              of Los Angeles 7-15-20 Status Report, # 7 Exhibit G to City of Los Angeles 7-15-20 Status Report, # 8
                              Exhibit H to City of Los Angeles 7-15-20 Status Report)(Marcus, Scott) (Entered: 07/15/2020)
           07/15/2020     150 NOTICE OF ERRATA filed by Defendant City of Los Angeles. correcting Status Report,, 149 Exhibit B
                              to the status report (Attachments: # 1 Exhibit B to City's status report)(Hoang, Arlene) (Entered:
                              07/15/2020)
           07/15/2020     151 REQUEST to Supplement Status Report re Status Report 147 , Status Report,, 149 filed by Plaintiffs
                              Joseph Burk, George Frem, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro
                              Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. (Umhofer, Matthew) (Entered: 07/15/2020)
           07/16/2020     152 Text Only Order re Status Report [149-2], Notice of Errata [150-1] by Judge David O. Carter: In response
                              to an emergency ex parte request by the City of Los Angeles, the Court sealed Exhibit B to the City's most
                              recent status reports [149-2], [150-1] in advance of a formal request being filed on the docket. THERE IS
                              NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (dgo) TEXT ONLY ENTRY (Entered:
                              07/16/2020)
           07/16/2020     153 NOTICE OF ERRATA filed by Defendant City of Los Angeles. correcting Errata 150 , Status Report,,
                              149 (Second Notice of Errata) (Attachments: # 1 Exhibit Corrected Exhibit B to City of Los Angeles



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                                7-15-20 Status Report)(Marcus, Scott) (Entered: 07/16/2020)
           07/17/2020     154 EX PARTE APPLICATION to Intervene filed by Proposed Intervenor-Plaintiffs Latino Coalition of Los
                              Angeles, Josue Tiguila. (Attachments: # 1 Exhibit Request for Judicial Notice of Exhibits 101 and 102, # 2
                              Declaration of Latino Coalition of Los Angeles, # 3 Declaration of Josue Tiguila, # 4 Declaration of
                              Christian Contreras, # 5 Proposed Order Granting Ex Parte Application, # 6 Supplement Proof of
                              Electronic Service) (Attorney Christian M Contreras added to party Latino Coalition of Los
                              Angeles(pty:intvp), Attorney Christian M Contreras added to party Josue Tiguila(pty:intvp)) (Contreras,
                              Christian) (Entered: 07/17/2020)
           07/17/2020     155 MINUTE ORDER IN CHAMBERS ORDER RE: EX PARTE APPLICATION TO INTERVENE 154 by
                              Judge David O. Carter. The Court is in receipt of Proposed Intervenor-Plaintiffs Latino Coalition of Los
                              Angeless and Jose Tiguilas (Proposed Intervenors) Ex Parte Application to Intervene. [154. The Court
                              extends an invitation to the Proposed Intervenors to attend the next scheduled Status Conference in this
                              matter, which will be calendared as soon as it can be safely scheduled in accordance with prevailing public
                              health conditions. At that time, Proposed Intervenors can present argument in person with all parties
                              present as to why intervention is appropriate and permissible. (kd) (Entered: 07/17/2020)
           07/28/2020     156 MINUTE ORDER IN CHAMBERS (IN CHAMBERS): ORDER SCHEDULING STATUS
                              CONFERENCE by Judge David O. Carter. In accordance with the Courts authority to monitor the
                              agreement reached between the parties, the Court hereby SCHEDULES a Status Conference for Friday,
                              AUGUST 7, 2020 at 10:00 A.M. In order to comply with public health guidance, the Status Conference
                              shall be held at Los Angeles City Hall, 200 North Spring Street, Los Angeles, CA 90012. The Court will
                              inquire about the central authority tasked with carrying out the parties agreement and such authoritys
                              plans for implementing the agreement. The Court also intends to ask about the implementation of the
                              agreement in each council district and supervisorial district. In addition, to better understand the effects of
                              the ongoing pandemic, the Court asks that the parties be prepared to give an estimate of how many
                              unsheltered individuals experiencing homelessness died during 2019 in the City and County of Los
                              Angeles. (see minute order for complete details.) (kd) (Entered: 07/28/2020)
           08/05/2020     157 MINUTE ORDER (IN CHAMBERS) re Notice of Errata Re: August 7, 2020 Status Conference 156 by
                              Judge David O. Carter: At the upcoming Status Conference scheduled for 10:00 a.m. on Friday, August 7,
                              2020 (see Dkt. 156), the Court REQUESTS the attendance of LAHSA Commission Chair Wendy Greuel.
                              The Court recently learned that Ms. Greuel is the new chairperson and welcomes her involvement in the
                              upcoming proceedings. The parties shall forthwith provide Commission Chair Greuel with a copy of the
                              Courts original order (Dkt. 156) and this notice. (dgo) (Entered: 08/05/2020)
           08/06/2020     158 STATUS REPORT in Advance of August 7, 2020 Status Conference filed by Intervenor Parties Cangress,
                              Los Angeles Catholic Worker. (Myers, Shayla) (Entered: 08/06/2020)
           08/07/2020     160 MINUTES OF Status Conference (Held at Los Angeles City Hall) before Judge David O. Carter: SEE
                              DOCUMENT FOR FURTHER INFORMATION. Court Reporter: Katherine Stride. (twdb) (Entered:
                              08/11/2020)
           08/07/2020     167 AMENDED MINUTES held before Judge David O. Carter re: Status Conference 160 . SEE
                              DOCUMENT FOR FURTHER INFORMATION. (twdb) (Entered: 09/01/2020)
           08/10/2020     159 MINUTES (IN CHAMBERS) by Judge David O. Carter: ORDER DENYING EX PARTE
                              APPLICATION TO INTERVENE 154 . SEE DOCUMENT FOR FURTHER INFORMATION. (twdb)
                              (Entered: 08/11/2020)
           08/13/2020     162 TRANSCRIPT for proceedings held on 6/18/20 9:26 a.m. - Alexandria Hotel Ballroom. Court
                              Reporter/Electronic Court Recorder: Veritex Legal Solutions (866) 299-5127, Transcript may be viewed at
                              the court public terminal or purchased through the Court Reporter/Electronic Court Recorder before the
                              deadline for Release of Transcript Restriction. After that date it may be obtained through PACER. Notice
                              of Intent to Redact due within 7 days of this date. Redaction Request due 9/3/2020. Redacted Transcript
                              Deadline set for 9/14/2020. Release of Transcript Restriction set for 11/12/2020. (ha) Modified on
                              8/13/2020 (ha). (Entered: 08/13/2020)
           08/13/2020     163 NOTICE OF FILING TRANSCRIPT filed for proceedings 6/18/20 9:26 a.m. re Transcript 162 THERE IS
                              NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ha) TEXT ONLY ENTRY (Entered:
                              08/13/2020)




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           08/27/2020     164 TRANSCRIPT ORDER as to defendant County of Los Angeles for Court Reporter. Court will contact
                              Angelica Ransom at aransom@millerbarondess.com with further instructions regarding this order.
                              Transcript preparation will not begin until payment has been satisfied with the court reporter. (Miller,
                              Louis) (Entered: 08/27/2020)
           09/01/2020     165 TRANSCRIPT for proceedings held on 8/07/2020 10:05 a.m. Court Reporter: KATHERINE M. STRIDE,
                              RPR, CSR, email address: katscsr@gmail.com. Transcript may be viewed at the court public terminal or
                              purchased through the Court Reporter before the deadline for Release of Transcript Restriction. After that
                              date it may be obtained through PACER. Notice of Intent to Redact due within 7 days of this date.
                              Redaction Request due 9/22/2020. Redacted Transcript Deadline set for 10/2/2020. Release of Transcript
                              Restriction set for 11/30/2020. (ls) (Entered: 09/01/2020)
           09/01/2020     166 NOTICE OF FILING TRANSCRIPT filed for proceedings 8/07/2020, 10:05 a.m. re Transcript 165
                              THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ls) TEXT ONLY ENTRY
                              (Entered: 09/01/2020)
           09/02/2020     168 NOTICE by Judge David O. Carter re: TRANSCRIPT ORDER as to defendant County of Los Angeles for
                              Court Reporter 164 . The Court refers the parties to docket entry 166 for the Transcript of the August
                              7,2020 hearing. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (kd) TEXT
                              ONLY ENTRY (Entered: 09/02/2020)
           09/02/2020     169 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER SCHEDULING STATUS
                              CONFERENCE. In order to comply with public health guidance, the Status Conference shall be held at
                              Los Angeles City Hall, 200 North Spring Street, Los Angeles, CA 90012. ( Status Conference set for
                              9/17/2020 at 10:00 AM before Judge David O. Carter.) SEE DOCUMENT FOR FURTHER
                              INFORMATION. (twdb) (Entered: 09/02/2020)
           09/03/2020     170 (IN CHAMBERS) ORDER SETTING MEDIATION TO CONTINUE PRIOR EFFORTS TOWARD
                              SETTLEMENT by Judge Andre Birotte Jr. The Court hereby schedules a mediation for Thursday,
                              September 10, 2020 at 10:00 a.m. SEE ORDER FOR DETAILS. (cb) (Entered: 09/03/2020)
           09/03/2020     171 (IN CHAMBERS) NOTICE OF ERRATA RE: ORDER SETTING MEDIATION TO CONTINUE
                              PRIOR EFFORTS TOWARD SETTLEMENT by Judge Andre Birotte Jr. SEE ORDER FOR DETAILS.
                              (cb) (Entered: 09/03/2020)
           09/07/2020     172 STATUS REPORT filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights, Charles
                              Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. (Mitchell,
                              Elizabeth) (Entered: 09/07/2020)
           09/08/2020     173 MINUTE ORDER (IN CHAMBERS) by Judge David O. Carter re: Status Report 172 . On September 7,
                              2020, Plaintiffs filed a Status Report (Dkt. 172). While the Status Report refers to Exhibits A, B, C, and D,
                              no such exhibits are attached to the Status Report. Plaintiffs shall attach the exhibits to a notice of errata
                              filed with the Court by 9:00 p.m. this evening, i.e., Tuesday, September 8, 2020. (dgo) (Entered:
                              09/08/2020)
           09/08/2020     174 NOTICE OF ERRATA filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights,
                              Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter.
                              correcting Status Report 172 attaching Exhibits A-D (Mitchell, Elizabeth) (Entered: 09/08/2020)
           09/08/2020     175 MINUTE ORDER (IN CHAMBERS) by Judge David O. Carter re: Status Report 172 , Notice of Errata
                              174 : On September 7, 2020, Plaintiffs filed a Status Report (Dkt. 172), followed by a Notice of Errata
                              with Exhibits A, B, C, and D on September 8, 2020 (Dkt. 174). These filings detail the City of Los
                              Angeles's estimate that 740 pallet shelters, over five years, will cost over $91 million. See Ex. A at 7.
                              Plaintiffs represent that this results in an average per-bed rate of $41,932.83, a significantly higher sum
                              than per-bed rates for similar pallet shelter initiatives in other municipalitiesfor example, per-bed rates of
                              $8,252 in the City of Riverside and $14,875 in the County of Sonoma. Plaintiffs also raise various
                              questions to identify potential cost-cutting options. The Court hereby INVITES the City of Los Angeles to
                              file a response to theStatus Report and Exhibits by 12:00 noon on Tuesday, September 15, 2020. In lieu of
                              additional briefing, the parties shall reserve further discussion of this topic for the Status Conference set
                              for Thursday, September 17, 2020. (dgo) (Entered: 09/08/2020)
           09/15/2020     176 STATUS REPORT in advance of September 17, 2020 status conference (responsive to docket numbers
                              172, 174 and 175) filed by Defendant City of Los Angeles. (Hoang, Arlene) (Entered: 09/15/2020)




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           09/16/2020     177 NOTICE TO THE COURT OF PAYMENT FROM COUNTY OF LOS ANGELES PURSUANT TO
                              BINDING TERM SHEET filed by Defendant County of Los Angeles. (McLain, Byron) (Entered:
                              09/16/2020)
           09/16/2020     178 NOTICE of Filing Updated Summary of Work in advance of September 17, 2020 Status Conference filed
                              by Defendant City of Los Angeles. (Attachments: # 1 Exhibit A to City's Notice)(Hoang, Arlene)
                              (Entered: 09/16/2020)
           09/17/2020     180 MINUTES OF Status Conference (Held at Los Angeles City Hall) before Judge David O. Carter: SEE
                              DOCUMENT FOR FURTHER INFORMATION. Court Recorder: Fabian Venegas. (dgo) (Entered:
                              09/21/2020)
           09/18/2020     179 (IN CHAMBERS) ORDER SETTING MEETING WITH CITY AND COUNTY OF LOS ANGELES IN
                              CONTINUATION OF SETTLEMENT EFFORTS by Judge Andre Birotte Jr.: The Court hereby schedules
                              a meeting with the City and the County of Los Angeles for Thursday, September 24, 2020, at 10:00 a.m.
                              SEE ORDER FOR DETAILS. (cb) (Entered: 09/18/2020)
           09/22/2020     181 TRANSCRIPT for proceedings held on 9/17/20 9:50 a.m.. Court Reporter/Electronic Court Recorder:
                              Veritex Legal Solutions (866) 299-5127, phone number (866) 299-5127. Transcript may be viewed at the
                              court public terminal or purchased through the Court Reporter/Electronic Court Recorder before the
                              deadline for Release of Transcript Restriction. After that date it may be obtained through PACER. Notice
                              of Intent to Redact due within 7 days of this date. Redaction Request due 10/13/2020. Redacted Transcript
                              Deadline set for 10/23/2020. Release of Transcript Restriction set for 12/21/2020. (ha) (Entered:
                              09/22/2020)
           09/22/2020     182 NOTICE OF FILING TRANSCRIPT filed for proceedings 9/17/20 9:50 a.m. re Transcript 181 THERE IS
                              NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ha) TEXT ONLY ENTRY (Entered:
                              09/22/2020)
           09/28/2020     183 MINUTES (IN CHAMBERS) Order for City and County of Los Angeles to Meet, Confer, and File a Joint
                              Report Re: Status of MOU Pursuant to June 2020 Agreement by Judge Andre Birotte Jr.: In light of the
                              discussion at the 9/24/2020 mediation meeting, and in accordance with the Court's authority to monitor the
                              agreement reached between the parties 136 , the Court hereby ORDERS as follows: (1) The parties shall
                              meet, confer, and file a confidential Joint Report by 10/5/2020 informing the Court of its progress toward
                              developing a Memorandum of Understanding ("MOU") to govern their agreement. The Joint Report shall
                              identify what challenges, if any, the patties face in developing the MOU, and the reasons for those
                              challenges. (2) As represented at the 9/24/2020 mediation meeting, the City, County, and LAHSA shall
                              file lists of all of their available resources for people experiencing homelessness by 10/23/2020. The list
                              shall include the names of the entities/organizations as well as a brief description of the resources
                              available. Court Reporter: N/A. (gk) (Entered: 09/28/2020)
           10/06/2020     184 (IN CHAMBERS) ORDER SETTING MEDIATION WITH CITY AND COUNTY OF LOS ANGELES
                              IN CONTINUATION OF SETTLEMENT EFFORTS by Judge Andre Birotte Jr. SEE ORDER FOR
                              DETAILS. (cb) (Entered: 10/06/2020)
           10/13/2020     185 NOTICE TO THE COURT REGARDING MEMORANDUM OF UNDERSTANDING FOR 6,700 BED
                              PLAN FROM CITY OF LOS ANGELES AND COUNTY OF LOS ANGELES filed by Defendant
                              County of Los Angeles. (Attachments: # 1 City-County MOU Executed with Binding Term Sheet)
                              (McLain, Byron) (Entered: 10/13/2020)
           10/15/2020     186 QUARTERLY MOU STATUS REPORT filed by Defendant City of Los Angeles. (Attachments: # 1
                              Exhibit A to City's Quarterly Status Report, # 2 Exhibit B to City's Quarterly Status Report, # 3 Exhibit C
                              to City's Quarterly Status Report, # 4 Exhibit D to City's Quarterly Status Report)(Hoang, Arlene)
                              (Entered: 10/15/2020)
           10/16/2020     187 REQUEST for Hearing Status Conference filed by Intervenor Cangress. (Myers, Shayla) (Entered:
                              10/16/2020)
           10/20/2020     188 STATUS REPORT filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights, Charles
                              Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. (Mitchell,
                              Elizabeth) (Entered: 10/20/2020)
           10/22/2020     189 REPORT of AVAILABLE RESOURCES FOR PEOPLE EXPERIENCING HOMELESSNESS filed by
                              Defendant County of Los Angeles. (Attachments: # 1 Exhibit A - List of Services)(McLain, Byron)
                              (Entered: 10/22/2020)


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           10/23/2020     190 MINUTE ORDER IN CHAMBERS by Judge David O. Carter. In accordance with the Courts authority to
                              monitor the agreement reached between the parties (see Dkt. 136 ), the Court hereby SCHEDULES a
                              Monitoring Status Conference for Thursday, November 5, 2020 at 10:00 a.m. In order to comply with
                              public health guidance, the Monitoring Status Conference shall be held at Los Angeles City Hall, 200
                              North Spring Street, Los Angeles, CA 90012. In an effort to have a productive discussion, the Court needs
                              to be informed of progress towards the implementation of the agreement, such as newly established
                              deadlines, contracts, or shelter opportunities. The Court accordingly REQUESTS the attendance of city
                              council members, county supervisors, and agency heads to report their progress. (kd) (Entered:
                              10/23/2020)
           10/23/2020     191 NOTICE of Filing List of Available Resources for Persons Experiencing Homelessness filed by Defendant
                              City of Los Angeles. (Attachments: # 1 Exhibit A to City's Notice)(Hoang, Arlene) (Entered: 10/23/2020)
           10/23/2020     192 REPORT of LAHSA'S LIST OF AVAILABLE RESOURCES FOR PEOPLE EXPERIENCING
                              HOMELESSNESS filed by Defendant County of Los Angeles. (Attachments: # 1 Exhibit A - List of
                              Programs)(McLain, Byron) (Entered: 10/23/2020)
           10/28/2020     193 OBJECTIONS Intervenors' Objection to Plaintiffs' Status Report (Docket 188) filed by Intervenor
                              Cangress. (Myers, Shayla) (Entered: 10/28/2020)
           10/30/2020     194 REQUEST for Special Hearing on Plaintiffs Request for Clarification filed by Plaintiffs Joseph Burk,
                              George Frem, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry
                              Tashdjian, Charles Van Scoy, Gary Whitter. (Mitchell, Elizabeth) (Entered: 10/30/2020)
           11/02/2020     195 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: REQUEST for Special
                              Hearing on Plaintiffs Request for Clarification 194 . The following error(s) was/were found: Proposed
                              Document was not submitted as separate attachment. In response to this notice, the Court may: (1) order
                              an amended or correct document to be filed; (2) order the document stricken; or (3) take other action as
                              the Court deems appropriate. You need not take any action in response to this notice unless and until the
                              Court directs you to do so. (twdb) (Entered: 11/02/2020)
           11/02/2020     196 MINUTE ORDER IN CHAMBERS by Judge David O. Carter. Plaintiffs Request for Clarification 194
                              will also be heard on November 5, 2020 at the Monitoring Status Conference at Los Angeles City Hall,
                              200 North Spring Street, Los Angeles, CA 90012. (kd) (Entered: 11/02/2020)
           11/03/2020     197 RESPONSE filed by Defendant County of Los Angelesto Status Report 188 (Hashmall, Jennifer)
                              (Entered: 11/03/2020)
           11/04/2020     198 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: The Court REQUESTS of the parties
                              explanations and solutions for the rise in homeless deaths. Homeless deaths are now up 36% in Los
                              Angeles County1,141 deaths in the first 10 months of this year, compared to 837 in the same period last
                              year. Thats a rise of nearly four deaths per day. Even accounting for 47 Covid-19 related deaths through
                              October, this means at least a 31% rise of deaths amongst our homeless citizens. The parties are hereby on
                              notice that the Court will expect the parties to address what efforts they have made, particularly with
                              regard to immediately providing shelter, housing and services, to address this horrific figure on November
                              5, 2020. The Clerk shall serve this minute order on the parties. (kd) (Entered: 11/04/2020)
           11/05/2020     200 MINUTES OF STATUS CONFERENCE HELD ON NOVEMBER 5, 2020: Various City Council
                              Members, Mayors and City Officials also present at Los Angeles City Hall, 200 North Spring Street, Los
                              Angeles, California to discuss the progress of settlement regarding the homeless population of Los
                              Angeles and other cities in the County of Los Angeles. The recorder and transcriber are hereby ordered to
                              submit the original transcript and notes to Transcripts_cacd@cacd.uscourts.gov no later than Monday,
                              November 9, 2020. The Court orders the transcript of the Status Conference held on November 5, 2020,
                              be immediately produced at government expense and billed at the 3-day rate. The transcript shall be
                              prepared forthwith and filed on the docket with immediate release to the public. Court Recorder: Fabian
                              Venegas. (bm) (Entered: 11/12/2020)
           11/06/2020     199 Parties requests for exhibits and photographs shown at the November 5 monitoring conference by Judge
                              David O. Carter (Attachments: # 1 Exhibit) (kd) (Entered: 11/06/2020)
           11/12/2020     201 TRANSCRIPT for proceedings held on 11/5/20 9:45 A.M.. Court Reporter: Veritex Legal Solutions (866)
                              299-5127, Transcript may be viewed at the court public terminal or purchased through the Court
                              Reporter/Electronic Court Recorder before the deadline TRANSCRIPT for proceedings held on 11/5/20
                              9:45 A.M.. Court Reporter: Veritex Legal Solutions (866) 299-5127, Transcript may be viewed at the



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                                court public terminal or purchased through the Court Reporter/Electronic Court Recorder before the
                                deadline for Release of Transcript Restriction. After that date it may be obtained through PACER. Notice
                                of Intent to Redact due within 7 days of this date. Redaction Request due 12/3/2020. Redacted Transcript
                                Deadline set for 12/14/2020. Release of Transcfor Release of Transcript Restriction. After that date it may
                                be obtained through PACER. Notice of Intent to Redact due within 7 days of this date. Redaction Request
                                due 12/3/2020. Redacted Transcript Deadline set for 12/14/2020. Release of Transcript Restriction set for
                                2/10/2021. (ha) (Main Document 201 replaced on 11/26/2020) (ha).ript Restriction set for 2/10/2021. (ha)
                                (Main Document 201 replaced on 11/26/2020) (ha). (Main Document 201 replaced on 11/26/2020) (ha).
                                (Entered: 11/12/2020)
           11/12/2020     202 NOTICE OF FILING TRANSCRIPT filed for proceedings 11/5/20 9:45 A.M. re Transcript 201 THERE
                              IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ha) TEXT ONLY ENTRY (Entered:
                              11/12/2020)
           01/07/2021     203 NOTICE TO THE COURT OF PAYMENT FROM COUNTY OF LOS ANGELES PURSUANT TO
                              BINDING TERM SHEET filed by Defendant County of Los Angeles. (McLain, Byron) (Entered:
                              01/07/2021)
           01/15/2021     204 QUARTERLY MOU STATUS REPORT filed by Defendant City of Los Angeles. (Attachments: # 1
                              Exhibit A to City's Quarterly Status Report, # 2 Exhibit B to City's Quarterly Status Report, # 3 Exhibit C
                              to City's Quarterly Status Report, # 4 Exhibit D to City's Quarterly Status Report, # 5 Exhibit E to City's
                              Quarterly Status Report)(Mariani, Jessica) (Entered: 01/15/2021)
           01/31/2021     205 MINUTE ORDER IN CHAMBERS by Judge David O. Carter. The Court is convening and inviting the
                              parties to appear on Skid Row at the Downtown Womens Center, located at the corner of 5th and San
                              Pedro, on Thursday, February 4, 2021, to present evidence of any actions already taken and completed to
                              address the homelessness crisis from the onset of this litigation in March, 2020, to the present, and provide
                              progress and status reports regarding the agreement of June 18, 2020. Social distancing protocol will be
                              observe as in all prior hearings. [Please see minute order for complete details.] (kd) (Entered: 01/31/2021)
           02/03/2021     206 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: The Court sets the time for the hearing on
                              Thursday, February 4, 2021 at 10:00 a.m. Some of the preliminary questions that the Court will be asking
                              are attached in this minute order. There have been numerous requests from council or board members to
                              speak. The Court invites these presentations and suggests coordination through Councilman De Leon
                              Offices. In addition to the invitation to have Mayor Eric Garcetti, City Attorney Mike Feuer and Chairman
                              of the Board of Supervisors Hilda Solis address the Court, the following elected officials have already
                              indicated that they would like to speak and will be speaking: Councilmember Kevin De Leon,
                              Councilmember Mike Bonin, and Los Angeles County Board of Supervisor Kathryn Barger. (Please
                              review complete minute order for details) (kd) (Entered: 02/03/2021)
           02/04/2021     207 EXHIBIT Filed filed by Defendant City of Los Angeles. Submission as to Minutes of In Chambers
                              Order/Directive - no proceeding held,,, 206 . (Attachments: # 1 Exhibit City of Los Angeles Actions to
                              Address Homelessness)(Marcus, Scott) (Entered: 02/04/2021)
           02/04/2021     208 STATEMENT Submission to the Court re: the February 4, 2021 hearing. (kd) (Entered: 02/04/2021)
           02/04/2021     209 MINUTES OF Status Conference held on February 4, 2021 before Judge David O. Carter: The Court
                              orders the transcripts for the hearing date listed below be made available on the docket forthwith free of
                              charge to all ordering parties: SEE DOCUMENT FOR FURTHER INFORMATION. Court Recorder:
                              Fabian Venegas/Digital Recorder. (twdb) (Entered: 02/05/2021)
           02/04/2021     210 STATEMENT of Mark Ridley-Thomas - Council Meeting Remarks - February 3, 2021 (kd) (Entered:
                              02/05/2021)
           02/04/2021     211 STATEMENT of Commissioner Susie Shannon regarding events on Skid Row January 29, 2021 (kd)
                              (Entered: 02/05/2021)
           02/04/2021     212 AMENDED STATEMENT Susie Shannon filed by Defendant County of Los Angeles. (kd) (Entered:
                              02/05/2021)
           02/04/2021     214 Motion Center for Inter Agency Policy and Action on Homelessness (introduced January 12, 2021) (kd)
                              (Entered: 02/09/2021)
           02/04/2021     215 Policy Brief (December 2020, updated January 2021) (kd) (Entered: 02/09/2021)




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           02/04/2021     216 Motion LAHSA South LA Outreach and Engagement Hub (introduced January 12, 2021) (kd) (Entered:
                              02/09/2021)
           02/04/2021     217 Motion Right to Housing (introduced December 15, 2020) (kd) (Entered: 02/09/2021)
           02/08/2021     213 MINUTE ORDER IN CHAMBERS by Judge David O. Carter. The Court would appreciate a response to
                              the following additional questions, as well as the initial nine questions set forth by the Court on February
                              3, 2021 206 and at the hearing on February 4, 2021. [Please refer to the minute order for complete details.]
                              (kd) (Entered: 02/08/2021)
           02/09/2021     218 TRANSCRIPT for proceedings held on 2/4/21 10:02 A.M. Court Reporter/Electronic Court Recorder:
                              Veritex Legal Solutions, phone number (866) 299-5127. Transcript may be viewed at the court public
                              terminal or purchased through the Court Reporter/Electronic Court Recorder before the deadline for
                              Release of Transcript Restriction. After that date it may be obtained through PACER. Notice of Intent to
                              Redact due within 7 days of this date. Redaction Request due 3/2/2021. Redacted Transcript Deadline set
                              for 3/12/2021. Release of Transcript Restriction set for 5/10/2021. (jlo) (Entered: 02/10/2021)
           02/09/2021     219 NOTICE OF FILING TRANSCRIPT filed for proceedings 2/4/21 10:02 A.M. re Transcript 218 THERE
                              IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (jlo) TEXT ONLY ENTRY (Entered:
                              02/10/2021)
           02/10/2021     220 Joint REQUEST for Enlargement of Time to File Briefs and Information ordered by the Court filed by
                              Defendant City of Los Angeles. (Marcus, Scott) (Entered: 02/10/2021)
           02/10/2021     221 ORDER by Judge David O. Carter: Granting Joint Stipulation and REQUEST for Enlargement of Time to
                              File Briefs in Response to Court's Request 220 . SEE DOCUMENT FOR FURTHER INFORMATION.
                              (twdb) (Entered: 02/11/2021)
           02/11/2021     222 REQUEST for Extension of Time to File Briefs in Response to Court's Request filed by Defendant
                              County of Los Angeles. (Attachments: # 1 Proposed Order) (Hashmall, Jennifer) (Entered: 02/11/2021)
           02/12/2021     223 ORDER by Judge David O. Carter: Granting 222 REQUEST for Extension of Time to File Briefs in
                              Response to Court's Request. SEE DOCUMENT FOR FURTHER INFORMATION. (twdb) (Entered:
                              02/12/2021)
           02/23/2021     224 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: The parties are given five (5) court days,
                              more specifically, March 1, 2021, to lodge any objection to this order and appointment. SEE
                              DOCUMENT FOR FURTHER INFORMATION. (twdb) (Entered: 02/23/2021)
           03/01/2021     225 NOTICE City of Los Angeles' Response and Objection to Dkt 224 filed by Defendant City of Los
                              Angeles. (Marcus, Scott) (Entered: 03/01/2021)
           03/01/2021     226 OBJECTIONS to Minutes of In Chambers Order/Directive - no proceeding held 224 filed by Defendant
                              County of Los Angeles. (Miller, Louis) (Entered: 03/01/2021)
           03/02/2021     227 OBJECTIONS to Appointment filed by Intervenor Los Angeles Community Action Network. (Sobel,
                              Carol) (Entered: 03/02/2021)
           03/04/2021     228 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER REGARDING APPOINTMENT
                              OF THE SOCIAL JUSTICE LEGAL FOUNDATION AND HUESTON HENNIGAN, LLP. SEE
                              DOCUMENT FOR FURTHER INFORMATION. (twdb) (Entered: 03/04/2021)
           03/04/2021     229 EX PARTE APPLICATION to File Amicus Brief filed by Amicus NAACP - Compton Branch, CORE-
                              CA, Committee for Safe Havens. (Attachments: # 1 Declaration, # 2 Declaration) (Attorney Mark S Ravis
                              added to party NAACP - Compton Branch(pty:am), Attorney Mark S Ravis added to party CORE-
                              CA(pty:am), Attorney Mark S Ravis added to party Committee for Safe Havens(pty:am)) (Ravis, Mark)
                              (Entered: 03/04/2021)
           03/04/2021     230 SCHEDULING NOTICE by Judge David O. Carter. Upon review of the Ex Parte Application to File
                              Amicus Brief filed by Amicus NAACP - Compton Branch, CORE-CA, Committee for Safe Havens 229 ,
                              the Court GRANTS said request. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
                              ENTRY. (kd) TEXT ONLY ENTRY (Entered: 03/04/2021)
           03/04/2021     231 Letter from Women's Recovery Center (twdb) (Entered: 03/04/2021)




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           03/04/2021     232 NOTICE of Appearance filed by attorney Theano Evangelis Kapur on behalf of Amicus Central City
                              Association of Los Angeles (Attorney Theano Evangelis Kapur added to party Central City Association of
                              Los Angeles(pty:am))(Kapur, Theano) (Entered: 03/04/2021)
           03/04/2021     233 Amicus Curiae Brief filed filed by Amicus Central City Association of Los Angeles. RE: Minutes of In
                              Chambers Order/Directive - no proceeding held,, 205 . (Kapur, Theano) (Entered: 03/04/2021)
           03/04/2021     234 NOTICE of Appearance filed by attorney Bradley Joseph Hamburger on behalf of Amicus Central City
                              Association of Los Angeles (Attorney Bradley Joseph Hamburger added to party Central City Association
                              of Los Angeles(pty:am))(Hamburger, Bradley) (Entered: 03/04/2021)
           03/04/2021     235 RESPONSE filed by Defendant County of Los Angelesto Minutes of In Chambers Order/Directive - no
                              proceeding held,, 205 (Attachments: # 1 Exhibit A - Locations for Temporary Housing, # 2 Exhibit B -
                              Chief Justice Roberts excerpts)(Miller, Louis) (Entered: 03/04/2021)
           03/04/2021     236 RESPONSE filed by Defendant County of Los Angelesto Minutes of In Chambers Order/Directive - no
                              proceeding held,,, 206 , Minutes of In Chambers Order/Directive - no proceeding held, 213 (Attachments:
                              # 1 Exhibit A - LAHSA Report)(Hashmall, Jennifer) (Entered: 03/04/2021)
           03/04/2021     237 RESPONSE filed by Defendant County of Los Angelesto Minutes of In Chambers Order/Directive - no
                              proceeding held,, 205 [Defendants' Joint Statement of Facts Pursuant to Court's January 31, 2021 Order]
                              (Hashmall, Jennifer) (Entered: 03/04/2021)
           03/04/2021     238 Amicus Curiae Brief filed filed by Amicus The Center in Hollywood. RE: Minutes of In Chambers
                              Order/Directive - no proceeding held,, 205 . (Umhofer, Matthew) (Entered: 03/04/2021)
           03/04/2021     239 RESPONSE filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights, Charles
                              Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitterto Minutes of In
                              Chambers Order/Directive - no proceeding held,, 205 Plaintiff's Response to The Court's Request for
                              Briefing (Attachments: # 1 Declaration of Elizabeth A. Mitchell and Exs. A-D)(Umhofer, Matthew)
                              (Entered: 03/04/2021)
           03/04/2021     240 NOTICE of Intent to File Motion for Preliminary Injunction filed by Plaintiffs Joseph Burk, George Frem,
                              LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles
                              Van Scoy, Gary Whitter. (Umhofer, Matthew) (Entered: 03/04/2021)
           03/04/2021     241 NOTICE OF MOTION AND MOTION to File Amicus Brief in Response to This Court's January 31,
                              2021 Order to Appear and Show Cause filed by Amicus Curiae Union Rescue Mission. Motion set for
                              hearing on 4/5/2021 at 08:30 AM before Judge David O. Carter. (Attachments: # 1 Exhibit A, # 2
                              Proposed Order) (Attorney Manuel A Abascal added to party Union Rescue Mission(pty:am)) (Abascal,
                              Manuel) (Entered: 03/04/2021)
           03/04/2021     242 BRIEF filed by Defendant City of Los Angeles. re: Equitable Remedies and Responses to Requests for
                              Information regarding Minutes of In Chambers Order/Directive - no proceeding held,, 205 , Minutes of In
                              Chambers Order/Directive - no proceeding held,,, 206 , Minutes of In Chambers Order/Directive - no
                              proceeding held, 213 . (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                              Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14
                              Exhibit, # 15 Exhibit, # 16 Exhibit, # 17 Exhibit)(Marcus, Scott) (Entered: 03/04/2021)
           03/04/2021     243 REPORT of Intervenors in Response to Court's January 31, 2021 Order filed by Intervenor Cangress.
                              (Myers, Shayla) (Entered: 03/04/2021)
           03/04/2021     244 RESPONSE filed by Intervenor Orange County Catholic Worker (Attachments: # 1 Exhibit Exhibit A, # 2
                              Exhibit Exhibit B)(Sobel, Carol) (Entered: 03/04/2021)
           03/05/2021     245 EXHIBIT Filed filed by Intervenor Orange County Catholic Worker. CORRECTED EXHIBIT B as to
                              Response 244 . (Sobel, Carol) (Entered: 03/05/2021)
           03/05/2021     246 SCHEDULING NOTICE by Judge David O. Carter. The Court having considered the Motion of Union
                              Rescue Mission for Leave to File Amicus Curiae Brief in response to this Courts January 31, 2021 Order
                              to Appear and Show Cause, 205 , it is hereby ORDERED that the Motion is GRANTED. 241 It is
                              therefore ORDERED that Amicus Curiae Union Rescue Mission be granted leave to file its brief in this
                              case. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (kd) TEXT ONLY
                              ENTRY (Entered: 03/05/2021)




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           03/05/2021     247 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: Notice of Appearance
                              232 , Notice of Appearance 234 . The following error(s) was/were found: Incorrect event selected. Correct
                              event to be used is: Notice of Appearance of Withdrawal of Counsel G123.. In response to this notice, the
                              Court may: (1) order an amended or correct document to be filed; (2) order the document stricken; or (3)
                              take other action as the Court deems appropriate. You need not take any action in response to this notice
                              unless and until the Court directs you to do so. (ak) (Entered: 03/05/2021)
           03/05/2021     248 RESPONSE filed by Defendant County of Los Angelesto Minutes of In Chambers Order/Directive - no
                              proceeding held,, 205 [LAHSA's Memorandum in Response to Court's 01-31-2021 Order to Show Cause
                              (Dkt. 205)] (Attachments: # 1 Exhibit A - LAHSA Memorandum)(Hashmall, Jennifer) (Entered:
                              03/05/2021)
           03/05/2021     249 Notice of Appearance or Withdrawal of Counsel: for attorney Manuel A Abascal counsel for Amicus
                              Union Rescue Mission. Adding Manuel A. Abascal as counsel of record for Union Rescue Mission for the
                              reason indicated in the G-123 Notice. Filed by Amicus Curiae Union Rescue Mission. (Abascal, Manuel)
                              (Entered: 03/05/2021)
           03/05/2021     250 Amicus Curiae Brief filed filed by Amicus Union Rescue Mission. RE: Minutes of In Chambers
                              Order/Directive - no proceeding held,, 205 . (Attachments: # 1 Exhibit A - Declaration of Rev. Andrew J.
                              Bales, M.A.T. in Support)(Abascal, Manuel) (Entered: 03/05/2021)
           03/23/2021     251 Letter from Los Angeles Business Council (kd) (Entered: 03/23/2021)
           03/25/2021     252 Letter from Citizens Preserving Venice (kd) (Entered: 03/25/2021)
           03/26/2021     253 Letter from United Way Greater Los Angeles (kd) (Entered: 03/26/2021)
           03/29/2021     254 [NOTICE TO THE COURT OF PAYMENT FROM COUNTY OF LOS ANGELES PURSUANT TO
                              BINDING TERM SHEET filed as] NOTICE Notice of Payment filed by Defendant County of Los
                              Angeles. (Hashmall, Jennifer) Modified on 3/29/2021 (lom). (Entered: 03/29/2021)
           03/29/2021     255 NOTICE Notice re Stay Lifted filed by Defendant County of Los Angeles. (Hashmall, Jennifer) (Entered:
                              03/29/2021)
           03/29/2021     256 NOTICE OF MOTION AND MOTION to Dismiss Defendant County of Los Angeles filed by Defendant
                              County of Los Angeles. Motion set for hearing on 5/10/2021 at 08:30 AM before Judge David O. Carter.
                              (Attachments: # 1 Memorandum) (Hashmall, Jennifer) (Entered: 03/29/2021)
           03/29/2021     257 [DECLARATION OF MIRA HASHMALL IN SUPPORT OF DEFENDANT COUNTY OF LOS
                              ANGELES' MOTION TO DISMISS filed as] NOTICE OF MOTION AND MOTION to Dismiss
                              Defendant County of Los Angeles Declaration of Mira Hashmall filed by Defendant County of Los
                              Angeles. Motion set for hearing on 5/10/2021 at 08:30 AM before Judge David O. Carter. (Attachments: #
                              1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9
                              Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16 Exhibit, #
                              17 Exhibit, # 18 Exhibit, # 19 Exhibit) (Hashmall, Jennifer) Modified on 3/29/2021 (lom). (Entered:
                              03/29/2021)
           03/29/2021     258 [REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT COUNTY OF LOS ANGELES'
                              MOTION TO DISMISS filed as] NOTICE OF MOTION AND MOTION to Dismiss Defendant County
                              of Los Angeles Request for Judicial Notice filed by Defendant County of Los Angeles. Motion set for
                              hearing on 5/10/2021 at 08:30 AM before Judge David O. Carter. (Hashmall, Jennifer) Modified on
                              3/29/2021 (lom). (Entered: 03/29/2021)
           03/29/2021     259 NOTICE OF LODGING filed re NOTICE OF MOTION AND MOTION to Dismiss Defendant County of
                              Los Angeles 256 (Attachments: # 1 Proposed Order)(Miller, Louis) (Entered: 03/29/2021)
           03/29/2021     260 NOTICE OF LODGING filed re NOTICE OF MOTION AND MOTION to Dismiss Defendant County of
                              Los Angeles Request for Judicial Notice 258 (Attachments: # 1 Proposed Order)(Miller, Louis) (Entered:
                              03/29/2021)
           04/02/2021     261 Letter from Councilmember Curren D. Price, Jr. 9th District (kd) (Entered: 04/02/2021)
           04/07/2021     262 EX PARTE APPLICATION to Exceed Page Limitation FOR PLAINTIFFS MOTION FOR
                              PRELIMINARY INJUNCTION filed by Plaintiff Joseph Burk, George Frem, LA Alliance for Human
                              Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter.
                              (Attachments: # 1 Proposed Order) (Mitchell, Elizabeth) (Entered: 04/07/2021)



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           04/07/2021     263 ORDER by Judge David O. Carter: Granting 262 Unopposed Ex Parte Application for Leave to File
                              Excess Pages for Plaintiffs' Motion for Preliminary Injunction. The new page limit for Plaintiffs Motion
                              for Preliminary Injunction is thirty-five (35) pages. (twdb) (Entered: 04/07/2021)
           04/11/2021     264 Amicus Curiae Brief filed filed by Amicus Committee for Safe Havens. RE: Order on Motion for
                              Extension of Time to File 223 . (Attachments: # 1 Declaration, # 2 Declaration, # 3 Declaration, # 4
                              Declaration)(Ravis, Mark) (Entered: 04/11/2021)
           04/12/2021     265 NOTICE OF MOTION AND MOTION for Preliminary Injunction filed by Plaintiffs Joseph Burk, George
                              Frem, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian,
                              Charles Van Scoy, Gary Whitter. Motion set for hearing on 5/10/2021 at 08:30 AM before Judge David O.
                              Carter. (Attachments: # 1 Declaration of Elizabeth A. Mitchell and Exs. A-F, # 2 Declaration Compilation
                              of LA Alliance Members, et al., # 3 Proposed Order) (Umhofer, Matthew) (Entered: 04/12/2021)
           04/13/2021     266 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER LIFTING STAY AND SETTING
                              BRIEFING SCHEDULE. SEE DOCUMENT FOR FURTHER INFORMATION. (twdb) (Entered:
                              04/13/2021)
           04/15/2021     267 MOU QUARTERLY STATUS REPORT filed by Defendant City of Los Angeles. (Attachments: # 1
                              Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Marcus, Scott) (Entered: 04/15/2021)
           04/19/2021     268 OPPOSITION re: NOTICE OF MOTION AND MOTION to Dismiss Defendant County of Los Angeles
                              256 filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights, Charles Malow, Karyn
                              Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. (Mitchell, Elizabeth) (Entered:
                              04/19/2021)
           04/19/2021     269 MEMORANDUM in Opposition to NOTICE OF MOTION AND MOTION for Preliminary Injunction
                              265 filed by Defendant City of Los Angeles. (Attachments: # 1 Request for Judicial Notice, # 2
                              Declaration of Jessica Mariani, # 3 Declaration of Miguel Grajeda, # 4 Declaration of Domingo Orosco)
                              (Mariani, Jessica) (Entered: 04/19/2021)
           04/19/2021     270 Opposition re: NOTICE OF MOTION AND MOTION for Preliminary Injunction 265 filed by Defendant
                              County of Los Angeles. (Miller, Louis) (Entered: 04/19/2021)
           04/19/2021     271 Evidentiary Objections re: NOTICE OF MOTION AND MOTION for Preliminary Injunction 265 filed
                              by Defendant County of Los Angeles. (Miller, Louis) (Entered: 04/19/2021)
           04/19/2021     272 RESPONSE filed by Defendant County of Los Angelesto Amicus Curiae Brief 264 (Miller, Louis)
                              (Entered: 04/19/2021)
           04/19/2021     273 DECLARATION of Elise Buik, President and CEO at the United Way of Greater Los Angeles re
                              Response 272 filed by Defendant County of Los Angeles. (Attachments: # 1 Exhibit A)(Miller, Louis)
                              (Entered: 04/19/2021)
           04/19/2021     274 DECLARATION of Cheri Todoroff, head of Los Angeles County Homeless Initiative re
                              Objection/Opposition (Motion related) 270 filed by Defendant County of Los Angeles. (Attachments: # 1
                              Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                              Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K)(Miller, Louis) (Entered: 04/19/2021)
           04/19/2021     275 MEMORANDUM in Opposition to NOTICE OF MOTION AND MOTION for Preliminary Injunction
                              265 filed by Intervenor Cangress. (Attachments: # 1 Declaration of Gary Blasi, # 2 Declaration of Daniel
                              Flaming, # 3 Declaration of Sam Tsemberis, # 4 Declaration Sara Shortt)(Myers, Shayla) (Entered:
                              04/19/2021)
           04/20/2021     276 DECLARATION of DANIEL FLAMING IN OPPOSITION TO NOTICE OF MOTION AND MOTION
                              for Preliminary Injunction 265 and Exhibits A-D filed by Intervenor Cangress. (Sobel, Carol) (Entered:
                              04/20/2021)
           04/20/2021     277 MINUTE ORDER IN CHAMBERS by Judge David O. Carter. The Court acknowledges that it may
                              appear unusual to issue a preliminary injunction without a hearing on the motion. In the Ninth Circuit,
                              however, there is no presumption that the issuance of a preliminary injunction requires an evidentiary
                              hearing; instead, the decision to hold a hearing is left to the sound discretion of the district court. In
                              practical terms, the Court has already held 12 evidentiary hearings, and this preliminary injunction is
                              rooted in the extensive factual record developed through these hearings. After numerous hearings and
                              careful review of the motion and opposition, the Court finds it appropriatein accordance with the
                              emergency conditions of homelessness in Los Angelesto grant preliminary injunctive relief without an


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                                additional hearing. To do so is consistent with Ninth Circuit precedent, the text and spirit of Rule 65, and
                                the urgent need for relief this case presents. PLEASE SEE ORDER FOR COMPLETE DETAILS. (kd)
                                (Entered: 04/20/2021)
           04/21/2021     278 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Defendant County of Los Angeles.
                              Appeal of Minutes of In Chambers Order/Directive - no proceeding held,,,,, Terminate Deadlines and
                              Hearings,,,, 277 . (Appeal Fee - $505 Fee Paid, Receipt No. ACACDC-31160521.) (Attachments: # 1
                              Exhibit A - April 20, 2021 Order, # 2 Certificate of Service)(Hashmall, Jennifer) (Entered: 04/21/2021)
           04/22/2021     279 MINUTE ORDER IN CHAMBERS by Judge David O. Carter. The Court provides the following two
                              clarifications regarding the Preliminary Injunction issued on April 20, 2021. First, the directives under
                              Accountability and City- and County-Wide Actions pertain to all districts in the City and County and are
                              not limited in any way to Skid Row. Second, the provision regarding the cessation of sales and transfers
                              by lease or covenant under Section 2(a)(ii) does not apply to projects in progress as of the date of the
                              order, April 20, 2021. (kd) (Entered: 04/22/2021)
           04/22/2021     280 NOTIFICATION from Ninth Circuit Court of Appeals of case number assigned and briefing schedule.
                              Appeal Docket No. 21-55395 assigned to Notice of Appeal to 9th Circuit Court of Appeals, 278 as to
                              defendant County of Los Angeles. (lc) (Entered: 04/23/2021)
           04/23/2021     281 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Defendant City of Los Angeles.
                              Appeal of Minutes of In Chambers Order/Directive - no proceeding held,, 279 , Minutes of In Chambers
                              Order/Directive - no proceeding held,,,,, Terminate Deadlines and Hearings,,,, 277 . (Appeal Fee - $505
                              Fee Paid, Receipt No. ACACDC-31173233.) (Attachments: # 1 Civil Minutes (Injunction) of 04-20-21, #
                              2 Civil Minutes (Clarification) of 04-22-21, # 3 Representation Statement)(Marcus, Scott) (Entered:
                              04/23/2021)
           04/23/2021     282 EX PARTE APPLICATION to Stay pending Appeal Minutes of In Chambers Order/Directive - no
                              proceeding held,,,,, Terminate Deadlines and Hearings,,,, 277 filed by Defendant County of Los Angeles.
                              (Attachments: # 1 Declaration Declaration of Cheri Todroff, # 2 Declaration Declaration of Mira
                              Hashmall, # 3 Declaration Declaration of Matt McGloin, # 4 Declaration Declaration of Vanessa Moody, #
                              5 Proposed Order) (Miller, Louis) (Entered: 04/23/2021)
           04/23/2021     283 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Intervenor Cangress. Appeal of
                              Minutes of In Chambers Order/Directive - no proceeding held,, 279 , Minutes of In Chambers
                              Order/Directive - no proceeding held,,,,, Terminate Deadlines and Hearings,,,, 277 . (Appeal Fee - $505
                              Fee Paid, Receipt No. ACACDC-31175978.) (Attachments: # 1 Exhibit Preliminary Injunction Order 4 20
                              21, # 2 Exhibit Preliminary Injunction Order Modified 4 22 21)(Sobel, Carol) (Entered: 04/23/2021)
           04/23/2021     284 EX PARTE APPLICATION to Stay pending Appeal Minutes of In Chambers Order/Directive - no
                              proceeding held,,,,, Terminate Deadlines and Hearings,,,, 277 filed by Defendant City of Los Angeles.
                              (Attachments: # 1 Declaration, # 2 Declaration, # 3 Proposed Order) (Marcus, Scott) (Entered:
                              04/23/2021)
           04/23/2021     289 NOTIFICATION from Ninth Circuit Court of Appeals of case number assigned and briefing schedule.
                              Appeal Docket No. 21-55404 assigned to Notice of Appeal to 9th Circuit Court of Appeals, 281 as to
                              defendant City of Los Angeles. (mat) (Entered: 04/26/2021)
           04/24/2021     285 OPPOSITION re: EX PARTE APPLICATION to Stay pending Appeal Minutes of In Chambers
                              Order/Directive - no proceeding held,,,,, Terminate Deadlines and Hearings,,,, 277 284 filed by Plaintiffs
                              Joseph Burk, George Frem, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro
                              Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. (Mitchell, Elizabeth) (Entered: 04/24/2021)
           04/25/2021     286 MINUTES (IN CHAMBERS) Granting in Part and Denying in Part Defendants' Ex Parte Applications to
                              Stay Pending Appeal 282 284 by Judge David O. Carter. (dgo) (Entered: 04/25/2021)
           04/26/2021     287 AMENDED MINUTES (IN CHAMBERS) Granting in Part and Denying in Part Defendants' Ex Parte
                              Applications to Stay Pending Appeal 282 , 284 by Judge David O. Carter. (dgo) Modified on 4/26/2021
                              (dgo). (Entered: 04/26/2021)
           04/26/2021     288 STIPULATION Extending Time to Answer the complaint as to City of Los Angeles answer now due
                              6/3/2021, re Complaint (Attorney Civil Case Opening),,, 1 filed by Defendant City of Los Angeles.
                              (Marcus, Scott) (Entered: 04/26/2021)




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                  Case: 23-70076, 05/11/2023, ID: 12714476, DktEntry: 1-2, Page 1052 of 1079
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           04/26/2021     290 ORDER from Ninth Circuit Court of Appeals filed re: Notice of Appeal to 9th Circuit Court of Appeals,
                              281 filed by City of Los Angeles. CCA # 21-55404. The appeal filed April 23, 2021, is a preliminary
                              injunction appeal. Accordingly, Ninth Circuit Rule 3-3 shall apply. [See document for more complete
                              details.](mat) (Entered: 04/26/2021)
           04/26/2021     291 RESPONSE IN SUPPORT of NOTICE OF MOTION AND MOTION to Dismiss Defendant County of
                              Los Angeles 256 filed by Defendant County of Los Angeles. (Hashmall, Jennifer) (Entered: 04/26/2021)
           04/26/2021     292 NOTICE Notice to the Court of Defendant County of Los Angeles' Emergency Declaration Dated
                              December 6, 2016 filed by Defendant County of Los Angeles. (Hashmall, Jennifer) (Entered: 04/26/2021)
           04/26/2021     294 NOTIFICATION from Ninth Circuit Court of Appeals of case number assigned and briefing schedule.
                              Appeal Docket No. 21-55408 assigned to Notice of Appeal to 9th Circuit Court of Appeals, 283 as to
                              Intervenor Cangress. (mat) (Entered: 04/27/2021)
           04/26/2021     295 ORDER from Ninth Circuit Court of Appeals filed re: Notice of Appeal to 9th Circuit Court of Appeals,
                              283 filed by Cangress. CCA # 21-55408. The appeal filed April 23, 2021, is a preliminary injunction
                              appeal. Accordingly, Ninth Circuit Rule 3-3 shall apply. [See document for complete details.](mat)
                              (Entered: 04/27/2021)
           04/27/2021     293 REPORT of to explain why an emergency declaration has not been issued filed by Defendant City of Los
                              Angeles. (Marcus, Scott) (Entered: 04/27/2021)
           04/30/2021     296 MINUTE ORDER IN CHAMBERS by Judge David O. Carter. The Court will hold a hearing on
                              Wednesday, May 26, 2021 at 10:00 a.m. to discuss with the parties the status of the Binding Term Sheet
                              Agreement 136 (Exh. A) entered into on June 18, 2020 and the Memorandum of Understanding between
                              the County of Los Angeles and the City of Los Angeles [185-1] (Exh. B) entered into on October 9, 2020.
                              The Court will then consider whether to reinstate its May 22, 2020 preliminary injunction 123 to protect
                              those individuals experiencing homelessness currently living near freeway overpasses, underpasses, and
                              ramps. A hearing to discuss these matters will be held on Wednesday, May 26, 2021 at 10:00 a.m. at the
                              FIRST STREET U.S. COURTHOUSE, 350 W 1st Street, Los Angeles, CA 90012-4565. (kd) (Entered:
                              04/30/2021)
           05/05/2021     297 SCHEDULING NOTICE by Judge David O. Carter. The Court orders the Motion to Dismiss hearing set
                              for 5/10/2021 at 8:30 AM to be held via Zoom. The Court's Zoom information is located at
                              www.cacd.uscourts.gov. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (kd)
                              TEXT ONLY ENTRY (Entered: 05/05/2021)
           05/10/2021     299 MINUTES OF Motion Hearing via Zoom (Held and Completed) before Judge David O. Carter: Taking
                              under advisement 256 MOTION to Dismiss ; Court Reporter: Deborah Parker. (twdb) Modified on
                              5/11/2021 (twdb). (Entered: 05/11/2021)
           05/11/2021     300 MINUTES (IN CHAMBERS) by Judge David O. Carter. For the reasons set forth, the Court DENIES
                              Defendant County's Motion to Dismiss 256 . Please see Minute Order for complete details. IT IS SO
                              ORDERED. (kd) (Entered: 05/11/2021)
           05/12/2021     301 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: SEE DOCUMENT FOR FURTHER
                              INFORMATION. (twdb) (Entered: 05/12/2021)
           05/13/2021     304 ORDER from Ninth Circuit Court of Appeals filed re: Notice of Appeal to 9th Circuit Court of Appeals,
                              283 filed by Cangress, Notice of Appeal to 9th Circuit Court of Appeals, 281 filed by City of Los
                              Angeles, Notice of Appeal to 9th Circuit Court of Appeals, 278 filed by County of Los Angeles. CCA #
                              21-55395, 21-55404, and 21-55408. In this order, we consider only the request for an administrative stay.
                              We find that a brief administrative stay is warranted to preserve the status quo until the district courts May
                              27, 2021 evidentiary hearing as these further proceedings may impact whether a stay pending appeal is
                              necessary or justified. The district court's April 20, 2021 preliminary injunction is stayed until June 15,
                              2021. Appeal Nos. 21-55395, 21-55404 and 21-55408 are consolidated. Failure to file timely an opening
                              brief shall result in the automatic dismissal of the appeal by the (9th CCA) Clerk for failure to prosecute.
                              [See document for more complete details.](mat) (Entered: 05/13/2021)
           05/21/2021     305 STATEMENT of Support filed by Amicus Skid Row Housing Trust re: Minutes of In Chambers
                              Order/Directive - no proceeding held,,,,, Terminate Deadlines and Hearings,,,, 277 . (Mitchell, Elizabeth)
                              (Entered: 05/21/2021)
           05/24/2021     306 Letter from SkidRow Advisory Council. (kd) (Entered: 05/24/2021)



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           05/24/2021     307 Letter from SkidRow Stakeholders. (kd) (Entered: 05/24/2021)
           05/24/2021     308 BRIEF filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights, Charles Malow,
                              Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. regarding Minutes of In
                              Chambers Order/Directive - no proceeding held,,,, Set/Reset Deadlines/Hearings,,, 296 . (Mitchell,
                              Elizabeth) (Entered: 05/24/2021)
           05/25/2021     309 REQUEST TO CORRECT DOCKET filed by Intervenor Orange County Catholic Worker (Sobel, Carol)
                              (Entered: 05/25/2021)
           05/25/2021     310 Letter from Downtown Los Angeles Neighborhood Council. (kd) (Entered: 05/25/2021)
           05/26/2021     311 Letter from CENTRAL City Association of Los Angeles (kd) Modified on 5/26/2021 (kd). (Entered:
                              05/26/2021)
           05/26/2021     312 Parties request for powerpoint shown at the May 26, 2021 hearing by Judge David O. Carter. (kd)
                              (Entered: 05/26/2021)
           05/26/2021     313 Parties requests for exhibits and photographs shown at the May 26, 2021 hearing. (kd) Modified on
                              5/28/2021 (kd). refer to 326 for Transcript (Entered: 05/26/2021)
           05/26/2021     314 Counsel shall disregard docket entry 312 as the attachment was not made available. Please refer to docket
                              entry 313 .THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (kd) TEXT ONLY
                              ENTRY (Entered: 05/26/2021)
           05/26/2021     315 MINUTE ORDER IN CHAMBERS by Judge David O. Carter. On 05-26-2021, the Court held a status
                              conference in Los Angeles regarding the Agreement & Binding Term Sheet between the City and County
                              of Los Angeles 136 . The Court is concerned by the parties representations that certain provisions of the
                              agreement are not being met. However, the Court will postpone the decision of whether or not to reinstate
                              its May 22, 2020 preliminary injunction 123 pending the outcome of the freeway audit provided by the
                              County in July 2021. Accordingly, the Court SCHEDULES an additional status conference for August 26,
                              2021, at which time the Court will receive testimony from the City and County regarding additional
                              progress made towards housing individuals living within 500 feet of freeway overpasses and underpasses
                              and other homeless individuals prioritized in the Agreement & Binding Term Sheet. At that time, the
                              Court will further consider whether to reinstate its May 22, 2020 preliminary injunction. (kd) (Entered:
                              05/26/2021)
           05/26/2021     316 APPLICATION for Default Judgment against Defendant County of Los Angeles filed by Plaintiffs Joseph
                              Burk, George Frem, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez,
                              Harry Tashdjian, Charles Van Scoy, Gary Whitter. Application set for hearing on 6/7/2021 at 08:30 AM
                              before Judge David O. Carter. (Mitchell, Elizabeth) (Entered: 05/26/2021)
           05/26/2021     320 ANSWER to Complaint (Attorney Civil Case Opening),,, 1 filed by Defendant County of Los Angeles.
                              (Miller, Louis) (Entered: 05/26/2021)
           05/26/2021     321 MINUTES OF Status Conference held before Judge David O. Carter; Judge Andre Birotte, Judge: Status
                              Conference held before Judge David O. Carter at 350 W. First Street, Los Angeles, California. The Court
                              orders the transcript for the hearing date above be made available on the docket forthwith free of charge to
                              all ordering parties. SEE DOCUMENT FOR FURTHER INFORMATION. Court Reporter: Miranda
                              Algorri. (twdb) (Entered: 05/26/2021)
           05/27/2021     322 NOTICE OF DEFICIENCY Re: APPLICATION for Default Judgment against Defendant County of Los
                              Angeles 316 . The Clerk cannot enter the requested relief as: Answer and/or Motion for Summary
                              Judgment and/or Motion to Dismiss on file. (twdb) (Entered: 05/27/2021)
           05/27/2021     323 MINUTE ORDER IN CHAMBERS by Judge David O. Carter. On Thursday, May 27, 2021, the Court
                              held an evidentiary hearing in Los Angeles. Per the Courts April 25, 2021 order (Dkt. 286) on Defendants
                              Ex Parte Applications to Stay (Dkt 282, 284), the purpose of the May 27th hearing was to 1) determine
                              what properties exist and are available for homelessness relief and 2) receive testimony from the City and
                              County regarding the Courts findings on structural racism in its April 20, 2021 preliminary injunction.
                              Dkt. 286 at 14. SEE MINUTE ORDER FOR COMPLETE DETAILS. (kd) (Entered: 05/27/2021)




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           05/27/2021     324 MINUTES OF Status Conference (Held and Completed) before Judge David O. Carter, Andre Birotte,
                              Judge: Case called. Also present is Special Master Michele Martinez. Status Conferenceheld before Judge
                              David O. Carter at 350 W. First Street, Los Angeles, California. SEE DOCUMENT FOR FURTHER
                              INFORMATION. Court Reporter: Myra Ponce. (twdb) (Entered: 05/27/2021)
           05/27/2021     325 Settlement Proposal filed by Amicus Union Rescue Mission (Attachments: # 1 Settlement Proposal)
                              (Abascal, Manuel) (Entered: 05/27/2021)
           05/27/2021     333 NOTICE/Filing From Downtown Women's Center filed by Unknown (twdb) (Entered: 06/01/2021)
           05/28/2021     326 TRANSCRIPT for proceedings held on 05-26-2021, 10:01 am. Court Reporter/Electronic Court Recorder:
                              Miranda Algorri, phone number/email mirandaalgorri@gmail.com. Transcript may be viewed at the court
                              public terminal or purchased through the Court Reporter/Electronic Court Recorder before the deadline for
                              Release of Transcript Restriction. After that date it may be obtained through PACER. Notice of Intent to
                              Redact due within 7 days of this date. Redaction Request due 6/18/2021. Redacted Transcript Deadline set
                              for 6/28/2021. Release of Transcript Restriction set for 8/26/2021. (Algorri, Miranda) (Entered:
                              05/28/2021)
           05/28/2021     327 NOTICE OF FILING TRANSCRIPT filed for proceedings 05-26-2021, 10:01 am re Transcript 326
                              THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (Algorri, Miranda) TEXT
                              ONLY ENTRY (Entered: 05/28/2021)
           05/28/2021     328 STIPULATION for Extension of Time to File Answer to June 17, 2021 re Complaint (Attorney Civil Case
                              Opening),,, 1 filed by Defendant City of Los Angeles. (Attachments: # 1 Proposed Order)(Marcus, Scott)
                              (Entered: 05/28/2021)
           05/29/2021     329 SCHEDULING NOTICE by Judge David O. Carter. The Court, having read and considered the joint
                              stipulation filed on behalf of Plaintiffs LA ALLIANCE, et al. (Plaintiffs) and Defendant City of Los
                              Angeles (the City), and finding GOOD CAUSE thereon, hereby GRANTS the stipulated two week
                              extension of time for the City to respond to Plaintiffs Complaint. IT IS HEREBY ORDERED that the
                              Citys response to Plaintiffs Complaint is to be filed on or by June 17, 2021. STIPULATION for Extension
                              of Time to File Answer to June 17, 2021. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
                              ENTRY. (kd) TEXT ONLY ENTRY (Entered: 05/29/2021)
           05/29/2021     330 Parties requests for exhibits and photographs shown at the May 27, 2021 hearing (kd) Modified on
                              5/30/2021 (kd). refer to 331 for Transcript (Entered: 05/29/2021)
           05/30/2021     331 TRANSCRIPT for proceedings held on 05/27/2021 at 9:02 a.m. Court Reporter/Electronic Court
                              Recorder: Myra L. Ponce, CSR, RDR, CRR, e-mail address myraponce@sbcglobal.net. Transcript may be
                              viewed at the court public terminal or purchased through the Court Reporter/Electronic Court Recorder
                              before the deadline for Release of Transcript Restriction. After that date it may be obtained through
                              PACER. Notice of Intent to Redact due within 7 days of this date. Redaction Request due 6/21/2021.
                              Redacted Transcript Deadline set for 6/30/2021. Release of Transcript Restriction set for 8/30/2021.
                              (Ponce, Myra) (Entered: 05/30/2021)
           05/30/2021     332 NOTICE OF FILING TRANSCRIPT filed for proceedings 05/27/2021 at 9:02 a.m. re Transcript 331
                              THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (Ponce, Myra) TEXT ONLY
                              ENTRY (Entered: 05/30/2021)
           06/02/2021     334 TRANSCRIPT ORDER as to Defendant County of Los Angeles for Court Reporter. (Rodriguez-
                              Sanchirico, Emily) (Entered: 06/02/2021)
           06/02/2021     335 LETTER from County of Los Angeles Board of Supervisors Chair Hilda Solis. (kd) (Entered: 06/02/2021)
           06/16/2021     336 NOTICE OF MOTION AND MOTION to Dismiss Case filed by Defendant City of Los Angeles. Motion
                              set for hearing on 8/9/2021 at 08:30 AM before Judge David O. Carter. (Attachments: # 1 Memorandum
                              of Points and Authorities, # 2 Proposed Order) (Hoang, Arlene) (Entered: 06/16/2021)
           06/23/2021     337 Letter from Pacific Palisades Residents Association filed by Plaintiffs Joseph Burk, George Frem, LA
                              Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van
                              Scoy, Gary Whitter (Umhofer, Matthew) (Entered: 06/23/2021)




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           06/23/2021     338 SCHEDULING NOTICE by Judge David O. Carter. On the Court's own motion, the Motion to Dismiss
                              Case 336 is continued to AUGUST 19, 2021, at 9:00 AM at the Santa Ana Courthouse, Courtreoom 9D,
                              Ninth Floor. IT IS SO ORDERED.THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
                              ENTRY. (kd) TEXT ONLY ENTRY (Entered: 06/23/2021)
           07/01/2021     339 Request for Judicial Notice (Attachments: # 1 Exhibit Monitor's Interim Report & Ex. 1, # 2 Exhibit
                              Monitor's Supplemental Report, # 3 Exhibit Ex. 2, # 4 Exhibit Exhibit 3, # 5 Exhibit Exhibit 4, # 6 Exhibit
                              Exhibit 5, # 7 Proposed Order)(Sobel, Carol) (Entered: 07/01/2021)
           07/11/2021     340 Letter in Support of Court Intervention (Ravis, Mark) (Entered: 07/11/2021)
           07/13/2021     341 NOTICE Of Payment And Report Regarding Mainstream Services At City Facilities filed by the County
                              of Los Angeles. (Attachments: # 1 Exhibit A - County Mainstream Benefits Quarterly Report)(Hashmall,
                              Jennifer) (Entered: 07/13/2021)
           07/15/2021     342 STATUS REPORT PURSUANT TO THE MOU [DKT. 185] filed by Defendant City of Los Angeles.
                              (Attachments: # 1 Exhibit A to City's Quarterly Status Report, # 2 Exhibit B to City's Quarterly Status
                              Report, # 3 Exhibit C to City's Quarterly Status Report, # 4 Exhibit D to City's Quarterly Status Report, #
                              5 Exhibit E to City's Quarterly Status Report)(Hoang, Arlene) (Entered: 07/15/2021)
           07/20/2021     343 STIPULATION to Vacate Hearing and Briefing Schedule for Defendant City of LA's Motion to Dismiss
                              NOTICE OF MOTION AND MOTION to Dismiss Case 336 filed by Plaintiffs Joseph Burk, George
                              Frem, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian,
                              Charles Van Scoy, Gary Whitter. (Attachments: # 1 Proposed Order)(Mitchell, Elizabeth) (Entered:
                              07/20/2021)
           07/21/2021     344 ORDER by Judge David O. Carter, Granting Stipulation to Vacate Hearing and Briefing Schedule for
                              Defendant City of LA'S Motion to Dismiss 343 . The current briefing schedule and hearing date of August
                              19, 2021, of Defendant Citys Motion to Dismiss is vacated; SEE DOCUMENT FOR FURTHER
                              INFORMATION. (twdb) (Entered: 07/21/2021)
           08/23/2021     345 STIPULATION to Continue Status Conference from August 26, 2021 to September 30, 2021 filed by
                              Defendants City of Los Angeles, County of Los Angeles. (Attachments: # 1 Proposed Order)(Hashmall,
                              Jennifer) (Entered: 08/23/2021)
           08/24/2021     346 ORDER GRANTING DEFENDANTS' STIPULATION TO CONTINUE STATUS CONFERENCE 345
                              by Judge David O. Carter. Status Conference is hereby continued form August 26, 2021 to September 30,
                              2021 at 9:00 a.m. (et) (Entered: 08/24/2021)
           09/07/2021     347 NOTICE of Association of Counsel associating attorney Ana Wai-Kwan Lai on behalf of Defendant
                              County of Los Angeles. Filed by Defendant County of Los Angeles (Attorney Emily A Rodriguez-
                              Sanchirico added to party County of Los Angeles(pty:dft))(Rodriguez-Sanchirico, Emily) (Entered:
                              09/07/2021)
           09/08/2021     348 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: Notice of Association of
                              Counsel, 347 . The following error(s) was/were found: Notice of Association not signed by Ana Lai. In
                              response to this notice, the Court may: (1) order an amended or correct document to be filed; (2) order the
                              document stricken; or (3) take other action as the Court deems appropriate. You need not take any action
                              in response to this notice unless and until the Court directs you to do so. (ak) (Entered: 09/08/2021)
           09/20/2021     349 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER CONTINUING STATUS
                              CONFERENCE. The Court continues the status conference from September 30, 2021 to December 16,
                              2021 at 9:00 am at the FIRST STREET U.S. COURTHOUSE, 350 W. 1st Street, Los Angeles, CA 90012.
                              ( Status Conference set for 12/16/2021 AT 09:00 AM before Judge David O. Carter.) (twdb) (Entered:
                              09/21/2021)
           09/23/2021     350 NOTICE filed by Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights, Charles Malow,
                              Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. Plaintiffs' Notice of
                              Intent to File First Amended Complaint (Mitchell, Elizabeth) (Entered: 09/23/2021)
           09/23/2021     351 ORDER from Ninth Circuit Court of Appeals filed. CCA # 21-55395; 21-55404; 55408; In light of our
                              concurrently filed opinion, the administrative stay issued on May 13 and extended on June 10, 2021, is
                              hereby VACATED. SEE DOCUMENT FOR FURTHER INFORMATION AS TO THE NINTH CIRCUIT
                              COURT OF APPEAL ORDER. (twdb) (Entered: 09/24/2021)




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           09/23/2021     352 OPINION from Ninth Circuit Court of Appeals filed re: Notice of Appeal to 9th Circuit Court of Appeals,
                              283 filed by Cangress, Notice of Appeal to 9th Circuit Court of Appeals,, 281 filed by City of Los
                              Angeles, Notice of Appeal to 9th Circuit Court of Appeals, 278 filed by County of Los Angeles. CCA #
                              21-55395; 21-55404; 55408. VACATED and REMANDED. (twdb) (Entered: 09/24/2021)
           09/23/2021     353 ORDER from Ninth Circuit Court of Appeals filed re: Notice of Appeal to 9th Circuit Court of Appeals,
                              283 filed by Cangress, Notice of Appeal to 9th Circuit Court of Appeals,, 281 filed by City of Los
                              Angeles, Notice of Appeal to 9th Circuit Court of Appeals, 278 filed by County of Los Angeles. CCA #
                              21-55395; 21-55404; 55408. (twdb) (Entered: 09/24/2021)
           10/01/2021     354 Notice of Electronic Filing re Notice (Other), 350 , USCA Memorandum/Opinion/Order, 351 , USCA
                              Memorandum/Opinion/Order, 353 , USCA Memorandum/Opinion/Order, 352 e-mailed to
                              david@jtlegalgroup.com bounced due to 5.1.0 - Unknown address error 550-'5.1.1
                              <david@jtlegalgroup.com>: Recipient address rejected: User unknown in virtual mailbox table'. The
                              primary e-mail address associated with the attorney record has been deleted. Pursuant to Local Rules it is
                              the attorneys obligation to maintain all personal contact information including e-mail address in the
                              CM/ECF system. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ew) TEXT
                              ONLY ENTRY (Entered: 10/01/2021)
           10/15/2021     355 MANDATE of Ninth Circuit Court of Appeals filed re: USCA Memorandum/Opinion/Order, 352 , Notice
                              of Appeal to 9th Circuit Court of Appeals, 283 , Notice of Appeal to 9th Circuit Court of Appeals,, 281 ,
                              Notice of Appeal to 9th Circuit Court of Appeals, 278 , CCA # 21-55395, 21-55404, 21-55408. The
                              judgment of this Court, entered September 23, 2021, takes effect this date. This constitutes the formal
                              mandate of this Court issued pursuant to Rule 41(a) of the Federal Rules of Appellate Procedure. Costs are
                              awarded to Appellants. (car) (Entered: 10/15/2021)
           10/15/2021     356 STATUS REPORT Quarterly Report pursuant to the MOU [DKT. 185-1] filed by Defendant City of Los
                              Angeles. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Hoang, Arlene) (Entered:
                              10/15/2021)
           10/15/2021     357 STATUS REPORT Annual Report pursuant to the MOU [DKT. 185-1] filed by Defendant City of Los
                              Angeles. (Attachments: # 1 Exhibit A)(Hoang, Arlene) (Entered: 10/15/2021)
           10/29/2021     358 NOTICE OF MOTION AND MOTION for Leave to file Amended and Supplemental Complaint filed by
                              Plaintiffs Joseph Burk, George Frem, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky,
                              Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. Motion set for hearing on 11/29/2021
                              at 10:00 AM before Judge David O. Carter. (Attachments: # 1 Declaration of Elizabeth A. Mitchell and
                              Ex. A, # 2 Proposed Order) (Mitchell, Elizabeth) (Entered: 10/29/2021)
           11/01/2021     359 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: NOTICE OF MOTION
                              AND MOTION for Leave to file Amended and Supplemental Complaint 358 . The following error(s)
                              was/were found: Hearing information is missing, incorrect, or not timely. In response to this notice, the
                              Court may: (1) order an amended or correct document to be filed; (2) order the document stricken; or (3)
                              take other action as the Court deems appropriate. You need not take any action in response to this notice
                              unless and until the Court directs you to do so. (twdb) (Entered: 11/01/2021)
           11/01/2021     360 ORDER by Judge David O. Carter: Granting 358 MOTION for Leave to File Amended and Supplemental
                              Complaint. Plaintiffs shall file said Amended and Supplemental Complaint forthwith. (twdb) (Entered:
                              11/01/2021)
           11/01/2021     361 Amended and Supplemental AMENDED COMPLAINT against Defendants All Defendants amending
                              Complaint (Attorney Civil Case Opening),,, 1 , filed by Plaintiffs George Frem, Joseph Burk, LA Alliance
                              for Human Rights, Charles Van Scoy, Harry Tashdjian, Leandro Suarez, Gary Whitter, Karyn Pinsky,
                              Charles Malow, Wenzial Jarrell (Attachments: # 1 Exhibit A - Order re Preliminary Injunction)(Attorney
                              Elizabeth Anne Mitchell added to party Wenzial Jarrell(pty:pla))(Mitchell, Elizabeth) (Entered:
                              11/01/2021)
           11/01/2021     362 Amended CERTIFICATE of Interested Parties filed by Plaintiffs Joseph Burk, George Frem, Wenzial
                              Jarrell, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian,
                              Charles Van Scoy, Gary Whitter, identifying LA Alliance, Joseph Burk, Harry Tashdijian, Karyn Pinsky,
                              Charles Marlow, Charles Van Scoy, George Frem, Gary Whitter, Leandro Suarez, Wenzial Jarrell, City of
                              Los Angeles, County of Los Angeles. (Mitchell, Elizabeth) (Entered: 11/01/2021)




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           11/02/2021     363 NOTICE of Appearance filed by attorney Ryan Salsig on behalf of Defendant City of Los Angeles
                              (Attorney Ryan Salsig added to party City of Los Angeles(pty:dft))(Salsig, Ryan) (Entered: 11/02/2021)
           11/02/2021     364 STATUS REPORT (Quarterly Status Report Pursuant to Memorandum of Understanding Between County
                              of Los Angeles and City of Los Angeles) filed by Defendant County of Los Angeles. (Attachments: # 1
                              Exhibit A - Mainstream Benefits Quarterly Report)(Hashmall, Jennifer) (Entered: 11/02/2021)
           11/04/2021     365 STIPULATION Extending Time to Answer the complaint as to County of Los Angeles answer now due
                              12/3/2021, re Amended Complaint/Petition, 361 filed by Defendant County of Los Angeles.
                              (Attachments: # 1 Proposed Order)(Hashmall, Jennifer) (Entered: 11/04/2021)
           11/09/2021     366 ORDER by Judge David O. Carter, Granting Joint Stipulation Extending Time For Defendant County of
                              Los Angeles to Respond to Plaintiffs' First Amended Complaint (30 days or less) 365 . SEE DOCUMENT
                              FOR FURTHER INFORMATION. (twdb) (Entered: 11/09/2021)
           11/10/2021     367 STIPULATION for Extension of Time to File Responsive Pleading as to Amended Complaint/Petition,
                              361 filed by Defendant City of Los Angeles. (Attachments: # 1 Proposed Order)(Hoang, Arlene) (Entered:
                              11/10/2021)
           11/12/2021     368 ORDER by Judge David O. Carter, Granting Stipulation for Extension of Time for Defendant City of Los
                              Angeles to Respond to First Amended and Supplemental Complaint and for a Briefing Schedule 367 .
                              Extended to 12/3/21; SEE DOCMENT FOR FURTHER INFORMATION. (twdb) (Entered: 11/15/2021)
           12/03/2021     369 NOTICE OF MOTION AND MOTION to Dismiss Case filed by Defendant City of Los Angeles. Motion
                              set for hearing on 1/24/2022 at 08:30 AM before Judge David O. Carter. (Attachments: # 1 Memorandum
                              of Points and Authorities, # 2 Proposed Order) (Hoang, Arlene) (Entered: 12/03/2021)
           12/03/2021     370 NOTICE OF MOTION AND MOTION to Dismiss First Amended Complaint filed by Defendant County
                              of Los Angeles. Motion set for hearing on 1/24/2022 at 08:30 AM before Judge David O. Carter.
                              (Attachments: # 1 Memorandum of Points and Authorities, # 2 Request for Judicial Notice, # 3 Notice of
                              Lodging [Proposed] Order Granting Request for Judicial Notice, # 4 Notice of Lodging [Proposed] Order
                              Granting Motion to Dismiss) (Hashmall, Jennifer) (Entered: 12/03/2021)
           12/03/2021     371 DECLARATION of Mira Hashmall in Support of NOTICE OF MOTION AND MOTION to Dismiss
                              First Amended Complaint 370 filed by Defendant County of Los Angeles. (Attachments: # 1 Ex. 1
                              Defendant County's Report of Available Resources for People Experiencing Homelessness, # 2 Ex. 2
                              Disrupting the Cycle of Chronic Homelessness, # 3 Ex. 3 Statement Of Proceedings, # 4 Ex. 4 Statement
                              Of Proceedings, # 5 Ex. 5 Statement Of Proceedings, # 6 Ex. 6 Statement Of Proceedings, # 7 Ex. 7
                              Statement Of Proceedings, # 8 Ex. 8 Letter from DHS to Board Transmitting HFH Quarterly Report, # 9
                              Ex. 9 February 2016 Homeless Initiative Approved Strategies to Combat Homelessness, # 10 Ex. 10 QR1
                              Full Report, # 11 Measures Appearing on Ballot, # 12 Ex. 12 September 29, 2017 Measure-H-Strategy-
                              Implementation-Plans, # 13 Ex. 13 December 3, 2020 Homeless-Initiative-Quarterly-Report-No.-18, # 14
                              Ex. 14 February 22, 2021 Report, # 15 Ex. 15 Quarterly Report No. 20 Item 47 A Agenda of February 9,
                              2016, # 16 Ex. 16 Board of Supervisors Approves LA County Homeless Initiative in FY 2021-2022, # 17
                              Ex. 17 Statement Of Proceedings, # 18 Ex. 18 136 - Binding Term Sheet (BTS), # 19 Ex. 19 177 - Notice
                              of First Payment on September 1, 2020 Pursuant to BTS, # 20 Ex. 20 185 - Notice to Court re MOU, # 21
                              Ex. 21 203 - Notice of Second Payment on December 22, 2020 Pursuant to BTS & MOU, # 22 Ex. 22 254
                              - Notice of Third Payment on March 24, 2021 Pursuant to BTS & MOU, # 23 Ex. 23 341 - Notice of
                              Fourth Payment on July 9, 2021 Pursuant to BTS & MOU, # 24 Ex. 24 364 - November 2, 2021 Report on
                              Mainstream Services Pursuant to BTS & MOU, # 25 Ex. 25 Statement Of Proceedings, # 26 Ex. 26
                              LAHSA Receives $15 Million Grant From HUD To Address Youth Homelessnes, # 27 Ex. 27 Statement
                              Of Proceedings, # 28 Ex. 28 Statement Of Proceedings, # 29 Ex. 29 November 2, 2021 Motion, # 30 Ex.
                              30 May 12, 2020 Motion re Homelessness Crisis Response Strategy, # 31 Ex. 31 July 2, 2020 CEO
                              COVID Recovery Plan Report Attaching LAHSA Funding Plan, # 32 Ex. 32 May 15, 2020 CEO COVID
                              Recovery Plan Report, # 33 Ex. 33 197 - Status Report re MHSA Funds, # 34 Ex. 34 May 2, 2017 Board
                              Letter, # 35 Ex. 35 MHSA Announcements, # 36 Ex. 36 Letter re County's Motion to Dismiss First
                              Amended Complaint)(Hashmall, Jennifer) (Entered: 12/03/2021)




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           12/06/2021     372 MINUTE ORDER (IN CHAMBERS): ORDER RE: STATUS CONFERENCE by Judge David O. Carter:
                              The Court requests that the parties provide the Court with a joint status update on progress made toward
                              completion of the agreement by noon on December 14, 2021. The Status Conference will take place on
                              December 16, 2021 at 9:00 am at the First Street U.S. Courthouse, 350 W 1st Street, Los Angeles, CA
                              90012. The Court will inform the parties of the specific courtroom in advance of the hearing. The Clerk
                              shall serve this minute order on the parties. (see document for further details) (bm) (Entered: 12/06/2021)
           12/14/2021     373 STATUS REPORT Joint with Defendant County of Los Angeles filed by Defendant City of Los Angeles.
                              (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Hoang, Arlene) (Entered: 12/14/2021)
           12/14/2021     374 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE: STATUS CONFERENCE.
                              The parties are currently scheduled to meet for a Status Conference on December 16, 2021, to discuss
                              progress toward completion of the freeway overpasses and underpasses agreement. The Status Conference
                              will take place at 9:00 am in Courtroom 5B, 350 W. 1st Street, Los Angeles, CA 90012. (twdb) (Entered:
                              12/14/2021)
           12/15/2021     375 Notice of Appearance or Withdrawal of Counsel: for attorney Jennifer Mira Hashmall counsel for
                              Defendant County of Los Angeles. Emily A. Rodriguez-Sanchirico is no longer counsel of record for the
                              aforementioned party in this case for the reason indicated in the G-123 Notice. Filed by Defendant County
                              of Los Angeles. (Hashmall, Jennifer) (Entered: 12/15/2021)
           12/16/2021     376 Submissions of Defendant City of Los Angeles at December 16, 2021 Status Conference (Attachments: # 1
                              Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Hoang, Arlene) (Entered: 12/16/2021)
           12/16/2021     377 MINUTES OF Status Conference (Held and Completed) before Judge David O. Carter: The Court
                              Reporter referenced above is hereby ordered to submit the original transcript and notes to transcripts
                              cacd@cacd.uscourts.gov no later than Monday, December 27, 2021, for immediate uploading on the
                              Courts CM/ECF document filing System. SEE DOCUMENT FOR FURTHER INFORMATION. Court
                              Reporter: Court Smart. (twdb) (Entered: 12/20/2021)
           12/21/2021     378 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE: STATUS CONFERENCE.
                              The Court will hear testimony from all parties about the audit results at the Status Conference. The
                              Conference will take place at 9:00 am on Wednesday April 27, 2022 at the First Street U.S. Courthouse,
                              350 W. 1st Street, Los Angeles, CA 90012. The Court will inform the parties of the specific courtroom in
                              advance of the hearing. ( Status Conference set for 4/27/2022 at 09:00 AM before Judge David O. Carter.)
                              SEE DOCUMENT FOR FURTHER INFORMATION. (twdb) (Entered: 12/21/2021)
           12/23/2021     379 MEMORANDUM in Opposition to NOTICE OF MOTION AND MOTION to Dismiss Case 369
                              Plaintiffs' Opposition to Defendant City of Los Angeles' Motion to Dismiss Plaintiffs' Amended and
                              Supplemental Complaint filed by Plaintiffs Joseph Burk, George Frem, Wenzial Jarrell, LA Alliance for
                              Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary
                              Whitter. (Mitchell, Elizabeth) (Entered: 12/23/2021)
           12/23/2021     380 MEMORANDUM in Opposition to NOTICE OF MOTION AND MOTION to Dismiss First Amended
                              Complaint 370 Plaintiffs' Opposition to Defendant County of Los Angeles' Motion to Dismiss Plaintiffs'
                              Amended and Supplemental Complaint filed by Plaintiffs Joseph Burk, George Frem, Wenzial Jarrell, LA
                              Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van
                              Scoy, Gary Whitter. (Mitchell, Elizabeth) (Entered: 12/23/2021)
           01/10/2022     381 REPLY in Support of NOTICE OF MOTION AND MOTION to Dismiss Case 369 filed by Defendant
                              City of Los Angeles. (Salsig, Ryan) (Entered: 01/10/2022)
           01/10/2022     382 REPLY in Support of NOTICE OF MOTION AND MOTION to Dismiss First Amended Complaint 370
                              filed by Defendant County of Los Angeles. (Hashmall, Jennifer) (Entered: 01/10/2022)
           01/18/2022     383 STATUS REPORT PURSUANT TO THE MOU [DKT. 185] filed by Defendant City of Los Angeles.
                              (Attachments: # 1 Exhibit A to City's Quarterly Status Report, # 2 Exhibit B to City's Quarterly Status
                              Report, # 3 Exhibit C to City's Quarterly Status Report)(Hoang, Arlene) (Entered: 01/18/2022)
           01/20/2022     384 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE: MOTION to Dismiss 369 ,
                              370 . SEE DOCUMENT FOR FURTHER INFORMATION. ( Motion set for hearing on 1/24/2022 at
                              08:30 AM before Judge David O. Carter.) (twdb) (Entered: 01/20/2022)
           01/21/2022     385 REQUEST for Leave of City of Los Angeles, County of Los Angeles, and Plaintiffs L.A. Alliance, et al.
                              to Appear for Remote filed by Defendant City of Los Angeles. (Salsig, Ryan) (Entered: 01/21/2022)



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           01/21/2022     386 REQUEST for Leave of Intervenors Orange County Catholic Worker, CANGRESS, and Los Angeles
                              Catholic Worker to Appear for Remote filed by Intervenors Cangress, Los Angeles Catholic Worker, Los
                              Angeles Community Action Network. (Myers, Shayla) (Entered: 01/21/2022)
           01/22/2022     387 Text Only Order: The Court GRANTS the Request for Remote Appearance by Defendants City of Los
                              Angeles and County of Los Angeles and Plaintiffs L.A. Alliance et al. 385 . The Court GRANTS the
                              Request for Remote Appearance by Intervenors Orange County Catholic Worker, CANGRESS, and Los
                              Angeles Catholic Worker 386 . Zoom information for the hearing is located at
                              www.cacd.uscourts.gov/honorable-david-o-carter. THERE IS NO PDF DOCUMENT ASSOCIATED
                              WITH THIS ENTRY. (dgo) TEXT ONLY ENTRY (Entered: 01/22/2022)
           01/24/2022     388 MINUTES OF Motion Hearing held before Judge David O. Carter: CITY OF LOS ANGELES' MOTION
                              TO DISMISS 369 ; CITY OF LOS ANGELES' MOTION TO DISMISS FAC 370 . The Court orders the
                              parties to attend a mandatory settlement conference on Tuesday,February 15, 2022 at 8:30 a.m. at the First
                              Street U.S. Courthouse, 350 W. 1st Street, Los Angeles,CA 90012. SEE DOCUMENT FOR FURTHER
                              INFORMATION. Settlement Conference set for 2/15/2022 AT 08:30 AM before Judge David O. Carter.
                              Court Reporter: Court Smart. (twdb) (Entered: 01/25/2022)
           01/25/2022     389 TRANSCRIPT for proceedings held on 1/24/22. Court Reporter/Electronic Court Recorder:
                              EXCEPTIONAL REPORTING SERVICES, INC, phone number (361) 949-2988. Transcript may be
                              viewed at the court public terminal or purchased through the Court Reporter/Electronic Court Recorder
                              before the deadline for Release of Transcript Restriction. After that date it may be obtained through
                              PACER. Notice of Intent to Redact due within 7 days of this date. Redaction Request due 2/15/2022.
                              Redacted Transcript Deadline set for 2/25/2022. Release of Transcript Restriction set for 4/25/2022. (apr)
                              (Entered: 01/25/2022)
           01/25/2022     390 NOTICE OF FILING TRANSCRIPT filed for proceedings 1/24/22 re Transcript 389 THERE IS NO PDF
                              DOCUMENT ASSOCIATED WITH THIS ENTRY. (apr) TEXT ONLY ENTRY (Entered: 01/25/2022)
           01/27/2022     391 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE: MEDIATION SESSEION.
                              The Court ORDERS the parties to a mandatory mediation session before Judge Andr Birotte Jr. on
                              Tuesday, February 15, 2022 at 1:30 pm in the Los Angeles First Street United States Courthouse, or
                              another location, depending on the COVID-19 situation. ( Mediation set for 2/15/2022 at 01:30 PM before
                              Judge Andre Birotte Jr.) SEE DOCUMENT FOR FURTHER INORMATION. (twdb) (Entered:
                              01/27/2022)
           01/31/2022     392 STATUS REPORT Pursuant to Memorandum of Understanding Between County of Los Angeles and City
                              of Los Angeles [Dkt. 185-1] filed by Defendant County of Los Angeles. (Attachments: # 1 Exhibit A -
                              Mainstream Services Quarterly Report)(Hashmall, Jennifer) (Entered: 01/31/2022)
           02/14/2022     393 SCHEDULING NOTICE by Judge David O. Carter The MANDATORY SETTLEMENT CONFERENCE
                              391 scheduled for 2/15/2022 at 1:30 PM will be held at Los Angeles First Street United States
                              Courthouse, Courtroom 5B. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY.
                              (kdu) TEXT ONLY ENTRY (Entered: 02/14/2022)
           02/15/2022     394 MINUTES OF ORDER RE: SETLLEMENT CONFERENCE held before Judge David O. Carter: Outside
                              the presence of the court reporter, the parties met with Judge Andr Birotte and Special Master Michele
                              Martinez for ongoing settlement discussion. The parties are ordered to return Wednesday, February 16,
                              2022 at 2pm. Court Reporter: Not Present. (twdb) (Entered: 02/17/2022)
           02/17/2022     395 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE: SETTLEMENT
                              CONFERENCE. In light of ongoing settlement discussions, the Court sets a Settlement Conference on
                              Tuesday, February 22, 2022 at 2:00 pm in Courtroom 5B at the First Street U.S. Courthouse, 350 W 1st
                              Street, Los Angeles, CA 90012. SEE DOCUMENT FOR FURTHER INFORMATION. (twdb) (Entered:
                              02/17/2022)
           02/22/2022     396 MINUTES OF Settlement Conference held before Judge David O. Carter: Conference will be continued at
                              a later date to be scheduled by the Court. Court Reporter: Not Reported. (twdb) (Entered: 02/24/2022)
           02/24/2022     397 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE: SETTLEMENT
                              CONFERENCE. SEE DOCUMENT FOR FURTHER INFORMATION. ( Settlement Conference set for
                              3/1/2022 at 02:00 PM before Judge David O. Carter.) (twdb) (Entered: 02/24/2022)




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           02/28/2022     398 STIPULATION to Continue Status Conference and Related Dates filed by Defendants City of Los
                              Angeles, County of Los Angeles. (Attachments: # 1 Proposed Order)(Hashmall, Jennifer) (Entered:
                              02/28/2022)
           03/02/2022     399 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE: Defendants' Stipulation to
                              Continue Status Conference 398 . By Monday, March 21, 2022, the City and County shall submit a Joint
                              Status Report detailing progress made toward completing the audits. SEE DOCUMENT FOR FURTHER
                              INFORMATION. ( Status Conference continued to 5/20/2022 at 09:00 AM before Judge David O.
                              Carter.) (twdb) (Entered: 03/02/2022)
           03/21/2022     400 STATUS REPORT Defendants County of Los Angeles and City of Los Angeles' Status Report Regarding
                              Audit Progress filed by Defendant County of Los Angeles. (Hashmall, Jennifer) (Entered: 03/21/2022)
           03/23/2022     401 MINUTE ORDER IN CHAMBERS by Judge David O. Carter. ORDER RE: SETTLEMENT
                              CONFERENCE. SEE DOCUMENT FOR FURTHER INFORMATION. (Settlement Conference set for
                              3/29/2022 at 1:00 PM before Judge David O. Carter.) (dgo) (Entered: 03/23/2022)
           03/23/2022     402 AMENDED MINUTE ORDER IN CHAMBERS by Judge David O. Carter. ORDER RE: SETTLEMENT
                              CONFERENCE. SEE DOCUMENT FOR FURTHER INFORMATION. (Settlement Conference set for
                              3/29/2022 at 1:00 PM before Judge David O. Carter.) (dgo) (Entered: 03/23/2022)
           03/25/2022     403 NOTICE Notice of Withdrawal of Consent to Ex Parte Communications filed by Defendant County of
                              Los Angeles. (Miller, Louis) (Entered: 03/25/2022)
           03/28/2022     404 NOTICE OF NON-OPPOSITION Notice (Other) 403 filed by Intervenor Parties Los Angeles Catholic
                              Worker, Los Angeles Community Action Network, Orange County Catholic Worker. [and Notice of
                              Joinder] (Myers, Shayla) (Entered: 03/28/2022)
           03/28/2022     405 RESPONSE filed by Plaintiffs Joseph Burk, George Frem, Wenzial Jarrell, LA Alliance for Human
                              Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary
                              Whitterto Notice (Other) 403 Plaintiff's Response to Defendant County of Los Angeles' Notice of
                              Withdrawal of Consent to Ex Parte Communications (Mitchell, Elizabeth) (Entered: 03/28/2022)
           03/29/2022     406 Text Only Order by Judge David O. Carter: The Court is in receipt of Defendant County of Los Angeles'
                              Notice of Withdrawal of Consent to Ex Parte Communications (Dkt. 403), joined by Intervenors (Dkt.
                              404), and acknowledges the suspension of ex parte communications in this matter. The Court declines the
                              County's request for reassignment. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
                              ENTRY. (dgo) TEXT ONLY ENTRY (Entered: 03/29/2022)
           03/30/2022     407 MINUTES OF Settlement Conference held before Judge David O. Carter: Hearing not held. Settlement
                              Conference held off the record. Courtroom Deputy: Teresa Jackson-Terrell. (dgo) (Entered: 03/30/2022)
           04/01/2022     408 NOTICE of Settlement Notice of Preliminary Settlement Agreement and Stipulation to Stay Litigation as
                              to Defendant City of Los Angeles Only filed by Plaintiffs Joseph Burk, George Frem, Wenzial Jarrell, LA
                              Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van
                              Scoy, Gary Whitter. (Attachments: # 1 LA Alliance-City Term Sheet)(Mitchell, Elizabeth) (Entered:
                              04/01/2022)
           04/04/2022     409 TRANSCRIPT for proceedings held on 12/16/21. Court Reporter/Electronic Court Recorder:
                              EXCEPTIONAL REPORTING SERVICES, phone number (361) 949-2988. Transcript may be viewed at
                              the court public terminal or purchased through the Court Reporter/Electronic Court Recorder before the
                              deadline for Release of Transcript Restriction. After that date it may be obtained through PACER. Notice
                              of Intent to Redact due within 7 days of this date. Redaction Request due 4/25/2022. Redacted Transcript
                              Deadline set for 5/5/2022. Release of Transcript Restriction set for 7/5/2022. (ha) (Entered: 04/04/2022)
           04/04/2022     410 NOTICE OF FILING TRANSCRIPT filed for proceedings 12/16/21 re Transcript 409 THERE IS NO
                              PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ha) TEXT ONLY ENTRY (Entered:
                              04/04/2022)
           04/04/2022     411 JOINT REPORT of Audits And Procedures To Document New Beds filed by Defendants City of Los
                              Angeles, County of Los Angeles. (Attachments: # 1 Exhibit A - Joint Report)(Hashmall, Jennifer)
                              (Entered: 04/04/2022)




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           04/07/2022     412 NOTICE of Intent to Seek Leave to File Second Amended Complaint filed by Plaintiffs Joseph Burk,
                              George Frem, Wenzial Jarrell, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro
                              Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. (Mitchell, Elizabeth) (Entered: 04/07/2022)
           04/19/2022     413 NOTICE of Filing Joint Supplemental Audit Report filed by Defendants City of Los Angeles, County of
                              Los Angeles. (Attachments: # 1 Exhibit A - Supplemental Report)(Hashmall, Jennifer) (Entered:
                              04/19/2022)
           04/22/2022     414 QUARTERLY STATUS REPORT of CITY OF LOS ANGELES PURSUANT TO MOU [DKT. 185-1]
                              filed by Defendant City of Los Angeles. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                              C)(Hoang, Arlene) (Entered: 04/22/2022)
           04/29/2022     415 STATUS REPORT Joint Status Report re Notice of Preliminary Settlement and Stipulation to Stay
                              Litigation as to Defendant City of Los Angeles Only [ECF No. 408] filed by Plaintiffs Joseph Burk,
                              George Frem, Wenzial Jarrell, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro
                              Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. (Mitchell, Elizabeth) (Entered: 04/29/2022)
           05/02/2022     416 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE: SETTLEMENT AND/OR
                              SCHEDULING CONFERENCE. SEE DOCUMENT FOR FURTHER INFORMATION. ( Scheduling
                              Conference set for 5/20/2022 at 09:00 AM before Judge David O. Carter.) (twdb) (Entered: 05/02/2022)
           05/05/2022     417 STATUS REPORT (Quarterly Status Report Pursuant to Memorandum of Understanding Between County
                              of Los Angeles and City of Los Angeles [Dkt. 185-1]) filed by Defendant County of Los Angeles.
                              (Attachments: # 1 Exhibit A - Report)(Hashmall, Jennifer) (Entered: 05/05/2022)
           05/10/2022     418 RESPONSE filed by Defendant County of Los Angelesto Minutes of In Chambers Order/Directive - no
                              proceeding held, Set/Reset Hearing 416 (Defendant County of Los Angeles' Response to Court Order re
                              Scheduling Conference and Request for Rule 16 Conference) (Attachments: # 1 Exhibit 1 -
                              Correspondence)(Hashmall, Jennifer) (Entered: 05/10/2022)
           05/17/2022     419 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE: HEARING LOCATION 399
                              , 416 . (twdb) (Entered: 05/17/2022)
           05/18/2022     420 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE: SETTLEMENT AND/OR
                              SCHEDULING CONFERENCE. SEE DOCUMENT FOR FURTHER INFORMATION. (twdb) (Entered:
                              05/18/2022)
           05/19/2022     421 NOTICE OF LODGING filed of [Proposed] Stipulated Order of Dismissal as to Defendant City of Los
                              Angeles Only [Fed.R.Civ.P. 41(a)(2)] re Minutes of In Chambers Order/Directive - no proceeding held,
                              Set/Reset Hearing 416 (Attachments: # 1 [Proposed] Stipulated Order of Dismissal as to Defendant City
                              of Los Angeles Only [Fed.R.Civ.P. 41(a)(2)] and Exhibit 1 - Settlement Agreement)(Mitchell, Elizabeth)
                              (Entered: 05/19/2022)
           05/20/2022     422 TRANSCRIPT ORDER as to Defendant County of Los Angeles for Court Smart (CS). (Brody, Lauren)
                              (Entered: 05/20/2022)
           05/20/2022     423 MINUTES OF Settlement Conference held before Judge David O. Carter: The Court sets the following
                              dates regarding the settlement agreement: The Court invites any party and the public to submit comments
                              or objections by May 31, 2022. Responses are due June 3, 2022. Hearing regarding settlement agreement
                              is set for June 9, 2022 at 9:00 AM. Status Conference set for 6/9/2022 at 09:00 AM before Judge David O.
                              Carter. Court Reporter: Court Smart. (twdb) (Entered: 05/23/2022)
           05/23/2022     424 TRANSCRIPT for proceedings held on 5/20/2022, 9:41 a.m. Court Reporter/Electronic Court Recorder:
                              ECHO REPORTING, INC., phone number (858)453-7590. Transcript may be viewed at the court public
                              terminal or purchased through the Court Reporter/Electronic Court Recorder before the deadline for
                              Release of Transcript Restriction. After that date it may be obtained through PACER. Notice of Intent to
                              Redact due within 7 days of this date. Redaction Request due 6/13/2022. Redacted Transcript Deadline set
                              for 6/23/2022. Release of Transcript Restriction set for 8/22/2022. (ls) (Entered: 05/23/2022)
           05/23/2022     425 NOTICE OF FILING TRANSCRIPT filed for proceedings 5/20/2022, 9:41 a.m re Transcript 424 THERE
                              IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ls) TEXT ONLY ENTRY (Entered:
                              05/23/2022)
           05/24/2022     426 NOTICE OF LODGING filed of Fully Executed [Proposed] Stipulated Order of Dismissal as to
                              Defendant City of Los Angeles Only [Fed.R.Civ.P. 41(a)(2)] re Minutes of In Chambers Order/Directive -
                              no proceeding held, Set/Reset Hearing 416 (Attachments: # 1 Fully Executed [Proposed] Stipulated Order


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                                of Dismissal as to Defendant City of Los Angeles Only [Fed.R.Civ.P. 41(a)(2)] and Exhibit 1 - Settlement
                                Agreement)(Mitchell, Elizabeth) (Entered: 05/24/2022)
           05/24/2022     427 NOTICE of Appearance filed by attorney Jonathan Michael Eisenberg on behalf of Movant AIDS
                              Healthcare Foundation (Attorney Jonathan Michael Eisenberg added to party AIDS Healthcare
                              Foundation(pty:bkmov))(Eisenberg, Jonathan) (Entered: 05/24/2022)
           05/24/2022     428 STATEMENT Opposition to Proposed Partial Settlement filed by Movant AIDS Healthcare Foundation
                              re: Notice of Settlement, 408 , Notice of Lodging, 421 , Settlement Conference,, Set/Reset Hearing, 423 .
                              (Eisenberg, Jonathan) (Entered: 05/24/2022)
           05/24/2022     429 NOTICE OF LODGING filed of Amended Fully Executed [Proposed] Stipulated Order of Dismissal as to
                              Defendant City of Los Angeles Only [Fed.R.Civ.P. 41(a)(2)] re Minutes of In Chambers Order/Directive -
                              no proceeding held, Set/Reset Hearing 416 (Attachments: # 1 Amended Fully Executed [Proposed]
                              Stipulated Order of Dismissal as to Defendant City of Los Angeles Only [Fed.R.Civ.P. 41(a)(2)] and
                              Exhibit 1 - Settlement Agreement)(Mitchell, Elizabeth) (Entered: 05/24/2022)
           05/26/2022     430 PROOF OF SERVICE filed by Non-Party AIDS Healthcare Foundation, re Statement 428 , Notice of
                              Appearance 427 served on May 24, 2022. (Eisenberg, Jonathan) (Entered: 05/26/2022)
           05/27/2022     431 NOTICE of Unavailability of Plaintiffs' Counsel filed by Plaintiffs Joseph Burk, George Frem, Wenzial
                              Jarrell, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian,
                              Charles Van Scoy, Gary Whitter. (Mitchell, Elizabeth) (Entered: 05/27/2022)
           05/31/2022     432 RESPONSE filed by Defendant County of Los Angelesto Notice of Settlement, 408 , Notice of Lodging,
                              421 , Settlement Conference,, Set/Reset Hearing, 423 (Miller, Louis) (Entered: 05/31/2022)
           05/31/2022     433 APPENDIX filed by Defendant County of Los Angeles. Re: Response 432 To Settlement Between
                              Plaintiffs And City Of Los Angeles (Attachments: # 1 Exhibit 01 - Homeless Initiative Approved
                              Strategies, # 2 Exhibit 02 - Homeless Initiative Quarterly Report, # 3 Exhibit 03 - Consolidated Municipal
                              and Special Elections, # 4 Exhibit 04 - Measure H Strategy Implementation Plans, # 5 Exhibit 05 - Report
                              of Available Resources, # 6 Exhibit 06 - Homeless Initiative Quarterly Report, # 7 Exhibit 07 - Disrupting
                              the Cycle of Chronic Homelessness, # 8 Exhibit 08 - Letter from DHS to Board, # 9 Exhibit 09 - July 27,
                              2021 Statement of Proceedings, # 10 Exhibit 10 - August 10, 2021 Statement of Proceedings, # 11 Exhibit
                              11 - Homeless Initiative Quarterly Report, # 12 Exhibit 12 - August 31, 2021 Statement of Proceedings, #
                              13 Exhibit 13 - September 15, 2021 Statement of Proceedings, # 14 Exhibit 14 - November 2, 2021
                              Statement of Proceedings, # 15 Exhibit 15 - Blue Ribbon Commission on Homelessness Governance
                              Report, # 16 Exhibit 16 - County of Los Angeles Recommended Budget Volume 1, # 17 Exhibit 17 -
                              County of Los Angeles Recommended Budget Volume 2, # 18 Exhibit 18 - Motion re Recommendations
                              on Implementations of Blue Ribbon Commission, # 19 Exhibit 19 - Homeless Initiative Funding Letter)
                              (Miller, Louis) (Entered: 05/31/2022)
           05/31/2022     434 OBJECTIONS to Notice of Lodging, 426 , Notice of Lodging, 429 , Notice of Settlement, 408 , Notice of
                              Lodging, 421 filed by Intervenor Parties Cangress, Los Angeles Catholic Worker, Los Angeles
                              Community Action Network, Orange County Catholic Worker. (Attachments: # 1 Declaration of Shayla
                              Myers)(Myers, Shayla) (Entered: 05/31/2022)
           05/31/2022     435 REQUEST FOR JUDICIAL NOTICE filed by Intervenor Parties Cangress, Los Angeles Catholic Worker,
                              Los Angeles Community Action Network, Orange County Catholic Worker. (Attachments: # 1 Exhibit 1,
                              # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9
                              Proposed Order)(Myers, Shayla) (Entered: 06/01/2022)
           06/01/2022     436 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE: HEARING ON
                              SETTLEMENT AGREEMENT 421 , 423 . The Court previously scheduled a hearing on the Settlement
                              Agreement (Dkt. 421) on Thursday, June 9, 2022, at 9:00 am. The hearing will take place in Courtroom
                              5B at the First Street U.S. Courthouse, 350 W. 1st Street, Los Angeles, CA 90012. The Clerk shall serve
                              this minute order on the parties. (twdb) (Entered: 06/01/2022)
           06/03/2022     437 REPLY filed by Plaintiffs Joseph Burk, George Frem, Wenzial Jarrell, LA Alliance for Human Rights,
                              Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter to
                              Notice of Lodging, 429 Plaintiff LA Alliance for Human Rights, et al.'s Reply in Support of City-Plaintiff
                              Settlement Agreement [ECF No. 429-1] (Mitchell, Elizabeth) (Entered: 06/03/2022)
           06/03/2022     438 REPLY filed by Defendant City of Los Angeles to Statement 428 , Objection, 434 , Notice of Lodging,
                              429 , Response 432 To Its Settlement With Plaintiffs (Marcus, Scott) (Entered: 06/03/2022)



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           06/08/2022     439 ORDER RE: SETTLEMENT HEARING 423 by Judge David O. Carter. The Court previously set a
                              hearing on the Settlement Agreement between Defendant City of Los Angeles and Plaintiffs LA Alliance
                              for Human Rights for June 9, 2022, at 9:00 am in Courtroom 5B at the First Street U.S. Courthouse, 350
                              W 1st Street, Los Angeles, CA 90012. The Court requests the presence of Los Angeles Mayor Eric
                              Garcetti, Los Angeles City Council President Nury Martinez, and other city officials who wish to attend.
                              (rolm) (Entered: 06/08/2022)
           06/09/2022     440 TRANSCRIPT ORDER as to Defendant County of Los Angeles for Court Smart (CS). (Brody, Lauren)
                              (Entered: 06/09/2022)
           06/10/2022     443 MINUTES OF Settlement Conference held before Judge David O. Carter: Also present on behalf of
                              intervenor, Carol Sobel and Shayla Meyers. The Court tentatively approves the settlement agreement,
                              written order to issue. Court Reporter: Court Smart. (twdb) (Entered: 06/13/2022)
           06/13/2022     441 TRANSCRIPT for proceedings held on 6/09/2022, 9:20 a.m. Court Reporter/Electronic Court Recorder:
                              ECHO REPORTING, INC., phone number (858)453-7590. Transcript may be viewed at the court public
                              terminal or purchased through the Court Reporter/Electronic Court Recorder before the deadline for
                              Release of Transcript Restriction. After that date it may be obtained through PACER. Notice of Intent to
                              Redact due within 7 days of this date. Redaction Request due 7/5/2022. Redacted Transcript Deadline set
                              for 7/14/2022. Release of Transcript Restriction set for 9/12/2022. (ls) (Entered: 06/13/2022)
           06/13/2022     442 NOTICE OF FILING TRANSCRIPT filed for proceedings 6/09/2022, 9:20 a.m. re Transcript 441
                              THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ls) TEXT ONLY ENTRY
                              (Entered: 06/13/2022)
           06/13/2022     444 EMERGENCY MOTION for Order UNDER CIRCUIT RULE 27-3 AND SUPREMACY CLAUSE
                              ARTICLE VI PARAGRAPH TWO OF THE UNITED STATES CONSTITUTION FOR ORDERS TO
                              ALLOW LEAVE OF COURT AND GRANTING OF ADRIAN D. MOON TO BE ALLOWED AS AN
                              ADDITIONAL PLAINTIFF-DEFENDANT INTERVENOR ET. SEQ. SEE, READ, AND CONSIDER
                              ATTACHED MOTIONS 1 THROUGH 9 INCORPORATED BY THIS REFERENCE ET. SEQ. filed by
                              Defendant Intervenor Adrian D Moon. (Attachments: # 1 Proposed Order) (twdb) (Entered: 06/14/2022)
           06/14/2022     445 ORDER APPROVING STIPULATED DISMISSAL AND PROPOSED SETTLEMENT 421 by Judge
                              David O. Carter, re Notice of Lodging, 421 . SEE DOCUMENT FOR FURTHER INFORMATION.
                              (twdb) (Entered: 06/14/2022)
           06/15/2022     446 SUPPLEMENTAL EVIDENCE in support of EMERGENCY MOTION FOR ADDITIONAL ORDER
                              TO THE LOS ANGELES COUNTY PROBATION DEPARTMENT TO PROVIDE THE COMPLETE
                              PROBATION (AB109) CASE FILE OF ADRIAN D. MOON PURSUANT TC THE SUBPOEANA
                              ISSUED ON APRIL 26, 2022 SEE READ AND CONSIDER ATTACHED MOTIONS 1 THROUGH 13
                              INCORPORATED BY THIS REFERENCE (Proposed) ORDER THEREON 444 filed by Intervenor
                              Defendant Adrian D Moon. (twdb) (Additional attachment(s) added on 6/16/2022: # 1 Proposed Order)
                              (twdb). (Entered: 06/16/2022)
           06/17/2022     447 PROOF OF SERVICE by mail filed by defendant Adrian D Moon, re Motion Related Document, 446
                              served on 6/17/22. (twdb) (Entered: 06/17/2022)
           06/17/2022     448 SUPPLEMENTAL EVIDENCE IN SUPPORT OF EMERGENCY MOTION FOR ORDERS FOR
                              LEAVE OF COURT TO INTERVENE AS A ADDITIONAL PLAINTIFF DEFENDANT
                              INTERVENOR, SEE READ AND CONSIDER ATTACHED MOTION 10 (20) PAGES AND MOTION
                              11 (125) PAGES INCORPORATED BY THIS REFERENCE re Emergency Motion 444 filed by
                              Intervenor Defendant Adrian D Moon. (twdb) (Entered: 06/17/2022)
           06/23/2022     449 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE: AMENDED COMPLAINT.
                              Accordingly, if Plaintiffs intend to file an amended complaint, that filing is due by Friday, July 15, 2022.
                              The Clerk shall serve this minute order on the parties. (twdb) (Entered: 06/23/2022)
           07/11/2022     450 EX PARTE APPLICATION to Withdraw as Counsel for Plaintiff Gary Whitter filed by Plaintiffs Joseph
                              Burk, George Frem, Wenzial Jarrell, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky,
                              Leandro Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter. (Attachments: # 1 Declaration of
                              Elizabeth A. Mitchell, # 2 Declaration of Paul Bonin, # 3 Proposed Order) (Mitchell, Elizabeth) (Entered:
                              07/11/2022)




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           07/13/2022     451 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Intervenors Cangress, Los Angeles
                              Catholic Worker, Los Angeles Community Action Network, Orange County Catholic Worker. Appeal of
                              Order, Add and Terminate Parties 445 . (Appeal Fee - $505 Fee Paid, Receipt No. ACACDC-33627779.)
                              (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Sweetser, Catherine) (Entered: 07/13/2022)
           07/14/2022     452 Stipulation for Plaintiffs Leandro Suarez and Charles Van Scoy to Dismiss All Claims Against Defendant
                              County Without Prejudice [Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii)] filed by Plaintiffs Joseph Burk,
                              George Frem, Wenzial Jarrell, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro
                              Suarez, Harry Tashdjian, Charles Van Scoy, Gary Whitter (Mitchell, Elizabeth) (Entered: 07/14/2022)
           07/15/2022     453 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: Miscellaneous
                              Document 452 . The following error(s) was/were found: Incorrect event selected. Correct event to be used
                              is: Stipulation (to dismiss party or dismiss cause). Proposed Document was not submitted as separate
                              attachment. In response to this notice, the Court may: (1) order an amended or correct document to be
                              filed; (2) order the document stricken; or (3) take other action as the Court deems appropriate. You need
                              not take any action in response to this notice unless and until the Court directs you to do so. (twdb)
                              (Entered: 07/15/2022)
           07/15/2022     454 Second Amended and Supplemental AMENDED COMPLAINT against Defendants County of Los
                              Angeles amending Amended Complaint/Petition, 361 , filed by Plaintiffs George Frem, Joseph Burk, LA
                              Alliance for Human Rights, Wenzial Jarrell, Harry Tashdjian, Karyn Pinsky, Charles Malow(Mitchell,
                              Elizabeth) (Entered: 07/15/2022)
           07/15/2022     455 STATEMENT of Clarification Regarding Gary Whitter filed by Plaintiffs Joseph Burk, George Frem,
                              Wenzial Jarrell, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Harry Tashdjian, Gary
                              Whitter re: Amended Complaint/Petition, 454 . (Mitchell, Elizabeth) (Entered: 07/15/2022)
           07/18/2022     456 STIPULATION Extending Time to Answer the complaint as to County of Los Angeles answer now due
                              8/29/2022, re Amended Complaint/Petition, 454 filed by defendant County of Los Angeles. (Attachments:
                              # 1 Proposed Order [Proposed] Order Granting Joint Stipulation to Extend Time for Defendant County of
                              Los Angeles to Respond to Plaintiffs' Second Amended Complaint)(Hashmall, Jennifer) (Entered:
                              07/18/2022)
           07/18/2022     457 NOTIFICATION from Ninth Circuit Court of Appeals of case number assigned and briefing schedule.
                              Appeal Docket No. 22-55687 assigned to Notice of Appeal to 9th Circuit Court of Appeals, 451 as to
                              Intervenors Cangress, Los Angeles Catholic Worker, Los Angeles Community Action Network, Orange
                              County Catholic Worker. (car) (Entered: 07/19/2022)
           07/21/2022     459 ORDER by Judge David O. Carter, Granting Joint Stipulation Extending Time to Answer for Defendant
                              County of Los Angeles to Respond to Plaintiffs' Second Amended Complaint (30 days or less), 456 . The
                              last day for the County to answer or otherwise respond to Plaintiffs Second Amended and Supplemental
                              Complaint shall be August 29, 2022. (twdb) (Entered: 07/22/2022)
           07/22/2022     458 ORDER by Judge David O. Carter: Granting 450 EX PARTE APPLICATION to Withdraw as Counsel for
                              Plaintiff Gary Whitter 450 ; Declarations of Elizabeth Mitchell and Paul Bonin. (twdb) (Entered:
                              07/22/2022)
           07/22/2022     460 QUARTERLY STATUS REPORT of CITY OF LOS ANGELES PURSUANT TO MOU [DKT. 185-1]
                              filed by Defendant City of Los Angeles. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                              Exhibit D, # 5 Exhibit E)(Hoang, Arlene) (Entered: 07/22/2022)
           08/02/2022     461 REQUEST to the Honorable David O. Carter for Notice and Ruling Granting Pending Motions to Allow
                              Adrian D. Moon in this Instant Case as a Plaintiff-Defendant Intervenor and Order to Los Angeles County
                              Probation Department to Provide the Complete (AB109) Probation Case File of Adrian D. Moon Pursuant
                              to the Subpoena Issued in Case: Moon vs. Satan the Devil et. al. Case no. BA332095, Local Rule 7.19 ET.
                              SEQ. filed by plaintiff Adrian D Moon. (twdb) (Entered: 08/03/2022)
           08/02/2022     462 PROOF OF SERVICE - Acknowledgment of Service filed by intervenor defendant Adrian D Moon, re
                              REQUEST 461 served on 8/2/22. (twdb) (Entered: 08/03/2022)
           08/05/2022     463 STATUS REPORT (Annual) re Payment Pursuant to Memorandum of Understanding Between County of
                              Los Angeles and City of Los Angeles [Dkt. 185-1] filed by Defendant County of Los Angeles. (Hashmall,
                              Jennifer) (Entered: 08/05/2022)




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           08/05/2022     464 STATUS REPORT (Quarterly) re Mainstream Services Pursuant to Memorandum of Understanding
                              Between County of Los Angeles and City of Los Angeles [Dkt. 185-1] filed by Defendant County of Los
                              Angeles. (Attachments: # 1 Ex A - Mainstream Services Quarterly Report)(Hashmall, Jennifer) (Entered:
                              08/05/2022)
           08/23/2022     465 Second STIPULATION for Extension of Time to File Answer to September 28, 2022 filed by Defendant
                              County of Los Angeles. (Attachments: # 1 Proposed Order)(Hashmall, Jennifer) (Entered: 08/23/2022)
           08/30/2022     466 ORDER GRANTING JOINT STIPULATION TO EXTEND TIME FOR DEFENDANT COUNTY OF
                              LOS ANGELES TO RESPOND TO PLAINTIFFS'SECOND AMENDED COMPLAINT 465 by Judge
                              David O. Carter. The Court hereby grants a second extension of time for the County to file its response to
                              Plaintiffs' Second Amended Complaint as follows: 1. The last day for the County to answer or otherwise
                              respond to Plaintiffs' Second Amended and Supplemental Complaint shall be September 28, 2022. 2. The
                              Court will set a Scheduling Conference once the County files its responsive pleading. (lom) (Entered:
                              08/30/2022)
           09/16/2022     467 Notice of Settlement and Stipulation to Stay Litigation filed by Plaintiffs and Defendant County of Los
                              Angeles. (Miller, Louis) (Entered: 09/16/2022)
           09/21/2022     470 REQUEST for Order for TO BE SERVED AND NOTICED OF ANSWER BY COUNTY OF LOS
                              ANGELES; (PROPOSED) ORDER THEREON filed by Intervenor defendant Adrian D Moon. (lom)
                              (Entered: 09/25/2022)
           09/22/2022     468 MINUTE ORDER (IN CHAMBERS): ORDER DENYING STIPULATION TO STAY 467 by Judge
                              David O. Carter. Accordingly, the parties' Stipulation is DENIED. Defendant's deadline to respond to
                              Plaintiff's second amended complaint remains on September 29, 2022. The parties may renew their
                              request for a stay upon submitting additional briefing or documents to the Court demonstrating that their
                              requested stay is both warranted and limited to resolving the disputed terms. (lom) (Entered: 09/22/2022)
           09/23/2022     469 EMERGENCY MOTION FOR RECUSAL OF THE HONORABLE DAVID O. CARTER, JUDGE
                              PURSUANT TO 28 U.S.C. SECTIONS 441; 455 (a); (b)(1); (b)(5)(i-iv) ; 18 U.S.C. SECTIONS 241
                              THROUGH 250; RULE 7.19 ET. SEQ. filed by Intervenor Adrian D Moon. (lom) (Entered: 09/23/2022)
           09/26/2022     471 STIPULATION to Stay Case pending Settlement filed by defendant County of Los Angeles.
                              (Attachments: # 1 Exhibit Exhibit A - Term Sheet Between Plaintiffs and County of Los Angeles)(Miller,
                              Louis) (Entered: 09/26/2022)
           09/26/2022     472 ORDER DENYING MOTION FOR RECUSAL 469 by Judge David O. Carter. Before the Court is
                              Intervenor-Defendant Adrian D. Moons Motion for Recusal. (Dkt. 469). The Court DENIES the Motion.
                              The Clerk shall serve this minute order on the parties. (rolm) (Entered: 09/26/2022)
           09/27/2022     473 ORDER GRANTING STAY AND SETTING DATES RESETTLEMENT AGREEMENT 471 by Judge
                              David O. Carter. The Court further GRANTS the request to stay proceedings through November 15, 2022,
                              and SETS the following dates regarding the settlement agreement: The Court invites any party and the
                              public to submit comments or objections to the settlement agreement by October 27, 2022. Responses are
                              due November 2, 2022. Hearing regarding the settlement agreement is set for November 14, 2022, at 9:00
                              AM. (rolm) (Entered: 09/27/2022)
           09/29/2022     474 EMERGENCY MOTION FOR RECONSIDERATION OF RECUSAL MOTION, STAY PRIOR TO
                              DEFENDANT COUNTY OF LOS ANGELES FILING OF ANSWER DUE ON SEPTEMBER 28, 2022
                              AND GRANTING 'daredeemer's MOTION TO INTERVENE AS PLAINTIFF-DEFENDANT AND
                              ORDER TO LOS ANGELES COUNTY PROBATION DEPARTMENT FOR PRODUCTION OF
                              ADRIAN D. MOON'S (AB109) CASE FILE ET. SEQ. SEE, READ AND CONSIDER ATTACHED
                              MOTIONS 1 THROUGH 14 INCORPORATED BY THIS REFERENCE (Proposed) ORDER
                              THEREON 472 filed by Intervenor Adrian D Moon. (lom) (Entered: 09/29/2022)
           09/29/2022     475 NOTICE TO FILER OF DEFICIENCIES in Filed Document RE: NOTICE OF MOTION AND MOTION
                              for Reconsideration re Order on Motion for Recusal 474 . The following error(s) was/were found:
                              Proposed document was not submitted or was not submitted as a separate attachment. In response to this
                              notice, the Court may: (1) order an amended or correct document to be filed; (2) order the document
                              stricken; or (3) take other action as the Court deems appropriate. You need not take any action in response
                              to this notice unless and until the Court directs you to do so. (lom) Modified on 9/29/2022 (lom). (Entered:
                              09/29/2022)




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           09/29/2022     476 MINUTES (IN CHAMBERS): ORDER DENYING REQUESTS TO INTERVENE 444 446 448 461
                              AND MOTION TO RECONSIDER 469 , AND ORDERING PRE-FILING RESTRICTIONS by Judge
                              David O. Carter. The Court concludes that Mr. Moon has not met the standards for either intervention as
                              of right or permissive intervention under Federal Rule of Civil Procedure 24. The Court thus DENIES Mr.
                              Moon's requests to intervene. Accordingly, all other motions filed by Mr. Moon, including the Motion for
                              Reconsideration, are DENIED as moot. Additionally, for reasons set forth below, the Court ORDERS pre-
                              filing review of any filing action Mr. Moon attempts to take in this action. Accordingly, for any future
                              filings in this action, Adrian D. Moon shall first obtain leave of the Court and: a. shall not exceed three
                              pages, b. shall attach the proposed filing, c. shall explain why the proposed filing is not frivolous, d. shall
                              explain why the proposed filing is not an attack on any previous order entered in this case, and e. shall
                              certify, by affidavit and under the penalty of perjury, that the proposed filing raises a new issue that has
                              not already been rejected by the Court. Failure to comply with any of the above requirements will result in
                              the striking of that filing without further notice. Mr. Moon is forewarned that if he abuses these restricted
                              filing privileges, the Court will take further injunctive action. See minute order for details. (lom) (Entered:
                              09/30/2022)
           09/30/2022     477 NOTICE OF APPEAL to the 9th CCA filed by Intervenor Adrian D Moon. Appeal of Order on Motion
                              for Order, Order on Motion for Reconsideration, 476 , Order on Motion for Recusal 472 , Staying Case,
                              473 Filed On: 9/26/22, 9/27/22, 9/29/22; Entered On: 9/26/22, 9/27/22, 9/29/22, 9/30/22; Motion and
                              Affidavit for Leave to Appeal In Forma Pauperis is pending. (mat) (Entered: 10/03/2022)
           09/30/2022     478 Request to Proceed In Forma Pauperis with Declaration in Support re: Notice of Appeal to 9th Circuit
                              Court of Appeals, 477 filed by Intervenor Adrian D Moon. [Notice of the filing is sent to the 9th Circuit
                              Court of Appeals.] (mat) (Entered: 10/03/2022)
           10/05/2022     479 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER SCHEDULING STATUS
                              CONFERENCE. All interested parties are also invited to appear. The Status Conference will take place at
                              the Ronald Reagan Federal Building and U.S. Courthouse, 411 W. 4th St, Santa Ana, in Courtroom 10A.
                              The Clerk shall serve this minute order on the parties. ( Status Conference set for 10/7/2022 at 10:00 AM
                              before Judge David O. Carte r.) (twdb) (Entered: 10/05/2022)
           10/07/2022     480 NOTIFICATION from Ninth Circuit Court of Appeals of case number assigned and briefing schedule.
                              Appeal Docket No. 22-55933 assigned to Notice of Appeal to 9th Circuit Court of Appeals, 477 as to
                              Movant Adrian D Moon. (mat) (Entered: 10/07/2022)
           10/07/2022     481 MINUTES OF Scheduling Conference held before Judge David O. Carter. Also present, counsel for
                              intervenor, Brooke Weitzman. The case is called. The Court and counsel confer re settlement progress.
                              Court Reporter: Court Smart. (twdb) (Entered: 10/11/2022)
           10/14/2022     482 QUARTERLY STATUS REPORT of CITY OF LOS ANGELES PURSUANT TO MOU filed by
                              Defendant City of Los Angeles. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D,
                              # 5 Exhibit E)(Mariani, Jessica) (Entered: 10/14/2022)
           10/14/2022     483 STATUS REPORT of CITY OF LOS ANGELES PURSUANT TO SETTLEMENT AGREEMENT filed
                              by Defendant City of Los Angeles. (Mariani, Jessica) (Entered: 10/14/2022)
           10/14/2022     484 Notice to the Honorable David O. Carter, Judge of Civil Subpoena for Personal Appearance at Trial or
                              Hearing filed by Intervenor Defendant Adrian D Moon. (twdb) (Entered: 10/14/2022)
           10/17/2022     485 Joint STIPULATION to Dismiss Defendant County of Los Angeles filed by Plaintiffs George Frem,
                              Joseph Burk, LA Alliance for Human Rights, Wenzial Jarrell, Harry Tashdjian, Leandro Suarez, Karyn
                              Pinsky, Charles Malow. (Attachments: # 1 Exhibit A - Settlement Agreement, # 2 Proposed Order)
                              (Mitchell, Elizabeth) (Entered: 10/17/2022)
           10/17/2022     486 Joint NOTICE OF MOTION AND MOTION for Order to Show Cause re: Dismissal of Gary Whittier's
                              Claims Pursuant to F.R.C.P. 41(b) and L.R. 41-1, 41-5, and 41-6 filed by Defendants City of Los Angeles,
                              County of Los Angeles. Motion set for hearing on 11/14/2022 at 08:30 AM before Judge David O. Carter.
                              (Attachments: # 1 Memorandum of Points and Authorities, # 2 Declaration of Mira Hashmall, # 3
                              Proposed Order) (Hashmall, Jennifer) (Entered: 10/17/2022)
           10/20/2022     487 TRANSCRIPT ORDER re: Court of Appeals case number 22-55687, as to Plaintiffs Cangress, Los
                              Angeles Catholic Worker, Los Angeles Community Action Network for Court Smart (CS). Court will
                              contact Catherine E. Sweetser, Esq. at csweetser@sshhzlaw.com with further instructions regarding this
                              order. Transcript preparation will not begin until payment has been satisfied with the transcription



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                                company. (Sweetser, Catherine) (Entered: 10/20/2022)
           10/27/2022     488 STATEMENT OF NON-OPPOSITION TO PLAINTIFFS AND DEFENDANT COUNTY OF LOS
                              ANGELES SETTLEMENT filed by Intervenor Parties Los Angeles Catholic Worker, Los Angeles
                              Community Action Network, Orange County Catholic Worker re: Stipulation to Dismiss Party, 485 .
                              (Myers, Shayla) (Entered: 10/27/2022)
           10/31/2022     489 STATUS REPORT [Quarterly Status Report re Mainstream Services Pursuant to Memorandum of
                              Understanding Between County of Los Angeles and City of Los Angeles] filed by Defendant County of
                              Los Angeles. (Attachments: # 1 Exhibit A - Report)(Hashmall, Jennifer) (Entered: 10/31/2022)
           11/01/2022     490 NOTICE OF CONTEMPT OF COURT ORDER BY DEFENDANTS COUNTY OF LOS ANGELES-
                              BOARD OF SUPERVISOR TO SIGN STIPULATION AGREEMENT FOR SEVEN BILLION
                              DOLLARS MADE PAYABLE TO ADRIAN DAMICO MOON, 'daredeemer' TO CURE DEFAULT
                              JUDGEMENT IN CASE MOON V. COUNTY OF LOS ANGELES, CASE NO. 22STR003447 ET. AL.
                              filed by Intervenor Adrian D Moon. (lom) (Entered: 11/02/2022)
           11/01/2022     491 PROOF OF SERVICE by mail on 11/1/22 re Notice of Contempt 490 filed by Intervenor Adrian D Moon.
                              (lom) (Entered: 11/02/2022)
           11/02/2022     492 RESPONSE filed by Defendant County of Los Angelesto Staying Case,, 473 [County of Los Angeles's
                              Response in Support of Settlement Agreement] (Hashmall, Jennifer) (Entered: 11/02/2022)
           11/04/2022     493 TRANSCRIPT for proceedings held on 10/7/2022. Court Reporter/Electronic Court Recorder: ECHO
                              REPORTING, INC.., phone number (858) 453-7590. Transcript may be viewed at the court public
                              terminal or purchased through the Court Reporter/Electronic Court Recorder before the deadline for
                              Release of Transcript Restriction. After that date it may be obtained through PACER. Notice of Intent to
                              Redact due within 7 days of this date. Redaction Request due 11/25/2022. Redacted Transcript Deadline
                              set for 12/5/2022. Release of Transcript Restriction set for 2/2/2023. (aa) (Entered: 11/04/2022)
           11/04/2022     494 NOTICE OF FILING TRANSCRIPT filed for proceedings 10/7/2022 re Transcript 493 THERE IS NO
                              PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (aa) TEXT ONLY ENTRY (Entered:
                              11/04/2022)
           11/10/2022     495 MINUTES (IN CHAMBERS) by Judge David O. Carter: The SETTLEMENT CONFERENCE 473
                              currently scheduled for 11/14/2022 will be held at 9:00 A.M. in Courtroom 5B at First Street U.S.
                              Courthouse, 350 W 1st Street, Los Angeles, CA 90012 THERE IS NO PDF DOCUMENT ASSOCIATED
                              WITH THIS ENTRY. (kdu) TEXT ONLY ENTRY (Entered: 11/10/2022)
           11/14/2022     496 EX PARTE Emergency Motion to Damned Fool Recused Defendant David O. Carter Et. Al. to Effectuate
                              a Private Citizens Arrest Pursuant to United States Constitution Supremacy Clause Article VI Paragraph
                              Two; SEE DOCUMENT FOR FURTHER INFORMATION. filed by Intervenor Defendant Adrian D.
                              Moon. (twdb) (Entered: 11/14/2022)
           11/14/2022     497 SUPPLEMENT to Damned Fools Recused Defendants Elwood Lui and Frances Rothschild Et Al. of the
                              Stipulation Settlement Agreement Between the Parties to Pay daredeemer The Lump Sum of Seven (7)
                              Billions Dollars Et Al (proposed) Order There on RE EX PARTE APPLICATION for Order 496 filed by
                              Intervenor Defendant Adrian D. Moon. (twdb) (Entered: 11/14/2022)
           11/14/2022     498 PROOF OF SERVICE filed by Intervenor Defendant Adrian D. Moon, re Supplement(Motion related),
                              497 , EX PARTE APPLICATION 496 served on 11/14/22. (twdb) (Entered: 11/14/2022)
           11/14/2022     499 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Document RE: EX PARTE
                              APPLICATION 496 . The following error(s) was/were found: Proposed document was not submitted or
                              was not submitted as a separate attachment. In response to this notice, the Court may: (1) order an
                              amended or correct document to be filed; (2) order the document stricken; or (3) take other action as the
                              Court deems appropriate. You need not take any action in response to this notice unless and until the Court
                              directs you to do so. (twdb) (Entered: 11/14/2022)
           11/14/2022     500 AMENDED EX PARTE APPLICATION Emergency Motion to Damned Fool Recused Defendant David
                              O. Carter Et. Al. to Effectuate a Private Citizens Arrest Pursuant to United States Constitution Supremacy
                              Clause Article VI Paragraph Two; SEE DOCUMENT FOR FURTHER INFORMATION, filed by
                              Intervenor Defendant Adrian D. Moon. (twdb) (Additional attachment(s) added on 11/14/2022: # 1
                              Proposed Order) (twdb). (Entered: 11/14/2022)




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           11/14/2022     501 AMENDED PROOF OF SERVICE filed by Intervenor Defendant Adrian D. Moon, re EX PARTE
                              APPLICATION 500 served on 11/14/22. (twdb) (Entered: 11/14/2022)
           11/14/2022     502 MINUTES OF Presentation of Final Settlement Agreement held before Judge David O. Carter: Hearing
                              held in Los Angeles First Street Federal Courthouse, courtroom 5B. Also present, counsel for intervenor,
                              Shayla Myers and Special Master Michelle Martinez. The case is called. The Court and counsel confer re
                              settlement progress. Date to continue to be set by the Court. Court Reporter: Court Smart. (twdb)
                              (Entered: 11/15/2022)
           11/15/2022     503 Third STIPULATION to Stay Case pending Settlement filed by Plaintiffs and Defendant County of Los
                              Angeles. (Attachments: # 1 Proposed Order)(Hashmall, Jennifer) (Entered: 11/15/2022)
           11/15/2022     504 TRANSCRIPT ORDER as to Defendant County of Los Angeles for Court Smart (CS). (Brody, Lauren)
                              (Entered: 11/15/2022)
           11/17/2022     505 TRANSCRIPT for proceedings held on 11/14/22 from 9:03 a.m. to 9:48 a.m. Court Reporter/Electronic
                              Court Recorder: ECHO REPORTING, INC, phone number (858) 453-7590. Transcript may be viewed at
                              the court public terminal or purchased through the Court Reporter/Electronic Court Recorder before the
                              deadline for Release of Transcript Restriction. After that date it may be obtained through PACER. Notice
                              of Intent to Redact due within 7 days of this date. Redaction Request due 12/8/2022. Redacted Transcript
                              Deadline set for 12/19/2022. Release of Transcript Restriction set for 2/15/2023. (yja) (Entered:
                              11/17/2022)
           11/17/2022     506 NOTICE OF FILING TRANSCRIPT filed for proceedings 11/14/22 re Transcript 505 THERE IS NO
                              PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (yja) TEXT ONLY ENTRY (Entered:
                              11/17/2022)
           11/22/2022     507 ORDER by Judge David O. Carter, Granting Third Stipulation to Stay Litigation 503 . All proceedings are
                              hereby stayed and all deadlines continued until February 1, 2023. (twdb) (Entered: 11/22/2022)
           12/05/2022     508 MINUTES (IN CHAMBERS) ORDER CONTINUING HEARING REGARDING SETTLEMENT
                              AGREEMENT by Judge David O. Carter. During the November 14, 2022 hearing, the Court indicated it
                              would continue the hearing regarding the settlement agreement. (Dkt. 502). Accordingly, the Court
                              CONTINUES the hearing to Tuesday, January 17, 2023, at 9:00 a.m. The Court requests the presence of
                              Mayor-elect Karen Bass, Los Angeles City Council President Paul Krekorian, and Los Angeles County
                              Supervisor Holly Mitchell. (rolm) (Entered: 12/05/2022)
           12/28/2022     509 Notice to the Honorable David O. Carter, Judge of the Stipulation Agreement Between the Parties Et. Seq.
                              (Proposed) order Thereon filed by Adrian D. Moon. (twdb) (Entered: 12/29/2022)
           12/28/2022     510 NOTICE TO FILER OF DEFICIENCIES in Filed Document RE: Notice (Other) 509 . The following
                              error(s) was/were found: Notice is filed separately defendant demanded to keep all documents together
                              including the order. In response to this notice, the Court may: (1) order an amended or correct document to
                              be filed; (2) order the document stricken; or (3) take other action as the Court deems appropriate. You
                              need not take any action in response to this notice unless and until the Court directs you to do so. (twdb)
                              (Entered: 12/29/2022)
           12/28/2022     511 PROOF OF SERVICE by email filed by Adrian D. Moon, served on 12/28/22. (twdb) (Entered:
                              12/29/2022)
           12/28/2022     512 NOTICE TO FILER OF DEFICIENCIES in Filed Document RE: Stipulation 509 . The following error(s)
                              was/were found: Stipulation is filed separately defendant demanded to keep all documents together,
                              judicial determination is required. In response to this notice, the Court may: (1) order an amended or
                              correct document to be filed; (2) order the document stricken; or (3) take other action as the Court deems
                              appropriate. You need not take any action in response to this notice unless and until the Court directs you
                              to do so. (twdb) (Entered: 12/29/2022)
           01/06/2023     513 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE: HEARING ON JANUARY
                              17, 2023 508 . The hearing currently scheduled for Tuesday, January 17, 2023 (Dkt. 508) will be held at
                              9:00 a.m. in Courtroom 5B at the First Street U.S. Courthouse, 350 W 1st Street, Los Angeles, CA 90012.
                              The Court requests the presence of Mayor Karen Bass, Los Angeles City Council President Paul
                              Krekorian, and Los Angeles County Supervisor Janice Hahn. (twdb) (Entered: 01/06/2023)
           01/13/2023     514 STATEMENT in Support of Settlement Agreement filed by Defendant County of Los Angeles re:
                              Stipulation to Dismiss Party, 485 . (Miller, Louis) (Entered: 01/13/2023)



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           01/17/2023     515 QUARTERLY STATUS REPORT of CITY OF LOS ANGELES PURSUANT TO MOU filed by
                              Defendant City of Los Angeles. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                              D)(Mariani, Jessica) (Entered: 01/17/2023)
           01/17/2023     516 QUARTERLY STATUS REPORT of CITY OF LOS ANGELES PURSUANT TO SETTLEMENT
                              AGREEMENT filed by Defendant City of Los Angeles. (Attachments: # 1 Exhibit A)(Mariani, Jessica)
                              (Entered: 01/17/2023)
           01/17/2023     518 MINUTE ORDER by Judge David O. Carter: HEARING REGARDING COUNTY SETTLEMENT
                              AGREEMENT 485 . The Courts scheduling order is forthcoming. SEE DOCUMENT FOR FURTHER
                              INFORMATION. Court Reporter: Court Smart (twdb) Modified on 1/20/2023 (twdb). (Entered:
                              01/20/2023)
           01/18/2023     517 TRANSCRIPT ORDER as to Defendant County of Los Angeles for Court Smart (CS). (Brody, Lauren)
                              (Entered: 01/18/2023)
           01/20/2023     519 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: SCHEDULING ORDER FOLLOWING
                              01/17/2023 SETTLEMENT HEARING. Accordingly, the parties shall appear before the Court on April
                              20, 2023. In the interim, the parties shall submit joint status reports, on the dates set forth below, to Judge
                              Andre Birotte and Special Master Michele Martinez regarding the progress of the revised settlement. An
                              amended settlement agreement is due to the Court on or before April 17, 2023. The schedule is as follows:
                              SEE DOCUMENT FOR FURTHER INFORMATION. (twdb) (Entered: 01/20/2023)
           01/20/2023     520 TRANSCRIPT for proceedings held on 1/17/2023. Court Reporter/Electronic Court Recorder: ECHO
                              REPORTING, INC., phone number (858) 453-7590. Transcript may be viewed at the court public terminal
                              or purchased through the Court Reporter/Electronic Court Recorder before the deadline for Release of
                              Transcript Restriction. After that date it may be obtained through PACER. Notice of Intent to Redact due
                              within 7 days of this date. Redaction Request due 2/10/2023. Redacted Transcript Deadline set for
                              2/21/2023. Release of Transcript Restriction set for 4/20/2023. (aa) (Entered: 01/20/2023)
           01/20/2023     521 NOTICE OF FILING TRANSCRIPT filed for proceedings 1/17/2023 re Transcript 520 THERE IS NO
                              PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (aa) TEXT ONLY ENTRY (Entered:
                              01/20/2023)
           01/24/2023     522 Fourth STIPULATION to Stay Case pending Settlement filed by Plaintiffs LA Alliance for Human Rights,
                              Joseph Burk, Harry Tashdjian, Wenzial Jarrell, Karen Pinsky, Charles Malow and George Frem and
                              Defendant County of Los Angeles. (Attachments: # 1 Proposed Order)(Hashmall, Jennifer) (Entered:
                              01/24/2023)
           01/26/2023     523 REVISED QUARTERLY STATUS REPORT of CITY OF LOS ANGELES PURSUANT TO MOU
                              [DKT. 185-1] filed by Defendant City of Los Angeles. (Attachments: # 1 Exhibit A)(Hoang, Arlene)
                              (Entered: 01/26/2023)
           02/01/2023     524 STATUS REPORT [QUARTERLY STATUS REPORT RE MAINSTREAM SERVICES PURSUANT TO
                              MEMORANDUM OF UNDERSTANDING BETWEEN COUNTY OF LOS ANGELES AND CITY OF LOS
                              ANGELES] filed by Defendant County of Los Angeles. (Attachments: # 1 Exhibit A - Mainstream
                              Benefits Quarterly Report)(Hashmall, Jennifer) (Entered: 02/01/2023)
           02/01/2023     525 NOTICE of Change of Attorney Business or Contact Information: for attorney Matthew Donald Umhofer
                              counsel for Plaintiffs Joseph Burk, George Frem, Wenzial Jarrell, LA Alliance for Human Rights, Charles
                              Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy. Changing address and firm
                              change to Umhofer, Mitchell & King LLP, 11766 Wilshire Blvd., Suite 900, Los Angeles, CA 90025.
                              Changing email to matthew@umklaw.com. Filed by Plaintiffs Joseph Burk, George Frem, Wenzial Jarrell,
                              LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles
                              Van Scoy. (Attorney Matthew Donald Umhofer added to party Wenzial Jarrell(pty:pla))(Umhofer,
                              Matthew) (Entered: 02/01/2023)
           02/01/2023     526 NOTICE of Change of Attorney Business or Contact Information: for attorney Elizabeth Anne Mitchell
                              counsel for Plaintiffs Joseph Burk, George Frem, Wenzial Jarrell, LA Alliance for Human Rights, Charles
                              Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian, Charles Van Scoy. Changing address and firm
                              change to Umhofer, Mitchell & King LLP, 11766 Wilshire Blvd., Suite 900, Los Angeles, CA 90025.
                              Changing email to elizabeth@umklaw.com. Filed by Plaintiffs Joseph Burk, George Frem, Wenzial
                              Jarrell, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian,
                              Charles Van Scoy. (Mitchell, Elizabeth) (Entered: 02/01/2023)



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           02/03/2023     527 NOTICE of Change of Attorney Business or Contact Information: for attorney Jennifer Mira Hashmall
                              counsel for Defendant County of Los Angeles. Changing address to 2121 Avenue of the Stars, Suite 2600,
                              Los Angeles, CA 90067. Filed by Defendant County of Los Angeles. (Hashmall, Jennifer) (Entered:
                              02/03/2023)
           02/03/2023     528 NOTICE of Change of Attorney Business or Contact Information: for attorney Louis R. Miller counsel for
                              Defendant County of Los Angeles. Changing address to 2121 Avenue of the Stars, Suite 2600, Los
                              Angeles, CA 90067. Filed by Defendant County of Los Angeles. (Miller, Louis) (Entered: 02/03/2023)
           03/30/2023     529 ORDER from Ninth Circuit Court of Appeals filed re: Notice of Appeal to 9th Circuit Court of Appeals,
                              477 filed by Adrian D. Moon. CCA # 22-55933. This court has reviewed the notice of appeal filed
                              September 30, 2022 in the above-referenced district court docket pursuant to the pre-filing review order
                              entered in docket No. 14-80006. Because the appeal is so insubstantial as to not warrant further review, it
                              will not be permitted to proceed. Appeal No. 22-55933 is therefore dismissed. This order, served on the
                              district court for the Central District of California, will constitute the mandate of this court. (mat)
                              (Entered: 03/31/2023)
           04/12/2023     530 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE SETTLEMENT HEARING.
                              ( Hearing set for 4/20/2023 at 09:00 AM before Judge David O. Carter.) SEE DOCUMENT FOR
                              FURTHER INFORMATION. (twdb) Modified on 4/13/2023 (twdb). (Entered: 04/13/2023)
           04/17/2023     531 Joint STIPULATION for Order Extending Time to File Report re Settlement filed by Plaintiffs and
                              Defendant County of Los Angeles. (Attachments: # 1 Proposed Order)(Hashmall, Jennifer) (Entered:
                              04/17/2023)
           04/18/2023     532 ORDER by Judge David O. Carter, Granting Joint Stipulation to Extend time to File Report RE Settlement
                              531 . The Parties deadline to file and serve their Proposed Settlement Agreement shall hereby be extended
                              one (1) day, from April 17, 2023 to April 18, 2023. (twdb) (Entered: 04/18/2023)
           04/18/2023     533 RESPONSE filed by Defendant County of Los Angelesto Minutes of In Chambers Order/Directive - no
                              proceeding held,, 519 [JOINT SUBMISSION OF ADDENDUM TO SETTLEMENT AGREEMENT]
                              (Attachments: # 1 Exhibit A - Stipulation for Voluntary Dismissal pursuant to Federal Rule of Civil
                              Procedure 41(a)(2) submitted on October 17, 2022 [Dkt. 485], # 2 Exhibit B - Fully Executed Addendum
                              to Settlement Agreement)(Hashmall, Jennifer) (Entered: 04/18/2023)
           04/20/2023     534 MINUTES OF Status Conference (Los Angeles First Street) held before Judge David O. Carter: The
                              Court hears the parties terms of stipulated proposed agreement. For reasons as stated on the record, the
                              Court DENIES the parties proposed stipulation. The Court lifts the stay and reinstates proceedings in this
                              case. Answer to Second Amended Complaint (Dkt. 454) is due May 3, 2023. Scheduling Conference is set
                              for May 9, 2023 at L.A. First Street Courthouse. Court Reporter: Court Smart. (twdb) (Entered:
                              04/20/2023)
           04/20/2023     535 TRANSCRIPT ORDER as to Defendant County of Los Angeles for Court Smart (CS). (Hashmall,
                              Jennifer) (Entered: 04/20/2023)
           04/20/2023     536 AMENDED MINUTES held before Judge David O. Carter re: Status Conference 534 . (twdb) (Entered:
                              04/20/2023)
           04/20/2023     537 TRANSCRIPT ORDER as to Plaintiffs Joseph Burk, George Frem, Wenzial Jarrell, LA Alliance for
                              Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian for Court Smart (CS).
                              Court will contact Jon Powell at jon@umklaw.com with further instructions regarding this order.
                              Transcript preparation will not begin until payment has been satisfied with the transcription company.
                              (Mitchell, Elizabeth) (Entered: 04/20/2023)
           04/21/2023     538 STATUS REPORT FOR THE QUARTER PURSUANT TO THE MOU BETWEEN THE CITY AND
                              COUNTY OF LOS ANGELES filed by Defendant City of Los Angeles. (Attachments: # 1 Exhibit A, # 2
                              Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Hoang, Arlene) (Entered: 04/21/2023)
           04/21/2023     539 STATUS REPORT OF CITY OF LOS ANGELES PURSUANT TO SETTLEMENT AGREEMENT filed by
                              Defendant City of Los Angeles. (Attachments: # 1 Exhibit A)(Mariani, Jessica) (Entered: 04/21/2023)
           04/21/2023     540 TRANSCRIPT for proceedings held on 4/20/2023 9:09 AM. Court Reporter: Wil S. Wilcox, email
                              wil.wilcox@gmail.com. Transcript may be viewed at the court public terminal or purchased through the
                              Court Reporter before the deadline for Release of Transcript Restriction. After that date it may be obtained
                              through PACER. Notice of Intent to Redact due within 7 days of this date. Redaction Request due



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                                5/12/2023. Redacted Transcript Deadline set for 5/22/2023. Release of Transcript Restriction set for
                                7/20/2023. (Wilcox, Wil) (Entered: 04/21/2023)
           04/21/2023     541 NOTICE OF FILING TRANSCRIPT filed for proceedings 4/20/2023 9:09 AM re Transcript 540 THERE
                              IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (Wilcox, Wil) TEXT ONLY ENTRY
                              (Entered: 04/21/2023)
           04/21/2023     542 MINUTE ORDER IN CHAMBERS re Hearing Transcript by Judge David O. Carter. (Attachments: # 1
                              Letter) (dgo) (Entered: 04/21/2023)
           04/28/2023     543 Notice of Withdrawal of Consent to Ex Parte Communications filed by Defendant County of Los Angeles.
                              (Hashmall, Jennifer) (Entered: 04/28/2023)
           04/28/2023     544 NOTICE OF MOTION AND MOTION to Certify This Courts April 20, 2023 Order Pursuant to 28
                              U.S.C. § 1292(b) filed by Defendant County of Los Angeles. Motion set for hearing on 6/5/2023 at 08:30
                              AM before Judge David O. Carter. (Attachments: # 1 Proposed Order) (Hashmall, Jennifer) (Entered:
                              04/28/2023)
           04/28/2023     545 EX PARTE APPLICATION to Expedite Briefing Schedule and Stay Case filed by Defendant County of
                              Los Angeles. (Attachments: # 1 Proposed Order) (Hashmall, Jennifer) (Entered: 04/28/2023)
           04/28/2023     546 DECLARATION of Mira Hashmall in Support of NOTICE OF MOTION AND MOTION to Certify This
                              Courts April 20, 2023 Order Pursuant to 28 U.S.C. § 1292(b) 544 filed by Defendant County of Los
                              Angeles. (Attachments: # 1 Exhibit A. Amended Notice of Lodging of Fully Executed [Proposed]
                              Stipulated Order of Dismissal as to Defendant City of Los Angeles Only, ECF Dkt. No. 429, # 2 Exhibit
                              B. County of Los Angeles Response to Settlement Between Plaintiffs and City of Los Angeles, ECF Dkt.
                              No. 432, # 3 Exhibit C. Intervenors Objections to Plaintiffs and Defendant City of Los Angeless
                              Stipulated Order of Dismissal, ECF Dkt. No. 434, # 4 Exhibit D. June 9, 2022 Transcript of Final
                              Settlement Objections and Scheduling Conference, # 5 Exhibit E. Order Approving Stipulated Dismissal
                              and Proposed Settlement, ECF Dkt. No. 445, # 6 Exhibit F. Notice of Settlement and Stipulation to Stay
                              Litigation, ECF Dkt. No. 467, # 7 Exhibit G. Stipulation for Voluntary Dismissal with Prejudice Pursuant
                              to Federal Rule of Civil Procedure 41(a)(2), ECF Dkt. No. 485, # 8 Exhibit H. Intervenors Statement of
                              Non-Opposition to Plaintiffs and Defendant County of Los Angeless Settlement, ECF Dkt. No. 488, # 9
                              Exhibit I. November 14, 2022 Transcript of Presentation of Final Settlement Agreement, # 10 Exhibit J.
                              December 5, 2022 Minute Order, # 11 Exhibit K. County of Los Angeles Statement in Support of
                              Settlement, ECF Dkt. No. 514, # 12 Exhibit L. January 17, 2023 Transcript of Presentation of Final
                              Settlement Objections and Status Conference, # 13 Exhibit M. January 17, 2023 Minute Order, # 14
                              Exhibit N. April 12, 2023 Minute Order, # 15 Exhibit O. Joint Submission of Addendum to Settlement
                              Agreement, ECF Dkt. No. 533, # 16 Exhibit P. April 20, 2023 Reporters Transcript of Proceedings, # 17
                              Exhibit Q. April 20, 2023 Minute Order, ECF Dkt. No. 534, # 18 Exhibit R. Intervenors Supplemental
                              Brief Re: Stay, # 19 Exhibit S. March 14, 2023 Statement of Proceedings of the Board, # 20 Exhibit T.
                              April 25, 2023 Email)(Hashmall, Jennifer) (Entered: 04/28/2023)
           04/28/2023     547 DECLARATION of Mira Hashmall in Support of EX PARTE APPLICATION to Expedite Briefing
                              Schedule and Stay Case 545 filed by Defendant County of Los Angeles. (Attachments: # 1 Ex. A April
                              25, 2023 Email, # 2 Ex. B Stipulation for Voluntary Dismissal with Prejudice, # 3 Ex. C Submission of
                              Addendum to Settlement Agreement, # 4 Ex. D April 20, 2023 Reporter's Transcript of Proceedings, # 5
                              Ex. E April 20, 2023 Minute Order)(Hashmall, Jennifer) (Entered: 04/28/2023)
           04/28/2023     548 JOINDER in EX PARTE APPLICATION to Expedite Briefing Schedule and Stay Case 545 filed by
                              Intervenor Parties Cangress, Los Angeles Catholic Worker, Orange County Catholic Worker. (Myers,
                              Shayla) (Entered: 04/28/2023)
           04/29/2023     549 OPPOSITION re: EX PARTE APPLICATION to Expedite Briefing Schedule and Stay Case 545 filed by
                              Plaintiffs Joseph Burk, George Frem, Wenzial Jarrell, LA Alliance for Human Rights, Charles Malow,
                              Karyn Pinsky, Leandro Suarez, Harry Tashdjian. (Umhofer, Matthew) (Entered: 04/29/2023)
           05/01/2023     550 DECLARATION of Shayla Myers in support of EX PARTE APPLICATION to Expedite Briefing
                              Schedule and Stay Case 545 filed by Intervenor Parties Cangress, Los Angeles Catholic Worker, Los
                              Angeles Community Action Network, Orange County Catholic Worker. (Myers, Shayla) (Entered:
                              05/01/2023)
           05/02/2023     551 MINUTE ORDER (IN CHAMBERS) DENYING 544 Motion to Certify and DENYING 545 Application
                              to Stay by Judge David O. Carter. (dgo) (Entered: 05/02/2023)




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           05/03/2023     552 NOTICE OF MOTION AND MOTION to Dismiss Second Amended Complaint filed by Defendant
                              County of Los Angeles. Motion set for hearing on 6/5/2023 at 08:30 AM before Judge David O. Carter.
                              (Attachments: # 1 Memorandum of Points and Authorities, # 2 Proposed Order) (Hashmall, Jennifer)
                              (Entered: 05/03/2023)
           05/03/2023     553 REQUEST FOR JUDICIAL NOTICE re NOTICE OF MOTION AND MOTION to Dismiss Second
                              Amended Complaint 552 filed by Defendant County of Los Angeles. (Attachments: # 1 Proposed Order)
                              (Hashmall, Jennifer) (Entered: 05/03/2023)
           05/03/2023     554 DECLARATION of Mira Hashmall in support of NOTICE OF MOTION AND MOTION to Dismiss
                              Second Amended Complaint 552 filed by Defendant County of Los Angeles. (Attachments: # 1 Exhibit 1
                              - County's Report of Available Resources for People Experiencing Homelessness (Dkt. No. 189), # 2
                              Exhibit 2 - County Department of Mental Health's Report to the Los Angeles County Board of
                              Supervisors, titled "Disrupting the Cycle of Chronic Homelessness-DMH Homeless Outreach and Mobile
                              Engagement (HOME) Team Pilot (Item 12, Agenda of June 23, 2020)", # 3 Exhibit 3 - July 27, 2021
                              Statement of Proceedings of the Board, # 4 Exhibit 4 - September 15, 2021 Statement of Proceedings of
                              the Board, # 5 Exhibit 5 - August 10, 2021 Statement of Proceedings of the Board, # 6 Exhibit 6 -
                              September 28, 2021 Statement of Proceedings of the Board, # 7 Exhibit 7 - October 19, 2021 Statement of
                              Proceedings of the Board, # 8 Exhibit 8 - July 19, 2021 Letter from the County Department of Health
                              Services ("DHS") to Board Transmitting HFH Quarterly Report, # 9 Exhibit 9 - February 2016 report
                              published by the Los Angeles County Homeless Initiative, titled "Approved Strategies to Combat
                              Homelessness", # 10 Exhibit 10 - May 9, 2016 Homeless Initiative Quarterly Report No. 1, submitted to
                              the Los Angeles County Board of Supervisors by the Los Angeles County Chief Executive Office, # 11
                              Exhibit 11 - Measures appearing on the March 7, 2017 Ballot, # 12 Exhibit 12 - September 29, 2017 report
                              submitted to the Board by the CEO, titled "Homeless Initiative Measure H Strategy Implementation
                              Plans", # 13 Exhibit 13 - December 3, 2020 Homeless Initiative Quarterly Report No. 18, # 14 Exhibit 14
                              - February 22, 2021 Countywide Homeless Initiative's Year Four performance evaluation prepared by
                              Public Sector Analytics, # 15 Exhibit 15 - August 20, 2021 Homeless Initiative Quarterly Report No. 20, #
                              16 Exhibit 16 - July 13, 2021 Press Release announcing the Homeless Initiative Budget for Fiscal Year
                              2021-2022, # 17 Exhibit 17 - November 16, 2021 Statement of Proceedings of the Board, # 18 Exhibit 18
                              - June 26, 2020 Binding Term Sheet between the County and the City of Los Angeles (Dkt. No. 136), # 19
                              Exhibit 19 - September 16, 2020 Notice to the Court of Payment from County of Los Angeles Pursuant to
                              Binding Term Sheet (Dkt. No. 177), # 20 Exhibit 20 - October 13, 2020 Joint Notice to the Court
                              Regarding Memorandum of Understanding for 6,700 Bed Plan from City of Los Angeles and County of
                              Los Angeles (Dkt. No. 185), # 21 Exhibit 21 - January 7, 2021 Notice to the Court of Payment from
                              County of Los Angeles Pursuant to Binding Term Sheet (Dkt. No. 203), # 22 Exhibit 22 - March 29, 2021
                              Notice to the Court of Payment from County of Los Angeles Pursuant to Binding Term Sheet (Dkt. No.
                              254), # 23 Exhibit 23 - July 13, 2021 County of Los Angeles' Notice of Payment and Report Regarding
                              Mainstream Services at City Facilities (Dkt. No. 341), # 24 Exhibit 24 - August 5, 2022 Defendant County
                              of Los Angeles' Annual Status Report Re Payment Pursuant to Memorandum of Understanding Between
                              County of Los Angeles and City of Los Angeles [Dkt. 185-1], filed with this Court at ECF Dkt. No. 463, #
                              25 Exhibit 25 - August 31, 2021 Statement of Proceedings of the Board, # 26 Exhibit 26 - September 27,
                              2021 Press Release from LAHSA regarding a $15 million grant from the U.S. Department of Housing and
                              Urban Development, # 27 Exhibit 27 - October 5, 2021 Statement of Proceedings of the Board, # 28
                              Exhibit 28 - November 2, 2021 Statement of Proceedings of the Board, # 29 Exhibit 29 - November 2,
                              2021 Motion by Supervisors Hilda L. Solis and Kathryn Barger regarding Interim Housing Services Fund
                              For Cities And Councils Of Governments Combatting Homelessness of the Board, # 30 Exhibit 30 - May
                              12, 2020 Motion by Los Angeles County Supervisors Sheila Kuehl and Mark Ridley-Thomas, titled
                              "Developing a COVID-19 Recovery Plan Related to People Experiencing Homelessness", # 31 Exhibit 31
                              - July 2, 2020 report submitted to the Board by the CEO, titled "Developing a COVID-19 Recovery Plan
                              Related to People Experiencing Homelessness (Item No. 4, Agenda of May 12, 2020)", # 32 Exhibit 32 -
                              May 15, 2020 report submitted to the Board by the CEO, titled "Piloting a Comprehensive Crisis
                              Response to Ensure Post-COVID-19 Housing for Homeless Older Adults in Los Angeles County (Item
                              No. 8, Agenda of April 14, 2020)", # 33 Exhibit 33 - November 3, 2020 County of Los Angeles' Response
                              to Plaintiffs' Status Report Dated October 20, 2020 (Dkt. No. 197))(Hashmall, Jennifer) (Entered:
                              05/03/2023)
           05/03/2023     555 DECLARATION of Mira Hashmall in support of NOTICE OF MOTION AND MOTION to Dismiss
                              Second Amended Complaint 552 filed by Defendant County of Los Angeles. (Attachments: # 1 Exhibit 34
                              - May 2, 2017 report to the Board, titled "Adopt the Department of Mental Health's Mental Health
                              Services Act Three-Year Program and Expenditure Plan for Fiscal Years 2017-18, 2018-19 and 2019-20",



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                                # 2 Exhibit 35 - Excerpts from the Los Angeles County Department of Mental Health's website, # 3
                                Exhibit 36 - March 30, 2022 Blue Ribbon Commission on Homelessness Governance Report, # 4 Exhibit
                                37 - May 3, 2022 Motion re Recommendations on Implementations of Blue Ribbon Commission, # 5
                                Exhibit 38 - Stipulation for Voluntary Dismissal with Prejudice Pursuant to Federal Rule of Civil
                                Procedure 41(a)(2), ECF Dkt. No. 485, # 6 Exhibit 39 - January 10, 2023 Proclamation of a Local
                                Emergency for Homelessness in the County of Los Angeles, # 7 Exhibit 40 - January 23, 2023 Report
                                Back on Proclamation of a Local Emergency for Homelessness in the County of Los Angeles, # 8 Exhibit
                                41 - January 31, 2023 Report Back on Proclamation of a Local Emergency for Homelessness in the
                                County of Los Angeles, # 9 Exhibit 42 - February 7, 2023 Revised Declaration of Local Emergency for
                                Homelessness Implementation Actions, # 10 Exhibit 43 - February 7, 2023 Fiscal Year 2023-24
                                Homelessness Initiative Funding Recommendations, # 11 Exhibit 44 - Joint Submission of Addendum to
                                Settlement Agreement, ECF Dkt. No. 533, # 12 Exhibit 45 - April 20, 2023 Reporter's Transcript of
                                Proceedings, # 13 Exhibit 46 - April 20, 2023 Homeless Initiative Quarterly Report No. 26, # 14 Exhibit
                                47 - May 2, 2023 Minute Order, ECF Dkt. No. 551, # 15 Exhibit 48 - May 2, 2023 Board Motion to
                                Authorize Joint Application(s) to and Participation in the Homekey Round 3 Program, # 16 Exhibit 49 -
                                April 25-27, 2023 Meet and Confer Emails)(Hashmall, Jennifer) (Entered: 05/03/2023)
           05/03/2023     556 JOINDER in NOTICE OF MOTION AND MOTION to Dismiss Second Amended Complaint 552 filed
                              by Intervenor Parties Cangress, Los Angeles Catholic Worker, Los Angeles Community Action Network,
                              Orange County Catholic Worker. (Myers, Shayla) (Entered: 05/03/2023)
           05/05/2023     557 STATUS REPORT (QUARTERLY) RE MAINSTREAM SERVICES PURSUANT TO MEMORANDUM OF
                              UNDERSTANDING [DKT. 185-1] filed by Defendant County of Los Angeles. (Attachments: # 1 Ex. A -
                              Mainstream Benefits Quarterly Report)(Hashmall, Jennifer) (Entered: 05/05/2023)
           05/05/2023     558 NOTICE of Change of Attorney Business or Contact Information: for attorney Matthew Donald Umhofer
                              counsel for Plaintiffs Joseph Burk, George Frem, Wenzial Jarrell, LA Alliance for Human Rights, Charles
                              Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian. Changing Address to Umhofer, Mitchell & King
                              LLP, 767 S. Alameda St., Suite 270, Los Angeles, CA 90021. Filed by Plaintiffs Joseph Burk, George
                              Frem, Wenzial Jarrell, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez,
                              Harry Tashdjian. (Umhofer, Matthew) (Entered: 05/05/2023)
           05/05/2023     559 NOTICE of Change of Attorney Business or Contact Information: for attorney Elizabeth Anne Mitchell
                              counsel for Plaintiffs Joseph Burk, George Frem, Wenzial Jarrell, LA Alliance for Human Rights, Charles
                              Malow, Karyn Pinsky, Leandro Suarez, Harry Tashdjian. Changing Address to Umhofer, Mitchell & King
                              LLP, 767 S. Alameda St., Suite 270, Los Angeles, CA 90021. Filed by Plaintiffs Joseph Burk, George
                              Frem, Wenzial Jarrell, LA Alliance for Human Rights, Charles Malow, Karyn Pinsky, Leandro Suarez,
                              Harry Tashdjian. (Mitchell, Elizabeth) (Entered: 05/05/2023)
           05/05/2023     560 MINUTE ORDER (IN CHAMBERS): ORDER RE SETTLEMENT HEARING by Judge David O.
                              Carter. The scheduling conference set for May 9, 2023 will be held at 9:00 a.m. in Courtroom 5B at the
                              First Street U.S. Courthouse, 350 W 1st Street, Los Angeles, CA 90012. (lom) (Entered: 05/05/2023)
           05/09/2023     561 MINUTES OF Scheduling Conference (Los Angeles First Street) held before Judge David O. Carter.
                              Briefing and trial schedule is set as follows: Pretrial Motions: October 10, 2023 at 9:00 AM Final Pretrial
                              Conference: October 24, 2023 at 9:00 AM Jury Trial: November 6, 2023 at 9:00 AM All to be held at the
                              Los Angeles First Street Federal Courthouse. Final Pretrial Conference set for 10/24/2023 at 09:00 AM
                              before Judge David O. Carter. Jury Trial set for 11/6/2023 at 09:00 AM before Judge David O. Carter.
                              Court Reporter: Deborah Parker. (twdb) (Entered: 05/09/2023)
           05/09/2023     562 TRANSCRIPT ORDER as to Defendant County of Los Angeles for Court Reporter. (Hashmall, Jennifer)
                              (Entered: 05/09/2023)
           05/09/2023     563 SCHEDULING ORDER by Judge David O. Carter. Discovery cut-off 9/8/2023. Motions due by
                              10/10/2023. Final Pretrial Conference set for 10/24/2023 09:00 AM before Judge David O. Carter. Jury
                              Trial set for 11/6/2023 09:00 AM before Judge David O. Carter. (kdu) (Entered: 05/09/2023)
           05/09/2023     564 MINUTE ORDER IN CHAMBERS by Judge David O. Carter: ORDER RE HEARING TRANSCRIPT.
                              The Court orders the transcript of the Scheduling Conference held May 9, 2023, be immediately produced
                              at the government's expense and billed at the daily rate. The transcript shall be prepared forthwith and
                              filed on the docket with immediate release to the public. SEE DOCUMENT FOR FURTHER
                              INFORMATION. (twdb) (Entered: 05/09/2023)




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           05/10/2023     565 TRANSCRIPT for proceedings held on 05/09/2023, 9:07 a.m. Court Reporter: Deborah D. Parker,CSR
                              10342, phone number transcripts@ddparker.com. Transcript may be viewed at the court public terminal or
                              purchased through the Court Reporter before the deadline for Release of Transcript Restriction. After that
                              date it may be obtained through DEBORAHDPARKER.COM or PACER. Notice of Intent to Redact due
                              within 7 days of this date. Redaction Request due 5/31/2023. Redacted Transcript Deadline set for
                              6/12/2023. Release of Transcript Restriction set for 8/8/2023. (dpa) (Entered: 05/10/2023)
           05/10/2023     566 NOTICE OF FILING TRANSCRIPT filed for proceedings 05/09/2023, 9:07 a.m. re Transcript 565
                              THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (dpa) TEXT ONLY ENTRY
                              (Entered: 05/10/2023)



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No. ___________

                  UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT

                    In re: COUNTY OF LOS ANGELES
                                 Petitioner,
                                     v.
                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                      (Western Division - Los Angeles)
                                Respondent.

                LA ALLIANCE FOR HUMAN RIGHTS, et al.
                        Real Parties of Interest.

                    On Petition for a Writ of Mandamus in
                     Case No. 2:20-cv-02291 (C.D.Cal.)


                       CERTIFICATE OF SERVICE


    OFFICE OF COUNTY COUNSEL              MILLER BARONDESS, LLP
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    County Counsel                        Mira Hashmall (SBN 216842)
    Katherine M. Bowser (SBN 230626)      mhashmall@millerbarondess.com
    Acting Assistant County Counsel       Nadia A. Sarkis (SBN 227778)
    Ana Wai-Kwan Lai (SBN 257931)         2121 Avenue of the Stars
    Senior Deputy County Counsel          Suite 2600
    alai@counsel.lacounty.gov             Los Angeles, California 90067
    500 West Temple Street                Telephone: (310) 552-4400
    Suite 468
    Los Angeles, California 90012
    Telephone: (213) 974-1830
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                           CERTIFICATE OF SERVICE

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
       At the time of service, I was over 18 years of age and not a party to this
action. I am employed in the County of Los Angeles, State of California. My
business address is 2121 Avenue of the Stars, Suite 2600, Los Angeles, CA 90067.

      On May 11, 2023, I served true copies of the following document(s)
described as:

    1. PETITION FOR WRIT OF MANDAMUS TO THE UNITED STATES
       DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA AND
       REQUEST FOR STAY OF PROCEEDINGS IN DISTRICT COURT*

    2. EXCERPTS OF RECORD – INDEX VOLUME

    3. EXCERPTS OF RECORD – VOLUME 1

    4. EXCERPTS OF RECORD – VOLUME 2

    5. EXCERPTS OF RECORD – VOLUME 3

    6. EXCERPTS OF RECORD – VOLUME 4
    7. EXCERPTS OF RECORD – VOLUME 5

    8. CERTIFICATE OF SERVICE
on the interested parties in this action as follows:

                         SEE ATTACHED SERVICE LIST
       BY MAIL: I enclosed the document(s) in a sealed envelope or package
addressed to the persons at the addresses listed in the Service List and placed the
envelope for collection and mailing, following our ordinary business practices. I
am readily familiar with the practice of Miller Barondess, LLP for collecting and
processing correspondence for mailing. On the same day that correspondence is
placed for collection and mailing, it is deposited in the ordinary course of business
with the United States Postal Service, in a sealed envelope with postage fully
prepaid. I am a resident or employed in the county where the mailing occurred.
The envelope was placed in the mail at Los Angeles, California.*




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       BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
the document(s) to be sent to the persons at the e-mail addresses listed in the
Service List. I did not receive, within a reasonable time after the transmission, any
electronic message or other indication that the transmission was unsuccessful.

      I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct and that I am employed in the office
of a member of the bar of this Court at whose direction the service was made.

           Executed on May 11, 2023, at Los Angeles, California.




                                            Angelica R. Ransom on behalf of
                                            Mira Hashmall




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                                     SERVICE LIST
           County of Los Angeles v. United States District Court Central District
                      of California (Western Division - Los Angeles)
                                     No. ___________

BY MAIL
Hon. David O. Carter*
United States District Court Central District of California
(Western Division - Los Angeles)
Ronald Reagan Federal Building and United States Courthouse
411 West Fourth Street
Courtroom 10-A
Santa Ana, CA 92701-4516

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